                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION


  JULIE A. SU, Acting Secretary of Labor,           )     DISCRIMINATION &
  United States Department of Labor, and            )     INTERFERENCE PROCEEDING
  ROBERT BAUMANN                                    )     DOCKET
                       Complainants,                )
                                                    )
                 v.                                 )     Docket No.
                                                    )
  MOSENECAMANUFACTURER LIMITED                      )
  LIABILITY COMPANY d/b/a AMERICAN                  )     Mine: MOSenecaMfr LLC dba
  TRIPOLI,                                          )     American Tr
                                                    )     Mine Id No. 23-00504
                                                    )
                         Respondent.                )

                                         COMPLAINT

       Pursuant to the provisions of Section 105(c) of the Federal Mine Safety and Health Act of

1977, 30 U.S.C. §801 et seq., (the “Mine Act”), the Secretary of Labor (“the Secretary”) hereby

files this complaint alleging violations of Section 105(c)(1) of the Mine Act, 30 U.S.C. §

815(c)(1).

       1.      The Commission has jurisdiction over this case under sections 105(c)(2) and 113

of the Mine Act, 30 U.S.C. §§ 815(c)(2), 823.

       2.      The Secretary, acting through the Mine Safety and Health Administration

(“MSHA”), enforces and administers the Mine Act, 30 U.S.C. § 801 et seq.

       3.      Respondent American Tripoli is a fictious name for a limited liability company,

MOSenecaManufacturer Limited Liability Company, with a place of business at 222 Oneida

Street, Seneca, Missouri 64865. Respondent is registered with the Mine Safety and Health

Administrative (“MSHA”) as the operator of the MOSenecaMfr LLC dba American Tr mine.

Respondent is a “person” as defined in section 3(f) of the Mine Act, 30 U.S.C. § 802(f).




   Appellate Case: 25-1349         Page: 1      Date Filed: 04/07/2025 Entry ID: 5503844
Respondent owns, operates and controls the MOSenecaMfr LLC dba American Tr mine and is

therefore an “operator” as defined in Section 3(d) of the Mine Act, 30 U.S.C. § 802(d).

       4.      The MOSenecaMfr LLC dba American Tr mine (“Mine”) is metal/nonmetal

surface mine. The MOSenecaMfr LLC dba American Tr mine has, or at all times relevant to this

Complaint had, products that enter commerce or operations or products that affect commerce.

The MOSenecaMfr LLC dba American Tr mine is a “coal or other mine” as defined in section

3(h)(1) of the Mine Act, 30 U.S.C. § 802(h)(1).

       5.      At all relevant times, Robert Baumann (“Complainant”) was employed by

Respondent as a production supervisor who worked at the Mine performing various tasks and

was a “miner” as defined in Section 3(g) of the Mine Act, 30 U.S.C. § 802(g). Complainant

Baumann also served as a representative of miners at the Mine from March 21, 2023 through

April 17, 2023.

   A. Count I: Discrimination

       6.      Complainant Baumann engaged in protected activity while employed by

Respondent at the Mine, including the following:

               a. At times starting in or around June 2022 through April 17, 2023, Baumann

                  made safety complaints and raised safety concerns to Respondent;

               b. In February and March 2023, Baumann walked around with MSHA inspectors

                  during MSHA inspections of the Mine and discussed safety concerns and

                  hazards with MSHA inspectors during inspections of the Mine;

               c. On March 21, 2023, Complainant Baumann was elected to be the

                  representative of miners at the Mine and at times thereafter, participated in

                  MSHA inspections of the Mine by walking around with MSHA inspectors in




                                                  2

   Appellate Case: 25-1349        Page: 2         Date Filed: 04/07/2025 Entry ID: 5503844
                   his capacity as a representative of the miners; and

               d. On or around April 11-12, 2023, Complainant Baumann walked around with

                   MSHA during an MSHA inspection. MSHA issued a withdrawal order, under

                   Section 104(b) of the Act, during said inspection, and Complainant Baumann

                   asked Respondent about miners’ rights to compensation while the Mine was

                   shut down and asserted miners’ rights to compensation during the withdrawal

                   order.

       7.      Respondent terminated Complainant Baumann on April 17, 2023, at least in part,

because he engaged in activities protected by 30 U.S.C. § 815(c), including those set forth above.

Respondent’s actions against Complainant constituted illegal discrimination for engaging in

protected activities, in violation of Section 105(c) of the Act.

       8.      On April 25, 2023, Complainant Baumann filed a discrimination complaint with

MSHA alleging he was discriminated against pursuant to Section 105(c)(1) of the Act. A

redacted copy of the Complaint is attached hereto as Exhibit A.

       9.      As a result of Respondent’s Section 105(c) violation, Complainant suffered

financial losses, including, but not limited to, lost wages.

       10.     The MSHA Office of Assessments has proposed a civil penalty against

Respondent in the amount of $15,000.00 for discriminating against Complainant Baumann in

violation of Section 105(c) of the Act. The Secretary requests the Commission assess a civil

penalty in that amount against Respondent for discriminating against Complainant Baumann in

violation of Section 105(c) of the Act as alleged in Count I of this Complaint.

   B. Count II: Interference

       11.     Upon investigation into Complainant Baumann’s discrimination complaint, the




                                                  3

   Appellate Case: 25-1349          Page: 3       Date Filed: 04/07/2025 Entry ID: 5503844
Secretary determined that Respondent interfered with the rights of Complainant Baumann and at

least one other miner in violation of Section 105(c)(1) of the Mine Act. The investigation

revealed the following facts:

               a. On February 14, 2023, MSHA was conducting an inspection of the Mine.

               b. On February 14, 2023, Complainant Baumann and another miner received a

                   message via Microsoft Teams from John Spears, Respondent’s operations

                   manager, telling the miner not to answer questions from the MSHA inspector,

                   to not go in the mill, and the operations manager continued to state that he

                   would be the person who would talk to the MSHA inspector.

               c. At other times during Complainant Baumann’s employment, Respondent told

                   miners not to speak to MSHA during MSHA inspections.

       12.     Respondent’s statements to miners, described above, illegally interfered with the

exercise of the miners’ statutory rights in violation of Section 105(c)(1) of the Mine Act by

intimidating miners against engaging in activities protected by the Mine Act, including miners’

protected right to report safety issues to MSHA.

       13.     The MSHA Office of Assessments has proposed a civil penalty against

Respondent in the amount of $17,500.00 for interfering with miners’ rights as alleged in Count II

of this Complaint. The Secretary requests that the Commission assess a civil penalty in that

amount against Respondent for interfering with miners’ rights under Section 105(c) of the Act as

alleged in Count II.


       WHEREFORE, good cause having been shown, the Secretary and Complainant
Baumann respectfully demand judgment against Respondent as follows:

       i.      A finding that Respondent unlawfully discriminated against Complainant

Baumann because of his exercise of protected activity in violation of Section 105(c)(1) of the


                                                   4

   Appellate Case: 25-1349         Page: 4      Date Filed: 04/07/2025 Entry ID: 5503844
Federal Mine Safety and Health Act of 1977, 30 U.S.C. § 815., as alleged in Count I.

       ii.     Direct Respondent to pay a civil penalty for discriminating against Complainant

Baumann in violation of Section 105(c), as described in Count I. In accordance with the criteria

specified in Section 110(i) of the Mine Act, the secretary proposes a civil penalty of $15,000.00

for the discrimination violation alleged in Count I.

       iii.    Grant declaratory judgment that Respondent unlawfully interfered with the

exercise of protected activity of the miners at the Mine, in violation of Section 105(c) of the

Federal Mine Safety and Health Act of 1977, 30 U.S.C. § 815;

       iv.     Direct Respondent to pay a civil penalty for interfering with miners’ rights in

violation of Section 105(c), as described in Count II. In accordance with the criteria specified in

Section 110(i) of the Mine Act, the Secretary proposes a civil penalty of $17,500.00 for the

interference violation alleged in Count II.

       v.      Require Respondent to fully compensate Complainant Baumann for lost wages,

benefits, and any other compensatory damages, plus interest, that resulted from Complainant’s

termination.

       vi.     Require that the personnel file of Complainant Baumann be purged of any

reference to his termination and any disciplinary action taken against Complainant Baumann as

the result of the discrimination by Respondent, and that if a prospective employer contacts

Respondent regarding a job reference, Respondent shall not discuss, provide information about,

or otherwise reference the expunged information.

       vii.    Order Respondent to cease-and-desist from:

               a. Discouraging miners from speaking to MSHA; and

               b. Interfering in any way with any right under the Mine Act guaranteed to

                   miners;
       viii.   Direct Respondent to post a notice for a period of at least 60 days, at places where

notices are regularly posted for employees to see, in a size and font that is readily visible to

miners, at the Mine, stating that it will not violate Section 105(c) of the Mine Act. Such notice


                                                  5

   Appellate Case: 25-1349          Page: 5       Date Filed: 04/07/2025 Entry ID: 5503844
shall inform miners of their rights under Section 105(c) of the Mine Act and state that

Respondent will cease from discouraging miners from speaking to MSHA in any way and that

Respondent will not interfere with any right under the Mine Act guaranteed to miners or

discriminate against miners for engaging in any protected activity under Section 105(c) of the

Mine Act;

       ix.     Direct Respondent to provide training to all of its employees and managers at the

Mine about miners’ protected rights under the Mine Act, especially with regard to miners’ rights

to raise safety concerns to Respondent and communicate confidentially with MSHA about safety

and health matters, and also provide training to employees and managers that it is prohibited to

discourage miners from engaging in protected activities or interfere with miners’ rights to engage

in protected activities or discriminate against miners for engaging in protected activity under the

Mine Act. Respondent shall also provide MSHA an opportunity to review and make changes to

the content of this training prior to giving the training to its employees and managers;

       x.      An order granting any and all additional relief to which the Secretary and/or

Complainant Baumann may be entitled.


                                                      Respectfully submitted,

                                                      SEEMA NANDA
                                                      Solicitor of Labor

                                                      CHRISTINE Z. HERI
                                                      Regional Solicitor

                                                      EVERT H. VAN WIJK
                                                      Associate Regional Solicitor


Office of the Solicitor                               /s/ Laura O’Reilly
U.S. Department of Labor                              Laura O’Reilly
2300 Main St., Suite 10100                            Elaine Smith
Kansas City, MO 64108
Telephone: (816) 285-7277                             Attorneys for
Facsimile: (816) 285-7287                             Acting Secretary of Labor, United States



                                                 6

   Appellate Case: 25-1349         Page: 6      Date Filed: 04/07/2025 Entry ID: 5503844
oreilly.laura.m@dol.gov                             Department of Labor
smith.elaine.m@dol.gov



                                CERTIFICATE OF SERVICE

       I hereby certify that a correct copy of the foregoing Complaint was served by certified
mail and by email on this 17th day of August, 2023, on:

Russell Tidaback
American Tripoli
222 Oneida Street
Seneca, MO 64865
RTidaback@deedyco.com

Respondent


        I hereby certify that a correct copy of the foregoing Complaint was served by email on
this 17th day of August, 2023, on:


Robert Baumann
Baumannr24@gmail.com

Complainant


                                                    /s/ Laura O’Reilly




                                                7

   Appellate Case: 25-1349        Page: 7      Date Filed: 04/07/2025 Entry ID: 5503844
                          Exhibit A




Appellate Case: 25-1349   Page: 8   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 9   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 10   Date Filed: 04/07/2025 Entry ID: 5503844
           FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                          OFFICE OF THE CHIEF ADMINISTRATIVE LAW JUDGE
                             1331 PENNSYLVANIA AVE., N.W., SUITE 520N
                                    WASHINGTON, DC 20004-1710
                                     TELEPHONE: 202-434-9950
                                         FAX: 202-434-9949


                                       August 17, 2023


 SECRETARY OF LABOR, MSHA                           DISCRIMINATION PROCEEDING
  obo ROBERT BAUMANN,
              Complainant                           Docket No. CENT 2023-0251
                                                    MSHA No. MADI-CD-2023-03
               v.

 MOSENECAMANUFACTURER
 LIMITED LIABILITY COMPANY d/b/a                    Mine: MOSenecaMfr LLC dba American
 AMERICAN TRIPOLI,                                  Tr
               Respondent                           Mine ID: 23-00504


       The discrimination Complaint, filed under Section 105(c) of the Federal Mine Safety and
Health Act of 1977, was received in this office on August 17, 2023.

       The Complaint has been assigned the above-referenced docket number. Please refer to
this number in all future communication.

        Pursuant to Procedural Rule 43 of the Federal Mine Safety and Health Review
Commission, the operator's Answer must be filed within 30 days after service of the Complaint
to the operator.




                                            Glynn F. Voisin
                                            Chief Administrative Law Judge




   Appellate Case: 25-1349       Page: 11      Date Filed: 04/07/2025 Entry ID: 5503844
Distribution:

Russell Tidaback, American Tripoli, 222 Oneida Street, Seneca, MO 64865
RTidaback@deedyco.com

Laura O’Reilly, Esq., Elaine Smith, Esq, U.S. Department of Labor, 2300 Main St., Suite 10100
Kansas City, MO 64108, oreilly.laura.m@dol.gov, smith.elaine.m@dol.gov

Robert Baumann, Baumannr24@gmail.com

/CAH




   Appellate Case: 25-1349      Page: 12      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                          Seneca, MO 64865
                                                                                           Office (239) 829-5457

__________________________________________________________________________________________________

September 13, 2023

Federal Mine Safety and Health Review Commission
Office of the Chief Administrative Law Judge
1331 Pennsylvania Ave., N.W., Suite 520N
Washington, DC 20004-1710


Re: Docket No. CENT 2023-0251 - Operator's Answer



Dear Commissioners,

I write on behalf of American Tripoli, a limited liability company doing business as MOSenecaMfr LLC dba American Tr
mine ("Respondent"). I hereby submit Respondent's answer to the complaint filed pursuant to Section 105(c) of the
Federal Mine Safety and Health Act of 1977 (the "Mine Act") by the Secretary of Labor ("the Secretary") on behalf of Mr.
Robert Baumann ("Complainant").



I. Introduction

Respondent categorically denies the allegations contained in the complaint. The termination of Mr. Baumann was not
retaliatory but a result of his inadequate performance and demonstrated lack of judgment in his role as a shift lead. To
support this assertion, Respondent provides the following responses to the specific allegations.



II. Count I: Discrimination

1. Role Clarification: Respondent disputes Mr. Baumann's role as a production supervisor, clarifying that he was a shift
lead with limited authority, responsibility, and no prior supervisory experience. Mr. Baumann's job title and
performance history are essential context.

2. Absence of Safety Complaints: Respondent challenges the claim that Mr. Baumann made safety complaints and
raised safety concerns. There is a notable absence of evidence supporting these allegations.

3. Lack of Involvement in MSHA Inspections: Respondent contends that Mr. Baumann did not participate in MSHA
inspections as a representative of miners. No documentation substantiates his involvement in these inspections.

4. Termination Based on Performance: Respondent emphasizes that Mr. Baumann's termination was entirely
performance-related. His consistent incompetence and lack of improvement despite counseling and guidance justified
this action.



III. Count II: Interference



            Appellate Case: 25-1349          Page: 13       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
1. Intent of Communication: Respondent clarifies the intention behind John Spears' message to miners during the MSHA
inspection, emphasizing that it was not meant to interfere but to provide a point of contact and ensure accurate
information transfer.

2. Respect for Miner Rights: Respondent reaffirms its commitment to respecting miners' rights to report safety or health
issues to MSHA and participate in inspections without interference.

3. Withdrawal Order Response: Respondent denies any interference with the issuance of the withdrawal order and
contends that it was unjustified and excessive. The response to the order was necessary to protect the mine's
operations.



IV. Proposed Civil Penalties

Respondent argues that the proposed civil penalties are unjustified and unwarranted, given the circumstances of Mr.
Baumann's termination and the alleged violations. Respondent maintains its commitment to safety and compliance.



V. Conclusion

In conclusion, Respondent respectfully requests that the Commission dismiss the complaint against it. Respondent is
committed to cooperating with MSHA inspections and addressing legitimate safety concerns in a responsible and
compliant manner.



We remain available to provide any further information or documentation necessary to address this matter. Thank you
for your attention to this response.



Sincerely,



Russell Tidaback
American Tripoli
Russell.Tidaback@AmericanTripoli.com




             Appellate Case: 25-1349        Page: 14       Date Filed: 04/07/2025 Entry ID: 5503844
           FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                          OFFICE OF THE CHIEF ADMINISTRATIVE LAW JUDGE
                             1331 PENNSYLVANIA AVE., N.W., SUITE 520N
                                    WASHINGTON, DC 20004-1710
                                     TELEPHONE: 202-434-9950
                                         FAX: 202-434-9949


                                     September 19, 2023
 SECRETARY OF LABOR, MSHA                           DISCRIMINATION PROCEEDING
 obo ROBERT BAUMANN,
              Complainant                           Docket No. CENT 2023-0251
                                                    MSHA No. MADI-CD-2023-03
               v.




 MOSENECAMANUFACTURER                               Mine: MOSenecaMfr LLC dba American
 LIMITED LIABILITY COMPANY d/b/a                    Tr
 AMERICAN TRIPOLI,                                  Mine ID: 23-00504
               Respondent


                                ORDER OF ASSIGNMENT

       This case is hereby assigned to Administrative Law Judge William Moran. All future
communications regarding this case should be addressed to Judge Moran at the following
address:
                      Federal Mine Safety and Health Review Commission
                      1331 Pennsylvania Avenue, N.W., Suite 520N
                      Washington, D.C. 20004-1710
                      Telephone No. (202) 577-6809-cell
                      Email- wmoran@fmshrc.gov

        The name of the assigned judge must be placed in the upper right hand corner of
the first page of every pleading. The judge’s name and docket number must be included on
all pleadings. Failure to do so may result in a delay in case proceedings.




                                            Glynn F. Voisin
                                            Chief Administrative Law Judge




  Appellate Case: 25-1349       Page: 15       Date Filed: 04/07/2025 Entry ID: 5503844
Distribution:

Russell Tidaback, American Tripoli, 222 Oneida Street, Seneca, MO 64865
(Russell.Tidaback@AmericanTripoli.com)

Laura O’Reilly, U.S. Department of Labor, 2300 Main Street, Suite 10100, Kansas City, MO
64108 (oreilly.laura.m@dol.gov)

Robert Baumann, (baumannr24@gmail.com)



/WAFJ




   Appellate Case: 25-1349      Page: 16     Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
            FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                   OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,
                                     )   DISCRIMINATION &
 United States Department of Labor, and
                                     )   INTERFERENCE PROCEEDING
 ROBERT BAUMANN                      )   DOCKET
                      Complainants,  )
                                     )
            v.                       )   Docket No. CENT 2023-0251-DM
                                     )
 MOSENECAMANUFACTURER LIMITED        )
 LIABILITY COMPANY d/b/a AMERICAN    )   Mine: MOSenecaMfr LLC dba
 TRIPOLI,                            )   American Tr
                                     )   Mine Id No. 23-00504
                Respondent.          )
                          ENTRY OF APPEARANCE
     Petitioner hereby enters the appearance of the undersigned attorney as counsel for the
Acting Secretary of Labor in the above-styled case in addition to the Acting Secretary’s
Attorney. All pleadings and correspondence should henceforth be addressed to Laura M.
O'Reilly and Elaine M. Smith at U.S. Department of Labor, Office of the Solicitor, 2300 Main
Street, Suite 10100, Kansas City, Missouri 64108.
                                                    Respectfully submitted,

                                                    Seema Nanda
                                                    Solicitor of Labor

                                                    Christine Z. Heri
                                                    Regional Solicitor

                                                    Evert H. Van Wijk
                                                    Associate Regional Solicitor

U.S. Department of Labor                            /s/ Elaine M. Smith
Office of the Solicitor                             Elaine M. Smith
2300 Main Street, Suite 10100                       Attorney
Kansas City, MO 64108
(816) 285-7260
(816) 285-7262 (direct line)
(816) 285-7287 facsimile
Smith.Elaine.M@dol.gov                              Attorneys for the Acting Secretary




   Appellate Case: 25-1349       Page: 17      Date Filed: 04/07/2025 Entry ID: 5503844
                                  CERTIFICATE OF SERVICE
      Service of the foregoing Entry of Appearance has this date been made by mailing a copy
thereof by electronic mail, to:
Russell Tidaback
American Tripoli
2701 E. Grauwlyer Road
Building 1, Dept. 1008,
Irving, TX 75061
RTidaback@deedyco.com


Robert Baumann
Baumannr24@gmail.com


Dated this 5th day of October, 2023.

                                                  /s/ Elaine M. Smith




                                              2




   Appellate Case: 25-1349         Page: 18   Date Filed: 04/07/2025 Entry ID: 5503844
               FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                               OFFICE OF THE CHIEF ADMINISTRATIVE LAW JUDGE
                                  1331 PENNSYLVANIA AVE., N.W., SUITE 520N
                                         WASHINGTON, DC 20004-1710
                                          TELEPHONE: 202-434-9933
                                              FAX: 202-434-9949


                                           October 24, 2023
    SECRETARY OF LABOR                                   DISCRIMINATION PROCEEDING
    MINE SAFETY AND HEALTH
    ADMINISTRATION (MSHA),                               Docket No. CENT 2023-0251
    obo ROBERT BAUMANN,                                  MSHA No. MADI-CD-2023-03
               Petitioner

                  v.

    MOSENECAMANUFACTURER                                 Mine: MOSenecaMfr LLC dba American TR
    LIMITED LIABILITY COMPANY d/b/a                      Mine ID: 23-00504
    AMERICAN TRIPOLI,
               Respondent


                       ORDER OF ASSIGNMENT TO SETTLEMENT COUNSEL

        This docket is before the Court1 upon the discrimination Complaint filed by the Secretary of
Labor (“Secretary”) pursuant to section 105(c) of the Federal Mine Safety and Health Act of 1977
(“Mine Act”), 30 U.S.C. § 815. The parties have requested that the Court assign the case to a
Settlement Counsel and, by this Order, the Court has agreed to the request. While the parties hope
that a settlement can be reached, proactively, upon conferring with the parties next week, the Court
will set a hearing date.

        Commission Procedural Rule 55 grants Commission Judges broad powers to issue orders and
procedurally manage cases before them. 29 C.F.R. § 2700.55. The Court has determined that prior
to a hearing the parties would benefit from an opportunity to resolve this matter through a less formal
process of facilitated negotiations. Accordingly, it is hereby ORDERED that this case be assigned
to the Commission’s Settlement Counsel, Michelle Carter Williams, as the settlement attorney under
my jurisdiction.

        During the period this case is assigned to Settlement Counsel Williams, the parties are required
to enter into good faith negotiations and to comply with negotiation procedures and deadlines.
Settlement Counsel is authorized to conduct settlement negotiations, including face-to-face and
telephonic negotiations, and may engage in ex parte communications with the parties and their
representatives. Any such communications shall be privileged unless the party holding the privilege
specifically authorizes their disclosure. Other than her role as Settlement Counsel in this matter, Ms.
Williams will be barred from engaging in any substantive communications with, the Court or from
working on this case for the Court, in accordance with 29 C.F.R. § 2700.82(b). Finally, any electronic
or hard copies of materials provided to Settlement Counsel during the course of negotiations will be

1
    Reference to the “Court” means the undersigned, as the presiding judge assigned to this docket.
                                                    1


       Appellate Case: 25-1349        Page: 19       Date Filed: 04/07/2025 Entry ID: 5503844
destroyed when the Settlement Counsel’s assignment terminates.

        Representatives for the Secretary and Respondent shall contact Settlement Counsel Williams
at: (202) 434-9961 or mwilliams@fmshrc.gov, no later than Friday October 27, 2023, to arrange a
conference call between the parties, although Settlement Counsel may also elect to initiate contact
prior to that date. During that conference call, the parties shall confer and discuss how they will use
Ms. Williams to aid their settlement negotiations and to further their efforts to amicably dispose of
this matter.

       The parties should work with Settlement Counsel Williams in furthering their efforts to
amicably dispose of this docket. The assignment of Ms. Williams to this case shall terminate
December 15, 2023. In addition, any party is permitted to move for the termination of Settlement
Counsel’s handling of this matter and resolve the case through hearing and decision. The requesting
party may do so by filing with me a Motion to Dismiss Settlement Counsel.




                                                       ___________________
                                                       William B. Moran
                                                       Administrative Law Judge




Distribution:

Russell Tidaback, American Tripoli, 222 Oneida Street, Seneca, MO 64865, Email:
RTidaback@deedyco.com

Laura O’Reilly, Esq., U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108, Email: oreilly.laura.m@dol.gov

Elaine Smith, Esq, U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO 64108,
Email: smith.elaine.m@dol.gov

Robert Baumann, Email: Baumannr24@gmail.com




                                                   2


     Appellate Case: 25-1349         Page: 20      Date Filed: 04/07/2025 Entry ID: 5503844
            FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                            OFFICE OF THE CHIEF ADMINISTRATIVE LAW JUDGE
                               1331 PENNSYLVANIA AVE., N.W., SUITE 520N
                                      WASHINGTON, DC 20004-1710
                                       TELEPHONE: 202-434-9933
                                           FAX: 202-434-9949


                                        December 15, 2023
 SECRETARY OF LABOR, MSHA                              DISCRIMINATION PROCEEDING
 obo ROBERT BAUMANN,
              Complainant                              Docket No. CENT 2023-0251-DM
                                                       MSHA No. MADI-CD-2023-03
                v.




 MOSENECAMANUFACTURER                                  Mine: MOSenecaMfr LLC dba American
 LIMITED LIABILITY COMPANY d/b/a                       Tr
 AMERICAN TRIPOLI,                                     Mine ID: 23-00504
               Respondent


                                     NOTICE OF HEARING

       Upon consultation with the parties, it was agreed that the hearing in this matter shall
commence on Tuesday, February 27, 2024, and continue through Friday, March 1, 2024.
The hearing will be held in Joplin, MO or as close as possible to that location. The particular
courtroom location will be announced separately.

        The hearing will be conducted in accordance with the Mine Act and the Commission’s
Procedural Rules addressing the subject, as set forth at 29 C.F.R. Part 2700, Subpart G. The
issues to be resolved are as identified in the pleadings.

         At the start of the proceeding each party shall submit an exhibit list. Each exhibit shall be
marked; each of the Secretary’s Exhibits are to be marked with a “P” or some other uniform
designation, followed by a number, in sequence, and, in the same fashion, each of Respondent’s
Exhibits are to be marked with an “R” or with some other uniform designation, followed by a
number, in sequence. Where practicable, exhibits should be assembled in a binder. Exhibits
with multiple pages are to be separately and clearly numbered. This is important, as it will
allow for quick access to a particular page within an exhibit and for a clear record of the page
associated with testimony. The Court is to be provided with the parties’ exhibit binders at the
start of the hearing and the Court Reporter is also to be provided with a set of the exhibit binders.

       Prehearing Exchange: A copy of each exhibit is to be provided to the opposing side
Each potential witness is also to be identified in the exchange, along with a brief statement of the
expected testimony from that witness. This exchange is to occur by Tuesday, January 30,
2024. Supplemental exchanges may be made, as long as they are made in good faith and arising
from information which was not reasonably available at the time of the initial exchange. Note




   Appellate Case: 25-1349         Page: 21       Date Filed: 04/07/2025 Entry ID: 5503844
that, if a virtual hearing is required, the prehearing exchange requirements will be different. In
such an event, the Court will advise the parties of those requirements.

      Employing email, the parties are directed to acknowledge receipt of this Notice of
Hearing to the Court and to confirm that their witnesses are available.



                                                      ___________________
                                                      William B. Moran
                                                      Administrative Law Judge



Distribution:

Russell Tidaback, American Tripoli, 222 Oneida Street, Seneca, MO 64865
(Russell.Tidaback@AmericanTripoli.com)

Laura O’Reilly, U.S. Department of Labor, 2300 Main Street, Suite 10100, Kansas City, MO
64108 (oreilly.laura.m@dol.gov)

Elaine Smith, Esq, U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (smith.elaine.m@dol.gov)

Robert Baumann, (baumannr24@gmail.com)



WH




   Appellate Case: 25-1349         Page: 22      Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
            FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                   OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,
                                     )   DISCRIMINATION &
 United States Department of Labor, and
                                     )   INTERFERENCE PROCEEDING
 ROBERT BAUMANN                      )   DOCKET
                       Complainants, )
                                     )
            v.                       )   Docket No. CENT 2023-0251-DM
                                     )
 MOSENECAMANUFACTURER LIMITED        )
 LIABILITY COMPANY d/b/a AMERICAN    )   Mine: MOSenecaMfr LLC dba
 TRIPOLI,                            )   American Tr
                                     )   Mine Id No. 23-00504
                 Respondent.         )
                          ENTRY OF APPEARANCE
     Petitioner hereby enters the appearance of the undersigned attorney as counsel for the
Acting Secretary of Labor in the above-styled case in addition to the Acting Secretary’s
Attorney. All pleadings and correspondence should henceforth be addressed to Laura M.
O'Reilly, Elaine M. Smith, and Quinlan B. Moll at U.S. Department of Labor, Office of the
Solicitor, 2300 Main Street, Suite 10100, Kansas City, Missouri 64108.
                                                  Respectfully submitted,

                                                  Seema Nanda
                                                  Solicitor of Labor

                                                  Christine Z. Heri
                                                  Regional Solicitor

                                                  Evert H. Van Wijk
                                                  Associate Regional Solicitor

U.S. Department of Labor                          /s/ Quinlan B. Moll
Office of the Solicitor                           Quinlan B. Moll
2300 Main Street, Suite 10100                     Attorney
Kansas City, MO 64108
(816) 285-7260
(816) 285-7284 (direct line)
(816) 285-7287 facsimile
Moll.Quinlan.B@dol.gov                            Attorneys for the Acting Secretary




   Appellate Case: 25-1349       Page: 23     Date Filed: 04/07/2025 Entry ID: 5503844
                                  CERTIFICATE OF SERVICE
      Service of the foregoing Entry of Appearance has this date been made by mailing a copy
thereof by electronic mail, to:
Russell Tidaback
American Tripoli
2701 E. Grauwlyer Road
Building 1, Dept. 1008,
Irving, TX 75061
RTidaback@deedyco.com


Robert Baumann
Baumannr24@gmail.com


Dated this 10 th day of January, 2024.
                                                  /s/ Quinlan B. Moll




                                              2




   Appellate Case: 25-1349         Page: 24   Date Filed: 04/07/2025 Entry ID: 5503844
                              United states of america
                  Federal Mine Safety and Health Review Commission
                                    3HQQV\OYDQLD$YHQXH1:6XLWH1
                                            Washington, DC 2000-



                                                               SUBPOENA


Acting Secretary of Labor, Mine Safety and Health
Administration (MSHA) and Robert Baumann
Petitioner/Complainant/Contestant                                           Docket NoV. CENT 2023-0251
v.
MOSenecaManufacturer Limited Liability Company
d/b/a American Tripoli
Respondent


TO:      John Spears


                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at a hearing in the
                     above proceeding.

PLACE OF HEARING                                                            DATE AND TIME




     ✔
                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at the taking of a
                     deposition in the above proceeding.

PLACE OF DEPOSITION                                                         DATE AND TIME

Joplin Public Library,1901 East 20th Street, Conference                      January 30, 2024, 9:30 a.m.
Room 4 (Art Kungle Jr Room), Joplin, Missouri 64804.

                     YOU ARE DIRECTED to bring the following items with you:




This subpoena is issued upon the application of (indicate if attorney/representative for party):

PERSON REQUESTING SUBPOENA                                                  ADDRESS, TELEPHONE AND FAX NUMBERS

Quinlan B. Moll, U.S. DOL, Office of the Solicitor                          2300 Main Street, Suite 10100, Kansas City, MO 64108
Attorneys for the Acting Secretary of Labor                                 Phone: 816-285-7284, Fax: 816-285-7287

ISSUED BY:




                                                                                                January 16, 2024
____________________________                                                                  ______________
                                                                                                    Date
William B. Moran
Administrative Law Judge

                                                              www.fmshrc.gov
                                                   (202) 434-9900    Fax: (202) 434-9906
                                                          email: info@fmshrc.gov
          Appellate Case: 25-1349                     Page: 25            Date Filed: 04/07/2025 Entry ID: 5503844
                                                          PROOF OF SERVICE

SERVED: _______________                                 _______________________________________________________________
                     DATE                                                                  PLACE



SERVED ON (Print Name):                                                          MANNER OF SERVICE:



SERVED BY (Print Name):                                                          TITLE:


                                                    DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the
Proof of Service is true and correct. (If service was by Registered or Certified Mail, attach return receipt.)

Executed On: _______________                            _______________________________________________________________
                          Date                                                       Signature of Server

Address of Server: _____________________________________________________________________________________


TITLE 29, CODE OF FEDERAL REGULATIONS                                           [Any motion to revoke or modify a subpoena; must be in writing;
CHAPTER XXVII – FEDERAL MINE SAFETY AND HEALTH                               must identify the case by name and docket number; must be
REVIEW COMMISSION                                                            signed by the filing person; and shall include the filing person’s
PART 2700, PROCEDURAL RULES                                                  address and phone number.

                                                                                The motion shall be filed by facsimile transmittal, and a copy
§ 2700.60 Subpoenas                                                          shall be served by facsimile on the person upon whose application
                                                                             the subpoena was issued. Commission Procedural Rules 5, 6, 7,
   (a) Compulsory attendance of witnesses and production of                  and 10.]
documents. The Commission and its Judges are authorized to
issue subpoenas, on their own motion or on the oral or written                  (d) Availability of Transcript. Persons compelled to submit
application of a party, requiring the attendance of witnesses and            evidence at a public proceeding are entitled to obtain, on payment
the production of documents and physical evidence. A subpoena                of prescribed costs, a transcript of that part of the proceeding that
may be served by any person who is at least 18 years of age. A               sets forth their testimony or refers to their production of evidence.
subpoena may also be served by registered or certified mail, return
receipt requested, but, in such case, any risk of delivery is on the            (e) Failure to Comply. Upon the failure of any person to
serving party. A copy of the subpoena bearing a certificate of               comply with an order to testify or with a subpoena issued by the
service shall be filed with the Commission or the Judge.                     Commission or the Judge, the Judge or the Commission’s General
                                                                             Counsel, at the request of the Judge or at the direction of the
   (b) Fees payable to witnesses. Subpoenaed witnesses shall                 Commission, may undertake to initiate proceedings in the
be paid the same fees and mileage as are paid in the district courts         appropriate district court of the United States for the enforcement
of the United States. The witness fees and mileage shall be paid             of the subpoena.
by the party at whose request the witness appears, or by the
Commission if a witness is subpoenaed on the motion of the                   TENDER OF FEES AND MILEAGE
Commission or a Judge. This paragraph does not apply to
Government employees who are called as witnesses by the                         Service of a subpoena directing a person’s attendance at a
Government.                                                                  hearing or deposition shall be accompanied by tendering to that
                                                                             person the fees or one day’s attendance and the mileage allowed
   (c) Motions to revoke or modify subpoenas. Any person                     by law, except that, when a subpoena is issued at the request of
served with a subpoena may move within 5 [business] days of                  the United States or an officer or agency thereof, fees and mileage
service or at the hearing, whichever is sooner, to revoke or modify          need not be tendered. Fed.R.Civ.P.45(b).
the subpoena. The Commission or the Judge, as appropriate,
shall revoke or modify the subpoena if it seeks information outside          PROTECTION OF PERSONS SUBJECT TO SUBPOENAS
the proper scope of discovery as set forth in § 2700.56(b); or if it
does not describe with sufficient particularity the evidence required                   A party or an attorney responsible for the issuance and
to be produced; or if for any other reason it is found to be invalid or      service of a subpoena shall take reasonable steps to avoid
unreasonable. The Commission or the Judge shall set forth a                  imposing undue burden or expense on a person subject to that
concise statement of the grounds for such ruling.                            subpoena. A party or attorney who breaches this duty may be
                                                                             subject to an appropriate sanction. Fed.R.Civ.P.45(c)(1).



                                                                                                                                                  2

          Appellate Case: 25-1349                      Page: 26           Date Filed: 04/07/2025 Entry ID: 5503844
                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that service of the foregoing Subpoena was made upon
the following, via certified mail, on January 27, 2024:

       John Spears
       10396 Reindeer Dr.
       Granby, MO 64844

                                                     /s/ Quinlan B. Moll




   Appellate Case: 25-1349        Page: 27       Date Filed: 04/07/2025 Entry ID: 5503844
   0123457282329204 23 4 70 3 774 2702100121823
                               '                                                                  "#$%&




4()*+,-./012(5                                                                               320=D2

     =>?  0@@A=-B=(02@2C,D2(?EFAA>G5HH,-B=(02@@2C,D2(?/G>G*=0HI

   1)A2GA>@)A2
   JKLMNOPQRSTUPVNWPMPUOKSXNXUNWNULSVSOOYPSUUMPTTSOZ[\]^QKX_SXLSM`abcada]NXefghiJcjk
   l]m]]n

   opqrsptuqsv!w
       !xu%'
    2 C,D2(2@
    2C,D2(2@12BA,AF-@,D,@/)C
    yz{|}~
     
    32@2C,D2(?7*F2@/C2@
    yz{|}~
     
    32@2C,D2(?7*F2@/C2@
    yz{|}~
     
    =A,*212BAE=0/AF=(,2@32*,>,2-A0D),C)1C2I
    yz{|}~
     



        Appellate Case: 25-1349       Page: 28      Date Filed: 04/07/2025 Entry ID: 5503844
    67897  7




                                                                                                 
     !""#
    $%&'(&)&*
    67897  *7
    +,-../0123#24
    '567$897%:;)&;7'<67=><7&$?%$<%6
    67897  @AB
    -../0123#24
    '567$897%:;)&;7'<67=><7&$?%$<%6
    67897  C @B
    -../0123#24
    DE$'E'?7<F)&;7'<67=><7&$?%$<%6
    67897 @ CB
    GHI1JKLMNHOPGH4QRKS

 TULQVRW0X0JKLMNHOP0QLQY414Z1LO[\UQQ]4^__`LabY4]4bMRc_4_LKQHMd1_TU1K1eH4ecSe]LMNLP1f

  J1gQhicLHdW]ILQ14                                                                       j

  W0X0JKLMNHOPXdY4k                                                                        j

  XKRIYMQlO`RKcLQHRO                                                                        j

                                          01131445
<7mnE8opqr57mn7sr




                                     11IZRK1G1d][

         Appellate Case: 25-1349   Page: 29     Date Filed: 04/07/2025 Entry ID: 5503844
                                     0123




Appellate Case: 25-1349   Page: 30    Date Filed: 04/07/2025 Entry ID: 5503844
            FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                            OFFICE OF THE CHIEF ADMINISTRATIVE LAW JUDGE
                               1331 PENNSYLVANIA AVE., N.W., SUITE 520N
                                      WASHINGTON, DC 20004-1710
                                       TELEPHONE: 202-434-9933
                                           FAX: 202-434-9949


                                         February 8, 2024
 SECRETARY OF LABOR, MSHA                             DISCRIMINATION PROCEEDING
 obo ROBERT BAUMANN,
              Complainant                             Docket No. CENT 2023-0251-DM
                                                      MSHA No. MADI-CD-2023-03
                v.




 MOSENECAMANUFACTURER                                 Mine: MOSenecaMfr LLC dba American
 LIMITED LIABILITY COMPANY d/b/a                      Tr
 AMERICAN TRIPOLI,                                    Mine ID: 23-00504
               Respondent


                           NOTICE OF HEARING LOCATION


       Upon consultation with the parties, it was agreed that the hearing in this matter shall
commence on Tuesday, February 27 and to continue as necessary through Friday, March 1,
2024. The hearing shall begin promptly at 9:00 a.m. The hearing location will be held in Joplin,
MO at the location listed below:

                              Jasper County Courts Building
                                   633 S. Pearl Ave.
                                     Courtroom A
                                    Joplin, MO 64801


        The hearing will be conducted in accordance with the Mine Act and the Commission’s
Procedural Rules addressing the subject, as set forth at 29 C.F.R. Part 2700, Subpart G. The
issues to be resolved are as identified in the pleadings.

       At the start of the proceeding each party shall submit an exhibit list. Each exhibit shall be
marked; each of the Secretary’s Exhibits are to be marked with a “P” or some other uniform
designation, followed by a number, in sequence, and, in the same fashion, each of Respondent’s
Exhibits are to be marked with an “R” or with some other uniform designation, followed by a
number, in sequence. Where practicable, exhibits should be assembled in a binder. Exhibits
with multiple pages are to be separately and clearly numbered. This is important, as it will
allow for quick access to a particular page within an exhibit and for a clear record of the page




   Appellate Case: 25-1349        Page: 31       Date Filed: 04/07/2025 Entry ID: 5503844
associated with testimony. The Court is to be provided with the parties’ exhibit binders at the
start of the hearing and the Court Reporter is also to be provided with a set of the exhibit binders.

        Prehearing Exchange: A copy of each exhibit is to be provided to the opposing side
Each potential witness is also to be identified in the exchange, along with a brief statement of the
expected testimony from that witness. This exchange should have occurred by Tuesday,
January 30, 2024. Supplemental exchanges may be made, as long as they are made in good
faith and arising from information which was not reasonably available at the time of the initial
exchange. Note that, if a virtual hearing is required, the prehearing exchange requirements will
be different. In such an event, the Court will advise the parties of those requirements.

      Employing email, the parties are directed to acknowledge receipt of this Notice of
Hearing to the Court and to confirm that their witnesses are available.



                                                       ___________________
                                                       William B. Moran
                                                       Administrative Law Judge



Distribution:

Russell Tidaback, American Tripoli, 222 Oneida Street, Seneca, MO 64865
(Russell.Tidaback@AmericanTripoli.com)

Laura O’Reilly, U.S. Department of Labor, 2300 Main Street, Suite 10100, Kansas City, MO
64108 (oreilly.laura.m@dol.gov)

Elaine Smith, Esq, U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (smith.elaine.m@dol.gov)

Quinlan B. Moll, Esq. U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (Moll.Quinlan.B@dol.gov)

Robert Baumann, (baumannr24@gmail.com)



WH




   Appellate Case: 25-1349         Page: 32       Date Filed: 04/07/2025 Entry ID: 5503844
                           UNITED STATES OF AMERICA
               FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                      OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,                       )     DISCRIMINATION &
 United States Department of Labor, and                        )     INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                                )     DOCKET
                      Complainants,                            )
                                                               )
                   v.                                          )     Docket No. CENT 2023-0251-DM
                                                               )
 MOSENECAMANUFACTURER LIMITED                                  )
 LIABILITY COMPANY d/b/a AMERICAN                              )     Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                                      )     American Tr
                                                               )     Mine Id No. 23-00504
                             Respondent.                       )

  ACTING SECRETARY’S MOTION TO EXCLUDE RESPONDENT’S LATE DISCLOSED
                       WITNESSES AND EXHIBITS

         Pursuant to the Commission’s Rule 2700.10, the Acting Secretary hereby brings this

Motion to Exclude Respondent’s late disclosed witness and exhibits from the hearing of this

matter. In support of this Motion, the Acting Secretary states as follows:

         1)       Pursuant to this Court’s December 15, 2023, Notice of Hearing, the parties were

to make their Prehearing Exchange with a copy of each exhibit and identification of each

potential witness by January 30, 2024.

         2)       The Acting Secretary, through counsel, made this Prehearing Exchange timely, on

January 30, 2024, providing a witness and exhibit list and providing pre-marked copies of the

potential exhibits 1.0F




         3)       Respondent failed to meet this deadline. However, on January 31, 2024,

Respondent emailed counsel for the Acting Secretary providing an exhibit list identifying one
1 Copies of two exhibits identified as deposition transcript excerpts, were not provided, as the deposition transcripts
have not been received yet from the Court reporter as the depositions took place on January 22, 2024 and January
30, 2024. However, the Acting Secretary did identify that those transcripts would be potential exhibits and noted
they were pending on the exhibit list.

                                                           1




   Appellate Case: 25-1349               Page: 33          Date Filed: 04/07/2025 Entry ID: 5503844
exhibit along with the copy of the one exhibit and a witness list 2. The January 31 email is
                                                                           1F




attached hereto as Exhibit A; the January 31 witness list is attached hereto as Exhibit B; and the

January 31 exhibit list is attached hereto as Exhibit C. Respondent gave no explanation for why

this Prehearing Exchange, provided one day after the Court’s deadline, was not provided timely.

        4)       On February 8, 2024, nine days after the deadline for the Prehearing Exchange,

Respondent, for the second time, made a late disclosure of a new witness list and provided 36

exhibits Respondent proposes to use at trial. The February 8 witness list identifies one witness,

Mr. Max Drake and “Any witness on the Secretary’s witness list” and “any witness needed for

rebuttal.” February 8 Witness List, attached hereto as Exhibit D. Respondent again gave no

explanation as to why the new witness and 35 additional exhibits were not provided timely.

        5)       Further, Respondent has attempted to include at least five exhibits into its exhibits

for the hearing which were not produced in discovery but would have been responsive to

discovery requests. 3 As such, not only were these proposed exhibits provided late, they were
                      2F




also not produced in discovery preventing the Acting Secretary the opportunity to use any such

exhibits in depositions or to request further information about such documents in discovery.

Discovery closed in this case on February 7, 2024.

        6)       The Court’s Notice of Hearing states that supplemental exchanges can be made

“in good faith and arising from information which was not reasonably available at the time of the


2 The witness list contained a typo stating that the witnesses to be called would be “Any witness on Respondent’s
witness list”. Counsel for the Acting Secretary clarified on January 31, 2024, that Respondent meant any witness on
the Secretary’s witness list, and Respondent confirmed that Respondent meant any witness on the Secretary’s list.
See Exhibit A at page 2.
3 For example, Exhibit C is an excel spreadsheet of workplace exams, but only the PDF was provided in discovery.
Exhibit D is a spreadsheet that was not produced in discovery regarding MSHA inspections and the status of the
inspections and citations. Exhibit CC are teams chats with Rob Baumann and Mr. Tidaback that were not produced
in their entirety in discovery and these chats contain extra commentary by Respondent at the top of the document.
Exhibit G contains an email to MSHA regarding a mine inspector which was not produced in discovery. Exhibit J
contains a list of Supervisor v. Lead classification that was not produced in discovery.

                                                         2




   Appellate Case: 25-1349              Page: 34         Date Filed: 04/07/2025 Entry ID: 5503844
initial exchange.” There is no indication or information to suggest that any of the exhibits

provided on February 8, 2024 were not reasonably available at the time of the initial exchange.

The 36 exhibits consist of documents dated in 2023 or earlier which would have all been

available to Respondent by the Court’s January 30, 2024 deadline for the Prehearing Exchange.

As such, the Court should exclude all of the 35 new exhibits presented by Respondent on

February 8, 2024 from the hearing on this matter along with the newly disclosed witness.

       7)      Pursuant to Commission Rule 2700.10(c), counsel for the Acting Secretary

conferred by email with Respondent’s representative on this Motion and Respondent is opposed

to this Motion. Counsel for the Acting Secretary indicated in that email that there was no

indication that any of the exhibits were not available to Respondent as of January 30, 2024. In

response, Respondent did not claim that the documents were unavailable as of January 30, 2024.

       WHEREFORE, the Acting Secretary respectfully requests the Court exclude

Respondent’s witness identified on February 8 and the 35 new exhibits identified on February 8

from the hearing in this case.




                                                     Respectfully submitted,

                                                     Seema Nanda
                                                     Solicitor of Labor

                                                     Christine Z. Heri
                                                     Regional Solicitor

                                                     Evert H. Van Wijk
                                                     Associate Regional Solicitor

U.S. Department of Labor                             /s/ Laura O’Reilly
Office of the Solicitor                              Laura O’Reilly
2300 Main Street, Suite 10100                        Elaine Smith

                                                 3




   Appellate Case: 25-1349         Page: 35      Date Filed: 04/07/2025 Entry ID: 5503844
Kansas City, MO 64108                               Quinlan Moll
(816) 285-7260
(816) 285-7277 (direct line-O’Reilly)
(816) 285-7287 facsimile
Oreilly.laura.m@dol.gov
Smith.elaine.m@dol.gov
Moll.Quinlan.B@dol.gov                              Attorneys for the Acting Secretary




                                CERTIFICATE OF SERVICE

      Service of the foregoing Motion to Exclude has this date been made by mailing a copy thereof
by electronic mail, to:
Russell Tidaback
American Tripoli
2701 E. Grauwlyer Road
Building 1, Dept. 1008,
Irving, TX 75061
RTidaback@deedyco.com

Robert Baumann
Baumannr24@gmail.com

Dated this 9th day of February 2024.
                                                    /s/Laura O’Reilly




                                                4




   Appellate Case: 25-1349        Page: 36      Date Filed: 04/07/2025 Entry ID: 5503844
                          Exhibit A




Appellate Case: 25-1349   Page: 37   Date Filed: 04/07/2025 Entry ID: 5503844
From:             Russell Tidaback
To:               O"Reilly, Laura M - SOL
Cc:               Smith, Elaine M - SOL; Moll, Quinlan B - SOL; Rob Baumann; Russell Tidaback
Subject:          Re: Secretary/Baumann v. American Tripoli-CENT 2023-0251 Prehearing Exchange
Date:             Wednesday, January 31, 2024 7:04:40 AM
Attachments:      image001.png




 CAUTION: This email originated from outside of the Department of Labor. Do
 not click (select) links or open attachments unless you recognize the sender
 and know the content is safe. Report suspicious emails through the "Report
 Phishing" button on your email toolbar.

Good morning. My appologies, yes, any witness on the secretary's witness list.

Russell

From: O'Reilly, Laura M - SOL <OReilly.Laura.M@dol.gov>
Sent: Wednesday, January 31, 2024 8:01 AM
To: Russell Tidaback <RTidaback@deedyco.com>
Cc: Smith, Elaine M - SOL <Smith.Elaine.M@dol.gov>; Moll, Quinlan B - SOL
<Moll.Quinlan.B@dol.gov>; Rob Baumann <baumannr24@gmail.com>
Subject: RE: Secretary/Baumann v. American Tripoli-CENT 2023-0251 Prehearing Exchange

Russell,

Your witness list states in number one, any witness on “Respondent’s” witness list. Did you mean to
state “Any witness on the Secretary’s witness list”.

Please clarify.

Thank you,

Laura O’Reilly
Senior Trial Attorney
U.S. Department of Labor
Office of the Solicitor
2300 Main Street, Suite 10100
Kansas City, Missouri 64108
(816) 285-7277
(816) 285-7287 (fax)

This message may contain information that is privileged or otherwise exempt from disclosure under
applicable law. Do not disclose without consulting the Office of the Solicitor. If you think you
received this e-mail in error, please notify the sender immediately.




  Appellate Case: 25-1349               Page: 38           Date Filed: 04/07/2025 Entry ID: 5503844
From: Russell Tidaback <RTidaback@deedyco.com>
Sent: Wednesday, January 31, 2024 5:08 AM
To: O'Reilly, Laura M - SOL <OReilly.Laura.M@dol.gov>
Cc: Smith, Elaine M - SOL <Smith.Elaine.M@dol.gov>; KC - Docket - SOL <SOL.KC.Docket@DOL.gov>;
Moll, Quinlan B - SOL <Moll.Quinlan.B@dol.gov>; Rob Baumann <baumannr24@gmail.com>; Russell
Tidaback <RTidaback@deedyco.com>
Subject: Re: Secretary/Baumann v. American Tripoli-CENT 2023-0251 Prehearing Exchange


 CAUTION: This email originated from outside of the Department of Labor.
 Do not click (select) links or open attachments unless you recognize the
 sender and know the content is safe. Report suspicious emails through the
 "Report Phishing" button on your email toolbar.

Hello.

Attached is the Respondents Witness List and Exhibit List.

Russell Tidaback




                   CENT 2023-0251 Respondent Witness List.pdf




                   MSHA Email stating there are no Miners Representatives at our site - 14NOV2023.pdf




                   CENT 2023-0251 Respondent Exhibit List.pdf


Managing Member




AmericanTripoli.com




  Appellate Case: 25-1349           Page: 39       Date Filed: 04/07/2025 Entry ID: 5503844
Shipping/Receiving Warehouse: 5 Oneida St, Seneca, MO 64865
Administration Office: 222 Oneida St, Seneca, MO 64865
Mailing Address: 2701 East Grauwyler Road, Bldg 1, Dept# 1008, Irving, TX 75061-3414

IMPORTANT NOTICE: The information transmitted by this email is intended only for the person or entity to which it is addressed, be aware that disclosing, copying, distributing, or
taking any action in reliance on the contents of this information is prohibited. This email may contain proprietary, business-confidential, or privileged material. Our company accepts
no liability for the content of this email or for the consequences of any actions taken based on the information provided unless that information is separately confirmed in writing.
Under the General Data Protection Regulation (GDPR) (EU) 2016/679, we have a legal duty to protect any information we collect from you. Information contained in this email and any
attachments may be privileged or confidential and intended for the exclusive use of the original recipient. If you have received this email by mistake, please advise the sender
immediately and delete the email, including emptying your deleted email box.



From: O'Reilly, Laura M - SOL <OReilly.Laura.M@dol.gov>
Sent: Tuesday, January 30, 2024 8:42 AM
To: Russell Tidaback <RTidaback@deedyco.com>
Cc: Smith, Elaine M - SOL <Smith.Elaine.M@dol.gov>; KC - Docket - SOL <SOL.KC.Docket@DOL.gov>;
Moll, Quinlan B - SOL <Moll.Quinlan.B@dol.gov>; Rob Baumann <baumannr24@gmail.com>
Subject: Secretary/Baumann v. American Tripoli-CENT 2023-0251 Prehearing Exchange

Good morning,

Attached is the Acting Secretary’s Prehearing Exchange, containing the Witness List and Exhibit List.
The pre-marked exhibits for the exhibit list will be sent in a separate email containing a link to
download the exhibits.

Regards,

Laura O’Reilly
Senior Trial Attorney
U.S. Department of Labor
Office of the Solicitor
2300 Main Street, Suite 10100
Kansas City, Missouri 64108
(816) 285-7277
(816) 285-7287 (fax)

This message may contain information that is privileged or otherwise exempt from disclosure under
applicable law. Do not disclose without consulting the Office of the Solicitor. If you think you
received this e-mail in error, please notify the sender immediately.




   Appellate Case: 25-1349                                     Page: 40                   Date Filed: 04/07/2025 Entry ID: 5503844
                          Exhibit B




Appellate Case: 25-1349   Page: 41   Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,             )     DISCRIMINATION &
 United States Department of Labor, and              )     INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                      )     DOCKET
                      Complainants,                  )
                                                     )
                v.                                   )     Docket No. CENT 2023-0251-DM
                                                     )
 MOSENECAMANUFACTURER LIMITED                        )
 LIABILITY COMPANY d/b/a AMERICAN                    )     Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                            )     American Tr
                                                     )     Mine Id No. 23-00504
                                                     )
                        Respondent.                  )

                               RESPONDENTS WITNESS LIST

Pursuant to the Court’s Notice of Hearing, the Acting Secretary submits its witness list as part of
the Prehearing Exchange.

1) Any witness on Respondent’s witness list

2) Any witness needed for rebuttal

Respondent reserves the right to amend this witness list




                                                 1

   Appellate Case: 25-1349        Page: 42       Date Filed: 04/07/2025 Entry ID: 5503844
                     ANSWERS FOR PRODUCTION OF DOCUMENTS

       1.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a daily basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.


       2.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a weekly basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.


       3.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a monthly basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.




                                                2

  Appellate Case: 25-1349         Page: 43      Date Filed: 04/07/2025 Entry ID: 5503844
       4.     Produce the documents reflecting production at the MOSenecaMfr LLC dba
American Tr mine from January 1, 2022 through January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly, covering the entire period in question. We believe this
       report should fulfill your requirement for production data during the specified time frame.




                                                    Respectfully submitted,

                                                    Russell Tidaback
                                                    American Tripoli




                                                3

  Appellate Case: 25-1349        Page: 44       Date Filed: 04/07/2025 Entry ID: 5503844
                          Exhibit C




Appellate Case: 25-1349   Page: 45   Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,             )   DISCRIMINATION &
 United States Department of Labor, and              )   INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                      )   DOCKET
                      Complainants,                  )
                                                     )
                v.                                   )   Docket No. CENT 2023-0251-DM
                                                     )
 MOSENECAMANUFACTURER LIMITED                        )
 LIABILITY COMPANY d/b/a AMERICAN                    )   Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                            )   American Tr
                                                     )   Mine Id No. 23-00504
                                                     )
                        Respondent.                  )

                               RESPONDENTS EXHIBIT LIST

Pursuant to the Court’s Notice of Hearing, the Acting Secretary submits its Exhibit list as part of
the Prehearing Exchange.


       Exhibit No.            Exhibit Description

       R-1                    MSHA response email regarding miner representative




                                                 1

   Appellate Case: 25-1349        Page: 46       Date Filed: 04/07/2025 Entry ID: 5503844
                     ANSWERS FOR PRODUCTION OF DOCUMENTS

       1.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a daily basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.


       2.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a weekly basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.


       3.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a monthly basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.




                                                2

  Appellate Case: 25-1349         Page: 47      Date Filed: 04/07/2025 Entry ID: 5503844
       4.     Produce the documents reflecting production at the MOSenecaMfr LLC dba
American Tr mine from January 1, 2022 through January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly, covering the entire period in question. We believe this
       report should fulfill your requirement for production data during the specified time frame.




                                                    Respectfully submitted,

                                                    Russell Tidaback
                                                    American Tripoli




                                                3

  Appellate Case: 25-1349        Page: 48       Date Filed: 04/07/2025 Entry ID: 5503844
                        UNITED STATES OF AMERICA
            FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                   OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,             )     DISCRIMINATION &
 United States Department of Labor, and              )     INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                      )     DOCKET
                      Complainants,                  )
                                                     )
                v.                                   )     Docket No. CENT 2023-0251-DM
                                                     )
 MOSENECAMANUFACTURER LIMITED                        )
 LIABILITY COMPANY d/b/a AMERICAN                    )     Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                            )     American Tr
                                                     )     Mine Id No. 23-00504
                                                     )
                        Respondent.                  )

                              RESPONDENTS WITNESS LIST

Pursuant to the Court’s Notice of Hearing, the Respondent submits its witness list as part of the
Prehearing Exchange.

1) Mr. Max Drake – Prior American Tripoli Miners Representative

2) Any witness on the Secretary’s witness list

3) Any witness needed for rebuttal

Respondent reserves the right to amend this witness list




                                                 1

   Appellate Case: 25-1349        Page: 49       Date Filed: 04/07/2025 Entry ID: 5503844
                     ANSWERS FOR PRODUCTION OF DOCUMENTS

       1.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a daily basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.


       2.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a weekly basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.


       3.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a monthly basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.




                                                2

  Appellate Case: 25-1349         Page: 50      Date Filed: 04/07/2025 Entry ID: 5503844
       4.     Produce the documents reflecting production at the MOSenecaMfr LLC dba
American Tr mine from January 1, 2022 through January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly, covering the entire period in question. We believe this
       report should fulfill your requirement for production data during the specified time frame.




                                                    Respectfully submitted,

                                                    Russell Tidaback
                                                    American Tripoli




                                                3

  Appellate Case: 25-1349        Page: 51       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                            Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                           5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                           Seneca, MO 64865
                                                                                            Office (239) 829-5457

__________________________________________________________________________________________________
MOSENECAMANUFACTURER LIMITED LIABILITY COMPANY
d/b/a AMERICAN TRIPOLI
Respondent

February 14, 2024
Judge William B. Moran
FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
OFFICE OF THE CHIEF ADMINISTRATIVE LAW JUDGE
1331 PENNSYLVANIA AVE., N.W., SUITE 520N
WASHINGTON, DC 20004-1710

Re: Motion to Exclude Late Disclosed Witnesses and Exhibits filed by the Acting Secretary, Docket No. CENT 2023-0251
Mine: MOSenecaMfr LLC dba American Tr Mine ID: 23-00504
Dear Judge Moran,
I am writing in response to the Acting Secretary’s Motion to Exclude Respondent’s Late Disclosed Witnesses and
Exhibits, filed on [date of filing]. I appreciate the opportunity to address this matter before the court.

As outlined in the Notice of Hearing, the prehearing exchange deadline for exhibits and witness lists was set for January
30, 2024. While I acknowledge that our supplemental exchange occurred after this deadline, I assure the court that it
was made in good faith.

We encountered difficulties in compiling and organizing the information within the specified timeframe. Despite our
best efforts, we were unable to meet the original deadline set by the court.

I would like to emphasize that the exhibits were not intentionally withheld or kept hidden from the Acting Secretary.
Rather, all the exhibits except for Exhibit J, as annotated below, were provided or were available to the Secretary before
the court’s deadline, and we believe these documents are crucial to the fair presentation of our case.

To the points raised by the Secretary:

The Secretary stated, "At no time prior to either late disclosure did Respondent attempt to confer with the Secretary
about the late disclosures, request leave to make late disclosures, or offer an explanation as to why the proposed
witness and exhibits were not provided to the Secretary by the Prehearing Exchange deadline." Below is the email I sent
to the Secretary on February 8, 2024, explaining why the exhibits were late and offering my time to respond to any
questions or details needed by the Secretary.

In the email sent to the Secretary on February 8, 2024, I wrote “Thank you for bringing these matters to my attention,
and I sincerely apologize for any inconvenience caused by the delayed submission of the exhibits and witness list.

Regarding Exhibit F, I have attached it for your review as requested.

As for the lateness of the exhibits and witness list, I understand and acknowledge your concerns. I regret any
inconvenience caused and assure you that I am committed to meeting the court's deadlines in the future. The delay in
supplemental production stemmed from the complexity of the task and the competing demands on my time as a sole
individual managing both legal obligations and operational responsibilities.

                                   CustomerService@AmericanTripoli.com
           Appellate Case: 25-1349           Page: 52        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                              Seneca, MO 64865
                                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
Despite these challenges, I made every effort to comply with the Court's Order to the best of my ability. The compilation
and organization of the exhibits and witness list required additional time and effort, given the scope of the case and my
limited resources.

I understand your intention to file a Motion to Exclude these materials, and I am prepared to oppose it and request a
conference with the judge if necessary. However, I hope we can resolve this matter without the need for such action.

I am committed to ensuring that all necessary information is provided in a timely and comprehensive manner. Please let
me know if you require any additional information or clarification. I will gladly go into detail discussion with you. Thank
you for your understanding and cooperation in this matter.”

It was also my understanding, as worded in the court's instructions, that I could add documents prior to the hearing date
if I am acting in good faith and can explain its purpose.



1. Regarding the Secretary’s claim to the exhibits as altered:

    •   Exhibit B: The differences in dates and the addition of entries were due to the nature of the document's origin,
        which was created from the same online notes page. Any perceived alterations were unintentional and do not
        affect the substance of the information provided.

    •   Exhibit C: The format of this exhibit was changed to PDF for ease of sharing, but the data remains unchanged.

    •   Exhibit U: Similar to Exhibit C, this exhibit was provided in a different format but contains the same information.


2. Regarding the Secretary’s claim to the exhibits as not provided in discovery or the Secretary’s investigation:

        Exhibit D: Secretary has the or has access to the information as shown in the Secretary’s exhibits P-20, P-21, and
        P-22. Exhibit D is one step further than the Secretary’s exhibits filtered by CFR standard and Mr. Baumann’s
        employment timeframe.

        Exhibit E, G, and H: Secretary has access to all email correspondence to or from MSHA personnel. I am told that
        certain communications from MSHA is confidential.

        Exhibit EE: Secretary was given this chat result. It is in the Secretary’s Exhibit P-12, page 11 of 23 and the
        Secretary has access to the MSHA personnel email correspondence discussed in the chat messages for further
        clarification.

        Exhibit J: The Secretary may not have been given this document as I do not see it in any correspondence. This
        document may have been moved from the HR folder to the employee training folder sometime during all of
        these discovery requests from the secretary. It is an American Tripoli HR classification document differentiating
        a Supervisor position vs a Lead Worker position. Questions could arise from this document if there are questions
        regarding was Mr. Baumann a Supervisor or a Lead.

        Exhibit P: Secretary was given this chat result. It is in the Secretary's Exhibit P-9. It is a reference to MSHAs guide
        to equipment guarding, for all in the maintenance group to read and be aware of. Mr. Baumann was part of this

                                   CustomerService@AmericanTripoli.com
           Appellate Case: 25-1349            Page: 53        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                             Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                            5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                            Seneca, MO 64865
                                                                                             Office (239) 829-5457

__________________________________________________________________________________________________
       group.

        Exhibit Q: Secretary has been provided with all of our miner training documents. This is included in those files.

        Exhibit Z: Secretary was given this information. It is in the Secretary's Exhibit P-39. Mr. Alex Snodgrass position
        offer is only supplemental information.

I hope this clarifies any confusion, and I apologize if I am the cause of any misunderstanding.

I respectfully request that the court allow the late submission to be admitted into evidence. Excluding this evidence
would unfairly prejudice our ability to present our case and would not serve the interests of justice.

Thank you for your attention to this matter. I am available to provide any further clarification or information as needed.



Sincerely,



Russell Tidaback
Managing Member
Russell.Tidaback@AmericanTripoli.com




                                   CustomerService@AmericanTripoli.com
             Appellate Case: 25-1349          Page: 54       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                             Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                            5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                            Seneca, MO 64865
                                                                                             Office (239) 829-5457

__________________________________________________________________________________________________
MOSENECAMANUFACTURER LIMITED LIABILITY COMPANY
d/b/a AMERICAN TRIPOLI
Respondent

February 14, 2024
Judge William B. Moran
FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
OFFICE OF THE CHIEF ADMINISTRATIVE LAW JUDGE
1331 PENNSYLVANIA AVE., N.W., SUITE 520N
WASHINGTON, DC 20004-1710

MOTION TO EXCLUDE WITNESSES FROM THE ACTING SECRETARY’S WITNESS LIST, Docket No. CENT 2023-0251 Mine:
MOSenecaMfr LLC dba American Tr Mine ID: 23-00504
Dear Judge Moran,
INTRODUCTION

Respondent, MOSENECAMANUFACTURER LIMITED LIABILITY COMPANY d/b/a AMERICAN TRIPOLI ("Respondent"),
hereby submits this Motion to Exclude Witnesses from the Acting Secretary’s Witness List.

I am writing to address the inclusion of certain witnesses on the Complainant's witness list in the upcoming hearing
regarding the discrimination case involving Mr. Baumann's termination.

It is my firm belief that the witnesses listed by the Complainant should not be allowed to testify for the following
reasons:

    1. Lack of Involvement in Decision Making: None of the witnesses listed by the Complainant were directly
       involved in the decision-making process leading to Mr. Baumann's termination, except for Mr. Spears, Ms.
       Tidaback, and myself. Therefore, their testimony would not be relevant to the central issue of the case.

    2. Absence of Supervisory Relationship: Additionally, none of the witnesses listed were supervisors to Mr.
       Baumann. As such, they did not oversee, mentor, or direct Mr. Baumann's decision-making process during his
       employment. Testimony from individuals without a supervisory relationship with Mr. Baumann would not
       contribute to a comprehensive understanding of the circumstances surrounding his termination.

    3. Scope of Testimony: Miner witnesses may offer insights into the general conditions and practices at the mine
       during Mr. Baumann's employment but are not the basis of this case. However, if allowed, their testimony
       should be limited to matters directly related to Mr. Baumann's job performance, which would be opinionated,
       Mr. Baumann’s protected activity, which they are probably not aware of Mr. Baumann performing or claim to
       be, and interactions with mine owners and managers, which again would be speculative and opinionated at
       best. Any testimony beyond these parameters would be extraneous and potentially prejudicial.

In light of these considerations, I respectfully request that the Court exclude the witnesses listed by the Complainant
from testifying in the upcoming hearing. Doing so would ensure that the proceedings remain focused on the pertinent
issues and promote a fair and efficient resolution of the case.

BACKGROUND

                                   CustomerService@AmericanTripoli.com
           Appellate Case: 25-1349            Page: 55       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                             Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                            5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                            Seneca, MO 64865
                                                                                             Office (239) 829-5457

__________________________________________________________________________________________________
The Acting Secretary has submitted a witness list containing several named individuals, including Mr. Keith Markeson
and Mr. Bryan Licklider, both MSHA Authorized Representatives from the Rolla Field Office. It is imperative to exclude
these witnesses from the Acting Secretary's witness list due to specific concerns regarding their impartiality and actions
related to the ongoing proceedings.

BASIS FOR EXCLUSION

Mr. Keith Markeson: Mr. Markeson has been directly involved in the MSHA inspections at our mine and has pending
MSHA discrimination cases against him. These open discrimination claims against Mr. Markeson raise serious doubts
about his ability to provide impartial testimony in this matter. His inclusion as a witness could unduly influence the
proceedings and prejudice the Respondent's case.

Mr. Bryan Licklider: Mr. Licklider's inclusion as a witness is similarly problematic due to an incident where he allegedly
threatened our employees during an inspection. This behavior undermines his credibility as a witness and raises
concerns about the reliability of his testimony. Allowing Mr. Licklider or anyone associated with this incident to testify
would create an unfair advantage for the Acting Secretary and could lead to an unjust outcome.

LEGAL BASIS

The exclusion of witnesses from the Acting Secretary’s witness list is warranted under Rule 67 of the Federal Mine Safety
and Health Review Commission’s procedural rules. Rule 67 allows for the exclusion of witnesses upon a showing of good
cause, which is clearly demonstrated in this case due to the specific concerns outlined above.

CONCLUSION

In light of the concerns raised regarding the impartiality and credibility of Mr. Keith Markeson and Mr. Bryan Licklider,
the Respondent respectfully requests that the Commission exclude these witnesses from the Acting Secretary’s witness
list. Their inclusion would prejudice the fairness of the proceedings and undermine the integrity of the legal process.



Respectfully submitted,



Russell Tidaback
Managing Member
Russell.Tidaback@AmericanTripoli.com




                                   CustomerService@AmericanTripoli.com
           Appellate Case: 25-1349            Page: 56       Date Filed: 04/07/2025 Entry ID: 5503844
           FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                           OFFICE OF THE CHIEF ADMINISTRATIVE LAW JUDGE
                              1331 PENNSYLVANIA AVE., N.W., SUITE 520N
                                     WASHINGTON, DC 20004-1710
                                      TELEPHONE: 202-434-9933
                                          FAX: 202-434-9949


                                         February 14, 2024
 SECRETARY OF LABOR, MSHA                            DISCRIMINATION PROCEEDING
 obo ROBERT BAUMANN,
              Complainant                            Docket No. CENT 2023-0251-DM
                                                     MSHA No. MADI-CD-2023-03
                v.




 MOSENECAMANUFACTURER                                Mine: MOSenecaMfr LLC,
 LIMITED LIABILITY COMPANY d/b/a                     dba American Tr
 AMERICAN TRIPOLI,                                   Mine ID: 23-00504
               Respondent


 ORDER DIRECTING RESPONDENT TO SUPPLY THE COURT WITH A COPY OF
         ALL 36 EXHIBITS PROPOSED FOR USE AT THE HEARING

        In the process of reviewing the Acting Secretary’s Motion to Exclude Respondent’s Late
Disclosed Witnesses and Exhibits, the Court has determined, and the Respondent is
DIRECTED, to promptly provide the Court with a full, hard copy (i.e. paper copy), set of all 36
exhibits it has proposed to use at the hearing. Any discrepancy or variation from the 36 exhibits
provided to the Secretary are to be identified in the cover sheet from the Respondent
accompanying the exhibits. The complete set of these exhibits is to be mailed, without delay,
using a delivery tracking system, such as USPS, UPS, or an equivalent service. The proposed
exhibits are to be mailed to the Court’s home office address:

                                    Judge William B. Moran
                                       29 Skipjack Way
                                      Brewster, MA 02631

        Mailing the proposed exhibits to the Court does not imply their admission into the record
at the hearing, as considerations such as materiality, relevancy, and other considerations may
impact their admission.

       Employing email, the parties are directed to acknowledge receipt of this ORDER.


                                                     ___________________
                                                     William B. Moran
                                                     Administrative Law Judge




   Appellate Case: 25-1349        Page: 57      Date Filed: 04/07/2025 Entry ID: 5503844
Distribution:

Russell Tidaback, American Tripoli, 222 Oneida Street, Seneca, MO 64865
(Russell.Tidaback@AmericanTripoli.com)

Laura O’Reilly, U.S. Department of Labor, 2300 Main Street, Suite 10100, Kansas City, MO
64108 (oreilly.laura.m@dol.gov)

Elaine Smith, Esq, U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (smith.elaine.m@dol.gov)

Robert Baumann, (baumannr24@gmail.com)




   Appellate Case: 25-1349      Page: 58     Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                          Seneca, MO 64865
                                                                                           Office (239) 829-5457

__________________________________________________________________________________________________
MOSENECAMANUFACTURER LIMITED LIABILITY COMPANY
d/b/a AMERICAN TRIPOLI
Respondent

February 14, 2024
Judge William B. Moran
FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
OFFICE OF THE CHIEF ADMINISTRATIVE LAW JUDGE
1331 PENNSYLVANIA AVE., N.W., SUITE 520N
WASHINGTON, DC 20004-1710

MOTION TO REMOVE COUNSEL DUE TO CONFLICT OF INTEREST, Docket No. CENT 2023-0251 Mine: MOSenecaMfr
LLC dba American Tr Mine ID: 23-00504


Dear Judge Moran,


INTRODUCTION

Respondent, MOSENECAMANUFACTURER LIMITED LIABILITY COMPANY d/b/a AMERICAN TRIPOLI ("Respondent"),
hereby submits this Motion to Remove Counsel Due to Conflict of Interest.

I, Russell Tidaback, representing the Respondent in the above-captioned matter, hereby file this Motion to Remove
Counsel Due to Conflict of Interest. As a party to this proceeding, it is my duty to ensure that all aspects of the legal
process are conducted fairly and impartially. However, I must preface this motion by stating that I am not a
licensed attorney and lack formal legal education. Nonetheless, it is my sincere belief that the conflict of interest
described herein poses a significant threat to the fairness and integrity of the proceedings.

Background: The Respondent, is currently involved in numerous separate legal matters before the Federal Mine
Safety and Health Review Commission (FMSHRC). These matters include contesting citations and orders issued by
the Mine Safety and Health Administration (MSHA) and defending against discrimination complaints filed by Mr.
Rob Baumann and Mr. Jim Hoover under Section 105(c) of the Federal Mine Safety and Health Act of 1977.

Conflict of Interest: The conflict of interest arises from the fact that attorneys representing the Complainants,
namely Laura O'Reilly, Elaine Smith, and Quinlan Moll, are also simultaneously collaborating with external
attorneys hired to represent our company in contesting Mine Safety and Health Administration (MSHA) citations
and orders. This dual role presents a clear conflict of interest, as these attorneys are simultaneously advocating for
the Complainants in the discrimination cases while actively engaging in legal proceedings against our company in
the contested citations and orders.




                                  CustomerService@AmericanTripoli.com
           Appellate Case: 25-1349          Page: 59        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
Legal Basis: This situation presents a clear conflict of interest, as Laura O'Reilly, Elaine Smith, and Quinlan Moll's
dual roles may compromise their ability to act impartially in both matters. The American Bar Association's Model
Rules of Professional Conduct, Rule 1.7, prohibit attorneys from representing clients where there is a significant risk
of material limitation to the attorney's duties owed to another client.

Impact on Fairness: Allowing Laura O'Reilly, Elaine Smith, and Quinlan Moll to continue representing the
complainants in the 105(c) discrimination cases while simultaneously collaborating with external attorneys hired to
represent our company in contesting MSHA citations and orders creates an inherent conflict that undermines the
fairness of the proceedings. It creates a situation where the interests of the Complainants may be prioritized over
the rights and interests of the Respondent, potentially leading to an unjust outcome in either or both legal matters.

Request for Relief: In light of the foregoing, I respectfully request that the Commission take appropriate action to
address this conflict of interest by removing Laura O'Reilly, Elaine Smith, and Quinlan Moll from their roles as
counsel for the Complainants in the discrimination cases to avoid any further conflict of interest. This action is
necessary to ensure that the legal proceedings are conducted in a manner that upholds the principles of fairness,
impartiality, and due process. Alternatively, the Court may consider appointing independent counsel to represent
the complainants in these cases to ensure fairness and impartiality.

Conclusion: The integrity of the legal process depends on the avoidance of conflicts of interest that may
compromise the rights of the parties involved. The situation described herein presents a clear conflict of interest
that must be addressed to safeguard the fairness and integrity of the proceedings. I urge the Commission to grant
this motion and take appropriate measures to remove counsel due to conflict of interest.


Respectfully submitted,




Russell Tidaback
Managing Member
Russell.Tidaback@AmericanTripoli.com




                                 CustomerService@AmericanTripoli.com
           Appellate Case: 25-1349         Page: 60       Date Filed: 04/07/2025 Entry ID: 5503844
                           UNITED STATES OF AMERICA
               FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                      OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,                    )      DISCRIMINATION &
 United States Department of Labor, and                     )      INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                             )      DOCKET
                      Complainants,                         )
                                                            )
                       v.                                   )      Docket No. CENT 2023-0251-DM
                                                            )
 MOSENECAMANUFACTURER LIMITED                               )
 LIABILITY COMPANY d/b/a AMERICAN                           )      Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                                   )      American Tr
                                                            )      Mine Id No. 23-00504
                              Respondent.                   )

              ACTING SECRETARY’S OPPOSITION TO MOTION TO EXCLUDE
        Pursuant to Commission Rule § 2700.10(d), the Acting Secretary files this opposition to

Respondent’s Motion to Exclude Witnesses from the Acting Secretary’s Witness List and states

the following in support:

        1)            As an initial matter, Respondent’s Motion should be denied as a matter of course

because Respondent failed to comply with Commission Rule § 2700.10(c), as the Acting

Secretary was not consulted prior to Respondent filing its Motion. The first the Acting Secretary

learned of Respondent’s Motion to Exclude was when it was emailed on February 14, 2023. This

is yet again, another example, of Respondent refusing to comply with the Commission’s rules

and deadlines. 1 0F




        2)            Notwithstanding Respondent’s failure to comply with the Commission’s rules,

Respondent’s Motion should also be denied as there is no merit to Respondent’s motion and

request that witnesses be excluded. Although unclear, Respondent appears to be alleging that the



1 Respondent is choosing to represent itself through Russell Tidaback, rather than use the attorneys Respondent has
hired for the other American Tripoli dockets before Judge Moran. In making that decision, Respondent is
responsible for following the Court's rules.




   Appellate Case: 25-1349              Page: 61         Date Filed: 04/07/2025 Entry ID: 5503844
Acting Secretary’s witnesses should be excluded from the hearing based on perceived relevancy

concerns, except that Respondent appears to agree that the Acting Secretary could call on

Respondent’s owners and manager. It would be antithetical to the entire basis of a discrimination

proceeding to only allow Respondent’s management to testify as to the events at issue in the

discrimination claim. While Respondent is entitled to put on its case, the Acting Secretary cannot

and is not limited to only presenting adverse witnesses from the same owners and manager who

have been identified as the individuals engaging in the alleged interference and discrimination.

        3)       Respondent cites no applicable authority or rules to support its Motion. 2 This      1F




failure to provide any supporting authority for its request is significant, as the Commission has

stated that “the exclusion of critical evidence is an ‘extreme’ sanction, not normally to be

imposed absent a showing of willful deception or ‘flagrant disregard’ of a court order by the

proponent of the evidence.” Mark Gray v. North Fork Coal Corp., 35 FMSHRC 2349 (2013)

(quoting In re Paoli Railroad Yards PCB Litigation, 35 F.3d 717, 791-92 (3rd Cir. 1994)).

Further, “[r]elevant evidence, including hearsay evidence, that is not unduly repetitious or

cumulative is admissible.” 29 C.F.R. § 2700.63(a). Respondent has set forth no support that the

Acting Secretary’s inclusion of any witness in the Witness List is being done for the purpose of

willful deception, nor that the Acting Secretary disregarded any court order. Further,

Respondent has not set forth any information, other than the bare allegations of Respondent’s

owner, as to why any proposed witness does not have any relevant evidence.

        4)       It should be noted that the Acting Secretary has met all obligations with respect to

its Witness List. The Acting Secretary complied with this Court’s orders by producing its



2 Respondent cites to “Rule 67”, however, Commission Rule § 2700.67 refers to motions for summary decision,
which Respondent has not filed in this case and which does not address the relief requested by Respondent. Further,
to the extent Respondent is seeking to file a motion for summary decision, the deadline has long passed as such
filings must be made at least 25 days prior to the hearing, and the motion does not comply with multiple
                                                         2



   Appellate Case: 25-1349              Page: 62         Date Filed: 04/07/2025 Entry ID: 5503844
proposed Witness List with a brief statement of the expected testimony from each witness by the

Court’s deadline, January 30, 2024. See Exhibit A; Notice of Hearing.

         5)       Further, the Acting Secretary’s Witness List designates relevant and important

witnesses which the Acting Secretary may call at the hearing in this case, for the purpose of

proving the claims alleged in the Acting Secretary’s Complaint, which alleges that Respondent

both discriminated against Mr. Baumann and interfered with Mr. Baumann’s and other miners’

rights. Each witness has unique relevant evidence that will provide support for these claims.

There is simply no basis for refusing to allow these witnesses to testify because Respondent does

not believe the witnesses are necessary for this purpose. The Witness List sets forth a brief

summary of the anticipated testimony from each witness, which shows that each witness has

relevant information to the claims at issue in this case. 3 Respondent’s motion neither addresses
                                                                  2F




nor refutes that the witnesses’ testimony, on the topics set forth in the Witness List, is relevant.

Respondent appears to merely deny the allegations in the Complaint and speculates that these

witnesses may not have relevant testimony based on Respondent’s version of the facts.

         6)       As an additional matter, Respondent makes false accusations against MSHA

inspectors in its Motion which, again, do not provide a basis for excluding the witnesses.

Respondent alleges that Inspector Markeson is the subject of “pending MSHA discrimination

cases against him” and that Inspector Licklider threatened employees during an inspection. Not

only are these accusations false, these accusations provide no basis to exclude the testimony of

witnesses with relevant information and are improper attempts to impeach the character and


requirements for a motion for summary decision.
3 The Acting Secretary does not believe she should, at this juncture, be required to provide any further support,
other than the brief statement of expected testimony which is included in the Witness List itself, for why these
witnesses are relevant. If the Court seeks further information about the evidence that will be presented through each
witness, the Acting Secretary is prepared to make that showing. However, at this stage, the Acting Secretary argues
that such a showing is not called for as the brief statement is sufficient and further disclosure would dive into
protected attorney work product about the exact details of how the Acting Secretary will put on its case at trial.
                                                          3



   Appellate Case: 25-1349               Page: 63         Date Filed: 04/07/2025 Entry ID: 5503844
credibility of witnesses before they have even testified. It appears that Respondent’s litigation

strategy is to make unsupported accusations against MSHA inspectors who have inspected the

mine to MSHA, and this conduct cannot and should not provide any basis for excluding

witnesses from a hearing.

       7)      Denying the Acting Secretary from presenting evidence through any of the timely

disclosed witnesses would be extremely prejudicial to the Acting Secretary and Complainant as

the Acting Secretary complied with this Court’s rules, the witnesses have relevant, necessary

evidence about the claims and allegations in this case, and Respondent has set forth no support or

basis for their exclusion.

       WHEREFORE, for the reasons stated herein, the Acting Secretary respectfully requests

the Court deny Respondent’s Motion to Exclude.

                                                      Respectfully submitted,

                                                      Seema Nanda
                                                      Solicitor of Labor

                                                      Christine Z. Heri
                                                      Regional Solicitor

                                                      Evert H. Van Wijk
                                                      Associate Regional Solicitor

U.S. Department of Labor                              /s/ Laura O’Reilly
Office of the Solicitor                               Laura O’Reilly
2300 Main Street, Suite 10100                         Elaine Smith
Kansas City, MO 64108                                 Quinlan Moll
(816) 285-7260
(816) 285-7284 (direct line)
(816) 285-7287 facsimile
Oreilly.laura.m@dol.gov
Smith.elaine.m@dol.gov
Moll.Quinlan.B@dol.gov                                Attorneys for the Acting Secretary




                                                 4



   Appellate Case: 25-1349         Page: 64      Date Filed: 04/07/2025 Entry ID: 5503844
                                CERTIFICATE OF SERVICE
      Service of the foregoing Opposition has this date been made by mailing a copy thereof by
electronic mail, to:
Russell Tidaback
American Tripoli
2701 E. Grauwlyer Road
Building 1, Dept. 1008,
Irving, TX 75061
RTidaback@deedyco.com


Robert Baumann
Baumannr24@gmail.com


Dated this 16th day of February, 2024.
                                                  /s/ Laura O’Reilly




                                              5




   Appellate Case: 25-1349        Page: 65    Date Filed: 04/07/2025 Entry ID: 5503844
                          Exhibit A




Appellate Case: 25-1349   Page: 66   Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,           )     DISCRIMINATION &
 United States Department of Labor, and            )     INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                    )     DOCKET
                      Complainants,                )
                                                   )
                v.                                 )     Docket No. CENT 2023-0251-DM
                                                   )
 MOSENECAMANUFACTURER LIMITED                      )
 LIABILITY COMPANY d/b/a AMERICAN                  )     Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                          )     American Tr
                                                   )     Mine Id No. 23-00504
                        Respondent.                )

                           ACTING SECRETARY’S WITNESS LIST
        Pursuant to the Court’s Notice of Hearing, the Acting Secretary submits its witness list as
part of the Prehearing Exchange.

   1) Robert Baumann, Complainant
         a. Baumann is expected to testify about his employment at American Tripoli,
             including his pay, conditions of employment, practices at American Tripoli,
             protected activity, his job duties, and his termination. Bauman is also expected to
             testify about Respondent’s interference with his and other miners’ rights.
             Baumann is also expected to testify about damages including back wages, the
             financial and other impacts his termination has had on him.
   2) Doc Dillingham, MSHA Special Investigator
         a. SI Dillingham is expected to testify about his investigation into Baumann’s
             Discrimination Complaint, his findings, information and documents he gathered
             during his investigation and about interviews he conducted during his
             investigation. SI Dillingham is also expected to testify about the mine and factors
             supporting MSHA’s assessment of penalty against American Tripoli for
             discrimination and interference.
   3) Keith Markeson, MSHA Authorized Representative, Rolla Field Office
         a. Inspector Markeson is expected to testify about MSHA’s inspections of the mine,
             information learned by MSHA during those inspections, and Baumann’s
             participation in those inspections. Inspector Markeson is also expected to testify
             about Baumann’s status as a miner’s representative and Respondent’s knowledge
             of that status. Inspector Markeson is also expected to testify about the conditions
             and practices at the mine.
   4) Bryan Licklider, MSHA Authorized Representative, Rolla Field Office
         a. Inspector Licklider is expected to testify about his inspections of the mine.
             Inspector Licklider is also expected to testify about the conditions and practices at
             the mine, about MSHA’s inspections of the mine and information gathered during




   Appellate Case: 25-1349        Page: 67       Date Filed: 04/07/2025 Entry ID: 5503844
           the inspections, and about Baumann’s participation in MSHA inspections at the
           mine.
5) David Prewett, MSHA Authorized Representative, Rolla Field Office
       a. Inspector Prewett is expected to testify about the conditions and practices at the
           mine, MSHA’s inspections of the mine, and about Baumann’s participation in
           MSHA inspections at the mine.
6) Miner witness no. 1, to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
       a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness
           may also testify about their employment and disciplinary and termination
           practices at the mine.
7) Miner witness no. 2, to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
       a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness
           may also testify about their employment and disciplinary and termination
           practices at the mine.
8) Miner witness no. 3, to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
       a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness
           may also testify about their employment and disciplinary and termination
           practices at the mine.
9) Miner witness no. 4, to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
       a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness
           may also testify about their employment and disciplinary and termination
           practices at the mine.
10) Miner witness no. 5, to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
       a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness
           may also testify about their employment and disciplinary and termination
           practices at the mine.
11) Miner witness no. 6, to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
       a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness

                                             2



Appellate Case: 25-1349       Page: 68       Date Filed: 04/07/2025 Entry ID: 5503844
           may also testify about their employment and disciplinary and termination
           practices at the mine.
12) Miner witness no. 7, to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
        a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness
           may also testify about their employment and disciplinary and termination
           practices at the mine.
13) Miner witness no. 8 to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
        a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness
           may also testify about their employment and disciplinary and termination
           practices at the mine.
14) Miner witness no. 9 to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
        a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness
           may also testify about their employment and disciplinary and termination
           practices at the mine.
15) Miner witness no. 10 to be disclosed two days prior to trial pursuant to 29 C.F.R. §
    2700.62
        a. Miner witness may testify about the conditions and practices at the mine during
           Baumann’s employment, Baumann’s job performance, Baumann’s protected
           activity, and communications with mine owners and managers. Miner witness
           may also testify about their employment and disciplinary and termination
           practices at the mine.
16) John Spears, Respondent’s Operations Manager
        a. Mr. Spears may testify regarding the conditions and practices at the mine,
           including communications with miners and owners during the relevant time
           period. Mr. Spears may also testify about Baumann’s employment, termination
           and MSHA inspections.
17) Russell Tidaback
        a. Mr. Tidaback may testify about conditions and practices at the mine, including
           documents and messages sent by miners and management/owners/owners during
           the relevant time period. Mr. Tidaback may also testify about Baumann’s
           employment, termination and MSHA inspections.
18) Jordan Tidaback
        a. Ms. Tidaback may testify about conditions and practices at the mine, including
           documents and messages sent by miners during the relevant time period. Ms.
           Tidaback may also testify about Baumann’s employment, termination and MSHA
           inspections.
19) Any witness on Respondent’s witness list

                                           3



Appellate Case: 25-1349      Page: 69     Date Filed: 04/07/2025 Entry ID: 5503844
   20) Any witness needed for rebuttal.

   The Acting Secretary reserves the right to amend this witness list.



                                                    Respectfully submitted,

                                                    Seema Nanda
                                                    Solicitor of Labor

                                                    Christine Z. Heri
                                                    Regional Solicitor

                                                    Evert H. Van Wijk
                                                    Associate Regional Solicitor

U.S. Department of Labor                            /s/ Laura O’Reilly
Office of the Solicitor                             Laura O’Reilly
2300 Main Street, Suite 10100                       Elaine Smith
Kansas City, MO 64108                               Quinlan Moll
(816) 285-7260
(816) 285-7277 (direct line-O’Reilly)
(816) 285-7287 facsimile
Oreilly.laura.m@dol.gov
Smith.elaine.m@dol.gov
Moll.Quinlan.B@dol.gov                              Attorneys for the Acting Secretary

                               CERTIFICATE OF SERVICE
      Service of the foregoing Witness List has this date been made by mailing a copy thereof by
electronic mail, to:
Russell Tidaback
American Tripoli
2701 E. Grauwlyer Road
Building 1, Dept. 1008,
Irving, TX 75061
RTidaback@deedyco.com

Robert Baumann
Baumannr24@gmail.com

Dated this 30th day of January, 2024.
                                                    /s/Laura O’Reilly


                                                4



   Appellate Case: 25-1349       Page: 70       Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

JULIE A. SU, Acting Secretary of Labor, )                       DISCRIMINATION &
United States Department of Labor, and  )                       INTERFERENCE PROCEEDING
ROBERT BAUMANN                          )                       DOCKET
               Complainants,            )
       v.                               )                       Docket No. CENT 2023-0251-DM
MOSENECAMANUFACTURER LIMITED)
LIABILITY COMPANY d/b/a AMERICAN)                               Mine: MOSenecaMfr LLC dba
TRIPOLI,                                )                       American Tr
               Respondent.              )                       Mine Id No. 23-00504


         ACTING SECRETARY’S OPPOSITION TO RESPONDENT’S MOTION
            TO REMOVE COUNSEL DUE TO CONFLICT OF INTEREST

       Pursuant to Commission Rule § 2700.10(d), the Acting Secretary of Labor, U.S.

Department of Labor (the “Acting Secretary”) files this Opposition to Respondent’s Motion to

Remove Counsel Due to Conflict of Interest. For the reasons set forth below, the Acting

Secretary requests the Court deny Respondent’s motion in its entirety because it misrepresents

the Acting Secretary’s Counsel’s role in these proceedings, and there is no conflict of interest.

Further, the Acting Secretary seeks an Order to Show Cause why sanctions, including the Acting

Secretary’s fees and costs associated with defending this frivolous motion, should not be

imposed, pursuant to Federal Rule of Civil Procedure 11. 1 0F




                                           Background

       This matter was brought by the Acting Secretary pursuant to section 105(c) of the Federal

Mine Safety and Health Act of 1977 (the “Mine Act”). The Acting Secretary alleges in her

Complaint that Respondent, MOSenecaManufacturer LLC d/b/a American Tripoli (“American




1
 The Federal Rules of Civil Procedure are incorporated into the Commission Rules “as
practicable”. See Commission Rule § 2700.1(b).


                                                 1

    Appellate Case: 25-1349        Page: 71       Date Filed: 04/07/2025 Entry ID: 5503844
Tripoli”) discharged or otherwise discriminated against, miner, Robert Baumann

(“Complainant”), in retaliation for engaging in protected activity and illegally interfered with the

exercise of miners’ statutory rights, all in violation of section 105(c) of the Mine Act. 2
                                                                                         1F




Respondent is being represented by Russell Tidaback, a non-attorney representative, who states

he is the managing member of a limited liability company, Omphalos LLC, that in turn, owns

MOSenecaManufacturer Limited Liability Company d/b/a American Tripoli. This matter is set

for a four-day hearing to begin on February 27, 2024, in Joplin, MO.

         In addition to this matter, there are approximately ten pending civil penalty and/or contest

dockets and another 105(c) discrimination docket against Respondent. See e.g. CENT 2023-

0196, CENT 2023-0235, CENT 2024-0131. For most of the civil penalty/contest dockets,

Respondent is represented by counsel. For the discrimination dockets, Respondent has chosen to

be represented pro-se by Mr. Tidaback. For the Acting Secretary, the same three attorneys are

involved in all of the matters against Respondent.

         On February 14, 2024, Respondent moved to “remove” the attorneys representing the

Acting Secretary due to “conflicts of interest.” See Respondent’s Motion to Remove at p.1

(“Respondent’s Motion”). Respondent primarily complains that the attorneys representing the

Acting Secretary in this matter are also representing the Acting Secretary in the civil penalty

dockets involving Respondent. Respondent’s Motion at p.1. Respondent complains that the

Acting Secretary’s attorneys are “collaborating with external attorneys hired to represent our

company in contesting [MSHA] citations and orders.” Id. at p.1. Respondent characterizes this as

a “dual role” in that the Acting Secretary’s attorneys are “simultaneously advocating for

Complainants in the discrimination cases while actively engaging in legal proceedings against



2
    The Secretary’s complaint was filed on August 17, 2023.


                                                  2

     Appellate Case: 25-1349        Page: 72      Date Filed: 04/07/2025 Entry ID: 5503844
our company in the contested citations and orders.” Id. Respondent states that this “dual role”

“creates a situation where the interests of Complainants may be prioritized over the rights and

interests of the Respondent.” Id. at p. 2.

        Respondent’s motion should be denied in its entirety because it misrepresents the Acting

Secretary’s counsel’s role in these proceedings, and there is no actual or perceived conflict of

interest.

                                              Argument

        As an initial matter, Respondent’s Motion should be denied as a matter of course because

Respondent failed to comply with Commission Rule § 2700.10(c), as the Acting Secretary was

not consulted prior to Respondent filing its Motion. Respondent has repeatedly filed motions in

this matter without first consulting the Acting Secretary. The first the Acting Secretary learned of

this Motion was when it was emailed on February 14, 2023. In fact, this repeated failure to

follow the rules demonstrates Respondent’s continued disregard for the Court and these

proceedings.

        Notwithstanding Respondent’s failure to comply with the Commission’s rules,

Respondent’s Motion should be denied because there is no conflict of interest in that the counsel

identified in Respondent’s Motion represent, one client, the Acting Secretary in all currently

pending matters against Respondent, and there is no “dual role” or risk of competing interests.

        A conflict of interest arises between an attorney and her client when “the representation

of one client will be directly adverse to another client” or when there is a “significant risk that

the representation of one or more clients will be materially limited by the lawyer’s

responsibilities to another client, a former client, or a third person, or by a personal interest of the

lawyer.” See ABA Model Rules of Professional Conduct 1.7.




                                                   3

   Appellate Case: 25-1349          Page: 73       Date Filed: 04/07/2025 Entry ID: 5503844
       In discrimination and interference cases such as this one, the attorneys with the Office of

the Solicitor only represents the Acting Secretary. 3 See Exhibit 1 Complaint of Discrimination
                                                     2F




and Interference involving Mr. Robert Baumann and Exhibit 2 Complaint of Discrimination

involving Mr. Jim Hoover. In these matters, the complainant-miner is a separate party. See e.g.

Commission Rule § 2700.4. While often the interests of the Acting Secretary and the

complainant coincide, the rules contemplate that they may also diverge. See Id. While the Acting

Secretary brings a discrimination and interference case “on behalf” of the complainant miner,

there is no attorney-client relationship. 4 See e.g., Bratton v. Behlehem Steel Corp., 649 F.2d 658,
                                        3F




669 (9th Cir. 1980) (addressing a statute where the government is authorized to serve the public

interest by seeking redress for individual complainants); Eastern Assoc. Coal v. FMSHRC, 813

F.2d 639, 644 (4th Cir. 1987); (discussing that if the Secretary concludes that the anti-

discrimination provisions of the Act have been violated, she must prosecute a discrimination

complaint, “suing on behalf of the complainant.”); Hubb Corp., 20 FMSHRC 832 (1998) (Court

allowed the Secretary to move forward with a case where the Complainant reached a settlement

with the operator, so that the Secretary could pursue a penalty for the violation. “Any settlement

between Hubb and Callahan could not affect the Secretary's right, as a party who had not entered

into the settlement, to pursue the relief she sought, which in this case included a penalty

assessment against Hubb.”).




3
  Respondent’s Motion alleges that counsel for the Acting Secretary “represents” the complainant
in this matter, as well as a complainant another discrimination matter. This statement is factually
incorrect. In each of these matters, the complainant-miners are proceeding pro se.
4
 Additionally, counsel for the Acting Secretary sent a letter to Complainant outlining the Acting
Secretary’s role in this litigation and informing Complainant’s right to obtain his own attorney to
represent him in this action.

                                                 4

    Appellate Case: 25-1349        Page: 74       Date Filed: 04/07/2025 Entry ID: 5503844
          Here, there is no conflict of interest because the attorneys in the Solicitor’s Office

represent the same client, the Acting Secretary, in both this discrimination and interference

matter and in the civil penalty dockets against Respondent. The attorneys from the Solicitor’s

Office have no other client in which a conflict between them could arise. Counsel for the Acting

Secretary acknowledges and does not dispute that they are actively engaged in cooperative and

collaborative discussions with Respondent’s counsel in several of the civil penalty dockets, but

counsel for the Acting Secretary is not representing any interests, other than those of the Acting

Secretary, in those matters.

          Respondent argues that there is a conflict of interest because counsel for the Acting

Secretary is advocating for the Complainant in this matter as well as prosecuting an action

against Respondent in the civil penalty dockets. Respondent’s Motion at p. 1. Respondent argues

this means that the interests of the Complainant may be prioritized over those of the Respondent.

Respondent’s Motion at p. 2. In all actions referenced by Respondent, Counsel for the Acting

Secretary is on the “same side of the ‘v’” opposite of Respondent, and there is no conflict of

interest. Counsel for the Acting Secretary is pursuing this action as well as the actions in the civil

penalty dockets to enforce the provisions of the Mine Act against Respondent. Thus, there is no

conflict of interest involving the Acting Secretary’s Counsel, and Respondent’s Motion must be

denied.

                           The Court Should Issue an Order to Show Cause

          Federal Rule of Civil Procedure requires that motions be brought in good faith (not for

any improper purpose), and with both a legal and factual basis. Fed. R. Civ. P. 11. Failing to do

so, the court may issue an order to show cause why sanctions should not be imposed. 5 Id.             4F




5
 By signing his name at the bottom of the Motion, Respondent has also certified, pursuant to Commission Rule §
2700.6(b)(2), that “he has read the document; that to the best of his knowledge, information, and belief formed after


                                                          5

    Appellate Case: 25-1349              Page: 75         Date Filed: 04/07/2025 Entry ID: 5503844
         Respondent’s Motion was made in bad faith and is legally and factually frivolous.

Respondent failed to follow Commission Rule § 2700.10(c), to confer prior to filing a motion. If

he had, it is possible undersigned counsel could have explained to Respondent the relationship

between the parties in this matter or any other matter involving Respondent. Further, Respondent

is represented by attorneys in other matters before the Court, including the ones referenced in

Respondent’s Motion, and could have contacted those individuals to be sure he had both a legal

and factual basis for bringing this motion. Respondent could have also performed research to

determine whether he had a non-frivolous basis to bring this motion. Respondent took none of

these steps and has wasted the Court’s time. Further, this matter has been pending for six months

and only now, seven business days before trial, does Respondent raise a concern of a “conflict of

interest.” This timing raises real concerns that this motion was brought to unnecessarily delay

these proceedings or another improper purpose. For those reasons, the Acting Secretary requests

an Order to Show Cause why sanctions, including the Acting Secretary’s fees and costs

associated with defending this frivolous motion, should not be imposed.

                                                    Conclusion

         For the foregoing reasons, Respondent’s Motion to Remove Counsel Due to Conflict of

Interest must be denied in its entirety because counsel for the Acting Secretary only represents

the Acting Secretary in all matters involving Respondent and no conflict of interest, real or

perceived, exists. Further, pursuant to Fed. R. Civ. P. 11, the Court should issue an Order to Show

Cause why sanctions should not be imposed on Respondent for bringing this frivolous motion.




reasonable inquiry it is well grounded in fact and is warranted by existing law or a good faith argument for
extension, modification, or reversal of existing law; and that it is not interposed for any improper purpose, such as to
harass or to cause unnecessary delay or needless increase in the cost of litigation.”


                                                           6

   Appellate Case: 25-1349                Page: 76         Date Filed: 04/07/2025 Entry ID: 5503844
                                                     Respectfully submitted,

                                                     Seema Nanda
                                                     Solicitor of Labor

                                                     Christine Z. Heri
                                                     Regional Solicitor

                                                     Evert H. Van Wijk
                                                     Associate Regional Solicitor


U.S. Department of Labor                             /s/ Laura M. O’Reilly
Office of the Solicitor                              Laura M. O’Reilly
2300 Main Street, Suite 10100                        Senior Trial Attorney
Kansas City, MO 64108                                Direct: (816) 285-7277
Oreilly.Laura.M@dol.gov                              Elaine M. Smith
Smith.Elaine.M@dol.gov                               Quinlan Moll
Moll.Quinlan.B@dol.gov                               Trial Attorney
                                                     Direct: (816) 285-7262
                                                     Attorneys for the Secretary


                                CERTIFICATE OF SERVICE

       I certify that a correct copy of the foregoing Opposition was electronically submitted to

the Federal Mine Safety and Health Review Commission on February 16, 2024, and was

simultaneously via electronic mail to the following party:

Russell Tidaback
American Tripoli
2701 E. Grauwlyer Road
Building 1, Dept. 1008,
Irving, TX 75061
RTidaback@deedyco.com

Robert Baumann
Baumannr24@gmail.com

                                                     /s/ Laura M. O’Reilly




                                                7

   Appellate Case: 25-1349        Page: 77      Date Filed: 04/07/2025 Entry ID: 5503844
                          Exhibit 1




Appellate Case: 25-1349   Page: 78   Date Filed: 04/07/2025 Entry ID: 5503844
Received Docket Office
Aug 17 2023
Federal Mine Safety and
Health Review Commission
                                  UNITED STATES OF AMERICA
                      FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION


           JULIE A. SU, Acting Secretary of Labor,           )     DISCRIMINATION &
           United States Department of Labor, and            )     INTERFERENCE PROCEEDING
           ROBERT BAUMANN                                    )     DOCKET
                                Complainants,                )
                                                             )
                          v.                                 )     Docket No.
                                                             )
           MOSENECAMANUFACTURER LIMITED                      )
           LIABILITY COMPANY d/b/a AMERICAN                  )     Mine: MOSenecaMfr LLC dba
           TRIPOLI,                                          )     American Tr
                                                             )     Mine Id No. 23-00504
                                                             )
                                  Respondent.                )

                                                  COMPLAINT

                Pursuant to the provisions of Section 105(c) of the Federal Mine Safety and Health Act of

         1977, 30 U.S.C. §801 et seq., (the “Mine Act”), the Secretary of Labor (“the Secretary”) hereby

         files this complaint alleging violations of Section 105(c)(1) of the Mine Act, 30 U.S.C. §

         815(c)(1).

                1.      The Commission has jurisdiction over this case under sections 105(c)(2) and 113

         of the Mine Act, 30 U.S.C. §§ 815(c)(2), 823.

                2.      The Secretary, acting through the Mine Safety and Health Administration

         (“MSHA”), enforces and administers the Mine Act, 30 U.S.C. § 801 et seq.

                3.      Respondent American Tripoli is a fictious name for a limited liability company,

         MOSenecaManufacturer Limited Liability Company, with a place of business at 222 Oneida

         Street, Seneca, Missouri 64865. Respondent is registered with the Mine Safety and Health

         Administrative (“MSHA”) as the operator of the MOSenecaMfr LLC dba American Tr mine.

         Respondent is a “person” as defined in section 3(f) of the Mine Act, 30 U.S.C. § 802(f).




            Appellate Case: 25-1349        Page: 79      Date Filed: 04/07/2025 Entry ID: 5503844
Respondent owns, operates and controls the MOSenecaMfr LLC dba American Tr mine and is

therefore an “operator” as defined in Section 3(d) of the Mine Act, 30 U.S.C. § 802(d).

       4.      The MOSenecaMfr LLC dba American Tr mine (“Mine”) is metal/nonmetal

surface mine. The MOSenecaMfr LLC dba American Tr mine has, or at all times relevant to this

Complaint had, products that enter commerce or operations or products that affect commerce.

The MOSenecaMfr LLC dba American Tr mine is a “coal or other mine” as defined in section

3(h)(1) of the Mine Act, 30 U.S.C. § 802(h)(1).

       5.      At all relevant times, Robert Baumann (“Complainant”) was employed by

Respondent as a production supervisor who worked at the Mine performing various tasks and

was a “miner” as defined in Section 3(g) of the Mine Act, 30 U.S.C. § 802(g). Complainant

Baumann also served as a representative of miners at the Mine from March 21, 2023 through

April 17, 2023.

   A. Count I: Discrimination

       6.      Complainant Baumann engaged in protected activity while employed by

Respondent at the Mine, including the following:

               a. At times starting in or around June 2022 through April 17, 2023, Baumann

                  made safety complaints and raised safety concerns to Respondent;

               b. In February and March 2023, Baumann walked around with MSHA inspectors

                  during MSHA inspections of the Mine and discussed safety concerns and

                  hazards with MSHA inspectors during inspections of the Mine;

               c. On March 21, 2023, Complainant Baumann was elected to be the

                  representative of miners at the Mine and at times thereafter, participated in

                  MSHA inspections of the Mine by walking around with MSHA inspectors in




                                                  2

   Appellate Case: 25-1349        Page: 80        Date Filed: 04/07/2025 Entry ID: 5503844
                   his capacity as a representative of the miners; and

               d. On or around April 11-12, 2023, Complainant Baumann walked around with

                   MSHA during an MSHA inspection. MSHA issued a withdrawal order, under

                   Section 104(b) of the Act, during said inspection, and Complainant Baumann

                   asked Respondent about miners’ rights to compensation while the Mine was

                   shut down and asserted miners’ rights to compensation during the withdrawal

                   order.

       7.      Respondent terminated Complainant Baumann on April 17, 2023, at least in part,

because he engaged in activities protected by 30 U.S.C. § 815(c), including those set forth above.

Respondent’s actions against Complainant constituted illegal discrimination for engaging in

protected activities, in violation of Section 105(c) of the Act.

       8.      On April 25, 2023, Complainant Baumann filed a discrimination complaint with

MSHA alleging he was discriminated against pursuant to Section 105(c)(1) of the Act. A

redacted copy of the Complaint is attached hereto as Exhibit A.

       9.      As a result of Respondent’s Section 105(c) violation, Complainant suffered

financial losses, including, but not limited to, lost wages.

       10.     The MSHA Office of Assessments has proposed a civil penalty against

Respondent in the amount of $15,000.00 for discriminating against Complainant Baumann in

violation of Section 105(c) of the Act. The Secretary requests the Commission assess a civil

penalty in that amount against Respondent for discriminating against Complainant Baumann in

violation of Section 105(c) of the Act as alleged in Count I of this Complaint.

   B. Count II: Interference

       11.     Upon investigation into Complainant Baumann’s discrimination complaint, the




                                                  3

   Appellate Case: 25-1349         Page: 81       Date Filed: 04/07/2025 Entry ID: 5503844
Secretary determined that Respondent interfered with the rights of Complainant Baumann and at

least one other miner in violation of Section 105(c)(1) of the Mine Act. The investigation

revealed the following facts:

               a. On February 14, 2023, MSHA was conducting an inspection of the Mine.

               b. On February 14, 2023, Complainant Baumann and another miner received a

                   message via Microsoft Teams from John Spears, Respondent’s operations

                   manager, telling the miner not to answer questions from the MSHA inspector,

                   to not go in the mill, and the operations manager continued to state that he

                   would be the person who would talk to the MSHA inspector.

               c. At other times during Complainant Baumann’s employment, Respondent told

                   miners not to speak to MSHA during MSHA inspections.

       12.     Respondent’s statements to miners, described above, illegally interfered with the

exercise of the miners’ statutory rights in violation of Section 105(c)(1) of the Mine Act by

intimidating miners against engaging in activities protected by the Mine Act, including miners’

protected right to report safety issues to MSHA.

       13.     The MSHA Office of Assessments has proposed a civil penalty against

Respondent in the amount of $17,500.00 for interfering with miners’ rights as alleged in Count II

of this Complaint. The Secretary requests that the Commission assess a civil penalty in that

amount against Respondent for interfering with miners’ rights under Section 105(c) of the Act as

alleged in Count II.


       WHEREFORE, good cause having been shown, the Secretary and Complainant
Baumann respectfully demand judgment against Respondent as follows:

       i.      A finding that Respondent unlawfully discriminated against Complainant

Baumann because of his exercise of protected activity in violation of Section 105(c)(1) of the


                                                   4

   Appellate Case: 25-1349        Page: 82         Date Filed: 04/07/2025 Entry ID: 5503844
Federal Mine Safety and Health Act of 1977, 30 U.S.C. § 815., as alleged in Count I.

       ii.     Direct Respondent to pay a civil penalty for discriminating against Complainant

Baumann in violation of Section 105(c), as described in Count I. In accordance with the criteria

specified in Section 110(i) of the Mine Act, the secretary proposes a civil penalty of $15,000.00

for the discrimination violation alleged in Count I.

       iii.    Grant declaratory judgment that Respondent unlawfully interfered with the

exercise of protected activity of the miners at the Mine, in violation of Section 105(c) of the

Federal Mine Safety and Health Act of 1977, 30 U.S.C. § 815;

       iv.     Direct Respondent to pay a civil penalty for interfering with miners’ rights in

violation of Section 105(c), as described in Count II. In accordance with the criteria specified in

Section 110(i) of the Mine Act, the Secretary proposes a civil penalty of $17,500.00 for the

interference violation alleged in Count II.

       v.      Require Respondent to fully compensate Complainant Baumann for lost wages,

benefits, and any other compensatory damages, plus interest, that resulted from Complainant’s

termination.

       vi.     Require that the personnel file of Complainant Baumann be purged of any

reference to his termination and any disciplinary action taken against Complainant Baumann as

the result of the discrimination by Respondent, and that if a prospective employer contacts

Respondent regarding a job reference, Respondent shall not discuss, provide information about,

or otherwise reference the expunged information.

       vii.    Order Respondent to cease-and-desist from:

               a. Discouraging miners from speaking to MSHA; and

               b. Interfering in any way with any right under the Mine Act guaranteed to

                   miners;
       viii.   Direct Respondent to post a notice for a period of at least 60 days, at places where

notices are regularly posted for employees to see, in a size and font that is readily visible to

miners, at the Mine, stating that it will not violate Section 105(c) of the Mine Act. Such notice


                                                  5

   Appellate Case: 25-1349         Page: 83       Date Filed: 04/07/2025 Entry ID: 5503844
shall inform miners of their rights under Section 105(c) of the Mine Act and state that

Respondent will cease from discouraging miners from speaking to MSHA in any way and that

Respondent will not interfere with any right under the Mine Act guaranteed to miners or

discriminate against miners for engaging in any protected activity under Section 105(c) of the

Mine Act;

       ix.     Direct Respondent to provide training to all of its employees and managers at the

Mine about miners’ protected rights under the Mine Act, especially with regard to miners’ rights

to raise safety concerns to Respondent and communicate confidentially with MSHA about safety

and health matters, and also provide training to employees and managers that it is prohibited to

discourage miners from engaging in protected activities or interfere with miners’ rights to engage

in protected activities or discriminate against miners for engaging in protected activity under the

Mine Act. Respondent shall also provide MSHA an opportunity to review and make changes to

the content of this training prior to giving the training to its employees and managers;

       x.      An order granting any and all additional relief to which the Secretary and/or

Complainant Baumann may be entitled.


                                                      Respectfully submitted,

                                                      SEEMA NANDA
                                                      Solicitor of Labor

                                                      CHRISTINE Z. HERI
                                                      Regional Solicitor

                                                      EVERT H. VAN WIJK
                                                      Associate Regional Solicitor


Office of the Solicitor                               /s/ Laura O’Reilly
U.S. Department of Labor                              Laura O’Reilly
2300 Main St., Suite 10100                            Elaine Smith
Kansas City, MO 64108
Telephone: (816) 285-7277                             Attorneys for
Facsimile: (816) 285-7287                             Acting Secretary of Labor, United States



                                                 6

   Appellate Case: 25-1349         Page: 84      Date Filed: 04/07/2025 Entry ID: 5503844
oreilly.laura.m@dol.gov                             Department of Labor
smith.elaine.m@dol.gov



                                CERTIFICATE OF SERVICE

       I hereby certify that a correct copy of the foregoing Complaint was served by certified
mail and by email on this 17th day of August, 2023, on:

Russell Tidaback
American Tripoli
222 Oneida Street
Seneca, MO 64865
RTidaback@deedyco.com

Respondent


        I hereby certify that a correct copy of the foregoing Complaint was served by email on
this 17th day of August, 2023, on:


Robert Baumann
Baumannr24@gmail.com

Complainant


                                                    /s/ Laura O’Reilly




                                                7

   Appellate Case: 25-1349        Page: 85      Date Filed: 04/07/2025 Entry ID: 5503844
                          Exhibit A




Appellate Case: 25-1349   Page: 86   Date Filed: 04/07/2025 Entry ID: 5503844
                 (
Discrimination Complaint                                                              U.S. Department of Labor
                                                                                      Mine Safety and Health Administration
Section A - This block is for MSHA Use Only.
1. District                   2. Field Office                             3. Date Filed                  4. Received By               Case Number
    MADISONVILLE                                ROLLA                           4/25/2023                         CVanover              MADI-CD-2023-03




                                                                                                                                     ----
Section B - Complainant completes the rest of the form.
1. Complainant(s) - Person(s) Discriminated Against
Name(s)                                                    Address(es)                                                                Phone Number w/Area Code
              ROB BAUMANN

                                                                                                                                     baumannr24@gmail.com




2. Has the discriminatory action resulted in your being suspended, laid off, or discharged?                  IIZJYES
   2a. If YES, Do you seek temporary reinstatement?             c:J
                                                                 YES          CIZINO
3. Date of discriminatory action:                                                         4. Kind of Job you had at the discriminatory action:
                                    4/17/2023                                                                PRODUCTION SUPERVISOR

5. Rate of regular pay at the time of discriminatory action:                              6. Number of regular hours worked each week (Based on last
                                       $20/HR                                             12 months of work):                      40

7. Rate of overtime pay at the time of discriminatory action:                             8. Average number of overtime hours worked each week (Based
                                          N/A                                             on last 12 months of work):                      NIA

Section C - Respondent - Organization Committing Discrimination
1. Name of Company                                         2. Address                                                   3. Area Code/Phone Nµm�r
                 AMERICAN TRIPOLI                                222 ONIEDA ST, SENECA MO 64865                                     239-829 -5457

4. Mine ID Number (if known)                               5. Mine Name                                                 6. Area Code/Phone Number at Mine
                      23-00504                                   MOSenecaMfr LLC dba American Tripoli
SQction D -Person(s) Responsible for Discriminatory Action
1. Name(s)                                                                                2. Job Title

                        RUSSELL TIDABACK                                                                                 OWNER

                        JORDAN TIDABACK.                                                                                 OWNER

                           JOHN SPEARS                                                                         OPERATIONS MANAGER



Section E -
               If you desire that a copy of all corr�spondence addressed to you
               from MSHA be provided to a repr�sentative (e.g. Union
               representative, attorney, etc.) ple�i;e give his/her name and
               address to the right.


               Please use MSHA form 2000-124, Discrimination Report, to provide a summary of your complaint explaining what discrimatory
               action was taken against you, in�luding the date, the time, and location of the action. Explain why you believe this action was
                              discriminatory, and de!lc;ribe the relief being sought (for example, reinstatement, back pay, etc).


MSHA ForAA 2ood�123,'t>ctober'!foo9 (revised)
                                                                                                          '1:!J<hi�it �eJ=Ps No J                           oz

              Appellate Case: 25-1349                    Page: 87             Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 88   Date Filed: 04/07/2025 Entry ID: 5503844
                          Exhibit 2




Appellate Case: 25-1349   Page: 89   Date Filed: 04/07/2025 Entry ID: 5503844
Received Docket Office
Feb 9 2024
Federal Mine Safety and
Health Review Commission
                      FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                            OFFICE OF ADMINISTRATIVE LAW JUDGES


             ACTING SECRETARY OF LABOR,                            DISCRIMINATION PROCEEDING
             on behalf of JIMMY LEE HOOVER,                        Docket No. _________________

                                   Petitioners,
                                                                   MSHA No. MADI-CD-2023-05
                                   v.
                                                                   Mine: MOSenecaMfr LLC dba
             MOSENECAMANUFACTURER LIMITED                          American Tr
             LIABILITY COMPANY d/b/a AMERICAN                      Mine ID: 23-00504
             TRIPOLI,
                            Respondent.


                                                      COMPLAINT

                 Pursuant to Section 105(c) of the Federal Mine Safety and Health Act of 1977 (“the Mine

         Act”), 30 U.S.C. § 801, et seq., and 29 C.F.R. § 2700.45, the Acting Secretary of Labor (“the

         Acting Secretary”) hereby files this complaint alleging violations of Section 105(c)(1) of the

         Mine Act, 30 U.S.C. § 815(c)(1).1

                 1.      The Federal Mine Safety and Health Review Commission has jurisdiction over

         this case under Sections 105(c)(2) and 113 of the Mine Act, 30 U.S.C. §§ 815(c)(2), 823.

                 2.      The Acting Secretary, acting through the Mine Safety and Health Administration

         (“MSHA”), enforces and administers the Mine Act, 30 U.S.C. § 801 et seq.

                 3.      Respondent American Tripoli is a fictious name for a limited liability company,

         MOSenecaManufacturer Limited Liability Company, with a place of business at 222 Oneida

         Street, Seneca, Missouri 64865. Respondent is registered with MSHA as the operator of the

         MOSenecaMfr LLC dba American Tr mine. Respondent is a “person” as defined in section 3(f)

         1
          A Temporary Reinstatement hearing was held in Docket No. CENT 2024-0024 on December 6, 2023 regarding the
         underlying discrimination complaint in this matter. Following the hearing, Administrative Law Judge David P.
         Simonton issued an Order on December 13, 2023 granting temporary reinstatement of Complainant Jimmy Lee
         Hoover.




              Appellate Case: 25-1349         Page: 90        Date Filed: 04/07/2025 Entry ID: 5503844
of the Mine Act, 30 U.S.C. § 802(f). Respondent owns, operates, and controls the MOSenecaMfr

LLC dba American Tr mine (the “Mine”) and is therefore an “operator” as defined in Section

3(d) of the Mine Act, 30 U.S.C. § 802(d).

       4.     The MOSenecaMfr LLC dba American Tr mine (“Mine”) is metal/nonmetal

surface mine with a Mine ID of 23-00504. The Mine has, or at all times relevant to this

Complaint had, products that enter commerce or operations or products that affect commerce.

The Mine is a “coal or other mine” as defined in Section 3(h)(1) of the Mine Act, 30 U.S.C. §

802(h)(1).

       5.     At all relevant times, Jimmy Lee Hoover (“Complainant”) was employed by

Respondent as a mill operator/mill associate who worked at the Mine performing various tasks

and was a “miner” as defined in Section 3(g) of the Mine Act, 30 U.S.C. § 802(g).

       6.     Complainant engaged in protected activity while employed by Respondent at the

Mine, including the following:

              a. On September 13, 2023, Complainant discovered that a circuit breaker

                  supplying power to an airlock at the mill had tripped and the external reset

                  button on the electrical box was not functioning, and therefore a manual reset

                  of the circuit breaker was required. Because Complainant did not feel safe

                  performing this action, which involved removing the front cover and reaching

                  inside the energized breaker box containing a 220-volt alternating current, he

                  notified Lead Production Supervisor Don Hale and Operations Manager John

                  Spears of the unsafe working condition.

              b. When Complainant informed Spears that the breaker needed to be reset

                  manually and that he did not feel safe removing the cover and reaching his



                                                2


   Appellate Case: 25-1349        Page: 91      Date Filed: 04/07/2025 Entry ID: 5503844
                   hand into the energized breaker box, Spears told Complainant that they

                   needed “the product,” and that they needed to make Russel Tidaback, the

                   owner of Respondent, “some money.” Despite Spears’ insistence that

                   Complainant get the mill running, Complainant refused to reach into the

                   breaker box.

       7.      Respondent terminated Complainant on September 14, 2023, at least in part,

because he engaged in activities protected by 30 U.S.C. § 815(c), including those set forth above.

Respondent’s actions against Complainant constituted illegal discrimination for engaging in

protected activities, in violation of Section 105(c) of the Act.

       8.      On September 25, 2023, Complainant filed a discrimination complaint with

MSHA, alleging he was discriminated against pursuant to Section 105(c) of the Act. A true and

correct copy of Complainant’s discrimination complaint is attached hereto as Exhibit A.

       9.      As a result of Respondent’s violation of Section 105(c), Complainant suffered

financial losses, including, but not limited to, lost wages.

       10.     The MSHA Office of Assessments has proposed a civil penalty against

Respondent in the amount of $17,500.00 for discriminating against Complainant in violation of

Section 105(c) of the Act. The Acting Secretary requests the Commission assess a civil penalty

in that amount against Respondent for discriminating against Complainant Baumann in violation

of Section 105(c) of the Act as set forth in this Complaint.

       WHEREFORE, good cause having been shown, the Acting Secretary and Complainant

respectfully demand judgment against Respondent and request the following relief:




                                                  3


   Appellate Case: 25-1349         Page: 92       Date Filed: 04/07/2025 Entry ID: 5503844
       i.      A finding that Respondent unlawfully discriminated against Complainant because

of his exercise of protected activity in violation of Section 105(c)(1) of the Federal Mine Safety

and Health Act of 1977, 30 U.S.C. § 815.

       ii.     Direct Respondent to pay a civil penalty for discriminating against Complainant

in violation of Section 105(c). In accordance with the criteria specified in Section 110(i) of the

Mine Act, the Acting Secretary proposes a civil penalty of $17,500.00 for the discrimination

violation.

       iii.    Require Respondent to fully compensate Complainant for lost wages, benefits,

and any other compensatory damages, plus interest, that resulted from Complainant’s

termination.

       iv.     Order Respondent to immediately permanently reinstate Complainant to the

position he held prior to his termination with full benefits and without any break in seniority or

other loss of rights or privileges, including at the same rate of pay, the same benefits, the same

number of hours worked, and with the same duties assigned to him prior to his termination.

       v.      Require that the personnel file of Complainant be purged of any reference to his

termination and any disciplinary action taken against Complainant as the result of the

discrimination by Respondent.

       vi.     Direct Respondent to post a notice for a period of at least 60 days, at places where

notices are regularly posted for employees to see, in a size and font that is readily visible to

miners, at the Mine, stating that it will not violate Section 105(c) of the Mine Act. Such notice

shall inform miners of their rights under Section 105(c) of the Mine Act and state that

Respondent will not discriminate against miners for engaging in any protected activity under

Section 105(c) of the Mine Act.



                                                  4


   Appellate Case: 25-1349         Page: 93       Date Filed: 04/07/2025 Entry ID: 5503844
       vii.   An order granting any and all additional relief to which the Acting Secretary

and/or Complainant may be entitled.

                                                   Respectfully Submitted,

                                                   Seema Nanda
                                                   Solicitor of Labor

                                                   Christine Z. Heri
                                                   Regional Solicitor

                                                   Evert H. Van Wijk
                                                   Associate Regional Solicitor


U.S. Department of Labor                           /s/Quinlan Moll
Office of the Solicitor                            Quinlan Moll
2300 Main Street, Suite 10100                      Laura O’Reilly
Kansas City, MO 64108                              Elaine Smith
Telephone: (816) 285-7284
Facsimile: (816) 285-7287
moll.quinlan.b@dol.gov                             Attorneys for
oreilly.laura.m@dol.gov                            Acting Secretary of Labor, United States
smith.elaine.m@dol.gov                             Department of Labor




                                               5


  Appellate Case: 25-1349        Page: 94      Date Filed: 04/07/2025 Entry ID: 5503844
                               CERTIFICATE OF SERVICE

       I hereby certify that on February 9, 2024, a correct copy of the foregoing Application for

Temporary Reinstatement was e-filed via the FMSHRC-eCMS system, and also served via email

upon the following:


Respondent:

                      Russell Tidaback
                      American Tripoli
                      222 Oneida Street
                      Seneca, MO 64865
                      RTidaback@deedyco.com

Complainant:

                      Jimmy Lee Hoover
                      1630 Cottage Ln
                      Seneca, MO 64865
                      (918) 715-8707
                      hooverj9233@gmail.com




                                                  /s/ Quinlan B. Moll




  Appellate Case: 25-1349        Page: 95       Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit A
            Appellate Case: 25-1349   Page: 96   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 97   Date Filed: 04/07/2025 Entry ID: 5503844
            FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                              OFFICE OF THE ADMINISTRATIVE LAW JUDGES
                               1331 PENNSYLVANIA AVE., N.W., SUITE 520N
                                      WASHINGTON, DC 20004-1710
                                       TELEPHONE: 202-434-9933
                                          FAX: 202-434-9949


                                      February 23, 2024
 SECRETARY OF LABOR, MSHA                             DISCRIMINATION PROCEEDING
 obo ROBERT BAUMANN,
              Complainant                             Docket No. CENT 2023-0251-DM
                                                      MSHA No. MADI-CD-2023-03
                v.




 MOSENECAMANUFACTURER                                 Mine: MOSenecaMfr LLC dba American Tr
 LIMITED LIABILITY COMPANY d/b/a                      Mine ID: 23-00504
 AMERICAN TRIPOLI,
               Respondent


            ORDER ON ACTING SECRETARY’S MOTION TO EXCLUDE
          RESPONDENT’S LATE DISCLOSED WITNESSES AND EXHIBITS;
                                  and
            IMPORTANT INSTRUCTIONS ABOUT THE HEARING AND
                   THE PROCEDURES TO BE EMPLOYED

        Before the Court is the Acting Secretary’s Motion to Exclude Respondent’s Late
Disclosed Witnesses and Exhibits. (Sec Motion to Exclude). The Respondent filed a Response
to the Motion. Upon consideration, the Secretary’s Motion is DENIED.

        While the Respondent was late in complying with the date set for the Prehearing
Exchange, per the Court’s Notice of Hearing, issued December 15, 2023, which Notice required
that proposed exhibits be exchanged by January 30, 2024, broadly speaking, the Secretary
received the Respondent’s proposed exhibits as of February 8, 2024. Excluding weekends and a
holiday, the Secretary will have been in possession of the proposed exhibits eleven (11) days
before the start of the February 27, 2024, commencement of the hearing.

        Taking into consideration that the Respondent’s Response and that Respondent is a
pro se litigant, the Court, in the spirit of fundamental fairness, denies the Secretary’s Motion.
That said, the Order is of limited effect. This is so because the Order only speaks to the
exchange of proposed exhibits. For both sides, absent the parties’ stipulations for admission of a
given exhibit, each exhibit may be challenged as to the propriety of its inclusion into the record.




                                                 1


   Appellate Case: 25-1349        Page: 98        Date Filed: 04/07/2025 Entry ID: 5503844
Materiality and relevance 1 of any exhibit are among the bases for objection to any exhibit.
The lack of probative value and undue prejudice are other examples of evidence objections to
evidence. 2

        Other grounds for objection may include, for example, that an untimely disclosure
prevented a party from using an exhibit in a deposition and/or precluded adequate time to request
further information about such document, but only if the Court determines that such shortcoming
was to the significant, uncurable, harm of the party saddled with the late disclosure.

The procedure employed in discrimination actions under the Mine Act.

        The procedure in discrimination actions has been long established. 3 A complainant
alleging discrimination under the Mine Act establishes a prima facie case of prohibited
discrimination by presenting evidence sufficient to support a conclusion that the individual
engaged in protected activity and that the adverse action complained of was motivated in any
part by that activity. Sec'y of Labor on behalf of Pasula v. Consolidation Coal Co., 2 FMSHRC
2786 (Oct. 1980). Record evidence of protected activity, employer knowledge of that activity,
adverse action, and a close temporal proximity between protected activity and adverse action
may establish a motivational nexus sufficient to make out a prima facie case of discrimination.

        The operator may rebut the prima facie case by showing either that no protected activity
occurred or that the adverse action was in no part motivated by protected activity. If the operator
cannot rebut the prima facie case in this manner, it nevertheless may defend affirmatively by
proving that it also was motivated by the miner's unprotected activity and would have taken the
adverse action for the unprotected activity alone. Indicia of legitimate non-discriminatory
reasons for an employer's adverse action may include evidence of the miner's unsatisfactory past
work record, prior warnings to the miner, past discipline consistent with that meted out to the
complainant, and personnel rules or practices forbidding the conduct in question. In reviewing
affirmative defenses, the judge must determine whether they are credible and, if so, whether they
would have motivated the particular operator as claimed. Pretext may be found where the
asserted justification is weak, implausible, or out of line with the operator's normal business
practices.
1
  Commission Procedural Rule 63(a) states that “[r]elevant evidence … that is not unduly
repetitious or cumulative is admissible.” 29 C.F.R. § 2700.63(a). Although the Commission has
not defined “relevant evidence,” it is defined in Rule 401 of the Federal Rules of Evidence as
evidence having any tendency to make the existence of any fact that is of consequence to the
determination of the action more probable or less probable than it would be without the evidence.
2
  As noted in Sec. v Jim Walter Resources, 26 FMSHRC 830, Oct. 2004 (ALJ) “while all
admitted evidence must be relevant, not all relevant evidence must be admitted. Relevant
evidence may be excluded if it is only minimally relevant that is if the judge finds it is too
tangential to the questions at issue.” Id. at 832.
3
 Among a plethora of Mine Act discrimination cases, the source for the paraphrased description
of discrimination cases above was derived from the Commission decision in Pero v Cyprus
Plateau Mining, 22 FMSHRC 1361 (Dec. 2000).
                                                  2


    Appellate Case: 25-1349        Page: 99       Date Filed: 04/07/2025 Entry ID: 5503844
        The Court will be guided by this procedure. Accordingly, the Secretary will present its
case first. Following that, the Respondent will present its defense.

        The parties are DIRECTED to promptly acknowledge receipt of this Order to the
Court, its law clerk, Jose Natera and its Management Analyst, Wykesha Hodnett, all as listed in
the email for this Order.

SO ORDERED.


                                                     ___________________
                                                     William B. Moran
                                                     Administrative Law Judge




Distribution:

Russell Tidaback, American Tripoli, 222 Oneida Street, Seneca, MO 64865
(Russell.Tidaback@AmericanTripoli.com)

Laura O’Reilly, U.S. Department of Labor, 2300 Main Street, Suite 10100, Kansas City, MO
64108 (oreilly.laura.m@dol.gov)

Elaine Smith, Esq, U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (smith.elaine.m@dol.gov)

Quinlan B. Moll, Esq. U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (Moll.Quinlan.B@dol.gov)

Robert Baumann, (baumannr24@gmail.com)




                                                3


  Appellate Case: 25-1349        Page: 100       Date Filed: 04/07/2025 Entry ID: 5503844
            FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                               OFFICE OF THE ADMINISTRATIVE LAW JUDGES
                                1331 PENNSYLVANIA AVE., N.W., SUITE 520N
                                       WASHINGTON, DC 20004-1710
                                        TELEPHONE: 202-434-9933
                                           FAX: 202-434-9949


                                        February 23, 2024
 SECRETARY OF LABOR, MSHA                                DISCRIMINATION PROCEEDING
 obo ROBERT BAUMANN,
              Complainant                                Docket No. CENT 2023-0251-DM
                                                         MSHA No. MADI-CD-2023-03
                 v.




 MOSENECAMANUFACTURER                                    Mine: MOSenecaMfr LLC dba American Tr
 LIMITED LIABILITY COMPANY d/b/a                         Mine ID: 23-00504
 AMERICAN TRIPOLI,
               Respondent


                  ORDER ON RESPONDENT’S MOTION TO REMOVE
                 COUNSEL DUE TO ALLEGED CONFLICT OF INTEREST


         The Court, upon consideration of the Respondent’s Motion to Remove Counsel due to alleged
conflict of interest and the Acting Secretary’s Opposition to the Motion, DENIES the Respondent’s
Motion. There is no demonstrated conflict of interest by the Secretary in this matter.

        In addition to this ruling, the Secretary, in her Opposition, seeks an Order to Show Cause why
sanctions should not be imposed, including the Acting Secretary’s fees and costs associated with
defending the motion, which the Secretary has characterized as frivolous. The Court declines to issue an
Order to Show Cause. The Respondent, operating pro se, is not an attorney and, in any event, the
Commission does not have the authority to impose monetary sanctions. Marin v. Asarco, 14 FMSHRC
1269, (Aug. 1992).

        The parties are directed to promptly acknowledge receipt of this Order.

SO ORDERED.



                                                         ___________________
                                                         William B. Moran
                                                         Administrative Law Judge




  Appellate Case: 25-1349           Page: 101        Date Filed: 04/07/2025 Entry ID: 5503844
Distribution:

Russell Tidaback, American Tripoli, 222 Oneida Street, Seneca, MO 64865
(Russell.Tidaback@AmericanTripoli.com)

Laura O’Reilly, U.S. Department of Labor, 2300 Main Street, Suite 10100, Kansas City, MO
64108 (oreilly.laura.m@dol.gov)

Elaine Smith, Esq, U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (smith.elaine.m@dol.gov)

Quinlan B. Moll, Esq. U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (Moll.Quinlan.B@dol.gov)

Robert Baumann, (baumannr24@gmail.com)




  Appellate Case: 25-1349      Page: 102      Date Filed: 04/07/2025 Entry ID: 5503844
           FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                            OFFICE OF THE ADMINISTRATIVE LAW JUDGES
                             1331 PENNSYLVANIA AVE., N.W., SUITE 520N
                                    WASHINGTON, DC 20004-1710
                                     TELEPHONE: 202-434-9933
                                        FAX: 202-434-9949


                                    February 23, 2024
 SECRETARY OF LABOR, MSHA                           DISCRIMINATION PROCEEDING
 obo ROBERT BAUMANN,
              Complainant                           Docket No. CENT 2023-0251-DM
                                                    MSHA No. MADI-CD-2023-03
               v.




 MOSENECAMANUFACTURER                               Mine: MOSenecaMfr LLC dba American Tr
 LIMITED LIABILITY COMPANY d/b/a                    Mine ID: 23-00504
 AMERICAN TRIPOLI,
               Respondent


        ORDER ON RESPONDENT’S MOTION TO EXCLUDE WITNESSES
            FROM THE ACTING SECRETARY’S WITNESS LIST


       Before the Court is the Respondent’s Motion to Exclude Witnesses from the Acting
Secretary’s Witness List. The Acting Secretary filed an Opposition to the Motion. Upon
consideration, the Respondent’s Motion is DENIED. The Court adopts the reasons articulated in
the Secretary’s Opposition, which is hereby incorporated by reference.

       To the extent that the Respondent has issues with the testimony from witnesses the
Secretary may call, such matters may be raised during direct examination upon questions posed
by the Secretary and also upon cross-examination. Such issues will be addressed in rulings by
the Court from the bench.

       The parties are directed to promptly acknowledge receipt of this ORDER.

SO ORDERED




                                                     ___________________
                                                     William B. Moran
                                                     Administrative Law Judge




  Appellate Case: 25-1349       Page: 103       Date Filed: 04/07/2025 Entry ID: 5503844
Distribution:

Russell Tidaback, American Tripoli, 222 Oneida Street, Seneca, MO 64865
(Russell.Tidaback@AmericanTripoli.com)

Laura O’Reilly, U.S. Department of Labor, 2300 Main Street, Suite 10100, Kansas City, MO
64108 (oreilly.laura.m@dol.gov)

Elaine Smith, Esq, U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (smith.elaine.m@dol.gov)

Quinlan B. Moll, Esq. U.S. Department of Labor, 2300 Main St., Suite 10100, Kansas City, MO
64108 (Moll.Quinlan.B@dol.gov)

Robert Baumann, (baumannr24@gmail.com)




  Appellate Case: 25-1349      Page: 104      Date Filed: 04/07/2025 Entry ID: 5503844
                              United states of america
                  Federal Mine Safety and Health Review Commission
                                    3HQQV\OYDQLD$YHQXH1:6XLWH1
                                            Washington, DC 2000-



                                                               SUBPOENA


Acting Secretary of Labor and Robert Baumann

Petitioner/Complainant/Contestant                                           Docket NoV. CENT 2023-0251-DM
v.

MOSenecaManufacturer LLLC d/b/a American Tripoli

Respondent


TO:      Carson Allman


                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at a hearing in the
     ✔               above proceeding.

PLACE OF HEARING                                                            DATE AND TIME
Jasper County Courts Building, 633 S. Pearl Ave. Courtroom                   Tuesday, February 27, 2024 and continue through Friday,
A, Joplin, Missouri 64801                                                    March 1, 2024

                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at the taking of a
                     deposition in the above proceeding.

PLACE OF DEPOSITION                                                         DATE AND TIME




                     YOU ARE DIRECTED to bring the following items with you:




This subpoena is issued upon the application of (indicate if attorney/representative for party):

PERSON REQUESTING SUBPOENA                                                  ADDRESS, TELEPHONE AND FAX NUMBERS

Elaine Smith                                                                2300 Main Street, Suite 10100, Kansas City, MO 64108
Attorney for Acting Secretary of Labor                                      816-285-7262

ISSUED BY:




                                                                                                February 9, 2024
____________________________                                                                  ______________
                                                                                                    Date
William B. Moran
Administrative Law Judge

                                                              www.fmshrc.gov
                                                   (202) 434-9900    Fax: (202) 434-9906
                                                          email: info@fmshrc.gov
         Appellate Case: 25-1349                     Page: 105             Date Filed: 04/07/2025 Entry ID: 5503844
                                                          PROOF OF SERVICE

        2/9/2024
SERVED: _______________                                                                                                    ______________
                     DATE                                                                   PLACE



SERVED ON (Print Name): Carson Allman                                             MANNER OF SERVICE:
                                                                          USPS First Class Mail and Certified Mail, Return Receipt Requested


SERVED BY (Print Name):                                                           TITLE:
                                 Michelle C. Patrick                                       Paralegal Specialist


                                                    DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the
Proof of Service is true and correct. (If service was by Registered or Certified Mail, attach return receipt.)

Executed On: _______________                            _______________________________________________________________
                          Date                                                       Signature of Server
                       2300 Main Street, Ste 10100, Kansas City, Missouri 64108
Address of Server: _____________________________________________________________________________________


TITLE 29, CODE OF FEDERAL REGULATIONS                                           [Any motion to revoke or modify a subpoena; must be in writing;
CHAPTER XXVII – FEDERAL MINE SAFETY AND HEALTH                               must identify the case by name and docket number; must be
REVIEW COMMISSION                                                            signed by the filing person; and shall include the filing person’s
PART 2700, PROCEDURAL RULES                                                  address and phone number.

                                                                                The motion shall be filed by facsimile transmittal, and a copy
§ 2700.60 Subpoenas                                                          shall be served by facsimile on the person upon whose application
                                                                             the subpoena was issued. Commission Procedural Rules 5, 6, 7,
   (a) Compulsory attendance of witnesses and production of                  and 10.]
documents. The Commission and its Judges are authorized to
issue subpoenas, on their own motion or on the oral or written                  (d) Availability of Transcript. Persons compelled to submit
application of a party, requiring the attendance of witnesses and            evidence at a public proceeding are entitled to obtain, on payment
the production of documents and physical evidence. A subpoena                of prescribed costs, a transcript of that part of the proceeding that
may be served by any person who is at least 18 years of age. A               sets forth their testimony or refers to their production of evidence.
subpoena may also be served by registered or certified mail, return
receipt requested, but, in such case, any risk of delivery is on the            (e) Failure to Comply. Upon the failure of any person to
serving party. A copy of the subpoena bearing a certificate of               comply with an order to testify or with a subpoena issued by the
service shall be filed with the Commission or the Judge.                     Commission or the Judge, the Judge or the Commission’s General
                                                                             Counsel, at the request of the Judge or at the direction of the
   (b) Fees payable to witnesses. Subpoenaed witnesses shall                 Commission, may undertake to initiate proceedings in the
be paid the same fees and mileage as are paid in the district courts         appropriate district court of the United States for the enforcement
of the United States. The witness fees and mileage shall be paid             of the subpoena.
by the party at whose request the witness appears, or by the
Commission if a witness is subpoenaed on the motion of the                   TENDER OF FEES AND MILEAGE
Commission or a Judge. This paragraph does not apply to
Government employees who are called as witnesses by the                         Service of a subpoena directing a person’s attendance at a
Government.                                                                  hearing or deposition shall be accompanied by tendering to that
                                                                             person the fees or one day’s attendance and the mileage allowed
   (c) Motions to revoke or modify subpoenas. Any person                     by law, except that, when a subpoena is issued at the request of
served with a subpoena may move within 5 [business] days of                  the United States or an officer or agency thereof, fees and mileage
service or at the hearing, whichever is sooner, to revoke or modify          need not be tendered. Fed.R.Civ.P.45(b).
the subpoena. The Commission or the Judge, as appropriate,
shall revoke or modify the subpoena if it seeks information outside          PROTECTION OF PERSONS SUBJECT TO SUBPOENAS
the proper scope of discovery as set forth in § 2700.56(b); or if it
does not describe with sufficient particularity the evidence required                   A party or an attorney responsible for the issuance and
to be produced; or if for any other reason it is found to be invalid or      service of a subpoena shall take reasonable steps to avoid
unreasonable. The Commission or the Judge shall set forth a                  imposing undue burden or expense on a person subject to that
concise statement of the grounds for such ruling.                            subpoena. A party or attorney who breaches this duty may be
                                                                             subject to an appropriate sanction. Fed.R.Civ.P.45(c)(1).



                                                                                                                                                  2

         Appellate Case: 25-1349                       Page: 106          Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 107   Date Filed: 04/07/2025 Entry ID: 5503844
                              United states of america
                  Federal Mine Safety and Health Review Commission
                                    3HQQV\OYDQLD$YHQXH1:6XLWH1
                                            Washington, DC 2000-



                                                               SUBPOENA


Acting Secretary of Labor and Robert Baumann

Petitioner/Complainant/Contestant                                           Docket NoV. CENT 2023-0251-DM
v.

MOSenecaManufacturer LLLC d/b/a American Tripoli

Respondent


TO:      Gage Wheeler


                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at a hearing in the
     ✔               above proceeding.

PLACE OF HEARING                                                            DATE AND TIME
Jasper County Courts Building, 633 S. Pearl Ave. Courtroom                   Tuesday, February 27, 2024 and continue through Friday,
A, Joplin, Missouri 64801                                                    March 1, 2024

                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at the taking of a
                     deposition in the above proceeding.

PLACE OF DEPOSITION                                                         DATE AND TIME




                     YOU ARE DIRECTED to bring the following items with you:




This subpoena is issued upon the application of (indicate if attorney/representative for party):

PERSON REQUESTING SUBPOENA                                                  ADDRESS, TELEPHONE AND FAX NUMBERS

Elaine Smith                                                                2300 Main Street, Suite 10100, Kansas City, MO 64108
Attorney for Acting Secretary of Labor                                      816-285-7262

ISSUED BY:




                                                                                                February 9, 2024
____________________________                                                                  ______________
                                                                                                    Date
William B. Moran
Administrative Law Judge

                                                              www.fmshrc.gov
                                                   (202) 434-9900    Fax: (202) 434-9906
                                                          email: info@fmshrc.gov
         Appellate Case: 25-1349                     Page: 108             Date Filed: 04/07/2025 Entry ID: 5503844
                                                          PROOF OF SERVICE

SERVED: 2/9/2024
        _______________                                                                                               __________________
                     DATE                                                                   PLACE



SERVED ON (Print Name):           Gage Wheeler                                    MANNER OF SERVICE:
                                                                          USPS First Class Mail and Certified Mail with Return Receipt requested


SERVED BY (Print Name): Michelle C. Patrick                                       TITLE: Paralegal Specialist


                                                    DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the
Proof of Service is true and correct. (If service was by Registered or Certified Mail, attach return receipt.)

Executed On: _______________                            _______________________________________________________________
                          Date                                                        Signature of Server

                   2300 Main Street, Ste 10100, Kansas City, Missouri, 64108
Address of Server: _____________________________________________________________________________________


TITLE 29, CODE OF FEDERAL REGULATIONS                                            [Any motion to revoke or modify a subpoena; must be in writing;
CHAPTER XXVII – FEDERAL MINE SAFETY AND HEALTH                                must identify the case by name and docket number; must be
REVIEW COMMISSION                                                             signed by the filing person; and shall include the filing person’s
PART 2700, PROCEDURAL RULES                                                   address and phone number.

                                                                                 The motion shall be filed by facsimile transmittal, and a copy
§ 2700.60 Subpoenas                                                           shall be served by facsimile on the person upon whose application
                                                                              the subpoena was issued. Commission Procedural Rules 5, 6, 7,
   (a) Compulsory attendance of witnesses and production of                   and 10.]
documents. The Commission and its Judges are authorized to
issue subpoenas, on their own motion or on the oral or written                   (d) Availability of Transcript. Persons compelled to submit
application of a party, requiring the attendance of witnesses and             evidence at a public proceeding are entitled to obtain, on payment
the production of documents and physical evidence. A subpoena                 of prescribed costs, a transcript of that part of the proceeding that
may be served by any person who is at least 18 years of age. A                sets forth their testimony or refers to their production of evidence.
subpoena may also be served by registered or certified mail, return
receipt requested, but, in such case, any risk of delivery is on the             (e) Failure to Comply. Upon the failure of any person to
serving party. A copy of the subpoena bearing a certificate of                comply with an order to testify or with a subpoena issued by the
service shall be filed with the Commission or the Judge.                      Commission or the Judge, the Judge or the Commission’s General
                                                                              Counsel, at the request of the Judge or at the direction of the
   (b) Fees payable to witnesses. Subpoenaed witnesses shall                  Commission, may undertake to initiate proceedings in the
be paid the same fees and mileage as are paid in the district courts          appropriate district court of the United States for the enforcement
of the United States. The witness fees and mileage shall be paid              of the subpoena.
by the party at whose request the witness appears, or by the
Commission if a witness is subpoenaed on the motion of the                    TENDER OF FEES AND MILEAGE
Commission or a Judge. This paragraph does not apply to
Government employees who are called as witnesses by the                          Service of a subpoena directing a person’s attendance at a
Government.                                                                   hearing or deposition shall be accompanied by tendering to that
                                                                              person the fees or one day’s attendance and the mileage allowed
   (c) Motions to revoke or modify subpoenas. Any person                      by law, except that, when a subpoena is issued at the request of
served with a subpoena may move within 5 [business] days of                   the United States or an officer or agency thereof, fees and mileage
service or at the hearing, whichever is sooner, to revoke or modify           need not be tendered. Fed.R.Civ.P.45(b).
the subpoena. The Commission or the Judge, as appropriate,
shall revoke or modify the subpoena if it seeks information outside           PROTECTION OF PERSONS SUBJECT TO SUBPOENAS
the proper scope of discovery as set forth in § 2700.56(b); or if it
does not describe with sufficient particularity the evidence required                    A party or an attorney responsible for the issuance and
to be produced; or if for any other reason it is found to be invalid or       service of a subpoena shall take reasonable steps to avoid
unreasonable. The Commission or the Judge shall set forth a                   imposing undue burden or expense on a person subject to that
concise statement of the grounds for such ruling.                             subpoena. A party or attorney who breaches this duty may be
                                                                              subject to an appropriate sanction. Fed.R.Civ.P.45(c)(1).



                                                                                                                                                   2

         Appellate Case: 25-1349                      Page: 109           Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 110   Date Filed: 04/07/2025 Entry ID: 5503844
                              United states of america
                  Federal Mine Safety and Health Review Commission
                                    3HQQV\OYDQLD$YHQXH1:6XLWH1
                                            Washington, DC 2000-



                                                               SUBPOENA


Acting Secretary of Labor and Robert Baumann

Petitioner/Complainant/Contestant                                           Docket NoV. CENT 2023-0251-DM
v.

MOSenecaManufacturer LLLC d/b/a American Tripoli

Respondent


TO:      John Spears


                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at a hearing in the
     ✔               above proceeding.

PLACE OF HEARING                                                            DATE AND TIME
Jasper County Courts Building, 633 S. Pearl Ave. Courtroom                   Tuesday, February 27, 2024 and continue through Friday,
A, Joplin, Missouri 64801                                                    March 1, 2024

                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at the taking of a
                     deposition in the above proceeding.

PLACE OF DEPOSITION                                                         DATE AND TIME




                     YOU ARE DIRECTED to bring the following items with you:




This subpoena is issued upon the application of (indicate if attorney/representative for party):

PERSON REQUESTING SUBPOENA                                                  ADDRESS, TELEPHONE AND FAX NUMBERS

Elaine Smith                                                                2300 Main Street, Suite 10100, Kansas City, MO 64108
Attorney for Acting Secretary of Labor                                      816-285-7262

ISSUED BY:




                                                                                                February 9, 2024
____________________________                                                                  ______________
                                                                                                    Date
William B. Moran
Administrative Law Judge

                                                              www.fmshrc.gov
                                                   (202) 434-9900    Fax: (202) 434-9906
                                                          email: info@fmshrc.gov
         Appellate Case: 25-1349                     Page: 111             Date Filed: 04/07/2025 Entry ID: 5503844
                                                          PROOF OF SERVICE

SERVED: 2/9/2024
        _______________                                                                                                      ______________
                     DATE                                                                    PLACE



SERVED ON (Print Name):                                                            MANNER OF SERVICE:
                                  John Spears                  USPS First Class Mail, Certified Mail with Return Receipt requested, & UPS 2nd Day Air


SERVED BY (Print Name):                                                            TITLE: Paralegal Specialist
                                 Michelle C. Patrick

                                                    DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the
Proof of Service is true and correct. (If service was by Registered or Certified Mail, attach return receipt.)

Executed On: _______________                            _______________________________________________________________
                          Date                                                         Signature of Server
                       2300 Main Street, Ste 10100, Kansas City, Missouri, 64108
Address of Server: _____________________________________________________________________________________


TITLE 29, CODE OF FEDERAL REGULATIONS                                             [Any motion to revoke or modify a subpoena; must be in writing;
CHAPTER XXVII – FEDERAL MINE SAFETY AND HEALTH                                 must identify the case by name and docket number; must be
REVIEW COMMISSION                                                              signed by the filing person; and shall include the filing person’s
PART 2700, PROCEDURAL RULES                                                    address and phone number.

                                                                                  The motion shall be filed by facsimile transmittal, and a copy
§ 2700.60 Subpoenas                                                            shall be served by facsimile on the person upon whose application
                                                                               the subpoena was issued. Commission Procedural Rules 5, 6, 7,
   (a) Compulsory attendance of witnesses and production of                    and 10.]
documents. The Commission and its Judges are authorized to
issue subpoenas, on their own motion or on the oral or written                    (d) Availability of Transcript. Persons compelled to submit
application of a party, requiring the attendance of witnesses and              evidence at a public proceeding are entitled to obtain, on payment
the production of documents and physical evidence. A subpoena                  of prescribed costs, a transcript of that part of the proceeding that
may be served by any person who is at least 18 years of age. A                 sets forth their testimony or refers to their production of evidence.
subpoena may also be served by registered or certified mail, return
receipt requested, but, in such case, any risk of delivery is on the              (e) Failure to Comply. Upon the failure of any person to
serving party. A copy of the subpoena bearing a certificate of                 comply with an order to testify or with a subpoena issued by the
service shall be filed with the Commission or the Judge.                       Commission or the Judge, the Judge or the Commission’s General
                                                                               Counsel, at the request of the Judge or at the direction of the
   (b) Fees payable to witnesses. Subpoenaed witnesses shall                   Commission, may undertake to initiate proceedings in the
be paid the same fees and mileage as are paid in the district courts           appropriate district court of the United States for the enforcement
of the United States. The witness fees and mileage shall be paid               of the subpoena.
by the party at whose request the witness appears, or by the
Commission if a witness is subpoenaed on the motion of the                     TENDER OF FEES AND MILEAGE
Commission or a Judge. This paragraph does not apply to
Government employees who are called as witnesses by the                           Service of a subpoena directing a person’s attendance at a
Government.                                                                    hearing or deposition shall be accompanied by tendering to that
                                                                               person the fees or one day’s attendance and the mileage allowed
   (c) Motions to revoke or modify subpoenas. Any person                       by law, except that, when a subpoena is issued at the request of
served with a subpoena may move within 5 [business] days of                    the United States or an officer or agency thereof, fees and mileage
service or at the hearing, whichever is sooner, to revoke or modify            need not be tendered. Fed.R.Civ.P.45(b).
the subpoena. The Commission or the Judge, as appropriate,
shall revoke or modify the subpoena if it seeks information outside            PROTECTION OF PERSONS SUBJECT TO SUBPOENAS
the proper scope of discovery as set forth in § 2700.56(b); or if it
does not describe with sufficient particularity the evidence required                     A party or an attorney responsible for the issuance and
to be produced; or if for any other reason it is found to be invalid or        service of a subpoena shall take reasonable steps to avoid
unreasonable. The Commission or the Judge shall set forth a                    imposing undue burden or expense on a person subject to that
concise statement of the grounds for such ruling.                              subpoena. A party or attorney who breaches this duty may be
                                                                               subject to an appropriate sanction. Fed.R.Civ.P.45(c)(1).



                                                                                                                                                    2

         Appellate Case: 25-1349                      Page: 112            Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 113   Date Filed: 04/07/2025 Entry ID: 5503844
             01223ÿ23ÿ5678961
                 ÿ 
             ÿÿÿÿÿÿ !ÿÿ ÿ ÿÿ" #$
             5167889:ÿ;<=>61
             ?@A2/4A,+,/BA/..B1
             C68:DE
             +$,+ÿFG&
             H619876
             '%&ÿ,ÿ !ÿ2I
             HD8JJ6KÿLÿM8776KÿN9
             +,-?0-,+,.
             56789616KÿN9
             +,-?T-,+,.ÿB*?/ÿ%$3$
             56789616Kÿ52
             OP2QGRÿ3Sÿ'&
             U63EÿVE
             S 
             % ÿÿÿ!ÿÿÿÿÿ ÿÿ!ÿ" ÿÿÿÿ $
             & !
             '%&
             ()ÿÿ ÿ"!ÿ'%&*ÿ+,-,+-,+,.ÿ/*01ÿ2$3$ÿ4&

                    !ÿ%

                Wÿ!ÿÿÿ ÿ  ÿ ÿ ÿÿ#ÿ ÿ


                                                          X86Yÿ0D2E2




Appellate Case: 25-1349               Page: 114                  Date Filed: 04/07/2025 Entry ID: 5503844
   012345ÿ728232ÿ9204 23ÿ 4 7ÿ0 3 77ÿ4 2ÿ7ÿ0ÿ210ÿ01ÿ21823ÿÿ

ÿ!                   '                                                                 "#$%ÿ&




4+,-./01ÿ2345+5                                                                               353@H5ÿ
6789:;977777<=>?7?=7
      @AB ÿ 0DDÿE@ÿ0F@+35Dÿ5G/H5+BÿIJEEAK5LL/0F@+35DD5G/H5+B2KAK-@3LM

    1,E5KEÿAD,E5
    NOPQÿSTUVÿWXYÿZS[\U]ÿPZÿXTÿT^UÿZOYTÿO__S[UÿXTÿ̀abcÿXVÿOdÿeUfQPXQgÿhijÿkcklÿSdÿmnopqNjÿrsÿil`llt

    u(vÿwx(ÿyzvÿx{ÿÿ!|
        ÿ!ÿ}z%'
    5G/H5+5D
    5G/H5+5Dÿ0D/H/D2,Gÿ/-.5DÿAÿ,Eÿ@KEÿFF/-5
    ÿÿÿ
     ¡ÿ¢ÿ£¤£ÿ¥¦¤ÿ§
    ((ÿ#}}ÿ!ÿ~%vx
 vÿxÿÿ!ÿvvz%(%ÿw( ÿvv%|{z% %x%v}(((%!(

  (¨vÿ©ÿª}ÿ «v(%                                                                                ¬   ·¸¸¹º»¼½

  ÿ!ÿ}z%'                                                                                  ¬

  x«zvÿ­{xvx                                                                                   ¬

                                              ((ÿ)(%%ÿ*
®¯°ÿ±²³´ÿµ ¯°¶


        Appellate Case: 25-1349       Page: 115      Date Filed: 04/07/2025 Entry ID: 5503844
%&'()ÿ')+,-.&/ÿ0)ÿ1+),02(ÿ&341()5


                                    0112ÿ4561ÿ7189
                          ÿÿÿ ÿÿÿ 
                                                !"#$




       Appellate Case: 25-1349      Page: 116    Date Filed: 04/07/2025 Entry ID: 5503844
                              United states of america
                  Federal Mine Safety and Health Review Commission
                                    3HQQV\OYDQLD$YHQXH1:6XLWH1
                                            Washington, DC 2000-



                                                               SUBPOENA


Acting Secretary of Labor and Robert Baumann

Petitioner/Complainant/Contestant                                           Docket NoV. CENT 2023-0251-DM
v.

MOSenecaManufacturer LLLC d/b/a American Tripoli

Respondent


TO:      Kensley Brewer


                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at a hearing in the
     ✔               above proceeding.

PLACE OF HEARING                                                            DATE AND TIME
Jasper County Courts Building, 633 S. Pearl Ave. Courtroom                   Tuesday, February 27, 2024 and continue through Friday,
A, Joplin, Missouri 64801                                                    March 1, 2024

                     YOU ARE DIRECTED to appear at the place, date, and time specified below to testify at the taking of a
                     deposition in the above proceeding.

PLACE OF DEPOSITION                                                         DATE AND TIME




                     YOU ARE DIRECTED to bring the following items with you:




This subpoena is issued upon the application of (indicate if attorney/representative for party):

PERSON REQUESTING SUBPOENA                                                  ADDRESS, TELEPHONE AND FAX NUMBERS

Elaine Smith                                                                2300 Main Street, Suite 10100, Kansas City, MO 64108
Attorney for Acting Secretary of Labor                                      816-285-7262

ISSUED BY:




                                                                                                February 9, 2024
____________________________                                                                  ______________
                                                                                                    Date
William B. Moran
Administrative Law Judge

                                                              www.fmshrc.gov
                                                   (202) 434-9900    Fax: (202) 434-9906
                                                          email: info@fmshrc.gov
         Appellate Case: 25-1349                     Page: 117             Date Filed: 04/07/2025 Entry ID: 5503844
                                                          PROOF OF SERVICE

        2/9/2024
SERVED: _______________                                                                                                 _________________
                     DATE                                                                    PLACE



SERVED ON (Print Name): Kensley Brewer                                             MANNER OF SERVICE:
                                                                          USPS First Class Mail and Certified Mail with Return Receipt requested


SERVED BY (Print Name): Michelle C. Patrick                                        TITLE:
                                                                                            Paralegal Specialist


                                                    DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the
Proof of Service is true and correct. (If service was by Registered or Certified Mail, attach return receipt.)

Executed On: _______________                            _______________________________________________________________
                          Date                                                         Signature of Server
                        2300 Main Street, Ste 10100, Kansas City, Missouri, 64108
Address of Server: _____________________________________________________________________________________


TITLE 29, CODE OF FEDERAL REGULATIONS                                             [Any motion to revoke or modify a subpoena; must be in writing;
CHAPTER XXVII – FEDERAL MINE SAFETY AND HEALTH                                 must identify the case by name and docket number; must be
REVIEW COMMISSION                                                              signed by the filing person; and shall include the filing person’s
PART 2700, PROCEDURAL RULES                                                    address and phone number.

                                                                                  The motion shall be filed by facsimile transmittal, and a copy
§ 2700.60 Subpoenas                                                            shall be served by facsimile on the person upon whose application
                                                                               the subpoena was issued. Commission Procedural Rules 5, 6, 7,
   (a) Compulsory attendance of witnesses and production of                    and 10.]
documents. The Commission and its Judges are authorized to
issue subpoenas, on their own motion or on the oral or written                    (d) Availability of Transcript. Persons compelled to submit
application of a party, requiring the attendance of witnesses and              evidence at a public proceeding are entitled to obtain, on payment
the production of documents and physical evidence. A subpoena                  of prescribed costs, a transcript of that part of the proceeding that
may be served by any person who is at least 18 years of age. A                 sets forth their testimony or refers to their production of evidence.
subpoena may also be served by registered or certified mail, return
receipt requested, but, in such case, any risk of delivery is on the              (e) Failure to Comply. Upon the failure of any person to
serving party. A copy of the subpoena bearing a certificate of                 comply with an order to testify or with a subpoena issued by the
service shall be filed with the Commission or the Judge.                       Commission or the Judge, the Judge or the Commission’s General
                                                                               Counsel, at the request of the Judge or at the direction of the
   (b) Fees payable to witnesses. Subpoenaed witnesses shall                   Commission, may undertake to initiate proceedings in the
be paid the same fees and mileage as are paid in the district courts           appropriate district court of the United States for the enforcement
of the United States. The witness fees and mileage shall be paid               of the subpoena.
by the party at whose request the witness appears, or by the
Commission if a witness is subpoenaed on the motion of the                     TENDER OF FEES AND MILEAGE
Commission or a Judge. This paragraph does not apply to
Government employees who are called as witnesses by the                           Service of a subpoena directing a person’s attendance at a
Government.                                                                    hearing or deposition shall be accompanied by tendering to that
                                                                               person the fees or one day’s attendance and the mileage allowed
   (c) Motions to revoke or modify subpoenas. Any person                       by law, except that, when a subpoena is issued at the request of
served with a subpoena may move within 5 [business] days of                    the United States or an officer or agency thereof, fees and mileage
service or at the hearing, whichever is sooner, to revoke or modify            need not be tendered. Fed.R.Civ.P.45(b).
the subpoena. The Commission or the Judge, as appropriate,
shall revoke or modify the subpoena if it seeks information outside            PROTECTION OF PERSONS SUBJECT TO SUBPOENAS
the proper scope of discovery as set forth in § 2700.56(b); or if it
does not describe with sufficient particularity the evidence required                     A party or an attorney responsible for the issuance and
to be produced; or if for any other reason it is found to be invalid or        service of a subpoena shall take reasonable steps to avoid
unreasonable. The Commission or the Judge shall set forth a                    imposing undue burden or expense on a person subject to that
concise statement of the grounds for such ruling.                              subpoena. A party or attorney who breaches this duty may be
                                                                               subject to an appropriate sanction. Fed.R.Civ.P.45(c)(1).



                                                                                                                                                    2

         Appellate Case: 25-1349                      Page: 118           Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 119   Date Filed: 04/07/2025 Entry ID: 5503844
  FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
        OFFICE OF ADMINISTRATIVE LAW JUDGES

 -----------------------------x
 SECRETARY OF LABOR,          :
                              :
             Complainant,     :
                              :
            v.                : CENT 2023-0251-DM
                              : MADI-CD-2023-03
 MONSENECA MANUFACTURER, LLC, :
 d/b/a AMERICAN TRIPOLI,      :
                              :
             Respondent.      : Volume 1
 -----------------------------x

                                                 633 S. Pearl Avenue
                                                    Joplin, Missouri

                                      Tuesday, February 27, 2024




             The HEARING in the above-entitled matter

 was convened at 9:00 a.m., pursuant to notice.

 BEFORE:

             JUDGE WILLIAM B. MORAN




Appellate Case: 25-1349   Page: 120   Date Filed: 04/07/2025 Entry ID: 5503844
Vol. 1                                                                                 Page: 2


  1       APPEARANCES:
  2           On behalf of Complainant:
  3                  LAURA O'REILLY, ESQUIRE
                     ELAINE SMITH, ESQUIRE
  4                  QUINLAN B. MOLL, ESQUIRE
                     United States Department of Labor
  5                  Office of the Solicitor
                     2300 Main Street, Suite 10100
  6                  Kansas City, Missouri 64108
  7           On behalf of Respondent:
  8                  RUSSELL TIDABACK, ESQUIRE
                     American Tripoli
  9                  222 Oneida Street
                     Seneca, Missouri 64865
 10

 11                                   *    *    *    *    *
 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 121    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                 Page: 3


  1                                  C O N T E N T S
  2       WITNESS:                    DIRECT       CROSS      REDIRECT        RECROSS
  3       Robert Baumann                     46       294
  4       RESPONDENT'S EXHIBIT:                                   MARKED/RECEIVED
  5       R-I - Production Lead Duties
  6       R-J - Supervisor Duties
  7       R-L - New Miner Training
  8       R-M - Refresher Training
  9       R-P - MSHA Guide to Guarding
 10       COMPLAINANT'S EXHIBITS:
 11       P-2 - Miners Representative Form
 12       P-4 - Payroll Details                                    68
 13       P-7 - Message out of MSAH Handbook
 14       P-8 - Teams Message
 15       P-9 - Teams Message
 16       P-10 - Teams Message
 17       P-11 - E-mails
 18       P-12 - Interrogatories Answers
 19       P-13 - Teams Message
 20       P-21 - Inspection Record
 21       P-26 - Document
 22       P-27 - Production Spreadsheet


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 122    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                 Page: 4


  1       COMPLAINANT'S EXHIBITS (CONT'D):                        MARKED/RECEIVED
  2       P-28 - Production Records
  3       P-31 - Screen Shot
  4       P-32 - Teams Message
  5       P-34 - Discovery Responses
  6       P-38 - Termination Letter
  7       P-40 - Training Certificate
  8

  9                                   *    *    *    *    *
 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 123    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                 Page: 5


  1                             P R O C E E D I N G S
  2                       JUDGE MORAN:          Good morning.           My name is
  3       Judge William B. Moran.                 We're here this morning
  4       in Joplin, Missouri at the Jasper County Courts
  5       Building on Pearl Avenue, and this is the case
  6       which is captioned as Julie A. Su, acting
  7       Secretary of Labor, United States Department of
  8       Labor, and Robert Baumann, Complainants.                           The
  9       motion -- it's hard to say, actually Moseneca, I
 10       think I should say, Manufacturer, Limited
 11       Liability Company, doing business as American
 12       Tripoli.        And the -- this is a discrimination and
 13       interference proceeding, separate -- separate
 14       aspects of the complaint.                  And the mine is the
 15       Moseneca Manufacturing, LLC, doing business as
 16       American TR.          I'm going to ask -- interrupt myself
 17       for a second and ask, Mr. Tidaback, is it actually
 18       listed as American TR?
 19                       MR. TIDABACK:           I think the system
 20       abbreviated it.
 21                       JUDGE MORAN:          Okay.      But if I was
 22       speaking to you outside of this courtroom on an


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 124    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                 Page: 6


  1       unrelated matter, you would say it's American
  2       Tripoli?
  3                       MR. TIDABACK:           Yes.
  4                       JUDGE MORAN:          Is it registered as
  5       American Tripoli in the state?
  6                       MR. TIDABACK:           Yes, sir.        It's doing
  7       business as American Tripoli.
  8                       JUDGE MORAN:          I have identified the
  9       docket and the name of the case, and now I want
 10       the parties to identify themselves.                        We will begin
 11       with the Secretary of Labor.
 12                       MS. O'REILLY:           My name is Laura
 13       O'Reilly.        I'm an attorney for the acting
 14       secretary.
 15                       MS. SMITH:         Elaine Smith for the acting
 16       Secretary of Labor.
 17                       MR. MOLL:        Quinlan Moll for the acting
 18       Secretary of Labor.
 19                       COURT REPORTER:            I'm sorry.         What was
 20       your name, sir?
 21                       MR. MOLL:        Quinlan Moll for the acting
 22       Secretary of Labor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 125    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                 Page: 7


  1                       MR. BAUMANN:          Robert Baumann.
  2                       MR. DILLINGHAM:            Michael Dillingham,
  3       special investigator, Mine and Safety Health
  4       Administration.
  5                       JUDGE MORAN:          Okay.
  6                       COURT REPORTER:            My video froze.
  7                       THE VIDEOGRAPHER:             Sorry about that.
  8                       MR. TIDABACK:           Russell Tidaback.
  9                       MS. TIDABACK:           Jordan Tidaback.
 10                       JUDGE MORAN:          All right.         Again, I said
 11       it when I came in, but it's nice to meet all of
 12       you.     Now, this is for the court reporter.                         Can
 13       you hear me okay?
 14                       COURT REPORTER:            Yes, I can.          My screen
 15       did freeze just a minute ago.
 16                       JUDGE MORAN:          I'm sorry.         Repeat that.
 17                       COURT REPORTER:            My screen did freeze up
 18       just a minute ago, just before Mr. Tidaback
 19       introduced himself.
 20                       JUDGE MORAN:          But if your screen locked
 21       up, were you still able to hear everything?
 22                       COURT REPORTER:            No.     It quit


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 126    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                  Page: 8


  1       everything.
  2                       JUDGE MORAN:          Okay.      Well, just to speed
  3       things up, but not at the expense of losing
  4       accuracy, for the Secretary of Labor, for the
  5       acting secretary we have the following three
  6       attorneys; Ms. O'Reilly, Ms. Smith and Mr. Mull.
  7       And then for the Respondent we have Mr. Tidaback
  8       and his daughter, Jordan Tidaback.                       Is that right?
  9                       Okay.      So this is very important, Madam
 10       Court Reporter, if at anytime you need to -- if
 11       there's a break, either your screen freezes or you
 12       just can't here a witness, I need you to employ
 13       your assertive side and speak up right away.                             We
 14       don't want to have any gaps.                    All right?
 15                       COURT REPORTER:            Yes, sir.
 16                       JUDGE MORAN:          And also, at times an
 17       attorney or someone for the Respondent may talk
 18       over a witness and then it becomes in any hearing
 19       very frustrating for a court reporter to
 20       accurately report what's being said, so you need
 21       to speak up then as well.                  I will try and control
 22       the witnesses if that problem occurs, but


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 127    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                  Page: 9


  1       independent of what I may do, it's critical that
  2       you speak up.           Do you understand?
  3                       COURT REPORTER:            Yes, sir.
  4                       JUDGE MORAN:          Okay.      Thank you for your
  5       help.      So I'll be checking with you, also,
  6       frequently during the morning and all day,
  7       actually, to make sure that everything is going
  8       smoothly on your end, Ms. Blackerby.                        I hope
  9       that's correct.
 10                       COURT REPORTER:            Close enough.
 11                       JUDGE MORAN:          All right.         Close enough.
 12       Okay.      I'll try and do better.                 All right.         Now,
 13       I'm going to -- I'm going to now make my own
 14       opening statement about -- about this case.                             And
 15       in my order, which I alluded to before we went on
 16       the record, and by the way, let me just state as
 17       things come to mind, the parties have agreed to
 18       this arrangement that we have here this morning.
 19       They understand that we have a remote court
 20       reporter, and that we have a videographer who is
 21       recording with a sound system independent of the
 22       video recording the witness' testimony, and the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 128    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 10


  1       parties said that that's acceptable to them.                             Is
  2       that correct, both sides?                  Secretary?
  3                       MS. O'REILLY:           Yes, Your Honor.
  4                       JUDGE MORAN:          Mr. Tidaback?
  5                       MR. TIDABACK:           Yes, sir.
  6                       JUDGE MORAN:          Okay.      Thank you.         Let me
  7       now -- I have these notes jotted down, so they may
  8       not be in perfect logical order, but I'm going to
  9       emphasize this in one of my orders and it's
 10       important that I emphasize it here today.
 11                       In my order denying the secretary's
 12       motion to exclude late disclosed witnesses and
 13       exhibits, I'm repeating this because I think it's
 14       important, that order only permitted the exhibits
 15       to be exchanged late as they were and I noted the
 16       number of days that were remaining before the
 17       hearing, but that's one juncture.                       Were any
 18       exhibits that either side wants to admit?                           The
 19       other side may oppose the admission.                        As of right
 20       now we have, other than the official record, which
 21       I would take judicial notice, such as the
 22       Complaint and the Answer, all those documents that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 129    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 11


  1       are on something called ECMS, those I can take
  2       official notice of -- I said judicial notice, but
  3       official notice of those documents.                        But anything
  4       else, such as the very large notebooks that the
  5       Secretary and the Respondent, Mr. Tidaback, has
  6       provided, none of those are in the record right
  7       now.
  8                       So the parties can stipulate to certain
  9       exhibits or as they are brought up by one side or
 10       the other, the other side can -- first of all, we
 11       have to have a proffer about what the exhibit is
 12       about, unless it's self-explanatory, and then if
 13       there's an objection, I will hear that and rule
 14       upon the admission or the disallowance of the
 15       given exhibit.
 16                       Now, my practice has been, so there's no
 17       confusion in the record, anytime an exhibit is not
 18       admitted by me for a reason which I will
 19       articulate if I decide not to admit it, I hand
 20       that exhibit back to the side that was trying to
 21       offer it into evidence.                 That way I don't go back
 22       home to Washington, D.C. and confuse the admission


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 130    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 12


  1       if there's an appeal of my decision with exhibits
  2       that they shouldn't be seen and were not made part
  3       of the record.           Does everybody understand that?
  4                       Okay.      So now let me just, for the point
  5       of emphasis, I don't want to oversimplify it, but
  6       yet the discrimination proceedings are rather
  7       basic.      It's not a complicated thing to
  8       comprehend, to understand, and so I'm just going
  9       to, for the benefit of both sides, note what's in
 10       my order that I just referenced a minute ago, and
 11       that is that a complainant alleging discrimination
 12       under the Mine Act establishes a prima facie case
 13       of prohibited discrimination by presenting
 14       evidence sufficient to support a conclusion that
 15       the individual, A, that's -- I'm adding the A, the
 16       individual engaged in protected activity and that
 17       the adverse action was motivated in any part by
 18       that activity.
 19                       And let me just stop.               I'm going to do
 20       this frequently to the point of probably being
 21       annoying.        Court Reporter, are you hearing me
 22       fine?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 131    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 13


  1                       COURT REPORTER:            Yes, sir.
  2                       JUDGE MORAN:          And you'll speak up if
  3       there's a problem.              Right?
  4                       COURT REPORTER:            Yes, sir.
  5                       JUDGE MORAN:          So I establish what the
  6       Secretary has to establish, and then on the part
  7       of the operator, the operator may rebut this prima
  8       facie case by showing either that there was no
  9       protected activity that occurred or that the
 10       adverse action was not motivated in any part by
 11       that protected activity.
 12                       But then there are a number of
 13       commission cases, it's been well established, that
 14       the operator has a second time at bat.                          That's my
 15       phrase.       Okay.      And the second time at bat is that
 16       the operator can prove that it was motivated to
 17       take the adverse action against the miner, the
 18       complainant, discriminate -- alleged to be
 19       discriminated against.                They would have taken that
 20       adverse action for the unprotected activity alone.
 21                       So that's a second way that -- and this
 22       does not tilt the table or suggest how the outcome


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 132    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 14


  1       in any way, shape or form, but it's a second
  2       opportunity for an operator to say, wait a minute
  3       now.     We understand for the sake of argument --
  4       that for the sake of argument only that a
  5       protected activity has been established and that
  6       there was adverse action, but we would have fired
  7       this person anyway for reasons A, B, C.                          All
  8       right?      Everybody understand that?
  9                       Now, I said I was going to have -- I'm
 10       basically wrapping up here with my comments, and
 11       then I'll give the parties an opportunity to make
 12       an opening statement.               And before I do that,
 13       though, I want the witnesses, other than those
 14       that are appropriately in the courtroom to be
 15       excused into the witness room.                     Okay.      So remind
 16       me if I let that -- you may not hear the opening
 17       statements, either.              Understand?          So in a moment,
 18       or now, whatever is convenient, you can excuse
 19       yourself.        What I'm going to say is not
 20       particularly relevant for you to hear, anyway.
 21                       MS. O'REILLY:           Judge, I would just like
 22       to clarify Ms. Tidaback's role.                     She hasn't


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 133    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 15


  1       entered her appearance in this case, so I don't
  2       understand her role.
  3                       JUDGE MORAN:          We'll still on the record,
  4       right, Court Reporter?
  5                       COURT REPORTER:            Yes.
  6                       JUDGE MORAN:          Okay.      Yes.      And so
  7       Attorney O'Reilly asked about the person sitting
  8       next to Mr. Tidaback, and she has identified
  9       herself as the daughter of Mr. Tidaback.                           Right?
 10       And in these proceedings each side is entitled to
 11       have an assistant, if you will, and so Mr.
 12       Tidaback has, I assume, designated his daughter
 13       for that role.
 14                       MR. TIDABACK:           She's actually part owner
 15       as well, sir.
 16                       JUDGE MORAN:          Well, okay.          Well, very
 17       good.
 18                       MS. O'REILLY:           Thank you.
 19                       JUDGE MORAN:          Okay.      So now, the
 20       witnesses having been excused, except for those
 21       that are permitted to be in the hearing room, I
 22       want to note that in looking over the Complaint,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 134    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 16


  1       and I'm speaking now to -- to the first part, the
  2       discrimination, it's my understanding, and I'll
  3       need an affirmation from Attorney O'Reilly about
  4       this, that first of all, there was no temporary
  5       reinstatement sought in this matter?
  6                       MS. O'REILLY:           Correct.
  7                       JUDGE MORAN:          But then it seems to me,
  8       looking at this, that apart from the Secretary,
  9       the penalty the Secretary would like to receive if
 10       they establish a case and I affirm this, that this
 11       relief alleged to be due to Mr. Baumann.                           However,
 12       am I correct that Mr. Baumann is not seeking
 13       reinstatement with American Tripoli?                        It's not in
 14       the Complaint.
 15                       MS. O'REILLY:           Right.      At this time he
 16       is not seeking reinstatement, no.
 17                       JUDGE MORAN:          At this time and actually
 18       for all purposes in this hearing?
 19                       MS. O'REILLY:           Correct, Judge.            At the
 20       time of filing the Complaint he was not seeking
 21       reinstatement.
 22                       JUDGE MORAN:          Okay.      And so that creates


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 135    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                Page: 17


  1       a bit of a problem for me because I didn't
  2       highlight it, but one second, please.                         Well,
  3       there's some reference and you can correct me if
  4       I'm wrong.         I am paraphrasing from memory.                     All
  5       right.      That Mr. Baumann wants to have, if he
  6       prevails, compensation until he's able to find a
  7       job.     Well, I can't have an open-ended order that
  8       says -- just let me finish -- that says if he
  9       wins, there's no assumption he's going to prevail
 10       or the Secretary.             I'm not going to keep repeating
 11       that.      I hope you can trust when I say it, I mean
 12       it.     Okay?      But I can't have an open ended order
 13       because I know that, I assume it's not only Mr.
 14       Baumann, no Complainant would then sit on his or
 15       her hands and say two years down the road, oh, I'm
 16       still looking, so I need to be compensated.
 17                       So there has to be a cap on that.                       I'll
 18       have to think through what would be logical if I
 19       find for the Complainant and the Secretary of
 20       Labor, but it's -- other aspects of it don't
 21       create a problem, such as I'm reading from Page 5
 22       of the Complaint.             If a prospective employer


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 136    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 18


  1       contacts the Respondent regarding a job reference,
  2       the Respondent shall not discuss, provide
  3       information about or otherwise reference expunged
  4       information from -- on his personnel record, which
  5       I would order to be expunged, and you know, that's
  6       standard if a Complainant prevails.
  7                       If you just -- and that's the line you
  8       have to be careful about not crossing.                          That
  9       Respondent can't say, well, we can't talk about
 10       this, but we let this guy go.                    You just have to
 11       say the person was hired on this date and his
 12       employment terminated on this date and say no
 13       more.      All right?         So that's important.
 14                       Now, Attorney O'Reilly, you want to say
 15       something about this?               Go ahead.
 16                       MS. O'REILLY:           Yes.     I just wanted to
 17       clarify the back wages.                 Mr. Baumann already has a
 18       job and had a job at the time we filled the
 19       Complaint which is why can he didn't seek
 20       reinstatement.
 21                       JUDGE MORAN:          So that's -- and I see
 22       that Mr. Baumann is nodding in agreement.                           And so


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 137    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                 Page: 19


  1       -- but I assume that if he were to prevail, part
  2       of his damages would be lost wages from the time
  3       he was discharged by the Respondent up until the
  4       time he received -- had obtained new employment?
  5                       MS. O'REILLY:           Up until he got the job
  6       he has now.
  7                       JUDGE MORAN:          Okay.      And it would be
  8       other potential damages.                 It's not just wages.
  9       There are other aspects of employment for which he
 10       would be entitled to compensation if I find in his
 11       favor?
 12                       MS. O'REILLY:           Yes.     We plan to go
 13       through all that today.
 14                       JUDGE MORAN:          Okay.      All right.         I think
 15       that does it in terms of my opening remarks.                             I
 16       want to make sure that Mr. Tidaback has an
 17       opportunity.          Do you have anything, not saying you
 18       need to, but do you have any comments or anything
 19       you want to say at this point, sir?
 20                       MR. TIDABACK:           No.
 21                       JUDGE MORAN:          Then one more thing.
 22       Typically in these proceedings the parties,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 138    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 20


  1       although I suspect maybe not, I have my crystal
  2       ball out, stipulate to certain things.                          Are there
  3       stipulations between the parties on this?
  4                       MS. O'REILLY:           I believe we had an
  5       agreement as to these documents, they haven't been
  6       signed yet, I think there is some dispute that
  7       Respondent wanted us to add more provisions which
  8       we wouldn't agree to, but I believe that we're all
  9       in agreement as to these but I can let Respondent
 10       speak to that.
 11                       JUDGE MORAN:          So you're telling me that
 12       you do have -- you're holding in your hand some
 13       stipulations?
 14                       MS. O'REILLY:           Yes.
 15                       JUDGE MORAN:          Are they numbered?
 16                       MS. O'REILLY:           Yes.
 17                       JUDGE MORAN:          And Mr. Tidaback,
 18       understanding what Attorney O'Reilly just said
 19       that --
 20                       MR. TIDABACK:           We are not in agreement
 21       with those yet.
 22                       JUDGE MORAN:          You're not in agreement to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 139    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 21


  1       any of the stipulations?
  2                       MR. TIDABACK:           Not yet, Your Honor.
  3                       JUDGE MORAN:          All that simply means is
  4       that if there are no stipulations and it's
  5       important to the Secretary's case to establishing
  6       the prima facie case, they'll have to do that
  7       either through official records or through witness
  8       testimony or otherwise, through other exhibits.
  9       But I distinguish official records such as the
 10       Complaint, the Answer, any filings that were
 11       brought, so just the numerous motions on both
 12       sides.      All right?          So that's it on your part.
 13                       Mr. Tidaback, anything else you want to
 14       add?
 15                       MR. TIDABACK:           No, sir.        Just not enough
 16       time to really understand that and understand the
 17       logic of even asking the Secretary why, trying to
 18       get some response and collaboration, and it was a
 19       take it or leave it response so I can't just
 20       accept it.         I just don't know.
 21                       JUDGE MORAN:          And there's no adverse
 22       inference on my part that you object to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 140    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 22


  1       stipulations.           A stipulation by definition means
  2       something that the parties have agreed to, and we
  3       don't have an agreement, so that's fine.                           I don't
  4       want you to think that I'm thinking to myself, oh,
  5       he didn't agree to the stipulations.                        There's no
  6       obligation to do so.
  7                       MR. TIDABACK:           Thank you, sir.
  8                       JUDGE MORAN:          It streamlines things when
  9       parties can.
 10                       MR. TIDABACK:           Yes, sir.
 11                       JUDGE MORAN:          All right.         So now, I
 12       believe I've covered everything, but first I'm
 13       going to give the Secretary, I know this is taking
 14       a little while for the preliminaries, but soon
 15       we'll get on to the testimony.                     So Attorney
 16       O'Reilly, I want to address to you, you're first
 17       chair?
 18                       MS. O'REILLY:           Yes, Your Honor.
 19                       JUDGE MORAN:          Okay.      Are there any
 20       housekeeping matters that I need to address before
 21       we begin with testimony?                 And then we'll have
 22       opening statements.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 141    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 23


  1                       MS. O'REILLY:           Given that Respondent is
  2       pro se, we just want to understand how he will be
  3       treated in this trial.                We may be questioning him.
  4       Should we save our direct after he testifies and
  5       just how that is going to be?                    I didn't know if he
  6       was going to be put under oath at the beginning or
  7       just when he does his testimony.
  8                       JUDGE MORAN:          Well, I'm not sure what
  9       you mean by having him under testimony -- under
 10       oath at the beginning.                Any time he's on the
 11       witness stand he will then be sworn in.
 12                       MS. O'REILLY:           Okay.
 13                       JUDGE MORAN:          Now the timing of that is
 14       up to you.         I would guess, I'm not telling you how
 15       to do your case, you would call Mr. Tidaback as
 16       one of your witnesses in the case in chief.
 17                       MS. O'REILLY:           Okay.
 18                       JUDGE MORAN:          And so he would be
 19       designated as an adverse witness understandably,
 20       and that has a consequence in the sense that
 21       leading questions, that is a question which has
 22       the answer suggested.               Leading questions are


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 142    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 24


  1       permitted and often for other witnesses, too, but
  2       they're permitted if someone is designated as an
  3       adverse witness.            All right?          And that would be
  4       true for the Respondent side, if you're calling
  5       some witness that the Secretary had testified, or
  6       didn't testify, but is here today and you call
  7       that witness, that witness would also be
  8       designated as an adverse witness for the obvious
  9       reason of their position.                  Anything else in terms
 10       of housekeeping?
 11                       MS. O'REILLY:           No, Your Honor.
 12                       JUDGE MORAN:          Okay.      Well, I think we're
 13       going along well.
 14                       Court reporter, are you getting all of
 15       this?
 16                       COURT REPORTER:            Yes, sir.
 17                       JUDGE MORAN:          Okay.      Including what I
 18       just said.         Right?
 19                       COURT REPORTER:            Yes, sir.
 20                       JUDGE MORAN:          All right.         So now, what
 21       we're going to do is have opening statements, and
 22       then we'll take a five-minute break and then we'll


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 143    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 25


  1       begin with the first witness to be called by the
  2       Secretary.         Is that acceptable to everyone?
  3                       MS. O'REILLY:           Yes, Your Honor.
  4                       JUDGE MORAN:          Okay.      And off the record
  5       for a second.           We're off the record in terms of
  6       the court reporter.
  7                               (Recess)
  8                       JUDGE MORAN:          Court reporter, you ready?
  9                       COURT REPORTER:            Yes, sir.
 10                       JUDGE MORAN:          The Government may make
 11       its opening statement now.
 12                       MS. O'REILLY:           May it please the Court,
 13       this case is about redressing and poor miners
 14       rights which Respondent Moseneca Manufacturer,
 15       Limited Liability Company, which does business as
 16       American Tripoli, has violated for the minors
 17       working at Seneca, Missouri mine through ongoing
 18       and systematic violations of Section of 105(b) of
 19       the Mine Act.
 20                       This case began when Robert Baumann,
 21       former production supervisor at American Tripoli,
 22       filed a discrimination complaint with MSHA after


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 144    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 26


  1       he was terminated on Monday morning, April 17th,
  2       2023.      After he was terminated -- just days -- he
  3       was terminated just days after participating in an
  4       MSHA inspection which resulted in the mine being
  5       shut down with a 104(b) withdrawal order.                           The
  6       104(b) withdrawal order was issued to Respondent
  7       for exposing miners to dangerous silica dust, a
  8       safety issue which Mr. Baumann had repeatedly
  9       raised to management, to no avail.
 10                       After the issuance of the 104(b)
 11       withdrawal order and just days before his Monday
 12       morning termination, Mr. Baumann also asserted
 13       miners rights under the Mine Act to be paid during
 14       the 104(b) withdrawal order to American Tripoli
 15       management.         You will hear and see evidence today
 16       that on April 14th, 2023, less than an hour after
 17       discussing Mr. Baumann's request for pay during
 18       the withdrawal order, Mr. Tidaback, owner of
 19       American Tripoli, and Mr. Spears, American
 20       Tripoli's operations manager, were discussing
 21       terminating Mr. Baumann.
 22                       In Microsoft Teams messages, which you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 145    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 27


  1       will see in this hearing, Mr. Tidaback stated to
  2       Mr. Spears, expect an MSHA complaint when Rob is
  3       let go.       The writing is on the wall.                   Then after
  4       the termination took place and shortly after
  5       Respondent received notice of Mr. Baumann's 105(b)
  6       discrimination complaint from MSHA, Respondent was
  7       already devising a plan as to how to make sure it
  8       looked like they fired Mr. Baumann for reasons
  9       other than Mr. Baumann engaging in protected
 10       activity.
 11                       You will see Microsoft Teams messages
 12       sent by Mr. Tidaback the day after receiving Mr.
 13       Baumann's discrimination complaint telling another
 14       miner I needed justification since Rob's complaint
 15       to MSHA about being let go just needs you to put
 16       the cherry on the cake.                 That's all.
 17                       The evidence will show that American
 18       Tripoli exhibited animus towards Mr. Baumann's
 19       protected activity.              In the two months leading up
 20       to Mr. Baumann's termination he was very outspoken
 21       about safety issues at the mine.                      Mr. Baumann
 22       participated in multiple MSHA inspections, and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 146    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 28


  1       spoke to MSHA about safety concerns.
  2                       Further, just three weeks before his
  3       termination, Mr. Baumann was elected as a miners
  4       representative.            You will hear testimony from
  5       miners who worked with Mr. Baumann at various
  6       times who will state that Respondent's management
  7       and owners were hostile to Baumann's attempts to
  8       fix safety issues at the mine, including an
  9       overall hostility and disregard at the mine for
 10       miner safety and MSHA compliance, and that
 11       American Tripoli was hostile to the fact that Mr.
 12       Baumann or any miner would speak to MSHA.
 13                       In the last two months of Mr. Baumann's
 14       employment MSHA conducted three inspections of the
 15       mine, each lasting multiple days during which Mr.
 16       Baumann walked around with MSHA inspectors.                             You
 17       will hear from MSHA inspectors who have inspected
 18       the mine, and they will report that this American
 19       Tripoli mine stands out among other mines they
 20       have been to in that the mine repeatedly
 21       disregarded safety and MSHA standards.                          These MSHA
 22       inspectors will also testify about Mr. Baumann's


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 147    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 29


  1       protected activity, Respondent's knowledge of
  2       that, and the blatant disregard for safety culture
  3       displayed by management at American Tripoli.
  4                       You may hear a host of alleged reasons
  5       from Mr. Tidaback for why Mr. Baumann was
  6       terminated, ranging from allegedly failing to
  7       provide professional development counseling to
  8       miners to allegedly failing to use Microsoft Teams
  9       well.      What you won't see, though, is any support
 10       for those allegations.                Respondent will argue that
 11       Mr. Baumann was terminated for not meeting Mr.
 12       Tidaback's production demands, but again, the
 13       evidence will show a different story.                         In fact,
 14       the evidence will show that Tidaback's production
 15       demands that Mr. Baumann allegedly failed to meet
 16       were aspirational and very rarely met at the mine.
 17       Mr. Spears has testified that these demands were
 18       only met 20 to 30 times in the 18 months he's been
 19       employed at American Tripoli, regardless of who
 20       held the title of production supervisor.
 21                       Testimony will reveal that production
 22       was often behind and demands were not met because


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 148    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 30


  1       they were unrealistic for the equipment at
  2       American Tripoli.             Mr. Tidaback and Mr. Spears
  3       both admit that maintenance issues were the
  4       problem with production, not Mr. Baumann who was
  5       not a maintenance employee and who was never once
  6       disciplined during his employment for not meeting
  7       these alleged production demands.                       Maintenance
  8       could not keep up with the issues the machinery
  9       was having, causing production to come to a halt,
 10       and management refused to spend the necessary
 11       money on maintenance to get machinery in safe
 12       working order.           Moreover, production records kept
 13       by American Tripoli entirely contradict
 14       Respondent's claim that Baumann was terminated due
 15       to his increasingly poor production.
 16                       Throughout this hearing we will show
 17       that Mr. Baumann, a miner at American Tripoli,
 18       engaged in protected activity by participating in
 19       MSHA inspections, raising safety complaints to
 20       management, becoming a miners representative, and
 21       asserting miners rights to pay during a 104(b)
 22       withdrawal order.             We will show that Mr. Baumann


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 149    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 31


  1       suffered an adverse action by being terminated,
  2       and we will show that that adverse action was
  3       motivated by protected activity, including
  4       evidence that Mr. Baumann became a miners
  5       representative just three weeks before his
  6       termination and engaged in protected activity just
  7       days, two of which were weekends days, before his
  8       termination.
  9                       Respondent knew about American -- knew
 10       about Mr. Baumann's protected activity, and
 11       American Tripoli was hostile to Mr. Baumann's
 12       protected activity.              Further, the evidence will
 13       show that Mr. Baumann was treated differently from
 14       other miners as the company did not follow its own
 15       disciplinary policy with Mr. Baumann since he had
 16       no prior discipline, much less written discipline.
 17                       In investigating Mr. Baumann's
 18       discrimination claim, the second also found
 19       evidence that American Tripoli was interfering
 20       with miners rights, including Mr. Baumann's
 21       rights.       Miner witnesses will testify that
 22       American Tripoli owner, Mr. Russell Tidaback,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 150    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 32


  1       repeatedly told miners not to speak to MSHA,
  2       including intimidating miners from contacting MSHA
  3       by telling miners that any statements made to MSHA
  4       could be used against them in the court of law.
  5       Often these statements were made when miners were
  6       walking around with MSHA inspectors or in response
  7       to complaints having been made to MSHA.
  8                       Teams messages produced to the Secretary
  9       in discovery will show these interfering
 10       statements.         For example, Mr. Tidaback told
 11       miners, including Mr. Baumann, on March 31st,
 12       2023, I will stress with you any MSHA inspector is
 13       not your friend.            Anything you say to or in their
 14       presence can and will be used against you in a
 15       court of law.           Hopefully this will never be
 16       needed, but just be well aware.                     Further, in Teams
 17       messages, Mr. Tidaback tells the miners everyone
 18       needs to stop calling MSHA.
 19                       You may hear from Respondent a myriad of
 20       excuses for why these statements were made, but
 21       the document speaks for themselves, and the
 22       testimony of the miners and MSHA personnel who are


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 151    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 33


  1       aware of these statements will be overwhelming and
  2       unequivocally point to clear interference with
  3       miners rights to speak to MSHA.
  4                       Throughout this time Respondent American
  5       Tripoli through its owner, Mr. Tidaback, acted as
  6       though they were above the law and did not have to
  7       comply with the Mine Act and MSHA standards.                             To
  8       enforce this practice of disregard for safety and
  9       the law Respondent created a culture of fear in
 10       the mine.        Miners were afraid for their safety.
 11       Miners were afraid of speaking to MSHA and miners
 12       were afraid of getting fired if they spoke up
 13       about safety or spoke to MSHA.                     Miners who failed
 14       to participate in this culture or fear were pushed
 15       out, just like Mr. Baumann.
 16                       At the conclusion of this trial, Your
 17       Honor, the Secretary requests that the Court make
 18       a finding that Respondent discriminated against
 19       Robert Baumann, and that Respondent interfered
 20       with miners rights in violation of Section 105(c)
 21       the Mine Act.           We will request the Court order
 22       Respondent to pay back wages to Mr. Baumann in the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 152    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 34


  1       amount of $9,920, which accounts for the wages he
  2       would have received from American Tripoli for the
  3       time he was out of work as a result of his
  4       wrongful termination.               We will also ask that you
  5       award interest on these back wages in accordance
  6       with commission case law, and award any other
  7       amounts to fairly compensate Mr. Baumann for his
  8       termination and the losses caused by his
  9       termination.
 10                       We will also ask that the Court award a
 11       civil penalty for the discrimination violations
 12       alleged in the Complaint and a separate civil
 13       penalty for the interference violation alleged in
 14       that Complaint.            MSHA assessed a civil penalty of
 15       15,000 for the discrimination claim and 17,500 for
 16       the interference claim based on information
 17       gathered during the Secretary's investigation.
 18       These penalties were issued by MSHA prior to
 19       receiving the multiple Teams messages and evidence
 20       produced throughout discovery showing these
 21       violations are blatant, systematic and part of the
 22       culture at American Tripoli.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 153    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 35


  1                       We ask the Court to impose an
  2       appropriate civil penalty to punish the mine
  3       operator for its unlawful actions, defer future
  4       illegal conduct and put an end to the culture of
  5       fear that management has cultivated at American
  6       Tripoli.
  7                       JUDGE MORAN:          Thank you.         Before you go,
  8       though, I just want to say, first of all, Court
  9       Reporter, did you get all of that?
 10                       COURT REPORTER:            Yes, sir.
 11                       JUDGE MORAN:          Was the attorney for the
 12       government speaking at too rapid a pace for you to
 13       comfortably be able to record this?                        Can you deal
 14       with witnesses that speak that quickly?
 15                       COURT REPORTER:            Yes, I can.
 16                       JUDGE MORAN:          Okay.      And you'll speak up
 17       if you have a problem.                Right?
 18                       COURT REPORTER:            Yes, sir.
 19                       JUDGE MORAN:          This is to help you out,
 20       Madam Court Reporter.               When Attorney O'Reilly
 21       talked about a 104 order, I believe she was saying
 22       a 104(b) as in boy order.                  Did you know that?              It


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 154    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                Page: 36


  1       wasn't d, because there are 104(d) orders.                            Did
  2       you write that as b?
  3                       COURT REPORTER:            Yes, I did.
  4                       JUDGE MORAN:          Okay.      Good.      Just for
  5       clarification.
  6                       MS. O'REILLY:           Thank you.
  7                       JUDGE MORAN:          All right.         So before I
  8       hear from Mr. Tidaback, I want to -- something you
  9       may already know.             Opening statements are not
 10       evidence.        They are statements of the parties'
 11       positions only.            Okay.      And it's meant to try and
 12       educate the court to have a waterfront view before
 13       the testimony begins.               Before we get in the weeds,
 14       so to speak.          So that's the purpose of that.                     And
 15       so I say that to just reassure you that these are
 16       assertions in an opening statement distinguished
 17       from evidence of the record in the record.                            All
 18       right.      You understand that, sir?
 19                       MR. TIDABACK:           Yes, sir.        Thank you for
 20       that clarification, though.
 21                       JUDGE MORAN:          Okay.      All right.         You're
 22       fine.      Come on up here, and you're going to make


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 155    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 37


  1       your opening statement.                 And for the record, it
  2       means nothing in terms of anything adverse that
  3       you are not an attorney, Mr. Tidaback.                          Right?
  4                       MR. TIDABACK:           Not even close.
  5                       JUDGE MORAN:          Okay.      I didn't know that
  6       were gradations between being close or being an
  7       attorney.
  8                       MR. TIDABACK:           The team we have, I give
  9       them credit because I couldn't do their job.
 10       They're very professional and well educated and
 11       well experienced, and I felt beat up the whole
 12       time.      Accolades on the work that they do.
 13                       JUDGE MORAN:          So now you can proceed
 14       with your opening statement.
 15                       MR. TIDABACK:           Yes, Your Honor.            Your
 16       Honor, we sit here today amongst the allegations,
 17       not -- that have not only been -- challenged the
 18       integrity of American Tripoli, but also have
 19       overshadowed our longstanding commitment to
 20       safety, compliance and the wellbeing of our
 21       employees.         This company has in existence in its
 22       location since 1869.               We purchased the company in


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 156    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 38


  1       2021.
  2                       This case centered on Robert Baumann
  3       unfolds under two primary counts of discrimination
  4       as -- and interference as outlined.                        I do want to
  5       clarify, Mr. Baumann was not a supervisor.                            He was
  6       a shift lead, and there is a discrimination --
  7       there is a difference and we will discuss that
  8       later on as well.             But it is crucial to understand
  9       that our decisions, including the regrettable
 10       termination of Mr. Baumann's employment were made
 11       with heavy hearts and in no way influenced by Mr.
 12       Baumann's engagement in protected activities or
 13       his interactions with MSHA inspectors, but with a
 14       structured and policy driven approach to
 15       employment decisions.
 16                       With a focus on operational efficiency
 17       and safety, our approach to this case and the
 18       detailed explanations provided for Mr. Baumann's
 19       termination indicate an effort to refute the
 20       allegations of discrimination or interference by
 21       demonstrating that the actions were taken in line
 22       with the established employments and operational


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 157    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 39


  1       policies that are in place.                   Our actions have
  2       always been and will continue to be guided by the
  3       principles of fairness, safety and regulatory
  4       compliance.
  5                       Regarding allegations of discrimination,
  6       we assert that our employment decision was based
  7       solely on performance, conduct and operational
  8       needs.      Any safety concerns raised by Mr. Baumann
  9       or any other employee have always been and always
 10       will be taken seriously as they formed the
 11       cornerstone of our operational ethos.                         As for the
 12       count of interference, it is our position that any
 13       communications or directives from management were
 14       intended solely to ensure the integrity of the
 15       inspection process and to maintain operational
 16       safety and efficiency.                At no point did American
 17       Tripoli seek to obstruct or interfere with the
 18       rights of Mr. Baumann or any miner to communicate
 19       freely with MSHA inspectors.                    That's always been
 20       the case and we'll discuss that later.
 21                       Okay.      So we trust that as this case
 22       unfolds the evidence will clearly demonstrate our


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 158    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 40


  1       unwaivering commitment to our employees' rights,
  2       the safety and the law.                 Our intent is and has
  3       always been to foster a working environment that
  4       not only complies with MSHA regulations, but
  5       exceeds them ensuring -- ensuring the safety and
  6       the prosperity of all of our employees.                          Thank
  7       you, Your Honor.
  8                       JUDGE MORAN:          Thank you, and before you
  9       sit down, this will come in through testimony
 10       because as I mentioned this is not testimony, but
 11       for the purposes of the opening statement you
 12       acquired this mine in what year, sir?
 13                       MR. TIDABACK:           June of 2021.
 14                       JUDGE MORAN:          And the mine is located in
 15       where?
 16                       MR. TIDABACK:           The pit itself is located
 17       in Ottawa County -- or Ottawa County, Oklahoma.
 18       The manufacturing plant is in Newton County,
 19       Missouri.
 20                       JUDGE MORAN:          Is that close by to
 21       Joplin?
 22                       MR. TIDABACK:           Forty minutes southeast


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 159    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 41


  1       of here.
  2                       JUDGE MORAN:          All right.         Thank you.
  3                       MR. TIDABACK:           Yes, sir.
  4                       JUDGE MORAN:          Thank you for your opening
  5       statement, and let me just comment on one aspect
  6       of it, in that I don't think I mentioned this
  7       before, but to prevail in the case the secretary's
  8       burden is to demonstrate the elements by a
  9       preponderance of the evidence.                     That's a standard
 10       that's applied in these proceedings, and while I
 11       could be more articulate about it, it essentially
 12       means that the propositions involved in the case
 13       are shown to be more likely than not.
 14                       Okay.      All right.         Court reporter, how
 15       are you doing?
 16                       COURT REPORTER:            I'm doing fine.
 17                       JUDGE MORAN:          That's great.           Thank you
 18       for your help.           You're a critical cog here.                    I'm
 19       just a cog as well, but you're a critical one.
 20       All right.         So now we're going to go off the
 21       record, take a ten-minute break, and then we'll
 22       begin.      And before we do that, the first witness


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 160    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 42


  1       the secretary will call will be?
  2                       MS. O'REILLY:           Mr. Baumann.
  3                       JUDGE MORAN:          Okay.      And one other
  4       thing.      Mr. Baumann, the time for a witness to be
  5       prepared for testimony has passed.                       There's
  6       nothing wrong with preparing witnesses, but there
  7       is something wrong with coaching witnesses.                             Okay.
  8       And I'm not suggesting that happened here.
  9       Witnesses have to be prepared.                     However, you may
 10       not have communications now until this proceeding
 11       is over with any attorney for the government.
 12       Okay?      Or anyone else you shouldn't be speaking
 13       with, but the point is, and I've seen this happen,
 14       unfortunately, sometimes during a break one
 15       counsel or the other on one side is seen
 16       conversing with a witness.                  That is not allowed.
 17       You understand, sir?               Okay.      Now let's take our
 18       ten-minute break.             It's 9:48.
 19                               (Recess.)
 20                       JUDGE MORAN:          Madam Court Reporter, can
 21       you hear me?
 22                       COURT REPORTER:            Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 161    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                Page: 43


  1                       JUDGE MORAN:          I want to, if I didn't say
  2       it before, if I did, forgive me, anytime you need
  3       to take a break, this is not just a matter of you
  4       can't hear someone, which is critical.                          If you
  5       need a personal break, you need to tell us.                             I
  6       don't want anyone to be uncomfortable, anyone, in
  7       this -- in this hearing.                 All right?         So you'll
  8       speak up if you need a break?
  9                       COURT REPORTER:            Yes, I will.
 10                       JUDGE MORAN:          Okay, good.          All right.
 11       I'm going to swear in Mr. Baumann now, and I can't
 12       get as close to you as I would like to swear you
 13       in, but please rise, sir.                  Raise your right hand.
 14                       First of all, state your name.
 15                       MR. BAUMANN:          Robert Baumann.
 16       Whereupon,
 17                                   ROBERT BAUMANN
 18       was called as a witness and, having been first
 19       duly sworn, was examined and testified as follows:
 20                       JUDGE MORAN:          Have a seat, and even
 21       though you just stated your name I want you to
 22       state it again and spell it for the record.                             Spell


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 162    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 44


  1       your name.
  2                       THE WITNESS:          Robert, R-o-b-e-r-t,
  3       Baumann, B-a-u-m-a-n-n.
  4                       JUDGE MORAN:          Okay.      Now, before we have
  5       questions I have to ask you, you heard Mr.
  6       Tidaback say that he's observed you speaking with
  7       the special investigator for the Secretary during
  8       our break.
  9                       THE WITNESS:          Yes, Your Honor.
 10                       JUDGE MORAN:          Okay.      And were you
 11       speaking with the special investigator during the
 12       break?
 13                       THE WITNESS:          Yes, Your Honor.
 14                       JUDGE MORAN:          And what was the nature of
 15       your communication with the special investigator,
 16       sir?     Reminding you that you're under oath.
 17                       THE WITNESS:          Actually, we were talking
 18       about our health and having to pee a lot.
 19                       JUDGE MORAN:          Okay.      That's part of
 20       life.
 21                       THE WITNESS:          Yeah.
 22                       JUDGE MORAN:          More particularly, though,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 163    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 45


  1       my question is did you have any, and I underscore
  2       and emphasize the word any, communication about
  3       facts that you're to testify today or about the
  4       nature of the case with the special investigator?
  5                       THE WITNESS:          No, Your Honor.
  6                       JUDGE MORAN:          None?
  7                       THE WITNESS:          None.
  8                       JUDGE MORAN:          Okay.      All right.         That
  9       concludes my questions about that, but I do want
 10       to remind everybody in this room about what I said
 11       about talking with witnesses.                    It's forbidden.
 12       All right.         So now we're ready to begin with
 13       testimony.         Before we do begin, why don't you help
 14       me out, Attorney O'Reilly, and tell me which
 15       exhibit book if I need it in front of me right
 16       now, which one I should have ready.
 17                       MS. O'REILLY:           The first one will be
 18       Volume 2, and if you'll notice they're all
 19       sequentially.           So Volume 1 has Exhibits 1 through
 20       24 and Volume 2 that is Exhibits 26 through 43,
 21       and then 43 and 44 are from the Volume 3.
 22                       JUDGE MORAN:          So for now 1 and 2?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 164    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 46


  1                       MS. O'REILLY:           Yeah, I'll be between
  2       Volume 2 and 1 for this testimony.                       I don't think
  3       I'll get into 3 at all.
  4                       JUDGE MORAN:          All right.         I'm ready.
  5       Okay.       Begin, Attorney O'Reilly.
  6                       DIRECT EXAMINATION
  7                       BY MS. O'REILLY:
  8               Q       Good morning, Mr. Baumann.
  9               A       Good morning.
 10               Q       This case arises out of a complaint of
 11       discrimination that you filed with MSHA.                           Correct?
 12               A       Yes.
 13               Q       And what does that complaint allege?
 14               A       That I was terminated wrongly for
 15       participating in MSHA inspections and trying to
 16       stand up for the miners rights.
 17               Q       And who do you think had discriminated
 18       against you when you filed the complaint?
 19               A       Russell Tidaback, Jordan Tidaback and
 20       Jim Spears.
 21               Q       Could you explain what Mr. Tidaback's
 22       role is with the company?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 165    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 47


  1               A       The owner of the company.
  2               Q       And what was Ms. Tidaback's role with
  3       the company?
  4               A       Owner.
  5               Q       And what was Mr. Spears' role with the
  6       company?
  7               A       Operations manager.
  8               Q       And was he your supervisor?
  9               A       Yes.
 10               Q       And you were employed by American
 11       Tripoli from June 16th, 2022 to April 17th, 2023.
 12       Is that correct?
 13               A       Yes, ma'am.
 14               Q       And you were terminated on April 17th,
 15       2020?
 16               A       Yes.
 17               Q       Explain to me what happened on the day
 18       you were terminated?
 19               A       I was -- I received a text message the
 20       Sunday night before from John Spears and to be at
 21       the office at 8:00 a.m. that Monday, and I went
 22       into the office at 8:00 a.m. that Monday, waited


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 166    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 48


  1       for Mr. Spears to get there, and then went into
  2       his office and he handed me a letter and he said,
  3       "Sorry.       Russell told me to let you go."
  4               Q       And did you have any further
  5       conversation with Mr. Spears?
  6               A       All I said was, well, you know, I said,
  7       "I'm going to have to do what I'm going to have to
  8       do."
  9               Q       And is that all you said to Mr. Spears
 10       that day?        Did he say anything else to you that
 11       day?
 12               A       He said I understand.
 13               Q       And did you speak to anyone else at
 14       American Tripoli that day?
 15               A       Jesse Molesi.
 16               Q       And who is he?
 17               A       He was the safety person at the time.
 18               Q       And what did you speak to him about?
 19               A       I just told him that they had let me go,
 20       and you know, and that was about it.                        I mean, I
 21       told him he let me go and that I was going to go
 22       grab my stuff, and if he needed anything, that he


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 167    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 49


  1       could still contact me because I was still the
  2       miners representative.
  3               Q       Okay.      And what was his response?
  4               A       He kind of seen it.              You know, he wasn't
  5       really surprised.             He was surprised, but not
  6       really surprised.
  7               Q       About your termination?
  8               A       Yes, ma'am.
  9               Q       And did you receive documentation
 10       regarding your termination?
 11               A       The termination letter.
 12               Q       Okay.      Could you please turn to Exhibit
 13       P38.     That would be in Volume 2 of the exhibit
 14       notebooks.
 15                       JUDGE MORAN:          That's 38?
 16                       MS. O'REILLY:           Yes.
 17                       JUDGE MORAN:          Okay.      I'm doing that for
 18       the benefit of the court reporter.                       Are you there,
 19       Mr. Baumann?
 20                       THE WITNESS:          Yes.
 21                       BY MS. O'REILLY:
 22               Q       Do you know what this document is?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 168    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 50


  1               A       This is the termination letter that was
  2       handed to me.
  3               Q       This is the termination letter you
  4       received on April 17th, 2023?
  5               A       Yes.
  6               Q       And is this a fair and accurate copy of
  7       the termination letter you received when you were
  8       terminated from American Tripoli?
  9               A       Yes.
 10                       MS. O'REILLY:           I move to admit Exhibit
 11       P38 into evidence.
 12                       JUDGE MORAN:          Any objection?
 13                       MR. TIDABACK:           None.
 14                       JUDGE MORAN:          P38 is admitted.
 15                               (Complainant's Exhibit P-38 was
 16                               marked for identification and
 17                               received in evidence.)
 18                       BY MS. O'REILLY:
 19               Q       What was the stated reason for your
 20       termination in the letter?
 21               A       In the letter it says poor performance,
 22       lack of leadership skills and for failure to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 169    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 51


  1       follow procedures and guidance given to your
  2       supervisor -- by your supervisor.
  3               Q       Were you told anything other than what
  4       is in this letter for why you were terminated?
  5               A       No.
  6               Q       Had you been having any performance
  7       issues at the time you were terminated?
  8               A       No.
  9               Q       Had you been disciplined or told that
 10       your job performance was lacking prior to your
 11       termination?
 12               A       No.
 13               Q       Was there an MSHA inspection in the
 14       weeks before your termination?
 15               A       Yes.
 16               Q       What happened during that inspection?
 17               A       They had received the results from the
 18       air test that was a couple weeks before, so the
 19       inspector came and to issue the -- let me get my
 20       timeline right there.               Just one second.
 21                       JUDGE MORAN:          Sure.
 22                       THE WITNESS:          The air test came back,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 170    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 52


  1       okay, so then they issued some citations for
  2       American Tripoli to get PAPR systems and to
  3       provide -- to work on the air clean system in the
  4       building.        And then the following, that Wednesday
  5       prior to me getting fired, the MSHA inspector
  6       showed back up.            No PAPRs had been purchased.
  7       There was no attempts to work on any of the air
  8       cleaning systems, so he ordered the 104(b), the
  9       shutdown until --
 10                       JUDGE MORAN:          Let me just -- I don't
 11       want to interrupt your flow, okay, but I hope you
 12       have notes you can pick up.                   But I'd like you just
 13       to ask Mr. Baumann just a few preliminary
 14       questions to educate me about the nature of this
 15       operation where he was employed.                      I'd like to know
 16       a paragraph or two from his words as to what's
 17       going on at this operation because I've never seen
 18       it.
 19                       MS. O'REILLY:           Okay.
 20                       BY MS. O'REILLY:
 21               Q       So let's start with, what was your job
 22       title at American Tripoli?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 171    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 53


  1               A       Production supervisor when I got hired
  2       is what I was told, and that's what was in the
  3       computer system.
  4               Q       And that was your title the whole time
  5       you were there?
  6               A       Yes.
  7               Q       And did you work in the mill at American
  8       Tripoli?
  9               A       Yes.
 10               Q       And what type of work goes on in the
 11       mill?
 12               A       That's where they -- I'll go through the
 13       -- the whole system.               They mine the rock out at
 14       the pit.        They bring it into Seneca to the
 15       processing plant.             They dump it in a pit.                It goes
 16       through a crusher.              Goes up into big holding
 17       tanks, and then when we were producing or trying
 18       to produce, it would come out of the tanks into a
 19       fluid bed dryer to dry the product and then into a
 20       tube mill, which actually crushed it up into a
 21       fine like powder.             And then it went through a --
 22       basically an air system type thing that classified


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 172    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                 Page: 54


  1       what grain or whatever, you know, how fine the
  2       powder was, whether we were running once ground or
  3       double ground, and then it went through
  4       classifiers, shakers, up through a big system into
  5       the finished goods hopper to go into a bag.
  6                       JUDGE MORAN:          And you said this is rock.
  7       Does it matter what type of rock?
  8                       THE WITNESS:          Tripoli is type of rock.
  9       I believe it's a -- because that was all under
 10       water, it's like dead, decayed.                     It's really
 11       light.
 12                       JUDGE MORAN:          But it is a form of rock,
 13       but you don't know exactly -- you can't describe
 14       the type of rock.             I'm just curious about it.
 15                       THE WITNESS:          No.     No, Your Honor.            I
 16       did a lot of research and stuff into it, you know,
 17       but it's -- basically it's sediment.                        You know,
 18       there's layers of it in the earth.
 19                       JUDGE MORAN:          Okay, and then --
 20                       THE WITNESS:          Real porous.          Sorry.
 21                       JUDGE MORAN:          No, you go ahead.
 22                       THE WITNESS:          It's real porous.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 173    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 55


  1                       JUDGE MORAN:          Coarse?
  2                       THE WITNESS:          Porous.
  3                       JUDGE MORAN:          Porous.       Thank you.
  4       Because you did work there for a period of time,
  5       do you have -- can you speak generally about the
  6       number of employees at -- at the location where
  7       you were working and how many employees?                           I'm not
  8       asking you as a personnel matter, but just is it
  9       two or three or a dozen or fifty?                       I don't know.
 10                       THE WITNESS:          When I got hired, Your
 11       Honor, I believe there was -- there was
 12       approximately 20, 21 people there, I'm thinking.
 13                       JUDGE MORAN:          That's an estimate?
 14                       THE WITNESS:          Yeah.
 15                       JUDGE MORAN:          It just gives me a sense
 16       of the operation.             Do you have an objection, Mr.
 17       Tidaback?
 18                       MR. TIDABACK:           I do.
 19                       JUDGE MORAN:          Go ahead.
 20                       MR. TIDABACK:           It's the accuracy behind
 21       it because the numbers were less than 12 at any
 22       given time that Mr. Baumann was actually there.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 174    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 56


  1                       JUDGE MORAN:          Okay.      So you'll be able
  2       to handle those kind of questions when it comes
  3       time for cross examination, and he did say it was
  4       an estimate.          I understand you take issue with it,
  5       but that's a question that you can -- when it's
  6       your turn to question the witness.
  7                       MR. TIDABACK:           Okay.      Yes, sir.        I just
  8       -- I understand Mr. Baumann being a shift lead and
  9       not a supervisor or manager of people have the
 10       insight to the business.                 I could just give you
 11       that more information more accurately.                          I don't
 12       want to waste Mr. Baumann's time.
 13                       JUDGE MORAN:          But you're not in your
 14       role as a witness right now, okay.                       And so you'll
 15       be sworn in if you decide to take the witness
 16       stand.
 17                       MR. TIDABACK:           Yes, sir.
 18                       JUDGE MORAN:          But for now I've ruled
 19       upon this, and I wanted an estimate for my
 20       purposes of understanding how big, what this
 21       operation is about, because I didn't see it in any
 22       of the documents, and I think I should know at


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 175    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 57


  1       least rudimentarily about what this operation is.
  2                       MR. TIDABACK:           Yes, sir.
  3                       JUDGE MORAN:          Go ahead, Attorney
  4       O'Reilly.
  5                       BY MS. O'REILLY:
  6               Q       And what type of product does the mine
  7       mine?
  8               A       Tripoli.
  9               Q       And do you understand what tripoli is
 10       made up of?
 11               A       It's just the ground up rock, you know.
 12       Basically ends up as a powder.
 13               Q       And do you have an understanding that's
 14       a silica based product?
 15               A       Yes.
 16               Q       Going back to the inspection where the
 17       104(b) order was issued.
 18               A       Yes.
 19               Q       You mentioned that was on the Wednesday
 20       before you were terminated.                   That sounds like that
 21       would have been April 12th, 2023.                       Does that sound
 22       right?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 176    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 58


  1               A       Yeah.      If that's the --
  2               Q       And you participated in that MSHA
  3       inspection?
  4               A       Yes.
  5               Q       As the miners rep?
  6               A       Yes.
  7               Q       And did you participate in the
  8       inspection that occurred prior to that inspection
  9       where you were talking about having the air
 10       sampling?
 11               A       Yes, ma'am.
 12               Q       And the issue you're talking about with
 13       the dust, was that a silica dust issue?
 14               A       Yes, ma'am.
 15               Q       Had you previously, prior to your
 16       termination, raised concerns about dust safety
 17       issues to mine management?
 18               A       Yes.     Especially after I learned what
 19       all, you know, it entailed and stuff, yes.
 20               Q       And by what it entailed, are you talking
 21       about the safety hazard?
 22               A       The safety of the silica dust, yes,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 177    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 59


  1       ma'am.
  2               Q       And what did you learn about those
  3       hazards?
  4               A       I knew it wasn't good for you, but after
  5       getting in and learning the MSHA and reading the
  6       MSHA, and silica is a big thing with MSHA and I'd
  7       never really realized that until I read the book.
  8       Started reading different things on it, and I was
  9       like, wow, you know, I looked out in the plant and
 10       you can see the -- you can barely see the lights
 11       and I was like, wow, this is probably not really
 12       good for us.
 13               Q       And about when did you get that
 14       understanding about the dangers?
 15               A       Right -- it was a little, probably about
 16       a month prior to the air test sampling.
 17               Q       Maybe sometime in February or March?
 18               A       Yeah.      Around that time.             It's been a
 19       year ago now, so exact dates.
 20               Q       And the 104(b) order, to your
 21       understanding, is issued because the prior
 22       citation for the overexposure had not been


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 178    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 60


  1       terminated?
  2               A       Yes.
  3               Q       And after the citation for the
  4       overexposure was issued, did you raise any
  5       concerns about getting into compliance with the
  6       dust issues to management?
  7               A       Every day.
  8               Q       And what type of issues did you raise?
  9               A       If they had got the PAPR systems ordered
 10       or if they had figured a way around it, you know,
 11       just -- and if they had been -- they called
 12       anybody about getting the air system worked on.
 13               Q       And who did you raise those concerns to?
 14               A       John Spears and Jesse Molesi.
 15               Q       And what was the response you received
 16       to raising those concerns?
 17               A       John would always just tell me that he
 18       had to get with Russell about it, and Jesse was
 19       telling me that he was sending corresponding
 20       e-mails and stuff with Russell.
 21               Q       And did those issues get fixed before
 22       your termination?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 179    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 61


  1               A       No, ma'am.
  2               Q       After the 104(b) withdrawal order was
  3       issued on April 12th of 2023, did you raise any
  4       concerns to Mr. Tidaback or Mr. Spears asserting
  5       the miners rights to be paid during that
  6       withdrawal order?
  7               A       Yes.
  8               Q       And when did you do that?
  9               A       I believe it was that Thursday after we
 10       got shut down and they were -- you know, there was
 11       different Team chats, and they were talking about
 12       getting us back to being gainfully employed.                             And
 13       I had gotten an MSHA handbook and read, and I
 14       actually took a picture of the thing out of the
 15       MSHA handbook and sent it to John and I said it
 16       looks like we're entitled for at least up to the
 17       rest of that day's pay, plus four hours pay on the
 18       next day.        And then because we weren't -- we
 19       didn't become in compliance with the safety
 20       issues, they could be responsible for paying us
 21       for longer, but I would -- I wasn't for sure on
 22       that, but I knew for sure and I had asked the MSHA


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 180    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 62


  1       representative about it.
  2               Q       And what was the response?                  Did you get
  3       a response to that?
  4               A       No.
  5                       JUDGE MORAN:          Excuse me.         A little
  6       confusing.         Did you get a response from the MSHA
  7       investigator or from the miner for -- I'm not sure
  8       who you're referring to with that no.
  9                       THE WITNESS:          Yeah.      I had talked with
 10       the MSHA representative and I said, I just want to
 11       make sure that I'm right before I send this, you
 12       know, explaining to them that they at least owed
 13       us for -- and the way that the MSHA rep explained
 14       it to me is that they were responsible for paying
 15       us for the rest of that day that they got shut
 16       down, and then up to four hours on the next day,
 17       because they did not.
 18                       JUDGE MORAN:          Right.       See, my role is
 19       not to determine whether you were entitled to pay.
 20       What I want to know is the response, you asked the
 21       MSHA inspector or representative from MSHA?
 22                       THE WITNESS:          Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 181    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 63


  1                       JUDGE MORAN:          And he answered you about
  2       what his view was?
  3                       THE WITNESS:          Yes.
  4                       JUDGE MORAN:          Not stating that's a fact,
  5       but he did respond to you?
  6                       THE WITNESS:          Yes.
  7                       JUDGE MORAN:          And that's what you're
  8       referring to when said the answer, you were not
  9       talking about Mr. Spears or someone else?                           You
 10       were talking about the --
 11                       THE WITNESS:          No, I never got an answer
 12       from Mr. Spears or anybody from the company itself
 13       --
 14                       JUDGE MORAN:          Okay.
 15                       THE WITNESS:          -- after I sent that
 16       message.
 17                       JUDGE MORAN:          Okay.      Go ahead, Attorney
 18       O'Reilly.
 19                       BY MS. O'REILLY:
 20               Q       I'm sorry.         Just to clarify, so you
 21       asked Mr. Spears about pay during the 104(b)
 22       withdrawal order.             Correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 182    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 64


  1               A       Yes.
  2               Q       And you never got a response from Mr.
  3       Spears about that?
  4               A       No.
  5               Q       And you mentioned earlier that you got
  6       an MSHA handbook?
  7               A       Uh-huh.
  8               Q       Who did you get that from?
  9               A       One of the MSHA inspectors.
 10               Q       You didn't receive that from American
 11       Tripoli?
 12               A       No.
 13               Q       What was the last day that you were at
 14       the mine prior to your termination?
 15               A       Physically at the mine would have been
 16       the Wednesday that they got shut down.
 17               Q       I think that's April 12th?
 18               A       April 12th, yes.
 19               Q       The last time you were at the mine it
 20       was April 12th, and then you came in on April 17th
 21       and were terminated?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 183    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 65


  1               Q       And in between there there was two
  2       weekend days because you were terminated on a
  3       Monday morning?
  4               A       Yes.
  5               Q       And you talked about the mill previously
  6       being located in Seneca, Missouri.                       Is that
  7       correct?
  8               A       Yes.
  9               Q       And then the pit, or the quarry, where
 10       is that located?
 11               A       I believe it's about eight miles from
 12       the actual plant.             It'd be considered Quapaw,
 13       Oklahoma, I believe.
 14               Q       So product from Oklahoma gets mind up
 15       and brought to the Seneca, Missouri plant?
 16               A       Yes.
 17               Q       Who hired you at American Tripoli?
 18               A       Christine Schreiber.
 19               Q       Who is Christine Schreiber?
 20               A       She was the operations manager at the
 21       time.
 22               Q       And was she your supervisor?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 184    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 66


  1               A       Yes.
  2               Q       When you were first hired?
  3               A       Yes.
  4               Q       And did you know her previous to working
  5       at American Tripoli?
  6               A       Yes.     She was my boss at Schreiber
  7       Foods, which I was there for 13 years.
  8               Q       And how long was --
  9                       JUDGE MORAN:          That's fine.          You know,
 10       I'm going to keep doing this.                    Court reporter,
 11       how's it going?
 12                       COURT REPORTER:            It's fine.
 13                       JUDGE MORAN:          Thank you.         Okay.
 14       Continue, Attorney O'Reilly.
 15                       BY MS. O'REILLY:
 16               Q       And how long did you work with Christine
 17       Schreiber when you were at Schreiber Foods?
 18               A       Approximately a year I'm thinking.
 19               Q       And at some point Mr. Spears became your
 20       supervisor.         Correct?
 21               A       Yes.
 22               Q       And do you know about when that was?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 185    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 67


  1               A       I honestly don't.             I know Christine
  2       wasn't there for maybe a couple months after she
  3       hired me.
  4               Q       Okay.      And then she left and Mr. Spears
  5       was hired for her role?
  6               A       Yes.
  7               Q       Was there a period of time where there
  8       was no operations manager?
  9               A       If there was, it was very little.
 10               Q       At the time you were terminated who
 11       would you say was in management at American
 12       Tripoli?
 13               A       That would have been Russell, Jordan and
 14       John.
 15               Q       Did Mr. Tidaback work regularly in
 16       Seneca, Missouri?
 17               A       No.
 18               Q       In your time working for American
 19       Tripoli, did you ever meet Russell Tidaback in
 20       person?
 21               A       Yes.
 22               Q       How many times?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 186    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 68


  1               A       I'm going to guess six or eight times.
  2               Q       So in the ten months you were there he
  3       was there about six or eight times?
  4               A       Yeah.
  5               Q       Did you communicate with Mr. Tidaback
  6       while you worked at American Tripoli, other than
  7       those six or eight times?
  8               A       Just on the Teams or via phone.
  9               Q       And when you say Teams, are you talking
 10       about the Microsoft Teams like messaging app?
 11               A       Yes.
 12               Q       And you would communicate with Mr.
 13       Tidaback through messages on there?
 14               A       Yes.
 15               Q       And you said the phone, would you have
 16       phone calls with Mr. Tidaback?
 17               A       We had just a few with maybe a couple or
 18       so.     Honestly, I don't remember.
 19               Q       So maybe a few phone calls in the entire
 20       ten months you were there?
 21               A       Yeah.
 22               Q       Did you ever send text messages to Mr.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 187    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 69


  1       Tidaback?
  2               A       Between the -- I called it Teams
  3       message, text messages, so yes.
  4               Q       Okay.      So you're kind of referring to
  5       similar?
  6               A       Yes.
  7               Q       In the time that you worked at American
  8       Tripoli did you ever have a one-on-one
  9       conversation with Mr. Tidaback?
 10               A       No.
 11               Q       It was always in groups?
 12               A       Yes.
 13               Q       Who was in charge of day-to-day
 14       operations at the mine?
 15               A       John Spears.
 16               Q       Do you know if Mr. Spears communicated
 17       with Mr. Tidaback throughout the day while you
 18       were working for American Tripoli?
 19               A       Yes.
 20               Q       And why do you know that?
 21               A       He would -- we would ask John something
 22       and he would say that he had to go e-mail Russell


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 188    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 70


  1       or, you know, stuff like that, and you could, when
  2       you went through the office, you could see him on
  3       his computer e-mailing back and forth with
  4       Russell.
  5               Q       And do you know about how frequently Mr.
  6       Spears was communicating with Mr. Tidaback?
  7               A       I don't.        Multiple times a day, I would
  8       say.
  9               Q       Did Mr. Tidaback tend to know what was
 10       going on at the mine on a regular basis?
 11               A       Yes.
 12               Q       And how do you know that?
 13               A       Through John Spears.
 14               Q       Did Mr. Spears often refer to what Mr.
 15       Tidaback said or wanted in response to requests
 16       that you made?
 17               A       Rarely.       I would get some answers, you
 18       know.       It was always, well, I will have to get it
 19       okayed with Russell or --
 20               Q       When you started at American Tripoli
 21       what shift did you work on?
 22               A       I worked the day -- when I got hired


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 189    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 71


  1       they hired me to do a second shift.
  2               Q       And --
  3               A       Pre-run, bulk bags.
  4               Q       No, you go ahead.             I interrupted.
  5               A       To run bulk bags.             They were behind on
  6       some orders, to run 2,000 pound bags of a product,
  7       and he was wanting to run a second shift to just
  8       run those bags while day shift ran the hundred
  9       pound bags or 50 pound bags.
 10               Q       And what hours did you work when you
 11       were on night shift?
 12               A       4:00 to 11:00.           Or 4:00 to midnight, but
 13       we -- I mean, eight hours after -- I would get
 14       there at 4:00, and then we would run, run the
 15       production, yeah.
 16               Q       And did you ever work more than eight
 17       hours while you were working the night shift?
 18               A       Yes.
 19               Q       Did you ever get paid extra for staying
 20       overtime in those instances?
 21               A       No.
 22               Q       How many people did you work with on the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 190    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 72


  1       night shift?
  2               A       There started out -- when we first
  3       started the evening shift there was three of us,
  4       and then the maintenance partner got fired, so
  5       then there just ended up being two of us.
  6               Q       And one person could not run the mill at
  7       night by themselves.               Correct?
  8               A       No.
  9               Q       How many times did you work more than
 10       eight hours in a shift during the night shift?
 11               A       I'm going to say either going in early
 12       or staying over a little late, maybe at least once
 13       or twice every pay period, every couple weeks.
 14               Q       At some point you switched to day shift?
 15               A       Yes.
 16               Q       And why were you switched to day shift?
 17               A       We had actually caught up quite a few of
 18       the bulk bag orders that he was behind on because
 19       we were running so well in the evenings, and the
 20       machine started braking down from running so long
 21       at a time.
 22               Q       And so did they stop doing night shift


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 191    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 73


  1       when you switched to day shift?
  2               A       Yeah.
  3               Q       And that's because the machinery just
  4       couldn't run that long.                 That was your
  5       understanding?
  6               A       Yeah.
  7               Q       Did anyone express to you that you had
  8       done a good job working on the night shift?
  9               A       Oh, hell, yes.
 10               Q       Who?
 11               A       I got atta boys from Russell and John
 12       and Christine.
 13               Q       What were the typical hours you worked
 14       while you were on day shift?
 15               A       8:00 to 4:30.
 16               Q       Did you ever work more than eight hours,
 17       the eight hours you were scheduled when you were
 18       working day shift?
 19               A       Yes.
 20               Q       And how often did you do that?
 21               A       At least once a week.
 22               Q       And did you keep track of it, the extra


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 192    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 74


  1       hours worked?
  2               A       No, I did not.
  3               Q       Were you able to enter more than eight
  4       hours into your time record so you could get paid
  5       for those extra hours worked?
  6               A       No.
  7               Q       And why not?
  8               A       John spent -- all overtime had to be
  9       approved through John, through Russell, and you
 10       just were told not to enter anything over eight
 11       hours.      There was not to be any overtime.
 12               Q       So how did you keep track of hours
 13       worked?
 14               A       I entered everybody's hours in the
 15       computer daily.
 16               Q       And were you just expected to put eight
 17       hours?
 18               A       Yes.
 19               Q       Did you use a time clock?
 20               A       No.
 21               Q       Even if you worked more than eight hours
 22       you were just expected to write eight hours?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 193    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 75


  1               A       Yes.
  2                       JUDGE MORAN:          Let me just interrupt.                I
  3       take it you were a wage, hourly worker, not a
  4       salaried employee?
  5                       THE WITNESS:          I was hourly worker, Your
  6       Honor.
  7                       JUDGE MORAN:          Not salaried?
  8                       THE WITNESS:          Not salaried.
  9                       JUDGE MORAN:          Okay.      Go ahead.
 10                       BY MS. O'REILLY:
 11               Q       And how much were you paid when you
 12       worked for American Tripoli?
 13               A       Twenty dollars per hour.
 14               Q       And was that the rate of your pay during
 15       the entire time you were there?
 16               A       Yes.
 17               Q       Could you open your notebook to Exhibit
 18       P4.     In Volume 1.
 19               A       Okay.
 20               Q       And --
 21                       JUDGE MORAN:          I'm there, too, yes.
 22       Thank you.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 194    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 76


  1                       BY MS. O'REILLY:
  2               Q       Do you know what this document is?
  3               A       This is a payroll slip.
  4               Q       Have you seen this document before?
  5               A       Not this one.           Well, yes.
  6               Q       And does this reflect your payroll
  7       details while working for American Tripoli?
  8               A       Yes.
  9               Q       And do you believe this is a true and
 10       accurate copy of your payroll records from
 11       American Tripoli?
 12               A       Yes.     As far as I can tell by looking.
 13                       MS. O'REILLY:           I move to admit Exhibit
 14       P4.
 15                       JUDGE MORAN:          Any objection?
 16                       MR. TIDABACK:           No, Your Honor.
 17                       JUDGE MORAN:          Thank you.         P4 is
 18       admitted.
 19                               (Complainant's Exhibit P-4 was
 20                               marked for identification and
 21                               received in evidence.)
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 195    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 77


  1                       BY MS. O'REILLY:
  2               Q       And in here it shows your hourly rate as
  3       $20 per hour.           Correct?
  4               A       Yes.
  5               Q       And then if you look at overtime, it
  6       looks like it shows three hours overtime were
  7       paid?
  8               A       Yes.
  9               Q       Your testimony earlier is that you did
 10       work more than 40 hours a week on a fairly
 11       frequent basis?
 12               A       Yes.
 13               Q       So do you believe you worked more than
 14       three hours of overtime during the --
 15               A       Yes.
 16               Q       Where did you work at prior to your job
 17       at American Tripoli?
 18               A       I had worked at Schreiber Foods for 13
 19       years, and I left there and I was working at the
 20       Co-op in Baxter Springs, Kansas.
 21                       JUDGE MORAN:          Let me interrupt, again.
 22       Okay?       I would like you to go back to P4.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 196    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 78


  1                       THE WITNESS:          Yes, Your Honor.
  2                       JUDGE MORAN:          And just help me out.
  3       Probably I could deduce it, I hope.                        But this is a
  4       two-page exhibit.             Correct?
  5                       THE WITNESS:          Yes.
  6                       JUDGE MORAN:          And do you -- do you
  7       understand the period of time covered by this
  8       two-page exhibit, which is entitled Payroll
  9       Details?        What period of time is covered here
 10       where you had three hours of overtime?                          From what
 11       date to what date does this two-page exhibit
 12       cover?      Do you know?           Can you interpret this or
 13       you don't know how to read it?
 14                       THE WITNESS:          This is just like a daily
 15       list of each time that they direct deposited.
 16                       JUDGE MORAN:          Can you elaborate about
 17       what I'm looking at?               For example, on the top line
 18       on Page 1 it says check date 7-01-2022 direct
 19       deposit.
 20                       THE WITNESS:          Yes.
 21                       JUDGE MORAN:          Then it says $886.83?
 22                       THE WITNESS:          Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 197    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 79


  1                       JUDGE MORAN:          And what period of time is
  2       covered by that check?                Do you know?
  3                       THE WITNESS:          That would have been --
  4       they paid me weekly, so that would be the two
  5       weeks or the partial, it would have been a partial
  6       two weeks of when I started.
  7                       JUDGE MORAN:          Okay.      So it covers, for
  8       instance, the check date is 7-01, this would
  9       pertain to a period of June in 2022?
 10                       THE WITNESS:          Yes.
 11                       JUDGE MORAN:          And so following down,
 12       let's go to the next one which is two weeks later,
 13       7-15.      You see that, $1,239.47?                 Do you see that?
 14                       THE WITNESS:          Yes, Your Honor.
 15                       JUDGE MORAN:          And what does that
 16       represent?
 17                       THE WITNESS:          That would have been the
 18       take home pay out of that pay.
 19                       JUDGE MORAN:          For whom?
 20                       THE WITNESS:          For me.
 21                       JUDGE MORAN:          Yes.      I know that, but I
 22       want it on the record.                That's why I asked that.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 198    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 80


  1       See, I can deduce it, but it's better if you tell
  2       me.     All right?         All right.         So are each of these
  3       lines, do each of these lines, Mr. Baumann,
  4       represent paychecks that were made to a direct
  5       deposit for you on the dates that are reflected
  6       here, beginning on 7-01 and continuing through
  7       4-21-23?        7-01-22 through 4-21-23?
  8                       THE WITNESS:          Yes.
  9                       JUDGE MORAN:          Okay.      Go ahead.         Thank
 10       you.     If I didn't say it, I think I did, P4 is
 11       admitted.        Go ahead, Attorney O'Reilly.
 12                       BY MS. O'REILLY:
 13               Q       I think you were talking about your --
 14       the job you had.
 15               A       Previous.
 16               Q       Right prior to American Tripoli you were
 17       working at the Co-op.               Correct?
 18               A       Yes, ma'am.
 19               Q       And what were you doing there?
 20               A       I was the -- I mixed feed.
 21               Q       And how long had you been in that
 22       position?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 199    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 81


  1               A       About seven months there.
  2               Q       And did you quit that job to take the
  3       American Tripoli job?
  4               A       Yes.
  5               Q       Have you ever been terminated from any
  6       other job other than the job you had at American
  7       Tripoli?
  8               A       No.
  9               Q       Prior to working at American Tripoli did
 10       you have any mining experience?
 11               A       No.
 12               Q       Did you have any experience with MSHA?
 13               A       No.
 14               Q       Did you know about the MSHA training
 15       requirements when you started at American Tripoli?
 16               A       No.
 17               Q       Did you receive any training from
 18       American Tripoli when you started your job?
 19               A       About two weeks after we started we had
 20       about a 30, 45 minutes, like, went through safety
 21       stuff.
 22               Q       And I'm going to be looking at Volume 2,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 200    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 82


  1       Exhibit P40.
  2                       JUDGE MORAN:          Will you tell us when
  3       you're there?
  4                       THE WITNESS:          I got it.
  5                       BY MS. O'REILLY:
  6               Q       Do you know what this document is?
  7               A       Yes.     This is the training certificate
  8       that Bonnie handed me after we did the safety
  9       training that day.
 10               Q       You said Bonnie.            Is that what you said?
 11               A       Yes.
 12               Q       So you've seen this document before?
 13               A       Yes.
 14               Q       And at the bottom do you see a
 15       signature?         It looks like your name.                 Is that your
 16       signature?
 17               A       Yes.
 18               Q       Is this a true and accurate copy of the
 19       New Mining Training Certificate you signed while
 20       working at American Tripoli?
 21               A       Yes.
 22                       MS. O'REILLY:           I move to admit Exhibit


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 201    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 83


  1       P40 into evidence.
  2                       JUDGE MORAN:          And again, to help me,
  3       does this reflect -- does this exhibit reflect a
  4       date that you received the training, or just the
  5       date you signed?
  6                       THE WITNESS:          This is the date I
  7       received and signed the training paper.
  8                       JUDGE MORAN:          What is that date, sir?
  9                       THE WITNESS:          7-05 of 2022.
 10                       JUDGE MORAN:          Okay.      Thank you.         Exhibit
 11       P40 is admitted.            I should have asked, I'm sorry,
 12       my fault.        Any objections to this?
 13                       MR. TIDABACK:           No, sir.
 14                       JUDGE MORAN:          No.
 15                               (Complainant's Exhibit P-40 was
 16                               marked for identification and
 17                               received in evidence.)
 18                       BY MS. O'REILLY:
 19               Q       Were you provided with the training
 20       listed in this document before you signed this
 21       document?
 22               A       Not -- not all of it.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 202    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 84


  1               Q       And when you say --
  2                       JUDGE MORAN:          We have an objection?
  3                       MR. TIDABACK:           Yes, sir.        I'm sorry,
  4       yeah.       If you signed the document --
  5                       MS. O'REILLY:           Your Honor, he's asking
  6       questions out of turn.
  7                       JUDGE MORAN:          I will hear him out.               Go
  8       ahead.
  9                       MR. TIDABACK:           If he's certifying that
 10       he received the training and he signed the
 11       document, that's when it goes into record.                            So if
 12       he's saying that he received the training before
 13       he signed the date, maybe the training was last
 14       week, but the day that they print out the
 15       paperwork and gave it to him is the day he signed
 16       it.
 17                       JUDGE MORAN:          Okay.      I don't think
 18       there's any contest about that, but Attorney
 19       O'Relly was talking about prior to the date that
 20       this form was filled out, the certificate of
 21       training, if he received the training that's
 22       reflected on exhibit --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 203    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 85


  1                       COURT REPORTER:            I'm sorry -- Judge, you
  2       froze up.        I missed you what you said.                    You said
  3       if he received the training reflected on and my
  4       screen froze.
  5                       JUDGE MORAN:          Yes.      My question was if
  6       Mr. Baumann was saying whether he had received --
  7       well, this is a bit of a conundrum.                        My question
  8       was whether he testified to receiving all of the
  9       training reflected on Exhibit P40, and my
 10       understanding, Mr. Baumann, is that although you
 11       signed this exhibit on 7-5-22, that not all of the
 12       training in Item 5 was actually received at the
 13       time you signed it?
 14                       THE WITNESS:          No, Your Honor.
 15                       JUDGE MORAN:          No, it was not?
 16                       THE WITNESS:          No, it was not.            I had not
 17       gotten all of the training that is checked on this
 18       piece of paper the day I signed it.
 19                       MR. TIDABACK:           And that's my objection,
 20       Your Honor, because it states right there.                            I
 21       verify I have completed the above training.
 22                       JUDGE MORAN:          That's a subject for


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 204    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 86


  1       cross-examination.              Okay.      You're right.           It's a
  2       problem in the sense that I guess the natural
  3       question that may be asked by Attorney O'Reilly
  4       is, it's up to you, why you signed having received
  5       the training when you've just testified that not
  6       all of the boxes that are checked on item --
  7       category 5, you've testified not all of that
  8       training as marked was actually received.                           Is that
  9       true?
 10                       THE WITNESS:          Yes.
 11                       JUDGE MORAN:          Then the question would
 12       be, Attorney O'Reilly.
 13                       BY MS. O'REILLY:
 14               Q       You understand here it's checked new
 15       miner training.            Correct?
 16               A       Yes.
 17               Q       At the time that you signed this
 18       document did you know what new miner training
 19       entailed?
 20               A       No, ma'am, I did not.
 21               Q       At the time that you signed this
 22       document did you understand that new miner


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 205    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 87


  1       training required training on all of the topics
  2       checked off on this training list?
  3               A       No, I did not.
  4               Q       And prior to receiving this -- signing
  5       this document, is this the 30 to 45 minute
  6       training you were talking about earlier?
  7               A       Yes.
  8               Q       And you had that with who?
  9               A       Bonnie Bainter.
 10               Q       And after she provided that training
 11       were you asked to sign this document?
 12               A       Yes.
 13               Q       Were you told why you were being asked
 14       to sign the document?
 15               A       She just said that it was kind of like
 16       OSHA, except for it was for miners, and that
 17       miners had to carry this piece of paper with them.
 18               Q       Did you have any idea at the time that
 19       you signed this document that you had not received
 20       a full new miner training under MSHA?
 21               A       No.
 22               Q       Did you ever receive 24 hours of new


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 206    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 88


  1       miner training while you worked for American
  2       Tripoli?
  3               A       No.
  4               Q       And again, I think this may have been
  5       asked, but the date on this document is 7-5-2022.
  6       Correct?
  7               A       Correct.
  8               Q       And that's the date you received this
  9       about 30 minute training?
 10               A       Yes.
 11               Q       And what topics were gone over during
 12       that training?           Do you remember?
 13               A       The lockout/tagout, combined space.
 14       Electrical hazards and stuff like -- forklift
 15       safety.
 16               Q       And prior to this date, 7-5-2022, had
 17       you received any MSHA training at the mine?
 18               A       No.
 19               Q       Were you ever given any additional MSHA
 20       training by anyone who works for American Tripoli
 21       after this date?
 22               A       No.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 207    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 89


  1               Q       Were you supervised closely prior to
  2       7-5-2022 when you received this training?
  3               A       No.
  4               Q       After you received this training were
  5       you supervised closely by anyone while you were
  6       working at American Tripoli?
  7               A       No.
  8               Q       Did anyone give you any task training on
  9       the jobs you would be doing while you're working
 10       at American Tripoli?
 11               A       No.
 12               Q       Was task training something that you had
 13       ever seen done while you worked at American
 14       Tripoli?
 15               A       No.
 16               Q       Were you made aware of MSHA's
 17       requirements regarding -- regarding task training
 18       while you worked at American Tripoli?
 19               A       Not until it was brought up by the
 20       inspectors.
 21               Q       And about when did that occur?
 22               A       December to February probably.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 208    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 90


  1               Q       And you learned that just from the MSHA
  2       inspectors?
  3               A       Yes.
  4               Q       Did you ever receive any training from
  5       Mr. Tidaback on any of your job duties?
  6               A       No.
  7               Q       Did you ever receive any training from
  8       Mr. Tidaback on MSHA standards?
  9               A       No.
 10               Q       Looking back, do you feel like you had
 11       information necessary when you started working at
 12       American Tripoli to know what the MSHA standards
 13       required?
 14               A       No.
 15               Q       Do you feel like you were provided the
 16       information necessary at American Tripoli to know
 17       how to protect yourself and others from safety
 18       issues at the mine?
 19               A       No.
 20               Q       While you worked at American Tripoli did
 21       management stress compliance with MSHA standards?
 22               A       No.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 209    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 91


  1               Q       And why do you say that?
  2               A       Previous inspections like in November of
  3       2022, or whatever, we didn't even -- we weren't
  4       made aware of any of the citations or anything.
  5       We didn't know.            I mean, honestly, we didn't know
  6       anything, and then like an MSHA inspector came in
  7       and started writing citations, you know, and he
  8       seemed frustrated.              I thought, man, this guy is
  9       really out to get us or whatever, you know, and he
 10       said, well, I've been here before and we gave them
 11       so many days to get all these things fixed and
 12       nothing has been touched, so.
 13               Q       That MSHA inspector was referring back
 14       -- you're talking about there was an MSHA
 15       inspection about November of 2022?
 16               A       Yeah.
 17               Q       And you never learned about what
 18       citations were issued at that time?
 19               A       No.
 20               Q       And then when you learned about the MSHA
 21       inspection, that prior MSHA inspection from the
 22       MSHA inspector, was that around February of '23?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 210    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 92


  1               A       Something, approximately, yes, ma'am.
  2               Q       Was Microsoft Teams used regularly at
  3       American Tripoli to communicate about what was
  4       going on at work?
  5               A       Yes.
  6               Q       And I think we've kind of brushed on
  7       this, but is there a feature in Microsoft Teams
  8       that allows you to send like text messages?
  9               A       Yes.
 10               Q       And were there -- how did -- were there
 11       groups of American Tripoli employees communicating
 12       with each other on Teams?
 13               A       Yes.     There was like multiple different
 14       category.        Like maintenance group, a general group
 15       with everybody.            A mill management group.                 Mill
 16       production group.             I mean, there was just -- there
 17       was quite a few different ones, yes.
 18               Q       There are various groups.                  And then
 19       could you also communicate individually with
 20       employees?
 21               A       Yes.
 22               Q       Did you use Microsoft Teams to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 211    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 93


  1       communicate with John Spears?
  2               A       Yes.
  3               Q       Would you also communicate with John
  4       Spears in person as well?
  5               A       Yes.
  6               Q       Did you use Teams to communicate with
  7       Mr. Tidaback as well?
  8               A       On occasion.
  9               Q       Would he be part of the groups that you
 10       were part of?
 11               A       Yes.
 12               Q       So if you made a message in a group, he
 13       would see that?
 14               A       He would have seen that.
 15               Q       And did all employees have access to
 16       Microsoft Teams?
 17               A       Through the general group, yes.
 18               Q       And is it your understanding that it was
 19       just employees and owners of American Tripoli
 20       participating in the Teams chats?
 21               A       Yes.
 22               Q       What would happen when someone quit or


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 212    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 94


  1       was terminated with regard to access to Teams
  2       chat?
  3               A       They were taken out of it.
  4               Q       But did you use Teams to communicate
  5       about what was going on at work with your
  6       co-workers?
  7               A       Yes.
  8               Q       And with the owners and managers?
  9               A       Yes.
 10               Q       Were you ever told that you failed at
 11       using Microsoft Teams effectively while working at
 12       American Tripoli?
 13               A       No.
 14               Q       And it's my understanding that MSHA had
 15       several inspections while you were an employee at
 16       American Tripoli.             Is that correct?
 17               A       Yes.
 18                       JUDGE MORAN:          So again, don't lose your
 19       place, but help me out.                 Forgive me if I was
 20       making a note or something.                   I want to have a
 21       better understanding from the time that Mr.
 22       Baumann was hired until he was terminated.                            I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 213    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 95


  1       don't have a good sense about his -- what he was
  2       hired as and what he did and if it varied.                            If he
  3       says, well, in the first few weeks I was doing
  4       this and then after a couple months I was doing
  5       this job, and then I need to have an understanding
  6       of -- and maybe it was static.                     Maybe, you know,
  7       he was hired to do job X and he did that from day
  8       one until the day that he was terminated, but I
  9       want to have a good understanding of what his job
 10       was.     I don't think I have a clear view of that
 11       yet.
 12                       BY MS. O'REILLY:
 13               Q       Mr. Baumann --
 14                       JUDGE MORAN:          If we're going to come to
 15       that later that's fine, but it seems to me out of
 16       order to not be discussing it now.                       You're talking
 17       about Teams chat members -- Team chats, and I need
 18       to understand more of what he was doing.
 19                       MS. O'REILLY:           Understood.
 20                       BY MS. O'REILLY:
 21               Q       What were your job duties while you
 22       worked at American Tripoli?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 214    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 96


  1               A       I was hired to be the productions, the
  2       lead over the production from day one until I got
  3       fired.
  4               Q       Okay.
  5               A       My job title never changed.
  6                       JUDGE MORAN:          Was that formally?              If I
  7       looked at your paper on the day you were hired I
  8       would see, it would say production what?
  9                       THE WITNESS:          Production supervisor is
 10       what Christine hired me for.
 11                       JUDGE MORAN:          Right.       And so tell us
 12       more about what you had to do.                     You say it was the
 13       same title until you were terminated?
 14                       THE WITNESS:          Yes.
 15                       JUDGE MORAN:          Tell me about -- and if
 16       it's one week was much like the other, accounting,
 17       you know, different problems can arise, tell me
 18       about what -- what your job typically entailed.
 19                       THE WITNESS:          On a good day, Your Honor,
 20       it would be to -- on the second shift I would
 21       overlap day shift 30 minutes, come in, find out if
 22       they were having any problems, anything like that.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 215    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 97


  1       Assist in -- I would get us our bulk bags and
  2       stuff ready for our shift.                  Pallets if we needed
  3       them.      Stuff like that.
  4                       And then I was -- my duties were to feed
  5       the rock out of the tanks into the dryer, fluid
  6       bed dryer, through the system into the bag.                             Then
  7       I would -- we had labels to where -- what customer
  8       they were going to, you know, what it was.                            So we
  9       labeled them, and we put them in line, got orders
 10       ready.      And then to shut the mill down, to -- you
 11       know, because it's -- starting up is a process,
 12       shutting down is a process, so you have to do
 13       things in certain steps, but -- and that that's on
 14       a good day.
 15                       On a bad day you would go in, something
 16       would be broke, you would have to fix it or work
 17       on it, help maintenance work on it, whatever.                              If
 18       the -- the temperature outside has a lot to do
 19       with running the product.                  Moisture, humidity, all
 20       those things, you know.                 So if you had to
 21       different -- there was different tasks.                          I walked
 22       around about once an hour to make sure all the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 216    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 98


  1       scrolls and all the pieces were moving so I
  2       wouldn't have backups or, you know, excessive
  3       dusting outside of the stacks and stuff like that.
  4                       JUDGE MORAN:          Okay.      And so I'll just
  5       take a couple more questions here, but so you tell
  6       me if this is accurate or needs to be explained
  7       further.        Were you confined, I mean, limited to a
  8       certain part of the mill or did you -- did your
  9       duties encompass the entire operation, looking at
 10       everything that the mill was doing, or were you,
 11       again, in a discrete area most of the time in your
 12       employment?
 13                       THE WITNESS:          No, I was all over.               The
 14       building is not real huge and there's four
 15       different layers, four different -- and no, you
 16       had to be all over the mill at all times.
 17                       JUDGE MORAN:          And during that time when
 18       you were all over the mill, did you interact with
 19       -- you told me there was something like 20 or so
 20       employees.         That was an estimate, but did you
 21       interact with these employees at the mill?
 22                       THE WITNESS:          On the day shift, whenever


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 217    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 99


  1       I was getting trained or watching the operation, I
  2       would -- there was, I believe, eight, I think
  3       there were approximately eight people running the
  4       bags in the mill during the day, so I was watching
  5       them, and yes.           And then it was just me and R.J.
  6       at night.        And then we got less and less people.
  7       I think when I got fired there was maybe four
  8       employees total in the mill, but yes.
  9                       JUDGE MORAN:          So fair to state,
 10       generally speaking, you interacted with the
 11       employees that were there, maybe not every day and
 12       not every employee, but there was some that you
 13       were not -- you were not restricted from
 14       interacting with the employees?
 15                       THE WITNESS:          No.
 16                       JUDGE MORAN:          Anyone that worked there
 17       you might come into contact with them.                          Is that
 18       fair?
 19                       THE WITNESS:          Yes.
 20                       JUDGE MORAN:          Go ahead, Attorney
 21       O'Reilly.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 218    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 100


  1                       BY MS. O'REILLY:
  2               Q       You didn't work with the people that
  3       worked in the quarry, though.                    Correct?
  4               A       No, no.       I never even visited the quarry
  5       in my employment there.                 The pit or whatever it's
  6       called, yeah.
  7               Q       And when you switched to day shift,
  8       about how many people were working there in the
  9       mill?
 10               A       I believe when I got switched to in the
 11       mill, in our group there was eight, I believe,
 12       when I got to days.
 13               Q       And those job duties that you've been
 14       describing, were those your job duties throughout
 15       your employment with American Tripoli?
 16               A       Yes.
 17               Q       Did you do workplace exams as part of
 18       your work at American Tripoli?
 19               A       I started doing them in December,
 20       January, maybe, of 2023.
 21               Q       Were you provided any training on how to
 22       do a workplace exam?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 219    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 101


  1               A       No.
  2               Q       Were you expected to write down all the
  3       issues you found on workplace exam?
  4               A       Yes.
  5               Q       Okay.      Was there enough space to write
  6       down all the issues you found?
  7               A       No.
  8               Q       And why was that?
  9               A       The first form -- so they found out MSHA
 10       said that you need to have workplace exams.                             So
 11       they put a form on the computer and it was
 12       basically if it's okay or not okay.                        And then
 13       maybe just a little tiny space, you know, note or
 14       whatever.        And then they did change it and made a
 15       little bit bigger column out there where you could
 16       actually write, give a little description on what
 17       you found.
 18               Q       And would you note issues on those
 19       workplace exams that you found?
 20               A       Yes.
 21               Q       And did they correct all those issues
 22       that you would find on the workplace exam?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 220    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 102


  1               A       No.
  2               Q       And why not?
  3               A       Either we didn't have a maintenance
  4       partner at the time, or it was -- if it had
  5       anything to do with shutting production down it
  6       wasn't getting taken care of.
  7               Q       And why do you say that?
  8               A       We were told to -- anytime anything was
  9       wrong it was we'll wait for a maintenance day to
 10       look at it.
 11               Q       Rather than fixing the issue?
 12               A       Yes.
 13                       JUDGE MORAN:          Let me just -- when I do
 14       this, it's not to be rude.                  Court reporter, how
 15       are you doing?
 16                       COURT REPORTER:            I'm fine.
 17                       JUDGE MORAN:          Thank you.         Go ahead.
 18                       BY MS. O'REILLY:
 19               Q       Did Mr. Spears or Mr. Tidaback ever
 20       express any issues with you with how you were
 21       doing your workplace exams?
 22               A       Not directly.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 221    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 103


  1               Q       Did they indirectly?
  2               A       I never really -- I would make an issue
  3       and then I would bring it up, and I just always
  4       got told the same thing, you know.                       Well, unless
  5       it was something that would not let you run the
  6       system, it was not going to be fixed.
  7               Q       And would you say you raised multiple
  8       maintenance issues on there that were not fixed?
  9               A       Yes.
 10               Q       And were those maintenance issues that
 11       caused safety problems as well?
 12               A       Yes.
 13               Q       Were you in charge of maintenance at
 14       American Tripoli?
 15               A       No.
 16               Q       Did you ever receive task training to do
 17       any sort of maintenance work at American Tripoli?
 18               A       No.
 19               Q       Did you ever receive task training to do
 20       electrical work at American Tripoli?
 21               A       No.
 22               Q       Who was in charge of maintenance while


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 222    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 104


  1       you worked at American Tripoli?
  2               A       It was multiple -- they went through
  3       multiple maintenance partners at American Tripoli,
  4       so there was probably six or eight different -- at
  5       least six or eight different maintenance people
  6       there in my career.
  7               Q       Would that be all at different times?
  8               A       Yes.
  9               Q       Did you ever have more than one
 10       maintenance person while you were there?
 11               A       Very rarely.
 12               Q       Did you ever have no maintenance people
 13       when you were there?
 14               A       Yes.
 15               Q       About how many times did that occur?
 16               A       At least three times.
 17               Q       And how long did that usually last?
 18               A       Probably the longest was maybe three or
 19       four weeks without a maintenance person at all.
 20               Q       And what happened when there wasn't a
 21       maintenance person if there was a maintenance
 22       issue?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 223    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 105


  1               A       We had to fix it or we went to John and
  2       he would work on it.
  3               Q       Did you supervise the maintenance
  4       personnel?
  5               A       No.
  6               Q       Did you have authority to direct the
  7       work of maintenance personnel?
  8               A       No.
  9               Q       Did only having one maintenance person
 10       affect the ability to get things fixed timely in
 11       order to run production?
 12               A       Yes.
 13               Q       Did only having one maintenance person
 14       affect, make it difficult to keep up with safety
 15       issues that arose and needed to be fixed at
 16       American Tripoli?
 17               A       Yes.
 18               Q       While working at American Tripoli did
 19       anyone ever tell you that you had to meet a
 20       certain production quota?
 21               A       No.     Never said had to.
 22               Q       Did you ever -- did Mr. Tidaback ever


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 224    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 106


  1       tell you that you had to meet a 40,000 pound
  2       production demand every day?
  3               A       No.
  4               Q       Had you ever heard about any sort of
  5       40,000 pound production goal or quota?
  6               A       It was the -- it was assumed that that's
  7       what you would like to get on a good day, would be
  8       40,000.
  9               Q       But was that something that was stressed
 10       to you?
 11               A       No.
 12               Q       Did you communicate often with Mr.
 13       Tidaback about meeting production quotas or goals?
 14               A       No.
 15               Q       Did you communicate often with Mr.
 16       Spears about meeting production quotas or goals?
 17               A       No.
 18               Q       Were you ever counseled for not meeting
 19       production demands?
 20               A       No.
 21               Q       Were you ever given positive feedback
 22       regarding the amount of production you were able


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 225    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 107


  1       to get?
  2               A       Yes.
  3               Q       From who?
  4               A       John Spears.
  5               Q       And when did that occur?
  6               A       It was actually probably about a month
  7       before I got fired.              We were starting to run
  8       hundred pound bags again, and we were trying to
  9       get to the 40,000 pound, the 400 bags, and we were
 10       running, you know, 350 to 370 or whatever, close
 11       to, almost, and yeah, he more than once, great job
 12       today, team.          Good job, guys.
 13               Q       And you say that happened in the last
 14       month of your employment?
 15               A       Yeah.      Six -- you know, within probably
 16       -- I'm guessing within six weeks.                       It's hard for
 17       me to remember exactly, yes.
 18               Q       Understood.         Was producing 40,000 pounds
 19       of product a day a realistic demand to meet every
 20       day?
 21               A       No.
 22               Q       Why not?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 226    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 108


  1               A       They had too many issues with equipment,
  2       weather, so many different variances.
  3               Q       How often did you run into maintenance
  4       issues which caused you to have to stop
  5       production?
  6               A       Some weeks daily.
  7               Q       What about other weeks?
  8               A       I'm going to say right when I first
  9       started we could run four or five days.                          You know,
 10       four days and then as we ran more and more things
 11       started breaking and the equipment is so old that
 12       naturally the more you run it the worse it's going
 13       to get, so multiple times there, from about
 14       November I think is when it really started going
 15       down.       It was about almost every day something
 16       broke down.
 17               Q       And when something broke down, did that
 18       cause production to have to stop?
 19               A       Yes.     The way the system runs, anything
 20       that breaks is really going to -- you're basically
 21       going to have to shut down, clean out the system,
 22       shut that machine down to work on it, you know.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 227    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 109


  1       Very few things can be worked on while running
  2       production.
  3               Q       And then if you had to shut down for a
  4       maintenance issue, did it take awhile to start
  5       back up again to run production?
  6               A       Yes.
  7               Q       Did you ever run a week straight without
  8       running into maintenance issues with the
  9       machinery?
 10               A       Not that I can remember.
 11               Q       What was John Spears' role with regard
 12       to production?
 13               A       He was the operations manager, so.
 14               Q       And what would you say his role was with
 15       regard to production specifically?
 16               A       Oh, I guess I don't understand.                     I'm
 17       sorry.
 18               Q       Would you say John Spears had ultimate
 19       responsibility over how much production was done
 20       at the mine?
 21               A       Yes.
 22               Q       In his role as operations manager?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 228    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 110


  1               A       Yes.
  2               Q       Could your work alone have insured that
  3       production demands were met?
  4               A       No.
  5               Q       Why not?
  6               A       It's -- I'd say with the equipment being
  7       the way it was and things breaking down or people
  8       not -- I mean, there's so many different things.
  9               Q       So it sounds like there were a lot of
 10       production issues at the mine that were outside of
 11       your control?
 12               A       Oh, yes.
 13               Q       Would weather affect your ability to do
 14       production?
 15               A       Yes.
 16               Q       Can you explain that?
 17               A       The temperature.            Actually, I don't even
 18       think you're supposed to try and run, just from
 19       talking to previous employees from years ago,
 20       anytime the temperature was below -- around 40
 21       degrees, you know, there was -- you couldn't even
 22       -- about -- about 30 degrees is pushing it to even


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 229    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 111


  1       run the whole system.               But the curative, the
  2       longer it takes -- because the product flows kind
  3       of like water and it's got to be hot.                         So it takes
  4       heat for it properly to get the flow of everything
  5       going, so the temperature was a huge.                         Naturally
  6       it's going to take longer to warm up, take longer
  7       to run things when it's cold outside.                         And if
  8       anything happened in the system got cool, then it
  9       would slow things down.
 10               Q       Were there ever any issues if the
 11       weather was too hot or too warm?
 12               A       If it's really, really hot the -- some
 13       of the machines would get over -- overheated.                              It
 14       would get too hot, you know.
 15               Q       So if they overheated, did you have to
 16       like stop production or slow down production?
 17               A       Yes.
 18               Q       Did you ever run into issues not having
 19       enough employees to run production at a level to
 20       meet a 40,000 pound production demand?
 21               A       Yes.
 22               Q       Can you explain that?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 230    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 112


  1               A       To properly have enough people to rotate
  2       through breaks and do lunches and stuff, to stack
  3       the hundred pound bags, and there should be some
  4       messages about this.               I would say that a minimum
  5       of five people and there was multiple times there
  6       was three to four of us there doing it.
  7               Q       How many times would you say you had the
  8       four to five people while you worked there?
  9               A       To start out with, they always had
 10       enough people on the days to rotate in the crush
 11       and just -- and then I'm going to say the last
 12       three months of my employment we were pretty
 13       shorthanded.
 14               Q       And that affected production?
 15               A       Yes.
 16               Q       In addition to all the internal issues
 17       with production, was production shut down by
 18       outside entities during your employment?
 19               A       Yes.
 20               Q       And can you explain that?
 21               A       Due to dusting out into the city, the
 22       city -- the chief, the chief of police came down


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 231    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 113


  1       multiple times and would get on to -- I guess he
  2       spoke with John most of the time.                       That he'd come
  3       in, say, hey, you know, you're dusting out pretty
  4       bad.     People are calling, so there was probably
  5       three or four times of him shutting us down.                             And
  6       then the EPA lady or whatever, the environmental
  7       lady, she came down a few times.                      People would
  8       call her.
  9               Q       And when the sheriff would come, would
 10       he demand that production stop or what would
 11       happen?
 12               A       He most of the time spoke with John
 13       Spears.       The one time that he did come in there to
 14       -- he pulled around there to us because we were
 15       outside looking to see how bad it was and stuff,
 16       he said -- he let us all know that he could arrest
 17       all of us for what was being done if we didn't get
 18       control of the dust or shut down.
 19               Q       That's what the sheriff told you?
 20               A       Yes.     The police of chief of Seneca.
 21       Yes.
 22               Q       Was the mine also shut down by MSHA


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 232    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 114


  1       during the time you were employed?
  2               A       Multiple times.
  3               Q       From February of 2023, let's say,
  4       through your termination on April 17th of 2023,
  5       about how many days would you say the mine was
  6       shut down because of MSHA citations?
  7               A       I'm going to say we probably only ran
  8       maybe two weeks in that span, and that's just
  9       totaling days maybe ran 14 days.
 10               Q       And that was because MSHA halted
 11       production because of various issues?
 12               A       MSHA halted production for various
 13       issues.       We had a major breakdown, I believe, that
 14       caused us to be down.
 15               Q       For the last two months of your
 16       employment you would say there was maybe a total
 17       of 14 days where you could run?
 18               A       That's just a guesstimate, but yes.
 19               Q       Due to all these multiple issues you've
 20       been talking about?
 21               A       Yes.
 22               Q       In exhibit notebook 2 I'm going to have


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 233    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 115


  1       you turn to Exhibit P27.
  2                       JUDGE MORAN:          Just give me a second.
  3       I'm making a note.              Okay.      P27.     Is that what you
  4       said?
  5                       MS. O'REILLY:           Yes.
  6                       JUDGE MORAN:          Are you there, Mr.
  7       Baumann?
  8                       THE WITNESS:          Yes.
  9                       BY MS. O'REILLY:
 10               Q       Do you know what this document is?
 11               A       Yes.     This is a production spreadsheet.
 12               Q       And have you seen this document before?
 13               A       Yes.
 14               Q       And it looks like this shows the
 15       production at American Tripoli from November of
 16       2022 through March of 2023.                   Would you agree with
 17       that?
 18               A       Yes.
 19               Q       And during your employment did you
 20       participate in adding information into this
 21       document?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 234    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 116


  1               Q       Can you explain what this document is?
  2               A       This was just -- so naturally you put
  3       the date, what you were running, the time span
  4       that you ran it, how many bags of it you ran and
  5       major down time issues.
  6               Q       And so was it a regular part of your job
  7       to add data to this document?
  8               A       Yes.
  9               Q       And how is the document maintained when
 10       you were adding data to it?
 11               A       How was it maintained?
 12               Q       Was it like on a computer that you were
 13       entering this information in?
 14               A       Yes.
 15               Q       And do you know if it was like an Excel
 16       spreadsheet?
 17               A       I don't know.
 18               Q       Okay.      And was it a regular course of
 19       American Tripoli's business to create this
 20       document and add the data regarding production?
 21               A       Yes.
 22               Q       And does this appear to be a fair and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 235    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 117


  1       accurate copy of the production records from
  2       American Tripoli?
  3               A       It appears to be.
  4                       MS. O'REILLY:           I move to admit this
  5       document, Exhibit P27 into evidence.
  6                       JUDGE MORAN:          Okay.      Before I ask, Mr.
  7       Tidaback, I have a question for Mr. Baumann.                             You
  8       see on Exhibit P27, and this page is 1 through 8.
  9       Correct?
 10                       THE WITNESS:          Yes.
 11                       JUDGE MORAN:          And the notes section of
 12       this, those notes on these various pages, except
 13       for Page P8 and Page 8 of P27, are those all notes
 14       you entered?
 15                       THE WITNESS:          Not all of them, Your
 16       Honor, but I put notes and the down time issues,
 17       but I did not fill every one of these out.
 18                       JUDGE MORAN:          Who else would have filled
 19       out these, if you know?
 20                       THE WITNESS:          There was a couple of
 21       different times that we had a production helper
 22       that was responsible for the inventory and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 236    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 118


  1       responsible for me giving them the information to
  2       enter into this, and then there was a time span we
  3       had some -- we were shut down for some electrical
  4       issues through MSHA, so there was a time span we
  5       didn't have internet in the mill.                       So John Spears
  6       entered some of them.               Kinsley entered some of
  7       them.      Another production person that we had
  8       entered some of them.
  9                       JUDGE MORAN:          Okay.      And my last
 10       question about this exhibit is, other than the
 11       notes, which you say some were entered by you but
 12       some were entered by other people?
 13                       THE WITNESS:          Yes.
 14                       JUDGE MORAN:          Did you enter any of the
 15       other information?              For example, look at Page 1 of
 16       P27.     Were you responsible for any of these other
 17       various figures, you know, stock, completed order,
 18       etcetera?        There are many categories.                   Number of
 19       pallets used.           Did you enter information there?
 20                       THE WITNESS:          Yes, Your Honor, I did.
 21       This was basically blank except for the dark blue
 22       at the top, and we filled out everything else.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 237    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 119


  1                       JUDGE MORAN:          When you say we, do you
  2       mean primarily you or was it collaborative effort?
  3                       THE WITNESS:          I entered most of it most
  4       of the time.
  5                       JUDGE MORAN:          Okay.
  6                       THE WITNESS:          Time and time again we had
  7       the production specialist or whatever their title
  8       was, that was their job to do.
  9                       JUDGE MORAN:          And you recognize this as
 10       this document you had played a significant role in
 11       completing information on this?
 12                       THE WITNESS:          Yes.
 13                       JUDGE MORAN:          All right.         Any
 14       objections, Mr. Tidaback?
 15                       MR. TIDABACK:           No.
 16                       JUDGE MORAN:          All right.         Then Exhibit
 17       P27 is admitted.
 18                               (Complainant's Exhibit P-27 was
 19                               marked for identification and
 20                               received in evidence.)
 21                       BY MS. O'REILLY:
 22               Q       In this document could you explain what


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 238    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 120


  1       the column major down time event meant?
  2               A       Yes.     Like we'd enter in whatever had
  3       broken that day.
  4               Q       So looks like there was a lot of major
  5       down time events in this time period.
  6               A       Yes.
  7               Q       And where it says, let me see, LBs made,
  8       for example, on Page 1, could you explain what
  9       that is in reference to?
 10               A       Pounds.       Pounds that were produced that
 11       -- for that order that day.
 12               Q       It looks like there might have been more
 13       than one entry per day.                 Is that because you might
 14       be working on different orders?
 15               A       Yes.
 16               Q       And would all production at the mine be
 17       input into this document?
 18               A       Yes.
 19               Q       And it looks like, like if there isn't a
 20       day on here, does that mean that there wasn't
 21       production on that day?
 22               A       Yes.     There was not production.                  If it's


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 239    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 121


  1       not on this, there was not production on that day.
  2               Q       And then I'm going to have you flip to
  3       Exhibit P28.          Go ahead and look through that and
  4       let me know when you're ready.
  5               A       Okay.
  6               Q       Do you know what this document is?
  7               A       No, I do not.
  8               Q       If you flip the page of it, I think the
  9       formatting came out a little different when we put
 10       it in a PDF, but if you flip through it can you
 11       kind of see, at least starting on Page 4?
 12               A       Yes.
 13               Q       The coloring didn't show up on this.
 14               A       Okay, okay.
 15               Q       So do these appear to be more production
 16       records?
 17               A       Yes.
 18               Q       Similar to the production records we
 19       were talking about in P27?
 20               A       Yes.
 21               Q       And it looks like if you look at it,
 22       it's showing production from January of 2022 on


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 240    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 122


  1       Page 1 through November -- November of 2022 on
  2       Page 20.        Correct?
  3               A       Yes.
  4               Q       And then it looks like on Page 21 it
  5       picks up again in April of '23 and goes through
  6       August of '23 on the last page.                     Is that correct?
  7               A       Yes.
  8               Q       And I understand that some of these time
  9       periods you were not employed.                     Right?
 10               A       No.
 11               Q       And does it appear to be a fair and
 12       accurate copy of production records from American
 13       Tripoli?
 14               A       Yes, it does.
 15               Q       And do you understand that we received
 16       this from American Tripoli in discovery in this
 17       case?
 18               A       Yes.
 19                       MS. O'REILLY:           I move to admit this
 20       document P28 into evidence.
 21                       JUDGE MORAN:          Okay.      And before I turn
 22       to Mr. Tidaback, so Mr. Baumann, you agree that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 241    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 123


  1       this Exhibit P28 has 30 pages in it?
  2                       THE WITNESS:          Yes, Your Honor.
  3                       JUDGE MORAN:          And did I hear you
  4       correctly that some of the dates in this were
  5       after your employment ended.                    Is that true?
  6                       THE WITNESS:          Yes, Your Honor.
  7                       JUDGE MORAN:          And were the entirety of
  8       the pages, were any of these entries about major
  9       down time events/notes, were any of them entered
 10       by you or none of them by you?
 11                       THE WITNESS:          Let me look.          Some of
 12       these were entered by me, Your Honor.
 13                       JUDGE MORAN:          Okay.      And that's all I
 14       have to ask, except I have a follow-up question
 15       after I ask Mr. Tidaback if he has any objection.
 16                       MR. TIDABACK:           No objection.
 17                               (Complainant's Exhibit P-28 was
 18                               marked for identification and
 19                               received in evidence.)
 20                       JUDGE MORAN:          All right.         Then P28 is
 21       admitted.        So help me out with this, Mr. Baumann.
 22       What distinguishes, how is, in your opinion,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 242    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 124


  1       what's the value to me of P27 versus P28?                           What
  2       distinguishes one from the other?                       How is this
  3       information different?                Are they duplicative?
  4                       THE WITNESS:          Some.      The dates were just
  5       the difference.            P27.
  6                       JUDGE MORAN:          Apart from the dates, do
  7       they essentially address the same issues?
  8                       THE WITNESS:          Yes, Your Honor.
  9                       JUDGE MORAN:          Okay.      So this has been
 10       admitted.        If you have any follow-up questions,
 11       I'm not suggesting you do or should.                        I'm just
 12       asking.       I'll give you the opportunity.
 13                       BY MS. O'REILLY:
 14               Q       Looking at P27 and P28 today would you
 15       agree it shows production from about January of
 16       2022 through August of 2023, noting that there's a
 17       little bit of a gap in P28 which is a time period
 18       that's covered in P27?
 19               A       Yes.
 20               Q       In 2022, in P28 it looks like there may
 21       have been two shifts running during that time.
 22       Does that sound right?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 243    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 125


  1               A       Yes, ma'am.
  2               Q       So some of the total production in a day
  3       in 2022 may reflect two shifts running?
  4               A       Yes.
  5               Q       And just, for example, I'll have you
  6       turn to Page 18 of P28.
  7                       JUDGE MORAN:          So while you're looking
  8       for that, I just want to make a comment to Mr.
  9       Tidaback about that.               My memory works most of the
 10       time, but there was some with reference about, and
 11       the Secretary alluded to it, about some of the
 12       exhibits that the Respondent has are also being
 13       entered by the Secretary and I said, it really
 14       hasn't been a problem for me.                    But when it comes
 15       to your turn, it would be helpful if one side or
 16       the other identifies for me an exhibit was already
 17       admitted so I'll have two references.                         Do you
 18       understand?         For instance, if there's something
 19       that's the same as -- I'm not saying it's the
 20       case, the same as P28 and then the Respondent has
 21       P11 and they're the same, it would be helpful for
 22       a reference point when I'm writing a decision to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 244    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 126


  1       drop a footnote indicating that they covered the
  2       same time period.             All right?
  3                       MR. TIDABACK:           Yes.     Your Honor, if
  4       anything I'll try to refer to the Secretary's
  5       deal.       That way you'll only have one copy of it.
  6                       JUDGE MORAN:          Well, that means you'll be
  7       taking out some of your exhibits.
  8                       MR. TIDABACK:           But if it's the same
  9       information, it would be the same.
 10                       JUDGE MORAN:          I'm glad you feel that
 11       way.     Go ahead.
 12                       BY MS. O'REILLY:
 13               Q       Yes.     Just for reference, we are on Page
 14       18 of Exhibit P28.              Are you there, Mr. Baumann?
 15               A       Yes.
 16               Q       And I just want to take a look at some
 17       of these entries for pounds made.                       For example,
 18       let's look at October 13th of 2022.                        It's towards
 19       the middle of the page.
 20               A       Yes, ma'am.
 21               Q       And it looks like there are two entries
 22       for that day.           Right?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 245    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 127


  1               A       Yes.
  2               Q       And if we go over to the pounds made
  3       column, one of those entries is 150 pounds and the
  4       other one is 1,950 pounds.                  Is that correct?
  5               A       Yes.
  6               Q       So something about 3,000 pounds for that
  7       day?
  8               A       Yes, ma'am.
  9               Q       And then let's go to October 14th of
 10       2022.       It looks like there's two entries again.
 11       Correct?
 12               A       Yes, ma'am.
 13               Q       And if we go over to -- oh, and excuse
 14       me.     For the record, on October 13th there was a
 15       third entry.          One of them was also 5-25.
 16               A       Yes.
 17               Q       Do you see that?            Sorry.       Just to
 18       clarify that.           So for October 14th of '22, you see
 19       two entries, one for 8,000 pounds, another for
 20       11,500 pounds.
 21               A       Yes.
 22               Q       So would that mean that on that day


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 246    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 128


  1       there was 19,500 pounds of production?
  2               A       Yes, ma'am.
  3               Q       Okay.      And then let's go to October 17th
  4       of 2020.
  5                       JUDGE MORAN:          You mean 2020?
  6                       BY MS. O'REILLY:
  7               Q       2022.      Thank you.         It looks like there's
  8       several entries, some saying first shift -- two
  9       saying first shift and three saying second shift.
 10       Is that right?
 11               A       Yes.
 12               Q       And on second shift there's an entry for
 13       2,000, another entry for 2,000, and then a third
 14       entry for 22,300.             Is that right?
 15               A       Yes.
 16               Q       So just on night shift alone that day
 17       there would have been 26,300?
 18               A       Yes.
 19               Q       Okay.      And then on October 19th there's
 20       two entries and they're both on second shift.                              Do
 21       you see that?
 22               A       Yes, ma'am.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 247    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 129


  1               Q       And those show 10,800 and then 6,000?
  2               A       Yes, ma'am.
  3               Q       So about 16,800 during that shift?
  4               A       Yes.
  5               Q       And then let's just go to October 21st.
  6       There's four entries.               Right?
  7               A       Yes.
  8               Q       Two for first and two for second?
  9               A       Yes.
 10               Q       And then on second shift alone there was
 11       11,100 and then 1,000 as well.                     Is that correct?
 12               A       Yes.
 13               Q       So looks like production kind of what we
 14       were talking about, kind of went up and down?
 15               A       Yes.
 16               Q       And these records reflect that?
 17               A       Yes, ma'am.
 18               Q       And then I'm going to turn your
 19       attention to Page 21 of Exhibit P28.
 20               A       Okay.
 21               Q       And these appear to be records from
 22       April of 2023.           Is that correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 248    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 130


  1               A       Yes, ma'am.
  2               Q       And I'll have you look at the entries
  3       for April 4th, 2023.               Do you see that?
  4               A       Yes.
  5               Q       And there's two of those?
  6               A       Yes.
  7               Q       And there's one for 17,200 and then one
  8       for 16,000?
  9               A       Yes.
 10               Q       So on that day, if I'm doing my math
 11       correctly, it looks like there would have been
 12       33,200 pounds made?
 13               A       Yes, ma'am.
 14               Q       And that was just about two weeks before
 15       you were terminated?
 16               A       Yes.
 17               Q       And on April 6th of 2023, it looks like
 18       there's two entries again?
 19               A       Yes.
 20               Q       And first one is 10,900 and the second
 21       one is 26,900?
 22               A       Yes, ma'am.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 249    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 131


  1               Q       And so a little over 37,000 pounds were
  2       made that day?
  3               A       Yes.
  4               Q       About 11 days before your termination?
  5               A       Yes.
  6               Q       And then on April 11th, 2023, you'll see
  7       two entries.          Right?
  8               A       Yes.
  9               Q       And one is 4,000?
 10               A       Yes.
 11               Q       And one is 18,700?
 12               A       Yes, ma'am.
 13               Q       And then the next date on there is 4-28.
 14       Correct?
 15               A       Yes.
 16               Q       Okay.      So this was the last -- 4-11 was
 17       the last date of production before your
 18       termination?
 19               A       Yes.
 20               Q       And it looks like that would have been
 21       22,700 pounds?
 22               A       Yes, ma'am.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 250    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 132


  1                       JUDGE MORAN:          Now, let me interject.
  2       This is for benefit of both sides.                       I'm reasonably
  3       intelligent, but exhibits like this, in fact any
  4       exhibit, don't assume, well, he knows the purpose
  5       behind admitting 27 and 28.                   You should be express
  6       and say, literally, you commute the purpose of
  7       this exhibit is to demonstrate that and then it's
  8       like hitting me with a two-by-four, but hopefully,
  9       I'm picking up on this, but don't assume that I'm
 10       going to make these conclusions.                      Yes, Mr.
 11       Tidaback?
 12                       MR. TIDABACK:           Your Honor, I understand
 13       the Secretary's trying to make a point that 40,000
 14       pounds which you're referencing, but I think the
 15       secretary is missing out on, there is a certain
 16       limit per hour per grade which --
 17                       JUDGE MORAN:          And you know what, that's
 18       a fine comment and I know that I saw some
 19       exasperation on the part of Attorney O'Reilly,
 20       mild as it was, but I have some leeway to allow
 21       comments like that.              But that, what you just said,
 22       you're not under oath and it's the subject of


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 251    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 133


  1       cross-examination or direct testimony from
  2       witnesses you may call to explain further what's
  3       in this.        So it's a little premature.
  4                       MR. TIDABACK:           Okay.
  5                       JUDGE MORAN:          But still, because of
  6       you're operating pro se and you're not an attorney
  7       I'm allowing a little more leeway, but don't
  8       forget that you still have to affirmatively have
  9       this as part of the record testimony if it's
 10       important.         I always say that, because sometimes
 11       people put a lot of stuff on the record and much
 12       of it is not that important.
 13                       Ultimately I may conclude, so you'll
 14       have to make that decision on your own, whether
 15       this is worth raising for me to be alert to
 16       something or whether it's tangential.
 17                       MR. TIDABACK:           Okay.
 18                       JUDGE MORAN:          That's your call.
 19                       MR. TIDABACK:           I was really trying to
 20       help the Secretary because I know she's trying to
 21       get numbers.          I'm going to have to bring it up to
 22       Mr. Baumann afterwards, I guess, and it helps.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 252    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 134


  1                       JUDGE MORAN:          Yes.      That's right.           Okay.
  2       Go ahead.        Attorney O'Reilly.              So we're still on
  3       P28.     Anything else about that?
  4                       MS. O'REILLY:           No, nothing else about
  5       that.
  6                       JUDGE MORAN:          I admitted P28.
  7                       BY MS. O'REILLY:
  8               Q       And, Mr. Baumann, just to kind of go
  9       back to something.              It was your understanding that
 10       one of the reasons they told you they were
 11       terminated is because of production issues?
 12               A       Yes, ma'am.
 13               Q       Were you in charge of safety while you
 14       worked at American Tripoli?
 15               A       No.
 16               Q       Were you ever told that you were in
 17       charge of safety?
 18               A       No.
 19               Q       Were you given any training on what
 20       expectations American Tripoli had with regards to
 21       safety at the mine?
 22               A       No.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 253    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 135


  1               Q       Did anyone ever task you with ensuring
  2       that the mine was in compliance with MSHA
  3       standards?
  4               A       No.
  5               Q       Even if you had been tasked, were you
  6       ever given enough information to know what MSHA
  7       standards were required at American Tripoli?
  8               A       No.
  9               Q       Who was in charge of safety at American
 10       Tripoli?
 11               A       If we didn't have a safety person at the
 12       time, it would be John Spears.
 13               Q       Okay.
 14               A       Ultimately.
 15               Q       So if you had a safety person, what's
 16       that role?         What was that title?               Do you know?
 17               A       They were over the safety, you know.
 18       They were supposed to make sure that everything
 19       was kosher safety wise and we were ready for MSHA
 20       inspections and stuff.
 21               Q       So you're saying at some point, sometime
 22       there was a person with a role whose job is


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 254    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 136


  1       safety?
  2               A       Yeah.      I believe we had maybe three
  3       different safety people there in my employment,
  4       seven months.
  5               Q       Were there times when you didn't have
  6       someone enrolled -- employee in the role of
  7       safety?
  8               A       Yes.
  9               Q       About how often?
 10               A       I'm going to say at least, at least
 11       three months, four.
 12               Q       Out of the ten months?
 13               A       Out of the ten months I was there.
 14               Q       And I think you had said that John
 15       Spears was in charge of safety when there wasn't a
 16       safety person?
 17               A       Yep.
 18               Q       Did you have authority to direct the
 19       work of the safety personnel?
 20               A       No.
 21               Q       Did management at the mine make efforts
 22       to ensure the mine was in compliance with MSHA


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 255    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 137


  1       standards?
  2               A       No.
  3               Q       Why do you say that?
  4               A       Like I say, we weren't made aware of any
  5       MSHA inspections or citations up until around
  6       November, December, and then once we learned what
  7       to look for and what to -- you know, different
  8       stuff because MSHA inspectors were pointing stuff
  9       out and things like that, you know.                        We never got
 10       -- for one, we never got the tools to fix the
 11       things that we needed.                For two, if it took away
 12       from production, we weren't allowed to stop
 13       production to try and fix any safety issues,
 14       unless it was in dire need.
 15               Q       When you say you never got the tools,
 16       could you provide some examples of that?
 17               A       During one of the MSHA shutdowns a lot
 18       of it was to do with guarding, and we didn't have
 19       the proper metal to make the correct guards for
 20       stuff and they wouldn't get the metal for that or
 21       wiring to fix the electrical system.                        It was, you
 22       know, they had to change all the N sockets on the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 256    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 138


  1       light and it took like two weeks to get that stuff
  2       to change those out and just different stuff like
  3       that.
  4               Q       Did you ever raise questions to
  5       management about why those things weren't getting
  6       fixed?
  7               A       Yes.
  8               Q       And who did you question?
  9               A       John Spears.
 10               Q       And you also mentioned that if it took
 11       away from production, you weren't allowed to stop
 12       to fix the issues?
 13               A       No.
 14               Q       And why do you say that?                 Were you told
 15       that?
 16               A       Yes.
 17               Q       By who?
 18               A       John Spears.
 19               Q       Did you hear that more than once?
 20               A       Yes.
 21               Q       How often did you hear that?
 22               A       Most -- he would say, unless it is going


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 257    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 139


  1       to shut us down, keep running.
  2               Q       And you heard that multiple times?
  3               A       Yes.
  4               Q       Was that a common response to questions
  5       -- to issues you raised around that?
  6               A       Yes.
  7               Q       To your knowledge, did the company have
  8       any written safety procedures?
  9               A       Not to my knowledge.
 10               Q       Were you ever provided with any written
 11       safety procedures?
 12               A       Not to my -- no.
 13               Q       Would you be surprised to find out that
 14       there are safety procedure documents on various
 15       topics at American Tripoli?
 16               A       Yes.     Very surprised.
 17               Q       Would you know where to look while you
 18       were employed if you wanted to find a safety
 19       procedure?
 20               A       No.
 21               Q       Were there any sort of general safety
 22       rules at the mine that were maybe passed down


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 258    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 140


  1       verbally?
  2               A       Do you know -- naturally, because I had
  3       worked in a manufacturing process before, the
  4       lockout/tagout, stuff like that, you know.                            But
  5       there was just so much more that I didn't know to
  6       look for, but.
  7               Q       Were you concerned about your safety
  8       while you worked at American Tripoli?
  9               A       Yes.
 10               Q       Why?
 11               A       Once I learned how harmful the silica
 12       dust was, once I learned that proper placing of
 13       guards and stuff and the things that we were
 14       working on, yes.
 15               Q       And were you -- were you concerned for
 16       the safety of other miners at American Tripoli as
 17       well?
 18               A       Yes.
 19               Q       Was it your job to keep track of miners
 20       hours worked?
 21               A       Yes.
 22               Q       And I believe we spoke earlier, there


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 259    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 141


  1       was no time clock for this?
  2               A       No.
  3               Q       And were you ever told that you were
  4       failing at this task?
  5               A       No.
  6               Q       Was keeping up with mill production and
  7       production -- mill product and production supply
  8       inventory part of your job duties?
  9               A       No.
 10               Q       Were you told that that was your job
 11       duty?
 12               A       No.
 13               Q       Was handling shipping and receiving
 14       paperwork part of your job duties?
 15               A       Yes.
 16               Q       Were you ever told that there were any
 17       issues with your performance of this task?
 18               A       No.
 19               Q       Did you ever receive any training on how
 20       to do this task?
 21               A       No.
 22               Q       Was mailing and preparing easy to handle


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 260    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 142


  1       retail bags part of your job duties?
  2               A       No.
  3               Q       Were you ever told that was that part of
  4       your job duties?
  5               A       No.
  6               Q       Was collaborating with maintenance on a
  7       preventative maintenance schedule part of your job
  8       duties?
  9               A       Yes.
 10               Q       Were you ever told that there were any
 11       issues with your performance of this task?
 12               A       No.
 13               Q       Was handling mill parts and supplies
 14       request to send to management for approval part of
 15       your job duties?
 16               A       No.
 17               Q       Were you ever told that was part of your
 18       job duties?
 19               A       No.
 20               Q       Was providing professional development
 21       counseling to miners part of your job duties?
 22               A       No.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 261    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 143


  1               Q       Did you personally ever receive any
  2       professional development counseling while working
  3       for American Tripoli?
  4               A       No.
  5               Q       Were you aware of anyone else ever
  6       receiving professional development counseling?
  7               A       No.
  8               Q       Did you ever send employees home early
  9       from work?
 10               A       Yes.
 11               Q       And if you did that, did you notify
 12       anyone?
 13               A       Yes.     I always had to get it okayed with
 14       either Christine or John.
 15               Q       Did you have the authority to send
 16       employees home early?
 17               A       Not to my knowledge.               I always had to
 18       get it okayed.
 19               Q       So if you ever allowed employees to go
 20       home early, you got approval from someone higher
 21       up from you first?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 262    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 144


  1                       JUDGE MORAN:          Why would you send
  2       employees home early?
  3                       THE WITNESS:          If there was maintenance
  4       issues that we couldn't fix or if we were waiting
  5       on parts, something major broke, we were going to
  6       be down, if they -- you know, if the mill
  7       associate asked, hey, we're not -- you know, we're
  8       sweeping.        Do you care if I go home.                   I would say,
  9       let me get with John and if he's okay with it, I'm
 10       okay with it.
 11                       BY MS. O'REILLY:
 12               Q       So in those instances there wasn't
 13       really anything for those employees to be doing?
 14               A       No.     I mean, just like I told them, if
 15       it was okay, if John didn't care, you know, and we
 16       weren't in the middle of working on something,
 17       that there were just so many non-production days
 18       that, yeah.         I mean, if they asked, I never said
 19       they couldn't.           I always got it approved.
 20               Q       And you never supervised employees?
 21               A       No.
 22               Q       Kind of backing up now.                 My


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 263    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 145


  1       understanding is that MSHA had several inspections
  2       while you were an employee at American Tripoli.
  3       Correct?
  4               A       Yes.
  5               Q       I'm going to look in Volume 1 at Exhibit
  6       P21.     Sorry.
  7                       JUDGE MORAN:          Before you get to P21,
  8       this is a good time to pause for a moment.                            We
  9       have been going for an hour and a half, which is
 10       not terrible.           About how much time, if you know,
 11       will you have for your direct testimony of Mr.
 12       Baumann?
 13                       MS. O'REILLY:           Left?
 14                       JUDGE MORAN:          Yeah.
 15                       MS. O'REILLY:           It could be two more
 16       hours.
 17                       JUDGE MORAN:          Okay.      All right.         And so
 18       I think that -- remember, if anyone has like
 19       diabetes or any health issues you're supposed to
 20       tell me.        I don't want anyone fainting in here or
 21       whatever, but I thought we'll see where we are in
 22       the testimony, but I thought from 12:30 to 1:30 we


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 264    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 146


  1       could take our lunch break.                   I'm like a camel
  2       because I used to run marathons.                      If you don't
  3       want to have lunch break, that's kind of onerous
  4       on the court reporter and others, but if you want
  5       to have a very short lunch break.                       I don't know
  6       how close food is here, so at about 12:30 let's
  7       stop and see what people want to do.                        All right?
  8       Okay.      We'll go back.           We're still on the record.
  9       Yes?
 10                       THE WITNESS:          Could I have a restroom
 11       break?
 12                       JUDGE MORAN:          Right now, of course.
 13       We'll pause on the record for this.                        So we'll come
 14       back in five minutes everyone.                     All right?
 15                       MS. O'REILLY:           Thank you.
 16                       JUDGE MORAN:          Court reporter, thank you.
 17                       COURT REPORTER:            Thank you.
 18                       JUDGE MORAN:          Court reporter, you there?
 19                       COURT REPORTER:            Yes, I'm here.
 20                       JUDGE MORAN:          Okay.      We're taking a
 21       five-minute break.
 22                               (Recess)


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 265    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 147


  1                       JUDGE MORAN:          We're back on the record.
  2       Go ahead, Attorney O'Reilly.
  3                       MS. O'REILLY:           All right, everybody.
  4       Looking at Exhibit P21, and I will say this is a
  5       public document on MSHA's data retrieval system
  6       website.        I would move to admit it on that basis
  7       alone, but if not, I can just use it to reference
  8       and kind of orient everyone and we can have the
  9       witness lay a foundation later.
 10                       JUDGE MORAN:          Typically, Mr. Tidaback,
 11       these exhibits are admitted as business records.
 12       It's a one page exhibit, P21 and again, it's the
 13       -- what is it?           Describe it.
 14                       MS. O'REILLY:           It's from the mine data
 15       retrieval system.             It's a public system about the
 16       mine system that MSHA maintains.
 17                       JUDGE MORAN:          Okay.      And if Mr. Tidaback
 18       or I want to look this up, how would one go about
 19       finding this exhibit?
 20                       MS. O'REILLY:           It's on MSHA's website.
 21                       JUDGE MORAN:          What would I enter to get
 22       this page?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 266    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 148


  1                       MS. O'REILLY:           I think if you Google
  2       mine data retrieval system and then it pops up and
  3       then you click on that and then you would enter
  4       the mine number.
  5                       JUDGE MORAN:          So it's the mine number.
  6                       MS. O'REILLY:           Yes.
  7                       JUDGE MORAN:          Do you have any objection
  8       to this exhibit?            Okay.       P21 is admitted.
  9                               (Complainant's Exhibit P-21 was
 10                               marked for identification and
 11                               received in evidence.)
 12                       BY MS. O'REILLY:
 13               Q       Mr. Baumann, do you see the document in
 14       front of you, Exhibit P21?
 15               A       Yes.
 16               Q       And I'll represent to you that 2300504
 17       is the mine ID for American Tripoli.
 18               A       Yes.
 19               Q       Do you see that?            And this lists several
 20       inspections of the American Tripoli mine, and I
 21       think we've been talking today about various
 22       inspections at the mine.                 And if you look at


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 267    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 149


  1       inspection 7029430 under the event number.                            Do you
  2       see that, kind of midway down the page?
  3               A       Yeah.      Verbal hazard complaints.
  4               Q       Yes.     And it says inspection begin date,
  5       February 13, 2023.              Inspection end date, 4-10-23?
  6               A       Yes.
  7               Q       And was this the first inspection that
  8       you worked around with MSHA during?
  9               A       Yes.
 10               Q       And why did you start walking around
 11       with MSHA during inspections?
 12               A       After the inspections that end of 2022
 13       to November, you know, November, December
 14       inspections and then we found out that we had so
 15       many citations I wanted to know, you know, because
 16       honestly I wanted us to run.                    I didn't like being
 17       down, so I was paying attention more to what they
 18       were pointing out, stuff like that.
 19                       JUDGE MORAN:          Let me interrupt.             Are you
 20       getting all this, court reporter?
 21                       COURT REPORTER:            Yes, I am.
 22                       JUDGE MORAN:          Okay.      Thank you.         Go


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 268    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 150


  1       ahead, Attorney O'Reilly.
  2                       BY MS. O'REILLY:
  3               Q       Did you also participate in the
  4       inspection out of concern for miner safety?
  5               A       Yes.
  6               Q       And your own safety?
  7               A       Yes.
  8               Q       And during this February through April
  9       2023 inspection, did you walk around with MSHA on
 10       multiple different days?
 11               A       Yes.
 12               Q       Did Mr. Spears ever walk around with you
 13       when you were walking around with MSHA during
 14       these inspections?
 15               A       Yes.
 16               Q       Multiple times?
 17               A       Multiple times.
 18               Q       Did he ever see you walking around with
 19       MSHA, also?
 20               A       Yes.
 21                       JUDGE MORAN:          Please keep your voice up.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 269    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 151


  1                       BY MS. O'REILLY:
  2               Q       I'm going to have you turn to Exhibit
  3       P8.
  4                       JUDGE MORAN:          P8?
  5                       MS. O'REILLY:           Yes.
  6                       THE WITNESS:          Got it, yes.
  7                       BY MS. O'REILLY:
  8               Q       Do you know what this document is?
  9               A       This looks like a Teams message sent
 10       from John to Gage.
 11               Q       And is this a screen shot of your phone?
 12               A       Yes.     I screen shotted it on my phone.
 13               Q       And did you take this screen shot?
 14               A       Yes.
 15               Q       And this is a Microsoft Teams message,
 16       like the ones we've been talking about?
 17               A       Yes.
 18               Q       And when it says John S, what do you
 19       understand that to mean?
 20               A       That's from John Spears.
 21               Q       And where it says Russell T above that,
 22       who do you understand that to be?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 270    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 152


  1               A       Russell Tidaback.
  2               Q       And I think you said you thought this
  3       message went to Gage Wheeler.                    Is that correct?
  4               A       Yes.
  5               Q       And why do you know that?
  6               A       Because that's -- it starts out Gage
  7       Wheeler, so that tagged him in it.
  8               Q       And if you were taking a screen shot of
  9       this, was this message also sent to where you
 10       could see it, too?
 11               A       Yes.
 12               Q       Was it in a group?              Do you know?
 13               A       I think it probably would have been in a
 14       maintenance group.
 15               Q       And you were part of that?
 16               A       Yes.
 17               Q       Is this a true and accurate copy of the
 18       screen shot of this Teams message from your phone?
 19               A       Yes.
 20                       MS. O'REILLY:           I move to admit Exhibit
 21       P8.
 22                       JUDGE MORAN:          Any objection?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 271    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 153


  1                       MR. TIDABACK:           It's not comprehensive to
  2       everything that was actually in the discussion,
  3       Your Honor.
  4                       JUDGE MORAN:          Okay.      And again, just for
  5       your edification, that's something that you can
  6       address during cross-examination.
  7                       MR. TIDABACK:           Yes, sir.
  8                               (Complainant's Exhibit P-8 was
  9                               marked for identification and
 10                               received in evidence.)
 11                       JUDGE MORAN:          Okay.      So this is a word
 12       at counsel table.             I'm not perfect on this, but
 13       you should be keeping a running log of all
 14       exhibits that are admitted.                   I've got right now
 15       P38, P4, P40, P27, 28, 21 and 8.                      That's all I
 16       have.      Okay.      You're the person I want to rely
 17       upon if I miss some.
 18                       MS. SMITH:         Yes, Your Honor.             I'm
 19       keeping a list as well.
 20                       JUDGE MORAN:          Okay.      Go ahead, Attorney
 21       O'Reilly.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 272    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 154


  1                       BY MS. O'REILLY:
  2               Q       This message in the middle from John S,
  3       which you said is John Spears, it looks like it's
  4       dated February 14th at 6:35 a.m.                      Is that correct?
  5               A       Yes.
  6               Q       And this message says "Gage Wheeler, do
  7       not answer any questions about the -- that the
  8       MSHA inspector may have.                 Do not go into the mill.
  9       I'll be the person who talks to me inspector."
 10       Did I read that correct?
 11               A       Yes.
 12               Q       Who is Gage Wheeler?
 13               A       He was the maintenance person at the
 14       time.
 15               Q       And he was an employee of American
 16       Tripoli?
 17               A       Yes.
 18               Q       Was there an MSHA inspection on this
 19       day?
 20               A       Yes, I'm sure there was.
 21               Q       What did you take this message to mean?
 22               A       For us not to speak with the MSHA


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 273    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 155


  1       inspectors.
  2               Q       And was this the first time you had
  3       heard a message like this at American Tripoli?
  4               A       No.
  5               Q       Did you walk around with MSHA during the
  6       inspection of February 14th?
  7               A       I believe so.
  8               Q       Did Gage Wheeler?
  9               A       I believe so.
 10               Q       Can you turn to Exhibit P9.
 11               A       Yeah.
 12               Q       Do you recognize this document?
 13               A       Yes.
 14               Q       And it looks like at the top, the very
 15       first message from John Spears is the same message
 16       you took a screen shot of in P8?
 17               A       Yes.
 18               Q       And you said this message was also sent
 19       to you?
 20               A       Yes.
 21               Q       And did you also receive these
 22       additional messages in this chat?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 274    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 156


  1               A       Yes.
  2               Q       And you believe this was part of the
  3       maintenance group chat at American Tripoli?
  4               A       I believe so.
  5               Q       And who would have been a part of that?
  6       Do you know?
  7               A       Would have been myself, Gage Wheeler,
  8       Russell Tidaback, Jordan Tidaback and John Spears.
  9               Q       Okay.      And in here, kind of towards the
 10       middle and then the bottom it says unknown user
 11       for some of the messages, and there's like a UU.
 12       Do you see that?
 13               A       Yes, I see that.
 14               Q       Do you know who that would have been?
 15               A       That would have been Russell Tidaback.
 16               Q       The unknown user?
 17               A       Just -- yeah.
 18                       JUDGE MORAN:          Can you ask him how he
 19       would know?
 20                       BY MS. O'REILLY:
 21               Q       Yeah.      How would you know that?
 22               A       Because there was only what, four of us


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 275    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                                Page: 157


  1       in the group and John Spears is the JS.
  2               Q       Okay.      And then there's also blue
  3       messages.        Do you know who those blue messages
  4       would be?
  5               A       Okay.      So the unknown user on this page
  6       would have been Gage Wheeler.                    I apologize.           I
  7       didn't read -- didn't read long enough, and the
  8       blue boxes, I believe, would be Russell Tidaback.
  9               Q       And why do you -- why do you believe
 10       that?
 11               A       Just from the conversations.
 12               Q       And you recall those conversations?
 13               A       Yes.
 14               Q       Sir, I'll make the record a little
 15       clear.      You recall this conversation?
 16               A       Yes.
 17                       JUDGE MORAN:          Are you telling me, Mr.
 18       Baumann, that on this Microsoft, what's it called?
 19                       MS. O'REILLY:           Teams.
 20                       JUDGE MORAN:          Teams, that you can be a
 21       part of the communication and it doesn't identify
 22       who's talking?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 276    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 158


  1                       THE WITNESS:          It's supposed to.             This --
  2       these messages are really, really familiar, and I
  3       don't know why they don't have the initials beside
  4       them.
  5                       JUDGE MORAN:          Okay.      Well, let me ask
  6       you a couple other questions about this.                           You see
  7       on P9, it's a one-page exhibit.                     Right?
  8                       MS. O'REILLY:           Correct.
  9                       JUDGE MORAN:          I'm asking him.
 10                       THE WITNESS:          Yes.
 11                       JUDGE MORAN:          And so in the middle
 12       there's a blue area and it begins saying yep.
 13       Y-e-p, which is yes.               Okay.      And are you telling
 14       me that you can identify that yep and then it's
 15       all good, and what was the question, that you can
 16       identify who wrote that message from Microsoft
 17       Teams?
 18                       THE WITNESS:          Yeah.
 19                       JUDGE MORAN:          And how can you do that?
 20                       THE WITNESS:          There was only --
 21                       JUDGE MORAN:          You said four?
 22                       THE WITNESS:          Yeah.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 277    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 159


  1                       JUDGE MORAN:          So there's you.
  2                       THE WITNESS:          Yup.
  3                       JUDGE MORAN:          Mr. Spears.
  4                       THE WITNESS:          Gage Wheeler and Jordan
  5       Tidaback.
  6                       JUDGE MORAN:          Oh, and Jordan Tidaback.
  7       Okay.      And how do you know it wasn't Russell
  8       Tidaback?
  9                       THE WITNESS:          How do I know it wasn't or
 10       it wasn't?
 11                       JUDGE MORAN:          How do you know it was
 12       Jordan as opposed to her father?
 13                       THE WITNESS:          Oh, I don't know whether
 14       it was Jordan.           I'm saying in the blue box, from
 15       what I'm -- the way I reading it, it was Russell
 16       in the blue box talking.
 17                       JUDGE MORAN:          How do you know that
 18       versus some other Tidaback?                   It's just a guess?
 19                       THE WITNESS:          Yeah, I mean, I don't 100
 20       percent sure and I don't know why the names are
 21       blocked off, because all of our Teams messages had
 22       our initials with a picture or whatever beside it.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 278    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 160


  1                       JUDGE MORAN:          Okay.      Thank you.         Go
  2       ahead, Attorney O'Reilly.
  3                       BY MS. O'REILLY:
  4               Q       Mr. Baumann, it's your understanding
  5       that we received these Teams messages during
  6       discovery from Respondent in this case?
  7               A       Yes.
  8               Q       When you were using Microsoft Teams
  9       regularly as part of your job, did you understand
 10       that your messages would show up as blue and these
 11       other messages would be the gray or white?
 12               A       Yes.
 13               Q       Okay.      So would it make sense that if
 14       Mr. Tidaback was the one who produced these
 15       documents that his messages would be the ones that
 16       are blue?
 17               A       Would have been in the blue, yes.
 18               Q       And after you were terminated from Mr.
 19       -- I mean, from American Tripoli, after employees
 20       were terminated from American Tripoli, were they
 21       removed from Teams chat?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 279    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 161


  1               Q       And these Teams messages were pulled
  2       during the time of this litigation after Gage
  3       Wheeler was no longer employed.                     Is that possibly
  4       why he may have shown up as an unknown user?
  5               A       Maybe.      I'm assuming so, yes.
  6                       MS. O'REILLY:           I move to admit Exhibit
  7       P9 into evidence.
  8                       JUDGE MORAN:          Attorney O'Reilly, P9 was
  9       through discovery you received this from American
 10       Tripoli.        Correct?
 11                       MS. O'REILLY:           Correct.
 12                       JUDGE MORAN:          Do you have any objection
 13       to P9?
 14                       MR. TIDABACK:           Is P9 and P10 the same --
 15       or excuse me, P9 and P7.                 I'm sorry.         No, P8 and
 16       P9 are the same, so P9, no objection from me, Your
 17       Honor.
 18                       JUDGE MORAN:          Okay.      So P8 was
 19       previously admitted and P9 is admitted now.
 20                       MR. TIDABACK:           Okay.      Because P8 is P9,
 21       just so we're good.
 22                               (Complainant's Exhibit P-9 was


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 280    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 162


  1                               marked for identification and
  2                               received in evidence.)
  3                       JUDGE MORAN:          I don't know if it's one
  4       to one, and if that's important then one side or
  5       the other, I mean, they look -- they're not
  6       identical one page exhibits.                    P8 may have
  7       duplicate -- duplicate material in P9, but they're
  8       both admitted.           Go ahead.
  9                       BY MS. O'REILLY:
 10               Q       And, Mr. Baumann, just to clarify for
 11       the record, on P8, this is taken at a screen shot
 12       from your phone while you were still employed.
 13       Correct?
 14               A       Yes, ma'am.
 15               Q       And this shows that Russell T was part
 16       of this Teams message that we're seeing more fully
 17       in P9?
 18               A       Yes.
 19               Q       And after you were terminated from
 20       American Tripoli, you no longer had access to
 21       Teams messages?
 22               A       No, ma'am.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 281    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 163


  1               Q       So during this litigation you couldn't
  2       have gone in and got the rest of this message that
  3       you had from P8?
  4               A       No.
  5               Q       So the first message in P9 contains the
  6       message at 6:35 a.m. that we previously discussed
  7       in P8.      Correct?
  8               A       Correct.
  9               Q       And then, almost four hours later, Don
 10       Spears says at 10:13 a.m., "I understand.                           I
 11       should have been more specific about not
 12       volunteering information.                  I will escort the
 13       inspector."         Did I read that correct?
 14               A       Yes.
 15                       JUDGE MORAN:          But I'm lost as to where
 16       are you reading from, which exhibit and where?
 17                       MS. O'REILLY:           P9, the second message on
 18       that page.
 19                       JUDGE MORAN:          Okay.      Thank you.         Okay.
 20       Go ahead.
 21                       BY MS. O'REILLY:
 22               Q       What did you understand not volunteering


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 282    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 164


  1       information to mean?
  2               A       Not to speak to the inspectors.
  3               Q       Did you understand that you weren't
  4       supposed to be pointing out issues to the
  5       inspectors?
  6               A       Yes.
  7               Q       Had you received messages like that
  8       before?
  9               A       Yes.
 10               Q       While working at American Tripoli?
 11               A       Yes.
 12               Q       At 10:13 a.m. had you already been
 13       walking around with the MSHA inspector?
 14               A       Yes.
 15               Q       And then toward the bottom of Page 9
 16       there's some blue messages that you had
 17       represented were Mr. Tidaback.                     Correct?
 18               A       Yes.
 19               Q       And at 11:26 a.m. it said "Amen to
 20       that."      Do you see that?
 21               A       Yes.
 22               Q       And then it says, "Oh, well, thanks for


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 283    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 165


  1       just nodding and agreeing with the inspector.
  2       That's all we can do."                Did I read that correct?
  3               A       Yes, you did.
  4               Q       And what did you understand that to
  5       mean?
  6               A       That Gage didn't offer any information
  7       to the inspector, and just nodded and agreed to
  8       the questions or whatever that the inspector said,
  9       is what I am -- the way I am taking it.                          Thanks
 10       for not saying anything to the inspectors.
 11               Q       Was it your understanding that that was
 12       kind of the expectation provided, to just nod and
 13       agree?
 14               A       Yes.
 15               Q       And not offer up any information to
 16       MSHA?
 17               A       Do not offer any information to MSHA.
 18               Q       And that was communicated to you more
 19       than just this message?
 20               A       Yes.
 21               Q       Can we turn to Exhibit P10.                   Do you see
 22       this message?           Do you know what this document is?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 284    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 166


  1               A       This is more Teams messages.
  2               Q       Does it appear to be a continuation of
  3       the communication from Exhibit P9?
  4               A       Yes, it does.
  5               Q       So you would have been part of this chat
  6       group and received these messages?
  7               A       Yes.
  8               Q       And so unknown user would still be Gage
  9       Wheeler here.           Is that correct?
 10               A       Yes, it would be.
 11               Q       And these blue messages you still would
 12       understand those to be Russell Tidaback?
 13               A       Yes.
 14               Q       And I think you testified earlier that
 15       Jordan Tidaback may have been in this Teams chat,
 16       too?
 17               A       Yes.
 18               Q       Do you see her message clear down below?
 19               A       At the bottom, yes.
 20               Q       Does that further support your
 21       understanding that the blue messages were Russell
 22       Tidaback?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 285    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 167


  1               A       Yes.
  2               Q       Because there was no one else it could
  3       have been at that point.                 Right?
  4               A       No.
  5               Q       Because you were not --
  6               A       Not me.       It was not me making -- making
  7       any messages, so it would have had to have been
  8       the other.
  9               Q       And then do you see a message from
 10       Jordan Tidaback at the bottom, at 11:49 a.m.?
 11               A       Yes.
 12               Q       And at the beginning it states, "Hi,
 13       Gage.       We spoke with John about that.                    You are
 14       absolutely allowed to answer questions the MSHA
 15       inspector has (obviously).                  I think John may have
 16       meant don't just go up to him and point out
 17       everything under the sun.                  We've had people doing
 18       that, knowing very well it's an issue being worked
 19       on."     Did I read that correct?
 20               A       Yes, you did.
 21               Q       What did you understand that message to
 22       mean?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 286    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 168


  1               A       To not just, yet again, not to volunteer
  2       any information to the MSHA people.
  3               Q       And do you recall any incident where
  4       somebody has gone around and pointed out issues?
  5               A       Yes.
  6               Q       Could you explain that?
  7               A       There was a maintenance and a safety
  8       person, miners back in, I believe it was around
  9       November and December.                There's just be so many,
 10       but anyway, they were walking around and they had
 11       started asking the inspectors and stuff about
 12       spots on the floor, different electrical issues,
 13       and it got brought up that they had spoke to them
 14       and not to speak to the MSHA inspectors like they
 15       did.
 16               Q       And what happened to those miners?                       Do
 17       you know, are they still employed?
 18               A       No, they are not.
 19               Q       Were they terminated?
 20               A       Yes.
 21               Q       Do you know when they were terminated?
 22               A       Right after that.             I mean, within a


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 287    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 169


  1       month, I believe, of being -- of all of that stuff
  2       going on, or maybe a few weeks.
  3               Q       Do you know what those miners' names
  4       were?
  5               A       Carson Allman and Terry Neuber.
  6               Q       I'm going to turn to Exhibit P13.
  7                       JUDGE MORAN:          You didn't move to admit.
  8                       MS. O'REILLY:           Thank you.         I would move
  9       to admit Exhibit P10.
 10                       JUDGE MORAN:          This was an exhibit you
 11       received in discovery from the respondent?
 12                       MS. O'REILLY:           Correct.
 13                       JUDGE MORAN:          Have any objection?               Okay.
 14       Thank you.         P10 is admitted.
 15                               (Complainant's Exhibit P-10 was
 16                               marked for identification and
 17                               received in evidence.)
 18                       BY MS. O'REILLY:
 19               Q       Now I'll move on to Exhibit P13.
 20               A       Okay.
 21               Q       Have you seen this document before?
 22       There's multiple pages.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 288    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 170


  1               A       Oh.     Yeah.      Let me look through here to
  2       make sure that --
  3                       JUDGE MORAN:          Multiple pages, huh?
  4       That's an understatement.
  5                       THE WITNESS:          Yeah.
  6                       JUDGE MORAN:          This Exhibit P -- proposed
  7       Exhibit P13 goes for 467 pages.
  8                       MS. O'REILLY:           Correct.
  9                       JUDGE MORAN:          Was this also received
 10       from the Respondent in discovery?
 11                       MS. O'REILLY:           Yes, Your Honor.
 12                       JUDGE MORAN:          All 467 pages?
 13                       MS. O'REILLY:           Yes.     I put in totality.
 14                       JUDGE MORAN:          This is an entirely, all
 15       467 pages are received from American Tripoli?
 16                       MS. O'REILLY:           Yes.     As one document.
 17       That's all.
 18                       JUDGE MORAN:          Yes.
 19                       BY MS. O'REILLY:
 20               Q       Yes.
 21               A       Yes, these are more teams messages.
 22               Q       And do these appear to be records of


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 289    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 171


  1       Teams messages like the messages that you sent and
  2       received while you were employed by American
  3       Tripoli?
  4               A       Yes.
  5               Q       And is it your understanding that only
  6       employees and owners of American Tripoli engaged
  7       in Teams messages at American Tripoli?
  8               A       Yes.
  9                       MS. O'REILLY:           I'm going to move to
 10       admit Exhibit P13 into evidence.
 11                       MR. TIDABACK:           No objection.
 12                       JUDGE MORAN:          Harkening back to my
 13       remark earlier, hopefully, but it's up to you,
 14       there will only be some pages that you need for me
 15       to focus on with this witness and you'll identify
 16       those pages for me, and then in your post hearing
 17       brief you'll tell me why those pages are important
 18       in this proceeding.
 19                       MS. O'REILLY:           Yes, Your Honor.
 20                       JUDGE MORAN:          How many pages are you
 21       going to look at?
 22                       MS. O'REILLY:           Multiple, but not all


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 290    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 172


  1       four hundred.           Not even a hundred.
  2                       JUDGE MORAN:          Not even a hundred.               Okay.
  3       Go ahead.
  4                       BY MS. O'REILLY:
  5               Q       Please go to Page 55 of this document in
  6       P13.
  7               A       Okay.
  8               Q       Do you see a message from you to Russell
  9       Tidaback on February 14th at 12:39 p.m. towards
 10       the top of the page?
 11               A       Yes.
 12               Q       And it states, "MSHA inspector told me
 13       to lock the doors and no one was allowed in until
 14       he okayed it."           Did I read that right?
 15               A       Yes.
 16               Q       What was this in reference to?
 17               A       This was the time that -- I can go -- I
 18       wasn't involved, but the time before this
 19       inspector had been there and written a bunch of
 20       warnings and citations that were supposed to be
 21       fixed, and showed back up and nothing had been
 22       done.       And then I think he even gave us a few more


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 291    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 173


  1       days and he showed back up, and this would be the
  2       day that nothing had been touched or fixed that he
  3       had written about, and said, no, all you guys are
  4       not allowed in the building until we get this
  5       figured out.
  6               Q       And that was in reference to MSHA's
  7       citations that had previously been issued that
  8       were not --
  9               A       Yes, ma'am.
 10               Q       And you were participating in this MSHA
 11       inspection on February 14th.                    Correct?
 12               A       Yeah.      This one I was, yeah.
 13               Q       And if you go back to Page 54.                     At the
 14       bottom of the page there's another message from
 15       you on February 14th, at 1:13 p.m., and it states,
 16       "IDK.       This guy is out for blood.                  We are removing
 17       product from the floor now."                    Did I read that
 18       correct?
 19               A       Yes.
 20               Q       What did you mean by this?
 21               A       Whenever he had came in, he expressed
 22       that he was very unhappy that nothing had been


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 292    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 174


  1       done that we were supposed to be doing.                          I asked
  2       him, you know, hey, what do we need to be doing to
  3       make this right so you're not, you know, and he
  4       was talking about some product that was on the
  5       floor in front of an electrical box and then an
  6       oil dam that was underneath the tube mill.
  7               Q       So at some point during this inspection
  8       you learned that there had been prior citations
  9       that had never been abated?
 10               A       Yes.     Yes.      I thought, man, this guy is
 11       a -- not a very nice guy and then --
 12                       JUDGE MORAN:          Meaning this guy meaning
 13       the MSHA inspector?
 14                       THE WITNESS:          The MSHA inspector, yes.
 15       And then later he said, well, you know, I had
 16       asked him to get these citations.                       I had given him
 17       plenty of time to get this product off the floor
 18       and get the oil dam removed and some other stuff
 19       done, some guarding and stuff I believe it was.
 20       And that's when he informed me that he had been
 21       there and told them to do that, and I said, well,
 22       I wasn't aware of any citations that were written.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 293    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 175


  1       And he said, well, where do they post them?                             And I
  2       said, that's a good question.                    They weren't
  3       posted, and then that's when I learned that they
  4       were legally supposed to post all their violations
  5       for the employees to see and to -- so that then,
  6       this is kind of the initial of me really getting
  7       involved.
  8                       BY MS. O'REILLY:
  9               Q       So initially you were frustrated with
 10       the inspector?
 11               A       Oh, yeah.        Yeah.      I thought we're coming
 12       in here just to shut us down.                    They're being, you
 13       know, not nice.
 14               Q       And then later were you frustrated with
 15       American Tripoli because you found out about all
 16       these citations --
 17               A       Yeah.
 18               Q       -- that hadn't been fixed?
 19               A       Yes.     I'm not sure, but I believe at
 20       that time there was 22 violations that needed to
 21       be fixed pretty quickly, and I didn't know
 22       anything about it.              And I told him, I said, I feel


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 294    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 176


  1       bad.     I said, makes me look bad because nothing
  2       had been done.
  3               Q       But you had no knowledge to get anything
  4       done.       You didn't know about those issues?
  5               A       I had no knowledge.              That's when I
  6       learned they were supposed to post violations when
  7       they got them, and then yeah, nothing was ever
  8       said to us about getting any of the stuff done.
  9               Q       And a little further up on the same
 10       page, I think the third chat down there's a
 11       message from Russell Tidaback dated February 18th
 12       at 12:05 a.m.           Do you see that?
 13               A       Yes.
 14               Q       And it says, "John Spears, Robert
 15       Baumann, I need to you two gentlemen over this
 16       weekend to think about what transpired with MSHA
 17       starting Monday.            Make some notes initially on
 18       things you remember as next week I will need you
 19       to put the pieces together into a formal
 20       statement.         What happened Monday should not have
 21       happened."         Did I read that correct?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 295    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 177


  1               Q       Do you know what transpired with MSHA on
  2       Monday that this may be referring to?                         What did
  3       you understand this to be?
  4               A       I believe it was all week.                  This is
  5       whenever, on the 14th inspection, and then they
  6       started -- because nothing had been done.                           That's
  7       when one of the things they said was shut the
  8       doors or whatever, and Russell said -- wanted to
  9       know why they came in and shut the doors.                           And he
 10       was asking me and John to think about, I really
 11       don't know, to plot against it.                     I really honestly
 12       didn't -- I didn't even think about it, to be
 13       honest with you.            The inspector came in and the
 14       stuff wasn't fixed, he shut us down.
 15               Q       Did anything other than the inspection
 16       occur on Monday, that you can think of?
 17               A       Not that I knew.
 18               Q       Did you prepare notes on this?
 19               A       No.
 20               Q       And why not?
 21               A       I knew we were in the wrong.
 22               Q       And by we, you mean American Tripoli?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 296    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 178


  1               A       Yes.
  2               Q       Because American Tripoli had not fixed
  3       the citation?
  4               A       Yes.
  5               Q       And were you embarrassed by that?
  6               A       Yes.
  7               Q       I'm going to turn to Exhibit P26.
  8                       JUDGE MORAN:          26?     26?
  9                       MS. O'REILLY:           Yes.     Was P13 admitted?
 10                               (Complainant's Exhibit P-13 was
 11                               marked for identification and
 12                               received in evidence.)
 13                       JUDGE MORAN:          One second.          P13.     Yes.
 14       Was -- it's about Pages 54 and 55.                       So are you
 15       now, on P26, sir?
 16                       THE WITNESS:          Yes.
 17                       MS. O'REILLY:           And I'll usurp that.
 18       We'll have a witness that can testify as to the
 19       authenticity and foundation of the exhibit, the
 20       inspections.          I was just going to have him refer
 21       to a note here before we do that.
 22                               (Complainant's Exhibit P-26 was


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 297    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 179


  1                               marked for identification and
  2                               received in evidence.)
  3                       BY MS. O'REILLY:
  4               Q       I think if you turn to Page 10 of P26.
  5               A       Okay.
  6               Q       And do you see a date at the top of
  7       March 1st, 2023?
  8               A       Yes.
  9               Q       Okay.      And then could you turn to Page
 10       11.
 11                       JUDGE MORAN:          11?
 12                       MS. O'REILLY:           Yes.
 13                       BY MS. O'REILLY:
 14               Q       And if you look at the bottom of Page
 15       11, there's some handwritten notes.                        They appear
 16       to say "Rob Baumann came into the office and said
 17       the feed elevator guard had fell off and come
 18       within 15 of hitting him on the ground.                          The guard
 19       fell off from at 40 feet."                  Do you see that?
 20               A       Yes.
 21               Q       Do you recall what this is -- this event
 22       is talking about?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 298    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 180


  1               A       Yes.     I was making my rounds, looking
  2       at, inspecting the stuff, and the guard, I believe
  3       it -- it originated a shaft broke on top of the
  4       flour elevator, and it broke the guard off and it
  5       came and landed down by me.
  6               Q       Okay.      It did not hit you?
  7               A       No.
  8               Q       Was it close to hitting you?
  9               A       Yes.
 10               Q       And do you recall, do you recall who you
 11       reported that issue to?
 12               A       Yes.
 13               Q       Who?
 14               A       Russell Tidaback.             He was in -- in with
 15       MSHA inspectors at the time.
 16               Q       So you reported it to both of them?
 17               A       Yes.
 18               Q       How did Mr. Tidaback react?
 19               A       He blew it off.            Ignored it.
 20                       JUDGE MORAN:          What do you base that on?
 21                       THE WITNESS:          I would have expected him
 22       to jump right up and make sure I was okay and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 299    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 181


  1       stuff like that, and he did not.                      Wanted to know
  2       what had happened, what broke, and eventually came
  3       out to see what the problem was.
  4                       MS. O'REILLY:           Are you done with that?
  5                       JUDGE MORAN:          Well, no, actually I was
  6       going to ask you about, I take it that P26 are
  7       MSHA inspectors notes?
  8                       MS. O'REILLY:           Yes, Your Honor.
  9                       JUDGE MORAN:          Okay.      And absent Mr.
 10       Tidaback stipulating to their admission, you're
 11       going to wait to admit this through another
 12       witness who can identify these pages?
 13                       MS. O'REILLY:           Correct.
 14                       JUDGE MORAN:          And do you stipulate, you
 15       don't have to, I'm just asking if you're going to
 16       stipulate to P26?
 17                       MR. TIDABACK:           I do not, Your Honor.
 18                       JUDGE MORAN:          You do not.          Okay.      I just
 19       wanted to note that so we're clear.                        Okay.      Go
 20       ahead.
 21                       BY MS. O'REILLY:
 22               Q       And what -- you mentioned a guard fell


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 300    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 182


  1       down.       Do you know what that issue was, what
  2       happened there?
  3               A       I honestly don't remember fully.                      I
  4       think that a shaft actually broke and it broke the
  5       bolts off the -- off the guard itself and popped
  6       it up, popped it way up in the air and it fell
  7       off, landed by me.
  8               Q       Do you know if that guard had been
  9       having any issues prior to this incident?
 10               A       Yes.     We had been hearing noises from
 11       the elevator themselves.
 12               Q       Did you ever raise concern about those
 13       noises?
 14               A       Yes.
 15               Q       To who?
 16               A       John Spears.
 17               Q       And that was prior to this incident?
 18               A       Yes.
 19               Q       And did John Spears say anything when
 20       you raised that issue?
 21               A       That we would look at it at our next
 22       maintenance day.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 301    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 183


  1               Q       Did it get looked at the next
  2       maintenance day?
  3               A       No.
  4               Q       After you started participating in MSHA
  5       inspections in February, were you more aware of
  6       the safety issues around the mine?
  7               A       Yes.
  8               Q       Is that because you spoke to MSHA about
  9       MSHA standards?
 10               A       Yes.
 11               Q       In turn, did this start make -- make you
 12       start raising more safety issues to management at
 13       American Tripoli?
 14               A       Yes.
 15               Q       And why did you do that?
 16               A       Most of it was actually just to get us
 17       in compliance so we could run through MSHA.
 18               Q       Were you also concerned about safety?
 19               A       Oh, yes.
 20               Q       Before your MSHA inspection, before
 21       participating in MSHA inspections did you know how
 22       dangerous silica dust was?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 302    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 184


  1               A       I knew it was dangerous, but not to the
  2       extent of what I learned.
  3               Q       Did you start raising dust issues to
  4       management?
  5               A       Yes.
  6               Q       Did you do that frequently?
  7               A       Yes.
  8               Q       And who would you raise those issues to?
  9               A       John Spears.
 10               Q       And about how many times would you say
 11       you raised dust issues to John Spears in your
 12       employment?
 13               A       My total employment or just that one
 14       time?
 15               Q       Let's say your total employment.
 16               A       Between inside and outside, at least 15
 17       or 20.
 18               Q       And outside, are you referring to the
 19       issues with the sheriff about the --
 20               A       Yes.
 21               Q       -- dust going out into the community?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 303    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 185


  1               Q       Not just talking about dust issues, but
  2       any safety issues, how many times would you say
  3       you raised safety concerns to Mr. Spears in the
  4       two months before your termination?
  5                       COURT REPORTER:            I think it froze again.
  6       I'm not seeing any response or movement.                           If you
  7       answered, I didn't get any of the answer.
  8                       JUDGE MORAN:          Thank you for
  9       interjecting.           So she did not -- you'll have to
 10       repeat your answer.
 11               A       Okay.      At least ten times.
 12                       JUDGE MORAN:          Are we having problems
 13       still?
 14                       THE VIDEOGRAPHER:             No, I think we're
 15       good.
 16                       THE WITNESS:          Are we, Court Reporter?
 17                       COURT REPORTER:            No, I think we're fine.
 18       No, actually it looks like he froze again.                            Oh,
 19       he's moving.          I can see him moving.
 20                       THE WITNESS:          Are we good now?
 21                       COURT REPORTER:            We're good now.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 304    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 186


  1                       BY MS. O'REILLY:
  2               Q       Okay.      When you mentioned you raised
  3       complaints to Mr. Spears, did you raise those in
  4       person?
  5               A       Yes.     Most of them.
  6               Q       Did you sometimes raise them in Teams?
  7               A       Yes.
  8                       JUDGE MORAN:          So I take it, tell me if
  9       I'm correct about this, because of Teams, am I
 10       correct that you wouldn't or did not issue a piece
 11       of paper, write something down and hand it to Mr.
 12       Spears or Seers?
 13                       MR. O'REILLY:           Yeah, Spears.
 14                       JUDGE MORAN:          Spear.       You didn't hand
 15       him a piece of paper.               If you communicated with
 16       him, was either in person or through Microsoft
 17       Teams.      Is that fair?
 18                       THE WITNESS:          That is fair.
 19                       JUDGE MORAN:          So you didn't have any
 20       protocol where you give him a piece of paper and
 21       write out guard fell from 40 feet.                       You didn't do
 22       that?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 305    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 187


  1                       THE WITNESS:          No.
  2                       JUDGE MORAN:          Okay.      Go ahead.
  3                       BY MS. O'REILLY:
  4               Q       Did you ever raise any safety concerns
  5       to Mr. Tidaback?
  6               A       There was maybe a few discussions on
  7       Teams, especially about the guys were stacking ten
  8       high on a hundred pound bags, and I think maybe he
  9       got involved in on some of that on Teams maybe.
 10               Q       And you were raising concerns about
 11       stacking bags too high?
 12               A       Yes.
 13               Q       What was your concern with that?
 14               A       The guys that came to me after we
 15       started, because we had only been going five high
 16       and there were some orders for ten high and the
 17       guys were concerned about their safety lifting
 18       hundred pound bags that high.                    So I brought it up
 19       to John Spears and he said, well, you know, that's
 20       just what the order calls for.                     We got to do what
 21       we gotta do.          So we had had an MSHA inspection
 22       during that time.             Sometime -- we had them all the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 306    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 188


  1       time at that time, but anyway, I brought it -- I
  2       asked the MSHA inspector what his opinion was on
  3       asking the guys to stack a hundred pound bags ten
  4       high was, and he said it's totally fine if there
  5       is a safe way to do it.
  6               Q       And how heavy were those bags?
  7               A       A hundred pounds.
  8               Q       And if you had to stack them ten high,
  9       about how high would that stack be?
 10               A       Approximately six foot.
 11               Q       And how tall are you?
 12               A       Six foot.
 13               Q       So you'd have to raise it over your
 14       head?
 15               A       Yes.
 16               Q       And did that safety -- did that issue
 17       get resolved while you were still employed with
 18       American Tripoli?
 19               A       We just started going five high and
 20       double stacking while I was there, because I told
 21       them that I wasn't going to make the guys do ten
 22       high because they couldn't -- they didn't have


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 307    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 189


  1       anything to lower -- to do it to where they could
  2       do it safely.
  3               Q       Were you ever told that -- were you ever
  4       told from anyone in American Tripoli management
  5       that they were not going to fix safety issues you
  6       raised?
  7               A       Yes.
  8               Q       Can you give an example?
  9               A       The oil -- there was a dam underneath
 10       the tube mill that was made of material, tripoli,
 11       and we oiled the tube mill, just pouring it down
 12       in a tube to where it would get on the gears.                              So
 13       the oil ran down and it damned up underneath the
 14       tube mill.         And MSHA had -- and I would have never
 15       thought about it, but MSHA wrote a citation on it
 16       saying it was a fire hazard, the oil being damned
 17       up.     There was no way of removing it, or not
 18       cleaning it up, you know.                  And I multiple times
 19       tried to clean the oil and get the dam and was
 20       told we're not doing that.
 21               Q       And with that, did that occur at some
 22       point after the 2023 inspection you participated


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 308    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 190


  1       in?
  2               A       Yes.
  3               Q       Sometime in the last few months of your
  4       employment?
  5               A       Yes.     And then there was product on the
  6       floor in front of an electrical thing, so I had
  7       started sweeping.             We had started sweeping and
  8       cleaning it up and got told we're not doing that.
  9       We're going to reuse it.                 We're going to put it
 10       back in.        I said, well, the MSHA inspector said
 11       that it needed to be -- needed to be not where it
 12       is because it's covering that entranceway to an
 13       electrical box.
 14               Q       And when did you raise that issue?                       Do
 15       you recall?
 16               A       Within -- within two months of getting
 17       fired.
 18               Q       Let's go back to Exhibit P13.                    And I'll
 19       have you turn to Page 31.                  That will be Volume 1.
 20                       JUDGE MORAN:          Okay.      P13.      What page?
 21                       MS. O'REILLY:           31.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 309    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 191


  1                       BY MS. O'REILLY:
  2               Q       At the bottom of Page 31 do you see a
  3       message from yourself, Robert Baumann, on March
  4       15th at 5:07 p.m.?
  5               A       Yes.
  6               Q       And looks like you sent this message in
  7       the mill group chat.               Do you see that?
  8               A       Yes.
  9               Q       Does that mean this message would have
 10       gone to all the employees in the mill group chat?
 11               A       To everyone, yes.
 12               Q       And when you say everyone, was everyone
 13       part of the mill group chat?
 14               A       Yes.
 15               Q       All the mill employees?
 16               A       All the mill employees and everyone,
 17       yes.
 18               Q       Was Mr. Tidaback part of the mill group
 19       chat?
 20               A       Yes.
 21               Q       Was Mr. Spears?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 310    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 192


  1               Q       And this message reads -- looks like
  2       there's a captured photo that didn't come through.
  3       Right?
  4               A       Yes.
  5               Q       And then it reads, "Sweeping up by
  6       palletizer and we have live wires coming through
  7       the floor.         Sparked through the broom, shutting
  8       this area off."            Did I read that correct?
  9               A       Yes, you did.
 10               Q       And then toward the top of the page you
 11       say, at 5:35 p.m., again in the mill group chat,
 12       "John Spears, I wonder how long it's been like
 13       that.       I will cut power to the whole building in
 14       the morning and solve the issue.                      I'm just
 15       thankful no one stepped on it."
 16               A       Yes.
 17               Q       Do you see that?
 18               A       Yes.
 19               Q       Were you concerned somebody was going to
 20       get hurt with this issue?
 21               A       Well, yes.
 22               Q       Is that why you wanted to cut the power?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 311    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 193


  1               A       Yes.
  2               Q       Why did you want to cut power to the
  3       whole building?
  4               A       Because none of the breakers were
  5       labeled, so we didn't know what was energizing
  6       that wire.         You couldn't tell where it was going
  7       into what.
  8               Q       So the only way to be sure that you'd
  9       shut down the right breaker would be to shut down
 10       the whole building?
 11               A       Yes.
 12               Q       Then if you go to Page 30.
 13                       JUDGE MORAN:          Before you go to Page 30,
 14       though, let me just ask a question.                        Do you
 15       remember on Page 31, you just read on the entry
 16       for 5:07 p.m.           You see that one?             It's almost at
 17       the very bottom.
 18                       THE WITNESS:          Yes.
 19                       JUDGE MORAN:          Okay.      Am I correct it
 20       reads, "And we have live wires coming through the
 21       floor, sparked through the broom."
 22                       THE WITNESS:          Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 312    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 194


  1                       JUDGE MORAN:          What does that mean,
  2       sparked through the broom?                  What are you talking
  3       about?
  4                       THE WITNESS:          The mine associate was
  5       sweeping the product, the tripoli, because it's
  6       like a powder, but it's also a conductor.                           And
  7       went across -- there was a wire that had been, for
  8       I don't know how many years.                    It had probably been
  9       there for years and he just hit it just right with
 10       that broom and it -- and it burnt up through the
 11       broom and sparked.              So we kind of, you know,
 12       brushed the stuff away from it, and you can see
 13       the wire that had been cut off totally even with
 14       the wooden floor.
 15                       JUDGE MORAN:          Okay.      Thank you.         Now
 16       what page did you want to go to?
 17                       MS. O'REILLY:           Page 30.        Just the page
 18       before.
 19                       THE WITNESS:          Yes.
 20                       BY MS. O'REILLY:
 21               Q       And this message is at -- is from
 22       Russell Tidaback.             Correct?        The second message on


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 313    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 195


  1       this page.
  2               A       Yes.
  3               Q       And it says March 16th at 6:24 a.m.?
  4               A       Yes.
  5               Q       And it says, "Robert Baumann.                    Robert
  6       Baumann, we don't need to shut the building down.
  7       Tape off the area so no one can step on it or near
  8       it."     Did I read that correct?
  9               A       Yes.
 10               Q       What did you end up doing with the live
 11       wire that you found?
 12               A       I put caution tape around a pretty good
 13       area around it, and brought it -- brought it up.
 14       I don't know.           It took about two weeks finally and
 15       then we got a maintenance partner that was smart
 16       on electricity.            He was able to isolate where the
 17       power that was going to it, so he shut it off and
 18       we removed it."
 19               Q       And I guess just to clarify, did you
 20       understand this to be the response from Mr.
 21       Russell Tidaback to the issue about the live wire
 22       you raised on Page 31?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 314    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 196


  1               A       Yes.
  2                       JUDGE MORAN:          That's helpful.
  3                       BY MS. O'REILLY:
  4               Q       And so you ended up following this
  5       advice and just taping off the area rather than
  6       shutting down the plant like you wanted to?
  7               A       Yes.
  8               Q       Did you feel like keeping the power
  9       going to these live wires was a safe solution to
 10       this problem?
 11               A       No.
 12               Q       Is this typical of the type of responses
 13       you would get to raising safety issues at the
 14       mine?
 15               A       Yes.
 16               Q       Were you often just told to do something
 17       in response to a safety concern that did not
 18       actually fix the issue at hand?
 19               A       Yes.
 20               Q       And you mentioned this live wire stuck
 21       around like this for about two weeks?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 315    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 197


  1               Q       And this was on March 15th and 16th of
  2       2023 when this was first kind of addressed.
  3       Correct?
  4               A       Yes.
  5               Q       About a month before you were
  6       terminated?
  7               A       Yeah.
  8               Q       Did you ever raise other electrical
  9       concerns to Mr. Spears or Mr. Tidaback?
 10               A       Yes.
 11               Q       When did you raise those?
 12               A       Off and on throughout, but mostly the
 13       past two months prior up to the time of me getting
 14       terminated.
 15               Q       About how many electrical issues did you
 16       raise, do you think did you raise?
 17               A       At least four or five, six.                   I mean,
 18       there was just so many different instances with
 19       stuff it's hard to.
 20               Q       And how did they respond when you raised
 21       those electrical safety issues?
 22               A       Usually just ignored it.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 316    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 198


  1               Q       They usually ignore a lot of your safety
  2       concerns that you raised?
  3               A       Yes.
  4               Q       And when you say ignored it, did they
  5       just not respond or what do you mean?
  6               A       They just wouldn't respond.
  7                       JUDGE MORAN:          So I will interject again.
  8       When you said that there were like four or so
  9       other occasions.
 10                       THE WITNESS:          Yeah.
 11                       JUDGE MORAN:          Do you happen to recall
 12       the specifics of any of those four?
 13                       THE WITNESS:          There was one really
 14       specific one.           So the bagger, it bags.                 It shoots
 15       product into a hundred pound bags.                       They had had
 16       multiple problems.              It started giving them
 17       problems, and Mr. Tidaback and Mr. Spears were
 18       telling the gentlemen, the mill associates to run
 19       it.     The electrical box was open with a jump wire
 20       across it, and they were telling them to run it
 21       like that, running a little toggle manual switch.
 22       And I brought that up multiple times to both of


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 317    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 199


  1       them.
  2                       JUDGE MORAN:          And do you remember what
  3       -- did they respond to you, or did they -- when
  4       you brought that up to their attention, what, if
  5       anything, did they say to you about that specific
  6       issue?
  7                       THE WITNESS:          That specific issue was
  8       that they were trying -- they were -- naturally,
  9       they were working on the bagger, and John just
 10       told me to put caution tape around it, but they
 11       were still, the mill workers were still told to
 12       break that barrier to go in there to try and run
 13       the product.
 14                       JUDGE MORAN:          And do I understand your
 15       testimony correctly that the temporary solution
 16       was to toggle the switch on and off?
 17                       THE WITNESS:          Yes.      There was -- it's
 18       kind of hard to explain, but the bag clicks on and
 19       it was running this perimeter switch that would
 20       tell the product to go into the bag, and yeah,
 21       they would -- they would just put the bag on
 22       there, and there was a switch that you could


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 318    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 200


  1       override, put there and then you had to watch the
  2       scale, and they were trying to get bags out that
  3       way.
  4                       JUDGE MORAN:          Okay.      Thank you.         Go
  5       ahead, Attorney O'Reilly.
  6                       BY MS. O'REILLY:
  7               Q       I'm going to turn to Exhibit P2.
  8                       JUDGE MORAN:          How's my court reporter
  9       doing?
 10                       COURT REPORTER:            Just fine.
 11                       JUDGE MORAN:          Thank you.
 12                       BY MS. O'REILLY:
 13               Q       Do you have the document P2?                    Sorry.
 14               A       Yes.     I'm there.
 15               Q       Do you know what this document is?
 16               A       The discrimination complaint.
 17               Q       P2?
 18                       JUDGE MORAN:          You have to guess again.
 19       On the top of the page there's a hint.
 20               A       Okay, yeah.         Reset Form.
 21                       JUDGE MORAN:          Well, it wasn't that.
 22                       THE WITNESS:          This is the paper where I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 319    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 201


  1       was elected to be the miners rep.
  2                       BY MS. O'REILLY:
  3               Q       And is this the Miners Representative
  4       Form you filled out?
  5               A       Yes.
  6               Q       At the bottom, is that your signature?
  7               A       Yes.
  8               Q       And there's a date, 3-21-2023?
  9               A       Yes.
 10               Q       Is that the date you filled out this
 11       form?
 12               A       Yes.
 13               Q       Is that also the date you signed it?
 14               A       Yes.
 15               Q       Do you see where, in Item 2 towards the
 16       top, it's marked confidential?
 17               A       Yes.
 18               Q       And do you know why that was marked?
 19               A       To keep -- because the miners didn't
 20       want John or Russell knowing who they -- that they
 21       had proposed for me to be the miners rep.
 22               Q       And did they ever tell you why they


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 320    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 202


  1       wanted it to be confidential?
  2               A       They didn't want to get fired.
  3               Q       And I will represent that due to this
  4       confidential marking the Secretary's attorneys
  5       redacted the name so that is going to look
  6       different when I ask you this question, but other
  7       than the redaction, is this a true and accurate
  8       copy of your Miners Representative Form?
  9               A       Yes.
 10                       MS. O'REILLY:           I move to admit Exhibit
 11       P2.
 12                       JUDGE MORAN:          Any objection?
 13                       MR. TIDABACK:           No.     I have to say no.
 14                       JUDGE MORAN:          Okay.      Exhibit P2 is
 15       admitted.
 16                               (Complainant's Exhibit P-2 was
 17                               marked for identification and
 18                               received in evidence.)
 19                       BY MS. O'REILLY:
 20               Q       What did you do with this form after it
 21       was filled out?
 22               A       I gave it to the MSHA inspector.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 321    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 203


  1               Q       And do you know if that would have been
  2       on March 21st, 2023 when you did that?
  3               A       Yes.
  4               Q       And which MSHA inspector did you give it
  5       to?
  6               A       Keith Markeson.
  7               Q       Do you know what happened after this
  8       form was given to Mr. Markeson?
  9               A       I believe he was going to make a copy
 10       and give it to John, and then, you know, get
 11       everything filed for me, and then I kept a copy.
 12               Q       Did you ever tell Mr. Spears that you
 13       were elected a miners representative?
 14               A       No.
 15               Q       Do you know if MSHA ever told Mr. Spears
 16       that?
 17               A       Yes.
 18               Q       After March 21st, 2023, did you start
 19       participating in MSHA inspections as a miners
 20       representative?
 21               A       Yes.
 22               Q       Prior to March 21st, 2023 you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 322    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 204


  1       participated in MSHA inspections, just not as an
  2       official miners representative?
  3               A       Yes.
  4               Q       Did your participation in MSHA
  5       inspections change after you became a miners
  6       representative?
  7               A       Yes.     Naturally, because I was looking
  8       for more -- looking to better the miners there.
  9               Q       And why did you become a -- why did you
 10       become a miners representative?
 11               A       To make sure that I knew that what all
 12       the violations that they were getting and stuff
 13       was and what was being done about them.
 14               Q       Were you concerned about miner safety in
 15       becoming the miners representative?
 16               A       Yes.
 17               Q       Were you hoping through this position
 18       you could help advance miner safety at the mine?
 19               A       Yes.
 20               Q       And you became this miners
 21       representative about three weeks before you were
 22       terminated.         Is that correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 323    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 205


  1               A       Yes.
  2               Q       And after becoming a miners
  3       representative you participated in still multiple
  4       other MSHA inspections before your termination?
  5               A       Yes.
  6                       MS. O'REILLY:           Your Honor, I know out
  7       mentioned a 12:30 break.                 The next part I'm going
  8       to get into is a little bit longer.                        It's several
  9       pages.      I didn't know if you wanted stop now or
 10       you want me to continue.
 11                       JUDGE MORAN:          I think that is wise.
 12       This is a good time to stop.                    We did start a
 13       little after 9:00, so it's been productive,
 14       especially given the more complex arrangement we
 15       have for recording this.                 So court reporter, can
 16       you hear me, I hope?
 17                       COURT REPORTER:            Yes, I can.
 18                       JUDGE MORAN:          We're going to take a
 19       pause.      This is Judge Moran speaking, obviously.
 20       It's 12:26 Central Time.                 We'll begin at 1:25
 21       Central Time.           Will you be available for us, we
 22       hope?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 324    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 206


  1                       COURT REPORTER:            Yes.
  2                       JUDGE MORAN:          Thank you for your
  3       assistance up to now.               Okay?
  4                       COURT REPORTER:            Thank you.
  5                       JUDGE MORAN:          We'll see you in a little
  6       less than an hour.              Yes?
  7                       COURT REPORTER:            Yes.     Thank you.
  8                       JUDGE MORAN:          Okay.      We're off the
  9       record now.
 10                       MS. O'REILLY:           And just to clarify, Mr.
 11       Baumann, we'll still be continuing your testimony
 12       after just so you know to come back.
 13                       JUDGE MORAN:          Let's be careful.             To the
 14       point of being rude, I don't want to see you
 15       talking with anyone and I don't want Mr. Tidaback
 16       to tell me he saw you speaking with someone.
 17       Okay?
 18                       THE WITNESS:          I honestly thought that it
 19       was okay as long as it wasn't about the case.
 20                       JUDGE MORAN:          Now you know it's broader
 21       than that.         It's like you've never met him before,
 22       or don't want to.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 325    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 207


  1                       THE WITNESS:          I honestly didn't --
  2       honestly didn't know or even think about it, Your
  3       Honor.
  4                       JUDGE MORAN:          See you all in 55 minutes.
  5                               (Recess)
  6                       JUDGE MORAN:          All right.         We're back on
  7       the record.         I'll turn it back over to Attorney
  8       O'Reilly.
  9                       BY MS. O'REILLY:
 10               Q       Mr. Baumann, I'll have you turn to
 11       Exhibit P13.
 12                       JUDGE MORAN:          P what?
 13                       MS. O'REILLY:           13.
 14                       BY MS. O'REILLY:
 15               Q       I'll have you turn to Page 27.
 16                       JUDGE MORAN:          What number again?
 17                       MS. O'REILLY:           27.
 18                       BY MS. O'REILLY:
 19               Q       And do you see a message from yourself,
 20       from Robert Baumann on March 21st at the top of
 21       that page?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 326    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 208


  1               Q       Just to clarify, March 21st would be
  2       March 21, 2023.            Correct?
  3               A       Yes.
  4               Q       And it looks like the message was sent
  5       in the mill group text?
  6               A       Yes.
  7               Q       And you testified earlier that would
  8       have included Mr. Tidaback and Mr. Spears?
  9               A       Yes.
 10               Q       And this message said, "Okay.                    So MSHA
 11       seen the ten stacking and said absolutely no.                              So
 12       we will move to next order continuing five high.
 13       Unless Russell Tidaback had a better option.                             They
 14       started without a platform -- they stated without
 15       a platform nothing over waist high"?
 16               A       Yes.
 17               Q       Did I read that correctly?
 18               A       Yes.
 19               Q       And I believe we talked about this
 20       earlier.        Is this the stacking issue that you had
 21       been raising?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 327    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 209


  1               Q       And was this the only time you raised
  2       that issue?
  3               A       No.
  4               Q       Looks like this is also something you
  5       talked with them -- about with them?
  6               A       Yes.
  7               Q       Did anyone ever get hurt stacking bags?
  8               A       I had filled out one incident report.
  9               Q       And when did you do that?
 10               A       I don't remember the exact date, but
 11       there should be a paper on it, and I believe it
 12       was -- it would have been around the time that we
 13       started on the hundred -- or the ten high
 14       stacking.
 15               Q       About when did you start on that ten
 16       high stacking?
 17               A       It would have been probably about a week
 18       prior to this, pretty close to it, or right around
 19       the 3-20 mark.
 20               Q       Okay.      And then can you next turn to
 21       Page 314 of P13.
 22               A       Okay.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 328    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 210


  1               Q       And in the middle of the page do you see
  2       a message from Mr. Tidaback dated March 24th, from
  3       5:42 p.m.?
  4               A       Yes.
  5               Q       And I'm going to read it.                  It states,
  6       "Did all the mill associates get their 40 hours
  7       this week.         If not, John Spears, maybe they will
  8       want to come in and work some hours over the
  9       weekend to get these repaired.                     We don't want to
 10       use production schedule time to do maintenance."
 11       Did I read that correct?
 12               A       Yes.
 13               Q       What did you understand this to mean?
 14               A       That if they -- if the associates did
 15       not get their 40 hours in that week, that they
 16       were going to be asked or told to come in that
 17       Saturday to work on maintenance stuff.
 18               Q       And then what did you understand the
 19       statement about not wanting to use production time
 20       to do maintenance?
 21               A       That we weren't to shut down from
 22       producing to fix things.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 329    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 211


  1               Q       And had you heard statements like this
  2       before?
  3               A       Multiple times.
  4               Q       I'm going to Exhibit P21.
  5               A       Okay.
  6               Q       And we've been talking about the time
  7       period after February 13th, 2023 when you first
  8       started walking around with MSHA during the
  9       inspection.         Right?
 10               A       Yes.
 11               Q       And it looks like, on March 28th, 2023,
 12       another inspection MSHA inspection started.                             Is
 13       that correct?
 14               A       That's correct.
 15               Q       And that one lasted until April 10th of
 16       2023?
 17               A       Yes.
 18               Q       And did you participate in that
 19       inspection as well?
 20               A       Yes.
 21               Q       At that time you would have been a
 22       miners rep participating.                  Correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 330    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 212


  1               A       Yes.
  2                       JUDGE MORAN:          And again, you're on P21.
  3       Right?
  4                       MS. O'REILLY:           Yes.
  5                       JUDGE MORAN:          Okay.
  6                       BY MS. O'REILLY:
  7               Q       And I'm going to have you turn the page
  8       to Exhibit P12.            Do you know what this document
  9       is?
 10               A       Yes.
 11               Q       And you understand this to be discovery
 12       that American Tripoli produced in litigation in
 13       this case?
 14               A       Yes.
 15               Q       And does this appear to be a true and
 16       accurate copy of the discovery American Tripoli
 17       submitted in this case?
 18               A       Yes.
 19                       MS. O'REILLY:           I would move to admit
 20       Exhibit P12.
 21                       JUDGE MORAN:          I'm a little behind you
 22       here.       You're asking him to identify the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 331    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 213


  1       Respondent's Third Interrogatories Answers and
  2       Responses for Production of Documents?
  3                       MS. O'REILLY:           Yes.
  4                       JUDGE MORAN:          Okay.      All right.
  5       Continue.        Do you move to admit?
  6                       MS. O'REILLY:           Yes.     I'd like to move to
  7       admit this exhibit, P12.
  8                       JUDGE MORAN:          Tell me a little bit more.
  9       I want to make sure I understand what I'm looking
 10       at here.        This is not just your request.                     It's
 11       what was produced?
 12                       MS. O'REILLY:           Well, the way -- this is
 13       the way it was produced to us, this one document,
 14       so this is the response and then there are also
 15       Teams messages attached to it, but they were
 16       produced as a document.
 17                       JUDGE MORAN:          Okay.      And, Mr. Tidaback,
 18       I assume you've seen this.                  You have this document
 19       in front of you as well?
 20                       MR. TIDABACK:           Yes, sir.
 21                       JUDGE MORAN:          So it does reflect what
 22       you submitted to the Secretary?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 332    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 214


  1                       MR. TIDABACK:           It appears so, yes.              Your
  2       Honor.
  3                       JUDGE MORAN:          So you have no objection
  4       to this.        Is that right?
  5                       MR. TIDABACK:           No objection.
  6                       JUDGE MORAN:          Okay.      P12 is admitted.
  7                               (Complainant's Exhibit P-12 was
  8                               marked for identification and
  9                               received in evidence.)
 10                       BY MS. O'REILLY:
 11               Q       And looks like at the beginning of this
 12       document there's been discovery responses, and
 13       then starting on Page 9 do you see some more Teams
 14       messages?
 15               A       Yes.
 16               Q       And do these look like copies of Teams
 17       chat messages like the ones you sent and received
 18       while working at American Tripoli?
 19               A       Yes.
 20               Q       And I'm going to have you to turn to
 21       Page 18.
 22               A       Okay.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 333    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 215


  1               Q       And the second message, second Teams
  2       message on Page 18, do you see that it says it's
  3       from you?
  4               A       Yes.
  5               Q       And who do you understand that you to
  6       be?
  7               A       Russell's face by it, so it would be
  8       Russell.
  9               Q       And you mean Mr. Tidaback?
 10               A       Yes.
 11               Q       And it says -- it looks like it's a
 12       message to the ATMO safety.                   Do you see that?
 13               A       Yes.
 14               Q       Were you part of that group?
 15               A       I don't remember -- see, I should have
 16       been.
 17               Q       Okay.      As of March 31st, the date of the
 18       message?
 19               A       Yes.
 20                       JUDGE MORAN:          Can you have him identify
 21       if he knows what ATMO stands for?
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 334    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 216


  1                       BY MS. O'REILLY:
  2               Q       Yeah.      What does ATMO safety stand for?
  3               A       American Tripoli --
  4                       JUDGE MORAN:          Safety what?
  5                       THE WITNESS:          Yeah.      I mean, safety
  6       group.
  7                       JUDGE MORAN:          Okay.      Thank you.
  8                       BY MS. O'REILLY:
  9               Q       And so would this have contained
 10       yourself and then Mr. Tidaback and Mr. Spears?
 11               A       Mr. Molesi.
 12               Q       Because he was the safety employee?
 13               A       Yes.
 14               Q       And this message dated March 31st, "I
 15       will stress with you -- any MSHA inspector is not
 16       your friend.          Anything you say to or in their
 17       presence can," in all caps, "and will be used
 18       against you in court of law.                    Hopefully this will
 19       never be needed, but just be well aware."
 20               A       Yes.
 21               Q       I read that correctly?
 22               A       Yes, you did.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 335    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 217


  1                       JUDGE MORAN:          So let me just -- so I can
  2       appreciate this remark.                 You understand this, Mr.
  3       Baumann, as being a response from Mr. Tidaback to
  4       the safety group?
  5                       THE WITNESS:          Yes.
  6                       JUDGE MORAN:          And again, tell me who's
  7       in the safety group.               Are you?        The safety group
  8       at this point in time on March 31st.
  9                       THE WITNESS:          Yes.
 10                       JUDGE MORAN:          Who else was in the safety
 11       group, if you know?
 12                       THE WITNESS:          To my knowledge, it would
 13       have been Russell, Jordan, John, myself and Jesse,
 14       the safety director at that time.
 15                       JUDGE MORAN:          Okay.      Jesse it sounds
 16       like in the next line, Jesse Molesi?
 17                       THE WITNESS:          Yes.
 18                       JUDGE MORAN:          Okay.      Go ahead, Attorney
 19       O'Reilly.
 20                       BY MS. O'REILLY:
 21               Q       It looks like this message would have
 22       been sent during the time period of an MSHA


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 336    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 218


  1       inspection that we just talked about?
  2               A       Yes.
  3               Q       And was this the first time that Mr.
  4       Tidaback had made comments like this for you?
  5               A       No.
  6               Q       And what did you take this comment to
  7       mean?
  8               A       As a warning not to speak MSHA
  9       inspectors.
 10               Q       And what did you understand used against
 11       you in a court of law to mean?
 12               A       Like MSHA was coming after us as
 13       employees.
 14               Q       And were you ever told that MSHA would
 15       give citations to miners while you worked at
 16       American Tripoli?
 17               A       Yes.
 18               Q       Who told you that?
 19               A       Management.
 20                       JUDGE MORAN:          That's kind of vague.
 21                       THE WITNESS:          Yeah, I mean --
 22                       JUDGE MORAN:          Do you remember who told


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 337    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 219


  1       you something like that?
  2                       THE WITNESS:          Actually, I did directly
  3       hear it from Russell Tidaback.
  4                       JUDGE MORAN:          Saying what?
  5                       THE WITNESS:          That MSHA can issue
  6       individual citations to an individual that works
  7       at the mine.
  8                       MR. TIDABACK:           Your Honor.
  9                       JUDGE MORAN:          Do you have an objection?
 10                       MR. TIDABACK:           He just said he didn't
 11       know and now he now is stating that he does know,
 12       so that would be speculation.
 13                       JUDGE MORAN:          Okay.      Well, and I have a
 14       different take on that.                 I thought just listening
 15       to him that at first you're right, he said he
 16       didn't know, but people do sometimes pause and
 17       think and then you then amplified or corrected
 18       your answer.          Is that true?
 19                       THE WITNESS:          Yes, Your Honor.
 20                       JUDGE MORAN:          But you can -- that's
 21       still a ground for cross-examination.                         You know,
 22       it's classic cross-examination often in the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 338    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 220


  1       situation where a person says in a deposition,
  2       then in the courtroom they say something else and
  3       they say didn't you say on this time this and now
  4       you're saying this, and that's to show
  5       inconsistency and lack of credibility on that
  6       point.      That's the purpose.               That's fine.          I
  7       accept and I'm glad to explain things to you.                              At
  8       least that's my take.               But that doesn't stop you
  9       from, if you think it's worthwhile, I can't make
 10       that judgment, to pursue when you have the
 11       opportunity to cross-examine Mr. Baumann.                           Okay.
 12                       Court reporter, did not hear this?                       Go
 13       ahead, again, Attorney O'Reilly.
 14                       BY MS. O'REILLY:
 15               Q       I'll have you turn to Page 19 of Exhibit
 16       P12.     And I'll direct your attention to the second
 17       message from you, and again, who do you understand
 18       you to be?
 19               A       Mr. Tidaback.
 20               Q       And then at the top it says Jim Huber.
 21       Do you understand that that would a message to Jim
 22       Huber?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 339    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 221


  1               A       Yes.
  2               Q       And who is Jim Huber?
  3               A       He was a mill associate.
  4               Q       He was an American of American Tripoli?
  5               A       Yes.
  6               Q       And this is dated March 28th.                    Do you
  7       see that?
  8               A       Yes.
  9               Q       And it states "Jim Huber, I get along
 10       with them great.            Remember... MSHA inspectors are
 11       not your friends.             They can and will us anything
 12       and everything against you in a court of law."
 13       Did I read that correct?
 14               A       Yes, you did.
 15               Q       Is this similar to the other
 16       communications you have received from Mr.
 17       Tidaback?
 18               A       Yes.
 19               Q       Were you concerned that miners would be
 20       afraid of talking to MSHA because of statements
 21       like these?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 340    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 222


  1               Q       Were you concerned you could be
  2       retaliated against if you spoke to MSHA?
  3               A       Yes.
  4               Q       And was that because of messages like
  5       this?
  6               A       Yes.
  7               Q       I'm going to direct your attention back
  8       to Exhibit P13 and send you to Page 220.
  9                       JUDGE MORAN:          Have him turn where again,
 10       please?
 11                       MS. O'REILLY:           220.
 12                       JUDGE MORAN:          Thank you.
 13                       BY MS. O'REILLY:
 14               Q       And I'll direct your attention to a
 15       message from John Spears in the middle of the page
 16       on April 4th at 8:15 a.m.                  Do you see that?
 17               A       Yes.
 18               Q       It says it's to the mill group chat, and
 19       again, is that with all the mill associates?
 20               A       Yes.     All employees.
 21               Q       And this statement says, "Everyone done
 22       very well yesterday.               Let's keep this going."                 Do


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 341    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 223


  1       you see that?
  2               A       Yes.
  3               Q       And that was sent on April 4th, 2023?
  4               A       Yes.
  5               Q       And then I'm going to have you go back
  6       to Exhibit P21.
  7               A       Okay.
  8               Q       And we've been talking about two MSHA
  9       inspections that happened the last two months of
 10       your employment, and it looks like they were the
 11       third MSHA inspection that started on April 11th,
 12       2023.       Is that correct?
 13               A       Yes.     That's correct.
 14               Q       And did you also participate in that
 15       MSHA inspection?
 16               A       Yes.
 17               Q       And that was open just six days before
 18       your termination?
 19               A       Yes.
 20               Q       And this MSHA inspection where the
 21       104(b) stop issue was issued?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 342    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 224


  1                       JUDGE MORAN:          You are on the one page
  2       exhibit of P21?
  3                       MS. O'REILLY:           Yes.
  4                       JUDGE MORAN:          Okay.
  5                       BY MS. O'REILLY:
  6               Q       Did Mr. Spears know that you were
  7       involved in this inspection that led to the mine
  8       being shut down?
  9               A       Yes.
 10               Q       And how do you know that?
 11               A       We had discussed it.               He seen me with
 12       the inspectors.
 13               Q       May I have you turn to Exhibit P31 which
 14       is in Volume 2.            Do you know what this document is
 15       showing?
 16               A       It's a screen shot.
 17               Q       And do you see the word Rob at the top?
 18               A       Yes.
 19               Q       Do you know who Rob is referring to?
 20               A       That would be me.
 21               Q       Do you know whose phone this is?
 22               A       This appears to be John Spears' phone.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 343    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 225


  1               Q       And does it looks like the message is in
  2       the gray, would those have been a message you sent
  3       to Mr. Spears?
  4               A       Yes.
  5               Q       And then do you recall sending this
  6       message?
  7               A       Yes.
  8               Q       And it looks like you're talking about
  9       in this message that -- about you can go into the
 10       building, just no electric.                   And then at the end
 11       it says, "I can check and work at least getting
 12       that ready Friday if he would at least like that
 13       done since he has to pay us anyway."                        Do you see
 14       that?
 15               A       Yes.
 16               Q       Do you know what that was in reference
 17       to, saying he has to pay us anyway?
 18               A       That was because of the shutdown, and I
 19       found out that they were obligated to pay us for
 20       so many hours.
 21               Q       And were you asserting that to Mr.
 22       Spears in this message?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 344    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 226


  1               A       Yes.
  2               Q       It looks like this message took place on
  3       April 12th.         Is that correct?             Do you see that?
  4               A       That's correct.
  5               Q       And is this a true and accurate copy of
  6       a text message you send to John Spears on April
  7       12th, 2023?
  8               A       Yes.
  9                       MS. O'REILLY:           I move to admit Exhibit
 10       P31 into evidence, and I will also note this is
 11       produced in discovery by Respondent.
 12                       JUDGE MORAN:          You said it was submitted
 13       by Respondent in discovery?                   P31.      Any objection?
 14                       MR. TIDABACK:           No.
 15                       JUDGE MORAN:          Okay.      It's admitted.
 16                               (Complainant's Exhibit P-31 was
 17                               marked for identification and
 18                               received in evidence.)
 19                       BY MS. O'REILLY:
 20               Q       At the time that you had sent this
 21       message, had you already been sent home under the
 22       withdrawal order?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 345    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 227


  1               A       Yes.
  2               Q       And you did not return to the mine until
  3       April 17th when you were terminated?
  4               A       Yes.
  5               Q       I'm going to have you go back to Exhibit
  6       P13.     That's in Volume 1.               We have to change
  7       notebooks.         I'll direct you to Page 211.
  8               A       Okay.
  9               Q       And in the middle of Page 211 do you see
 10       a message from John Spears dated 4-11 at 8:08
 11       a.m.?
 12               A       Yes.
 13               Q       And that message looks like it was sent
 14       to the mill group chat.                 Is that correct?
 15               A       That is correct.
 16               Q       And you were a part of that chat?
 17               A       Yes.
 18               Q       And this message states, "Good morning
 19       crew.       We will finish SO 325 this morning.
 20       Everyone did very well yesterday with pallets and
 21       color bearing and staging product.                       Thank you."
 22       Did I read that portion of the message correctly?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 346    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 228


  1               A       Yes.
  2               Q       And would April 11th have been the last
  3       day that you were working before the MSHA
  4       shutdown?
  5               A       Yes.
  6               Q       You showed up to work on April 12th, but
  7       it was shut down under order?
  8               A       Yes.
  9                       JUDGE MORAN:          The answer is yes?
 10                       THE WITNESS:          Yes.
 11                       BY MS. O'REILLY:
 12               Q       I'll direct your attention to Exhibit
 13       P7.
 14               A       7.
 15               Q       Yes.
 16               A       Okay.
 17                       JUDGE MORAN:          Which is another new one.
 18                       THE WITNESS:          Yes.
 19                       BY MS. O'REILLY:
 20               Q       Do you know what this document is?
 21               A       Yes.     This is a message that I had sent
 22       out of the MSHA handbook.                  I sent this message to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 347    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 229


  1       Mr. Spears.
  2               Q       And did you send this message to John
  3       Spears via Microsoft Teams?
  4               A       Yes.
  5               Q       And this -- you know this message your
  6       exhibit -- the blue message, that's the message
  7       that you sent?
  8               A       Yes.
  9               Q       And this is a screen shot of your phone?
 10               A       Yes.
 11               Q       Which is why your messages are showing
 12       up blue?
 13               A       Yes.
 14               Q       And do you know about what date this
 15       message was sent?
 16               A       It would have been, I think it was sent
 17       on the 12th.
 18               Q       Okay.      After the 104(b)?
 19               A       Was shut down, yes.              It would have been
 20       like that evening.
 21               Q       And it looks like they're sending a
 22       message, or you screen shotted, what is it that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 348    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 230


  1       you're screen shotting there?
  2               A       Page out of the MSHA manual, handbook.
  3               Q       And what was that page about?
  4               A       Miners pay during a shutdown.
  5               Q       And you were sending that to Mr. Spears?
  6               A       Yes.
  7               Q       And your message says, "Looks like we
  8       are entitled to up to a week pay because nothing
  9       was done about the safety situation until we were
 10       under the withdraw."               Is that correct?
 11               A       That's correct.
 12               Q       And then at the bottom of that -- the
 13       message goes on, "But legally, have to pay us for
 14       the 12 hours.           Then we all file for the other
 15       hours and technology we ran illegal on Monday and
 16       Tuesday."        Did I read that correct?
 17               A       Yes.
 18               Q       And then it says, "Don't really want to
 19       have to file with MSHA, but we the miner workers,"
 20       it looks like it says, "were not at fault"?
 21               A       Yes.     That's what it said.
 22               Q       Is that correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 349    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 231


  1               A       Yes.
  2               Q       Did anyone ever respond to you when you
  3       raised this issue about miners pay?
  4               A       No.
  5               Q       Did you expect this issue with miners
  6       pay with MSHA before you sent this message?
  7               A       Yes.
  8               Q       I move to -- oh, is this a true and
  9       accurate copy of the message you sent to John
 10       Spears?
 11               A       Yes.
 12                       MS. O'REILLY:           I move to admit Exhibit
 13       P7 into evidence.
 14                       JUDGE MORAN:          Do you object?
 15                       MR. TIDABACK:           I do.
 16                       JUDGE MORAN:          You object to this?
 17                       MR. TIDABACK:           Yes, sir.        It has no date
 18       on it.      How do we know.
 19                       JUDGE MORAN:          Okay.      Do you want to
 20       address that?
 21                       MS. O'REILLY:           Sure, I can do that.
 22                       JUDGE MORAN:          I think you asked the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 350    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 232


  1       question about that, but ask him a couple more
  2       questions so that I can appreciate that he can
  3       identify the date, approximate date.
  4                       MS. O'REILLY:           Okay.      I can do that, and
  5       then there's another exhibit that confirms this a
  6       little bit more.
  7                       BY MS. O'REILLY:
  8               Q       But did you send this message in
  9       response to a 104(b) withdrawal order?
 10               A       Yes.
 11               Q       And do you understand that that 104(b)
 12       withdrawal order was issued on April 12th, 2023?
 13               A       Yes.
 14               Q       And you were terminated on April 17th,
 15       2023.       Correct?
 16               A       Yes.
 17               Q       At that time you were cut off from Teams
 18       messages?
 19               A       Yes.
 20               Q       So you could not have sent this message
 21       after your employment.                Correct?
 22               A       No.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 351    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 233


  1               Q       After you were terminated?
  2               A       No, I could not have.
  3               Q       And you wouldn't have had a reason to
  4       send it prior to April 12th, 2023?
  5               A       No.
  6               Q       Correct?        So this message was sent at
  7       some point between April 12th and April 17th,
  8       2023?
  9               A       Yes.
 10                       JUDGE MORAN:          You agree with that?
 11                       THE WITNESS:          Yes, sir.
 12                       JUDGE MORAN:          Okay.      I'm overruling the
 13       objection, but if you think it would be fruitful,
 14       I can't judge that, this would be a subject of
 15       challenging Mr. Baumann about the date of this
 16       message.        I am not sure, though, that -- that it
 17       is critical to establish the precise date within
 18       the range of dates that Attorney O'Reilly just
 19       identified.         I mean, if you say no, it was the
 20       13th or the 14th, you know, I don't know how that
 21       -- if it is a response from the Respondent during
 22       that window of time.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 352    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 234


  1                       MR. TIDABACK:           It's just one and the
  2       same, Your Honor.             How do we know it was sent at
  3       all if it doesn't have a time date stamp.
  4                       JUDGE MORAN:          That's something you can
  5       ask on cross examination.
  6                       BY MS. O'REILLY:
  7               Q       And Mr. Baumann --
  8                       JUDGE MORAN:          I'm going to ask just a
  9       follow-up question for Mr. Baumann.                        So tell me
 10       again, you might have said it.                     I'm sorry, I was
 11       making a note and so my attention was diverted,
 12       but looking at Exhibit P7, one page.                        Right?
 13                       THE WITNESS:          Yes.
 14                       JUDGE MORAN:          Did you say -- does this
 15       come from the Respondent?
 16                       MS. O'REILLY:           No, from Mr. Baumann.
 17                       JUDGE MORAN:          And do you say how you
 18       recognized this, Mr. Baumann?
 19                       THE WITNESS:          Yeah, because I actually
 20       took in great detail after I seen a message from
 21       Mr. Tidaback about getting the mill workers
 22       gainfully being employed and working, and then the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 353    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 235


  1       -- some mill associates asked me if we were
  2       eligible for any pay being we were shut down for a
  3       force issue.          So I looked it up in the miners rep
  4       -- or the miners MSHA book, and I took a picture
  5       of it and I sent it to John to make sure that they
  6       knew that they were obligated to pay us for at
  7       least the rest of that day and then the four hours
  8       the next day.
  9                       JUDGE MORAN:          Okay.      Fair enough for the
 10       explanation.          And that's valuable, but what I want
 11       to know is how was this page created, if you know?
 12       Is this a picture that you took of your phone?
 13                       THE WITNESS:          Yes.      I went to the MSHA
 14       website and looked it up.
 15                       JUDGE MORAN:          No, no.       I don't mean
 16       that.      I mean, looking at -- I understand where
 17       you got that from, but how was P7, Page 1 created?
 18       Is this another one of these you take a picture of
 19       your phone?
 20                       THE WITNESS:          Yes.      I screen shotted it.
 21                       JUDGE MORAN:          That's what this is?
 22                       THE WITNESS:          Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 354    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 236


  1                       JUDGE MORAN:          No one else did this.                You
  2       took a screen shot of your own phone?
  3                       THE WITNESS:          Yes, sir.
  4                       JUDGE MORAN:          And that's what this is
  5       represented on P, the one page that's there?
  6                       THE WITNESS:          Yes.
  7                       JUDGE MORAN:          All right.         I think I
  8       hammered that out.              Thank you.
  9                       BY MS. O'REILLY:
 10               Q       And now I'll turn our attention to
 11       Exhibit P32, which is in Volume 2.
 12                       JUDGE MORAN:          32?     Now we're at 32?
 13                       MS. O'REILLY:           Yes.
 14                       JUDGE MORAN:          Okay.      Did I say if P7 is
 15       admitted?        If not -- okay.
 16                       MS. O'REILLY:           You did.
 17                               (Complainant's Exhibit P-7 was
 18                               marked for identification and
 19                               received in evidence.)
 20                       JUDGE MORAN:          Okay.      Thank you.         And now
 21       we're on 32?
 22                       MS. O'REILLY:           Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 355    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 237


  1                       BY MS. O'REILLY:
  2               Q       Do you know what this document is on
  3       P32?
  4               A       Just the one, Page 1.
  5               Q       Yes.     Let's talk about Page 1.
  6               A       Okay.      Yes.     These are some Teams
  7       messages.
  8               Q       And I'll direct your attention to the
  9       first message from John Spears dated 4-14 at 8:18
 10       a.m. which states, "We're headed to the PFT test
 11       now."       Do you see that?
 12               A       Yes.
 13               Q       And then it says from Rob?
 14               A       Yes.
 15               Q       And then it looks like he is, Mr.
 16       Spears, is copying and pasting the message we were
 17       just talking about in P7 in this message to Mr. --
 18       to someone else in P32?
 19               A       Yes.
 20               Q       And this document, P32, is three pages
 21       of Teams messages.              Do you see that?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 356    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 238


  1               Q       And this message at the top, that --
  2       that looks to be a copy of the message we were --
  3       just talked about.              Correct?
  4               A       Yes.
  5               Q       And who -- it says JS and John Spears,
  6       and then it goes on to a blue message.                          Do you
  7       understand who the blue messages are?
  8               A       The blue messages would be Russell
  9       Tidaback.
 10               Q       Based on the information we have
 11       recently --
 12               A       Based on, yes.
 13                       MS. O'REILLY:           And I will move to admit
 14       Exhibit P32.          This is the document that was also
 15       produced in discovery.
 16                       JUDGE MORAN:          Okay.      Any objection to
 17       the document you produced in discovery to the
 18       Secretary?
 19                       MR. TIDABACK:           Explain all of the
 20       Exhibits P32 or just that first page?
 21                       JUDGE MORAN:          Well, she's moved for the
 22       introduction of the whole exhibit, so if you have


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 357    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 239


  1       an objection, and remember now, most of this would
  2       be in a cross examination, but the question before
  3       me is is this the document that the Secretary has
  4       asserted was produced by you in reference to
  5       discovery?
  6                       MR. TIDABACK:           Yes, Your Honor.            I have
  7       no objection to that.
  8                               (Complainant's Exhibit P-32 was
  9                               marked for identification and
 10                               received in evidence.)
 11                       JUDGE MORAN:          Okay.      Then P32 is
 12       admitted, and if you feel there's grounds on cross
 13       examination you'll refer to P32 and we'll listen
 14       to that.
 15                       MR. TIDABACK:           Yes.
 16                       JUDGE MORAN:          Okay.      P32 is admitted.
 17                       BY MS. O'REILLY:
 18               Q       And you said that this first message
 19       from John Spears appears to be a copy of the
 20       message you talked about in P7 and John Spears is
 21       sending this on April 14th.                   Do you see that?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 358    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 240


  1               Q       Does that help you recall when you might
  2       have sent that message in P7 to John Spears?
  3               A       Yes.     I would have sent it -- this
  4       explains it.          I would have sent it 4-13, late that
  5       -- late the previous day.
  6               Q       Okay.
  7               A       Or really early that morning.                    One of
  8       the two days.
  9               Q       But does it narrow it down to you at
 10       least sent that message in P7 between April 12th,
 11       2023 and April 14th, 2023?
 12               A       Yes.
 13               Q       On Page 2 do you see a message in blue
 14       from Mr. Tidaback in the middle that starts by
 15       saying "By all means, if Rob thinks we did
 16       something illegal, then he should bring it up"?
 17               A       Yes.
 18               Q       And does it again look like it's copying
 19       that same message you sent in P7?
 20               A       Yes.
 21               Q       Then a little while after that message,
 22       or the next message there, there's another message


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 359    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 241


  1       from Mr. Tidaback that says, states, "We can pay
  2       the guys to come in and do other things... but
  3       this is as I mentioned previously... we need them
  4       to be productive towards production..."                          Did I
  5       read that correctly?
  6               A       Yes.
  7                       MR. TIDABACK:           Objection, he didn't
  8       actually read it.
  9                       JUDGE MORAN:          I'm sorry.         I was reading
 10       what was said, so repeat your objection, Mr.
 11       Tidaback.
 12                       MR. TIDABACK:           She did not read it
 13       correctly.
 14                       MS. O'REILLY:           I can read it again.
 15                       JUDGE MORAN:          Oh, okay.         Thank you.
 16       Okay.
 17                       BY MS. O'REILLY:
 18               Q       That message, the second -- the message
 19       after the one that was copied to you on 4-14, it
 20       states, "We can pay the guys to come in and do
 21       other things... but this is as I mentioned
 22       previously... we need them to be productive


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 360    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 242


  1       towards production..."                Did I read that correctly?
  2               A       Yes.
  3               Q       Thank you.
  4                       JUDGE MORAN:          You know, it's not
  5       necessary for me to resolve this, but as I'm
  6       looking at this, it's not -- again, I don't have
  7       to decide that in this case, but I'm not sure that
  8       that's an appropriate remedy if people are
  9       entitled to some number of hours or period of pay,
 10       I don't know that a mine operator and then to say,
 11       well, you work Saturday and we'll pay you for
 12       Saturday.        I don't know that you can substitute a
 13       different day.           That's an interesting side
 14       question.        I mean, if you're suggesting that the
 15       hours that they should have been working but
 16       couldn't work because of the (b) order, then you
 17       can then substitute that weekend.
 18                       MR. TIDABACK:           That was not --
 19                       JUDGE MORAN:          The intent.
 20                       MR. TIDABACK:           -- the intent or
 21       anything.        It was since we couldn't go in the mill
 22       and they couldn't go in the mill to do anything,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 361    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 243


  1       that's the area that they were not allowed to go
  2       into.      We had equipment outside they can work on,
  3       so let's bring them in and put them to work.
  4                       JUDGE MORAN:          Of course, you're
  5       testifying and that will come later.                        My point was
  6       simply, maybe I shouldn't have even brought it up,
  7       I don't know that if you're -- if you're required
  8       under the Act to pay people who are not able to
  9       work because of a safety hazard and it is pretty
 10       -- I haven't looked at in a long time, but this
 11       number of hours and so forth, but you say this was
 12       not your intention but come on in Saturday and
 13       that will -- and essentially, it would be contrary
 14       to the statute, it seems to me, in having someone
 15       work a different day when they're entitled to work
 16       on the day when they should have worked, but for
 17       safety hazard could not and Congress intended that
 18       those people be paid for those hours, not for some
 19       substitute.
 20                       In other words, to carry this and then
 21       I'll let it rest, that -- that you can't say,
 22       well, you're even now because you worked on


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 362    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 244


  1       Saturday.        We paid you for Saturday and that
  2       settles that other issue.                  They're apples and
  3       oranges.
  4                       MR. TIDABACK:           Okay.      We also got
  5       clarification from the issuing inspector, make
  6       sure that they were paid completely for the work
  7       that they did.
  8                       JUDGE MORAN:          That's a different point
  9       than what I'm making.               I understand what you're
 10       saying, though.            Okay.      All right.         I think I
 11       probably should have just kept that too myself,
 12       but go ahead, Attorney O'Reilly.
 13                       BY MS. O'REILLY:
 14               Q       I'm just going to have you flip back to
 15       Page 1 of Exhibit P32.                And that first message
 16       from John Spears where he copied the message you
 17       had sent, that's dated 4-14 at -- 4-14, so April
 18       14th at 8:18 a.m.             Is that correct?
 19               A       Yes.
 20               Q       Now, have you turn to back to Page 2.
 21       And the last message on this page from Mr.
 22       Tidaback dated April 14th at 9:14 a.m., it states,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 363    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 245


  1       "Except an MSHA complaint when Rob is let go...
  2       The writing is on the wall."                    Did I read that
  3       correctly?
  4               A       Yes.
  5               Q       And then on Page 3, this part of it,
  6       about halfway through the page there's another
  7       message from Mr. Tidaback on April 14th at 9:18
  8       a.m.     Do you see that?
  9               A       Yes.
 10               Q       And that was exactly an hour after your
 11       message about miners pay was forwarded to Mr.
 12       Tidaback.        Correct?
 13               A       Yes.
 14               Q       And this message states, "Rob's
 15       termination will be based on production
 16       performance.          Not following guidance given by
 17       management.         Not ensuring the safety of the mill
 18       associated by utilizing the proper controls,
 19       etcetera.        He doesn't have to sign it.                    We just
 20       need to have a document of why he was let go."
 21       Did I read that correctly?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 364    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 246


  1               Q       Had you ever been told you were having
  2       issues with production performance before you were
  3       terminated?
  4               A       No.
  5               Q       Had you been told that you were having
  6       issues with not following guidance given by
  7       management before you were terminated?
  8               A       No.
  9               Q       Have you ever been told that you were
 10       not ensuring the safety of the mill associates
 11       before you were terminated?
 12               A       No.
 13               Q       In fact, were you actually trying to
 14       ensure the proper PPE would get purchased
 15       specifically for the dust issues going on at this
 16       time?
 17               A       Yes.
 18               Q       Can you explain your efforts to get the
 19       PPE for miners regarding the dust issue?
 20               A       Yeah, I just -- we got the shutdown, how
 21       important was the silica -- keeping the silica
 22       dust out of us was.              I had requested more of the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 365    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 247


  1       paper masks that we were allowed to use, and I had
  2       problems getting them.                So I finally, some of them
  3       was in and then when the PAPR systems were ordered
  4       to be -- when they ordered them, to order the PAPR
  5       systems to have them there so we could use them to
  6       go in the mill until they got the dusting problem
  7       fixed.      And I just checked with the safety
  8       director every day to see if the systems had been
  9       ordered or if they were on their way, if they were
 10       there yet.
 11                       JUDGE MORAN:          So identify for me, you
 12       said the PAPR systems.                Is that an acronym?
 13                       THE WITNESS:          Air systems.
 14                       JUDGE MORAN:          You're not saying paper?
 15                       THE WITNESS:          PAPR.      PAPR.      Yes.
 16                       JUDGE MORAN:          That stands for?
 17                       THE WITNESS:          You're testing me now.                I
 18       honestly don't remember.                 Basically it's the
 19       respirators with the filters, you know.
 20                       JUDGE MORAN:          Okay.      We're not talking
 21       about an N95 paper mask.                 Something more than?
 22                       THE WITNESS:          Something more than N95


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 366    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 248


  1       paper mask.         Yes, Your Honor.
  2                       JUDGE MORAN:          Okay.
  3                       MS. O'REILLY:           And for the court
  4       reporter, I believe it's P-A-P-R, like all caps.
  5                       THE WITNESS:          Yeah.      I just always said
  6       PAPR.
  7                       BY MS. O'REILLY:
  8               Q       Yeah.      And you just mentioned you were
  9       discussing the PAPRs and the masks with Jesse
 10       Molesi, the safety director.                    Correct?
 11               A       Yes.
 12               Q       Or safety personnel, I guess?
 13               A       We had -- there was actually some
 14       systems at the -- at the mill, at the mine, and
 15       then we dug them out to see if they were usable at
 16       all, and the -- the rubber pieces that fit around
 17       your face and stuff, as soon as you touched them
 18       it just disintegrated they were so old, so.
 19                       JUDGE MORAN:          They were brittle?
 20                       THE WITNESS:          Yes.      Better word, they
 21       were extremely brittle, yes.
 22                       JUDGE MORAN:          Okay.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 367    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 249


  1                       BY MS. O'REILLY:
  2               Q       And these safety issues about the PAPRs
  3       and getting, you know, the dust issue corrected,
  4       did you speak to Mr. Molesi about that after the
  5       104(b) order is issued in April 12th?
  6               A       Yes.
  7               Q       And what did you speak about, the things
  8       you have just been speaking about or can you
  9       remember anything in particular?
 10               A       Basically I would message him, send him
 11       a text message seeing if we had gotten any PAPR
 12       systems or if any had even been ordered yet, and
 13       if they had called anybody in or got a plan
 14       together to work on the air cleaner system.
 15               Q       And do you recall when you were talking
 16       to him about that?
 17               A       It would have been April 13th or 14th,
 18       April 13th and 14th.               I spoke with him every day.
 19               Q       Every day after?
 20               A       After the order was, yes.
 21               Q       Do you know if he spoke to Mr. Tidaback
 22       about the concerns you were raising about the dust


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 368    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 250


  1       issues?
  2               A       Yes.     He was sending e-mails with
  3       different options on what kind of PAPR we could
  4       get ordered, and you know, things like that.
  5               Q       And did Mr. Molesi tell you that he was
  6       sending those e-mails?
  7               A       Yes.
  8               Q       These things happened on April 14th,
  9       which was the Friday before you were terminated on
 10       April 17th?
 11               A       Yes.
 12               Q       And this termination happened just three
 13       weeks before -- after you became a miners rep?
 14               A       Yes.
 15               Q       And within days, including two weekend
 16       days of you asking about miners pay during an MSHA
 17       withdrawal order?
 18               A       Yes.
 19               Q       And five days after you participated in
 20       an MSHA inspection which caused the mine to be
 21       issued the 104(b) order regarding dangerous silica
 22       dust hazards?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 369    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 251


  1               A       Yes.
  2               Q       And the 104(b) order was issued for not
  3       controlling dangerous silica dust, a safety issue
  4       which you had repeatedly raised to management.
  5       Correct?
  6               A       Yes.
  7               Q       And your termination happened also just
  8       two weekend days after you were messaging with the
  9       safety person, Jesse Molesi, about your concerns
 10       about the dust?
 11               A       Yes.
 12               Q       About how many days from February to
 13       April 17th, 2023 would you say you were walking
 14       around with MSHA during inspections?
 15               A       I mean, they were there for weeks at a
 16       time, so every day that they were there.
 17       Apparently at least three weeks.                      All the average
 18       they was there I was with them.
 19               Q       So would you say probably more than ten
 20       times?
 21               A       Oh, yes.
 22               Q       In that two month before you were


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 370    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 252


  1       terminated?
  2               A       Yes.
  3               Q       At least ten times?
  4               A       At least.
  5               Q       It may have been more?
  6               A       Yes.
  7               Q       Prior to your termination were you
  8       starting to get concerned that they may retaliate
  9       against you for engaging in MSHA inspections and
 10       raising safety concerns?
 11               A       Yes.
 12               Q       And why do you say that?
 13               A       They quit including me on Teams
 14       messages.        Kind of didn't really keep me up to
 15       date on things.
 16               Q       They were starting to ignore you?
 17               A       Yes.
 18               Q       Is that correct?
 19                       JUDGE MORAN:          You can do that, you can
 20       drop someone from a Teams message?
 21                       THE WITNESS:          They just wouldn't like --
 22       in a lot of Teams message if you put the person's


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 371    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 253


  1       name at the beginning of it it tags them in it,
  2       and always before I'd get tagged in things and
  3       then it seemed like I just kind of got dropped
  4       off, you know.           Nothing ever directed towards me
  5       and John or towards me and Jesse, you know, when
  6       we were all working together trying to get the
  7       stuff fixed.
  8                       JUDGE MORAN:          A moment ago Attorney
  9       O'Reilly asked you about whether you were there --
 10       how many times you were there when an MSHA
 11       inspector was there, and you agreed with her
 12       saying at least ten times.                  Do you remember saying
 13       that a minute ago?
 14                       THE WITNESS:          Yes.
 15                       JUDGE MORAN:          Okay.      Let me turn that
 16       question around.            During this period of time were
 17       there ever times when an MSHA inspector was there
 18       and you just weren't available?                     I mean, you were
 19       on the mill part but you didn't couldn't make
 20       yourself available because you were doing other
 21       things and therefore couldn't attend with the
 22       inspector?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 372    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 254


  1                       THE WITNESS:          There was -- during the
  2       shutdown there was a time that I believe there was
  3       four or five inspectors there all at once, so
  4       naturally I wasn't with all of them at the same
  5       time.
  6                       JUDGE MORAN:          Are you telling me,
  7       therefore, but there was never a time when you
  8       were not at least with an inspector from MSHA when
  9       they were there on the property?
 10                       THE WITNESS:          No.     Every time -- every
 11       time that they were there, I was with them.
 12                       JUDGE MORAN:          Okay.      Thank you.
 13                       THE WITNESS:          Maybe not the entire time
 14       they were there, you know, minus, you know, if
 15       they were going to come check on something or if
 16       they had pointed something out that I could fix
 17       right then, I did it.               They moved on, I went and
 18       caught up with them.
 19                       JUDGE MORAN:          All right.         Thank you for
 20       explaining that further.                 Go ahead, Attorney
 21       O'Reilly.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 373    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 255


  1                       BY MS. O'REILLY:
  2               Q       And after March 21st, 2023, when you
  3       became a miners representative, did MSHA make a
  4       point of contacting you when they arrived so that
  5       you could participate?
  6               A       Yes.
  7               Q       Were you ever disciplined by anyone at
  8       American Tripoli?
  9               A       No.
 10               Q       Did you ever receive any sort of verbal
 11       warning about your work or any other issues at
 12       American Tripoli?
 13               A       No.
 14               Q       Did you ever receive any sort of written
 15       discipline or reprimand from anyone at American
 16       Tripoli?
 17               A       No.
 18               Q       Did you ever get a performance review
 19       while working at American Tripoli?
 20               A       No.
 21               Q       Do you know if anyone did?
 22               A       Not to my knowledge.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 374    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 256


  1               Q       Were you ever counseled by Russell
  2       Tidaback for any problems or issues you were
  3       having at work?
  4               A       No.
  5                       JUDGE MORAN:          Well, even apart from the
  6       word counseled, let's just not restrict it to
  7       counseling, but were you ever -- did Mr. Tidaback
  8       or Jordan Tidaback ever sit down with you and
  9       discuss shortcomings that they felt that you had
 10       in the performance of your job?
 11                       THE WITNESS:          No.
 12                       JUDGE MORAN:          Okay.
 13                       BY MS. O'REILLY:
 14               Q       I'm going to have you turn to Exhibit
 15       P34.
 16                       JUDGE MORAN:          Which would be a new one?
 17                       MS. O'REILLY:           Yes.     Correct.        And
 18       you'll see that this is discovery responses from
 19       Respondent in this case, and as part of those
 20       discovery responses some Teams messages were
 21       included within the responses.                     So I guess I would
 22       move to admit this as party admissions in


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 375    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 257


  1       discovery in this case.
  2                       JUDGE MORAN:          I can't imagine you would
  3       have an objection to this.                  Is that true?
  4                       MR. TIDABACK:           No, Your Honor.
  5                               (Complainant's Exhibit P-34 was
  6                               marked for identification and
  7                               received in evidence.)
  8                       JUDGE MORAN:          Okay.      So P34 is admitted,
  9       and this would or would not be part of the ECMS?
 10       It be would outside of ECMS?
 11                       MS. O'REILLY:           Correct.
 12                       JUDGE MORAN:          So I have this response
 13       from the Respondent and reflected in the 56 pages
 14       which constitutes P34.                It's admitted.
 15                       BY MS. O'REILLY:
 16               Q       I'll direct your attention, Mr. Baumann,
 17       to page -- the top of Page 15 in this exhibit.
 18               A       Okay.
 19               Q       And do you see on that page a Request
 20       No. 10 which says, "Produce an un-redacted
 21       complete copy of Russell Tidaback's Microsoft
 22       Teams communications with Jim Huber from April


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 376    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 258


  1       17th, 2023, through May 7th, 2023."
  2               A       Yes.
  3               Q       And then do you see a response that
  4       says, "Please see the following chat"?
  5               A       Yes.
  6               Q       Okay.      And then on Page 16, the next
  7       page, do you see some Teams messages?
  8               A       Yes.
  9               Q       And who is Jim Huber?
 10               A       He was a mill associate.
 11               Q       And he was an employee of American
 12       Tripoli at this time?
 13               A       Yes.
 14               Q       On Page 16 -- well, on Page 15 we
 15       discussed how these -- this was in response to a
 16       request for message between Russell Tidaback and
 17       Jim Huber.         Correct?
 18               A       Correct.
 19               Q       So do you understand who these blue
 20       messages would be from in these messages that
 21       followed that request?
 22               A       The blue messages would be from Mr.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 377    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 259


  1       Tidaback.
  2               Q       And it looks like on Page 16, in the
  3       second message sent on April 17th at 12:53 p.m.,
  4       do you see that message?
  5               A       Yes.
  6               Q       And you understand that to be from Mr.
  7       Tidaback?
  8               A       Yes.
  9               Q       And it states, "We are making a
 10       change... or have made a change.                      Unfortunately we
 11       had to let Rob go today."                  Do you see that?
 12               A       Yes.
 13               Q       Did I read that correctly?                  Just those
 14       first two sentences correctly?
 15               A       Yes.
 16               Q       And so you were let go by 12:53 p.m. on
 17       that day?
 18               A       Yes.
 19               Q       This happened earlier that morning?
 20               A       Yes.
 21               Q       And then I'm going to have you turn to
 22       Page 19.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 378    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 260


  1               A       Okay.
  2               Q       And do you see in the middle of that
  3       page a message from Russell Tidaback dated April
  4       19th 9:00 p.m.?
  5               A       Yes.
  6               Q       Okay.      And I'm going to read this.                   It
  7       does contain expletives but I'm just going to read
  8       it word for word.
  9                       JUDGE MORAN:          I can handle it.
 10                       BY MS. O'REILLY:
 11               Q       This statement says, "MSHA just
 12       compounds the problem 10 X but not working with us
 13       and being fucking dicks."                  Did I read that
 14       correct?
 15               A       Yes.
 16               Q       Is this similar to any other comments
 17       from Mr. Tidaback that he made about MSHA during
 18       your employment?
 19               A       Yes.
 20               Q       Further down you'll see a response from
 21       Jim Huber, and then on April 19th at 9:01 p.m.
 22       There are three messages from Mr. Tidaback.                             Do


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 379    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 261


  1       you see that?
  2               A       Yes.
  3               Q       I'm going to read those.                 "This Keith
  4       jackass... he gets his jolly off handing out
  5       citations... this fucker is a snake.                        When he is
  6       -- when he's around you better watch what you say
  7       and do... he is out to fuck you or anyone else he
  8       can."       Did I read that correct?
  9               A       Yes.
 10               Q       And is this similar to the attitude that
 11       American Tripoli had towards MSHA while you were
 12       employed?
 13               A       Yes.
 14               Q       Does this message surprise you at all?
 15               A       No.
 16                       JUDGE MORAN:          So to help me out with
 17       this.       I'm not questioning it, but remind me how
 18       is it that you know that the blue passages, like
 19       on Page 18 and 19, that you know that that's from
 20       Mr. Tidaback?           How do you know that?               You may have
 21       it said a couple times.                 I just want to make it
 22       clear in my head.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 380    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 262


  1                       THE WITNESS:          The person that's sending
  2       --
  3                       COURT REPORTER:            I'm sorry.         You're
  4       breaking up.          You're not coming through.
  5                       JUDGE MORAN:          I see that, but my
  6       question --
  7                       COURT REPORTER:            I couldn't hear his
  8       answer.       It didn't come through.
  9                       JUDGE MORAN:          You couldn't hear the
 10       judge or the witness?
 11                       COURT REPORTER:            The Witness.
 12                       JUDGE MORAN:          She said witness?             Okay.
 13       I'm just trying to understand.                     Yeah, I see Jim
 14       Huber.      I see that.          That I can figure out, but my
 15       question is, how do you know that the blue portion
 16       is coming from Mr. Tidaback as opposed to from
 17       someone else?           How do you know that?               Look at Page
 18       19, for example, on P34.
 19                       THE WITNESS:          Yeah, there wouldn't be --
 20       I can't tell you a hundred percent that that's
 21       from him, but that's from him.
 22                       JUDGE MORAN:          Okay.      This was produced


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 381    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 263


  1       by the Respondent?
  2                       MS. O'REILLY:           May I add a comment to
  3       that?
  4                       JUDGE MORAN:          Yes.
  5                       MS. O'REILLY:           So on Page 15, the
  6       discovery response, it's my understanding that
  7       they're making an admission or representation that
  8       this is what this says because it asks for an
  9       un-redacted copy of Russell Tidaback's team
 10       messages with Jim Huber, and then says please see
 11       the following chat.
 12                       JUDGE MORAN:          I'm happy that you pointed
 13       that out to me.            Not happy in the sense that it
 14       doesn't help the Respondent, but happy in that
 15       that helps me focus on and really answers my
 16       question, so thank you.
 17                       MS. O'REILLY:           Okay.      Good.
 18                       JUDGE MORAN:          So that's noted on Page 15
 19       of Exhibit P34.            Okay.      Go ahead with your
 20       questions again.            And again, by the way, I just
 21       wanted to point out.               That's another example of
 22       how in post hearing briefs you might say, well,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 382    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 264


  1       it's obvious if he would look, meaning me, at P15,
  2       he could have put that together.                      But it's also --
  3       if you sort of lead me and say, and on the issue
  4       of who was responding, please note Page 15 where
  5       dah, dah, dah, what you just said.                       All right?
  6       Thanks.
  7                       BY MS. O'REILLY:
  8               Q       Do you know anyone named Keith that was
  9       employed at American Tripoli?
 10               A       No.
 11               Q       Was there an MSHA inspector named Keith
 12       that came to American Tripoli?
 13               A       Yes.
 14               Q       And what was that inspector's name?
 15               A       Keith Markeson.
 16               Q       Was Mr. Markeson the inspector who
 17       issued the 104(b) citation just a few days before
 18       you were terminated?
 19               A       Yes.
 20               Q       I'm going to direct your attention to
 21       Page 24, and you see at the top, towards the top
 22       of the page there's a message on April 19th at


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 383    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 265


  1       9:57 p.m. from Mr. Tidaback.
  2               A       Yes.
  3               Q       And it states, "Everyone," in all caps,
  4       "needs to stop calling MSHA."                    Did I read that
  5       correctly?
  6               A       Yes.
  7               Q       And is this similar to the kind of
  8       comments Mr. Tidaback made about MSHA during your
  9       employment?
 10               A       Yes.
 11               Q       Did comments like these make you fearful
 12       about talking to MSHA?
 13               A       Yes.
 14               Q       Please turn to Page 27.                 And in the
 15       middle of the page there is a message dated 4-19
 16       at 10:40 p.m. from Mr. Tidaback.                      Do you see that?
 17               A       Yes.
 18               Q       And it says, "Keith is a jackass..."
 19       Did I read that correctly?
 20               A       Yes.
 21               Q       Then it continues with the response from
 22       Mr. Huber about Keith and then Mr. Tidaback


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 384    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 266


  1       states, "I personally... would just stay away from
  2       that guy.        Intentionally stay away."                  Did I read
  3       that correct?
  4               A       Yes.
  5               Q       Were you scared of any of the MSHA
  6       inspectors?
  7               A       No.
  8               Q       Did any of the MSHA inspectors ever
  9       threaten you?
 10               A       No.
 11               Q       Were you afraid of Mr. Markeson?
 12               A       No.
 13               Q       Did you ever see any MSHA inspector
 14       threaten anyone else?
 15               A       No.
 16               Q       On Page 28 toward the bottom of the page
 17       do you see a message from Mr. Tidaback on April
 18       28th at 8:50 a.m.?
 19               A       Yes.
 20               Q       And do you see it states, "Hey, hey,
 21       brother... let's do good things.                      Okay?      Have a
 22       good day."


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 385    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 267


  1               A       Yes.
  2               Q       And then there's a couple responses from
  3       Mr. Huber and then Mr. Tidaback on April 28th at
  4       8:51 a.m. states, "We need you to make that place
  5       rock and roll.           I need the justification since
  6       Rob's complaint to MSHA about being let go...
  7       Just need you to put the cherry on the cake.
  8       That's all."          Did I read that correct?
  9               A       Yes.
 10               Q       Then on Page 39, towards the middle of
 11       the page, on May 7th at 2:02 p.m. do you see a
 12       message from Mr. Tidaback?
 13               A       Yes.
 14               Q       It states, "Then the whole MSHA thing in
 15       February..."          Did I read that right?
 16               A       Yes, you did.
 17               Q       Then Jim Huber responds, "Oh, he thought
 18       this over on that deal.                 Sorry for cussing."              Did
 19       I read that correct?
 20               A       Yes.
 21               Q       Then the next message states, "That's
 22       when Rob started to really buck back against what


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 386    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 268


  1       John was telling him to do."                    Did I read that
  2       correct?
  3               A       Yes.
  4               Q       And then the next message, Mr. Tidaback
  5       responds, "Oh, I know..." to Jim Huber's message,
  6       "oh, he fucked us over on that deal.                        Sorry for
  7       cussing."        Correct?
  8               A       Correct.
  9               Q       February is when you first started
 10       participating in MSHA inspections.                       Is that
 11       correct?
 12               A       That's correct.
 13               Q       And would you agree that you also
 14       started to raise more safety complaints to
 15       management in February because of what you were
 16       learning during the MSHA inspections?
 17               A       That's correct.
 18               Q       Did you start questioning management
 19       more about safety issues after February when you
 20       started walking around during MSHA inspections?
 21               A       Yes.
 22               Q       And that was about safety issues?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 387    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 269


  1               A       Yes.
  2                       JUDGE MORAN:          Who would you raise these
  3       questions with?
  4                       THE WITNESS:          John Spears.          Most of it
  5       in the beginning was the stacking was a huge.
  6                       JUDGE MORAN:          But you were voicing these
  7       concerns when you were learning more during walk
  8       around, you were voicing them to whom?
  9                       THE WITNESS:          To John Spears, the
 10       operations manager, and to MSHA inspectors.
 11                       JUDGE MORAN:          Okay.      I didn't know if
 12       you were voicing them to, for instance, to anyone
 13       else besides Mr. Spears.
 14                       THE WITNESS:          No.     It was all directed
 15       toward -- because everything went through, we got
 16       in trouble if we skipped, you know, we skipped
 17       John and tried to message Russell, we had to go
 18       through John to --
 19                       JUDGE MORAN:          Okay.      Go ahead.
 20                       BY MS. O'REILLY:
 21               Q       Was it your understanding that the
 22       system was you would speak to Mr. Spears and he


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 388    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 270


  1       would relay information to Mr. Tidaback?
  2               A       Yes.
  3               Q       When you received the issues to Mr.
  4       Spears, did he respond, indicating to you that he
  5       had spoke about those issues with Mr. Tidaback?
  6               A       Yes.
  7               Q       Turn to Page 40 of P34.                 And it looks
  8       like this May 7th conversation between Mr. Huber
  9       and Mr. Tidaback continues on, and then towards
 10       the top of this page there's a message on May 7th
 11       at 2:09 p.m., and you see -- you see three
 12       different messages from Mr. Tidaback and then the
 13       fourth one states that "He has made a friend at
 14       MSHA... he... Rob's a fool to think Keith is his
 15       friend."        Did I read that correct?
 16               A       Yes, you did.
 17               Q       And did you walk around with MSHA
 18       Inspector Keith Markeson during inspections?
 19               A       Yes.
 20               Q       Did you walk around with him multiple
 21       times during MSHA inspections?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 389    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 271


  1               Q       Including inspections in the week before
  2       you were terminated?
  3               A       Yes.
  4               Q       Did you work with Mr. Markeson to try to
  5       improve safety at the mine?
  6               A       Yes.
  7               Q       And did you talk to Mr. Keith Markeson
  8       about safety issues at the mine?
  9               A       Yes, I did.
 10               Q       I'm going to turn your attention to
 11       Exhibit P12.          I'm going to direct you to Page 23.
 12               A       Okay.
 13               Q       Towards the bottom of the page.
 14                       JUDGE MORAN:          Before you do that, I take
 15       it that P12, you're representing that this was
 16       what it says, Respondent's Third Interrogatories
 17       Answers and Responses for Production of Documents.
 18       Right?      That's the document you're talking about
 19       and this is what you get from the Respondent?
 20                       MS. O'REILLY:           Yes.     This has been
 21       admitted previous.
 22                       JUDGE MORAN:          I understand that.              Did I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 390    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 272


  1       lose track of one?              Right.      No, P12.        We're on
  2       P12?     You sure we covered P12?                  I missed one.           I
  3       have P13.
  4                       MS. SMITH:         I wrote down P12.
  5                       JUDGE MORAN:          Okay.      And it was
  6       admitted.        Thank you for helping me with that.                        Go
  7       ahead, then.          I'm sorry.         Go right to the page you
  8       were talking about.
  9                       BY MS. O'REILLY:
 10               Q       Page 23, P12.           We're at the bottom of
 11       the page there's a message from you, y-o-u, on
 12       7-13-22, at 8:36 p.m.               Do you see that?
 13               A       Yes.
 14               Q       Who do you understand that you to be?
 15               A       Russell Tidaback.
 16               Q       And why do you say that?
 17               A       Because it had his picture next to it.
 18               Q       And this message looks like it was sent
 19       to the mill group chat.                 Is that correct?
 20               A       That's correct.
 21               Q       Would you have been a part of that group
 22       chat in July of 2022?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 391    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 273


  1               A       Yes.
  2               Q       And this message states dot, dot, dot,
  3       emoji, "and if you are asked a question by the
  4       inspector, keep your answer short and simple.
  5       Don't be," in quotes, "that guy," end quote,
  6       "Cameron LOL that thinks he knows it all and
  7       starts pointing out all the faults, etcetera."                              In
  8       parens, "I only named John Cameron since he
  9       doesn't work with us any longer," emoji end
 10       parens.       Did I read that correctly?
 11               A       Yes.
 12               Q       So they were communicating with you
 13       almost since the start of your employment that you
 14       should not be pointing out MSHA's -- issues to
 15       MSHA.       Correct?
 16               A       Correct.
 17               Q       Did statements like this make you
 18       nervous to speak to MSHA?
 19               A       Yes.
 20               Q       Were you concerned that statements like
 21       this deterred miners in speaking to MSHA?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 392    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 274


  1               Q       Can you think of any examples that led
  2       you to believe that other miners were deterred
  3       from speaking to MSHA by this?
  4               A       Just, for instance, this Cameron and
  5       Terry had been involved with some inspections and
  6       had pointed some things out, and then like a week
  7       later they were both terminated.
  8               Q       I think you did say Cameron but earlier
  9       you said Carson?
 10               A       Carson and Terry.             I apologize.          Too
 11       much to keep track of it.
 12               Q       Okay.      And I will direct your attention
 13       to Exhibit P11.
 14                       JUDGE MORAN:          Is this new or another one
 15       I missed?
 16                       MS. O'REILLY:           This is new.
 17                       JUDGE MORAN:          Okay.
 18                       BY MS. O'REILLY:
 19               Q       And do you know what this document is?
 20               A       More Teams messages.
 21               Q       And do you understand these Teams
 22       messages that were produced in discovery by


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 393    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 275


  1       Respondent in this case?
  2               A       Yes.
  3                       MS. O'REILLY:           I would move to admit
  4       Exhibit P11 as a document that was produced by
  5       Respondent in discovery in this case which
  6       contains admissions and statements.
  7                       JUDGE MORAN:          Any objection to P11?
  8                       MR. TIDABACK:           No objection, Your Honor.
  9                       JUDGE MORAN:          P11 is admitted.
 10                               (Complainant's Exhibit P-11 was
 11                               marked for identification and
 12                               received in evidence.)
 13                       BY MS. O'REILLY:
 14               Q       And if you could turn to Page 2 of P11.
 15       In the second message on that page from John
 16       Spears dated April 14th, at 2:07 p.m.                         Do you see
 17       that?
 18               A       Yes.
 19               Q       And that's to ATMO Safety.                  Do you see
 20       that?
 21               A       Yes.
 22               Q       And I think you earlier discussed that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 394    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 276


  1       you would have been part of the safety, ATMO
  2       safety group chat?
  3               A       Yes.
  4               Q       And this message states dot dot dot,
  5       "I'm telling you guys... Keith is a snake... be
  6       cautious on what you say to and around him.                             Any
  7       MSHA inspector really.                Michael Van Dorn, ex-MSHA
  8       employee... good reference."                    Then lists a phone
  9       number.       "I spoke with him and he gave me a good
 10       rundown on Keith, Mr. Pratt, etcetera."                          Did I
 11       read that correct?
 12               A       Yes.
 13               Q       Did John Spears ever make any comments
 14       about not speaking to MSHA or not trusting MSHA
 15       inspectors during your employment?
 16               A       Yes.
 17               Q       These comments were coming from both Mr.
 18       Spears and Mr. Tidaback during your employment?
 19               A       Yes, they were.
 20               Q       Overall do you feel like American
 21       Tripoli took your concerns about safety seriously?
 22               A       No.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 395    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 277


  1               Q       And why do you say that?
  2               A       They, I mean, blatantly ignored most of
  3       the safety complaints.                Didn't fix any of the
  4       safety citations through MSHA, that MSHA wrote.
  5               Q       Were you ever prevented by American
  6       Tripoli from complying with MSHA safety standards?
  7               A       Yes.
  8               Q       In what ways?
  9               A       For instance, the one dam that was
 10       underneath the tube that was gathering the oil
 11       that we used to produce, the MSHA inspector said
 12       that it was a fire hazard and that we needed to do
 13       away with the dam and get the -- like a catch pan
 14       that we can empty multiple times a day, if we need
 15       to.     And I started, we and the mill associates,
 16       started to turn out to clean it up and was told by
 17       John Spears we ain't doing that.                      They can't make
 18       us do that.         It's been like that 60 years.
 19       Previous MSHA inspector said it was okay.                           We're
 20       not tearing that out.
 21                       And the product that was blocking -- the
 22       product that was on the floor that was blocking


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 396    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 278


  1       the electrical system, we were going to shuttle it
  2       up and we were told not to fix it because they
  3       were going to put it through the system.                           It was
  4       fine where it was at.
  5               Q       Do you know during your time with
  6       American Tripoli, did maintenance ever run into
  7       issues getting approval to fix items or safety
  8       issues that you raised?
  9               A       Multiple times.
 10               Q       Can you explain that?
 11               A       If anything took -- another instance,
 12       there was an instance that I was walking out with
 13       the MSHA inspectors and there was a worn out
 14       bearing on a shaft and there was a rag, just a
 15       greased rag shoved in there, and I don't think
 16       they even cited us for it, but the inspector said,
 17       hey that's, you know, that's a fire hazard, a
 18       greasy rag on a turning product.                      We need to get
 19       that out of there, so I pulled it out and took a
 20       picture of the bearing.                 Said, hey, we need to get
 21       this bearing replaced.                I can't remember the exact
 22       maintenance person at the time, got in --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 397    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 279


  1       actually, just called them.                   They came out, looked
  2       at it with me.           They couldn't get approval to get
  3       the bearings, to get the bearings replaced, to buy
  4       a new bearing to put on the shaft because it was
  5       going to cost down time and cost money.
  6               Q       Did you run into issues like that on
  7       multiple occasions?
  8               A       Yes.
  9               Q       With getting approval to spend money on
 10       necessary repairs?
 11               A       Multiple occasions.
 12               Q       Are you seeking back wages in this case?
 13               A       Yes.
 14               Q       And are you seeking back wages for the
 15       time you were unemployed as a result of your
 16       termination?
 17               A       Yes.
 18               Q       After you were terminated, when did you
 19       start looking for a new job?
 20               A       Immediately.          Next Monday.
 21               Q       And did you get a new job after you were
 22       terminated?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 398    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 280


  1                       COURT REPORTER:            I think we maybe froze
  2       again.      I'm not hearing anybody.
  3                       JUDGE MORAN:          She's okay?          Thank you.
  4               A       Yeah.      I believe I started in June -- my
  5       next job June 20th, I believe.
  6                       JUDGE MORAN:          I believe we have a record
  7       somewhere of when he started his new employment or
  8       are you just relying on his memory?
  9                       MS. O'REILLY:           I have a document that
 10       will refresh his memory if he does not remember.
 11                       THE WITNESS:          I honestly can't remember
 12       the exact date.
 13                       BY MS. O'REILLY:
 14               Q       Okay.
 15               A       I've went over it a hundred times, Your
 16       Honor, I'm sorry.
 17                       JUDGE MORAN:          Do you remember the name
 18       of the new company?
 19                       THE WITNESS:          Yes.      Schaeffler Group.
 20                       JUDGE MORAN:          What is it?
 21                       THE WITNESS:          Schaeffler Group.
 22                       JUDGE MORAN:          Are you employed with them


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 399    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 281


  1       now?
  2                       THE WITNESS:          No.     I worked there for
  3       seven days, and it was a machining company and
  4       their screens were up here (indicating), and I
  5       couldn't see -- I honestly just couldn't see the
  6       numbers.        So I went and spoke with my supervisor
  7       there.      I said, I'm having problems getting the
  8       machine set because I can't see, you know, can't
  9       see the numbers.            So he said, hey, we'll -- you
 10       know, we're going to try and work with you.
 11       You're good help, and I went and got an eye exam
 12       and I needed bifocals that were offset.
 13                       JUDGE MORAN:          Okay.      This may be more
 14       than I need to know, but.
 15                       THE WITNESS:          So I worked there seven
 16       days.
 17                       JUDGE MORAN:          And then?
 18                       THE WITNESS:          And then I started my new
 19       job that I am currently at Cherokee County Road
 20       and Bridge.
 21                       JUDGE MORAN:          How long after you stopped
 22       the previous job did you start with the Cherokee


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 400    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 282


  1       Road?
  2                       THE WITNESS:          After about four weeks
  3       after -- after leaving Schaeffer.
  4                       JUDGE MORAN:          So you just have a brief
  5       reemployment, a week, and then you were off again?
  6                       THE WITNESS:          Yeah.
  7                       BY MS. O'REILLY:
  8               Q       You don't recall the exact dates of when
  9       you started that first job with Schaeffler.                             Is
 10       that correct?
 11               A       Yes.
 12               Q       Do you have any documents that you have
 13       written that would refresh your recollection as to
 14       those dates?
 15               A       Yes.     I had made a sheet with all the
 16       dates and stuff.            It's actually in my little book
 17       over there.
 18               Q       If I were to show you a copy of your
 19       notes, would that refresh your memory as to the
 20       dates of your employment?
 21               A       Yes.
 22                       MS. O'REILLY:           May I approach the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 401    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 283


  1       witness?
  2                       JUDGE MORAN:          Yes.      Has the Respondent
  3       been provided with a copy of this?
  4                       MS. O'REILLY:           No, this is just his
  5       personal notes to refresh his recollection.
  6                       JUDGE MORAN:          Okay.      Do you recognize
  7       that as being your handwriting?
  8                       THE WITNESS:          Yes, Your Honor.             I
  9       started with Schaeffler --
 10                       BY MS. O'REILLY:
 11               Q       Sorry.      I'm going to stop you.                 Please
 12       read that and let me know when you're done reading
 13       it.
 14               A       Okay.
 15               Q       Because I'm going to take it away from
 16       you.     So let me know when you're done reading it.
 17               A       I was off work --
 18               Q       Okay.      No, don't read it out loud.                   I'm
 19       going to ask you to read it.
 20               A       And then --
 21               Q       Yeah.
 22               A       Oh, yeah, yeah.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 402    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 284


  1               Q       Just let me know when you're done.
  2               A       Okay.
  3               Q       And did that -- I have taken that
  4       document back.           Did that refresh your
  5       recollection?
  6               A       Yes.
  7               Q       When did you start working with
  8       Schaeffler Group?
  9               A       June the 13th through June 20th.
 10               Q       And that job was with Schaeffler.
 11       Correct?
 12               A       Yes.
 13               Q       And you left that job on June 20th?
 14               A       Yes.
 15               Q       And why did you leave that job?
 16               A       Because I needed special glasses to read
 17       their screens.
 18               Q       And were those glasses that you would
 19       have had to purchase yourself?
 20               A       Yes.
 21               Q       Could you afford to purchase the glasses
 22       that you needed to do that job?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 403    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 285


  1               A       No.
  2               Q       Did you have health insurance at the
  3       time?
  4               A       No.
  5               Q       And why not?
  6               A       I had just started.              I hadn't worked
  7       there long enough to get insurance.
  8               Q       And how much were those glasses?                      Do you
  9       recall?
 10               A       I believe they were about $830.
 11               Q       And why couldn't you afford those
 12       glasses?
 13               A       Because I'd been off work just
 14       collecting unemployment.
 15               Q       And if you hadn't been fired from
 16       American Tripoli, could you have afforded those
 17       glasses?
 18               A       Yes.
 19               Q       For example, if you had quit your job at
 20       American Tripoli to start that job immediately,
 21       would you have been able to afford those glasses
 22       then?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 404    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 286


  1               A       Yes.
  2               Q       Was your inability to afford the
  3       necessary glasses for that job the only reason you
  4       quit that job?
  5               A       Yes.
  6               Q       And what did you do after you left your
  7       position at Schaeffler?
  8               A       I went looking for jobs again, and I got
  9       a job with Cherokee County Road and Bridge.
 10               Q       And do you know when you started that
 11       current job?
 12               A       July 24th, I believe.
 13               Q       And you are still employed?
 14               A       Yes.
 15               Q       And that is the Cherokee County Road and
 16       Bridge?
 17               A       Yes.
 18               Q       And how much are you paid at that
 19       position?
 20               A       Sixteen dollars per hour.
 21               Q       And how many hours do you work?
 22               A       Forty hours a week.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 405    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 287


  1                       JUDGE MORAN:          What do you do for them?
  2                       THE WITNESS:          Everything.          Run -- I
  3       actually run a road groomer on the dirt roads.
  4       Pull it behind a tractor like a -- you know, a
  5       grader will come through and really tear it up,
  6       and I come through with the tractor and you have
  7       to set the machine right to get the right arch in
  8       the road.
  9                       JUDGE MORAN:          So heavy equipment
 10       operator?
 11                       THE WITNESS:          Yes.
 12                       BY MS. O'REILLY:
 13               Q       And that's with the state of Kansas?
 14               A       Yes.
 15               Q       And so you were terminated on April 27th
 16       of 2023 and then you were off work from June 13th
 17       of 2023 to work for Schaeffler.                     Correct?
 18               A       Correct.
 19               Q       And then you worked at Schaeffler from
 20       June 13th to June 20th and you were not seeking
 21       back wages for that time period where you had a
 22       job.     Correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 406    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 288


  1               A       No, I'm not.
  2               Q       Then after that job, you were off work
  3       from June 21st to July 23rd.                    Correct?
  4               A       Correct.
  5               Q       And for that time period, I believe that
  6       adds up to 62 working days.                   Is that correct?
  7               A       Yes.
  8               Q       And does that exclude Memorial Day and
  9       4th of July and holidays?
 10               A       Yes.
 11               Q       And is this the time period for which
 12       you are seeking back wages in this case?
 13               A       Yes.
 14               Q       And are you seeking back wages at the
 15       rate of $20 per hour that you made at American
 16       Tripoli?
 17               A       Yes.
 18               Q       And then did you calculate those back
 19       wages?      I assume you would have worked eight hours
 20       each of those days?
 21               A       Yes.
 22               Q       And I believe that works out to $9,920


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 407    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 289


  1       in back wages.           Is that correct?
  2               A       Yes.
  3               Q       Are you also seeking interest?
  4               A       Yes.
  5               Q       Did you incur any other expenses or
  6       suffer any other losses as a result of your
  7       termination?
  8               A       Yes.
  9               Q       And what are those?
 10               A       Personal losses.            I had to sell a little
 11       flatbed trailer and I had to sell some expensive
 12       fishing gear I had.
 13               Q       Why did you have to do that?
 14               A       To pay my house insurance.
 15               Q       About how much money were you out doing
 16       that?
 17               A       Around $1200.
 18               Q       Did you incur any expenses in your job
 19       search?
 20               A       Yes.
 21               Q       And what were those?
 22               A       Basically just gas money, driving to and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 408    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 290


  1       from interviews or employment places, Manpower,
  2       Penmac.
  3               Q       Could you explain driving to Manpower,
  4       Penmac?       What are those places?
  5               A       They're hiring -- hiring companies to
  6       help you get jobs.
  7               Q       So you took efforts to meet with those
  8       companies to try to get a new job quickly?
  9               A       Yes.     And I had to drive to the
 10       unemployment offices in Missouri and in Kansas.
 11               Q       And were those places far away from
 12       where you lived?
 13               A       Yes.
 14               Q       About how far away?
 15               A       About 35 to 40 miles one way each time.
 16               Q       About how many times did you have to
 17       make trips like that?
 18               A       I went to the unemployment office twice
 19       in Pittsburg, once over here, and then I went to
 20       like -- I went to Miami, Penmac, Manpower Joplin,
 21       so approximately six trips.
 22               Q       And you said once over here, were you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 409    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 291


  1       referring to Joplin?
  2               A       Joplin, yes, to the unemployment.
  3               Q       Do you have any estimate as to how much
  4       that cost you in gas?
  5               A       At least a few hundred dollars, a couple
  6       hundred dollars.            Two, three hundred dollars for
  7       the fuel and time.
  8               Q       Are you seeking any other damages in
  9       this case?
 10               A       No.
 11               Q       Would you like your termination wiped
 12       away from your personnel file as far as damages in
 13       this case?
 14               A       Yes.
 15               Q       And would you also like to ensure that
 16       American Tripoli can only give a neutral reference
 17       about your time there?
 18               A       Yes.
 19               Q       Are you seeking reinstatement?
 20               A       No.
 21               Q       Is that because you have a good job now
 22       that you like?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 410    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 292


  1               A       Yes.
  2               Q       Given the financial position that you
  3       were in after you were terminated, at some point
  4       in this process before you got your current job
  5       would you have considered going back to American
  6       Tripoli if the offer had been made?
  7               A       Yes.
  8               Q       But you undertook significant efforts to
  9       find a job after you were terminated so you never
 10       had to deal with that possibility?
 11               A       Yes.
 12               Q       And have you ever received an offer of
 13       reemployment from American Tripoli --
 14               A       No.
 15               Q       -- since you've been terminated?
 16               A       No.     Sorry.
 17               Q       Did you feel unsafe working for American
 18       Tripoli?
 19               A       Yes.
 20               Q       Would you fear for your safety if you
 21       returned to working at American Tripoli?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 411    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 293


  1               Q       Do you fear -- do you feel like you
  2       would be treated fairly if you returned to
  3       American Tripoli?
  4               A       No.
  5               Q       Do you fear you would be discriminated
  6       against if you returned to American Tripoli?
  7               A       Yes.
  8                       MS. O'REILLY:           That's all I have for
  9       this witness.
 10                       JUDGE MORAN:          Thank you.         So we're going
 11       to break.        Go off the record, and did you hear
 12       that, Ms. Blackerby?
 13                       COURT REPORTER:            Yes, I did.
 14                       JUDGE MORAN:          We'll take a ten-minute
 15       break.      It's 2:43.          We'll resume at 3:43.               Okay?
 16       You said yes?
 17                       COURT REPORTER:            Yes.
 18                       JUDGE MORAN:          I'm sorry.         I'm sorry.
 19       Ten minutes.          2:53.      Am I looking at the wrong
 20       watch here?         2:53.       What did I say, 3:53?               Sorry
 21       about that.
 22                               (Recess)


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 412    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 294


  1                       JUDGE MORAN:          We're going to go on the
  2       record now.         And, Mr. Tidaback, you ready to begin
  3       cross examining Mr. Baumann.                    Correct?
  4                       MR. TIDABACK:           Yes, Your Honor.
  5                       JUDGE MORAN:          Okay.      Go ahead, sir.
  6                       CROSS-EXAMINATION
  7                       BY MR. TIDABACK:
  8               Q       So the Court has a better understanding
  9       of how a plant works, that way we have better
 10       understanding of your roles in that plant as well,
 11       can you explain how your normal day with visiting
 12       of the plant is.
 13               A       My way of showing it would be to get
 14       there.      There was a certain way that all the
 15       machines had to be turned on, and then you had to
 16       let the system warm up and start maybe feeding the
 17       product through it to get the flow going.                           Once
 18       you got the flow going, then it started going into
 19       the finished product hopper, so it would go into
 20       the bags.        There was a multiple, multiple step
 21       thing to be able to get the finished product start
 22       coming out.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 413    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 295


  1               Q       Do you agree that the admin building,
  2       which is John and the safety person, is a separate
  3       building from the mill but it's separate just by
  4       probably 20 feet?
  5               A       Yes.
  6               Q       Okay.      And in the mill itself there is a
  7       first floor, a second floor, third floor and a
  8       fourth floor.           You would agree?
  9               A       Yes.
 10               Q       Okay.      So when -- when your position,
 11       the mill -- or the shift lead requests material to
 12       be brought in so that we can start putting it in
 13       the bag, you would make that request through Teams
 14       to contact the quarry operator to bring the
 15       material to the crusher.                 You agree with that?
 16               A       Yes.
 17               Q       Okay.      So when they brought that
 18       material into the crusher room, as you mentioned
 19       earlier, the crusher pit, you would task an
 20       associate, say hey, I need you to go crush the
 21       material.        Is that correct?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 414    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 296


  1               Q       Okay.      So that -- and after that
  2       material gets crushed, it goes to our storage
  3       tanks.      Is that correct?
  4               A       Yes.
  5               Q       After the storage tanks, based on the
  6       production schedule, the -- the material is
  7       required to be sent through the system to be put
  8       in the bag.         Is that correct?
  9               A       Yes.
 10               Q       Okay.      So with that, how many people did
 11       we ever have in the quarry?                   Do you remember?
 12               A       In the actual mill itself?
 13               Q       The quarry.
 14               A       When I first started I think there was
 15       two --
 16               Q       Okay.
 17               A       -- in the quarry.
 18               Q       So it's normally, and see if you agree,
 19       there's only one person in the quarry.                          It's
 20       actually Max Drake.              I don't know if you remember
 21       Max.
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 415    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 297


  1               Q       Okay.      So in the quarry there was Max
  2       Drake.      Did you know that Max Drake was a miners
  3       representative at one time?
  4               A       No.
  5               Q       Did you know that Randy Drake -- do you
  6       remember Randy Drake?
  7               A       No, he wasn't there when I was there.
  8               Q       Okay.      He was also a miners
  9       representative.
 10                       MS. O'REILLY:           Objection, argumentative.
 11       The questioning is testifying.
 12                       JUDGE MORAN:          I'll overrule the
 13       objection.         Go ahead.
 14                       BY MR. TIDABACK:
 15               Q       So I'll strike that.               I'm sorry.         During
 16       your normal day process -- well, let me back a
 17       little more.          Okay.      If you would, look at Exhibit
 18       RI.
 19                       JUDGE MORAN:          Respondent's Exhibit RI?
 20                       MR. TIDABACK:           Yes, sir.
 21                       JUDGE MORAN:          I'm going to have to get
 22       that in front of me.               Are you going to be


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 416    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 298


  1       referring to -- during your cross examination are
  2       you going to be looking at your exhibit, your
  3       intended exhibits or should I keep the Secretary's
  4       exhibits at hand as well?
  5                       MR. TIDABACK:           It could be a mixture and
  6       I will make sure to designate.
  7                       JUDGE MORAN:          Okay.      So let me get ahold
  8       of that now.          I'm going to be looking at the large
  9       binder you sent me for this.
 10                       MR. TIDABACK:           Yes.     Your Honor, they
 11       should all have the same exhibit numbers.
 12                       JUDGE MORAN:          Markings?
 13                       MR. TIDABACK:           Yes, Your Honor.
 14                       JUDGE MORAN:          And did you say R and then
 15       the letter I, as in iota?
 16                       MR. TIDABACK:           Iota, yes, Your Honor.
 17                       JUDGE MORAN:          Iota, okay.          What I want
 18       you do to in the future for each of those to help
 19       me, this is strictly to help me out, is you'll say
 20       I'm asking the Court to direct its attention now
 21       to Respondent's Exhibit RI, and then you'll say
 22       it's identified as a production lead duties, if


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 417    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 299


  1       I'm correct, if I'm on the right page?
  2                       MR. TIDABACK:           Yes, Your Honor.            That's
  3       what we're referring to.
  4                       BY MR. TIDABACK:
  5               Q       So refer to the tag and then refer to
  6       the title of the page.
  7                       JUDGE MORAN:          Just so I make sure I'm on
  8       the same page.           Are we all on RI?              Okay.      Go
  9       ahead.
 10                       MR. TIDABACK:           Production lead duties.
 11                       JUDGE MORAN:          Yes.
 12                       BY MR. TIDABACK:
 13               Q       Okay.      There, Mr. Baumann?
 14               A       Do what?
 15               Q       Are you on RI?
 16               A       Yes.
 17               Q       Do you remember this document during our
 18       -- sent to you during your initial interview
 19       process?
 20               A       No.
 21                       MS. O'REILLY:           Objection, fails to lay a
 22       foundation for the statements that are being made


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 418    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 300


  1       in the question.
  2                       JUDGE MORAN:          He's asking if he
  3       remembers this document that's in front of him.
  4                       MS. O'REILLY:           Right, but he's adding
  5       them in there about facts that aren't in evidence.
  6       I provided this to you during your --
  7                       JUDGE MORAN:          Yes.      You can't do that.
  8       So I sustain the objection, so just take it a step
  9       at a time.         You asked him if he recalls this
 10       document.        RI, do you recall that document, sir?
 11                       THE WITNESS:          No.
 12                       JUDGE MORAN:          You have not -- this is
 13       not -- you're not able to identify.                        Is that
 14       correct?
 15                       THE WITNESS:          Yes.      I do not identify
 16       it.
 17                       JUDGE MORAN:          Okay.
 18                       MR. TIDABACK:           Okay.
 19                       JUDGE MORAN:          Now, let me just help you.
 20       Not in terms of winning the case or losing the
 21       case, but just this doesn't mean that this exhibit
 22       won't get in at some point.                   If you have a


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 419    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 301


  1       witness, it might be yourself, I don't know.
  2       That's going to be awkward.                   It is awkward when
  3       the person who's acting as a pro se litigant is
  4       testifying.         It's -- we can muddle our way through
  5       it, but my point is simply that you can still get
  6       this exhibit in if you're -- if your intention is
  7       to show what production lead duties are, and then
  8       I assume you want to tie that in with what Mr.
  9       Baumann has done.             Is that correct?             Because isn't
 10       that one of your contentions, that the job that he
 11       says he did were not really within his purview?
 12                       MR. TIDABACK:           Correct, Your Honor.
 13                       JUDGE MORAN:          Okay.      Anyway, you run
 14       into a dead end at least at this point for
 15       production lead duties.                 You have not seen this
 16       before?
 17                       THE WITNESS:          No, Your Honor.
 18                       JUDGE MORAN:          Okay.
 19                       BY MR. TIDABACK:
 20               Q       So browsing through this document, do
 21       you agree that these duties, and I can explain
 22       more in it.         Okay.       So if we go in the middle of


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 420    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 302


  1       the page, talks about control room back of
  2       assistance.         Need to know that 90 days.                   Okay.
  3       And then underneath that, the next bullet says
  4       note production and production supply inventory
  5       and has the brackets around it, and it says the
  6       operations manager.              That is for the person that
  7       is the backup to the shift lead.
  8                       JUDGE MORAN:          See, you're testifying
  9       right now.
 10                       MR. TIDABACK:           Oh, sorry.         Okay.
 11                       JUDGE MORAN:          You're asking him -- I
 12       assume what you're trying to ask him is looking
 13       over this exhibit does he recognize the items in
 14       this exhibit as being the duties of the production
 15       lead.      Is that what you're trying to ask him?
 16                       MR. TIDABACK:           Yes, Your Honor.
 17                       JUDGE MORAN:          All right.         Was your
 18       position production lead?                  Were you the production
 19       lead?
 20                       THE WITNESS:          I was told I was hired to
 21       be the production supervisor, but tomatoes
 22       tomatoes, my opinion on that.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 421    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 303


  1                       JUDGE MORAN:          Okay.      So my point is that
  2       whether we say production lead or production, what
  3       was the other term you just used?
  4                       THE WITNESS:          Supervisor.
  5                       JUDGE MORAN:          They're equivalent, lead
  6       or supervisor, synonymous terms.
  7                       THE WITNESS:          Sure.
  8                       JUDGE MORAN:          So looking over this
  9       exhibit, do you recognize this as being consistent
 10       with your responsibilities as the production
 11       supervisor or using the alternative term,
 12       production lead?
 13                       THE WITNESS:          Some of it, yes.             Your
 14       Honor, some of them no.                 I never got a training
 15       packet or any, you know what I mean, so.
 16                       JUDGE MORAN:          So he identifies some of
 17       them, but he doesn't -- he doesn't concur that
 18       this isn't an accurate description because some of
 19       them he does not recognize as being part of his
 20       responsibilities.
 21                       MR. TIDABACK:           Okay.      Your Honor.          If we
 22       could refer to Respondent's Exhibit RJ, which is


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 422    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 304


  1       the supervisor versus lead worker document.
  2                       THE WITNESS:          Okay.
  3                       JUDGE MORAN:          This may be, again,
  4       something where, depending upon your questions and
  5       the answer, that this may come in through
  6       testimony from your own witnesses.                       I'm not -- you
  7       can ask him and then we'll see where we are.
  8       We'll see if you have an objection.                        As of right
  9       now, though, RI is not admitted.
 10                       MR. TIDABACK:           Okay.
 11                       JUDGE MORAN:          Now we're on RJ.             Do you
 12       have a question for Mr. Baumann?
 13                       MR. TIDABACK:           Yes, Your Honor.
 14                       BY MR. TIDABACK:
 15               Q       Have you seen this document?
 16               A       No.
 17               Q       Okay.      In Teams, on all the files that
 18       we have access to, do you recall this document or
 19       the previous document being in those files?
 20               A       No.
 21               Q       Okay.
 22                       JUDGE MORAN:          So let me just opine, Mr.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 423    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 305


  1       Tidaback, and I'm not trying to stymie you in this
  2       case, but what I'm doing is being open about my
  3       thoughts, and my initial reaction, subject to your
  4       witnesses and so forth is, let's assume that
  5       there's a difference between a supervisor and a
  6       lead worker and let's assume further that Mr.
  7       Baumann fits in one category but not the other.
  8       See, it may be unfair from your perspective.                             I
  9       hesitate -- I want to include from your
 10       perspective, but what I'm suggesting is I'm not
 11       sure that this would matter in terms of what I
 12       have to decide, in that -- that the real issues of
 13       what I talked about in the beginning, when I
 14       talked about the core elements of proving miner
 15       discrimination and so whether supervisor or lead
 16       worker, this individual, the complainant, could be
 17       all of these, either of these, none of these.                              But
 18       he would still be entitled to whatever he was
 19       doing for your company to lodge a complaint of
 20       discrimination and adverse action because of
 21       exercising his rights.
 22                       So my point is, he wouldn't necessarily


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 424    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 306


  1       be -- he wouldn't be foreclosed from being -- from
  2       making a complaint if I said he wasn't a
  3       supervisor.         No, he wasn't a lead worker.                    He
  4       could be anyone employed at the mine and still
  5       have the rights, and I had several cases where
  6       someone is not in any sense a supervisor.                           They're
  7       just a worker at the mine, operating some piece of
  8       machinery.
  9                       MR. TIDABACK:           Okay.
 10                       JUDGE MORAN:          So hopefully that --
 11                       MR. TIDABACK:           That makes sense, Your
 12       Honor.
 13                       JUDGE MORAN:          -- clarifies to you where
 14       I'm coming from, but if you think that if he was
 15       incorrectly describing his job duties, etcetera,
 16       it does not matter in terms of establishing a case
 17       of discrimination.
 18                       MR. TIDABACK:           Right.      And that's case
 19       in discrimination, when we talked about, it's part
 20       of the -- let me get to this part, Your Honor, and
 21       hopefully this is correct.
 22                       JUDGE MORAN:          You're going to turn to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 425    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 307


  1       another one of your exhibits?
  2                       MR. TIDABACK:           Yes, Your Honor.
  3                       JUDGE MORAN:          Sure.      That's fine.
  4                       BY MR. TIDABACK:
  5               Q       So under the first discovery request, if
  6       I remember correctly -- change things.
  7                       JUDGE MORAN:          Let me just try and be a
  8       little more -- highlight the example.                         If we
  9       assume that Mr. Baumann's job was to push a broom
 10       and that's all, if he's discriminated against
 11       because he's asserting rights under the Mine Act,
 12       he's still protected no matter what his title is.
 13       Him for sure and anyone else is potentially
 14       covered.
 15                       MR. TIDABACK:           Okay.
 16                       JUDGE MORAN:          Now, you want me to look
 17       at some other exhibit?
 18                       MR. TIDABACK:           I'm trying to find the
 19       response to the Secretary's request, and I do
 20       believe --
 21                       JUDGE MORAN:          Okay.
 22                       MR. TIDABACK:           -- that will put me off.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 426    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 308


  1       Let's see here.            Yeah.
  2                       BY MR. TIDABACK:
  3               Q       During your time, Mr. Baumann, do you
  4       recall, as you mentioned in your testimony, there
  5       were phone calls that you and I had one-on-one,
  6       personal phone calls, and you had mentioned
  7       approximately ten of them, if I remember
  8       correctly?
  9                       MS. O'REILLY:           Objection, that misstates
 10       his testimony.
 11                       JUDGE MORAN:          You have to speak up with
 12       your objection.            Your objection is what?
 13                       MS. O'REILLY:           Misstates the testimony.
 14                       JUDGE MORAN:          Well, he didn't -- he said
 15       if he remembers correctly, and the witness can say
 16       that no, the number -- the number of calls was
 17       what, and I don't know that the number of calls,
 18       if it's eight, nine or ten or seven or six, that
 19       it matters.         There were calls, apparently, is that
 20       true, one-on-one calls that you had or maybe not.
 21       Did you have calls directly with Mr. Tidaback?
 22                       THE WITNESS:          One or two, to my


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 427    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 309


  1       knowledge, that I remember, just direct.
  2                       JUDGE MORAN:          Okay.
  3                       THE WITNESS:          And I always called him.
  4                       JUDGE MORAN:          You never received a call
  5       from him initiated by him?
  6                       THE WITNESS:          No, Your Honor.
  7                       JUDGE MORAN:          Okay.      All right.
  8                       THE WITNESS:          Not to my recollection.
  9                       JUDGE MORAN:          Okay.      That's all we can
 10       ask for is what your best recollection is.                            Now
 11       you have a question about your communication with
 12       this witness.           Go ahead, sir.
 13                       BY MR. TIDABACK:
 14               Q       Mr. Baumann, you mentioned that you had
 15       never made a call or I never made a call to you.
 16       Remember in the conversations while you were
 17       working in the mill having computer problems that
 18       I initiated a call with you?
 19                       JUDGE MORAN:          Do you recall that?
 20                       THE WITNESS:          No, I do not recall that.
 21                       BY MR. TIDABACK:
 22               Q       So in our one-on-one conversations, as


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 428    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 310


  1       the judge pointed out earlier, during those calls
  2       we talked about performance, we talked about
  3       production schedule, we talked about maintenance
  4       issues.       Do you remember any of that?
  5               A       No.     I always messaged on Teams about --
  6       if it had computer problems or something, I would
  7       use my personal phone to message on the Teams.                              I
  8       do not recall any personal calls.
  9               Q       So in Teams -- or in your control room
 10       office area there was never a headset in there
 11       that you could actually make phone calls from?
 12               A       No.
 13               Q       Okay.      With those phone calls, when we
 14       made the initial -- the initial phone call that we
 15       had, if you remember correctly, was how to -- how
 16       to properly input or how to gain access to the
 17       daily production spreadsheet.                    Do you remember
 18       that?
 19               A       No.     Christine showed me everything.
 20       Christine and Terry at the time showed me how to
 21       do the stuff through the computer on the
 22       production.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 429    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 311


  1                       JUDGE MORAN:          How to input production?
  2                       THE WITNESS:          How to input production
  3       information.          Yes.
  4                       BY MR. TIDABACK:
  5               Q       So your -- so your statement is you
  6       don't recall any of the calls that I made, or that
  7       we had about performance, about production, about
  8       the numbers not getting correctly, about the
  9       personnel not showing up on time, personnel
 10       leaving early or going to day shift.                        None of
 11       those conversations ever happened?
 12               A       No.     They were all on Teams about me
 13       going to days, and if I had computer problems I
 14       always messaged on Teams.
 15               Q       Okay.      So during those phone calls, what
 16       time would it have been that those calls would
 17       have been made?
 18                       JUDGE MORAN:          You know, first of all,
 19       he's denied that the phone calls were made by you
 20       on the subjects that you identified, so he can't
 21       very well tell you the times the calls were made
 22       since he denies that they were made.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 430    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 312


  1                       BY MR. TIDABACK:
  2               Q       When you were first starting, Mr.
  3       Baumann, what shift did you work, what time of
  4       day?
  5               A       8:00 a.m. to 4:30 p.m.
  6               Q       Okay.      That is correct.             So during that
  7       first two to three months you were in training
  8       with Mr. Huber.            Is that correct?
  9               A       Yes.     That's what -- yeah.               We never got
 10       a training packet or anything like that, but yeah,
 11       Jim showed me how to run the mill.
 12               Q       Okay.      Jim being Mr. Huber, which is the
 13       only person that had more experience than myself
 14       opening the business.               Is that correct?
 15                       MS. O'REILLY:           Objection, he's trying to
 16       testify.
 17                       JUDGE MORAN:          You're crossing a line
 18       between asking a question and testifying when you
 19       say that he's the only person that had more
 20       experience than you did, okay?                     If I'm
 21       characterizing what you just said correctly.
 22                       MR. TIDABACK:           Sorry.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 431    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 313


  1                       JUDGE MORAN:          What you have to focus on
  2       here is not layering in your opinion about
  3       something.         What you kind of tap is what Mr.
  4       Baumann knows and recalls in his interactions,
  5       first of all, with you.                 He says virtually none
  6       that he can recall.              Okay.      That's his testimony.
  7       But what you're tapping into is his memory of his
  8       experiences of working at American Tripoli.                             So
  9       you have to sort of stay away -- not sort of, you
 10       have to stay away from when you add in additional
 11       information which has sort of overtones of
 12       testimony.         Saying one person had more experience
 13       than another in your question.                     You see?        You can
 14       ask him who had more experience if he knows about
 15       a particular individual, but you can't build that
 16       into your question.              Remember, you're tapping his
 17       memory about his experience at American Tripoli.
 18                       MR. TIDABACK:           Okay.      Yeah.      Thanks,
 19       Your Honor.         Okay.
 20                       JUDGE MORAN:          This is tough.            I agree.
 21       It's a tough situation you're not an attorney.
 22                       MR. TIDABACK:           I'm trying to decide or


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 432    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 314


  1       trying to figure out the questions that I had, if
  2       they're actually questions or if actually
  3       testimony.
  4                       JUDGE MORAN:          Right.       I'm sure that Ms.
  5       O'Reilly will let you know.
  6                       MR. TIDABACK:           Thank you, yes.
  7                       BY MR. TIDABACK:
  8               Q       Okay.      And I don't mean to -- okay.                    So
  9       in your Complaint you stated you oversee
 10       employees.
 11                       MR. TIDABACK:           No, sorry, Your Honor.
 12       Trying to get to the point where it's about --
 13                       JUDGE MORAN:          You can break it down.
 14       You could say, Mr. Baumann, is it your testimony
 15       that you oversaw employees?                   He will answer that.
 16       You can ask that, because that's a question.
 17       You're not asserting it.                 So if you want to ask
 18       him a question or the oversaw employees, you may
 19       do so.
 20                       BY MR. TIDABACK:
 21               Q       Okay.      Did you -- did you, Mr. Baumann,
 22       read the employee handbook?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 433    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 315


  1               A       No.
  2               Q       Okay.
  3               A       I didn't get one on that.                  Teams or
  4       whatever.        Never got it.           Never got showed any of
  5       that stuff.
  6               Q       And how many months did you work at
  7       American Tripoli?
  8               A       Ten.
  9               Q       So in those ten months, myself -- sorry.
 10       Okay.
 11                       JUDGE MORAN:          Well, he's given you a
 12       flat answer.          He never looked at the employee
 13       handbook.        Is that what you called it?
 14                       MR. TIDABACK:           Yes, sir.        Yes, sir.
 15                       JUDGE MORAN:          He said no, and then he
 16       amplified the answer which is appropriate to give
 17       a full answer, that nor was it -- was it handed to
 18       him to look over.             Is that your testimony, you
 19       were not presented with that to look it over and
 20       study it?
 21                       THE WITNESS:          No, Your Honor.            I mean,
 22       yes, Your Honor.            This is our handbook, this is


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 434    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 316


  1       our employee handbook.                I was never given that.
  2                       JUDGE MORAN:          Okay.
  3                       BY MR. TIDABACK:
  4               Q       Okay.      You were never given the location
  5       since our employee handbook -- since our employee
  6       handbook is on the internet on our home page, did
  7       you ever review our home page?
  8                       MS. O'REILLY:           Objection, again,
  9       argumentative and testifying --
 10                       JUDGE MORAN:          Yes.      I have to sustain --
 11       I have to sustain the objection.                      But you can
 12       frame it in a different way.                    You can just say,
 13       Mr. Baumann, did you ever on the internet see the
 14       employee handbook?              And the answer is?
 15                       THE WITNESS:          No.
 16                       JUDGE MORAN:          Were you ever directed to
 17       go to the internet and take a look at the employee
 18       handbook?
 19                       THE WITNESS:          No.
 20                       JUDGE MORAN:          Was it ever called to your
 21       attention that there was an employee handbook that
 22       you could see in various locations?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 435    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 317


  1                       THE WITNESS:          Yes.      It was brought to my
  2       attention that the employee handbook was on the
  3       website.
  4                       JUDGE MORAN:          Okay.      And you didn't take
  5       it on your own to then review that?
  6                       THE WITNESS:          No, Your Honor, I did not.
  7                       JUDGE MORAN:          Were you asked to review
  8       it?
  9                       THE WITNESS:          No, Your Honor, I wasn't.
 10                       JUDGE MORAN:          Okay.
 11                       BY MR. TIDABACK:
 12               Q       And if I understand correctly, you don't
 13       recall the files that were, all the training files
 14       which include -- were available to you on Teams?
 15               A       No.     When I first got hired they told
 16       about a booklet, pamphlet, you know, like a step
 17       by step, and I never received it.                       They were going
 18       to -- a train pamphlet, training booklet, and I
 19       never got one.
 20               Q       Who is they?
 21               A       Christine Schreiber.
 22               Q       Do we have any paper booklets at all?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 436    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 318


  1               A       You didn't -- she said that she was
  2       going to have a make a training, a training -- or
  3       training, whatever you call them, sorry, Your
  4       Honor.      I'm not real technical, but they were
  5       supposed to make training, and then I'd go and get
  6       in a week and then train, and then --
  7                       COURT REPORTER:            I'm sorry.         It's
  8       jumbled.        I'm not hearing him.               It's not picking
  9       you up.       It's all jumbled.
 10                       JUDGE MORAN:          Okay.      I appreciate your
 11       speaking up.          That's important.             I have told you
 12       that before, but it's appreciated, so continue to
 13       do that anytime you're breaking up or someone is
 14       speaking insufficiently loud.                    Okay?
 15                       COURT REPORTER:            I will do that.
 16                       JUDGE MORAN:          What did she -- I didn't
 17       hear her response.              She said yes?
 18                       COURT REPORTER:            Yes, I will do that.
 19                       JUDGE MORAN:          Okay.      Go ahead.
 20                       BY MR. TIDABACK:
 21               Q       In the ten months that you worked there
 22       did you ever bring it forward that you didn't read


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 437    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 319


  1       the employee handbook?
  2               A       No.
  3               Q       That you didn't have access to it.                       Did,
  4       in those ten months, did you ever attempt to read
  5       or request that employee handbook or operations
  6       book, any of the training materials?
  7               A       No.
  8               Q       If there was no training documents
  9       provided to you, how did you learn your job?
 10               A       Jim just showed me how to start the mill
 11       up.
 12               Q       Okay.      So after Jim, if Jim was out, how
 13       did you start the mill up?
 14               A       I did it myself by memory.
 15               Q       How many steps are in the startup
 16       checklist?
 17               A       I don't recall off the top of my head.
 18       We made a paper startup list --
 19               Q       Okay.
 20               A       -- while Christine was there, but I was
 21       part of making that.
 22               Q       Okay.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 438    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 320


  1                       JUDGE MORAN:          Okay.
  2                       BY MR. TIDABACK:
  3               Q       So in that employee -- you knew
  4       Christine Schreiber before American Tripoli.
  5       Correct?
  6               A       Yes.     She was the boss at Schreibers.
  7               Q       So she was your boss at Schreibers, and
  8       then she was your supervisor at American Tripoli?
  9               A       Yes.
 10               Q       Okay.      How often did you receive
 11       feedback on your performance from Christine?
 12               A       She come over every day at the end of
 13       the day.
 14               Q       Okay.      So every day.           So that would be
 15       an example of an instance where you were given
 16       advice or guidance?
 17               A       She just asked how things went.
 18               Q       Did you respond to feedback or
 19       instructions given?
 20               A       She never gave me any instructions or
 21       feedback.        She asked me how things were going or
 22       how the day went and if I'd learned some stuff,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 439    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 321


  1       and I'd say, yeah, and she'd say, doing great.
  2       Keep it up.
  3               Q       Were there any negative feedback given
  4       to you?
  5               A       No.
  6               Q       Were there instances that she brought
  7       forward or anyone else brought forward that you
  8       were not meeting your job expectations?
  9               A       No.
 10               Q       Okay.      And you had interactions with Mr.
 11       Spears, your immediate supervisor.                       Correct?
 12               A       Yes.
 13               Q       Okay.      Can you describe the nature of
 14       those interactions?
 15               A       Wow.     They have been -- I mean, he was
 16       over there all the time, so no.
 17               Q       Was he there to assist you?
 18               A       He would try and help if he could.                       He
 19       was usually working on stuff separately.
 20               Q       Like, for example?
 21               A       He was trying to fix something, or would
 22       be -- he would just walk through the mill, you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 440    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 322


  1       know.       He was really good about helping us grease
  2       things and stuff like that.
  3               Q       Okay.      So if -- if I'm understanding
  4       correctly, if you were absent that day, Mr. Spears
  5       would take your place.                Is that correct?
  6               A       No.     Jim would start the mill if I
  7       wasn't able to be there.
  8               Q       Okay.      So if -- right.            If Jim was not
  9       there, who would start the mill?
 10               A       I would.
 11               Q       Okay.      If Jim wasn't there and you
 12       weren't there, who would start the mill?
 13               A       I don't think it ever started without us
 14       being there.
 15               Q       So you've never seen Mr. Spears start
 16       the mill?
 17               A       No.
 18               Q       Even using that checklist that you
 19       helped provide?
 20               A       I've seen him try to start the mill, but
 21       he never could.            I never seen him go through each
 22       step and get the mill to run.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 441    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 323


  1               Q       So this checklist that you're
  2       referencing, it shows every step by step to
  3       completely start the mill.                  Correct?
  4               A       Yes.
  5               Q       Okay.      So would there be any reason why
  6       you would think that Mr. Spears couldn't start the
  7       mill if he followed the checklist?
  8                       MS. O'REILLY:           Objection, misstates
  9       testimony.
 10                       JUDGE MORAN:          I sustain the objection.
 11       That's something it's unanswerable on his part as
 12       to what was in the mind of Mr. Spears as to why he
 13       might not be able to start up the mill.
 14                       MR. TIDABACK:           Yes, sir.
 15                       BY MR. TIDABACK:
 16               Q       All right.         Okay.      Were there instances
 17       where disagreements with Christine or Mr. Spears
 18       which led to raised voices by yourself or
 19       confrontations by yourself?
 20               A       Yeah.      I probably did raise my voice
 21       around John Spears more than once in frustration.
 22               Q       So there are times where you were


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 442    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 324


  1       yelling at your boss?
  2               A       Not directly.           I was yelling about a
  3       situation to my boss.               Not yelling at my boss.
  4               Q       And in these disagreements -- okay.                        In
  5       those times were there ever a time -- were there
  6       ever situations where your emotions took over and
  7       you got mad, yelled, cussed, stomped off in anger?
  8                       MS. O'REILLY:           Objection, compound.
  9                       JUDGE MORAN:          I'm going to allow the
 10       question.
 11                       THE WITNESS:          Do what?
 12                       JUDGE MORAN:          The question may be
 13       answered.        He asked were there moments when you
 14       would yell, stomp off, have angry interaction with
 15       Mr. Spears.         Is that your -- the gist of your
 16       question?
 17                       MR. TIDABACK:           Yes, Your Honor.
 18                       THE WITNESS:          Not towards Mr. Spears.
 19       Yes, there was times I raised my voice.                          I never,
 20       never stomped off, and always stayed hooked.
 21                       BY MR. TIDABACK:
 22               Q       Did you receive any feedback about your


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 443    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 325


  1       behavior during these --
  2               A       No.
  3               Q       -- hostile?         Has anybody ever said to
  4       you that you created a hostile environment by
  5       screaming, getting mad and stomping off?
  6               A       No.
  7                       JUDGE MORAN:          So I'm sure this is
  8       obvious to the Secretary, but what Mr. Tidaback is
  9       attempting to show is this second aspect of the
 10       defense that how even if we assume for argument
 11       sake that protected activity occurred and an
 12       adverse action occurred, this is under the thrust,
 13       I think you would agree, of but we would have
 14       fired the fellow anyway because of his behavior,
 15       even though he's denied it here, about his
 16       interactions with Mr. Spears and perhaps with
 17       others.       So that's -- I just wanted to point that
 18       out, and that's fine.               That's fair ground for the
 19       second aspect of a defense that any Respondent may
 20       raise.      Okay.       Go ahead.        Yes.      I'm sorry, I just
 21       wanted to set that on the record, in my view
 22       that's what's going on.                 Your questions are


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 444    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 326


  1       directed at -- to the second part of the defense
  2       to a discrimination complaint.
  3                       MR. TIDABACK:           I'm impressed that you
  4       got that the little bit that I put out.                          Yes, you
  5       are correct, Your Honor.
  6                       JUDGE MORAN:          Okay.
  7                       BY MR. TIDABACK:
  8               Q       So, Mr. Baumann, how do you respond to
  9       the allegations that your actions or demeanor
 10       negatively impacted the morale or efficiency of
 11       the team there?
 12                       MS. O'REILLY:           Objection, this is
 13       assuming facts that are not in evidence and it's
 14       argumentative.
 15                       JUDGE MORAN:          I sustain the objection.
 16                       BY MR. TIDABACK:
 17               Q       Would you agree that working at American
 18       Tripoli is like a professional sports team.                             We're
 19       not a family.           Families have unconditional love
 20       for each other.            Sports teams are expected to
 21       provide results.            So, for example, just to lighten
 22       the mood a little bit, if the Kansas City Chiefs


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 445    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 327


  1       were losing wouldn't they replace Patrick Mahomes?
  2                       MS. O'REILLY:           Objection, calls for
  3       speculation, argumentative, not laying the
  4       foundation and he's testifying in the question.
  5                       JUDGE MORAN:          I have to sustain it and
  6       not to try and be funny, but I don't know any
  7       families with unconditional love, but.
  8                       MR. TIDABACK:           I agree with that.
  9                       JUDGE MORAN:          Anyway, so make another
 10       attempt at your -- maybe not this question, okay.
 11       You know, you'll have your witnesses, I assume,
 12       who are going to say something to the effect that
 13       Mr. Baumann had issues in terms -- and getting
 14       along with others, following instructions,
 15       listening to counseling or not listening to
 16       counseling, that's all part of the second tier.
 17       So try again with something else.
 18                       MR. TIDABACK:           Yes, Your Honor.
 19                       BY MR. TIDABACK:
 20               Q       Okay.      Do you agree that we have to all
 21       -- it takes more than -- as you stated in your
 22       testimony earlier, it takes more than one person


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 446    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 328


  1       to operate the mill.               Is that correct?
  2               A       Oh, yes.
  3               Q       Okay.      So with that notion, it takes us
  4       to get things done, not one person?
  5               A       Yes.
  6               Q       So with that, if one person creates a
  7       hostile environment, is it not difficult to work
  8       in that environment?
  9               A       Yes.
 10               Q       Okay.      So after the issue of the 104(b),
 11       you stated that you were involved with the
 12       inspection results.              Is that your recollection?
 13               A       Yes.
 14               Q       Did you ever attend a preinspection
 15       brief?
 16               A       Yes.
 17               Q       Do you have dates or any proof of that?
 18               A       I don't, but it would be in the -- they
 19       would -- the MSHA inspector would have put that I
 20       attended.
 21               Q       Okay.      And what --
 22               A       Because I went over in the admin


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 447    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 329


  1       building before they done their -- did their
  2       walk-through.
  3               Q       And if no MSHA reports show that, how
  4       would you -- how would you respond to that?
  5               A       There's proof that I was with the MSHA
  6       inspectors every time, so.
  7               Q       Did you attend any debrief?
  8               A       Yes.
  9               Q       Debriefings?          And those reports would be
 10       the same?
 11               A       Yes.
 12               Q       Okay.      Earlier you had mentioned when
 13       you asked about the pay regarding the 104(b)
 14       withdraw earlier, were you involved in any of the
 15       MSHA inspectors e-mails regarding that 104 pay?
 16       Were you included in the e-mails from Jesse Molesi
 17       asking Inspector Markeson about those -- about the
 18       requirements for the pay?                  Were you involved in
 19       that?
 20               A       No.
 21               Q       Okay.      So you don't know that Jesse sent
 22       Mr. Markeson an e-mail, probably right after you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 448    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 330


  1       had -- sorry.           You don't know that Jesse sent an
  2       e-mail?
  3               A       No.
  4               Q       Do you know that I sent an e-mail to Mr.
  5       Markeson?
  6               A       No.
  7               Q       Okay.      And I think you testified
  8       earlier, the second shift, when you got finished
  9       with your two to three months training with Jim
 10       you went into the evening shift and that was a
 11       4:00 p.m. to midnight shift.                    Correct?
 12               A       Yes.
 13               Q       So during that time when you were
 14       actually working the evening shift or anytime that
 15       you were working, okay, who input their hours for
 16       the mill associates?
 17               A       Me.
 18               Q       Okay.      If there was any overtime,
 19       wouldn't you have recorded that as well?
 20               A       When I recorded the hours they have to
 21       be approved at the end of the week or whatever,
 22       and if I say I call Christine, hey, we're going to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 449    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 331


  1       be here until, you know, 12:30 or 1 o'clock, she
  2       would be, well, we can't have -- we can't record
  3       overtime.        So I was told to input the eight hours,
  4       unless we were late.
  5               Q       So were you ever involved with any of
  6       the budgeting discussions?
  7               A       Nope.
  8               Q       But you were told that if any overtime
  9       was going to be needed, it would need to be
 10       pre-approved and --
 11               A       Yes.
 12               Q       And all you had -- and how would you do
 13       that?       How would you request overtime?
 14               A       I would ask or if something was running
 15       late, I'd either go to John or Christine.
 16               Q       What were the reasons why you were
 17       changed from the evening shift to the day shift?
 18               A       We were catching up and running out of
 19       room on the bulk bags that me and R.J. were
 20       running, and it was being too hard on the machines
 21       running them that long at once --
 22               Q       Okay.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 450    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 332


  1               A       -- is what I got told.
  2               Q       Okay.      So who was the shift lead during
  3       the day shift if you were the shift lead at night
  4       shift?
  5               A       At that time, I don't remember.                     I
  6       believe it would have been Will Shallenberger.
  7       Yeah.
  8               Q       Do you remember what happened to Will
  9       Shallenberger?
 10               A       He ended up quitting.
 11               Q       Mr. Shallenberger quit.                 Okay.      At that
 12       time when Mr. Shallenberger quit, how many people
 13       were working night shift?
 14               A       Me and R.J.
 15               Q       Two people?
 16               A       Yeah.
 17               Q       Before you were moved to night shift was
 18       there discussions with you to make sure it didn't
 19       affect you or R.J.?
 20               A       Yes.
 21                       JUDGE MORAN:          Getting all of this, Madam
 22       Court Reporter?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 451    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 333


  1                       COURT REPORTER:            I believe so.           I didn't
  2       know if there was a question I just missed then or
  3       not.
  4                       JUDGE MORAN:          No, we had a pause so I
  5       thought it was a good time for me to check with
  6       you.
  7                       COURT REPORTER:            We're good.
  8                       JUDGE MORAN:          Thank you.
  9                       BY MR. TIDABACK:
 10               Q       In your testimony, Mr. Baumann, you had
 11       stated that you had received no additional
 12       training?
 13               A       No.
 14               Q       Okay.      Did you receive the initial
 15       miners, or excuse me, the miner, the new miner
 16       initial training?             Did you receive that?
 17               A       No.     Not the full -- I didn't realize
 18       that it was supposed to be 24 hours or whatever,
 19       until months into my employment, until the lady
 20       came and did the refresher course.
 21               Q       All right.         And you signed this
 22       certificate.          Correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 452    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 334


  1               A       Yes.
  2               Q       Box 6, let's see here.                If we look at
  3       Box 6 of that certificate.
  4                       MR. TIDABACK:           Sorry, Your Honor.
  5       Respondent's Exhibit RL.
  6                       JUDGE MORAN:          RL.
  7                       MR. TIDABACK:           R, Romeo Lima.
  8                       JUDGE MORAN:          Yes.      I remember this
  9       exhibit.        At least it looks like it's the one that
 10       the Secretary admitted.                 I can't tell you what
 11       number it is now.
 12                       MS. O'REILLY:           It's P40 in the
 13       Secretary's.
 14                       JUDGE MORAN:          P four oh.
 15                       THE WITNESS:          This is the refresher.
 16       This is not the original one I looked at earlier.
 17                       BY MR. TIDABACK:
 18               Q       Oh, I'm sorry.           This would be RL.              The
 19       RL is the new miner training?                    Okay.
 20               A       Okay, yes.         The RL is the first one,
 21       yes.
 22               Q       Okay.      So upon signing this, did you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 453    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 335


  1       read Box 6?
  2               A       No.
  3               Q       Do you understand Box 6?
  4               A       Yes.     I do now, yeah.
  5               Q       Okay.      Did you ever receive annual
  6       refresher training?
  7               A       Yes.
  8                       MR. TIDABACK:           Okay.      Your Honor, that
  9       should be Respondent Exhibit RM.
 10                       JUDGE MORAN:          Before we move on, this
 11       would be -- although it's a duplicate, are you --
 12       do you want RL admitted or were you satisfied with
 13       the Secretary?
 14                       MR. TIDABACK:           Satisfied with.
 15                       JUDGE MORAN:          So then just make sure
 16       we're clear on the record.                  At this point you have
 17       no exhibits, I'm not saying that as a criticism,
 18       you have no exhibits independent of what the
 19       Secretary admitted, the many documents.                          You have
 20       none in the record at this point in time.
 21       Correct?
 22                       MR. TIDABACK:           Correct.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 454    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 336


  1                       JUDGE MORAN:          Okay.      Did I state that
  2       too confusingly?            You have not -- I have no record
  3       of you introducing any exhibits in this
  4       proceeding.         The only exhibits that have been
  5       admitted are the Secretary's at this point in
  6       time.
  7                       MR. TIDABACK:           So does that matter,
  8       since it's the same information that the --
  9                       JUDGE MORAN:          No, it doesn't matter.
 10       You've referenced -- you've referenced, the
 11       problem is you've described it as RL, and then it
 12       might be confusing since there is no RL in the
 13       record to identify what RL was talking about,
 14       except by your word, so --
 15                       MR. TIDABACK:           That makes sense.             I
 16       gotcha.
 17                       JUDGE MORAN:          So it might be safer, if
 18       you think it's important and I would certainly
 19       admit it, to have RL admitted as a Respondent's
 20       exhibit.        I mean, the thrust of this is, let's be
 21       plain here, that you're saying that Mr. Baumann
 22       should not have signed this because it was untrue


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 455    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 337


  1       that he received these aspects.                     Right?
  2                       MR. TIDABACK:           As far as the company is
  3       concerned, he signed it, he received the training.
  4                       JUDGE MORAN:          Right.       However, also
  5       involved in this is another person.
  6                       MR. TIDABACK:           Bonnie Bainter.            She was
  7       a safety person.
  8                       JUDGE MORAN:          Well, it says the person
  9       who signed -- it says yes, I certified that the
 10       above training has been completed, and you
 11       recognize that signature?
 12                       MR. TIDABACK:           That's Bonnie Bainter.
 13       Yes.
 14                       JUDGE MORAN:          So in that sense, that
 15       person is in hot water, too, if we follow your
 16       theory that Mr. Baumann is in hot water because he
 17       signed this document, but the -- but the thrust of
 18       this is that the training has been completed
 19       according to Ms. Bainter?
 20                       MR. TIDABACK:           Bainter, yes.
 21       B-a-i-n-t-e-r.
 22                       JUDGE MORAN:          Seems like that's more on


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 456    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 338


  1       her or at least equally on her as it is on Mr.
  2       Baumann.
  3                       MR. TIDABACK:           Correct.        My only thing
  4       is just make sure that Mr. Baumann got the
  5       training because that's really my concern.
  6                       JUDGE MORAN:          He's already said he
  7       really didn't get the training, although this form
  8       would indicate that he did receive some of the
  9       training.        But I'm saying that there's a problem
 10       here with at least two -- with potentially two
 11       people.       And by the way, help me out with this one
 12       side or the -- sorry, is this the date on RL?                              Is
 13       it on there?          There's a signature.
 14                       THE WITNESS:          Yeah, I don't see -- I
 15       don't see it.
 16                       MS. O'REILLY:           I would suggest that RL
 17       appears to be missing some of the information.
 18       340 seems to be a more complete record of this.
 19       They are not identical.
 20                       JUDGE MORAN:          In the sense that one is
 21       cut off, apparently.
 22                       MS. O'REILLY:           Correct.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 457    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 339


  1                       JUDGE MORAN:          We want to make this as
  2       confusion free as possible.                   So this is putting an
  3       imposition on the Secretary.                    It's not really your
  4       burden, but to the extent that Mr. Tidaback, if
  5       he's introducing an exhibit as his own, that's one
  6       thing, but if not and he wants to reference it,
  7       then we need to have on the record which of the
  8       Secretary's exhibits he's referring to.                          So you
  9       have a choice.           You can elect to defer to the
 10       Secretary's exhibit in a given question, or you
 11       can say that you want to have RL admitted
 12       independent of what the Secretary has admitted,
 13       had admitted already.               So that's your choice.
 14                       MR. TIDABACK:           Yes, Your Honor.
 15                       JUDGE MORAN:          Let's talk about this one.
 16                       MR. TIDABACK:           On this one I refer to
 17       the Secretary's.
 18                       JUDGE MORAN:          That's P40.
 19                       MR. TIDABACK:           Yes, Your Honor.
 20                       JUDGE MORAN:          The question is we still
 21       have no exhibits admitted.                  That's not a
 22       criticism.         That's just stating a fact.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 458    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 340


  1                       MR. TIDABACK:           Yes, sir.
  2                       JUDGE MORAN:          All right.
  3                       BY MR. TIDABACK:
  4               Q       So the second question on the training
  5       side is you've received your annual training as
  6       well.       That is exhibit -- different book --
  7               A       RM.
  8                       MR.     TIDABACK:        I've got to show the
  9       Secretary.
 10                       JUDGE MORAN:          Let me just -- this is in
 11       the role of trying to help.
 12                       MS. O'REILLY:           We do not have that
 13       exhibit.
 14                       MR. TIDABACK:           I'm sorry.
 15                       JUDGE MORAN:          Trying to help out where
 16       you're going with this.                 See, Mr. Tidaback, the
 17       date is kind of important for P40.                       The date to me
 18       is important because this is the -- this is the
 19       initial training.
 20                       MR. TIDABACK:           Yes, Your Honor.
 21                       JUDGE MORAN:          And so if you're
 22       contending that this is a reason why you decided


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 459    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 341


  1       to discharge Mr. Baumann, because he was
  2       untruthful about -- that's not what you're doing?
  3                       MR. TIDABACK:           No, sir.        Not at all.
  4       I'm just making sure that Mr. Baumann says since
  5       in his testimony he didn't get training and we
  6       provided a lot of training, why did you not get
  7       the training.           That's what I'm trying to figure
  8       out, because all the training that is provided is
  9       online.       He had access to it.               It's there.          So
 10       this is the required MSHA training, so I want to
 11       make sure that the record shows that he received
 12       his required MSHA training and then anything
 13       additional training, since it was stated that he
 14       hadn't received any, is all available to him 24
 15       hours a day, seven days a week.                     And he had been
 16       -- he had been counseled on it.                     So that's what --
 17                       JUDGE MORAN:          That's your contention,
 18       that he'd been counseled about it?
 19                       MR. TIDABACK:           Yes.
 20                       JUDGE MORAN:          So what I'm trying to
 21       figure out is this.              How does this fit into the
 22       complainant's issue, the Secretary's contention


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 460    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 342


  1       that Mr. Baumann engaged in protected activity and
  2       was adversely impacted by it?                    That's not what
  3       this is about.           This doesn't also appear to be in
  4       terms of the affirmative defense that we would
  5       have fired.         You said just now no.                This is not a
  6       reason for your having discharged Mr. Baumann
  7       because of this P40.               You're not saying that's --
  8                       MR. TIDABACK:           Not at all, Your Honor.
  9                       JUDGE MORAN:          So what is the point
 10       behind P40?
 11                       MR. TIDABACK:           It leads up that he was
 12       not following the guidance of the supervisors
 13       giving him guidance to learn your job more, learn
 14       about MSHA, learn about the machines, learn about
 15       safety.       All the training that is in the book so
 16       that he could eventually progress to be a manager,
 17       a supervisor, because that's what we had talked
 18       about.      That is my contention of I didn't receive
 19       anything.        Yeah, you did.
 20                       JUDGE MORAN:          But you'll have to bring
 21       that on through your own witnesses.
 22                       MR. TIDABACK:           Right.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 461    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 343


  1                       JUDGE MORAN:          I assume you have
  2       witnesses you're going to call.                     We'll talk about
  3       -- about the training that Mr. Baumann received --
  4                       MR. TIDABACK:           Right.
  5                       JUDGE MORAN:          -- and any deficiencies
  6       they perceived upon having received that training.
  7       Is that right?
  8                       MR. TIDABACK:           Correct.        Even the
  9       documents that have been provided to the Secretary
 10       show that.         So, yes, Your Honor.
 11                       JUDGE MORAN:          Well, one problem I have
 12       is speaking loud here, again -- out loud here, I
 13       think my thought is at the time of -- it seems to
 14       me that at the time that you decide to discharge
 15       Mr. Baumann you would have, of necessity, had some
 16       sort of record established prior to discharging
 17       him as to the grounds for his discharge.
 18                       MR. TIDABACK:           Correct.
 19                       JUDGE MORAN:          I don't know of any
 20       exhibit thus far that identifies his deficiencies
 21       such as that would warrant your firing him,
 22       regardless of protected activity.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 462    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 344


  1                       MR. TIDABACK:           Correct.        The other four
  2       shift leads, people that we had hired to replace
  3       Mr. Baumann, that is the proof that we're showing
  4       that it was talked about.                  It was discussed.             We
  5       were trying to get someone in there.                        We even --
  6       even -- we even backed out of that step and hired
  7       someone to assist Mr. Baumann to hopefully help
  8       him become a better person and be able to stay in
  9       a job, but he wasn't willing to listen, and he
 10       wasn't taking guidance and he was argumentative in
 11       creating an environment with his own supervisor.
 12                       JUDGE MORAN:          You're testifying again,
 13       but it seems to me to be a serious deficiency in
 14       your case.         If you start talking about people that
 15       you hired after him, etcetera, what you have to
 16       establish is that the decision to fire him was
 17       justified in one way or another.                      Okay.      You don't
 18       seem to be challenging that he engaged in -- I
 19       haven't heard yet anything that we've challenged
 20       he was engaged in protected activity and that an
 21       adverse action.            We know an adverse action
 22       happened.        He was fired, so -- but if you're going


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 463    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 345


  1       to show the theory that he would have been fired
  2       in any event for his lack of adequate job
  3       performance, that would have had to have been
  4       detailed chapter and verse before you make the
  5       decision, it seems to me, and I know of no record
  6       that you have introduced to demonstrate that.                              If
  7       you're demonstrating it after the fact by people
  8       you hired after he's fired, that doesn't get you
  9       there.
 10                       MR. TIDABACK:           The people we hired were
 11       actually before he was terminated, Your Honor.
 12                       JUDGE MORAN:          Okay.      Well, I have to
 13       wait for those witnesses to hear of deficiencies
 14       which you may hope that apart from his protected
 15       activity, apart from his adverse action, I haven't
 16       heard much to show me that he would have been
 17       fired, in any event.
 18                       MR. TIDABACK:           Correct.        And that's --
 19       the new hiring would be testimony, if I
 20       understand.
 21                       JUDGE MORAN:          Right.       So we'll hear from
 22       you about that or maybe through some other


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 464    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 346


  1       witnesses.         I don't know.           I don't know whether
  2       your daughter can conduct the questioning or what.
  3       But so why don't you continue on and we'll see.
  4       I've diverted us too long now.                     Go ahead with your
  5       questions that you may have of Mr. Baumann still
  6       and we'll see if there are problems with that.
  7       But remember, your goal has to be to establish, we
  8       would have fired the guy anyway.
  9                       MR. TIDABACK:           Correct.
 10                       JUDGE MORAN:          It can be the other goal,
 11       too, but you have said nothing really about that.
 12       Protected activity, adverse action, I've heard
 13       nothing.        Crickets as they say.               I've heard
 14       crickets.        You know what that means.                  Right?
 15                       MR. TIDABACK:           Yes, sir.
 16                       JUDGE MORAN:          Okay.      Okay.      Go ahead
 17       with your questions.
 18                       MR. TIDABACK:           I'm try not to testify
 19       because I think that's --
 20                       JUDGE MORAN:          After that long lecture.
 21                       BY MR. TIDABACK:
 22               Q       Okay.      Let's see here.            How would you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 465    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 347


  1       explain Microsoft Teams?                 Why do we use it?
  2               A       To keep track of the daily production.
  3       To keep track of inventory.                   To keep track of the
  4       orders.       Pretty much everything in the business.
  5               Q       Okay.      So on that, as you have
  6       mentioned, keeping track of the inventories.
  7               A       Uh-huh.
  8               Q       Were you ever counseled on not keeping
  9       inventories?
 10               A       I never got asked to count anything in
 11       that building unless it was to count an order to
 12       see if we had it to be shipped out.
 13               Q       Okay.      So the court understands, explain
 14       how you get the materials to make the orders that
 15       you fulfill.
 16               A       I don't guess I understand.
 17               Q       What is involved in processing an order?
 18               A       In processing?           That was all out of my
 19       hands.      I got to the -- I pulled it up.                      I looked
 20       at the daily production, what we were needing to
 21       run.     I could look to see what we were going to
 22       need to run next week, next month, what we had


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 466    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 348


  1       ran.     As far as me being in charge of making sure
  2       we had stuff to do it, I never had anything to do
  3       with any of that.
  4               Q       So it was never your responsibility as a
  5       shift lead to make sure that you have the tools or
  6       equipment or supplies to fulfill orders that you
  7       were tasked to fulfill?
  8               A       I never once got asked to count any bags
  9       or anything.
 10               Q       So how would you have fulfilled the
 11       bags?
 12               A       Before we'd always had people that
 13       counted it.         I never once got asked to count
 14       anything, as far as to make sure that we had
 15       anything for orders, and sometimes we didn't have
 16       enough stuff for orders.
 17               Q       So in the normal daily process, do you
 18       agree that you need pallets, bags, slip sheets,
 19       stretch wrap?
 20               A       Yes.     And then I would look and see how
 21       many pallets we needed and go out and get them,
 22       and see how many bags we needed and go out and get


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 467    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 349


  1       them.       We -- that was a preparation while the
  2       system was warming up.
  3               Q       Okay.      So in the break room, part of
  4       your daily startup checklist that you guys
  5       created, okay, there was two white boards on the
  6       board, on the wall.              Do you remember those?
  7               A       Uh-huh.
  8               Q       Okay.
  9                       JUDGE MORAN:          You have to answer yes or
 10       no.
 11                       THE WITNESS:          Yes.      Sorry.      Sorry.
 12                       BY MR. TIDABACK:
 13               Q       Do you remember the contents of those
 14       boards?
 15               A       They would have what we needed to run
 16       that day, the number of pallets, the number of
 17       bags that we would need, etcetera.
 18               Q       And who filled that board up?
 19               A       John Spears.
 20               Q       John?
 21               A       He's the operations manager.
 22               Q       But where was his office?                  Where did he


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 468    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 350


  1       work in?
  2               A       Admin building.
  3               Q       Where was the break room related to your
  4       office?
  5               A       In the middle.
  6               Q       In the middle.           How far away from your
  7       office is the break room that had the board that
  8       you needed all today's operations?
  9               A       Ten feet.
 10               Q       Okay.      So how -- okay.            Let's see.         How
 11       did you -- how -- okay.                 So you're stating that
 12       you went and got all the pallets, you went and got
 13       all of the bags.            How did you get that
 14       information?
 15               A       From the spreadsheet on the computer.
 16               Q       Okay.      So the daily production
 17       spreadsheet that you filled out at the end of your
 18       evening shift.           Right?
 19               A       Uh-huh.
 20               Q       Okay.      How did you get information off
 21       of that to run today's production if that
 22       spreadsheet is how you put information in at the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 469    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 351


  1       end of your shift?
  2               A       You can look and it's been so long ago
  3       now, there was places you could go in there and
  4       see what you were supposed to run the next day or
  5       the next week and stuff.                 Just like I explained.
  6                       JUDGE MORAN:          Well, did you enter
  7       information ever on a white board that was in the
  8       break room?         Were you ever filling that white
  9       board out?
 10                       THE WITNESS:          No.
 11                       JUDGE MORAN:          Never?
 12                       THE WITNESS:          Never got asked to.
 13                       JUDGE MORAN:          And your understanding as
 14       to what person put this information on the white
 15       board?
 16                       THE WITNESS:          The operation, when it got
 17       filled out it was done by John.                     I'm going to say
 18       80 percent of my year there, there was nothing
 19       ever written on that.
 20                       JUDGE MORAN:          Thank you.
 21                       BY MR. TIDABACK:
 22               Q       So do you agree that your -- some your


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 470    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 352


  1       duties is testing out the miners to make sure that
  2       you get production done that day?
  3               A       Yes.
  4               Q       Do you agree that assigning and ensuring
  5       shutdown tasks are on the board every day?
  6               A       Yes.     There was one mirror thing.
  7                       JUDGE MORAN:          You have to let him finish
  8       his answer.
  9               A       There was one mirror thing that when
 10       there was eight people helping, yes, we would
 11       write their name, what they were tasked to do that
 12       day.     It got down to the last couple months there
 13       was only like three or four of us, we all
 14       automatically knew what to do.                     We did not fill it
 15       out.
 16                       BY MR. TIDABACK:
 17               Q       Okay.      So who filled that board out?
 18               A       They didn't.          That part of the board
 19       didn't get filled out.
 20               Q       When -- when the names were put on the
 21       board, who filled the board out?
 22               A       When the names were on the board?                       They


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 471    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 353


  1       were never changed.              It was always the same.
  2               Q       Okay.
  3               A       The same names and the same tasks.
  4       Never changed while I was there.
  5               Q       Okay.      So as part of your role as the
  6       shift lead, did you task and assign mill
  7       associates?
  8               A       Yes.
  9               Q       Okay.      Did you rotate the schedule?
 10               A       Yes.
 11               Q       Did you track their work hours, PTO?
 12               A       Yes.
 13               Q       And what did you use to do what?
 14               A       Microsoft.
 15               Q       Okay.      Microsoft Shifts.             Is that
 16       correct?
 17               A       Yes.
 18               Q       And Microsoft Shifts is an online app
 19       inside of Teams that you do it digitally, and it
 20       tracks who inputs data, who puts OT, that is all
 21       done.       Is that correct, Mr. Baumann?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 472    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 354


  1               Q       We use Teams.           What are Teams for?
  2       What's the reason you use them?
  3               A       I have no idea.            I guess it was the
  4       easiest thing to use at the time.
  5                       JUDGE MORAN:          It's just a means of
  6       communicating between employees.                      Right?
  7                       THE WITNESS:          Yes.      We got to the point,
  8       though, it was hard, because we were using our
  9       personal phones in the mill, so I got -- I did
 10       have a habit.           I would leave my phone in the
 11       office so it didn't get broke, because I was using
 12       my personal phone for the -- you know, trying to
 13       task things out.            Putting the hours in, I put the
 14       hours in every day.              They had to go to John to get
 15       approved and they had to go to them to get
 16       approved, so if they changed them after I put them
 17       in, I don't know.             I never seen them again once I
 18       put them in.
 19                       BY MR. TIDABACK:
 20               Q       How would you know the approval process
 21       that it goes to John or goes to --
 22               A       Because if there was ever any questions,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 473    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 355


  1       John would ask me, so I knew that it went to him
  2       next.
  3               Q       So John -- John verified what your input
  4       was?
  5               A       Yes.
  6               Q       Is that correct?            But how do you know
  7       that it came to us?
  8               A       John would tell me that he asked if
  9       there was somebody was needing PTO or if somebody
 10       was gone, or you know, because when you're trying
 11       to do a thousand things and you're trying to make
 12       sure some people are there or somebody leaves
 13       early, that you know, at the end of the week John
 14       would say, hey, are we sure these hours are right
 15       because before I send this to Russell.
 16               Q       Okay.      So is it safe to say that you're
 17       speculating how it works because there was no
 18       process shown?
 19               A       No, I didn't.           I couldn't tell by
 20       looking at it.
 21               Q       Would you agree that we used Microsoft
 22       Teams for collaboration?                 So everything -- because


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 474    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 356


  1       you're not working side by side with someone every
  2       moment.       Correct?
  3               A       Yeah.
  4               Q       So Jim may be on the fourth floor.                       You
  5       might be on the first floor.                    R.J. may be working
  6       the bagger.         Is that correct?
  7               A       Yes.
  8               Q       And that's four stories?
  9               A       Yes.
 10               Q       You use that to communicate so that
 11       everybody knows what's going on, we know where
 12       everybody is?
 13               A       We tried to, but yet again, we were
 14       using our phones.             So a lot of times the guys left
 15       their phones in the break room because they didn't
 16       want to get them broke or ruined by the material.
 17               Q       Were there internet provided in the
 18       mill?
 19               A       Yes.     When it was working.
 20               Q       Okay.
 21                       JUDGE MORAN:          So let me just interrupt
 22       for a second just for clarification of the record.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 475    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 357


  1       We often, during the days events, you have
  2       mentioned John and when you talk about John, you
  3       talk about John Spears?
  4                       THE WITNESS:          Yes, Your Honor.
  5                       JUDGE MORAN:          Just so the record is
  6       clear, are there any other persons with the first
  7       name John at --
  8                       THE WITNESS:          No, Your Honor.
  9                       JUDGE MORAN:          So we can be assured when
 10       there's a reference to John, we're talking about
 11       one person, Mr. Spears?
 12                       THE WITNESS:          Yes, Your Honor.
 13                       JUDGE MORAN:          Okay.
 14                       BY MR. TIDABACK:
 15               Q       So and then also in your duties as a
 16       shift lead, as needed, would you remind the mill
 17       about PPE? -
 18               A       Yes.
 19               Q       What was the required PPE in the mill?
 20               A       PAPR mask, safety glasses, earplugs,
 21       hardhats.
 22               Q       Also safe to assume that you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 476    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                               Page: 358


  1       collaborated with the environmental safety
  2       specialist, I think you mentioned Jesse Molesi
  3       earlier.        Is that correct?
  4               A       Yes.
  5               Q       Okay.      And also, part of those normal
  6       tasks, duties and responsibilities would be to
  7       follow all of MSHA and company guidelines.                            Is
  8       that correct?
  9               A       Yes.
 10               Q       Would you include housekeeping?
 11               A       Yes.
 12               Q       Guarding?
 13               A       Yes.
 14               Q       Wearing appropriate PPE?                 You agree with
 15       that?
 16               A       Yes.
 17               Q       I guess you mentioned earlier, correct
 18       me if I'm wrong, if Jim was out, you would do the
 19       startups.        Is that correct?
 20               A       Yes.
 21               Q       Okay.
 22               A       Well, I did all the startups even while


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 477    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 359


  1       Jim was there, yes.
  2               Q       If you needed more materials to create
  3       more product, how did you -- what did you do?
  4               A       I would call John to have Max bring us
  5       whatever we needed as far as from the pit.
  6               Q       Okay.      So back to the production
  7       spreadsheet.
  8               A       Because Max didn't have Teams on his
  9       phone or whatever, so we had to --
 10               Q       Okay.
 11               A       -- communicate by phone with him.
 12               Q       There is the production spreadsheet.
 13       And you remember the production spreadsheet.
 14       Correct?
 15               A       Yes.
 16               Q       How did you get the daily requirements
 17       for the day from the daily production spreadsheet?
 18               A       We went by the production schedule.
 19               Q       Okay.      Where is the production schedule?
 20               A       Without having a computer here, I can't
 21       get -- I couldn't walk you through it or tell you.
 22               Q       Okay.      So you had to use the computer to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 478    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 360


  1       get to the production schedule that was provided
  2       to you?
  3               A       Yes.
  4               Q       Okay.      Let's see here.            Okay.      So
  5       production schedule is provided online.                          Could you
  6       access the production schedule from your phone?
  7               A       I'm sure I probably could have from my
  8       phone, but I never did.
  9               Q       So basically you can access it anywhere
 10       in world?
 11               A       Yes.
 12               Q       So with the production schedule, the
 13       Teams daily production spreadsheet, you filled out
 14       both of those.           Correct?        You had to check one to
 15       get to the next one.               Correct?
 16               A       What now?
 17               Q       The production schedule provided on the
 18       internet.
 19               A       Yes.
 20               Q       You make -- you got your numbers for
 21       that off of the production schedule?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 479    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 361


  1               Q       Okay.      When the board was filled out,
  2       you posted them to the board so that people would
  3       know what we're doing.                Correct?
  4               A       Yes.
  5               Q       Okay.      At the end of your shift, let's
  6       back up another step.               Once you put that
  7       information on the board and you tasked out the
  8       individuals to go get bags, R.J. go get bags, Jim,
  9       go get pallets.            Is that correct?
 10               A       Yes.
 11               Q       After everything was ran, end of shift
 12       happens, we close out, we clean up and we go home.
 13       Before you go home, what was your last step for
 14       the day in reference to the production, daily
 15       production spreadsheet?
 16               A       On the night shift I would always enter
 17       them.       When we got moved to days the -- I don't
 18       even know what you was calling them, the
 19       production assistant or whatever, they would enter
 20       them.       John would enter them because I was going
 21       in at 7:00 a.m. to start up early, so I would
 22       leave before the last number got put in, or you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 480    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 362


  1       know, before the last bag got ran, and then Jim
  2       was shutting the place down.
  3               Q       Okay.      So what you're stating is you and
  4       John had worked out a scheduled shift and that you
  5       would come in an hour early and you left an hour
  6       early?
  7               A       Yes.
  8               Q       Okay.      But still, to check the schedule,
  9       you had to check online and at the end of the day
 10       the daily production spreadsheet had to be filled
 11       out.     Correct?
 12               A       Yes.
 13               Q       And why would that be filled out?
 14               A       To let us know what the numbers were for
 15       that day.        How much of that order got ran and --
 16               Q       Does the production schedule spread or
 17       does the production daily production spreadsheet
 18       show what needs to be shipped out?
 19               A       Yes.     You can look on there and see,
 20       yes.
 21               Q       So you're fairly familiar with Teams.
 22       Right?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 481    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 363


  1               A       Yeah, I learned it, yeah.                  I was
  2       learning it real well.
  3               Q       And do you remember that Teams do teach
  4       -- do you remember the --
  5               A       Without having it in front of me, no.
  6               Q       Do you remember across the top of the
  7       teams?
  8               A       Yes.
  9               Q       And it said files?
 10               A       Yes.
 11               Q       Over across from that is or when you did
 12       your daily workplace exams, how did you get to the
 13       daily workplace exam?
 14               A       Through one of the tabs.
 15               Q       Okay.      Correct.        So one of the tabs on
 16       the Teams files, it would say workplace exam?
 17               A       Yes.
 18               Q       You had a control room exam.                    Correct?
 19               A       Yeah.      I can't remember exactly what it
 20       was called, but yes, I had my own.
 21               Q       The forklift exam, so all that
 22       information was provided to you?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 482    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 364


  1               A       Yes.
  2               Q       Okay.      So you do remember that was tabs
  3       across the top and you remember the files?
  4               A       Yes.
  5               Q       Okay.      So you remember that.                So you
  6       just -- you had access to those files?
  7               A       Yes.     To my knowledge, the safety, the
  8       daily safety check wasn't even introduced into the
  9       system, though, until December or whenever I
 10       started doing them because nobody knew we were
 11       supposed to or whatever.
 12               Q       I'm glad you brought that up.                    Okay.      In
 13       your desk, in the left-hand side, and I know you
 14       and I had this conversation because that is the
 15       reason we went to -- sorry.
 16                       MS. O'REILLY:           Objection.
 17                       JUDGE MORAN:          I sustain the objection.
 18                       BY MR. TIDABACK:
 19               Q       Sorry.      Do you remember in your desk on
 20       the left-hand side, top drawer, a stack full of
 21       papers that used to be old daily workplace exams?
 22               A       No.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 483    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 365


  1               Q       You don't remember those at all?
  2               A       I honestly do not.
  3               Q       Do you remember our conversation in the
  4       control room about changing to digital so that we
  5       can -- actually, sorry.                 Do you remember that
  6       conversation?
  7               A       No.     I didn't hear one thing about daily
  8       safety inspections until the MSHA inspector
  9       started asking for them.                 I never got trained.               I
 10       never heard one -- not one word was ever said to
 11       me until it became an issue with MSHA.
 12               Q       So in your new miners training they
 13       didn't cover or annual MSHA training, they didn't
 14       cover guarding?
 15               A       At the refresher course, yes, they did,
 16       but that was to the point when we were finding out
 17       that we were against all the odds and stuff.
 18               Q       You were never referenced to review MSHA
 19       guarding?
 20               A       No.
 21               Q       Not in Teams, not in conversation?
 22               A       Nope.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 484    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 366


  1               Q       Okay.      If we can look at Respondent's
  2       Exhibit P, which is the communications regarding
  3       MSHA guide to guarding.
  4                       JUDGE MORAN:          Respondent's Exhibit P.
  5                       MR. TIDABACK:           RP, Your Honor.
  6                       JUDGE MORAN:          Yes.      It Exhibit P.           It's
  7       just one page.           Right?
  8                       MR. TIDABACK:           Yes, Your Honor, it is
  9       one page.
 10                       JUDGE MORAN:          And it does -- I'm just
 11       reading.        I'm not introducing it, but Exhibit RP,
 12       and this says, excuse me, it does say Russell.
 13                       MR. TIDABACK:           And then paren, you, and
 14       then below that is a citation to MSHA guide to
 15       equipment guarding tips.                 This is dated 2-14-23.
 16       So that's near the end of Mr. Baumann's
 17       employment.         Right?
 18                       MR. TIDABACK:           Yes, Your Honor.
 19                       JUDGE MORAN:          Right?       I have that right,
 20       folks?
 21                       MR. TIDABACK:           Yes, Your Honor.
 22                       MS. O'REILLY:           Correct.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 485    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 367


  1                       JUDGE MORAN:          I mean, that's the kind of
  2       consistent -- if you're referencing this at that
  3       point in time, isn't that consistent with his
  4       testimony that there weren't issues about -- about
  5       guarding until after the MSHA inspectors started
  6       to say, hey, you've got to pay attention to this?
  7                       MR. TIDABACK:           This was a refresher
  8       training, because if you look in the -- on the top
  9       it says ATMO, American Tripoli, Missouri
 10       maintenance group which Mr. Baumann admitted he
 11       was in that group during that time, and on 14 we
 12       got citations.           Again, this is a reference to a
 13       refresher.         Hey, guys, you need to read the MSHA
 14       guide instructions.              That way -- we've already got
 15       the PDF.        They can go download it themselves if
 16       they want to.
 17                       MS. O'REILLY:           I would object that's
 18       testimony.
 19                       MR. TIDABACK:           Oh, sorry.
 20                       JUDGE MORAN:          It is testimony.             But --
 21       and more fundamentally, testimony is kind of
 22       important because you can't testify at this point.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 486    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 368


  1       But I mean, are you telling me that prior to
  2       February 14th, 2023, that you're referencing that
  3       you mentioned this before that period?                          Because I
  4       don't see that.            It just says, isn't this a --
  5       isn't RP a message from -- to the ATMO maintenance
  6       group which include, you have you, Don, Joe, plus
  7       three others, and then you just say without
  8       elaboration, you reference the MSHA guide to
  9       equipment guarding.              I mean, there's nothing in
 10       this piece of paper that I see that indicates that
 11       this is something that's old hat, that was brought
 12       up prior to 2-14-23.               Am I missing something?
 13                       MR. TIDABACK:           So being a member of that
 14       chat group, and when somebody sends something to
 15       you, and I think Mr. Roman had deliberated on it
 16       earlier, if you wanted to chime on your device,
 17       wherever it may be, your computer to let you know
 18       that you have been tagged as it's called, you
 19       would put at that individual's name.                        That way you
 20       get a notification that you've been mentioned, as
 21       it's called.          That way you know specifically that
 22       it's directed to me.               If you don't put anybody's


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 487    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 369


  1       name, it just highlights on your column of list
  2       that you have, that here's something new.
  3                       You have to go -- you have to take that,
  4       you have to go view it to take the newness off of
  5       it, or it will always show that you have new.                              So
  6       in this -- in this message here it was sent
  7       saying, hey, guys, we keep getting guarding
  8       citations because this is February 14th.                           We were
  9       getting MSHA inspection, I think it was that day,
 10       if I remember correctly.                 We got another MSHA
 11       inspection.         You need to read this.                 You sent a
 12       link to MSHA just in case there's any new updates.
 13       That's why I sent it, but it's already in our
 14       files.      They have access.
 15                       JUDGE MORAN:          But is there any --
 16       there's nothing in -- I don't want to belabor this
 17       forever, but there's nothing in exhibit --
 18       potential Exhibit RP that tells me something about
 19       the issue of guarding was mentioned by anybody
 20       before February 14th, 2023, is there?                         Is there
 21       anything that this tells me occurred before
 22       2-14-23 on this paper right here?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 488    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 370


  1                       MR. TIDABACK:           You're just asking about
  2       prior to this date, is there any communications?
  3                       JUDGE MORAN:          That's right.           This is the
  4       first time seeing about Russell Tidaback, you,
  5       referencing citing to the MSHA equipment guide.
  6       There's nothing earlier than that.                       Right?
  7                       MR. TIDABACK:           There's no -- there's no,
  8       other than the MSHA, the same book being in our
  9       files and receiving training from MSHA, the
 10       required training, I'm assuming that's what you're
 11       referencing, Your Honor?
 12                       JUDGE MORAN:          Right.       What you've done
 13       is confirm that -- I mean, you've asserted it in
 14       this information about guarding, which is not on
 15       this exhibit, existed in other locations such as
 16       in the files or whatever.                  I have to say, though,
 17       Mr. Tidaback, and with respect due to you, that
 18       it's kind of cryptic.               I mean, I'm part of the
 19       ATMO maintenance group and I get this message from
 20       you, and not exactly elaborate about what -- what
 21       this means.         I would have expected you to say
 22       something such as dear ATMO group, you are


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 489    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 371


  1       instructed forthwith to read all of the
  2       information in this site, MSHA guide.                         You should
  3       go to it immediately and take it to heart.
  4                       MR. TIDABACK:           That is the intent behind
  5       this message.
  6                       JUDGE MORAN:          It's awfully brief.               You
  7       just drop a note.             I mean, you just drop a
  8       citation without any -- I would think you're the
  9       owner.      Right?
 10                       MR. TIDABACK:           Yes.
 11                       JUDGE MORAN:          Okay.      I knew that, but I
 12       meant, if I were the owner, wouldn't I be saying,
 13       hey, we're having problem with -- problems with
 14       guarding.        You-all need to be looking at this, so
 15       that's point one, that your messages is terse
 16       wouldn't describe it.               It's less than terse.                It
 17       just says a site, and they have to then figure
 18       out, oh, we better look at this and study it.
 19                       But the second point is, you have not up
 20       to this point shown me that you've instructed
 21       people about the important of guarding prior to
 22       2-14-23.        There's nothing in the record that says


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 490    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 372


  1       you've told people about this before.
  2                       MR. TIDABACK:           Yes.     Your Honor, RP, as
  3       a remainder after we got the citation.                          So that's
  4       a limited group people.
  5                       JUDGE MORAN:          Right, but that's my point
  6       is that after up got the citation, which was not
  7       long before Mr. Baumann is terminated.
  8                       MR. TIDABACK:           Correct.
  9                       JUDGE MORAN:          Yeah.      You take some
 10       action because you told me that you got some
 11       citations, but you don't have anything -- if your
 12       intention is to say this is another example of Mr.
 13       Baumann not doing his job, doesn't really help me
 14       very much to highlight this after citations are
 15       issued and after you tell people to look at the
 16       guarding when you haven't -- this has not been
 17       discussed before.             For example, let's say that the
 18       three times in 2022 you said, hey, Mr. Baumann, I
 19       want you to pay attention to guarding, and then
 20       you give me dates through your Microsoft chat or
 21       whatever, Teams.            You don't have that.                The first
 22       time you have mention about this is in the wake of


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 491    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 373


  1       getting some citations from MSHA, so I find it
  2       difficult for you, if you're attempting to put the
  3       blame on Mr. Baumann on the issue of guarding,
  4       that the first time on this record that this shows
  5       up is after you got the citations from MSHA.                             And
  6       apparently, you're suggesting that would be on
  7       him, not doing his job properly because you had
  8       guarding citations.
  9                       MR. TIDABACK:           Correct, because in the
 10       manual refresher training, guarding is -- guarding
 11       is one of those.            It is also referenced numerous
 12       times, and it is also referenced in your daily
 13       workplace exams.            If Mr. Baumann is doing the
 14       daily workplace exam and says they are good, why
 15       are we getting citations.                  That's the intent of
 16       guys, we keep getting a citations.                       You need to
 17       read.      It's a limited group.                It's not all the
 18       mill associates.            It's just those that are
 19       involved with maintenance.                  Mr. Baumann was in
 20       that group and he is responsible to do the
 21       workplace exams, and if he's marking that we're
 22       good on them, why are we getting citations.                             That


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 492    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 374


  1       was the intention.
  2                       JUDGE MORAN:          That's your argument.
  3       Okay.      Well, go ahead.            If you have additional
  4       questions of Mr. Baumann, go ahead.
  5                       MS. O'REILLY:           I would just object that
  6       there's a lot of testimony in the last several
  7       minutes and want to note for the record that Mr.
  8       Tidaback is not under oath so all that testimony
  9       would not be admissible or relevant evidence.
 10                       JUDGE MORAN:          I agree with all that.
 11       Did you hear that, Madam Court reporter?
 12                       COURT REPORTER:            Yes, I did.
 13                       JUDGE MORAN:          Good.
 14                       MR. TIDABACK:           I'm not sure what that
 15       meant.
 16                       JUDGE MORAN:          Attorney O'Reilly was
 17       merely saying that much of what you just said
 18       amounts to testimony, and therefore, I can't
 19       consider it.          There are assertions on your part,
 20       not under oath, about what went on and how it is
 21       suggested that -- that checking for guards was
 22       part of his responsibility.                   That he did not


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 493    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 375


  1       attend to that properly, and then, because that
  2       was his responsibility, that he should be held
  3       accountable when MSHA issued citations for
  4       guarding.        I can't get into trying each citation.
  5       That's not -- that's what they call a cul-de-sac,
  6       if you will.          It's -- the word doesn't come to
  7       mind, but it's going down to something that's
  8       tangential.         All right?
  9                       But if you could show me, which I don't
 10       know if you can, that, you know, Mr. Spears or you
 11       or someone, kept writing letters through chats,
 12       Teams or whatever, and said, hey, Mr.                         Baumann, in
 13       all -- we have a problem with guarding.                          This is
 14       before the citations get issued and you warned him
 15       and you warned him and he still didn't do anything
 16       about it, and that's assuming that he agrees that
 17       was his responsibility, because I don't even know
 18       that checking for guards and writing it up was
 19       part of his duties.
 20                       He hasn't testified to that, that I
 21       recall, so it's what you're saying is fraught with
 22       many problems is what I'm saying.                       Okay?      If you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 494    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 376


  1       could show that you warned him and he didn't do it
  2       and you warned him and he still didn't do that,
  3       that would be a basis for asserting that's why we
  4       fired him, in addition for any protected activity,
  5       should I find that there was any protected
  6       activity.
  7                       MR. TIDABACK:           Yes, Your Honor.
  8                       JUDGE MORAN:          Go ahead.
  9                       MR. TIDABACK:           Yes, sir.
 10                       BY MR. TIDABACK:
 11               Q       With that, Mr. Baumann, you had stated
 12       that you do workplace exams.                    Correct?        Daily
 13       workplace exams?
 14               A       Yes.
 15               Q       If we go to exhibit Respondent's C,
 16       which is the workplace exam.
 17                       JUDGE MORAN:          Respondent's C?
 18                       MR. TIDABACK:           Yes, Your Honor.
 19                       JUDGE MORAN:          And agree as part of your
 20       responsibilities, Mr. Baumann, is workplace exams?
 21       Are you supposed to go through the plant and look
 22       for safety defects and any other problems as part


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 495    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 377


  1       of your duties before your shift starts?
  2                       THE WITNESS:          Before my shift starts,
  3       yes, Your Honor.
  4                       JUDGE MORAN:          So that is part of your
  5       responsibilities to look for hazards.                         Okay.      Now
  6       you want me to look at C?
  7                       MR. TIDABACK:           Yes, Your Honor.
  8                       JUDGE MORAN:          No, can't volunteer
  9       information.          You want me to look at Exhibit RC?
 10                       MR. TIDABACK:           Yes, Your Honor.
 11                       JUDGE MORAN:          I have Exhibit RC in front
 12       of me, and for the record, let's identify what RC
 13       is.     You say it's -- what you do is you say the
 14       Respondent for purpose of identification is
 15       turning to Exhibit RC, which is a -- I'm not sure
 16       what it is.         It looks like it's -- it doesn't have
 17       a title on it.           Just says start time and Mr.
 18       Baumann's name, and it does say turn up of the
 19       production floor lighting, note any safety issues.
 20       And so this is the exhibit you're talking about,
 21       and you're going to question him about this.
 22       Right?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 496    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 378


  1                       MR. TIDABACK:           Yes.
  2                       JUDGE MORAN:          And do you recognize RC,
  3       Mr. Baumann?
  4                       THE WITNESS:          Yes.
  5                       JUDGE MORAN:          Okay.      And does that
  6       reflect that you marked on the dates that are
  7       listed there, which begin on March 3rd, 2023 and
  8       continues through April 7th, it looks like 2023,
  9       that you mark about safety issues and you also
 10       looked in the break room and you marked either
 11       non-observed or good, etcetera.                     Do you mark those
 12       things, sir?
 13                       THE WITNESS:          Your Honor, this doesn't
 14       look like it's a complete.
 15                       MR. TIDABACK:           Your Honor, this is the
 16       results of a form.              You remember how to get to the
 17       --
 18                       THE WITNESS:          This doesn't look like the
 19       form that I was filling out, Your Honor, is my
 20       only questionability.
 21                       JUDGE MORAN:          All right.         So you don't
 22       recognize this document?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 497    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 379


  1                       THE WITNESS:          Not the way it's
  2       formatted.         I filled out documents on daily work
  3       exams, yes, Your Honor.
  4                       JUDGE MORAN:          Okay.      And then I know
  5       this is embarrassing on my part, but the date when
  6       you were terminated was what?
  7                       THE WITNESS:          4-17.
  8                       JUDGE MORAN:          Okay.      So this is only
  9       about six -- this begins only about six weeks
 10       before you're fired?
 11                       THE WITNESS:          Yes.
 12                       MR. TIDABACK:           There's when we went from
 13       paperwork to digital.
 14                       JUDGE MORAN:          I understand.           Okay.
 15       Fine.      You went from paperwork to digital but
 16       still, what I'm focusing on is the point in time.
 17       If you told me this was October of 2022, you were
 18       working for this company in October of 2022.
 19       Right?
 20                       THE WITNESS:          Yes, Your Honor.
 21                       JUDGE MORAN:          And so I don't know how
 22       much value this is.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 498    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 380


  1                       MR. TIDABACK:           Yes, Your Honor.
  2                       JUDGE MORAN:          Unless you're telling me
  3       that the decision to terminate Mr. Baumann was
  4       based on activities which began in March of '23
  5       and continued through April of 2023.                        Before that
  6       time you didn't have a basis to terminate him?
  7                       MR. TIDABACK:           No, we did, Your Honor,
  8       but in exhibit -- Secretary's Exhibit P14, Page 1,
  9       it goes into e-mails.               The exhibit that we were
 10       showing in this goes to another point that Mr.
 11       Baumann had brought up about the wires to the
 12       floor.      That's what that exhibit is for.
 13                       JUDGE MORAN:          Well, I can't find wires
 14       on the floor in this.               My -- first of all, you've
 15       got to work this through another witness, because
 16       this witness, Mr. Baumann, the Complainant, can't
 17       testify about this because although he admits he
 18       had duties to look for safety issues and before
 19       the shift started.              Right, Mr. Baumann?
 20                       THE WITNESS:          Yes, Your Honor.
 21                       JUDGE MORAN:          But you don't recognize
 22       the format that this is presented.                       This is not a


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 499    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 381


  1       document when you created?
  2                       THE WITNESS:          No, Your Honor.
  3                       JUDGE MORAN:          So you can't get this in
  4       through this witness because he doesn't recognize
  5       it.     You can talk to the substance.                     You can say
  6       do you recall in March of 2023 that you wrote that
  7       none of the production floor lighting and you
  8       noted no safety issues.                 You wrote good.            You can
  9       ask him that, and he's not going to be able to
 10       recall based on this document because it's in a
 11       different format.             You'd have to show him the
 12       document that he created, whatever form it was,
 13       in, paper or whatever, and then ask him if he said
 14       that was good.
 15                       MR. TIDABACK:           Correct.
 16                       JUDGE MORAN:          I'm not sure that that
 17       still gets you there in the sense that this is --
 18       this is right on the edge of the time when you
 19       decide to terminate him.                 You know, this is very
 20       close to the -- this is the end of his employment.
 21                       MR. TIDABACK:           Right.      The whole
 22       question had to do with making sure he was doing


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 500    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 382


  1       the workplace exams.               That's what the context it
  2       was, and that's the question asking if he knew how
  3       to get to the form, was showing that this is the
  4       data that's behind the form that he uses.
  5                       JUDGE MORAN:          Yeah, I just -- this is
  6       perplexing.         He can't give you much information,
  7       as I just explained, because he doesn't recognize
  8       the format, but you see how complicated this can
  9       be.     Let's look at -- you have in front of you RC,
 10       and if you look at the third line, 3, I'm just
 11       picking it out of the many on here, 3-8-23, 8:35
 12       in the morning, Mr. Baumann lists all in working
 13       order, and as to the break room, which I'm
 14       surprised there's a separate category for the
 15       break room for safety issues, but he lists both as
 16       good.
 17                       Okay.      So if you -- unless you can show
 18       that on that date an MSHA inspector arrives and
 19       there are problems. There are violations issued
 20       which he should have caught and that that could
 21       form a basis for you to discharge him, and you've
 22       got written communications between Mr. Spears or


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 501    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 383


  1       other people saying, you know, we've got -- we
  2       have to discharge him because he wrote good on
  3       March 8th, '23, and things were not good, but you
  4       haven't established that here.                     You haven't tied
  5       in his remarks to dispute the accuracy of what he
  6       wrote by any citation that was issued shortly
  7       thereafter or just before, actually, because he's
  8       saying when he's looking at 3-28 -- 3-8-23 he's
  9       recording the conditions as of that moment.                             So do
 10       you see some of the hurdles you're presenting
 11       here?
 12                       MR. TIDABACK:           Trying to get there, Your
 13       Honor.
 14                       JUDGE MORAN:          Okay.
 15                       MR. TIDABACK:           Because even the form
 16       itself which you're looking at is one page.                             If
 17       you think of the page, it's like this.                          So the
 18       second page is actually the second page of that
 19       data.
 20                       JUDGE MORAN:          I understand.           It's like a
 21       spreadsheet.          It goes out for yards, you're
 22       saying.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 502    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 384


  1                       MR. TIDABACK:           Yes.
  2                       JUDGE MORAN:          Go ahead, sir.
  3                       MR. TIDABACK:           Okay.
  4                       BY MR. TIDABACK:
  5               Q       I'm not sure where we're at, but you
  6       agree that, Mr. Baumann, that the form was
  7       provided to you.            You do the daily exams, or the
  8       daily workplace exams?
  9               A       Yes.
 10               Q       That's normal.           Correct?
 11               A       Yes.
 12                       JUDGE MORAN:          Let's not make this more
 13       complicated than what it is.                    I mean, he admits
 14       part of his responsibilities for his job were to
 15       check for safety defects in different locations.
 16       Right?      And including the east warehouse and the
 17       palletizer area and he's supposed to mark down
 18       whether it was a problem or not.                      Okay?      And of
 19       course, if he writes down as he did on one page
 20       there for -- it said the production hold area was
 21       not running, he said good.                  Not running good.              So
 22       that would be in his favor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 503    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 385


  1                       But again, for any of these issues,
  2       unless you can show that, in fact, what he marked
  3       was good was not good, and you have to do that
  4       through evidence, not just an assertion, and that
  5       therefore -- and then you have to show the link as
  6       well.       We sat down, Mr. Spears or whoever else,
  7       and we looked at some of the these proven
  8       inaccurate remarks from Mr. Baumann, and
  9       therefore, we logically decided he wasn't doing
 10       his job and he has to go, but it can't just be --
 11       you can't just say, well, in 3-7-23 -- I'll stick
 12       with 3-8.        3-8-23 he marks good and it wasn't
 13       good.       You've got to show how that was an
 14       inaccurate description and inconsistent with his
 15       responsibilities at his job.
 16                       MR. TIDABACK:           Correct.
 17                       JUDGE MORAN:          All right.
 18                       BY MR. TIDABACK:
 19               Q       In Mr. Baumann's testimony you had
 20       stated that you raised safety concerns and
 21       addressed to the company.                  Is that correct?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 504    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 386


  1               Q       Wouldn't you have addressed those in the
  2       daily workplace exams?
  3               A       I did some of them and some of them we
  4       were shut down because of them, so we didn't -- I
  5       didn't even do the workplace exams.
  6               Q       Okay.
  7               A       Like, for example, the guarding and
  8       stuff that we were waiting on.                     To my -- I never
  9       got, like, I never got a checklist or I never got
 10       walked through the building, you know, saying this
 11       is this guard, this is this guard.                       This is this
 12       guard.      You know, these are all things you need to
 13       look at.        I never got a checklist or I never got
 14       any visual -- I never got any training on what to
 15       look for during -- I got you need to make sure the
 16       guards are in place.               That place is huge.              I need
 17       to be shown where all the guards are at and stuff.
 18               Q       So you know -- do you know how all the
 19       machines work?
 20               A       Yes.     It took me the whole time.
 21               Q       So you operated that machine daily.
 22       Correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 505    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 387


  1               A       Yes.
  2               Q       Okay.      Guarding -- does the MSHA
  3       guarding handbook disclose each machine?
  4               A       Not to my knowledge.
  5               Q       Okay.      Have you ever read the MSHA
  6       guarding handbook?
  7               A       For American Tripoli?
  8               Q       The MSHA guarding handbook.
  9               A       No.
 10               Q       Okay.      Is MSHA guarding discussed in any
 11       of your required MSHA training?
 12               A       It was during the refresher training,
 13       yes.
 14               Q       Okay.
 15                       JUDGE MORAN:          Just -- I'll be quiet
 16       after this, I say, and then I won't, but try and
 17       express it differently to help you understand.
 18       What I'm suggesting to you is there has to be
 19       linkage.        Think of it as chain.               So if you can't
 20       link up everything.              You know, you say he wrote
 21       good on a certain date.                 In fact, it's not good
 22       and then we discussed and then we decided he had


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 506    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 388


  1       to be terminated.             If you can't link them all
  2       together, you just can't have disparate things.
  3       He wrote good on this day, and without the other
  4       links to it you haven't established a deficiency
  5       on his part.          So linkage is the key here.
  6                       MR. TIDABACK:           And it may be, Your
  7       Honor, since I'm being told I'm doing more
  8       testimony than questioning, I may have to re-call
  9       this witness to the stand.
 10                       JUDGE MORAN:          You may have to call Mr.
 11       Baumann?
 12                       MR. TIDABACK:           Yes, Mr. Baumann back.
 13                       JUDGE MORAN:          You're doing it right now.
 14                       MR. TIDABACK:           Yeah, that's what I'm
 15       trying to figure out because I need to look at
 16       testifying, ask the questions that are actually
 17       linked.
 18                       JUDGE MORAN:          Okay.      Well, you decide
 19       your own procedure for your defense, but so ask
 20       him other questions, if you have any, about --
 21       about his job performance or communications, you
 22       can ask him if he had certain communications with


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 507    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 389


  1       you and if he recalls them and what the substance
  2       of them were, or with Mr. Spears or any --
  3       anything you might have handed him in writing
  4       saying you need to do this.                   Do you recall getting
  5       this note from me through Teams or through a
  6       separate piece of paper.                 Anything to show
  7       deficiencies that you communicated with him and
  8       whether he agrees or denies about those
  9       contentions.
 10                       BY MR. TIDABACK:
 11               Q       So, Mr. Baumann, can you discuss any
 12       specific instances where you're unable to complete
 13       the assigned task or projects?
 14               A       Such as?
 15                       JUDGE MORAN:          You say you don't
 16       understand the question.
 17                       THE WITNESS:          I don't understand the
 18       question.
 19                       BY MR. TIDABACK:
 20               Q       Okay.      Multiple times?
 21               A       On multiple levels of doing anything in
 22       that building.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 508    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 390


  1               Q       Okay.      Can you give us some example of
  2       those?
  3               A       Just like fixing the guarding when the
  4       MSHA inspector shut down the one time for the
  5       guarding.        Not having the proper tools.                    Having
  6       the metal that they needed to make them.                           So we
  7       just kind of made do with what we had.                          Bearings
  8       going out.         Being down for a week instead of a
  9       day, because we couldn't go to the -- couldn't go
 10       to the local O'Reilly's and get a bearing.
 11       There's a lot of instances.
 12               Q       Do you have a company credit card?
 13               A       No.
 14               Q       Okay.      Does John have a company credit
 15       card?
 16               A       I don't know.
 17               Q       So were you ever tasked to go get a
 18       bearing?
 19               A       No.
 20               Q       Do you know any of the specifications
 21       about a bearing?
 22               A       Yes.     I can take a bearing and go get a


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 509    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 391


  1       new one anytime.
  2               Q       How do you know a bearing?
  3               A       Huh?     Measure them.
  4               Q       So you have mechanical aptitude skills
  5       that just were never expressed to us?
  6               A       Yeah.      I wasn't hired to be a mechanic.
  7               Q       Did you say you were a mechanic?
  8               A       No.     I was not hired to be a mechanic.
  9               Q       So when we're talking about the
 10       projects, part of housekeeping you had mentioned
 11       that before, guarding, workplace exams.                          Those
 12       were all in the shift leads roles and
 13       responsibilities.             Correct?
 14               A       That was my assumption that that was
 15       parts of my duties.
 16               Q       Okay.      So if we look at Respondent
 17       Exhibit D, or RD.
 18                       JUDGE MORAN:          RD.
 19                       BY MR. TIDABACK:
 20               Q       If I'm not mistaken, this is public
 21       information.          You can look up this on MSHA's
 22       website.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 510    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 392


  1                       JUDGE MORAN:          Okay.
  2                       BY MR. TIDABACK:
  3               Q       The RD is the violation that was
  4       received by American Tripoli during Mr. Baumann's
  5       tenure.       If you go three columns from the right,
  6       Mr. Baumann, where it says Standard Subjects.
  7               A       Yes.
  8               Q       See that?        Okay.      If we go through all
  9       of those, there's guarding, housekeeping,
 10       workplace exam, all of those you just admitted
 11       that were basically your responsibility.                           Correct?
 12               A       Yes.
 13               Q       Okay.      And if you look on the second
 14       page, the same, same column.                    Third one from the
 15       right.
 16               A       Yep.
 17               Q       Guarding, housekeeping, workplace exams,
 18       guarding.        Do you believe those were all taken
 19       out?
 20               A       Okay, yes.
 21               Q       So all of these citations were received
 22       during your tenure that you just admitted that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 511    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 393


  1       were your responsibility?
  2               A       Yes.     Well, the workplace exam on this,
  3       those were slights because you couldn't produce
  4       them.       He asked and you couldn't produce them
  5       because we were doing them on the computer, if I'm
  6       recalling that correctly and we'll have to ask
  7       Keith, but...
  8               Q       Yes.     So is it fair to say, looking at
  9       this document, that these citations were in your
 10       area of responsibility?
 11               A       They were in the building.                  I didn't --
 12       just like the workplace exams, we didn't know we
 13       were supposed to be doing all that stuff until we
 14       were cited through MSHA.                 The guarding, if it was
 15       obvious, yes, I would have caught it, but not
 16       being trained I didn't know where all the guarding
 17       was supposed to be and all the different places
 18       for the guards.
 19               Q       You keep referring to being trained, the
 20       training.
 21               A       Yes.
 22               Q       You did receive the training?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 512    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 394


  1               A       No, I did not.
  2               Q       You didn't receive the training in your
  3       annual refresher training?
  4               A       No.     I never got a walk-through of that
  5       building and shown this is this guard, this is
  6       where this needs to be, this is this guard, this
  7       is where this needs to be.
  8               Q       So when you were hired, was all that
  9       guarding in place?
 10               A       No.     Couldn't have been.
 11               Q       Couldn't have been.              Couldn't have been
 12       what?
 13               A       Couldn't have been in place.
 14               Q       What do you mean?             I don't understand.
 15                       JUDGE MORAN:          For what it's worth,
 16       though, I mean, I will admit this subject to any
 17       objection from the Secretary, Respondent's Exhibit
 18       RD.
 19                       MS. O'REILLY:           We object.         I have no
 20       idea where this comes from.                   He didn't provide
 21       this in discovery.              It doesn't look like something
 22       MSHA has created.             I mean, department responsible,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 513    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 395


  1       I can't imagine MSHA would have put the mill in
  2       there.      When MSHA issues penalties like the
  3       inspectors, they don't even know the penalty at
  4       the time they're issuing the citation, so this
  5       looks like it might have been created by American
  6       Tripoli.
  7                       MR. TIDABACK:           You are correct.            Sorry,
  8       that is correct.            We did create this, but all the
  9       information comes from the MSHA website.
 10                       JUDGE MORAN:          Okay.      Well, and that's
 11       your representation, but did you -- you did share
 12       this with MSHA, with the Secretary of Labor.
 13       Right?      You gave them this document?
 14                       MR. TIDABACK:           Yes, sir.
 15                       JUDGE MORAN:          Are you going to have a
 16       witness identify this document?
 17                       MR. TIDABACK:           Yes.
 18                       JUDGE MORAN:          And -- but it was created
 19       by you folks?
 20                       MR. TIDABACK:           That is correct.
 21                       JUDGE MORAN:          And based upon violations,
 22       citations that were issued on the dates that are


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 514    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 396


  1       listed on this sheet, it's a summary of violations
  2       that were issued by MSHA from November 2nd, '22,
  3       2022, through March 1st, 203, 2023.                        Right?
  4                       MR. TIDABACK:           Correct, Your Honor.
  5       That is filtered out just for the time Mr.
  6       Baumann's tenure with American Tripoli.
  7                       JUDGE MORAN:          Well, again, this case,
  8       this decision is not about deciding these
  9       citations and the merit or lack thereof, citations
 10       that were issued, but I'll hear further from
 11       Attorney O'Reilly about your objections to this
 12       exhibit.        I'm not saying that you can't challenge
 13       it when this is introduced through the testimony
 14       of someone.         Okay.       That hasn't happened yet.                  So
 15       Mr. Tidaback has to have someone or himself
 16       explain about this exhibit, and then you would be
 17       able to cross examine him about the input and all
 18       kinds of things about it.                  So it's premature to
 19       consider entering it, but it does seem like
 20       something that I was -- depending upon the
 21       foundation laid by the witness for the Respondent,
 22       I might admit this for whatever limited value it


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 515    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 397


  1       may have.        But not yet.
  2                       MS. O'REILLY:           I just want to clarify
  3       and lodge another objection that this was not
  4       provided to the Secretary in discovery.
  5                       JUDGE MORAN:          What do you say that to
  6       that, Mr. Baumann -- I mean, Mr. Tidaback?
  7                       MR. TIDABACK:           I mean, I would have to
  8       go look at the -- the documents because all the
  9       information we have is --
 10                       JUDGE MORAN:          That's a significant
 11       problem and hurdle if -- if you did not exchange
 12       this, even as of today until you presented it.
 13       That's a big problem with my giving it any
 14       consideration.
 15                       MS. O'REILLY:           I'll clarify this.              This
 16       was part of the February 8th leaked disclosure,
 17       but this was not provided to us during discovery
 18       and it would have been responsive to a very
 19       comprehensive discovery request that we sent out.
 20                       JUDGE MORAN:          But you did have it as of
 21       February?
 22                       MS. O'REILLY:           Correct.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 516    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 398


  1                       JUDGE MORAN:          The eight days that were
  2       late, this was part of that packet?
  3                       MS. O'REILLY:           Yes, I would agree with
  4       that.
  5                       JUDGE MORAN:          We're still not there yet
  6       for its introduction.               We have to have the
  7       appropriate witness attempt to introduce this.
  8                       THE WITNESS:          Your Honor.
  9                       JUDGE MORAN:          Yes.      Who said that?
 10                       THE WITNESS:          Me.     Can I have a restroom
 11       break really quick?
 12                       JUDGE MORAN:          We're going to have a
 13       bigger break, because it's 4:34.                      We only have ten
 14       minutes left.           Let's take a break for a second and
 15       we'll wrap up today.               Okay?
 16                       THE WITNESS:          We can go ahead.
 17                       JUDGE MORAN:          No, I don't want you to be
 18       --
 19                       THE WITNESS:          No, Your Honor, if we're
 20       going to be done that quick, I can wait.
 21                       JUDGE MORAN:          Remember we have to quit
 22       at quarter to 5:00.              Okay.      All right.          So this


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 517    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 399


  1       has been a little bit unwieldily, but I'm willing
  2       to entertain for whatever probative value it may
  3       have.      You're trying to establish, in a broad
  4       brush way, that Mr. Baumann wasn't doing his job.
  5       That he should have been noting these guarding
  6       issues in his daily reports.                    That he didn't do
  7       that, and that you didn't late arrive at the
  8       conclusion that he should be discharged for this
  9       as opposed to, oh, let's look back and see if
 10       being we can find a pretext.                    That's an important
 11       word, a pretext for discharging him.                        You know, it
 12       could be that in the wake of the complaints and so
 13       forth and the MSHA inspectors and talking to MSHA
 14       inspectors and acting as a walk around
 15       representative that you might have attempted to
 16       backfill.        That is to look back and say, let's see
 17       what we can justify to show Mr. Baumann's
 18       discharge.         And without those links I talked
 19       about, it's not very persuasive at least at this
 20       point in the testimony.                 Okay?      Everyone with me
 21       on this, what I'm saying?                  Am I making myself
 22       clear or am I muddying things?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 518    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 400


  1                       MR. TIDABACK:           So maybe this is -- maybe
  2       this is where we're missing it, Your Honor.                             The
  3       hires that we had hired to replace Mr. Baumann
  4       before he was terminated, those are not links to
  5       --
  6                       JUDGE MORAN:          No.     You're talking about
  7       -- no.      You're talking about hiring people to --
  8       Mr. Baumann's gone.              Right?
  9                       MR. TIDABACK:           No, no, no.
 10                       JUDGE MORAN:          And then you hired people.
 11                       MR. TIDABACK:           I hired them before.               If
 12       we terminated -- I'm bad about dates.                         If I
 13       terminate Mr. Baumann in April, but I hire him
 14       this other guy in January to terminate Mr.
 15       Baumann, it's hired before.                   So I would be paying
 16       two employees until we can terminate Mr. Baumann,
 17       because logically we don't want to throw a new guy
 18       into the fire and not know anything.                        But we need
 19       to terminate Mr. Baumann.                  So having this person
 20       we've hired you, you've got in on, what is this
 21       new guy here for?             He's replacing you.               We're
 22       going to have to let you go.                    That's what I'm


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 519    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 401


  1       saying, there's four of them.                    There wasn't just
  2       one person that was hired to replace Mr. Baumann.
  3       If I'm not mistaken, there were four of them to
  4       replace Mr. Baumann.
  5                       JUDGE MORAN:          This doesn't -- to me this
  6       doesn't make sense that you're saying that you
  7       decide to terminate Mr. Baumann months before, and
  8       you hire four people to effectively do the job
  9       that he wasn't doing sufficiently, and yet there's
 10       no record of -- written record or Microsoft Teams
 11       even between just you and Mr. Spears or your
 12       daughter saying we got a real problem here.                             You
 13       haven't laid a foundation for what causes you to
 14       hire these other people, and of course, we haven't
 15       heard from those people, but this is not adding
 16       up.     It sounds -- I know you blanch when I use the
 17       expression, but backfilling.                    It sounds like
 18       you're trying to look back and create reasons,
 19       from what I have heard so far, to discharge him as
 20       opposed to we had this problem and this problem
 21       and this problem, and then I hired four people but
 22       we had to keep Mr. Baumann on.                     Bad a job as he


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 520    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 402


  1       was doing, because someone had to teach him how to
  2       do it.      Are you really suggesting that?
  3                       MR. TIDABACK:           Again, it wasn't four
  4       people at once, Your Honor.                   We hired one in
  5       January, because we have people that don't show up
  6       or they attend the MSHA training and they quit.
  7                       JUDGE MORAN:          But you're keeping Mr.
  8       Baumann on for the purpose of so they can learn
  9       the job.        Right?
 10                       MR. TIDABACK:           So we can terminate Mr.
 11       Baumann.        Correct.
 12                       JUDGE MORAN:          You're asking Mr. Baumann
 13       to stay on who's doing a lousy job, for the sake
 14       of argument, but you need him there to train these
 15       two people.
 16                       MR. TIDABACK:           As bodies.         We need a
 17       body there.         The operation doesn't run unless we
 18       have a body.
 19                       JUDGE MORAN:          I would say if I was out
 20       of your committee, I would say this doesn't add
 21       up.     If we're going to -- we're not going to hire
 22       people to replace the guy who's doing a lousy job,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 521    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 403


  1       and we can't get rid of him fast enough, but first
  2       we have to hire these people so he can train them.
  3       The guy, the bad actor, he's going to show them
  4       how to do things.
  5                       MR. TIDABACK:           It's a body, Your Honor.
  6       It's very difficult to hire people in Seneca,
  7       Missouri.
  8                       JUDGE MORAN:          I'm sure.
  9                       MR. TIDABACK:           That's the whole thing.
 10       It's not like that we ca just take someone from
 11       Seneca and put them in the control room.
 12                       JUDGE MORAN:          I know, but to keep the
 13       guy who's a source of your problems?
 14                       MR. TIDABACK:           That's why we were trying
 15       to get rid of him, Your Honor.
 16                       JUDGE MORAN:          I guess I would wonder out
 17       loud why you or Mr. Spears or someone else wasn't
 18       taking over these things and he's gone.                          He's just
 19       -- Mr. Baumann is gone.                 We're not keeping that
 20       guy around.         That's the last thing we want is for
 21       him to train new people how to do the job, because
 22       he'd train them how on do it incorrectly,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 522    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 404


  1       according to you.
  2                       MR. TIDABACK:           That's the whole point,
  3       Your Honor.         We have to get someone in there that
  4       is going to accept the work because we have to do
  5       the --
  6                       JUDGE MORAN:          Who's going to train them
  7       to do the new work?              Mr. Baumann.           Right?
  8                       MR. TIDABACK:           But we have to get him
  9       past the MSHA training.                 In 2023 we went through
 10       --
 11                       JUDGE MORAN:          Mr. Baumann doesn't do
 12       MSHA training, does he?
 13                       MR. TIDABACK:           He does not provide MSHA
 14       training, no.           It is just the control room and
 15       it's the whole thing.               We had Jim Huber, Mr.
 16       Huber, which was the senior person there.                           He had
 17       four plus years there.                He did not have leadership
 18       skills and that is why he was Mr. Baumann's person
 19       in that position where we took Mr. Baumann from
 20       nights to days.            Okay.      We had -- I'm trying not
 21       to testify, sorry.
 22                       JUDGE MORAN:          I think we're wrapping up.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 523    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 405


  1       It's 5:40.         We're going to call it a day, but you
  2       know, I don't want to mislead you, but -- and I
  3       don't mean to sound coarse, c-o-a-r-s-e I'm
  4       talking about.           Okay?      Basically at this point,
  5       subject to any more questions you may have of the
  6       Complainant, you've got nothing at this point.
  7       Now, you may have witnesses that can establish
  8       either no protected activity or no adverse action
  9       or doesn't look very good at this point with the
 10       evidence of record, and you really don't have
 11       anything for this witness to show that you would
 12       have fired him in any event.                    At least not through
 13       the testimony of Mr. Baumann, because he's denying
 14       most of what you're saying, and so the basis for
 15       we would have fired the guy anyway, I don't see
 16       anything there, so far, and then you haven't
 17       presented your defense yet, but at least through
 18       this witness I don't think you marched up that
 19       hill yet.
 20                       MR. TIDABACK:           And we're trying to get
 21       there Your Honor.             It's a big hill.             We're trying
 22       to get there.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 524    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 406


  1                       JUDGE MORAN:          Attorney O'Reilly is just
  2       bursting to want to say something, so go ahead.
  3                       MS. O'REILLY:           I just want to put on the
  4       record that we object to all that line of
  5       questioning and testimony and I would like to
  6       point, again, he's not under oath and I would like
  7       to make a standing objection to his testimony when
  8       he's questioning witnesses.
  9                       JUDGE MORAN:          Well, you can make a
 10       standing objection to his questioning witnesses
 11       unless he's in those questions is testifying.
 12                       MS. O'REILLY:           He's testifying while --
 13                       JUDGE MORAN:          Sometimes he's turned it
 14       around where at the end he said isn't that true
 15       and that's fine.            Okay.       He's turned it into a
 16       question at the end.
 17                       MS. O'REILLY:           I just want to make the
 18       record clear that all the testifying in the past
 19       and that's been going on, we object to during the
 20       questioning and while he's not under oath, which
 21       he's currently not under oath.
 22                       JUDGE MORAN:          Okay.      We're going to wrap


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 525    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 407


  1       up here.        Madam Court Reporter, can you hear me?
  2                       COURT REPORTER:            Yes, I can.
  3                       JUDGE MORAN:          Are you prepared to begin
  4       tomorrow morning, shortly before 9 o'clock?
  5                       COURT REPORTER:            Yes.
  6                       JUDGE MORAN:          Okay.      So we'll be signing
  7       in with you.          Court doesn't open until 8:30 and it
  8       take to time to set up, so we'll aim with talking
  9       with you ten minutes before 9:00 and getting all
 10       set up ready to go at 9:00 sharp.                       Does that work
 11       for you?
 12                       COURT REPORTER:            Yes, it does.
 13                       JUDGE MORAN:          Okay.      Well, Ms.
 14       Blackerby, thank you for your help today.                           We look
 15       forward to meeting with you tomorrow.
 16                       COURT REPORTER:            Thank you.
 17                       JUDGE MORAN:          Now we're going to go off
 18       the record.
 19                       COURT REPORTER:            Okay.
 20                       JUDGE MORAN:          So today's proceeding has
 21       come to an end.            Thank you.
 22                       MS. O'REILLY:           One question, if we can,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 526    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 408


  1       on the record.           It can be off the record, to
  2       clarify what you said this morning about speaking
  3       with witnesses during this proceeding.                          Doc is our
  4       agency representative, so we wanted to clarify the
  5       role as to our conversations with him, not
  6       preparing for any testimony, not those
  7       conversations, but other conversations related to
  8       trial strategy.            Would those be permissible?
  9                       JUDGE MORAN:          No.     Again, I would rather
 10       keep it clean and not have that.                      Okay?      Because I
 11       don't -- I don't know that you could
 12       compartmentalize to the extent you didn't stray
 13       into -- it's just safer.                 The time for preparing
 14       ended when we started the proceeding this morning.
 15       All right?         I'm sure your witnesses will do fine,
 16       or as best as they can do, without conversations
 17       from now until tomorrow morning.                      Okay?
 18                       MS. O'REILLY:           Yes.     We agree.         We would
 19       instruct that we would ask our witnesses, Mr.
 20       Baumann and Mr. Dillingham, to be back here again
 21       at 8:30, just so we are clear they know where to
 22       go and what time to be here.                    That's the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 527    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 1                                                                              Page: 409


  1       instruction we would like to give them.
  2                       JUDGE MORAN:          That's fine.
  3                       MS. O'REILLY:           Okay.
  4                       JUDGE MORAN:          See you at 8:30 when the
  5       courthouse opens.             Mr. Dillingham, is that all
  6       right?
  7                       MR. DILLINGHAM:            Yes.
  8                       JUDGE MORAN:          I'm bad with names, sorry
  9       about that.         We'll see you-all tomorrow morning.
 10       Thank you for everything.                  See you in the morning.
 11                               (Whereupon, at 4:46 p.m., the
 12                               HEARING was continued.)
 13                                   *    *    *    *    *
 14

 15

 16

 17

 18

 19

 20

 21

 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 528    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
                                                                       Page 364

1                      C E R T I F I C A T E
2
3                      I, Jane A. Blackerby, a Certified Court
4        Reporter of the State of Missouri, do hereby
5        certify:
6                      That said procedding was taken down by
7        me in shorthand at the time and place
8        hereinbefore stated and was thereafter reduced to
9        writing under my direction;
10                      That I am not a relative or employee or
11       attorney or counsel of any of the parties, or a
12       relative or employee of such attorney or counsel,
13       or financially interested in the action.
14                      WITNESS my hand and seal this 11th day
15       of March, 2024.
16
17
18                              <%24957,Signature%>
19                             Jane A. Blackerby, CCR #877
20
21
22
23
24
25




     Appellate Case: 25-1349    Page: 529   Date Filed: 04/07/2025 Entry ID: 5503844
  FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
        OFFICE OF ADMINISTRATIVE LAW JUDGES

 -----------------------------x
 SECRETARY OF LABOR,          :
                              :
             Complainant,     :
                              :
            v.                : CENT 2023-0251-DM
                              : MADI-CD-2023-03
 MONSENECA MANUFACTURER, LLC, :
 d/b/a AMERICAN TRIPOLI,      :
                              :
             Respondent.      : Volume 2
 -----------------------------x

                                                   633 S. Pearl Avenue
                                                      Joplin, Missouri

                                      Wednesday, February 28, 2024




             The HEARING in the above-entitled matter

 was reconvened at 9:00 a.m., pursuant to notice.

 BEFORE:

             JUDGE WILLIAM B. MORAN




Appellate Case: 25-1349   Page: 530     Date Filed: 04/07/2025 Entry ID: 5503844
Vol 2.                                                                                 Page: 2


  1       APPEARANCES:
  2           On behalf of Complainant:
  3                  LAURA O'REILLY, ESQUIRE
                     ELAINE SMITH, ESQUIRE
  4                  QUINLAN B. MOLL, ESQUIRE
                     United States Department of Labor
  5                  Office of the Solicitor
                     2300 Main Street, Suite 10100
  6                  Kansas City, Missouri 64108
  7           On behalf of Respondent:
  8                  RUSSELL TIDABACK, ESQUIRE
                     American Tripoli
  9                  222 Oneida Street
                     Seneca, Missouri 64865
 10

 11                                   *    *    *    *    *
 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 531    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                 Page: 3


  1                                  C O N T E N T S
  2       WITNESS:                    DIRECT       CROSS      REDIRECT        RECROSS
  3       Robert Baumann                                12            117            123
  4       Gage Wheeler                     127        193
  5       Carson Allman                    217        254
  6       Kensley Brewer                   268        291
  7       Michael Dillingham               307        341
  8       Keith Markeson                   356
  9       RESPONDENT'S EXHIBIT:                                   MARKED/RECEIVED
 10       R-A - Document
 11       R-X - Document
 12       R-Y - Document
 13       R-Z - Document
 14       COMPLAINANT'S EXHIBITS:
 15       P-1 - MSHA Form 2123
 16       P-16 - Employee Handbook
 17       P-17 - ID Report
 18       P-19 - System Information
 19       P-20 - System Information
 20       P-22 - Violation History
 21       P-23 - Data on Mine Size
 22       P-25 - Field Notes


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 532    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                 Page: 4


  1       COMPLAINANT'S EXHIBITS (CONT'D):                        MARKED/RECEIVED
  2       P-26 - Inspection Notes
  3       P-39 - Discovery Responses
  4       P-41 - Brewer Statement
  5       P-42 - Miner Interviews
  6       P-43 - Tidaback Deposition
  7

  8                                   *    *    *    *    *
  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 533    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                 Page: 5


  1                             P R O C E E D I N G S
  2                       JUDGE MORAN:          Good morning.           All right.
  3       So let's go on the record.                  On the record, now?
  4       Okay.      We on.
  5                       COURT REPORTER:            We're on.
  6                       JUDGE MORAN:          All right.         Good morning,
  7       everyone.        We're here for day two, being the next
  8       to the last day of February, this being a leap
  9       year.      Today is February 28th, and we're going to
 10       resume the testimony, the cross examination of Mr.
 11       Baumann in a moment.
 12                       In an off the record discussion where
 13       all the parties were here, that is Mr. Tidaback
 14       and the three counsel for the Secretary, Mr.
 15       Tidaback raised a subject of some exhibits which
 16       he's previously exchanged with the Secretary, and
 17       he was seeking to see if that would be --
 18       something that the parties can stipulate and the
 19       Secretary will stipulate to its admission.                            Have
 20       you had a chance to look these over, Attorney
 21       O'Reilly?
 22                       MS. O'REILLY:           Yes.     To clarify, these


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 534    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                 Page: 6


  1       were not previously exchanged.                     I saw them at 9:00
  2       a.m. this morning when we got to the courthouse.
  3                       JUDGE MORAN:          This was not out of the
  4       exchange?
  5                       MS. O'REILLY:           Correct.        I did not see
  6       this until today.
  7                       JUDGE MORAN:          Mr. Tidaback.
  8                       MR. TIDABACK:           Yes.     The -- the exhibit
  9       we put together are the Teams chats from the first
 10       interrogatories and request for documents, the
 11       second production of documents.                     They're just in
 12       another document explaining the pictures.                           So it's
 13       expanded information of what's already there.
 14                       MS. O'REILLY:           These are not familiar to
 15       me.     If it's expanded, then that's information I
 16       was not provided.             There is testimony and
 17       narrative and commentary in here about things.                              I
 18       mean, some of these pages are just argument.                             It's
 19       almost like filing a brief before the Court and
 20       asking for it to be an exhibit, and I can't
 21       confirm that these messages were messages in any
 22       of these exhibits.              If they were, I'd like to be


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 535    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                 Page: 7


  1       pointed to that.
  2                       JUDGE MORAN:          Okay.      So regretfully my
  3       ruling is that I can't admit these exhibits, these
  4       proposed exhibits.              You can, if you have, in fact,
  5       exhibits that have been previously exchanged and
  6       there are pages within those exhibits, I'm just
  7       picking at random RM.               I'm not saying that's where
  8       it would be, you can use those pages, but you
  9       know, the tests for admission of documents at a
 10       late stage like this, whether they were readily
 11       available to the side seeking to have them
 12       introduced, and these being Team chats, they were
 13       before readily available.                  So I mean, it has to be
 14       elements of fairness here.
 15                       And weighing that against the surprise
 16       and without seeing these exhibits, the
 17       characterization and the concerns expressed by
 18       Attorney O'Reilly, including the type of
 19       objections that she would have perhaps raised with
 20       was more detailed if she had had these in a timely
 21       fashion, such as her suggestion that upon
 22       reviewing them some aspects of it seemed like


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 536    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                 Page: 8


  1       argument as opposed to testimony or exchanges that
  2       are not argument, but just factual, I have to deny
  3       the admission of your proposed collaborative
  4       exhibit.
  5                       MR. TIDABACK:           Yes, Your Honor.
  6                       JUDGE MORAN:          You can still ask
  7       questions, as you did yesterday, you can say to
  8       Mr. Baumann, do you remember having -- my having a
  9       conversation -- I'm making this as a hypothetical.
 10                       MR. TIDABACK:           Yes, sir.
 11                       JUDGE MORAN:          Do you remember we had a
 12       conversation where I advised you you had to do
 13       better about looking at guards, and he can answer
 14       that and say, yes, I do, or no, I don't, and then
 15       that becomes a question that one aspect of it, of
 16       credibility.          And I don't make a credibility
 17       determination based solely upon a witness' answer,
 18       but I will tell you that holistically, depending
 19       about upon what other witnesses may testify or
 20       what other exhibits may help me discern the
 21       accuracy of that answer, whether I find it to be
 22       credible or not credible.                  I hope that wasn't so


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 537    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                 Page: 9


  1       wordy that you're not going to understand what I'm
  2       saying.
  3                       All right.         So that's my ruling.               So
  4       now, are you ready to resume questioning of the
  5       Complainant?
  6                       MR. TIDABACK:           I did have a question,
  7       Your Honor.
  8                       JUDGE MORAN:          Sure.
  9                       MR. TIDABACK:           The -- the
 10       interrogatories and requests for production of
 11       documents that the Secretary asked for and she had
 12       received, they're for the search terms of those
 13       chats is what she received and that they're all in
 14       there.      That's what I'm saying, she received them.
 15       And if there was more questions on those I would
 16       have -- you know, I'm saying we would have went
 17       more in detail, and that's what those are.                            It's
 18       just that information.                It's just the continuation
 19       of that discussion that shows part of what we're
 20       presenting.         The history behind.
 21                       JUDGE MORAN:          Okay.      Well, without
 22       introducing the exhibits, of course, I have


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 538    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 10


  1       decided that it's inappropriate and unfair on the
  2       day two of our trial, and -- and accepting the
  3       accuracy of Attorney O'Reilly's statement that
  4       these were not part of the prehearing exchange, I
  5       still have to deny your attempt to have this
  6       admitted.        However, you can still, by looking at
  7       those documents formulate a question, but you're
  8       not going to refer to it.                  You're not going to say
  9       based on Microsoft chat, Team chat number.                            You're
 10       going to say, Mr. Baumann, is it accurate that,
 11       and then you would ask him questions.                         Although
 12       the basis for that will be derived for perhaps
 13       when you're looking at notes, but he can still
 14       answer the questions.               He just can't introduce
 15       those Team chats as exhibits to prove your defense
 16       to this matter.
 17                       MR. Tidaback:           Yeah, and my fear on
 18       that, Your Honor, is just like yesterday you have
 19       mentioned we have to go off of his memory and a
 20       lot of things we have he stated he didn't have
 21       those conversations or we didn't talk about that,
 22       so you know, that's presented in the exhibits that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 539    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 11


  1       the Secretary has.              That's I'm trying to --
  2                       JUDGE MORAN:          I understand.           One of my
  3       -- as I sort of elaborated a second ago, one of my
  4       jobs is to assess the credibility of witnesses,
  5       and you notice I've stayed awake.                       I'm not dozing
  6       off.     I'm looking at witnesses and this witness
  7       and any other witnesses, and I have to make an
  8       assessment of credibility.                  All right.          And I make
  9       provisional assessments during the course of the
 10       hearing, and then I weigh that against other
 11       witnesses who may contradict a given witness'
 12       testimony, and I do my level best to come up with
 13       a conclusion as to which witness, if there's a
 14       conflict, is more believable.
 15                       MR. TIDABACK:           Okay.
 16                       JUDGE MORAN:          So that's the process I
 17       use.
 18                       MR. TIDABACK:           Yes, sir.
 19                       JUDGE MORAN:          All right.         So are you
 20       ready now to resume you're questioning of Mr.
 21       Baumann?
 22                       MR. TIDABACK:           Sure.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 540    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 12


  1                       JUDGE MORAN:          Court reporter, I'm doing
  2       this annoyingly, I know, but Court Reporter, did
  3       you get all that?
  4                       COURT REPORTER:            Yes, I did.
  5                       JUDGE MORAN:          Okay.      Thank you.         All
  6       right.      Go ahead, Mr. Baumann -- Mr. Tidaback,
  7       with your questions, questioning of Mr. Baumann,
  8       please.
  9       Whereupon,
 10                                   ROBERT BAUMANN
 11       was recalled as a witness and, having been
 12       previously duly sworn, was examined and testified
 13       further as follows:
 14                       CROSS-EXAMINATION CONTINUED
 15                       BY MR. TIDABACK:
 16               Q       Good morning, Rob.
 17               A       Good morning.
 18                       JUDGE MORAN:          Let me just state, I'm
 19       sure you know this, but just for the record, Mr.
 20       Baumann, you're still under oath.
 21                       THE WITNESS:          Yes, Your Honor.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 541    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 13


  1                       BY MR. TIDABACK:
  2               Q       So in your tenure with American Tripoli
  3       you've had interactions with Mr. Spears, your
  4       supervisor.         Can you describe the nature of those
  5       interactions?
  6               A       Daily interactions about multiple
  7       things.
  8               Q       How was the feelings and demeanor of
  9       that -- of those interactions?
 10               A       I don't understand the question.
 11               Q       Did you have confrontations with Mr.
 12       Spears?
 13               A       Yes.
 14               Q       If we can refer to Respondent Exhibit
 15       RA.
 16                       JUDGE MORAN:          Okay.      Okay.      Thank you.
 17       I now have Respondent's RA in front of me.                            And do
 18       you have that in front of you, Mr. Baumann?
 19                       THE WITNESS:          My pages aren't numbered.
 20       It's Page 10 and I apologize, Your Honor.
 21                       JUDGE MORAN:          Did you say Page 10?
 22                       MR. TIDABACK:           Yes, Your Honor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 542    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 14


  1                       JUDGE MORAN:          So help me out, Mr.
  2       Tidaback.        What I've found and hopefully correctly
  3       as being Page 10 is the first item on there Jim
  4       Huber, 5-7 2:01 p.m.?
  5                       MR. TIDABACK:           Yes, Your Honor.
  6                       JUDGE MORAN:          Do you find that, Mr.
  7       Baumann?
  8                       THE WITNESS:          Yes.
  9                       JUDGE MORAN:          Okay.      And does it say,
 10       "Mr. Tidaback, I didn't know you-all did.                           I was
 11       trying to stay in my lane."                   Is that what you're
 12       referring to?
 13                       MR. TIDABACK:           At the bottom of the
 14       page, Your Honor, Jim Huber's message, 5-7 2:03
 15       p.m.
 16                       JUDGE MORAN:          Yes, I see.
 17                       MR. TIDABACK:           He was yelling at John a
 18       lot, screaming.
 19                       JUDGE MORAN:          You see that, Mr. Baumann?
 20                       THE WITNESS:          Yes, Your Honor.
 21                       JUDGE MORAN:          Okay.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 543    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 15


  1                       BY MR. TIDABACK:
  2               Q       Reading this conversation on this page,
  3       Mr. Baumann, or Rob, looking at in the middle of
  4       the page, 5-7 2:03 p.m., that's when Rob started
  5       really buck against what John was telling him.
  6       Next message, "Oh, I know.                  I guess we had to
  7       prioritize things," and then Jim Huber responded
  8       to that message.            It's safe to assume that Jim was
  9       referring to you?
 10                       MS. O'REILLY:           Objection, calls for
 11       speculation.
 12                       JUDGE MORAN:          No, he can answer the
 13       question.        Was he referring to you?
 14                       THE WITNESS:          I honestly don't know,
 15       Your Honor, because these messages were sent after
 16       I was terminated.
 17                       JUDGE MORAN:          Okay.      So help me out
 18       with, Mr. Tidaback.              I know it's a fundamental
 19       question, but these Teams chats are a little
 20       difficult for me in the sense that each page does
 21       not identify the year.                So when you're referring
 22       to 5-7 at 2:02 and 2:03 p.m., what year is this?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 544    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 16


  1                       MR. TIDABACK:           This will be current
  2       year.      The system does not show this year.                        It's
  3       current year, the year that we're in that we took
  4       pictures, screen shots of the system when we were
  5       searching for these.
  6                       JUDGE MORAN:          But I'm a little confused
  7       as to the 5-7, what year?                  You're saying that
  8       can't be -- you're not talking about 2024.
  9                       MR. TIDABACK:           No.     That would be 2023.
 10                       JUDGE MORAN:          And was 5-7-2023 a period
 11       of time, these communications that we're looking
 12       at on this exhibit, that's after Mr. Baumann was
 13       terminated.         Is that correct?
 14                       MR. TIDABACK:           That is correct.            This
 15       was a communication between Mr. Baumann, or excuse
 16       me, Mr. Huber, which was an employee of ours and
 17       myself.
 18                       JUDGE MORAN:          In May of 2023?
 19                       MR. TIDABACK:           Correct, Your Honor.               I
 20       should have been more clear.
 21                       JUDGE MORAN:          This is just for -- you
 22       can imagine that if I didn't nail that down that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 545    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 17


  1       someone, if this case is appealed, would not -- or
  2       not know for sure.              It has -- it can't look
  3       outside the record.              We have to have it on the
  4       record and now we do.
  5                       MR. TIDABACK:           Yes, sir.
  6                       JUDGE MORAN:          So are you going -- you
  7       going to move for introduction of this -- of this
  8       exhibit, RA?
  9                       MR. TIDABACK:           Yes, Your Honor.
 10                       JUDGE MORAN:          All right.         Do we have an
 11       objection to the introduction of RA?
 12                       MS. O'REILLY:           Yes, we have an
 13       objection.         This is a redacted copy of what was
 14       produced in Exhibit P34.                 If you go to P34 on Page
 15       15 we asked for an un-redacted complete, so this
 16       was provided in discovery, what's in this Exhibit
 17       A, and then we noticed that there were redactions.
 18       So we asked for an un-redacted copy in further
 19       discovery, and that is what's reflected in p34.
 20       So I would just argue that this is in the record
 21       and P34, but in a complete fashion so we would
 22       object to this incomplete redacted copy being part


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 546    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 18


  1       of the record.
  2                       JUDGE MORAN:          Okay.      So but I'm looking
  3       for my -- of course, I do see P34 was admitted
  4       yesterday.         So -- and you're telling me, Attorney
  5       O'Reilly, that P34 was in effect and expanded --
  6                       MS. O'REILLY:           Correct.
  7                       JUDGE MORAN:          -- version of RA.             Well,
  8       I'm still going to admit RA.
  9                       MS. O'REILLY:           Okay.
 10                               (Respondent's Exhibit R-A was
 11                               marked for identification and
 12                               received in evidence.)
 13                       JUDGE MORAN:          But I understand what
 14       you've just expressed.                So Exhibit RA is admitted,
 15       and I'm just making sure I don't include more than
 16       I need to.         Yeah, RA is admitted.                I'm going to
 17       mark that down.            And the pages are not numbered,
 18       but the page that I think accurately -- it doesn't
 19       matter what number, but what Mr. Baumann was just
 20       asked about is part of the record as well.                            Okay?
 21       So he responded as best he could to that.                           RA is
 22       admitted.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 547    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 19


  1                       MR. TIDABACK:           Thank you, Judge.
  2                       JUDGE MORAN:          Go ahead.
  3                       BY MR. TIDABACK:
  4               Q       Do you see where Mr. Huber is it stating
  5       he was yelling at John and screaming at Mr.
  6       Baumann?
  7               A       Yes.
  8               Q       With this information, were there
  9       instances where disagreements led to raised voices
 10       or confrontations by you?
 11               A       Yes.
 12               Q       Please provide some details on that.
 13               A       For one, the mill was pretty loud, so
 14       you usually had to talk up quite a bit, and yes.
 15       I did.      When we were asking for parts or anything
 16       like that, there was times that I raised my voice.
 17       It wasn't in a fit throwing or anything else, but
 18       yes.
 19               Q       Confrontational?
 20               A       Never confrontational.
 21                       JUDGE MORAN:          And just to help me out,
 22       these -- these moments, instances in part due to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 548    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 20


  1       you say the noise of the mill itself?
  2                       THE WITNESS:          Yes, Your Honor.
  3                       JUDGE MORAN:          These are conversations
  4       between you and Mr. Spears?
  5                       THE WITNESS:          Yes.
  6                       JUDGE MORAN:          And just the two of you or
  7       were there other people?
  8                       THE WITNESS:          There was other people
  9       around, all the mill associates.
 10                       JUDGE MORAN:          Okay.      But for instance, I
 11       could have a conversation with you and have other
 12       people just be in the area, but was the
 13       conversation directly between the two of you and
 14       not third parties or other individuals involved?
 15                       THE WITNESS:          Third parties, most of the
 16       time there was other people involved in the
 17       conversations.
 18                       JUDGE MORAN:          Oh, really?
 19                       THE WITNESS:          Yes, Your Honor.
 20                       JUDGE MORAN:          Okay.      All right.
 21                       THE WITNESS:          Usually maintenance
 22       partner or a mill associate.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 549    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 21


  1                       JUDGE MORAN:          But they joined in the
  2       conversation that you were having or the
  3       discussion you were having?
  4                       THE WITNESS:          Yes.      Most of them, Your
  5       Honor.
  6                       JUDGE MORAN:          Okay.      Go ahead, Mr.
  7       Tidaback.
  8                       BY MR. TIDABACK:
  9               Q       So would you say by raising your voice
 10       in a confrontational and having confrontations is
 11       ever appropriate with your manager?
 12               A       It was more of a passionate type thing,
 13       you know.        I'm passionate about my job.                    If I
 14       asked about a guard or something and then he kept
 15       talk walking away, naturally I would yell so he
 16       could hear me.
 17                       JUDGE MORAN:          So there was some
 18       friction?
 19                       THE WITNESS:          Yes, Your Honor.             I was
 20       not fed up, but getting -- it was very frustrating
 21       to try and get things fixed or to get things
 22       resolved.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 550    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 22


  1                       JUDGE MORAN:          Okay.      Go ahead.
  2                       BY MR. TIDABACK:
  3               Q       Were you in a position to make decisions
  4       as a shift lead?
  5               A       No.
  6               Q       Is it appropriate to believe that your
  7       manager is the one that has all the information to
  8       make those decisions to make things happen?
  9               A       Yes.
 10               Q       Okay.      So do you think it's appropriate
 11       that a subordinate should raise their voice in
 12       angst or anger with their manager?
 13               A       If anything ever would have been said to
 14       me about raising my voice in front of John Spears,
 15       I would have never done it again.
 16               Q       Okay.      All right.         If we can refer to
 17       Secretary Exhibit P38 titled Burman termination
 18       letter.
 19                       JUDGE MORAN:          Okay.      Let me get that in
 20       front of me.          P38?
 21                       MR. TIDABACK:           Yes, Your Honor.
 22                       JUDGE MORAN:          Yes.      I remember this


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 551    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 23


  1       exhibit.        Tell me when you're there, Mr. Baumann.
  2                       THE WITNESS:          One second, Your Honor.
  3       Okay.
  4                       JUDGE MORAN:          Go ahead, Mr. Tidaback.
  5                       BY MR. TIDABACK:
  6               Q       Do you agree that listed reasons of the
  7       termination -- excuse me, for the termination are
  8       the following:           Poor performance, lack of
  9       leadership and for failure to follow procedures
 10       and guidance given by your supervisor?
 11               A       Which page are you on?
 12               Q       P38 is the Baumann termination letter.
 13               A       This termination letter is to Cameron
 14       Bindle.
 15                       JUDGE MORAN:          You're not on P38, then.
 16       This is the letter signed by you, Mr. Tidaback?
 17                       MR. TIDABACK:           Yes, Your Honor.
 18                       THE WITNESS:          Okay.      Now I'm there.
 19       Sorry, Your Honor.
 20                       JUDGE MORAN:          I actually have a problem
 21       with the way that you phrased the question.                             I
 22       think you have to say, Mr. Baumann, do you see


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 552    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 24


  1       that in this letter that American Tripoli asserted
  2       the following.           Okay.      Because you're asking him
  3       to in effect agree -- your question as originally
  4       posed asked him to agree almost to the correctness
  5       of the assertion, which is different.                         Do you
  6       understand that?            The way you phrased it, you
  7       know, it sounded like if he says yes, I saw that,
  8       or yes.       If he just simply answers yes, it could
  9       be construed as an admission as to the allegations
 10       in that letter, and by that I mean, lack of
 11       leadership skills.
 12                       You know, it's one thing to say is that
 13       what it says in the letter.                   You can also say to
 14       him, do you agree that you showed lack of
 15       leadership skills.              You can ask him that,
 16       etcetera.        Okay?      So make another stab at it.                    You
 17       have that in front of you now?
 18                       THE WITNESS:          Yes, Your Honor.
 19                       JUDGE MORAN:          Go ahead, Mr. Tidaback.
 20                       BY MR. TIDABACK:
 21               Q       So on that termination letter, the
 22       listed reasons, does it state poor performance,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 553    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 25


  1       lack of leadership skills and for failure to
  2       follow procedures and guidance given by your
  3       supervisor?
  4                       JUDGE MORAN:          Do you agree that that's
  5       what the letter states?
  6                       THE WITNESS:          Yeah, that's what the
  7       letter states.
  8                       BY MR. TIDABACK:
  9               Q       Okay.      Do you agree that you were given
 10       that termination letter?
 11               A       Yes.
 12               Q       Okay.      So -- and this was given to you
 13       by Mr. Spears?
 14               A       Yes.
 15               Q       Okay.      And Mr. Spears is your
 16       supervisor?
 17               A       Yes.
 18               Q       Okay.      All right.         So you agree that
 19       that is your termination letter?
 20               A       Yes.     This is the letter I received
 21       April 17th.
 22               Q       And at the bottom of the letter, the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 554    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 26


  1       last sentence, paragraph, it deals with if you
  2       have any questions please bring them forward to
  3       me.
  4               A       "If you have any questions or concerns
  5       about this decision, please do not hesitate to
  6       contact me."
  7               Q       Okay.      Did you happen to contact me?
  8               A       Yes.     I mailed a letter with a request
  9       for my final paycheck stub on paper to the address
 10       that I had, which was in Harrisonville, Missouri,
 11       I believe, to an office, and I never got a
 12       response, nor my last paycheck stub on paper.
 13       When John handed me this letter I immediately --
 14       he said, I'm sorry.              Russell, told me to let you
 15       go, and he handed me the letter.                      I didn't even
 16       read the letter until I left the building, because
 17       -- because of the prior instances the previous
 18       week, I knew what it was about, in my opinion,
 19       Your Honor.
 20                       So I read this after I was gone, and I
 21       wanted to request a last paycheck stub.                          So I
 22       wrote -- I wanted some detailed reasons and my


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 555    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 27


  1       final paper paycheck stub to prove that I had
  2       gotten all my PTO or accrued time and all that
  3       included in on that, and I never got a response.
  4                       JUDGE MORAN:          Okay.      So you're telling
  5       me that this letter, which is P38, that this
  6       letter was handed to you by Mr. Spears?
  7                       THE WITNESS:          Yes.
  8                       JUDGE MORAN:          And that you didn't read
  9       it at that moment or later, and then you sent this
 10       letter to them and among the things in your letter
 11       was a request for your last paycheck?
 12                       THE WITNESS:          Yes, Your Honor.
 13                       JUDGE MORAN:          And your testimony is that
 14       even today as we sit here, you have not received
 15       payment for that last paycheck?                     That's still
 16       outstanding?
 17                       THE WITNESS:          I have received payment.
 18       I just wanted a copy of the last paycheck stub
 19       with the detailed -- yes.                  I was locked out of
 20       Teams, and that's how you looked, looked at your
 21       paycheck and your hours worked.
 22                       JUDGE MORAN:          Okay.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 556    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 28


  1                       THE WITNESS:          So I never was fully aware
  2       of whether I got paid for the four hours for the
  3       getting sound during the shutdown plus the four
  4       hours the next day.              I never -- never knew that
  5       for sure because I couldn't look it up and that's
  6       why -- and I asked the request, after I had talked
  7       the MSHA inspector, after I was terminated.
  8                       JUDGE MORAN:          Court Reporter, are you
  9       getting all of this?
 10                       COURT REPORTER:            Yes, I am.
 11                       JUDGE MORAN:          Okay.      Thank you.         Go
 12       ahead, Mr. Baumann.              Mr. Tidaback, excuse me.
 13                       BY MR. TIDABACK:
 14               Q       Were you ever given a paper copy of your
 15       pay stub from --
 16               A       No.
 17               Q       Okay.      Where did you get your pay stubs
 18       from?
 19               A       From the Teams.            ADT.
 20               Q       ADP?
 21               A       Yes.     Which I had to get through through
 22       Teams.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 557    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 29


  1               Q       ADP you accessed through the internet,
  2       not through Teams.              Is that correct?
  3               A       I always went through Teams and hit the
  4       ADT box.
  5                       JUDGE MORAN:          Let's not spend a lot of
  6       time on this.           This is really a tangential issue
  7       about pay stubs and how he received.                        Let's get
  8       back to the heart of the matter.
  9                       BY MR. TIDABACK:
 10               Q       The address, I just have a question on
 11       the address.          You said you sent it to
 12       Harrisonville?
 13               A       Yes.     The only paper thing that I had
 14       with American Tripoli on it had a -- I can't even
 15       remember what it was -- the office address was
 16       Harrisonville, Missouri.                 The mailing address, or
 17       shipping address was to Seneca, Missouri.
 18               Q       But if we look at the termination
 19       letter, right across the top is our address.
 20                       JUDGE MORAN:          Okay.      But see, we're
 21       really going down something that's really not --
 22       I'm not going to make a finding of fact as to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 558    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 30


  1       where he sent this letter and what was on top of
  2       the letter for the mailing address.                        That would be
  3       something that's not an element that I have to
  4       decide.
  5                       MR. TIDABACK:           Yes, Your Honor, I
  6       apologize.         I'll just -- okay.
  7                       BY MR. TIDABACK:
  8               Q       So do you know how many pounds per hour
  9       of OGR was the production goal?
 10               A       It was never directed -- directly said
 11       to me.      It was an understanding that we wanted to
 12       get 40,000 pounds per day.
 13                       JUDGE MORAN:          And what does OGR stand
 14       for?     Do you know what that means?
 15                       THE WITNESS:          Once ground rose.
 16                       JUDGE MORAN:          I'm sorry?
 17                       THE WITNESS:          Once there were multiple
 18       grades of the material we ran and it would stand
 19       for once ground rose.
 20                       JUDGE MORAN:          You can't testify but you
 21       can ask him another question to further explain
 22       that.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 559    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 31


  1                       MR. TIDABACK:           Yes, Your Honor.
  2                       BY MR. TIDABACK:
  3               Q       So in January of 2012, in the mill
  4       management group -- I'm sorry, January 12th of
  5       2023 in the mill management group, you don't
  6       recall a message where there was a question from
  7       me tagged you, so it would have highlighted and
  8       notified you that you were leaving a direct
  9       message and myself asking you make sure that you
 10       do the shift lead closeouts at the end of each
 11       day, and it lists the closeouts?
 12                       JUDGE MORAN:          Do you recall that, sir?
 13                       THE WITNESS:          No, Your Honor, I do not.
 14                       JUDGE MORAN:          Okay.      That's his answer.
 15                       BY MR. TIDABACK:
 16               Q       Okay.      And do you recall on January 13th
 17       a Teams message in the same mill management chat
 18       group, a discussion about an order that was --
 19       that was received by an I1 customer and they
 20       received it incorrectly, and in that discussion we
 21       discussed how many pounds per hour OGR was the
 22       production goal?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 560    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 32


  1               A       Is there a message that I can look at?
  2       Maybe it would recall.
  3                       JUDGE MORAN:          Just because --
  4                       THE WITNESS:          I don't recall that.
  5                       JUDGE MORAN:          Excuse me.         Let's not talk
  6       over one another.             Mr. Tidaback is asking you a
  7       question whether you recall this event that he
  8       just described, and because I believe this
  9       question is based upon the exhibit that he
 10       proposed but I could not admit, that's where we
 11       are.     So if I were to show -- I would have him
 12       show you the exhibit, that would be a back door
 13       route to what I said he couldn't do.                        So his
 14       question is do you recall this event?
 15                       THE WITNESS:          I recall an event of an
 16       order being messed up, but I do not recall any of
 17       the other conversation.
 18                       JUDGE MORAN:          All right.
 19                       BY MR. TIDABACK:
 20               Q       With your statement of an order being
 21       messed up, who was the last person, the quality
 22       control responsibilities as for American Tripoli?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 561    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 33


  1               A       Whoever loaded the truck.                  We always
  2       took pictures of the truck after it was loaded to
  3       prove that it was loaded correctly with the
  4       picture of the bill of lading and stuff.
  5                       JUDGE MORAN:          Good idea.
  6                       THE WITNESS:          Yes.      So I don't recall
  7       who loaded that truck.
  8                       BY MR. TIDABACK:
  9               Q       But you do remember now that specific
 10       order that was -- because you just stated I don't
 11       remember who loaded the truck, so you know which
 12       order we're talking about?
 13               A       All I recall is an order that a customer
 14       had a complaint about.                I do not recall the
 15       specific order or when it was shipped out or who
 16       loaded it or anything like that.
 17               Q       So you -- sorry to interrupt.                    So you
 18       remember the conversation now, though.                          Correct?
 19               A       I just remember questions about an
 20       order.
 21               Q       About a specific order that since you
 22       think that order was messed up?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 562    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 34


  1               A       Not a specific order.
  2                       JUDGE MORAN:          Let's not talk over one
  3       another, okay.           Go ahead.
  4                       THE WITNESS:          Sorry.
  5                       JUDGE MORAN:          He's taken this as far as
  6       he can.       He says he remembers there was an issue
  7       with the order, and his -- you've exhausted his
  8       memory about this particular matter.
  9                       BY MR. TIDABACK:
 10               Q       On that specific one.               Okay.       So were
 11       there order -- were there other conversations with
 12       you regarding quality control of bags leaving the
 13       mill, received by a customer with the bags ripped,
 14       spillage of material falling out of the bags?
 15               A       Nothing was ever directed towards me
 16       specifically on those.                I recall seeing messages
 17       about some ripped bags, but that's to my
 18       recollection.
 19               Q       Okay.      And you had just mentioned here a
 20       second ago the BOL.              Can you explain what the BOL
 21       is?
 22               A       Bill of lading.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 563    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 35


  1               Q       Okay.      Can you explain what a bill of
  2       lading is?
  3               A       A paperwork that goes with a shipment
  4       that says what is in the shipment and where it's
  5       going.
  6               Q       So it's the contract for the shipper and
  7       the customer?
  8               A       I don't know whether it's a contract or
  9       not.     It was just a paper that said where it was
 10       going and what was supposed to be going.
 11                       JUDGE MORAN:          So he's described it
 12       there.
 13                       BY MR. TIDABACK:
 14               Q       And in that paperwork for the driver of
 15       the truck to pick it up, he has to know what's in
 16       that truck.         Correct?
 17               A       Yes.     A driver always signed for it.
 18               Q       Signed for the --
 19               A       Yes.
 20               Q       -- material that he's picking up.
 21       Correct?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 564    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 36


  1               Q       So if there were material leaving our
  2       warehouse damaged, the driver wouldn't take it.
  3       Is that correct?
  4               A       Yes.
  5               Q       Okay.      So back to the question on the
  6       original, how many pounds per hour of OGR was the
  7       production goal?
  8               A       I have no idea.            I never -- it never got
  9       reiterated to me.             Just the goal was to try and
 10       get 40,000 pounds per day.
 11               Q       So the -- you just stated this daily
 12       goal was 40,000 pounds per day?
 13               A       That was the -- yeah, that was the
 14       target goal.
 15               Q       Okay.      So how many pounds per hour of
 16       OGR would have been the production goal?                           If the
 17       day was 40,000 pounds, how many hours per day did
 18       you guys run production?
 19               A       Approximately six and a half, most of
 20       the time, six to six and a half.
 21               Q       So it's safe to say that you'd just
 22       divide that six and a half by 40,000?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 565    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 37


  1               A       Yes.
  2               Q       Okay.      How many times were you able to
  3       achieve that?
  4               A       I honestly don't know.                We had good days
  5       and we have bad days.
  6               Q       So you were able to achieve that?
  7                       JUDGE MORAN:          He just expressed, he
  8       said, inferentially there were good days and bad
  9       days.       I assume by a good day you mean you met
 10       that goal?
 11                       THE WITNESS:          Or close to it, Your
 12       Honor.       We were -- John Spears and everybody
 13       seemed very pleased if we were getting 350 to --
 14       380 bags was a really good day, in our opinions.
 15                       JUDGE MORAN:          I know I asked you and I
 16       didn't catch it and I decided not to pursue it.
 17       For the OGR is what Mr. Tidaback is talking about.
 18       And OGR stands for what?
 19                       THE WITNESS:          Once ground rose product.
 20                       JUDGE MORAN:          Once ground rose.
 21                       THE WITNESS:          The rose being the color,
 22       the once ground being the how gritty it is.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 566    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 38


  1                       JUDGE MORAN:          Okay.      Thank you.
  2                       BY MR. TIDABACK:
  3               Q       Did you ever express that you did not
  4       want to push the system?
  5               A       Yes.
  6               Q       Okay.      Would it be surprising to you
  7       that Mr. Spears expressed that he did not know why
  8       you were shy to put more material in there than
  9       you do at a time to get the production goals met
 10       per day?
 11                       MS. O'REILLY:           Objection, he's
 12       testifying what other people have said.
 13                       JUDGE MORAN:          Well, you can rephrase the
 14       question, which is just to say, did Mr. Spears
 15       ever express to you or question you as to why you
 16       couldn't meet these production goals.                         Is that the
 17       essence of your question?
 18                       MR. TIDABACK:           So I can rephrase it,
 19       Your Honor?
 20                       JUDGE MORAN:          Yes.
 21                       BY MR. TIDABACK:
 22               Q       Did Mr. Spears ever ask you why you're


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 567    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 39


  1       not putting more material in the system?
  2               A       Yes.
  3               Q       Okay.      And I explained to him there was
  4       just so many different factors in running the
  5       product, you know, being the weather, and then the
  6       machinery, if the charge got low in the tube mill
  7       and you overfed it, you would clog everything up,
  8       or if I overfed it, it would create a lot more
  9       dust in the building.               So you kind of had to -- my
 10       goal was to find the happy medium where I could
 11       feed it constantly without overfeeding it, keeping
 12       the dust down and keeping the machinery running
 13       all at once, because if one piece of the cog
 14       broke, it shut the whole thing down, because it's
 15       all got to work in -- through the system at the
 16       same time, you know what I'm getting at?
 17                       JUDGE MORAN:          And in answer to Mr.
 18       Tidaback's question, so are you telling me that
 19       you did explain to Mr. Spears --
 20                       THE WITNESS:          Yes, Your Honor.
 21                       JUDGE MORAN:          -- the problems of trying
 22       to overtax the system?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 568    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 40


  1                       THE WITNESS:          Yes, Your Honor.             Multiple
  2       times.
  3                       JUDGE MORAN:          Multiple times.
  4                       THE WITNESS:          Yes, Your Honor.             We were
  5       -- Mr. Spears and I, multiple positive
  6       conversations on how to get more product through
  7       the system, but yes, I explained.
  8                       JUDGE MORAN:          Mr. Spears, by the way, is
  9       he still employed with you?
 10                       MR. TIDABACK:           Yes, Your Honor.            He's
 11       the operational manager.
 12                       JUDGE MORAN:          Go ahead.
 13                       BY MR. TIDABACK:
 14               Q       So, again, Mr. Spears had come to you
 15       and say we need to get more material through the
 16       system?
 17               A       Mr. Spears was all about putting the
 18       material through the system at any cost.
 19               Q       Okay.      So has Mr. Spears ever assisted
 20       and any other mill members assist you with
 21       monitoring the dust issues and assisting on how to
 22       fix those issues?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 569    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 41


  1               A       Yes.
  2               Q       Okay.      So do you recall being -- having
  3       to be told or reminded about inputting timecards
  4       into shifts after days have gone by?
  5               A       No.
  6               Q       You don't recall?
  7               A       No, I do not.
  8                       JUDGE MORAN:          He's answered that
  9       question.
 10                       BY MR. TIDABACK:
 11               Q       Okay.      If you were to recall that, or if
 12       a -- if a subordinate had to be reminded numerous
 13       times to perform their duties, wouldn't you
 14       consider that underperforming in their job?
 15                       MS. O'REILLY:           Objection, calls for
 16       speculation.
 17                       JUDGE MORAN:          Yes.      I sustain the
 18       objection.
 19                       BY MR. TIDABACK:
 20               Q       If you were having to be reminded to
 21       input data into the daily production spreadsheet,
 22       would you feel you were underperforming in that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 570    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 42


  1       role?
  2                       MS. O'REILLY:           Objection, calls for
  3       speculation.
  4                       JUDGE MORAN:          He can't express that.                If
  5       you were being told repeatedly that you were, what
  6       was the --
  7                       MR. TIDABACK:           Inputting timecards into
  8       shifts, which is what we record the hours so that
  9       they can get paid.              That was part of the
 10       production lead's role, and also, inputting the
 11       daily production spreadsheet so that we can adjust
 12       the production calendar online so the customers
 13       know what we're producing the next day.
 14                       JUDGE MORAN:          Okay.      Just to amplify
 15       that question.           So would you agree that if
 16       hypothetically you were failing to do that, that
 17       would be inconsistent with your job
 18       responsibilities?
 19                       THE WITNESS:          Yes.
 20                       JUDGE MORAN:          And did you fail to do
 21       those kinds of things?
 22                       THE WITNESS:          Not without a really good


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 571    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 43


  1       reason not to.
  2                       JUDGE MORAN:          What would be a really
  3       good reason not to?
  4                       THE WITNESS:          Internet issues or when I
  5       started leaving early they weren't done producing,
  6       so I couldn't input the numbers at the end of the
  7       day.     And then the time clock issues would have
  8       been -- I'm trying to recall an instance, Your
  9       Honor.      Would have been maybe the whole, because
 10       -- because of the wanting no overtime, if somebody
 11       worked over or came in early, you know, if they
 12       left, they would like comp hours kind of.                           We
 13       would try and work with the mill associates on
 14       that.      So that would impede putting in the hours
 15       would be the only thing that I could recall on any
 16       problems there.
 17                       JUDGE MORAN:          So is it your testimony
 18       that, to the best of your recollection, you tried
 19       to do these tasks, and if you were unable to do
 20       it, there was some reason for it as you just
 21       described.         Is that correct?
 22                       THE WITNESS:          Yes, Your Honor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 572    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 44


  1                       JUDGE MORAN:          You didn't -- my
  2       understanding of your testimony is that you didn't
  3       disregard your responsibilities in this respect?
  4                       THE WITNESS:          No, Your Honor.
  5                       JUDGE MORAN:          Okay.      That's his
  6       testimony.
  7                       BY MR. TIDABACK:
  8               Q       And you don't recall that being multiple
  9       days in rows or time and --
 10               A       No, Your Honor, I don't recall.
 11               Q       And the shifts -- excuse me, and Teams
 12       does have a role, which includes production
 13       schedule, production calendar, shifts.                          That was
 14       accessible at home or anywhere in the world.
 15       Correct?
 16               A       Yes.     I never accessed it at home unless
 17       there was a question or something because it was
 18       my personal time and I was not getting paid for
 19       it, so.
 20               Q       Okay.      In your testimony yesterday you
 21       had mentioned letting people go early.                          If you're
 22       letting people go early when there are things such


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 573    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 45


  1       as housekeeping items or even assisting
  2       maintenance tasks to keep people safe around the
  3       mill, would you consider that as underperforming
  4       in your tasks?
  5               A       No, because there was never really any
  6       letting them go or sending them.                      They always
  7       asked, and it always went through the approval
  8       process.
  9               Q       Okay.      So with that, if we're getting
 10       customer complaints about bags being ripped when
 11       they're received, and the production, or excuse
 12       me, and the shift lead is the person that reviews
 13       the BOL, ensures that the BOL is correct, ensures
 14       the driver is signing for those documents, if
 15       those -- and plus customer complaints as you
 16       mentioned earlier fall in under the responsibility
 17       of the shift lead, would you receive -- would you
 18       perceive that as underperforming in your role?
 19                       MS. O'REILLY:           I would object that
 20       that's misstating the testimony and assuming facts
 21       not in evidence.            I don't believe there's been any
 22       testimony --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 574    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 46


  1                       JUDGE MORAN:          He asking -- I'm going to
  2       overrule the objection.                 He's asking a
  3       hypothetical question whether those things
  4       occurred would that be inconsistent with your job
  5       responsibilities.
  6                       THE WITNESS:          That's an interesting
  7       question, Your Honor, because I was not ever
  8       tasked, trained or assigned that duty.                          We'd
  9       always had a shipping person that was responsible
 10       for printing the BOLs, responsible for coming over
 11       to make sure everything got loaded, but there was
 12       so much turnover that, yes, in instances that was
 13       my responsibility because there was no one else.
 14       But there was percentage of the time that there
 15       was shipping people that was their job.                          I can't
 16       remember the exact title, but yeah.
 17                       JUDGE MORAN:          Okay.      So he's answered
 18       your hypothetical as best as can be done.
 19                       MR. TIDABACK:           Thank you, Your Honor.
 20                       BY MR. TIDABACK:
 21               Q       In the ten months that you were there,
 22       Mr. Huber, which has four or five years experience


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 575    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 47


  1       there, as shift lead and as a mill associate.
  2                       JUDGE MORAN:          But you're testifying now.
  3                       MR. TIDABACK:           Oh, sorry.
  4                       BY MR. TIDABACK:
  5               Q       During that entire -- okay.                   Sorry, Your
  6       Honor.       Okay.      Do you recall testifying yesterday
  7       that you walked around and checked the scrolls --
  8       okay, well, let me back up.
  9                       And we see exhibit, Secretary Exhibit
 10       P14.     It's titled the Daily Workplace Inspection,
 11       Your Honor.
 12                       JUDGE MORAN:          Okay.      Let's all turn to
 13       P14.     Take me a minute to get past P13, being
 14       nearly 500 pages.             Are you there yet?
 15                       THE WITNESS:          Yes, Your Honor.
 16                       JUDGE MORAN:          Okay.      Are we on P14?
 17       Okay.       Go ahead, Mr. Tidaback.
 18                       BY MR. TIDABACK:
 19               Q       So if you were told to do the workplace
 20       exams and you did them starting in November of
 21       2022, why would we get citations for them in
 22       February 2023?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 576    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 48


  1                       JUDGE MORAN:          Repeat that question one
  2       more time.
  3                       MR. TIDABACK:           Yes, sir, yes, sir.
  4                       BY MR. TIDABACK:
  5               Q       So if Mr. Baumann was told to do
  6       workplace exams and he was doing them starting in
  7       November of 2022, for the referenced timeframe
  8       that the Secretary asked for is the report that it
  9       shows, why would we, again, get citations for
 10       workplace exams in February of 2023?
 11                       MS. O'REILLY:           Objection, calls for
 12       speculation.
 13                       JUDGE MORAN:          Yeah, and I sustain the
 14       objection.         See, as I tried to express yesterday,
 15       maybe not as well as I could have, we're not going
 16       to get into trying in this matter particular
 17       citations and because that's just going far afield
 18       of the issues here.
 19                       MR. TIDABACK:           Yes, Your Honor.
 20                       JUDGE MORAN:          As I tried to alert you to
 21       yesterday, you've suggested during your cross
 22       examination, which is ongoing now, you suggested


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 577    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 49


  1       through your questions that that were failures on
  2       the part of Mr. Baumann in performing his job.
  3       Right?      And one way you can prove that is by
  4       asking him questions, and he's answered those to
  5       the best of his ability.                 Another way to prove
  6       that will be through subsequent witnesses.
  7                       MR. TIDABACK:           Correct.
  8                       JUDGE MORAN:          But I want you to know
  9       because I'm being upfront about this, that at this
 10       point at least seems like there's a more
 11       fundamental problem in that unless you can show
 12       documentation, not just -- not just testimony that
 13       might come from you or Mr. Spears about
 14       shortcomings alleged in Mr. Baumann's job
 15       performance.          Remember I used that term
 16       backfilling?
 17                       MR. TIDABACK:           Yes, Your Honor.
 18                       JUDGE MORAN:          You have done this for a
 19       decade and I have done administrative trials for
 20       25 years in other agencies.
 21                       MR. TIDABACK:           Yes, sir.
 22                       JUDGE MORAN:          And just focusing on my


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 578    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 50


  1       mine safety decade of hearing cases, the normal
  2       course of business is that a person gets something
  3       written.        There's a document saying, you know,
  4       Dear Mr. Baumann, you have not done thus and so,
  5       and this is a warning.                This will be in your
  6       personnel file, and then typically the arrangement
  7       is a second warning may result in a suspension.
  8                       I'm not saying this is always the case,
  9       but my point is that without documentation of the
 10       problems as they occurred or shortly thereafter
 11       there's a big problem here with attempting to say
 12       now after he's discharged, we had these problems
 13       back then.         And the question, the natural question
 14       would be, well, why wasn't something written,
 15       handed over to Mr. Baumann warning him of his
 16       shortcomings.           At this point, and unless you have
 17       it within your various RA exhibits, that seems to
 18       be a serious lacking aspect of your defense.                             So
 19       I'm telling you about that now.
 20                       MR. TIDABACK:           Yes, Your Honor.            And I
 21       recall you stating that yesterday.                       That's why we
 22       threw everything that we had in the search Teams


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 579    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 51


  1       or Teams, because it is a collaborative tool.
  2       That's where all the documentation and
  3       communication and elaboration is, so we put that
  4       together based off the information.                        And that was
  5       to show that there was some history behind it, and
  6       that's the whole thing.
  7                       JUDGE MORAN:          But in the normal course
  8       of business a disciplinary action, whether it be
  9       called a warning, there would be -- it wouldn't be
 10       in the context of a Team chat unless the chat was
 11       just between you, Mr. Spears, and the Complainant,
 12       and that would be -- it would be not something
 13       that some vague elusion to a bag that was ripped
 14       and whether he was responsible for that and who
 15       looks at the bill of lading, and whether truck
 16       drivers are checking everything.                      All of that is
 17       -- what's missing is if he were deficient, as you
 18       allege here, there would be a record of that.                              Not
 19       just through Team chats, but the normal course of
 20       business is when an employer is unhappy with their
 21       employees, those employees get notified of it.
 22                       MR. TIDABACK:           Correct.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 580    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 52


  1                       JUDGE MORAN:          They have to advise that
  2       they have to make certain corrections or something
  3       more serious will come down.
  4                       MR. TIDABACK:           Correct.
  5                       JUDGE MORAN:          And I haven't heard any of
  6       that.
  7                       MR. TIDABACK:           Not yet, Your Honor.               I
  8       have a timeline that I'm creating on all our
  9       managers and key personnel.                   It's one the
 10       exhibits.        It is provided.            That shows that the
 11       conversations, even the phone conversations that
 12       Mr. Baumann and I had, the counseling in the
 13       control room, Mr. Baumann -- I try not to testify.
 14       I understand 100 percent.
 15                       JUDGE MORAN:          I can't be in the business
 16       of interpreting a conversation.                     Typically in a
 17       business you need something harder than that, than
 18       just, see, we spoke on this date and we said thus
 19       and so, because if it wasn't -- if there wasn't
 20       something accompanying that saying now you're on
 21       notice, okay, that you had failed to examine
 22       guards, for example, and this has to stop.                            If


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 581    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 53


  1       there isn't some sort of a warning letter with a
  2       progression typically in it, then you've got an
  3       evidentiary problem because everything I've heard
  4       thus far --
  5                       MR. TIDABACK:           We were following --
  6                       JUDGE MORAN:          Excuse me -- sounds -- has
  7       the aroma of backfilling.                  In other words, after
  8       he's discharged what can we create from Teams
  9       chats or whatever to show that he was not doing
 10       his job.        But if you were able to show that in
 11       these Teams chats there were references to
 12       deficiencies, seems like the natural order of
 13       business would have been here's your warning.
 14       You're now advised.              This has to stop.
 15                       MR. TIDABACK:           And, Your Honor, we hired
 16       and had high expectations for Mr. Baumann to
 17       potentially be higher positions later on.                           Mr. --
 18       he worked with Christine Schreiber, so we took --
 19       she was our operations manager at the time.                             So we
 20       took her input and we had plans for Mr. Baumann.
 21                       JUDGE MORAN:          See, that's beside the
 22       point in this proceeding -- proceeding, excuse me.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 582    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 54


  1       If you had high aspirations doesn't help me decide
  2       whether he was deficient and therefore, discharge
  3       was -- in other words, termination was warranted.
  4       We got to keep focused on those very basic
  5       elements which I expressed at the start of the
  6       hearing.
  7                       MR. TIDABACK:           Yes, sir.
  8                       JUDGE MORAN:          It is rather a simple
  9       process.
 10                       MR. TIDABACK:           Yes, Your Honor, and that
 11       is part of our learning process, as we should say,
 12       but we were also following the guidelines of our
 13       policies and procedures as well as that of
 14       Missouri being a right to work state.                         So I think
 15       we -- I agree 100 percent what you said.                           We are
 16       learning on that whole documentation process,
 17       because we have other past employees where every
 18       do -- i's was dotted and t's was crossed, but in
 19       the case of Mr. Baumann we had higher hopes --
 20                       JUDGE MORAN:          Now you're going -- again,
 21       you're going astray, and de facto, I mean, in fact
 22       as opposed to de jure, you're testifying.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 583    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 55


  1                       MR. TIDABACK:           I'm trying not to, Your
  2       Honor.
  3                       MS. O'REILLY:           He's been testifying the
  4       last five minutes.
  5                       JUDGE MORAN:          Yes.      For the record, none
  6       of Mr. Tidaback's statements will be considered as
  7       evidence unless he's actually sworn in and
  8       testifies he elects to do that.                     I have to, in all
  9       candor, when you're telling me these things, you
 10       know, I've been mindful that remember I've told
 11       you about there's a predicate to someone being
 12       discharged.         Predicate meaning something happens
 13       before and that person is notified.                        Not in a
 14       casual conversation, but they get effectively a
 15       warning.
 16                       Now, part of the jigsaw puzzle here is
 17       also that during the time of his employment there
 18       were some communications that have been admitted
 19       in Teams chat where Mr. Spears and/or you, don't
 20       hold me to the particulars, that you weren't
 21       exactly thrilled about MSHA or about conversations
 22       with inspectors.            So that's part of the backdrop,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 584    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                 Page: 56


  1       too.     This is just in the record right now.                          So
  2       that's another element that I have to consider in
  3       deciding whether Mr. Baumann had -- there was
  4       cause for him to be terminated, because this all
  5       goes to the second phase.
  6                       I mean, you really haven't challenged
  7       the first part, protected activity and adverse
  8       action.       You have -- as far as I know on the
  9       record right now, we have several instances of
 10       protected activity based on the testimony of Mr.
 11       Baumann, and we also have undeniably adverse
 12       action.       So the thrust of your defense has really
 13       been about, yes, but we would have fired him
 14       anyway because he wasn't doing his job.                          All
 15       right?      But part of the piece of the puzzle is to
 16       look at those communications about MSHA and about
 17       employees speaking with MSHA inspectors and some
 18       of the other colorful language in there about MSHA
 19       and inspectors and speaking with them.
 20                       So I made a little soliloquy here, but
 21       I'm done but now I want you to, if you have now
 22       ground to talk to -- to ask questions of Mr.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 585    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 57


  1       Baumann, proceed with that now.                     Okay?
  2                       MR. TIDABACK:           Yes, Your Honor.
  3                       BY MR. TIDABACK:
  4               Q       Okay.      So is it fair to state that
  5       guarding and housekeeping in MSHA -- that MSHA
  6       inspector cited us for would have been noticed on
  7       a workplace inspection?
  8                       JUDGE MORAN:          You know, I'm surprised
  9       there wasn't a question -- objection to that.
 10       That question is so broad to be incapable of
 11       answering, so I'm telling you that question is
 12       rejected.
 13                       MR. TIDABACK:           Yes, sir.        The question
 14       was directed to show more evidence Mr. Baumann was
 15       lacking in performance.
 16                       JUDGE MORAN:          But it doesn't do that.
 17                       MR. TIDABACK:           Okay.      Yes, Your Honor.
 18                       BY MR. TIDABACK:
 19               Q       So in your testimony, and you reference
 20       in Secretary's Exhibit P13 on Page 54.
 21                       JUDGE MORAN:          Okay.      Wait one second
 22       now.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 586    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 58


  1                       MR. TIDABACK:           Yes, Your Honor, it's
  2       P13.
  3                       JUDGE MORAN:          You really asked no
  4       questions that I saw on P14.                    You have moved from
  5       that?
  6                       MR. TIDABACK:           Yes, Your Honor.            One of
  7       the results behind that, of the workplace exams
  8       about the guarding, if he was doing the workplace
  9       exams, the guarding and the housekeeping would
 10       have been noted on those.                  But I may have asked
 11       the question improperly and you have rejected
 12       there.
 13                       JUDGE MORAN:          All right.         So we're off
 14       of P14.
 15                       MR. TIDABACK:           Yes, Your Honor.
 16                       JUDGE MORAN:          What page are you looking
 17       at?
 18                       MR. TIDABACK:           P14.
 19                       JUDGE MORAN:          Five four?
 20                       MR. TIDABACK:           Five four, yes, Your
 21       Honor.
 22                       JUDGE MORAN:          But my last comment as I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 587    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 59


  1       turn to Page 54, is I hope you can appreciate that
  2       at least at this point in the testimony there's a
  3       fatal flaw on the Respondent's part in terms of
  4       evidentiary proof that Mr. Baumann would have been
  5       discharged for his failure to perform his job
  6       properly.        There's no documentary evidence, and
  7       something like P14 doesn't get you there, because
  8       I told you we're not going to be trying citations
  9       and therefore making some sort of a linkage that
 10       citation would never have been issued if Mr.
 11       Baumann, who was -- what you need and still need
 12       and may not be available is the documentation that
 13       Mr. Baumann has been informed, hey, you're not
 14       doing your job.            Here are other defects.                 These
 15       have to be corrected or there will be adverse
 16       results.        If you can't show this, this other stuff
 17       that you're trying to, such as through P14, it's
 18       just not going to get you there.
 19                       MR. TIDABACK:           We were trying to provide
 20       linking, Your Honor, and right now we're only
 21       basing or the Court is only basing everything off
 22       of just Mr. Baumann.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 588    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 60


  1                       JUDGE MORAN:          That's right.           I'm not
  2       speaking about what might come.                     I'm not deciding
  3       the case at this point in time at all.                          I'm just
  4       talking about what's in front of us now.                           So now,
  5       Page P54?
  6                       MR. TIDABACK:           Yes, Your Honor.
  7                       JUDGE MORAN:          What is your question
  8       about P54?
  9                       BY MR. TIDABACK:
 10               Q       In that statement, do you recall -- we
 11       are removing product from the floor now, but have
 12       directed the cleanup of that spillage.
 13                       JUDGE MORAN:          I don't locate this on
 14       P54.
 15                       MR. TIDABACK:           P13, Page 54.
 16                       JUDGE MORAN:          I'm on Page 54, Mr.
 17       Tidaback.        Where do you see that on that page
 18       here?
 19                       MR. TIDABACK:           On the last, very bottom.
 20       Mr. -- Mr. Baumann's response.                     I don't know --
 21       idk I'm assuming means I don't know.                        This guy is
 22       out for blood.           We are removing product from the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 589    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 61


  1       floor now.         Do you see that?
  2                       THE WITNESS:          Yes.
  3                       JUDGE MORAN:          I don't.        I'm sorry.         So
  4       it's P13, Page 54.
  5                       MR. TIDABACK:           P13, Page 54.           It's the
  6       very last chat.
  7                       JUDGE MORAN:          I do see something now.
  8       This is a message from you to Mr. Baumann.                            Right?
  9                       MR. TIDABACK:           It is a reply from Mr.
 10       Baumann on date February 14th, 2-14 at 1:13 p.m.
 11                       JUDGE MORAN:          It says idk, this guy is
 12       out for blood?
 13                       MR. TIDABACK:           Yes, Your Honor.
 14                       JUDGE MORAN:          Okay.      Mine is apparently
 15       cut off.        All I see on the bottom of Page 54 is
 16       idk.     This guy is out for blood.                   We are moving
 17       from floor now.            Is that all you're asking about?
 18                       MR. TIDABACK:           We're removing product
 19       from floor now.            Yes, Your Honor.
 20                       JUDGE MORAN:          And what is your question?
 21                       BY MR. TIDABACK:
 22               Q       Who would have directed the cleanup of


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 590    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 62


  1       the spillage?
  2               A       The MSHA inspector that day.
  3               Q       So MSHA is tasking our personnel?
  4               A       MSHA directed me on what was cited for
  5       previously, and when the MSHA inspector showed up
  6       Mr. Spears was not in the building.                        So I was
  7       escorting him in through the shop and he looked
  8       over and he said, they haven't started cleaning up
  9       the product in front of the electrical box yet.
 10       And I said, I will get the guys on it and start
 11       now.     I didn't know that we were cited for it, is
 12       exactly what that was about.
 13               Q       Right.      And in the -- in the spillage
 14       and you just mentioned they, who would have -- who
 15       is they, Mr. Baumann?               Who is they?           Who was they?
 16               A       What do you mean?
 17               Q       You said they haven't been cleaning up
 18       yet.     Who is they?
 19               A       I didn't say they hadn't been cleaning
 20       up yet.       It's an issue where there was product in
 21       front of the box, and we were told not to clean it
 22       up because they were going to feed it back through


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 591    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 63


  1       the system.
  2               Q       Who is they, in your statement?
  3                       MS. O'REILLY:           He not saying that.              He
  4       said we were told.
  5                       THE WITNESS:          Yeah, we were told.
  6                       JUDGE MORAN:          I understand, Ms.
  7       Tidaback.
  8                       MR. TIDABACK:           I'm just to the point
  9       when he's stating they, he is the one that is
 10       controlling they, so he would be the one that
 11       would be tasking them to clean up the spillage
 12       that the MSHA inspector said they haven't cleaned
 13       it up yet.
 14                       JUDGE MORAN:          Let me just see if we can
 15       sort this out.           You know, this reference that --
 16       are you on the bottom of Page 54?
 17                       THE WITNESS:          Yes, Your Honor.
 18                       JUDGE MORAN:          Help me out with the very
 19       basic thing.          When it says idk this guy is out for
 20       blood, who's stating that?
 21                       THE WITNESS:          I am.
 22                       JUDGE MORAN:          You're stating that?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 592    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 64


  1                       THE WITNESS:          Yes.
  2                       JUDGE MORAN:          And you say you're
  3       removing the product from the floor now?
  4                       THE WITNESS:          Yes.
  5                       JUDGE MORAN:          Mr. Tidaback's question
  6       was, was that you were directing that the product
  7       be removed from the floor.
  8                       THE WITNESS:          Yes, Your Honor.
  9                       JUDGE MORAN:          Does that answer your
 10       question?
 11                       MR. TIDABACK:           Yes, Your Honor.
 12                       JUDGE MORAN:          Again, so again, I'm going
 13       to come back to it if it's your position that it
 14       was his responsibility to remove the product from
 15       the floor, and probably your suggestion that it
 16       should have been removed before the citation was
 17       issued.       What's the big flaw in your proof?                        I'm
 18       posing a question.              The answer is, I'm going to
 19       tell you, you don't have any documentation that
 20       Mr. Baumann was warned about this incident and
 21       that it should not happen again.                      At least at this
 22       point in the record there's no papers that were


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 593    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 65


  1       handed to him notifying him of his deficiencies.
  2       So this -- I can't make any conclusions about this
  3       one remark about this whole business, and I
  4       certainly can't make the leap that somehow this
  5       was his responsibility to take care of this, and
  6       that by failing to take care of this he was at
  7       fault and therefore, this was part of the grounds
  8       for his eventual discharge.                   I can't do that.             Not
  9       based on this Teams charge -- Teams chat at P13,
 10       Page 54.        It's too big a leap.               It requires
 11       supposition on my part, which I can't deal with
 12       supposition when I make decisions about the
 13       validity of someone being terminated.
 14                       MR. TIDABACK:           Without me going into
 15       testimony --
 16                       JUDGE MORAN:          Right.       We can't do that.
 17                       MR. TIDABACK:           -- I can't give you the
 18       information that you need with what you're asking.
 19       I just asked a question.
 20                       JUDGE MORAN:          Okay.      We'll weight that,
 21       if it comes.
 22                       MR. TIDABACK:           Okay.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 594    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 66


  1                       JUDGE MORAN:          Remember, if it's just
  2       something all that's a problem.                     If it's just, you
  3       know, I warned Mr. Baumann that he would be fired,
  4       you can ask him if you ever warned that he would
  5       be fired for and the named incidents and he can
  6       answer, yes, I was warned, or no, I was never
  7       warned, or I don't remember.                    I don't know what
  8       his answers could be.               Okay?       So how many more
  9       questions do you have to ask of Mr. Baumann, sir?
 10                       MR. TIDABACK:           I've got more pages.
 11                       JUDGE MORAN:          Okay.      Well, go ahead.
 12                       MR. TIDABACK:           And I am trying to
 13       provide the linking that is required to provide
 14       that information for you.
 15                       JUDGE MORAN:          Well, you just suggested,
 16       though, that the linking, if it comes, will come
 17       either from the testimony of you, if you decide to
 18       testify, or from Mr. Spears or some other employee
 19       witness.        All right?
 20                       MR. TIDABACK:           Correct.
 21                       JUDGE MORAN:          Just -- I think you can
 22       quickly go through the questions you need to ask


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 595    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 67


  1       of Mr. Baumann about his job performance and
  2       deficiencies, and whether you or anyone else
  3       alerted him to deficiencies and he can say yes, I
  4       was told I wasn't doing this job well enough or
  5       no, I was never told that or I don't recall that.
  6       I don't know what his answers will be, so proceed
  7       with your questions.               Let's see if we can pick
  8       this up.
  9                       MR. TIDABACK:           Okay.
 10                       JUDGE MORAN:          The pace here I'm talking
 11       about.
 12                       MR. TIDABACK:           I understand, Your Honor.
 13       Yes, sir.
 14                       BY MR. TIDABACK:
 15               Q       Let's see.         Okay.      In referencing to --
 16       P14, Page 54, cleaning up the spillage, that is
 17       part of housekeeping.               Is that correct?
 18               A       Yes.
 19               Q       Okay.      And reference to P13 on Page 54,
 20       titled Teams chats, I messaged you and John to
 21       make notes about the inspection, and your
 22       testimony yesterday that had the Secretary asked


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 596    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 68


  1       if you had made those notes as directed by Russell
  2       and you stated that you didn't do this them.
  3       Would this not be considered an act of
  4       disobedience?
  5               A       Yes.     But I never got any specific, and
  6       I asked John Spears what specifically we were
  7       supposed to write down or what the actual -- what
  8       the actual reasoning -- what I was supposed to
  9       remember, and I forgot to ask that, so no, I did
 10       not.
 11               Q       But just to clarify, though --
 12               A       Yes.
 13               Q       -- would you consider as that as an act
 14       of disobedience of not following directions?
 15               A       Yes.
 16               Q       So thank you.           We hired other
 17       individuals to assume some of your
 18       responsibilities.             Were you informed of this
 19       decision?
 20               A       No.
 21               Q       Do you recall having the conversation
 22       about what tasks would help you if we got you an


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 597    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 69


  1       assistant?
  2               A       I never was aware that I was ever --
  3       that assistant was ever hired for me.                         The role.
  4               Q       Okay.      So we've seen Respondent Exhibit
  5       RX.
  6                       JUDGE MORAN:          I just want to note for
  7       the record that as we're turning to RX that at
  8       this point in time there is one exhibit admitted
  9       for the Respondent and that is Exhibit RA.
 10                       MR. TIDABACK:           I would like to submit an
 11       Exhibit RX.         I'm just -- I'm at a loss of
 12       understanding, I guess, what the Court needs other
 13       than all the exhibits that I have submitted, so I
 14       don't know that process, Your Honor.
 15                       JUDGE MORAN:          Well, this is not a tough
 16       one.     Exhibit RX -- just let me finish now.
 17       Exhibit RX is a one-page exhibit.                       It's dated
 18       August 24th, 2022 to a Mr. Schallenberger.                            And
 19       this is an exhibit that the Secretary received in
 20       the exchange?
 21                       MS. O'REILLY:           Yes, sir.
 22                       JUDGE MORAN:          And you're offering this


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 598    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 70


  1       exhibit for what purpose, sir?
  2                       MR. TIDABACK:           Yes.     This exhibit here
  3       goes to show that we were intentionally trying and
  4       hired a person to replace Mr. Baumann.
  5                       JUDGE MORAN:          Okay.      But that -- you
  6       see, this is the leap you just made.                        Does it
  7       anywhere in that letter, Mr. Tidaback, state that
  8       you were hiring this individual to replace Mr.
  9       Baumann?        Does it say that?
 10                       MR. TIDABACK:           The position?
 11                       JUDGE MORAN:          As a product -- production
 12       shift manager, to bring him on board, does it say
 13       that it was to replace Mr. Baumann?
 14                       MR. TIDABACK:           In our small break we
 15       have one -- state what you just asked, no, it does
 16       not, Your Honor.            We do not have multiple
 17       positions for multiple people.                     In that Exhibit RX
 18       it shows that we hired someone in August of 2022.
 19       Exhibit RY --
 20                       JUDGE MORAN:          Let's just stay with RX
 21       for right now.           Do you have any objection to the
 22       admission of RX?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 599    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 71


  1                       MS. O'REILLY:           I have an objection, no
  2       foundation and also --
  3                       JUDGE MORAN:          Well, what sort of
  4       foundation is needed to do this?                      I'm not clear.
  5       This is a business record.                  It's a letter from
  6       American Tripoli.             How much it proves is a
  7       different issue, but I don't understand what
  8       foundation are you looking for for Mr. Tidaback to
  9       establish?
 10                       MS. O'REILLY:           Why don't --
 11                       COURT REPORTER:            I'm sorry.         You're
 12       breaking up.          I can't hear you.
 13                       MS. O'REILLY:           Yeah, I would object
 14       because Mr. Tidaback's not -- there's no
 15       foundation laid for Mr. Tidaback not testifying
 16       right now and he's the only one that seemingly in
 17       this room that can lay a foundation for that.
 18                       JUDGE MORAN:          Okay.      So I mean, you're
 19       technically correct that -- but I have some leeway
 20       here, and without expressing my view about the
 21       probative of this exhibit, I'm going to show some
 22       informality, at least with reference to this.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 600    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 72


  1       This doesn't mean it goes across the board but I'm
  2       going to admit Exhibit RX, but certainly counsel
  3       for the Secretary is right, that you can't ask any
  4       questions based on this of Mr. Baumann.                          So for
  5       future evidentiary matters such as this you should
  6       wait until you have a witness who will say, oh,
  7       yes.     And may be you, yes, this is the letter I
  8       sent to Mr. Schallenberger, okay, and then that
  9       would come in.           That's a separate category,
 10       whether it comes in from the probative value of
 11       this letter or any letter.                  All right?          So that
 12       RX, using my discretion, is admitted.
 13                       MR. TIDABACK:           Your Honor, RY and RZ are
 14       the exact same thing.
 15                       JUDGE MORAN:          When you say they are the
 16       exact same thing, they're addressed to different
 17       people, are they not?
 18                       MR. TIDABACK:           They are addressed to
 19       different people and at different dates.
 20                       JUDGE MORAN:          Okay.      And so I have to be
 21       somewhat consistent here.                  Right?       So I'm going to
 22       allow RY and RZ to be admitted.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 601    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 73


  1                       MS. O'REILLY:           I will just state my
  2       objection to foundation and also to the argument
  3       that you provided.              They were not provided in
  4       discovery, either.              It was provided in the
  5       February 8 disclosure, but I'm just going to state
  6       my objection for those two reasons.
  7                       JUDGE MORAN:          But you do have counsel
  8       for the Secretary, you have RY and RZ?
  9                       MS. O'REILLY:           Yes.     I received those on
 10       February 8th.           I received Y in February, I did not
 11       receive Z in February.
 12                       JUDGE MORAN:          Okay.      But I have some
 13       leeway here, and I'm admitting RY and RZ in
 14       addition to X.           And again, I would say that this
 15       is an extremely indirect method to show what I
 16       have to figure out, which is was -- in the
 17       affirmative defense, was Mr. Baumann terminated in
 18       any event for shortcomings.                   Because we're at this
 19       point in the proceeding, not that we can't go back
 20       to it, but we're -- protected activity has been
 21       established in testimony.
 22                       And not that it can't be countered, but


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 602    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                 Page: 74


  1       there was an adverse action.                    No one disputes
  2       there was an adverse action.                    He was fired.           So
  3       the focus of American Tripoli's defense, from my
  4       understanding, is solely about, and he would have
  5       been fired in any event and you're trying to show
  6       that by hearing these other individuals, that
  7       demonstrates his deficiency and that doesn't cut
  8       it, as far as I'm concerned, short of notification
  9       to Mr. Baumann, some sort of reprimand, warning,
 10       etcetera, you know.
 11                       Because there can be a host of reasons
 12       why people are hired and I'm not going to make
 13       that kind of -- what I would consider to be an
 14       illogical leap that you're hiring practices
 15       therefore demonstrate that Mr. Baumann was
 16       deficient in his own responsibilities.                          I can't go
 17       down that what I call cul-de-sac.                       It's -- a
 18       cul-de-sac is a dead end.                  Okay.      It has a nicer
 19       name, but that's what it is.
 20                       MR. TIDABACK:           I do believe I'll be able
 21       to expand that on.
 22                       JUDGE MORAN:          We'll wait for that other


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 603    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 75


  1       testimony.         Do you have any other questions of
  2       this witness?           Because this is far afield.                   You
  3       can't keep going down this road where things that
  4       have nothing to do with the testimony of Mr.
  5       Baumann.
  6                       MR. TIDABACK:           These all build up to --
  7                       JUDGE MORAN:          You got to direct your
  8       questions to Mr. Baumann.                  You can't ask Mr.
  9       Baumann a question about RX, RY or RZ.
 10                               (Respondent's Exhibit R-X, R-Y, R-Z
 11                               were marked for identification and
 12                               received in evidence.)
 13                       MR. TIDABACK:           My next question for Mr.
 14       Baumann is how the departure of these individuals
 15       before your termination impacted your workload and
 16       performance expectations, so he would have to know
 17       who he was talking to or about.
 18                       JUDGE MORAN:          Are you telling me, then,
 19       this is -- it can't be considered testimony, but
 20       you're asserting to me that in RX, Y and Z, this
 21       relates to individuals that were hired and then
 22       let go?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 604    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 76


  1                       MR. TIDABACK:           No, no, no.         These
  2       individuals quit.
  3                       JUDGE MORAN:          They were employed and
  4       then they quit.
  5                       MR. TIDABACK:           That is correct.            And
  6       they were employed and they quit.
  7                       JUDGE MORAN:          Asking --
  8                       MR. TIDABACK:           Because they affected his
  9       workload, Your Honor.               That's the question.
 10       That's why I was getting to that.
 11                       JUDGE MORAN:          I'll let you ask that
 12       question.        We're afield here, but let's go ahead
 13       with your question.
 14                       MR. TIDABACK:           Yes, Your Honor.
 15                       BY MR. TIDABACK:
 16               Q       So the departure of Mr. Schallenberger,
 17       Mr. Collins or McClelland and Mr. Snodgrass, how
 18       did the departure of those individuals impact your
 19       workload and performance expectations?
 20               A       Will Schallenberger didn't affect it at
 21       all.     He was hired to be the day shift supervisor,
 22       and I don't even -- I recall meeting the Richard


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 605    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 77


  1       person once but I'm thinking he only worked like
  2       one day.        I honestly don't recall how long he was
  3       there.      And Alex Snodgrass did -- he was the -- he
  4       was hired to be the, oh, production whatever, you
  5       know, to do the inventory and to track all the --
  6       print all the shipping labels, printed all the
  7       stuff for that.            So, yes, that doubled my
  8       workload.        It would have.            He was still employed
  9       when I left.          Alex Snodgrass was still employed
 10       when I left.
 11               Q       Okay.
 12                       JUDGE MORAN:          Okay.      So one of my
 13       authorities in the proceeding is I can cut off
 14       further questions on things that I don't consider
 15       to be pertinent to the issues in front of me, so
 16       you're going to have to move on from this.                            And
 17       remember, I already gave you a forgiveness for
 18       these exhibits, which I admitted which really, as
 19       Attorney O'Reilly pointed out from a technical
 20       standpoint, it wasn't a proper foundation for
 21       their admission, but I still benevolently allowed
 22       these to be in, but now we're moving on to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 606    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 78


  1       something else.            No more questions about these,
  2       these issues, about how employees who were hired
  3       for whatever period of time and then discharged,
  4       how that impacted, because that's not what the
  5       focus of this decision is about.
  6                       MR. TIDABACK:           Yes, Your Honor.
  7                       JUDGE MORAN:          So move on to something
  8       else, please.
  9                       BY MR. TIDABACK:
 10               Q       Regarding protected activity and alleged
 11       discrimination, the next subject, P14, the
 12       workplace inspections, the ones you had in 2022,
 13       the 17 April of 2023.
 14                       JUDGE MORAN:          We're talking about P14?
 15                       MR. TIDABACK:           Yes, Your Honor.
 16                       JUDGE MORAN:          All right.         And are you on
 17       a particular page on P14?
 18                       MR. TIDABACK:           It's going to be the
 19       whole entire.           Not any specific as we talked about
 20       -- you talked about earlier.                    Not specific
 21       citations or anything like that, so we're talking
 22       about the workplace inspections themselves.                             Okay.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 607    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 79


  1                       JUDGE MORAN:          Okay.      What was your
  2       question of Mr. Baumann about P14 and then we'll
  3       see if we have an issue or not.
  4                       BY MR. TIDABACK:
  5               Q       So you had mentioned raising safety
  6       concerns.        Can you detail the concerns and how you
  7       communicated them with the management?                          How if
  8       there were safety concerns out there, how do we
  9       know if you don't communicate them?
 10                       MS. O'REILLY:           Objection, argumentative.
 11                       JUDGE MORAN:          Yes.      I sustained the
 12       objection.         Mr. Baumann, did you raise safety
 13       concerns to either Mr. Tidaback and/or Mr. Spears
 14       during the course of your employment?
 15                       THE WITNESS:          Yes, Your Honor.
 16                       JUDGE MORAN:          Please identify the safety
 17       concerns, some of them that you expressed.                            Can
 18       you give me some illustrative example?
 19                       THE WITNESS:          The live wire that was --
 20                       JUDGE MORAN:          You testified about
 21       yesterday.
 22                       THE WITNESS:          Yes, Your Honor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 608    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 80


  1                       JUDGE MORAN:          We don't have to go into
  2       the whole detail.             I remember that.             That's in the
  3       record.       Anything else?
  4                       THE WITNESS:          The product dam that was
  5       made for the oil that was running off.                          The rags
  6       in the worn out bearings.
  7                       JUDGE MORAN:          Okay.
  8                       THE WITNESS:          Open electrical boxes,
  9       unmarked electrical boxes.
 10                       JUDGE MORAN:          And you raised these
 11       safety concerns to?
 12                       THE WITNESS:          Mr. Spears.
 13                       JUDGE MORAN:          Okay.      Those are some
 14       examples of a protected activity that he
 15       identified by his testimony to Mr. Spears.                            Do you
 16       have a question about that?
 17                       BY MR. TIDABACK:
 18               Q       Are those in the workplace exams?
 19                       JUDGE MORAN:          Are those concerns noted
 20       within the Exhibit P14?
 21                       THE WITNESS:          Yes.      I recall making the
 22       -- making the observation on the wire every day in


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 609    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 81


  1       my -- in my exam.             The oil damn, no.             The rags in
  2       the bearings, yes.
  3                       JUDGE MORAN:          And where do you see the
  4       rags in the bearing, sir, on Exhibit P14?
  5                       THE WITNESS:          Sorry.
  6                       JUDGE MORAN:          That's -- on P14 where do
  7       you see the rags in the bearing issue?
  8                       THE WITNESS:          I'm looking for it, Your
  9       Honor.      This doesn't look a hundred percent like
 10       it's -- like I had done all of these, or there is
 11       the bare electrical wires.
 12                       JUDGE MORAN:          What page is that on?
 13                       THE WITNESS:          Page 5.
 14                       JUDGE MORAN:          I see it there.            Okay.
 15                       THE WITNESS:          But there should be
 16       multiple, like on the bare electrical wire because
 17       it wasn't resolved that day.                    And I'm not seeing
 18       like the consistency, you understand?
 19                       MR. TIDABACK:           Your Honor, actually if
 20       you look at Exhibit P14, Page 4 and Page 5, on
 21       Page 5 it shows the bare electrical wires exposed
 22       of floor area closed off.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 610    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 82


  1                       JUDGE MORAN:          Yes.      But does that help
  2       you or hurt you?
  3                       MR. TIDABACK:           That's what I'm saying,
  4       Your Honor.         Mr. Baumann -- this is part of my
  5       attempt to show Mr. Baumann's testimony is, one,
  6       not accurate, and it's not reflective of his true
  7       responses to what really happened.                       Just like he
  8       just stated in his testimony, this took something,
  9       something extra, days or whatever.                       Look on the
 10       very next day.           He has it marked as good.                  So if
 11       the records are showing that it's good, Mr.
 12       Baumann, if the records are showing that it's
 13       good, did you expect the management team that is
 14       managing the workload of the maintenance personnel
 15       to think or assume that that area is safe for
 16       production and good based on your records?
 17               A       Yeah, I'm looking over this, because I
 18       don't think this is an accurate -- it looks like
 19       it's been changed to me, honestly, Your Honor.                              It
 20       doesn't -- some of them, yes, I really recognize,
 21       and some of them I don't.
 22                       JUDGE MORAN:          Well, you've exhausted


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 611    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 83


  1       your recollection on this point.                      I will note for
  2       the record, though, on Page 005 of Exhibit P14
  3       there is at least that one reference to bare
  4       electrical wires which Mr. Baumann testified about
  5       yesterday, and the mentioning of that in his
  6       testimony would constitute protected activity,
  7       because it is identifying a safety hazard.                            You
  8       know, that there are not other examples in P14,
  9       which I'm not saying that's true.                       But I notice,
 10       for example, on Page P14 009 that there's a
 11       reference there that there was the ramp gate left
 12       open creating a danger, closed and locked it,
 13       locked gate.          So that's a second instance now.
 14       Give me just one second here.                    Is it your
 15       testimony, Mr. Baumann, that you made that entry?
 16       Can you recall maybe not in this format, but did
 17       you -- did you indicate that there was a ramp gate
 18       left open creating a danger?
 19                       THE WITNESS:          Yes, Your Honor.
 20                       JUDGE MORAN:          Okay.      Is there a gate
 21       associated with that?
 22                       THE WITNESS:          Yes, Your Honor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 612    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 84


  1                       MR. TIDABACK:           Yes, Your Honor, on the
  2       very far left column.
  3                       JUDGE MORAN:          I see.       Now I recall, you
  4       really would have to string all these pages out.
  5                       MR. TIDABACK:           Unfortunately that's how
  6       it's printed being a printed document.                          That comes
  7       from --
  8                       JUDGE MORAN:          Go ahead, if you have
  9       additional questions.               Now you're still moving on
 10       with the idea of showing or attempting to show
 11       there was no protected activity?
 12                       MR. TIDABACK:           That is correct.
 13                       JUDGE MORAN:          Go ahead with additional
 14       questions.
 15                       BY MR. TIDABACK:
 16               Q       So like, Mr. Baumann, building the
 17       platform for stacking the bags, buying filters to
 18       replace filters if too much dust appeared to slip
 19       from the bag house filters on the fourth floor.
 20       Would you argue that none of these or other items
 21       were actually addressed if they're not shown in
 22       the workplace exams?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 613    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 85


  1               A       I don't guess I understand what we're --
  2               Q       In your testimony you mentioned you
  3       brought all these things forward, and that you
  4       walked around and did workplace exams, but they're
  5       not documented.
  6               A       We weren't running when I did the
  7       workplace exams, so I wouldn't have known about
  8       any excess dust or anything like that.
  9                       JUDGE MORAN:          Would you repeat that?                I
 10       didn't hear the beginning of your answer with we
 11       what.       You said workplace exam, then.
 12                       THE WITNESS:          When I performed the
 13       workplace exams, Your Honor, we were not running
 14       product.        So the excess dusting and stuff like
 15       that wouldn't have been in mill -- wouldn't have
 16       been in my safety walk-through.
 17                       JUDGE MORAN:          Okay.
 18                       BY MR. TIDABACK:
 19               Q       The daily workplace exam is what we're
 20       talking about.           These are required daily.                  Anytime
 21       we're in the mill.              If they were issues needed to
 22       be addressed, those should have been recorded in


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 614    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 86


  1       the workplace exams.               Correct, Mr. Baumann?
  2               A       Yes.
  3               Q       Okay.      Let's see here.            Did you perceive
  4       a change in how you were treated by management
  5       after raising safety concerns or participating in
  6       MSHA inspections?
  7               A       Yes.
  8               Q       Okay.      If so, how?
  9               A       Just like I testified yesterday, I felt
 10       like I was being left out of Team chats, and any
 11       concerns that I brought up were, in my opinion,
 12       being blown off or ignored.
 13               Q       Okay.      When you mean left off, what does
 14       that mean?
 15               A       I wasn't -- my name was not being tagged
 16       in any of the Team messages.                    If I brought a
 17       concern across, taking a picture of something, I
 18       never got answered, in my last two months --
 19               Q       Correct.
 20               A       -- prior to being terminated.
 21               Q       Were you still in the chat group?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 615    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 87


  1               Q       So you were able to receive those chat
  2       messages, 24 hours day at anytime?
  3               A       Yes.
  4               Q       Okay.      Yesterday in your examination you
  5       mentioned that you were treated differently after
  6       being a miner representative.                    You were mentioned
  7       that you're not tagged in messages anymore.                             Only
  8       John, the operations manager, and Jesse, the
  9       safety manager, were actually being tagged, but
 10       again, you could still see the chat messages.
 11       Correct?
 12               A       Yes.
 13               Q       Looking at Secretary's Exhibit P2 titled
 14       Miner Representative of Miners Designation?
 15                       MR. TIDABACK:           P2, Your Honor.
 16                       JUDGE MORAN:          Give me a minute to move
 17       all this paper back to P2.
 18                       MR. TIDABACK:           Yes, sir.
 19                       JUDGE MORAN:          You on P2, Mr. Baumann?
 20                       THE WITNESS:          Yes.
 21                       JUDGE MORAN:          Thank you, sir.            Yep.
 22       Okay.       So we have the Representative Miners


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 616    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 88


  1       Designation Form on P2, which is a one page
  2       exhibit.        And your question is.
  3                       BY MR. TIDABACK:
  4               Q       Yes, sir.        On that, Mr. Baumann, you
  5       marked that you wanted to be confidential.                            If
  6       you're confidential, how is anyone in the
  7       management team supposed to know that you are a
  8       miners rep?
  9                       MS. O'REILLY:           I object that it
 10       misstates the testimony and it misstates the
 11       document.
 12                       JUDGE MORAN:          Yes.      You object to
 13       because what?
 14                       MS. O'REILLY:           It misstates the
 15       testimony and also misstates the document, but
 16       that's not what -- that's not what the
 17       confidential marking is.                 It's not making Robert
 18       Baumann confidential.               It's making the redacted
 19       names of the people who elected him a miners rep
 20       confidential.
 21                       JUDGE MORAN:          Let me ask this question,
 22       Mr. Baumann.          Mr. Baumann, when you filled out the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 617    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 89


  1       form to become a representative of miners, did you
  2       understand that you would be recognized as the
  3       miners representative at the mine?
  4                       THE WITNESS:          Yes, Your Honor.
  5                       JUDGE MORAN:          Did you want that to be a
  6       secret to the mine?
  7                       THE WITNESS:          No, Your Honor.
  8                       JUDGE MORAN:          All right.         And in fact,
  9       my -- well, strike that thought.
 10                       I sustain the objection from Attorney
 11       O'Reilly.        The confidential, based on the exhibit
 12       itself and Mr. Baumann's testimony is it wasn't to
 13       keep his status as a miners rep secret from --
 14       from American Tripoli, and if it were, how would
 15       that help me decide the case, in any event?
 16                       MR. TIDABACK:           If we didn't know he was
 17       a miners rep, how would we discriminate against
 18       him a miners -- how would we discriminate against
 19       him being a miners rep?
 20                       JUDGE MORAN:          I don't know that it's
 21       been alleged that you discriminated against him
 22       because he was a miners rep.                    You discriminated


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 618    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 90


  1       against him under the allegations because he
  2       engaged in protected activity.
  3                       MR. TIDABACK:           That was listed as one of
  4       them.
  5                       JUDGE MORAN:          Is that true, Attorney
  6       O'Reilly?
  7                       MS. O'REILLY:           Yes.     Correct.
  8                       JUDGE MORAN:          Okay.      But your question,
  9       though, has become -- it's vaporized, if you will,
 10       because the only reason --
 11                       MR. TIDABACK:           The only reason for --
 12                       JUDGE MORAN:          Please, will let me
 13       finish.       It's vaporized because Mr. Baumann has
 14       just stated that he filled out the form but he had
 15       no intentions of trying to keep his status secret.
 16       Did you ever -- did you ever express to anyone at
 17       American Tripoli, of course, my understanding is
 18       you had to get at least two people to designate
 19       you as the miners represent.                    Right?
 20                       THE WITNESS:          Yes, Your Honor.
 21                       JUDGE MORAN:          Okay.      And at or after you
 22       filed the form to become the representative of


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 619    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 91


  1       miners, did you ever disclose to management, that
  2       would be Mr. Spears or Mr. Tidaback or anyone else
  3       in management, that you were the miners rep?
  4                       THE WITNESS:          Yes, Your Honor.
  5                       JUDGE MORAN:          And did you recall when
  6       you disclosed your status as a miners rep to these
  7       people?
  8                       THE WITNESS:          As soon as it was -- as
  9       soon as the papers were filed and then the next
 10       MSHA inspection, the MSHA inspector notified John
 11       that he needed to contact me to come up there
 12       because I was the miners representative.
 13                       JUDGE MORAN:          Okay.      But your testimony,
 14       just what I just heard is so there were two points
 15       in time.        One was shortly after filling out the
 16       form you notified management?
 17                       THE WITNESS:          Yes.
 18                       JUDGE MORAN:          And do you recall who you
 19       notified at the American Tripoli that you were now
 20       the miners rep?
 21                       THE WITNESS:          John Spears.
 22                       JUDGE MORAN:          Did you notify anyone


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 620    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 92


  1       else?
  2                       THE WITNESS:          No.     Not that day, Your
  3       Honor.
  4                       JUDGE MORAN:          And then after becoming
  5       the miners representative and the inspection
  6       ensued after that, your testimony is that the MSHA
  7       inspector notified management people that you were
  8       the miners rep.            Is that true?
  9                       THE WITNESS:          Yes, Your Honor.
 10                       JUDGE MORAN:          Any other questions about
 11       that?
 12                       BY MR. TIDABACK:
 13               Q       Did you ever communicate that you were a
 14       miners rep in the collaboration tool so everybody
 15       would know?
 16               A       Yes.     All -- all mill associates knew.
 17               Q       Did you post that in Teams?
 18               A       No.
 19               Q       Okay.      So that is the collaboration tool
 20       we use.       Correct?
 21               A       Yes.     But I didn't see any relevance to
 22       putting it on Teams.               There was only four of us


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 621    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 93


  1       working there at the time, so.                     And two of them
  2       asked me to be the miners representative to try
  3       and get things better.
  4               Q       So why did you decide to be confidential
  5       rather than public?
  6                       MS. O'REILLY:           Objection, misstates the
  7       testimony.
  8                       JUDGE MORAN:          Come on now.          We covered
  9       that one.        Let's move on.
 10                       BY MR. TIDABACK:
 11               Q       Okay.      So you claim that you've never
 12       been reprimanded before, so in your testimony why
 13       would you -- why would we reprimand you based on
 14       bringing problems and safety to the teams
 15       attention, keeping us out of hot water with MSHA?
 16                       MS. O'REILLY:           I would object that he's
 17       testifying and I don't understand the question.
 18                       JUDGE MORAN:          As phrased you're -- I
 19       sustain the objection.                But for you to ask him why
 20       you people would decide to reprimand him, beyond
 21       his ken.
 22                       MR. TIDABACK:           That question was based


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 622    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 94


  1       on his testimony yesterday stating that he was
  2       fearful for his job and that's why he wanted to be
  3       miners rep, confidential as the Secretary pointed
  4       out.
  5                       MS. O'REILLY:           Again, he's testified to
  6       the confidential status, which is misstating the
  7       testimony.
  8                       JUDGE MORAN:          I sustained the objection.
  9       Try one more time with your question, and we'll
 10       act on it.
 11                       BY MR. TIDABACK:
 12               Q       Okay.      Okay.      So without testifying,
 13       that's the hard part.               Okay.
 14                       JUDGE MORAN:          Well, I think as you move
 15       on to something else.               We're clear at this point
 16       that based on the testimony of Mr. Baumann as just
 17       stated that there was nothing confidential about
 18       his status.         That according to his testimony and
 19       as augmented when an inspection occurred, American
 20       Tripoli was put on notice that, in fact, Mr.
 21       Baumann was the miners rep at your facility.
 22                       MR. TIDABACK:           And I actually disagree


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 623    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 95


  1       with that statement, Your Honor, because there is
  2       an e-mail -- there is evidence.
  3                       JUDGE MORAN:          But I'm talking about
  4       what's on the record right now.                     That's the
  5       testimony as it stands right now.                       You people
  6       knew, and according to Mr. Baumann, you knew two
  7       times.      One shortly after he filled out the form.
  8       That's his testimony, and two, when an inspector
  9       arrived, and that should have been a pretty good
 10       notice that because it's customary when there's a
 11       miners rep, MSHA inspectors tell management Mr. X
 12       is accompanying me in this inspection because he's
 13       the miners rep.
 14                       MR. TIDABACK:           Yes, Your Honor, and I
 15       will agree under normal circumstances, most
 16       likely, and different inspectors, which we have
 17       issues with, that may have happened.                        But I --
 18                       JUDGE MORAN:          You're saying you were
 19       never notified?
 20                       MR. TIDABACK:           That's correct.
 21                       JUDGE MORAN:          And that's testimony.
 22                       MS. O'REILLY:           We object to the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 624    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 96


  1       testimony.
  2                       JUDGE MORAN:          All right.         Listen folks.
  3       It's 10:45.         We're going to take a five-minute
  4       break here.         So Court Reporter, you've been
  5       hanging in there with me?
  6                       COURT REPORTER:            Yes, I have.
  7                       JUDGE MORAN:          Okay.      So we're going to
  8       take a five minute break.                  But before we do that
  9       break I want you to, you know, collaborate with
 10       your daughter and see if we can move this
 11       testimony along to things that are pertinent to
 12       what I have to decide.                And we spent a lot of time
 13       here this morning with things that don't advance
 14       the case in terms of the Respondent's perspective.
 15                       That's my broad brush view of what we
 16       have been spending a couple of hours on now, so
 17       you know, at some point I have to say that no more
 18       questions will be allowed of this witness.                            That's
 19       within my purview.              If we're just treading water
 20       here or even not in the water, just to carry that
 21       analogy, I have to cut things off, because
 22       otherwise, the proceeding would go on needlessly


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 625    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 97


  1       for days and not accomplish anything.
  2                       MR. TIDABACK:           Yes, Your Honor.
  3                       JUDGE MORAN:          So I want you to during
  4       this five minute break see if you can hone in on
  5       to whatever last questions you want to ask of this
  6       witness, and then focus, when it comes your turn,
  7       to the defense, to the witnesses and testimony
  8       your side may offer.               All right?
  9                       MR. TIDABACK:           Yes, Your Honor.
 10                       JUDGE MORAN:          All right.         Now we're
 11       going to break.            Off the record.
 12                               (Recess)
 13                       JUDGE MORAN:          I'm going to ask a few
 14       questions, and then I'm going to allow you to have
 15       some more questions, sir, but I am going to be
 16       attentive, I expect the Secretary's attorney to be
 17       attentive to matters that either are cumulative or
 18       amount to testimony or do not -- are not relevant
 19       or material, because I have allowed you to have
 20       questions, many of which were off point during the
 21       time that we began at 9 a.m., approximately 9:00
 22       a.m. this morning.              We're now coming up on 11:00.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 626    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 98


  1       I also want to remind you that 11:55 I have to
  2       take a break for a conference call, so that will
  3       be our next break and then we'll pick right of up
  4       and see where we are.
  5                       Now, a couple questions for you, Mr.
  6       Baumann.
  7                       THE WITNESS:          Yes, sir.
  8                       JUDGE MORAN:          And forgive me for not
  9       having handy for me the notes about this, but you
 10       worked for approximately ten months for American
 11       Tripoli.        Correct?
 12                       THE WITNESS:          Yes, sir.
 13                       JUDGE MORAN:          Okay.      And when you were
 14       hired, what was your job title?                     You have a job
 15       title?
 16                       THE WITNESS:          They hired me to be the
 17       supervisor over the night shift.
 18                       JUDGE MORAN:          Right, but did you have --
 19       they called you a supervisor over the night shift?
 20                       THE WITNESS:          Yeah.      Production
 21       supervisor is what it said in their little website
 22       thing.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 627    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 99


  1                       JUDGE MORAN:          Okay.      So we would call
  2       yourself a production supervisor when you were
  3       hired?
  4                       THE WITNESS:          Yes.      That's the job that
  5       Christine Schreiber offered me.
  6                       JUDGE MORAN:          Okay.      Production
  7       supervisor, and then you worked in the night shift
  8       initially, and then when did you switch over to
  9       day shift?
 10                       THE WITNESS:          Approximately after --
 11       approximately five months.                  I honestly can't
 12       remember, to be exact, Your Honor.
 13                       JUDGE MORAN:          Almost half of your time
 14       there you were the night shift person, and then
 15       you became the day shift for the balance of that
 16       time?
 17                       THE WITNESS:          Yes, Your Honor.
 18                       JUDGE MORAN:          Did your title stay the
 19       same, production supervisor?
 20                       THE WITNESS:          Yes.
 21                       JUDGE MORAN:          Still a production
 22       supervisor now.            At any time during your entire


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 628    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 100


  1       employment for which you just told me your job
  2       title was essentially the same, production
  3       supervisor.         Is that right?
  4                       THE WITNESS:          Yes, Your Honor.
  5                       JUDGE MORAN:          Did you ever receive a
  6       warning, oral or written, from Mr. Spears, that
  7       your job was inadequate?
  8                       THE WITNESS:          No.
  9                       JUDGE MORAN:          Did you ever -- and I said
 10       oral or written.            Neither?
 11                       THE WITNESS:          Yes, sir.
 12                       JUDGE MORAN:          Did you ever receive oral
 13       or written a warning from Mr. Tidaback or any
 14       other person in management that you were not
 15       performing your job adequately?
 16                       THE WITNESS:          No, Your Honor.
 17                       JUDGE MORAN:          Were you ever given a
 18       warning that you were in some sort of a probation?
 19       I don't use that term in legal sense, that if your
 20       job performance did not improve you would be
 21       terminated?
 22                       THE WITNESS:          No, Your Honor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 629    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 101


  1                       JUDGE MORAN:          Okay.      And that's written
  2       or oral.        Never put on notice?
  3                       THE WITNESS:          Never.       I was never put on
  4       notice, Your Honor.
  5                       JUDGE MORAN:          And up until the time that
  6       you were discharged, do you have any sense that
  7       you had -- that the management had called to your
  8       attentions deficiencies in the performance of your
  9       job?
 10                       THE WITNESS:          No, Your Honor.
 11                       JUDGE MORAN:          Okay.      Go ahead with your
 12       questions, Mr. Baumann.                 We're going to be very
 13       attentive -- I mean, Mr. Tidaback to the questions
 14       you have to ask right now.                  Go ahead, sir.
 15                       BY MR. TIDABACK:
 16               Q       And Exhibits RE titled 14 April, 2023,
 17       Jesse e-mailed to Markeson regarding miner pay
 18       inquiry.
 19                       JUDGE MORAN:          We have to return to RE
 20       first.
 21                       MR. TIDABACK:           Yes, Your Honor.
 22       Actually, RE and -- RE and RF.                     These both relate


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 630    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 102


  1       to the e-mail chain regarding the miners pay.
  2                       JUDGE MORAN:          RE and RF?
  3                       THE WITNESS:          Yes.
  4                       MR. TIDABACK:           Yes, Your Honor.
  5                       JUDGE MORAN:          And what is the purpose
  6       behind your asking questions of this witness about
  7       this?      What is the -- give me what's called a
  8       proffer.
  9                       MR. TIDABACK:           Yes, sir.        The question
 10       here has to deal with if Jesse was asking at same
 11       time the same question Mr. Baumann was asking, why
 12       would that be grounds of termination for Baumann
 13       but not Jesse.
 14                       JUDGE MORAN:          That's a question that
 15       cannot be asked.            It's improper and something he
 16       can't answer.
 17                       MR. TIDABACK:           Why would he think that
 18       was --
 19                       JUDGE MORAN:          Same problem.
 20                       MR. TIDABACK:           Yes, Your Honor.            Then we
 21       get over to regarding alleged interference.                             The
 22       next question.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 631    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 103


  1                       JUDGE MORAN:          Go ahead with your next
  2       question about alleged interference.
  3                       MR. TIDABACK:           Yes, Your Honor.
  4                       BY MR. TIDABACK:
  5               Q       Do you have any proof that anyone at
  6       American Tripoli, specifically told you,
  7       specifically Mr. Baumann, that you could not walk
  8       or talk with an MSHA inspector?
  9                       JUDGE MORAN:          Do you understand that
 10       question?        Were you told by anyone in management
 11       that you were not allowed to speak to an MSHA
 12       inspector?
 13                       THE WITNESS:          Yes.
 14                       JUDGE MORAN:          When you say proof, his
 15       testimony is the proof.                 Were you suggesting that
 16       there was a document filed?                   It depends what you
 17       mean by proof.           Do you have any proof?                 Proof is
 18       that I was -- that he was told he may not talk
 19       with MSHA inspectors.               Is that true?
 20                       THE WITNESS:          The exact words were don't
 21       offer any extra information to MSHA inspectors.
 22       Don't offer up any.              If they ask you a question,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 632    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 104


  1       make it short.
  2                       BY MR. TIDABACK:
  3               Q       Okay.      That's not talking to.                That's
  4       additional information.                 Correct?
  5                       MS. O'REILLY:           I would object to this
  6       line.
  7                       JUDGE MORAN:          I sustain the objection.
  8       Yes.     Whether I characterize it as talking to,
  9       he's just explained the restrictions that were
 10       placed upon him by management.                     That was from Mr.
 11       Spears.
 12                       THE WITNESS:          Mr. Spears and Mrs.
 13       Schreiber and Bonnie Bainter.
 14                       JUDGE MORAN:          His testimony will stand
 15       as to what he was told.                 Now --
 16                       MR. TIDABACK:           But to clarify, Your
 17       Honor, not talking to and divulging information
 18       not is the same.            Correct?
 19                       JUDGE MORAN:          You know what that is,
 20       that's something in a brief that you can argue
 21       that that statement is to be distinguished from
 22       forbidding him from speaking.                    You can put that in


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 633    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 105


  1       your brief, but not as a question for Mr. Baumann.
  2       Okay?
  3                       MR. TIDABACK:           I'm sorry, what's a
  4       brief?
  5                       JUDGE MORAN:          Mr. Baumann explained the
  6       basis for his belief that there was a restriction
  7       in his speaking with MSHA inspectors.                         That's his
  8       testimony.
  9                       MR. TIDABACK:           Yes, Your Honor.
 10                       JUDGE MORAN:          Okay.      Now, you have tried
 11       to distinguish that as being different from
 12       actually being told the word do not speak to an
 13       inspector.         Argue that in your post hearing brief.
 14       I don't know what that shows.
 15                       MR. TIDABACK:           Yes, Your Honor.
 16                       JUDGE MORAN:          But that's something you
 17       can do.       Okay.      Next question.
 18                       BY MR. TIDABACK:
 19               Q       So Exhibit P8 titled screen shot, 2023.
 20       0-7-24, 061236, maintenance chat group.
 21                       JUDGE MORAN:          I have to get to P8 first.
 22                       MR. TIDABACK:           Yes, Your Honor.            P8.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 634    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 106


  1                       JUDGE MORAN:          P8?
  2                       MR. TIDABACK:           Yes, Your Honor.
  3                       JUDGE MORAN:          We're looking at some
  4       screen shots and what's your question about the
  5       screen shots?
  6                       BY MR. TIDABACK:
  7               Q       Who was this message directed at?
  8               A       Which page are we looking at?
  9               Q       P8.
 10                       JUDGE MORAN:          It's a one page.
 11                       MR. TIDABACK:           P as in Paul.
 12                       THE WITNESS:          This message was directed
 13       towards Gage Wheeler.
 14                       BY MR. TIDABACK:
 15               Q       Okay.      So Exhibit P9 titled P9, 14
 16       February, John's message to Gage about MSHA
 17       inspector, and comparing it to the Exhibit RBB,
 18       the time lapse between those, what was occurring
 19       with John Spears at that time of that morning?
 20                       MS. O'REILLY:           Objection, relevancy and
 21       assumes facts not in evidence and calls for
 22       speculation.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 635    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 107


  1                       JUDGE MORAN:          Yes.      I sustain the
  2       objection.         Move on to something else.
  3                       MR. TIDABACK:           Okay.
  4                       BY MR. TIDABACK:
  5               Q       In reference to Mr. Baumann's last
  6       testimony stating that his interpretation of the
  7       statement he made is not talking to MSHA
  8       inspectors, how -- how did this terminology impact
  9       your ability to communicate with MSHA inspectors?
 10               A       It didn't mine.
 11               Q       Okay.      How many times did you walk
 12       around during inspections?
 13               A       Multiple times.
 14               Q       Did you walk around with them during
 15       November, February, April inspections?
 16               A       My participation started in end of
 17       November and December and the beginning of 2023.
 18               Q       Okay.      But anytime during your
 19       employment had the opportunity prevailed itself,
 20       because I know you're busy, you could have walked
 21       with any inspector at any time.                     Right?
 22               A       I was never offered to.                 No.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 636    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 108


  1               Q       Okay.      Never offered to.
  2               A       I never saw an inspector inside the
  3       building until approximately December.                          I had seen
  4       -- in November I seen one come through.                          I didn't
  5       physically get close to him or anything like that.
  6       And then whenever everything -- whenever the
  7       inspector showed up, John wasn't there and he
  8       wanted to know why things weren't done, and I was
  9       like, I didn't know anything about it.                          That's
 10       when I started getting involved.
 11               Q       So you stated your earliest inspections
 12       were when, that you recall?
 13               A       To my recollection I started kind of not
 14       being involved, but being to, within, you know,
 15       talking to distance and talking to the inspector,
 16       and I think it was December of 2022 all the way
 17       through February, you know, all the way until my
 18       termination.
 19               Q       Okay.      So if you were talking to them,
 20       let's just say December, if you believe that you
 21       were terminated due to walking around with the
 22       inspectors, why weren't you terminated the first


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 637    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 109


  1       time that you were?
  2                       MS. O'REILLY:           Objection, calls for
  3       speculation.
  4                       JUDGE MORAN:          I sustain that.
  5                       MS. O'REILLY:           I would say a lot of this
  6       is cumulative.           He's rehashing testimony that was
  7       gone through in depth.
  8                       JUDGE MORAN:          When you think that's the
  9       case, Attorney O'Reilly, stand up and up object as
 10       just you did.
 11                       BY MR. TIDABACK:
 12               Q       So regarding your termination, you
 13       mentioned after your job at American Tripoli, you
 14       quit seven days after not being able to see the
 15       screen with your glasses.                  Is that correct?
 16               A       Yes.     I didn't understand that question.
 17                       JUDGE MORAN:          Rephrase the question.                I
 18       didn't quite grasp it, either.
 19                       BY MR. TIDABACK:
 20               Q       Sorry.      Maybe this is sticking.                 You
 21       mentioned at your new job, after American Tripoli,
 22       that you quit after seven days due to you not


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 638    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 110


  1       being able to see the screens and you needed new
  2       glasses.        Is that correct?
  3               A       Yes.
  4               Q       Did you also mention, in your cross
  5       examination by the Secretary, that you would want
  6       a job back at American Tripoli because you did not
  7       feel that it was safe or any of your concerns
  8       would be taken into consideration?
  9               A       Yes.
 10               Q       So you were unhappy at American Tripoli.
 11       Is that correct?
 12               A       Yes.
 13               Q       If you were unhappy, why would you stay
 14       for ten months if you're willing to leave a job
 15       that you had for only seven days?
 16               A       I wasn't able to perform the job that I
 17       took, and I didn't want to waste their time or
 18       mine because I'm pretty passionate about a job,
 19       and --
 20               Q       Were -- were you planning on quitting
 21       American Tripoli before you were actually
 22       terminated?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 639    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 111


  1               A       No.
  2               Q       Let's see Exhibit RR, 2023, entitled
  3       Robert Baumann, Kansas Claim for Kansas
  4       Unemployment Benefits Form 2023.
  5                       MS. O'REILLY:           I object, we don't have
  6       an RR in our exhibit notebook.
  7                       MR. TIDABACK:           Oh, R.R.
  8                       MS. O'REILLY:           Not double R.           R.R.     got
  9       it.
 10                       JUDGE MORAN:          I don't have it yet so
 11       bear with me.
 12                       MR. TIDABACK:           Yes, sir.
 13                       JUDGE MORAN:          So the Exhibit is RR?
 14                       MR. TIDABACK:           Romeo Romeo, Your Honor.
 15                       THE WITNESS:          Okay.
 16                       JUDGE MORAN:          I'm not there.            Sorry.
 17       Bear with me.           Is the first RR, is it called RRB
 18       and then RRC?
 19                       MS. O'REILLY:           R, Respondent's and R, so
 20       one R after the first R.
 21                       MR. TIDABACK:           R.R.     Romeo dot Romeo.
 22                       MS. O'REILLY:           Right from RS.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 640    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 112


  1                       JUDGE MORAN:          Okay.      Thank you.         All
  2       right.      I found RR, and --
  3                       MR. TIDABACK:           Kansas Claim for
  4       Unemployment Benefits Form?
  5                       JUDGE MORAN:          Yes.      This is RR.         Why
  6       don't you identify, Mr. Tidaback, what Exhibit RR
  7       is, and then you can ask a question of Mr.
  8       Baumann.
  9                       MR. TIDABACK:           Correct.        The document is
 10       the Kansas Claim For Unemployment Benefits Form.
 11                       JUDGE MORAN:          Do you have that form in
 12       front of you, Mr. Baumann?
 13                       THE WITNESS:          Yes, Your Honor.
 14                       JUDGE MORAN:          Do you agree that's what
 15       Mr. Baumann -- Mr. Tidaback says this was, is a
 16       claim for unemployment benefits?
 17                       THE WITNESS:          Yes, Your Honor.
 18                       JUDGE MORAN:          What is your question,
 19       sir?
 20                       BY MR. TIDABACK:
 21               Q       Why did you apply for unemployment on
 22       April 16th as noted on the form, which is the day


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 641    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 113


  1       before you were terminated?
  2                       MS. O'REILLY:           Objection, that misstates
  3       the testimony, misstates the document and assumes
  4       facts that are not in evidence.
  5                       MR. TIDABACK:           In the middle of the
  6       form, Your Honor, it actually has it printed.                              It
  7       says claim effective date.
  8                       MS. O'REILLY:           I'm objecting he's
  9       testifying.         If he has a question about this, he
 10       can certainly ask a question.
 11                       JUDGE MORAN:          What you have to do is --
 12       I'm not ruling on the objection at this point.
 13       But here's how you handle it, Mr. Tidaback.                             Do
 14       you see on the form -- what is the date you're
 15       referring to?
 16                       MR. TIDABACK:           4-16 which would be the
 17       day before he was terminated by American Tripoli.
 18                       JUDGE MORAN:          Okay.      So can you explain,
 19       Mr. Baumann, the references just says BYB.
 20                       MR. TIDABACK:           Yes, Your Honor.
 21                       JUDGE MORAN:          Do you know what that
 22       stands for?         I know you're testifying.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 642    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 114


  1                       MR. TIDABACK:           I called and asked, and
  2       the lady walked me through the form and told me
  3       the details behind it.
  4                       JUDGE MORAN:          Let me ask the witness,
  5       then.      Mr. Baumann, do you know what -- do you see
  6       the date 4-16-23?
  7                       THE WITNESS:          Yes, Your Honor.
  8                       JUDGE MORAN:          Do you know what BYB
  9       stands for, sir?
 10                       THE WITNESS:          No, Your Honor.
 11                       JUDGE MORAN:          Do you know why the date
 12       is 4-16 -- well, first of all, what was the date
 13       that you were terminated, that you received the
 14       notice of termination from American Tripoli?
 15                       THE WITNESS:          4-17.
 16                       JUDGE MORAN:          So can you explain to me
 17       and to everyone in the hearing room why this claim
 18       is filed the day before you were terminated?                             Can
 19       you explain that?             You have a claim effective date
 20       of 4-16-23.
 21                       THE WITNESS:          Yes, Your Honor.             When I
 22       called to file for unemployment there were some


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 643    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 115


  1       questionability about my last day worked because I
  2       didn't -- never received my last paycheck, so I
  3       didn't know whether I had gotten paid for, and it
  4       would be have for 4-14, the Friday previous,
  5       because 4-16 would have been on Sunday and I
  6       wouldn't have been able to call them.
  7                       JUDGE MORAN:          That's his answer, and
  8       that's all you can ask about that.                       Move on to
  9       something else.            He's provided an answer as to the
 10       date, and that's the end of that.
 11                       MR. TIDABACK:           Yes, Your Honor.
 12                       BY MR. TIDABACK:
 13               Q       With that statement, payroll is ran two
 14       weeks after you worked.                 Correct?
 15               A       Correct.
 16               Q       And so payroll would have been, if you
 17       worked, you said, the last pay day was the 17th.
 18       The payroll would have been after the 17th.
 19       Correct?
 20               A       Correct.
 21               Q       So we wouldn't know or you wouldn't
 22       know.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 644    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 116


  1                       JUDGE MORAN:          I'm not going to allow
  2       this.
  3                       MR. TIDABACK:           I'm sorry, I understand.
  4                       JUDGE MORAN:          You have exhausted this.
  5       He's explained, to my satisfaction, by his
  6       testimony to explain that divergence between one
  7       day, the day he was terminated which was 4-17 and
  8       the date that appears to this employment --
  9       employer -- unemployment form, which states the
 10       day before.         He's given an explanation to that,
 11       and this is now too far afield for more questions
 12       on that.
 13                       MR. TIDABACK:           That's my last question,
 14       Your Honor.
 15                       JUDGE MORAN:          All right.         Thank you.
 16       Does the government have any questions to ask on
 17       redirect?
 18                       MS. O'REILLY:           Yes.
 19                       JUDGE MORAN:          Okay.      And Mr. Tidaback --
 20                       MR. TIDABACK:           Yes, Your Honor.
 21                       JUDGE MORAN:          -- pay close attention to
 22       these questions.            You will be given an opportunity


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 645    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 117


  1       to ask additional questions but just based on the
  2       questions that Attorney O'Reilly is about to pose.
  3       Okay?
  4                       MR. TIDABACK:           Thank you, Your Honor.
  5                       REDIRECT EXAMINATION
  6                       BY MS. O'REILLY:
  7               Q       Mr. Baumann, just to be clear, you
  8       applied for unemployment after April 17th, 2023.
  9       Correct?
 10               A       Yes, ma'am.
 11               Q       And it's your understanding that the
 12       unemployment date of 4-16-2023 refers to that
 13       being the first day of the week where you were
 14       eligible for unemployment benefits?
 15               A       Yes, ma'am.
 16                       JUDGE MORAN:          Don't ask any more
 17       questions about that.               You have already prevailed
 18       on that, Counsel.
 19                       BY MS. O'REILLY:
 20               Q       You were never disciplined for failing
 21       to guard machinery.              Correct?
 22               A       No, ma'am.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 646    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 118


  1               Q       MSHA issued several citations in
  2       February and March of 2023 while you walked around
  3       with MSHA inspectors.               Correct?
  4               A       Correct.
  5               Q       And were you surprised by some of the
  6       things that were cited?
  7               A       Yes, ma'am.
  8               Q       And was that the first time that you had
  9       realized some of those things were MSHA
 10       violations?
 11               A       Yes, ma'am.
 12               Q       I'm going to turn to Exhibit P13 and go
 13       to Page 54.
 14                       JUDGE MORAN:          I have got papers flying
 15       out.     P what?
 16                       MS. O'REILLY:           P13, Page 54.
 17                       JUDGE MORAN:          Okay.      Give me a second.
 18       I'll be right there.               54.     Right?
 19                       MS. O'REILLY:           Yes.     Correct.
 20                       JUDGE MORAN:          Are we on 54?
 21                       THE WITNESS:          Yes.
 22                       JUDGE MORAN:          Okay.      What is that?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 647    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 119


  1                       BY MS. O'REILLY:
  2               Q       It's at the bottom of the page you were
  3       talking earlier about removing product from the
  4       floor during MSHA inspection.                    Correct?
  5               A       Yes, ma'am.
  6               Q       And prior to the MSHA citation on this
  7       date, Mr. Spears had told you not to clean up the
  8       product on the floor.               Correct?
  9               A       Correct.
 10               Q       And your understanding, in fact, was
 11       that this mine had been cited in November for this
 12       same issue, but you were never notified of that
 13       citation?
 14               A       No, ma'am.
 15               Q       And so it's your understanding that the
 16       MSHA inspector was telling you to clean it up
 17       because it hadn't been cleaned up since November?
 18               A       He didn't tell us to clean it up.                       He
 19       wanted to know why nothing had been done.
 20               Q       So you were working to terminate the
 21       citation?
 22               A       Yes, ma'am.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 648    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 120


  1               Q       And then up above, there was a
  2       discussion about how you did not make the notes
  3       that were requested of you by Mr. Tidaback given a
  4       message from 2-18 on this page, 54.
  5               A       Yes, ma'am.
  6               Q       And it looks like you were asked to do
  7       this over the weekend.                Correct?
  8               A       Yes.
  9               Q       Were you scheduled to work over that
 10       weekend?
 11               A       No, ma'am.
 12               Q       Were things ever removed after you
 13       entered things in workplace exams?
 14               A       I honestly don't know.                The recording --
 15       the printed pieces in the file, some things don't
 16       add up to my recollection.
 17               Q       You're not sure if Exhibit P14 we have
 18       been talking about is an accurate reflection of
 19       the workplace exams notes that you made?
 20               A       No.
 21                       MS. O'REILLY:           And I will note that P14
 22       had not been admitted as an exhibit.                        I'll go


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 649    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 121


  1       ahead and move to admit it as an exhibit, just for
  2       clarification of the record.
  3                       JUDGE MORAN:          I think that's a good
  4       idea.       Do you have any objection to P14?
  5                       MR. TIDABACK:           No, I don't.
  6                       JUDGE MORAN:          Let me just make a
  7       notation, because I missed P12 I think it was
  8       yesterday.         Okay.      P14 without objection is
  9       admitted.
 10                               (Complainant's Exhibit P-14 was
 11                               marked for identification and
 12                               received in evidence.)
 13                       BY MS. O'REILLY:
 14               Q       Now I have you move to Exhibit P40 in
 15       Volume 2.        And are you there?
 16               A       Yes.
 17               Q       Yesterday it was pointed out the
 18       certification in Box 6.                 Do you see that?            Where
 19       it says fall certification is punishable.                           And did
 20       you sign in Box 6?
 21               A       No, I did not sign.
 22               Q       Whose signature is in Box 6?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 650    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 122


  1               A       Bonnie Bainter.
  2               Q       And it looks like your signature is
  3       under Box 7.          Is that correct?
  4               A       Yes, ma'am.
  5               Q       And above that it just said I verify
  6       that I have completed the above training.
  7       Correct?
  8               A       Correct.
  9               Q       At the time you signed this, did you
 10       have any idea what new miner training entailed?
 11               A       No, ma'am.
 12               Q       And did you sign this after receiving
 13       that 30 minute training you were talking about?
 14               A       Yes, ma'am.
 15                       MS. O'REILLY:           That's all the questions
 16       I have, Your Honor.
 17                       JUDGE MORAN:          Thank you.         Do you have a
 18       few questions based on the limited questions that
 19       were asked by Attorney O'Reilly?
 20                       MR. TIDABACK:           Just one, Your Honor.
 21                       JUDGE MORAN:          Sure.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 651    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 123


  1                       RECROSS EXAMINATION
  2                       BY MR. TIDABACK:
  3               Q       The Secretary referenced spillage?
  4               A       Yes.
  5               Q       Is spillage cleaned up?
  6               A       Depending on where it was, yes.
  7               Q       And as it's cleaned up, does it happen
  8       again?
  9               A       Yes.
 10               Q       And it happens after you clean it up
 11       again?
 12               A       Yes.
 13               Q       So it happens all the time.                   Right?
 14               A       Yes.
 15               Q       So if we clean it up today and an
 16       inspector comes tomorrow or three days later and
 17       spillage happens between that, it's going to be
 18       there.      Right?
 19               A       Not in that instance.
 20               Q       But it happens all the time.                    Correct?
 21               A       Correct.
 22                       MR. TIDABACK:           Okay.      That's all I have


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 652    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 124


  1       got.
  2                       JUDGE MORAN:          All right.         Thank you.
  3                       MS. O'REILLY:           Nothing further.
  4                       JUDGE MORAN:          All right.         Mr. Baumann,
  5       thank you for your testimony.                    My prescription is
  6       that you are not to talk to anyone that applies
  7       until this hearing is over.                   And that would
  8       include if we have to meet again a few weeks from
  9       now, if we don't wrap this up tomorrow.                          Okay?
 10                       THE WITNESS:          I have a question about
 11       this.      Does that include the Respondent with his
 12       witnesses also, Your Honor?
 13                       JUDGE MORAN:          That's something that, not
 14       you, but the Secretary's attorney can ask.                            That's
 15       improper for you to ask that, but yes, it's a
 16       blanket prescription for all sides, witnesses
 17       talking with their counsel.
 18                       THE WITNESS:          I just thought of that
 19       yesterday evening, Your Honor.                     So I didn't know
 20       whether I could do it, but I couldn't talk to them
 21       to have them to ask you, so.
 22                       JUDGE MORAN:          Fair enough.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 653    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 125


  1                       THE WITNESS:          Thank you, Your Honor.
  2                       JUDGE MORAN:          All right.         So this is for
  3       the benefit of the court reporter.                       We're going to
  4       break for a minute or two while we get the next
  5       witness ready and just give me a heads up, this
  6       witness will be.
  7                       MS. O'REILLY:           Mr. Gage Wheeler.
  8                       MS. SMITH:         He's ready to go.             We can
  9       grab him.
 10                       JUDGE MORAN:          Do you need a break, Madam
 11       Court Reporter?
 12                       COURT REPORTER:            No, I'm fine.
 13                       JUDGE MORAN:          Okay.      Thanks.        And we're
 14       going to proceed right away with Mr. Gage Wheeler.
 15                       MS. SMITH:         I'll do a microphone test
 16       for the reporter.             Okay.      Thank you.
 17                       JUDGE MORAN:          Mr. Wheeler, come up here
 18       to the witness stand.               Thank you, sir.             You have
 19       seen the proceeding.               I'm Judge Moran.
 20                       THE WITNESS:          Yes, sir.
 21                       JUDGE MORAN:          Make yourself comfortable
 22       but not too comfortable yet because I have to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 654    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 126


  1       swear you in first, to remain standing.                          All
  2       right.      We're on the record, Madam Court Reporter?
  3                       MS. O'REILLY:           We need to mike him up.
  4                       JUDGE MORAN:          Tell him, Mr. Heat --
  5       Holt, sorry.          There we got.           Is that a good
  6       position for that?              So you can hear me, Madam
  7       Court Reporter?
  8                       COURT REPORTER:            Yes, I can.
  9                       JUDGE MORAN:          Okay.      We're going to
 10       swear in Mr. Gage Wheeler.
 11       Whereupon,
 12                                     GAGE WHEELER
 13       was called as a witness and, having been first
 14       duly sworn, was examined and testified as follows:
 15                       JUDGE MORAN:          State your name for the
 16       record, please.
 17                       THE WITNESS:          Gage Wheeler.
 18                       JUDGE MORAN:          And please spell it.
 19                       THE WITNESS:          G-a-g-e W-h-e-e-l-e-r.
 20                       JUDGE MORAN:          Have a seat, sir.             Go
 21       ahead, Attorney Smith.
 22                       MS. SMITH:         Yes.     Thank you.          And,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 655    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 127


  1       Judge, we would ask for somewhat of a protective
  2       order here.         We would limit -- we would ask the
  3       Court to not allow any questioning of this
  4       witness' current employer or his home address,
  5       because of this witness' fear of retaliation for
  6       participating in today's hearing, and that these
  7       facts are not relevant to the issues present in
  8       the hearing.
  9                       JUDGE MORAN:          Yes.      And I don't have to
 10       hear from the other side on this because the
 11       answer is I do issue such a protective order.
 12                       MS. SMITH:         Thank you.
 13                       DIRECT EXAMINATION
 14                       THE WITNESS:
 15               Q       And, Mr. Wheeler, can you please state
 16       your name for the record.
 17               A       Gage Wheeler.
 18               Q       Are you familiar with American Tripoli
 19       in Seneca, Missouri?
 20               A       I am, indeed.
 21               Q       How are you familiar?
 22               A       I'm an current employee there -- or


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 656    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 128


  1       previous, I'm sorry, previous one.
  2               Q       And what month year did you start
  3       working there?
  4               A       I believe it was right around
  5       Christmastime when I started.
  6               Q       Would it be December 26th of 2022?
  7               A       That sounds fair.
  8               Q       And what month and year did you leave
  9       American Tripoli?
 10               A       I do believe it was February maybe,
 11       maybe more, something like that.
 12               Q       February of 2023?
 13               A       Sounds fair.
 14                       JUDGE MORAN:          Okay.      Sounds fair.           Do
 15       you agree?
 16                       THE WITNESS:          Yes, sir, I'm sorry.
 17                       JUDGE MORAN:          All right.
 18                       THE WITNESS:
 19               Q       And what was your position at American
 20       Tripoli?
 21               A       I was a maintenance guy.
 22               Q       What building did you work in?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 657    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 129


  1               A       Just the main one right there on the --
  2       right there in Seneca.
  3               Q       Would you consider that building called
  4       the mill?
  5               A       The mill, yes, ma'am.
  6               Q       And what occurred in the mill?
  7               A       They crushed the tripoli.                  Then they run
  8       it through the back house and they put them in the
  9       bags.       I mean, that's kind of the general basis of
 10       it.
 11               Q       How often did you work in the mill
 12       building?
 13               A       Like you mean, like -- well, I worked
 14       there every day, but I mean like Monday through
 15       Friday kind of thing, is that what you're asking?
 16               Q       What was your work schedule?
 17               A       Monday through Friday.                I think I went
 18       through on occasion on Saturday once.
 19               Q       And what were the hours that you worked?
 20               A       8:00 to 5:00-ish.             I got there a little
 21       early, so maybe 7:30-ish, something like that.
 22               Q       When you worked at American Tripoli were


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 658    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 130


  1       you a member of a union?
  2               A       I was not.
  3               Q       Who was your supervisor?
  4               A       It would have been John Spears at the
  5       time.
  6               Q       What were your responsibilities as the
  7       maintenance person?
  8               A       I guess to keep and maintain everything
  9       in working order, the best of my ability.
 10               Q       When you were hired, were you the only
 11       maintenance person?
 12               A       No, ma'am.
 13               Q       Who else was a maintenance person while
 14       you were employed there?
 15               A       Bryson Wilkins was his name.
 16               Q       Are you related to Bryson Wilkins?
 17               A       I am, indeed.
 18               Q       And how are you related?
 19               A       His daddy is my second cousin.                     So I
 20       call him Uncle Lonnie, that's his name, and then
 21       Bryston is just my little cousin.
 22               Q       And we have learned during this trial


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 659    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 131


  1       that there were two shifts at American Tripoli at
  2       some point of time.              What shift were you primarily
  3       working?
  4               A       There was no shifts when I was working
  5       there, so I just, just during the day is when I
  6       worked.
  7               Q       And how is it -- did you ever work with
  8       your cousin, Bryston Wilkins?
  9               A       I did for a couple days.
 10               Q       And tell us about some of the work that
 11       you guys would do together.
 12               A       Just general maintenance things.
 13       Greasing of the bearings and whatnot.                         If there
 14       was something that was down and pressing, we'd
 15       work on it.
 16               Q       Tell us how it is that Bryston Wilkins
 17       discontinued his employment with American Tripoli?
 18               A       So across the street from the mill
 19       there's a garage building there, and the dump
 20       truck driver, and I forget his name, you have to
 21       forgive me, broke one of the garage doors.                            And so
 22       we went over there to see if we can't figure it


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 660    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 132


  1       out.     And so we sit there and we pondered it for a
  2       little bit, you know, and no really good way to
  3       kind of get up there.               And I know that Bryston
  4       said something on the Teams messenger to Russell,
  5       and the general consensus was, you know, work with
  6       what you got.           Figure it out.           That's kind of gist
  7       of it.       So my -- I'm sorry.
  8               Q       So you were tasked to repair an overhead
  9       door.       Tell us just how high is this overhead
 10       door?
 11               A       I think the top of it is about maybe 18
 12       feet.
 13               Q       Did you have a ladder that would reach
 14       18 feet?
 15               A       I didn't have a ladder at all.
 16               Q       Did you request a ladder from a member
 17       of management?
 18               A       I did not personally.
 19               Q       And who did?
 20               A       My little cousin did.
 21                       JUDGE MORAN:          Let me stop.          Spell that
 22       person's name.           You sort of mumbled the other


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 661    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 133


  1       person that requested the ladder.                       What is his
  2       name again?
  3                       THE WITNESS:          I said my little cousin.
  4       I'm sorry.
  5                       JUDGE MORAN:          That's okay.          Your little
  6       cousin.       And again, your little cousin's name is?
  7                       THE WITNESS:          Bryston Wilkins.
  8                       JUDGE MORAN:          Broston?
  9                       THE WITNESS:          Bryston.
 10                       JUDGE MORAN:          Bryston Wilkins.             Is that
 11       right?
 12                       THE WITNESS:          Yes, sir.
 13                       JUDGE MORAN:          Okay.
 14                       BY MS. SMITH:
 15               Q       And did Bryston or you ever receive a
 16       ladder to perform this work?
 17               A       We did not.
 18               Q       And what were you told how you were to
 19       repair the garage door without a ladder?
 20                       MR. TIDABACK:           Is he testifying for
 21       someone else?
 22                       JUDGE MORAN:          No, no.       This question is


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 662    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 134


  1       appropriate.          She's asking this witness what he
  2       was told.        Is that right?
  3                       MR. TIDABACK:           What Bryston was told or
  4       what he --
  5                       JUDGE MORAN:          Well, if you're confused
  6       by the question, that's a different matter.                             If
  7       the witness is confused by the question, he can
  8       say I don't understand your question.                         So I
  9       overrule your what is tantamount to an objection.
 10                       THE WITNESS:          Can you repeat the
 11       question, please?             I'm sorry.
 12                       BY MS. SMITH:
 13               Q       Yeah.      When Bryston requested the
 14       ladder, were you working with him on that job?
 15               A       Yes, ma'am, I was.
 16               Q       Okay.      And you said you never got a
 17       ladder.       Is that correct?
 18               A       No, ma'am, we did not.
 19               Q       Were you told why you did not receive a
 20       ladder?
 21               A       There was no reason why we -- we didn't
 22       have one was the reason we didn't get one, so.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 663    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 135


  1               Q       And how were you told then to repair the
  2       garage door without the ladder?
  3               A       We were not told in any way specific to
  4       how to repair the garage door.
  5               Q       How did you end up repairing that garage
  6       door that day?
  7               A       We got -- I don't remember his name.                        I
  8       don't remember his name.                 So we end up getting a
  9       fork truck and a pallet, and by this time Bryston
 10       noped out of the situation.                   So I got up on a
 11       pallet on a fork truck and they lifted me up and
 12       did my tinkering.
 13               Q       And when you said Bryston noped out of
 14       the situation, you're saying?
 15               A       He wanted no part of it.
 16               Q       Okay.      Because -- and did he say why he
 17       did not?
 18               A       It's unsafe.          I mean, it is what it is.
 19       You know, it's not safe, but.
 20               Q       While you were employed at American
 21       Tripoli did you receive any information or
 22       training on the product you were mining and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 664    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 136


  1       processing?
  2               A       I did not.         I did not receive anything
  3       personally.
  4               Q       Did you know that Tripoli is made of
  5       mostly silica?
  6               A       I am aware of that.
  7               Q       Were you ever given training on silica?
  8               A       I think there was a little snippet in my
  9       new miners training, but that's it.
 10               Q       Prior to working at American Tripoli had
 11       you ever worked at a mine before?
 12               A       I have.
 13               Q       And tell us when that was.
 14               A       So in 2018 I do believe it was -- nope,
 15       2016.       I'm sorry.        That's the Jasper Quarry.
 16               Q       Based on that experience at Jasper
 17       Quarry, were you familiar with the Mine Safety and
 18       Health Act?
 19               A       Yeah.
 20               Q       How long had you worked at American
 21       Tripoli before you got the new miner training?
 22               A       I think it was approximately maybe --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 665    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 137


  1       well, so I got pulled -- I got pulled from the
  2       site not very long after I started there, and I
  3       think it was another two weeks before the training
  4       happened.        Now, I stayed at the house at that
  5       time.
  6               Q       So when you started working at American
  7       Tripoli were you put right to work?
  8               A       Yes.
  9               Q       And then you said you were pulled from
 10       work.       Who pulled you from work?
 11               A       I do believe his name is -- it's -- he
 12       was meant to be an MSHA guy.                    Hill is the last
 13       name.
 14               Q       An MSHA inspector pulled you from work?
 15               A       Yeah.
 16               Q       And why did he do that?
 17               A       I didn't have any new miners training,
 18       of course.
 19               Q       When -- after you started at American
 20       Tripoli and you were put right to work, were you
 21       being closely supervised by anyone?
 22               A       No, ma'am.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 666    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 138


  1               Q       Did you receive any task training from
  2       American Tripoli?
  3               A       No, ma'am, I did not.
  4               Q       Can you describe any -- any involvement
  5       you had with task training sheets?
  6               A       Yeah.      So when we -- when we went
  7       through the new miners training the -- even while
  8       the training was happening I had a company laptop,
  9       and I whooped up some just generic, you know, task
 10       training sheets.            I had the American Tripoli logo
 11       on the letterhead and then it -- just task
 12       training sheets where you could fill out the task,
 13       your training and then the person doing the
 14       training and the person, you know, performing the
 15       task or whatever.             I kind of whooped up some of
 16       those for them.
 17               Q       And you created these forms, did you
 18       ever use those forms to document task training?
 19               A       We did.
 20               Q       Were you ever given any forklift
 21       training at American Tripoli?
 22               A       No.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 667    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 139


  1               Q       Did you ever sign a forklift
  2       certification?
  3               A       I think I did, actually, yeah.
  4               Q       Did you receive any task training on
  5       welding?
  6               A       Nope.
  7               Q       Did you do welding in your job?
  8               A       Tons of it.
  9               Q       Did you receive any task training on
 10       lockout/tagout?
 11               A       No.
 12               Q       Did you ever perform lockout/tagout at
 13       American Tripoli?
 14               A       We didn't have any locks.
 15               Q       When you say you didn't have any locks,
 16       are you saying that American Tripoli did not
 17       provide locks?
 18               A       No, they did not.
 19               Q       Did you bring your own logs to perform
 20       lockout/tagout?
 21               A       Yes.
 22                       JUDGE MORAN:          Okay.      You're doing fine


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 668    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 140


  1       in your testimony, but give a pause so the court
  2       reporter cannot have two people speaking at once.
  3       That's great, but you were coming within a
  4       nanosecond of her asking the question.                          I want the
  5       court reporter to get all of this.                       All right?
  6                       THE WITNESS:          Yes, sir.
  7                       JUDGE MORAN:          You're doing great.
  8                       BY MS. SMITH:
  9               Q       And you can't see the court reporter.
 10       She's appearing virtually, but she is writing all
 11       of this down.
 12                       And who managed the plant day to day?
 13                       JUDGE MORAN:          That's fine.          I didn't
 14       mean a long wait.
 15                       THE WITNESS:          Okay.      So Rob kind of
 16       handled the day to day running.
 17                       BY MS. SMITH:
 18               Q       And who was responsible for the entire
 19       operation in Seneca?
 20               A       John.
 21               Q       John Spears?
 22                       JUDGE MORAN:          Yeah, let's put names.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 669    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 141


  1       Rob you mentioned a second ago means?
  2                       THE WITNESS:          Robert.
  3                       BY MS. SMITH:
  4               Q       Baumann?        You mean Rob Baumann?
  5               A       Yes.
  6                       JUDGE MORAN:          Is there any Rob Bert?
  7                       THE WITNESS:          Robert?       Robert.
  8                       JUDGE MORAN:          I get it.         You're saying
  9       his full name is Robert.
 10                       THE WITNESS:          Yeah.
 11                       JUDGE MORAN:          Okay.
 12                       THE WITNESS:          I put some bert on.               You
 13       said Rob, I said bert, you know.
 14                       JUDGE MORAN:          That's okay.
 15                       THE WITNESS:          I'm sorry.
 16                       JUDGE MORAN:          Robert Baumann and who was
 17       the other person?
 18                       THE WITNESS:          And John Spears.
 19                       JUDGE MORAN:          Let's talk from here on
 20       out, Mr. Baumann, Mr. Spears so we don't get the
 21       Robs and the Johns and all of that mixed up.
 22       Okay?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 670    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 142


  1                       THE WITNESS:          Yes, sir.
  2                       JUDGE MORAN:          Thanks.
  3                       BY MS. SMITH:
  4               Q       Did you ever interact with Russell
  5       Tidaback in your role as a maintenance person?
  6               A       Yes, ma'am.
  7               Q       And tell us about some of those
  8       interactions.
  9               A       You know, they were -- we kind of varied
 10       from day to day.            We had meetings every once in a
 11       while.      I think it was every -- every Friday, I
 12       think, in the mornings we had meetings.                          Phone
 13       calls, Teams messages and things like that.
 14               Q       Did you work directly with Mr. Tidaback?
 15               A       I guess in spirit.              He wasn't there, if
 16       that's what you're meaning.
 17               Q       And when you say Mr. Tidaback isn't
 18       there, where is Mr. Tidaback?
 19               A       I couldn't tell you the whereabouts
 20       where he's at.
 21               Q       He's not in the plant or the mill on a
 22       day to day basis?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 671    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 143


  1               A       No, no, no.
  2               Q       And so who did you interact on a day to
  3       day basis with in management?
  4               A       Mr. Baumann and Mr. Spears.
  5                       JUDGE MORAN:          Very good.         Thank you.
  6                       BY MS. SMITH:
  7               Q       And we've talked a bit during this trial
  8       about Teams chat messages.                  Are you familiar with
  9       the Teams chat?
 10               A       I am.
 11               Q       And were you the member of any Teams
 12       group chats?
 13               A       Yes, ma'am.         I was the -- I was part of
 14       the little maintenance one and then the mill one I
 15       do believe.
 16               Q       Did you use Teams to communicate to Mr.
 17       Tidaback?
 18               A       Yes, I did.         I didn't like it, but I
 19       did.
 20               Q       Did you use Teams to communicate with
 21       Mr. Spears?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 672    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 144


  1               Q       Did you use Teams to communicate with
  2       Mr. Baumann?
  3               A       Yes.
  4               Q       Did you have any one on one interactions
  5       with Mr. Tidaback?
  6               A       In person or on the telephone?
  7               Q       Let's start with the phone.                   Did you
  8       have any telephone calls with him?
  9               A       Absolutely.
 10               Q       Approximately how many?
 11               A       Maybe ten all together, I would say.
 12               Q       And now, how many in person interactions
 13       did you have with him?
 14               A       Twice.
 15               Q       And describe those interactions.
 16               A       One time he came down and seemed pretty
 17       nonchalant.         I didn't quite understand why he was
 18       there.       I think he was there, you know, because of
 19       all the MSHA stuff that was going on, but it was
 20       kind of business as normal so there wasn't much
 21       interactions.           How do you do, I'm Russell.                   I'm
 22       Gage.       I'm the feller you hired, stuff like that,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 673    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 145


  1       and the -- the next time I was whenever I quit,
  2       so.
  3               Q       And we can talk about your termination
  4       later, but when you quit was the mill currently
  5       shut down?
  6               A       Yes, it was.
  7               Q       Okay.      And describe your relationship
  8       with Mr. Spears.
  9               A       In what capacity?
 10               Q       Your working relationship with him.
 11               A       Turbulent I guess is the best word I can
 12       use in the company present.
 13               Q       And why would you say that?
 14               A       I'm trying to think how to word this,
 15       I'm sorry.         I'm sure he's a great feller, but I
 16       don't think he's competent and overall just kind
 17       of ignorant in some aspect.                   I think that's a fair
 18       word.       Ignorant is a fair word.
 19                       JUDGE MORAN:          Those are
 20       characterizations.              Let's get down to some brass
 21       tacks, as they say.              You said turbulent.               I take
 22       it to mean when you use that term, contentious.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 674    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 146


  1       So there was some friction.
  2                       THE WITNESS:          Yes, sir.         That's fair.
  3                       JUDGE MORAN:          Okay.      Can you describe
  4       some instances of the friction?                     I'm sorry,
  5       Attorney Smith, sorry.
  6                       BY MS. SMITH:
  7               Q       Go ahead.        Can you describe some of
  8       those, you know, either turbulent interaction or
  9       friction between the two of you?
 10               A       Yeah.      So it was my understanding that I
 11       was hired to perform a job, you know.                         That I have
 12       -- that I, in my opinion, some qualification to
 13       do, and from a man that I don't think has any
 14       qualifications.            You know, the past ones that I
 15       do, it was a lot of going back and forth between,
 16       you know, what we should do, what we should not
 17       do, and there was even an instance wherever I was
 18       working on piece of equipment and when I was
 19       telling them how to fix it, so they brought in an
 20       outside electrical contractor and they told him
 21       the same thing that I was telling them.                          Yet they
 22       paid them $1200 bucks or whatever to tell them the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 675    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 147


  1       same thing I said.
  2                       JUDGE MORAN:          So you had disagreements
  3       about how to accomplish certain tasks in terms of
  4       your maintenance?
  5                       THE WITNESS:          Yes, sir.
  6                       JUDGE MORAN:          Were there other instances
  7       when you had disagreements with him about your job
  8       doing maintenance?
  9                       THE WITNESS:          Yeah.
 10                       JUDGE MORAN:          Can you give us just
 11       another example of where there was a disagreement
 12       between you as that to how a task you were
 13       supposed to do was to be performed?
 14                       THE WITNESS:          I'm sorry, I lost you
 15       there.
 16                       JUDGE MORAN:          Probably too long.              Tell
 17       me about other disagreements that the two of you
 18       had about how to do your job.
 19                       THE WITNESS:          Okay, yeah.          So there was
 20       also some instances when we had a big job doing a
 21       -- there's a bucket elevator.                    A drag is what you
 22       normally call it.             There was disagreements back


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 676    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 148


  1       and forth on how that job should be completed, you
  2       know.       It eventually got done to -- in a safe
  3       manner, but the first ideas coming from that man
  4       was not -- it wasn't jelling.
  5                       BY MS. SMITH:
  6               Q       Was it your understanding that Mr.
  7       Spears had to get approval from Mr. Tidaback in
  8       order to make certain repairs that you were
  9       recommending?
 10               A       Yeah, I do believe so.
 11               Q       And why do you say that?
 12               A       Because it's -- you know, in my opinion,
 13       I guess John wasn't really running anything.                             He
 14       had to get permission to do anything.
 15                       JUDGE MORAN:          Did he ever say to you I
 16       have to check with Russell Tidaback about this?
 17                       THE WITNESS:          Yes, sir.
 18                       JUDGE MORAN:          He informed you that
 19       directly, that he had to check with Mr. Tidaback?
 20                       THE WITNESS:          Yes, sir.         I think the
 21       actual words he used was I have to get approval.
 22                       JUDGE MORAN:          Okay.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 677    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 149


  1                       BY MS. SMITH:
  2               Q       In your role as maintenance were you
  3       able to keep up with the number of maintenance
  4       requests?
  5               A       I tried.        It was rough.           It really was.
  6       I tried my best, but.
  7               Q       If he needed parts to repair a piece of
  8       equipment, describe the process you had to follow.
  9               A       So in the beginning I would go to John
 10       and say, hey, you know, we need this part for
 11       whatever reason, and it was okay.                       And then I
 12       would disengage from that, and then I assume he
 13       had to put that forward into -- either into Teams
 14       or in front of Russell, and then the part would
 15       arrive, you know, within a couple of days most of
 16       the time.
 17               Q       Were your requests for parts always
 18       approved?
 19               A       No.
 20               Q       Can you think of a time where you
 21       requested a part and it did not get approved?
 22               A       Yeah.      So I was working on the bagger,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 678    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 150


  1       and there was a part that's been obsolete for
  2       quite some time.            And I did some digging, did some
  3       research and I tracked down something that might
  4       have worked, but it was a little on the costly
  5       side.      And as far as -- in beginning John wasn't
  6       even going to send it to Russell.                       So -- and then
  7       after, you know, me kind of pestering, like, you
  8       know, you want this running, we need this part and
  9       it was -- it was probably about a week back and
 10       forth before it ever got put in front of you, you
 11       know, Russell.
 12                       JUDGE MORAN:          What was the outcome?                Was
 13       the part eventually purchased and it was
 14       installed?
 15                       THE WITNESS:          Yes, sir.
 16                       JUDGE MORAN:          By you?
 17                       THE WITNESS:          Yes, sir.
 18                       JUDGE MORAN:          Did it work?
 19                       THE WITNESS:          No, sir.
 20                       JUDGE MORAN:          It didn't work after you
 21       installed it?
 22                       THE WITNESS:          No.     The bagger itself did


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 679    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 151


  1       not run.        The part that I installed did work.
  2                       JUDGE MORAN:          Okay.
  3                       BY MS. SMITH:
  4               Q       Do you recall a time when you requested
  5       from Russell Tidaback to order filters for the
  6       bagger?
  7               A       I said that they need to be changed.
  8               Q       And were those new filters ever ordered?
  9               A       No, they never were when I was there.
 10               Q       Were you told why they weren't being
 11       ordered?
 12               A       John said they were really expensive, so
 13       that's why that we weren't going to order them.
 14               Q       Were those filters ever ordered?
 15               A       No.     Not while I was there, and if they
 16       were, why was there -- I was never told about it.
 17               Q       Did you work with Mr. Baumann on a daily
 18       basis?
 19               A       I did.
 20               Q       Describe some of the interactions you
 21       had with Mr. Baumann at work.
 22               A       I mean, business as normal in the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 680    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 152


  1       mornings, you know.              We might cut it up later in
  2       the mid-day area if we weren't, you know, too
  3       terribly busy, but pleasurable interactions
  4       normally all the way around for the most part.
  5               Q       What type of employee was Mr. Baumann
  6       when you worked with him?
  7               A       I'll tell you he's a pretty decent one.
  8               Q       Did he do the work that was asked of
  9       him?
 10               A       The best of his ability what he got to
 11       work with, yes, ma'am.
 12               Q       What does that mean, the best of his
 13       ability --
 14               A       If the --
 15               Q       Sorry, hold on.            I just want to make
 16       sure the record is clear because we'll need this
 17       transcript later.             Can you explain what you mean
 18       by the best of his ability with what he had to
 19       work with?
 20               A       So if the plant is not running, you
 21       know, he's kind of at a lull, you know.                          But if
 22       the plant is running, I mean, his job was to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 681    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 153


  1       manage his people.              So I think, you know, he did
  2       -- you know, his people didn't really give him
  3       the, you know, I guess, the due and proper that a
  4       supervisor had, I guess, so you kind of had to
  5       ramrod him a little bit, but the plant is running.
  6       I think he did his job adequately, from what I
  7       seen.
  8               Q       Did he show up on time?
  9               A       He was actually the one that started the
 10       plant every day.            The mill, I should say.                 He came
 11       in there, turned everything on, you know.                           I mean,
 12       I got there at the same time he did, but, you
 13       know.
 14               Q       Did he have a good attitude?
 15               A       For the most part.
 16               Q       And tell us about, you know, what you
 17       mean by the most part.
 18               A       You know, a couple things he would get
 19       riled up on, you know.                Nothing negative.             I mean,
 20       there was some safety concerns he'd get kind of
 21       riled up or get kind of irritated or fed up with
 22       some of the stuff we had to deal with day to day.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 682    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 154


  1               Q       And you mentioned something about
  2       safety.       Did Mr. Baumann care about safety?
  3               A       I would say so.
  4               Q       Did he express any safety concerns that
  5       he had to you?
  6               A       Yeah, sure did.
  7               Q       And can you give us an example?
  8               A       One was the dryer downstairs.                    It was
  9       leaking gas real bad.               Real bad.         I mean, to the
 10       point, you know, you were a smoker, you know, the
 11       whole place might go up.                 It was really bad.
 12       There was, on the other couple of floors, there
 13       was some rotten spots in the floor that got
 14       brought up to me.             Just kind of overall, you know,
 15       rust, sharp things, you know, about.                        Just kind of
 16       in general.         I mean, you know, kind of a walking
 17       tetanus shot in there.
 18               Q       Mr. Baumann, was he responsible for
 19       fixing any of those concerns that he brought to
 20       you?
 21               A       No.     No, it was my responsibility.
 22               Q       And was he, you know, allowed or


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 683    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 155


  1       permitted to perform these maintenance tasks?
  2               A       Not by himself.            It's, you know, he was
  3       more than willing to help if, you know, it was
  4       asked of him, I guess, but he wasn't supposed to
  5       do it by himself, no.
  6               Q       So in your experience, he would help
  7       occasionally with maintenance?
  8               A       Uh-huh.       There's a couple welding jobs
  9       that I did in there that, you know, calling him my
 10       rod guy.        You know, can you hand me a rod or
 11       whatever.        He'll go plug in an extension cord or
 12       something like that for me.
 13               Q       In working with Mr. Baumann, could Mr.
 14       Baumann have performed any of the welding tasks
 15       that you performed?
 16               A       No, and I don't think Rob knows how to
 17       weld.
 18               Q       What about any of the electrical work?
 19               A       No, no, not at all.
 20               Q       In your working with Mr. Baumann, was he
 21       a good leader?
 22               A       From what I seen.             I mean, he wasn't


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 684    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 156


  1       directly my boss, but I thought he was pretty
  2       fair.
  3               Q       In working in the mill did you have an
  4       understanding of what Mr. Baumann's responsibility
  5       was as to a production demand each day?
  6               A       Run that one again.              Sorry.
  7               Q       Sure.      And just working in the mill,
  8       were you aware that Mr. Baumann of a production
  9       quota or demand or goal that he had each day?
 10               A       Yeah.      So there was a call out for
 11       demand for so many tons or so many bags, I do
 12       believe, so.
 13               Q       Do you know what that number was?
 14               A       Not off the top of my head.                   I'm sorry.
 15               Q       Do you know if Mr. Baumann ever was
 16       successful in achieving that goal?
 17               A       More times than not, but not to -- not
 18       to his phone thing, but mill wasn't running.
 19               Q       You said the most times the mill was?
 20               A       Wasn't.
 21               Q       Okay.      And why wasn't the mill running?
 22               A       Something was wrong with it.                    The bagger


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 685    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 157


  1       was broke down or this was wrong, or the, you
  2       know, we were -- you know, most of the time we
  3       were shut down from whatever agency, you know,
  4       whether it be MSHA, the National Department of
  5       Natural Resources or the cops, for that matter.
  6               Q       You're saying that the mill would be
  7       shut down by either I think the police department,
  8       the Missouri Department of Natural Resources or
  9       MSHA?
 10               A       Yes.
 11               Q       And is it your testimony that those
 12       shutdowns would have affected Mr. Baumann's
 13       ability to meet the production demands?
 14               A       Yeah.
 15                       JUDGE MORAN:          Can you -- okay.             Right.
 16       It's shut down.            The point is, you can't make
 17       production if the mill was shut down.
 18                       THE WITNESS:          Yeah.      Yeah, I guess I
 19       would -- yeah.
 20                       BY MS. SMITH:
 21               Q       Did you ever complain to anyone about
 22       Mr. Baumann?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 686    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 158


  1               A       I don't think so.
  2                       MS. SMITH:         Okay.      And Your Honor, we
  3       have an exhibit, I think it's P43.
  4                       JUDGE MORAN:          Okay.      Let's get that up.
  5       P43.
  6                       MS. SMITH:         Yes.     This Exhibit P43
  7       starts in binder 2.              It goes on to binder 3, but
  8       we only need to look at binder 2.
  9                       JUDGE MORAN:          Okay.      So identify for me,
 10       Attorney Smith, the -- is this exhibit, the
 11       transcript of the testimony of Russell Tidaback on
 12       January 22nd, 2024?
 13                       MS. SMITH:         Yes.     This exhibit is a
 14       deposition transcript that's been certified of Mr.
 15       Russell Tidaback taken for this case.
 16                       JUDGE MORAN:          Okay.
 17                       MS. SMITH:         We would move to admit this
 18       exhibit as an admission by a party opponent and as
 19       a deposition taken in this case that's available
 20       to be used for any purpose under Federal Rule of
 21       Civil Procedure 32.
 22                       JUDGE MORAN:          Any objection to the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 687    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 159


  1       admission of your deposition, Mr. Tidaback?
  2                       MR. TIDABACK:           If I actually understood
  3       what all that meant I would have to say maybe, but
  4       I don't contest it.
  5                       JUDGE MORAN:          All Right.         I didn't hear.
  6                       MR. TIDABACK:           I don't know what
  7       everything she meant that she just said, so I have
  8       to assume that it's correct, so yes.                        I have no --
  9       no objections.
 10                       JUDGE MORAN:          Okay.      But you're not
 11       challenging -- I understand what you just said
 12       about the completeness of her reasons, but I take
 13       it you agree that this accurately reflects --
 14                       MR. TIDABACK:           Yes, Your Honor.            JUDGE
 15       MORAN -- by Alpha Reporting
 16                       and Video your deposition on January
 17       22nd?
 18                       MR. TIDABACK:           Correct, Your Honor.
 19                       JUDGE MORAN:          I will admit Exhibit P43.
 20       And while -- I've got four minutes here before I
 21       have to leave.           You'll hear my alarm go off, but
 22       you're going to stay put.                  Let me just say


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 688    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 160


  1       everyone can stretch and relax when we take this
  2       brief pause, but as I have told the previous
  3       witness, Mr. Baumann, and all witnesses that will
  4       testify, you can't talk with counsel or anyone
  5       else in this proceeding.                 You're going to have to
  6       just be quiet and during breaks, and even when you
  7       finished your testimony, you're not to be in touch
  8       with any of the witnesses in this case, counsel
  9       for the Secretary of Labor, any of the three of
 10       them.      Okay?      Until you are informed that the
 11       proceeding has concluded, which may not even be
 12       this week.         All right.         You understand all that?
 13                       THE WITNESS:          Yes, sir, I really do.
 14                       JUDGE MORAN:          Okay.      Good.      Thanks.        I
 15       have a question just to fill a second here.                             When
 16       you talk about the garage door incident and
 17       eventually a forklift and a pallet involved for
 18       you to get up there and you felt it was unsafe.
 19       Is that right?
 20                       THE WITNESS:          Yes, sir.
 21                       JUDGE MORAN:          Okay.      I lost whether,
 22       were you helping some other business across the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 689    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 161


  1       street or was this part of the mine property?
  2                       THE WITNESS:          I do believe it's owned by
  3       American Tripoli.
  4                       JUDGE MORAN:          Okay.      But -- and so were
  5       you ever told you had no business being over there
  6       trying to help repair this door?
  7                       THE WITNESS:          No.     I never was.          No, I
  8       mean, I was -- John actually said, hey, why don't
  9       you-all go over there and take a gander.                           See what
 10       you guys can do.
 11                       JUDGE MORAN:          Okay.      But you're not sure
 12       if it was American Tripoli proper in the mill
 13       operation.         It was something across the road?
 14                       THE WITNESS:          Yes, it was.
 15                       JUDGE MORAN:          Not part of your normal
 16       duties?
 17                       THE WITNESS:          No, no.
 18                       JUDGE MORAN:          I just want to make sure I
 19       understood that.            Go ahead with a few more
 20       questions.         I want to use up as much time as
 21       possible here.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 690    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 162


  1                       BY MS. SMITH:
  2               Q       Sure, Mr. Wheeler, Mr. Tidaback
  3       testified in his deposition that you did not like
  4       Mr. Baumann and that you believed he was lazy.
  5       Did you ever express to anyone that you did not
  6       like Mr. Baumann and that you believe he was lazy?
  7               A       No, ma'am.
  8               Q       Mr. Tidaback testified that you said Mr.
  9       Baumann did not help you with maintenance.                            Did
 10       Mr. Baumann help you with maintenance?
 11               A       Yes, he did.          I just expressed an
 12       example of one time we did.
 13               Q       And how would you describe Mr.
 14       Tidaback's attitude towards safety?
 15               A       I don't think that there was an attitude
 16       for it nor against it.                I think the politician,
 17       you know, saying like it's our number one
 18       priority, but I would experience different.                             I
 19       mean, neither for nor against it is about as fair
 20       as I can be.
 21                       JUDGE MORAN:          Neutral.
 22                       THE WITNESS:          Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 691    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 163


  1                       BY MS. SMITH:
  2               Q       You previously testified about some
  3       jagged edges.           Were you referring to guarding?
  4               A       No, I'm -- everything that's in there is
  5       just jagged, you know.                The handrails, you got to
  6       be careful with them handrails, you slice your
  7       hand open on those.              Short bits and bobs around
  8       every corner.           Just in general.
  9               Q       On the equipment, were there guards
 10       along the points where mill associates could come
 11       in contact with moving parts?
 12               A       Are you asking if there's guards there
 13       or was there supposed to be?
 14               Q       Were there guards there while you worked
 15       there?
 16               A       Not all of them.
 17               Q       Were some guards missing?
 18               A       Yes, ma'am.
 19               Q       Did you ever have any safety meetings at
 20       American Tripoli?
 21               A       I don't believe we did.
 22               Q       What personal protective equipment were


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 692    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 164


  1       employees required to wear?
  2               A       I mean, it was kind of -- you know, your
  3       own preference, I guess, is kind of the vibe of
  4       it.     If you had gloves, wear them.                    If you didn't,
  5       well, then, you're out of luck, you know.                           I did
  6       see some face masks, but I don't know where they
  7       were located and I think the --
  8                       JUDGE MORAN:          Go ahead.         I have two more
  9       minutes.
 10                       BY MS. SMITH:
 11               Q       Were you concerned about your safety at
 12       the mill?
 13               A       Yeah.      Overall, I would say.
 14               Q       You mentioned dust masks, but you said
 15       you didn't know where they were available to --
 16               A       No.     There was a little break room.                     I
 17       think the mill guys kept them in the drawers in
 18       there.      I think they were going to use them.                         I
 19       don't know if they were or not.                     I know that there
 20       was talk about, you know, there wasn't enough or
 21       we were out one day or something or another, so I
 22       never had one on.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 693    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 165


  1               Q       Do you know whether Mr. Baumann ever
  2       raised safety concerns to John Spears?
  3               A       Do I know if he did?
  4               Q       Yes.
  5               A       I wouldn't know if he did or didn't.
  6               Q       You were not involved in any of those
  7       conversations?
  8               A       No.
  9               Q       Do you ever recall a time that John got
 10       frustrated, yelled or raised his voice?
 11               A       In general or to a person?
 12               Q       To John Spears.
 13               A       Yeah, multiple times.
 14                       MS. SMITH:         Okay.      And if you want we
 15       can talk about, we can start at that topic when
 16       you're back.
 17                       JUDGE MORAN:          That sounds good.             Okay.
 18       So this is for the benefit of the court reporter.
 19       Are you there?
 20                       COURT REPORTER:            Yes, I'm here.
 21                       JUDGE MORAN:          Okay, good.          We're going
 22       to take a break.            I don't think it will be maybe


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 694    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 166


  1       even less than ten minutes.                   Everyone is asked to
  2       stand by.        I'm going to be making that call as
  3       soon as we stop.            So anyone is free to use the
  4       restroom, whatever, just don't talk with anybody.
  5       Okay?       Marcel Marceau.           You know that person, the
  6       mime that doesn't talk.                 That's what you're all to
  7       be.     Okay.      Thank you.
  8                               (Recess)
  9                       JUDGE MORAN:          We're going to go back on
 10       the record.         We're back on the record.                   Go ahead,
 11       Attorney Smith.
 12                       MS. SMITH:         Thank you.
 13                       BY MS. SMITH:
 14               Q       Prior to our break, Mr. Wheeler, you
 15       testified that there were times that Rob got
 16       frustrated and yelled.                Is that correct?
 17               A       Yes, ma'am.
 18               Q       Is that better?
 19                       THE VIDEOGRAPHER:             Did you hear the
 20       question?
 21                       COURT REPORTER:            Yes, I believe I did.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 695    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 167


  1                       BY MS. SMITH:
  2               Q       And in these situations you observed,
  3       was Rob getting frustrated and raising his voice
  4       regarding any safety concerns at the mill?
  5               A       Yeah.
  6               Q       Can you describe one of those instances?
  7               A       It wasn't really my business, but I will
  8       hearsay that I did overhear some of it.                          You know,
  9       it was, you know, for the bag houses and all the
 10       dust was kind of the number one hot thing that was
 11       kind of argued about, you know.                     Is, you know, it
 12       was Rob's, you know, we can't run it with blowing
 13       dust like that, and John saying, well, you know,
 14       we can.       And that's kind of his deal.                    Well,
 15       ultimately, you know, someone has got to win, so
 16       sometimes it was, you know, we ran but Rob didn't
 17       like it and other times, you know, it was pretty
 18       headstrong and we didn't run.                    There was one point
 19       in time where, you know, it was blowing dust
 20       pretty good, and I was like, you know, we need to
 21       shut down here.            Then we have a chance to get it
 22       looked at here.            Maybe there's something I can do,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 696    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 168


  1       you know, so.
  2               Q       So some of the times that you heard of
  3       Rob get frustrated, yell or raise his voice had to
  4       do with dust in the mill?
  5               A       Yeah.      So yeah, there was that one time
  6       that I heard it, yeah.
  7               Q       Do you recall any inspections by the
  8       Mine Safety and Health Administration while you
  9       were employed at American Tripoli?
 10               A       I missed the first part of that
 11       question.        I'm sorry.
 12               Q       Do you recall any inspections by the
 13       Mine Safety and Health Administration, also MSHA,
 14       while you were employed at American Tripoli?
 15               A       Yeah.      I was, the first one where I got
 16       withdrew from the site, and then there was another
 17       one after I returned to the site, and then there
 18       was a third one that they brought them, the
 19       electrician MSHA inspector, so a total of three, I
 20       reckon.
 21               Q       And in any of those inspections did you
 22       walk around with the MSHA inspector?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 697    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 169


  1               A       So the first one I did not.                   I withdrew
  2       from the site.           The second one I did walk around
  3       with the MSHA inspector and also with the
  4       electrician guy.
  5               Q       And in that third inspection where you
  6       walked around with the electrician guy, was Mr.
  7       Baumann also walking around during that
  8       inspection?
  9               A       I don't know if he was -- well, I think
 10       he was with us on the latter half of that
 11       inspection.         The first half I don't believe so.
 12       The second inspection with Mr. Baumann was there
 13       the whole time on that one.                   The electrician one,
 14       I think he was there on the latter half of the
 15       inspection, but I think that's right.
 16               Q       And on that third inspection with the
 17       electrical person, was Mr. John Spears walking
 18       around during that inspection?
 19               A       Uh-huh.
 20                       JUDGE MORAN:          You have to answer yes or
 21       no.
 22                       THE WITNESS:          Yes, sir, or yes, ma'am.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 698    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 170


  1                       JUDGE MORAN:          I have been called worse.
  2                       BY MS. SMITH:
  3               Q       After the inspection or before any
  4       inspection were you ever given any instruction by
  5       Mr. Spears about what to do during an MSHA
  6       inspection?
  7               A       Steer clear is what he said to me.
  8               Q       And how did you receive that message?
  9               A       Verbally at first.
 10                       JUDGE MORAN:          How did you receive it,
 11       meaning how did you take that?
 12                       BY MS. SMITH:
 13               Q       Well, how did you receive the message
 14       steer clear?          Was it in person?
 15               A       Yeah, verbal.
 16                       JUDGE MORAN:          I'm sorry I talked over.
 17       What was your answer?
 18                       THE WITNESS:          Verbally is what I said.
 19                       BY MS. SMITH:
 20               Q       And that came from Mr. Spears?
 21               A       Yeah.      Yes.
 22               Q       Did you ever have a phone call involving


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 699    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 171


  1       Mr. Tidaback about what to do during an MSHA
  2       inspection?
  3               A       Yes, I did.
  4               Q       And tell us about that.
  5               A       Kind of, you know, over generic, you
  6       know, play ball.            Do what they say.              Don't get
  7       involved if you don't have to.                     Things like that.
  8                       JUDGE MORAN:          Let me just ask one
  9       question because I -- maybe because I trampled
 10       over yours.         How did you take the instruction?
 11       When someone says to you steer clear, what does
 12       that mean to you?
 13                       THE WITNESS:          Don't talk to them.               Don't
 14       interact with them.              Don't engage with them in any
 15       way, shape or form.
 16                       JUDGE MORAN:          Okay.
 17                       BY MS. SMITH:
 18               Q       Were you ever given that message more
 19       than one time while you worked at American
 20       Tripoli?
 21               A       Yes, I was.
 22                       JUDGE MORAN:          By whom?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 700    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 172


  1                       THE WITNESS:          John Spears.
  2                       BY MS. SMITH:
  3               Q       After MSHA inspectors pointed out
  4       problems, were you involved in correcting those
  5       problems, sometimes called terminating the
  6       citation?
  7               A       Yes, I was.
  8               Q       Did you ever mock up a fix to get a
  9       citation terminated?
 10                       JUDGE MORAN:          Did you ever what?
 11                       BY MS. SMITH:
 12               Q       Mock up or kind of display that the
 13       citation had been fixed or terminated when maybe
 14       it really hadn't?
 15               A       Oh, yeah.        I get your meaning, but yes,
 16       for the most part.
 17                       JUDGE MORAN:          Well, I'm confused.
 18       You're saying that you didn't really fix something
 19       but told them that it was fixed?
 20                       THE WITNESS:          No, sir, that's not the
 21       term here that was being used.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 701    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 173


  1                       BY MS. SMITH:
  2               Q       So explain what you mean.
  3               A       So it was -- it was more or less along
  4       the lines that, so we would do something that was
  5       -- that was worthy of taking a picture, but it
  6       served no real purpose of doing anything.
  7               Q       So to terminate an MSHA citation you
  8       would take a photograph of the fix?
  9               A       I did not.
 10               Q       Okay.      Who took these photographs?
 11               A       John did.        John Spears did.
 12               Q       And then when you -- you know, I used
 13       the work mock up.             Is there another word that
 14       would make sense?
 15               A       That -- jimmy rig, but.
 16               Q       So are you -- were you involved in any
 17       jimmy rigging of a -- correcting an MSHA citation
 18       in order to show that it was terminated?
 19               A       Yes.
 20               Q       And who told you to jimmy rig this kind
 21       of solution?
 22               A       John did.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 702    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 174


  1               Q       Okay.
  2                       JUDGE MORAN:          John?
  3                       THE WITNESS:          Spears.
  4                       BY MS. SMITH:
  5               Q       Did Mr. Tidaback ever express to you his
  6       opinion of MSHA?
  7               A       Yes.
  8               Q       What was it?
  9               A       Overall, you know, dissatisfied.                      I
 10       mean, kind of the general consensus of any
 11       government entity, you know.                    Kind of, you know,
 12       they're just kind of just -- you know, I think
 13       negativity is too strong of a word, but distaste.
 14       There we go.          I like that word.
 15               Q       I want to have you turn to an exhibit.
 16                       MS. SMITH:         And if I may, Your Honor,
 17       may I approach to help the witness find the
 18       exhibit?
 19                       JUDGE MORAN:          Yes, you may.
 20                       MS. SMITH:         Thank you.         We are going to
 21       turn to Exhibit P9.
 22                       JUDGE MORAN:          Everyone on P9?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 703    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 175


  1                       BY MS. SMITH:
  2               Q       And P9 has previously admitted.                     And Mr.
  3       Spears, do you recognize P9?
  4               A       I'm sorry?
  5               Q       Sorry.      Mr. Wheeler, do you recognize
  6       what's being depicted here in P9?
  7               A       It looks like a Teams chat.
  8               Q       And you previously testified, did you
  9       use the Teams chat feature in your job?
 10               A       Yes, I did.
 11               Q       Okay.      And if we look here, do you see a
 12       message from John Spears to you about not talking
 13       to MSHA?        It's dated February 14th of 2023.
 14               A       The very top one, yes, I see it there.
 15               Q       And do you recall receiving this
 16       message?
 17               A       I do.
 18               Q       And what did you take this message to
 19       mean?
 20               A       As the exact same way as I got the
 21       verbal message of steering clear.                       You know, don't
 22       interact with them.              Don't -- just stay away.                  Let


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 704    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 176


  1       me handle it.
  2               Q       And on February 14th of 2023 was MSHA
  3       on-site performing an inspection?
  4               A       Yes.
  5               Q       And then the response to this message,
  6       does it list a name?               It says unknown user.                Do
  7       you recognize this response?
  8               A       Yeah, that's what I said.
  9               Q       The unknown user is you?
 10               A       Yes, it is.
 11               Q       Gage Wheeler.
 12               A       Yeah, because that's the -- that's odd.
 13       It says unknown user.               That's what I said, though.
 14               Q       And who else -- you can see at the top
 15       it says part of that Teams chat group.                          Who else
 16       is in this Teams chat group?
 17               A       It looks like -- looks like just John
 18       Spears and me.           Hang on.        Hang on.        So the best
 19       way to approach this.               This is Russell said in
 20       response.
 21               Q       The blue message?
 22               A       The blue ones.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 705    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 177


  1               Q       You recognize the blue messages that are
  2       kind of on the right-hand side justified as the
  3       messages from Mr. Russell Tidaback?
  4               A       Yes.
  5                       JUDGE MORAN:          And how do you know that?
  6                       BY MS. SMITH:
  7               Q       And yeah, how do you recognize these
  8       messages as from Mr. Tidaback?
  9               A       I remember the conversation in my mind,
 10       because so I'm going to read it right here.                             Hang
 11       on.     I remember the conversation.                    I don't know
 12       how else to best explain that.
 13               Q       You remember those messages, and so when
 14       you remember participating in Teams chat and
 15       messages would come from Mr. Tidaback, was there
 16       some indication that would tell you who they were
 17       from?
 18               A       Yeah.      Just the JS for John Spears, mine
 19       was a GW and then his was actually a picture of
 20       him, you know, and it will say, you know, RT.
 21                       JUDGE MORAN:          So when I'm looking at P9,
 22       you saw this on your phone or something?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 706    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 178


  1                       THE WITNESS:          Yes, sir.
  2                       JUDGE MORAN:          And it looked a little
  3       different from this because it would be more
  4       identifying information?
  5                       THE WITNESS:          Yes, sir.
  6                       JUDGE MORAN:          Okay.      But do you recall
  7       apart from that, this blue -- blue encased text,
  8       you say -- I didn't need you to affirm or
  9       reaffirm, that that blue text was from Mr.
 10       Tidaback?
 11                       THE WITNESS:          Yes, it was.
 12                       JUDGE MORAN:          Okay.
 13                       BY MS. SMITH:
 14               Q       And this first message from you that's
 15       about in the middle of the page, where it says
 16       unknown user, 2-14 at 11:11 a.m., it states "There
 17       was no volunteering information."                       Do you see
 18       that?
 19               A       I do see that.
 20               Q       Why did you say no volunteering
 21       information?
 22               A       Because they told me don't be


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 707    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 179


  1       volunteering any information to them.                         Don't be
  2       telling them stuff.
  3               Q       Why was it important to communicate to
  4       this group that you weren't volunteering
  5       information?
  6               A       Well, because I feared it.                  If not, I
  7       would get canned.
  8               Q       You were afraid that you would be
  9       terminated for volunteering information to MSHA?
 10               A       I would assume.            That's kind of the word
 11       of the world, isn't it?
 12               Q       Well, I mean, was it at American
 13       Tripoli?
 14               A       From what I've heard, that's kind of the
 15       gist of it.         And also, I will say this, I mean, I
 16       really was not, you know, voluntarily giving any
 17       information, anyway.               I was simply asking
 18       questions so I could do my job.
 19               Q       Did you ever receive any kind of
 20       clarifying information after this exchange about
 21       what you were permitted to do during an MSHA
 22       inspection?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 708    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 180


  1               A       I remember -- I don't see it here.                       Let
  2       me --
  3                       JUDGE MORAN:          It doesn't have to be on
  4       this particular page.
  5               A       I remember a transaction that Ms. Jordan
  6       sent me after I was told, you know, there was,
  7       don't be giving that information.                       Actually, it
  8       said don't talk to him is what it said, and then I
  9       called -- crawdad is what I called it.                          She got on
 10       there, she's like, of course, summed it up.
 11       Obviously we don't need to talk to them but don't
 12       be giving out information.                  That's kind of the
 13       gist of it.
 14               Q       And what did you take that message from
 15       Ms. Jordan Tidaback?
 16               A       That was a crawdad move.                 That was a
 17       collateral damage control I like to call that one.
 18               Q       Can you just explain what a crawdad move
 19       is?
 20               A       When you say something but then you back
 21       pedal a little bit like I didn't mean that in the
 22       sense, you know.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 709    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 181


  1               Q       Do you know during your time at American
  2       Tripoli if everyone -- anyone had ever called MSHA
  3       to make a complaint?
  4               A       Yes.
  5               Q       Do you know if Mr. Tidaback ever figured
  6       out who made that complaint?
  7               A       I don't know if he did or didn't.                       I
  8       can't speak to that necessarily.
  9                       JUDGE MORAN:          Okay.      Be careful here
 10       now.     Okay.      We don't want any identifying
 11       information of someone who might have made a call.
 12       Okay?
 13                       BY MS. SMITH:
 14               Q       As a maintenance person, did you ever
 15       receive the necessary support to comply with the
 16       MSHA standards?
 17               A       Necessary support.
 18               Q       The tools, equipment, training, things
 19       of that such.
 20               A       So tool, the tool aspect of it, were,
 21       you know, they were subpar.                   They were -- not
 22       really.       I'll just say not really just in general.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 710    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 182


  1       We were needing material to make guards.                           We
  2       didn't go buy material so they had me cutting
  3       apart some older guards to make some new ones.
  4       Even still that wasn't enough to completely
  5       satisfy the citation we were getting.
  6               Q       And when you say they wouldn't buy the
  7       material you needed to make the guards, who is
  8       that?
  9               A       So they made a decision, you know, John
 10       Spears and Russ.
 11               Q       When MSHA was not on-site, was it a
 12       priority at American Tripoli to comply with the
 13       MSHA standards?
 14               A       What do you mean by that?
 15               Q       When MSHA was not there, were there
 16       active conversations or steps in your role to
 17       ensure that the mill was complying with the MSHA
 18       standards?
 19               A       So in my experience there, if MSHA was
 20       not on-site we would -- we would try to run.                             That
 21       was kind of the thing of it.                    Now, whether --
 22       whether or not someone knew if that was going on


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 711    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 183


  1       or not, that was the game plan for the day was to
  2       run even though we weren't supposed to.
  3                       JUDGE MORAN:          And by run, you mean
  4       produce?
  5                       THE WITNESS:          Yes, sir.
  6                       BY MS. SMITH:
  7               Q       When you say not supposed to run, what
  8       do you mean by that?
  9               A       We were told not to run, either by the
 10       police department or the Department of Natural
 11       Resources or MSHA.              You know, we were told not to
 12       run because, you know, the dust issue or what have
 13       you.
 14               Q       And you said that there were times that
 15       you were running the mill anyway?
 16               A       Yeah, there was.
 17               Q       And who decided to run the mill anyway?
 18               A       John did.        John, Mr. Spears did.
 19               Q       In your work with Mr. Baumann, did Mr.
 20       Baumann try to make the mill safer?
 21               A       I think he wanted to.               He had no
 22       capacity to do so, because he didn't have, you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 712    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 184


  1       know, any resources given to him, but he did voice
  2       his opinion about trying to make it a little
  3       better, you know, and I remember a conversation I
  4       had with, you know, with him one time.                          He was
  5       like, can I use a quote?
  6                       JUDGE MORAN:          If you can quote him
  7       accurately.
  8                       THE WITNESS:          I can.       This shit is not
  9       worth dying for.
 10                       JUDGE MORAN:          Well, we've heard words
 11       like already like this in this proceeding.                            We're
 12       all calm with that.
 13                       THE WITNESS:          Okay.      Well, I didn't
 14       know.
 15                       BY MS. SMITH:
 16               Q       That's a quote from Mr. Baumann?
 17               A       Yes, ma'am.
 18               Q       Said to you?
 19               A       Yes, ma'am.
 20               Q       Did you have any concerns with Mr.
 21       Baumann's job performance?
 22               A       I didn't.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 713    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 185


  1               Q       You testified earlier that the police
  2       department, are you -- the Seneca Police
  3       Department?
  4               A       Yes, ma'am.
  5               Q       They came to the mill and told the mill
  6       not to run?
  7               A       Can I use another quote?
  8                       JUDGE MORAN:          Sure.
  9                       THE WITNESS:          They said if you-all
 10       continue to run I'm taking every one of you son's
 11       of bitches to jail, end quote.
 12                       BY MS. SMITH:
 13               Q       And were you there when they said that?
 14               A       I was.
 15               Q       And what was your response to that?
 16               A       Kind of laughed at them.
 17               Q       And in these occasions before Mr. Spears
 18       instructed you to run anyway, what steps did you
 19       take?       Were there any steps that you guys took to
 20       run the mill without -- even though the police had
 21       asked you not to?
 22               A       Not that the particular time.                    They


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 714    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 186


  1       ain't got no say over that.
  2               Q       You mentioned earlier that you had
  3       interacted with several MSHA inspectors.                           Is that
  4       correct?
  5               A       Yes.
  6               Q       Do you recall their names?
  7               A       The electrician feller, I do not know
  8       his name but one was Randy Hill.
  9                       JUDGE MORAN:          Randy Hill?
 10                       THE WITNESS:          Hill, H-i-l-l, I do
 11       believe is how you spell it.
 12                       JUDGE MORAN:          Okay.
 13                       THE WITNESS:          And then the feller, the
 14       inspector that told me, I don't remember his name.
 15                       JUDGE MORAN:          So you only remember one
 16       of the three names?
 17                       THE WITNESS:          Yes, sir.
 18                       JUDGE MORAN:          Okay.      But there were two
 19       other MSHA inspectors that you had interaction
 20       with?
 21                       THE WITNESS:          Yeah.      Total of three,
 22       yes, sir.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 715    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 187


  1                       BY MS. SMITH:
  2               Q       Mr. Hill, the electrical person and then
  3       the person that pulled you from being untrained.
  4       Correct?
  5               A       Yes.
  6               Q       And did those inspectors act
  7       professionally?
  8               A       Yeah.      So the one that pulled me, I
  9       didn't have much interaction with him but he
 10       seemed to be all right.                 He seemed to really care
 11       about us.        The second, middle one, not the
 12       electrician one, he kind of seemed really by the
 13       book.       He wasn't fun to talk to.                 He didn't really
 14       care to carry on a conversation.                      He seemed to be
 15       all about business, and the electrician one, he
 16       seemed pretty pleasant.
 17               Q       Did an MSHA inspector ever threaten to
 18       have the marshals come?
 19               A       If that threat was made it wasn't made
 20       to me.
 21               Q       Were you ever afraid of any MSHA
 22       inspectors?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 716    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 188


  1               A       Like physically?
  2               Q       In any way.         Did you fear the MSHA
  3       inspectors?
  4               A       No.
  5               Q       Do you know if any of the mill
  6       associates expressed to you that they were afraid
  7       of the MSHA inspectors?
  8               A       I do believe, I want to say his name,
  9       give me just a second.                I think Jimmie.            I don't
 10       know his last name.              Jimmie might have said
 11       something to me about it, and then trying to go
 12       through the list.             So there's Jimmie, there's R.J.
 13       and then there's -- I can't remember his name.
 14                       JUDGE MORAN:          But your testimony right
 15       now is about anyone who might have had concern
 16       about MSHA inspectors.                That's what you're
 17       answering.
 18                       THE WITNESS:          There's the two and I'm
 19       trying to remember the other name.
 20                       JUDGE MORAN:          That's okay.          If you can't
 21       remember, you can't remember.                    A couple people at
 22       the mine, employees expressed to you that they had


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 717    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 189


  1       concern about MSHA inspectors?
  2                       THE WITNESS:          Yes.
  3                       BY MS. SMITH:
  4               Q       Mr. Tidaback testified in his deposition
  5       that you got very angry with MSHA with how the
  6       inspectors were acting toward you and John.                             Did
  7       you ever get angry about the MSHA inspectors?
  8               A       I never got angry with me, you know,
  9       while, no.
 10                       MS. SMITH:         And then I would like to ask
 11       the Court to look at Exhibit P39, which are
 12       discovery responses in this case.                       It's in exhibit
 13       notebook 2.
 14                       JUDGE MORAN:          With uncharacteristic
 15       speed I'm at P39.             You tell us, Mr. Wheeler, when
 16       you're there.
 17                       MS. SMITH:         And I will just ask the
 18       court, we're going to move to admit this exhibit
 19       as discovery in this case and an admissions by a
 20       party opponent.
 21                       JUDGE MORAN:          Any objection?            Okay.
 22       Thank you.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 718    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 190


  1                       MR. TIDABACK:           I don't object, Your
  2       Honor.
  3                       JUDGE MORAN:          P39 is now admitted.
  4                       MS. SMITH:         Thank you.
  5                               (Complainant's Exhibit P-39 was
  6                               marked for identification and
  7                               received in evidence.)
  8                       BY MS. SMITH:
  9               Q       And Mr. Wheeler, Mr. Tidaback responded
 10       to discovery in this matter that you had a history
 11       of being confrontational during MSHA inspections.
 12       Were you ever confrontational during MSHA
 13       inspections?
 14               A       I have a history of them?
 15               Q       You have a history of what?
 16               A       That's what I'm trying to ask.                     I have a
 17       history of them?
 18               Q       Yes.     That is the testimony I'm asking
 19       you about.         Have you ever been confrontational
 20       during an MSHA inspection?
 21               A       No, I have not.
 22                       JUDGE MORAN:          Never been controversial


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 719    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 191


  1       or contentious with MSHA inspectors.                        That's your
  2       answer?
  3                       THE WITNESS:          No, sir, I'm not.
  4                       JUDGE MORAN:          Okay.
  5                       THE WITNESS:          I didn't know what the
  6       term history.
  7                       JUDGE MORAN:          It means ever.
  8                       THE WITNESS:          I have only him for a few
  9       months.
 10                       JUDGE MORAN:          Well, I don't know, but if
 11       he says a history, that means from day one to the
 12       last day you worked.               That's called a history.                 We
 13       have a history of this hearing.                     It's two days so
 14       far.     Okay.
 15                       THE WITNESS:          No, sir.        No, I have not
 16       had a history or any of the like.
 17                       JUDGE MORAN:          No confrontation?
 18                       THE WITNESS:          No, sir.
 19                       BY MS. SMITH:
 20               Q       And Mr. Wheeler, you --
 21                       JUDGE MORAN:          Excuse me, you have an
 22       objection, Mr. Tidaback?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 720    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 192


  1                       MR. TIDABACK:           I'm trying to figure
  2       where in the exhibit does it states that Mr. Gage
  3       or that I say that.
  4                       MS. SMITH:         It's in Interrogatory No. 2.
  5       I didn't ask the witness to read it.                        It's not his
  6       statement.         It came from the company, but it is in
  7       the Interrogatory 2.
  8                       MR. TIDABACK:           She stated that I stated
  9       he stated or he has.               That's what I am a looking
 10       for where it states that.
 11                       MS. SMITH:         Interrogatory No. 2
 12       response.
 13                       MR. TIDABACK:           Thank you.
 14                       BY MS. SMITH:
 15               Q       Mr. Wheeler, you quit your job at
 16       American Tripoli.             Is that correct?
 17               A       I did.
 18               Q       Can you describe the circumstances that
 19       led to your resignation?
 20               A       Yeah.      I kind of got overall just fed up
 21       with it, the constant, you know, barrage is a term
 22       I used from the MSHA shutdowns and stuff like


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 721    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 193


  1       that.       I got overall tired of it, and it kind of
  2       seemed like a pattern is, I guess, you know what
  3       I'm saying, you know, and I didn't want to ride it
  4       out, so.
  5                       MS. SMITH:         Thank you.         We don't have
  6       any other questions for this witness.
  7                       JUDGE MORAN:          Okay.      So we're going to
  8       -- it's 12:24.           Let's see if we can soldier on and
  9       finish this witness.               All right.         So ahead.
 10       Everyone health wise okay to continue?                          I don't
 11       hear any objection.              You okay, Mr. Holt?               How's my
 12       court reporter doing?
 13                       COURT REPORTER:            I'm fine.
 14                       JUDGE MORAN:          Okay.
 15                       THE VIDEOGRAPHER:             Yes, she's fine.
 16                       JUDGE MORAN:          She did respond.             That's
 17       what you're saying.              Okay.      Go ahead, Mr.
 18       Tidaback, with your questions of Mr. Wheeler.
 19                       CROSS-EXAMINATION
 20                       BY MR. TIDABACK:
 21               Q       How's it going, Gage?               How are you
 22       doing?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 722    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 194


  1               A       Are we done with this?
  2                       JUDGE MORAN:          You can open or close it.
  3       It doesn't matter.              I don't know.           Just be ready.
  4                       THE WITNESS:          Okay.
  5                       BY MR. TIDABACK:
  6               Q       Given the circumstances of your
  7       departure, your quitting, do you believe that you
  8       can provide an unbiased account of the conditions
  9       of practices at the mine, including Mr. Baumann's
 10       employment and job performance, a fair one?
 11               A       Can you dumb it down for me.
 12               Q       Yes, sir.        So in your short time that
 13       you worked there, less than 60 days.                        Correct?
 14               A       I think it was right around, yeah.
 15               Q       Do you believe that you have enough
 16       experience and unbiased account, unbiased account
 17       of the conditions and practices, including Mr.
 18       Baumann's performance?
 19               A       I would like to correct myself.                     So
 20       around December to February.                    That's like three
 21       months.       That's not 60 days.
 22                       JUDGE MORAN:          Okay.      But his question is


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 723    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 195


  1       very basic.         What he is asking, and you can tell
  2       me if I have this wrong, Mr. Tidaback, he's just
  3       saying given that you were there a relatively
  4       short period of time and that you departed, you
  5       quit, you weren't fired.                 Right?
  6                       THE WITNESS:          Yes.
  7                       JUDGE MORAN:          You quit.
  8                       THE WITNESS:          Yes.
  9                       JUDGE MORAN:          He's asking if short time
 10       and that you quit, can we consider your testimony
 11       to still be fair and honest and not biased against
 12       American Tripoli?
 13                       THE WITNESS:          Yeah, absolutely.             I have
 14       been nothing but I think fair since I was there.
 15                       JUDGE MORAN:          You asked his opinion
 16       about fairness and he says yes, I believe I can be
 17       and have been fair in my testimony.                        Is that
 18       right?
 19                       THE WITNESS:          Yes, sir.
 20                       JUDGE MORAN:          You don't have an axe to
 21       grind or get even?
 22                       THE WITNESS:          No, I don't.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 724    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 196


  1                       JUDGE MORAN:          Okay.
  2                       THE WITNESS:          I quit.       He didn't do
  3       nothing to me.           I quit, you know.
  4                       JUDGE MORAN:          Okay.
  5                       BY MR. TIDABACK:
  6               Q       So during that time you were still
  7       learning your job, the whole process, the mill,
  8       because it's not something easy.                      Correct?
  9               A       No, sir.
 10               Q       In that short period of time.                    So in
 11       that time, evaluating somebody else's performance,
 12       not as their supervisor, would be very difficult.
 13       Right?
 14               A       That's correct.
 15               Q       Okay.      So, again, as that limited time
 16       that you were at the mill, in certain and the
 17       specific circumstances of your employment
 18       departure, learning the mill, which is very
 19       difficult, is it -- how are you able to evaluate
 20       the overall conditions and practices of the mill
 21       if you were still learning your job?
 22               A       Because I got eyes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 725    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 197


  1               Q       Right.      I understand that.              But as far
  2       as what you're putting out in the court today, you
  3       were still learning it.                 Correct?
  4               A       Come on, brother.
  5               Q       Hey, I'm with you.
  6                       JUDGE MORAN:          Let's keep it civil now,
  7       folks.
  8                       BY MR. TIDABACK:
  9               Q       Okay.      So when you first started, you
 10       know, your initial employment period, the company,
 11       we advanced you a thousand dollars?
 12               A       Absolutely you did.
 13                       MS. SMITH:         Judge, we're going to object
 14       to this line of questioning.                    It's not relevant to
 15       the issues that we have here today in front of us,
 16       regarding discrimination.
 17                       JUDGE MORAN:          I tend to agree.             What is
 18       the relevance of your -- of even mentioning that,
 19       and he agreed before the objection that you
 20       advanced him a thousand dollars.                      Why should I
 21       care about that?
 22                       MR. TIDABACK:           Mr. Gage was important to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 726    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 198


  1       us being the maintenance person --
  2                       JUDGE MORAN:          Yes.
  3                       MR. TIDABACK:           -- in that position, so
  4       we wanted to ensure that we had that maintenance
  5       person.
  6                       JUDGE MORAN:          Okay.
  7                       MR. TIDABACK:           Very critical, very
  8       difficult to get as Mr. Gage pointed out.                           We
  9       needed his experience.                He was important to have
 10       to us just as Mr. Baumann --
 11                       JUDGE MORAN:          How does that help me
 12       decide this case, that you needed him and you gave
 13       him a thousand dollars?
 14                       MR. TIDABACK:           We went out of our way
 15       that we wouldn't have done for anybody else to
 16       make sure that Mr. Gage was taken care of.                            So we
 17       were trying to protect Mr. Gage.                      We wanted him,
 18       we needed him.           We went out of our way.
 19                       JUDGE MORAN:          I'm not going to allow
 20       that question.
 21                       MR. TIDABACK:           Okay.      Yes, Your Honor.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 727    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 199


  1                       BY MS. SMITH:
  2               Q       So when you decided to leave the
  3       company, you didn't give a formal notice or
  4       communicate that your intentions directly until
  5       after you sought -- or after you found out that
  6       you couldn't communicate in Teams.                       Correct?
  7               A       No.     I had a correspondence and I think
  8       I texted or messaged, you know, John or I can't
  9       remember how I expressed the response, but yes, I
 10       did let somebody know.
 11               Q       Okay.      Looking back -- okay.                So talking
 12       about your interactions with MSHA.
 13               A       Okay.
 14               Q       Do you remember our conversations about
 15       the electrical lights in the maintenance room?                              Do
 16       you remember that?
 17               A       Yeah.      They didn't have the guards on
 18       them, the light bulbs.
 19               Q       The bulbs, then.            Correct?
 20               A       Well, some of them didn't have bulbs.
 21       Are you talking about the long ones?
 22               Q       Yes.     The one long.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 728    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 200


  1               A       Or the actual screw in bulb ones?
  2               Q       The ones you guys had to all replace.
  3               A       Yeah.
  4               Q       Remember that conversation?
  5               A       I do.
  6               Q       Remember the conversation where you were
  7       talking about the inspector going out of his way,
  8       being ridiculous, there's no way anybody can get
  9       hurt from that light fixture?
 10               A       The ones that --
 11                       JUDGE MORAN:          Let's just back it up.                Do
 12       you remember having a conversation where you
 13       asserted that the inspector said there was no
 14       possible hazard?
 15                       MR. TIDABACK:           That he communicated to
 16       me that there was no way anybody could get --
 17                       JUDGE MORAN:          All right.         Did you say
 18       that to Mr. Tidaback, that there was no way anyone
 19       could get hurt by that light fixture issue?
 20                       THE WITNESS:          Yeah, I did say because
 21       they weren't hooked up, yeah.
 22                       JUDGE MORAN:          They weren't.           The


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 729    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 201


  1       electricity was not running through them?
  2                       THE WITNESS:          No.
  3                       JUDGE MORAN:          Is that why you said
  4       there's no way anyone can get hurt?
  5                       THE WITNESS:          Yes.
  6                       JUDGE MORAN:          So he said yes.            He had
  7       that conversation with you.
  8                       BY MS. SMITH:
  9               Q       So when you were talking about that day
 10       -- back to the MSHA.               When the MSHA inspector was
 11       -- I'm trying to remember our conversation -- that
 12       was issuing that citation, you communicated with
 13       me, is it correct that you communicated with me
 14       that he was overboard and being, I don't remember
 15       the terminology used, but?
 16               A       Anal retentive is the word I used.
 17               Q       Thanks.       You remember the conversation?
 18               A       Yes, I do.
 19               Q       So in that you were frustrated and angry
 20       at that inspector for going overboard, I'm trying
 21       to remember your terms, overboard for issuing that
 22       citation?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 730    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 202


  1               A       I never said anything to the inspector.
  2               Q       No, no, to me.
  3                       JUDGE MORAN:          We have an objection, but.
  4                       MS. SMITH:         I'm objecting it was
  5       misstating the testimony.                  He testified that he
  6       thought the inspector was anal retentive, and then
  7       Mr. Tidaback characterized the testimony as
  8       frustrated or angry.               And so the word he testified
  9       that he found the MSHA inspector anal retentive.
 10                       JUDGE MORAN:          Okay.      Let me see if I can
 11       clear this up.           My understanding, Mr. Wheeler, is
 12       that MSHA issued a citation connected with the
 13       light issue, and your disagreement with him was,
 14       let me see if I have this right.                      You can tell me
 15       if I got it wrong.              Tell me if I'm wrong.               It
 16       wasn't that there wasn't a violation, but you had
 17       an issue about, because it wasn't hooked up, that
 18       you felt no one could be hurt.                     Is that right?
 19                       THE WITNESS:          Yes, sir.
 20                       JUDGE MORAN:          All right.         Go ahead, Mr.
 21       Tidaback.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 731    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 203


  1                       BY MS. SMITH:
  2               Q       Okay.      So that morning that the --
  3       Andrew Lawson from the quarry pit, you remember
  4       the dump truck driver.                Okay?
  5               A       Okay.
  6               Q       Okay.      And that morning, what was going
  7       on with Andrew and John?
  8               A       The only thing I know that happened was
  9       the other feller, he got arrested.
 10               Q       Correct.        So this is referencing to P9
 11       in the book where John's -- if we go to P9.
 12                       JUDGE MORAN:          You're going to have to
 13       explain to me first.               What is the purpose --
 14       remember, last I checked I'm being a little
 15       humorous here, this is about Mr. Baumann.
 16                       MR. TIDABACK:           That is correct.
 17                       JUDGE MORAN:          So I need you to explain,
 18       maybe a proffer to me about the purpose of asking
 19       this witness about some other employee who was
 20       arrested on a given date.                  What's the purpose of
 21       this line of questioning?
 22                       MR. TIDABACK:           P9 references to the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 732    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 204


  1       message where John sent Mr. Gage the message about
  2       don't speak to -- don't -- I don't remember the
  3       exact terminology that it was in the text message,
  4       but don't speak with MSHA.                  That relates to what
  5       was going on with John.
  6                       JUDGE MORAN:          Now you're testifying.                So
  7       you're saying that the context of the remark from
  8       Mr. Spears to Mr. Wheeler --
  9                       MR. TIDABACK:           Yes.
 10                       JUDGE MORAN:          -- occurred in the context
 11       of a person being arrested at your property?
 12                       MR. TIDABACK:           That is correct.
 13                       JUDGE MORAN:          And did you understand --
 14       do you remember, first of all, a remark from --
 15       from Mr. Spears about not talking with MSHA, if
 16       that was limited to the idea of this arrest that
 17       was going on?           Is that how you took that message?
 18                       THE WITNESS:          No, sir.
 19                       JUDGE MORAN:          And why did you not take
 20       it as so limited?
 21                       THE WITNESS:          I think he said it was
 22       happening on the same day.                  I'd have to get -- I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 733    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 205


  1       don't think it was happening on the same day, and
  2       I know for a fact those lights weren't happening
  3       on the same day that old boy got arrested.                            And so
  4       I know that the first MSHA inspector, I don't
  5       think it was happening on the same day.
  6                       JUDGE MORAN:          Okay.      Let me just make
  7       sure I understand your testimony in this regard as
  8       well.      If we assume for the sake of argument that
  9       the remark by Mr. Spears was, this is for the sake
 10       of argument, was limited to this arrest situation.
 11       Am I correct in my recollection that there were
 12       other instances from Mr. Spears communicating to
 13       you in one fashion or another to keep your head
 14       low and not say don't volunteer information to
 15       MSHA inspectors.            Is that correct?
 16                       THE WITNESS:          That's what was said.
 17                       JUDGE MORAN:          Okay.      So it wasn't just
 18       this one instance, however it occurred, in the
 19       context of someone being arrested.                       There were
 20       other instances?
 21                       THE WITNESS:          Sure.
 22                       JUDGE MORAN:          Sure.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 734    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 206


  1                       THE WITNESS:          I don't know, Your Honor.
  2                       JUDGE MORAN:          What?
  3                       THE WITNESS:          What's the question?
  4                       JUDGE MORAN:          Okay.      When Mr. Spears, my
  5       understanding is on other occasion he asked you to
  6       not volunteer information to MSHA inspectors.                              Is
  7       that true?
  8                       THE WITNESS:          He did say that.
  9                       JUDGE MORAN:          Okay.      Go ahead.         Do you
 10       have any other questions about this, because I
 11       think we're really afield with this.                        If you try
 12       to say the context is limited to the arrest, if
 13       you want to point me to the -- within your tying
 14       up the arrest, this is just -- we're really going
 15       down a cul-de-sac on this.
 16                       MR. TIDABACK:           Without testifying, Your
 17       Honor --
 18                       JUDGE MORAN:          We'll wait until some
 19       testimony.         Have Mr. Spears explain that actually
 20       he kind of liked MSHA, and I'm being humorous
 21       here, but I kind of liked MSHA and his remark was
 22       only meant in the context of this arrest issue.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 735    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 207


  1       He can testify to that.                 I'll listen to that.
  2                       MR. TIDABACK:           Great, Your Honor.
  3                       JUDGE MORAN:          Okay.      Next question, if
  4       any.
  5                       BY MS. SMITH:
  6               Q       If MSHA asked you something you would
  7       answer it.         Right?
  8               A       Yes.
  9               Q       So you walked around with MSHA
 10       inspectors.         Correct?
 11               A       I did.
 12               Q       Numerous times or the three times that
 13       you said, I guess?
 14               A       Twice.
 15               Q       You are correct.            And you weren't
 16       terminated for any of those anytime?
 17               A       Terminated saying you fired me?
 18               Q       Terminated for participating in those
 19       inspections.
 20               A       No, I wasn't fired.
 21               Q       Okay.      So okay.        When you talk about the
 22       jagged equipment, were those recorded -- did you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 736    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 208


  1       record those in the workplace maintenance blog,
  2       workplace exam?
  3               A       I did not.
  4               Q       Okay.      When you were talking about
  5       ladders and safety, did you request that in teams
  6       or the safety concern, the daily workplace exams,
  7       the maintenance lists, the requests?
  8               A       As I stated early, I did not request a
  9       ladder on that specific date.                    Bryston did, of
 10       course, you know.             I did not put it in Teams or
 11       anything like that.              We need one.           You know, come
 12       to it was something we need one, can we get one.
 13               Q       Could there have been one or multiple
 14       ladders in the mill?
 15               A       Could there have been?                If there was,
 16       nobody knew where they were at.
 17               Q       On all four floors?
 18                       JUDGE MORAN:          He knew of no ladders.
 19       Okay.
 20                       BY MS. SMITH:
 21               Q       So you had previous experience as a
 22       miner, you stated.              Right?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 737    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 209


  1               A       Yes.
  2               Q       So you would be considered an
  3       experienced miner?
  4               A       I wouldn't say -- experienced miner, I
  5       never did any mining.               Like I've never been
  6       underground doing mining, but I work at a mining
  7       industry.
  8                       MS. SMITH:         Your Honor, we will just
  9       object to the phrase experienced miner.                          Has a
 10       very particular --
 11                       JUDGE MORAN:          I know it does.            I know it
 12       does.       He's answered and clarified that.                      We're
 13       not saying that he had experienced miner training
 14       or anything along that line.                    Okay.      Go ahead, Mr.
 15       Tidaback.        Is that about it?
 16                       MR. TIDABACK:           That's it, Your Honor.
 17                       JUDGE MORAN:          Do you have any redirect?
 18                       MS. SMITH:         No, we have no further
 19       questions of this witness.
 20                       JUDGE MORAN:          So your testimony is
 21       concluded.         I have to say that when I called you a
 22       character, that was meant as a compliment.                            It


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 738    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 210


  1       means that you're alive and you have a
  2       personality.          I like that.
  3                       THE WITNESS:          Riveting, some would say.
  4                       JUDGE MORAN:          Riveting.         That's an
  5       appropriate term for mechanics.                     You deal with
  6       rivets all the time.
  7                       THE WITNESS:          Yeah.
  8                       JUDGE MORAN:          Okay.      Nice to meet you.
  9       You're not to talk with anyone until you hear this
 10       hearing has ended, which may not even be this
 11       week.      All right.         Thank you for your testimony,
 12       sir.
 13                       THE WITNESS:          You're welcome.
 14                       JUDGE MORAN:          Okay.      What's up next?
 15                       MS. O'REILLY:           We're going to call Mr.
 16       Carson Allman.
 17                       JUDGE MORAN:          Okay.
 18                       MS. O'REILLY:           I have this on mute,
 19       sorry, and then we have a form for you.
 20                       JUDGE MORAN:          Yes.      Thank you.
 21                       MS. O'REILLY:           Your Honor, if we may
 22       just while we're all here, Mr. Wheeler, can you --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 739    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 211


  1       Mr. Wheeler, we're going to give him the witness
  2       fee forms.         We need to give him the form for
  3       appearing.
  4                       JUDGE MORAN:          Don't go, Mr. Wheeler.
  5       They want to give you something.
  6                       MS. SMITH:         So you can get reimbursed
  7       under the subpoena.              We just don't want anyone to
  8       think we're doing anything untoward.
  9                       MS. O'REILLY:           And I think Mr. Wheeler
 10       may have a question for you, Your Honor.                           Did you
 11       want to ask him?
 12                       THE WITNESS:          I was going to go sit
 13       down, if that's all right.
 14                       JUDGE MORAN:          No, I think we like you
 15       and everything and you're a pleasant person, but
 16       I'm trying to think if there's a reason why you
 17       can't observe the rest of the proceeding, if you
 18       wish.
 19                       MS. O'REILLY:           He's already testified.
 20       We would not call him on redirect.                       We don't have
 21       a purpose for Mr. Wheeler after his testimony
 22       today.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 740    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 212


  1                       JUDGE MORAN:          Do you have any objection,
  2       Mr. Tidaback, to him staying in the hearing today?
  3                       MR. TIDABACK:           Yes, Your Honor.            I don't
  4       know if we would be recalling Mr. Wheeler, so I
  5       can't say that.
  6                       JUDGE MORAN:          You might be recalling him
  7       as an adverse witness on your case in chief?
  8                       MR. TIDABACK:           I don't know at this
  9       point until we have the other testimony.
 10                       JUDGE MORAN:          Okay.
 11                       MS. O'REILLY:           He's not listed on the
 12       Respondent's witness list.
 13                       MR. TIDABACK:           It actually states
 14       anybody that the Secretary called.
 15                       JUDGE MORAN:          Yes.      Are we still on the
 16       record here or are we off the record?
 17                       COURT REPORTER:            We're still on the
 18       record.
 19                       JUDGE MORAN:          Okay.      Thank you.         Well,
 20       see, the problem with that is I don't -- I don't
 21       see a basis that you could recall this witness.
 22       You had an opportunity, a full opportunity to ask


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 741    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 213


  1       him questions about his limited testimony.                            But
  2       when you talk about calling him, you had an
  3       opportunity to and I'll give you one even right
  4       now.     If you believe there are other areas that
  5       you wanted to have him testify about, but I think
  6       it's fundamentally unfair to sort of hold him here
  7       or let him stay if he wants to.                     I understand the
  8       question about he would hear other testimony and
  9       that could cause a problem, but I don't -- I don't
 10       see a basis for you to legitimately call him back
 11       as a witness given that you've had an opportunity
 12       to cross examine him about his testimony.                           Is
 13       there some independent grounds that you would need
 14       to call him as a witness?
 15                       MR. TIDABACK:           Without knowing the
 16       testimony of others, I wouldn't know if I would
 17       need his testimony as well.
 18                       JUDGE MORAN:          Well, I hate to be
 19       unfriendly, but I don't want to -- and I think if
 20       this was error on my part it would not be
 21       reversible error in my decision, but I'm afraid
 22       I'm going to have ask you, even though it's very


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 742    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 214


  1       unlikely that you would be called back, I'm going
  2       to exceed to Mr. Tidaback's request that you not
  3       stay in the hearing room.
  4                       THE WITNESS:          That means yes or no?
  5                       JUDGE MORAN:          That means you can go.                It
  6       means you can't stay.
  7                       MS. O'REILLY:           Thanks.
  8                       JUDGE MORAN:          Take care in your travel.
  9                       MS. O'REILLY:           Can you go get Carson.
 10                       JUDGE MORAN:          So we're on the record?
 11       Aren't we still?
 12                       COURT REPORTER:            Yes, we are.
 13                       JUDGE MORAN:          So give me the name of
 14       this next witness again?
 15                       MS. O'REILLY:           Carson Allman.
 16                       JUDGE MORAN:          U-l-l-m-a-n?
 17                       MS. O'REILLY:           A-l-l-m-a-n, yes.
 18                       JUDGE MORAN:          And is he on your witness
 19       list?
 20                       MS. O'REILLY:           Yes.
 21                       JUDGE MORAN:          Identified as Carson
 22       Allman?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 743    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 215


  1                       MS. O'REILLY:           In our -- we submitted
  2       two days before specifically identifying the
  3       miners.
  4                       JUDGE MORAN:          You understand the reason
  5       for that, Mr. Tidaback?
  6                       MR. TIDABACK:           Yes, Your Honor.
  7                       JUDGE MORAN:          So that's fine, and this
  8       is Mr. Carson Allman who's right here?                          Okay.      And
  9       here's the dilemma.              We're coming up a quarter to
 10       1:00.      Can you give me, not a hard, but a general
 11       estimate of how long his testimony will last?                              I'm
 12       deciding whether to have lunch.
 13                       MS. O'REILLY:           It's very similar to Mr.
 14       Wheeler's.         Probably in the 30 to 40 minute time
 15       range.
 16                       JUDGE MORAN:          Okay.      So I'll ask, I have
 17       asked Mr. Holt.            I want to ask the court reporter
 18       and Mr. Tidaback and his daughter, do you want to
 19       go forward?         I can do it, but if you want to take
 20       a break and meet back at -- in 45 minutes.                            What's
 21       your wish?
 22                       MR. TIDABACK:           I'm good, Your Honor,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 744    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 216


  1       with whatever your decision is.
  2                       JUDGE MORAN:          How about you?            How are
  3       you hanging in there?
  4                       THE VIDEOGRAPHER:             Very good.         I'm along
  5       for the ride.
  6                       JUDGE MORAN:          How about my trusty court
  7       reporter, Ms. Blackerby?
  8                       COURT REPORTER:            Whatever is fine.             I'm
  9       fine with anything.
 10                       JUDGE MORAN:          No fainting on us.              Right?
 11                       COURT REPORTER:            No.
 12                       JUDGE MORAN:          For lack of food or
 13       whatever.        Then we're to proceed.                 All right?
 14       Thank you, Ms. Blackerby.                  How is my marshal
 15       doing?      You okay, too?
 16                       THE MARSHAL:          Whatever you want me to
 17       be, Your Honor.            That's the joy of my services.
 18                       JUDGE MORAN:          Okay.      Thank you.         Are we
 19       ready to begin?            Mr. Allman, I'm Judge Moran.
 20       Would you stand, please, raise your right hand.
 21       Whereupon,
 22                                   CARSON ALLMAN


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 745    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 217


  1       was called as a witness and, having been first
  2       duly sworn, was examined and testified as follows:
  3                       JUDGE MORAN:          Sit down, state your name
  4       and spell it for the record, please.                        And I want
  5       you -- you seem soft spoken.                    I want you to not be
  6       soft spoken.          Speak up.         Okay?
  7                       THE WITNESS:          Okay.      Carson Allman.
  8       C-a-r-s-o-n A-l-l-m-a-n.
  9                       MS. O'REILLY:           And again, Your Honor, we
 10       ask for the same protective order to limit any
 11       testimony into Mr. Allman's current employment or
 12       his home address.
 13                       JUDGE MORAN:          Absolutely.          That's
 14       granted.        Protective order.
 15                       MS. O'REILLY:           Thank you.
 16                       DIRECT EXAMINATION
 17                       BY MS. O'REILLY:
 18               Q       And, Mr. Allman, can you state your name
 19       again?
 20               A       Carson Allman.
 21               Q       How are you familiar with American
 22       Tripoli in Seneca, Missouri?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 746    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 218


  1               A       I worked there from September 13th to
  2       November, doing maintenance.
  3               Q       And you said September 13th, is that of
  4       2022?
  5               A       Yes.
  6               Q       And then through November of 2022?
  7               A       Yes, ma'am.
  8               Q       And you said that you were in
  9       maintenance?
 10               A       Yes.
 11               Q       And was -- what building did you work
 12       in?
 13               A       The mill mostly.            Did some stuff in the
 14       offices, but most of it, the time was in the mill.
 15               Q       And who was your supervisor?
 16               A       John Spears.
 17               Q       What was your typical work schedule?
 18               A       It was supposed to be 8:00 to 4:00, but
 19       depending on equipment and stuff like that, most
 20       of the time I wasn't getting out of there until
 21       about 8 o'clock, so.
 22               Q       8 o'clock in the evening?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 747    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 219


  1               A       Yes, ma'am.
  2               Q       What were your responsibilities as the
  3       maintenance person?
  4               A       Keep the machines running.                  And towards
  5       the end of it, a lot of it was doing repairs as
  6       needed for the MSHA citations.
  7               Q       When you were hired were you the only
  8       maintenance person?
  9               A       No.     There was a feller working there
 10       before me.         His name was Jesse Hodges, I believe.
 11               Q       And what happened to Mr. Hodges?
 12               A       He was fired.
 13               Q       At some point were you the only
 14       maintenance person while the plant was running?
 15               A       Yes.
 16               Q       And when you were the only maintenance
 17       person, how many shifts were running at the plant
 18       at that time?
 19               A       There was two shifts that they had
 20       employees coming in for, but they were only
 21       running on second shift, for the most part.
 22               Q       And you were the maintenance person


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 748    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 220


  1       covering that shift?
  2               A       Yeah.
  3               Q       Did you receive any information or
  4       training on the product that was being milled?
  5               A       Yeah.
  6               Q       And did you know that Tripoli is made
  7       mostly of silica?
  8               A       Yes.
  9               Q       Did you receive any training on the
 10       hazards related to silica?
 11               A       No.
 12               Q       Prior to working at American Tripoli had
 13       you ever worked at a mine before?
 14               A       No.     That was my first time.
 15               Q       How long had you worked at American
 16       Tripoli before you got the new miner training?
 17               A       Probably just about a month, if not a
 18       little bit over a month.
 19               Q       When you were hired, did you start
 20       working right away?
 21               A       Yeah.
 22               Q       Were you being closely supervised by


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 749    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 221


  1       anyone during your work prior to getting your MSHA
  2       new miner training?
  3               A       John Spears would come out every now and
  4       again just to kind of check up and see how things
  5       were going, but that was just about it.
  6               Q       No one was closely supervising you
  7       during your entire time you were working prior to
  8       your new miner training?
  9               A       No.     Mostly just when John Spears would
 10       come out to check up on how we were doing.
 11               Q       We're going to talk about your new miner
 12       training.        Do you recall the entity that provided
 13       your new miner training?
 14               A       I think her name was Peggy.
 15               Q       Do you know what organization Peggy was
 16       with?
 17               A       I do not.
 18               Q       Okay.      And was that training done in
 19       person?
 20               A       Yes.
 21               Q       Did Mr. Tidaback ever tell you anything
 22       about what to say or do with Peggy, the trainer?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 750    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 222


  1               A       Mostly just not to tell any stories
  2       about the mill itself to the inspectors.
  3               Q       Did Mr. Tidaback tell you that in
  4       person?
  5               A       Yes.
  6               Q       Did you receive any task training while
  7       working at American Tripoli?
  8               A       No.     Just kind of got told what needed
  9       to get done and started work on what they wanted
 10       me to.
 11               Q       Did you receive any task training on
 12       welding?
 13               A       No.     I knew how to weld when I started
 14       there, so.
 15               Q       Did you about perform welding while you
 16       worked there?
 17               A       Yeah.      Did quite a bit of welding when I
 18       was there.
 19               Q       Did you receive any task training on
 20       electrical repair?
 21               A       No.
 22               Q       Did you perform any electrical repair?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 751    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 223


  1               A       Yeah, we did quite a bit of electrical
  2       when I was there.
  3               Q       Did you receive any task training on
  4       performing workplace exams?
  5               A       No.
  6               Q       Did you perform any workplace exams?
  7               A       I would say so maybe.
  8               Q       Do you know what a workplace exam is?
  9               A       Not really.         I'm not quite sure on what
 10       you're asking there.
 11               Q       Okay.      Did you receive any training on
 12       forklifts?
 13               A       No.
 14               Q       Did you ever operate a forklift?
 15               A       We had to operate quite a few of them to
 16       move the heavier equipment, like auger bellies and
 17       stuff like that.
 18               Q       Did you receive any task training on
 19       lockout/tagout?
 20               A       No, I supplied my own locks when I
 21       started there.
 22               Q       Did you perform lockout/tagout in your


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 752    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 224


  1       role?
  2               A       Yes.
  3               Q       And you provided your own locks from
  4       home?
  5               A       Yes.
  6                       JUDGE MORAN:          Let's make sure those
  7       answers are coming in.                The answer to the last
  8       question was yes, you provided your own locks and
  9       you didn't receive locks from the mine operation?
 10                       THE WITNESS:          Yes.
 11                       JUDGE MORAN:          Is that right?
 12                       THE WITNESS:          Yes.
 13                       BY MS. O'REILLY:
 14               Q       And you can't see it, but we do have a
 15       court reporter here.               She is appearing virtually
 16       so she's writing down all our answers, so it's
 17       helpful if you let me finish asking my question
 18       before you start your answer because when we kind
 19       of talk over each other your answer starts really
 20       close to my question it's hard for her to get all
 21       that down.
 22               A       Okay, sorry.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 753    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 225


  1               Q       Who was the individual who managed the
  2       plants day to day?
  3               A       John Spears.
  4               Q       Was it your understanding that Mr.
  5       Spears had to get approvals from Mr. Tidaback?
  6               A       Yes.
  7               Q       And what kind of things did Mr. Spears
  8       need to get approval from Tidaback?
  9               A       With ways to repair things, parts we
 10       needed to repair things.                 Stuff like that.
 11               Q       And how do you know that?
 12               A       Because there was several times I had to
 13       ask John Spears for materials to fix stuff, and he
 14       had to go through Russell first.
 15               Q       Did you ever work with Mr. Baumann while
 16       you were employed?
 17               A       I worked with Mr. Baumann quite a bit
 18       while I was there when he was on second shift.
 19               Q       Do you recall Mr. Baumann moving to
 20       first shift?          Do you recall Mister -- I could have
 21       said it wrong.           Do you recall Mr. Baumann being
 22       moved from second shift to first shift?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 754    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 226


  1               A       I'm not sure if he was on first shift
  2       while I was there or not.                  When I first started
  3       there there was a different supervisor named Will
  4       on first shift.            So Robert was on second while I
  5       was there.
  6               Q       Did you ever interact with Mr. Tidaback
  7       in your role as maintenance?
  8               A       Mostly on Teams.            I met him the week of
  9       our MSHA training.
 10               Q       You met Mr. Tidaback in person during
 11       your MSHA training?
 12               A       Yeah.      That was the first time I met him
 13       was the day the MSHA inspector or the MSHA trainer
 14       was there to do our new miner.
 15               Q       And describe the interaction that you
 16       had with him that day.
 17               A       Not very pleasant.              Started off with him
 18       yelling at the four of us about the way things
 19       were going before sending us over into the new
 20       miner training.
 21               Q       We're going to break that down a little.
 22               A       Yes.     Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 755    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 227


  1               Q       You said the four of us.                 Who are you
  2       referring to?
  3               A       Me, Terry Newburn, Jesse Hodges and the
  4       supervisor at the time.                 I think his name was
  5       Will.       I think he was there, but if not, it was
  6       me, Terry and Jesse Hodges.
  7                       JUDGE MORAN:          Help me out.          Keep your
  8       voice up for me.            Okay?
  9                       BY MS. O'REILLY:
 10               Q       It might help if you -- we have a
 11       microphone here on our shirts that help the court
 12       reporter, but this microphone here in front of you
 13       helps the judge hear you.
 14               A       Okay.      Sorry.
 15               Q       Speak kind of in that microphone there.
 16               A       Okay.
 17               Q       And you mentioned the name Terry
 18       Newburn.        Are you related to Mr. Newburn?
 19               A       He's my brother-in-law.
 20               Q       And you said that Mr. Tidaback was
 21       yelling that day.             What was he yelling about?
 22               A       Just the way that things were going.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 756    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 228


  1       The plant had been down for quite awhile before he
  2       showed up.         Trying to get it back running.
  3               Q       Do you know why the plant was down?
  4               A       The bag house was the current issue.
  5       About a week before I started there was an issue
  6       with the local police due to the dust that was --
  7       the bag house was putting out.
  8               Q       And that caused the plant to be down?
  9               A       Yeah.      Because the local police told
 10       John Spears and the day shift supervisor that if
 11       they ran, they'd arrest them all.
 12               Q       And then describe for me your
 13       interactions with Mr. Spears.
 14               A       Mr. Spears, mostly what he would do is
 15       just come out and check up on us, give a report
 16       back to Russell.            See how things were going with
 17       repairs and stuff.
 18               Q       And did he tell you he was reporting
 19       back to Mr. Tidaback?
 20               A       Yes.
 21               Q       Did Mr. Tidaback ever express to you
 22       about how you were performing in your job?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 757    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 229


  1               A       First he said I was doing pretty good.
  2       That he had plans for a good future with me.                             That
  3       seemed to change pretty quick.
  4               Q       Okay.      Tell us what happened.                Why did
  5       it change?
  6               A       I'm guessing just because the plant
  7       wasn't running very much while I was there, due to
  8       all of the MSHA stuff, and then the MSHA
  9       inspections.          I think while I was there there was
 10       about 200 citations that he had written up that
 11       day.
 12               Q       The MSHA inspector had written?
 13               A       Yeah.
 14               Q       Okay.      And describe some of the
 15       equipment you were assigned to maintain.
 16               A       Most of the time while I was there
 17       working on the bag house, air compressor, the rock
 18       crusher, tumbler.             Several other things.                There
 19       was multiple bag houses that we worked on while I
 20       was there.
 21               Q       And were people submitting maintenance
 22       requests to you?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 758    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 230


  1               A       Wasn't really a request.                 It was just
  2       kind of a to-do list that John would come up with
  3       and give us when we got there in the morning of
  4       what he wanted us to do that day.
  5               Q       Did you ever need any parts to repair a
  6       piece of equipment?
  7               A       Yeah.      There was several times we needed
  8       parts, such as welding rod.                   There was a time we
  9       needed compression fitting for some of the gas
 10       lines for the furnace that they had.
 11               Q       And what was the process to obtain those
 12       parts?
 13               A       I would let job Spears know what I
 14       needed.       He'd normally want an idea of how much it
 15       was going to cost just to give him an idea.                             Then
 16       he'd go through Russell to see if we can get it or
 17       not.
 18               Q       Were your requests for parts always
 19       approved?
 20               A       Not always.         I know I didn't get the
 21       compression fittings and then when I asked for a
 22       welding rod, ended up getting some but it wasn't


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 759    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 231


  1       the type that I needed.
  2               Q       Were you ever given an explanation for
  3       why you are weren't getting the parts that you
  4       requested?
  5               A       Most of it came from John Spears and he
  6       said it was just too expensive.                     Something they
  7       couldn't do right now.
  8               Q       Do you recall a time you requested new
  9       filters for the bag house?
 10               A       Yes.
 11               Q       What does the bag house do?
 12               A       Bag house, kind of like a ventilation
 13       system.       The dust goes in and supposed to separate
 14       the dust from the clean air, but the clean air,
 15       instead of pushing out a whole bunch of dust.
 16       When them filters go bad, instead of separating
 17       the air and dust, it just pushes out the dust with
 18       the air straight out of the stack.
 19               Q       And why were you recommending new
 20       filters?
 21               A       The ones they would were plumb full of
 22       tripoli and old and brittle.                    A lot of them had


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 760    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 232


  1       rips in.        I think we counted 36 of them.
  2                       JUDGE MORAN:          36 what?
  3                       THE WITNESS:          Filter bags that came out
  4       of the bag house.
  5                       JUDGE MORAN:          Thirty-six filter bags
  6       with rips?
  7                       THE WITNESS:          Yeah.
  8                       BY MS. O'REILLY:
  9               Q       And were those new filters ordered based
 10       on your recommendation?
 11               A       No, he had a stockpile of old filters
 12       that they had pulled out and replaced beforehand.
 13       He had us sort through them to put back in the
 14       place of the ripped ones, but they were just as
 15       rough as condition because they had been sitting
 16       in the garage for who knows how long.
 17               Q       And were you told why the new filters
 18       weren't ordered?
 19               A       Just too much.           I guess they had it
 20       quoted.       It was quite a bit of money for new bags
 21       for all of the bag houses, so.
 22               Q       And then I think you mentioned that the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 761    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 233


  1       mill was shut down during your employment.                            How
  2       many days of the three months that you worked
  3       there was the mill shut down?
  4               A       Quite awhile on first shift.                    Most of
  5       the time I was there.
  6               Q       And explain that to me.                 The mill is
  7       being shut down.            Were these shutdowns related to
  8       equipment being not operational, or you mentioned
  9       something about the police earlier?
 10               A       There was multiple reasons.                   On day
 11       shift they didn't want to run for -- one, the
 12       local police weren't happy with the dust.                           And
 13       then there was also an MSHA inspector that wanted
 14       to watch the plant run so we were running night
 15       shift instead.
 16               Q       So is your testimony that the police had
 17       asked you guys not to run because of the dust, and
 18       there was an MSHA inspector that wanted to observe
 19       the mill running?
 20               A       Yeah.
 21               Q       And so you're saying that the mill did
 22       not run during the day.                 Correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 762    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 234


  1               A       Yes.
  2               Q       But is your testimony that the mill
  3       would run at night?
  4               A       Yes.
  5               Q       Did you work with Mr. Baumann on a daily
  6       basis?
  7               A       Quite a bit, yeah.
  8               Q       Describe some of the interactions you
  9       had with Mr. Baumann at work.
 10               A       Pretty good.          He was one of the most
 11       helpful people I worked with while I was there,
 12       because he was there quite a bit longer than I
 13       was, so he helped me find some of the stuff I
 14       needed in the mill that I might not have known
 15       where it was, or if I needed a hand with, he was
 16       willing to jump in and help me where he could, so.
 17               Q       Did Mr. Baumann have a good attitude?
 18               A       I thought so.           He was always about 30
 19       minutes to an hour early.                  So he come in and kind
 20       of talked to us about how our day went and always
 21       seemed to be pretty helpful.
 22               Q       Did Mr. Baumann care about safety?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 763    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 235


  1               A       Yeah.      He was one of the more concerned
  2       about our safety while we were working there.
  3       Kind of told us some of the hazards we would be
  4       messing with, and he worked quite a bit with the
  5       safety guy, Terry Newburn, while I was working
  6       there.
  7               Q       Was Mr. Baumann a good leader?
  8               A       I thought so, yes.              Mostly people on day
  9       shift thought the same as I did, and the guy
 10       working with him, R.J., I feel like he kind of
 11       looked up to Rob because they were always working
 12       together, so.
 13               Q       Were you aware of any production demands
 14       or quotas that were supposed to be met each day?
 15               A       Yeah.      Russell had mentioned several
 16       times that the plant was capable of running a
 17       hundred thousand pound of product, but I think
 18       when I was working there it was lucky to push out
 19       about 15,000, if that.
 20               Q       Fifteen thousand pounds?
 21               A       That was if they ran it consistently.
 22                       JUDGE MORAN:          Over what period of time?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 764    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 236


  1       You said Mr. Tidaback said a hundred thousand
  2       pounds.       Over what?         You mean over a shift?
  3                       THE WITNESS:          I think that was for a
  4       full day if the plant was in good shape it should
  5       have ran.
  6                       JUDGE MORAN:          When you reference, what
  7       was it, eight or five, 15 was a good day.                           What
  8       was that?
  9                       THE WITNESS:          I think 15 is about what
 10       we were putting out on second shift, I think.
 11                       JUDGE MORAN:          Fifteen thousand pounds on
 12       a shift?
 13                       THE WITNESS:          Yeah.
 14                       JUDGE MORAN:          Okay.
 15                       BY MS. O'REILLY:
 16               Q       Do you know why you were only able --
 17       that this shift that you were involved in was only
 18       able to reach the 15,000 pounds?
 19               A       There were a lot of reasons why.                      Such
 20       as holes in the augers, holes in the bearings.                              A
 21       lot of their product was going on the floor.                             Like
 22       in the very lower floor there's several spots


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 765    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 237


  1       where the tripoli would just pile up at the
  2       machine is running.              By end of shift you'd have
  3       probably a couple hundred pounds worth of tripoli
  4       sitting on the floor.               And half the equipment,
  5       when I started there, wasn't even working.                            A lot
  6       of it was just locked out, not running since I
  7       started.
  8               Q       Did you ever tell Mr. Tidaback that Rob
  9       would get mad at everything?
 10               A       No.
 11               Q       Did you ever tell Mr. Tidaback that Rob
 12       was hard to work with?
 13               A       No.
 14               Q       Did you ever tell Mr. Spears any of
 15       those things about Mr. Baumann, that Mr. Baumann
 16       was mad at everything or hard to work with?
 17               A       No.
 18               Q       Did you ever complain to Mr. Tidaback or
 19       Mr. Spears about Mr. Baumann's attitude?
 20               A       No.
 21               Q       Did you ever have any problems with Mr.
 22       Baumann?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 766    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 238


  1               A       No.
  2               Q       How would you describe the safety
  3       culture at American Tripoli?
  4               A       Kind of nonexistent, for the most part.
  5       Kind of just look out for yourself.
  6               Q       How would you describe Mr. Tidaback's
  7       attitude toward safety?
  8               A       He had a pretty good attitude towards
  9       anything that came up with that we needed to fix,
 10       such as rails and guard down off equipment, he was
 11       always pretty apt to help us find them and get
 12       them put on.
 13               Q       That was Mr. Tidaback?
 14               A       Mr. Baumann, my bad.
 15               Q       I'm sorry.
 16                       JUDGE MORAN:          Let's make sure the record
 17       is clear on that.
 18                       BY MS. O'REILLY:
 19               Q       So I'm going to ask you the question
 20       again.
 21               A       Sorry about that.
 22               Q       That's okay.          So your answer of pretty


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 767    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 239


  1       good about it and if there were guards down he
  2       would help you get those back on, is that how you
  3       would describe Mr. Baumann's attitude towards
  4       safety?
  5               A       Yes.
  6               Q       And now I'm going to ask you a different
  7       question.        How would you describe Mr. Tidaback's
  8       attitude towards safety?
  9               A       I think it was kind of irrelevant for
 10       him until the MSHA came around and started issuing
 11       citations.         That's when we started focusing more
 12       on guards and covers for the augers.
 13               Q       And on the equipment, were there guards
 14       on the points where mill associates could come in
 15       contact with moving parts?
 16               A       No.
 17               Q       Did Mr. Spears know that there were no
 18       guards in these areas?
 19               A       Yeah.      They got pulled off quite a bit
 20       because the augers were pretty rough, so they
 21       clogged up quite often, so them guards would be
 22       removed pretty frequently.                  They should be bolted


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 768    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 240


  1       down, but they just had kind of pipe clamps
  2       holding on them there.                That way they're easy to
  3       get on and off.
  4               Q       Did Mr. Spears ever direct the employees
  5       to take the guards off to perform this un-jamming?
  6               A       I don't know if it was directed by him
  7       or not, but it was just kind of a daily practice
  8       to keep the plant running.
  9               Q       Did Mr. Spears know that was the daily
 10       practice?
 11               A       Yeah.      He was out there quite a bit when
 12       it was happening.
 13               Q       Did Mr. Spears ever direct the mill
 14       associates to put those guards back on?
 15               A       Once we got the MSHA inspection, that's
 16       when we started putting the guards back on.
 17               Q       Were there ever any safety meetings at
 18       American Tripoli?
 19               A       If you counted the new miner safety,
 20       that was about it.
 21               Q       What personal protective equipment were
 22       employees required to wear in the mill?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 769    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 241


  1               A       I don't think there was really any -- I
  2       mean, I wore my steel toed boots, just kind of
  3       common practice, and then a mask, but they were
  4       these disposable masks and John Spears wanted us
  5       to make one last a week.                 If you get tripoli
  6       packed in that thing for a week they're kind of
  7       hard to use.
  8               Q       And you're talking about face masks for
  9       dust?
 10               A       Yes.
 11               Q       And do you know what kind of face mask
 12       this was?
 13               A       I'm not sure on the specific type, but
 14       just kind of like a carpenters mask almost.                             Just
 15       like a N95, if that.
 16               Q       And you said that Mr. Spears asked the
 17       mill associates to wear those masks for a week.
 18       Is that correct?
 19               A       Yeah.      He said we were going through too
 20       many of them.
 21               Q       Were you ever concerned about your
 22       safety at the mill?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 770    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 242


  1               A       Quite a bit.          Especially like working on
  2       that bag house, we were doing some air diaphragms
  3       on that, and we would to do it from the roof of
  4       the building because it's on the back side of the
  5       bag house, so you have to stand on the roof and
  6       all the safety harnesses they had there were
  7       expired.
  8               Q       Did you still perform that task?
  9               A       Yes.
 10               Q       Besides that instance, were you ever
 11       asked to perform a task you believed to be unsafe?
 12               A       Yes.
 13               Q       Can you give us another example?
 14               A       There's quite a few, but I'd say working
 15       in that, the bottom of that bag house.                          I had a
 16       lock put on it and it ended up being cut off by
 17       Don Spears because he said he thought I went home
 18       for the day, while I was inside the bag house and
 19       turned the auger back on while I was trying to cut
 20       one of the filter tubes we were talking about
 21       previously had fallen off.                  And when it did, it
 22       got wrapped around the auger, and so I went in


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 771    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 243


  1       there to get it out with a grinder.                        That way the
  2       auger would un-jam.
  3               Q       Okay.      So let's break it down a little.
  4       You were performing maintenance inside the bag
  5       house on an auger.              Correct?
  6               A       Yes.
  7               Q       And you applied a lock to the energizing
  8       source of that equipment?
  9               A       Yes.     There was a disconnect on the
 10       outside of that.
 11               Q       And you climbed inside where the auger
 12       was located?
 13               A       Yes.
 14               Q       And you were performing work in there?
 15               A       Yes.
 16               Q       And then while you're performing work
 17       did something indicate to that your lock had been
 18       cut off?
 19               A       Yeah.      The auger started moving.
 20               Q       So you were inside the bag house
 21       performing this maintenance and the auger started
 22       moving?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 772    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 244


  1               A       Yeah.
  2               Q       And then what did you do?
  3               A       Grabbed my stuff and climbed back out of
  4       the auger.
  5               Q       Okay.      And is that when you noticed that
  6       your lock had been cut off?
  7               A       Yeah.
  8               Q       And did you ask?
  9               A       Yeah.      I asked John Spears, and that's
 10       when he told me that he thought I had just went
 11       home for the day and forgot my lock on it.
 12               Q       Did you ever complain to Mr. Spears
 13       about your safety at the mill?
 14               A       Quite a few times.
 15               Q       Did you ever complain to Mr. Tidaback
 16       about the safety at the mill?
 17               A       Yes.     It was in Teams, because he had
 18       fired the safety guy for bringing up safety.                             She
 19       -- to him on Teams.              And so I brought it up that
 20       the mill should still probably have a safety guy,
 21       even though he fired the one we did have, and
 22       that's when he said John Spears would be taking


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 773    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 245


  1       over the safety.
  2               Q       And when you say that the safety guy was
  3       fired, can you tell us who you're speaking about?
  4               A       Terry Newburn.
  5               Q       Do you know whether Mr. Baumann ever
  6       complained to Mr. Spears about his safety concerns
  7       at the mill?
  8               A       Yeah.      Quite a bit.          Him and Terry
  9       Newburn were working together with quite a few of
 10       the safety issues they were having on second
 11       shift.
 12               Q       And how are aware that he raised those
 13       issues to Mr. Spears?
 14               A       I was in multiple Microsoft Teams group
 15       chats.
 16               Q       And you saw those messages?
 17               A       Yeah.
 18               Q       Do you recall any inspections by the
 19       Mine Safety and Health Administration, MSHA, while
 20       you were employed at American Tripoli?
 21               A       Yeah.      I think his name was Van Horn.
 22       Van Dorn.        Worked with him on the safety


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 774    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 246


  1       inspection he did of the plant.
  2               Q       And were you involved in that
  3       inspection?
  4               A       Yes.
  5               Q       What did you do?
  6               A       I helped point out some of the issues
  7       that we were having at the plant, and after that,
  8       I went through and started fixing them for
  9       Russell.
 10               Q       And did Mr. Spears see you walk around
 11       with that inspector?
 12               A       I'm sure he did.
 13               Q       Did Mr. Spears ever give you any
 14       instruction about what to do when MSHA arrived?
 15               A       He didn't really want us talking to him.
 16       He said he could handle it all.
 17               Q       And in performing your job in
 18       maintenance, were you ever told by Mr. Spears or
 19       Mr. Tidaback to be sure to comply with the MSHA
 20       standards?
 21               A       Not really.         We kind of didn't really
 22       talk to him much about MSHA until we had our new


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 775    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 247


  1       miners.
  2               Q       Did Mr. Tidaback ever express to you his
  3       opinion of MSHA?
  4               A       Not really.         Mostly Mr. Tidaback's
  5       conversations were maintenance related, for the
  6       most part.
  7               Q       Did you receive the necessary tools,
  8       equipment and training to comply with the MSHA
  9       standards?
 10               A       There weren't really many tools out
 11       there to work with, but I'd say it probably wasn't
 12       up to MSHA standards, some of the stuff we had to
 13       do, because while I worked there the man lift was
 14       down.       So anytime we had to get somewhere high up
 15       you kind of had to climb.
 16               Q       In your opinion, did Mr. Baumann try to
 17       make the mill a safer place to work?
 18               A       I believe so.
 19               Q       Can you give an example of what he did
 20       to do that?
 21               A       Yeah.      He worked with us quite a bit,
 22       because he let us shut down the line one night


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 776    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 248


  1       doing an auger.            Somebody had spray foam and put a
  2       piece of tin over the bottom of the auger belly,
  3       and when the hangers went out, the auger actually
  4       breached through that tin so it was kind of hang
  5       through the auger belly.                 So he let us keep it
  6       down while we ended up welding on a new auger
  7       belly to the bottom of it.
  8               Q       Did you have any concerns about Mr.
  9       Baumann's job performance with regard to complying
 10       with MSHA standards?
 11               A       No.
 12               Q       Did you have any concerns with Mr.
 13       Baumann's job performance with regard to safety at
 14       the mine?
 15               A       No.
 16               Q       Did Mr. Spears and Mr. Tidaback know
 17       that you participated in MSHA inspection?
 18               A       I'm not sure on that.
 19               Q       Okay.      You mentioned some other
 20       enforcement agencies had come to the mill, like
 21       the police.         Did any other enforcement agencies
 22       come to the mill?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 777    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 249


  1               A       I think it was just the cops and then
  2       MSHA themselves that inspected that I talked to,
  3       but.
  4               Q       In interacting with the MSHA inspectors,
  5       did those inspectors act professionally?
  6               A       I thought so.           Van Horn was pretty
  7       easygoing, worked with us quite a bit with some of
  8       the citations we had.
  9               Q       Did the inspector ever yell at you?
 10               A       No.
 11               Q       Did he ever threaten you?
 12               A       No.
 13               Q       Were you scared of the MSHA inspectors?
 14               A       No.
 15               Q       Do you know if any of the mill -- did
 16       any of the mill associates express to you that
 17       they were scared of the MSHA inspectors?
 18               A       No.
 19               Q       And then, Mr. Allman, you were
 20       terminated from your job at American Tripoli.
 21       Correct?
 22               A       Yes, ma'am.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 778    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 250


  1               Q       Can you describe that?
  2               A       I was on my way home from work.                     Oh,
  3       sorry.      And I had got a notification that there's
  4       a message in Teams, so I went to check it.                            When I
  5       went to sign back in to Teams, because me and
  6       Russell had been messaging back and forth on
  7       there.      Went to check it again and it wouldn't let
  8       me sign into it, and then that's when I contacted
  9       Russell about it not letting me sign in to Teams,
 10       and then the next morning I had gotten a message
 11       from him saying I was terminated.
 12               Q       How many days after you walked around
 13       with the MSHA inspector were you are terminated?
 14               A       Probably a day or two.                It wasn't very
 15       long afterwards.
 16               Q       Did Mr. Newburn walk around with that
 17       MSHA inspector as well?
 18               A       Yes.
 19               Q       And was he terminated as well?
 20               A       Yes.
 21               Q       Did you receive a termination letter
 22       outlining the reasons you were being terminated?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 779    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 251


  1               A       I asked him why, but he never did tell
  2       me why.       Only thing he said was that it was for
  3       leaving my shift even though I had already worked
  4       14 hours that day, so.
  5               Q       Did you speak to an MSHA inspector after
  6       you were fired?
  7               A       Yes.
  8               Q       And can you tell us what you said?
  9               A       It was a pretty quick conversation.                        I
 10       had talked to him, I think it was a Monday after I
 11       was terminated.            I went back to grab some of my
 12       stuff.      I had already got my stuff and I was on my
 13       way out of the office building, and he was walking
 14       in, so I stopped and talked to him for a minute.
 15       And kind of talking to him about how things were
 16       going, and then a cop pulled up.                      Russell had
 17       called the cops on me and said I was trespassing
 18       because I came to get my stuff back.
 19               Q       Is it your opinion that you were
 20       terminated for participating in the MSHA
 21       inspection?
 22               A       I would say there's a good chance of it.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 780    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 252


  1               Q       Mr. Tidaback testified in his deposition
  2       that you were let go because you were verbally
  3       abusive and disrespectful to John Spears.                           Were
  4       you ever verbally abusive and disrespectful to
  5       John Spears?
  6               A       I would say no.            Me and John worked
  7       quite a bit together.               Didn't always see eye to
  8       eye on some of our projects, but I wouldn't say I
  9       was verbally abusive to him or anybody else at the
 10       mill.
 11                       JUDGE MORAN:          Or disrespectful?
 12                       THE WITNESS:          I try not to be any chance
 13       I get, but sometimes.
 14                       BY MS. O'REILLY:
 15               Q       Mr. Tidaback testified in his deposition
 16       that you were verbally abusive and disrespectful
 17       to Mr. Baumann.            Were you ever verbally abusive
 18       and disrespectful to Mr. Baumann?
 19               A       No.     Me and Rob, I would say we had a
 20       pretty good work relationship while I worked
 21       there.      He was pretty easygoing.                  Like I say, he
 22       always helped me out, so I don't really have any


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 781    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 253


  1       reason to go against him or anything said.
  2                       MS. O'REILLY:           I have no further
  3       questions for this witness.
  4                       JUDGE MORAN:          Okay.      So we're going to
  5       have to take a lunch, unless you tell me that your
  6       cross examination, I'm not suggesting that it
  7       should be, but unless you tell me that your cross
  8       examination won't take more than, say, ten
  9       minutes.
 10                       MR. TIDABACK:           I can limit it to ten
 11       minutes, Your Honor.
 12                       JUDGE MORAN:          What's that?
 13                       MR. TIDABACK:           I can limit it to ten
 14       minutes, Your Honor.
 15                       JUDGE MORAN:          I don't want you to limit
 16       it if you feel it limits your ability to cross
 17       exam.      I'm not putting you in a position like
 18       that.
 19                       MR. TIDABACK:           I respect that.            I don't
 20       think so, but I can -- I will limit it to ten
 21       minutes.
 22                       JUDGE MORAN:          Okay.      But that's


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 782    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 254


  1       voluntarily.
  2                       MR. TIDABACK:           That is correct, sir.
  3                       JUDGE MORAN:          What we're going to do is
  4       we're going to hang in here for ten more minutes,
  5       and then we're going to take an hour for lunch.
  6       All right?         Go ahead.        My court reporter hanging
  7       in there?
  8                       COURT REPORTER:            Yes, I am.
  9                       JUDGE MORAN:          Okay.      Lunch will be soon.
 10       Go ahead, Mr. Tidaback.
 11                       CROSS-EXAMINATION
 12                       BY MR. TIDABACK:
 13               Q       How many days were you employed at
 14       American Tripoli?
 15               A       It was from September 15th to November
 16       20th, I think, around that time.
 17               Q       So roughly 60 days?
 18               A       Yeah, just about probably.
 19               Q       And so can you describe your
 20       understanding and expectations set for your role
 21       as a maintenance technician during your time
 22       there?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 783    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 255


  1               A       When I started I was told that kind of
  2       the goal was to get the plant back up and running.
  3       It was -- because it was kind of down on its luck,
  4       I guess you could say.                And so whenever I talked
  5       to Mr. Tidaback he told me his goal for the plant
  6       was to start putting money into it and getting it
  7       repaired the way it should be.
  8               Q       Okay.      You received a letter of
  9       reprimand on 13 October addressing specific areas
 10       of concern regarding your performance.
 11                       MS. O'REILLY:           We're going to object to
 12       this.       It's outside the scope of direct and it
 13       also lacks foundation.
 14                       JUDGE MORAN:          Well, it's certainly
 15       proper for him to ask questions about this.                             I
 16       mean, we have had that lacking with Mr. Baumann,
 17       for example, so I'm not about to stop Mr. Tidaback
 18       from asking about this.                 Did you ever receive a
 19       letter of reprimand from American Tripoli?
 20                       THE WITNESS:          I do not believe so.
 21       Probably wouldn't have been working there any
 22       longer if I did.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 784    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 256


  1                       BY MR. TIDABACK:
  2               Q       Okay.
  3                       JUDGE MORAN:          Okay.      So wasn't your
  4       question if he received a letter of reprimand?
  5                       MR. TIDABACK:           Yes.
  6                       JUDGE MORAN:          Your testimony is you did
  7       not ever receive --
  8                       THE WITNESS:          I do not believe so.
  9                       JUDGE MORAN:          We don't want to confine
 10       ourselves to the word reprimand.                      Did you ever
 11       receive a letter from American Tripoli that in my
 12       manner had problems with the work you were doing?
 13                       THE WITNESS:          I do not believe so, no.
 14                       JUDGE MORAN:          Well, do you recall
 15       getting any kind of letter from American Tripoli
 16       about your work performance, critical or not, when
 17       you were working there?
 18                       THE WITNESS:          No.     I think the only
 19       letter I got from American Tripoli was the sign on
 20       letter.
 21                       JUDGE MORAN:          The sign on letter.               When
 22       you were hired?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 785    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 257


  1                       THE WITNESS:          Yes.
  2                       JUDGE MORAN:          All right.         Go ahead, Mr.
  3       Tidaback.
  4                       BY MR. TIDABACK:
  5               Q       And then on the day of your departure on
  6       November 4th, you left the work site without
  7       informing your supervisor or securing your
  8       workplace, which was a hazard to other miners.
  9       Can you --
 10                       JUDGE MORAN:          You just --
 11                       MR. TIDABACK:           Did I add too much?
 12                       JUDGE MORAN:          You testified.            You're
 13       saying on his day of departure?
 14                       MR. TIDABACK:           That's correct.            On his
 15       day that he was terminated, when he left the
 16       workplace without informing your supervisor.
 17                       JUDGE MORAN:          See, that would be the
 18       question.        Did you leave the workplace without
 19       informing your supervisor on the last day you
 20       worked?
 21                       THE WITNESS:          No, John Spears had known
 22       I was leaving.           What happened is one of employees


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 786    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 258


  1       there, Jim Huber, had taken apart a piece of
  2       equipment after maintenance had already left, and
  3       he was unable to put it back together by himself
  4       and that's when Russell tried to call me to come
  5       back in.
  6                       BY MR. TIDABACK:
  7               Q       Okay.      So --
  8                       JUDGE MORAN:          After he was terminated
  9       you called him to come back in?
 10                       MR. TIDABACK:           No.     That's the whole
 11       point.
 12                       BY MR. TIDABACK:
 13               Q       Did you leave the workplace without
 14       advising your supervisor?
 15               A       No.     John Spears knew I was leaving.
 16                       JUDGE MORAN:          Okay.      So you covered
 17       that.       Go on to something else.
 18                       MR. TIDABACK:           Yes, Your Honor.
 19                       BY MR. TIDABACK:
 20               Q       You use Teams to communicate.                    Right?
 21               A       Yes.
 22               Q       You mentioned requesting locks.                     Did you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 787    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 259


  1       ever put in Teams that you were requesting locks?
  2               A       I told John Spears that I needed locks.
  3       He said he would get them for me.                       A couple days
  4       had went by and I still hadn't got them, so I
  5       supplied my own from home from another job I was
  6       before that.
  7               Q       And then you mentioned filters.                     Do you
  8       know of the maintenance schedule for change outs?
  9               A       Not the exact one, no.
 10               Q       Okay.      All right.         When you mentioned
 11       augers or the guarding for the augers, who removed
 12       --
 13               A       Production people.              Just depending on
 14       who was working that side of the mill that day.
 15       Most of the time it was Jim Huber that I'd see
 16       trying to unclog the equipment.
 17               Q       Okay.      And then who was in charge of the
 18       mill people?
 19               A       John Spears.
 20               Q       And then was Mr. Baumann ever in charge
 21       of the mill people?
 22               A       Oh, you mean for like second shift


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 788    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 260


  1       safety?       I wasn't aware of that.
  2               Q       Either one?
  3               A       They would report directly to Robert, I
  4       believe, and then Robert would report to John
  5       Spears himself.
  6               Q       Okay.      So that we understand, the mill
  7       associates removed the augers or the guarding and
  8       didn't -- somebody would have had to direct them
  9       to do that correctly.
 10               A       There was several places to where it
 11       couldn't even have been a production worker
 12       themselves because there's -- like on the bottom
 13       of the bag house there's probably a four inch by
 14       four inch hole cut into the side of the metal
 15       auger housing.           That way they could stick stuff is
 16       there to unclog, it and I don't see a member of
 17       the mill, production side cutting a hole in the
 18       side of a bag house like that.
 19               Q       I'm not sure I understand that.
 20                       JUDGE MORAN:          You just have to ask
 21       another question.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 789    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 261


  1                       BY MR. TIDABACK:
  2               Q       Correct.        Okay.      Did you communicated
  3       the incident with that auger in Teams?
  4               A       Yes.     Actually, I think me and you
  5       actually spoke about it together on Teams after,
  6       because it was one of the things brought up by
  7       MSHA were the citations.                 Right at the bottom of
  8       the bag house where the auger feeds out, there's
  9       -- what I believe to be a pump that pumps the dust
 10       out of it, and right before it goes into that pump
 11       there's a four by four hole cut into the side of
 12       it.     There's pictures posted on Teams.                       I believe
 13       I still have the pictures myself, too.                          Ended up
 14       welding a cover over the front of it.
 15               Q       Okay.      So did you report that to the
 16       safety manager?
 17               A       Yes.     And I reported it to you.
 18               Q       Okay.      So who was the safety manager at
 19       the time?
 20               A       At that time I believe it was Terry
 21       Newburn.
 22               Q       Okay.      And your relationship with Terry


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 790    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 262


  1       Newburn is?
  2               A       My brother-in-law, yes.
  3               Q       So Mr. Newburn.            Did you ever deal with
  4       Inspector Linkliter or Inspector Markeson?
  5               A       Not for sure.           I think it was Van Dorn
  6       who I dealt with.
  7               Q       Inspector Van Dorn?
  8               A       Van Dorn.
  9               Q       All right.         And then the last question.
 10       Were you prepped for this interview, the
 11       deposition?
 12               A       No.     I was just told a date and a time.
 13                       MR. TIDABACK:           Okay.      That's it, Your
 14       Honor.
 15                       JUDGE MORAN:          Okay.      Do you have any
 16       questions?
 17                       MS. O'REILLY:           We have no further
 18       questions for this witness.
 19                       JUDGE MORAN:          Okay.      Mr. Allman, I
 20       appreciate your testimony, sir, I wish you well.
 21                       THE WITNESS:          I appreciate it.
 22                       JUDGE MORAN:          And you're going to give


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 791    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 263


  1       him the subpoena?
  2                       MS. O'REILLY:           We're going to give the
  3       paperwork for appearing based on the subpoena.
  4       Yes.
  5                       JUDGE MORAN:          Good luck.         All right,
  6       folks, we're going to break.                    So it's 1:24.           Let's
  7       start at 2:30.           Any questions?            It looked like you
  8       had a question there, Mr. Baumann.
  9                       MS. O'REILLY:           I'm going to tell him not
 10       to talk to anyone about this trial.
 11                       JUDGE MORAN:          Please, until you hear
 12       word from the Department of Labor attorneys that
 13       you may speak with anyone about this, do not until
 14       you hear that.           Thank you, sir.
 15                       MS. O'REILLY:           Trial, Mr. Baumann, thank
 16       you.
 17                       JUDGE MORAN:          We're going to now go off
 18       the record.         Thank you.          We'll see you, Madam
 19       Court Reporter, at 2:30.
 20                       COURT REPORTER:            Okay.      Sounds good.
 21                               (Recess)
 22                       JUDGE MORAN:          We're on the record.               So


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 792    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 264


  1       now, Attorney Smith, you have just informed me off
  2       the record that the next witness will be, and I'll
  3       write it down again, I'm sorry.
  4                       MS. SMITH:         Ms. Kensley Brewer.
  5                       JUDGE MORAN:          Okay.      And I'm sure this
  6       is true, but I want this on the record.                          You
  7       identified Ms. Kensley Brewer as one of the
  8       witnesses the government intended to call.
  9                       MS. SMITH:         Yes.     On Friday when we made
 10       our updated disclosure identifying the miner
 11       witnesses her name appeared.
 12                       JUDGE MORAN:          As a miner witness.
 13       That's why.         Okay.       And so now before we begin
 14       this afternoon's session just minutes ago, Mr.
 15       Tidaback says he has an objection to this witness'
 16       testimony.         Go ahead, sir.
 17                       MR. TIDABACK:           Yes.     Your Honor, I
 18       object that she is not -- get my microphone on.
 19       Mrs. Kensley is not a manager or in a role of a
 20       manager that would be in the decisionmaking
 21       process or Mr. Baumann's termination.
 22                       JUDGE MORAN:          Okay.      And so would you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 793    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 265


  1       respond to that objection?
  2                       MS. SMITH:         Yes.     Ms. Brewer's testimony
  3       is here to discuss the working relationship that
  4       she had with Mr. Baumann, the observations she
  5       made while she was an employee of American
  6       Tripoli, and regarding some of the defenses that
  7       the Respondent has raised as far as Mr. Baumann's
  8       work performance and conduct.                    Also, and we can
  9       raise this, she was one of the individuals
 10       interviewed that provided an interview statement
 11       for the investigation of this complaint.
 12                       JUDGE MORAN:          Okay.      So having heard
 13       from both sides, it's entirely appropriate that
 14       Ms. Brewer be able to testify in this proceeding
 15       despite your objection.                 I would note that your
 16       objection, while I'm overruling that, rejecting
 17       that, the prior two witnesses would have met that
 18       objection as well, but you didn't raise that for
 19       those individuals.
 20                       MR. TIDABACK:           I wanted to.          Just
 21       catching up on everything else, it slipped my
 22       mind, Your Honor.             So I wanted to make sure it


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 794    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 266


  1       just didn't keep going on.
  2                       JUDGE MORAN:          Sure.      And I wouldn't say
  3       I encourage you, but I welcome any objections that
  4       you have, you should make them, and then I will
  5       rule upon them as I just did.                    So I don't want you
  6       to feel intimidated from making objections in the
  7       future to anything that's going on.
  8                       MR. TIDABACK:           Your Honor, I do, and
  9       that's why I'm trying to listen 100 percent what
 10       your directions are, and so I'm learning.
 11                       JUDGE MORAN:          All right.         Thank you.         So
 12       Ms. Brewer, would you stand, please.                        I'm Judge
 13       Moran, nice to meet you.                 Would you raise your
 14       right hand, please.              Are we good, Mr. Holt?                 Okay.
 15       Whereupon,
 16                                   KENSLEY BREWER
 17       was called as a witness and, having been first
 18       duly sworn, was examined and testified as follows:
 19                       JUDGE MORAN:          I will need you to be
 20       seated, be comfortable, state your name and spell
 21       it, but if your response is indicative of the way
 22       you're going to speak, that's not going to be good


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 795    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 267


  1       enough.       I need you to speak up, and Mr. Holt has
  2       pointed out that you see this black microphone in
  3       front of you?
  4                       THE WITNESS:          Yes.
  5                       JUDGE MORAN:          Okay.      You want to get
  6       closer to that since you're soft spoken, and do
  7       you have on the other microphone?
  8                       THE WITNESS:          Yes.
  9                       JUDGE MORAN:          And Court Reporter, can
 10       you hear Ms. Brewer?
 11                       COURT REPORTER:            Yes, I can.
 12                       JUDGE MORAN:          Okay.      Great.       So you'll
 13       speak up if there's any issue?
 14                       COURT REPORTER:            Yes, I will.
 15                       JUDGE MORAN:          Thank you.         Okay.
 16       Attorney Smith, proceed.
 17                       MS. SMITH:         One housekeeping matter for
 18       you, Your Honor.            In your pretrial order it didn't
 19       address this issue.              As I mentioned, Ms. Brewer
 20       gave a statement as part of this investigation,
 21       and we have a copy of the un-redacted statement
 22       that typically in other cases, after we have a


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 796    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 268


  1       witness testify that was involved in the
  2       investigation, we would turn over a copy of the
  3       un-redacted statement to the Respondent after
  4       their testimony.            Is that how you'd like us to
  5       proceed today?
  6                       JUDGE MORAN:          Yes.
  7                       MS. SMITH:         We're prepared to do that.
  8                       DIRECT EXAMINATION
  9                       BY MS. SMITH:
 10               Q       And, Ms. Brewer, can you state and spell
 11       your name for the record.
 12               A       Kensley, K-e-n-s-l-e-y B-r-e-w-e-r.
 13                       MS. SMITH:         And then, Your Honor, we
 14       will also ask for the same protective order
 15       limiting any question of Ms. Brewer's current
 16       employer or her home address.
 17                       JUDGE MORAN:          That is granted and is to
 18       be observed.
 19                       BY MS. SMITH:
 20               Q       And Ms. Brewer --
 21                       JUDGE MORAN:          Mr. Tidaback has a
 22       question.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 797    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 269


  1                       MR. TIDABACK:           I don't know what that's
  2       for.     I mean, I understand your order, but I don't
  3       know.      I assume it's just normal procedures?
  4                       JUDGE MORAN:          Well, I mean, it's
  5       self-explanatory.             Protective, meaning that not
  6       saying that anyone would do that.
  7                       MR. TIDABACK:           That's what I'm asking.
  8                       JUDGE MORAN:          There's no suggestion that
  9       you would proceed to harass or otherwise bother
 10       any of the witnesses, but it also adds some
 11       gravitas to the seriousness.                    When I agree and say
 12       that the order of the protective order is granted,
 13       it underscores, puts in bold print the secretary's
 14       request.
 15                       MR. TIDABACK:           An assumption by the
 16       secretary that we would do that?
 17                       JUDGE MORAN:          No.     When one makes a
 18       protective, like many protective actions, this
 19       doesn't necessarily have to be an implication that
 20       someone would behave improperly.                      It's
 21       prophylactic.
 22                       MR. TIDABACK:           Okay.      Thank you, Your


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 798    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 270


  1       Honor.
  2                       BY MS. SMITH:
  3               Q       Ms. Brewer, how are you familiar with
  4       American Tripoli in Seneca, Missouri?
  5               A       It's a previous employer.
  6               Q       And what month and year did you work
  7       there?
  8               A       December of '22 into January of '23.
  9               Q       And what was your position at American
 10       Tripoli?
 11               A       So originally I had applied for a safety
 12       position, and then I was offered a production
 13       coordinator job, and then I ended up being like a
 14       secretary and I did, like I did the production
 15       part.       Did inventory and shipping and receiving a
 16       lot of the times, or helped with that.
 17               Q       So your job duties included shipping and
 18       receiving?
 19               A       Uh-huh.
 20               Q       And what other job duties did you have?
 21               A       I did a lot of secretary work as well.
 22       I dealt with, you know, the paperwork for the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 799    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 271


  1       shipments that were going out and the products
  2       that were going out.               I put seals on, you know,
  3       the semis.         It was -- that part was pretty
  4       straightforward.            I also, when I did like retail
  5       orders, I would have to be in the lab, and you
  6       know, weigh out everything and get it all prepared
  7       and packaged and then take it to the post office
  8       and ship it off.
  9               Q       And when you worked in the lab, was that
 10       in the mill?
 11               A       Yes.
 12               Q       And as part of your administrative
 13       secretarial job duties, were you ever involved
 14       with handling the mail?
 15               A       Yes.
 16               Q       When mail came in did you -- what was
 17       the particular procedures did you follow to kind
 18       of handle the process that mail?
 19               A       Typically we would scan it and e-mail it
 20       over to Jordan Tidaback, and then sometimes there
 21       would be some mail that would go to John Spears,
 22       too.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 800    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 272


  1               Q       And who was your supervisor?
  2               A       John Spears.
  3                       MR. TIDABACK:           Your Honor, I object
  4       related to Mr. Baumann's termination.
  5                       JUDGE MORAN:          Well, we're going to find
  6       that out.        The questioning has just begun in terms
  7       of her background, and I assume there will be some
  8       testimony that is related to Mr. Baumann's
  9       termination.          If there's no testimony or at all in
 10       that, then you can ask that, perhaps, I'll
 11       consider to be, have the testimony stricken as
 12       being irrelevant or immaterial.                     Okay?       So you
 13       have to give a little more time for the secretary
 14       to lay the foundation if it will -- if it were.
 15                       MR. TIDABACK:           Okay.      Yes, sir.
 16                       JUDGE MORAN:          As it were.
 17                       BY MS. SMITH:
 18               Q       How long had you worked at American
 19       Tripoli before you got the new miner trainer?
 20               A       Probably month, month and a half.
 21               Q       In your job did you work with Mr. Robert
 22       Baumann on a daily basis?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 801    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 273


  1               A       Yes.
  2               Q       And based on your work with him daily,
  3       what was your opinion of Mr. Rob Baumann's work?
  4               A       He was always really dedicated to his
  5       job and wanted everything to go right and be safe.
  6               Q       Did he do the work that was asked of
  7       him?
  8               A       So, yes, he did.            But sometimes things
  9       would be unsafe, and he would come and report to
 10       John in the administration building that I was in,
 11       and you know, he would tell John, you know, more
 12       than one time, and then finally, you know, he
 13       would have to stand up for what was right as far
 14       as safety went.            And he was just always trying to
 15       make sure that everything was as safe as possible,
 16       even though a lot of the times was being told to
 17       do otherwise.
 18                       JUDGE MORAN:          When you say John, are you
 19       referring to John Spears?
 20                       THE WITNESS:          Yes, Your Honor.
 21                       JUDGE MORAN:          If there's ever any other
 22       person named John, please distinguish that.                             I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 802    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 274


  1       will assume from here on out when you say John,
  2       you mean Mr. Spears.
  3                       THE WITNESS:          Yes.
  4                       JUDGE MORAN:          Thank you.
  5                       BY MS. SMITH:
  6               Q       And you mentioned that you had maybe
  7       heard a conversation between Mr. Baumann and John
  8       Spears in the admin building.                    Did you primarily
  9       work in the admin building?
 10               A       Yes.
 11               Q       And I don't think we've maybe discussed
 12       that here during the trial, but just giving us a
 13       picture.        We've talked a lot about the mill over
 14       the last two days.              Where was the admin building
 15       in relation to the mill?
 16               A       Just across the sidewalk, on the same
 17       side of the street.
 18               Q       Okay.      And your job, you primarily
 19       worked in the admin building?
 20               A       Yes.
 21               Q       And occasionally you worked in the mill
 22       and you said in the lab.                 Is that correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 803    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 275


  1               A       There, yes.         And then shipping and
  2       receiving.         A lot of the times I would take the
  3       paperwork over there for that as well.
  4               Q       And that was in the mill?
  5               A       Yes.
  6               Q       And how close was the place that you
  7       worked in the admin building to where John's
  8       office was?
  9               A       Maybe ten steps.
 10               Q       From where you worked in the admin
 11       building could you see John's office, John Spears'
 12       office?
 13               A       Yes.
 14               Q       Thank you.         Based on your daily
 15       interactions with Mr. Rob Baumann, was Mr.
 16       Baumann, did he show up to work on time?
 17               A       Yes.     He was always there early, as was
 18       I.    We were usually there before John Spears even
 19       showed up.
 20               Q       Did Mr. Baumann have a good attitude at
 21       work?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 804    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 276


  1               Q       Did Mr. Baumann care about safety?
  2               A       Yes.
  3               Q       Did you consider, based on your
  4       interactions with Mr. Baumann, to be -- was Mr.
  5       Baumann competent at his job?
  6               A       Yes.
  7               Q       In your role, like you mentioned the
  8       retail orders, the lab and shipping and receiving,
  9       did any of that work involve you working with Mr.
 10       Baumann?
 11               A       Shipping and receiving, yes.                    He helped
 12       me a lot with that as well, and then like in the
 13       evenings we would do -- we would fill out these
 14       Excel sheets to -- for like production and
 15       everything.
 16               Q       Was one of your jobs, we talked a little
 17       bit about some sort of production spreadsheet.                              Is
 18       that the spreadsheet you're talking about?
 19               A       Yes, ma'am.
 20               Q       And what was your job related to that
 21       production spreadsheet?
 22               A       Basically it would have like inventory.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 805    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 277


  1       So it would basically lay out like how much
  2       different types of product we had.
  3               Q       And were you responsible for maintaining
  4       that document?
  5               A       I was in learning of that at that time,
  6       yes.
  7               Q       Would you make entries into that
  8       document?
  9               A       Yes.
 10               Q       And then you said you worked on that
 11       with Mr. Baumann?
 12               A       In the evenings I was also kind of being
 13       trained by Mr. Tidaback as well.
 14               Q       How would you describe the safety
 15       culture at American Tripoli?
 16               A       Very unsafe.
 17               Q       Were you concerned about your safety at
 18       the mill?
 19               A       Anytime I went in that building, yes,
 20       ma'am.
 21               Q       And what kind of specifically were you
 22       concerned about?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 806    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 278


  1               A       It's very old and very rickety, and
  2       there is a lot of dust, so that worries me as far
  3       as breathing.           My grandpa actually worked there.
  4       He died in 1970, so it was before my time.                            I know
  5       that he died from repercussions of not being able
  6       to breathe.         So I always had a fear of that
  7       personally.
  8               Q       Do you know if Mr. Baumann ever
  9       complained to John Spears about his safety
 10       concerns at the mill?
 11               A       Constantly.
 12               Q       Did you observe any of those?
 13               A       Yes.
 14               Q       Tell us about them.
 15               A       He would explain to him what was going
 16       on with the machinery, as far as what was
 17       happening in the mill and when things weren't
 18       going correct and people could get potentially
 19       hurt in those situations.                  He would just, you
 20       know, say, John, we can't do this.                       This is not
 21       safe.       This is not safe.            I heard this is not safe
 22       multiple times a day, every day.                      It was a daily


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 807    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 279


  1       thing.
  2                       JUDGE MORAN:          Did you have an objection?
  3                       MR. TIDABACK:           I do.      In her statement
  4       she said she's been there a month and a half, and
  5       she's actually employed 17 days with us.
  6                       JUDGE MORAN:          Okay.      There you go.           I
  7       know you're not an attorney.                    That would be
  8       something on cross examination.                     You would say
  9       something along the lines of, did you testify on
 10       direct examination that you worked there, whatever
 11       you just said, but wasn't it in truth X number of
 12       days.       You know, so that's a cross examination
 13       area if you decide that that's important to her
 14       credibility.          I mean, that's your call, not mine.
 15       Go ahead, Attorney Smith.
 16                       BY MS. SMITH:
 17               Q       And just to clarify, you stated he would
 18       explain to him.            Who are the people you're talking
 19       about you said he would explain to him about the
 20       machinery?
 21               A       John Spears.          No, Rob Baumann.
 22               Q       Rob Baumann would explain to?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 808    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 280


  1               A       John Spears.
  2               Q       About the machinery?
  3               A       Yes.
  4               Q       And then you also said, I think you said
  5       he would say this is not safe.                     Were you referring
  6       to what Rob Baumann said that it is not safe?
  7               A       Yes.
  8                       JUDGE MORAN:          Let me ask a question now.
  9       So when you heard things like Mr. Baumann telling
 10       Mr. Spears that things were not safe, that's
 11       essentially what you heard?
 12                       THE WITNESS:          Yes.
 13                       JUDGE MORAN:          Where were you in
 14       relationship to those individuals when you heard
 15       sufficient things?
 16                       THE WITNESS:          Sitting at my desk.
 17                       JUDGE MORAN:          Okay.      And so that means
 18       -- does that mean that Mr. Baumann and Mr. Spears
 19       were in the building that you were in at that
 20       time?
 21                       THE WITNESS:          Yes, Your Honor.
 22                       JUDGE MORAN:          Okay.      And I think you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 809    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 281


  1       described earlier, this was -- where you heard
  2       this was in Mr. Spears' office?
  3                       THE WITNESS:          In the hallway and in the
  4       office.
  5                       JUDGE MORAN:          And Mr. Spears' office you
  6       said was -- did you say ten steps away?
  7                       THE WITNESS:          Roughly, yeah.
  8                       JUDGE MORAN:          Okay.      Go ahead.
  9                       BY MS. SMITH:
 10               Q       And then I want to direct your attention
 11       to a particular incident related to dust.                           Was
 12       there ever a time John Spears asked you to create
 13       something that would help capture and control the
 14       dust in the mill?
 15               A       Yes.     John brought, I don't know exactly
 16       what kind of material it was, but it was a sheet
 17       like thing.         It was thicker than a sheet, and he
 18       brought fishing line and he had me sew some sort
 19       of like filter, I guess, to put over one of the
 20       machines to reduce dust.                 And they would water it
 21       down.       I don't think that it lasted very long, but
 22       it was on the far side of the building, but yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 810    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 282


  1                       JUDGE MORAN:          You're telling me you
  2       helped install that, your --
  3                       THE WITNESS:          I did not install it.                I
  4       just sewed it.
  5                       JUDGE MORAN:          Okay.      And someone else
  6       put it on the machine --
  7                       THE WITNESS:          Yes.
  8                       JUDGE MORAN:          -- where it was located.
  9       Okay.       Go ahead.
 10                       BY MS. SMITH:
 11               Q       Do you recall any inspections by the
 12       Mine, Safety and Health Administration, MSHA,
 13       while you were employed at American Tripoli?
 14               A       Yes, ma'am.
 15               Q       How many?
 16               A       At least three to five times.
 17               Q       Can you tell us about any of them?
 18               A       They were always friendly.                  We weren't
 19       supposed to have the door unlocked, but a lot of
 20       the times with people going in and out the door
 21       would be unlocked.              So they would come in, and
 22       then they would be like, well, why was the door


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 811    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 283


  1       unlocked?        But they were always really friendly to
  2       me.     And like I know that we weren't supposed to
  3       talk to them, but I didn't really have a whole lot
  4       of conversation with them too much, but they were
  5       always friendly.
  6               Q       Okay.      When you say they, they were
  7       friendly, are you speaking?
  8               A       MSHA.
  9               Q       The MSHA inspectors?
 10               A       Yes, ma'am.
 11               Q       Okay.      And then when you said we weren't
 12       supposed to talk to them, who is we and them?
 13               A       John Spears would state that Russell
 14       said we are not supposed to talk to the MSHA
 15       inspectors.
 16               Q       And when you said we weren't supposed to
 17       have the door unlocked, what did that mean?
 18               A       I don't know why we weren't supposed to
 19       have the door unlocked.                 I do remember speaking to
 20       Mr. Tidaback about that, but he said it was for
 21       safety.       But I'm related to over half the town, so
 22       I didn't feel unsafe in the town that I was in, so


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 812    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 284


  1       I'm not sure.
  2               Q       Are you saying that Mr. Tidaback asked
  3       you to keep the door locked?
  4               A       Yes.
  5               Q       And this is the door to the admin
  6       building?
  7               A       Yes, ma'am.
  8               Q       Where you worked?
  9               A       Yes.
 10               Q       Did Mr. Tidaback -- and it's your
 11       testimony that Mr. Tidaback asked you to keep the
 12       door locked on the admin building was because of
 13       your safety?
 14               A       Yes.
 15                       JUDGE MORAN:          By the way, I take it, you
 16       tell me if I have this correct, that when you --
 17       there were moments when -- you said three or four
 18       occasions, forgive me if I'm wrong about what you
 19       said, were MSHA inspectors were there?
 20                       THE WITNESS:          Yes.
 21                       JUDGE MORAN:          And I take it that you
 22       meant they came into the admin building?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 813    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 285


  1                       THE WITNESS:          Yes.
  2                       JUDGE MORAN:          And so can I assume from
  3       that that that was the only location where you
  4       were in contact with the MSHA inspectors?                           And by
  5       that I mean, I take it, you didn't go on tour with
  6       them when they were going through the mill.                             Is
  7       that correct?
  8                       THE WITNESS:          Correct.
  9                       JUDGE MORAN:          Okay.      So your contact was
 10       in the -- solely within the admin building?
 11                       THE WITNESS:          Yes.
 12                       JUDGE MORAN:          All right.         Go ahead.
 13                       BY MS. SMITH:
 14               Q       And then you may have said this, but
 15       what was it that Mr. Spears instructed you to do
 16       when MSHA arrived on-site?
 17               A       Not to talk to MSHA.
 18               Q       Did he tell you why?
 19               A       No.
 20                       JUDGE MORAN:          He did not tell you why?
 21       Did you raise a question as to why?
 22                       THE WITNESS:          I mean, I wondered, but I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 814    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 286


  1       felt at that point that it was none of my
  2       business.
  3                       BY MS. SMITH:
  4               Q       Can you recall a time when you worked at
  5       American Tripoli when the mill was shut down?
  6               A       Yes.
  7               Q       Do you know what agency had shut down
  8       the mill?
  9               A       MSHA.
 10               Q       And did you know why MSHA was asking or
 11       had shut down the mill in this instance?
 12               A       Something to do with like fines.
 13               Q       Were you -- did you have a conversation
 14       with Mr. Baumann about the shutdown?
 15               A       Not really.         Other than he said that
 16       they were shut down but that's because I was like
 17       why are we running, but that's it.
 18               Q       Do you know whether Mr. Baumann
 19       participated in any of the MSHA inspections?
 20               A       I have no idea.
 21               Q       And did you ever interact with any of
 22       the MSHA inspectors?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 815    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 287


  1               A       I greeted them, you know, as they came
  2       into the administration building, but other than
  3       that, no.
  4               Q       Did you hear any of the MSHA inspectors
  5       yell?
  6               A       No.
  7               Q       Did any of the MSHA inspectors threaten
  8       you?
  9               A       No.
 10               Q       Did any MSHA inspector ever tell you
 11       they were going to take you to jail?
 12               A       No.     The police actually said that they
 13       would take everybody to jail.
 14               Q       But not MSHA?
 15               A       Not MSHA.
 16               Q       Were you ever scared of any of the MSHA
 17       inspectors?
 18               A       No.
 19                       MS. SMITH:         Just one moment, Your Honor,
 20       if I may.
 21                       JUDGE MORAN:          Sure.      Before you do, I'm
 22       going to ask the witness one question.                          When you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 816    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 288


  1       said that not MSHA but that the police said they
  2       were threatening to take you to jail, is that what
  3       you said?
  4                       THE WITNESS:          Yes.
  5                       JUDGE MORAN:          Okay.      Can you remember
  6       the context or the reason why they were
  7       threatening?
  8                       THE WITNESS:          There was a lot of dust
  9       blowing into the town, and it was just all in the
 10       air and they were trying to get, you know, them to
 11       shut down because obviously something wasn't
 12       working correctly.
 13                       JUDGE MORAN:          Okay.      Thank you.
 14                       BY MS. SMITH:
 15               Q       And, Ms. Brewer, as to the dates of your
 16       employment, does it refresh your recollection that
 17       you started your work at American Tripoli on
 18       December 19th, 2022?
 19               A       I know it was in December.                  I don't
 20       remember exactly what day.
 21               Q       Would it -- does it refresh your
 22       recollection that you terminated your employment


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 817    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 289


  1       with American Tripoli on January 24th, 2023?
  2               A       I want to say yes.
  3               Q       Okay.
  4                       MS. SMITH:         Just one moment.
  5                       JUDGE MORAN:          Sure.
  6                       MS. SMITH:         I'll direct the court's
  7       attention to Exhibit P39.
  8                       JUDGE MORAN:          Okay.
  9                       MS. SMITH:         It's been previously
 10       admitted, P39.
 11                       JUDGE MORAN:          That's helpful to remind
 12       me of that and by luck I happen to be on P39 right
 13       now.     It's entitled Interrogatories.
 14                       MS. SMITH:         Yes.     And we're looking at
 15       Page 15, and I'll just direct the Court's
 16       attention to Page 15 of P39 which is an
 17       interrogatory response by Respondent.                         It does lay
 18       out in the middle of the page, Item No. 25,
 19       Kensley Brewer, her job title, her dates of
 20       employment being December 19th of 2022 through
 21       January 24th of 2023.
 22                       JUDGE MORAN:          Thank you for calling that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 818    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 290


  1       to my attention.
  2                       MS. SMITH:         And at this time we have no
  3       further questions for this witness and we will be
  4       turning over a copy of her un-redacted statement
  5       to the Respondent.
  6                       JUDGE MORAN:          Yes.      Will I be getting --
  7       the only redaction is the name.                     Is that right?
  8                       MS. SMITH:         It is, and other identifying
  9       information.          We're not going to offer it as an
 10       exhibit.
 11                       JUDGE MORAN:          Okay.
 12                       MS. SMITH:         We do have a copy.
 13                       JUDGE MORAN:          No, that's fine.             All
 14       right.      Mr. Tidaback, once you receive that,
 15       you're now able to question Ms. Brewer.
 16                       MR. TIDABACK:           What is this for?
 17                       JUDGE MORAN:          That is just the
 18       un-redacted version of a statement given by Ms.
 19       Brewer, as I understand it.                   Right?
 20                       MS. SMITH:         Yes, Your Honor.             It is the
 21       un-redacted statement that Ms. Brewer gave to the
 22       MSHA inspector for the inspection of this.                            It is


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 819    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 291


  1       also located within Exhibit P41, and that's the
  2       redacted version is P41.
  3                       JUDGE MORAN:          Okay.      And 41 is in.
  4       Right?
  5                       MS. SMITH:         No, it is not.
  6                       JUDGE MORAN:          The redacted version has
  7       not been entered?
  8                       MS. O'REILLY:           No, we have not offered
  9       that as of yet.
 10                       JUDGE MORAN:          Okay.      Go ahead, Mr.
 11       Tidaback, if you have questions of Ms. Brewer.
 12                       MR. TIDABACK:           Yes, sir.
 13                       CROSS-EXAMINATION
 14                       BY MR. TIDABACK:
 15               Q       So do you recall taking your new miner
 16       training on December 23rd -- or 23rd of 2022?
 17               A       No.
 18               Q       You don't recall taking that training
 19       online?       You were given a certificate at the end?
 20               A       Maybe so.
 21               Q       Okay.
 22               A       I thought the new miners training was


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 820    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 292


  1       the training that we had like the week before I
  2       left which was in a classroom.                     Well, not a
  3       classroom but a room with everybody.
  4               Q       I know that they were given training.                            I
  5       just don't know specifically without looking
  6       through the records, but I know that there was
  7       additional training that you attended, but it
  8       wasn't your new miner training.                     Okay?       All right.
  9       Did you use Teams to communicate?
 10               A       Yes.
 11               Q       Okay.      So we determined how long you've
 12       been employed with -- at American Tripoli.                            During
 13       this time, how much time or how much of your
 14       tenure was spent in training versus actively
 15       performing your job duties?
 16               A       Not very long.
 17               Q       So if you were there 17 days and you
 18       took MSHA training three days, then we gave
 19       another day of, I think it was one day, I don't
 20       remember which training you did in January, but I
 21       think it was one day of training, so that would be
 22       five days?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 821    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 293


  1                       MS. SMITH:         We object to this question.
  2       It's testimony.            It's not a question.
  3                       THE WITNESS:          Three.
  4                       JUDGE MORAN:          Well, you're asking for
  5       the total number of days she was working and not
  6       in training?
  7                       MR. TIDABACK:           Correct.
  8                       JUDGE MORAN:          Do you know how many days
  9       you were actually doing your job and
 10       distinguishing that from not being able to do your
 11       job because you're in training?
 12                       THE WITNESS:          I could probably say
 13       three-fourths of the time that I was there I was
 14       working.
 15                       JUDGE MORAN:          Okay.
 16                       BY MR. TIDABACK:
 17               Q       In your role can you give a detailed
 18       explanation or description of your interaction
 19       with other mining departments?
 20               A       Can you ask that question one more time?
 21               Q       Can you detail the extent of your
 22       interaction with other mine departments or


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 822    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 294


  1       operations outside of your immediate role?
  2               A       So I worked every day with other
  3       departments because I worked -- I mean, I worked
  4       with Rob Baumann every day.                   You know, the
  5       maintenance, everybody was in the office all the
  6       time.       If they had questions, what can we do about
  7       this, what can we do about that and I had to
  8       report to John, so a lot of times I became John's
  9       assistant.
 10               Q       Right.
 11               A       So that's -- I mean, I worked with
 12       everybody all the time, and they were always very
 13       respectful to me.
 14               Q       Good, good.         I'm glad to hear that.                 Did
 15       Mr. Baumann have any negative discussions with you
 16       about the company?
 17               A       No.
 18               Q       Were you prepped by anyone for this
 19       testimony?
 20               A       No.
 21               Q       How did you gather the information you
 22       testified about regarding the conditions and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 823    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 295


  1       practices of the mine?
  2               A       Because I worked there and it was
  3       commonly spoke about.
  4               Q       Okay.      By who?
  5               A       Everyone.
  6               Q       Mr. Baumann?
  7               A       I didn't get to have like a one to one
  8       conversation about that, but everybody would be
  9       talking amongst each other.
 10               Q       Okay.      So if you didn't have the
 11       conversations with Mr. Baumann, how can you -- the
 12       testimony you gave to the secretary, how could you
 13       relate that he was a good person and cared about
 14       safety and --
 15               A       Because he was constantly talking to
 16       John about safety.
 17               Q       Okay.      So with that, with your statement
 18       there, can you explain how you were able to
 19       evaluate Mr. Baumann's job performance?
 20               A       I didn't say that I watched him do his
 21       job.     I'm confused.
 22               Q       Did the --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 824    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 296


  1                       JUDGE MORAN:          That's fine, and that's
  2       the appropriate answer.                 If you believe that you
  3       didn't talk about his job performance because you
  4       weren't there watching it, and that's an answer.
  5                       BY MR. TIDABACK:
  6               Q       Correct.        What specific instances of Mr.
  7       Baumann's protected activity are you aware of?
  8                       MS. SMITH:         I'm going to object to the
  9       question as protected activity isn't defined, and
 10       I think he's using a very particularized way that
 11       we have not agreed understanding of with this
 12       witness.
 13                       JUDGE MORAN:          Repeat that last part.
 14       You sort of softened up.
 15                       MS. SMITH:         Sorry.       The protected
 16       activity is a particular legal term of art here.
 17       I'm not sure that Ms. Brewer has an understanding
 18       of what you mean by that term.
 19                       JUDGE MORAN:          Fair enough.          Yes.      So you
 20       have to rephase your question.
 21                       MR. TIDABACK:           Yes, Your Honor.
 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 825    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 297


  1                       BY MR. TIDABACK:
  2               Q       Okay.      So if an MSHA inspector was to
  3       ask you questions, would you answer those
  4       questions?
  5               A       Yes.
  6               Q       That is an act -- do you understand that
  7       that is a protected act under the Miners Act,
  8       speaking with the MSHA inspectors?
  9               A       What do you mean exactly?
 10               Q       Speaking to an MSHA inspector is a
 11       protected act under the miners rights of the
 12       Miners Act.
 13               A       Okay.
 14               Q       So if you talked to an MSHA inspector,
 15       that is your protected right as a miner.
 16                       JUDGE MORAN:          Okay.      See, you're making
 17       assertions about things.                 You can ask her
 18       questions about what she knows.                     Actually her
 19       legal conclusion as to whether it's protected
 20       activity, that's something I would decide.
 21                       MR. TIDABACK:           Yes, Your Honor.            Okay.
 22                       JUDGE MORAN:          Just remember, this is


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 826    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 298


  1       about Mr. Baumann.
  2                       MR. TIDABACK:           Correct, Your Honor.
  3                       JUDGE MORAN:          And her observations about
  4       interactions between Mr. Spears and Mr. Baumann.
  5                       MR. TIDABACK:           Perfect.        Thank you, Your
  6       Honor.
  7                       BY MR. TIDABACK:
  8               Q       Can you describe the nature and
  9       frequency of your communications with the mine
 10       owners and Mr. Spears?
 11               A       So I feel like a lot of communication
 12       was done through technology.                    This is the first
 13       time I have ever met you in person.
 14               Q       Yes, ma'am.
 15                       JUDGE MORAN:          Today, right now?
 16                       THE WITNESS:          Yes.
 17                       JUDGE MORAN:          Thank you.         When you say
 18       you, you mean Mr. Tidaback?
 19                       THE WITNESS:          And Ms. Jordan.
 20                       JUDGE MORAN:          First time you have met
 21       either of them in person?
 22                       THE WITNESS:          Yes.      So usually I only --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 827    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 299


  1       I mean, I spoke to you on the phone, I have spoke
  2       to you via like Zoom or video chat.                        I don't know
  3       specifically.           It was probably Teams, I guess.                     I
  4       mean, I just feel like we had a very disgruntled
  5       conversation of me -- with me and you at the end
  6       of my employment because I really don't know why,
  7       but I felt like I -- you weren't confident in my
  8       work, and so that's where that -- I felt very
  9       disrespected.
 10                       BY MR. TIDABACK:
 11               Q       And that conversation, do you remember
 12       what it was about?
 13               A       Yes.
 14               Q       Okay.
 15               A       It was about inventory.                 It was a Monday
 16       morning.        It was about 20 degrees outside, and it
 17       was very cold.           There's thousand pound bags you
 18       wanted me to go out and re-count that I had
 19       counted Friday evening with John Spears before I
 20       left.       And you were insistent, even though no
 21       shipments had left, that I go out and count those
 22       thousand pound bags in 20 degree weather when


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 828    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 300


  1       there's no heat in the mill.
  2               Q       Thousand pounds?            I'm sorry, I'm not
  3       sure.
  4               A       Your big bags.           The big bugs.           The bulk
  5       bags.
  6               Q       Oh, the bulk bags?
  7               A       Yes.
  8               Q       Okay.
  9               A       And we had had a disagreement about that
 10       because you weren't sure of my work until I had
 11       explained to you that John had already done it
 12       with me, and I felt very disrespected and that is
 13       why I quit.
 14               Q       Okay.      So during that conversation I was
 15       just asking you to count inventory which is part
 16       of your job description.                 Correct?
 17               A       Which I had already done on Friday, as
 18       you asked me to do.
 19                       JUDGE MORAN:          Okay.
 20                       MS. SMITH:         I was going to object to --
 21       he asked her about a conversation they had.                             She
 22       answered it, and now we seem to be straying into


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 829    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 301


  1       kind of non-relevant areas.
  2                       JUDGE MORAN:          I agree.
  3                       MR. TIDABACK:           Yes, Your Honor.
  4                       JUDGE MORAN:          So the objection is
  5       sustained.
  6                       BY MR. TIDABACK:
  7               Q       So during your conversations or
  8       overhearing of conversations with Mr. Baumann and
  9       Mr. Spears, did you ever hear Mr. Spears raise his
 10       voice to anyone?
 11               A       Yes.
 12               Q       Did -- anyone in particular?
 13               A       Several people.
 14               Q       Did he raise his voice at Mr. Baumann?
 15               A       He had, yeah.
 16               Q       Okay.      Did you hear Mr. Baumann raise
 17       his voice at John Spears?
 18               A       When it came to safety he did, because
 19       John would not listen because John was being told
 20       to do it otherwise.
 21               Q       So how would you know that?
 22               A       Because John would say Russell said this


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 830    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 302


  1       is what we're doing.
  2               Q       Okay.      And then you stated that you
  3       heard the police state that they were going to
  4       take you to jail.             Did you hear that directly from
  5       the police officer or is that hearsay?
  6               A       No.     They said that in the
  7       administration building talking to John.
  8               Q       Who is -- who is they?
  9               A       The police.
 10               Q       Okay.      The police, you heard them say
 11       that?
 12               A       Yes.
 13                       JUDGE MORAN:          If you have any redirect,
 14       you may.        Just one second.
 15                       MS. SMITH:         No, we do not.
 16                       JUDGE MORAN:          Just I'm curious.             So when
 17       you have this 22 degree weather demand that you go
 18       back out and check the bags, check the weight,
 19       what the tag said.              Right?
 20                       THE WITNESS:          He wanted me to go and
 21       count the inventory.
 22                       JUDGE MORAN:          Count the inventory again.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 831    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 303


  1       I'm sorry.
  2                       THE WITNESS:          Yes.
  3                       JUDGE MORAN:          So you explained that you
  4       had done that on the previous Friday with Mr.
  5       Spears.
  6                       THE WITNESS:          Yes.      And we were closed
  7       on the weekend and no shipments had left.
  8                       JUDGE MORAN:          Okay.      But by curiosity,
  9       did you then say I quit or did you go out and
 10       check the inventory again?                  What happened?
 11                       THE WITNESS:          I quit.
 12                       JUDGE MORAN:          You quit right there on
 13       the spot?
 14                       THE WITNESS:          Yes.
 15                       MS. SMITH:         We have no further questions
 16       for this witness.
 17                       JUDGE MORAN:          All right.         And do you
 18       have any other questions, based on my question to
 19       Ms. Brewer?         I'm not saying you should.                   I'm
 20       offering you the opportunity to ask another
 21       question about my question.
 22                       MR. TIDABACK:           Right.      Yes, Your Honor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 832    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 304


  1                       BY MR. TIDABACK:
  2               Q       During that conversation with you and I,
  3       you felt that I disrespected you.                       Did you say
  4       anything in that conversation that was
  5       disrespectful to me?
  6               A       Yes.
  7                       MS. SMITH:         We're going to object as to
  8       relevance of the question.
  9                       JUDGE MORAN:          I think that given what
 10       happened here, that she then quit, that the
 11       question and therefore the answer are irrelevant
 12       to this proceeding.
 13                       MR. TIDABACK:           Yes, Your Honor.
 14                       MS. SMITH:         And we're done with this
 15       witness if she's allowed to leave for the day, and
 16       we do need to hand her the forms for appearing
 17       based on the subpoena.
 18                       JUDGE MORAN:          Thank you, Ms. Brewer, for
 19       your testimony.            I wish you well for the rest of
 20       the day and beyond that.
 21                       THE WITNESS:          Thank you, Your Honor.
 22                       MS. SMITH:         Also we ask, Judge, that you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 833    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 305


  1       inform her that she's not to speak to anyone until
  2       these proceedings are complete.
  3                       JUDGE MORAN:          Thank you for reminding me
  4       of that.        I told all the witnesses, and if I don't
  5       forget, hopefully I'll be reminded to tell future
  6       witnesses, until you hear from the Secretary's
  7       attorneys and I mean from them, that this
  8       proceeding is over, I don't want you to speak with
  9       anyone about this.
 10                       THE WITNESS:          Okay.
 11                       JUDGE MORAN:          And it is possible, I
 12       don't have a crystal ball, that this proceeding
 13       might have to be continued a few weeks from now.
 14       And so we have a requirement that you not speak
 15       with anyone.          Might quite a long period of time.
 16       But she'll let you know when the proceeding is
 17       over, the Secretary's attorneys will.                         All right.
 18       Thank you again for your testimony.
 19                       Okay.      Who's next?
 20                       MS. O'REILLY:           The Secretary calls
 21       Michael Dillingham.
 22                       JUDGE MORAN:          I'm not going to call you


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 834    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 306


  1       doc.     Okay?
  2                       THE WITNESS:          You can call me whatever
  3       you want.
  4                       JUDGE MORAN:          Okay.      Mr. -- we'll have a
  5       formality here.            Okay?      All right.         So I'm going
  6       to swear you in.            Court Reporter, still with us?
  7                       COURT REPORTER:            Yes, I am.
  8                       JUDGE MORAN:          Okay.      Thank you very
  9       much.      And I see you have raised your right hand.
 10       Thank you.
 11       Whereupon,
 12                                MICHAEL DILLINGHAM
 13       was called as a witness and, having been first
 14       duly sworn, was examined and testified as follows:
 15                       JUDGE MORAN:          As you saw the other
 16       witnesses do, because you're the MSHA
 17       representative in this proceeding, I want to you
 18       state your name and spell it.
 19                       THE WITNESS:          Michael Dillingham.
 20       M-i-c-h-a-e-l D-i-l-l-i-n-g-h-a-m.
 21                       JUDGE MORAN:          Go ahead, Attorney Smith.
 22       O'Reilly.        Sorry.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 835    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 307


  1                       DIRECT EXAMINATION
  2                       BY MS. O'REILLY:
  3               Q       Mr. Dillingham, you are currently
  4       employed by the U.S. Department of Labor, Mine
  5       Safety and Health Administration.                       Is that
  6       correct?
  7               A       Yes.
  8               Q       What is your job title?
  9               A       I'm special investigator.
 10               Q       How long have you held that job title?
 11               A       Just a little over ten years.
 12               Q       As part of that role what type of cases
 13       do you investigate?
 14               A       I investigate the -- actually, I enforce
 15       105 and 110 of the Mine Act.
 16               Q       And how long have you worked for MSHA?
 17               A       Be 17 years in April.
 18               Q       Prior to becoming a special investigator
 19       what was your job title?
 20               A       I was a federal mine inspector.
 21               Q       Other than your work with MSHA, do you
 22       have any other experience working in mines?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 836    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 308


  1               A       I started my mining career on August the
  2       13th, 1974.         During that time in between there I
  3       had 31 years before I became to MSHA.                         My
  4       background is coal.              This year, in August, I'll
  5       have 50 years.
  6                       JUDGE MORAN:          Congratulations.
  7                       THE WITNESS:          I worked 16 years -- 15
  8       years underground, 10 years surface.                        I had six
  9       years mine construction and then my MSHA time,
 10       seven years as inspector and then my ten years,
 11       so.
 12                       BY MS. O'REILLY:
 13               Q       And did you conduct a 105(c)
 14       investigation into the discrimination complaint
 15       filed by Robert Baumann?
 16               A       I did.
 17               Q       And I'll direct you to look at Exhibit
 18       P1.
 19               A       Be a test training me on these books.
 20                       MS. O'REILLY:           Can I approach the
 21       witness just to show him?
 22                       JUDGE MORAN:          Yes, of course.            P1, if


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 837    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 309


  1       you will open up in that book.
  2                       BY MS. O'REILLY:
  3               Q       Are you there?
  4               A       I am.
  5               Q       And do you know what this document is?
  6               A       I do.
  7               Q       What is this document?
  8               A       It's an MSHA Form 2123.
  9               Q       And who filled out this form?
 10               A       Crystal Vanover.
 11               Q       And then is this -- it looks like it was
 12       received by Crystal Vanover.                    Is that correct?
 13               A       Yeah, she's the complaint processor.
 14       She's the one that, whenever a complaint comes in,
 15       as investigators, we don't take the complaints.
 16       We have a complaint processor that does that, and
 17       that's Ms. Vanover.
 18               Q       And whose complaint is this?
 19               A       It's Robert Baumann.
 20               Q       And is this complaint a document that's
 21       maintained as part of MSHA's investigatory process
 22       into discrimination complaints?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 838    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 310


  1               A       Yes.
  2               Q       And this is part of your investigation?
  3               A       Yes.
  4                       MS. O'REILLY:           I move to admit Exhibit
  5       P1.
  6                       JUDGE MORAN:          P1 is admitted.
  7                               (Complainant's Exhibit P-1 was
  8                               marked for identification and
  9                               received in evidence.)
 10                       BY MS. O'REILLY:
 11               Q       What date was Mr. Baumann's
 12       discrimination complaint filed?
 13               A       April 25th, 2023.
 14               Q       And in the discrimination complaint, who
 15       did Mr. Baumann allege discriminated against him?
 16               A       Russell Tidaback, Jordan Tidaback and
 17       John Spears.
 18               Q       As part of the 105(c) investigation,
 19       does MSHA notify the mine operator that a
 20       complaint has been filed?
 21               A       Yes.
 22               Q       Did that happen in this case?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 839    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 311


  1               A       Yes.
  2               Q       Do you know who would have been
  3       notified?
  4               A       They should have sent a letter to all
  5       three of them.           All three of the persons named in
  6       this will get a certified letter with a return
  7       receipt.
  8               Q       And do you keep track of that letter as
  9       part of your investigation file?
 10               A       We do.
 11               Q       And do you also keep track of any sort
 12       of receipt showing that those letters were
 13       delivered?
 14               A       We do.
 15               Q       Do you know when the complaint was
 16       delivered to the operator in this case?
 17               A       4-27.
 18               Q       And that was based on your review of
 19       your file?
 20               A       Beg pardon?
 21               Q       You know that from the review of your
 22       file, that date?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 840    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 312


  1               A       Well, I have got it off the top of my
  2       head, but.
  3               Q       That's how --
  4               A       Yeah, it's part of my file.
  5               Q       Yes.     Okay.      Did you gather information
  6       about the mine as part of your investigation?
  7               A       We do.
  8               Q       Could you turn to Exhibit P17.                     Are you
  9       there?      Do you know what that document is?
 10               A       Yes.
 11               Q       Did you see this document as part of
 12       your investigation?
 13               A       I did.
 14               Q       And what is this document?
 15               A       This is a legal ID report.                  That's what
 16       MSHA requires to be filled out.                     It's got all the
 17       pertinent information that in case anybody, as far
 18       as within MSHA, wants to go to that mine.                           And do
 19       you want me to kind of break it down a little bit
 20       --
 21               Q       Sure.
 22               A       -- for you?         Well, like us, I don't look


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 841    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 313


  1       at everybody's legal ID all the time, but if we
  2       get a case come up, then we pull their legal ID.
  3       That's part of what we do.                  And we read and see
  4       who's named as person in charge helping safety,
  5       who's the manager, who is the president of the
  6       company, where's it's located.                     It tells all that
  7       information.          But also if an inspector, say, was
  8       to have an accident or if you're going to have
  9       just a regular inspection or if you have anything
 10       that comes up, that inspector can go into our trek
 11       and come and find this, and it's under -- it's
 12       agency.       It's not regular for anybody other.                        It's
 13       inhouse.        But you can find this and go in and then
 14       they can find that information out and know that,
 15       too.
 16               Q       So this is information that's maintained
 17       in the regular course of business with MSHA?
 18               A       It is, and, too, if someone changes,
 19       something was to change on this, because at the
 20       top it's got effective date 3-31-23.                        But if
 21       something was to change on that, then he would
 22       have to go on and they got so many days to change


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 842    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 314


  1       this, to update it.              Like if someone was to quit
  2       or someone get discharged or, you know, something
  3       happened to that, they have to go in there and do
  4       that.
  5               Q       And so you gathered this document as
  6       part of your investigation in this case?
  7               A       Yes.
  8               Q       And you put it in your investigation
  9       file?
 10               A       I did.
 11               Q       And you maintained it there?
 12               A       Yes.
 13               Q       And is this a fair and accurate copy of
 14       the legal ID report for American Tripoli?
 15               A       That was the latest one, yes.
 16                       MS. O'REILLY:           I you have to admit
 17       Exhibit P17.
 18                       JUDGE MORAN:          P17 is admitted.             Excuse
 19       me.
 20                               (Complainant's Exhibit P-17 was
 21                               marked for identification and
 22                               received in evidence.)


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 843    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 315


  1                       BY MS. O'REILLY:
  2               Q       And this -- the mine American Tripoli is
  3       located in Seneca, Missouri.                    Is that correct?
  4               A       Yes.
  5               Q       And what is the name of the mine?
  6               A       They tried to pronounce it day or two
  7       ago.     I call it Missouri Seneca Manufacturing.                           I
  8       don't know.         That's what I think it's -- I think
  9       that's what it means to me.                   LLC, DOB, d/b/a is
 10       American Tripoli.
 11               Q       Okay.      And it's listed here.                It's
 12       spelled M-o-s-e-n-e-c-a MFR, LLC d/b/a American
 13       Tripoli.        Is that your understanding of the name?
 14               A       I think somebody made a typo but that's
 15       what's in here.            I think they should have typed
 16       out the TR, not abbreviated.
 17               Q       So what you were saying earlier, how you
 18       say it, how you say just it in regular language,
 19       but that's right here is what it's listed as.                              Is
 20       that correct?
 21               A       Yes.
 22               Q       And this is the mine that Robert Baumann


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 844    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 316


  1       worked at.         Correct?
  2               A       Correct.
  3               Q       And does this list the name of the
  4       operator?
  5               A       It does.
  6               Q       And who was the operator at the time?
  7               A       American Tripoli -- Tripoli or Tripoli.
  8               Q       And is it your understanding that this
  9       is a metal, nonmetal mine?
 10               A       Yes.
 11               Q       Did you interview Mr. Baumann as part of
 12       your investigation?
 13               A       Yes.
 14               Q       Did Mr. Baumann tell you why he thought
 15       he was terminated?
 16               A       Yes.
 17               Q       And why was that?
 18               A       He thought it was because he had
 19       reported safety violations and he had brought up
 20       safety concerns, and all also being newly selected
 21       representative for the miners, that he was
 22       exercising his rights under the miners rights and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 845    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 317


  1       under the Mine Act, that he had been discriminated
  2       against and terminated.
  3               Q       Did you interview any miners, any other
  4       miners from American Tripoli as part of your
  5       investigation?
  6               A       I did.
  7               Q       I'll turn your attention to Exhibit P41.
  8       That's going to be in Volume 2.                     Different
  9       notebook.        And I'll note that -- are you there
 10       yet?     Sorry.
 11               A       I'm there.
 12               Q       I'll note this document contains
 13       redactions.         Did you conduct interviews of two
 14       miners at the mine without saying their names?
 15               A       I did.
 16               Q       And one of those was Kensley Brewer.
 17       Correct?
 18               A       Correct.
 19               Q       And so I believe her interview is
 20       redacted in this exhibit on Pages 6 through 10 and
 21       we now have provided the un-redacted copy to
 22       Respondent.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 846    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 318


  1               A       Now, we're on 41.             Correct?
  2               Q       Yeah.      Is that correct that these are
  3       your interview notes?
  4               A       Yes.
  5               Q       Okay.      And you understand that we
  6       redacted those to protect the name of the miners?
  7               A       Yes.
  8               Q       With regard to your interview of Kensley
  9       Brewer, did she tell you about whether Mr. Baumann
 10       was a good employee?
 11               A       She did.
 12               Q       And what did she say?
 13               A       She said Rob was -- Mr. Baumann, he was
 14       a -- he was good to work with.                     He was a stand up
 15       guy.     He -- I'm going to read this out of here.
 16       I'm going -- he was a stand up guy.                        He stood for
 17       safety.       He stood up for the workers.                    He tried to
 18       do what the right thing was and tried to work with
 19       people, and you know, he would listen to you, and
 20       you know, he had knowledge of the plant.                           And he,
 21       you know, he genuinely cared, you know, and he
 22       tried to do a good job.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 847    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 319


  1               Q       Did she confirm that Mr. Baumann made
  2       safety complaints to management?
  3               A       Yes.
  4               Q       Did she say how American Tripoli
  5       responded to those safety complaints?
  6               A       How that they responded?
  7               Q       Yeah, if you recall.
  8               A       Ask me that again.
  9               Q       Did she say anything about how American
 10       Tripoli management responded to any of the safety
 11       complaints Mr. Baumann raised?
 12                       JUDGE MORAN:          And you know, Counsel,
 13       it's perfectly appropriate if you know the answer
 14       to that question, if you could direct Mr.
 15       Dillingham to a page on the exhibit and then ask
 16       him if that refreshes his recollection rather than
 17       hunting through this document.
 18                       MS. O'REILLY:           Understood.
 19                       THE WITNESS:          And there's not a lot to
 20       this interview here really.
 21                       JUDGE MORAN:          Just -- let's wait for the
 22       questions to come on.               One thing is that you could


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 848    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 320


  1       say, if appropriate, Mr. Dillingham, that if you
  2       don't recall if -- if Ms. -- one second.                           If Ms.
  3       Brewer -- if you don't recall if Ms. Brewer told
  4       you how Tripoli responded to the safety
  5       complaints, you could just say I don't recall.                              If
  6       it's in the exhibit.
  7                       MS. O'REILLY:           Yeah.
  8                       JUDGE MORAN:          You found it.
  9                       BY MS. O'REILLY:
 10               Q       Yes.     I'll direct your attention to Page
 11       6, one, two, three, the third paragraph under
 12       towards the end.            Do you see where it states
 13       there, "He would take over someone's job and do it
 14       if they thought it was unsafe.                     If an employee
 15       would say to him this is not safe, you he take it
 16       over and do it anyway.                He would even bribe people
 17       with saying, ah, go ahead and I'll go to Dairy
 18       Queen and get you a hamburger."                     Does that refresh
 19       your recollection about how Respondent responded
 20       to the issues?
 21               A       Yeah, but I think I got confused here,
 22       because Exhibit 5 and 6 are in this as one


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 849    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 321


  1       document.
  2               Q       Okay.
  3               A       That is where I got confused.
  4               Q       Yes.     I put both of the interviews in
  5       one Exhibit, P41 and you're referring to your
  6       Exhibits 5 and 6 from your investigation file, and
  7       I think that's what's causing confusion.                           If you
  8       look at the very bottom there's Bates numbering
  9       and it says Exhibit P41.                 Do you see that at the
 10       bottom?
 11               A       Yes.
 12               Q       And it will say Page 00.                 What I am
 13       looking at is page 006 of this P41.
 14               A       Okay.      Sorry about that.
 15                       JUDGE MORAN:          No one is faulting you.
 16       Just speed this along, you're talking -- you're
 17       asking Mr. Dillingham to focus on the paragraph
 18       that begins on a personal level, John Spears?
 19                       MS. O'REILLY:           Yes.
 20                       JUDGE MORAN:          You see that paragraph?
 21                       THE WITNESS:          Yes, sir.
 22                       JUDGE MORAN:          This, again, it's been


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 850    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 322


  1       awhile now -- I'm kidding -- that the question was
  2       how did American Tripoli respond to safety
  3       complaints, and I believe that's why Attorney
  4       O'Reilly is asking you about that.
  5                       THE WITNESS:          On this, and I would have
  6       to read this out of here, and it says, on a
  7       personal level.            Is that where you're talking
  8       about?
  9                       BY MS. O'REILLY:
 10               Q       Yeah.
 11               A       Yeah.      And do you want me to read?
 12               Q       No.     Do you recall that conversation?
 13               A       I remember the conversation.                    I remember
 14       -- I mean, this is my documents.
 15               Q       Right.      So can you tell us about that
 16       conversation?
 17               A       You know, of course, you got to
 18       remember, too, I've read these over but it's been
 19       a year since I did this.
 20               Q       Understood.
 21                       JUDGE MORAN:          That's fine.
 22               A       You know, but -- and from what I could


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 851    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 323


  1       understand, you know, and you would listen to what
  2       you would say here where Mr. Baumann would come
  3       and address something to Mr. Spears or Mr.
  4       Tidaback, and if they felt like that, you know,
  5       say Mr. Baumann says I don't want to do this here
  6       because it's unsafe act.                 Then they come up and
  7       say that John Spears would just go ahead and do it
  8       anyway, safe or not.               Is that what you're getting
  9       at?
 10                       BY MS. O'REILLY:
 11               Q       Yes.
 12               A       And I do remember this, but I guess I
 13       didn't click on what you're saying here, and you
 14       know, to go on in here, and of course, you've got
 15       the documents and everybody does, but you know, it
 16       would say where, you know, that John Spears didn't
 17       make know difference what it was.                       If Russell told
 18       him to do it, he would do it, and I'm talking
 19       about Mr. Tidaback and that's what was said here.
 20               Q       Thank you.         And then I'm going to be
 21       referring back to Page 1 of Exhibit P41, so the
 22       other interview.            You have also interviewed


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 852    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 324


  1       another miner.           Don't state the name, in addition
  2       to Ms. Brewer.           Correct?
  3               A       Yes.
  4               Q       And did this miner confirm that miners
  5       in American Tripoli had a personnel file?
  6               A       They did.        They said that each miner had
  7       a personnel file, and that in that personnel file
  8       that it had their IRS information or tax records,
  9       like W-2 stuff or whatever.                   Every type of when
 10       you started a few job that you need, anything that
 11       you required in there.                It may be Social Security
 12       number and stuff, and you're just -- it's your
 13       personnel file.            I mean, it's a private personnel
 14       file, but they had one, yes.
 15               Q       And did you receive Mr. Baumann's
 16       personnel file as part of your investigation?
 17               A       I did not.
 18               Q       Did you request it?
 19               A       I did.      Three times.
 20               Q       Did this miner discuss with you American
 21       Tripoli's disciplinary policy?
 22               A       They did.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 853    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 325


  1               Q       And did you understand that -- what did
  2       you understand the disciplinary policy to be?                              Do
  3       you recall?
  4               A       Well, from talking to this miner and
  5       then I did get a copy of the American Tripoli
  6       handbook, and it says right in there that it's a
  7       three step process.              No. 1, if they have got an
  8       issue, they converse with you about it.                          They talk
  9       to you about it.            No. 2, you get some kind of
 10       written form, and then after that, the next thing
 11       would be -- would be potential termination or
 12       disciplinary action, you know, whatever they could
 13       warranted to do.
 14               Q       And did this miner confirm that they had
 15       written up -- they had done written discipline in
 16       the past at American Tripoli?
 17               A       Yes.
 18                       JUDGE MORAN:          When you requested the
 19       personnel files for Mr. Baumann, you say three
 20       times you made the request?
 21                       THE WITNESS:          Yes, sir.
 22                       JUDGE MORAN:          And how did you make those


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 854    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 326


  1       requests?        Writing or verbally?
  2                       THE WITNESS:          It was in writing.
  3                       JUDGE MORAN:          In writing?
  4                       THE WITNESS:          Yes.
  5                       JUDGE MORAN:          Three separate letters?
  6                       THE WITNESS:          Yes.
  7                       JUDGE MORAN:          Did you ever receive a
  8       response one way or another such as there some
  9       options here.           One is you received no response.
 10       The other is we declined to give it to you.                             What
 11       applied to the three letters you sent?
 12                       THE WITNESS:          Well, to be truthful about
 13       it, you know, I asked for the personnel file that
 14       I didn't get, and all of that's in the case file,
 15       and --
 16                       JUDGE MORAN:          Try and focus on my
 17       question.        What, if anything, did they respond to
 18       your three letters?              No, we're not giving it.
 19                       THE WITNESS:          No, they gave me bits and
 20       pieces of it.           It might have been, and I have to
 21       look back and see, but I don't think I got very
 22       little at all, if any, of his personnel file,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 855    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 327


  1       because that's what I was looking for.                          Where's
  2       the three step process, and I didn't receive that.
  3                       JUDGE MORAN:          Okay.
  4                       BY MS. O'REILLY:
  5               Q       And so in your investigation did you ask
  6       for any disciplinary records for Mr. Baumann?
  7               A       I did.
  8               Q       Did you receive any written disciplinary
  9       records for Mr. Baumann?
 10               A       I did not.
 11               Q       I'm going to turn your attention to
 12       Exhibit P16.          That's going to be in a different
 13       notebook.        The first one that we had.
 14                       JUDGE MORAN:          Are we moving for any
 15       partial introduction of -- we, I mean you, of
 16       course, P41?
 17                       MS. O'REILLY:           Yes.     We will move to
 18       admission of Exhibit P41.
 19                       JUDGE MORAN:          All right.         Any objection
 20       to P41?       Thank you.
 21                       MR. TIDABACK:           No.
 22                       JUDGE MORAN:          Thank you.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 856    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 328


  1                       BY MS. O'REILLY:
  2               Q       Are you seeing P16 now?
  3               A       I am on that, yes.
  4               Q       And do you know what this document is?
  5               A       It's the employees handbook, table of
  6       contents, and I see all the -- this is what I was
  7       sent --
  8               Q       Okay.
  9               A       -- by American Tripoli.
 10               Q       You received this as part of your
 11       investigation?
 12               A       Yes.
 13               Q       And did you put this in your
 14       investigation file?
 15               A       I did.
 16               Q       And did you maintain it there?
 17               A       Yes.
 18               Q       And is it a regular part of your
 19       business to keep the documents you receive in an
 20       investigation from your investigation file?
 21               A       Yes.
 22               Q       Is this a true and accurate copy of the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 857    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 329


  1       employee handbook you received during your
  2       investigation?
  3               A       I think so.         It was one of 46 pages, so
  4       it says there's 46 here.
  5                       MS. O'REILLY:           I would move to admit
  6       Exhibit P16.
  7                       JUDGE MORAN:          Any objection to P16?
  8                       MR. TIDABACK:           No, Your Honor.
  9                       JUDGE MORAN:          P16 is admitted.
 10                               (Complainant's Exhibit P-16 was
 11                               marked for identification and
 12                               received in evidence.)
 13                       BY MS. O'REILLY:
 14               Q       And I'll direct your attention to Page
 15       43 of Exhibit P16.              On this page do you see
 16       progressive discipline listed on that page?
 17               A       Yes.
 18               Q       And is this your understanding that this
 19       was the disciplinary policy of American Tripoli at
 20       the time of Mr. Baumann's termination?
 21               A       Yes.
 22               Q       As part of your investigation of this


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 858    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 330


  1       complaint did you interview Mr. Tidaback?
  2               A       I did not.
  3               Q       Did you interview Mr. Spears?
  4               A       No.
  5               Q       Did you ask to interview them?
  6               A       I asked to interview or a position
  7       statement.         They sent me a position statement.
  8               Q       And did you review that position
  9       statement?
 10               A       I did.
 11               Q       And was their position statement
 12       supported by the other evidence you received in
 13       your investigation?              Let me ask it differently.
 14       Was that position statement consistent with the
 15       other information you received in your
 16       investigation?
 17               A       No.
 18               Q       Did you run into any -- it sounds like
 19       you ran into this issues gathering information
 20       from American Tripoli during your investigation.
 21       Correct?
 22               A       Correct.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 859    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 331


  1               Q       Did you ask for Teams chats as part of
  2       your investigation?
  3               A       I did.
  4               Q       Did you only get a portion of the Teams
  5       chats you requested as part of your investigation?
  6               A       I got a small portion.
  7               Q       At the time of MSHA's inspection, were
  8       you provided with all of the Teams chats you have
  9       seen us talking about that have been presented at
 10       this hearing?
 11               A       Say that again.
 12               Q       You've been sitting in at this hearing
 13       as MSHA representative and you've seen us go
 14       through multiple page of the Teams chat.                           Did you
 15       receive all of those in your investigation?
 16               A       No.
 17               Q       Did you determine that Mr. Baumann was a
 18       miner?
 19               A       I did.
 20               Q       Did you determine that Mr. Baumann
 21       engaged in protected activity?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 860    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 332


  1               Q       And what was that activity?
  2               A       The activity?
  3               Q       Yes.
  4               A       He reported safety hazards.                   He reported
  5       safety concerns.            He was also a representative of
  6       the miners that had been interfered with in his
  7       duties as representative of miners.
  8               Q       Did you determine -- go ahead.
  9               A       I did realize an adverse action.
 10               Q       Did you determine that Mr. Baumann
 11       suffered an adverse action?
 12               A       Yes.
 13               Q       Did you determine that Mr. Baumann's
 14       termination -- what was the adverse action?
 15               A       He was terminated.
 16               Q       Did you determine that Mr. Baumann's
 17       adverse action was motivated by the protected
 18       activity he engaged in?
 19               A       Yes.
 20               Q       And why did you reach that
 21       determination?
 22               A       There was a nexus between those two.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 861    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 333


  1       You know, he became ripped -- of course, he had
  2       been, you know, safety advocate for awhile, but
  3       you know, and come to safety concerns, reported
  4       safety hazards, and then he had just been a miners
  5       rep for this very few weeks whenever he was -- and
  6       after coming up and the inspectors coming and him
  7       doing his duties under the representative of
  8       miners, then the next thing happened was he
  9       traveled with the inspectors and whenever they
 10       issued the orders that they issued that shut the
 11       mill down, then, you know, he went on and done his
 12       duties per those representing the miners and check
 13       into it and read his represented miners rights and
 14       miners rights book and found out the miners should
 15       have been paid or compensated for the rest of that
 16       shift and four hours into the next shift.                           And
 17       when he confronted management about it, from what
 18       I gathered, they were reluctant on paying that,
 19       but -- and like two, three days later he was
 20       terminated.         So that's a pretty close proximity.
 21               Q       After you finished your 105 -- after you
 22       finished your 105(b) investigation into Mr.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 862    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 334


  1       Baumann's complaint, did the investigation go to
  2       another department of MSHA?
  3               A       It does.
  4               Q       Where does it go?
  5               A       It goes to our technical investigative
  6       compliance division, and there -- that's in
  7       Arlington, and then there it is analyzed by
  8       another set of individuals that they pick it apart
  9       and look at it and analyze it, and you know, they
 10       do what they do.
 11               Q       And then do you have an understanding as
 12       to where it goes from the technical center?
 13               A       It then it goes in MSHA's solicitor's
 14       office.
 15               Q       And do these other entities continue the
 16       secretary's investigation?
 17               A       Yes.
 18                       MS. O'REILLY:           I have a few MSHA, like,
 19       records and documents I was going to try to get
 20       admitted, either through this witness or I can
 21       just kind of explain them.                  For example, Exhibit
 22       P42 they signed memorandum listing just the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 863    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 335


  1       penalty in this case from MSHA.
  2                       JUDGE MORAN:          This is a regularly kept
  3       business record?
  4                       MS. O'REILLY:           Yes.
  5                       JUDGE MORAN:          So that's one.            P42?     Do
  6       you have an objection to P42, Mr. Tidaback?
  7                       MR. TIDABACK:           No.
  8                       JUDGE MORAN:          P42 is admitted.
  9                               (Complainant's Exhibit P-42 was
 10                               marked for identification and
 11                               received in evidence.)
 12                       MS. O'REILLY:           And then --
 13                       JUDGE MORAN:          You have some others.
 14       Right?
 15                       MS. O'REILLY:           Yes.
 16                       JUDGE MORAN:          Go ahead.
 17                       MS. O'REILLY:           So next is Exhibit P22,
 18       and this is a --
 19                       JUDGE MORAN:          P22?
 20                       MS. O'REILLY:           Yes.     P22.
 21                       JUDGE MORAN:          So this doesn't involve
 22       you, Mr. Dillingham.               This is in the nature of


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 864    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 336


  1       admitting regularly kept business records, so go
  2       ahead.
  3                       MS. O'REILLY:           Yeah.      Exhibit P22 I
  4       would argue is a self-authenticating as well.
  5       It's certified on the last page by Caroline
  6       Fetters, the assessed violation history for the
  7       mine.
  8                       JUDGE MORAN:          Two year violation
  9       history?
 10                       MS. O'REILLY:           Yes.     So I move to admit
 11       Exhibit P22.
 12                       JUDGE MORAN:          Any objection to P22?
 13                       MR. TIDABACK:           No.
 14                       JUDGE MORAN:          P22 is admitted.
 15                               (Complainant's Exhibit P-22 was
 16                               marked for identification and
 17                               received in evidence.)
 18                       MS. O'REILLY:           Then I would also move to
 19       admit Exhibits P19 and P20.                   These both come from
 20       the mine data retrieval system we talked about
 21       previously.         It's a publicly available document
 22       that MSHA maintains on mines and it just contains


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 865    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 337


  1       information about the mine with regard to the size
  2       of the mine and the penalty factors.
  3                       JUDGE MORAN:          I need those numbers
  4       again, please.
  5                       MS. O'REILLY:           P19 and P20.
  6                       JUDGE MORAN:          P19 just being a one page
  7       document?
  8                       MS. O'REILLY:           Yes.     Correct.
  9                       JUDGE MORAN:          And tell me what that
 10       document is again?
 11                       MS. O'REILLY:           It's from the mine data
 12       retrieval system and just tells the production
 13       hours, as far as for penalty factors, you know,
 14       the size of the mine and what production is.
 15                       JUDGE MORAN:          I see.
 16                       MS. O'REILLY:           Getting it in for that
 17       purpose.
 18                       JUDGE MORAN:          I see.       Any objection to
 19       P19, Mr. Tidaback?
 20                       MR. TIDABACK:           No.
 21                       JUDGE MORAN:          P19 is admitted.
 22                               (Complainant's Exhibit P-19 was


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 866    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 338


  1                               marked for identification and
  2                               received in evidence.)
  3                       MS. O'REILLY:           P20 is the same thing,
  4       except it just goes over the more citation
  5       history, but it's from the mine data retrieval
  6       system as well.
  7                       JUDGE MORAN:          You mean it's a
  8       continuation --
  9                       MS. O'REILLY:           No.     It's just another
 10       document from the mine data retrieval data system.
 11                       JUDGE MORAN:          Okay.      How does this
 12       inform me?
 13                       MS. O'REILLY:           This just lists the
 14       different inspections and then citations at the
 15       mine we've been talking about, inspections,
 16       citations.         It's just more of an official record
 17       that these were taking place and the dates of
 18       those.      So it shows, you know, in the year 2023,
 19       2022, the citations on the mine.
 20                       JUDGE MORAN:          I see it's data including
 21       the number of, for example, in the top line that
 22       there were the 104(a) citations issued in 2023.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 867    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 339


  1                       MS. O'REILLY:           Correct.
  2                       JUDGE MORAN:          And it lists the other
  3       types of violations or orders.
  4                       MS. O'REILLY:           Correct.
  5                       JUDGE MORAN:          All right.         Any objection
  6       to P20?       P20 is admitted.
  7                               (Complainant's Exhibit P-20 was
  8                               marked for identification and
  9                               received in evidence.)
 10                       MS. O'REILLY:           And then P23 is a
 11       document.        It's more information that is in the
 12       penalty assessment comes from, as far as the size
 13       of the mine and the history of the mine, so it's
 14       just an MSHA report maintained about the mine and
 15       violations at the mine throughout its history.
 16                       JUDGE MORAN:          All right.         Any objection
 17       to P23?
 18                       MR. TIDABACK:           Just trying to figure out
 19       how this deals with Mr. Baumann's termination,
 20       Your Honor.
 21                       JUDGE MORAN:          I could answer that but
 22       it's not for me to do that.                   Go ahead, Ms.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 868    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 340


  1       O'Reilly.
  2                       MS. O'REILLY:           For the penalty factors
  3       the Court has to determine the size of the mine,
  4       the past history.             I'm just getting these in for
  5       the Court's reference when he makes that
  6       determination.
  7                       MR. TIDABACK:           No objection.
  8                       JUDGE MORAN:          Okay.      Thank you.         P23 is
  9       now admitted.
 10                               (Complainant's Exhibit P-23 was
 11                               marked for identification and
 12                               received in evidence.)
 13                       MS. O'REILLY:           And I have no further
 14       questions at this time for this witness.
 15                       JUDGE MORAN:          Okay.      Are you ready to
 16       cross examine Mr. Dillingham?
 17                       MR. TIDABACK:           Yes.
 18                       JUDGE MORAN:          Okay.      Thank you.         Ms.
 19       Blackerby, how are you doing?
 20                       COURT REPORTER:            I'm doing fine.
 21                       JUDGE MORAN:          Thank you.         Do you need a
 22       break?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 869    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 341


  1                       COURT REPORTER:            No, I'm good.
  2                       CROSS-EXAMINATION
  3                       BY MR. TIDABACK:
  4               Q       Mr. Dillingham, on Exhibit P16,
  5       hopefully you're still turned to that page.                             I
  6       know it's pretty big.
  7                       JUDGE MORAN:          P16?
  8                       MR. TIDABACK:           P16.     Yes, Your Honor.
  9                       JUDGE MORAN:          Okay.      Tell us when you're
 10       there.
 11                       THE WITNESS:          Okay.
 12                       BY MR. TIDABACK:
 13               Q       Do you recall reading the last paragraph
 14       of the progressive disciplinary hearing paragraph?
 15               A       I read all this, all these documents
 16       here.
 17               Q       If you wouldn't mind --
 18                       JUDGE MORAN:          Well, do you want him to
 19       read from your disciplinary procedure, handbook of
 20       -- your employees handbook, do you want him to
 21       read from that?
 22                       MR. TIDABACK:           I'm asking did he read


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 870    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                               Page: 342


  1       the last paragraph since the Secretary asked him
  2       before about the three steps, did he read the
  3       entire progressive disciplinary paragraph.
  4                       JUDGE MORAN:          Did you read the entire
  5       part of this, on Page 43, I believe it is.                            Is
  6       that right, Page 43?
  7                       MR. TIDABACK:           Yes, Your Honor.
  8                       JUDGE MORAN:          I don't mean right now.
  9       At some point during your investigation.
 10                       THE WITNESS:          I read this whole policy
 11       here.
 12                       BY MR. TIDABACK:
 13               Q       Okay.      So in this instance, at the
 14       bottom.       The last sentence of that section, do you
 15       agree that it states, "For serious offenses we may
 16       terminate you without warning"?
 17                       MS. O'REILLY:           I would object, it's not
 18       a direct quote, but.
 19                       JUDGE MORAN:          You're paraphrasing what's
 20       in there.
 21                       MR. TIDABACK:           The last sentence, Your
 22       Honor.      Yeah, for serious offenses -- I'm sorry.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 871    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 343


  1       For serious offenses --
  2                       JUDGE MORAN:          Then there's an example.
  3       Sexual harassment, we may terminate you without
  4       warning.        Do you agree that's in there as part of
  5       the progressive discipline, Inspector Dillingham?
  6                       THE WITNESS:          Yes, I understand that.
  7                       BY MR. TIDABACK:
  8               Q       Okay.      So how do you document your
  9       findings during the inspection and any official
 10       communication with us?                You have all those
 11       records.        Like you said it goes into your files?
 12               A       How do we document what I get from you?
 13               Q       Yes.
 14               A       We keep it.         I've got a case file.                We
 15       created a case file.               We start from the beginning
 16       and it's tabbed just like these books are.
 17               Q       Correct.
 18               A       And we -- it goes in a sequential order
 19       and we keep everything in order, and we keep that.
 20       That's confidential.
 21               Q       Thank you.         Did you have any
 22       interactions with the Claimant prior to your


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 872    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 344


  1       investigation?
  2               A       No.
  3               Q       Okay.      Have you had any interactions
  4       with the Claimant after hours or off site prior to
  5       the Claimant's discrimination filing?
  6               A       Say that one more time.
  7               Q       Have you had interactions with the
  8       Claimant after hours or off site prior to
  9       Claimant's discrimination filing?
 10               A       The only time, I guess I could say this,
 11       are you talking about Mr. Baumann?
 12               Q       Yes, sir.
 13               A       When I done the interview for Mr.
 14       Baumann, he, of course, and I'm going to kind of
 15       get into this here.              I met him off site.               I didn't
 16       meet him at an MSHA office or my hotel or
 17       something.         We met away from, I mean in another
 18       location.        So I don't know if that's what you're
 19       meaning, but we didn't hang out, went to the bar,
 20       but you know.
 21               Q       Prior to his -- prior to the Claimant's
 22       discrimination filing did you have any


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 873    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 345


  1       communications with Mr. Baumann?
  2               A       Not that I know of.
  3               Q       If you did, would you record it as
  4       official communications in your inspection report?
  5                       MS. O'REILLY:           Objection, it calls for
  6       speculation.          He's already answered that he did
  7       not.
  8                       JUDGE MORAN:          I sustain the objection.
  9                       BY MR. TIDABACK:
 10               Q       Fair enough.          Okay.      Have you ever
 11       expressed opinions about our company or its
 12       practices either publicly or privately outside of
 13       your official reports?
 14               A       I don't know exactly how.                  We talked to
 15       our supervisors.            I mean, yeah, I've talked to a
 16       few people within MSHA we talked because I also
 17       have a 110 investigation that's going right now,
 18       so.
 19                       JUDGE MORAN:          Okay.      We don't want to go
 20       -- that's probably my case, or if it comes to
 21       pass.
 22                       THE WITNESS:          Yeah, I do talk to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 874    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 346


  1       different people.
  2                       BY MR. TIDABACK:
  3               Q       So you talk to the -- you do talk to the
  4       inspectors, the MSHA inspectors that have visited
  5       our site about this case?
  6                       MS. O'REILLY:           I'll object.          It's the
  7       process.        He's kind of towing the line of talking
  8       about internal workings of the agency and internal
  9       deliberations in reaching determinations.                           I will
 10       represent just for the record, Mr. Dillingham was
 11       involved in another 105(b) investigation with this
 12       mine and a 110(c) investigation, so I think we can
 13       stipulate that he's involved in a variety of cases
 14       with this mine.            I don't know how that's relevant
 15       to this case, though.
 16                       JUDGE MORAN:          And I agree on several
 17       points that you just made, including your
 18       reference to deliberative process.                       That's a
 19       privilege.         Meaning it's an area that it can be
 20       disclosed, and the idea behind that is that if you
 21       were to not have a deliberative privilege, people
 22       would be hesitant to speak freely about matters


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 875    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 347


  1       that they're looking at.                 So for those reasons
  2       those conversations are not something that can be
  3       closed or discussed.
  4                       MR. TIDABACK:           The question was about
  5       opinions.        Not factual information.
  6                       MS. O'REILLY:           That's precisely what the
  7       privilege is for.             It's to allow for open and free
  8       communication among MSHA personnel about
  9       investigations that are ongoing or that are
 10       completed.
 11                       JUDGE MORAN:          Yes.      I sustain the
 12       objection from the Secretary.
 13                       MR. TIDABACK:           Okay.
 14                       THE WITNESS:          Can I clear something up?
 15                       JUDGE MORAN:          No.
 16                       THE WITNESS:          Okay.
 17                       JUDGE MORAN:          Because we can't have
 18       witnesses volunteering information.                        Not to be
 19       rude to you, it's just that we have to have the
 20       same rules apply in this proceeding and in all
 21       proceedings, so uniformly to the witnesses.
 22                       THE WITNESS:          That's what was going to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 876    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 348


  1       explain how our system works.
  2                       MS. O'REILLY:           We're saying we shouldn't
  3       explain how our process works, due to the
  4       deliberative process privilege.                     So be careful as
  5       to revealing internal workings, internal
  6       conversations, we would object to that.
  7                       JUDGE MORAN:          What I said, don't
  8       volunteer things.             Listen to questions asked and
  9       answer, as best you can, without going afield, or
 10       afield from the question itself.                      Focus on the
 11       question.        All right?         Go ahead, sir.
 12                       BY MR. TIDABACK:
 13               Q       In the statement, mine operator
 14       statement you received from us.
 15               A       Yes.
 16               Q       With reading that, did you have
 17       additional questions?
 18               A       I think we -- I had questions and we'd
 19       try to clarify things, because I didn't receive
 20       what I asked for.
 21               Q       Did you -- did you follow up and ask
 22       those questions?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 877    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 349


  1               A       I asked for additional -- I asked for
  2       that, what we asked for initially be fulfilled,
  3       because that was something that we, you know,
  4       under 103, you know, we have that right.
  5               Q       But those questions specifically that
  6       you had, did you speak to Mr. Spears, myself or
  7       Jordan?
  8               A       No.
  9                       MR. TIDABACK:           That's all my questions.
 10                       JUDGE MORAN:          Okay.      Any questions?
 11                       MS. O'REILLY:           No more questions, Your
 12       Honor, for this witness.
 13                       JUDGE MORAN:          Okay.      Thank you, Mr.
 14       Dillingham, for your testimony, sir, and of
 15       course, you'll be staying in the courtroom because
 16       you're the MSHA representative.
 17                       MS. O'REILLY:           And the Secretary is
 18       going to call Mr. Keith Markeson.
 19                       JUDGE MORAN:          Okay.
 20                       MR. TIDABACK:           I object, Your Honor, to
 21       the witness.
 22                       JUDGE MORAN:          We're going -- you can


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 878    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                                Page: 350


  1       object once I swear him in.                   I'll listen to your
  2       objection.
  3                       MR. TIDABACK:           Yes, Your Honor.
  4                       THE WITNESS:          Thank you, Your Honor.
  5                       JUDGE MORAN:          Thank you, Doc Dillingham.
  6       Okay.      Court Reporter, can you hear me?
  7                       COURT REPORTER:            Yes, I can.
  8                       JUDGE MORAN:          Do you need a break?
  9                       COURT REPORTER:            No, I'm fine.
 10                       JUDGE MORAN:          I couldn't hear.
 11                       COURT REPORTER:            I'm fine.
 12                       JUDGE MORAN:          You're fine.          Okay.       I
 13       didn't ask you if you needed a break, did I?                             I'm
 14       sorry.      We could take a minute or two.                      I don't
 15       have to have somebody in here every second.                             Are
 16       you concerned about -- we're safe.                       Okay.      So
 17       we'll pause while you will get your relief person
 18       in.
 19                               (Recess)
 20                       JUDGE MORAN:          We are going to -- I can't
 21       swear you in right now.                 I guess we can proceed.
 22       The bailiff, the marshal, I'm not sure of his


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 879    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 351


  1       correct title, wants to make sure that there's
  2       someone in here.            That's this courtroom's
  3       procedure, but I don't -- I don't see a problem
  4       with us proceeding, so let's do that.                         Okay.      So
  5       I'm Judge Moran.            Nice to meet you, and I'm going
  6       to swear you in.            Your name is Keith Markeson?
  7                       THE WITNESS:          It is.
  8                       JUDGE MORAN:          Please raise your right
  9       hand, sir.
 10       Whereupon,
 11                                   KEITH MARKESON
 12       was called as a witness and, having been first
 13       duly sworn, was examined and testified as follows:
 14                       JUDGE MORAN:          Please be seated, and the
 15       protocol is for you to state your name and then
 16       spell it.
 17                       THE WITNESS:          My name is Keith Stephen
 18       Markeson.        K-e-i-t-h S-t-e-p-h-e-n
 19       M-a-r-k-e-s-o-n.
 20                       JUDGE MORAN:          And so Mr. Tidaback has an
 21       objection to this witness testifying.                         Is that
 22       true?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 880    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 352


  1                       MR. TIDABACK:           That is correct, Your
  2       Honor.
  3                       JUDGE MORAN:          Okay.      And so I would like
  4       you to state the basis of your objection.
  5                       MR. TIDABACK:           There's two of them.               The
  6       first one we object to this witness due to his
  7       testimony of not having to do with Rob Baumann's
  8       termination in any way.                 He's not involved in the
  9       decisionmaking process of that.                     The second one is
 10       there's an open MSHA case, a complaint case
 11       against Inspector Markeson.                   We do not have a
 12       conclusion on that, Your Honor.
 13                       JUDGE MORAN:          Okay.      Well, taking them
 14       in reverse order.             The second issue, you say
 15       there's a complaint that you have filed against
 16       Inspector Markeson?
 17                       MR. TIDABACK:           Yes, Your Honor.
 18                       JUDGE MORAN:          Okay.      To limit to the
 19       extent I'll allow you to ask questions on cross
 20       examination that's going to be very limited
 21       because this is in the category, again, of
 22       something being afield from this proceeding, but


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 881    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 353


  1       it is my understanding, you tell me if I'm wrong
  2       about this, that there have been references during
  3       the course of the hearing that American Tripoli
  4       has had issues with this inspector's behavior
  5       during his inspections.                 Is that true?
  6                       MR. TIDABACK:           That is correct.
  7                       JUDGE MORAN:          That's something that
  8       during cross examination you can ask him about
  9       whether the relationship or whether there was
 10       problems in dealing with one another.                         You can ask
 11       that, but as to your first point, which was that
 12       you say this individual was not involved in the
 13       decision-making process.
 14                       MR. TIDABACK:           Correct.
 15                       JUDGE MORAN:          None of the witnesses that
 16       have testified have been involved in the
 17       decisionmaking process, if by that you mean that
 18       the decision to terminate.
 19                       MR. TIDABACK:           Sure.
 20                       JUDGE MORAN:          Okay.      So this witness, I
 21       haven't yet heard from, Attorney Moll, I assume is
 22       going to testify about, because it's been an


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 882    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 354


  1       issue, about this operation, what he observed and
  2       whether there were problems with compliance,
  3       because his name has been invoked here as being,
  4       perhaps, a contentious inspector.                       Okay.      And so
  5       I'm denying your request that he be precluded from
  6       testifying.         You'll have some rights, limited
  7       rights for appropriate questions during cross
  8       examination.
  9                       Now, do you want to add to anything to
 10       that Attorney Moll?
 11                       MR. MOLL:        Your Honor, I agree with what
 12       you had stated.            I'd also like to note for the
 13       record that to my knowledge, there is no active
 14       complaint against Mr. Markeson as well, and Mr.
 15       Markeson will also be testifying regarding his
 16       interactions with Mr. Baumann and his observations
 17       at American Tripoli.               So it will be directly
 18       relevant to the issues in this case.
 19                       JUDGE MORAN:          Okay, sir.         So on cross
 20       examination you can ask, I'm addressing this for
 21       Mr. Tidaback, you can inquire about whether
 22       there's an active investigation going on against


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 883    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 355


  1       this inspector, and we're not going to get into
  2       the details of that, but he can either confirm
  3       whether there was an active investigation.                            All
  4       right.      You can ask, I guess, another question.
  5       You could ask if there's been any disciplinary
  6       action brought against this inspector for any of
  7       his activities while inspecting at your mine.                              So
  8       those would be some of the areas that you could
  9       ask about, and those questions would be directed
 10       -- the purpose of such questions would be to
 11       challenge his credibility on his witness -- his
 12       credibility as a witness in this case.                          All right.
 13       In other words, the suggestion would be that he
 14       has an axe to grind, if there's a contentious
 15       relationship and whether I find that that's true
 16       or not is a different matter.                    But I'm telling you
 17       about the limited scope of your cross examination
 18       when it comes up of this witness.
 19                       Now, Attorney Moll, you seem like a fine
 20       fellow and you're young, which is a great thing.
 21       Wish I could be young again.                    Not going to happen,
 22       but I want you to confine yourself to speak


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 884    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 356


  1       forcefully, okay.             In other words, so we can all
  2       hear you.        If you're soft spoken, you're going to
  3       have to urge that soft spoken knob up so that it's
  4       not soft spoken.            Will you do that for me?
  5                       MR. MOLL:        Yes, Your Honor.             I don't
  6       think that will be an issue.
  7                       JUDGE MORAN:          Okay.      Good.      So begin
  8       with you're questioning of Inspector Markeson.
  9                       DIRECT EXAMINATION
 10                       BY MR. MOLL:
 11               Q       Will you please state your name for the
 12       record.
 13               A       Keith Stephen Markeson.
 14               Q       And where do you currently employed?
 15               A       The Mine Safety and Health
 16       Administration, Rolla, Missouri field office.
 17               Q       Okay.      And what's your current title
 18       with the Mine Safety Health Administration or
 19       MSHA?
 20               A       Mine safety and health inspector.
 21               Q       And how long have you worked for MSHA?
 22               A       Sixteen and a half years.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 885    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 357


  1               Q       What was your job prior to working MSHA?
  2               A       I was a senior mine geologist for the
  3       Delrin Company.
  4               Q       And how long were you in that position?
  5               A       For five years.
  6               Q       Okay.      And so approximately how long
  7       have you worked in the mining industry?
  8               A       Since the year 2000.
  9               Q       Okay.      Now, as an inspector, what are
 10       your job duties?
 11               A       Inspect mines for compliance for the 30
 12       CFR and the Federal Mine Safety and Health Act and
 13       the miner act.           Conduct accident investigations,
 14       and I am also a member of the national mine rescue
 15       team.
 16               Q       Did you ever inspect American Tripoli or
 17       the mine known as American Tripoli?
 18               A       Yes.     Many times.
 19               Q       Okay.      Can you briefly describe the
 20       operations occurring at American Tripoli?
 21               A       They quarry their material over in
 22       Oklahoma.        That material is then trucked over to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 886    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 358


  1       drying sheds on the Missouri side.                       Dries for a
  2       period of time there, and then it is trucked again
  3       to the plant in Seneca, Missouri, where it is
  4       crushed and ground and sized and then packaged for
  5       sale.
  6               Q       Okay.      And would you inspect the plant
  7       in Seneca, Missouri?
  8               A       Yes.
  9               Q       Okay.      So during your inspections at
 10       this plant at Seneca, Missouri, did you ever meet
 11       Rob Baumann?
 12               A       Yes, I did.
 13               Q       Okay.      And approximately how many times
 14       did you interact with him, Mr. Baumann?
 15               A       Rob accompanied me, or Mr. Baumann,
 16       sorry, Mr. Baumann accompanied me on every
 17       inspection I conducted there, including one
 18       inspection after his termination.
 19               Q       Okay.      And when you say he accompanied
 20       you, what did that entail?
 21               A       So prior to him being elected as a
 22       miners representative he accompanied me as the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 887    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 359


  1       company representative.                 He was the production
  2       supervisor.         And then after he was elected as the
  3       miners representative, he accompanied me as the
  4       miners representative.
  5               Q       And are you familiar with the members of
  6       management at American Tripoli?
  7               A       I'm familiar with the members of
  8       management that were there when I was there.
  9               Q       And who would that have been?
 10               A       John Spears was the operations manager.
 11       Rob Baumann was the production supervisor, and
 12       then Jordan and Russell Tidaback were in the
 13       ownership roles.
 14               Q       Did you ever meet Russell Tidaback?
 15               A       Yes.     I met him for the fist time on
 16       February 27th.
 17               Q       Okay.      And what would --
 18                       JUDGE MORAN:          February 27th of?
 19                       THE WITNESS:          2023.
 20               Q       (By Mr. Moll)           Okay.      And what context
 21       would that have been?
 22               A       We were at the mine conducting a


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 888    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 360


  1       complaint investigation, and Mr. Tidaback came in
  2       from out of town to participate in that
  3       investigation.
  4               Q       Okay.      And during that time that
  5       Tidaback -- Mr. Tidaback was there, was Mr.
  6       Baumann also there?
  7               A       Yes, he was.
  8               Q       Okay.      And did Mr. Baumann participate
  9       in an inspection during that time period?
 10               A       Yes.     He accompanied me.
 11               Q       Okay.      And did Mr. Tidaback see Mr.
 12       Baumann participating in that inspection?
 13               A       I would assume so.              He was with us.
 14               Q       Okay.      So both of them were together
 15       with you at the same time.                  Is that correct?
 16               A       Actually, it was Mr. Tidaback, Mr.
 17       Baumann and Mr. Spears were all with us.
 18               Q       Understood.         During your interactions
 19       during inspections, what was Mr. Baumann's
 20       attitude like?
 21               A       He was -- he was a good company
 22       representative.            He didn't necessarily elaborate


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 889    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 361


  1       on things, but when I asked him a direct question
  2       he gave me a direct answer.                   He was very helpful
  3       in explaining how the operation worked so that I
  4       could understand how things proceeded through the
  5       plant.      And after his election as a miners
  6       representative he brought other miners' concerns
  7       to me to be addressed during the inspections.
  8               Q       Okay.      And did it seem like Mr. Baumann
  9       had a good grasp on how things worked at the mine?
 10               A       Yes.     Very good.         He was the guy who
 11       knew how the plant ran.
 12               Q       And did it seem like he had, Mr. Baumann
 13       had a good understanding of the safety issues that
 14       might have been present at American Tripoli?
 15               A       Yes, he did.
 16               Q       Okay.      Did you ever get the feeling that
 17       Mr. Baumann was frustrated with what was going on
 18       at the mine?
 19               A       Yes.     Actually, during the first day
 20       that I traveled with him he brought some concerns
 21       to my attention when we were on the top floor of
 22       the mill building that needed to be addressed.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 890    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 362


  1               Q       Okay.      And why was he frustrated with
  2       those?
  3               A       A miner had gotten hurt at the mine.                        He
  4       had fallen through some floor grating and gotten
  5       hurt, and he didn't want anybody else to get hurt.
  6       And during some of the repairs that were conducted
  7       at the mine, he was directed to leave guards out
  8       of place to get back into production faster, and
  9       he thought that was a concern that needed to be
 10       addressed.
 11               Q       Did Mr. Baumann ever seem frustrated
 12       that he wasn't able to fix some of the safety
 13       issues that were presented at the mine?
 14               A       Yes.     Definitely.
 15               Q       Okay.      And could you explain a little
 16       bit more about that?
 17               A       He told me that he wanted to fix them,
 18       but they had trouble with their maintenance men.
 19       They had gone through several maintenance people,
 20       and also, that his supervisor, John Spears, would
 21       not allow him to take -- shut the plant down long
 22       enough to fix some of the issues.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 891    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 363


  1               Q       Okay.      So did you -- did you get a sense
  2       that Mr. Baumann was trying his best to get things
  3       fixed but was unable to do so?
  4               A       Yes.     That was my impression.
  5               Q       Okay.      And I think you mentioned earlier
  6       that Mr. Baumann was the miners rep.                        Could you
  7       expand a little bit more about how that came to
  8       be?
  9               A       So during the normal course of my
 10       inspections we talk about miners rights as we're
 11       talking to the miners, and one of the things I
 12       brought up in their break room one day while they
 13       were all in there was that if they chose to do so,
 14       they could elect a miners representative, which
 15       would be a person to accompany MSHA, that would
 16       also have the right to accompany us, and that they
 17       could conference citations, just like the mine
 18       operator.        They could request inspections, just
 19       like the mine operator.                 And if they chose to do
 20       so, to let me know and I would get them what they
 21       needed, the paperwork they needed.                       And I think
 22       shortly thereafter I provided them with the paper,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 892    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 364


  1       the election paperwork.
  2               Q       Okay.      And so you provided Mr. Baumann
  3       with the paperwork necessary to become a miners
  4       representative?
  5               A       Yes.
  6               Q       Okay.      And did he then become elected to
  7       become a miners representative?
  8               A       Yes.     On the -- on March 21st of 2023 he
  9       was elected.
 10               Q       Okay.      And after that happened, what did
 11       you do?
 12               A       So right at the beginning of that day of
 13       inspection on the 21st I met with Mr. Baumann.                              He
 14       told me that he had been elected as the miners
 15       representative.            I looked at -- he gave me the
 16       form.       I looked at it.           The miners that elected
 17       him were present.             I asked them to confirm that
 18       they had indeed elected him as the miners
 19       representative.            They confirmed that they did.
 20                       I then paused the inspection, went into
 21       the main office, and explained to Mr. Spears that
 22       they now had a miners representative that had the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 893    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 365


  1       authority -- that had the right to accompany us
  2       during our inspections.                 They also had the right
  3       to conference citations, sit in on a close outs,
  4       that type of thing.              And I showed Mr. Spears the
  5       top half of the election form that showed that Mr.
  6       Baumann was elected.               I covered the bottom half,
  7       because the miners that elected him elected --
  8       wanted to remain confidential.
  9               Q       Okay.      And so Mr. Spears knew that Mr.
 10       Baumann was the miners rep after that
 11       conversation.           Is that correct?
 12               A       Yes.
 13               Q       Okay.      And you say you kept the bottom
 14       half of the sheet with the names of the people who
 15       elected Mr. Baumann miners rep confidential.                             Is
 16       that standard practice to keep those names
 17       confidential?
 18               A       There's a check box on the form that
 19       says whether they want to remain confidential or
 20       not.     If they check that box, we do not disclose
 21       who elected them.             If they don't check the box,
 22       then they didn't want to remain confidential and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 894    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 366


  1       it's not an issue.
  2               Q       So would you do that in every instance
  3       with every mine where they -- check the box that
  4       they want to remain confidential, you would keep
  5       them confidential?
  6               A       Oh, yes.        Definitely.         We're required
  7       to.
  8               Q       Did you, during your inspections, did
  9       you ever speak or interact with any other
 10       employees at the mine or any miners at the mine?
 11               A       Yes.     All of them.           I talked to
 12       everybody that worked there.
 13               Q       Okay.      And did any of those miners seem
 14       concerned or nervous about safety at the mine?
 15               A       Yes.     There were -- there were four
 16       miners that worked at the mine that were concerned
 17       with the safety.            The fifth miner just really
 18       didn't talk much.
 19               Q       And what sorts of safety concerns did
 20       they raise?
 21               A       Dust was a big concern at the mine.
 22       Them being exposed to a lot of dust without proper


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 895    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 367


  1       protection.         Guards being left off, which left
  2       exposed moving machine parts.                    Some electrical
  3       issues and general condition of walkways and work
  4       areas, whether it be sturdiness of the area or
  5       housekeeping of the areas.
  6               Q       While you're conducting inspections, did
  7       you ever threaten any miners at the mine?
  8               A       No.
  9               Q       Did you ever threaten anyone at the
 10       mine?
 11               A       No.
 12               Q       Did you ever see anyone from any other
 13       MSHA inspector threatening anyone at American
 14       Tripoli?
 15               A       No, I did not.
 16                       JUDGE MORAN:          Just to put a fine point
 17       on that, did you -- I mean, the question was asked
 18       in a broad sense.             Did you ever threaten anyone
 19       with American Tripoli, management, and I mean by
 20       that, did you ever threaten or a synonym for
 21       threaten, warn Mr. Tidaback or Jordan Tidaback or
 22       Mr. Spears, did you ever threaten any of those


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 896    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 368


  1       individuals?
  2                       THE WITNESS:          I did not threaten them,
  3       but I have explained the -- because they were new
  4       to MSHA.
  5                       JUDGE MORAN:          Okay.
  6                       THE WITNESS:          And I did explain our
  7       enforcement process.               You know, we issue a
  8       citation, we set a termination due date.                           If no
  9       action it taken to abate it, a (b) order would be
 10       issued.       And once an order is issued you can't
 11       work in the face of it.                 I explained that process
 12       to them, but not directly related to any specific
 13       issue.
 14                       JUDGE MORAN:          Okay.      And when you
 15       conveyed this, did you convey it in a threatening
 16       or harsh manner, or alternatively in a matter of
 17       fact informative manner about the process?
 18                       THE WITNESS:          Matter of fact informative
 19       manner, and I actually used the back of our
 20       citation form that explains all of that to
 21       illustrate that process.
 22                       JUDGE MORAN:          Okay.      Since I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 897    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 369


  1       interrupted, let me just interrupt a little
  2       further.        And that is, tell me if I have this
  3       correct.        I believe you testified earlier that on
  4       each of your inspections Mr. Baumann was there
  5       with you?
  6                       THE WITNESS:          Yes.
  7                       JUDGE MORAN:          So it wasn't asked and I
  8       would like answered is, on the numerous
  9       inspections that you had at this mine where Mr.
 10       Baumann was with you, either as a miners rep or
 11       before he became a miners rep, were there times
 12       when other mine employees, management in
 13       particular I'm asking about how, it was a long
 14       question, were in attendance with you and Mr.
 15       Baumann or was it always, I can simplify it,
 16       during your inspections was it always just the two
 17       of you?
 18                       THE WITNESS:          No.     It was -- it was just
 19       the two of us on one or two occasions.                          But most
 20       of the time we either had Mr. Spears with us or
 21       Mr. Tidaback with us.
 22                       JUDGE MORAN:          Okay.      That's what I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 898    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 370


  1       wanted to know, because you didn't mention that
  2       and it wasn't asked.
  3                       MR. MOLL:        I believe he mentioned
  4       earlier that it was during on one inspection he
  5       had Mr. Tidaback, Mr. Spears and Mr. Baumann all
  6       present at the same time.
  7                       THE WITNESS:          Yes.
  8                       MR. MOLL:        Is that correct?
  9                       JUDGE MORAN:          But it was not uncommon.
 10       It was frequent for Mr. Spears or Mr. Tidaback to
 11       be along with and Mr. Baumann during your
 12       inspections.          Is that true?
 13                       THE WITNESS:          Yes.
 14                       JUDGE MORAN:          Okay.      Go ahead, Attorney
 15       Moll.
 16                       THE WITNESS:          Can I add one more thing?
 17                       JUDGE MORAN:          Sure.
 18                       THE WITNESS:          When you had talked about
 19       the threatening, warning.
 20                       JUDGE MORAN:          Yes.
 21                       THE WITNESS:          Another thing was whenever
 22       we issue 104(d) citations or orders, we're


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 899    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 371


  1       required to notify them that a special assessment
  2       review and a possible knowing and willful review
  3       will be conducted.              So, of course, I notified them
  4       of that during the close out, during those
  5       inspections as well.
  6                       JUDGE MORAN:          Okay.      And you say you're
  7       required to.          You mean that is what you are
  8       trained to do when a 104(d)(1) citation or order
  9       is issued, you are to advise the mine operator
 10       getting that piece of paper about the special
 11       assessment may be involved?
 12                       THE WITNESS:          And the possible knowing
 13       and willful, yes.
 14                       JUDGE MORAN:          Okay.      Then you have to do
 15       that in every instance.                 Not just for this mine.
 16                       THE WITNESS:          Every place we issue
 17       those, yes.
 18                       JUDGE MORAN:          Okay.      Go ahead, Attorney
 19       Moll.
 20                       MR. MOLL:        Thank you, Your Honor.
 21                       BY MR. MOLL:
 22               Q       During your inspections was there ever


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 900    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 372


  1       another inspector present with you?
  2               A       There was always another inspector
  3       present with me when I was at American Tripoli.
  4                       JUDGE MORAN:          Oh, really?          Okay.
  5                       BY MR. MOLL:
  6               Q       And during that time, at least in 2022
  7       and 2023 specifically, which inspectors would have
  8       been present with you?
  9               A       Dave Pruitt was present with me during
 10       the complaint investigation that went February,
 11       kind of through April.                Randy Hill, supervisory
 12       mine safety health inspector Sean Pratt, district
 13       managers Tony Sims accompanied me, and then there
 14       were two inspector trainees that -- three
 15       inspector trainees that accompanied me on three
 16       separate occasions as well.
 17               Q       Okay.      And did you ever see any of those
 18       individuals threaten anyone at the mine?
 19               A       No.
 20               Q       Okay.      Did anyone ever -- any of those
 21       individuals ever threaten to call the police or
 22       the U.S. Marshal's during that time?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 901    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 373


  1               A       No.
  2               Q       And you mentioned earlier that it seemed
  3       like management was unfamiliar with MSHA.                           Can you
  4       expand a little bit more on that?
  5               A       They were -- when I first arrived at the
  6       mine, I met with John Spears.                    He was operations
  7       manager and he kind of expressed to me and Dave
  8       Pruitt, who was with me, that they were under new
  9       ownership.         The new owner had never owned an MSHA
 10       regulated property before, and I kind of, as I
 11       started that inspection, I took extra effort to
 12       try and explain everything I was doing so that
 13       they could get a handle on how the MSHA regulation
 14       process worked.
 15               Q       During your time inspecting American
 16       Tripoli during 2022 or 2023, did you ever hear
 17       from any of the miners that they had been told not
 18       to speak with MSHA?
 19               A       Shortly after I started that inspection
 20       in February of 2023 three miners told me that they
 21       were not supposed to talk to MSHA, and two of them
 22       showed me text messages or Teams chats on their


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 902    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 374


  1       phones that indicated that.
  2               Q       Okay.      And did you see the specific text
  3       messages that stated that they weren't allowed to
  4       talk with MSHA?
  5               A       Yes.
  6               Q       And was it your understanding that the
  7       -- those individuals that you spoke with, they
  8       understood those text messages to mean that they
  9       should not interact with you or any other
 10       inspector for MSHA?
 11               A       That's how they understood it.
 12               Q       Okay.      Did you find American Tripoli to
 13       be different or did it stand out from any of the
 14       other mines that you inspected in your time with
 15       MSHA?
 16               A       During 2022, 2023?
 17               Q       Or any -- any of the times that you had
 18       been an inspector.
 19               A       I mean, American Tripoli is unique
 20       because they have a unique product.                        That's --
 21       they're the only mine in Missouri I know that has
 22       that product, so their processing equipment is an


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 903    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 375


  1       little different to deal with that product.                             It's
  2       an old plant, so maintenance is -- there's a lot
  3       of maintenance in the plant.                    When I inspected
  4       them years ago it was always a very clean place,
  5       well maintained, and the impression I got in
  6       February and onward in 2023 was that it was
  7       lacking in upkeep.
  8               Q       Okay.      And when you mention that you had
  9       inspected them years ago, was that under different
 10       ownership than the present ownership?
 11               A       Yes.     It was under two different
 12       previous owners.
 13               Q       Okay.      And so whenever you're talking
 14       about the times that you inspected in 2022 and
 15       '23, under the ownership, is it your understanding
 16       that when it was under the ownership of Mr.
 17       Russell Tidaback?
 18               A       Yes.
 19               Q       And could you explain a little bit some
 20       of the differences that you observed based on your
 21       experience between the mine under previous
 22       ownership as compared to its ownership with Mr.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 904    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 376


  1       Tidaback?
  2               A       One of the biggest things was guards not
  3       being in place.            There were a lot of guards that
  4       weren't -- that had been replaced.                       They were
  5       there.      They were sitting next to the equipment.
  6       They just weren't back on the equipment.                           Another
  7       thing I noticed because it's always an issue there
  8       that the dust collection at the mine was not
  9       clearly what it used to be.                   Also, miners were
 10       doing a lot more manual work, cleanup and
 11       packaging than then they used to.                       They used to
 12       have an automated system for bagging product and
 13       stuff like that, and that kind of kept the miners
 14       away from the dust.
 15               Q       Okay.      Now, during your inspections in
 16       2022 and 2023 did you find that the management at
 17       American Tripoli, and by management I'm referring
 18       to Mr. Tidaback, Ms. Tidaback and Mr. Spears, did
 19       you find that they were resistant to making
 20       changes that you suggested?
 21               A       If we wrote a citation they would fix
 22       it.     However, just general suggestions we made for


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 905    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 377


  1       improvements were never acted upon.
  2               Q       And were there times -- were there times
  3       during that inspection, in 2022 and 2023, where
  4       you issued a citation or made a suggestion
  5       regarding a specific condition that was existing
  6       and you came back at a later date and that
  7       condition had not been corrected?
  8               A       Yes.     There were -- there were some (b)
  9       orders issued.
 10               Q       And what were those (b) orders for?
 11               A       The biggest thing that comes to mind is
 12       there was a dust citation issued on, what was it,
 13       March 30th, 2023 for overexposure to dust.                            I had
 14       sampled all the miners that worked -- that were
 15       working that day at the plant, and they were all
 16       overexposed.          Four of them were overexposures that
 17       was citable.          One was an overexposure that was not
 18       citable.        I set the termination due date for April
 19       7th, which was a week later, which is standard
 20       because none of the miners had been enrolled in a
 21       respiratory protection program, and normally when
 22       we cite dust that doesn't have a respiratory


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 906    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 378


  1       program, we give them a week to get that program
  2       in place, get the miners wearing respirators, fit
  3       tested, that type of thing.
  4                       And then I returned to the mine on April
  5       12th, so the termination due you was on the 7th.
  6       I came back the following Wednesday on April 12th
  7       and no action had been taken.                    Respirators hadn't
  8       been ordered.           The respiratory protection program
  9       hadn't been put into place.                   Miners hadn't been
 10       fit tested or medically evaluated.                       Nothing had
 11       been done yet.
 12               Q       And I'm going to go ahead and direct
 13       your attention to what's been marked as Exhibit
 14       P21.
 15               A       Okay.
 16                       JUDGE MORAN:          P21?
 17                       THE WITNESS:          I assume that's Tab 1 in
 18       the book here.           Right?
 19                       BY MR. MOLL:
 20               Q       Yes.
 21               A       Yes.     I'm looking at it.
 22               Q       That's Volume 1 that you have got.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 907    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 379


  1       That's Volume 1?
  2               A       Yes.
  3               Q       All right.
  4                       JUDGE MORAN:          So help me out with this
  5       Secretary.         I have through P21.              Does that mean we
  6       didn't admit this yet?
  7                       MS. SMITH:         Your Honor, I think we did
  8       admit it yesterday during Mr. Baumann's testimony,
  9       but I didn't --
 10                       JUDGE MORAN:          Thank you.
 11                       BY MR. MOLL:
 12               Q       And, Mr. Markeson, do you recognize this
 13       document?
 14               A       Yes.
 15               Q       Okay.      And what is this?
 16               A       It's a report generated from our Mine
 17       Safety Information system, our computer system
 18       that lists events that took place at American
 19       Tripoli's mine ID 2300504.
 20               Q       And you know it's American Tripoli
 21       because of the mine ID.                 Is that correct?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 908    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 380


  1               Q       So do you recognize any of these event
  2       numbers as inspections you would have participated
  3       in?
  4               A       Yes.     So a little past midway down the
  5       page, 7029430, that hazard complaint, I
  6       participated in that one.
  7               Q       Okay.
  8               A       And then 7027977 was a follow-up
  9       inspection that I was there for which is right
 10       above it.
 11               Q       And was that follow-up inspection the
 12       one that you would have mentioned earlier
 13       regarding the dust?
 14               A       Yes.     Yes.      And then 7027994 is one of
 15       mine.       7027998 is one of mine.
 16               Q       Okay.
 17               A       Those two.         702799 something was my
 18       series of event numbers at that time.
 19               Q       Okay.      So safe to say you participated
 20       -- participated in a number of these inspections
 21       listed on this page.               Is that correct?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 909    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 381


  1               Q       Okay.      And in looking at this inspection
  2       event number 7029430, if you look at the
  3       inspection began date, and it lists, it looks
  4       like, February 13th, 2023, and then the inspection
  5       date is April 10th, 2023.                  Are those -- is this
  6       accurate that the inspection lasted for that
  7       period of time?
  8               A       Yes.
  9               Q       Okay.      And why was that?
 10               A       It was a complaint investigation with
 11       multiple allegations.               One of the allegations was
 12       regarding dust exposure to the miners.                          So to
 13       investigate that allegation we had to do a dust
 14       sample at the mine, and for us to do the dust
 15       sample the plant had to be running.                        So it just
 16       took that long to get the plant into shape and up
 17       and running where we could actually run a dust
 18       sample.
 19               Q       And so would you be looking at the mine
 20       every day during those dates?
 21               A       No.     It was on and off.
 22               Q       So approximately how on -- like how


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 910    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 382


  1       often would MSHA have been out there during that
  2       inspection?
  3               A       I wouldn't say we were there every week,
  4       but probably every other week on an average.
  5               Q       Okay.      And is it usual for an inspection
  6       to last for that duration?
  7               A       Not at an operation this size.
  8               Q       And so why was it necessary for it to
  9       last that long?
 10               A       Well, as you can see from the number of
 11       citations and orders issued on that report, there
 12       was a lot of issues that needed to be repaired or
 13       corrected at the mine, and it just took time to
 14       get all of that done.
 15               Q       Okay.      Moving on to -- what's listed as
 16       Event No. 7027977.              Do you see that?
 17               A       Yes.
 18               Q       And were you present for that
 19       inspection?
 20               A       Yes.
 21               Q       Okay.      Do you know if Mr. Baumann
 22       participated in that inspection?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 911    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 383


  1               A       Yes, he did.
  2               Q       Okay.      And can you tell us a little bit
  3       more about that.
  4               A       That was the follow-up inspection after
  5       the dust citation had been issued.                       When I
  6       returned to the mine to check on the status,
  7       whether they would gotten all the miners enrolled
  8       in a respiratory protection program, what repairs
  9       had they done to the dust collection systems or
 10       other engineering controls to reduce the dust.
 11               Q       Okay.      And on that same event number, it
 12       lists over on the right-hand side orders and has
 13       two.     Could you describe what those two orders
 14       would have been?
 15               A       So there were -- there were two
 16       citations issued for dust overexposure.                          One for
 17       Mr. Spears as the operations manager.                         When we
 18       issue dust citations it's by job class, so we
 19       issued -- I had issued one for Mr. Spears as the
 20       operations manager for an overexposure to dust,
 21       and then I had issued another citation with three
 22       people affected for the mill associates who are


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 912    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 384


  1       overexposed to dust.               So when no action had been
  2       taken to correct those conditions, there were two
  3       orders that replaced those two citations.
  4               Q       Okay.      And so you did employ sampling
  5       and they tested over the limit that was
  6       permissible.          Is that correct?
  7               A       Yes.     Yes.
  8               Q       Do you know how many employees tested
  9       over the limit?
 10               A       So, three mill associates tested over
 11       the limit.         They were over the limit to the point
 12       that they required an air purifier or respirator
 13       or supplied air respirator.                   Mr. Spears tested
 14       over the limit.            He was exposed to a level that
 15       just required a half mask respirator, and then Mr.
 16       Baumann's sample was overexposed but it couldn't
 17       be quantified because when the lab opened up the
 18       dust cassette it was so full of dust that it fell
 19       off the cassette and they could not get an
 20       accurate weight.            So while he was overexposed, we
 21       couldn't quantify it.               Therefore, there was no
 22       citation issued.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 913    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 385


  1               Q       Okay.      And so for that, was the mine
  2       ever shut down for that?
  3               A       When those (b) orders were issued, that
  4       shut the mine down.
  5               Q       And do you know what the date that would
  6       have been?
  7               A       That was April 12th.
  8               Q       Okay.      And moving on to what's been --
  9       what is shown as event number --
 10                       JUDGE MORAN:          Let me just -- April 12th?
 11                       THE WITNESS:          Of 2023.        Sorry.
 12                       JUDGE MORAN:          Thank you.
 13                       THE WITNESS:          My apologies.
 14                       BY MR. MOLL:
 15               Q       And so moving on to Event No. 7027975.
 16       Do you recognize that event?
 17               A       Yes.     That was a hazard -- another
 18       hazard complaint made by a miner.
 19               Q       Okay.      So a miner raised this specific
 20       issue and that led to the initiation of this?
 21               A       Yes.     Mr. Baumann raised the issue and
 22       that event was opened to address the complaint he


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 914    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 386


  1       made to me.
  2               Q       Okay.      Nand what would that complaint
  3       have been about?
  4               A       The complaint was about miners that were
  5       stacking bags of product, and they were -- the
  6       allegation on the complaint was that they were
  7       stacking -- they had to stack bags of product over
  8       eight feet tall, which was over their heads, and
  9       we're talking fifty and hundred pounds bag of
 10       material.
 11                       JUDGE MORAN:          What was the weight.
 12                       THE WITNESS:          Fifty to a hundred pounds
 13       and that would -- obviously would be a safety
 14       concern.        However, by the time I arrived at the
 15       mine to investigation the complaint, Mr. Spears
 16       had already changed the procedures and they were
 17       no longer stacking the bags that high.
 18                       BY MR. MOLL:
 19               Q       Did Mr. Baumann ever point out any other
 20       issues like that to you?
 21               A       Not like stand there and point at it.
 22               Q       Uh-huh.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 915    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 387


  1               A       But whenever other miners at the mine
  2       would bring him safety concerns, he would -- and I
  3       was there on an inspection, he would say, hey, can
  4       you take a look at -- you know, can you take a
  5       look at this or can you take a look at that.
  6               Q       Okay.      And did he ever complain about
  7       out or how he did he ever speak to you about any
  8       issues in front of Mr. Spears or Mr. Tidaback?
  9               A       No.     He was always careful to not talk
 10       in front of them to me.
 11               Q       Okay.      And you had mentioned earlier
 12       that Mr. Spears was sometimes with you during
 13       inspections.          Did it ever seem like Mr. Spears was
 14       communicating with Mr. Tidaback about what was
 15       going on during the inspection?
 16               A       He would occasionally call or message
 17       Mr. Tidaback just to update him, I believe, you on
 18       how the inspection was going.
 19               Q       Okay.      And how do you know that?
 20               A       Well, one time when he was calling he
 21       was standing by me and I could hear Mr. Tidaback
 22       on the other end of the phone, and then at other


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 916    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 388


  1       times when I'd stop in to Mr. Spears' office to
  2       deliver citations or whatever, he was on the Teams
  3       chat.
  4               Q       Okay.      And during your inspections, I
  5       think you had mentioned you had interacted with
  6       some of the other miners at American Tripoli.
  7       Just, in general, what were your interactions like
  8       with those employees?
  9               A       Just as standard procedure when we're
 10       doing an inspection we talk to the miners to find
 11       out if they have any concerns, you know, pass on
 12       safety inspection that we have.                     So it was kind of
 13       just general safety mining chitchat.                        Sometimes
 14       they would bring up issues that they had at the
 15       mine, and I would let them know if I had found
 16       those same issue and issue citations on it, and I
 17       would update them on how the inspection was going.
 18       You know, how many things this had been issued,
 19       whether things were getting fixed.                       Just kind of
 20       to keep them in the loop.
 21               Q       And during that time did you ever
 22       threaten any of those employees?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 917    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 389


  1               A       No.     I think I had a pretty good
  2       relationship to them, because we talked quite a
  3       bit.
  4               Q       Did you ever raise your voice at them?
  5               A       No.
  6               Q       Okay.      So overall you had generally
  7       positive interactions with the miners at American
  8       Tripoli.        Is that correct?
  9               A       Yes.
 10               Q       I'll go ahead and show you what's been
 11       marked as Exhibit P24.
 12                       JUDGE MORAN:          Am I right, this one has
 13       not been admitted?
 14                       MR. MOLL:        Correct, Your Honor.
 15                       JUDGE MORAN:          Are you on P24, Inspector?
 16                       THE WITNESS:          I am.
 17                       BY MR. MOLL:
 18               Q       Do you recognize what this document is?
 19               A       Yes.
 20               Q       And can you describe what it is?
 21               A       It is an electronic field note that is
 22       generated by our inspector application system, our


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 918    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 390


  1       computers that we use.
  2               Q       Okay.      And so this is regularly kept and
  3       maintained in the course of MSHA's business.                             Is
  4       that correct?
  5               A       Yes.     Inspectors have the choice --
  6       currently they have the choice, they can either
  7       take handwritten notes or electronic notes in this
  8       form.
  9                       MR. MOLL:        Okay.      And I would go ahead
 10       and move to admit this exhibit.
 11                       JUDGE MORAN:          This is a document you
 12       created, sir?
 13                       THE WITNESS:          No, this is not.             This
 14       would be -- I'm looking to see if there's a number
 15       or a name on it.            11-18-22.         This would be Mike
 16       Van Dorn's field note.
 17                       MR. MOLL:        I admit on the basis that
 18       this is kept and maintained in the MSHA's regular
 19       course of business.
 20                       JUDGE MORAN:          But not through this -- I
 21       don't think it's appropriate for me to, based on
 22       this witness' testimony, to admit this exhibit.                                  I


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 919    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 391


  1       don't see how I get there without telling me that
  2       you got this from the custodian of records or you
  3       have the witness who made these notes.                          I can't
  4       admit these general field notes.                      This is not
  5       something this witness created.
  6                       MR. MOLL:        Mr. Markeson can verify that
  7       this is something that's regularly kept by MSHA as
  8       kind of a standard business record.
  9                       JUDGE MORAN:          Well, I'm not going to
 10       allow that exhibit at this point.                       So P24 is not
 11       admitted as of now.
 12                       MR. MOLL:        Just if I understand your
 13       ruling on it, this is a retired inspector, so we
 14       wouldn't have --
 15                       JUDGE MORAN:          I can't help that.
 16                       MR. MOLL:        Thank you, Your Honor.
 17                       JUDGE MORAN:          Just for the record, I am
 18       noting that I am disallowing admission of P24,
 19       which is a one page exhibit.                    Okay.
 20                       MR. MOLL:        I'm going to go ahead and
 21       move on to what's has been marked as Exhibit P25.
 22                       JUDGE MORAN:          Okay.      Inspector Markeson,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 920    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 392


  1       are you on P25?
  2                       THE WITNESS:          I am on P25.
  3                       JUDGE MORAN:          Go ahead, Attorney Moll.
  4                       MR. MOLL:        Thank you, Your Honor.
  5                       BY MR. MOLL:
  6               Q       Mr. Markeson, do you recognize this
  7       document?
  8               A       Yes.     This is -- this is one of my field
  9       notes, and it's the one that I -- I put Rob
 10       Baumann and Jesse Molesi's names on the wrong
 11       lines.      Rob is supposed to be the miners and Jesse
 12       Molesi was the company rep during these
 13       inspections.
 14               Q       This would be pages from an
 15       investigation file?
 16               A       This is from 7-7.             This would be from
 17       the compliance follow-up inspection.
 18               Q       Okay.      And -- but this is notes relating
 19       to an inspection that you participated in?
 20               A       Yes, it is.         These are my notes.
 21                       MR. MOLL:        Okay.      I would go ahead and
 22       move to admit Exhibit P25.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 921    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 393


  1                       JUDGE MORAN:          Exhibit P25 --
  2                       MR. MOLL:        Yes.
  3                       JUDGE MORAN:          -- which consists of?
  4                       MR. MOLL:        Notes of an inspection file.
  5                       JUDGE MORAN:          Four pages.          Right?       Four
  6       Pages.
  7                       MR. MOLL:        Yes.
  8                       JUDGE MORAN:          Do you have any objection
  9       to the admission of P25?
 10                       MR. TIDABACK:           It's actually incorrect,
 11       the way Mr. Markeson just pointed out.                          Molesi was
 12       never a miners rep.
 13                       JUDGE MORAN:          Okay.      You can deal with
 14       that on cross examination.                  So P25 is admitted.
 15                               (Complainant's Exhibit P-25 was
 16                               marked for identification and
 17                               received in evidence.)
 18                       BY MR. MOLL:
 19               Q       And so, Mr. Markeson, I think you
 20       clarified that you might have switched the lines
 21       here on this Page 1, about miners rep and company
 22       rep.     Is that correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 922    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 394


  1               A       Yeah.      Yeah.      On Page 1 I just put them
  2       on the wrong lines.              On the next page, which is
  3       also Page 1 for the next or the 17th, you can see
  4       where Rob Baumann is listed as the miners rep and
  5       John Spears and Jesse Molesi are the company
  6       representatives.
  7               Q       So it was your understanding that Mr.
  8       Baumann was the miners rep at this time.                           Is that
  9       correct?
 10               A       Yes.
 11               Q       And looking at -- looking at Page 2 of
 12       Exhibit P25.          You see where it says accompanied?
 13               A       Yes.
 14               Q       And then down here where it says company
 15       rep, John Spears and miners rep, Rob Baumann.                              Do
 16       you see that?
 17               A       Yes.
 18               Q       Does that mean that Rob Baumann would
 19       have walked around with you during that particular
 20       inspection?
 21               A       Yes, he did.
 22               Q       Okay.      And would Mr. Spears have also


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 923    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 395


  1       walked around with you during that inspection?
  2               A       Yes.
  3               Q       Okay.      And moving on to Page 4 of that
  4       same exhibit.           Do you see where it says work
  5       begins with delivered orders?
  6               A       Yes.
  7               Q       And you -- and then it follows to review
  8       all orders and explain that closed tags can be
  9       removed.        Do you see that line?
 10               A       Yes, I do.
 11               Q       And could you explain a little bit more
 12       about what that describes?
 13               A       So this is -- this was the closeout note
 14       from when the BRs were issued, closed tags were
 15       affixed to certain breakers at the plant
 16       effectively shutting the plant down.                        This is
 17       where I explained to Jesse Molesi, as the company
 18       representative, and Rob Baumann as miners
 19       representative, that those closed tags could only
 20       be removed by an authorized member of the
 21       Secretary of Labor.              It would be removed once the
 22       -- once all miners were enrolled in respirator


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 924    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 396


  1       protection program and provided with appropriate
  2       respirators.          I also reviewed Section 111 of the
  3       Mine Act, which is an entitlement of pay for
  4       miners when MSHA has them shut down with an order.
  5               Q       Okay.      And would that have been during
  6       that same April 12th, '21 period date?
  7               A       Yes.
  8               Q       And that would have related to those (b)
  9       orders when the mine was shut down?
 10               A       Correct.
 11               Q       Okay.
 12                       JUDGE MORAN:          Okay.      So I want to
 13       interrupt to alert both sides that it's 4:39 so we
 14       have six more minutes before today's proceeding
 15       will come to a close.
 16                       MR. MOLL:        I'll just say that I have a
 17       few questions left to that wrap up this.
 18                       JUDGE MORAN:          Okay.
 19                       BY MR. MOLL:
 20               Q       I'm going go ahead and move to what's
 21       been marked as Exhibit P26.
 22                       JUDGE MORAN:          Did you move for the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 925    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 397


  1       admission of P25?
  2                       MR. MOLL:        Yes.      I believe it's
  3       admitted.
  4                       MS. SMITH:         Yes.     It was admitted over
  5       objection.
  6                       JUDGE MORAN:          Thank you.
  7                       THE WITNESS:          I am on P26.
  8                       BY MR. MOLL:
  9               Q       Okay.      Mr. Markeson, do you recognize
 10       what this document is?
 11               A       Yes.     These are additional inspection
 12       notes from the complaint investigation.
 13               Q       Okay.      And looking at Page 3 of the
 14       exhibit.
 15               A       Yes.
 16               Q       Would that be your initials?
 17               A       Yes, it is.
 18               Q       Okay.      And so you would have
 19       participated in this inspection.                      Is that correct?
 20               A       I did.      Correct.
 21               Q       And these are your notes.                  Is that
 22       correct?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 926    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 398


  1               A       They are.
  2                       MR. MOLL:        I'm going to move for the
  3       admission of Exhibit P26.
  4                       JUDGE MORAN:          P26.      Any objection, Mr.
  5       Tidaback?        P26 is admitted.
  6                               (Complainant's Exhibit P-26 was
  7                               marked for identification and
  8                               received in evidence.)
  9                       BY MR. MOLL:
 10               Q       And just to clarify, these are not all
 11       your minutes, but these are the all the notes from
 12       the inspection that you participated in.                           Is that
 13       correct?
 14               A       Correct.
 15               Q       And looking at Page 2 of Exhibit P26, do
 16       you see where it says accompanied?
 17               A       I do.
 18               Q       Okay.      And do you see the date up at the
 19       top, 2-22-2023?
 20               A       I do.
 21               Q       And so during that time would you
 22       understand -- would you have written that down,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 927    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 399


  1       accompanied by Rob Baumann, was that because Mr.
  2       Baumann was accompanying you during the inspection
  3       that occurred on that date?
  4               A       Yes.     Mr. Baumann and Mr. Spears were
  5       the two that accompanied me during that
  6       inspection.
  7               Q       And so both of them would have been
  8       there together during that inspection with you?
  9               A       Yes.
 10               Q       Okay.      So --
 11                       JUDGE MORAN:          I have a problem based on
 12       an aside you just made, Attorney Moll.                          You asked
 13       Inspector Markeson about with reference to P26,
 14       you said that not all of the pages in P26 reflect
 15       his notes.         Is that correct?
 16                       MR. MOLL:        That's correct, Your Honor.
 17                       JUDGE MORAN:          So as with that other
 18       exhibit, I don't see how I can admit pages of
 19       inspection notes that weren't authored by
 20       Inspector Markeson just because they happen to be
 21       lumped in with P26.
 22                       MR. MOLL:        I would respond by saying


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 928    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 400


  1       that this was all part of the same inspection file
  2       and inspection that he participated in, so he
  3       would have been presented and made notes and
  4       participated in this inspection and created this
  5       file.
  6                       JUDGE MORAN:          He can't testify about
  7       notes made by others.               That would have to come in
  8       by the person that made those notes, so tomorrow
  9       morning, and this is without speaking, you can
 10       only speak on the record with Inspector Markeson,
 11       but I want you to identify on the record those
 12       pages, it looks like it's just Page 1 and 2, but
 13       whatever pages were authored by this inspector,
 14       those may be admitted but the other exhibits, the
 15       other notes, I can't admit those without a proper
 16       foundation for who authored them.                       That's
 17       piggybacking, if you will, bootstrapping other --
 18       other documents into P26.
 19                       MR. MOLL:        And I understand, Your Honor,
 20       and to the extent that I believe the other
 21       inspector that would have participated in this
 22       instance, Dave Pruitt, so if necessary, we can


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 929    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 401


  1       have Mr. Pruitt testify regarding those specific
  2       notes as well.
  3                       JUDGE MORAN:          Well, if necessary means
  4       if you want them in.
  5                       MR. MOLL:        Okay.      Thank you, Your Honor.
  6                       JUDGE MORAN:          Remember, tomorrow morning
  7       you're going to identify those pages that were
  8       authored by Inspector Markeson and he will, under
  9       oath, confirm that or deny it, whatever the case
 10       may be.
 11                       MR. MOLL:        Understood, Your Honor.
 12                       BY MR. MOLL:
 13               Q       And just to kind of wrap things up,
 14       whose responsibility, in your understanding as an
 15       inspector, is it to comply with MSHA?
 16               A       According to the Mine Act it is the
 17       responsibility of the mine operator, with the
 18       assistance of the miners.
 19                       MR. MOLL:        Thank you.         No further
 20       questions.
 21                       JUDGE MORAN:          Okay.      So we're going to
 22       call it an evening, and as per yesterday's


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 930    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 402


  1       procedure, the sheriff, the bailiff, I'm not sure
  2       what you're correct title is, you're going to
  3       leave here and all of us, I'm going to exit in a
  4       moment through the same doors and then this
  5       courtroom will be locked up and you can't get back
  6       in until tomorrow morning at about 8:30.                           All
  7       right.      Any last comments before I -- from counsel
  8       before we call today to an end?
  9                       MS. SMITH:         Your Honor, I have one
 10       logistical question but it does not need to be on
 11       the record.
 12                       JUDGE MORAN:          So then anything from Mr.
 13       Tidaback?        Okay.      Then today's proceeding will
 14       come to a close.            Not quite.          I have to tell you,
 15       Inspector Markeson, do not speak with anybody
 16       about this -- about your testimony.                        You cannot
 17       speak with any of the people in this matter,
 18       including the attorneys, the three attorneys for
 19       the Secretary of Labor.                 Okay.      The time for
 20       preparing a witness has passed, and so there can't
 21       be further communication.                  I told this to all the
 22       witnesses for -- in this proceeding, so you just


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 931    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 403


  1       have to be a loner on your own and not conversing,
  2       even casually with other people.                      You're not to be
  3       talking with them.
  4                       THE WITNESS:          Can I ask a question about
  5       that?
  6                       JUDGE MORAN:          Sure.
  7                       THE WITNESS:          Currently me, and I
  8       believe two other witnesses in this case, are in
  9       the middle of an underground inspection.                           Can I at
 10       least debrief with them to know what they got done
 11       today and what's left for me do tomorrow when I
 12       get done?
 13                       JUDGE MORAN:          Yes.      If it has nothing to
 14       do with this case.
 15                       THE WITNESS:          No, it's about an
 16       inspection that's ongoing on right now.
 17                       JUDGE MORAN:          Yes, of course you can do
 18       that.
 19                       THE WITNESS:          I just wanted to make
 20       sure.
 21                       JUDGE MORAN:          Thank you for asking.                And
 22       did the court reporter go away?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 932    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 404


  1                       COURT REPORTER:            I'm still here.
  2                       JUDGE MORAN:          Oh, great.         So go ahead
  3       about the comment that you say didn't have to be
  4       in the record.           We're on the record.
  5                       MS. SMITH:         We decided to clarify.                We
  6       wanted to be able to talk about just logistics of
  7       travel.       I know Mr. Dillingham had a family issue
  8       going on, so we want to let you know that we
  9       intend to talk to him about his travel logistics.
 10       We won't be talking about the case.
 11                       JUDGE MORAN:          Of course, you may speak
 12       to him about matters unrelated to this personal
 13       matters, of course.
 14                       MS. O'REILLY:           And one final logistical
 15       question.        When we notified the MSHA inspectors
 16       about our hearing, we gave them the location of
 17       Courtroom A, which is where we were originally
 18       scheduled to meet.              We would like to communicate
 19       to them that they are now to appear tomorrow at
 20       Courtroom D, where we are now, so.
 21                       JUDGE MORAN:          Yes.      I'm not -- I'd like
 22       to think I'm not unreasonable.                     Of course you can


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 933    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol 2.                                                                              Page: 405


  1       communicate something like that, because it
  2       doesn't deal with the testimony itself.                          It's
  3       strictly procedural.
  4                       MS. O'REILLY:           Yes.     Thank you.
  5                       JUDGE MORAN:          And then, before we call
  6       it an end, now we're a little over here.                           If we
  7       can't wrap this up tomorrow, we're going to have
  8       to be thinking about when you get the opportunity
  9       to see me again.            Okay?       And I have some home
 10       issues I have to make sure I'm available and I
 11       haven't already booked myself for some other
 12       times.      We'll work that out if we don't wrap this
 13       up tomorrow.          Okay?      So be looking at your
 14       calendars.         Thank you, all.             All right.        Today's
 15       proceeding is now coming to an end.                        Thank you
 16       Court Reporter Blackerby.
 17                               (Whereupon, at 4:49 p.m., the
 18                               HEARING was continued.)
 19                                   *    *    *    *    *
 20

 21

 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 934    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
                                                                       Page 725

1                              C E R T I F I C A T E
2
3                      I, Jane A. Blackerby, a Certified Court
4        Reporter of the State of Missouri, do hereby
5        certify:
6                      That said procedding was taken down by
7        me in shorthand at the time and place
8        hereinbefore stated and was thereafter reduced to
9        writing under my direction;
10                      That I am not a relative or employee or
11       attorney or counsel of any of the parties, or a
12       relative or employee of such attorney or counsel,
13       or financially interested in the action.
14                      WITNESS my hand and seal this 12th day
15       of March, 2024.
16
17
18                             <%24957,Signature%>
19                             Jane A. Blackerby, CCR #877
20
21
22
23
24
25




     Appellate Case: 25-1349    Page: 935   Date Filed: 04/07/2025 Entry ID: 5503844
  FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
        OFFICE OF ADMINISTRATIVE LAW JUDGES

 -----------------------------x
 SECRETARY OF LABOR,          :
                              :
             Complainant,     :
                              :
            v.                : CENT 2023-0251-DM
                              : MADI-CD-2023-03
 MONSENECA MANUFACTURER, LLC, :
 d/b/a AMERICAN TRIPOLI,      :
                              :
             Respondent.      : Volume 3
 -----------------------------x

                                                  633 S. Pearl Avenue
                                                     Joplin, Missouri

                                      Thursday, February 29, 2024




             The HEARING in the above-entitled matter

 was reconvened at 8:54 a.m., pursuant to notice.

 BEFORE:

             JUDGE WILLIAM B. MORAN




Appellate Case: 25-1349   Page: 936    Date Filed: 04/07/2025 Entry ID: 5503844
Vol. 3                                                                                 Page: 2


  1       APPEARANCES:
  2           On behalf of Complainant:
  3                  LAURA O'REILLY, ESQUIRE
                     ELAINE SMITH, ESQUIRE
  4                  QUINLAN B. MOLL, ESQUIRE
                     United States Department of Labor
  5                  Office of the Solicitor
                     2300 Main Street, Suite 10100
  6                  Kansas City, Missouri 64108
  7           On behalf of Respondent:
  8                  RUSSELL TIDABACK, ESQUIRE
                     JORDAN TIDABACK
  9                  American Tripoli
                     222 Oneida Street
 10                  Seneca, Missouri 64865
 11

 12                                   *    *    *    *    *
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 937    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 3


  1                                  C O N T E N T S
  2       WITNESS:                    DIRECT        CROSS     REDIRECT        RECROSS
  3       Keith Markeson                                  8             53            61
  4       Bryan Licklider                    68          81
  5       John Spears                        90       143             149            153
  6                                                                   156
  7       Russell Tidaback                 165        234             252
  8       Robert Baumann                                              258            259
  9

 10                                   *    *    *    *    *
 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22



         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 938    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 4


  1                             P R O C E E D I N G S
  2                       JUDGE MORAN:          Okay.      We're on the
  3       record.       Good morning, everyone.                 We're here for
  4       the third day of this proceeding, today being the
  5       last day of February, February 29th in this leap
  6       year of 2024.           And, Counsel, ready to proceed?
  7                       MS. O'REILLY:           Yes, your Honor.
  8                       JUDGE MORAN:          Okay.      Let's go.         We're
  9       going to continue with the testimony of Inspector
 10       Keith Markeson, correct?
 11                       MS. O'REILLY:           Yeah.      First we had a
 12       couple of just quick housekeeping items.
 13                       JUDGE MORAN:          Sure.
 14                       MS. O'REILLY:           There are, like, four
 15       RFAs in this case that have been admitted, and we
 16       were just wondering if the judge would like us to
 17       read those into the record.                   They're also in the
 18       admitted Exhibit P39.
 19                       JUDGE MORAN:          What was the first thing
 20       you said?        There were four what?
 21                       MS. O'REILLY:           Requests for admissions
 22       that have been admitted.                 Sorry.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 939    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 5


  1                       JUDGE MORAN:          Didn't get the acronym.
  2       Okay.      Yes.     Why don't you read them into the
  3       record, okay?           But you say they're already in
  4       Exhibit P39?
  5                       MS. O'REILLY:           Correct, so if you just
  6       want us to refer to those in the briefing or if
  7       you'd rather me read them into the record which is
  8       fine.
  9                       JUDGE MORAN:          If they're in the exhibit,
 10       I don't see a need to do that.
 11                       MS. O'REILLY:           Yeah.      We just wanted to
 12       make it clear that --
 13                       JUDGE MORAN:          Right, and then what
 14       you're saying right now is on the record as well.
 15                       MS. O'REILLY:           Yep.     That's fine.           We
 16       just wanted to alert you to that.                       The other thing
 17       is we had two other exhibits that hadn't been
 18       entered yet that -- The Exhibit P44, which is John
 19       Spears' deposition, it's self-certified.                           It's
 20       certified by the court reporter, and it's of a
 21       party opponent under 801(d)(2), so we'd move to
 22       admit that as well.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 940    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 6


  1                       JUDGE MORAN:          Okay.      And give me that
  2       number again, please.
  3                       MS. O'REILLY:           P44.
  4                       JUDGE MORAN:          Okay.      Any objection to
  5       P44, Mr. Tidaback?
  6                       MR. TIDABACK:           No.
  7                       JUDGE MORAN:          Okay.      It's admitted.            P44
  8       is in.      Go ahead.
  9                               (Complainant's Exhibit P-44 was
 10                               marked for identification and
 11                               received in evidence.)
 12                       MS. O'REILLY:           Thank you.         And one last
 13       one, P35, those are employee disciplinary records
 14       that were provided in discovery in this case, and
 15       we would move to admit those.
 16                       JUDGE MORAN:          Right.       Those were
 17       responded by the respondent to you, P35.                           Don't
 18       have any objection to that, right?
 19                       MR. TIDABACK:           (No audible answer.)
 20                       JUDGE MORAN:          You have to speak up.
 21                       MR. TIDABACK:           No, your Honor.
 22                       JUDGE MORAN:          Thank you.         P35 is


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 941    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 7


  1       admitted.
  2                               (Complainant's Exhibit P-35 was
  3                               marked for identification and
  4                               received in evidence.)
  5                       MS. O'REILLY:           That's all the
  6       housekeeping items.              Thank you.
  7                       JUDGE MORAN:          Okay.      That's fine.           So
  8       come on up here, Inspector Markeson.                        And, of
  9       course, I'm sure you know, you're still under
 10       oath.
 11                       THE WITNESS:          Yes, your Honor.
 12                       JUDGE MORAN:          Just one second, please.
 13       Whereupon,
 14                                   KEITH MARKESON
 15       was recalled as a witness and, having been
 16       previously duly sworn, was examined and testified
 17       further as follows:
 18                       JUDGE MORAN:          Okay.      Attorney -- Let's
 19       see.     It was Attorney O'Reilly who's doing the
 20       questioning.          Was it Attorney Moll?
 21                       MR. MOLL:        Yes, your Honor.
 22                       JUDGE MORAN:          Okay.      I'm sorry.         Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 942    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 8


  1       Okay.       Ready, sir?
  2                       MR. MOLL:        Yes, your Honor.             I believe
  3       we're on cross-examination now, your Honor.
  4                       JUDGE MORAN:          Oh, yeah.         Thank you for
  5       reminding me.           That's right.           You were saying at
  6       the end you had a few more questions and you could
  7       wrap it up, and you -- you had an adequate
  8       opportunity to provide your direct?
  9                       MR. MOLL:        Yes, your Honor.
 10                       JUDGE MORAN:          Okay.      All right.         Mr.
 11       Tidaback, go ahead, sir.
 12                       CROSS-EXAMINATION
 13                       BY MR. TIDABACK:
 14               Q       Okay.      During your interactions with --
 15       Did you have any interactions with the claimant
 16       prior to your inspection, prior to your inspection
 17       on the dates in question for this discrimination?
 18               A       No, I did not.
 19               Q       Had you had interactions with the
 20       claimant after hours or off-site prior to the
 21       claimant's discrimination filing?
 22               A       Yes.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 943    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 9


  1               Q       Can you, please, explain?
  2               A       After the B orders were issued that shut
  3       the plant down, Mr. Baumann called me and asked if
  4       American Tripoli would be allowed to shrink-wrap
  5       material that was already packaged and be allowed
  6       to load that material onto truck for sales, and I
  7       agreed that that would be reasonable because it
  8       was not dust-producing activity, so there was no
  9       reason not to do that.
 10                       Also, I believe on one other occasion,
 11       Rob called me after hours to ask me just a general
 12       safety question about -- about a standard, but I
 13       can't recall what it was.
 14               Q       Do you record these official
 15       communications in your inspection reports?
 16               A       No.     The -- The change in the B order
 17       was documented by a subsequent action that allowed
 18       that activity on the B order.
 19               Q       So how many times have you inspected our
 20       company's mine in the past 14 months?
 21               A       Separate events or visits?
 22               Q       Your presence at our site, would you say


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 944    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 10


  1       more than ten?
  2               A       I would say more than ten.
  3               Q       How many -- How many times did you
  4       inspect the company's mine prior to January 2023?
  5               A       At least five.           It might be more.
  6               Q       Five over years or five in the -- Five
  7       in that one time year before?
  8               A       No, five over 13 years.
  9               Q       Okay.
 10               A       It was -- It was assigned to me just for
 11       two years.         And, of course, I did both inspections
 12       those two years, and I think I picked up one
 13       inspection for another inspector.
 14               Q       So in -- Can you compare the frequency
 15       of your inspections at our mines with other mines
 16       in the same area of similar size and type?
 17               A       Not in recent history.
 18               Q       You can't compare the frequency of the
 19       inspections of our mines compared to another small
 20       mine?
 21                       JUDGE MORAN:          Well, he answered that.
 22       He said "not in recent history."                      Isn't that what


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 945    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 11


  1       you said?
  2                       THE WITNESS:          Correct.
  3                       MR. TIDABACK:           Thank you.         I needed to
  4       get clarification on the small mine, your Honor.
  5                       BY MR. TIDABACK:
  6               Q       So how do you -- How do your findings at
  7       our mines compare with your findings at other
  8       small mines?
  9               A       In general, there's more violations at
 10       American Tripoli than there are at similar mines
 11       in the state of -- similar mines in the state.
 12               Q       Okay.      And on these --
 13                       JUDGE MORAN:          Remember, let me just
 14       interject.         We're not -- We're not trying in this
 15       case the issuance of citations by any MSHA
 16       inspector of American Tripoli.
 17                       MR. TIDABACK:           Correct, your Honor.
 18                       JUDGE MORAN:          So I've let -- There
 19       hasn't been an objection, but we can only go so
 20       far in terms of the -- this line of questioning
 21       about comparing American Tripoli to other mines
 22       because that's moving us towards having many


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 946    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 12


  1       trials on citations issued at other facilities and
  2       how that would rate compared to American Tripoli.
  3       That's getting afield.
  4                       MR. TIDABACK:           Yes, sir.        We've removed
  5       any -- any relations to -- or any direction to any
  6       citation.
  7                       JUDGE MORAN:          Okay.      But still, some of
  8       your questions might have an issue -- have an
  9       issue that I just tried to explain to you, so
 10       we'll have to listen to your questions.                          Go ahead,
 11       sir.
 12                       MR. TIDABACK:           Thanks, your Honor.
 13                       BY MR. TIDABACK:
 14               Q       During your inspections, have you ever
 15       revised your -- That may lead into that.                           I'll
 16       finish the question and see if it's (inaudible),
 17       your Honor.
 18                       JUDGE MORAN:          Well, it's up to counsel
 19       for the Secretary if they have an objection as
 20       well, but go ahead --
 21                       BY MR. TIDABACK:
 22               Q       Have you ever --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 947    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 13


  1                       JUDGE MORAN:          -- with your inspections.
  2                       MR. TIDABACK:           Sorry.
  3                       BY MR. TIDABACK:
  4               Q       Have you ever revised your inspection
  5       findings or penalties after the initial
  6       documentation of those?
  7                       MR. MOLL:        Objection.         Deliberative
  8       process.
  9                       JUDGE MORAN:          I don't know if that's a
 10       deliberative process.               He's just asking if there's
 11       been a revision, but I would note that -- and I
 12       need you to confirm this, Inspector Markeson.
 13                       THE WITNESS:          Yes.
 14                       JUDGE MORAN:          Your role is to check for
 15       safety and health hazards.                  And upon finding a
 16       safety or health hazard, you issue a citation or
 17       in some instances depending upon what's preceded
 18       it an order?
 19                       THE WITNESS:          Correct.
 20                       JUDGE MORAN:          And the orders may be
 21       104(a), 104(b).            They may be D orders, D citations
 22       and -- and other imminent danger orders.                           There's


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 948    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 14


  1       a host of things that an inspector can issue when
  2       inspecting a mine; is that right?
  3                       THE WITNESS:          That is correct.
  4                       JUDGE MORAN:          Okay.      And so am I also
  5       correct that -- Mr. Tidaback's question asked
  6       about revising a penalty computation.                         The
  7       inspectors don't do penalty computations, do they?
  8                       THE WITNESS:          No.     We have nothing to do
  9       with the penalty side.
 10                       JUDGE MORAN:          Okay.
 11                       BY MR. TIDABACK:
 12               Q       Have you ever expressed your opinions of
 13       our company or its practices, either publicly or
 14       privately, outside of your official reports?
 15                       MR. MOLL:        Objection.         Deliberative
 16       process again.
 17                       JUDGE MORAN:          Yes.      I sustain the
 18       objection.
 19                       BY MR. TIDABACK:
 20               Q       Have you ever discussed our company with
 21       your supervisor, Mr. Pratt?
 22                       MR. MOLL:        Same objection.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 949    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 15


  1                       JUDGE MORAN:          Sustained.
  2                       BY MR. TIDABACK:
  3               Q       Okay.      Has Mr. Pratt ever counseled you
  4       or provided you with documented professional
  5       development?
  6                       MR. MOLL:        Same objection and relevance.
  7                       JUDGE MORAN:          Yes.      Repeat that question
  8       again, please.
  9                       BY MR. TIDABACK:
 10               Q       Has Mr. Pratt, which is his supervisor,
 11       ever counseled you or provided you with documented
 12       professional development?
 13                       MR. MOLL:        Objection.         Relevance.
 14                       JUDGE MORAN:          I'm going to sustain the
 15       objection.
 16                       MR. TIDABACK:           Okay.
 17                       JUDGE MORAN:          Now, however, and I can't
 18       be in the process of guiding you.                       I'm not a de
 19       facto attorney in any sense for you.                        But I don't
 20       think, unless I hear an objection from the
 21       secretary, there will be any objection.                          I'm have
 22       to weigh this, though.                And by the way, Court


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 950    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 16


  1       Reporter, can you hear me?
  2                       THE VIDEOGRAPHER:             Thumbs up.
  3                       JUDGE MORAN:          Okay.      Good.      I don't
  4       think it would be improper if you asked a limited
  5       question about whether Inspector Markeson has ever
  6       been disciplined in connection with the
  7       performance of his duties.                  That's different from
  8       deliberation.           So if you want to ask that
  9       question, if he's ever been -- if he's ever
 10       received any discipline in connection with his
 11       duties as a mine inspector, because I think I
 12       recall overtones in your documents alleging that.
 13       So you can ask that question, if he's ever been
 14       disciplined about -- in connection with his
 15       inspection activities.
 16                       THE WITNESS:          Your Honor, may I clarify
 17       something?
 18                       JUDGE MORAN:          No.     That's not the --
 19       That's not the way this proceeding works.
 20                       THE WITNESS:          Okay.
 21                       JUDGE MORAN:          If there's a question that
 22       is considered improper by any of the Secretary's


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 951    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 17


  1       three attorneys here, they will speak up.
  2                       THE WITNESS:          Okay.
  3                       JUDGE MORAN:          And that's just the way it
  4       works because it's a question-and-answer format.
  5                       THE WITNESS:          Um-hum.
  6                       JUDGE MORAN:          It's not volunteering
  7       information.          We would have havoc, and I wouldn't
  8       be able to put a cap on it.
  9                       THE WITNESS:          I understand.
 10                       JUDGE MORAN:          Go ahead.         Do you want to
 11       ask that question?
 12                       MR. TIDABACK:           Yes, your Honor.
 13                       JUDGE MORAN:          Go ahead.
 14                       BY MR. TIDABACK:
 15               Q       Have you ever been disciplined for your
 16       performance as an inspector?
 17               A       No.
 18               Q       Do you remember the -- the inspection
 19       when you were there, Mr. Simms, the district
 20       attorney (sic) at the time, was there, Mr. Pratt
 21       was there?         They actually came to our site.
 22       Remember that one day the big -- everybody --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 952    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 18


  1                       MR. MOLL:        Objection.         Characterization.
  2                       JUDGE MORAN:          I'm sorry?
  3                       MR. MOLL:        Objection.         Characterization
  4       and testimony.
  5                       JUDGE MORAN:          Well, no.         He -- I can
  6       allow that question.               He's -- he's asking about if
  7       this -- if Inspector Markeson remembers a date.
  8       At the plant do you mean?
  9                       MR. TIDABACK:           Yes, your Honor.
 10                       JUDGE MORAN:          At the mill and with
 11       certain individuals being there, including, did
 12       you say, the fire department?
 13                       MR. TIDABACK:           No, your Honor, Mr. Simms
 14       which was the district -- district manager at the
 15       time, Mr. Pratt which was Mr. Markeson's
 16       supervisor, and Mr. Markeson was there.
 17                       JUDGE MORAN:          At -- All at your site?
 18                       MR. TIDABACK:           All at the -- All at the
 19       site.
 20                       JUDGE MORAN:          Do you ever remember an
 21       event like that, sir?
 22                       THE WITNESS:          I do remember that.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 953    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 19


  1                       JUDGE MORAN:          Okay.      So he remembers
  2       that there was an event at -- at the mill.                            Were
  3       those individuals present?
  4                       THE WITNESS:          Yes.
  5                       JUDGE MORAN:          Okay.      Were you conducting
  6       an inspection at that time?
  7                       THE WITNESS:          Yes, we were conducting an
  8       inspection at that time.                 However, Mr. Pratt is
  9       not my supervisor.
 10                       JUDGE MORAN:          Okay.
 11                       MR. TIDABACK:           Oh, sorry.
 12                       JUDGE MORAN:          Go ahead.
 13                       BY MR. TIDABACK:
 14               Q       Okay.      So --
 15                       JUDGE MORAN:          I just want to clarify one
 16       other thing.          We can only go so far in this
 17       because I didn't articulate it as well as I would
 18       have liked to.           But when an inspector says, for
 19       example, Markeson says, "No, I've never been
 20       disciplined," that's it.                 You can't -- if the
 21       answer is "no," we don't allow you to -- you know,
 22       to go onto that further.                 You have to take the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 954    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 20


  1       answer.
  2                       MR. TIDABACK:           Okay, your Honor.
  3                       JUDGE MORAN:          Okay?
  4                       MR. TIDABACK:           Yes, sir.
  5                       JUDGE MORAN:          All right.         Because it
  6       becomes a collateral issue.                   That's what it's
  7       called, collateral, noncollateral.                       Came to me.
  8       All right.         Go ahead.
  9                       BY MR. TIDABACK:
 10               Q       During that inspection or that time that
 11       we were there, do you remember the conversation
 12       we, all five of us, Ms. Jordan or -- Ms. Tidaback,
 13       excuse me, Mr. Simms, Mr. Pratt and yourself, we
 14       were having a conversation on the railcar loading
 15       dock regarding the barbecue grill on that ramp?
 16       Do you remember that conversation?
 17               A       I do.
 18               Q       Do you remember Mr. Pratt telling you
 19       to, "Hurry this up, we need to get out of here,"
 20       and do you remember -- do you recall the response
 21       to Mr. Pratt?
 22                       JUDGE MORAN:          Well, you asked multiple


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 955    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 21


  1       questions there.
  2                       MR. TIDABACK:           Oh, sorry.
  3                       JUDGE MORAN:          So just break it down.
  4                       BY MR. TIDABACK:
  5               Q       Do you remember that -- that
  6       conversation where Mr. Pratt told you to, "Hurry
  7       this up, and we need to get out of here"?
  8               A       I remember the -- having a conversation
  9       out there.         I do not remember those specific
 10       words.
 11               Q       Do you recall the response that you gave
 12       to Mr. Pratt?
 13               A       Yes, I do.         I -- I don't recall the
 14       exact words, but I was getting a little frustrated
 15       because they were moving faster than I could take
 16       my notes.
 17                       JUDGE MORAN:          Who was moving faster,
 18       sir?
 19                       THE WITNESS:          The rest of the inspection
 20       party.      I was the one -- I was the one issuing the
 21       citations, and they were going along.                         And, of
 22       course, I have to stop and take notes and document


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 956    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 22


  1       a violation.          And they were moving faster than I
  2       could, and I was getting frustrated.                        And I -- I
  3       got a little snippy with Mr. Pratt, basically --
  4                       JUDGE MORAN:          By the way, who is Mr.
  5       Pratt?
  6                       THE WITNESS:          Mr. Pratt is the south
  7       office field office supervisor.                     Rolla's divided
  8       into two work groups.               I'm in the north office
  9       work group.         Mr. Pratt is the supervisor in the
 10       south office work group.
 11                       MR. TIDABACK:           I'd like to refer to
 12       Exhibit RH, your Honor.
 13                       JUDGE MORAN:          All right.
 14                       THE WITNESS:          Is the -- Wait.            Is it the
 15       white book here?
 16                       BY MR. TIDABACK:
 17               Q       Yes, R -- R -- RH, Romeo dot hotel.
 18                       JUDGE MORAN:          Now, let's keep focused
 19       here, folks, and I'm addressing this to the
 20       Secretary's representatives as well, what this
 21       case is about.           Okay.      Are you -- Inspector
 22       Markeson, are you on RH?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 957    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 23


  1                       And, first of all, I want you to make a
  2       proffer, Mr. Tidaback, as to what -- characterize
  3       for me what RH is.              Are you on RH, by the way,
  4       Inspector Markeson?
  5                       THE WITNESS:          I am on RH.
  6                       JUDGE MORAN:          Okay.
  7                       MR. TIDABACK:           Yes, sir.        This is an
  8       e-mail to Mr. Simms which is the district manager
  9       referring to Mr. Markeson that day and that
 10       inspection.
 11                       JUDGE MORAN:          And are you telling me
 12       that this is multiple unnumbered pages, that all
 13       of this is an e-mail that you sent?
 14                       MR. TIDABACK:           This -- Yes, your Honor.
 15       This is one chain e-mail.                  Mr. Simms, if I
 16       remember correctly, the e-mail started out to Mr.
 17       -- Mr. Markeson.
 18                       JUDGE MORAN:          Okay.
 19                       MR. TIDABACK:           And it went up the chain
 20       to Mr. Simms.
 21                       JUDGE MORAN:          Okay.      And you tell me if
 22       I have this right.              My understanding would be that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 958    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 24


  1       the purpose of your attempting to introduce this
  2       e-mail is to demonstrate that this inspector was
  3       disrespectful or some other negative attribute of
  4       his behavior; is that right?
  5                       MR. TIDABACK:           That is correct, your
  6       Honor.
  7                       JUDGE MORAN:          Okay.      Do we have an
  8       objection to this?
  9                       MR. MOLL:        We don't have any objection.
 10                       JUDGE MORAN:          All right.
 11                       MR. TIDABACK:           So I would like to admit
 12       RH to the evidence.
 13                       JUDGE MORAN:          All right.         If the counsel
 14       for the Secretary doesn't have any issues, then I
 15       do not have objections to -- to include in light
 16       of their view.           RH is admitted.
 17                               (Respondent's Exhibit R-H was
 18                               marked for identification and
 19                               received in evidence.)
 20                       MR. TIDABACK:           Thank you, your Honor.
 21                       BY MR. TIDABACK:
 22               Q       Have you ever seen this e-mail before,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 959    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 25


  1       Mr. Markeson, this last e-mail on page 1?                           Sorry.
  2               A       I have not seen all of it.
  3               Q       Okay.      Just this last e-mail to Mr.
  4       Simms, RH, page 1, dated Monday, April 17th, 2023,
  5       at 11:18:24 p.m.
  6                       JUDGE MORAN:          So I'm going to interrupt
  7       again.      I'm looking at this, and it's too many
  8       pages for me to -- it would take a long time to
  9       read through all of this.                  But let's assume, Mr.
 10       Tidaback, that -- that essentially this is
 11       allegations on your part, right?                      You're writing
 12       allegations about Inspector Markeson; is that
 13       right?
 14                       MR. TIDABACK:           Allegations to the
 15       district manager.
 16                       JUDGE MORAN:          Well, yes, but about
 17       Inspector Markeson?
 18                       MR. TIDABACK:           Yes, sir.
 19                       JUDGE MORAN:          Is Inspector Markeson the
 20       entire subject of this exhibit?
 21                       MR. TIDABACK:           On page 1, yes, it is.
 22                       JUDGE MORAN:          Well, but there are a lot


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 960    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 26


  1       of other pages, so what -- you said it's a chain
  2       e-mail.       Is this about this inspector's behavior?
  3                       MR. TIDABACK:           The entire chain is not.
  4       The last communication in the chain of e-mails is.
  5                       JUDGE MORAN:          Okay.      Then what's the
  6       purpose of the entire chain?                    What follows?
  7                       MR. TIDABACK:           It's just the e-mail
  8       chain.
  9                       JUDGE MORAN:          What is your intention
 10       behind having that admitted into the record, RH?
 11       To show what?
 12                       MR. TIDABACK:           To show that the
 13       inspector was having issues at our mine site with
 14       other inspectors which at the time as he just
 15       stated he wasn't his supervisor, but we had
 16       understood that he was his supervisor.                          That was
 17       the intent, your Honor.
 18                       JUDGE MORAN:          Okay.      And so I'll let you
 19       ask some questions subject to any objections.                              But
 20       not to be coarse, but I would -- my reaction is,
 21       so what?        I mean, I don't understand the
 22       importance in determining about what is in front


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 961    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 27


  1       of me.
  2                       MR. TIDABACK:           The --
  3                       JUDGE MORAN:          Let me finish, please.
  4                       MR. TIDABACK:           Sorry.
  5                       JUDGE MORAN:          A discrimination complaint
  6       by Mr. Baumann, that's what we're dealing with
  7       here --
  8                       MR. TIDABACK:           Sure.
  9                       JUDGE MORAN:          -- and the undisputed
 10       adverse action and then the second issue of
 11       affirmative defense that American Tripoli would
 12       have fired, terminated Mr. Baumann in any event.
 13       This has nothing to do with that.                       The -- The
 14       extent of the camaraderie or disagreements between
 15       MSHA's inspection team does not advance at all in
 16       my perspective the determinations that I have to
 17       make in this case.
 18                       MR. TIDABACK:           So far, your Honor.
 19       Correct.        We haven't gotten through all the
 20       testimony and stuff like that.
 21                       JUDGE MORAN:          So far.       Of course I'm
 22       saying so far.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 962    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 28


  1                       MR. TIDABACK:           Yes.
  2                       JUDGE MORAN:          I'm talking about this
  3       exhibit.        And again, you know, that's my
  4       unvarnished perspective on this.
  5                       MR. TIDABACK:           Yes, sir.
  6                       JUDGE MORAN:          People have disagreements.
  7       It's part of life.
  8                       MR. TIDABACK:           Yes, sir.
  9                       JUDGE MORAN:          It can be at home with one
 10       spouse or significant other.                    And it also can be,
 11       and often is, one's children, in business
 12       relationships, so it proves nothing so far --
 13                       MR. TIDABACK:           So far.
 14                       JUDGE MORAN:          -- this Exhibit RH, and
 15       this is just what you're -- you've written to this
 16       --
 17                       MR. TIDABACK:           District manager.
 18                       JUDGE MORAN:          Mr. Simms.
 19                       MR. TIDABACK:           Yes, sir.
 20                       JUDGE MORAN:          Yes.      And I note that the
 21       -- the beginning line says, "I respect your
 22       opinion but do not see it that way.                        I can only


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 963    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 29


  1       express my concern based on the experience we had
  2       with Mr. Markeson."
  3                       So what you're going to have to focus on
  4       is to ask him specific questions about his
  5       behavior which he -- and that behavior has to be,
  6       as far as I'm concerned, in relation not with his
  7       fellow employees, fellow inspectors or people in
  8       other offices but, rather, in connection with
  9       American Tripoli what might be said there, but
 10       this doesn't talk about that.                    I mean, so I -- I'm
 11       not going to let you go very far in terms of --
 12       because it doesn't prove anything in this case.
 13                       MR. TIDABACK:           Correct.        It establishes
 14       where we're trying to get, your Honor.
 15                       JUDGE MORAN:          Well, it establishes an
 16       allegation by you to Mr. Simms and then the very
 17       first line you say that you respect his opinion,
 18       but you're disagreeing with Mr. Simms about his
 19       opinion.
 20                       MR. TIDABACK:           Correct.
 21                       JUDGE MORAN:          Okay.      And that's why I
 22       have real problems about this.                     Go ahead with your


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 964    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 30


  1       next question, and we'll plug along here.
  2                       BY MR. TIDABACK:
  3               Q       Okay.      Okay.      So can you provide
  4       examples of when you've acknowledged or praised
  5       compliance or improvements at safety -- in safety
  6       practices at our mine location?
  7               A       Can you ask that again, please?
  8               Q       Yes, sir.        Can you provide examples of
  9       when you've acknowledged or praised compliance or
 10       improvements in safety practices at our mine?
 11               A       Not specifically, no.
 12               Q       Okay.      During your visits, how many
 13       times have you visited the pit or the drying sedge
 14       -- drying sheds which are also part of our mine
 15       site?
 16                       MR. MOLL:        Objection.         Relevance.          Mr.
 17       Baumann said he testified that he did never -- he
 18       never worked in the pit, so --
 19                       JUDGE MORAN:          Well, and more
 20       fundamentally, I don't understand the relevance of
 21       the question apart from Mr. Baumann.                        I'm going to
 22       sustain the objection.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 965    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 31


  1                       BY MR. TIDABACK:
  2               Q       Okay.      Have any of your inspections or
  3       decisions -- or actions been challenged or
  4       overturned by MSHA or another authority?
  5                       MR. MOLL:        Objection.
  6                       MR. TIDABACK:           Yeah.      I figured it was
  7       --
  8                       JUDGE MORAN:          No side comments, please,
  9       okay --
 10                       MR. TIDABACK:           Sorry, sir.
 11                       JUDGE MORAN:          -- Mr. Tidaback, I mean,
 12       if you said something, "That figures," or I think
 13       you said something.
 14                       MR. TIDABACK:           All right.
 15                       JUDGE MORAN:          Parties are able to
 16       object, and you objected yesterday and the day
 17       before.       The -- Whether I ruled in your favor or
 18       not, you had the opportunity to object.
 19                       MR. TIDABACK:           I apologize.          I didn't --
 20       it slipped.         Yes.
 21                       JUDGE MORAN:          Yes.      I understand you're
 22       emotionally involved in this, as all of us are,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 966    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 32


  1       but hopefully professionally.
  2                       MR. TIDABACK:           Yes, your Honor.
  3                       JUDGE MORAN:          Okay.      So, again, I'm
  4       going to ask the Secretary, I'm not telling you
  5       how to do your case, but we want to stay focused
  6       on what I have to deal with here, and a lot of
  7       side issues are not pertinent to this proceeding.
  8                       It seems to me that absent the -- this
  9       inspector's statement, which he has not made,
 10       about being disciplined in connection with his job
 11       as an inspector and more particularly as his job
 12       as an inspector at American Tripoli, that's about
 13       it in terms of challenging him.
 14                       MR. TIDABACK:           Your Honor, we're trying
 15       to establish the basis that Mr. Markeson
 16       influenced and coerced Mr. Baumann in filing a
 17       complaint.
 18                       JUDGE MORAN:          Well, you can ask
 19       questions, and you already have, about his
 20       communication off-site or otherwise, so -- but you
 21       can ask a question like that.                    You can say,
 22       "Inspector Markeson, did you ever attempt to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 967    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 33


  1       influence or direct Mr. Baumann as to what to say
  2       in communication with," in other words, guide him
  3       in connection with his discrimination complaint.
  4       You can ask that question.
  5                       Other than that, you've got to put on
  6       your own witnesses to perhaps establish that.                              So
  7       go ahead with -- that's why I want to try -- I
  8       know you're not an attorney, but that doesn't mean
  9       I can let you have free range here.                        This is not
 10       like -- You know the expression "free-range
 11       chickens" here, right?                We can't have free range
 12       here in terms of -- because you're not an attorney
 13       to ask whatever questions you want.
 14                       MR. TIDABACK:           Right.
 15                       JUDGE MORAN:          There has to be certain
 16       parameters in this proceeding.
 17                       MR. TIDABACK:           And I appreciate that.                   I
 18       appreciate your input 100 percent.                       I don't think
 19       I'm free range anything.
 20                       JUDGE MORAN:          Okay.
 21                       MR. TIDABACK:           I'm here to follow the
 22       guidelines.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 968    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 34


  1                       JUDGE MORAN:          So you can ask him that
  2       question if you want to, what I just asked.
  3                       MR. TIDABACK:           Yes.
  4                       JUDGE MORAN:          Did you ever attempt to
  5       influence Mr. Baumann about procedures or
  6       substance in connection with his discrimination
  7       complaint?
  8                       THE WITNESS:          Influence or provide
  9       information?
 10                       JUDGE MORAN:          Provide information.
 11                       THE WITNESS:          After Mr. Baumann was
 12       terminated, he told me the conditions of his
 13       termination.          I said, "You might have a 105(c)
 14       case" --
 15                       JUDGE MORAN:          Okay.
 16                       THE WITNESS:          -- "possibly."            And he
 17       asked, "How do I file that?"                    And I provided him
 18       the contact number for -- I can't think of her
 19       first name, but her last name is Van Over in our
 20       district office who takes the complaints.
 21                       JUDGE MORAN:          Okay.      And did you just
 22       state that that communication, which you just


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 969    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 35


  1       testified about --
  2                       THE WITNESS:          Um-hum.
  3                       JUDGE MORAN:          -- was after Mr. Baumann
  4       was terminated?
  5                       THE WITNESS:          Yes, it was after Mr.
  6       Baumann was terminated.
  7                       JUDGE MORAN:          Okay.      And the second
  8       part, because you appropriately asked me to
  9       distinguish in my question, I asked you about did
 10       you attempt to influence Mr. Baumann in any manner
 11       in this matter.
 12                       THE WITNESS:          No.     I just provided him
 13       the means to file the complaint if he -- if he
 14       chose to do so.
 15                       JUDGE MORAN:          Okay.      And it's my -- my
 16       further understanding that -- that in connection
 17       with that, the call was, A, after his termination
 18       and, B, did -- did you institute, did you -- did
 19       you start the call, or did you receive a call?
 20                       THE WITNESS:          It wasn't a call.             It was
 21       in the parking lot at American Tripoli.
 22                       JUDGE MORAN:          Oh, and the word I was


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 970    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 36


  1       looking for, initiate, did you initiate with Mr.
  2       Baumann a conversation?                 This is after he's
  3       terminated?
  4                       THE WITNESS:          So -- so after --
  5       Actually, the day that Mr. Baumann was terminated,
  6       I arrived at the mine site to conduct an
  7       inspection.         Mr. Baumann was still the elected
  8       miners' representative for the mine.
  9                       So when Mr. Spears informed me that Mr.
 10       Baumann had been terminated, I called Mr. Baumann
 11       from right in front of the American Tripoli
 12       office.       And I said, "You are still the elected
 13       miners' rep unless you don't want to be," and I
 14       said, "You have the right to accompany this
 15       inspection should you choose to do so."
 16                       JUDGE MORAN:          And help me out with this.
 17       Did you say -- You said you called him.                          Is he on
 18       the mine property, or is he off the mine property?
 19                       THE WITNESS:          He had left the property,
 20       and he was on his way home, I believe, and he
 21       turned around.
 22                       JUDGE MORAN:          You knew how to contact


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 971    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 37


  1       him?     You contacted him?
  2                       THE WITNESS:          Yes.
  3                       JUDGE MORAN:          How did you know to
  4       contact him?
  5                       THE WITNESS:          I got his phone number
  6       from Jesse Malessy, the environmental health and
  7       safety specialist.
  8                       JUDGE MORAN:          On that day?          Is that how
  9       you got the telephone number?
 10                       THE WITNESS:          Yeah.      I don't remember if
 11       it was that day or earlier or an earlier
 12       inspection, but that's where I got the number
 13       from.
 14                       JUDGE MORAN:          All right.         Do you have
 15       other questions to ask of this inspector?
 16                       MR. TIDABACK:           Yes, your Honor.
 17                       JUDGE MORAN:          Okay.
 18                       BY MR. TIDABACK:
 19               Q       On February 14th, do you recall what was
 20       happening that morning at our site?
 21                       MR. TIDABACK:           And this -- Your Honor,
 22       this is in relation to the message to Gage Wheeler


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 972    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 38


  1       which is part of the interference claim of the
  2       Secretary.
  3                       JUDGE MORAN:          Okay.      Well, so let's back
  4       up.     This is February 14th you're saying?
  5                       MR. TIDABACK:           Yes, your Honor.
  6                       JUDGE MORAN:          And -- And you're asking
  7       him about a conversation?
  8                       MR. TIDABACK:           No.
  9                       BY MR. TIDABACK:
 10               Q       The question was, do you recall what was
 11       occurring at our mine site the day that you -- on
 12       that day that you arrived that morning?
 13               A       No, not in particular.
 14               Q       Okay.      Do you recall -- Okay.                Do you --
 15       And do you recall in an e-mail that you sent
 16       regarding that day that Mr. Spears was not there
 17       at -- during your inspection?
 18                       MR. MOLL:        Objection.         Foundation.          I
 19       don't think he's established that Mr. Markeson was
 20       there that day.
 21                       JUDGE MORAN:          You'll have to rephrase
 22       the question.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 973    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 39


  1                       BY MR. TIDABACK:
  2               Q       On February 14th, 2023, were you at an
  3       inspection on our site?
  4               A       I don't recall.
  5               Q       Let's see here.            If we go back through
  6       -- Okay.        The morning of the inspection where you
  7       issued a 104(b) order that the mill was locked or
  8       -- the inspectors locked the mill and told Mr. Rob
  9       to not -- no one allowed to go in the mill, do you
 10       remember that day?
 11               A       Yes.
 12               Q       Okay.      Do you remember anything of that
 13       day that was going on outside of the mill dealing
 14       with the police officers --
 15               A       No.
 16               Q       -- Seneca police officers?
 17               A       I don't -- I didn't even know they were
 18       there that day.
 19               Q       Okay.      Okay.      So if a workplace exam was
 20       done saying that all was good and you come in for
 21       your inspection and then you find guarding off any
 22       exposed parts, wouldn't the person who did the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 974    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 40


  1       workplace exam be at fault?
  2                       MR. MOLL:        Objection.
  3                       JUDGE MORAN:          It's a hypothetical
  4       question that he's asking, and it's something you
  5       can't answer.           The -- It's too far flung a
  6       hypothetical to -- to give a -- an absolute answer
  7       to.
  8                       MR. TIDABACK:           Okay.
  9                       JUDGE MORAN:          What you're attempting to
 10       do in a back-door route is to say that Mr. Baumann
 11       was deficient in his responsibilities regarding
 12       guarding.        Regarding guarding, that's an awkward
 13       way to express it, but that's what you're
 14       attempting to do.             And this inspector can't answer
 15       a question like that because -- because that's not
 16       how you're going to establish that Mr. Baumann was
 17       deficient.
 18                       The way that the American Tripoli can
 19       potentially do that is to have someone like Mr.
 20       Spears or some other witness testify that Mr.
 21       Baumann's duties included making sure that guards
 22       were in place and that on one or more occasions,


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 975    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 41


  1       this was noted by such individual and that there
  2       was -- to demonstrate the veracity of that, that
  3       there was a record made on the part of American
  4       Tripoli which would have noted this deficiency,
  5       alleged deficiency, on the part of Mr. Baumann.
  6       So this would all be part of American Tripoli's
  7       affirmative defense to the extent that they can
  8       show that.
  9                       MR. TIDABACK:           Correct.
 10                       JUDGE MORAN:          All right.         So that
 11       question is -- The objection to the question is
 12       sustained.
 13                       MR. TIDABACK:           Okay.
 14                       BY MR. TIDABACK:
 15               Q       Mr. Markeson, do you remember having a
 16       conversation with me and Jordan during one of your
 17       inspections regarding daily inspections?
 18               A       Yes.
 19               Q       Okay.      Do you remember in the control
 20       room when we were having those discussions the
 21       initial parts of discussions and us pulling this
 22       stack of papers out of the left-hand side of that


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 976    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 42


  1       desk?       Do you remember that?
  2               A       No.
  3               Q       Okay.      So during our conversations about
  4       workplace exams, you stated that they were
  5       deficient in that conversation.                     Do you remember
  6       that?
  7               A       The form was deficient.
  8               Q       Okay.      So you do remember the form in --
  9       in the control room?
 10               A       No.
 11                       JUDGE MORAN:          He's -- Now, let's be fair
 12       here.
 13                       MR. TIDABACK:           Yes.
 14                       JUDGE MORAN:          He's -- He's saying that
 15       the form was deficient.                 He didn't make a
 16       statement about the inspection workplace exam
 17       being deficient; is that right?
 18                       THE WITNESS:          Correct.
 19                       JUDGE MORAN:          There's a difference
 20       there.
 21                       BY MR. TIDABACK:
 22               Q       Okay.      So do you remember in the


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 977    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 43


  1       discussion that we were having about workplace
  2       exams that we -- and if I remember correctly --
  3       Testifying.         Sorry.       Okay.
  4                       JUDGE MORAN:          Again, and I'm telling
  5       you, Mr. Tidaback, if you are trying to say that
  6       Mr. Baumann should have been fired because, among
  7       other reasons alleged, he did insufficient
  8       workplace exams, you do that through your own
  9       witnesses --
 10                       MR. TIDABACK:           Correct.        Yes, your
 11       Honor.
 12                       JUDGE MORAN:          -- and not through trying
 13       to snare Mr. Baumann through this inspector.
 14                       MR. TIDABACK:           Correct.
 15                       JUDGE MORAN:          He's there to -- There are
 16       instances, isn't this correct, Inspector, that a
 17       corporate or management person can be held
 18       personally responsible for violations if the
 19       government had -- conducts a 110(c) investigation?
 20                       THE WITNESS:          That is correct.
 21                       JUDGE MORAN:          Okay.      So, again, my -- my
 22       point is that wait for you to advance your case


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 978    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 44


  1       through your witnesses.                 Mr. -- Inspector Markeson
  2       is not in the business of other than what I
  3       mentioned about a 110(c) investigation about
  4       ascribing blame to a particular individual.                             He
  5       can -- It's spoken more neutrally such as there's
  6       no record of workplace examinations.                        But they
  7       don't get into the business of, "Oh, the inspector
  8       may say, 'And this condition has been not noted
  9       for several shifts, and it appears to have been an
 10       extensive period of time.'"                   But they don't get
 11       personal in saying, "And the blame for this
 12       problem is" --
 13                       MR. TIDABACK:           Right.
 14                       JUDGE MORAN:          -- "you know, employee X."
 15                       MR. TIDABACK:           Correct, your Honor.
 16                       JUDGE MORAN:          That's not how it works.
 17                       MR. TIDABACK:           Yes.
 18                       JUDGE MORAN:          So you're not going to get
 19       that from him because that's not part of his
 20       responsibilities, to ascribe blame to a particular
 21       individual.
 22                       MR. TIDABACK:           Correct, your Honor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 979    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 45


  1                       JUDGE MORAN:          So I'm only going to let
  2       you go so far in terms of your cross-examination
  3       of Mr. -- Inspector Markeson, so you're on the
  4       edge here of my -- it's within my authority to say
  5       --
  6                       MR. TIDABACK:           Yes, sir.
  7                       JUDGE MORAN:          -- "That's it."
  8                       MR. TIDABACK:           Yes, sir, and I'm trying
  9       to properly word the questions, your Honor.
 10                       JUDGE MORAN:          I know you are.            I know
 11       you're trying, but when you're off -- off the
 12       reservation, so to speak --
 13                       MR. TIDABACK:           Yes, sir.
 14                       JUDGE MORAN:          -- I have to tell you
 15       that.
 16                       MR. TIDABACK:           Yes, sir.        Okay.
 17                       BY MR. TIDABACK:
 18               Q       Let's see here.            And you had mentioned
 19       yesterday in your testimony about the guards
 20       laying -- laying on the ground next to the
 21       machines.        Did you ever express to anyone that was
 22       with you to put the guards on?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 980    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 46


  1               A       Yes.
  2               Q       Okay.      So in reference to -- Do you
  3       recall our e-mails to Jesse Malessy and you
  4       regarding the miner pay when that 104(b) was
  5       issued?
  6               A       I recall there being e-mails.
  7               Q       Okay.      If you would refer to Exhibit RE
  8       and RF, sorry, RE.
  9                       JUDGE MORAN:          No, no.       I just want to
 10       make sure I don't make an error here.                         I admitted
 11       RH, Folks, and you had -- the government had no
 12       objection to RH, and now we're on what, sir?
 13                       MR. TIDABACK:           RE, echo, Romeo dot echo.
 14                       JUDGE MORAN:          Okay.
 15                       BY MR. TIDABACK:
 16               Q       Do you recall that e-mail?
 17               A       Yes.
 18               Q       So the -- In these conversations, you
 19       discussed with us, Mr. Malessy, I think whoever
 20       was in the e-mail --
 21               A       Um-hum.
 22               Q       -- about the entitlement for miners'


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 981    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 47


  1       pay, correct?
  2               A       Correct.
  3               Q       So you were giving clarification to us
  4       about the right thing to do, correct?
  5               A       Correct.
  6                       JUDGE MORAN:          Let me just interrupt
  7       again.      On RE, is it your understanding, Mr.
  8       Tidaback, that miners were paid in connection with
  9       this for the time that they were off?
 10                       MR. TIDABACK:           Correct.
 11                       JUDGE MORAN:          Okay.      So you didn't
 12       dispute that?
 13                       MR. TIDABACK:           No.     No, your Honor.
 14                       JUDGE MORAN:          American Tripoli paid the
 15       miners in connection with the closure of the mine.
 16       Did they get the four hours plus the four hours on
 17       the next shift?
 18                       MR. TIDABACK:           Yes, your Honor.            That's
 19       why we were requiring clarification behind that
 20       'cause we just didn't know at the time.
 21                       JUDGE MORAN:          Clarification regarding
 22       what, sir?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 982    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 48


  1                       MR. TIDABACK:           Regarding the proper way
  2       to handle that because --
  3                       JUDGE MORAN:          Okay.
  4                       MR. TIDABACK:           -- if we got issued that
  5       nobody could be there at work, "Okay, well, what
  6       does that mean?"
  7                       JUDGE MORAN:          Okay.
  8                       MR. TIDABACK:           So I wanted to --
  9                       JUDGE MORAN:          And did Inspector Markeson
 10       help you out with that?
 11                       MR. TIDABACK:           Yes, he did.
 12                       JUDGE MORAN:          And then ultimately, you
 13       paid it?
 14                       MR. TIDABACK:           Yes.
 15                       JUDGE MORAN:          Okay.      So I don't know
 16       what that has to do with Complainant Baumann.
 17                       MR. TIDABACK:           It goes back to Mr.
 18       Baumann saying that we didn't get -- he didn't get
 19       paid before the 104(b) order.                    That's where it
 20       relates to, that we were getting clarification at
 21       the same exact time that Mr. Baumann was
 22       complaining stating that he wasn't getting paid.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 983    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 49


  1                       JUDGE MORAN:          Okay.      I consider this
  2       business of the pay to be a side show.                          It's a
  3       side issue, not -- not critical to my --
  4                       MR. TIDABACK:           Oh.
  5                       JUDGE MORAN:          -- determination in this
  6       case.
  7                       MR. TIDABACK:           Sure.      Okay, your Honor.
  8                       JUDGE MORAN:          I do want to alert the
  9       Secretary of Labor, and this is your call, not
 10       mine, but as this proceeding goes along, it might
 11       be necessary, it's your evaluation, not mine, to
 12       call Mr. Baumann on this extensive discussion
 13       about guarding and his responsibilities and
 14       whether there were failures on his part to testify
 15       about that because that has been a theme on the
 16       part of American Tripoli, that he was negligent in
 17       -- in performing his -- if it was part of his
 18       duties in performing those duties.                       That's
 19       something I'm sure you were aware of anyway, but
 20       -- and we're going to be meeting again.
 21                       I think that the prediction is pretty
 22       accurate.        We'll be meeting back in Joplin, which


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 984    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 50


  1       is a very great place to be.                    It's a very nice
  2       city, and I don't say that just for the benefit of
  3       the employees.           It's a very nice city.                 I've never
  4       been here before.             So all right.           Go ahead.         Do
  5       you have a few more questions?
  6                       MR. TIDABACK:           Just a few, your Honor.
  7                       JUDGE MORAN:          Okay.
  8                       BY MR. TIDABACK:
  9               Q       And as far as you remember, that
 10       conversation about miners' pay was resolved?
 11               A       As far as I know.             I never heard
 12       anything else about it.
 13               Q       Thank you.         Were you -- Are you aware or
 14       were you aware that the company has filed a
 15       complaint against you through MSHA?
 16               A       No.
 17               Q       Okay.      So can you recall the first time
 18       that you were informed or become aware that we had
 19       requested for you to not return to our mine site?
 20               A       No.
 21               Q       Were you ever notified that you were
 22       requested not to come to our mine site?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 985    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 51


  1               A       No.
  2                       JUDGE MORAN:          Let me ask this.             Have you
  3       been barred by anyone at MSHA from visiting the
  4       mine site?
  5                       THE WITNESS:          I have been told that I
  6       have to get approval from the district office in
  7       order to return to American Tripoli.
  8                       JUDGE MORAN:          Okay.      When were you told
  9       this?
 10                       THE WITNESS:          August or September of
 11       2023.
 12                       JUDGE MORAN:          Of -- Of 2022?
 13                       THE WITNESS:          2023.
 14                       JUDGE MORAN:          2023.
 15                       THE WITNESS:          And then I returned to the
 16       mine site in October of 2023 when the district
 17       gave me approval to go there.
 18                       JUDGE MORAN:          Thank you.
 19                       BY MR. TIDABACK:
 20               Q       Were you aware that our company had
 21       communication or -- communicated concerns about
 22       you to various levels within MSHA, including your


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 986    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 52


  1       immediate supervisors, administrator of
  2       enforcement and the deputy secretary of operations
  3       of MSHA?
  4                       MR. MOLL:        Objection.         Asked and
  5       answered.
  6                       JUDGE MORAN:          I sustain the objection.
  7       Remember now, this is what I alluded to already.
  8       You may ask the question.                  But under this
  9       collateral/noncollateral principle, that's as far
 10       as it goes.         You have to take his answer, and he's
 11       answered these questions.
 12                       MR. TIDABACK:           Okay.      Okay.
 13                       BY MR. TIDABACK:
 14               Q       So has the complaint against you or
 15       request for you to not return to our mine
 16       influenced your perspective or feelings towards
 17       the company and its operations?
 18                       MR. MOLL:        Objection.
 19       Mischaracterization.               It misstates the testimony.
 20                       JUDGE MORAN:          I sustain the objection.
 21                       MR. TIDABACK:           That's all my questions,
 22       your Honor.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 987    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 53


  1                       JUDGE MORAN:          Okay.      Do we have -- Do
  2       you want a moment to decide about whether you want
  3       to redirect?
  4                       MR. MOLL:        We just have a very brief
  5       redirect.
  6                       JUDGE MORAN:          Court Reporter, are you
  7       getting all of this?
  8                               (Discussion off the record.)
  9                       JUDGE MORAN:          Go ahead, Attorney Moll.
 10                       MR. MOLL:        Thank you.
 11                       REDIRECT EXAMINATION
 12                       BY MR. MOLL:
 13               Q       Mr. Markeson, you were -- during your
 14       inspections at American Tripoli in 2022 and '23,
 15       you were accompanied by other MSHA personnel; is
 16       that correct?
 17               A       That's correct.
 18               Q       And why was that?
 19               A       After the initial start of the complaint
 20       investigation in February, we were directed to
 21       never go to American Tripoli by ourselves, always
 22       have another MSHA inspector or employee with us.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 988    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 54


  1               Q       And why was that?
  2               A       That was because Mr. Tidaback tended to
  3       take what we said and twist it and regurgitate it
  4       in a misleading way, so MSHA made the decision to
  5       have another MSHA person there with us so that we
  6       could double up on the notes and confirm,
  7       basically confirm, what each other's interactions
  8       were with the company.
  9               Q       And did any of the other MSHA personnel
 10       that accompanied you during those inspections at
 11       American Tripoli, did they ever have anything
 12       negative to say about your performance during
 13       those inspections?
 14               A       No.
 15                       MR. MOLL:        And I'd just like to briefly
 16       go through Exhibits P25 and P26 which we discussed
 17       at the close of yesterday regarding which pages
 18       Mr. Markeson had been questioned on.
 19                       JUDGE MORAN:          Sure.      P24?      25?
 20                       MR. MOLL:        P25 and P26.
 21                       JUDGE MORAN:          Okay.      Sorry.       Of course
 22       they're in different notebooks, aren't they?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 989    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 55


  1       We'll start with P25.
  2                       MR. MOLL:        I think they're both in the
  3       same notebook.
  4                       JUDGE MORAN:          Oh, they are.           You're
  5       right.      I'm sorry, so you want to start with P25?
  6                       MR. MOLL:        Yes, your Honor.
  7                       JUDGE MORAN:          Remember I told you that
  8       certain pages were not admitted?
  9                       MR. MOLL:        Yes.
 10                       JUDGE MORAN:          I don't know how you're
 11       going to get them in.               You're attempting to get
 12       the other pages in, is that what you're saying?
 13                       MR. MOLL:        I'm just getting him the
 14       pages that Mr. Markeson can identify.
 15                       JUDGE MORAN:          Okay.      Fine.      Or you're
 16       going to ask him to identify them?
 17                       MR. MOLL:        Yes, yes.
 18                       JUDGE MORAN:          Go ahead.
 19                       BY MR. MOLL:
 20               Q       Mr. Markeson, on P25, page 1, do you see
 21       down at the bottom where it says INSP?                          Were those
 22       your initials?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 990    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 56


  1               A       Those are my initials.
  2               Q       And did you make these notes?
  3               A       Yes.
  4                       JUDGE MORAN:          Okay.      So I'm going to
  5       trudge along here.              P25, page 1 is admitted if I
  6       didn't say it yesterday.                 Go ahead.
  7                       BY MR. MOLL:
  8               Q       All right.         And turning to the next
  9       page, P25, page 2, are those your initials at the
 10       bottom?
 11               A       Yes, they are.
 12               Q       And are those your notes?
 13               A       They are.
 14                       JUDGE MORAN:          Page 2 of P25 is admitted.
 15                       BY MR. MOLL:
 16               Q       P25, page 3, are those your notes as
 17       well?
 18               A       They are.
 19                       JUDGE MORAN:          Page 3 from P25 is
 20       admitted.
 21                       BY MR. MOLL:
 22               Q       P25, page 4, are these your notes?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 991    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 57


  1               A       They are.        They are an electronic --
  2       electronically generated, but they are my notes.
  3               Q       I believe -- I believe that's all the
  4       pages.
  5                       JUDGE MORAN:          I'm sorry?
  6                       MR. MOLL:        I believe that's all the
  7       pages.
  8                       JUDGE MORAN:          You're right.           Yes, but
  9       let me ask.         How do you -- How do you know those
 10       are your notes, Inspector Markeson, because I
 11       don't see your initials on that one?
 12                       THE WITNESS:          No.     There's no
 13       requirement for us to initial our electronic
 14       notes.
 15                       JUDGE MORAN:          How do you recognize this
 16       as being your notes?
 17                       THE WITNESS:          Couple things, where it
 18       says the person's name and then space dash space
 19       MSHA, you know, like Paul Dunk space dash space
 20       MSHA Keith Markeson space dash space, I'm the only
 21       inspector in the office that puts those spaces in
 22       there.      And also, when I read the inspector and


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 992    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 58


  1       mine operators' comments, those are my words from
  2       --
  3                       JUDGE MORAN:          Thank you.
  4                       THE WITNESS:          -- when I wrote it.
  5                       JUDGE MORAN:          Okay.      So page 4 of P25 is
  6       admitted.        All of P25 is in.              Go ahead, Attorney
  7       Moll.
  8                       MR. MOLL:        Thank you, your Honor.
  9                       BY MR. MOLL:
 10               Q       Moving on to Exhibit P26, page 2, are
 11       those your initials at the bottom?
 12               A       They are.
 13               Q       And so these are your notes?
 14               A       They are.
 15                       JUDGE MORAN:          P26, page 1 admitted.
 16                       MR. MOLL:        Page 2, your Honor.
 17                       THE WITNESS:          That's page 2.
 18                       JUDGE MORAN:          I'm sorry.         Thank you.
 19       Did we do page 1?
 20                       MR. MOLL:        We -- We didn't.             Those would
 21       be from a different inspector.
 22                       JUDGE MORAN:          Yes.      I should have caught


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 993    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 59


  1       that.       The -- another -- The initials on that page
  2       were DP --
  3                       MR. MOLL:        Yes, sir.
  4                       JUDGE MORAN:          -- someone else.             That's
  5       also on yours.           So P26, page 1, not admitted,
  6       okay, and then you just identified P2, sir.                             You
  7       did, didn't you?
  8                       THE WITNESS:          I did.
  9                       JUDGE MORAN:          Yes.      P2, page -- P26,
 10       page 2 admitted.
 11                       BY MR. MOLL:
 12               Q       Moving on to P26, page 3, are those your
 13       notes?
 14               A       They are.
 15                       JUDGE MORAN:          Admitted.         P26, page 3,
 16       admitted.
 17                       BY MR. MOLL:
 18               Q       And P26, page 4, are those your notes?
 19               A       They are.
 20                       JUDGE MORAN:          Admitted, P26, page 4.
 21                       BY MR. MOLL:
 22               Q       P26, page 5, are those your notes?


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 994    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 60


  1               A       They are.
  2                       JUDGE MORAN:          Admitted, P26, page 5
  3       admitted.
  4                       BY MR. MOLL:
  5               Q       P26, page 6, are those your notes?
  6               A       Yes, they are.
  7                       JUDGE MORAN:          Admitted.         P -- P26, page
  8       6 admitted.         Now we get into some problems, right,
  9       26, page 7?
 10                       MR. MOLL:        Yes, and I believe those are
 11       all the notes Mr. Markeson made.
 12                       JUDGE MORAN:          Okay.      So -- So to be
 13       clear, in Exhibit P26, once we get to page 7, and
 14       including page 7, through page 11 of P26, those
 15       are not presently admitted?
 16                       MR. MOLL:        Yes, sir.
 17                       JUDGE MORAN:          Okay.
 18                       MR. MOLL:        Those are all my questions,
 19       your Honor.
 20                       JUDGE MORAN:          All right.         Mr. Tidaback,
 21       do you have any additional questions based on the
 22       questions that were --


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 995    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 61


  1                       MR. TIDABACK:           Yes.
  2                       JUDGE MORAN:          -- proposed to Inspector
  3       Markeson?
  4                       MR. TIDABACK:           Yes, your Honor,
  5       basically, just a comment that Mr. -- Mr. -- about
  6       the notes, the inspector notes that you just
  7       admitted.
  8                       JUDGE MORAN:          Oh, sure.         You can ask
  9       questions about his notes.
 10                       RECROSS EXAMINATION
 11                       BY MR. TIDABACK:
 12               Q       Okay.      So do you recall the debrief and
 13       do I believe it was the same one, February 14th,
 14       because it was early on in the relationship that
 15       we were building, when I -- when I asked you about
 16       you writing the notes, remember your little thing
 17       you carried on your hip that had all the notes?
 18       You make a --
 19               A       Yeah, my notebook.
 20               Q       Thank you.         And I asked you, "I see
 21       you're writing notes.               What is that for?"              Do you
 22       remember going into details about that, about why


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 996    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 62


  1       you wrote the notes?
  2               A       Yeah.      Actually, I do remember that
  3       conversation.
  4               Q       Okay.      Do you recall stating that the
  5       operators' comments, which you just mentioned,
  6       could be used in testimony?
  7               A       No, I don't recall that.
  8               Q       Okay.      Do you agree -- Okay.                So the
  9       operators' comments, why -- why would you write
 10       the operators' comments in your notes?
 11                       JUDGE MORAN:          Well, did -- let me just
 12       -- Help me out.
 13                       THE WITNESS:          Um-hum.
 14                       JUDGE MORAN:          Did you -- Did you affirm
 15       that you wrote the operators' comments in your
 16       notes, some of them at least?
 17                       THE WITNESS:          Yes.
 18                       JUDGE MORAN:          Okay.      And then his next
 19       question is, why would you write down the
 20       comments?
 21                       THE WITNESS:          Correct.        Because the
 22       operators' statements to us, most of the time, are


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 997    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                               Page: 63


  1       how we gather our facts.                 We ask the operator for
  2       -- you know, "How long has this existed?                           Did you
  3       know about this condition," stuff like that, and
  4       their comments back to us are what we take as
  5       facts of what the operator's knowledge of a
  6       condition was.
  7                       JUDGE MORAN:          And their assertions as to
  8       what took place?
  9                       THE WITNESS:          Right, right.
 10                       JUDGE MORAN:          Doesn't mean that you have
 11       to adopt it.          It just means you're writing down
 12       their position?
 13                       THE WITNESS:          Correct.
 14                       JUDGE MORAN:          Okay.
 15                       BY MR. TIDABACK:
 16               Q       So in that conversation, a little bit
 17       more details, do you agree that this could be the
 18       same as stating "anything you say can and will be
 19       used against you in court"?
 20               A       No.
 21                       JUDGE MORAN:          Okay.      The answer is in.
 22       Okay.       You didn't object, Secretary.


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 998    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                                 Page: 64


  1                       MR. TIDABACK:           That's how I took it.
  2                       JUDGE MORAN:          What's that?
  3                       MR. TIDABACK:           That is how I took it, so
  4       --
  5                       JUDGE MORAN:          Well, no, but now you're
  6       testifying.
  7                       MR. TIDABACK:           Sorry.      Sorry.       Thank
  8       you, your Honor.
  9                       JUDGE MORAN:          All right.         Thank you.
 10       Anything else?
 11                       MR. MOLL:        No further questions, your
 12       Honor.
 13                       JUDGE MORAN:          Okay.      And, Inspector
 14       Markeson, I appreciate your testimony here today,
 15       and you are free.             Now, we'll conclude this.                  I
 16       don't know.         How are we going to handle this?
 17       First of all, you can't speak to anybody.                           I think
 18       I mentioned that yesterday, right?
 19                       THE WITNESS:          Yes.      And our solicitors
 20       actually told us that on Monday that once the
 21       trial starts, we can't talk to anybody, so --
 22                       JUDGE MORAN:          And that's going to


         Appellate
           AndersonCase: 25-1349
                     Court         Page:
                            Reporting -- 999    Date Filed:
                                         703-519-7180       04/07/2025 Entry ID: 5503844
                                                       -- www.andersonreporting.net
Vol. 3                                                                              Page: 65


  1      continue until you get word from the Secretary,
  2      and that will be several weeks from today, when
  3      this proceeding is actually over.                      So it's not
  4      like, well, Friday comes along and now I can talk.
  5      That's not true, okay?
  6                    THE WITNESS:           I understand.
  7                    JUDGE MORAN:           You are to have no
  8      communications with anyone about this testimony or
  9      about this trial, all right?
 10                    THE WITNESS:           I assume I can communicate
 11      with our solicitors to figure out scheduling and
 12      that type of thing?
 13                    JUDGE MORAN:           Of course.         Procedural
 14      things like that, not substantive things.                           Yeah.
 15                    THE WITNESS:           Correct.        I understand
 16      that.
 17                    JUDGE MORAN:           All right.         Anything else
 18      from the Secretary?             Can we -- Any problems
 19      telling Mr. Markeson we've completed his
 20      testimony?
 21                    MR. MOLL:         No, your Honor.
 22                    JUDGE MORAN:           Thanks again.           Nice to


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1000    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 66


  1      meet you.
  2                    THE WITNESS:           Thank you, your Honor.
  3                    JUDGE MORAN:           And who will we be having
  4      next?
  5                    MR. MOLL:         The Secretary would call Mr.
  6      Bryan Licklider.
  7                    JUDGE MORAN:           And he is?         You can just
  8      tell me who he is.             He'll have to testify to it,
  9      but what is his --
 10                    MR. MOLL:         He's an MSHA inspector.
 11                    JUDGE MORAN:           Okay.      That's all I wanted
 12      to know.      Folks, we're going to take -- It's 9:47.
 13      We're going to take a break, our court reporter as
 14      well, all right, so 10 a.m.                  Central Time.           Do you
 15      understand that?
 16                    THE VIDEOGRAPHER:              Thumbs up.
 17                    JUDGE MORAN:           Okay.      Thanks.        That
 18      helps.     I'll see you all in ten minutes.
 19                            (Recess)
 20                    JUDGE MORAN:           Okay.      We'll go on the
 21      record.      Are we on the record?                Thumbs up there?
 22                    THE VIDEOGRAPHER:              Thumbs up.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1001    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 67


  1                    JUDGE MORAN:           I'm going to swear you in,
  2      sir.    You've been identified as -- Inspector, what
  3      is your name?
  4                    THE WITNESS:           Bryan Licklider.
  5                    JUDGE MORAN:           Okay.      Please stand up.
  6      Are you able to stand up?
  7                    THE WITNESS:           Yes.
  8                    JUDGE MORAN:           Yes.      Please raise your
  9      right hand.
 10      Whereupon,
 11                                BRYAN LICKLIDER
 12      was recalled as a witness and, having been first
 13      duly sworn, was examined and testified as follows:
 14                    THE WITNESS:           Yes, sir.
 15                    JUDGE MORAN:           Okay.      Thank you.          Have a
 16      seat.     State your name for the record and spell it
 17      for us.
 18                    THE WITNESS:           Bryan Licklider.             It's
 19      B-R-Y-A-N, L-I-C-K-L-I-D-E-R.
 20                    JUDGE MORAN:           All right.         Counsel for
 21      the Secretary, go ahead.
 22                    MR. TIDABACK:            Your Honor, I have an


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1002    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 68


  1      objection.
  2                    JUDGE MORAN:           Sure.
  3                    MR. TIDABACK:            The -- the inspection
  4      that Mr. Licklider performed at our location is --
  5      the date is really of no relevance to Mr.
  6      Baumann's termination.
  7                    JUDGE MORAN:           Okay.      And I will allow
  8      you to deal with that on cross-examination.
  9                    MR. TIDABACK:            Yes, sir.
 10                    JUDGE MORAN:           All right.         And I will
 11      just deal with this as the questions come up.                             If
 12      I see problems apart from your objection, I -- I
 13      will speak up as well.
 14                    MR. TIDABACK:            Thank you.
 15                    JUDGE MORAN:           Go ahead.
 16                    MR. MOLL:         Thank you, your Honor.
 17                    DIRECT EXAMINATION
 18                    BY MR. MOLL:
 19            Q       Can you, please, state your name for the
 20      record.
 21            A       Bryan Licklider.
 22            Q       And where do you currently work?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1003    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 69


  1             A      At Rolla Mine Safety and Health Safety
  2      Administration.
  3             Q      And what's your job title with the Mine
  4      Safety and Health Administration?
  5             A      Inspector.
  6             Q      Okay.       And how long have you held that
  7      job?
  8             A      Approximately 11-and-a-half years.
  9             Q      Have you ever conducted an inspection at
 10      American Tripoli in Seneca, Missouri?
 11             A      Yes.
 12                    MR. MOLL:         Okay.      I'm going to go ahead
 13      and move to Exhibit P26.
 14                    JUDGE MORAN:           P26?
 15                    MR. MOLL:         Yes, your Honor.
 16                    JUDGE MORAN:           Okay.
 17                    BY MR. MOLL:
 18             Q      And if we could turn to page 7 or --
 19      page 1, actually, of Exhibit P26.                      Strike that.
 20      Page 7.
 21                    JUDGE MORAN:           Okay.      P26, sir?         P26?
 22                    MR. MOLL:         P -- P26 and page 9.                We'll


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1004    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 70


  1      get there eventually.
  2                    JUDGE MORAN:           Get to the finish line,
  3      right?
  4                    MR. MOLL:         Yes.
  5                    JUDGE MORAN:           You can understand that
  6      reference.
  7                    MR. MOLL:         Yes, your Honor.
  8                    JUDGE MORAN:           It's a marathon.             Okay.
  9      We're on P26, page 9.              Go ahead.
 10                    BY MR. MOLL:
 11            Q       Mr. Licklider, do you recognize this
 12      document?
 13            A       Yes.      It's my field notes from that
 14      inspection.
 15            Q       And how do you know that?
 16            A       'Cause this is my handwriting, and
 17      that's my date and -- but it's on paper.
 18            Q       Okay.
 19                    JUDGE MORAN:           Are your initials on the
 20      bottom of that page?
 21                    THE WITNESS:           Yes, my initials are on
 22      the bottom of that page.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1005    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 71


  1                    MR. MOLL:         I'd like to admit that page.
  2                    JUDGE MORAN:           Okay.      These are notes
  3      that you made, sir, while inspecting American
  4      Tripoli?
  5                    THE WITNESS:           Yes, sir.
  6                    JUDGE MORAN:           Okay.      Any objection?
  7                    MR. TIDABACK:            P26, page 9; is that
  8      correct?
  9                    JUDGE MORAN:           Yes.
 10                    MR. TIDABACK:            No objection to page 9.
 11                    JUDGE MORAN:           P26, page 9 is admitted.
 12                    MR. MOLL:         Thank you, your Honor.
 13                    JUDGE MORAN:           Yes.      The Secretary's
 14      keeping a record of these as well.
 15                    BY MR. MOLL:
 16            Q       And moving down on the page, on page 9
 17      of Exhibit P26, do you see where it says -- the
 18      line that ends, "2021 outside of office, zero
 19      eight ten"?
 20            A       Yes.      I entered the shop area.
 21            Q       And so eight ten, would that have been a
 22      time of day, in the morning, whenever you entered


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1006    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 72


  1      the shop area?
  2            A       Eight ten.          Eight ten.
  3                    JUDGE MORAN:           Well, it's in the -- I
  4      think Attorney Moll is directing you to where is
  5      says 0 eight ten on that line.                    Is that the line
  6      you're referring to, sir?
  7                    MR. MOLL:         Yes, your Honor.
  8                    THE WITNESS:           I'm seeing 0 eight
  9      thirty-five.
 10                    JUDGE MORAN:           Yeah.      Why don't you walk
 11      up and point to the area on the exhibit.
 12                    THE WITNESS:           I see two ten.
 13                    JUDGE MORAN:           That's fine.
 14                    MR. MOLL:         Right there.
 15                    THE WITNESS:           Oh, I'm sorry.
 16                    JUDGE MORAN:           That's fine.           No problem.
 17      Okay.     So we had Attorney Moll direct the
 18      witness's attention to that line.                      Now, your
 19      question, sir, is?
 20                    BY MR. MOLL:
 21            Q       Would that have been the time of day
 22      that you entered that shop area?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1007    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 73


  1            A       That was the time -- 08:10 was the time
  2      that I discovered that fire extinguisher sitting
  3      outside the office.             That was out of compliance
  4      with the annual inspection.
  5            Q       Okay.
  6            A       That was -- The date on that 2021 was
  7      when the last date of the annual -- excuse me, was
  8      the annual inspection on that extinguisher, and
  9      that was the time of day I found that.
 10            Q       And would that have been 8:10 in the
 11      morning?
 12            A       8:10 a.m., yes, sir.
 13            Q       And so did you arrive to the mine prior
 14      to 8:10?
 15            A       Yes.      I believe it was like at 7:30.
 16            Q       Okay.       And that would have been -- Would
 17      that have been on the date listed at the top?
 18            A       February 14th, yes, sir.
 19            Q       Thank you.          Of which year?
 20            A       2023.
 21            Q       Thank you.          Now, during your inspections
 22      at American Tripoli in 2022 and 2023, can you


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1008    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 74


  1      describe the behavior of the miners that you
  2      interacted with?
  3            A       On -- On February 14th?
  4            Q       Or at any time.
  5            A       Any time.         When I first arrived on the
  6      mine site, it was in the afternoon, like 3:00 in
  7      the afternoon, and I went there for a hazard
  8      complaint is the reason I went there.                        And so as I
  9      went in the office to discuss the complaint with
 10      Mr. Spears, and I believe Mr. Baumann was there
 11      and another miner by the name of Gage Wheeler, and
 12      discussed the reason for the visit.                       And then we
 13      went through to the inspection, went out to the
 14      mill area where the complaint was centered toward.
 15      And when I walked in the building, there were
 16      multiple violations as soon as you walked in.                             It
 17      was very obvious.
 18                    JUDGE MORAN:           Okay.      Let me stop.           Court
 19      Reporter, this witness is speaking softly.                           Are
 20      you getting all of this?
 21                    THE VIDEOGRAPHER:              Thumbs up.
 22                    JUDGE MORAN:           Okay.      Try and keep your


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1009    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 75


  1      voice up for us, okay?
  2                    THE WITNESS:           Okay.      I've got a voice
  3      problem.      I've had throat cancer twice.
  4                    JUDGE MORAN:           I'm so sorry.
  5                    THE WITNESS:           Sometimes I do slur, and I
  6      do --
  7                    JUDGE MORAN:           No.     You're fine, and I'm
  8      sorry that you've had that issue.                      I hope that
  9      you're well and continue to stay well.                         So -- but
 10      do your best to -- isn't it right, Mr. Holt, that
 11      if he moves closer to that microphone right in
 12      front of him?         That doesn't help?
 13                    THE VIDEOGRAPHER:              I have the volume
 14      control here.
 15                    JUDGE MORAN:           Okay.      But picking up what
 16      he's saying, if he gets a little closer, it
 17      doesn't help?
 18                    THE VIDEOGRAPHER:              No.
 19                    JUDGE MORAN:           All right.         Go ahead then.
 20      Let's continue.           I'm sorry.
 21                    BY MR. MOLL:
 22            Q       And, Mr. Licklider, I believe you


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1010    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 76


  1      mentioned that you met with a couple of miners
  2      while you were at American Tripoli?
  3             A      Yes.
  4             Q      Did you have any interactions with any
  5      of the other miners that worked at American
  6      Tripoli?
  7             A      No.
  8             Q      Okay.       And so with the miners that you
  9      mentioned, what was their behavior like whenever
 10      you were interacting with them?
 11             A      On the first day, they were -- they were
 12      all a little nervous 'cause that's pretty normal
 13      when MSHA shows up.             People get nervous, but I
 14      believe they were glad to see us there or -- see
 15      me there.
 16             Q      Okay.       And why were they glad to see
 17      you?
 18             A      I think any time you have a hazard
 19      complaint, we really -- the inspector has no idea
 20      whose complaint it is.               So when we go on a hazard
 21      complaint, we -- we are very thorough.                         We try to
 22      do all areas that -- we kind of go around what the


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1011    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 77


  1      complaint says.           We don't go directly to them
  2      unless it's a very broad complaint, which this one
  3      was.    So we can see whenever we show up and there
  4      are issues that are of concern that miners tend to
  5      be appreciative that we are there.
  6             Q      Okay.       During your inspection, did the
  7      miners ever seem more nervous than is typical in
  8      your experience with other inspections?
  9             A      Yes.
 10             Q      And why was that?
 11             A      I think they were out of fear, fear for
 12      their jobs, fear of retaliation, things like that.
 13      Like I said, normally, they get nervous around
 14      MSHA anyway.
 15             Q      But in this case, they were more nervous
 16      than usual?
 17             A      Yes.
 18                    MR. TIDABACK:            Your Honor?
 19                    JUDGE MORAN:           Yes?
 20                    MR. TIDABACK:            Object.       He's speaking
 21      for others.
 22                    JUDGE MORAN:           Well, I'm going to sustain


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1012    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 78


  1      the objection.          I mean, one can make general
  2      interpretations of someone's behavior such as
  3      someone was aggressive or someone smiled.                           And
  4      it's also within the ability of most people to
  5      assess whether someone is acting nervously or not,
  6      so I'll -- You've taken that as far as you can,
  7      but I am allowing that, that his impression was
  8      that the miners were nervous and more nervous than
  9      your typical hazard complaint inspection or just
 10      generally?
 11                    THE WITNESS:           More nervous -- More
 12      nervous than a normal inspection.
 13                    JUDGE MORAN:           Okay.      So you've carried
 14      that.     Now move on to something else.
 15                    MR. MOLL:         Thank you, your Honor.
 16                    JUDGE MORAN:           You understand, I
 17      essentially sustained your objection by limiting
 18      it to what has been expressed, okay?                        I'm
 19      directing this to Mr. Tidaback.
 20                    MR. TIDABACK:            Yes, your Honor, I
 21      understand.        I'm just having a hard time
 22      understanding because he's still giving an opinion


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1013    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 79


  1      of someone else.
  2                    JUDGE MORAN:           Well, he gave an
  3      impression.
  4                    MR. TIDABACK:            Right.
  5                    JUDGE MORAN:           I mean, I can give an
  6      impression of you right now, you know, that you're
  7      standing respectfully, and I'm able to -- If I
  8      were on a witness stand, I can say that in my
  9      interactions with Mr. Tidaback, he was
 10      professional and polite, and those are
 11      impressions.         But it's -- I'm not sure how that
 12      advances the case, frankly.                  That's a different
 13      issue.
 14                    MR. TIDABACK:            Yes, sir.        I agree with
 15      you.    No complaints.
 16                    JUDGE MORAN:           Okay.      You don't take it
 17      the wrong way.          Okay.      So I don't know.             We have a
 18      lot of things here that I might be able to just
 19      breeze over quickly when I write my decision, but
 20      go ahead.
 21                    MR. MOLL:         Thank you, your Honor.
 22                    BY MR. MOLL:


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1014    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 80


  1            Q       In your experience, Mr. Licklider, is
  2      American Tripoli similar to the other mines you've
  3      inspected?
  4            A       No.     They're very different.
  5            Q       And why is that?
  6            A       It seemed when I walked in that there's
  7      a total disregard for safety.                   I've inspected 11
  8      different states, from the small mom-and-pop
  9      operations to large cement plants and gold lines,
 10      silver mines, selenium mines, salt mines, and I've
 11      never seen a concentration of the amount of
 12      disregard for safety in one location.
 13            Q       And during your time inspecting American
 14      Tripoli, did you ever tell anyone at American
 15      Tripoli that you would call the U.S. marshals on
 16      them?
 17            A       No.
 18            Q       Did you ever threaten anyone at American
 19      Tripoli?
 20            A       No.
 21            Q       Did you ever tell anyone at American
 22      Tripoli that you would take them to jail?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1015    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                               Page: 81


  1            A       No, never.
  2            Q       Did you ever -- Did you ever witness any
  3      other MSHA inspectors make any threats towards
  4      anyone at American Tripoli?
  5            A       No.
  6                    MR. MOLL:         Thank you, your Honor.                 No
  7      further questions.
  8                    JUDGE MORAN:           Okay.      Thank you.          Now we
  9      have cross-examination, and I'm reminding you
 10      again about the collateral/noncollateral issue,
 11      okay?
 12                    MR. TIDABACK:            Yes, your Honor.
 13                    CROSS-EXAMINATION
 14                    BY MR. TIDABACK:
 15            Q       Mr. Licklider, what dates did you
 16      conduct --
 17                    THE VIDEOGRAPHER:              Your microphone.
 18                    JUDGE MORAN:           Thank you, Mr. Holt.
 19                    THE VIDEOGRAPHER:              Yes.
 20                    JUDGE MORAN:           Let's make sure that
 21      you've got that microphone high enough on your
 22      lapel.     And, Court Reporter, can you hear?                        Go


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1016    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 82


  1      ahead and speak, Mr. Tidaback.
  2                    MR. TIDABACK:            Yes.     Can you hear me
  3      now?
  4                    JUDGE MORAN:           Thank you.
  5                    MR. TIDABACK:            Thank you.
  6                    BY MR. TIDABACK:
  7             Q      Mr. Licklider, now, what dates did you
  8      conduct the inspection related to this case?
  9             A      February 13th to, I believe it was,
 10      February 15th, 2023.
 11             Q      And was that your first visit to
 12      American Tripoli?
 13             A      No.     I've inspected there before.
 14             Q      When was your last inspection to this
 15      one?
 16             A      It would have probably been six years
 17      before.
 18             Q      Six years?
 19             A      That time, yeah, under a different
 20      ownership.
 21             Q      Yes, sir.         Have you corresponded with
 22      myself, Mrs. Tidaback, Mr. -- either of us before?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1017    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 83


  1            A       I don't believe so.               I've never met you.
  2            Q       Yes, sir.         No correspondence?              No
  3      communications?
  4            A       Not that I'm aware of.
  5            Q       But you have been in contact with Mr.
  6      Spears, correct?
  7            A       Yes.
  8            Q       He was the operations manager at the
  9      time?
 10            A       Yes.
 11            Q       Okay.       Did John Spears get in contact
 12      with you after your inspection in February 2023 to
 13      point out specific guards that were needing
 14      rebuilt -- rebuilts or built-up, I think was the
 15      term?
 16            A       Would you care to repeat that question?
 17            Q       There was discussion in e-mails
 18      regarding a -- the guarding that needed built up.
 19      Do you recall those conversations with the e-mails
 20      from Mr. Spears to you?
 21            A       I recall the conversation, yeah.
 22            Q       During your inspection that day, did Mr.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1018    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 84


  1      Spears same frustrated?
  2            A       Yes.
  3            Q       Did he say why?             What else was going on
  4      that day?
  5            A       He said he didn't have -- He stated he
  6      didn't have time to fix anything and he needed to
  7      be running production.
  8            Q       And did he recall that morning dealing
  9      with the police officers?                 Since you were there
 10      that morning, did you see any of that going on?
 11            A       I know nothing about that.
 12                    MR. TIDABACK:            Okay.      No other
 13      questions, your Honor.
 14                    JUDGE MORAN:           Okay.      Anything on
 15      redirect?
 16                    MR. MOLL:         No further questions, your
 17      Honor.
 18                    JUDGE MORAN:           Inspector Licklider, I
 19      appreciate your testimony, sir, and I wish you the
 20      best with your health.               Very nice to meet you.
 21                    THE WITNESS:           Same here, sir.
 22                    JUDGE MORAN:           Thank you.         We tell all


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1019    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                                Page: 85


  1      the witnesses, I mean all the witnesses, that
  2      you're not to talk with anyone about this case
  3      other than something like if the Secretary's
  4      attorneys were to say, "You know, we're going to
  5      need you back on a certain day," that's a
  6      procedural matter.             But we don't talk about the
  7      substance of the case, and you're not to talk with
  8      anybody about this, okay --
  9                    THE WITNESS:           Okay.
 10                    JUDGE MORAN:           -- until they tell you you
 11      can.
 12                    THE WITNESS:           Not a problem, sir.
 13                    JUDGE MORAN:           Thank you.         Very nice to
 14      meet you.
 15                    THE WITNESS:           Thank you.
 16                    JUDGE MORAN:           Okay.      We're going to go
 17      off the record for a second here, and you're
 18      excused.      Thank you again.
 19                            (Recess)
 20                    JUDGE MORAN:           Okay.      So the Secretary
 21      requested a moment to confer about the case.                             I
 22      would again note that, and it's the Secretary's


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1020    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 86


  1      call, not mine, it would still be, it seems to me,
  2      appropriate if the Secretary decided that they
  3      weren't going to call any new witnesses but they
  4      still wanted to at this time call Mr. Baumann back
  5      to the stand.         I'm not saying one way or the
  6      other, just, it's something I mentioned earlier on
  7      the issue of guarding.               And that could come -- For
  8      example, instead, it could come after the defense
  9      that the respondent puts on.                   Then the Secretary
 10      has the right to -- at the conclusion of the
 11      respondent's case to recall certain witnesses.
 12                    All right.          So now -- So now we're back
 13      on the record.          What did you want me to tell me
 14      about additional witnesses, Attorney Moll?
 15                    MR. MOLL:         At this time, the Secretary
 16      will rest our case-in-chief subject to rebuttal.
 17                    JUDGE MORAN:           Subject to rebuttal,
 18      that's the word I was looking for.                      That's what
 19      we're talking about.              If they decide to recall Mr.
 20      Baumann or not, that would be in the nature of
 21      rebuttal testimony.
 22                    All right.          So now the Secretary has


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1021    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 87


  1      rested, okay, subject to rebuttal.                      And this is --
  2      Don't take this the wrong way in any way.                           I'm
  3      just trying to figure out, do you have any sense,
  4      and you might not, about the length of time it
  5      will take to put on your case?                    Might we conclude
  6      today, or your testimony will be brief, or you
  7      don't know?
  8                    MR. TIDABACK:            Honestly, your Honor, I
  9      do not think it can be completed today.
 10                    JUDGE MORAN:           Okay.      That's fine, and
 11      I've already indicated that.                   Happy to come back
 12      to -- to Joplin.           It's very nice.             All right.         So
 13      now are we ready to begin?
 14                    MR. TIDABACK:            I do have a question.
 15      The Secretary had Mr. Spears as a witness.                           Is he
 16      going to be called?             I don't know.
 17                    JUDGE MORAN:           No.     They've rested, so --
 18                    MR. TIDABACK:            So they're not calling?
 19                    MS. O'REILLY:            I would say we may call
 20      Mr. Spears in rebuttal, so we do -- would like him
 21      to still be under the Subpoena that we issued him
 22      until -- until such time we start our rebuttal.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1022    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 88


  1                    JUDGE MORAN:           That's entirely
  2      appropriate.         They've rested for now subject to
  3      rebuttal, okay?
  4                    MR. TIDABACK:            Okay.      Is he still here?
  5      That's what I'm -- Is he here?
  6                    JUDGE MORAN:           I don't know.
  7                    MS. O'REILLY:            Mr. Spears is still
  8      present here.         He appeared, you know, under the
  9      Subpoena, and he is still here.                     You know, we're
 10      not sure exactly how the respondent's case will
 11      proceed, so we don't know if we will get to him
 12      today.     We're not really sure how we'll proceed
 13      through the day, but it does appear --
 14                    JUDGE MORAN:           If it does develop?
 15                    MS. O'REILLY:            Exactly.
 16                    MR. TIDABACK:            So I can call Mr. Spears
 17      since he's here?
 18                    JUDGE MORAN:           You can call Mr. Spears as
 19      a witness, yes.
 20                    MR. TIDABACK:            So that's -- I would like
 21      to call Mr. Spears.
 22                    JUDGE MORAN:           You're going to call that


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1023    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 89


  1      as your first witness?
  2                    MR. TIDABACK:            Yes, your Honor.
  3                    JUDGE MORAN:           Okay.
  4                    THE VIDEOGRAPHER:              Microphone.
  5                    MR. TIDABACK:            Is he in the break room?
  6                    MS. O'REILLY:            He is in the witness
  7      room.     He's right in the first witness room right
  8      behind Mr. Tidaback.
  9                    MR. TIDABACK:            Sorry, your Honor.              It's
 10      my first time ever calling a witness, so --
 11                    JUDGE MORAN:           Sure.      Come on up here,
 12      Mr. Spears.        We're going to have to put you on the
 13      witness stand.          Careful of that tripod, you don't
 14      hit that, okay?           So far, it's not collapsed.
 15      We've got a few more witnesses to go.                        Right
 16      around here.         Yep.      You'll make a left turn there,
 17      and the court -- videographer is going to --
 18      higher.      Yeah.      There you go.           I'm going to swear
 19      you in, so please stay standing for a second,
 20      okay?
 21                    THE WITNESS:           Yes, sir.
 22                    JUDGE MORAN:           Are we ready?           Okay.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1024    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 90


  1      Please raise your right hand, sir.                      I'm Judge
  2      William Moran.          Nice to meet you.
  3      Whereupon,
  4                              JOHN ROBERT SPEARS
  5      was called as a witness and, having been first
  6      duly sworn, was examined and testified as follows:
  7                    JUDGE MORAN:           Okay.      Have a seat,
  8      please, and state your name for the record and
  9      spell it for us.
 10                    THE WITNESS:           John Robert Spears,
 11      Spears, S-P-E-A-R-S.
 12                    JUDGE MORAN:           Go ahead, Mr. Tidaback.
 13                    DIRECT EXAMINATION
 14                    BY MR. TIDABACK:
 15            Q       Morning, sir.
 16            A       Good morning, sir.
 17            Q       Can you describe the scope of your roles
 18      and responsibilities at the mine, especially in
 19      light of high employee turnover and other
 20      challenges that the company has actually faced?
 21                    JUDGE MORAN:           So just for the record, I
 22      mean, I could insist that he first identify his


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1025    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 91


  1      employment.        Can we stipulate that Mr. Spears --
  2      Mr. Spears, you work, have worked and presently
  3      work, at American Tripoli?
  4                    THE WITNESS:           Yes, sir.
  5                    JUDGE MORAN:           Okay.      And this is some of
  6      the preliminary stuff before you ask him questions
  7      --
  8                    MR. TIDABACK:            Yes, your Honor.
  9                    JUDGE MORAN:           -- because we need to
 10      identify him.         Do you know your period of
 11      employment?        Are you employed presently at
 12      American Tripoli?
 13                    THE WITNESS:           Yes, sir.
 14                    JUDGE MORAN:           And what location?
 15                    THE WITNESS:           Seneca, Missouri.
 16                    JUDGE MORAN:           Okay.      At the mill?
 17                    THE WITNESS:           Well, as the operations
 18      manager, I'm the seer of -- you know, the overseer
 19      of the mill, the drying sheds and the quarry.
 20                    JUDGE MORAN:           Okay.      Thank you.          And
 21      your period of employment, when did you -- do you
 22      recall when you began working approximately?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1026    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 92


  1                    THE WITNESS:           August of 2022.
  2                    JUDGE MORAN:           August of 2022.            And
  3      you're presently employed with them now in the
  4      same role that you just described?
  5                    THE WITNESS:           Yes, sir.
  6                    JUDGE MORAN:           Okay.      Now you can ask
  7      your questions.
  8                    MR. TIDABACK:            Sorry, your Honor.
  9                    BY MR. TIDABACK:
 10            Q       Again, can you describe the scope and
 11      role of your responsibilities at the mine?
 12            A       I oversee the activities of the
 13      processing mill as well as the drying shed area
 14      and the quarry itself.
 15            Q       So just so the Court understands, we
 16      have the admin building, correct?
 17            A       Yes.
 18            Q       And we have the mill which is
 19      approximately 15 feet from the admin building,
 20      correct?
 21            A       Yes.
 22            Q       And then that is one location.                      That is


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1027    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 93


  1      our --
  2                    JUDGE MORAN:           You're testifying.
  3                    MR. TIDABACK:            Oh, yes.
  4                    JUDGE MORAN:           You said "one location."
  5      You can say, "Is that one location?"
  6                    MR. TIDABACK:            Correct.
  7                    JUDGE MORAN:           Fill it in.          Go with the
  8      rest.
  9                    BY MR. TIDABACK:
 10            Q       Is that one location?
 11            A       Yes.
 12            Q       Okay.       Then we have the quarry out in
 13      Oklahoma, correct?
 14            A       Yes, sir.
 15            Q       Has there been a lot of employee
 16      turnover since your tenure at American Tripoli?
 17            A       Yes, sir.
 18            Q       How have you balanced the demands of
 19      your operations' role with the additional
 20      responsibilities of maintenance, shift leads,
 21      safety and environmental specialists?
 22                    MS. O'REILLY:            Objection.         Facts not in


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1028    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 94


  1      evidence.       Assumes facts not in evidence.
  2                    JUDGE MORAN:           I sustain the objection.
  3                    BY MR. TIDABACK:
  4            Q       Okay.       Have there been times where
  5      maintenance, shift lead, other safety and
  6      environmental positions were needing to be filled
  7      that you had to backfill?
  8            A       Yes, sir.
  9            Q       Given the difficulties in obtaining and
 10      retaining maintenance personnel, how have you had
 11      to adapt to ensure that the maintenance needs are
 12      actually met without compromising the operation's
 13      efficiency or MSHA safety?
 14                    MS. O'REILLY:            Objection.         Assumes facts
 15      not in evidence.
 16                    JUDGE MORAN:           I sustain the objection.
 17                    MR. TIDABACK:            Can I ask what she's
 18      saying?      I didn't hear what she said.
 19                    MS. O'REILLY:            You're assuming a fact.
 20      Your question assumes things that aren't already
 21      in the record.          You said something about given the
 22      difficulty.        I can't even remember.                 The beginning


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1029    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 95


  1      part was not facts that are in evidence yet.
  2                    MR. TIDABACK:            I mean, so what -- I
  3      can't hear what she -- what's the -- just your
  4      words?     I'm not saying you're wrong.
  5                    MS. O'REILLY:            Objection.         Assuming
  6      facts not in evidence.
  7                    MR. TIDABACK:            Assuming facts.
  8                    JUDGE MORAN:           Right.       Your question does
  9      assume certain things that he has not yet
 10      testified to.         And when you put that in, it's that
 11      old joke about when did you stop beating your
 12      wife, you know.           It has to first be established
 13      that a person was -- that's an old canard.                           No
 14      one's ever heard of that?
 15                    MR. TIDABACK:            No.     Sorry.
 16                    JUDGE MORAN:           Well, that assumes facts
 17      not in evidence.           If someone says, "When did you
 18      stop beating your wife," well, let's just turn it
 19      around and modernize it, "When did you stop
 20      beating your husband?"               Okay.      To make this equal,
 21      it first has to be established that that person
 22      did that.       So you haven't established these --


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1030    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 96


  1      these predicate parts to your question.                         You
  2      haven't established this with this witness.                            And,
  3      therefore, he can't testify because you've assumed
  4      facts not yet in evidence.                 I can't give you a
  5      lesson --
  6                    MR. TIDABACK:            I understand.
  7                    JUDGE MORAN:           -- in law, but you can try
  8      with another question.
  9                    BY MR. TIDABACK:
 10            Q       Okay.       Were -- Did operations experience
 11      a high turnover --
 12            A       Yes, sir.
 13            Q       -- of employees?
 14            A       Yes, sir.
 15            Q       In the maintenance role?
 16            A       Yes, sir.
 17            Q       The shift lead?
 18            A       Yes, sir.
 19            Q       Safety and environmental position?
 20            A       Yes, sir.
 21            Q       Administrative position?                  Did you have,
 22      say, an administrator or administrative assistant?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1031    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 97


  1            A       Yes, sir.
  2            Q       Okay.       In your experience, was it
  3      difficult in obtaining or retaining experienced
  4      maintenance technicians?
  5            A       Yes, sir.
  6            Q       With that, how have you adapted -- If
  7      maintenance was not there, who fulfilled that
  8      role?
  9            A       I did, sir.
 10            Q       Okay.       How did you adapt to ensuring
 11      that the maintenance needs were met without
 12      compromising operational efficiency and MSHA
 13      safety compliance?
 14            A       I guess I worked all three of them as --
 15      to the best of my ability.
 16            Q       And in your role, if you were doing
 17      maintenance, who backed you up?
 18                    JUDGE MORAN:           Well, did anyone back you
 19      up if you were doing maintenance?
 20                    THE WITNESS:           That was in my -- in my
 21      role as --
 22                    BY MR. TIDABACK:


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1032    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 98


  1            Q       Sorry.       In your operations
  2      administrative role, if you were performing
  3      maintenance performance, who backed you up in your
  4      administrative role?
  5            A       Russell Tidaback and Jordan Tidaback.
  6            Q       If the shift lead was out, position not
  7      filled, who did that role?
  8            A       Sometimes it would be a member of the
  9      mill crew or myself.
 10            Q       And when you were doing that, again,
 11      someone else backed you up, correct?
 12            A       Yes, sir.
 13            Q       At the hierarchy, correct?
 14            A       Yes.
 15            Q       Okay.       So can you provide -- Okay.                    You
 16      just -- Let's see here.                How do you approach --
 17      Okay.     Back up.
 18                    In your experience, tell us a little bit
 19      about your history as far as training people.                             Did
 20      you have any prior training to American Tripoli of
 21      training personnel?
 22            A       Yes, sir.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1033    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 99


  1            Q       Could you elaborate a little bit on it?
  2            A       The 18-and-a-half years that I worked
  3      for the Postal Service and the 13-and-a-half years
  4      that I was a Postmaster, I did -- I helped conduct
  5      training for rural carriers, city carriers, as
  6      well as clerks and Postmaster relief personnel.
  7            Q       So how do you approach training,
  8      educating, mentoring mill associates, especially
  9      considering the varying levels of education that
 10      they had, their work experience and their
 11      leadership experience among our workforce?
 12                    MS. O'REILLY:            I object.        That's
 13      assuming facts not in evidence.
 14                    JUDGE MORAN:           I sustain the objection,
 15      and I confess to being confused about the
 16      materiality of these questions in this proceeding.
 17      I -- Mr. Spears' training efforts, mostly with the
 18      Postal Service, I'm not sure how that relates to
 19      this case.        Can you explain to me what you're --
 20      what you're intending to show by --
 21                    MR. TIDABACK:            Establishing --
 22                    JUDGE MORAN:           -- testimony about


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1034    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 100


  1      training?
  2                    MR. TIDABACK:            Yes, your Honor.
  3      Establishing Mr. Spears' roles and
  4      responsibilities in relation to Mr. -- and
  5      experience related to Mr. Baumann's performance
  6      and incidences that Mr. Spears had to deal with
  7      with Mr. Baumann.
  8                    JUDGE MORAN:           Okay.      Why don't you get
  9      to those questions about -- about his interaction
 10      with Mr. Baumann.            Let's get to that.
 11                    BY MR. TIDABACK:
 12            Q       So Mr. Baumann expressed to you multiple
 13      times about why we shouldn't add more feed into
 14      the system?
 15            A       Yes, sir.
 16            Q       Can you elaborate on that?
 17            A       Only one particular instance, you know,
 18      with the weather being hot and having to hand
 19      stack our -- our product.
 20            Q       Okay.       Did you ever provide reasoning
 21      why we should provide more feed to the mill?
 22            A       Well, that our -- to meet our production


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1035    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 101


  1      goals.
  2            Q       Did you assist in monitoring those
  3      production goals?
  4            A       Yes, sir.
  5            Q       Okay.       Did you also assist in monitoring
  6      dust?
  7            A       Yes, sir.
  8            Q       Have you ever -- Have you ever told or
  9      did you specifically tell Rob not to talk to MSHA
 10      either in person or in chat?
 11            A       No, sir.
 12                    JUDGE MORAN:           An we don't want to be too
 13      informal here.          When Mr. Tidaback says, "Have you
 14      ever told Rob," do you understand that he's
 15      referring to Mr. Baumann?
 16                    MR. TIDABACK:            Oh, sorry.
 17                    THE WITNESS:           Yes, sir.
 18                    JUDGE MORAN:           Okay.      So let's stick with
 19      -- Let's get away from the first names, which
 20      we've been doing throughout this hearing --
 21                    MR. TIDABACK:            Yes, sir.
 22                    JUDGE MORAN:           -- just so we don't have


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1036    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 102


  1      any confusion in the record.
  2                    MR. TIDABACK:            Roger.       Okay.
  3                    JUDGE MORAN:           So you never told Mr.
  4      Baumann not to speak with MSHA?                     Is that your
  5      testimony?
  6                    THE WITNESS:           That is correct.
  7                    BY MR. TIDABACK:
  8            Q       Okay.       Did you ever get onto (sic) Rob
  9      or any shift lead for not getting, let's just say,
 10      the 40,000 pounds produced if the mill were shut
 11      down?
 12            A       No.
 13            Q       Well, why would they?
 14                    JUDGE MORAN:           I'm sorry?
 15                    BY MR. TIDABACK:
 16            Q       Why wouldn't you?
 17            A       Because the mill was shut down by an
 18      outside party.
 19            Q       Okay.       So did MSHA usually come on-site
 20      to terminate citations?
 21            A       Just to terminate?
 22            Q       Just to terminate.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1037    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 103


  1            A       Occasionally.
  2            Q       Okay.       Have they ever done them over
  3      e-mail or phone?
  4            A       Yes, sir.
  5            Q       What has been your experience been like
  6      during MSHA inspections?
  7            A       Well, in the beginning, it was fairly
  8      casual with the -- with the inspectors that I was
  9      first acquainted with.               But then after -- then
 10      after that particular, Mr. Van Dorn, when he was
 11      there, you know, and then after the new inspectors
 12      that I became acquainted with, it just became
 13      more, what I would -- you know, not necessarily
 14      hostile, personal but very hostile towards trying
 15      to run things through the 30 CFR and just being
 16      more self-opinionated about what -- how they
 17      interpreted the 30 CFR.
 18            Q       Okay.       And you mentioned the 30 CFR.                     So
 19      before -- Were you previously aware of what a
 20      miners' -- what a miners' rep was?
 21            A       Yes.
 22            Q       Did Mr. Baumann notify you -- Did Mr.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1038    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 104


  1      Baumann personally notify you that he was a
  2      miners' rep?
  3            A       He mentioned something about being a
  4      miners' rep, but I never received any other -- any
  5      other paperwork or any other notification from
  6      MSHA.
  7            Q       Do you recall when that was in time?
  8                    JUDGE MORAN:           Well, he said he never
  9      received any other communication, but you said
 10      that Mr. Baumann mentioned it to you?
 11                    THE WITNESS:           Yes.      Yes, he did.
 12                    JUDGE MORAN:           Well, are you stating that
 13      no MSHA inspector ever informed you that Mr.
 14      Baumann was now the miners' rep?
 15                    THE WITNESS:           That is correct, sir.
 16                    JUDGE MORAN:           No one ever told you?
 17                    THE WITNESS:           No, sir.
 18                    JUDGE MORAN:           So the only source that
 19      you learned that Mr. Baumann was a miners' rep was
 20      through Mr. Baumann?
 21                    THE WITNESS:           Yes, sir.
 22                    JUDGE MORAN:           Okay.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1039    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 105


  1                    BY MR. TIDABACK:
  2            Q       Did Mr. Baumann provide you a document
  3      just in conversation walking by?                     How did he
  4      notify you?
  5            A       Not that I can remember.
  6            Q       Do you recall ever cutting off a
  7      lockout/tagout lock that wasn't yours?
  8            A       No, sir, I have not.
  9            Q       Do you feel that you created a type of
 10      environment where miners may be fearful to bring
 11      issues forward to you or to MSHA?
 12            A       No, sir.
 13            Q       Have you ever been accused of anything
 14      like that before?
 15            A       No, sir.
 16            Q       Have there been events where you cooked
 17      brisket or the staff or the -- the miners?
 18            A       Sure.       Yes.
 19                    MS. O'REILLY:            Objection, your Honor.
 20                    JUDGE MORAN:           I'm going to allow the
 21      question.       I don't -- that question, but, you
 22      know, we're not going to get into details about


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1040    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 106


  1      brisket.
  2                    MR. TIDABACK:            Yeah.      I know.        No, your
  3      Honor.     That was to establish that Mr. Spears --
  4                    JUDGE MORAN:           I understand.           I
  5      understand your purpose.
  6                    BY MR. TIDABACK:
  7             Q      Okay.       Do you feel that you have gone
  8      out of your way to work -- to create a working
  9      environment where people want to come to work with
 10      you?
 11             A      Yes, sir.
 12             Q      Okay.       So in navigating -- Have there
 13      been specific challenges, successions in the
 14      training dealing with MSHA and fostering a culture
 15      of safety compliance with the MSHA standards?
 16             A      As far as?
 17             Q      Has the -- Has the culture gotten better
 18      during your employment?
 19             A      I believe so.
 20             Q      When you first started, did we have a
 21      safety environmental person working there?
 22             A      Yes, we did.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1041    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 107


  1            Q       What was that person's name?
  2            A       Bonnie Bainter.
  3            Q       Do we currently have a safety person?
  4            A       As of today, yes, sir.
  5            Q       Correct.
  6                    JUDGE MORAN:           You mean literally as of
  7      today?
  8                    THE WITNESS:           As of today, yes, sir.
  9                    JUDGE MORAN:           Okay.
 10                    BY MR. TIDABACK:
 11            Q       So you've navigated interactions with
 12      MSHA dealing with inspectors.                   Okay.       How do you
 13      manage these interactions to maintain compliance
 14      and to protect the miners' interests?
 15                    MS. O'REILLY:            Objection.         Assumes facts
 16      not in evidence.
 17                    JUDGE MORAN:           I sustain the objection.
 18                    MR. TIDABACK:            Sorry.
 19                    BY MR. TIDABACK:
 20            Q       So has a miner ever experienced to you
 21      their concerns about their jobs, displaying their
 22      fear of MSHA inspectors?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1042    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 108


  1             A      Yes.
  2             Q      Mr. Markeson specifically?
  3             A      Yes.
  4             Q      Given the complaints from the mill
  5      associates, what have you done to address those
  6      concerns and underlining issues?
  7                    MS. O'REILLY:            I'd object to the
  8      characterization of "mill associates."                         He's had
  9      one.    I mean, he didn't elaborate that there were
 10      more than one.
 11                    JUDGE MORAN:           No.     I'm going to overrule
 12      that objection.
 13                    BY MR. TIDABACK:
 14             Q      Just to clarify, how many mill
 15      associates do we have?
 16             A      Currently, we have four.
 17             Q      Is that kind of basically always the
 18      number?      I mean, does it range from 20 to 4, or
 19      what's that average number?
 20             A      4 to 6 --
 21             Q      Okay.
 22             A      -- associates.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1043    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 109


  1            Q       Very small, correct?
  2            A       Yes.
  3            Q       Reflecting on these challenging periods
  4      you have dealt with in your role in trying to
  5      navigate them with high employee turnover,
  6      equipment breakdowns, the different federal
  7      organizations, what have been your key learnings
  8      and takeaways in these experiences?
  9                    MS. O'REILLY:            Objection.         Assumes facts
 10      not in evidence.
 11                    JUDGE MORAN:           I sustain the objection.
 12                    MR. TIDABACK:            Okay.      Sorry.
 13                    BY MR. TIDABACK:
 14            Q       During -- During your tenure with
 15      American Tripoli, how would you characterize Mr.
 16      Baumann in relationship with you being his direct
 17      supervisor?
 18            A       I thought we got along pretty well.
 19            Q       Did Mr. Baumann ever raise his voice,
 20      curse at you, basically be disrespectful to you as
 21      your -- as your subordinate?
 22            A       Not to me personally, no.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1044    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 110


  1            Q       Did he ever show anger, haste, stomp his
  2      feet, get mad at anything you directed him that we
  3      needed to do?
  4            A       Yes, sir.
  5            Q       How would you -- how would you -- How
  6      would you characterize the -- the operations with
  7      Mr. Baumann as the shift lead?
  8            A       I felt that he was conscientious about
  9      trying to -- you know, trying to get our product
 10      produced.
 11            Q       And during the time that Mr. Baumann was
 12      the shift lead, were there ever any issues or
 13      complaints that Mr. Baumann brought to you?
 14            A       Well, you know, there was always issues
 15      with -- with the equipment, you know, needing to
 16      be repaired, looked after, you know.
 17                    JUDGE MORAN:           So he brought those issues
 18      to your attention?
 19                    THE WITNESS:           Yes, sir.
 20                    BY MR. TIDABACK:
 21            Q       Did Mr. Baumann perform his workplace
 22      exams?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1045    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 111


  1            A       As far as I know, yes.
  2            Q       If the issues were brought to you in the
  3      workplace exam, did we or -- did you pass them out
  4      to maintenance to address them?
  5            A       Yes.
  6            Q       Any -- Any maintenance-related or
  7      safety-related issues that were brought to you,
  8      you addressed them, correct?
  9            A       Yes.
 10            Q       Okay.       When I say -- Is there any time
 11      that you didn't address a safety or related
 12      concern?
 13            A       Not that I'm aware of.
 14            Q       When they were talking about guarding,
 15      we got a lot of citations for guarding, why was
 16      the guarding taken off?
 17                    JUDGE MORAN:           See, you -- you jumped
 18      ahead.     You have to ask him first, "Were there
 19      issues with guarding?"               That would be a question.
 20      Did you have issues at the mill with guarding?
 21                    THE WITNESS:           Occasionally, yes, sir.
 22                    JUDGE MORAN:           Were there instances where


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1046    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 112


  1      the guarding was taken off?
  2                    THE WITNESS:           The guarding in order to
  3      properly do lubrication for it, yes, the guarding
  4      would be taken off.
  5                    JUDGE MORAN:           And were there instances
  6      when the guarding was not placed back on the
  7      machinery after the tag --
  8                    THE WITNESS:           Yes.
  9                    JUDGE MORAN:           -- was done?           There were
 10      instances?
 11                    THE WITNESS:           Yes, sir.
 12                    BY MR. TIDABACK:
 13            Q       And in that, we received citations for
 14      those, correct?
 15            A       Yes, sir.
 16            Q       Okay.       If -- In the mill, who would you
 17      be -- whose responsibility is it to ensure that
 18      those guards are there?
 19            A       The person who was doing the workplace
 20      exam.
 21            Q       And in the role, whose responsibility is
 22      it to do the workplace exams?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1047    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 113


  1            A       For the mill, it would be the production
  2      supervisor.
  3            Q       The shift lead, production supervisor,
  4      same thing?
  5            A       Correct.
  6            Q       So if someone was walking around hourly
  7      doing their daily updates and checks and they
  8      noticed the guarding was off, we would assume --
  9      it would be assumed, finding the word, correct me,
 10      that that person would note it in the workplace
 11      exam that there was an issue so that it could be
 12      addressed; is that correct?
 13            A       Or should be.
 14            Q       Was that constantly done from the shift
 15      lead's position?
 16            A       No, sir.
 17            Q       If nothing -- If a guard was off,
 18      spillage was on the ground, additional time on the
 19      production schedule was needed, was it ever asked
 20      of you to provide that extra time?
 21            A       From --
 22            Q       I'm sorry.          From the shift lead.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1048    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 114


  1            A       From the shift lead, you know, not --
  2      not that I -- not that I can remember.
  3                    MR. TIDABACK:            Trying not to testify.
  4                    JUDGE MORAN:           We won't let you.
  5                    MR. TIDABACK:            Yeah.      Thank you, your
  6      Honor.
  7                    BY MR. TIDABACK:
  8            Q       So -- and do you -- Do you consider the
  9      environment that the mill associates worked in
 10      while the machines were running a safe environment
 11      for a manufacturing plant for the equipment we
 12      have with the building being over 100 years old?
 13                    MS. O'REILLY:            Objection.         Assuming
 14      facts not in evidence.
 15                    MR. TIDABACK:            It's too much.
 16                    JUDGE MORAN:           Yeah.      I sustain the
 17      objection.
 18                    BY MR. TIDABACK:
 19            Q       Okay.       Do you think that the mill is
 20      hazardous?        Yeah.      Do you think -- Do you think
 21      the mill in its operations is hazardous?
 22            A       It has hazards.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1049    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 115


  1            Q       It has hazards.             Are those hazards
  2      mitigated to where it's safe to work?
  3            A       I believe everyone is trying to do their
  4      best to keep those hazards from -- from -- from
  5      becoming, you know, irrelevant.                     But I would like
  6      to think that people's personal initiative, that
  7      they would want to -- to not be in a position to
  8      be in danger of any -- of any type of equipment
  9      that we have.
 10            Q       And with that, has there ever been any
 11      conversation, discussion, text messaging, phone
 12      calls, anything where miners should -- are told
 13      directly that, "You shouldn't -- you are not
 14      allowed to talk to MSHA"?
 15            A       No, sir.
 16            Q       Okay.       And you received the miners'
 17      training just like ever other miner, correct?
 18            A       Yes, sir.
 19            Q       You receive the annual training just
 20      like every other miner?
 21                    MS. O'REILLY:            Objection.         Assuming
 22      facts not in evidence in the last question saying


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1050    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 116


  1      --
  2                    JUDGE MORAN:           Well, he's asking.              He's
  3      asking, but he does put a question mark at the
  4      end.    I'm interpreting it as a question.                        Did you
  5      receive annual training from MSHA?
  6                    THE WITNESS:           Yes, sir.
  7                    JUDGE MORAN:           And did you receive other
  8      types of training from MSHA?
  9                    THE WITNESS:           Yes, sir.
 10                    JUDGE MORAN:           Okay.
 11                    BY MR. TIDABACK:
 12             Q      We use Teams for collaboration and
 13      communication, correct?
 14             A      The Teams application --
 15             Q      The Teams application.
 16             A      -- in Microsoft, yeah.
 17             Q      Everybody has access to it, correct?
 18             A      Yes, sir.
 19             Q      All the files that we have are in Teams,
 20      correct?
 21             A      Yes, sir.
 22             Q      All the training files?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1051    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 117


  1            A       Yes, sir.
  2            Q       Everybody is shown how to use Teams,
  3      shown how to access the files.                    Everybody knows
  4      how to use -- Everybody is shown how to use all
  5      the files, correct?
  6                    MS. O'REILLY:            I object.        He's really
  7      roaming into leading the witness and kind of
  8      testifying through his questioning.
  9                    JUDGE MORAN:           Yeah.      You know, I'm still
 10      going to kind of give him some leeway on that.
 11      Were the people at the mill trained how to use
 12      Teams?
 13                    THE WITNESS:           Yes, sir.
 14                    BY MR. TIDABACK:
 15            Q       So there would be no reason why people
 16      wouldn't have access to them?
 17            A       Yes, sir.
 18            Q       24/7 you can access it at home.                       In
 19      different states, you can access all of our files
 20      anywhere, correct?
 21            A       Yes, sir.
 22            Q       Computer or phone, right?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1052    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 118


  1            A       Yes, sir.
  2            Q       Okay.       And we provide WiFi in the admin
  3      building and in the mill, correct?
  4            A       Yes, sir.
  5                    JUDGE MORAN:           He is appending a question
  6      at the end of some of these statements, okay?
  7                    MS. O'REILLY:            Right, but it's direct
  8      examination, and he's leading the witness.
  9                    JUDGE MORAN:           I know.
 10                    MR. TIDABACK:            What is leading?
 11                    JUDGE MORAN:           But, you know, it is
 12      possible.       I don't know how leading it is.                      It's
 13      leading, but it does allow -- at the end, he could
 14      say, "No, that's not correct."                    Okay.      Go ahead,
 15      Mr. Tidaback.
 16                    MR. TIDABACK:            Yeah.
 17                    BY MR. TIDABACK:
 18            Q       So during -- During the tenure with Mr.
 19      Baumann being the shift lead, were there ever
 20      issues with his performance?
 21            A       Yes, sir.
 22            Q       Did you ever discuss with Mr. Baumann


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1053    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 119


  1      about these performance issues?
  2             A      Yes, sir.
  3             Q      Did you follow our policies and
  4      procedures as far as leading the people underneath
  5      you?
  6                    JUDGE MORAN:           I'm sorry.         What did you
  7      say at the end?
  8                    BY MR. TIDABACK:
  9             Q      My question is, is he following the
 10      policies that we have in place by managing his
 11      people, managing the personnel that are at
 12      American Tripoli?
 13             A      The best that I could.
 14             Q      Do you recall in the employee handbook
 15      when it talks about progressive termination or --
 16      progressive termination?                Do you remember that,
 17      the three steps that we have talked about in the
 18      employee handbook?
 19             A      Yes, sir.
 20                    MS. O'REILLY:            He's testifying.
 21                    JUDGE MORAN:           I'm allowing the question.
 22      So you know there's an employee handbook, and


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1054    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 120


  1      you've looked at it?
  2                    THE WITNESS:           Yes, there is, sir.
  3                    JUDGE MORAN:           All right.         Are you
  4      familiar with the progressive discipline in that
  5      handbook?
  6                    THE WITNESS:           Yes, sir.
  7                    JUDGE MORAN:           Okay.      Go ahead, sir.
  8                    BY MR. TIDABACK:
  9            Q       Are you familiar also with the Missouri
 10      law that it is an at-will work state?
 11            A       Yes.
 12            Q       What does the "at-will work state" mean
 13      to you?
 14            A       It just means that at any point, the
 15      employer may terminate an employee's employment
 16      with the company.            And, therefore, the employee
 17      can also terminate at any time, you know, for no
 18      -- you know, without giving any reason.
 19                    MR. TIDABACK:            Okay.      If we could, look
 20      at Exhibit RB, your Honor.
 21                    JUDGE MORAN:           Okay.      RB, as in boy?
 22                    MR. TIDABACK:            Yes, your Honor, R, as in


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1055    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 121


  1      Romeo, B, as in boy.
  2                    BY MR. TIDABACK:
  3            Q       John, if you have the white book, that
  4      says -- Yes.         There's a tab that says "RB."
  5                    JUDGE MORAN:           Tell us when you're at RB,
  6      Mr. Spears.
  7                    THE WITNESS:           I believe I'm there, sir.
  8                    BY MR. TIDABACK:
  9            Q       And this document is my personal notes
 10      for leadership?
 11                    JUDGE MORAN:           Well, but see, that's --
 12      now you're testifying.
 13                    MR. TIDABACK:            Oh, I know.          I was
 14      explaining to the Court where the document was.
 15                    JUDGE MORAN:           Yeah, but that doesn't
 16      mean that that's established here.                      You have to
 17      testify that that's what this represents, and you
 18      can't testify yet.             You haven't been sworn in.
 19                    What you can do is you can ask Mr.
 20      Spears if he recognizes this document, and then
 21      you can ask him -- and I really can't be -- This
 22      is not a law school class, okay?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1056    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 122


  1                    MR. TIDABACK:            Yes, your Honor.
  2                    JUDGE MORAN:           I think I've been
  3      extremely patient here.
  4                    MR. TIDABACK:            Yeah.      I agree.
  5                    JUDGE MORAN:           But you can ask him if he
  6      -- Do you recognize this document that's in front
  7      of you?
  8                    THE WITNESS:           Yes, sir.
  9                    JUDGE MORAN:           And do you know what it
 10      is?
 11                    THE WITNESS:           Yes, sir.
 12                    JUDGE MORAN:           Can you describe what it
 13      is?   How is it -- How is it that you recognize it?
 14      Tell me that.
 15                    THE WITNESS:           I -- I have -- I have seen
 16      this -- This is a document that was presented to
 17      me during my deposition.
 18                    JUDGE MORAN:           Okay.      So you saw this for
 19      the first time, is that right, in connection with
 20      your deposition?
 21                    THE WITNESS:           I think so.          I don't -- I
 22      don't -- I don't remember seeing it before.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1057    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 123


  1                    JUDGE MORAN:           And, Mr. Tidaback, you're
  2      representing that this -- these are your personal
  3      notes?
  4                    MR. TIDABACK:            That is correct, your
  5      Honor.
  6                    JUDGE MORAN:           Okay.      Well, you -- this
  7      document, you can't get this in through this
  8      witness.      You can't get anything about this
  9      document in through this witness.                      You can ask him
 10      other questions but unrelated to RB.                        These are
 11      just your personal notes.                 It means nothing
 12      without you asserting later on perhaps in
 13      testimony that these notes reflect your thoughts
 14      and impressions regarding the complainant, et
 15      cetera.      I don't know what purpose you're going to
 16      use them for, but you can't ask more questions of
 17      Mr. Spears about this.
 18                    MR. TIDABACK:            Okay.      The reason I was
 19      referencing this document is these are the notes I
 20      made based on our conversation about --
 21                    JUDGE MORAN:           Well, that will come later
 22      if you testify about it.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1058    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 124


  1                    MR. TIDABACK:            Okay.
  2                    JUDGE MORAN:           I'm not always going to
  3      give an explanation.              I just don't have the --
  4                    MR. TIDABACK:            I understand, your Honor.
  5                    JUDGE MORAN:           It's not my
  6      responsibility.           I can just rule and say, "This is
  7      not admitted," or, "This is admitted," without
  8      elaboration as to why.
  9                    MR. TIDABACK:            I understand.
 10                    JUDGE MORAN:           This is not a class here.
 11                    MR. TIDABACK:            I understand 100 percent,
 12      and I apologize.
 13                    BY MR. TIDABACK:
 14            Q       Okay.       So can you change out -- go to
 15      Exhibit RD, as in David, D, as in David, two Ds.
 16                    JUDGE MORAN:           And tell me when you're
 17      there at RD.         You just saw the drill, how we do
 18      this, right?         I gave you a mini example.                   So now
 19      RD, and you know how to proceed, right?
 20                    BY MR. TIDABACK:
 21            Q       Explain the top, what it is, so at least
 22      specifically --


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1059    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 125


  1                    JUDGE MORAN:           No.     You're going to ask
  2      him, first question, "Do you have RD in front of
  3      you?"
  4                    MR. TIDABACK:            Correct, your Honor.
  5                    JUDGE MORAN:           "Do you know what this
  6      is?"
  7                    MR. TIDABACK:            Correct.
  8                    JUDGE MORAN:           "How do you know what this
  9      is?"    Okay?
 10                    MR. TIDABACK:            Yes, your Honor.
 11                    JUDGE MORAN:           Are you at RD?
 12                    THE WITNESS:           I believe so, sir.
 13                    JUDGE MORAN:           Okay.
 14                    BY MR. TIDABACK:
 15             Q      Across the top of page RD as in David,
 16      there's two Ds, RDD.              Are you at RDD?            Across the
 17      top, it says, "The following is a chat between
 18      Gage Wheeler and John Spears."
 19                    JUDGE MORAN:           Whoa, whoa, whoa.              I'm on
 20      RD.    You're talking about RDD?
 21                    MR. TIDABACK:            Delta, delta, yes, sir.
 22                    JUDGE MORAN:           Okay.      So I'm not there.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1060    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 126


  1      Were you at RD and not double D?
  2                    THE WITNESS:           I'm at RD, single D.
  3                    JUDGE MORAN:           What?
  4                    THE WITNESS:           Single D.
  5                    JUDGE MORAN:           Yeah, so that's not the
  6      exhibit you're asking him about?
  7                    MR. TIDABACK:            No, your Honor, double
  8      Ds.
  9                    JUDGE MORAN:           So you have to flip
 10      through your binder until we come to R double D.
 11                    BY MR. TIDABACK:
 12            Q       Are you at RDD at the top where it says,
 13      "Following is the chat between Gage" --
 14            A       Yes.
 15            Q       Okay.       This -- You're familiar with the
 16      chats group if they were printed out?                        I don't
 17      know if you've seen printed chats or not.
 18            A       Yes.
 19            Q       Okay.       So you can see in this one that
 20      it's, on the very top line on February 14th, John
 21      Spears, 2/14 at 6:35 a.m.?
 22            A       Yes, J.S.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1061    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 127


  1            Q       J.S. would be you?
  2            A       Yes.
  3            Q       And since it is my account that printed
  4      these off for this exhibit, the bubbles on the
  5      right, if it was in color, would be a darker
  6      shade.     It doesn't have my -- my initials.
  7                    JUDGE MORAN:           You're testifying, sir.
  8                    MR. TIDABACK:            I was explaining that.
  9      Okay.
 10                    JUDGE MORAN:           Ask him.        You can try and
 11      ask him some questions about this.                      Have you seen
 12      this document before?
 13                    BY MR. TIDABACK:
 14            Q       Mr. Spears?
 15            A       Have I seen this document?
 16                    JUDGE MORAN:           Yeah, R double D.
 17                    THE WITNESS:           Not that I can remember.
 18                    BY MR. TIDABACK:
 19            Q       In a printed form.               Is this -- Is this a
 20      chat that you would have had?
 21            A       Yes.
 22            Q       Okay.       In this first bullet, you said,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1062    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 128


  1      "Gage Wheeler, do not question about the -- about
  2      the that the MSHA inspector may have.                        Do not go
  3      into the mill.          I'll be the person who talks to me
  4      inspector."        Do you agree that's your statement?
  5            A       Yes.
  6                    MS. O'REILLY:            Object.
  7                    MR. TIDABACK:            Oh, okay.
  8                    JUDGE MORAN:           But the gist of it was
  9      expressed, so I'm allowing the question.
 10                    BY MR. TIDABACK:
 11            Q       Okay.       The morning of the 14th, were you
 12      also dealing with the Seneca Police Department?
 13            A       Yes, sir.
 14            Q       And dealing with the Seneca Police
 15      Department related to another employee being
 16      arrested; is that correct?
 17            A       Yes, sir.
 18            Q       So is it safe to assume in that haste of
 19      dealing with the police department, trying to
 20      figure out what's going on, MSHA was at our site,
 21      correct?
 22            A       Yes, sir.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1063    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 129


  1            Q       The message that you sent to Gage --
  2      Okay.     Let me prelude that question.
  3                    Gage Wheeler was our maintenance
  4      personnel at the time, correct?
  5            A       Yes, sir.
  6            Q       Okay.       Did we consider or -- Did you
  7      consider maintenance a very, very critical
  8      position that we were -- had a hard time obtaining
  9      and retaining?
 10            A       Yes, sir.
 11            Q       Okay.       Was Mr. Wheeler initially a
 12      new-hire, critical to you that we keep him happy,
 13      content and wanting to stay employed with us?
 14            A       I believe so.
 15            Q       Okay.       So we didn't want -- did the --
 16      did Gage show you --
 17                    Did Mr. Wheeler show you his angst and
 18      attitude towards the MSHA inspectors the days
 19      before February 14th?
 20                    MS. O'REILLY:            I'm going to object that
 21      he's leading and adding in testimony.
 22                    JUDGE MORAN:           Yeah.      The objection is


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1064    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 130


  1      sustained.
  2                    BY MR. TIDABACK:
  3            Q       Yes.      Was Gage Wheeler -- You answered
  4      that question.
  5                    Okay.       So the maintenance position is
  6      very important to us.              And in this question, is it
  7      safe to assume that you made this in haste dealing
  8      with everything else directed to Mr. Gage and only
  9      Mr. Gage?
 10                    MS. O'REILLY:            Objection.         He's leading
 11      the witness again.             He's testifying, and he's
 12      assuming facts not in evidence.
 13                    JUDGE MORAN:           I sustain the objection.
 14                    BY MR. TIDABACK:
 15            Q       Can you explain this statement that you
 16      made?
 17                    JUDGE MORAN:           Yes.      That question's
 18      okay.
 19                    THE WITNESS:           Yes.      That particular --
 20      That particular morning knowing that Mr. Wheeler
 21      had not been our employee for any kind of -- a
 22      long time I would --- I would say.                      I know that's


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1065    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 131


  1      -- And I was probably driving, and so I -- you
  2      know, I didn't have a whole lot of time to
  3      elaborate as to my wishes for -- for Mr. -- Mr.
  4      Wheeler, you know.             And so I didn't want any kind
  5      of wrong information, you know, because of Mr.
  6      Wheeler's newness to the company.
  7                    BY MR. TIDABACK:
  8            Q       Okay.       Did you intend that message to
  9      tell Mr. -- Did you intend that message to
 10      interfere with Mr. Wheeler's rights?
 11            A       No.
 12                    MS. O'REILLY:            I'd object to scope.
 13                    JUDGE MORAN:           I'll allow the question,
 14      but there are -- there are relevance and
 15      materiality issues here.                So I -- I don't know
 16      that I'm going to allow many more questions along
 17      this line.
 18                    MR. TIDABACK:            I'm trying to establish
 19      the interference that the Secretary has claimed
 20      that we were doing based on this group of text
 21      messages or -- the messaging.
 22                    JUDGE MORAN:           Yeah, and he's -- he's


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1066    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 132


  1      just expressed, and I allowed that, that that's
  2      not -- that was not his intention, to interfere
  3      with the MSHA inspection or with communications
  4      with the MSHA inspector.
  5                    THE WITNESS:           No, sir.
  6                    BY MR. TIDABACK:
  7            Q       On -- On the second page of that, RDD,
  8      Mrs. Tidaback stepped in.                 Is it safe to assume
  9      that she had stepped in for clarification, stepped
 10      into the conversation?
 11                    JUDGE MORAN:           We're looking at the
 12      second page, and you're asking him to interpret
 13      whether -- you said "Mrs. Tidaback"?
 14                    MR. TIDABACK:            Yeah, Ms. Tidaback, the
 15      last --
 16                    JUDGE MORAN:           Ms. or Mrs. Tidaback?
 17                    MR. TIDABACK:            Ms., Ms., Ms. Jordan
 18      Tidaback.
 19                    JUDGE MORAN:           You're asking him to
 20      assume -- Do you have any basis to assume who's
 21      come into a conversation by looking at the second
 22      page?     Do you understand?              Are you able to make


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1067    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 133


  1      that sort of judgment?
  2                    THE WITNESS:           As to who -- who has --
  3                    JUDGE MORAN:           Who asked you -- I'm
  4      sorry.     Go ahead.
  5                    THE WITNESS:           Well, I mean, I -- I know
  6      by the -- by who it comes from, who that message
  7      comes from.
  8                    JUDGE MORAN:           Okay.      So the -- You can
  9      see what we all can see, that at the bottom of
 10      that page, it says "Jordan Tidaback."                        Is that
 11      what you're referring to?
 12                    THE WITNESS:           Yes, sir.
 13                    JUDGE MORAN:           Okay.      And what is your
 14      point about that?
 15                    MR. TIDABACK:            The reason Mrs. Tidaback
 16      stepped in the conversation, 'cause Mr. Spears was
 17      communicating that he was dealing with the other
 18      incident that was dealing with the police
 19      officers.
 20                    MS. O'REILLY:            Objection.         Calls for
 21      speculation.
 22                    JUDGE MORAN:           Yeah.      You -- I sustain


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1068    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 134


  1      the objection.          You'll have to move on to
  2      something else.
  3                    BY MR. TIDABACK:
  4            Q       Okay.       So in -- in the Exhibit R echo,
  5      echo --
  6                    JUDGE MORAN:           Which is the next exhibit?
  7                    MR. TIDABACK:            Yes, your Honor.             And I
  8      would like to include the Exhibit RDD as evidence,
  9      your Honor.
 10                    MS. O'REILLY:            And I would object to
 11      that.     There is commentary and argument at the top
 12      of this additional to the Teams messages in RDD,
 13      and the actual document that was provided in
 14      discovery was longer.              But we wouldn't even agree
 15      to that being admitted because of the extra
 16      commentary, and these messages are covered in P9
 17      and P10 from the Secretary without the commentary.
 18                    JUDGE MORAN:           All right.         So -- and --
 19      And do you agree with what Attorney O'Reilly just
 20      said?
 21                    MR. TIDABACK:            No, because she was
 22      provided these documents.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1069    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 135


  1                    JUDGE MORAN:           No, no.        I'm not saying
  2      "provided," but she says -- she says that in
  3      Exhibits -- What were they again, Attorney
  4      O'Reilly?
  5                    MS. O'REILLY:            P9 and P10.
  6                    JUDGE MORAN:           P9 and P10.          She's
  7      represented that what is in RDD appears in P9 and
  8      P10 but in a complete fashion and without
  9      commentary.        In other words, it captures
 10      everything in RDD plus more and without commentary
 11      about -- at the top of this.                   By "commentary," you
 12      mean, Attorney O'Reilly, where it says, "The
 13      following is a chat between those individuals"?
 14                    MS. O'REILLY:            Yes.
 15                    MR. TIDABACK:            Okay.      So I'm trying to
 16      decide on P -- Yeah.
 17                    MS. TIDABACK:            Each RDD is --
 18                    MS. O'REILLY:            P9 and P10, you were
 19      looking at those.            They're both in the record.
 20                    MR. TIDABACK:            So -- So the Secretary's
 21      exhibits are just P9 and P10.                   It's broken down to
 22      two.    We have RDD as one.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1070    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 136


  1                    MS. SMITH:          We have commentary.
  2                    JUDGE MORAN:           And just identify the
  3      commentary, please, Attorney --
  4                    MS. SMITH:          Page 1, there's commentary
  5      that the following is the chat between Gage
  6      Wheeler and John Spears in the maintenance chat
  7      group.     Gage Wheeler equals unknown user.
  8                    MR. TIDABACK:            So it's explaining what
  9      the document is.
 10                    MS. SMITH:          By Mr. Tidaback.
 11                    MS. O'REILLY:            I don't know that we
 12      necessarily disagree with that, but I'm just --
 13      that hasn't -- There's no establishment about
 14      where that came from, why that's in there, who
 15      said that.
 16                    JUDGE MORAN:           Here's my ruling.              I'm
 17      going to allow RDD into the record but recognize
 18      that a more expansive form of that appears in P9
 19      and P10.      You agree with that, correct?
 20                    MR. TIDABACK:            I agree that they're the
 21      same documents.
 22                    JUDGE MORAN:           Well --


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1071    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 137


  1                    MR. TIDABACK:            So RDD only has the --
  2                    JUDGE MORAN:           I understand.
  3                    MR. TIDABACK:            Yes, your Honor.
  4                    JUDGE MORAN:           But Attorney O'Reilly has
  5      said that everything in RDD is in P9 and/or P10 --
  6                    MR. TIDABACK:            Correct, your Honor.
  7                    JUDGE MORAN:           -- and more.
  8                    MS. O'REILLY:            Might not be more.              I
  9      think it might just be the same.
 10                    JUDGE MORAN:           So I'm admitting RDD.
 11                            (Respondent's Exhibit R-DD was
 12                            marked for identification and
 13                            received in evidence.)
 14                    MR. TIDABACK:            Thanks, your Honor.
 15                    BY MR. TIDABACK:
 16            Q       So -- and R echo, echo, the next page --
 17      you're at R echo, echo?
 18            A       Yes.
 19            Q       So this is the discussion about
 20      withdrawal order and miners' pay, and Mr. --
 21                    JUDGE MORAN:           You see, you're
 22      testifying.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1072    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 138


  1                    MR. TIDABACK:            Oh, but that was -- that
  2      was --
  3                    JUDGE MORAN:           Can you identify, Mr.
  4      Spears --
  5                    MR. TIDABACK:            Yes.
  6                    JUDGE MORAN:           Do you recognize REE?                Are
  7      you on REE?
  8                    THE WITNESS:           Yes, sir.
  9                    JUDGE MORAN:           Do you recognize this?
 10                    THE WITNESS:           Yes, sir.
 11                    JUDGE MORAN:           Have you seen this before
 12      or only in connection with this litigation?
 13                    THE WITNESS:           I've probably seen this
 14      before.
 15                    JUDGE MORAN:           And can you tell me what
 16      it is?
 17                    THE WITNESS:           It is --
 18                    JUDGE MORAN:           Let's start with this.                 On
 19      the first page, can you identify where it says
 20      "you knew," who that refers to?                     It says "unknown
 21      user," right, on the top of the page?
 22                    THE WITNESS:           Yes, unknown user.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1073    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 139


  1                    JUDGE MORAN:           And so you don't know who
  2      would be sending that message; is that correct?
  3                    THE WITNESS:           No.     I mean, I don't -- I
  4      don't know who would send that.
  5                    JUDGE MORAN:           Okay.      And for the -- The
  6      colored portion of it that has a gray background,
  7      do you know who that is sent by?                     It says "unknown
  8      user" again, right?             Do you know who sent that?
  9                    THE WITNESS:           No.
 10                    MR. TIDABACK:            The first box, your
 11      Honor, if the user is -- Can I explain it?
 12                    JUDGE MORAN:           No.
 13                    MR. TIDABACK:            Okay.
 14                    JUDGE MORAN:           All right.         So I can't --
 15      Based on his answers, I can't consider any
 16      testimony from this witness or questions from this
 17      regarding REE.
 18                    MR. TIDABACK:            Correct, your Honor.
 19      Okay.
 20                    JUDGE MORAN:           All right.         Gentlemen,
 21      we're going to take a ten-minute break here.                             It's
 22      11:05.     We're going to resume at 11:15.                      Before we


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1074    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 140


  1      go off the record, can you give me -- I ask this
  2      in all cases, so I don't want you to feel this is
  3      special treatment here because there is not.                             Do
  4      you have any estimate of how much more time you'll
  5      need to have a direct examination of Mr. Spears?
  6                    MR. TIDABACK:            Probably less than five
  7      minutes, your Honor.
  8                    JUDGE MORAN:           Okay.      All right.          So
  9      we'll pick up, and we'll finish that direct
 10      examination, and then if the cross-examination
 11      will go right forth with that.                    It's 11:06.          I'll
 12      see you all at 11:15.
 13                            (Recess)
 14                    JUDGE MORAN:           Okay.      We're back on the
 15      record.      So before you conclude with your
 16      questioning, Mr. Tidaback, which you indicated
 17      approximately five more minutes, I have a question
 18      for you.      I remember seeing in your disclosure of
 19      witnesses that you indicated -- one thing stands
 20      out that any witness the Secretary may call, that
 21      was one of the witnesses you identified, and
 22      there's no problem with that.                   But after Mr.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1075    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 141


  1      Spears is done with his testimony, what other
  2      employee -- what other witnesses were you calling,
  3      including yourself, if you intend to testify?
  4                    MR. TIDABACK:            Just myself.
  5                    JUDGE MORAN:           Just you?
  6                    MR. TIDABACK:            Yes, your Honor.
  7                    JUDGE MORAN:           So is it -- Is it possible
  8      that we might wrap up this proceeding today?
  9                    MR. TIDABACK:            I'm not a gambler, your
 10      Honor.
 11                    JUDGE MORAN:           I think my question is,
 12      that second statement was based on -- once we're
 13      done with Mr. Spears, there's one more witness,
 14      and that's not taking into account any rebuttal
 15      testimony the Secretary may or may not elect to
 16      do.   So that's it?            That's the universe of your
 17      witnesses?
 18                    MR. TIDABACK:            Yes, your Honor.
 19                    JUDGE MORAN:           Okay.      So continue with
 20      your questioning of Mr. Spears, please.
 21                    BY MR. TIDABACK:
 22            Q       Mr. Spears, okay, did you ever stop


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1076    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 142


  1      anyone from making a safety complaint?
  2            A       No, sir.
  3            Q       Did you ever stop anyone from walking or
  4      talking?
  5            A       No, sir.
  6            Q       Were you in the conversation with Mr.
  7      Markeson regarding miners' pay about the -- from
  8      the 104 orders, the e-mail conversation that was
  9      going on?
 10                    MS. O'REILLY:            Objection.         He's
 11      testifying.
 12                    JUDGE MORAN:           Right.       Why don't you
 13      stick with the original part of the question.                             Did
 14      you have conversations with Inspector Markeson
 15      about employee pay in connection with the
 16      shutdown?
 17                    THE WITNESS:           I believe we discussed it
 18      a couple -- at one point.
 19                    JUDGE MORAN:           And was your purpose of
 20      that conversation to understand what your
 21      responsibilities were, the miners'
 22      responsibilities were?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1077    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 143


  1                    THE WITNESS:           Yes, sir.
  2                    JUDGE MORAN:           And did he -- Did he
  3      inform you about what that was?
  4                    THE WITNESS:           To the best of his
  5      ability, I believe so.
  6                    JUDGE MORAN:           Okay.      And this has been
  7      testified to earlier, so I can reference it.                             My
  8      understanding is that, in fact, the mine did pay
  9      these miners for the time that they were stopped
 10      from working; is that right?
 11                    THE WITNESS:           Yes, sir.
 12                    JUDGE MORAN:           That's your understanding?
 13                    THE WITNESS:           Yes, sir.
 14                    JUDGE MORAN:           Okay.      Go ahead.
 15                    MR. TIDABACK:            That's all.          That's all
 16      the questions, your Honor.
 17                    JUDGE MORAN:           You're done with your
 18      questions?
 19                    MR. TIDABACK:            Yes, your Honor.
 20                    JUDGE MORAN:           Okay.      Thank you.
 21                    CROSS-EXAMINATION
 22                    BY MS. O'REILLY:


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1078    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 144


  1            Q       Mr. Spears, prior to testifying today,
  2      have you learned anything about what has happened
  3      in this hearing so far?
  4            A       No, ma'am.
  5            Q       And you are the operations manager at
  6      American Tripoli, correct?
  7            A       Yes, ma'am.
  8            Q       And you have been employed there since
  9      August of 2022; is that correct?
 10            A       Yes, ma'am.
 11            Q       And Russell Tidaback is your boss,
 12      correct?
 13            A       Yes, ma'am.
 14            Q       And you kept Mr. Tidaback regularly
 15      updated about what was going on at the mine,
 16      correct?
 17            A       Yes, ma'am.
 18            Q       And you did this primarily by speaking
 19      to Mr. Tidaback via Messages on Microsoft Teams;
 20      is that correct?
 21            A       Yes, ma'am.
 22            Q       And you have authority at American


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1079    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 145


  1      Tripoli to discipline employees, correct?
  2            A       Yes, ma'am.
  3            Q       You never disciplined Mr. Baumann while
  4      he was an employee at American Tripoli, correct?
  5            A       Yes, ma'am.
  6                    JUDGE MORAN:           "Yes, ma'am, that's
  7      correct," you never disciplined him?
  8                    THE WITNESS:           Not that I can remember.
  9      I don't remember ever doing any kind of a
 10      counseling notice or a write-up or anything like
 11      that.
 12                    JUDGE MORAN:           Thank you.         See, sometimes
 13      a "yes" answer can be confusing.                     That's why I
 14      asked for clarification.
 15                    THE WITNESS:           Yes.
 16                    BY MS. O'REILLY:
 17            Q       You have given written discipline to
 18      other miners at American Tripoli, correct?
 19            A       Yes, ma'am, I have.
 20                    JUDGE MORAN:           And have they been written
 21      disciplines or other forms?
 22                    THE WITNESS:           Written discipline.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1080    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 146


  1                    JUDGE MORAN:           Okay.
  2                    BY MS. O'REILLY:
  3            Q       You have never -- You personally have
  4      never been disciplined while working at American
  5      Tripoli, correct?
  6            A       No, ma'am.
  7            Q       And it is your understanding that Mr.
  8      Baumann was terminated for production issues; is
  9      that correct?
 10            A       Yes, ma'am.
 11            Q       Earlier, you testified about, I believe,
 12      Mr. Baumann had expressed to you that meeting
 13      production quotas was too hard on the mill
 14      associates; is that correct?
 15            A       Yes, ma'am.
 16            Q       And he expressed that it was hard on the
 17      mill associates in that Mr. Baumann thought
 18      meeting the production quotas was not safe for the
 19      mill associates, correct?                 That was Mr. Baumann's
 20      thought or belief?
 21            A       I don't know whether he thought it was
 22      safe or not.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1081    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 147


  1            Q       Did he communicate that to you, though,
  2      that he thought it was unsafe for the mill
  3      associates to meet the production quotas?
  4            A       Not as far as something being --
  5      specifically saying it was not safe, but he said
  6      he just didn't want to push the -- push the
  7      employees, you know, the mill associates any --
  8      you know, any harder than what -- you know, than
  9      what he thought, you know, the conditions, you
 10      know, would permit.
 11            Q       Speaking of the production demands, the
 12      production demand for Mr. Tidaback was 40,000
 13      pounds per day; is that correct?
 14            A       Yes, ma'am.
 15            Q       However, that production demand of
 16      40,000 pounds has only been met about 20 to 30
 17      times in your entire time at the American Tripoli;
 18      is that correct?
 19            A       I would say that's a fair number.
 20            Q       And other than those 20 to 30 times, you
 21      did not meet that production quota regardless of
 22      who held the title of production supervisor,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1082    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 148


  1      correct?
  2            A       Yes, ma'am.
  3            Q       You walked around with MSHA inspectors
  4      during their inspections of the mine, correct?
  5            A       Yes, ma'am.
  6            Q       And you have seen Mr. Baumann speaking
  7      to MSHA inspectors, correct?
  8            A       Yes, ma'am.
  9            Q       And earlier, I think you testified, I
 10      just want to clarify, Mr. Baumann informed you he
 11      was a miners' rep before he was terminated?
 12            A       Yes, ma'am.
 13            Q       Whenever there was an MSHA inspection at
 14      the mine, you would notify Mr. Tidaback, correct?
 15            A       Yes, ma'am.
 16            Q       You never hired anyone to replace Mr.
 17      Baumann before he was terminated, correct?
 18            A       No, ma'am, not that I'm aware of.
 19            Q       So you did not hire someone before Mr.
 20      Baumann was terminated --
 21            A       No.
 22            Q       -- to replace him?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1083    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 149


  1            A       No.
  2            Q       You walked around the mine on a daily
  3      basis.     You walk around the mine on a daily basis
  4      while you're at work, correct?
  5            A       Yes, ma'am.
  6            Q       And you could have found the safety
  7      issues cited by MSHA when you walked around the
  8      mill, correct?
  9            A       Yes, ma'am.
 10                    MS. O'REILLY:            No further questions.
 11                    JUDGE MORAN:           Anything on redirect, sir?
 12                    REDIRECT EXAMINATION
 13                    BY MR. TIDABACK:
 14            Q       Mr. Spears, you stated that you never
 15      disciplined any miner.               Did you verbally
 16      discipline any miner?
 17                    MS. O'REILLY:            Misstates the testimony.
 18                    JUDGE MORAN:           Rephrase the question.
 19      Sustain the objection.
 20                    BY MR. TIDABACK:
 21            Q       Did you ever verbally discipline an
 22      employee, talk to them?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1084    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 150


  1            A       Yes.
  2            Q       Sorry.
  3                    JUDGE MORAN:           Let him answer the
  4      question.       Did you ever verbally discipline an
  5      employee?
  6                    THE WITNESS:           Yes.
  7                    BY MR. TIDABACK:
  8            Q       Do you recall what the termination
  9      letter stated for Mr. Baumann?                    Was it for
 10      performance, or was it for production?
 11                    MS. O'REILLY:            He is testifying and
 12      assumes facts not in evidence.
 13                    JUDGE MORAN:           No.     I'll allow the
 14      question.
 15                    MR. TIDABACK:            Do you need a reference?
 16                    JUDGE MORAN:           Are you aware there was
 17      termination letter?
 18                    THE WITNESS:           Yes, sir.
 19                    JUDGE MORAN:           What is the reason you
 20      thought Mr. Baumann was terminated?                       What is your
 21      understanding?
 22                    THE WITNESS:           Performance.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1085    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 151


  1                    JUDGE MORAN:           For performance?
  2                    THE WITNESS:           Yes, sir.
  3                    JUDGE MORAN:           Not for production, or do
  4      you mean by production?
  5                    THE WITNESS:           Well, I -- you know, I
  6      guess performance/production, you know.                         If your
  7      -- If your production's not showing what it's
  8      supposed to be, then it would be your performance
  9      toward that goal.
 10                    JUDGE MORAN:           So are you telling me, are
 11      you telling us, that your evaluation of Mr.
 12      Baumann's -- You tell me if this is right now.                              Is
 13      your evaluation of Mr. Baumann's performance based
 14      upon production?
 15                    THE WITNESS:           I'm not understanding the
 16      question, sir.
 17                    JUDGE MORAN:           Well, you said that --
 18      Wasn't the gist of your answer a minute ago that
 19      the line between performance and production, they
 20      sort of cross one another, that they're related?
 21                    THE WITNESS:           Yes, sir.
 22                    JUDGE MORAN:           Okay.      So now I'll ask you


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1086    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 152


  1      again.     Was -- Was your evaluation of Mr.
  2      Baumann's performance related to the -- meeting
  3      production goals?
  4                    THE WITNESS:           I would say that would be
  5      part of it, yes, sir.
  6                    JUDGE MORAN:           And what would be the
  7      other part of it?
  8                    THE WITNESS:           I would say it was his,
  9      Mr. Baumann's, reluctance to -- to try to meet
 10      that production goal due to whatever circumstances
 11      in the mill that he thought was relevant at the
 12      time.
 13                    JUDGE MORAN:           Okay.
 14                    BY MR. TIDABACK:
 15            Q       You stated that we didn't hire any
 16      individuals to replace Mr. Baumann.                       Did we
 17      discuss having to let Mr. Baumann go?
 18            A       We did.
 19            Q       And were these conversations months
 20      before his termination?
 21            A       No.
 22            Q       There were no conversations even in 2022


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1087    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 153


  1      of having --
  2                    JUDGE MORAN:           I belive he just answered
  3      that question.          He said, "No."
  4                    MR. TIDABACK:            So I'm just going --
  5      Okay.     That's all, your Honor.
  6                    MS. O'REILLY:            One clarification.
  7                    JUDGE MORAN:           Well, you're not limited
  8      to one.
  9                    MS. O'REILLY:            I think it's one.
 10                    RECROSS EXAMINATION
 11                    BY MS. O'REILLY:
 12            Q       Mr. Spears, it sounds like your only
 13      complaint with Mr. Baumann as an employee was that
 14      you believed he did not meet the production
 15      demands, correct?
 16            A       That's not my only complaint.
 17            Q       Do you -- So you're stating that you
 18      have more than just a complaint about him meeting
 19      production demands?
 20            A       Yes.
 21            Q       Do you recall having your deposition in
 22      this case?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1088    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 154


  1            A       Yes, ma'am, I remember.
  2                    JUDGE MORAN:           Is this an admitted --
  3      previously admitted exhibit?
  4                    MS. O'REILLY:            Yes.
  5                    JUDGE MORAN:           Okay.
  6                    BY MS. O'REILLY:
  7            Q       And you gave that deposition on January
  8      30th?
  9            A       Yes, ma'am.
 10            Q       And you understood that you were under
 11      oath during that deposition?
 12            A       Yes, ma'am.
 13            Q       And that that deposition was given
 14      before a court reporter, correct?
 15            A       Yes, ma'am.
 16            Q       I'm going to have you refer to Exhibit
 17      P44 and go to page, well -- it would be a
 18      document.
 19                    JUDGE MORAN:           First time we're getting
 20      to Tab 3.       P44?
 21                    MS. O'REILLY:            Yeah.      And Ms. Smith is
 22      going to direct him to the correct notebook.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1089    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 155


  1                    JUDGE MORAN:           Thank you.
  2                    THE WITNESS:           Volume three there.               Okay.
  3                    JUDGE MORAN:           So help me save some time
  4      for you.      What page on P44 are you going to be
  5      asking him about or pages?
  6                    MS. O'REILLY:            It'll be page 9 of P44,
  7      and that's the page at the bottom, not the
  8      deposition transcript page.
  9                    JUDGE MORAN:           Okay.      You're talking
 10      about the page number that the Secretary has
 11      inserted?
 12                    MS. O'REILLY:            Yes.
 13                    JUDGE MORAN:           Okay.      Page 9.
 14                    MS. O'REILLY:            And then we're looking at
 15      deposition transcript page 29.                    You'll see there's
 16      four different boxes --
 17                    JUDGE MORAN:           I do see that.
 18                    MS. O'REILLY:            -- on 29 and then lines
 19      14 through 18.
 20                    JUDGE MORAN:           Okay.      So take a moment,
 21      Mr. Spears.        Do you see page 29 on page 9 of
 22      Exhibit P44?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1090    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 156


  1                    THE WITNESS:           Yes, your Honor.
  2                    JUDGE MORAN:           Okay.      So the Secretary
  3      wants you to take a moment to look at -- What are
  4      the lines on page 29, Counsel?
  5                    MS. O'REILLY:            14 through 18.
  6                    BY MS. O'REILLY:
  7            Q       And in your deposition, you were asked:
  8      "So it sounds like overall, you didn't have a lot
  9      of complaints about Rob.                Would you say your only
 10      complaint about him had to deal with meeting
 11      production quotas?"             "Answer:        Yes."
 12                    Did I read that correctly?
 13            A       Yes, you read it correctly.
 14            Q       And that -- And that is what you stated
 15      in your deposition, correct --
 16            A       Yes, ma'am.
 17            Q       -- when you were under oath on January
 18      30th?
 19            A       Yes, ma'am.
 20                    MS. O'REILLY:            No further questions.
 21                    FURTHER REDIRECT EXAMINATION
 22                    BY MR. TIDABACK:


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1091    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 157


  1            Q       On that same page, Mr. Spears -- I'm
  2      sorry.     Yeah.      It's okay.
  3                    JUDGE MORAN:           Take your time, please.
  4                    BY MR. TIDABACK:
  5            Q       Exhibit 44, page 10 --
  6                    JUDGE MORAN:           Page 10?
  7                    MR. TIDABACK:            Yes, sir, on page 10.
  8                    JUDGE MORAN:           Okay.
  9                    MS. O'REILLY:            I would object to him
 10      using the party admission in his own favor, and is
 11      he impeaching his witness on something?                         I don't
 12      know what's happening here.
 13                    JUDGE MORAN:           Why don't we wait to see
 14      what his question is.
 15                    MS. O'REILLY:            Okay.
 16                    JUDGE MORAN:           I mean, did you move for
 17      the introduction of 44?
 18                    MS. O'REILLY:            Yes.     We had did that
 19      earlier today, in the morning.
 20                    JUDGE MORAN:           Okay.      It was admitted?
 21                    MS. O'REILLY:            Yes.
 22                    JUDGE MORAN:           Okay.      Let me see if I


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1092    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 158


  1      have it.      Yes, I do.          It was just -- And following
  2      that was P35.         Okay.       So I do have that.              Go
  3      ahead, Mr. Tidaback.              You're directing Mr. Spears
  4      to page 10 --
  5                    MR. TIDABACK:            Correct.
  6                    JUDGE MORAN:           -- on page 44?
  7                    MR. TIDABACK:            Page 10 of Exhibit P44,
  8      yes, your Honor.
  9                    JUDGE MORAN:           Okay.      And which page
 10      among those pages on P44 are you having him look
 11      at?
 12                    MR. TIDABACK:            On the bottom right
 13      corner, it says page 33 and the box on the top
 14      right.
 15                    JUDGE MORAN:           Okay.      You want to ask him
 16      to read part of that or ask him a question about
 17      that, sir?
 18                    BY MR. TIDABACK:
 19            Q       On the left-hand side of that, it shows
 20      line No. 19, and then it goes through 21 in
 21      reference where it states, "Do you know why
 22      Baumann was terminated," at line 20A, "for his


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1093    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 159


  1      lack of production and just an overall him just
  2      not being a productive employee," is line 21.                             Did
  3      I read that correctly?
  4            A       Yes.
  5                    MR. TIDABACK:            Thank you, your Honor.
  6                    JUDGE MORAN:           Okay.
  7                    MS. O'REILLY:            No further questions.
  8                    JUDGE MORAN:           All right.         Mr. Spears,
  9      your testimony has concluded for now.                        Thank you
 10      for testifying.           I don't know whether -- whether
 11      instructions for you are to remain in the witness
 12      room in case you are called back or whether --
 13      This is up to Mr. Tidaback, I guess.
 14                    MR. TIDABACK:            I'm sorry.         I'm sorry,
 15      your Honor.
 16                    JUDGE MORAN:           Do you want to keep Mr.
 17      Spears available for potential --
 18                    MR. TIDABACK:            No, your Honor.            I don't
 19      believe --
 20                    MS. O'REILLY:            We would like to have him
 21      available for the rest of the day.
 22                    JUDGE MORAN:           Sure.      So you're going to


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1094    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 160


  1      have to stay here, okay, in the witness room, all
  2      right, sir?
  3                    THE WITNESS:           Yes, sir.
  4                    JUDGE MORAN:           All right.         So if you go
  5      out, for, like, a cup of coffee, please come back
  6      promptly so that we don't have to wait a long time
  7      to retrieve you.
  8                    THE WITNESS:           Yes, sir.
  9                    JUDGE MORAN:           All right.         Thank you.
 10                    MS. O'REILLY:            And, your Honor, I'll
 11      just note we're going to hand him -- because we
 12      did Subpoena him, we're going to hand him the
 13      Subpoena witness forms.                That's what we're handing
 14      him.
 15                    JUDGE MORAN:           Yes.      Good.      Watch out for
 16      that tripod.
 17                    MR. SPEARS:          Yes, sir.
 18                    JUDGE MORAN:           I have tripped over my own
 19      tripod at home, so I know about this.                        If you want
 20      to say something about, "I need to go to the
 21      bathroom," or something like that, that's fine.                              I
 22      don't need an explanation because it would be


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1095    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 161


  1      intrusive for me to even ask.                   You're free to go
  2      to the restroom.           We'll wait for you to return.
  3                    MR. SPEARS:          No, not right at this
  4      moment, your Honor, but if I --
  5                    JUDGE MORAN:           Yes.      It's not actually
  6      critical that you be in here at every moment, so,
  7      yes, whenever you need.                Sure, sure.
  8                    Okay.       So, folks, and I want to be sure
  9      this is well understood.                I'm not rushing anybody
 10      in this proceeding, but we -- we have -- excluding
 11      lunch, we still have five hours here.                        So it is
 12      possible -- Depending upon the testimony from Mr.
 13      Tidaback and cross-examination of him and then
 14      whether there's rebuttal testimony, which I don't
 15      know if there will be any, it's possible that we
 16      could wrap this up.
 17                    But I will ask at the end of this
 18      proceeding, and this is to make sure there's no
 19      uncertainty here, that I customarily ask this,
 20      that the parties have to tell me whether or not
 21      they had a full opportunity to present their case.
 22      I do not -- I never want to leave here and have


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1096    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 162


  1      someone -- it's never happened, by the way, but to
  2      have someone say, "Well, we were cut off, and we
  3      -- we needed more time to present our prosecution
  4      or our defense."           So I will -- I will ask for that
  5      if it looks like we wrap up today.                      And if not,
  6      happy to come back here.                As I said, it's a fine
  7      place, Joplin.
  8                    All right.          So are we ready now, Mr.
  9      Tidaback, for you to testify?
 10                    MR. TIDABACK:            Yes, your Honor.
 11                    JUDGE MORAN:           Okay.      And let me just
 12      give you a piece of advice about that.                         To some
 13      extent, I will allow you to testify in a narrative
 14      fashion, but it's helpful if -- if your daughter
 15      --
 16                    MR. TIDABACK:            Jordan.
 17                    JUDGE MORAN:           -- Jordan, I'm sorry,
 18      Tidaback is asking questions.                   It's smoother that
 19      way.
 20                    MR. TIDABACK:            Yes, your Honor.
 21                    JUDGE MORAN:           Remember, this is to give
 22      you some guidance about your testimony.                         If you


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1097    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 163


  1      strain to things like opinion, et cetera, there's
  2      going to be some problems with that.                        But you can
  3      testify about, for example, this would be hearsay
  4      but hearsay is admissible, what Mr. Spears said to
  5      you about Mr. Baumann's job performance or what
  6      you observed about Mr. Baumann or paper that you
  7      issued to Mr. Baumann, if any, about criticizing
  8      his work performance or verbal exchanges you had.
  9      You can testify to that because we're talking
 10      about your memory of events where you had
 11      interactions with Mr. Baumann or with other
 12      people.      You can testify about that, generally
 13      speaking.       I'm not saying that's an absolute rule
 14      because it's in the context of the question.                             So
 15      you're prepared to come and testify now?
 16                    MR. TIDABACK:            As far as I understand,
 17      yes.
 18                    JUDGE MORAN:           Okay.      Well, I'm sure
 19      there will be objections, and I may have some
 20      problems with some of your testimony, but I wanted
 21      to give you a broad outline about what a witness
 22      does.     A witness testifies as to what they saw or


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1098    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 164


  1      heard or did.
  2                    MR. TIDABACK:            Correct, your Honor.
  3                    JUDGE MORAN:           Okay.      All right.          So come
  4      on up here to the witness stand, and it's 11:36.
  5      We'll see how we progress.                 Let's plan to take a
  6      break at 12:30.           But, again, if we're close to
  7      finishing, and it's probably in the interest of
  8      everybody if we're done, but I don't want to
  9      deprive anyone of needed lunch or other breaks,
 10      all right?        We need to balance these things.
 11      Court reporter getting all of this?
 12                    THE VIDEOGRAPHER:              Thumbs up.
 13                    JUDGE MORAN:           Thumbs up.         Okay.       Well,
 14      you remember, Mr. Tidaback, you had multiple
 15      examples.       I have to swear you in.                 Okay.       Please
 16      raise your right hand, sir.                  Mr. -- It's Russell
 17      Tidaback?
 18                    THE WITNESS:           Russell Tidaback, yes.
 19      Whereupon,
 20                                RUSSELL TIDABACK
 21      was called as a witness and, having been first
 22      duly sworn, was examined and testified as follows:


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1099    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 165


  1                    JUDGE MORAN:           Okay.      Have a seat, sir.
  2      And then you've seen from other witnesses.                           First
  3      you'll state your name, even though you just said
  4      it, because you'll be under oath now, and then
  5      spell it for us.
  6                    THE WITNESS:           My name is Russell
  7      Tidaback, R-U-S-S-E-L-L, last name spelled T-, as
  8      in Tom, I-D, as in David, A-B-, as in boy, A-C, as
  9      in Charlie, K, as in king.
 10                    JUDGE MORAN:           Okay.      And I just want to
 11      note for the record that Mr. Tidaback's testimony
 12      is beginning at approximately 11:37 a.m. on
 13      Thursday, the 29th of February.                     Go ahead.        Your
 14      questioning is being brought to us by?
 15                    MS. TIDABACK:            Jordan Tidaback.
 16                    JUDGE MORAN:           Jordan Tidaback?
 17                    MS. TIDABACK:            Yes, sir.
 18                    JUDGE MORAN:           Okay.      Go ahead.
 19                    DIRECT EXAMINATION
 20                    BY MS. TIDABACK:
 21            Q       Mr. Tidaback, could you, please,
 22      describe your primary responsibilities at the


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1100    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 166


  1      company and your title?
  2            A       Your Honor, can I stand up?                    I think
  3      better when I'm standing.
  4                    JUDGE MORAN:           You're welcome to stand
  5      up, yes.      Court reporter -- Is the court reporter
  6      getting Jordan Tidaback's statements?                        Is she
  7      hearing that?         Do you have the microphone properly
  8      placed on you?
  9                    THE VIDEOGRAPHER:              Thumbs up.
 10                    JUDGE MORAN:           Thumbs up.         Good.
 11                    BY MS. TIDABACK:
 12            Q       Do you need me to repeat the question?
 13            A       Please.
 14            Q       Could you, please, describe your primary
 15      responsibilities and title with the company.
 16            A       Managing member of American -- MOSeneca
 17      Manufacturer that is doing business as American
 18      Tripoli, and my roles and responsibilities are
 19      involved in every aspect of the company to make
 20      sure that it operates.               That includes hiring and
 21      firing, and we have Mr. Spears as the operations
 22      manager that is in a position to run all of the


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1101    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 167


  1      operations that are there.                 Sometimes I have
  2      communications with the employees, and sometimes I
  3      don't.
  4                    We use a product called Microsoft Teams
  5      to collaborate so that everyone is involved in
  6      everything that is happening in the operations
  7      within American Tripoli.                There are different
  8      groups such as the mill management group which
  9      will be the mill management personnel which would
 10      be the shift lead, the operations manager
 11      logically and the safety and the maintenance.
 12                    And then we have a different group which
 13      deals with just the maintenance group which is
 14      just the maintenance personnel.                     The shift lead
 15      would be in that because the shift lead works with
 16      the maintenance personnel.                 When they notice
 17      something, they need work, it gets put in the --
 18      the maintenance log and also the daily inspection.
 19      That is what the maintenance personnel look at to
 20      determine what is going on, and Mr. Spears directs
 21      maintenance where to go.
 22                    The Teams also has the mill chat group,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1102    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 168


  1      if I remember correctly.                And the mill chat group
  2      is basically led by the shift lead because that is
  3      how the shift lead communicates with all of the
  4      mill associates that work in the mine so that
  5      you've got to remember, the production floor,
  6      there are multiple things going on.                       There are
  7      multiple machines that are running, and the
  8      warehousing and forklift operations also happen
  9      there.
 10                    So the shift lead is directing those
 11      miners to go get materials, whether it be bags,
 12      pallets, slip sheets, product orders that are
 13      finished, the weighing of the pallets.                         That is
 14      all shared in that group because sometimes it is
 15      the shift lead that may be recording the weights
 16      of the pallets, and then there's also the times
 17      that the mill associates are reporting to the
 18      shift lead because it's the shift lead's
 19      responsibility to track that.                   Also part of that
 20      responsibility is to make sure that we are keeping
 21      accountability of product orders, scheduling,
 22      budgeting, everything that you'd expect at the


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1103    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 169


  1      senior level to -- to manage within a company.
  2                    In our operations, we have a production
  3      schedule which is available publicly.                        That way,
  4      the customers -- it is limited so that their
  5      customer number, they only know what they're
  6      getting, but it shows how much lead time they can
  7      expect for their product.                 And in that group, in
  8      Teams on the mill management group, if I remember
  9      correctly, the shift lead has access to the files
 10      and the links to the daily -- the production
 11      schedule so that that is part of their tasks and
 12      duties that they are given and walked through,
 13      that they check that every single morning.                           And
 14      then with that, they -- they formulate what we are
 15      doing that day.
 16                    They take that information.                    They put it
 17      in -- in the break room, which is approximately 20
 18      feet away from the shift lead's office.                         He puts
 19      that information on the board so that the miners
 20      that are working in the mill, and including
 21      maintenance, knows what we are doing that day so
 22      they don't have to go to the shift lead and keep


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1104    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 170


  1      interrupting him or her, could have been her,
  2      because they -- they could be out doing their
  3      walks.     They could be out doing their walk-around
  4      inspections, stuff like that.                   All that
  5      information is there on the board.                      That way they
  6      know they've got to go get X amount of pallets.
  7      They've got to go X amount of bags.                       They have to
  8      go get all that material to finish that daily
  9      production.
 10                    Then production is -- the shift lead
 11      starts the equipment, runs through the production
 12      start-up checklist, is monitoring the equipment,
 13      monitoring all the -- the input of the feed into
 14      the material.         He's watching the -- the key
 15      indicators for when the system is slowing down or
 16      empty so that he needs to speed up the production.
 17                    And then at the end of the shift, the --
 18      we give an hour, hour for start-up procedures in
 19      the morning, so that the mill associates can find
 20      out what they've got to do, go get the material
 21      because it takes time to go across the street to
 22      where our warehouse is to bring back the pallets


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1105    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 171


  1      and the bags and everything and, you know, get
  2      themselves situated for that production day.                             We
  3      give an hour in the afternoon.                    Mr. Baumann -- The
  4      shift lead is the person that is controlling the
  5      feed of material into the system, so he knows when
  6      it stops and how long it takes before the system
  7      is empty so that the mill associates can complete
  8      their end-of-day checklists of the daily shutdown
  9      procedures.
 10                    So all of these procedures we've walked
 11      through based on the -- based on the history of
 12      the previous owners multiple times 'cause the
 13      company has been owned by many, many companies,
 14      been there a hundred-plus years.                     So all of these
 15      procedures and everything else, nothing has
 16      changed as far as what we do.                   All we did was
 17      document it and bring in the electronic components
 18      to it so that everybody knows it.                      And, you know,
 19      we even brought in Internet to the mill so that
 20      the mill associates didn't have to use their cell
 21      phone service or anything like that.                        It's all
 22      based off of WiFi that's in the mill.                        The -- my


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1106    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 172


  1      -- My roles and responsibilities like -- as
  2      testimony -- other testimonies have shown, we are
  3      not there constantly.              That's why we hire other
  4      people to make sure that it is doing what it's got
  5      to do.
  6                    In 2023, we -- it was a very rough year
  7      as far as attracting and obtaining and even
  8      retaining mill associates, period.                      Now, a mill
  9      associate, their tasks and duties only require,
 10      basically, a warm body.                There's very limited
 11      prior experience, knowledge that they have to
 12      have.     They don't have to have MSHA experience to
 13      run a machine.          They take the MSHA training to
 14      understand mining.             Now, why are we considered a
 15      mine when we're really just a manufacturing plant?
 16                    JUDGE MORAN:           Okay.      Now you're straying
 17      into --
 18                    THE WITNESS:           Okay.
 19                    JUDGE MORAN:           I think you've answered
 20      your question about your role and -- and given us
 21      a broad view of the operation.                    Do you have other
 22      questions to ask of Mr. Tidaback?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1107    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 173


  1                    MS. TIDABACK:            Yes, sir.
  2                    BY MS. TIDABACK:
  3            Q       So can you explain your background in
  4      relation to American Tripoli?
  5            A       Yes.      So I spent -- I have 32 years of
  6      operational experience with the U.S. military.                              I
  7      retired a captain in an aviation unit, 1,300
  8      people underneath us at that time, still serving
  9      to this day.
 10                    My initial entry into manufacturing was
 11      in 1991 when I worked at Frito-Lay in Orlando,
 12      Florida, and they had an internship management
 13      progression track.             My mother worked there, and
 14      that's how I got involved in that, and they led
 15      everything through production.                    And it is -- it is
 16      amazing today that most -- other than pulverizing
 17      material, they don't pulverize chips.                        They just
 18      cut potatoes.
 19                    It is the same process that American
 20      Tripoli does:         Take the material, crush it, dry
 21      it, pulverize it and put it in the bag.                         That's
 22      what we do at American Tripoli, very simple


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1108    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 174


  1      process.      Frito-Lay is the same thing.                     They bring
  2      in material, they cut it up, they dry it, season
  3      it, put it in a bag.
  4                    JUDGE MORAN:           Okay.      I think -- It's
  5      been interesting, but I think you've covered that.
  6      We don't want to go too far into -- because it's
  7      not relevant to this proceeding, but your military
  8      background, which I respect, and it's interesting
  9      to hear about your background with Frito-Lay, and
 10      I let you talk about the analogy, but I was giving
 11      you some leeway there.               I do like Cheetos Baked.
 12      They're very good, but I think it's time to move
 13      on to something else.
 14                    THE WITNESS:           Okay.
 15                    MS. TIDABACK:            Can I ask a follow-up
 16      question to that?
 17                    JUDGE MORAN:           I'll let you know, or
 18      there will be an objection.
 19                    BY MS. TIDABACK:
 20            Q       So is it safe to say that you have
 21      multiple manufacturing experiences in your
 22      history?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1109    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 175


  1            A       Yes.
  2                    JUDGE MORAN:           Fair enough.
  3                    MS. TIDABACK:            Okay.      I'll move on.
  4                    BY MS. TIDABACK:
  5            Q       How do you coordinate with Ms. Tidaback,
  6      myself, and Mr. Spears to provide support and
  7      ensure the company's operations run smoothly?
  8            A       Everything in American Tripoli we run
  9      through Teams.          Strictly communications is all
 10      done through Teams, all the files.                      We don't have
 11      paper files.         Everything is done through Teams.
 12                    JUDGE MORAN:           Right, and you've
 13      testified about that already this morning.
 14                    MS. TIDABACK:            Okay.
 15                    JUDGE MORAN:           It's still this morning.
 16      Go ahead.
 17                    BY MS. TIDABACK:
 18            Q       Okay.       And let's see.            I'm moving on to
 19      operations.        Can you just give us a brief
 20      explanation of what Tripoli is for the judge?
 21            A       So Tripoli is a natural product.                       As the
 22      Secretary had pointed out, the chemical makeup of


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1110    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 176


  1      it is 90 -- anywhere between 90 and 98 percent
  2      silicon dioxide, and the other particles could be
  3      numerous.       The -- that's -- That's Tripoli in a
  4      whole.     We don't add any chemicals.                    We don't
  5      change anything about the product.                      We just
  6      pulverize it.
  7            Q       Can you give us a brief explanation on
  8      Teams and how it works?
  9            A       Okay.       So Teams is a collaboration --
 10                    JUDGE MORAN:           Do we need to have -- I
 11      mean, isn't it -- generally, it's just a way for
 12      your operation as well as other uses of Microsoft
 13      Teams --
 14                    THE WITNESS:           May I get my water, your
 15      Honor?     Sorry.
 16                    JUDGE MORAN:           Of course.         I mean, it's a
 17      way of communicating between employees --
 18                    THE WITNESS:           Thank you.
 19                    JUDGE MORAN:           -- at the mine.            Different
 20      groups talk, and the -- and the communication is
 21      -- it's akin to e-mail, but it happens to be in an
 22      application called Microsoft Teams.                       Basically,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1111    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 177


  1      it's a communication tool?
  2                    THE WITNESS:           It's a collaboration tool
  3      because it does include files.
  4                    JUDGE MORAN:           Okay.      And it includes
  5      files.     Do you have a specific question about
  6      Microsoft Teams?
  7                    MS. TIDABACK:            I'm sorry, sir?
  8                    JUDGE MORAN:           Do you have other
  9      questions you have to ask about Microsoft Teams?
 10                    MS. TIDABACK:            Yes, sir.
 11                    BY MS. TIDABACK:
 12            Q       Are there channels available to everyone
 13      at American Tripoli, such as a safety channel,
 14      that has all of our training files and our
 15      policies in it for safety?
 16            A       Correct.
 17            Q       Okay.       Let's see.         Can you explain your
 18      understanding of the roles and responsibilities of
 19      the shift lead?
 20            A       Yes.      The shift lead is responsible for
 21      the mill operations.              That position is -- monitors
 22      the production schedule which the sales team


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1112    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 178


  1      builds for them.           They -- They are the ones that
  2      control the inventory flow through the mill.                             They
  3      are the ones that also control the quality control
  4      of it leaving.          They create the product.                  They
  5      ensure that it goes out properly.                      That's --
  6      That's really it for that role.                     They manage the
  7      workload of the mill associates.                     They're in
  8      there.     That's their role.              That's their primary
  9      role, to make sure that things get done in the
 10      mill.
 11                    On top of that, they're also responsible
 12      for the safety and -- of the mill associates.
 13      They're in that senior leadership position because
 14      it would be the senior person because the
 15      progression -- and this may help, your Honor, the
 16      progression of every mill associate is they start
 17      as a mill associate.              Then they move to the shift
 18      lead.     And then after the shift lead is when you
 19      come into a manager role where you can either
 20      become safety, the operations manager, the quarry
 21      manager, that stuff.              So there is progression
 22      moving up, and that's one of the things that we


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1113    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 179


  1      had for Mr. Baumann, and that's -- that's --
  2      that's why this is bothering me, so --
  3            Q       Let's see.          So since you have just
  4      explained those roles and responsibilities, do you
  5      recall me, Jordan Tidaback, having to remind Rob
  6      to add mill Teams hours and shifts so too many
  7      days don't go by?
  8            A       Yes.
  9                    MS. O'REILLY:            Objection.         Ms. Tidaback
 10      is testifying what she did and hasn't really laid
 11      a foundation of how Mr. Tidaback would be aware of
 12      the instruction that she made to Mr. Baumann.
 13                    JUDGE MORAN:           I'm going to allow the
 14      question, so -- so restate it --
 15                    MS. TIDABACK:            Yes.
 16                    JUDGE MORAN:           -- because we're trying to
 17      get -- trying to get to the heart of the matter
 18      here.
 19                    MS. TIDABACK:            Okay.
 20                    JUDGE MORAN:           All right.         And you'll
 21      have an opportunity on cross-examination to pick
 22      that apart if you want to but -- so can you -- you


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1114    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 180


  1      have the question written down?
  2                    MS. TIDABACK:            Yes, sir.
  3                    JUDGE MORAN:           Can you repeat it, please?
  4                    MS. TIDABACK:            Reread the question?
  5                    JUDGE MORAN:           Yes.
  6                    BY MS. TIDABACK:
  7            Q       Okay.       Do you recall myself having to
  8      remind Rob to add mill Teams hours and shifts so
  9      too many days don't go by?
 10                    JUDGE MORAN:           Do you recall that?
 11                    THE WITNESS:           I do because it wasn't --
 12                    JUDGE MORAN:           So he recalls it.              Now, do
 13      you have another question about that?                        See, that's
 14      your question.          Yes, he recalls.             Now what do you
 15      want to ask him about it, if anything?
 16                    BY MS. TIDABACK:
 17            Q       Should we have to remind Rob?
 18            A       No, and this is not an only one-time
 19      incident.       We had numerous instances, and most of
 20      the times, these were communicated in Teams.                             It
 21      got to the point where I personally had to call
 22      Mr. Baumann numerous times, and this was in his


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1115    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 181


  1      early shifts after he had been trained for two
  2      months by our most senior person when he went to
  3      the night shifts by himself after talking with
  4      Christine, the operations manager at the time,
  5      about Mr. Baumann not doing what he's supposed to
  6      because if we don't get the updated production, I
  7      can't adjust -- I can't have the production
  8      schedule adjusted for the next day.
  9                    JUDGE MORAN:           So -- So he's elaborated
 10      on that.      Do you have more any questions along
 11      this line?
 12                    MS. TIDABACK:            Yes, sir.
 13                    BY MS. TIDABACK:
 14            Q       Similarly, do you remember having to
 15      remind Rob to do this shift lead close-out at the
 16      end of each day?
 17            A       Yes.      The shift lead close-out, again,
 18      inventory control, next-day production, this was
 19      not something that was just an incident or
 20      anything.       We had conversations about, "How can
 21      you lead others if you can't do your own job?"
 22            Q       Okay.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1116    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 182


  1                    JUDGE MORAN:           So you've elaborated upon
  2      that.
  3                    BY MS. TIDABACK:
  4            Q       Can you explain the disciplinary process
  5      for American Tripoli?
  6            A       Right.       The disciplinary process that we
  7      have at American Tripoli is documented in
  8      Missouri, which is a right-to-work state, can be
  9      fired at any time without any notification.
 10                    First is a verbal, okay.                  Second is a
 11      written.      Third, if there is one, is immediate
 12      termination.         No explanation is needed or anything
 13      like that.        By that time, you know that you're
 14      going to be terminated.                We don't like to
 15      terminate anybody.             It is hard enough to get
 16      people.
 17                    JUDGE MORAN:           Okay.      But now you're
 18      going beyond the question that was asked.                           You've
 19      explained the termination process, sir.
 20                    BY MS. TIDABACK:
 21            Q       Okay.       Can --
 22            A       Not all of it --


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1117    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 183


  1                    JUDGE MORAN:           Okay.
  2                    THE WITNESS:           -- because in that policy,
  3      it states that we can go any order.                       We don't have
  4      to follow that order.
  5                    JUDGE MORAN:           Okay.      That's an
  6      elaboration of your view of American Tripoli's own
  7      policy.
  8                    THE WITNESS:           That's actually what it
  9      states, your Honor.             That's not a lie.
 10                    JUDGE MORAN:           Okay.
 11                    BY MS. TIDABACK:
 12            Q       So to confirm, it does state in there we
 13      can terminate anyone at any time just for any
 14      reason?
 15            A       That is what it states.
 16            Q       Could a reason be such as --
 17            A       Anything.
 18            Q       -- backtalking a manager or --
 19            A       That would be expected.
 20            Q       -- something extreme like sexual
 21      harassment or anything like that?
 22            A       Correct.         That would be expected.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1118    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 184


  1            Q       Okay.       So you mentioned employee
  2      retention rates were hard to come by.                        How does
  3      the company approach employee engagement and
  4      satisfaction to improve retention rates, and what
  5      role do you play in these efforts?
  6            A       We try to do everything that we can to,
  7      one, retain people.             We -- We explained in 2023,
  8      in a group, and if I'm not mistaken, it was in the
  9      break room the last time that I can remember,
 10      discussing about the difficulties of hiring new
 11      people and retaining people because there were
 12      some discussions from the mill associates about,
 13      "We need more people."               So logically, as a
 14      supervisor, you have to explain, "This is why it
 15      is difficult to get people.                  This is why we are
 16      not going to just hire 50 people for small
 17      operations," so explaining to them.                       I mean, chat
 18      was open.       Even in -- Even in initial interviews
 19      and communications, I give people my personal cell
 20      phone.     If you had questions, you could call me
 21      directly, so --
 22                    JUDGE MORAN:           Okay.      But -- Excuse me.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1119    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 185


  1      We're getting afield from the retention policy.
  2      I'm characterizing your testimony as you tried
  3      hard to keep people.              You wanted to retain people
  4      because it was difficult to get people in the
  5      first instance; is that correct?
  6                    THE WITNESS:           Yes, your Honor.
  7                    JUDGE MORAN:           Okay.      And so I take it
  8      that the point of your talking about retention is
  9      to indirectly demonstrate that you didn't really
 10      want to have to terminate people because of that
 11      problem of retention.              If at all possible, you
 12      wanted to keep people?
 13                    THE WITNESS:           That's correct.
 14                    JUDGE MORAN:           And so I take it from that
 15      that you're inferring that in a situation where
 16      things are so bad, in this case, you would allege
 17      Mr. Baumann's performance or work was so bad that
 18      despite your wish to retain people, you still had
 19      to terminate him; is that right?
 20                    THE WITNESS:           And hire other people
 21      potentially to do so, yes, your Honor.
 22                    JUDGE MORAN:           Okay.      Well, you can ask


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1120    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 186


  1      him questions about that, about whether he hired
  2      -- 'cause that's been an issue in this proceeding,
  3      whether he hired other people to replace Mr.
  4      Baumann and when that occurred.
  5                    So you've got to ask specific questions
  6      now, and try to confine your answer to what Jordan
  7      Tidaback is asking you.                Sometimes you go on for a
  8      little bit there, and I've let you -- I've given
  9      you a lot of rope.
 10                    THE WITNESS:           Yes, your Honor.
 11                    JUDGE MORAN:           Okay.
 12                    BY MS. TIDABACK:
 13            Q       Okay.       So to that question, did we hire
 14      other people to replace Mr. Baumann?
 15            A       Yes, we did.
 16            Q       Do you -- Are you aware of those dates,
 17      and can you provide them?
 18            A       I know we have them in exhibits.                       I
 19      would have to find them.
 20                    JUDGE MORAN:           How about asking a broader
 21      question?       How many people did your father hire
 22      for the purpose of replacing Mr. Baumann?                           How


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1121    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 187


  1      many -- Do you know what the number was?
  2                    THE WITNESS:           If I remember correctly,
  3      it was four.
  4                    JUDGE MORAN:           Okay.      And so then you
  5      might ask if he can recall -- And by the way, let
  6      me just interrupt myself.                 When you referred a
  7      moment ago, Mr. -- Mr. Tidaback, to an exhibit, is
  8      that an exhibit that's been admitted, if you
  9      recall?
 10                    THE WITNESS:           No, it has not.
 11                    JUDGE MORAN:           It has not been admitted
 12      into the record about -- about the people he hired
 13      or how long they stayed?
 14                    MS. TIDABACK:            It has not been an
 15      exhibit.
 16                    THE WITNESS:           Not yet.
 17                    MS. TIDABACK:            Not yet.
 18                    THE WITNESS:           It was not allowed under
 19      -- under that role, your Honor.
 20                    JUDGE MORAN:           Okay.      Are you going to
 21      ask him questions about that later or not?
 22                    THE WITNESS:           Are you going to --


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1122    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 188


  1                    JUDGE MORAN:           No?
  2                    MS. TIDABACK:            Oh, am I going to ask him
  3      questions about what?              I'm sorry.
  4                    JUDGE MORAN:           About that exhibit and how
  5      it might demonstrate who -- who he hired and --
  6                    MS. TIDABACK:            Yes.     Yes, sir.
  7                    JUDGE MORAN:           Okay.      This is a little
  8      bit confusing.          Let's back it up.              You hired four
  9      people.      Are those four people still working for
 10      American Tripoli?
 11                    MS. TIDABACK:            No, sir.        Sorry.       I'm
 12      sorry.
 13                    THE WITNESS:           Yeah.      Those individuals
 14      were hired separate dates and times, not together.
 15      And, no, they are not still working for American
 16      Tripoli.
 17                    JUDGE MORAN:           Okay.      And what was the
 18      longest period of time that any one of those four
 19      employees worked for American Tripoli?
 20                    THE WITNESS:           I don't have that
 21      information readily available.
 22                    JUDGE MORAN:           Well, do you remember in


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1123    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 189


  1      terms of whether it was weeks or months?
  2                    THE WITNESS:           Oh, yeah.         It was less
  3      than -- It was less than a month because initially
  4      when we hire someone, we have to do the 24-hour
  5      training.       And in 2023, a lot of people didn't
  6      even stay for that training, so --
  7                    JUDGE MORAN:           Okay.      So is it fair to
  8      state that the longest any of these four
  9      employees, which you allege were hired to replace
 10      Mr. Baumann, none of them worked for more than a
 11      month for American Tripoli?
 12                    THE WITNESS:           Without looking at
 13      documentation, that's fair to say, your Honor.
 14                    JUDGE MORAN:           Okay.      And I'm not going
 15      to ask any other questions about that.                         The
 16      Secretary may.          But go ahead, Jordan Tidaback, if
 17      --
 18                    MS. TIDABACK:            Okay.
 19                    JUDGE MORAN:           -- about -- about this --
 20      questions you may have about this assertion that
 21      people were hired specifically to replace Mr.
 22      Baumann --


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1124    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 190


  1                    MS. TIDABACK:            Okay.
  2                    JUDGE MORAN:           -- if you have any other
  3      questions about that.
  4                    THE WITNESS:           Just --
  5                    MS. TIDABACK:            I have the exhibits, but
  6      let me just grab my --
  7                    JUDGE MORAN:           Take a moment to find that
  8      exhibit.      We'll go off the record for a moment.
  9                    MS. TIDABACK:            Thank you.
 10                            (Discussion off the record.)
 11                    JUDGE MORAN:           For purposes of
 12      identification, can you identify the exhibit that
 13      you're referring to?
 14                    MS. TIDABACK:            Yes, sir.        It is Exhibit
 15      RX.
 16                    JUDGE MORAN:           RX?
 17                    MS. TIDABACK:            Yes, sir, RX.
 18                    JUDGE MORAN:           Okay.
 19                    MS. TIDABACK:            And --
 20                    JUDGE MORAN:           Just one second.             I've got
 21      my --
 22                    MS. TIDABACK:            Do we need to go back on


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1125    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 191


  1      record?      I thought you told her that we were going
  2      off.
  3                    THE VIDEOGRAPHER:              She's on.
  4                    JUDGE MORAN:           She's very good.             That was
  5      my fault.       That's right.           So we are on the record,
  6      Mr. Holt?
  7                    THE VIDEOGRAPHER:              Yes.      Thumbs up.
  8                    JUDGE MORAN:           Okay.      Thank you, Jordan
  9      Tidaback.
 10                    MS. TIDABACK:            Sure.      Please let me know
 11      when you're ready.
 12                    JUDGE MORAN:           I've got my wires
 13      literally crossed here.                Okay.      RX.
 14                    BY MS. TIDABACK:
 15             Q      Okay.       Mr. Tidaback, do you identify
 16      this record or -- can you identify it?
 17             A      Actually, I see in here RW --
 18             Q      Let's see.
 19             A      -- RX, RY and RZ.
 20                    JUDGE MORAN:           But, no, you see, you're
 21      being questioned, and so we're trying to keep some
 22      order here.        Jordan Tidaback has asked you about


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1126    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 192


  1      RX.   Is that what you intended to ask about?
  2                    MS. TIDABACK:            Yes, sir, RX.
  3                    JUDGE MORAN:           Do you see RX?
  4                    BY MS. TIDABACK:
  5            Q       Do you see RX?
  6            A       I do.
  7            Q       Okay.
  8                    JUDGE MORAN:           And do you have a question
  9      about RX?
 10                    MS. TIDABACK:            Yes.
 11                    BY MS. TIDABACK:
 12            Q       Can you identify what this document is
 13      for the Court, please?
 14            A       This was a hiring document for a
 15      production shift manager.
 16            Q       Okay.       And could you identify the
 17      person's name on it?
 18            A       Will Shellenberger.
 19            Q       Okay.       Thank you.         So the next page, can
 20      we, please, move to Exhibit RY?
 21                    JUDGE MORAN:           Well, do you want -- do
 22      you want to admit RX?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1127    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 193


  1                    MS. TIDABACK:            Yes, sir.        May I, please,
  2      admit RX?
  3                    JUDGE MORAN:           Sure.      Any objection to
  4      the admission of RX?
  5                    MS. O'REILLY:            No objection.
  6                    JUDGE MORAN:           Okay.      RX is admitted.
  7                    MS. TIDABACK:            Thank you.
  8                    BY MS. TIDABACK:
  9            Q       Are you on --
 10                    JUDGE MORAN:           And I would just note --
 11      No, I will not note.              There is a date of August
 12      24th, 2022.        All right.          And now we're talking
 13      about what, Ms. Tidaback?
 14                    MS. TIDABACK:            RY.
 15                    JUDGE MORAN:           RY?
 16                    MS. TIDABACK:            Yes, sir.        It's the next
 17      page.
 18                    JUDGE MORAN:           Okay.
 19                    MS. SMITH:          Your Honor, X, Y and Z were
 20      actually already admitted.
 21                    MS. TIDABACK:            Oh, okay.
 22                    JUDGE MORAN:           Who admitted that?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1128    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 194


  1                    MS. SMITH:          I don't know, but they
  2      were -- I can tell you.                Hold on.        These were
  3      admitted over objection on Wednesday.                        I think it
  4      might have been the witness that was seated at the
  5      time.
  6                    JUDGE MORAN:           Okay.      So I overruled your
  7      objection and admitted those?
  8                    MS. SMITH:          Yes.
  9                    JUDGE MORAN:           Well, that was prescient
 10      of me because I knew this would happen.
 11                    MS. TIDABACK:            Okay.
 12                    JUDGE MORAN:           I'm kidding.           Okay.      So
 13      you can still ask these questions, though.
 14                    MS. TIDABACK:            Okay.
 15                    JUDGE MORAN:           So RX, Y and Z are
 16      admitted or have been admitted.                     And so the second
 17      one, RY, do you recognize that exhibit, Mr.
 18      Tidaback?
 19                    THE WITNESS:           Yes, your Honor.
 20                    BY MS. TIDABACK:
 21             Q      Can you identify what this document is
 22      for?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1129    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 195


  1             A      Yes.      This is the hiring offer letter
  2      dated November 4 for Richard McCullen for the
  3      production shift lead.
  4             Q      Okay.       Thank you.         And then let's see.
  5      Onto the next page which is Exhibit RZ --
  6             A      Yes.
  7             Q      -- are you there?              Okay.
  8                    JUDGE MORAN:           Recognize that exhibit?
  9                    THE WITNESS:           Yes, yes.
 10                    BY MS. TIDABACK:
 11             Q      Do you recognize it?                Oh, go ahead.
 12      Could you, please, identify what this document is
 13      for us?
 14             A      Yes.      This is the same.              This is an
 15      offer letter for Alex Nigrass who's the production
 16      coordinator dated or -- his start date was 20
 17      March of 2023.
 18                    JUDGE MORAN:           And you're doing a fine
 19      job.    This must be a bit of a stressful situation
 20      for you.      I just want to reassure you, you're
 21      doing a fine job.            You're asking professional
 22      questions, so that's fine.                 Keep it up.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1130    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 196


  1                    MS. TIDABACK:            Oh, okay.        Thank you.
  2                    BY MS. TIDABACK:
  3            Q       Would these documents serve as proof
  4      that we had -- that American Tripoli had
  5      intentions to hire another person in place of Mr.
  6      Baumann?
  7            A       That is correct.             We do not have to
  8      shift-lead positions.
  9                    JUDGE MORAN:           Okay.
 10                    BY MS. TIDABACK:
 11            Q       Thank you.          So your character or
 12      leadership style was brought up in a couple
 13      testimonies from yesterday.                  As an owner, how do
 14      you perceive your leadership style and its impact
 15      on company culture?
 16            A       That's a great question.                  My experience
 17      with leadership deals with ethos.                      You are hired
 18      in a paid position to perform a role at an agreed
 19      responsibility, position description, pay rate,
 20      paid at a certain date and time or events, and you
 21      are expected to accomplish that mission as well as
 22      support the organization that you are working for


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1131    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 197


  1      or getting paid as a result.
  2            Q       Okay.       And would you identify any
  3      specific type of leadership style you have?
  4            A       The hierarchy structure, that's
  5      military-based.           It's also in many of the large
  6      organizations worldwide, even MSHA, the federal
  7      government.        There's a hierarchy structure that
  8      should be followed.
  9            Q       Okay.       Thank you.         How do you and other
 10      leaders within the company work to maintain morale
 11      and a positive work environment despite stresses
 12      such as MSHA compliance and high-employee
 13      turnover?
 14            A       Open communication is how we want
 15      American Tripoli to feel.                 We don't want anybody
 16      to be afraid to come forward and say something to
 17      -- to anybody.          That's why open communications
 18      because even in Teams, they are -- they are --
 19      they have the ability to create a private chat
 20      with just you, and no one else would see that chat
 21      so that you can communicate freely in that, and we
 22      established that even in the hiring process.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1132    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 198


  1                    In the interview process, that is
  2      actually discussed.             So that's -- that's why we
  3      want the morale that we are there as a team to get
  4      things done, and we -- it is not a one-man show.
  5      It requires us all to get things done.
  6            Q       Okay.       Thank you.         So on the topic of
  7      MSHA, can you describe your involvement in any
  8      inspections?
  9            A       There were a few inspections I walked
 10      around with the inspectors.                  That was early --
 11      early, you know.           It's not all the time.                 We're
 12      not there all the time.                So when they were there,
 13      I'm there to ask questions because, you know, I'm
 14      new to MSHA, and I'm trying to learn why we're
 15      getting citations, you know.                   What is -- Where is
 16      the fault so we can fix the problems so we don't
 17      have these again?            So that was my involvement with
 18      the MSHA inspections.
 19            Q       Thank you.          Can you describe your
 20      thoughts on a miner's involvement in MSHA
 21      inspections?
 22            A       Yes.      Part of the MSHA training, you


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1133    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 199


  1      know, miners have the rights, and -- and they're
  2      allowed to talk to and walk with MSHA inspectors.
  3      There's been numerous times that -- upon my
  4      personal observation that MSHA will be talking to
  5      R.J., which happens to be one of the mill
  6      associates, or talking with Rob or talking with a
  7      safety person at the time or talking even with the
  8      truckers that pick up our workloads.                        They would
  9      ask them questions.
 10                    No one stopped anybody.                  That was --
 11      that was not -- That is today still not anything
 12      that is not accepted or is normal.                      We don't -- We
 13      don't stop anybody from talking to an MSHA
 14      inspector, so it's free, open communication.
 15            Q       Do you feel that you are telling miners
 16      that they cannot speak with an MSHA inspector?
 17            A       No, never.
 18            Q       Do you feel that by stating the Miranda
 19      rights and that MSHA uses this is wrong?
 20            A       That's a great question.                  In learning
 21      this process, in our initial conversations with
 22      Mr. Markeson, during one of the debriefs, I had


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1134    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 200


  1      asked him, "I see that you're making notes.                            What
  2      are the notes for?"             You know, being a digital
  3      world, we keep everything digital, so I'm trying
  4      to figure it out.            He told us in that --
  5                    MS. O'REILLY:            I'm going to object as to
  6      hearsay, although I know we have somebody right
  7      here to hearsay.           But, you know, Ms. Markeson was
  8      here.     And if Mr. Tidaback had questions about his
  9      notes or his conversation that he had with him, he
 10      had the opportunity to ask him when he was here.
 11                    THE WITNESS:           And I did.
 12                    JUDGE MORAN:           Okay.      Well, then if
 13      you've already asked him questions about that,
 14      then you're now reiterating --
 15                    THE WITNESS:           We have.
 16                    JUDGE MORAN:           -- and they were --
 17      assuming that that's correct, that representation
 18      that he asked him about this.
 19                    MS. SMITH:          He asked him about some
 20      conversations that they had, and Mr. Markeson said
 21      "no" to the question.
 22                    MS. TIDABACK:            Or he doesn't recall.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1135    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 201


  1                    THE WITNESS:           Not -- Yeah, not specific
  2      questions.
  3                    MS. TIDABACK:            Yeah.
  4                    JUDGE MORAN:           Okay.      I do have a problem
  5      with you testifying about this given the remark by
  6      Attorney Smith, but -- so I'm going to hear a
  7      little bit of it.            And then I -- if you have a
  8      problem with it, I'm assuming you're going to
  9      stand up and object further.
 10                    MS. SMITH:          Sure.
 11                    THE WITNESS:           So --
 12                    JUDGE MORAN:           All right.         Just to recap
 13      here, we'll reverse the tape, so to speak.                           You're
 14      telling me that -- This is my paraphrasing.                            You
 15      have questions or concerns because you see
 16      Inspector Markeson writing notes, and you asked
 17      him about that; is that right?
 18                    THE WITNESS:           I asked him about that.
 19                    JUDGE MORAN:           Okay.
 20                    THE WITNESS:           And his statement to us,
 21      teaching us why he was writing notes, stated that
 22      the operators' comments, which he stated


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1136    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 202


  1      yesterday, can be used against you.
  2                    JUDGE MORAN:           Okay.      So you assert he
  3      made that statement?
  4                    THE WITNESS:           Yes.
  5                    JUDGE MORAN:           All right.
  6                    THE WITNESS:           So I took that
  7      interpretation, basically, the Miranda rights,
  8      anything you say can and will be used against you
  9      in a court of law just as his notes or any
 10      inspectors' notes, as we are experiencing today,
 11      are being used against someone that says
 12      something.        So that is why that is communicated.
 13                    JUDGE MORAN:           Okay.      Well, just -- There
 14      wasn't a further objection, and that's fine.                             I
 15      wasn't saying there should have been, but I just
 16      want you to know that your impression about that
 17      this is akin to the Miranda rights are not -- I'm
 18      not buying into any of that, okay?                      You asked him
 19      a question about why he takes notes, and you
 20      assert that he said something about notes can be
 21      used against a mine operator.                   He told you that?
 22                    THE WITNESS:           Oh, yes.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1137    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 203


  1                    JUDGE MORAN:           Okay.      Well, that may be
  2      true.     I don't know.           I'm -- I'm outside of the
  3      ballpark right now when I'm hearing about this in
  4      terms of remember at the beginning of the
  5      proceeding what I'm focusing on?
  6                    THE WITNESS:           Um-hum.
  7                    JUDGE MORAN:           This is about Mr. Baumann
  8      and whether he was fired for -- after engaging in
  9      protected activity, if I make findings of fact
 10      based on the record that there was protected
 11      activity.       And the thrust of your case has been
 12      not directed at that but that there was the second
 13      at bat, as I termed it at the beginning of this
 14      proceeding, which is that you would have fired him
 15      in any event because of improper or insufficient
 16      performance of his duties as the production
 17      supervisor.        Am I using the right title?
 18                    THE WITNESS:           Production lead.
 19                    MS. TIDABACK:            Shift lead.
 20                    THE WITNESS:           Shift lead.
 21                    JUDGE MORAN:           Shift lead?
 22                    MS. TIDABACK:            Yes, sir.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1138    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 204


  1                    JUDGE MORAN:           I'll rely upon the
  2      transcript.        Don't worry if I -- if I
  3      mischaracterize the job title.                    It's all in the
  4      record, and that's the one I'll use when I write
  5      my decision.         Okay.      Do you have a question about
  6      this?
  7                    MS. TIDABACK:            Yes.
  8                    BY MS. TIDABACK:
  9            Q       So do you feel you have discriminated
 10      against any miner at American Tripoli?
 11            A       Never.
 12            Q       Do you have problems with people
 13      bringing you safety concerns?
 14            A       No.     Actually, we promote that they
 15      bring us safety concerns.
 16            Q       Did you receive safety concerns from Rob
 17      in any fashion, whether it be a phone call or a
 18      chat, that you recall?
 19            A       That I recall, no.
 20                    JUDGE MORAN:           Okay.      So your testimony
 21      is you never received any communication from Mr.
 22      Baumann about the broad topic of safety concerns.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1139    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 205


  1      That's your testimony?
  2                    THE WITNESS:           In the numerous
  3      communications that we had, I do not recall any
  4      specific safety-relatable concerns from Mr.
  5      Baumann, no.
  6                    JUDGE MORAN:           Okay.
  7                    BY MS. TIDABACK:
  8            Q       Have you ever communicated it to miners
  9      that if something is not getting resolved by their
 10      manager, then they should use the hierarchy and go
 11      to you?
 12            A       That is correct.
 13            Q       Okay.
 14            A       We establish that with every single
 15      employee that comes along because I want them to
 16      know that it is an open-communication company.
 17            Q       What would be the first question you
 18      would ask them if they brought something to you?
 19            A       "Have you spoken with -- about this with
 20      your supervisor?"
 21            Q       Okay.
 22            A       And Mr. Baumann did not.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1140    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 206


  1            Q       Okay.       Do you feel any angst against Mr.
  2      Baumann?
  3            A       None at all.
  4            Q       All right.          Do you -- Do you wish any
  5      harm towards Mr. Baumann because of any of this
  6      going on?
  7            A       Not at all.          I understand in my
  8      interpretation of the overall picture of
  9      everything that we're trying to provide the Court
 10      that Mr. Baumann was influenced by a vindictive
 11      MSHA inspector, and his --
 12                    MS. SMITH:          Objection --
 13                    JUDGE MORAN:           I -- I -- Yes.            I
 14      absolutely sustain the objection.
 15                    THE WITNESS:           So I --
 16                    JUDGE MORAN:           Did you understand?               I've
 17      --
 18                    THE WITNESS:           Yes, sir.
 19                    JUDGE MORAN:           -- terminated that
 20      response.       So if there's another question from
 21      Jordan Tidaback, we'll listen to that.
 22                    THE WITNESS:           Very good.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1141    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 207


  1                    JUDGE MORAN:           That wasn't an opportunity
  2      -- an invitation for you to continue.
  3                    THE WITNESS:           Oh, sorry, your Honor.
  4                    BY MS. TIDABACK:
  5            Q       Okay.       So taking that into
  6      consideration, can you advise us as to why you
  7      feel Mr. Baumann filed this complaint?
  8                    MS. SMITH:          I'm going to object as to
  9      asking why he filed the complaint.
 10                    JUDGE MORAN:           That objection is
 11      sustained.
 12                    MS. TIDABACK:            Okay.      I'll move on.
 13                    THE WITNESS:           Do I --
 14                    BY MS. TIDABACK:
 15            Q       No.     I'll ask.         To your knowledge, are
 16      written counseling statements required by law, at
 17      least Missouri law?
 18            A       No.     In many, many companies, there
 19      aren't counseling statements.                   They can all be
 20      verbal.      It's based on the policy of that company.
 21            Q       Okay.
 22                    JUDGE MORAN:           And just for the


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1142    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 208


  1      edification of the respondents, I'm not -- my
  2      decisions and, in fact, no discrimination
  3      complaint under the Mine Act is bound by the
  4      particular rules of the given state.                        I explained
  5      at the beginning the ground rules long established
  6      by the Commission in establishing discrimination
  7      complaints and what -- what's required, okay.                             So
  8      it's interesting that he said that but not
  9      something that's going to weigh in my decision --
 10                    THE WITNESS:           Yeah.
 11                    JUDGE MORAN:           -- in any manner because
 12      it would be inappropriate for me to do that.                             If
 13      we had -- If you think about it, if you had an
 14      arrangement about that, the application of the
 15      Mine Act could vary from state to state.                          You
 16      can't have that.
 17                    MS. TIDABACK:            Um-hum.
 18                    THE WITNESS:           So am I correct?             We're
 19      just trying to answer the three or the two
 20      allegations?
 21                    JUDGE MORAN:           No.     You have to do the
 22      question-and-answer format --


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1143    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 209


  1                    THE WITNESS:           Oh, okay.
  2                    JUDGE MORAN:           -- which you have
  3      succeeded to by having your daughter ask these
  4      questions.
  5                    MS. TIDABACK:            Okay.      Let's see.         I -- I
  6      guess the reasoning for that question was because
  7      it was brought up.
  8                    JUDGE MORAN:           You were talking --
  9      Remember, you were just talking about state law
 10      and how that's very different.                    I would agree with
 11      that, but that's not what controls my
 12      decision-making process at all.
 13                    MS. TIDABACK:            Okay.      Understood.
 14                    JUDGE MORAN:           And just -- I couldn't
 15      think of the name for a second, but it's known as
 16      the Pasula-Robinette test.                 And when I issued one
 17      of my orders, I referenced that case with a
 18      citation to the Commission decisions, plural, that
 19      habitually refer to it and have not changed over
 20      decades, okay?
 21                    MS. TIDABACK:            Okay.
 22                    JUDGE MORAN:           So it's long-established


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1144    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 210


  1      law.
  2                    MS. TIDABACK:            Okay.
  3                    JUDGE MORAN:           Super precedent --
  4      precedent to use a Summerton news reference.                             That
  5      might not be appreciated except by the attorneys
  6      in the room.
  7                    BY MS. TIDABACK:
  8             Q      Okay.       Let's see.         Please advise on your
  9      opinion of Mr. Baumann's deficiency on
 10      housekeeping.
 11             A      One, the citation violations, the record
 12      of it shows it.           I do believe that the Secretary
 13      has that information presented in her exhibits as
 14      well.
 15             Q      Okay.       Could you, please, advise us on
 16      what the purpose of hiring a production
 17      coordinator was for?
 18             A      The hiring of the production coordinator
 19      was to assist, was to take some of the
 20      responsibilities off of the shift lead, Mr.
 21      Baumann, because his performance was not -- he was
 22      not doing well.           So we were trying to, how can we


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1145    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 211


  1      fix the problem?           And we hired the production
  2      coordinator assistant position for that purpose.
  3             Q      Let's see.          Were you ever informed that
  4      Rob was a miners' rep?
  5             A      No.
  6             Q      Okay.
  7             A      Was not aware until we received the
  8      complaint.
  9             Q      May we, please, turn to Exhibit RJJ?
 10                    JUDGE MORAN:           RJJ, sure.
 11                    BY MS. TIDABACK:
 12             Q      Yes, sir.         Will you let me know when you
 13      get there, Mr. Tidaback?
 14             A      Yes.
 15             Q      Could you, please --
 16                    JUDGE MORAN:           RJJ then is the last one,
 17      right?
 18                    MS. TIDABACK:            Yes, sir.        It is the last
 19      one.
 20                    JUDGE MORAN:           Okay.      So go ahead there,
 21      Ms. Tidaback.
 22                    BY MS. TIDABACK:


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1146    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 212


  1            Q       Mr. Tidaback, could you, please,
  2      identify what this document is for us?
  3            A       This looks like an e-mail chain.                       The
  4      last e-mail dated November 13th, 2023, was to Mr.
  5      Randall Boyd which appears to be the supervisor of
  6      special investigations.
  7            Q       Can you --
  8            A       And in this e-mail, it appears that I
  9      sent him an e-mail on the 13th that he responded
 10      to.   And I asked, "Is there anyone" --
 11                    Let's see here.             So the bottom of page 1
 12      from Russell Tidaback to Mr. Boyd Randall, and in
 13      the question underneath the caution block, it
 14      states, "Thanks for the quick response but most
 15      likely to another question, previous e-mails.                             Is
 16      there anyone listed as a miners' rep?                        As I am
 17      aware of, there aren't."
 18                    And as you can see in his response to my
 19      question on Monday, November 13th, 2023, at 10:54
 20      in the morning, he stated, "No one was listed when
 21      I checked this morning."
 22            Q       Okay.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1147    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 213


  1             A      And then I responded to him saying,
  2      "Thanks.      Okay.       Thanks for letting me know.                    I
  3      was under the impression by an MSHA representative
  4      that we were not -- we did not have miners'
  5      representatives at that current time."                         I do
  6      believe in the e-mail it talks about previous --
  7      Yes.    On the second -- page 2, and this is
  8      probably what led up to the questions of why --
  9      Let's see here.           Okay.
 10                    So on page 2, it talks about, did -- at
 11      the bottom of the page underneath the caution box,
 12      Sunday, November 12th at 2 or -- November 12th,
 13      2023, 1:38 in the afternoon, I had asked Mr. Boyd,
 14      "Mr. Boyd, did Mr. Drake, Randy or Max contact
 15      you?"      I do believe that there was earlier
 16      communications with Mr. Boyd and -- we'll just
 17      stick to this document, Mr. Boyd about Mr. Drake
 18      -- Randy Drake and Max Drake which were American
 19      Tripoli's miner representatives before.                         They were
 20      listed as miners' representatives before, and I do
 21      -- There is also another document that the
 22      Secretary presented that actually shows their


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1148    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 214


  1      names on that document.
  2                    JUDGE MORAN:           Okay.      Let me just try and
  3      truncate this.          Mr. Tidaback, did at some point
  4      during Mr. Baumann's employment you -- did you
  5      become aware that he -- during his employment that
  6      he was a miners' rep?
  7                    THE WITNESS:           No, your Honor.
  8                    JUDGE MORAN:           All right.         So is it fair
  9      to state that according to your testimony, and I
 10      don't know whether you knew or not -- I don't want
 11      to imply by my asking these questions that that is
 12      -- impacts the matters I have to decide in this
 13      case.     All right.         I want to make -- underscore
 14      that.
 15                    But is it your testimony that as of the
 16      date that he was fired, and I guess the fancy term
 17      being he was terminated, which sounds worse than
 18      being fired, terminated, but as of the date that
 19      he was terminated that at that moment of
 20      termination and any time prior to that, you did
 21      not know in any shape, manner or form that Mr.
 22      Baumann was a miners' rep?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1149    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 215


  1                    THE WITNESS:           The first indication any
  2      that I was identified that Mr. Baumann was a
  3      miners' rep was the date that we received the
  4      complaint from MSHA.
  5                    JUDGE MORAN:           Okay.      And so could you
  6      try and -- I feel like we're on a Sunday talk news
  7      show --
  8                    THE WITNESS:           No.
  9                    JUDGE MORAN:           -- where you ask a
 10      politician a question and you get an answer, but
 11      it doesn't answer the question.
 12                    So as of the date of Mr. Baumann's
 13      termination, firing, did you know that he was a
 14      miners' representative?
 15                    THE WITNESS:           No, your Honor.
 16                    JUDGE MORAN:           And let me just go a
 17      little further with that.                 And when you say you
 18      did not know, are you restricting your answer to
 19      -- by answering "no," do you mean that you had no
 20      piece of paper or formal word from -- is that --
 21      are you restricting your answer to that?
 22                    THE WITNESS:           No -- No indication.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1150    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 216


  1                    JUDGE MORAN:           Of any kind?
  2                    THE WITNESS:           Any means at all.
  3                    JUDGE MORAN:           And that would include
  4      even a message from -- Mr. Baumann didn't inform
  5      you?
  6                    THE WITNESS:           No.
  7                    JUDGE MORAN:           That's correct?
  8                    THE WITNESS:           Yes, that is correct.                He
  9      did not.
 10                    JUDGE MORAN:           And Mr. Spears did not
 11      inform you?
 12                    THE WITNESS:           No.
 13                    JUDGE MORAN:           And any employee from your
 14      operation inform you --
 15                    THE WITNESS:           No.
 16                    JUDGE MORAN:           -- prior to his
 17      termination?
 18                    THE WITNESS:           No, your Honor.
 19                    JUDGE MORAN:           So you knew zero about
 20      this --
 21                    THE WITNESS:           Zero.
 22                    JUDGE MORAN:           -- until after he was


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1151    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 217


  1      terminated, and how soon after -- You said it was
  2      only when the complaint was filed that you learned
  3      he was the -- a miners' rep?
  4                    THE WITNESS:           Of the -- I -- The date
  5      that we received the complaint was the first ever.
  6                    JUDGE MORAN:           You said that.            Okay.      So
  7      it's after he was terminated?
  8                    THE WITNESS:           That is correct, your
  9      Honor.
 10                    JUDGE MORAN:           Okay.      Did you
 11      subsequently learn from Mr. Spears that -- or
 12      anyone else that they knew Mr. Baumann was a
 13      miners' rep before he was terminated?
 14                    THE WITNESS:           No, your Honor.
 15                    JUDGE MORAN:           Okay.      So -- so -- I'm
 16      talking about after the fact.                   He's now been
 17      terminated, and no one comes to you and says --
 18                    THE WITNESS:           No.
 19                    JUDGE MORAN:           -- "Well, you know,
 20      Russell," if I can be informal here --
 21                    THE WITNESS:           Yes.
 22                    JUDGE MORAN:           -- "Baumann was a miners'


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1152    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 218


  1      rep"?     You didn't --
  2                    THE WITNESS:           No, your Honor.
  3                    JUDGE MORAN:           You never learned that?
  4                    THE WITNESS:           No, your Honor, and I
  5      asked everybody on our --
  6                    JUDGE MORAN:           That answers my questions
  7      about that.
  8                    THE WITNESS:           Okay.
  9                    JUDGE MORAN:           Do you have other
 10      questions to ask?
 11                    MS. TIDABACK:            Yes, sir.
 12                    JUDGE MORAN:           Let me just -- I'm going
 13      to pause for a moment, okay?                   We're coming up at
 14      12:28, okay.         And so -- And, again, I'll tell you.
 15      I ask this of everybody.                This is not directed or
 16      a different rule book for you people, the
 17      respondents, than it is for the Secretary.                           Do you
 18      understand?
 19                    MS. TIDABACK:            Yes, sir, I understand.
 20                    JUDGE MORAN:           Can you give me an
 21      estimate of how much longer you will need, an
 22      estimate to conduct your direct examination of


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1153    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 219


  1      your father, Russell Tidaback?
  2                    MS. TIDABACK:            I have six questions
  3      left, but he's the long-winded one.                       I'm not, so
  4      may I ask him?
  5                    JUDGE MORAN:           Well, no.         You --
  6                    MS. TIDABACK:            I can't.        Okay.
  7                    JUDGE MORAN:           That's fine.           You have six
  8      questions, and you can't predict how long he'll
  9      take to answer them.              Well -- And I may have to
 10      cut off the answers if he goes into -- beyond left
 11      field, out of the stadium itself, to use that
 12      analogy, okay?
 13                    MS. TIDABACK:            Yes, sir.
 14                    JUDGE MORAN:           Do you understand that?
 15                    MS. TIDABACK:            I do.
 16                    JUDGE MORAN:           Think of a baseball field,
 17      and you're in the parking lot.
 18                    MS. TIDABACK:            Yes, sir.
 19                    JUDGE MORAN:           Okay.      That's not the
 20      field.
 21                    MS. TIDABACK:            Yes, sir.
 22                    JUDGE MORAN:           All right.         Now I need


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1154    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 220


  1      some input from the parties.                   Do you want to take
  2      a half-an-hour break?
  3                    MS. SMITH:          If there's six questions
  4      left, it might be helpful to take those and then
  5      take our 30-minute break because that will allow
  6      us to streamline what we'll need to do for cross.
  7                    JUDGE MORAN:           Okay.      Is that acceptable
  8      to you?      How are you bearing up, Ms. Tidaback?
  9                    MS. TIDABACK:            Well, if it's okay, I
 10      would prefer to take a break now, but --
 11                    MS. SMITH:          That's fine with us.
 12                    JUDGE MORAN:           Okay.      So we're going to
 13      take a pause on the hearing.                   And before we do
 14      sign off for a minute with the court reporter, can
 15      we agree to resume at 1:00, 30 minutes?
 16                    MS. SMITH:          Yes.
 17                    JUDGE MORAN:           Is that sufficient for
 18      you, Ms. Tidaback?
 19                    MS. TIDABACK:            Yes, sir.        Thank you.
 20                    JUDGE MORAN:           All right.         Court
 21      reporter, hear that?
 22                    THE VIDEOGRAPHER:              Thumbs up.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1155    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 221


  1                    JUDGE MORAN:           Okay.      And so we'll see
  2      you in 30 minutes, and you'll resume.                        You said
  3      five or six questions to ask your father?
  4                    MS. TIDABACK:            Yes, sir.
  5                    JUDGE MORAN:           Okay.      So we're now going
  6      off the record.
  7                            (Recess)
  8                    JUDGE MORAN:           And so, Jordan Tidaback,
  9      are you still holding to you have five or six more
 10      questions to ask of your father?
 11                    MS. TIDABACK:            Yes, sir.        Yes.
 12                    JUDGE MORAN:           Okay.
 13                    MS. TIDABACK:            So to start, may we,
 14      please, turn to Exhibit P38?
 15                    JUDGE MORAN:           P38, sure.         And so, Mr.
 16      Tidaback, are you on P38?
 17                    THE WITNESS:           Yes, your Honor.
 18                    JUDGE MORAN:           Okay.      Thank you.          Go
 19      ahead with your question.
 20                    BY MS. TIDABACK:
 21            Q       Mr. Tidaback, is it correct that this is
 22      Rob's termination letter?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1156    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 222


  1            A       That is the termination letter that I
  2      signed, yes.
  3            Q       Okay.       Based on that, could you, please,
  4      identify who decided to fire Rob on the
  5      termination order?
  6            A       That was --
  7                    JUDGE MORAN:           I couldn't hear you.
  8                    BY MS. TIDABACK:
  9            Q       Oh.     Could you, please, identify who
 10      made the termination or -- who was on the
 11      termination letter down at the bottom?
 12            A       Yes.
 13            Q       You terminated him?
 14            A       I terminated him.              I'm the one that
 15      fired Mr. Baumann, yes.
 16            Q       Okay.       Thank you.
 17                    JUDGE MORAN:           And we -- That's admitted
 18      already, right, P38?
 19                    MS. SMITH:          Yes, your Honor.
 20                    JUDGE MORAN:           Great.
 21                    BY MS. TIDABACK:
 22            Q       Mr. Tidaback, do you recall any verbal


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1157    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 223


  1      counseling sessions with Mr. Baumann about raiding
  2      training files?
  3            A       Yes, numerous times, one specifically,
  4      and it was during the evening shift at that time
  5      with Mr. Baumann because it was a late evening for
  6      me, and I remember the phone call because Mr.
  7      Baumann was fairly new in the role.                       And we -- We
  8      talked about the training files and that he needed
  9      to read the files, all of them, so that he could
 10      be successful in his role so that we could
 11      progress him to become more than just his role,
 12      basically explaining that he had upward mobility.
 13      He just needed to become better at his role, and
 14      that was when he was starting to have issues in
 15      his role.
 16            Q       Okay.
 17            A       And my notes would show that in one of
 18      the exhibits.
 19                    JUDGE MORAN:           Okay.      Well, is that an
 20      exhibit that's been admitted?
 21                    THE WITNESS:           It is.       I don't recall if
 22      it has.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1158    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 224


  1                    MS. TIDABACK:            Let's see.
  2                    THE WITNESS:           We had discussed it
  3      earlier, and you said that I had to do it under
  4      cross or -- testimony, your Honor.                      That is why it
  5      may be brought up here, Exhibit RB.
  6                    JUDGE MORAN:           I -- I don't have -- I
  7      don't believe I admitted RB.
  8                    MS. SMITH:          That is correct.             It is not
  9      admitted.
 10                    MS. TIDABACK:            May it, please, be
 11      admitted?
 12                    JUDGE MORAN:           Do you want to ask your
 13      father questions about RB?
 14                    MS. TIDABACK:            Yes, sir.
 15                    BY MS. TIDABACK:
 16            Q       Could you, please, give us a description
 17      of what Exhibit RB is?
 18            A       RB is the notes that I and the
 19      supervisor keep on the individuals in certain
 20      positions, and this one happens to be for Mr.
 21      Baumann.      And it runs from July 26, 2022, through
 22      17 April of 2023.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1159    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 225


  1                    Now -- Now, I will admit, the Secretary,
  2      she didn't like them, that I added it or -- added
  3      more to it after she received a copy, and I
  4      understand that.           The additions -- now that I'm
  5      thinking about it since that's where all my notes
  6      go, so anything added after -- I don't know.                             That
  7      would be -- Yeah.            So that would be after whatever
  8      the Secretary was given is what I would say would
  9      be what I would want to have in exhibits.                           Is that
 10      -- Is that fair to say?
 11                    JUDGE MORAN:           Okay.      Well, let's --
 12      let's nail this down a little bit.
 13                    MS. TIDABACK:            Okay.
 14                    JUDGE MORAN:           RB, okay, I just got it --
 15                    THE WITNESS:           Yes, your Honor.
 16                    JUDGE MORAN:           -- is a three-page
 17      exhibit.      Do you agree with that, Mr. Baumann, I
 18      mean, Mr. Tidaback?
 19                    THE WITNESS:           Yes, your Honor.
 20                    JUDGE MORAN:           Okay.      And at the top of
 21      the first page, it begins with your name -- with
 22      Mr. Baumann's name?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1160    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 226


  1                    MS. TIDABACK:            Yes, sir.
  2                    THE WITNESS:           Correct.
  3                    JUDGE MORAN:           Excuse me.         And it's dated
  4      Thursday, April 27th -- April 27th --
  5                    MS. TIDABACK:            Um-hum.
  6                    JUDGE MORAN:           -- 2023 at 7:13 p.m.
  7                    THE WITNESS:           The document date there,
  8      your Honor, doesn't -- it's a Team -- it's a
  9      Microsoft --
 10                    MS. TIDABACK:            Notes.
 11                    THE WITNESS:           -- Notes page that gets
 12      updated by the -- I have it in my folder on my
 13      thing, is a wipable notebook where I make my
 14      notes.     And at the end of the day, they get
 15      transcribed into one note.
 16                    JUDGE MORAN:           Okay.
 17                    THE WITNESS:           It's very --
 18                    JUDGE MORAN:           I'm not challenging that,
 19      but the -- let's just note for the record what
 20      this exhibit --
 21                    THE WITNESS:           Yes.
 22                    JUDGE MORAN:           -- is about.           Now, you've


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1161    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 227


  1      told me, Mr. Tidaback, that these are your
  2      personal notes about Mr. Baumann; is that right?
  3                    THE WITNESS:           That is correct.             I refer
  4      back to these type of notes for any type of bonus
  5      pay or progression to the next position, stuff
  6      like that.
  7                    JUDGE MORAN:           Okay.      So just so we
  8      understand what's in this exhibit, it's three
  9      pages, not three full pages.                   The first entry on
 10      page 1 is 26 July 2022, and the last -- the last
 11      entry is 17 April 2023.
 12                    THE WITNESS:           Right.
 13                    JUDGE MORAN:           Do we agree about that?
 14                    THE WITNESS:           Correct.
 15                    MS. TIDABACK:            Oh, yes, sir.
 16                    JUDGE MORAN:           Okay.      And are you moving
 17      for admission of these notes?
 18                    MS. TIDABACK:            Yes, sir.
 19                    JUDGE MORAN:           Do you have an objection
 20      to this?
 21                    MS. SMITH:          Yes, we -- we do.             As Mr.
 22      Tidaback testified, this document was not provided


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1162    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 228


  1      to us.     A version of this document was provided to
  2      MSHA during their inspection.                   However, the
  3      document has been modified since then that they're
  4      offering here as an exhibit.
  5                    Also, Mr. Tidaback puts in his cover
  6      page to his exhibit binder that this document is
  7      -- is an ongoing journal.                 And so it's not clear
  8      when this document was last updated or even the
  9      date here at the top here.                 It was after Mr.
 10      Baumann's termination, and so we object to the
 11      reliability and authenticity of this document and
 12      that it does vary from what was provided to the
 13      MSHA inspector during the investigation.
 14                    MS. TIDABACK:            Ongoing means its
 15      multiple dates.           It's not just one date.
 16                    JUDGE MORAN:           You can't testify either.
 17      You just --
 18                    MS. TIDABACK:            Oh, I'm testifying?
 19                    THE WITNESS:           She knew what I was going
 20      to say.
 21                    MS. TIDABACK:            Sorry.
 22                    JUDGE MORAN:           Do you have telepathy


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1163    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 229


  1      going on here?
  2                    THE WITNESS:           We work so well together,
  3      your Honor.        Sometimes, yes, we do.
  4                    JUDGE MORAN:           Okay.      Here's my ruling.
  5                    MS. TIDABACK:            Yes, sir.
  6                    JUDGE MORAN:           I'm going to allow Exhibit
  7      RB into the record and either Attorney Smith, who
  8      just spoke, or Attorney O'Reilly and -- deal with
  9      questions about this during cross-examination of
 10      Mr. Tidaback, all right?
 11                            (Respondent's Exhibit R-B was
 12                            marked for identification and
 13                            received in evidence.)
 14                    MS. SMITH:          We have the document that
 15      was originally provided to MSHA during its
 16      inspection.
 17                    JUDGE MORAN:           Yes.
 18                    MS. SMITH:          And what we'd like to do, if
 19      now is the appropriate time, move to admit it for
 20      the limited purpose of just, you know, impeaching
 21      the credibility of the document that's been
 22      admitted as RB.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1164    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 230


  1                    JUDGE MORAN:           Absolutely.          This is
  2      something that you have not -- For this limited
  3      purpose, this is not something I have until now?
  4                    MS. SMITH:          Correct.        We'd have to mark
  5      it and identify it as a new exhibit now.
  6                    JUDGE MORAN:           Okay.      Well, we'll do that
  7      during cross-examination, all right?
  8                    MS. SMITH:          Okay.      Thank you.
  9                    JUDGE MORAN:           All right.
 10                    THE WITNESS:           Yes.
 11                    JUDGE MORAN:           Any other questions about
 12      RB which I've admitted?
 13                    MS. TIDABACK:            No, sir, not at this
 14      time.
 15                    JUDGE MORAN:           All right.
 16                    BY MS. TIDABACK:
 17            Q       Let's see.          Okay.      If -- Okay.          I'm just
 18      going to read it.            If someone was excellent at
 19      multiple parts of their job but lacked in one
 20      area, do you think you would terminate them?
 21            A       If they were successful at multiple
 22      parts of their job, so they were doing poorly at


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1165    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 231


  1      just one part?
  2            Q       Yes, sir.
  3            A       No.
  4            Q       Okay.       On the other hand, if someone
  5      lacked in multiple areas but may have been good in
  6      one area, do you think you would terminate them?
  7            A       So they were poor in multiple areas but
  8      good in one?
  9            Q       Yes, sir.
 10            A       Yes.
 11            Q       Okay.       Could you, please, tell us the
 12      purpose of hiring a safety specialist.
 13            A       To keep us in compliance with MSHA and
 14      to keep the miners safe and operation safe, et
 15      cetera.
 16            Q       Okay.       So why would American Tripoli
 17      hire someone specific to the safety role for the
 18      company?      I'll end it at that.                Why --
 19            A       Yeah.       So why would we hire somebody in
 20      the safety role would be to keep everyone safe.
 21      We wouldn't necessarily need another miner trying
 22      to do that role, especially when they're


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1166    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 232


  1      struggling in their own role.
  2            Q       Okay.       So would you argue that hiring a
  3      safety person means that we do prioritize safety
  4      and compliance?
  5            A       Oh, yes.         So I spent 13 years as an OSHA
  6      inspector for the Department of Defense, the
  7      Oklahoma Military Department, the Army or -- U.S.
  8      Army Aviation Center.              I did a lot of accident
  9      investigations.           Safety is very important to me.
 10      If you've ever dealt with aviation, you would
 11      understand that.
 12            Q       Okay.       Is it correct that we have
 13      maintenance days every Wednesday on top of
 14      maintenance as needed?
 15            A       That is correct.             If I remember
 16      correctly, during Mr. Baumann's tenure, every
 17      Wednesday between 8 and noon was scheduled
 18      maintenance.         That is when they scheduled no
 19      production.        And then every other Friday, there
 20      was a -- there was time allowed in the schedule
 21      for the full day every other Friday and then any
 22      other time that Mr. Baumann was in a position of


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1167    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 233


  1      shift lead or Mr. Spears logically would say, "We
  2      need more production time, or we need more
  3      maintenance time, we need to change filters,
  4      replace bearings," stuff like that, yes.
  5            Q       Okay.       So just to follow on that, since
  6      you brought up a good point, would you hold it
  7      against anyone at American Tripoli if we were down
  8      for maintenance or down for an MSHA shutdown of
  9      the production pounds as they've --
 10            A       No, because if we're shut down by MSHA,
 11      we can't -- we have to follow the guidelines of
 12      MSHA.     So why would anybody get counseled for
 13      being down for MSHA?              That's -- Yes.
 14            Q       Okay.       Thank you.         And just to wrap it
 15      up with a few clarifying questions, looking at the
 16      court complaint, do you feel any roles that you --
 17      that you did not discriminate against any miner or
 18      --
 19            A       I --
 20            Q       -- any particular activity?
 21            A       I do not feel that the company or myself
 22      discriminated against anyone or anything related


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1168    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 234


  1      to MSHA, especially their protected rights.
  2            Q       Okay.       Did you ever stop anyone from
  3      walking or talking with MSHA?
  4            A       No.     We actually encouraged it.
  5            Q       And just to clarify, did you know Mr.
  6      Baumann was a miners' rep before he was
  7      terminated?
  8            A       No, I did not.
  9            Q       Okay.       And then my final question, was
 10      Mr. Baumann fired about asking for compensation?
 11            A       No.     We were actually having that
 12      discussion at the same time --
 13            Q       Okay.
 14            A       -- with Mr. Markeson.
 15                    MS. TIDABACK:            Okay.      Your Honor, that
 16      concludes my questions.
 17                    JUDGE MORAN:           Okay.      Are you ready for
 18      cross-examination?
 19                    MS. SMITH:          Yes, we are.
 20                    CROSS-EXAMINATION
 21                    BY MS. SMITH:
 22            Q       Just briefly, during your testimony, you


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1169    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 235


  1      testified as to Exhibit RJJ.                   I'd like you to turn
  2      to that page, please.
  3                    COURT REPORTER:             Can I clarify who's
  4      questioning?
  5                    MS. SMITH:          This is Elaine Smith.
  6                    JUDGE MORAN:           Thank you, Court Reporter.
  7      RJJ; is that right?
  8                    MS. SMITH:          Yes.
  9                    JUDGE MORAN:           Which is the last exhibit
 10      in that binder.
 11                    BY MS. SMITH:
 12            Q       Yes.      Are you there, Mr. Tidaback?
 13            A       Yes, I am.
 14            Q       And I'll draw your attention to the top
 15      of this e-mail that you discussed during your
 16      testimony.        Would you agree with me that the date
 17      of this e-mail is Monday, November the 13th of
 18      2023?
 19            A       Which e-mail since it's multiples?
 20            Q       The top e-mail.
 21            A       From myself to Mr. Boyd?
 22            Q       Yes.      The e-mail at the top of the page,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1170    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 236


  1      is that e-mail dated Monday, November 13th of
  2      2023?
  3            A       At 11:01:39 a.m.?
  4            Q       Is that "yes"?
  5            A       Yes.
  6                    MS. SMITH:          Your Honor, may I approach
  7      the witness?
  8                    JUDGE MORAN:           Yes.      Is this in reference
  9      to the document you were talking about earlier?
 10                    MS. SMITH:          Yes, your Honor.
 11                    JUDGE MORAN:           Okay.
 12                    MS. SMITH:          I'm going to ask him to
 13      identify it.         Would you like a copy now or --
 14                    JUDGE MORAN:           I would.        I would like a
 15      copy now.       Thank you.
 16                    BY MS. SMITH:
 17            Q       Mr. Tidaback, I've handed you a document
 18      I've identified as P45.                Do you recognize this
 19      document?       I'll hand this to you.
 20            A       Yes.      It appears to be an e-mail from
 21      myself to Mr. Dillingham, cc'ing John Spears,
 22      Jordan Tidaback and myself, in regards to Mr.,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1171    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 237


  1      let's see, Larkins -- Mr. Larkins, Adam, cc'ing
  2      John Spears, Jordan Tidaback and myself requesting
  3      -- Mr. Dillingham was requesting -- Oh, excuse me.
  4      That wasn't actually to Mr. Larkins.
  5                    JUDGE MORAN:           You have to speak up, sir.
  6                    THE WITNESS:           That wasn't to Mr.
  7      Larkins, the second e-mail in that paragraph, but
  8      it does appear to be the correspondence between
  9      myself and Mr. Dillingham.
 10                    BY MS. SMITH:
 11            Q       I'm going to direct your attention to
 12      the first page of this document at the top.                            And
 13      it says "from," and then it says "Russell
 14      Tidaback," and it says "rtidaback@ddco.com."                             Is
 15      that your address?
 16            A       Yes.
 17            Q       Is that your e-mail address?
 18            A       One of the many, yes.
 19            Q       And then you sent this e-mail to a Mr.
 20      Michael Dillingham.             Do you agree with that?
 21            A       That's what it shows, yes.
 22            Q       And Mr. Dillingham is the special


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1172    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 238


  1      investigator of the complaint we've been
  2      discussing this week?
  3            A       Correct.
  4            Q       And this e-mail, as you flip through it,
  5      was in response to documents that Mr. Dillingham
  6      had requested during his investigation of Mr.
  7      Baumann's complaint?
  8            A       It appears -- And I would have to verify
  9      all the details, but it appears that way, yes.
 10            Q       If you could turn to page 2, and, again,
 11      at the top of this document, it says "from."                             And,
 12      again, it lists your e-mail address,
 13      rtidaback@ddco.com; is that correct?
 14            A       It appears out of sequence because the
 15      first page is May 10th.                The --
 16                    JUDGE MORAN:           No, no.        The question --
 17      that's not -- She's not asking you about sequence.
 18                    THE WITNESS:           Oh.
 19                    JUDGE MORAN:           She's asking you to
 20      identify page 2 of Exhibit --
 21                    MS. SMITH:          P43.
 22                    JUDGE MORAN:           -- P45.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1173    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 239


  1                    MS. SMITH:          P45.     Excuse me, your Honor.
  2                    JUDGE MORAN:           Yes.      So without talking
  3      about your critique of sequence, does it -- does
  4      it indicate what counsel for the Secretary, Ms.
  5      Smith, just said, May 14th -- Sunday, May 14th at
  6      12:43 from you to Mr. Dillingham?                      Is that what
  7      that page is about?
  8                    THE WITNESS:           Can you ask your question
  9      again?
 10                    BY MS. SMITH:
 11            Q       Yes.      Is this your e-mail address at the
 12      top, rtidaback@ddco.com?
 13            A       Yes.
 14            Q       And, again, you're sending this e-mail
 15      to Mr. Michael Dillingham; is that correct?
 16            A       Yes.
 17            Q       And further down at the top of this page
 18      in the header section, it says the word
 19      "Attachments."          Do you see that?
 20            A       Yes.
 21            Q       And can you locate in that Attachment
 22      section where it says the attachment Rob space


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1174    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 240


  1      Baumann space hyphen space notes dot PDF.
  2            A       Correct.
  3            Q       I'm going to direct your attention to
  4      the body of the e-mail address or -- the e-mail of
  5      this page.        There's a No. 3.             Do you see that?
  6            A       Where it starts --
  7            Q       With the No. 3.
  8            A       Referring to the statement below?
  9            Q       Yes.      Are you there?
 10            A       Yes, ma'am.
 11            Q       I'm going to direct your attention to
 12      the second sentence that starts with, "I have
 13      attached."        Please let me know when you're there.
 14            A       Yes.
 15            Q       This states, "I have attached a copy of
 16      the employee notes journal paren Rob Baumann space
 17      hyphen space notes dot PDF closed paren that I
 18      maintain on each employee."                  Did I read that
 19      correct?
 20            A       Yes.
 21            Q       I'm going to ask you to turn to pages 7,
 22      8 and 9 of this document.                 They're numbered on the


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1175    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 241


  1      bottom right-hand side.                Are you there?
  2            A       Yes, ma'am.
  3            Q       Do you recognize the pages identified as
  4      7, 8 and 9 as the document that was referred to in
  5      the e-mail, Rob Baumann hyphen notes dot PDF?
  6            A       Without looking at that e-mail, I
  7      wouldn't -- wouldn't know.
  8            Q       Do these -- Do you recognize these to be
  9      the notes that you provided Mr. Dillingham
 10      regarding Rob Baumann during Mr. Dillingham's
 11      investigation of the complaint?
 12            A       Without looking at that e-mail to verify
 13      it, no, I wouldn't.
 14            Q       What part of that e-mail is it that you
 15      need to look at to verify?
 16            A       To verify what attachments.
 17                    JUDGE MORAN:           You have to keep your
 18      voice up.       To verify what?
 19                    THE WITNESS:           The attachments.             Oh,
 20      sorry.     This one, the attachments.                   I would need
 21      to verify the attachments to verify what was
 22      attached.       I can't assume that this was.                     I don't


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1176    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 242


  1      know.
  2                    BY MS. SMITH:
  3            Q       Is there anything about the documents in
  4      7, 8 and 9 that you would believe are not your Rob
  5      Baumann notes that you provided to Mr. Dillingham?
  6            A       Without verification, I just couldn't
  7      verify that.
  8            Q       All right.
  9                    JUDGE MORAN:           No, but that's a fair
 10      question for counsel to ask.
 11                    THE WITNESS:           Do I -- do I -- Can you
 12      ask it again?         I'm sorry.
 13                    BY MS. SMITH:
 14            Q       Is there anything about the document
 15      attached on pages 7, 8 and 9 that you do not
 16      recognize as the notes regarding Rob Baumann that
 17      you provided to Mr. Dillingham during his
 18      investigation of this matter?
 19            A       No.     I don't see anything that would say
 20      that it wouldn't be, but I don't -- I can't verify
 21      that.
 22                    MS. SMITH:          Your Honor, at this time,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1177    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 243


  1      we'd move to admit Exhibit P45 for the limited
  2      purpose of impeaching respondent's Exhibit RB.
  3                    JUDGE MORAN:           Is there any objection?
  4                    MS. TIDABACK:            I don't have the
  5      document.
  6                    THE WITNESS:           Oh, I see.
  7                    JUDGE MORAN:           The question on the table
  8      for you, Jordan Tidaback, is if you have an
  9      objection to the admission of this exhibit.
 10                    MS. TIDABACK:            I don't blatantly see why
 11      not.    No, sir, I don't.
 12                    JUDGE MORAN:           Okay.      P45 is admitted.
 13                            (Complainant's Exhibit P-45 was
 14                            marked for identification and
 15                            received in evidence.)
 16                    JUDGE MORAN:           You know, Counsel, you
 17      have to make sure that the respondent has a copy
 18      of this.
 19                    MS. SMITH:          She can keep that copy.
 20                    JUDGE MORAN:           Okay.      And when we
 21      conclude this proceeding, whether it's this week
 22      or next week, you'll have to -- in addition to


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1178    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 244


  1      courteously supplying, I appreciate this, the
  2      boxes of records that have been admitted in this
  3      record, you then have to send a second box of the
  4      exhibits to both sides to the Commission's
  5      Washington, D.C. address.                 I'll give you that in a
  6      conference call we'll have next week.
  7                    MS. SMITH:          Okay.      No problem.
  8                    JUDGE MORAN:           Because normally, what
  9      happens in these proceedings, just for the
 10      edification of people, because this is an unusual
 11      technical arrangement, the court reporter leaves
 12      in all -- every case I've ever had, actually,
 13      until this one, if it wasn't a virtual, a Zoom
 14      hearing, I've had those, too, but the court
 15      reporter leaves physically with the exhibits.                             I
 16      take a set home.           The court reporter takes a set
 17      home, and the parties go back with their own set
 18      as well.      That's how it typically happens.
 19                    So we don't have a court reporter
 20      physically in the room, and I'm not putting this
 21      on Mr. Holt.         So that's why the Secretary's going
 22      to have to submit two sets, one to me at my home


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1179    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 245


  1      office, one to the Commission address, which I
  2      will direct you about.
  3                    MS. TIDABACK:            Yes, your Honor.
  4                    JUDGE MORAN:           Okay.
  5                    BY MS. SMITH:
  6            Q       I also have a question for you about
  7      that document.
  8            A       Yes.
  9            Q       I'm also going to ask you to return to
 10      Respondent's Exhibit B.
 11            A       B?
 12            Q       Yes, Mr. Tidaback.               Please turn to
 13      Respondent's Exhibit B.
 14            A       Oh, respondent's.
 15                    JUDGE MORAN:           Single B.
 16                    MS. SMITH:          Single B.         This document has
 17      been admitted.
 18                    JUDGE MORAN:           Thank you.
 19                    THE WITNESS:           So RB?
 20                    BY MS. SMITH:
 21            Q       Yes.
 22            A       Yes, I'm there.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1180    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 246


  1            Q       Mr. Tidaback, you agree with me that the
  2      document depicted in Exhibit RB is not identical
  3      to the document that's depicted in P45, pages 7, 8
  4      and 9, correct?
  5            A       So you're just simply stating that there
  6      was more added?
  7                    JUDGE MORAN:           No, no.        The question is
  8      very simple.
  9                    THE WITNESS:           Yes.
 10                    JUDGE MORAN:           Do you agree that the
 11      document in RB is not identical to those pages
 12      which appear in P45?              Is that a correct
 13      characterization of your question?
 14                    MS. SMITH:          Yes.     Yes, your Honor.
 15                    THE WITNESS:           Yes, I agree.
 16                    JUDGE MORAN:           Okay.      He agrees they're
 17      not identical.
 18                    MS. SMITH:          Thank you.
 19                    BY MS. SMITH:
 20            Q       And continuing on Respondent's Exhibit
 21      B, you agree with me that Exhibit B contains an
 22      entry for February 14th of 2023, correct?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1181    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 247


  1            A       Yes.
  2            Q       And you agree with me that that entry of
  3      February 14th, 2023, does not appear in the
  4      document P45 on pages 7, 8 and 9, correct?
  5            A       That's correct.
  6            Q       Turning back to Respondent's Exhibit B
  7      --
  8                    JUDGE MORAN:           By the way, let me
  9      interrupt because you're soft spoken at times.
 10      Court Reporter, did you hear the witness's answer,
 11      Mr. Tidaback?         His last words were "correct."
 12                    THE VIDEOGRAPHER:              Thumbs up.
 13                    JUDGE MORAN:           Thank you.
 14                    BY MS. SMITH:
 15            Q       You agree with me that Respondent's
 16      Exhibit B includes an image of some Teams chat
 17      messages; is that correct?
 18            A       That's correct.
 19            Q       Previously, you testified that these
 20      notes are generated based on you writing in a
 21      wipable notebook and then that text being uploaded
 22      into one note; is that correct?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1182    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 248


  1            A       More to that, yes.
  2            Q       You would agree with me that Teams chat
  3      messages are not something that you wrote in a
  4      wipable notebook, correct?
  5            A       Teams chats are not writable, no.
  6            Q       So you agree with that, correct?
  7            A       I -- Yes.
  8            Q       Continue looking at Respondent's Exhibit
  9      B.   Can you locate the entry for November 5th of
 10      2022?
 11            A       Yes.
 12            Q       November 5th, 2022, is a Saturday; is
 13      that correct?
 14            A       Correct.
 15            Q       The mill was not running on that day,
 16      correct?
 17            A       No.     That would be the date that I added
 18      the entry, not the actual specific date.
 19            Q       It's the date that you made an entry,
 20      but your entry is not about that date?
 21            A       It doesn't have to be that date 'cause
 22      if I don't -- if I talk to him late on a Friday


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1183    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 249


  1      evening, say, 4 November in this case and Saturday
  2      morning I make the notes, it's tracked as that
  3      date that I wrote the notes.
  4             Q      At the top of Respondent's Exhibit B,
  5      the date is Thursday, April 27th, 2023, at 7:13
  6      p.m.    Did I read that correctly?
  7             A      Did you read that correctly?                     Yes.
  8             Q      I'm going to ask you to turn to P12.
  9      P12 has been previously admitted.
 10                    JUDGE MORAN:           Thank you.
 11                    BY MS. SMITH:
 12             Q      Are you there, Mr. Tidaback?
 13             A      Yes, ma'am.
 14                    JUDGE MORAN:           But give me a second to
 15      get there.        P12?
 16                    MS. SMITH:          Yes, your Honor.
 17                    JUDGE MORAN:           Okay.      I am now at P12.
 18                    BY MS. SMITH:
 19             Q      And, Mr. Tidaback, you responded to
 20      these interrogatories on behalf of the respondent,
 21      correct?
 22             A      That's correct.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1184    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 250


  1            Q       And you signed these interrogatories
  2      under the penalty of perjury, correct?
  3            A       That's correct.
  4            Q       Please turn to page 3.
  5            A       I'm at page 3.
  6            Q       Please direct your attention to
  7      interrogatory No. 5.              This interrogatory asked you
  8      to set forth the reasons Mr. Baumann was
  9      terminated, who participated in the decision and
 10      when that date of that decision was made, correct?
 11            A       That's what it states, yes, ma'am.
 12                    JUDGE MORAN:           You're speaking so soft.
 13                    THE WITNESS:           Sorry.
 14                    JUDGE MORAN:           I want you to speak as you
 15      normally would so that you can be heard, sir.
 16                    THE WITNESS:           Yes, sir.
 17                    BY MS. SMITH:
 18            Q       And then please turn to page 4.                       Your
 19      response to this interrogatory identifies three
 20      individuals who participated in the decision to
 21      terminate Mr. Baumann.               And those individuals were
 22      Russell Tidaback, Jordan Tidaback and, on page 5,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1185    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 251


  1      John Spears; is that correct?
  2            A       They are -- They are in the
  3      decision-making process, yes.
  4                    JUDGE MORAN:           I'm sorry?
  5                    THE WITNESS:           They are in the
  6      decision-making process.
  7                    JUDGE MORAN:           She said, "Is that
  8      correct?"
  9                    THE WITNESS:           Yes, sir.         The final
 10      decision-maker is me.
 11                    MS. SMITH:          I would ask that that
 12      response be stricken from the record as there was
 13      no question pending.
 14                    JUDGE MORAN:           Yes.      The answer is
 15      stricken from the record.                 However, if you ask
 16      questions on -- on redirect, Ms. Tidaback, you can
 17      ask who makes -- who makes the final decision and
 18      termination.         You can ask that then if you wish.
 19                    MS. SMITH:          Your Honor, may I briefly
 20      confer with my co-counsel?
 21                    JUDGE MORAN:           Of course.
 22                            (Discussion off the record.)


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1186    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 252


  1                    MS. SMITH:          Your Honor, we have no
  2      further questions of this witness.
  3                    JUDGE MORAN:           Okay.      Do you have some
  4      questions on redirect, Ms. Tidaback?
  5                    MS. TIDABACK:            Yes, sir.
  6                    JUDGE MORAN:           Okay.
  7                    REDIRECT EXAMINATION
  8                    BY MS. TIDABACK:
  9            Q       Mr. Tidaback -- Oh, Do I need to state
 10      my name?      This is Jordan Tidaback.
 11                    JUDGE MORAN:           Yes.
 12                    MS. TIDABACK:            Good?
 13                    JUDGE MORAN:           Thank you.
 14                    BY MS. TIDABACK:
 15            Q       Who makes the final decision in
 16      terminations?
 17            A       That would be me.
 18            Q       Okay.       And then just for clarification,
 19      at any time -- have we ever run on Saturdays at
 20      any time?
 21            A       There may have been an opportunity for
 22      overtime sometime but not -- that is not a -- we


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1187    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 253


  1      -- When we offer overtime or we were to run on a
  2      Saturday, it was because the mill was shut down
  3      during the week, and we want to make sure that all
  4      the employees would get their 40 hours.                         So we
  5      offered that time so they could get caught up on
  6      their hours.         Or if the shift lead wanted to get
  7      the guys together to get some overtime for the
  8      hours based on the production shift, we -- we --
  9      we offered that.           But it was rarely, rarely ever
 10      because most people said they didn't want to run.
 11                    MS. TIDABACK:            I'm finished, sir.
 12                    JUDGE MORAN:           Okay.      Any questions from
 13      the Secretary?
 14                    MS. SMITH:          We have no further questions
 15      for this witness.
 16                    JUDGE MORAN:           Okay.      Thank you, Mr.
 17      Tidaback, for your testimony.
 18                    THE WITNESS:           Yes, sir.
 19                    JUDGE MORAN:           Okay.      So now, giving a
 20      moment for Mr. Tidaback to communicate with Jordan
 21      Tidaback, once you've had that moment, I need you
 22      to tell me if there are other witnesses the


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1188    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 254


  1      respondent wishes to present or whether that
  2      concludes the respondent's testimony in this
  3      matter.
  4                    MR. TIDABACK:            Thank you, your Honor.
  5                            (Discussion off the record.)
  6                    MR. TIDABACK:            Sir, it's more
  7      housekeeping.         There won't be another witness.
  8                    JUDGE MORAN:           Okay.      So there are
  9      housekeeping issues.              That's a broad term.               You
 10      want to identify the housekeeping issues?
 11                    MR. TIDABACK:            Yes.     Sorry.
 12                    JUDGE MORAN:           Then after the
 13      housekeeping issues, that will -- am I correct
 14      that will complete your defense in this matter?
 15                    MS. TIDABACK:            I believe so.           I believe
 16      so, your Honor.
 17                    JUDGE MORAN:           Okay.      So let's go through
 18      the housekeeping matters one at a time then.
 19                    MR. TIDABACK:            Just to clarify, the
 20      respondent's interrogatories, we've submitted them
 21      as RGG and RFF.
 22                    JUDGE MORAN:           Okay.      RGG and RFF, yes.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1189    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 255


  1                    MR. TIDABACK:            Were they submitted and
  2      accepted by your Honor previously?
  3                    JUDGE MORAN:           I don't know, but I can
  4      easily cure that.            Do you want to have RGG and RFF
  5      admitted into the record?
  6                    MR. TIDABACK:            Yes, your Honor.
  7                    JUDGE MORAN:           Do you see an objection to
  8      that?
  9                    MS. O'REILLY:            We would just like to
 10      note -- we don't have an objection, but we will
 11      note for clarification that FF is the same as P39,
 12      and GG is the same as P34.
 13                    JUDGE MORAN:           Okay.      Thank you for that.
 14      The answer to your question, Mr. Tidaback, is that
 15      RGG and RFF are admitted into the record.
 16                            (Respondent's Exhibits R-GG and
 17                            R-FF were marked for identification
 18                            and received in evidence.)
 19                    JUDGE MORAN:           And you remember, I made a
 20      reference to that in the e-mail to you people that
 21      said I've had other hearings when we've had the
 22      same exhibit introduced by both sides or maybe not


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1190    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 256


  1      exactly the same but covering the same material.
  2      And that's not a problem, so they're admitted.
  3      Okay.
  4                    MR. TIDABACK:            The reason for the
  5      question is I just wanted to make sure we didn't
  6      have to print more paper if it was already --
  7                    JUDGE MORAN:           No.     You're fine.           RGG and
  8      RFF are in.
  9                    MR. TIDABACK:            Okay.      That was my
 10      question.
 11                    JUDGE MORAN:           Do you have any other
 12      housekeeping matters?
 13                    MR. TIDABACK:            That was all the ones,
 14      sir.
 15                    JUDGE MORAN:           Okay.      So now we have a
 16      question.       The next in this procedure process --
 17      You don't have to stand, sir, unless you want to
 18      stand and if you feel more comfortable.                         You
 19      indicated you --
 20                    MR. TIDABACK:            I do sometimes, your
 21      Honor.
 22                    JUDGE MORAN:           I wish I could sometimes.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1191    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 257


  1      Okay.     But it's a little awkward for me to stand
  2      during the course of a hearing.                     So now does the
  3      government have any -- intend to enter any
  4      rebuttal testimony?
  5                    MS. SMITH:          We do, your Honor.              We'd
  6      like to recall Mr. Rob Baumann in rebuttal for the
  7      limited purpose that we've kind of discussed
  8      earlier.
  9                    JUDGE MORAN:           Okay.      Watch that tripod.
 10      Now, Mr. Baumann, you're on the record.                         Court
 11      Reporter, thumbs up again?                 Did I get a thumbs up?
 12                    THE VIDEOGRAPHER:              Thumbs up.
 13                    JUDGE MORAN:           Okay.      Mr. Baumann, put on
 14      your thing like you did yesterday.                      Do you
 15      understand you're still under oath, sir?
 16                    THE WITNESS:           Yes, your Honor.
 17      Whereupon,
 18                                 ROBERT BAUMANN
 19      was recalled as a witness and, having been
 20      previously duly sworn, was examined and testified
 21      further as follows:
 22                    JUDGE MORAN:           Okay.      And we're going to


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1192    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 258


  1      have just for clarification, which, actually,
  2      Jordan Tidaback helped us out with that, right now
  3      we have questioning by Secretary's attorney Ms.
  4      O'Reilly.       Proceed.
  5                    FURTHER REDIRECT EXAMINATION
  6                    BY MS. O'REILLY:
  7            Q       Mr. Baumann, you were never disciplined
  8      at American Tripoli for failing to guard
  9      machinery, correct?
 10            A       No, ma'am.
 11            Q       It's correct that you were never
 12      disciplined for failing to guard machinery?
 13            A       I was never disciplined for not -- for
 14      not guarding machinery.
 15            Q       And did you learn about MSHA's
 16      machine-guarding requirements after you started
 17      walking around with MSHA during the inspections?
 18            A       Yes, ma'am.
 19                    MS. O'REILLY:            That's all we have.
 20                    JUDGE MORAN:           Okay.      Mr. Tidaback, do
 21      you have some questions to ask about this?
 22                    MR. TIDABACK:            I do, actually.            Trying


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1193    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 259


  1      to transcribe one of them now, but I do have one
  2      before that.
  3                    JUDGE MORAN:           Sure.      Yep.      Well, head up
  4      to the microphone.
  5                    MR. TIDABACK:            Can you hear me?
  6                    THE VIDEOGRAPHER:              Yes.
  7                    MR. TIDABACK:            Okay.      Thank you.
  8                    FURTHER RECROSS EXAMINATION
  9                    BY MR. TIDABACK:
 10            Q       First question, your Honor, Mr. Baumann,
 11      did you receive new miner training that discusses
 12      guarding?
 13                    MS. O'REILLY:            Objection.         Asked and
 14      answered.
 15                    JUDGE MORAN:           I'm going to allow the
 16      question to be answered.
 17                    THE WITNESS:           Yes.      The initial 30, 45
 18      minutes of safety training I would have called it.
 19                    JUDGE MORAN:           So his answer is "yes."
 20                    MR. TIDABACK:            Yes, your Honor.
 21                    BY MR. TIDABACK:
 22            Q       Were -- Okay.            So you had testified that


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1194    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 260


  1      you were not disciplined for guarding machinery,
  2      but you were able to put guarding back on if it
  3      was off, or you tasked that out to have that
  4      guarding put back on, correct?
  5            A       I don't -- guess I --
  6            Q       If the guarding was off, would you do it
  7      yourself or task someone else to do it if you saw
  8      the guarding off?
  9            A       Yes.
 10                    MR. TIDABACK:            Okay.      That's all, your
 11      Honor.
 12                    JUDGE MORAN:           Okay.
 13                    MS. O'REILLY:            No further questions,
 14      your Honor.
 15                    JUDGE MORAN:           All right.         That was
 16      brief, wasn't it?
 17                    THE WITNESS:           Yes, that was.            That was
 18      pleasant.       Thank you, your Honor.
 19                    JUDGE MORAN:           You're excused to go back
 20      to the seating area.              All right.         We may be on the
 21      verge of wrapping this proceeding up.                        All right.
 22      Watch that tripod, okay?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1195    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 261


  1                    MR. BAUMANN:           Thank you.
  2                    JUDGE MORAN:           Any further evidence or
  3      housekeeping matters from the Secretary of Labor?
  4      And we have Ms. Smith speaking.
  5                    MS. SMITH:          Yes.     Thank you, your Honor.
  6      Just one housekeeping item.                  Before we adjourn for
  7      the day, I would just like to go through and make
  8      sure we both have the same list of exhibits that
  9      have been admitted so that we don't get back home
 10      and are confused about what we have or have not
 11      admitted.
 12                    And along those lines, when we send you
 13      the notebook and we send the notebook for the
 14      court reporter, I think I understood your
 15      instruction earlier on Tuesday that we're to
 16      remove exhibits that were not admitted, so I
 17      wanted to clarify that procedure.
 18                    JUDGE MORAN:           That's absolutely true,
 19      and I explained why.              If I have extraneous
 20      exhibits, which I'm defining as exhibits that were
 21      not admitted into the record, it can be confusing.
 22      If, for instance, one side or the other, and


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1196    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 262


  1      there's always one side or the happy that's
  2      unhappy with my decisions, I can tell you that,
  3      that if there are exhibits in there, a person that
  4      shouldn't be in there, a reviewing body like the
  5      Commission, could be confused, could see an
  6      exhibit and not be able to decipher why that's in
  7      there or what its purpose was or even
  8      inappropriately refer to such an exhibit.
  9                    So the -- the -- the Secretary of Labor,
 10      this is rather important, these three
 11      representatives, the term of art in our legal
 12      profession is they are officers of the court.                             In
 13      other words, they have duties to me and to any
 14      judge, all right.            So they are under a strict
 15      obligation to follow my instructions faithfully in
 16      good faith and with due diligence.                      And so I have
 17      instructed them to go through the record and
 18      delete, that is, remove, those exhibits from
 19      either side that were not admitted into the
 20      record.      And in the case of the respondent's
 21      exhibits, they can either return them to you or to
 22      keep -- keep them apart from but not submit it to


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1197    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 263


  1      the Commission.
  2                    Now, I'll listen further, but to me --
  3      and I'm not degrading what you said, but it seems
  4      to me that the record has been very clear about
  5      what exhibits were admitted.                   So you're going to
  6      be reviewing that, and I don't expect these
  7      exhibits to be sent to me next week, okay?
  8                    MS. SMITH:          Okay.
  9                    JUDGE MORAN:           So you'll go through the
 10      transcript, and you should communicate out of
 11      courtesy, professional courtesy, to the Tidabacks
 12      that this is your list as opposed to taking time
 13      here.     And, well, I didn't do a great job.                        I was
 14      writing them all down, but this is just a mess and
 15      -- because it's not my job tom as it is your job
 16      to, keep a record about the exhibits or admitted.
 17      But the transcript will very clearly speak to what
 18      was admitted, and if there's something wrong with
 19      one of the court reporters, I do have all these
 20      written down.         I don't think we'll need that, but
 21      they're staying with me.                All right.
 22                    So I'm declining your invitation to take


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1198    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 264


  1      all the time to go through because that wouldn't
  2      be the last word.            What if -- what if both of us
  3      missed one and the transcript -- transcript
  4      clearly says Exhibit P, whatever you want to put
  5      in there, is in there?               We couldn't say, "Well, we
  6      talked at the -- near the end of the hearing and
  7      said it wasn't included, so, therefore we're not
  8      going to."        That would be inane, right?                   We don't
  9      want to have inane results as much as we can avoid
 10      them, all right.           So thank you, but that's the way
 11      we're going to proceed.                So Mr. Tidaback has a
 12      question for me.           No.     That's fine.
 13                    MR. TIDABACK:            And it's confusing
 14      because when we were -- I was standing there.                             I
 15      don't know what that position's called, but --
 16                    JUDGE MORAN:           Podium.
 17                    MR. TIDABACK:            -- yeah, podium and
 18      asking questions, and it was questions related to
 19      exhibits that we presented.
 20                    JUDGE MORAN:           Yeah.
 21                    MR. TIDABACK:            I couldn't -- I couldn't
 22      add that Exhibit 2 until I testified.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1199    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 265


  1                    JUDGE MORAN:           That's right, see, because
  2      there wasn't a foundation laid.                     You were asking
  3      witnesses about -- I'm speaking broadly now, but I
  4      remember we had at least a couple of instances
  5      where the -- you were asking questions of a
  6      witness who couldn't really authenticate or
  7      identify the document any more than I could.
  8                    So what you needed to do was to have
  9      either something that's self-authenticating, which
 10      for a small business like that you wouldn't have
 11      that, or the individual who generated the exhibit
 12      testify.      That's why we were waiting for you or
 13      Mr. Spears, who were two witnesses in this matter
 14      for the respondent, to identify a particular
 15      exhibit in order to get it in unless it was -- see
 16      how it gets complicated, unless it was an official
 17      record I could take judicial notice of.
 18                    MR. TIDABACK:            Right.
 19                    JUDGE MORAN:           So if you're telling me in
 20      a roundabout way that there was some exhibit that
 21      you wished could be admitted --
 22                    MR. TIDABACK:            Yes.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1200    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 266


  1                    JUDGE MORAN:           -- but through some
  2      deficiency such as not having laid a proper
  3      foundation, I'll give you a few moments now to
  4      identify such exhibits.                I'll give you five
  5      minutes.      There couldn't be many.                  But if there
  6      are some exhibits that you feel should be part of
  7      the record and through some deficiency I did not
  8      admit them, I'll give you an opportunity to try
  9      again, and I'll hear from the Secretary of Labor
 10      if you have an objection to that.
 11                    So take your time.               It's 1:49.         Take a
 12      few moments to see if there's something that you
 13      feel is important and, so that you get a fair
 14      hearing, should be considered.
 15                    MR. TIDABACK:            I have 12.         There's 12
 16      exhibits, your Honor.
 17                    JUDGE MORAN:           12 exhibits?
 18                    MR. TIDABACK:            Oh, those are the ones
 19      you admitted.         Okay.       Sorry.       That was a mistake.
 20                    JUDGE MORAN:           Okay.      Yeah.       That's fine.
 21                    MR. TIDABACK:            Yes.     And since -- Yeah.
 22      So we have the 12 exhibits I referenced as being


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1201    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 267


  1      admitted.       How do we confirm that that was done?
  2                    JUDGE MORAN:           You confirmed it by having
  3      -- You're going to order a copy of the transcript,
  4      okay, and the transcript will indicate which
  5      exhibits were admitted.                We were pretty meticulous
  6      about this.
  7                    MR. TIDABACK:            Okay.      So does -- and --
  8      Does the Secretary just like on the -- what are
  9      those called, the depositions, do they provide
 10      that transcript to us, or do we need to do
 11      something different to get it?
 12                    MS. SMITH:          In the Exhibit No. P44 and
 13      P45?
 14                    MR. TIDABACK:            No, that's what I'm
 15      asking.      The judge --
 16                    MS. O'REILLY:            A transcript of this
 17      hearing is what you're asking about?
 18                    JUDGE MORAN:           You're asking about the
 19      transcript of this hearing?
 20                    MR. TIDABACK:            Isn't that what you're
 21      referring to, your Honor, when we have to look and
 22      see if the exhibits are --


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1202    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 268


  1                    JUDGE MORAN:           Yes.      If you're concerned
  2      that there was an exhibit -- The transcript will
  3      inform all of us which exhibits were admitted and
  4      which exhibits were not admitted, okay.                         What I've
  5      just given you an opportunity to, and you've not
  6      indicated any, any exhibits that were not admitted
  7      that you feel in fairness should be admitted.                             I
  8      would listen to those exhibits that you may
  9      identify, if there are any.                  I'm not saying there
 10      are.    But I'm giving you, out of an abundance of
 11      fairness, an opportunity to go through your
 12      exhibits and see if there's something that through
 13      inadvertence or some other deficiency didn't get
 14      into the record, and then I will hear from the
 15      other side if there's an objection.
 16                    I don't know that there are any that you
 17      feel should have gotten in the record.                         But the
 18      other thing is you'll have to work with the court
 19      reporter.       And if you e-mail me Monday, I will
 20      give you the court reporter's address, right,
 21      Court Reporter?           Okay.      Did I get a thumbs up?
 22                    THE VIDEOGRAPHER:              Thumbs up.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1203    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 269


  1                    JUDGE MORAN:           And then you'll contact
  2      that person to make arrangements to have
  3      transcripts sent to you at a cost.                      I mean, I
  4      don't know what the fee is, but it's not free,
  5      okay.     So you'll order a transcript, and I'm
  6      getting big smiles?
  7                    THE VIDEOGRAPHER:              Big thumbs up.
  8                    JUDGE MORAN:           Big thumbs up.            All right.
  9      So I knew the court -- This is for the benefit of
 10      everybody.        Typically -- And this is addressed to
 11      Madam Court Reporter, Ms. Schmaling.                        If I had a
 12      nickel for every time my name has been
 13      mispronounced, it's only five letters, but you can
 14      imagine.
 15                    Anyway, my understanding, Madam Court
 16      Reporter, is that you and your predecessor court
 17      reporters are to produce a copy of the transcript
 18      within ten business days of the conclusion of the
 19      hearing.      So the first business day would be
 20      Friday and then not including weekends.                         Ten days
 21      after that, you are to have the transcripts
 22      prepared, and they will be sent to the parties


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1204    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 270


  1      requesting it.
  2                    The Secretary of Labor will
  3      independently request a copy through their own
  4      procedures that they use.                 I won't elaborate upon
  5      that, and the Commission who has hired you, the
  6      Federal Mine Safety and Health Review Commission,
  7      they're under contract with maybe not you directly
  8      but through Anderson Reporting that you are to
  9      provide to the Commission and, therefore, to me
 10      with a copy of this transcript.                     Do you understand
 11      that?     Do we get a thumbs up?
 12                    THE VIDEOGRAPHER:              Thumbs up.
 13                    JUDGE MORAN:           Okay.      And this is for --
 14      Please communicate this to the other court
 15      reporter if it hasn't already been communicated.
 16      When you send me my copy, I get a Word version,
 17      okay, and I also get in that electronic version a
 18      four-page version where there are four pages of
 19      transcript on each page produced.                      Thumbs up?
 20                    THE VIDEOGRAPHER:              Thumbs up, yes.
 21                    JUDGE MORAN:           You've done this before?
 22                    THE VIDEOGRAPHER:              Yes.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1205    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 271


  1                    JUDGE MORAN:           Good.      Okay.       So, Mr.
  2      Tidaback, you'll contact my office.                       Send me an
  3      e-mail Monday.          I'll respond to it with the
  4      information for her of how to get a copy of the
  5      transcript sent to you.                There's no rush because
  6      they won't even be prepared for ten business days
  7      starting tomorrow, so you'll place your order.
  8      And then I assume at roughly the same time I get
  9      my copy, you'll get yours.
 10                    MR. TIDABACK:            Thank you.
 11                    JUDGE MORAN:           All right.         Now, remember
 12      I promised, this is important, no one reminded me
 13      but I'm reminding you, beginning with the
 14      government, did you have a full opportunity to
 15      present your complaint on behalf and -- of Mr.
 16      Baumann and the Secretary of Labor for
 17      interference and discrimination in this matter?
 18                    MS. SMITH:          Yes, your Honor.
 19                    JUDGE MORAN:           Okay.      And that is Ms.
 20      Smith speaking?
 21                    MS. SMITH:          Yes.
 22                    JUDGE MORAN:           Okay.      Now, Mr. Tidaback


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1206    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 272


  1      and Jordan Tidaback, did you folks have a full
  2      opportunity to present your defense in this
  3      matter?
  4                    MR. TIDABACK:            To the best of my
  5      ability, your Honor, yes, I do believe we did.
  6                    JUDGE MORAN:           Okay.      All right.          Then --
  7      and I'll give anyone -- By the way, we left this
  8      hanging.      Are there any exhibits, Mr. Tidaback,
  9      that you --
 10                    MR. TIDABACK:            We're finishing up on
 11      that list, your Honor.
 12                    JUDGE MORAN:           All right.         So I'll give
 13      you a few more minutes to discuss that, and then
 14      we'll go around the table one more time.                          Is there
 15      anything else before we have this hearing come to
 16      a close?
 17                    MS. SMITH:          Nothing further from the
 18      Secretary of Labor.
 19                    JUDGE MORAN:           Okay.      I want to thank Mr.
 20      Holt.     Thank you very much for your valuable and I
 21      appreciate your good humor and technical
 22      expertise.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1207    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 273


  1                    THE VIDEOGRAPHER:              Any time.
  2                            (Discussion off the record.)
  3                    MR. TIDABACK:            Just for clarification,
  4      so we don't duplicate it like you've mentioned,
  5      RRH and RRI are interrogatory answers/responses.
  6                    JUDGE MORAN:           Let's just take them one
  7      at a time.        RHH.
  8                    MR. TIDABACK:            RHH.
  9                    JUDGE MORAN:           And, of course, I don't
 10      have RHH as one of my multipage exhibits admitted.
 11      I have RH but not RHH.
 12                    MR. TIDABACK:            Correct.
 13                    JUDGE MORAN:           So he's asking if the RHH
 14      is in the record through one of the Secretary's
 15      exhibits; is that right, Mr. Tidaback?
 16                    MR. TIDABACK:            Yes, your Honor.
 17                    MS. SMITH:          Yes, your Honor.             RHH is the
 18      same as P12, and P12 has been admitted.
 19                    JUDGE MORAN:           Thank you.         Next question.
 20      You had two.         Another exhibit?
 21                    MR. TIDABACK:            RII.
 22                    JUDGE MORAN:           RII.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1208    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 274


  1                    MS. SMITH:          And, your Honor, RII is the
  2      same as P29, but P29 has not been admitted.
  3                    JUDGE MORAN:           Okay.      Let's take a look
  4      at P29.      Okay.      And so, Mr. Tidaback, is -- do you
  5      have P29 in front of you?
  6                    MR. TIDABACK:            Yes, your Honor.
  7                    JUDGE MORAN:           Okay.      And your intention
  8      behind this is to have P29 admitted?
  9                    MR. TIDABACK:            Yes, your Honor.
 10                    JUDGE MORAN:           And, again, P29 is on your
 11      side.     It's called what?
 12                    MR. TIDABACK:            R --
 13                    JUDGE MORAN:           Not R.       Yes, R, yes.
 14                    MR. TIDABACK:            RII.
 15                    JUDGE MORAN:           All right.         RII.      Let me
 16      take a look at that, and does the Secretary of
 17      Labor agree RII is the same as P29?
 18                    MS. SMITH:          Yes, your Honor, that's our
 19      position.
 20                    JUDGE MORAN:           Okay.      And I could take
 21      official notice of this submission, and it's among
 22      the Secretary's proposed exhibits anyway.                           I


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1209    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 275


  1      assume you have no objection to P29?
  2                    MS. SMITH:          Correct.        No objection to
  3      P29 or RII.
  4                    JUDGE MORAN:           Very good.         Okay.       So
  5      those are in.
  6                            (Respondent's Exhibit R-II was
  7                            marked for identification and
  8                            received in evidence.)
  9                    MR. TIDABACK:            So RJJ I do believe we
 10      just added when that was one on the -- Correct?
 11                    JUDGE MORAN:           RJJ, did I admit that one?
 12      Let me take a look.
 13                    MR. TIDABACK:            Right.       Yep.
 14                    MS. SMITH:          Your Honor, RJJ has not been
 15      moved to be admitted into evidence.
 16                    JUDGE MORAN:           Well, good, because I
 17      didn't find it among my -- my notes here.                           Okay.
 18      So RJJ, and is RJJ also one of the Secretary's
 19      exhibits?
 20                    MS. SMITH:          No, your Honor.
 21                    JUDGE MORAN:           Okay.      So let's take a
 22      look at RJJ.         RJJ, this is my description, you can


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1210    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 276


  1      tell me if you disagree with it, Mr. Tidaback, is
  2      a multipage exhibit.              You were questioned about
  3      that, were you not?
  4                    MR. TIDABACK:            Yes, I was.
  5                    MS. SMITH:          That is correct, your Honor.
  6                    JUDGE MORAN:           Okay.      And that's Ms.
  7      Smith speaking.           I'm admitting RJJ into the
  8      record.
  9                    MS. SMITH:          Oh, we would like to just,
 10      for the record, lay -- issue an objection to the
 11      document on the basis of relevance because the
 12      date of the document, the e-mails that were
 13      exchanged, were on November 13th of 2023 which was
 14      seven months after Mr. Baumann's termination.
 15                    JUDGE MORAN:           I understand, and -- and
 16      what you would do is it's entered into the record,
 17      but you can identify the shortcomings of that and
 18      that in effect how much, if at all, I would -- I
 19      would use that in deliberating on my decision.
 20                    MS. SMITH:          Yes.     Thank you.
 21                    JUDGE MORAN:           Okay.      I'm admitting this
 22      despite that flaw that you mentioned, Attorney


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1211    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 277


  1      Smith, because I want to make sure that I've
  2      extended as far as I possibly can fairness to the
  3      respondent, Mr. Tidaback, and his daughter as they
  4      are pro se.        But the fact it is admitted doesn't
  5      mean that it gets you there anywhere.                        It just
  6      means it's part of the record.                    So RJJ is
  7      admitted, okay?
  8                            (Respondent's Exhibit R-JJ was
  9                            marked for identification and
 10                            received in evidence.)
 11                    MR. TIDABACK:            Can I ask a question?
 12                    JUDGE MORAN:           Sure.
 13                    MR. TIDABACK:            How would I get that
 14      information before he was fired?
 15                    JUDGE MORAN:           Oh, no.        Now you're
 16      challenging.
 17                    MR. TIDABACK:            Okay.      Sorry.
 18                    JUDGE MORAN:           Okay.
 19                    MR. TIDABACK:            So --
 20                    JUDGE MORAN:           We're past that.             The
 21      testimony's over.
 22                    MR. TIDABACK:            Sorry, your Honor.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1212    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 278


  1                    JUDGE MORAN:           Okay.
  2                    MR. TIDABACK:            So R echo, echo, so EE.
  3                    JUDGE MORAN:           You have another one?
  4                    MR. TIDABACK:            Yes, your Honor.
  5                    JUDGE MORAN:           Okay.      See, this is my
  6      problem for being too nice.                  REE?
  7                    MR. TIDABACK:            Yes, your Honor.
  8                    MS. SMITH:          Your Honor, this exhibit was
  9      previously offered, and it was not admitted.
 10                    JUDGE MORAN:           Okay.      It was previously
 11      offered, and I denied its admission?
 12                    MS. SMITH:          You -- Yes.          That's correct.
 13      You denied the admission at the time.
 14                    JUDGE MORAN:           Okay.      And I'm going to
 15      stick with my denial of the admission, so REE is
 16      not admitted for the reasons I articulated during
 17      the course of the hearing.
 18                    MS. SMITH:          Yes, and this may be a flaw
 19      that could be cured at this point.                      At the time, I
 20      think Mr. Spears was testifying, and he was unable
 21      to lay a foundation for this document.                         So that
 22      may be a flaw that can be cured at this time.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1213    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 279


  1                    JUDGE MORAN:           Okay.      And that's because
  2      he had no basis to testify about the document?
  3                    MS. SMITH:          Yeah.      That's what I recall.
  4                    JUDGE MORAN:           So -- so you're suggesting
  5      out of generosity on the part of the Secretary of
  6      Labor that -- that you consent to REE being
  7      admitted?
  8                    MS. SMITH:          No, your Honor.            We have
  9      objections as to it.              I just wanted to make it
 10      clear why you did not admit the --
 11                    JUDGE MORAN:           I forgot on this
 12      particular, why I didn't.
 13                    MS. SMITH:          I wanted to make it clear
 14      why you did not allow it to be admitted at that
 15      time.     We do have objections as to this exhibit.
 16                    JUDGE MORAN:           But didn't you say it
 17      could be -- objections could be cured?
 18                    MS. SMITH:          The foundational issues, the
 19      reason why it wasn't admitted when it was first
 20      offered I think could be cured if -- if we wanted
 21      to relax the rules a little and allow the
 22      foundation to be laid at this time.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1214    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 280


  1                    JUDGE MORAN:           Sure.      Well, that would
  2      mean that Mr. Tidaback would testify further; is
  3      that right?
  4                    MS. SMITH:          I agree with that.              It's not
  5      procedurally correct at this time.                      But if we are
  6      trying to, you know, in fairness and help things
  7      along, he may not have understood the procedure at
  8      the time he was testifying.
  9                    JUDGE MORAN:           So that's what we're going
 10      to do.     No one can accuse me of being unfair in
 11      this proceeding to the respondent, it would seem
 12      to me, by my decision about this.
 13                    So do you have REE in front of you, Mr.
 14      Tidaback?
 15                    MR. TIDABACK:            Yes, your Honor.
 16                    JUDGE MORAN:           Okay.      Do you know what --
 17      And do you understand you're still under oath?
 18                    MR. TIDABACK:            Yes, your Honor.
 19                    JUDGE MORAN:           All right.         Can you
 20      identify what REE is?
 21                    MR. TIDABACK:            Yes, your Honor, a
 22      discussion regarding the withdrawal order and


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1215    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 281


  1      miners' pay.
  2                    JUDGE MORAN:           Okay.      And the discussion
  3      is -- Identify who is in the discussion, please.
  4                    MR. TIDABACK:            At the very top of the
  5      page, the unknown user, I have to assume that it
  6      is Jesse Malessy, as he would be the safety
  7      person.      But when the printed document or -- the
  8      document was printed, he wasn't in our system.                              So
  9      it showed --
 10                    JUDGE MORAN:           But you're not sure.                You
 11      can't -- Because it's a deficiency in the system,
 12      you have to believe that it was some unknown user
 13      making the comment which is in the gray area?
 14                    MR. TIDABACK:            Not necessarily unknown
 15      user because Jesse Malessy's employment as a
 16      safety person was during that time and in the
 17      safety group.
 18                    JUDGE MORAN:           Okay.      But it's still --
 19      It's still a deduction on your part that this is
 20      Jesse Malessy who's speaking in the gray portion?
 21                    MR. TIDABACK:            Yes, your Honor.
 22                    JUDGE MORAN:           Okay.      And, again, the


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1216    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 282


  1      purpose of the exhibit you say was to deal with
  2      the issue of payment to miners after the mine was
  3      shut down; is that right?
  4                    MR. TIDABACK:            That is correct, your
  5      Honor.
  6                    JUDGE MORAN:           Was there any other
  7      purpose behind this exchange in REE?                        Was it
  8      solely directed to that issue?
  9                    MR. TIDABACK:            Yes.     Yes, your Honor.
 10                    JUDGE MORAN:           Do you have an objection
 11      to this?
 12                    MS. SMITH:          We do object as to a lack of
 13      foundation.        He doesn't know who the individual
 14      was that was initiating this conversation.                           And
 15      then also as to relevance, it's not related to Mr.
 16      Baumann's discrimination complaint or the reasons
 17      for his termination or protected activity.
 18                    JUDGE MORAN:           Yes, and the second point
 19      is well-taken in terms of relevance.                        But, you
 20      know, I do have discretion on these matters.                             I'm
 21      admitting RE -- REE, but the admission of an
 22      exhibit is different from weight given to an


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1217    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 283


  1      exhibit.      And weight simply means, "How much do I
  2      pay attention to a particular exhibit?"                         And so I
  3      want you to be aware of that.                   I may decide even
  4      on the basis of being irrelevant to the proceeding
  5      that I -- maybe I'll drop a footnote and say,
  6      "Recognize this exhibit was there.                      It bears no --
  7      has no bearing on this matter.                    And, therefore,
  8      the Court will not make any further comment about
  9      this exhibit.         It does not advance the
 10      respondent's defense."               Don't -- That's not
 11      verbatim.       That's off the top of my head as to
 12      what I might say in dealing with that.
 13                    MR. TIDABACK:            Yes, sir.
 14                            (Respondent's Exhibit R-EE was
 15                            marked for identification and
 16                            received in evidence.)
 17                    JUDGE MORAN:           I also want to caution
 18      people that with so many exhibits here, I -- I --
 19      typically, in a case such as this, I don't mean
 20      discrimination matters, I will say in my decision,
 21      which is true, that I consider all exhibits that
 22      were admitted, okay.              And even though I may not


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1218    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 284


  1      discuss every exhibit or every argument made in a
  2      post-hearing brief, that doesn't mean that I
  3      brushed it off.           It just means that some things in
  4      my view do not warrant discussion in my final
  5      decision, and so that's -- that's why I put that
  6      in there.       It's not that something is being
  7      overlooked, just not worthy of discussion.
  8                    MR. TIDABACK:            Can I explain my reasons
  9      why I'm asking for these?
 10                    JUDGE MORAN:           No.     I think I've given
 11      you more than enough rope.
 12                    MR. TIDABACK:            Okay.      Yes, your Honor.
 13                    JUDGE MORAN:           Are there any other
 14      exhibits?
 15                    MR. TIDABACK:            There are, your Honor.
 16                    JUDGE MORAN:           None?
 17                    MR. TIDABACK:            No.     There are, your
 18      Honor.     RBB.
 19                    JUDGE MORAN:           Oh.     How many more do you
 20      have?
 21                    MR. TIDABACK:            None, and they may be
 22      duplicates.        That's what I'm trying to -- I don't


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1219    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 285


  1      know if it is.          Right.
  2                    JUDGE MORAN:           Okay.      Let's go through
  3      them.     Go ahead.        The next one is what?
  4                    MR. TIDABACK:            RBB.
  5                    JUDGE MORAN:           Double B?
  6                    MR. TIDABACK:            Yes, your Honor, RBB.
  7                    JUDGE MORAN:           Okay.      RBB, I think it was
  8      not admitted.
  9                    MS. SMITH:          That's correct, your Honor.
 10      It has not been offered to be admitted.
 11                    JUDGE MORAN:           Yeah, and I'm not going to
 12      allow RBB into the record.                 It's -- You had an
 13      opportunity to introduce each of your exhibits,
 14      and that opportunity has passed.                     And I've already
 15      given you some leeway about other deficiencies in
 16      some of these exhibits that we're talking about in
 17      the last half an hour.
 18                    And these are assertions, and they would
 19      have to be subject to cross-examination.                          I'm not
 20      sure.     In fact, I have doubts about the relevance
 21      of this to the matters that are in front of me in
 22      this proceeding, so that's my ruling.                        RBB is a


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1220    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 286


  1      no.
  2                    MR. TIDABACK:            Yes, your Honor.
  3                    JUDGE MORAN:           Next.
  4                    MR. TIDABACK:            RAA.
  5                    JUDGE MORAN:           Okay.      RAA.      What's the
  6      deal on RAA?         Does the Secretary --
  7                    MR. TIDABACK:            Sorry, your Honor,
  8      excluding RAA.          That was a misprint on mine.
  9                    JUDGE MORAN:           No RAA?
 10                    MR. TIDABACK:            Right.
 11                    JUDGE MORAN:           You don't have any issue
 12      about that?
 13                    MR. TIDABACK:            No, your Honor.
 14                    JUDGE MORAN:           Okay.      What's next?
 15                    MS. TIDABACK:            RR --
 16                            (Discussion off the record.)
 17                    MR. TIDABACK:            Yes.     It's clarification
 18      that they have it already, RR which is the Kansas
 19      unemployment form.
 20                    JUDGE MORAN:           R what?
 21                    MR. TIDABACK:            Sorry.       R.
 22                    JUDGE MORAN:           Okay.      One R --


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1221    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 287


  1                    MR. TIDABACK:            Yes.
  2                    JUDGE MORAN:           -- after the -- after the
  3      initial R.        Okay.      Hold on a second here.
  4                    MR. TIDABACK:            Sorry.
  5                    JUDGE MORAN:           I hope you two appreciate
  6      that I could have said "no" to all of this stuff,
  7      okay?
  8                    MR. TIDABACK:            I appreciate yours and
  9      the Secretary's assistance.                  I do.
 10                    JUDGE MORAN:           So now we have RR in front
 11      of us, and this was mentioned in some context.                              I
 12      can't remember now the details, but it's -- You
 13      have RR.      Was RR admitted by the Secretary in some
 14      form?
 15                    MS. SMITH:          No.     This document has not
 16      been admitted into evidence.
 17                    JUDGE MORAN:           Okay.      And this deals with
 18      the issue of the individual filing a claim for
 19      unemployment insurance benefits, and I remember
 20      Mr. Baumann's testimony about this issue, and
 21      that's going to stand in -- in place of this, that
 22      RR will not be admitted.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1222    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 288


  1                    MR. TIDABACK:            Yeah.      The only -- The
  2      only question you had on that, your Honor, was
  3      about the date.           You asked me what RB --
  4                    JUDGE MORAN:           I know, but Mr. Baumann
  5      testified about that, and RR is not in.                         Next.
  6                    MR. TIDABACK:            RI.
  7                    JUDGE MORAN:           Okay.      RI is titled
  8      Production Lead Duties.
  9                    MR. TIDABACK:            Yes, your Honor.
 10                    JUDGE MORAN:           I take it this -- I take
 11      it this was not admitted into the record?
 12                    MS. SMITH:          Correct.        This is not
 13      admitted.
 14                    JUDGE MORAN:           Okay.      I am not allowing
 15      this exhibit into the record because you had an
 16      ample opportunity to introduce this either through
 17      Mr. Spears or through yourself, Mr. Tidaback.                             So
 18      -- And then, therefore, it's not -- then it's
 19      subject to cross-examination about it.                         Can't
 20      admit it.       RII (sic) is a no.
 21                    MR. TIDABACK:            RG.
 22                    MS. SMITH:          Oh, sorry, your Honor.                 Just


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1223    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 289


  1      for the record, I think you said "RII," and this
  2      is Exhibit RI.
  3                    JUDGE MORAN:           Yes.      I meant to say, if I
  4      didn't do that correctly, RI, one I, in other
  5      words, like the state of Rhode Island.                         All right.
  6      RI is not admitted.             Thank you.          What's next?
  7                    MR. TIDABACK:            RG.
  8                    JUDGE MORAN:           RG.     All right.         Tell me
  9      about RG, Secretary of Labor.
 10                    MS. SMITH:          Sorry, your Honor.              RG had
 11      not been admitted.
 12                    JUDGE MORAN:           All right.         I'm looking
 13      over RG, a rather lengthy exhibit, and the
 14      respondent having had adequate opportunity and
 15      ample time to attempt to introduce this exhibit
 16      either through Mr. Spears or Mr. Tidaback, RG is
 17      not admitted into the record, RG, one G, no double
 18      Gs.
 19                    MR. TIDABACK:            I think the confusion
 20      lies is when I was standing here asking questions
 21      rather than asking the -- the time to ask for
 22      submission of exhibits I believe is the fault,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1224    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 290


  1      your Honor, not -- I'm not trying to waste the
  2      Court's time.
  3                    JUDGE MORAN:           No.     I know that.           I don't
  4      take it that you're trying to waste the Court's
  5      time, but RG is not in the record.
  6                    MS. SMITH:          And just -- just for
  7      clarification, RG and RH, RH has been admitted.
  8      And I think merely if not all of G is inside of H.
  9      So those exhibits are if not completely
 10      duplicative very, very close.
 11                    JUDGE MORAN:           So you're saying RH is in
 12      the record?
 13                    MS. SMITH:          Yes.     Yes, your Honor.
 14                    JUDGE MORAN:           And you're not warranting
 15      that they're identical?
 16                    MS. SMITH:          Correct.        I can't tell right
 17      now that they're exact.                I know there are some
 18      differences, but I think all of G is inside of H,
 19      and H has been admitted.
 20                    JUDGE MORAN:           Without 100 percent
 21      certainty about that representation, it's a
 22      multipage exhibit.             It takes some time to compare


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1225    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 291


  1      it line by line, page by page.                    Okay.
  2                    So what I said stands with the comment
  3      of Attorney Smith recognized, RG not admitted, and
  4      her comments about RH are noted on the record.
  5      Court Reporter, are you getting all of this?
  6                    THE VIDEOGRAPHER:              Thumbs up.
  7                    JUDGE MORAN:           Is that it?
  8                    MR. TIDABACK:            RF.
  9                    JUDGE MORAN:           Oh.
 10                    MR. TIDABACK:            Just a few more.
 11                    JUDGE MORAN:           Okay.      RF.     RF -- Was RF
 12      admitted into the record?
 13                    MS. SMITH:          No, it was not.
 14                    JUDGE MORAN:           Okay.      RF is not admitted
 15      for the reasons I've articulated earlier.                           No RF
 16      in the -- is admitted.
 17                    MR. TIDABACK:            RE, your Honor.
 18                    JUDGE MORAN:           RE, not in the record?
 19                    MS. SMITH:          Correct, not in the record.
 20                    JUDGE MORAN:           Same reasoning as I've
 21      explained, RE, as in Edward, not admitted.
 22                    MR. TIDABACK:            RC is the last one, your


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1226    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 292


  1      Honor.
  2                    JUDGE MORAN:           All right.
  3                    MR. TIDABACK:            The reason I'm saying RC
  4      is -- it is the expanded version sideways rather
  5      than the exhibit Secretary has which is just the
  6      formatting of it.            It's real hard to see it.
  7      That's why I think it's sideways.
  8                    MS. SMITH:          Yeah.      And, your Honor,
  9      Respondent's Exhibit C is not exactly identical to
 10      our Exhibit, I think, P14.                 There are different
 11      dates in those two exhibits.
 12                    MS. O'REILLY:            We have more dates,
 13      right?
 14                    MS. SMITH:          Yeah.      Exhibit P14 contains
 15      more dates than what's reflected in Respondent's
 16      Exhibit RC.
 17                    JUDGE MORAN:           And --
 18                    MR. TIDABACK:            Then I'm okay.           If it's
 19      got the same information, I'm okay.                       I know that
 20      it's easier to read.
 21                    JUDGE MORAN:           You've indicated, Attorney
 22      Smith, that -- What was the other exhibit number?


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1227    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 293


  1      Not RC, but the other one was what?
  2                    MS. SMITH:          P14.
  3                    JUDGE MORAN:           P14.      It includes --
  4      You're representing it includes everything in RC
  5      and more?
  6                    MS. SMITH:          Well, I'll say it.              There
  7      are more dates in P14.               Mr. Tidaback said the
  8      formatting's a little bit different.                        I don't know
  9      for sure that all of the same information is on
 10      there.
 11                    JUDGE MORAN:           Okay.
 12                    MS. SMITH:          And our Exhibit P14, your
 13      Honor, we did receive that from Mr. Tidaback
 14      during discovery.            So it did come from him in
 15      discovery, P14.
 16                    MR. TIDABACK:            Yes.
 17                    JUDGE MORAN:           P14 came from the
 18      respondent?
 19                    MS. SMITH:          Yes, during discovery, and
 20      it has been admitted.              It's admitted.
 21                    MR. TIDABACK:            So we don't need RC, your
 22      Honor.


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1228    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 294


  1                    JUDGE MORAN:           Okay.      You're withdrawing
  2      your request for RC?
  3                    MR. TIDABACK:            Yes, your Honor, if it's
  4      in the paperwork.            That is all, your Honor.                  Thank
  5      you for your time.
  6                    JUDGE MORAN:           Okay.      So anything else
  7      before I announce that the hearing has come to a
  8      close?
  9                    MS. SMITH:          Nothing from the Secretary
 10      of Labor.
 11                    JUDGE MORAN:           Thank you.         Anything from
 12      the respondent?
 13                    MR. TIDABACK:            No, your Honor.
 14                    JUDGE MORAN:           Okay.      Let me just wrap up
 15      with a couple of things here.                   It will be some
 16      time, but not an inordinate amount of time, before
 17      I issue a decision in this matter.                      You can
 18      imagine with the three days of testimony or nearly
 19      three, it'll take me a long time, and then I'll
 20      have to review the respondent's briefs.
 21                    What I'd like to do is have a conference
 22      call next week.           And at that time, we'll establish


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1229    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 295


  1      dates for -- the way this works, my -- to the
  2      Tidabacks here, addressing both of you, is that we
  3      set a time frame after receipt of the transcript
  4      for the initial briefs.                Those have to be
  5      submitted simultaneously.                 There's no business
  6      where the Secretary submits it and then a week
  7      later the respondent submits it having read --
  8      They go out at the same time, the initial briefs,
  9      all right, and then whatever date we select for
 10      those to be submitted.               All right.         And it has to
 11      be through a tracking method so I can verify that
 12      -- that people complied and submitted the exhibits
 13      on or before the date that they're due, okay.
 14      Typically, it's the same day.
 15                    Then two weeks after that typically,
 16      reply briefs are in, and the reply briefs are
 17      limited.      Reply briefs are not be to a
 18      regurgitation of what was said in the initial
 19      brief.     Rather, the reply briefs challenge remarks
 20      made on each side's initial briefs.                       All right.
 21                    So, in other words, you're going to read
 22      -- in the case of the Tidabacks, you'll read the


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1230    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 296


  1      Secretary's brief.             And not saying there will be,
  2      but typically, there will be issues that you will
  3      raise or you say something such as, "Secretary
  4      omitted this or didn't characterize this
  5      correctly, and we point to pages in the exhibits
  6      or to testimony to show our side of this."                           In
  7      other words, put it more simply, each side is
  8      representing flaws, either factual or legal flaws,
  9      in their briefs, all right?                  All right.         So that's
 10      -- That's one comment I wanted to make.
 11                    The second comment is that, and this is
 12      without deciding the case, I want everyone to pay
 13      attention to this.             I have not decided this case,
 14      but there's nothing prohibiting the parties from
 15      settling this matter even now, I mean, even in the
 16      next week, for example.                The parties can reach a
 17      settlement, and I can't get involved in that and
 18      would not get involved in that.                     But I can observe
 19      that based on my experience, if a case is
 20      demonstrated and the Secretary of Labor has
 21      confidence in their testimony and in the exhibits,
 22      there still can be room for an accommodation


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1231    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 297


  1      having accepted that, and that area would be in
  2      the realm of the penalties that the Secretary is
  3      seeking.
  4                    In other words, this is hypothetically
  5      presented, and I'm not elbowing or pushing or
  6      nudging anyone to do this.                 But, for instance, in
  7      terms of a settlement, it is -- a possible
  8      scenario is Secretary agrees to reduce the
  9      penalties sought by X number of dollars for Count
 10      One and X number of dollars for Count Two, and
 11      that's the basis of the parties reaching a
 12      settlement.        So that's something --
 13                    I didn't want you Tidaback folks to walk
 14      out of here thinking that that's not still an
 15      option.      It is up until the time that I issue a
 16      decision.       Then it's too late.               So if the parties
 17      are inclined to want to work it out, and I've
 18      suggested how based on my past experience such
 19      matters can be worked out, but I'm not suggesting
 20      that in doing that that one party might say, "Oh,
 21      and there was no discrimination."                      I'm not
 22      suggesting that at all.                I gave you the avenue


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1232    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 298


  1      where parties could potentially at least reach a
  2      settlement, and that would be in the area of the
  3      penalties the Secretary is seeking.
  4                    They have the discretion to decide to
  5      lessen a penalty if the -- if the other side
  6      presents some reasons that they feel is justifying
  7      a reduced penalty on one or both of the accounts,
  8      okay.
  9                    Then my third and last point is let's
 10      assume that there is no settlement, which, again,
 11      I'm not suggesting there will be or should be, all
 12      right, totally neutral on that, and I issue a
 13      decision.       The second phase of the decision would
 14      be -- and this would have to be in short order, is
 15      for my to assess damages, that is, Mr. Baumann's
 16      damages.      And I could be wrong, but my impression
 17      on the testimony of that is that there needs to be
 18      more substantial information provided as to the
 19      damages that Mr. Baumann incurred as a result of
 20      being terminated, all right.                   And so that would
 21      require some documentation or an affidavit, but I
 22      can't just -- a figure can't be plucked off.                             "Oh,


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1233    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                              Page: 299


  1      I think I lost $200 because I had gas or something
  2      driving from one point to another or workman's
  3      compensation, unemployment, whatever, unemployment
  4      compensation."          It's got to be a little bit harder
  5      than that because I'm not going to do this.                            I
  6      don't do this.          I can't go about making findings
  7      of fact as to what the damages were without
  8      documentation that I can rely upon for reaching
  9      it.
 10                    The Secretary has sometimes wanted to
 11      put that on me, and I've always pushed back and
 12      said, "I can't decide that.                  I need documents,"
 13      just as we needed documents for the exhibits here.
 14      So you understand that, Secretary of Labor, if we
 15      get to phase two?            And that would be something --
 16      You could submit that in advance, and then you
 17      would share that documentation if I get to that
 18      point if I find, yes, Secretary established
 19      protected activity and interference, either or
 20      both.     Then I move to the second part if there's
 21      no settlement which is what are the damages and --
 22      and other proscriptions which I would put in my


      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1234    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
Vol. 3                                                                             Page: 300


  1      Order if I find that.               Everybody understand that?
  2                    MS. SMITH:          Yes, your Honor.
  3                    JUDGE MORAN:           Okay.      Okay.       So we'll
  4      have a conference call sometime next week.                           I'll
  5      have my law clerk, Jose Natera, contact you.
  6      We'll arrange a time that's convenient for all of
  7      us.   We'll establish dates for the post-hearing
  8      briefs, and the Secretary will advise me about
  9      this question of damages, what they intend to do
 10      about that.
 11                    All right.          I want to thank you all for
 12      your courtesy and professionalism.                      It's been
 13      enjoyable to have a hearing, and I wish you all
 14      well.     This hearing will now come to a close.
 15                    MS. SMITH:          Thank you.
 16                    MR. TIDABACK:            Thank you, your Honor.
 17                            (Whereupon, at 2:29 p.m., the
 18                            HEARING was adjourned.)
 19                                 *    *    *    *    *
 20

 21

 22



      Appellate Case:
         Anderson     25-1349
                   Court         Page:
                          Reporting -- 1235    Date Filed:
                                        703-519-7180       04/07/2025 Entry ID: 5503844
                                                     -- www.andersonreporting.net
                                                                  Page 275

1       STATE OF WISCONSIN          )
                                    )   SS:
2       COUNTY OF RACINE            )
3
4                          I, JENNIFER L. SCHMALING, a Registered
5       Merit Reporter, Certified Realtime Reporter,
6       Certified Realtime Captioner, Illinois Certified
7       Shorthand Reporter, and Notary Public in and for the
8       State of Wisconsin, do hereby certify that the above
9       DAY 3 TRANSCRIPT OF PROCEEDINGS was recorded by me
10      via Zoom on February 29, 2024, and reduced to
11      writing under my personal direction.
12                         I further certify that I am not a
13      relative or employee or attorney or counsel of any
14      of the parties, or a relative or employee of such
15      attorney or counsel, or financially interested
16      directly or indirectly in this action.
17                         In witness whereof I have hereunder set
18      my hand and affixed my seal of office at Milwaukee,
19      Wisconsin, this 18th day of March, 2024.
20
21
22                                            <%26892,Signature%>
                                                 Notary Public
23                                In and for the State of Wisconsin
24
        My Commission Expires:           January 7, 2027
25      IL CSR License No. 084.004875




 Appellate Case: 25-1349   Page: 1236   Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

JULIE A. SU, Acting Secretary of Labor, )                     DISCRIMINATION &
United States Department of Labor, and  )                     INTERFERENCE PROCEEDING
ROBERT BAUMANN                          )                     DOCKET
               Complainants,            )
       v.                               )                     Docket No. CENT 2023-0251-DM
MOSENECAMANUFACTURER LIMITED)
LIABILITY COMPANY d/b/a AMERICAN)                             Mine: MOSenecaMfr LLC dba
TRIPOLI,                                )                     American Tr
               Respondent.              )                     Mine Id No. 23-00504


           ACTING SECRETARY’S SUBMISSION OF ADMITTED EXHIBITS

        Pursuant to the Court’s orders during the post-hearing conference call held on March 7,

2024, the Acting Secretary of Labor, U.S. Department of Labor (the “Acting Secretary”) submits

the exhibits admitted during the hearing in this matter. A hearing on this matter was held on

February 27, 2024 through February 29, 2024 in Joplin, Missouri. The transcript of these

proceedings was forwarded to the Acting Secretary on March 19, 2024.

        After a review of the transcript the following exhibits were admitted:

        For the Acting Secretary: P-1, P-2, P-4, P-7, P-8, P-9, P-10, P-11, P-12, P-13, P-14, P-16,

P-17, P-19, P-20, P-21, P-22, P-23, P-25, P-26 (pages 2, 3, 4, 5, 6, and 9), P-27, P-28, P-29, P-

31, P-32, P-34, P-35, P-38, P-39, P-40, P-41, P-42, P-43, P-44, and P-45.

        For the Respondent: R.A, R.B, R.H, R.X, R.Y, R.Z, R.DD, R.EE, R.FF, R.GG, R.II, and

R.JJ.

        In addition to this electronic submission, a copy of the admitted exhibits will also be

mailed to the Court and Respondent using the mailing addresses previously provided.




                                                 1

 Appellate Case: 25-1349         Page: 1237          Date Filed: 04/07/2025 Entry ID: 5503844
                                                      Respectfully submitted,

                                                      Seema Nanda
                                                      Solicitor of Labor

                                                      Christine Z. Heri
                                                      Regional Solicitor

                                                      Evert H. Van Wijk
                                                      Associate Regional Solicitor


U.S. Department of Labor                              /s/ Laura M. O’Reilly
Office of the Solicitor                               Laura M. O’Reilly
2300 Main Street, Suite 10100                         Senior Trial Attorney
Kansas City, MO 64108                                 Direct: (816) 285-7277
Oreilly.Laura.M@dol.gov                               Elaine M. Smith
Smith.Elaine.M@dol.gov                                Quinlan Moll
Moll.Quinlan.B@dol.gov                                Trial Attorney
                                                      Direct: (816) 285-7262
                                                      Attorneys for the Secretary



                                 CERTIFICATE OF SERVICE

       I certify that a correct copy of the foregoing was electronically submitted to the Federal

Mine Safety and Health Review Commission on March 22, 2024, and was simultaneously via

electronic mail to the following party:

Russell Tidaback
American Tripoli
2701 E. Grauwlyer Road
Building 1, Dept. 1008,
Irving, TX 75061
RTidaback@deedyco.com


Robert Baumann
Baumannr24@gmail.com

                                                      /s/ Laura M. O’Reilly




                                                2

 Appellate Case: 25-1349         Page: 1238         Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1239   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1240   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1241   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1242   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1243   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1244   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1245   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1246   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1247   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1248   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1249   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1250   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1251   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1252   Date Filed: 04/07/2025 Entry ID: 5503844
Rob Baumann
Thursday, April 27, 2023   7:13 PM

26JUL2022 - Jeff states the shaker screen ripped because Rob didn’t put bolts back in and just ran it like
that. Rob told Miguel that he didn’t care and that Miguel needed to get down. Rob shut things down
sent everyone home early.

27JUL2022 - Christine states Rob is having the guys run straight 8 hours and bypassing the given break
so they can go home earlier. I explained the break should be rotated so we can continue to produce for
the 8.5 hours. The breaks are precautionary for employees dust exposure too. MO doesn’t require
breaks to be given. Plus they are only running bulk bags and that can be done with two people.

1AUG202 - Christine states If Rob cannot get it done, we just need to replace him.

5AUG2022 - Jessie states there is no emphasis for the guys to help him. When he brings it to Rob, he
shruggs his shoulders and walks away.

8AUG2022 - Christine wants to bring Rob to first shift as she doesn’t believe Rob is doing what he is
suppose to be doing without someone overseeing him. We cannot put Jim on nights due to being a
single father and a young child at home.

9AUG2022 - Christine thinks we should train someone to replace Rob on the night shift.

16AUG2022 - Advised Christine to counsel Rob regarding shutting down and letting people go earlier
than scheduled.

25AUG2022 - Rob needs counseling on filling out the BOL correctly. A shipper complained that he did it
wrong and wasted their time.

31AUG2022 - Had discussion with Rob on the importance of inputting the daily production information
in the spreadsheet. He said he would log in and get it done.

3SEP2022 - Had discussion with Rob regarding the daily production numbers and updating the
spreadsheet accurately. I don’t know if he is incompetent or just lazy.

28SEPT2022 - Rob not doing the CILAS reports as required for orders produced.

8OCT2022 - Jessie and Carson were waiting for Rob to get there. Rob was late getting there.

12OCT2022 - Had discussion with Rob regarding notifying and working with Carson to address the
maintenance issues. Carson said Rob gets mad at everything and is hard to work with. I explained that
getting angry and combative with others is not going to solve the issue any quicker.

13OCT2022 - Had to counsel Rob on following the production schedule as it is presented. He was not
producing what was on the schedule. Rob said he didn’t like having to check the computer or phone to
do his job. I explained that the computer work was part of the role.

17OCT2022 - Had to explain Rob about the flow of the system and asked him why he wasn’t reviewing
the operating documents in the maintenance team files. His excuse was he didn’t like to read on a
computer.

26OCT2022 - Had to explain to Rob why the MAC vacuum system was spewing dust from the exhaust
and that we had to shut the system down so DEQ doesn’t get called. Jim states Rob doesn’t know what
he is doing.

2NOV2022 - John mentioned Rob showing his poor attitude again.

5NOV2022 - Had to get onto Rob about not properly keeping team shift hours correct in Shifts. He was
writing them down on scratch paper and forgetting to update shifts. I don’t know if he is just lazy or
what. I explained that he can do this any time from the computer or his phone.

8NOV2022 - Had to inquire with Rob if he was shutting down early letting people go home early. The
systems were showing shut down before the end of the shift.

1DEC2022 - While at AT had a discussion with Rob regarding his lack of attentiveness regarding ensuring
the proper things were done with his team. The checklists werent being completed. The inspections
werent being completed. The breakroom was a disaster. The fridge was disgusting. The trash wasn’t
taken out the day before, some of the windows were still open. The production floor was a mess. The
back roll up door was off track. The bathroom was disgusting. The circuit breakers in Warehouse A was
blocked by slip sheets.

16DEC2022 - Discussion regarding keeping the production team informed of what is expected to



         Appellate Case: 25-1349                       Page: 1253                Date Filed: 04/07/2025 Entry ID: 5503844
                                           HR Personnell Page 1
produce that day. Rob is lacking in managerial purpose for his team members.

26DEC2022 - Discussion with Rob regarding not meeting the daily production goals, team members
complaining that he doesn’t know what he is doing and that he just gets angry and stomps around like a
child. He isnt a leader and allows his team to push him around. His response was just nodding his head. I
stressed filling out the tasking board everyday and making sure the things get done. If he has problems
with someone, take it to John and john will get it resolved. Jim blames Rob.

20JAN2023 - Kensley posted in the Ops chat group a pic of dust blowing out the back of the bldg. Again,
had to stress to Rob that he needs to watch for any dust blowing out of the building. We cant have the
Sheriff or DNR receiving complaints about us. We had to reiterate in the group that is was Robs
responsibility to be inputting in the daily production worksheet what was produced each day before he
leaves for the day. This wasn’t been done.

25JAN2023 - Had to get onto Rob regarding keeping the completed bag inventory up to date. John and I
discussed Robs attitude.

14FEB2023 - MSHA blocking shipments and Rob states the inspector is "out for blood".




28FEB2023 - discussed with Rob about the task board. Starting to think we need to let Rob go. His
attitude is one that he doesn’t care about getting things done. He jokingly mentioned he liked being paid
for not working.

20MAR2022 - Alex Snodgrass hired to eventually replace Rob.

24MAR2023 - Discussion with John regarding Robs push back on stacking the bags today. I believe Robs
attitude is infectious. We need Alex to take over for Rob and just let Rob go for performance issues.

30MAR2023 - ATMO Safety discussion with Jessie about ensuring that Rob gets the tasks done. The tasks
are established, just not getting enforced by Rob.

5APR2023 - Alex informed us regarding accepting a neurology position at a hospital in Little Rock.
Neurology is his degree is in. John and I discussed just letting Rob go.

7APR2023 - John, Jordan and I discussed letting Rob go.

12APR2023 - Time to let Rob go. He is afraid to make the system work and cant meet the simple daily
quotas. If Jim can get it done why cant Rob. Need to look at the mill structure again. Jim can run the Mill,
we just need to get a manager of people to manage the team. Hopefully, Brian Edwards can do it. He


        Appellate Case: 25-1349                         Page: 1254                Date Filed: 04/07/2025 Entry ID: 5503844
                                           HR Personnell Page 2
can manage the people, QC, inventory and the reporting. Jim can run the mill. Brian will need to learn
how to as a back up to Jim.

14APR2023 - Warned John about an MSHA complaint when we let Rob go. Robs termination will be
based on production performance, not following guidance given by management, not ensuring the
safety of the mill associated by utilizing the proper controls, etc. Send John the termination letter.

16APR2023 - Ask Keith about miner pay and withdrawl order. Robs termination letter sent to John.

17APR2023 - Keith replied about withdrawl order pay. Brian Edwards was a no show for the MSHA
training.




        Appellate Case: 25-1349                        Page: 1255                Date Filed: 04/07/2025 Entry ID: 5503844
                                           HR Personnell Page 3
The following is the chat between Gage Wheeler and John Spears in the Maintenance chat group.

Gage Wheeler=Unknown User




 Appellate Case: 25-1349         Page: 1256        Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1257   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________

2OCT2023

U.S. Department of Labor
Office of the Solicitor
2300 Main Street, Suite 10100
Kansas City, MO 64108
Attorneys for the Secretary
Laura Oreilly
oreilly.laura.m@dol.gov
Elaine Smith
smith.elaine.m@dol.gov


Dear Ms. Laura Orielly,

Responding to the interrogatories, requests for production of documents, and requests for admission on behalf of
Respondent American Tripoli:



                                              INTERROGATORIES

        INTERROGATORY NO. 1: State the facts you contend support your claim that you did not violate
Section 105(c) of the of the Mine Act, 30 U.S.C. § 815(c), by terminating Robert Baumann.

        ANSWER: The termination of Mr. Robert Baumann was not related to his engagement in protected
activities under the Mine Act, but rather due to his consistently poor performance and the necessity for an
appropriate timing of a new hire to replace him.

    1. Performance Issues: Throughout Mr. Baumann's employment at American Tripoli, there were ongoing
        documented performance issues that were discussed for months prior to his termination. These issues
        included concerns about his competence, work ethic, and ability to fulfill his role as a shift lead.
        The decision to terminate Mr. Baumann's employment was primarily based on his performance during
        his tenure at American Tripoli. Numerous personal notes and discussions over the months prior to his
        termination demonstrate that his job performance was consistently unsatisfactory. These records attest to
        his inability to perform his duties satisfactorily as a shift lead, including failing to ensure proper work
        was completed within his specified work group, missing deadlines, and displaying an inability to accept
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1258        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       and provide feedback to his team members.
       Mr. Baumann consistently demonstrated incompetence and a poor work ethic, as evidenced by the
       excessive number of citations received for his area of responsibility during his relatively short
       employment with American Tripoli.


   2. Replacements and Competency: American Tripoli made multiple efforts to find a suitable replacement
       for Mr. Baumann. The hiring of Mr. David Daigle in April 2022 was part of these efforts. Unfortunately,
       Mr. Daigle resigned a week later. Subsequent hires in August 2022 (Mr. Will Shallenburger), November
       2022 (Mr. Richard McClelland), and March 2023 (Mr. Alex Snodgrass) were also made in an attempt to
       replace Mr. Baumann, each candidate demonstrating greater competency and leadership skills than Mr.
       Baumann. It is important to note that it was Mr. Alex Snodgrass's hiring in March 2023 that seemed to
       signal to Mr. Baumann that his tenure was being challenged, leading to a further decline in his attitude.


   3. Proactive Safety Measures: American Tripoli is committed to maintaining a safe and compliant work
       environment. We have established policies and procedures that encourage open communication and
       reporting of safety concerns by all employees, including Mr. Baumann. Active communication channels
       were in place for all miners to express their concerns regarding safety and compliance. During his
       tenure, Mr. Baumann and other miners were encouraged to bring forward safety issues, and the mine
       operator consistently took swift action to address these concerns.


   4. Absence of Official Engagement in Protected Activities: It is imperative to emphasize that Mr.
       Baumann did not serve as a designated representative of miners, nor did he submit any relevant
       information to the MSHA District Manager or to the mine operator, as required by 30 CFR Part 40.
       Every miner possesses the right to engage and accompany an MSHA inspector during an inspection, as
       stipulated by the Miner's Act. However, it's important to clarify that mere participation in such activities
       does not automatically confer upon a miner the designation of a miners' representative. In his claim, he
       states that he served as a representative of miners in an official capacity. However, the mine operator
       had no prior knowledge of any such intent or stated performance. If the mine operator had been

                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1259        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________
       informed of Mr. Baumann's desire to act as a miners' representative, they would have readily provided
       support and assistance to facilitate their involvement. This support would have included a more
       comprehensive briefing on the operations, ensuring that the designated person had the necessary insights
       to effectively address any inquiries from an inspector. This, another example of Mr. Baumanns lack of
       communication and leadership skills or experience. Regrettably, the mine operator was only made aware
       of Mr. Baumann's claim or supposed intention to serve as a representative of miners when the complaint
       was received by the commission. These points clarify the timeline and the lack of awareness regarding
       Mr. Baumann's purported role as a representative of miners and that his termination was entirely
       unrelated to protected activities under the Mine Act.


   5. Inconsistent Claims: Mr. Baumann's current assertions about unaddressed safety concerns are
       inconsistent with the documented history of safety communication and resolution during his tenure. It is
       crucial to consider the inconsistency between his current claims and the historical record of safety
       communication and resolution within the company.


   6. Questioning the Timing: We urge you to consider the timing of Mr. Baumann's claims about any
       unresolved safety issues. The mine operator offers numerous communication channels to express or
       bring forward and safety concerns. If Mr. Baumann had concerns, he did not utilize any of the available
       opportunities. Notably, he has only made any claims such claims after his termination. This timing raises
       questions about his motives and the credibility of his assertions.


   7. Notice of Termination: Mr. Baumann received his notice of termination on April 17, 2023. It is notable
       that, as evidenced by the Kansas Department of Labor's rules and Unemployment Benefits Form 2023,
       Mr. Baumann applied for unemployment insurance benefits on April 16, 2023, potentially indicating his
       intention to quit the next day. Therefore, his termination was not related to his protected activities, but
       rather based on his poor performance.




                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1260        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________
   8. Legal and Ethical Obligations: The mine operator has a legal and ethical obligation to ensure a safe
         work environment for all employees. We remain committed to supporting employees' rights to report
         safety issues without fear of retaliation.

In conclusion, American Tripoli vehemently denies that Mr. Baumann's termination was in violation of Section
105(c) of the Mine Act. The decision to terminate Mr. Baumann was a result of his consistent poor
performance, inability to fulfill his responsibilities, and the company's efforts to maintain the safety and
efficiency of its operations, and not because of any protected activities he may have engaged in under the Mine
Act. The proposed civil penalty is excessive and unwarranted, considering the specific circumstances of the
case.



INTERROGATORY NO. 2: State the facts you contend support your claim that you did not violate Section
105(c) of the Mine Act, 30 U.S.C. § 815(c) by interfering with miners’ rights at the MoSenecaMfr LLC dba
American Tr mine, as outlined in Count II of the Complaint filed in this docket.
        ANSWER: In response to Count II of the Complaint, which alleges interference with miners' rights under
Section 105(c)(1) of the Mine Act, the Respondent vehemently denies the allegations and submits the following
arguments and facts to refute the claim of interference.


        1. INTENT OF COMMUNICATION:
        The primary argument against the interference complaint centers around the intent behind Mr. John Spears'
message to Mr. Gage Wheeler during the MSHA inspection on 14FEB2023. The message was not intended to
interfere with miners' rights but rather to facilitate communication and ensure accurate information transfer to the
MSHA inspector. We want to clarify that the communication on February 14, 2023, was directed to a specific
miner, Gage Wheeler, and was not a message sent to all miners. Mr. Gage Wheeler, who had a history of being
confrontational during past MSHA inspections. Therefore, it was crucial to address potential issues in
communication. This communication has been included in the "ALL Communications regarding MSHA.pdf,
14FEB2023 - John message to Gage about MSHA inspector.png, 14FEB2023 - John message to Gage about


                                   CustomerService@AmericanTripoli.com
           Appellate Case: 25-1349         Page: 1261      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
MSHA inspector 2nd part.png, 14FEB2023 - Russell message to John about not telling Gage to speak with MSHA
inspectors.png" document for your reference. See folder “Request for Documents 20”. Therefore, it was crucial
to address potential issues in communication. This is a testament to the mine operator's commitment to ensuring
smooth inspection processes.


      2. RESPECT FOR MINER RIGHTS:
      The Respondent reaffirms its unwavering commitment to respecting miners' rights to report safety or health
issues to MSHA and to participate in inspections without interference. The mine operator has always upheld these
rights and encouraged employees to express their concerns regarding safety and compliance without fear of
retaliation. This commitment to miner rights was consistently maintained throughout Mr. Baumann's tenure, as
well as during the MSHA inspection in question. There were no actions taken to undermine miners' rights to
engage with MSHA inspectors.


      3. DISMISSAL OF INTERFERENCE CLAIM:
      The allegations in the interference complaint, as detailed in Count II, are not substantiated by concrete
evidence or facts. While the complaint alleges that Respondent interfered with miners' statutory rights, there is
no proof that Mr. Baumann was told not to speak with MSHA inspectors or that his rights were compromised in
any way. Furthermore, the Respondent addressed any potential misunderstandings with miners, such as Mr. Gage
Wheeler, to clarify that they were free to speak with MSHA inspectors. Mr. Gage Wheeler, having undergone
MSHA training on miners' rights, confirmed that he did not feel that Respondent's message interfered with his
rights.


      In conclusion, the interference allegations in Count II of the Complaint lack substantial evidence and should
be dismissed. The Respondent's actions have consistently been aimed at ensuring safety and compliance while
respecting miners' rights. The complaint does not establish any violation of Section 105(c)(1) of the Mine Act.
The proposed civil penalty is unwarranted in this case, as there is no basis for the interference claim, and the
Respondent remains committed to maintaining a safe and healthy work environment.

                                CustomerService@AmericanTripoli.com
          Appellate Case: 25-1349       Page: 1262        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________




      INTERROGATORY NO. 3: Set forth the job duties, title and responsibilities of Robert Baumann while
he was employed by Respondent, including the dates of his employment in each role.
       ANSWER: Mr. Robert Baumann served as a Shift Lead at our facility from June 16, 2022, to April 17,
2023. As a Shift Lead, Mr. Baumann had specific responsibilities to ensure the efficient and safe operation of
our mill facility. His duties and responsibilities included but were not limited to the following:

       Shift Lead Duties:

       Oversee Mill Associates: While Mr. Baumann was not a supervisor, he provided guidance and support
to Mill Associates, ensuring they carried out their tasks efficiently and complied with safety and operational
guidelines.

       Daily Assignment of Start-Up and Shut-Down Tasks: On a daily basis, Mr. Baumann was tasked to
assign and ensured the completion of start-up and shut-down tasks on the boards located in the breakroom,
contributing to the mill's daily operations efficiencies.

       Rotation Schedule and Task Assignments: Daily, Mr. Baumann was tasked to assign roles, follow
rotation schedules, and delegate specific tasks to Mill Associates to ensure the smooth functioning of the mill.

       Time Tracking: Mr. Baumann was tasked to maintain records of worked hours, paid time off (PTO), or
unpaid leave for Mill Associates, which was crucial for time management and payroll purposes.

       Enforcement of Safety Procedures: He was responsible for reminding Mill Associates to wear
appropriate personal protective equipment (PPE) and collaborated with the Environmental and Safety Specialist
to ensure compliance with MSHA and company safety regulations. Which he lacked tremendously and the
citations received during his tenure exemplify this.

       Utilization of MS Teams for Collaboration: Mr. Baumann was tasked to actively use Microsoft Teams to
foster collaboration and communication among team members, contributing to a cohesive and efficient work
environment for which he failed at.
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1263        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
       Control Room Backup: He was tasked as the backup for the control room, which entailed operating the
control room in the absence of the more experience Mill Associate.

       Control Room Operation: In the absence of the more senior Mill Associate due to leave or other
circumstances, Mr. Baumann was tasked for operating the control room, which is a mission-critical aspect of
mill operations.

       Startup and Shutdown Procedures: Mr. Baumann was tasked with the startup and shutdown procedures
of the mill, ensuring they were executed according to established protocols.

       Collaboration with Quarry Associate/Operations Manager: He was tasked to collaborate with the Quarry
Associate and Operations Manager, specifically regarding material deliveries, crushing operations, and any
material-related requirements for mill production.

       Mill Product and Production Supply Inventory: Mr. Baumann was tasked to conduct monthly inventory
counts for various supplies and materials, including bags, pallets, stretch wrap rolls, slip sheets, and oil,
ensuring accurate records for operational purposes for which he failed at miserably.

       Shipping/Receiving Paperwork: He was tasked in the preparation and verification of shipping and
receiving paperwork, ensuring all relevant documents were complete and accurate. He also assisted truck
drivers with paperwork-related inquiries and processing for which he struggled with the entire time.

       Mailing/Preparing Easy-to-Handle Bags: Mr. Baumann was tasked with preparation of easy-to-handle
retail bags, contributing to our efficient order fulfillment process for which his performance was so lacking that
we were never able to get him to do this tasking.

       Quality Control/CILAS Reports: He was tasked to run CILAS (Coupled Ion Chromatography and Light
Scattering) reports after each grade of product was produced, maintaining quality control records. Again his
performance was so lacking that we were never able to get him to do this tasking.

       Preventive Maintenance Schedule: Mr. Baumann was tasked to collaborate with the maintenance team
to update the preventive maintenance schedule as tasks were completed or needed to be added, ensuring the


                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1264        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
equipment's reliability and longevity. Again, his performance was so lacking that we were never able to get him
to do this tasking.

        Mill Parts/Supplies Requests: He was tasked to work closely with the maintenance team to identify and
request necessary parts and supplies, including online searches and submission of quotes to the Operations
Manager for approval and purchasing. Again, his performance was so lacking that we were never able to get
him to do this tasking.

        Additional Tasks: Mr. Baumann struggled with effectively completing the above tasks and
responsibilities as requested by different departments, showcasing his flexibility and dedication to the smooth
operation of the facility that he was not respected by his peers.

        Professional Development Counseling: He was tasked to work with the Operations Manager to conduct
professional development counseling sessions, focusing on the growth and development of Mill Associates.
These, due to his poor performance, never happened.

        While Mr. Baumann was a shift lead, not a supervisor, this role is instrumental in various aspects of mill
operations. This detailed overview of his job duties during his employment at our facility accurately represents
the nature of his role at American Tripoli.




      INTERROGATORY NO. 4: If Respondent claims that a defense or affirmative defense is applicable to
the claims at issue in this case, please identify each such defense and state with particularity the material facts
supporting such defense.
                               ANSWER: While we understand the need for transparency and adherence to legal
processes, we firmly contend that requiring the immediate identification of defenses with particularity may not
be suitable for the complex and evolving nature of this case. It is essential to uphold the principles of fairness,
due process, and the right to develop a comprehensive defense. We propose that the Respondent be allowed to
identify defenses as the case unfolds, ensuring that both parties have an equal opportunity to present their positions



                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1265       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
effectively. This approach will safeguard the integrity of the legal process while preserving the rights of all parties
involved.




      INTERROGATORY NO. 5: Set forth the reasons Robert Baumann was terminated, who participated in
the decision to terminate Robert Baumann, and the date such decision was made.
                                 ANSWER: The termination of Mr. Robert Baumann was based on well-
established principles of employment and operational policies. The decision to terminate an employee is never
taken lightly and is made in consideration of multiple factors, including the overall safety and efficiency of our
operations. Below, we provide a general outline of the principles that guided Mr. Baumann's termination and the
individuals involved in the decision.


      Principles for Termination:
      Mr. Baumann's termination was the result of several factors, including but not limited to:


            •   Poor Performance: Mr. Baumann's performance as a shift lead consistently fell below acceptable
                standards, demonstrating an inability to fulfill his role effectively.

            •   Lack of Leadership Skills: Mr. Baumann's performance was hindered by a lack of leadership skills,
                which were essential for his position.

            •   Failure to Follow Procedures and Guidance: Despite several attempts to address these issues through
                coaching, feedback sessions, and open communication channels, Mr. Baumann did not exhibit any
                signs of improvement in his performance or attitude.

            •   Safety Concerns: Safety is a paramount concern in our operations. Mr. Baumann's disregard for
                safety guidelines, and failure to take safety matters seriously, created an unsafe work environment
                for himself and his colleagues.

            •   Also following the Missouri Department of Labor Discharged Employees and Final Wages,
                Missouri follows the Employment-At-Will doctrine. This means that both the employer and

                                   CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349            Page: 1266        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
             employee can terminate the employment relationship at any time and for any reason, as long as there
             is no employment contract to the contrary, there is no discrimination under civil rights laws (based
             on race, color, age, national origin, religion, ancestry, sex, or physical/mental disability), no merit
             laws    apply,    or   the   state’s   limited   public   policy    exception    does    not   apply.(
             https://labor.mo.gov/dls/general/termination-final-wages)


      Participants in the Decision:
      The decision to terminate Mr. Baumann was made collectively by management personnel within our
organization. It is important to emphasize that the decision was based on a thorough assessment of Mr. Baumann's
performance, through different managers’ feedback, in alignment with established company policies.


      Date of the Decision:
      The decision to terminate Mr. Baumann was made in accordance with company protocols and procedures,
and it was communicated to Mr. Baumann on April 17, 2023. It is important to note that termination is not an
abrupt action but a culmination of ongoing discussions, evaluations, and attempts to improve an employee's
performance over time.


      In conclusion, the decision to terminate Mr. Baumann was based on general principles of employment and
operational policies to ensure the safety and efficiency of our operations. We remain committed to safeguarding
both individual rights and operational integrity while adhering to legal and ethical standards.




      INTERROGATORY NO. 6: Identify by name, job title, job duties, dates of employment, phone number,
email address, and home address, each individual employed by Respondent at the MoSenecaMfr LLC dba
American Tr mine from June 1, 2022 through April 17, 2023.
                               ANSWER: Respondent provides the following information regarding individuals
employed at American Tripoli from June 1, 2022, through April 17, 2023:

                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1267      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________


   1. Frank Duran
           a. Job Title: Asst Manager
           b. Dates of Employment: September 27, 2021, through March 24, 2022
           c. Home Address: 8624 Cedar Dr. Joplin, MO 64804


   2. Camrin Bindel
           a. Job Title: Mill Associate
           b. Dates of Employment: March 28, 2022, through June 7, 2022
           c. Home Address: 201 N. Vine St Commerce, OK 74339


   3. Jeffrey Willis
           a. Job Title: Maintenance Lead
           b. Dates of Employment: March 21, 2022, through July 29, 2022
           c. Home Address: 1910 Pineville, Neosho, MO 64850


   4. Roger Chester
           a. Job Title: Quarry Manager
           b. Dates of Employment: June 4, 1983, through August 9, 2022
           c. Home Address: 69101 East 94th Rd, Wyandotte, OK 74370


   5. Juan Trujillo
           a. Job Title: Maintenance Associate
           b. Dates of Employment: June 15, 2022, through August 15, 2022
           c. Home Address: 2137 Elenor St, Springdale, AR 72764


   6. Christine Schreiber

                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1268   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           a. Job Title: Operations Manager
           b. Dates of Employment: April 4, 2022, through August 17, 2022
           c. Home Address: 2302 E. 10th St., Joplin, MO 64801


   7. Jubil Clark
           a. Job Title: Mill Associate
           b. Dates of Employment: April 27, 2022, through November 11, 2022
           c. Home Address: 11701 S 510 Rd, Miami, OK 74354


   8. Cheri Blount
           a. Job Title: Administrative Assistant
           b. Dates of Employment: May 16, 2022, through August 26, 2022
           c. Home Address: PO Box 732 Miami, OK 74355


   9. Bonnie Bainter
           a. Job Title: EHS Manager
           b. Dates of Employment: January 17, 2022, through August 30, 2022
           c. Home Address: 122 W. Pearl St, Goodman, MO, 64843


   10. Angela Schafer
           a. Job Title: Production Shipping Coordinator
           b. Dates of Employment: August 18, 2022, through September 13, 2022
           c. Home Address: 9002 W. Hwy 20, Jay, OK 74346


   11. Joshua Bird
           a. Job Title: Mill Associate
           b. Dates of Employment: May 26, 2022, through September 27, 2022

                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1269   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           c. Home Address: 118 N. Main St. Fairland, OK 74343


   12. William Shallenburger
           a. Job Title: Production Manager
           b. Dates of Employment: August 24, 2022, through October 5, 2022
           c. Home Address: 66117 E. 160 Rd, Wyandotte, OK 74370


   13. Jessie Hodge
           a. Job Title: Maintenance Lead
           b. Dates of Employment: August 1, 2022, through October 31, 2022
           c. Home Address: 9002 W. Hwy 20, Jay, OK 74346


   14. Carson Allman
           a. Job Title: Maintenance Associate
           b. Dates of Employment: September 15, 2022, through November 4, 2022
           c. Home Address: 1738 Salt Rd, Noel, MO 64854


   15. Terry Newburn
           a. Job Title: Safety Manager
           b. Dates of Employment: September 26, 2022, through November 4, 2022
           c. Home Address: 405 Gratz St, Noel, MO 64854


   16. Landry Barnes
           a. Job Title: Mill Associate
           b. Dates of Employment: April 27, 2022, through November 11, 2022
           c. Home Address: 11701 S 510 Rd, Miami, OK 74354



                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1270   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________
   17. Terry Barlow
           a. Job Title: Maintenance Technician
           b. Dates of Employment: November 8, 2022, through November 13, 2022
           c. Home Address: 12624 Elder Rd, Diamond, MO 64840


   18. Richard McClelland
           a. Job Title: Production Supervisor
           b. Dates of Employment: November 14, 2022, through November 16, 2022
           c. Home Address: 105 N. Delaware St., Grove, OK 74344


   19. Blake Leaf
           a. Job Title: Mill Associate
           b. Dates of Employment: October 12, 2022, through November 30, 2022
           c. Home Address: 65300 E. 248 Ln Lot 60, Grove, OK 74344


   20. Justin Campbell
           a. Job Title: Mill Associate
           b. Dates of Employment: October 12, 2022, through December 29, 2022
           c. Home Address: 112 N. Elm St, Wyandotte, OK 74370


   21. Sarah Giberti
           a. Job Title: Administrative Assistant
           b. Dates of Employment: August 29, 2022, through December 30, 2022
           c. Home Address: 535 Dove Rd, Goodman, MO 64843


   22. Bryceton Williams
           a. Job Title: Maintenance Technician

                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1271   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________
           b. Dates of Employment: November 21, 2022, through January 2, 2023
           c. Home Address: 4824 Empire Lane, Joplin, MO 64804


   23. Benjamin Waters
           a. Job Title: Mill Associate
           b. Dates of Employment: June 6, 2022, through January 4, 2023
           c. Home Address: 4161 Detroit Dr, Joplin, MO 64804


   24. Dakota Fellers
           a. Job Title: Mill Associate
           b. Dates of Employment: January 11, 2023, through January 17, 2023
           c. Home Address: 300 W. Washington, Marionville, MO 65705


   25. Kensley Brewer
           a. Job Title: Production Coordinator
           b. Dates of Employment: December 19, 2022, through January 24, 2023
           c. Home Address: 2415 Alabama Ave., Joplin, MO 64804


   26. Andrew Wasson
           a. Job Title: Heavy Equipment Operator
           b. Dates of Employment: December 12, 2022, through February 25, 2023
           c. Home Address: 408 W. Spring St., Neosho, MO 64850


   27. Gage Wheeler
           a. Job Title: Maintenance Technician
           b. Dates of Employment: December 26, 2022, through February 28, 2023
           c. Home Address: 618 Valley View Dr., Carl Junction, MO 64834

                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1272   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________


   28. Alex Snodgrass
           a. Job Title: Production Coordinator
           b. Dates of Employment: March 20, 2023, through April 14, 2023
           c. Home Address: 3812 South Indiana Ave., Joplin, MO 64804


   29. Robert Baumann
           a. Job Title: Production Supervisor
           b. Dates of Employment: June 16, 2022, through April 17, 2023
           c. Home Address: 939 South Park Dr, Columbus, KS 66725


   30. Ronnell Fondren
           a. Job Title: Mill Associate
           b. Dates of Employment: February 8, 2023, through April 20, 2023
           c. Home Address: 2640 E. 34th St Apt F76, Joplin, MO 64804


   31. Jessie Molesi
           a. Job Title: EHS Specialist
           b. Dates of Employment: March 20, 2023, through August 10, 2023
           c. Home Address: 175 Judd St., Granby, MO 64844


   32. Jeremy Talbert
           a. Job Title: Maintenance Technician
           b. Dates of Employment: March 20, 2023, through August 11, 2023
           c. Home Address: 2640 E. 34th St Apt F76, Joplin, MO 64804


   33. Patrick Lewis

                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1273   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           a. Job Title: Mill Associate
           b. Dates of Employment: March 7, 2022, through August 25, 2023
           c. Home Address: 13305 Iris Rd #4 Neosho, MO 64850


   34. Ryan Closser
           a. Job Title: Maintenance Technician
           b. Dates of Employment: March 27, 2023, through September 1, 2023
           c. Home Address: 624 Tatterson, Puenweg, MO 64841


   35. Jimmy Hoover
           a. Job Title: Mill Associate
           b. Dates of Employment: November 14, 2018, through September 14, 2023
           c. Home Address: PO Box 111, Seneca, MO 64865


   36. Raneldon Williams
           a. Job Title: Mill Associate
           b. Dates of Employment: June 20, 2022 - Present
           c. Home Address: 3812 South Indiana Ave., Joplin, MO 64804


   37. John Spears
           a. Job Title: Operations Manager
           b. Dates of Employment: August 17, 2022 - Present
           c. Home Address: 10396 Reindeer Dr., Granby, MO 64844


In addition, see attachment Employee Roster Info 1June2022 -17APR2023.pdf




                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1274   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________
      INTERROGATORY NO. 7: Identify each instance, since June 2021, in which an employee was
terminated by Respondent at the MoSenecaMfr LLC dba American Tr mine, including the reason for the
termination, the date of the termination, and the name and job title of the employee terminated.
                               ANSWER:
Regarding the request to identify instances of employee terminations at American Tripoli since June 2021, please
find the information below:


      Frank Duran
      Job Title: Assistant Manager
      Date of Termination: March 24, 2022
      Reason for Termination: Insubordination


      Camrin Bindel
      Job Title: Mill Associate
      Date of Termination: June 7, 2022
      Reason for Termination: Behavior issues


      Jessie Hodge
      Job Title: Maintenance
      Date of Termination: October 30, 2022
      Reason for Termination: Performance issues


      Carson Allman
      Job Title: Maintenance
      Date of Termination: November 4, 2022
      Reason for Termination: Performance issues



                                  CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1275       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________
      Terry Newborn
      Job Title: Safety
      Date of Termination: November 4, 2022
      Reason for Termination: Performance and insubordination issues


      Robert Baumann
      Job Title: Shift Lead
      Date of Termination: April 17, 2023
      Reason for Termination: Performance issues


      Ryan Closser
      Job Title: Maintenance
      Date of Termination: August 30, 2023
      Reason for Termination: Performance and attendance issues


      Jim Hoover
      Job Title: Mill Associate
      Date of Termination: September 14, 2023
      Reason for Termination: Performance and attendance issues


Please note that these terminations were conducted based on our internal policies and procedures, considering
various factors related to each employee's performance, conduct, or behavior. We remain committed to ensuring
a safe and productive work environment for all employees at our mine.




                                  CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349       Page: 1276      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________



                                          DECLARATION
         I, Russell Tidaback state that I am authorized to answer the foregoing
  interrogatories on behalf of MoSenecaManufacturer Limited Liability Company d/b/a
  American Tripoli. I have read the foregoing interrogatories and answers thereto and
  know the content thereof. Pursuant to 28 U.S.C. § 1746, I declare under penalty of
  perjury that the foregoing answers to the interrogatories are true and correct.


                                              By: _______________
                                              Name: Russell Tidaback
                                              Title: Managing Member
                                              Dated: 16OCT2023




                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1277   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
                             REQUESTS FOR PRODUCTION OF DOCUMENTS

        1.      Produce all documents identified or referred to in your answers to the interrogatories above.
        RESPONSE: In response to your request for production of documents, we have provided attachments
        that include all documents identified or referred to in our answers to the interrogatories. Please find
        these documents attached to this response in the respective labeled folder. If you have any specific
        questions or require further clarification regarding any of these documents, please do not hesitate to
        reach out, and we will be happy to assist further.




        2.      Produce the documents related to the terminations identified in response to Interrogatory No. 7.
        RESPONSE: In accordance with your request to produce documents related to the terminations
        identified in response to Interrogatory No. 7, You will find these letters in the attached document labeled
        ' Individial name - date - Termination Letter' in folder labeled “Request for Documents 2”. If you require
        any further information or have additional questions, please feel free to contact us for clarification or
        any other assistance needed.




        3.      Produce all documents which you contend support any claims or defenses you have or may raise
to the claims at issue in this docket.
        RESPONSE: In response to your request to produce documents that support any claims or defenses we
        have or may raise in this docket, we acknowledge the importance of transparency and cooperation in the
        legal process. While we understand your desire for particularity, it's crucial to note the complex and
        evolving nature of this case. Requiring the immediate identification of defenses may not align with the
        principles of fairness, due process, and the right to develop a comprehensive defense.

        We propose an approach that allows both parties to identify defenses as the case unfolds, ensuring a
        balanced opportunity to present positions effectively. This approach will safeguard the integrity of the
        legal process while respecting the rights of all parties involved.

                                  CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1278         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       We are fully committed to complying with our legal obligations and cooperating in the discovery
       process. As such, we are providing all relevant documents and will promptly provide any additional
       relevant documents as they become available and maintain open communication with your team. If you
       require specific documents or have further inquiries related to this request, please do not hesitate to
       reach out to us for clarification and assistance.




       4.      Produce the documents pertaining to any of Respondent’s denials that it did not commit the
alleged 105(c) violations set forth in the Complaint in this docket.
       RESPONSE: In response to your request to produce documents related to any of our denials concerning
       the alleged 105(c) violations set forth in the Complaint in this docket, we understand the significance of
       transparency and adherence to the legal process. We are fully committed to cooperating and complying
       with our legal obligations.

       We have provided the Operator’s Answer, Document No. CENT 2023-0251 – Operator’s Answer.pdf,
       to the complaint, located in folder “Request for Documents 4”, and will continue to promptly provide
       documents related to any denials as they become available in the course of this legal proceeding. This
       approach ensures that both parties have equal opportunities to present their positions effectively and
       maintains the integrity of the legal process.

       If you require specific documents or have further inquiries concerning this request, please feel free to
       contact us for clarification and assistance. We are dedicated to upholding the principles of due process
       and a fair legal process, and we look forward to working cooperatively with your team throughout the
       discovery process.




       5.      Produce Robert Baumann’s personnel file.
       RESPONSE: In response to your request for Robert Baumann's personnel file, please find attached the
       requested personnel file for Robert Baumann labelled “Request for Documents 5”. This file contains all

                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1279        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
       relevant information regarding his employment, performance, and any related matters during his tenure
       with our organization.

       We are committed to providing the necessary documents and information as part of our cooperation in
       this legal process. If you have any further requests, require additional information, or have any specific
       questions regarding the personnel file, please do not hesitate to contact us. We are dedicated to ensuring
       a transparent and fair process throughout the course of this legal proceeding.




       6.      Produce the documents showing all training provided to Robert Baumann while he was
employed by Respondent.
       RESPONSE: We acknowledge your request for all training records related to Robert Baumann during
       his employment with our company. Please be advised that Robert Baumann received mandatory training
       required by the Mine Safety and Health Administration (MSHA) during his tenure with our
       organization. This training includes but is not limited to new miner training and other MSHA-required
       safety and health courses.

       It's important to note that our company primarily provides MSHA-mandated training, and any additional
       training is often self-driven or related to specific tasks and equipment operation.

       We will provide all records related to the MSHA-required training received by Robert Baumann as part
       of this response. However, please understand that there may be limited records for additional training
       beyond MSHA requirements as most of his responsibilities were covered by the mandatory safety
       training. All presented and available 24/7 employee training, see the documents in the attached folder
       labeled “Request for Documents 6”.

       If you have specific questions or require further clarification regarding the provided training records,
       please do not hesitate to contact us. We are dedicated to ensuring transparency and compliance with all
       aspects of this legal proceeding.



                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349           Page: 1280     Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________
       7.      Produce the documents showing all payments and compensation made to Robert Baumann by
Respondent.
       RESPONSE: We acknowledge your request for documents showing all payments and compensation
       made to Robert Baumann by our company. Please find attached the document 'Robert Baumann Payroll
       Detail 07.01.22-04.21.23.pdf,'in folder “Request for Documents 7”, which contains the relevant payroll
       information for Mr. Baumann during his employment with us.

       The attached document includes detailed payroll records, payment history, and compensation
       breakdowns, and it should address your request adequately.

       We are committed to providing any additional information or clarifications you may require during the
       discovery process. If you have any further questions or need additional documents, please don't hesitate
       to reach out.




       8.      Produce the documents showing all benefits provided to Robert Baumann by Respondent,
including insurance benefits, retirement benefits, and paid leave.
       RESPONSE: We provided Robert Baumann with the opportunity to enroll in medical and dental
       insurance benefits; however, he chose not to apply for these benefits during his employment with us.
       Additionally, Mr. Baumann was offered a Red Wing boot voucher but did not utilize it.

       For a comprehensive overview of Mr. Baumann's benefits, including insurance benefits, retirement
       benefits, and paid leave, please refer to the attached document labeled "American Tripoli Employee
       Handbook.pdf." This document outlines the summary of benefits made available to him during his
       employment with Respondent.

       In addition, for Mr. Baumann's accrued paid time off, consult the attached document titled "Paid Time
       Off Accruals for Mr. Baumann.pdf." This document provides details about his paid time off accruals.
       Both of the above-mentioned documents are in folder labelled “Request for Documents 8”.



                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1281       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       9.      Produce the documents showing the hours worked by Robert Baumann while he was employed
by Respondent.
       RESPONSE: Please find attached the document labeled "Robert Baumann Payroll Detail 07.01.22-
       04.21.23.pdf." located in folder labelled “Request for Documents 9”. This document provides a detailed
       record of the hours worked by Robert Baumann during his employment with Respondent, covering the
       period from July 1, 2022, through April 21, 2023. The hours worked are accurately recorded in this
       document.




       10.     Produce your employee handbook and/or any other documents which set forth the conditions
and/or terms of employment for employees at the MoSenecaMfr LLC dba American Tr mine in effect at any
time from June 1, 2022 through April 17, 2023.
       RESPONSE: See attachments Robert Baumann_American Tripoli Position Offer Letter.pdf and the
       American Tripoli Employee Handbook.pdf in folder labelled “Request for Documents 10”.




       11.     Produce the documents reflecting any discipline of Robert Baumann.
       RESPONSE: We acknowledge that there were instances where disciplinary actions were taken
       concerning Mr. Robert Baumann; however, it is important to note that the company's disciplinary
       process, as outlined in the employee handbook, allows for flexibility in addressing employment issues.
       While the handbook provides for a progressive discipline process, it also clarifies that the company is
       not bound by a specific sequence and reserves the right to address matters promptly, in accordance with
       the "at-will" employment relationship. We are committed to providing any available records reflecting
       the disciplinary actions taken. Please note that while the "written" part of the progressive discipline
       process was not consistently documented, appropriate actions were taken to address the concerns and
       maintain compliance with company policies.




                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1282        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________
       12.     Produce the documents reflecting any safety complaints made or safety concerns raised by
Robert Baumann to any of Respondent’s managers, owners or supervisors.
       RESPONSE: While we take safety concerns seriously and maintain a robust system for addressing
       them, we do not have specific documentation of safety complaints or concerns raised by Mr. Robert
       Baumann. Our safety protocols encourage open communication, and our managers, owners, and
       supervisors are committed to promptly addressing any safety-related matters. While we have not found
       records of such complaints or concerns pertaining to Mr. Baumann, we emphasize that we actively
       encourage employees to report any safety issues, and we remain vigilant in ensuring a safe working
       environment. If any specific concerns emerge during the course of this case, we will promptly provide
       relevant documentation.




       13.     Produce the documents reflecting Robert Baumann’s designation as a representative of the
miners at the MoSenecaMfr LLC dba American Tr mine.
       RESPONSE: Mr. Robert Baumann never provided any documents designating himself as a
       representative of the miners at the MoSenecaMfr LLC dba American Tr mine. The first indication of
       such a designation came to our attention when the complaint was received by MSHA. We have not
       found any records or documents related to Mr. Baumann's official designation as a miner representative.




       14.     Produce the native document, in its native format with all metadata, of the PDF document
Respondent produced to MSHA during the investigation of this case titled “Rob Baumann-Notes”.
       RESPONSE: The PDF document titled "Rob Baumann-Notes" produced to MSHA during the
       investigation of this case is the native document in its original format. Mr. Tidaback's personal notes
       regarding personnel matters are periodically transcribed from a Rocketbook wipeable notebook he
       carries with him. The PDF provided accurately represents the content and format of the original notes.




                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1283       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                   Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                  5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                  Seneca, MO 64865
                                                                                   Office (239) 829-5457

__________________________________________________________________________________________________
       15.     Produce Robert Baumann’s “employee journal” or any other document where you kept notes
and/or information about Robert Baumann and his job performance.
       RESPONSE: The document titled "Rob Baumann Russell Notes.pdf" produced to MSHA during the
       investigation of this case is the employee journal or document where notes and information about Robert
       Baumann and his job performance were kept. Please refer to this document for the requested
       information.




       16.     Produce the “employee journal” or any other documents where you kept notes and/or
information about employees employed by Respondent at the MoSenecaMfr LLC dba American Tr mine at any
time from June 1, 2022 through April 17, 2023.
       RESPONSE: The attached documents titled "Rob Baumann Russell Notes.pdf," "Christine Schreiber
       Russell Notes.pdf," and "Jim Hoover Russell Notes.pdf", see folder labelled “Request for Documents
       16”, are the employee journals or documents where notes and information about employees employed
       by Respondent at the MoSenecaMfr LLC dba American Tr mine from June 1, 2022, through April 17,
       2023, were kept. Please refer to these documents for the requested information.




       17.     Produce the workplace examinations and/or workplace inspections from the MoSenecaMfr LLC
dba American Tr mine from June 1, 2022 through April 17, 2023.
       RESPONSE: The workplace examinations and workplace inspections conducted at the MoSenecaMfr
       LLC dba American Tr mine from June 1, 2022, through April 17, 2023, are contained in the attached
       document titled "Daily Workplace Inspections 1JUNE2022 - 17APR2023.pdf.", see folder labelled
       “Request for Documents 17”. Please refer to this document for the requested workplace examination and
       inspection information.




                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349       Page: 1284       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       18.     Produce the Microsoft Teams chats or messages involving any employee of Respondent,
including owners, managers, supervisors, maintenance personnel, etc., regarding Robert Baumann’s
discrimination complaint, Robert Baumann’s termination, Robert Baumann’s job performance, safety related
concerns or complaints raised by Robert Baumann, complaints about Robert Baumann, and/or Robert
Baumann’s workplace examinations.
       RESPONSE: Producing the entire Microsoft Teams chats or messages involving any employee of
       Respondent, as specified in your request, is overly broad and would entail disclosing vast amounts of
       irrelevant information. Unfortunately, we do not have the capacity to retrieve messages from employees'
       accounts, as they are maintained on their individual devices. Also unless Mr. Baumann’s name is
       specifically in the messages there is no way to search for generics. To maintain the integrity of the
       discovery process, we propose a more targeted approach.

       Given that the only employees still employed by Respondent since the termination of Mr. Baumann are
       Mr. Williams, and Mr. Spears, we can provide group messages involving these individuals for the
       specified purposes. If you could kindly specify the date ranges, topics, or any other relevant details for
       these chats and messages, we will make a good faith effort to assist in obtaining any relevant messages.
       In the folder labeled “Request for Documents 18”, there is a document titled "Communication between
       Jim are Russ regard Rob post 17APR2023.pdf”, this running conversation points out Mr. Jim Hoover’s
       opinions, distrust, aggravation and hassle when dealing with Mr. Baumann. Mr. Hoover was the most
       senior employee with over four years of experience at the mine site.




       19.     Produce the documents reflecting any “counseling and guidance” provided to Robert Baumann
while he was employed by Respondent.
       RESPONSE: While we acknowledge that counseling and guidance were provided to Robert Baumann
       during his employment, these interactions were primarily conducted verbally, and no formal written
       records were maintained. Any guidance or counseling discussions were aimed at improving his job
       performance, ensuring compliance with safety protocols, and fostering a better work environment. We

                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1285        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________
       remain committed to maintaining open lines of communication and providing support to our employees
       as needed.




       20.     Produce the text messages, emails, Microsoft Teams chat, and/or any other communication from
John Spears to any employees regarding MSHA inspections, including the February 14, 2023 message to
miners regarding MSHA’s inspection.
       RESPONSE: All communications related to MSHA inspections and interactions with MSHA inspectors
       have been consolidated into a comprehensive document labeled "ALL Communications regarding
       MSHA.pdf." This document contains a thorough record of all communications, including Microsoft
       Teams chats, text messages, and emails exchanged between employees of Respondent at the
       MoSenecaMfr LLC dba American Tr mine concerning MSHA inspections and interactions with MSHA
       inspectors.

       By consolidating these communications into a single document, we aim to provide a complete and
       organized account of our interactions with MSHA and MSHA inspectors. This approach is intended to
       streamline the document production process and ensure clarity in our responses.

       If you have any specific questions or need further information regarding these communications, please
       do not hesitate to contact us. We are committed to transparency and open communication throughout
       this process.




       21.     Produce the text messages, emails, Microsoft Teams chat, and/or any other communication from
and/or between Robert Baumann, Respondent, John Spears, Russell Tidaback, and/or Jordan Tidaback
regarding the MSHA 104(b) Order issued on April 12, 2023 or payment during the withdrawal order.
       RESPONSE: Please find attached the requested communications regarding the MSHA 104(b) Order
       issued on April 12, 2023, and payment during the withdrawal order, “Request for Documents 21”. We
       wish to emphasize that, in full compliance with MSHA regulations and with a commitment to the well-

                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349       Page: 1286       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
       being of our miners, Respondent promptly paid the miners as required by the 104(b) Order, without any
       delay.

       1. Chat messages between Robert Baumann to John Spears and John Spears to Ms. Tidaback and Mr.
             Tidaback (labeled as "14APR2022 – Chat messages showing Robs misunderstanding regarding a
             104(b) order and pay.pdf").
       2. Email chain involving Mr. Markeson, Respondent, John Spears, and Russell Tidaback (labeled as
             "Email Chain w Markeson regarding miner compensation - RE_ 12APR2023 - B Order #9539789 &
             9539790.pdf").
       3. Text messages between Robert Baumann and John Spears (labeled as "12APR2023 - Text message
             between Mr. Baumann and Mr. Spears regarding work and being paid.png”).

These documents encompass the pertinent communications and discussions surrounding the MSHA 104(b)
Order and issues related to payment during the withdrawal order. We would like to reiterate that all miners were
paid appropriately and without delay in accordance with MSHA regulations. Should you require any further
specific information or have additional inquiries, please do not hesitate to reach out.




       22.      Produce Respondent’s disciplinary policy in effect at the MoSenecaMfr LLC dba American Tr
mine at any time from June 1, 2022 through April 17, 2023.
       RESPONSE: Our disciplinary policy in effect at the MoSenecaMfr LLC dba American Tr mine during
       the specified period can be found in the attached document titled "American Tripoli Employee
       Handbook.pdf.", see folder labeled “Request for Documents 22”. The relevant information regarding our
       Progressive Discipline policy can be located in the handbook, specifically in the paragraph that
       addresses Progressive Discipline.




       23.      Produce the documents reflecting any discipline given to employees of Respondent at the
MoSenecaMfr LLC dba American Tr mine at any time from June 1, 2021 through April 17, 2023.

                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349           Page: 1287      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________
       RESPONSE: Please find the attached documents in labelled folder “Request for Documents 23”, which
       reflect instances of discipline given to employees of Respondent at the MoSenecaMfr LLC dba
       American Tr mine during the specified timeframe from June 1, 2021, through April 17, 2023. These
       documents provide details of the written disciplinary actions, including warnings, reprimands,
       counseling, and terminations, that were administered and recorded in accordance with company policies
       and procedures.

       Attached documents:


       26APR2022 Jena Turner Reprimand.pdf

       7JUNE2022_Camrin Bindle Relieving Letter.pdf

       7JUNE2022_Camrin Bindle - Termination Letter.pdf

       13OCT2022 - Carson Allman - Letter or Reprimand.pdf

       12MAY2023_RJ_Williams_Reprimand.pdf

       12MAY2023_Patrick_Lewis_LOR_for performance and attendance.pdf

       17JUL2023_Jim_Hoover_Counseling_SIGNED (1).pdf

       19JUL2023_RJ_Williams_Counseling_Letter.pdf

       20JUL2023_Patrick_Lewis_Written_Counseling.pdf




       These documents demonstrate the company's commitment to maintaining discipline, safety, and
       compliance within the workplace. Should you require any additional information or have specific
       inquiries about any of these disciplinary actions, please feel free to communicate them to us. We are
       committed to ensuring transparency and cooperation throughout this process.



                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349       Page: 1288        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       24.     Produce the documents reflecting any communications, including Microsoft Teams chats, text
message, emails, to employees of Respondent at the MoSenecaMfr LLC dba American Tr mine regarding
MSHA inspections and/or any MSHA inspectors.
       RESPONSE: All communications related to MSHA inspections and interactions with MSHA inspectors
       have been consolidated into a comprehensive document labeled "ALL Communications regarding
       MSHA.pdf.", in folder labeled “Request for Documents 24”. This document contains a thorough record
       of all communications, including Microsoft Teams chats, text messages, and emails exchanged between
       employees of Respondent at the MoSenecaMfr LLC dba American Tr mine concerning MSHA
       inspections and interactions with MSHA inspectors.

       By consolidating these communications into a single document, we aim to provide a complete and
       organized account of our interactions with MSHA and MSHA inspectors. This approach is intended to
       streamline the document production process and ensure clarity in our responses.

       If you have any specific questions or need further information regarding these communications, please
       do not hesitate to contact us. We are committed to transparency and open communication throughout
       this process.

       If you have any additional requests or require further documents related to this matter, please feel free to
       specify your needs, and we will do our best to accommodate them. Your understanding and cooperation
       in this matter are greatly appreciated.




       25.     Produce the documents discussing Robert Baumann’s termination.
       RESPONSE: We appreciate your request. We want to clarify that discussions related to Mr. Baumann's
       termination primarily took place in person or during video calls, which may not have generated
       electronic records.




                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1289       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       Should you need further clarification or additional information, please feel free to contact us, and we
       will do our best to assist.




       26.     Produce the documents you intend to use at the hearing in this matter.
       RESPONSE: We are fully committed to complying with our legal obligations and cooperating in the
       discovery process. As such, we are providing all relevant documents and will promptly provide any
       additional relevant documents as they become available and maintain open communication with your
       team. If you require specific documents or have further inquiries related to this request, please do not
       hesitate to reach out to us for clarification and assistance.




                                        REQUESTS FOR ADMISSION

       1.      Admit that the MOSenecaMfr LLC dba American Tr mine is a mine as defined in Section 3(h) of
the Federal Mine Safety and Health Act of 1977, 30 U.S.C. § 802(h).
       ANSWER: Admit. The operator acknowledges that the MOSenecaMfr LLC dba American Tr mine falls
       within the definition of a mine as provided in the Mine Act. This acknowledgment is consistent with the
       operator's understanding of its activities and operations. However, this admission should not be
       construed as an admission of liability or wrongdoing with respect to the allegations in this case. The
       operator maintains that its operations have consistently aimed to comply with the Mine Act and relevant
       regulations, ensuring the safety and well-being of its workforce.




                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1290        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       2.      Admit that the products of the MOSenecaMfr LLC dba American Tr mine enter commerce or the
operations or products thereof affect commerce within the meaning and scope of the Federal Mine Safety and
Health Act of 1977.
       ANSWER: Admit. The operator acknowledges that, in the ordinary course of its mining operations, its
       products may be intended for commercial use or distribution, and as such, they have the potential to
       enter or affect commerce. However, this acknowledgment should not be construed as an admission of
       liability or wrongdoing with respect to the allegations in this case. The operator maintains that its
       operations have consistently aimed to comply with the Mine Act and relevant regulations, ensuring the
       safety and well-being of its workforce and the quality of its products.




       3.      Admit that MOSenecaManufacturer Limited Liability Company d/b/a American Tripoli is the
operator of the MOSenecaMfr LLC dba American Tr mine and was the operator of the mine from at least June
1, 2022 through April 17, 2023.


       ANSWER: Admit. MOSenecaManufacturer Limited Liability Company d/b/a American Tripoli, herein
       referred to as 'the operator,' is the entity responsible for the operation of the MOSenecaMfr LLC dba
       American Tr mine. The operator acknowledges that it assumed the role of the mine operator at the
       specified mine location, and this responsibility was held from at least June 1, 2022, through April 17,
       2023.

       While the operator admits to its role as the mine operator during the specified time frame, it is important
       to clarify that this acknowledgment does not constitute an admission of liability or wrongdoing with
       respect to the allegations contained within the case. The operator is committed to maintaining a safe and
       compliant workplace for its employees and remains steadfast in its position that the actions taken during
       this period were in accordance with applicable regulations and without any intent to discriminate or
       infringe upon the rights of miners.



                                  CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1291        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       4.      Admit that while Robert Baumann was employed by Respondent at the MOSenecaMfr LLC dba
American Tr mine he was a “miner” as defined in Section 3(g) of the Mine Act, 30 U.S.C. § 802(g).


       ANSWER: Admit. While Robert Baumann was employed by Respondent at the MOSenecaMfr LLC
       dba American Tr mine, he met the criteria to be considered a 'miner' under the definition provided in
       Section 3(g) of the Mine Act, 30 U.S.C. § 802(g). The operator acknowledges that Mr. Baumann was an
       employee involved in mining operations at the specified mine location during the relevant timeframe.

       It is essential to clarify that the acknowledgment of Mr. Baumann's status as a 'miner' does not alter the
       operator's position that the actions taken regarding his employment were based on performance issues
       and not related to any form of discrimination or interference with miner's rights. The operator remains
       committed to providing a safe and compliant workplace for all its employees, including those meeting
       the definition of a 'miner' under the Mine Act.




       5.      Admit that Robert Baumann served as a representative of miners at the MOSenecaMfr LLC dba
American Tr mine from March 21, 2023 through April 17, 2023.


       ANSWER: Deny. The mine operator was not made aware of Robert Baumann serving as a
       representative of miners at the MOSenecaMfr LLC dba American Tr mine from March 21, 2023,
       through April 17, 2023. To the best of our knowledge and records, no formal notification or
       communication regarding Mr. Baumann's representation of miners was received by the mine operator
       during the specified period.

       The mine operator is committed to adhering to all relevant regulations and compliance requirements
       under the Mine Act, including those pertaining to miner's representatives. In the absence of formal
       notice or awareness of Mr. Baumann's role as a representative of miners, the operator was unable to
       address any concerns or considerations related to his representation.


                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1292        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
       It is crucial to clarify that the mine operator is dedicated to maintaining a safe working environment and
       complying with all applicable legal obligations. We welcome a comprehensive review of the facts and
       evidence related to Mr. Baumann's representation during the specified timeframe to ensure a just and
       equitable resolution.




       6.      Admit that the Federal Mine Safety and Health Review Commission has jurisdiction over this
case under Section 105(c)(2) and 113 of the Mine Act, 30 U.S.C. §§ 815(c)(2), 823.


       ANSWER: Deny. The mine operator contests the assertion that the Federal Mine Safety and Health
       Review Commission (FMSHRC) has jurisdiction over this case under Section 105(c)(2) and 113 of the
       Mine Act, 30 U.S.C. §§ 815(c)(2), 823. The mine operator believes that the actions taken, including the
       dismissal of the miner, were solely based on performance issues and not discriminatory in nature. As
       such, it is our position that the circumstances of this case do not fall within the purview of the
       aforementioned statutory provisions.

       The mine operator strongly maintains that the miner's dismissal was a result of legitimate performance-
       related concerns in accordance with the established company policies, the state of Missouri guidelines
       and not a violation of any miner's rights under the Mine Act. Therefore, we contend that the jurisdiction
       of the FMSHRC does not apply in this case. However, we are open to a thorough examination of the
       facts and circumstances surrounding this matter to arrive at a just resolution.




                                                      Russell Tidaback
                                                      Managing Member
                                                      American Tripoli
                                                      Russell.Tidaback@americantripoli.com




                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1293       Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-1, Page001
                       Appellate Case: 25-1349   Page: 1294   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-1, Page002
                       Appellate Case: 25-1349   Page: 1295   Date Filed: 04/07/2025 Entry ID: 5503844
14APR2023 discussion regarding Withdrawl order and Miners Pay




         Appellate Case: 25-1349        Page: 1296       Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1297   Date Filed: 04/07/2025 Entry ID: 5503844
Appellate Case: 25-1349   Page: 1298   Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,            )    DISCRIMINATION &
 United States Department of Labor, and             )    INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                     )    DOCKET
                      Complainants,                 )
                                                    )
                v.                                  )    Docket No. CENT 2023-0251-DM
                                                    )
 MOSENECAMANUFACTURER LIMITED                       )
 LIABILITY COMPANY d/b/a AMERICAN                   )    Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                           )    American Tr
                                                    )    Mine Id No. 23-00504
                                                    )
                        Respondent.                 )

 RESPONDENT’S SECOND INTERROGATORIES ANSWERS AND RESPONSE FOR
                   PRODUCTION OF DOCUMENTS



                                      INTERROGATORIES
       INTERROGATORY NO. 1: Identify the name of any miner allegedly hired by
Respondent to replace Robert Baumann and indicate when any such job posting was made to
replace Robert Baumann and when any job offers were made to prospective employees who
were hired to allegedly replace Robert Baumann.
       ANSWER:
In response to INTERROGATORY NO. 1, the mine operator acknowledges the job postings that
were made to replace Robert Baumann, as detailed in the attachments provided. These job
postings were publicly posted on Indeed.com with the aim of filling the vacant positions
resulting from Robert Baumann's departure. The specific job postings, along with their
respective posting dates, are as follows:


"Production Controller, Seneca, MO" - Posted on August 1, 2022 Job Details _ Indeed.com.pdf




                                                1

 Appellate Case: 25-1349         Page: 1299         Date Filed: 04/07/2025 Entry ID: 5503844
"Production Control Manager, Seneca, MO" - Posted on August 1, 2022 Job Details _
Indeed.com.pdf


"Production Foreman, Seneca, MO" - Posted on August 1, 2022 Job Details _ Indeed.com.pdf


"Production Lead, Seneca, MO" - Posted on April 17, 2023 Job Details _ Indeed.com.pdf


Additionally, the mine operator utilized various online platforms, including Facebook
community and job posting groups, to reach a broader audience for job postings and employment
opportunities. These platforms were chosen to maximize the visibility of the job openings and
attract potential candidates.


While the mine operator did post these job openings to replace Robert Baumann, it's important to
note that records of job offers made to the numerous prospective employees who were not
accepted with the intent to replace Robert Baumann were not retained by the mine operator.
However, the mine operator can provide the names of the individuals who received job offers
and subsequently accepted employment with the company:


Aaron Duke
Alex Snodgrass
David Dagle
Richard McClelland
Will Shallenburger


These individuals were extended job offers and accepted positions with the mine operator. Any
additional details or documents related to these job offers or the hiring process can be provided
upon further request.




                                                 2

 Appellate Case: 25-1349         Page: 1300          Date Filed: 04/07/2025 Entry ID: 5503844
         INTERROGATORY NO. 2: To the extent you are making a financial hardship claim in
this case, describe how the proposed penalties in this docket would affect Respondent’s ability to
remain in business, including a description of the current business climate as it relates to your
business and how that has changed in the past two years. Such description should include any
sales increases or decreases, opening/closing of different mines, and any unexpected expenses or
loans.
         ANSWER: In response to the interrogatory and regarding the financial impact of the
                       proposed penalties, it is imperative to highlight the severe adverse effects
                       that these penalties would have on American Tripoli's ability to remain in
                       business. The current business climate has presented numerous challenges,
                       and the imposition of substantial penalties would exacerbate the
                       company's precarious financial situation.


                    Over the past two years, American Tripoli has faced several significant
                       challenges that have strained its financial stability. These challenges
                       include:
                    Employee High Turnover and Quiet Quitting: American Tripoli has
                       experienced a high turnover rate among employees, with over 30
                       employees leaving the company since June 2021. This level of turnover is
                       exceptionally high for a small company that typically employs 12-15
                       workers. The phenomenon of "quiet quitting," where employees disengage
                       and become less productive, has also been a significant concern.


                    Impact of COVID-19: The aftermath of the COVID-19 pandemic has had a
                       lasting impact on the business. The pandemic disrupted the labor market
                       and created uncertainty in the workforce, making it challenging to attract
                       and retain skilled workers.




                                                  3

 Appellate Case: 25-1349          Page: 1301          Date Filed: 04/07/2025 Entry ID: 5503844
               Supply Chain Disruptions: The global supply chain disruptions in 2022
                 further compounded the challenges faced by American Tripoli. The costs
                 of building a new mill, which might have allowed for expansion and
                 increased revenue, were estimated to be prohibitively high, hindering any
                 expansion plans.


               Operational Shutdowns: The company has experienced prolonged
                 operational shutdowns due to ongoing MSHA inspections and
                 enforcement actions. These interruptions have cumulatively resulted in
                 approximately 12 weeks of downtime, during which the company missed
                 out on an estimated $3,000,000 in revenue-generating operations. The
                 company has asked the district numerous times for assisted visits to help
                 us but to no avail.


               Accumulated Debt: American Tripoli is currently burdened with a debt of
                 approximately $900,000, not including the $2,000,000 balance on notes
                 acquired to purchase the business.


               Given the aforementioned challenges and the delicate financial state of the
                 company, the proposed penalties in this docket would have a devastating
                 impact on American Tripoli's ability to remain in business. These penalties
                 would further exacerbate the company's debt burden, potentially pushing it
                 towards bankruptcy.


               The imposition of substantial fines by MSHA would strain the already
                 limited financial resources, making it increasingly difficult for American
                 Tripoli to meet its financial obligations, retain employees, and continue its
                 operations. The company urges a thorough consideration of these



                                           4

Appellate Case: 25-1349     Page: 1302         Date Filed: 04/07/2025 Entry ID: 5503844
                 extenuating circumstances and the potential dire consequences of
                 imposing such penalties.




                                            5

Appellate Case: 25-1349   Page: 1303            Date Filed: 04/07/2025 Entry ID: 5503844
                                 DECLARATION

       I, RUSSELL TIDABACK state that I am authorized to
answer the foregoing interrogatories on behalf of
MoSenecaManufacturer Limited Liability Company d/b/a American
Tripoli. I have read the foregoing interrogatories and answers thereto and
know the content thereof. Pursuant to 28 U.S.C. § 1746, I declare
under penalty of perjury that the foregoing answers to the
interrogatories are true and correct.



                                      By: _______________

                                      Name: RUSSELL TIDABACK

                                      Title: MANAGING MEMBER

                                      Dated:




                                         6

Appellate Case: 25-1349    Page: 1304        Date Filed: 04/07/2025 Entry ID: 5503844
                   REQUESTS FOR PRODUCTION OF DOCUMENTS

       1.      Produce all documents identified or referred to in your answers to the
interrogatories above.
       RESPONSE: The inquiry and request for information regarding Interrogatory No. 1. To
       assist you in obtaining the necessary details related to this matter, we kindly direct your
       attention to the uploaded documents contained in our case file. These documents are
       organized into folders labeled "Interrogatory 1" and "Interrogatory 2."


       For your convenience and to facilitate your review, we have included the relevant
       documents in the respective folders as follows:


       Interrogatory 1 Folder:
       June 13, 2022 - Robert Baumann Application - Candidates _ Indeed.com.pdf
       August 1, 2022 - Production Controller, Seneca, MO - Job Details _ Indeed.com.pdf
       August 1, 2022 - Production Control Manager, Seneca, MO - Job Details _
       Indeed.com.pdf
       August 1, 2022 - Production Supervisor, Seneca, MO - Job Details _ Indeed.com.pdf
       April 17, 2023 - Production Lead, Seneca, MO - Job Details _ Indeed.com.pdf
       Aaron Duke_American Tripoli_Offer Letter_25APR23 - signed.pdf
       Alex Snodgrass Resume.pdf
       David Daigle Employment Offer Letter.pdf
       Richard McClelland_American Tripoli Position Offer Letter.pdf
       Will Shallenburger - American Tripoli Position Offer Letter.pdf
       Interrogatory 2 Folder:


       MOSENECAMANUFACTURER LLC - 2021 Balance Sheet.pdf
       MOSENECAMANUFACTURER LLC - 2021 Income Statement.pdf
       MOSENECAMANUFACTURER LLC - 2021 Tax Returns.pdf


                                                 7

 Appellate Case: 25-1349         Page: 1305          Date Filed: 04/07/2025 Entry ID: 5503844
       MOSENECAMANUFACTURER LLC - 2022 Balance Sheet.pdf
       MOSENECAMANUFACTURER LLC - 2022 Income Statement.pdf
       MOSENECAMANUFACTURER LLC - 2022 Tax Returns.pdf
       MOSENECAMANUFACTURER LLC - 2023 Balance Sheet.pdf
       MOSENECAMANUFACTURER LLC - 2023 Income Statement.pdf
       These documents contain relevant information pertaining to the job postings, hiring
       process, and financial records as outlined in Interrogatory No. 1 and Interrogatory No. 2.


       We encourage you to refer to these documents to access the specific details requested.


       Should you require any further clarification or additional information, please do not
       hesitate to reach out to us. We are committed to providing a comprehensive and accurate
       response to your inquiries.


       2.     Produce documents reflecting the final paycheck provided to Robert Baumann,
including any associated pay stub.
       RESPONSE: We have reviewed our records and have identified that the requested
       document labeled "Robert Baumann Payroll Detail 07.01.22 - 04.21.23 (1).pdf" was
       already included in our initial response within the "First Interrogatories Responses"
       submission. This document was attached for your reference in that submission.


       3.     Produce records of hours worked by Baumann on a weekly or bi-weekly basis,
including any pay stubs showing hours worked for each pay period.
       RESPONSE: We have reviewed our records and have identified that the requested
       document labeled "Robert Baumann Payroll Detail 07.01.22 - 04.21.23 (1).pdf" was
       already included in our initial response within the "First Interrogatories Responses"
       submission. This document was attached for your reference in that submission.




                                                8

 Appellate Case: 25-1349        Page: 1306          Date Filed: 04/07/2025 Entry ID: 5503844
       4.     Produce each pay stub related to each payment made by Respondent to Robert
Baumann.
       RESPONSE: Upon reviewing your request, we have noted that Request Number 4, which
       seeks "each pay stub related to each payment made by Respondent to Robert Baumann,"
       appears to be a duplicate of Request Number 2, where we have already provided the
       requested document labeled "Robert Baumann Payroll Detail 07.01.22 - 04.21.23
       (1).pdf."


       To avoid redundancy and to streamline the document retrieval process, we kindly refer
       you to our response for Request Number 2, where you will find the document you are
       seeking. This document includes the necessary information related to Robert Baumann's
       pay stubs during the specified period.


       5.     Produce Respondent’s No Gossip Policy or any similar policy and/or procedure
regarding gossiping, including any documents regarding when this policy was implemented.
       RESPONSE: The request for the production of documents, specifically regarding
       Respondent's No Gossip Policy or any similar policy and/or procedure related to
       gossiping.


       We would like to inform you that the No Gossip Policy, which you have requested, was
       discussed and implemented at our organization with due consideration for guidelines set
       forth by the National Labor Relations Board (NLRB). Our intention in crafting this policy
       was to ensure a productive and respectful work environment, in compliance with the law
       and the protection of our employees' rights.


       The No Gossip Policy was introduced during an employee meeting on 9th August 2022.
       This policy aligns with the NLRB's rulings and adheres to their guidelines, which we take
       very seriously. We recognize the importance of allowing employees to discuss work-



                                                9

 Appellate Case: 25-1349        Page: 1307          Date Filed: 04/07/2025 Entry ID: 5503844
       related matters, including wages, benefits, and terms and conditions of employment,
       without interference or discouragement.


       To maintain clarity and transparency, our policy clearly is not intended to discourage
       concerted activity or the discussion of working conditions. It provides specific examples
       of prohibited conduct, such as abusive and profane language towards another individual
       not present or in a negative light, to ensure that our employees understand the boundaries
       of respectful communication.


       Additionally, the policy avoids overly broad or ambiguous language, as we understand
       that ambiguous rules can be construed against the employer. We have taken care to
       define permissible conduct clearly to encourage a safe and open workplace environment
       where employees feel comfortable discussing protected activities.
       Please see the file labeled “No gossip letter.pdf”.


       6.     Produce the original documents, including the Word documents, Excel
spreadsheets, Microsoft Teams Notes from which such PDF’s originated, with all metadata intact
for the following documents you produced in response to the Acting Secretary’s First Requests
for Production of Documents: Carson Allman – 4NOV2022 -Termination Letter; Terry Newborn
– 4NOV22 Termination Letter; Christine Schreiber Russell Notes; Jim Hoover Russell Notes;
Daily Workplace Inspections 1JUNE2022 – 17APR2023; American Tripoli Employee
Handbook; Robert Baumann_American Tripoli Position Offer Letter; and 13OCT2022- Carson
Allman – Letter of Reprimand.
       RESPONSE: We appreciate your follow-up request regarding the production of original
       documents, including Word documents, Excel spreadsheets, and Microsoft Teams Notes,
       along with all metadata intact, for the documents previously provided in response to the
       Acting Secretary's First Requests for Production of Documents.




                                                 10

 Appellate Case: 25-1349         Page: 1308       Date Filed: 04/07/2025 Entry ID: 5503844
       As you are aware, we take your requests seriously and have been diligently working to
       ensure full compliance with your inquiry. It's important to clarify that the documents you
       have listed, including termination letters, notes, workplace inspections, our Employee
       Handbook, position offer letters, and letters of reprimand, were provided in PDF format
       as part of our initial responses.


       Regrettably, the documents you requested were initially produced as PDFs, and they were
       not originally created as Word documents or Excel spreadsheets. Additionally, the
       information contained in our Microsoft Teams Notes is not stored in a format that allows
       for direct extraction as Word or Excel documents.


       Given the nature of these documents and the format in which they were originally
       created, we trust that the provided PDFs accurately represent the content and intent of the
       materials requested. However, if you require any specific information or additional
       details related to these documents, we are more than willing to assist you in any way
       possible to address your needs.




       7.      Produce the training documents you allege were used to provide New Miner
Training to Robert Baumann on July 5, 2022.
       RESPONSE: In response to your request for the production of training documents related
       to the New Miner Training provided to Robert Baumann on July 5, 2022.


       The New Miner Training for Robert Baumann on July 5, 2022, was documented by
       Bonnie Bainter, our Safety and Environmental Specialist at the time. Mrs. Bainter
       followed the established training protocols and utilized a variety of training materials and
       documents to ensure that Mr. Baumann received comprehensive training in compliance
       with the required subjects.



                                                11

 Appellate Case: 25-1349          Page: 1309      Date Filed: 04/07/2025 Entry ID: 5503844
    It is important to note that during the New Miner Training sessions, trainers like Mrs.
    Bainter often employ a range of training aids, presentations, and reference materials to
    cover the necessary topics thoroughly. These training aids and documents may include,
    but are not limited to, written materials, presentations, handouts, safety guidelines, and
    other instructional resources. All the training files the company maintains were submitted
    in the first response files.


    Given the dynamic nature of the training process and the need to adapt to participants'
    questions and specific needs, it is challenging to identify and isolate specific training
    documents that were utilized during a particular training session. Each instructor may use
    their own resources that fits best for their class and attendees. Furthermore, our training
    records encompass a wide array of subjects, which are part of the standard curriculum for
    New Miner Training, the specific subjects required by MSHA.


    While we maintain records of training sessions, including signed forms such as the
    MSHA 5000-23, we do have a specific set of documents that represents the materials that
    could have be used during Mr. Baumann's training session on July 5, 2022. The training
    process is dynamic and customized to address the unique circumstances and questions
    that may arise during each training session. We would not have a record of the specific
    questions Mr. Baumann may have asked during the training that may have directed Mrs.
    Bainter to utilize different training resources.


    However, we would like to highlight that Mr. Baumann verified his completion of the
    documented training by signing the MSHA 5000-23 form, which attests to his
    acknowledgment of having received the training and his understanding of the subject
    matter covered during the session on 07/05/2022. This form is a standard practice in our




                                              12

Appellate Case: 25-1349        Page: 1310       Date Filed: 04/07/2025 Entry ID: 5503844
       training procedures, ensuring that employees acknowledge their training and affirm their
       commitment to safety.


       We want to assure you that our commitment to safety and training is unwavering, and we
       take all necessary steps to ensure that our training programs comply with MSHA
       regulations and provide our employees with the knowledge and skills required for their
       roles.


       8.       Produce documents reflecting the Paid Time Off or vacation leave Baumann had
accrued as of April 17, 2023, and any documents reflecting any payments to Baumann for any
such accrued Paid Time Off or vacation leave.
       RESPONSE: Upon reviewing your request, we have noted that Request Number 8, which
       seeks " reflecting the Paid Time Off or vacation leave Baumann had accrued as of April
       17, 2023”, please see document labeled "Robert Baumann Payroll Detail 07.01.22 -
       04.21.23 (1).pdf."


       9.       To the extent you are making a financial hardship claim in this case, produce the
following financial records for Respondent:
                a.     Respondent’s state and federal tax returns for the past three years.
                b.     Any Tax Form K-1 for American Tripoli from the past three years.
                c.     The balance sheets for Respondent, including year-end assets and
                       liabilities of Respondent from the past three years.
                d.     Income Statements, showing all revenue and expense items for
                       Respondent from the last three years.
                e.     Respondent’s most recent auditor’s report and footnotes, including details
                       about the methods used to compile the accounting data.
                f.     Any bankruptcy petition(s) filed by Respondent.




                                                 13

 Appellate Case: 25-1349         Page: 1311        Date Filed: 04/07/2025 Entry ID: 5503844
             g.     Chart of the accounts, disbursements ledgers, journal entries, and general
                    ledge, and accounting work papers for Respondent since June 2021.
             h.     Documents showing any loans made to owners or managers of the
                    company from Respondent from the past three years.
             i.     Transfers of funds from Respondent to related companies or owners from
                    the past three years.
             j.     Transfers of funds from Respondent to any entity owned by any owner of
                    Respondent from the past three years.
    RESPONSE: In response to Request for Production No. 14 and in accordance with the
    financial hardship claim made in this case, please note that while American Tripoli is
    committed to providing the requested financial records, some records may not be
    immediately available, and the production timeline may vary depending on the
    complexity and availability of the documents. American Tripoli will make a good-faith
    effort to produce the requested financial records in a timely manner. If you have any
    further specific requests or need additional information, please feel free to contact us to
    facilitate the process.
    a. See attached submitted tax returns, labeled “MOSENECAMANUFACTURER LLC -
    2021 tax returns.pdf, MOSENECAMANUFACTURER LLC - 2022 tax returns.pdf”
    b. N/A
    c. See attached, labeled “MOSENECAMANUFACTURER LLC - 2021 Balance
    Sheet.pdf, MOSENECAMANUFACTURER LLC - 2022 Balance Sheet.pdf, and
    MOSENECAMANUFACTURER LLC - 2023 Balance Sheet.pdf”
    d. See attached, labeled “MOSENECAMANUFACTURER LLC - 2021 Income
    Statement.pdf, MOSENECAMANUFACTURER LLC - 2022 Income Statement.pdf,
    MOSENECAMANUFACTURER LLC - 2023 Income Statement.pdf”
    e. N/A
    f. N/A
    g. See attached, labeled “9.g. Chart of Accounts.xlsx”



                                             14

Appellate Case: 25-1349       Page: 1312       Date Filed: 04/07/2025 Entry ID: 5503844
      h. N/A
      i. N/A
      j. N/A


      10.      Produce an unredacted, complete copy of Russell Tidaback’s Microsoft Teams’
communications with Jim Hoover from April 17, 2023 through May 7, 2023.
      RESPONSE: Please see the following chat:




                                             15

 Appellate Case: 25-1349       Page: 1313      Date Filed: 04/07/2025 Entry ID: 5503844
                                       16

Appellate Case: 25-1349   Page: 1314    Date Filed: 04/07/2025 Entry ID: 5503844
                                       17

Appellate Case: 25-1349   Page: 1315    Date Filed: 04/07/2025 Entry ID: 5503844
                                       18

Appellate Case: 25-1349   Page: 1316    Date Filed: 04/07/2025 Entry ID: 5503844
                                       19

Appellate Case: 25-1349   Page: 1317    Date Filed: 04/07/2025 Entry ID: 5503844
                                       20

Appellate Case: 25-1349   Page: 1318    Date Filed: 04/07/2025 Entry ID: 5503844
                                       21

Appellate Case: 25-1349   Page: 1319    Date Filed: 04/07/2025 Entry ID: 5503844
                                       22

Appellate Case: 25-1349   Page: 1320    Date Filed: 04/07/2025 Entry ID: 5503844
                                       23

Appellate Case: 25-1349   Page: 1321    Date Filed: 04/07/2025 Entry ID: 5503844
                                       24

Appellate Case: 25-1349   Page: 1322    Date Filed: 04/07/2025 Entry ID: 5503844
                                       25

Appellate Case: 25-1349   Page: 1323    Date Filed: 04/07/2025 Entry ID: 5503844
                                       26

Appellate Case: 25-1349   Page: 1324    Date Filed: 04/07/2025 Entry ID: 5503844
                                       27

Appellate Case: 25-1349   Page: 1325    Date Filed: 04/07/2025 Entry ID: 5503844
                                       28

Appellate Case: 25-1349   Page: 1326    Date Filed: 04/07/2025 Entry ID: 5503844
                                       29

Appellate Case: 25-1349   Page: 1327    Date Filed: 04/07/2025 Entry ID: 5503844
                                       30

Appellate Case: 25-1349   Page: 1328    Date Filed: 04/07/2025 Entry ID: 5503844
                                       31

Appellate Case: 25-1349   Page: 1329    Date Filed: 04/07/2025 Entry ID: 5503844
                                       32

Appellate Case: 25-1349   Page: 1330    Date Filed: 04/07/2025 Entry ID: 5503844
                                       33

Appellate Case: 25-1349   Page: 1331    Date Filed: 04/07/2025 Entry ID: 5503844
                                       34

Appellate Case: 25-1349   Page: 1332    Date Filed: 04/07/2025 Entry ID: 5503844
                                       35

Appellate Case: 25-1349   Page: 1333    Date Filed: 04/07/2025 Entry ID: 5503844
                                       36

Appellate Case: 25-1349   Page: 1334    Date Filed: 04/07/2025 Entry ID: 5503844
                                       37

Appellate Case: 25-1349   Page: 1335    Date Filed: 04/07/2025 Entry ID: 5503844
                                       38

Appellate Case: 25-1349   Page: 1336    Date Filed: 04/07/2025 Entry ID: 5503844
                                       39

Appellate Case: 25-1349   Page: 1337    Date Filed: 04/07/2025 Entry ID: 5503844
                                       40

Appellate Case: 25-1349   Page: 1338    Date Filed: 04/07/2025 Entry ID: 5503844
                                       41

Appellate Case: 25-1349   Page: 1339    Date Filed: 04/07/2025 Entry ID: 5503844
                                       42

Appellate Case: 25-1349   Page: 1340    Date Filed: 04/07/2025 Entry ID: 5503844
                                       43

Appellate Case: 25-1349   Page: 1341    Date Filed: 04/07/2025 Entry ID: 5503844
                                       44

Appellate Case: 25-1349   Page: 1342    Date Filed: 04/07/2025 Entry ID: 5503844
                                       45

Appellate Case: 25-1349   Page: 1343    Date Filed: 04/07/2025 Entry ID: 5503844
                                       46

Appellate Case: 25-1349   Page: 1344    Date Filed: 04/07/2025 Entry ID: 5503844
                                       47

Appellate Case: 25-1349   Page: 1345    Date Filed: 04/07/2025 Entry ID: 5503844
                                       48

Appellate Case: 25-1349   Page: 1346    Date Filed: 04/07/2025 Entry ID: 5503844
                                       49

Appellate Case: 25-1349   Page: 1347    Date Filed: 04/07/2025 Entry ID: 5503844
                                       50

Appellate Case: 25-1349   Page: 1348    Date Filed: 04/07/2025 Entry ID: 5503844
       11.    Produce an unredacted, complete copy the Mill Group Chat, Microsoft Teams
chat, from June 26, 2023.
RESPONSE: Please see the chat on June 26, 2023:




                                            51

 Appellate Case: 25-1349      Page: 1349      Date Filed: 04/07/2025 Entry ID: 5503844
                                       52

Appellate Case: 25-1349   Page: 1350    Date Filed: 04/07/2025 Entry ID: 5503844
       12.    Produce documents related to the fatality referred to in John Spears’ Mill Group
Chat message on June 26, 2023, produced by Respondent in the document titled ALL
Communications regarding MSHA.
       RESPONSE: In response to your request for the production of documents related to the
       fatality referred to in John Spears' Mill Group Chat message on June 26, 2023. We
       appreciate your inquiry and the opportunity to clarify the information requested.


       In the Mill Group Chat conversation on June 26, 2023, the mine operator posted a link to
       the June 8, 2023, fatality alert notice issued by the Mine Safety and Health
       Administration (MSHA). The referenced fatality is the same incident that is detailed in
       the MSHA's official alert notice.


       As the requested documents are directly related to the MSHA fatality alert notice, we
       would like to clarify that the details and information regarding this fatality are available
       in the official MSHA documentation, including the alert notice itself. We do not possess
       any additional internal documents or materials related to this specific incident beyond
       what has already been publicly communicated by MSHA.


       To provide you with the most accurate and complete information regarding this fatality,
       we recommend referring directly to the official MSHA fatality alert notice dated June 8,
       2023. This notice contains all relevant details and findings related to the incident, as
       compiled and reported by the regulatory authority responsible for investigating and
       documenting such events.


       Should you require access to the official MSHA fatality alert notice or have any further
       questions related to this incident or other matters, please do not hesitate to let us know.




                                                 53

 Appellate Case: 25-1349         Page: 1351        Date Filed: 04/07/2025 Entry ID: 5503844
       13.     Produce the Microsoft Teams chats regarding the following incidents/entries into
the document titled Rob Baumann-Notes from Russell Tidaback employee journal:
        a.       26JUL2022 - Jeff states the shaker screen ripped because Rob didn’t put bolts
back in and just ran it like that. Rob told Miguel that he didn’t care and that Miguel needed to get
down. Rob shut things down sent everyone home early.
        b.      27JUL2022 - Christine states Rob is having the guys run straight 8 hours and
bypassing the given break so they can go home earlier. I explained the break should be rotated so
we can continue to produce for the 8.5 hours. The breaks are precautionary for employees dust
exposure too. MO doesn’t require breaks to be given. Plus they are only running bulk bags and
that can be done with two people.
        c.      1AUG202 - Christine states If Rob cannot get it done, we just need to replace
him.
        d.      5AUG2022 - Jessie states there is no emphasis for the guys to help him. When he
brings it to Rob, he shruggs his shoulders and walks away.
        e.      8AUG2022 - Christine wants to bring Rob to first shift as she doesn’t believe Rob
is doing what he is suppose to be doing without someone overseeing him. We cannot put Jim on
nights due to being a single father and a young child at home.
        f.      9AUG2022 - Christine thinks we should train someone to replace Rob on the
night shift.
        g.      16AUG2022 - Advised Christine to counsel Rob regarding shutting down and
letting people go earlier than scheduled.
        h.      25AUG2022 - Rob needs counseling on filling out the BOL correctly. A shipper
complained that he did it wrong and wasted their time.
        i.       31AUG2022 - Had discussion with Rob on the importance of inputting the daily
production information in the spreadsheet. He said he would log in and get it done.
        j.       3SEP2022 - Had discussion with Rob regarding the daily production numbers
and updating the spreadsheet accurately. I don’t know if he is incompetent or just lazy.
        k.      28SEPT2022 - Rob not doing the CILAS reports as required for orders produced.
        l.      8OCT2022 - Jessie and Carson were waiting for Rob to get there. Rob was late
getting there.
        m.      12OCT2022 - Had discussion with Rob regarding notifying and working with
Carson to address the maintenance issues. Carson said Rob gets mad at everything and is hard to
work with. I explained that getting angry and combative with others is not going to solve the
issue any quicker.
        n.      13OCT2022 - Had to counsel Rob on following the production schedule as it is
presented. He was not producing what was on the schedule. Rob said he didn’t like having to
check the computer or phone to do his job. I explained that the computer work was part of the
role.
        o.       17OCT2022 - Had to explain Rob about the flow of the system and asked him
why he wasn’t reviewing the operating documents in the maintenance team files. His excuse was
he didn’t like to read on a computer.
        p.      26OCT2022 - Had to explain to Rob why the MAC vacuum system was spewing
dust from the exhaust and that we had to shut the system down so DEQ doesn’t get called. Jim
states Rob doesn’t know what he is doing.
        q.      2NOV2022 - John mentioned Rob showing his poor attitude again.


                                                 54

 Appellate Case: 25-1349         Page: 1352        Date Filed: 04/07/2025 Entry ID: 5503844
         r.       5NOV2022 - Had to get onto Rob about not properly keeping team shift hours
correct in Shifts. He was writing them down on scratch paper and forgetting to update shifts. I
don’t know if he is just lazy or what. I explained that he can do this any time from the computer
or his phone.
         s.      8NOV2022 - Had to inquire with Rob if he was shutting down early letting people
go home early. The systems were showing shut down before the end of the shift.
         t.       1DEC2022 - While at AT had a discussion with Rob regarding his lack of
attentiveness regarding ensuring the proper things were done with his team. The checklists
werent being completed. The inspections werent being completed. The breakroom was a disaster.
The fridge was disgusting. The trash wasn’t taken out the day before, some of the windows were
still open. The production floor was a mess. The back roll up door was off track. The bathroom
was disgusting. The circuit breakers in Warehouse A was blocked by slip sheets.
         u.      16DEC2022 - Discussion regarding keeping the production team informed of
what is expected to produce that day. Rob is lacking in managerial purpose for his team
members.
         v.      26DEC2022 - Discussion with Rob regarding not meeting the daily production
goals, team members complaining that he doesn’t know what he is doing and that he just gets
angry and stomps around like a child. He isnt a leader and allows his team to push him around.
His response was just nodding his head. I stressed filling out the tasking board everyday and
making sure the things get done. If he has problems with someone, take it to John and john will
get it resolved. Jim blames Rob.
         w.      20JAN2023 - Kensley posted in the Ops chat group a pic of dust blowing out the
back of the bldg. Again, had to stress to Rob that he needs to watch for any dust blowing out of
the building. We cant have the Sheriff or DNR receiving complaints about us. We had to
reiterate in the group that is was Robs responsibility to be inputting in the daily production
worksheet what was produced each day before he leaves for the day. This wasn’t been done.
         x.      25JAN2023 - Had to get onto Rob regarding keeping the completed bag inventory
up to date. John and I discussed Robs attitude.
         y.      28FEB2023 - discussed with Rob about the task board. Starting to think we need
to let Rob go. His attitude is one that he doesn’t care about getting things done. He jokingly
mentioned he liked being paid for not working.
         z.      20MAR2022 - Alex Snodgrass hired to eventually replace Rob.
         aa.     24MAR2023 - Discussion with John regarding Robs push back on stacking the
bags today. I believe Robs attitude is infectious. We need Alex to take over for Rob and just let
Rob go for performance issues.
         bb.     30MAR2023 - ATMO Safety discussion with Jessie about ensuring that Rob gets
the tasks done. The tasks are established, just not getting enforced by Rob.
         cc.     5APR2023 - Alex informed us regarding accepting a neurology position at a
hospital in Little Rock. Neurology is his degree is in. John and I discussed just letting Rob go.
         dd.     7APR2023 - John, Jordan and I discussed letting Rob go.
         ee.     12APR2023 - Time to let Rob go. He is afraid to make the system work and cant
meet the simple daily quotas. If Jim can get it done why cant Rob. Need to look at the mill
structure again. Jim can run the Mill, we just need to get a manager of people to manage the
team. Hopefully, Brian Edwards can do it. He can manage the people, QC, inventory and the
reporting. Jim can run the mill. Brian will need to learn how to as a back up to Jim.




                                               55

 Appellate Case: 25-1349        Page: 1353       Date Filed: 04/07/2025 Entry ID: 5503844
         ff.     14APR2023 - Warned John about an MSHA complaint when we let Rob go. Robs
termination will be based on production performance, not following guidance given by
management, not ensuring the safety of the mill associated by utilizing the proper controls, etc.
Send John the termination letter.
         gg.     16APR2023 - Ask Keith about miner pay and withdrawl order. Robs termination
letter sent to John.
         RESPONSE: These notes were from Mr. Tidabacks personal daily notes journal which is
       done on a Rocketbook wipeable notebook. These were not input into a Microsoft Teams
       Chat.


       14.     Produce all Microsoft Teams chats between Robert Baumann and any owner,
supervisor or manager of Respondent.
       RESPONSE: In your request for the production of all Microsoft Teams chats between
       Robert Baumann and any owner, supervisor, or manager of Respondent. We appreciate
       your patience as we work diligently to fulfill this highly technical request.


       Due to the specialized nature of retrieving Microsoft Teams chats, we are currently in the
       process of coaching our managers and supervisors on the necessary steps to access and
       compile the requested information. This process involves ensuring that all relevant chats
       are securely retrieved and properly documented to meet your requirements.


       We understand the importance of providing a comprehensive and accurate response to
       your request and are committed to delivering the requested Microsoft Teams chats as
       soon as they are available. Our team is actively working on this matter, and we anticipate
       completing the retrieval process within a reasonable timeframe.


       Please be assured that we take your request seriously and are making every effort to
       facilitate the retrieval of the requested chats efficiently and effectively. We will notify
       you as soon as the information is ready for submission.




                                                 56

 Appellate Case: 25-1349         Page: 1354        Date Filed: 04/07/2025 Entry ID: 5503844
01234           5677899ÿ 
24             87ÿ ÿ5ÿÿÿ7ÿ58ÿÿÿ
!"4             #8778ÿ987ÿ#$%ÿ&87ÿ# %ÿ ÿ$8 99ÿ'( 8%8ÿÿÿÿ)ÿ$(%ÿÿ
*+,-."/4        580ÿ12)52324ÿÿ5ÿ6 8ÿ78948:;8ÿ<ÿ8948:83
=>/.4           % ?ÿ& 9ÿ1:ÿ2324ÿ1101;02@ÿ)
A//>"B3.C/D4     E8331F&%E
                 E8332F&%E
GHIÿKLMMNI
OÿHPNQPRSÿTUVHÿUQLWLUWÿXVSÿYUÿWUSÿNPPÿLSÿSZ[Sÿ\[TIÿOÿR[WÿUW]TÿP^QHPNNÿMTÿRUWRPHWÿX[NPYÿUWÿSZP
P^QPHLPWRPNÿ\PÿZ[_Pÿ\LSZÿGHIÿG[H`PNUWI
a_PHÿNLWRPÿSZLNÿ[]]ÿNS[HSPYÿbÿMUWSZNÿ[cUIÿdPÿZ[_PÿZ[YÿGKefÿLWNQPRSUHNÿRUMPÿSUÿUVHÿ]UR[SLUWg
SZHP[SPWÿUVHÿPMQ]UTPPNgÿSZHP[SPWÿSUÿZ[_PÿhKÿG[HNZ[]]iNÿRUMPÿYU\Wÿ[WYÿSZHU\ÿSZPMÿ[]]ÿLWÿj[L]g
R]UNPÿUVHÿQ][WSgÿWUSÿUWRPÿXVSÿS\LRPgÿ]UR`ÿSZPÿYUUHNgÿSP]]ÿPMQ]UTPPNÿWUÿUWPÿLNÿ[]]U\PYÿSUÿPWSPHg
P_PWÿ\ZPWÿSZPHPÿLNÿWUÿQHPNPWSÿY[WcPHÿSUÿSZPMÿUHÿ[WTUWPÿP]NPIÿkUSZÿSLMPNgÿSZPÿML]]ÿ\[NÿWUS
HVWWLWcÿNUÿR]P[H]TgÿSZPHPÿ\[NÿWUÿQHPNWSÿY[WcPHÿSUÿ[WTUWPIÿfWYÿV]SLM[SP]Tÿ\UHNSÿSZLWcÿLN
`PPQLWcÿVNÿNZVSÿYU\WÿlUHÿ[]MUNSÿlUVHÿ\PP`NÿRUMXLWPYgÿ]UNLWcÿ[QQHU^LM[SP]TÿmngooogoooÿLW
HP_PWVPÿcPWPH[SLWcÿUQQUHSVWLSTI
OÿZ[_PÿXHUVcZSÿSZPNPÿLNNVPNÿlUH\[HYÿSUÿTUVÿYLHPRS]TIÿOÿHPpVPNSPYgÿQH[RSLR[]]TÿXPccPYgÿlUHÿTUVH
QHPNPWRPÿ[SÿUVHÿNLSPIÿfWYÿOÿ[MÿSZ[W`lV]ÿSZ[SÿTUVÿYLYIÿdZPWÿTUVÿYLYÿRUMPÿlUHÿSZPÿNZUHSÿ_LNLSgÿO
P_PWÿYLNRVNNPYÿ\LSZÿTUVÿQPHNUW[]]TÿNUMPÿUlÿSZPÿRLS[SLUWNÿLNNVPYÿXTÿGHIÿG[H`PNUWÿ[WYÿ\[NÿSU]Y
XTÿTUVÿSZ[SÿOÿNZUV]YÿRUWlPHPWRPÿSZPMIÿkTÿSZLNgÿP_PWÿTUVÿWUSLRPYÿNUMPÿUlÿSZPNPÿRLS[SLUWNÿ\PHP
pVPNSLUW[X]PI
OÿP_PWÿWUSLRPYÿGHIÿG[H`PNUWÿYLNHPNQPRSlV]]TÿNW[QÿX[R`ÿ[SÿGHIÿqH[SSÿ[lSPHÿGHIÿqH[SSÿ[N`PYÿGHI
G[H`PNUWÿSUÿrZVHHTÿSZLNÿVQrgÿSZPÿY[Tÿ\Pÿ\PHPÿ[]]ÿSZPHPÿUWÿNLSPIÿGHIÿqH[SSÿWUSLRPYÿSZ[SÿOÿWUSLRPY
SZLNÿHVYPÿ[WYÿVWR[]]PYÿlUHÿP^RZ[WcPÿUlÿ\UHYNgÿM[YPÿ[ÿl[RL[]ÿP^QHPNNLUWÿSUÿMPÿ[WYÿSVHWPYÿ[\[TI
OGsgÿPMX[HH[NNPYÿXTÿGHIÿG[H`PNUWI
fNÿ[ÿM[W[cPHÿUlÿQPUQ]PgÿSZPHPÿ[QQP[HNÿSUÿXPÿMUHPÿcULWcÿUWÿLWSPHW[]]Tÿ[WYÿ\LSZÿGHIÿG[H`PNUW
SZ[WÿTUVÿM[TÿXPÿ[\[HPÿUlI
GTÿlLHNSÿQHLUHLSTÿLNÿ[WYÿZ[NÿSUÿXPÿ\LSZÿUVHÿMLWPHNIÿOÿYUÿWUSÿXP]LP_PÿGHIÿG[H`PNUWÿLNÿ[RSLWcÿLW
cUUYÿl[LSZÿ\LSZÿSZPÿXPNSÿLWSPHPNSÿUlÿUVHÿMLWPHNIÿOÿSUUÿ[Mÿ[ÿMLWPHI
Oÿ[MÿNVHPÿTUVÿZ[_PÿUSZPHÿLWNQPRSUHNÿSZ[Sÿ[HPÿMUHPÿSZ[Wÿ\L]]LWcÿ[WYÿ[X]PÿSUÿQHU_LYPÿRUMQ[H[X]Pg
LlÿWUSÿXPSSPHgÿNVQQUHSÿlUHÿSZPÿWPPYNÿUlÿUVHÿMLWPHNÿ[WYÿUVHÿ]UR[SLUWI
dLSZÿ[]]ÿYVPÿHPNQPRSÿNLHgÿOlÿTUVÿ[HPÿWUSÿ[X]PÿSUÿUHÿ\L]]LWcÿSUÿ\UH`ÿ\LSZÿVNgÿQVSSLWcÿUVHÿMLWPHN
LWSPHPNSNÿlLHNSgÿQ]P[NPÿNLHgÿTUVÿ]P[_PÿMPÿWUÿUSZPHÿUQSLUWÿXVSÿSUÿHPpVPNSÿSZPÿRUWS[RSÿLWlUHM[SLUW
lUHÿTUVHÿNVQPH_LNUHÿNUÿSZ[SÿOÿM[TÿQHUQPH]TÿVSL]LtPÿSZPÿGKefÿRZ[LWÿUlÿRUMM[WYÿ[WYÿS[`PÿMT
RUWRPHWNÿ[WYÿHPRPWSÿP^QPHLPWRPNÿSUÿSZPMI
Oÿ[MÿMUHPÿSZ[Wÿ\L]]LWcÿSUÿ\UH`ÿ\LSZÿTUVÿ[Nÿ\PÿZ[_Pÿ[]\[TNÿSHLPYÿSUÿYUÿXVSÿOÿYUÿXP]LP_PÿSZ[SÿO
[Mÿ\LSZLWÿMTÿHLcZSNÿSUÿHPpVPNSÿSUÿWUSÿZ[_Pÿ[ÿLWNQPRSUHÿRUMPÿSUÿUVHÿNLSPÿLlÿOÿXP]LP_PÿSZ[SÿSZP
LWNQPRSUHÿLNÿWUSÿ[RSLWcÿLWÿcUUYÿl[LSZÿlUHÿSZPÿN[lPSTÿ[WYÿXPSSPHMPWSÿUlÿUVHÿMLWPHNI
uPNQPRSlV]]TgÿQ]P[NPÿ[Y_LNPI

Appellate Case: 25-1349            Page: 1355           Date Filed: 04/07/2025 Entry ID: 5503844
0122344ÿ67899 ÿ
 379ÿ6747ÿ
3ÿÿÿ37ÿ921ÿ949ÿ293
3ÿ14ÿÿ878
!"#ÿ$32ÿ%9&78ÿ0ÿ'ÿ() ÿ*$32+%9&78,%-+.
/012#ÿ(89ÿ74ÿ34ÿ5657ÿ5689:
;!#ÿ72ÿ03ÿÿ'ÿ() ÿ*72+03,%-+.<ÿ0122344ÿ67899
*067899 ,8338+.
=>#ÿ?32273ÿ(4327ÿ*?32273+(4327,9379747+.<ÿ?ÿ392
*?+392,9379747+.<ÿ?89ÿ67899 ÿ*?89+67899 ,8338+.<ÿ3744
-9@33ÿ%ÿ'ÿ() ÿ*3744+-9@33,%-+.<ÿA9ÿ9@ÿ'ÿ()
*A9+9@,84+&.
/BCD0>2#ÿ038ÿ35 A05657ÿ'ÿEÿ83ÿFG:7G4HGÿIÿG:7G4G6
69ÿJ1
%9&78
3ÿ14ÿÿ7
KLMNOÿQRSSTUÿVWXYZ[ÿ\ÿ]ÿ^Q_\ÿ̀QRSSTaVWXYZ[bcdeafdgh
ijklOÿ^WmnopUÿ\qZRrÿstUÿuvuwÿxyzwyw{ÿ|^
}MOÿV~TTYrrÿRnoXoÿ̀VRnoXobnYYnpWaWSh
OÿYTTRYÿ^WrYTRÿ̀YTTRYa^WrYTRboSYZRom[ZRqWrRaWShÿWmÿQqYoZT
`WmaQqYoZTboSYZRom[ZRqWrRaWShÿWZnomÿRnoXoÿ̀WZnomaRnoXobnYYnpWaWShÿQYZZRrrU
eoZYmYÿcÿ]ÿ^Q_\ÿ̀QYZZRrraeoZYmYbcdeafdghÿYT[UÿcoRnÿVÿ]ÿ^Q_\
`YT[acoRnbcdeafdghÿ|Zo[[UÿQomÿ]ÿ^Q_\ÿ̀|Zo[[aQombnWraWh
ijlOÿVYyÿsu\|Vuvuwÿ]ÿÿdZnYZÿwtxÿÿwtv
ÿ
0122344
37ÿ72ÿ3ÿÿ3ÿ32ÿ7232ÿ@3ÿ9&3ÿ7ÿ72ÿ8727ÿ7ÿÿ7ÿ() +ÿÿ)3ÿ92ÿ734
92@338ÿ1ÿ13272ÿ&7838ÿ3ÿ17893ÿ3987ÿ1ÿ33ÿ&332132ÿ98
92ÿ@38ÿÿ988322ÿ944ÿÿ1ÿ32+ÿÿ
)3ÿ92ÿ942ÿ23ÿ9ÿ4ÿÿ73ÿ7ÿÿ38193ÿ1ÿ98ÿ1ÿ3234ÿÿ3ÿ23712322ÿ
7479ÿ&332132ÿ98ÿ@9ÿ72ÿ33838ÿÿ7ÿ1ÿ3ÿ9 ÿ7ÿ4793+ÿÿ



3ÿ14ÿÿ7

Appellate Case: 25-1349       Page: 1356       Date Filed: 04/07/2025 Entry ID: 5503844
01234ÿ67889ÿ ÿ6  99
4ÿÿ!"ÿ#$ÿ%&%'ÿ$(%'ÿ)
*24ÿ)"++ÿ,-.ÿ/ÿ,0 ÿ)"++,-. 12
344ÿ59889ÿ98ÿ59889989"+"!6ÿ5-ÿ,!9"8
5-,!9"89"+"!6ÿ5"ÿ ÿ5"  996
,8ÿ69"+ÿÿ/ÿ,0 ÿ,869"+789:8;6ÿ,-9""ÿ9."99ÿ7ÿ/ÿ,0
,-9""9."99789:8;6ÿ<98+ÿ72 ÿ6ÿ/ÿ,0 ÿ<98+72 789:8;
=>?44ÿ69(ÿ#% )6%&%'ÿ/ÿ@ÿ8"9"ÿABC'B$DBÿEÿBC'B$B&
ÿ
 3FG*HIJ4ÿ*LMNÿ3OMPÿ21MQMORÿS123ÿ2=NMRÿ2SÿLÿTUO13ÿ2SÿVO>21WÿT2
 2ÿ4PM4XÿYNP4ZÿPMXNÿ21ÿ2UÿOO4L3Nÿ=PNNÿ[2=ÿ142QM\ÿLÿNR1
 ORÿX2]ÿLÿ42ÿMNÿNOSWÿ^U21ÿN=NUM4M2=Nÿ3OMPNÿL12=QLÿLÿ_^U21
 `LMNLMQ_ÿ>=2ÿ2ÿ[2=1ÿ3OMPÿ22P>O1W
abcÿebfggc
hÿijÿkjgÿlmnompmÿabcÿafbqmrjkÿorÿfsgoktÿokÿtjjiÿufogvÿwogvÿgvmÿlmrgÿokgmbmrgÿjuÿjxbÿyokmbrcÿhÿfy
bmzxmrgoktÿgvfgÿabcÿafbqmrjkÿ{|}ÿgjÿbmgxbkÿgjÿjxbÿrogmc
~mÿvfrÿsbmfgmiÿfkÿmkpobjkymkgÿwvmbmÿjxbÿyokmbrÿfbmÿsjkuxrmiÿsjksmbkmiÿujbÿgvmobÿjlrÿfki
gvmÿuokfksofnÿnopmnovjjiÿjuÿgvmobÿufyonc
mÿvfpmÿfrqmiÿbmmfgminÿujbÿfrrorgfksmÿfkiÿhÿummnÿwmÿqmmÿtmggoktÿgvmÿbxkfbjxkiÿubjyÿabc
afbqmrjkc
hÿfyÿfgÿfÿnjrrÿvmbmÿfkiÿijkgÿqkjwÿwvfgÿmnrmÿgjÿijc
hÿijÿfjnjtomÿujbÿvfpoktÿgjÿlboktÿgvorÿujbwfbiÿlxgÿfrÿjxÿsfkÿrmmÿfugmbÿyxngonmÿfggmygrÿwm
fbmÿkjgÿtmggoktÿubjyÿabcÿafbqmrjkÿwvosvÿorÿbmbmrmkgoktÿa~ÿgvmÿrxjbgÿkmmimiÿwvosv
rvjxniÿlmÿmmsgmiÿubjyÿfkÿfxgvjbogfgopmÿumimbfnÿftmksc
enmfrmÿfipormc
xrrmnnÿ}oiflfsqÿ
mkgÿubjyÿyÿmbojkÿfyrxktÿfnfÿryfbgvjkm
mgÿ|xgnjjqÿujbÿkibjoi
ÿafbqmrjkÿmogvÿcÿÿa~ÿafbqmrjkcmogv|c|
ÿajkifÿbonÿÿÿ¡¢£
¤ÿxrrmnnÿ}oiflfsqÿ}oiflfsqimmisjcsjy¥ÿebfggÿvfwkÿÿa~ÿebfggcvfwkijnctjp
¦§ÿ̈mrromÿajnmroÿ¨mrromcajnmrofymbosfkgbojnocsjy¥ÿ̈jvkÿmfbr
¨jvkcmfbrfymbosfkgbojnocsjy¥ÿ̈jbifkÿ}oiflfsqÿ¨jbifkc}oiflfsqimmisjcsjy¥ÿoyyr
jlmbgÿÿÿa~ÿoyyrcjlmbg|c|¥ÿvmbbonnÿfwbmksmÿÿÿa~

Appellate Case: 25-1349        Page: 1357        Date Filed: 04/07/2025 Entry ID: 5503844
012344566789 43 3 87ÿ3ÿ95ÿÿÿ1ÿ03795 87
 !"#$%&'ÿ()ÿ*+,+-+.ÿÿ/ÿ434ÿ012.1341ÿ5ÿ12.131-
67ÿ9:;<=>;:;ÿ?9:ÿ@:A=BÿC>ÿ9:DE
ÿ
ÿ
F:CGHÿ6?9I:;=>ÿJÿ6C>:ÿK?L:G7ÿ?>DÿM:?AGHÿN>;<:OG=9
PEKEÿQ:<?9GR:>Gÿ=LÿS?@=9ÿTÿ6KMU
V=AA?ÿWC:ADÿXLLCO:
YZ[ZÿN>D:<:>D:>O:ÿV=?D
V=AA?\ÿ6Xÿ]^Z[Y
_Hÿ̀^abTZ]aTZYbZ
W?cÿ̀^abTb]ZT[b[^


defghijklmnohkigolnipmhoofqghpghiofiqfqgkirsgjklgoefgtflpkigklgfiohosgokguehveghoghpgnqqlfppfqgniqgmns
vkionhigvkijhqfiohnrgniqwklgtlhxhrfyfqgmnoflhnrzg{isglfxhfu|glfolnipmhpphki|gqhppfmhinohkigklgkoefl
}pfgkj|gklgon~hiygkjgnisgnvohkighiglfrhnivfg}tki|goehpghijklmnohkigsgtflpkipgklgfiohohfpgkoeflgoenigoef
hiofiqfqglfvhthfioghpgtlkehhofqzgkohjsgpfiqflghjgoehpgfmnhrgunpglfvfhxfqghigfllklz
ÿ
 ÿV;;:AAÿCD?@?OIÿVCD?@?OID::D7O=EO=Rÿ
ÿK>D?7\ÿU<9CAÿY]\ÿ[bÿ]`[Yÿ_6
ÿ6?9I:;=>\ÿF:CGHÿKEÿTÿ6KMUÿ6?9I:;=>EF:CGHQXSEXÿ_9?GG\ÿKH?B>ÿTÿ6KMU
_9?GGEKH?B>D=AE=
ÿ:;;C:ÿ6=A:;Cÿ:;;C:E6=A:;C?R:9CO?>G9C<=ACEO=Rÿ=H>ÿK<:?9;
=H>EK<:?9;?R:9CO?>G9C<=ACEO=Rÿ=9D?>ÿCD?@?OIÿ=9D?>ECD?@?OID::D7O=EO=RÿKCRR;\
V=@:9GÿUÿTÿ6KMUÿKCRR;EV=@:9GQXSEXÿKH:99CAA\ÿS?B9:>O:ÿQÿTÿ6KMU
KH:99CAAES?B9:>O:QXSEXÿ:;G\ÿQ?CDÿVÿTÿ6KMUÿ:;GEQ?CDQXSEXÿV;;:AAÿCD?@?OI
VCD?@?OID::D7O=EO=R
ÿVÿ̀YU_V[bÿTÿÿX9D:9ÿ^ba¡ÿ¢ÿ^ba[
ÿ
 £¤¥¦§¨©'ÿ¦«¬­ÿ$®¯¬°ÿ±²¬³¬´¯&$µÿ¶²±®ÿ±!&­¬µ$ÿ±¶ÿ&«$ÿ·$¸¯²&®$´&ÿ±¶ÿ¹¯"±²º
 ·±ÿ́±&ÿ%°¬%»ÿ¼­$°$%&½ÿ°¬´»­ÿ±²ÿ±¸$´ÿ̄&&¯%«®$´&­ÿ!´°$­­ÿ¾±!ÿ²$%±³´¬¿$ÿ&«$
 ­$´µ$²ÿ̄´µÿ»´±Àÿ&«$ÿ%±´&$´&ÿ¬­ÿ­¯¶$ºÿÁ$¸±²&ÿ­!­¸¬%¬±!­ÿ$®¯¬°­ÿ&«²±!³«ÿ&«$
 ÂÁ$¸±²&ÿÃ«¬­«¬´³Âÿ"!&&±´ÿ±´ÿ¾±!²ÿ$®¯¬°ÿ&±±°"¯²º
ÿ
ÄÅÆÿÄÈÅÉÊËÌÍÆ
ÎÏÅÐÿÑÒÈÍÉÿÓÌÔÿÕÌÅÿÓÌÔÅÿÅÊÖ×ÓÆÿØÙÿÅÈÏËÊËÿÚÌÅÊÿÛÔÊËÙÏÌÍËÆ
ÜÆÿÝÌÿÞÅÊ×ÈÙÊßÿßÔËÙÿÖÅÌßÔàÏÍáÿÈàÙÏâÏÙÏÊËÆÞÿãÈÍÿäÊÿÙÈËÉÿÌÔÅÿáÔÓËÿäÏÙÒÿÙÈËÉËÿÙÒÈÙÿÈÅÊÿÍÌÙÿÞßÔËÙ
ÖÅÌßÔàÏÍáÞåÿÎÔàÒÿÈËÿà×ÊÈÍÏÍáÿÙÒÊÿæÅÊÈÉÅÌÌÚÐÿà×ÊÈÍÏÍáÿÙÒÊÿæÈÙÒÅÌÌÚÐÿ×ÔæÅÏàÈÙÏÍáÿÈÍß
ÈßçÔËÙÏÍáÿÙÒÊÿÅÌ××ÔÖÿßÌÌÅËÐÿÈßçÔËÙÏÍáèÅÊÖÈÏÅÏÍáÿÙÒÊÿäÏÍßÌäÿÖÔ××ÿàÌÅßËÐÿÖÈÏÍÙÏÍáÿÙÒÊÿËÈÕÊÙÓ
ÒÈÍßÅÈÏ×ËÐÿÈÍßÿËÈÕÊÙÓÿ×ÏÍÊËÐÿÅÊÚÌâÏÍáÿÙÒÊÿÖÈ××ÊÙÏéÊÅÿ×ÌÈßÊÅÿÊÛÔÏÖÚÊÍÙÐÿ×ÔæÅÏàÈÙÏÍáÿÙÒÊ

Appellate Case: 25-1349          Page: 1358         Date Filed: 04/07/2025 Entry ID: 5503844
0123450678ÿ07 ÿ
  00ÿ0ÿÿ36ÿ70ÿ3ÿ27ÿ0ÿ67ÿ27ÿ4236ÿ733730ÿ0ÿ26076ÿ6ÿ5336
5 360ÿ20ÿÿ73ÿ012345067ÿ06070ÿ27ÿÿ00436ÿÿ036ÿÿ430ÿ
27ÿ07ÿ370ÿ0336ÿÿ27ÿ4236ÿ733730
ÿ
ÿ!"#ÿ$%"ÿ&"#'()*"ÿ+,ÿ$%"ÿ-./0'1ÿ+#2"#3
4%(ÿ+#2"#ÿ5($%2#)5 ÿ)66ÿ7(,"#ÿ8#+7ÿ$%"ÿ7(66ÿ'9(62(,*ÿ8+#ÿ)66ÿ):$(&($(";ÿ5($%ÿ$%"ÿ"<:"!$(+,ÿ+83
-=ÿ>(,*ÿ$%"ÿ8+#?6(8$01ÿ$+ÿ6+)2ÿ)6#")2@ÿ!):?)*"2ÿ!#+29:$ÿ+,$+ÿ:9$+7"#ÿ$#9:?=
A=ÿB),9)66@ÿ5#)!!(,*ÿ)6#")2@ÿ$):?"2ÿ),2ÿ!):?)*"2ÿ!#+29:$ÿ5($%ÿ$#"$:%ÿ5#)!ÿ8+#ÿ%(!!(,*=
C=ÿD+#?(,*ÿ+,ÿ$%"ÿ2(:%)#*"ÿ",2ÿ+8ÿ$%"ÿ29$ÿ:+66":$+#ÿ0:#"5ÿ:+,&"@+#ÿ),2ÿ)(#6+:?1ÿ+9$(2"
),2;
/=ÿD+#?(,*ÿ(,ÿ$%"ÿ%+!ÿ)$$):%"2ÿ$+ÿ$%"ÿ7(66ÿ'9(62(,*=
ÿ
,@ÿ+$%"#ÿ):$(&($@ÿ5($%+9$ÿ)ÿ7+2(8(:)$(+,ÿ$+ÿ$%"ÿ-./0'1ÿ+#2"#ÿ5+962ÿ'"ÿ:+,(2"#"2ÿ5+#?(,*ÿ(,
$%"ÿ8):"ÿ+8ÿ),ÿ+#2"#=
E5ÿ20ÿ2ÿ6ÿ00ÿ3ÿ660ÿ3ÿ36ÿ70ÿ538ÿ00ÿÿ70ÿ7F368ÿ70ÿ3 736ÿ2
0ÿ6ÿÿ07ÿ42408ÿ6ÿ70ÿ368ÿ8ÿ6ÿ0673736ÿ705ÿ2ÿ0ÿ406
6ÿ6
4%"ÿ6(*%$ÿ)#"ÿ)6#")2@ÿ+,=
GÿH6ÿ0ÿ320ÿ260ÿIJKLMÿÿ70ÿN00ÿ360ÿO07ÿ6ÿP07ÿH 7ÿÿIQRRÿ3ÿ
37ÿ08ÿ6ÿ37ÿ0ÿ36F0ÿ70ÿS3 7ÿ7ÿTÿÿ360ÿE0ÿÿÿ37
U0ÿO360ÿ0ÿ4070ÿV ÿÿÿUWNSE8ÿ 3 ÿ4430ÿ7ÿ2ÿ53ÿ370X
ÿ
4%"ÿ7(,"#ÿ)#"ÿ",$($6"2ÿ$+ÿ!)@ÿ8+#ÿ$%"ÿ#"7)(,2"#ÿ+8ÿ$%"(#ÿ%(8$ÿ8+#ÿ/Y-AYA.ACÿ),2ÿ8+#ÿ8+9#
%+9#ÿ8+#ÿ/Y-CYA.AC=ÿÿÿ!"#ÿ$%"ÿZ"2"#)6ÿB(,"ÿ[)8"$@ÿ),2ÿ\")6$%ÿ:$ÿ+8ÿ-]^^3
_`4a4b_B_`4ÿcZÿBà_d[
[_e=ÿ---=ÿa8ÿ)ÿ:+)6ÿ+#ÿ+$%"#ÿ7(,"ÿ+#ÿ)#")ÿ+8ÿ9:%ÿ7(,"ÿ(ÿ:6+"2ÿ'@ÿ),ÿ+#2"#ÿ(9"2ÿ9,2"#
 ":$(+,ÿ-.C;ÿ":$(+,ÿ-./;ÿ+#ÿ":$(+,ÿ-.^;ÿ)66ÿ7(,"#ÿ5+#?(,*ÿ29#(,*ÿ$%"ÿ%(8$ÿ5%",ÿ9:%ÿ+#2"#
5)ÿ(9"2ÿ5%+ÿ)#"ÿ(26"2ÿ'@ÿ9:%ÿ+#2"#ÿ%)66ÿ'"ÿ",$($6"2;ÿ#"*)#26" ÿ+8ÿ$%"ÿ#"96$ÿ+8ÿ),@ÿ#"&("5
+8ÿ9:%ÿ+#2"#;ÿ$+ÿ8966ÿ:+7!",)$(+,ÿ'@ÿ$%"ÿ+!"#)$+#ÿ)$ÿ$%"(#ÿ#"*96)#ÿ#)$"ÿ+8ÿ!)@ÿ8+#ÿ$%"ÿ!"#(+2
$%"@ÿ)#"ÿ(26"2;ÿ'9$ÿ8+#ÿ,+$ÿ7+#"ÿ$%),ÿ$%"ÿ')6),:"ÿ+8ÿ9:%ÿ%(8$=ÿa8ÿ9:%ÿ+#2"#ÿ(ÿ,+$ÿ$"#7(,)$"2
!#(+#ÿ$+ÿ$%"ÿ,"<$ÿ5+#?(,*ÿ%(8$;ÿ)66ÿ7(,"#ÿ+,ÿ$%)$ÿ%(8$ÿ5%+ÿ)#"ÿ(26"2ÿ'@ÿ9:%ÿ+#2"#ÿ%)66ÿ'"
",$($6"2ÿ$+ÿ8966ÿ:+7!",)$(+,ÿ'@ÿ$%"ÿ+!"#)$+#ÿ)$ÿ$%"(#ÿ#"*96)#ÿ#)$"ÿ+8ÿ!)@ÿ8+#ÿ$%"ÿ!"#(+2ÿ$%"@
)#"ÿ(26"2;ÿ'9$ÿ8+#ÿ,+$ÿ7+#"ÿ$%),ÿ8+9#ÿ%+9#ÿ+8ÿ9:%ÿ%(8$=
E5ÿ000636ÿ70ÿ360ÿS3 7ÿ6F8ÿ40ÿIGWIf8
Eÿ2ÿ0ÿF36ÿ6ÿ70ÿ37ÿ 06ÿÿ37ÿ0ÿ3ÿ3208ÿ6ÿ2ÿ0ÿ30ÿÿ70
37ÿ08ÿ2ÿ0ÿ067370ÿ7ÿ2ÿ02ÿ4ÿÿ70ÿ7350ÿ7gÿ27ÿ6ÿÿ70
60ÿÿ70ÿ37ÿOÿ70ÿU0ÿÿ320ÿ6ÿKhIGhGJGfÿ7ÿJQJGÿOÿ70ÿ2ÿ00
30ÿ7ÿÿ50ÿ2673ÿ0ÿ07ÿ73ÿ320ÿ27ÿEÿ00ÿ70ÿ07ÿ43ÿÿ77ÿÿ360
70iÿ0ÿ50ÿ6ÿ07ÿ7ÿÿ24ÿ7ÿF

Appellate Case: 25-1349       Page: 1359       Date Filed: 04/07/2025 Entry ID: 5503844
0123ÿ23ÿ51676ÿ28ÿ9683ÿ 329ÿ ÿ51ÿÿ8726ÿ8ÿ 88ÿÿ ÿ816ÿ81ÿ
ÿ56ÿ ÿ 8ÿ16ÿ6687228ÿ2ÿ816ÿ2ÿ 7ÿ29183ÿ8ÿÿ67ÿ56ÿ816ÿ2
33 2863ÿ8ÿ6786ÿ2ÿ816ÿ2ÿ5281ÿ ÿ291829ÿ5  8ÿ8123ÿ 8728ÿ2882 ÿ !"!#
ÿ2336ÿ ÿ$$%!ÿ8ÿ%!ÿ7&6ÿ' 38ÿ( 7&3ÿ7ÿ)6387286ÿ*8ÿ 7ÿ+7ÿ7
2633ÿ ÿ6ÿ763 ÿ6,686ÿ ÿÿ 6786ÿ-69296 6.
016ÿ2882 ÿ38863ÿ- 6ÿ ÿ816ÿ29183ÿ5676ÿ5 7&29.ÿ/0123ÿ 282 ÿ76863ÿÿ232228
107ÿ8ÿ816ÿ267ÿ
ÿ3876336ÿ8123ÿ3622ÿ2336ÿ5281ÿ8123ÿ2882 ÿ8ÿÿ2ÿ673 ÿ2ÿ7 8ÿ ÿ7ÿ123ÿ7
2788ÿ ÿ81673ÿ3 ÿ38 ÿ7ÿ97 ÿ ÿ613206ÿ8ÿÿ ÿ3ÿ7636 8ÿ818ÿ5281 8
6687228$767ÿ2282 ÿ7697633ÿ ÿ52 5ÿ7ÿ 7ÿ 633ÿ28ÿ5 ÿ6ÿ 32676
ÿ282 
- 5ÿ5281ÿ818ÿ32ÿ28ÿ5 ÿ6ÿ27763 326ÿ8ÿ812&ÿ818ÿ56ÿ5 ÿ286 82 ÿ9ÿ9238
518ÿ56ÿ5676ÿ286ÿ 7ÿ+38ÿ85 ÿ 813ÿ67267
ÿ
(6ÿ1ÿ8ÿ&66ÿ816ÿ2673ÿ8ÿ ÿ816ÿ2ÿ6ÿ8ÿ23  282 ÿ25767
 6 882 ÿ ÿ72282 ÿ666ÿ8ÿ 8ÿ ÿ&66ÿ816ÿ2673ÿ36ÿ8ÿ3ÿ6 376
818ÿ56ÿ5 ÿ 8ÿ6ÿ286ÿ92ÿ 7ÿ&29ÿ ÿ3382 ÿÿ1 6ÿ8123ÿ6,23ÿ51ÿ56
  666ÿ ÿ382ÿ66ÿ72282 ÿ7ÿ
ÿ5 ÿ336ÿ 7ÿ  6ÿ8ÿ2ÿÿ ÿ 8ÿ968ÿÿ1 ÿ ÿ6ÿ2ÿ1 6ÿ636ÿ 5ÿ
5281ÿ ÿ62ÿÿ16ÿ ÿ2336ÿ3ÿ7ÿÿ ÿÿ76626ÿ ÿ3ÿ ÿ2623ÿ61
ÿ1 ÿÿ 8ÿ 27ÿÿ6ÿ ÿÿ5 ÿ16ÿ6ÿÿ&ÿ2ÿÿ2ÿ3ÿ56ÿ16
6663ÿ328829ÿ8ÿ1 6
ÿ
ÿÿ 8ÿ3&29ÿÿ8ÿ763 ÿ ÿÿ31666ÿÿ+38ÿ3&29ÿÿ8ÿ763 
27 6332 ÿ28ÿ23ÿ336ÿÿ763 36ÿ52ÿ6ÿ52812ÿ7ÿ1 73ÿÿ& 5ÿÿ76ÿ3ÿ ÿ
 8ÿ 87ÿ7ÿ83&ÿÿÿ2ÿ761ÿ8ÿ8ÿ7ÿ2788ÿ89ÿ:72ÿÿ%!ÿ8ÿ!;7;#ÿ2
<6ÿ6ÿ6ÿ1ÿ8ÿ66ÿ6ÿÿ26ÿ63396ÿ ÿÿ6ÿ12ÿ&ÿ26286
8ÿ53ÿ3ÿ7918ÿ8ÿÿ886 82 ÿ818ÿ28ÿ53ÿ6,76336ÿ8ÿ816ÿ8ÿ7ÿ3286ÿ=> 86ÿ7ÿ
666?ÿ01676ÿ53ÿ3ÿ6 82 ÿ818ÿ1<:ÿÿ 8ÿ6ÿ2ÿÿ177ÿ8ÿ 27ÿ ÿ ÿ8123
32 6ÿ81676ÿ23ÿ67ÿ626 6ÿ818ÿ56ÿ5676ÿ 8ÿ2ÿÿ177ÿ8ÿ8ÿ ÿ ÿ ÿ816ÿ2882 3
ÿ
7ÿ7&63 ÿÿÿ 8ÿ38829ÿÿ32ÿ8123ÿ3ÿÿ53ÿ 8ÿ7636 8ÿ8ÿ167ÿ28ÿÿ729ÿÿ8123
 28ÿ636ÿ ÿ 6 83ÿ2&6ÿ8123ÿ7ÿÿ673 ÿ2ÿ7ÿ81 728826ÿ 3282 ÿ&6
6663ÿ376ÿ ÿ 676ÿ 7ÿ81627ÿ+ÿ16&ÿ ÿ2621 ÿ:3ÿÿ31 ÿ6
56ÿ576ÿ28ÿ23ÿ16 929ÿ8ÿ1276ÿ65ÿ6663ÿ ÿ7682ÿ81 36ÿ51 ÿ5 8ÿ8ÿ5 7&ÿ2
  7ÿ776 8ÿ6 
0123ÿ63ÿ6ÿ&ÿ8ÿ816ÿ2673ÿ)29183ÿ1  &ÿ96ÿ!ÿÿ3ÿ28ÿ38863ÿÿÿ76
528175 ÿ7ÿ816ÿ26ÿ7ÿ78ÿ ÿ816ÿ26ÿ ÿ26ÿ636ÿ816ÿ6787ÿ 63ÿ 8
   ÿ5281ÿ ÿ 87ÿ368ÿ7ÿ1681ÿ38 7ÿÿ76ÿ8ÿ6ÿ2ÿ 7ÿ38ÿ826ÿ8
7ÿ7697ÿ786ÿ 7ÿ816ÿ826ÿÿ76ÿ26ÿ7ÿ 7ÿ 6ÿ566&ÿ5121667ÿ23ÿ816ÿ63367
@7ÿ518ÿÿ76ÿ38829ÿ816ÿ5676 8ÿ26ÿ636ÿ56ÿ ÿ16ÿ8ÿ816ÿ8ÿ5 7&
 729ÿ8ÿ816ÿ6,682 3ÿ6ÿ ÿ 5ÿ86ÿA7673ÿ0123ÿ23ÿ51ÿ56ÿ66
 72282 ÿ7ÿ
BCDÿEF9DGHÿIDGDÿFJKDJÿJLDÿM8ÿNÿOPQRSTÿIFMCJGNINKÿ8GJDGUÿÿBCDÿ/VFWCMÿM8ÿXNYÿZ8Gÿ[F9DGHÿ\JKDJÿ]Y
Appellate Case: 25-1349       Page: 1360       Date Filed: 04/07/2025 Entry ID: 5503844
0ÿ2345670809ÿ767ÿ ÿ34ÿ90ÿ 0ÿÿ453ÿÿ0ÿÿÿ45ÿ37ÿ354ÿ!
"#$ÿ06ÿ% 43ÿÿÿ45ÿ&6709ÿ3ÿ%04ÿ06ÿ' 0945ÿ(4ÿÿ)**ÿ6ÿ09ÿ3ÿ453
34043
+,ÿ./01ÿ230ÿ45612ÿ72836C896873ÿ877:;ÿ2/ÿ<3060ÿ/=6ÿ>5::ÿ811/?58201ÿ860ÿ65932ÿ2/ÿ@0ÿ785Aÿ4/6ÿ230
0B2560ÿA8;Cÿ230ÿDE ÿ/6ÿ860ÿ230;ÿF0B252:0Aÿ2/ÿ@0ÿ785Aÿ4/6ÿ:/12ÿ25G0H
#5ÿ37ÿ07ÿ43496ÿ4ÿ0ÿ7ÿ45ÿ70367ÿÿ4537ÿ534ÿ7ÿIJJKÿ06ÿ7ÿ7
57ÿ7ÿIJJKÿÿ(ÿ7ÿ45ÿ&6709ÿ3ÿ%04ÿ06ÿ' 0945ÿ(4ÿÿ)**L
MN#O#PMMN#ÿ&ÿONM%
%MQÿÿOÿ0ÿ09ÿ7ÿ457ÿ3ÿ7ÿ070ÿÿ5ÿ3ÿ3ÿ96ÿÿ0ÿ767ÿ36ÿ67
 43ÿKRÿ 43ÿKIRÿ7ÿ 43ÿK*Rÿ099ÿ37ÿ87!3ÿ673ÿ45ÿ534ÿ85ÿ5ÿ767
80ÿ36ÿ85ÿ07ÿ3696ÿÿ5ÿ767ÿ5099ÿÿ43496Rÿ70769ÿÿ45ÿ794ÿÿ0ÿ7S38
ÿ5ÿ767Rÿ4ÿ99ÿ043ÿÿ45ÿ7047ÿ04ÿ4537ÿ7907ÿ704ÿÿ0ÿ7ÿ45ÿ736
45ÿ07ÿ3696Rÿ4ÿ7ÿ4ÿ7ÿ450ÿ45ÿ090 ÿÿ5ÿ534ÿOÿ5ÿ767ÿ3ÿ4ÿ473046
737ÿ4ÿ45ÿT4ÿ87!3ÿ534Rÿ099ÿ37ÿÿ4504ÿ534ÿ85ÿ07ÿ3696ÿÿ5ÿ767ÿ5099ÿ
 43496ÿ4ÿ99ÿ043ÿÿ45ÿ7047ÿ04ÿ4537ÿ7907ÿ704ÿÿ0ÿ7ÿ45ÿ736ÿ45
07ÿ3696Rÿ4ÿ7ÿ4ÿ7ÿ450ÿ7ÿ57ÿÿ5ÿ534ÿÿOÿ0ÿ09ÿ7ÿ457ÿ3ÿ7ÿ070ÿ
5ÿ3ÿ3ÿ96ÿÿ0ÿ767ÿ36ÿ67ÿ 43ÿKIÿ7ÿ 43ÿK*ÿÿ453ÿ4349ÿ7ÿ0
0397ÿÿ45ÿ7047ÿ4ÿ9ÿ8345ÿ0ÿ06047ÿ50945ÿ7ÿ04ÿ406076Rÿ099ÿ37
85ÿ07ÿ3696ÿ6ÿ4ÿ5ÿ767ÿ5099ÿÿ99ÿ046ÿ047ÿ099ÿ34746ÿ0743ÿ07
3Sÿ0ÿ7434ÿ7ÿ0ÿ93ÿ5073Rÿ8535ÿ5099ÿÿT6346ÿ3ÿ5ÿ0Rÿ06ÿ047
5ÿ767ÿ3ÿ309Rÿÿ45ÿ7047ÿ7ÿ94ÿ43 ÿ04ÿ4537ÿ7907ÿ704ÿÿ0ÿ7ÿ5ÿ43 ÿ0
45ÿ37ÿ07ÿ3696ÿÿ5ÿ93Rÿ7ÿ7ÿÿ8 !Rÿ8535S7ÿ3ÿ45ÿ97
ÿ
#5ÿ945ÿÿ43 ÿ4504ÿ45ÿ904ÿ3ÿ3696ÿ896ÿ6473ÿ45ÿ0ÿ4ÿ8535ÿ45ÿ9 ÿ07
 43496ÿ7ÿ94ÿ43 Rÿ4ÿ7ÿ4ÿ7ÿ450ÿÿ8 !
U/ÿB/<ÿ<0ÿ38V0ÿ2/ÿA08:ÿ<523ÿ0G7:/;001ÿ<3/ÿ608Aÿ230ÿ>5B061ÿW59321ÿ@//Xÿ/B0ÿ<8;Cÿ8BA
<382ÿ<0Cÿ230ÿG8B890G0B2ÿ15A0Cÿ38V0ÿ2/ÿA08:ÿ<523ÿ26;5B9ÿ2/ÿ902ÿ?:86545?825/Bÿ46/Gÿ;/=,
Yÿ=BA06128BAÿ5Bÿ230ÿG/6B5B9Zÿ;/=ÿ860ÿ?/G5B9ÿ@8?Xÿ2/ÿ230ÿ>5::ÿ[2/ÿ289ÿ/=2ÿ230ÿ170?545?ÿ750?01
/4ÿ0\=57G0B2[1/ÿ<0ÿ?8Bÿ38V0ÿ:59325B9ÿ1/ÿ230ÿ>5::ÿ]11/?58201ÿ?8Bÿ</6Xÿ5Bÿ230ÿ>5::,
^604068@:;Cÿ@04/60ÿ;/=ÿ:08V0ÿ2/G/66/<ÿG/6B5B9Cÿ1/ÿ<0ÿXB/<ÿ760?510:;ÿ<382ÿ<0ÿ?8Bÿ8BA
?8BB/2ÿ281Xÿ/=6ÿG5::ÿ811/?58201ÿ<5235Bÿ230ÿ>5::Cÿ8BAÿ3/<ÿ2/ÿ6017/BAÿ2/ÿ23056ÿ5B\=56501
60986A5B9ÿ230ÿG5B061ÿ659321ÿ38BA@//XCÿ7:0810ÿ607:;ÿ2/ÿ230ÿ23600ÿB/20Aÿ\=0125/B1ÿ5Bÿ2351
0G85:,
_3ÿ93ÿ06ÿ_5ÿ%07ÿ8 7ÿ 33099ÿ0!6ÿ483 Rÿ7ÿOÿ94ÿ45ÿ3ÿ34Rÿ3ÿ45
506ÿ0ÿ06634309ÿ̀43ÿÿN 3457ÿÿ45ÿ0!6ÿ04ÿ40!ÿ7ÿ45ÿ399ÿ0304
ÿ
a38BXÿ;/=,
ÿ

Appellate Case: 25-1349         Page: 1361       Date Filed: 04/07/2025 Entry ID: 5503844
ÿ
1233455ÿ789
ÿ
ÿ



48 7858
ÿ
ÿ
ÿ
ÿ!"#ÿ$%&ÿ'(ÿ)ÿ'*+ÿ,!"($%&-./0(1/23ÿ
445ÿ678#ÿ+9:ÿ;<#ÿ=>=?ÿ?@=>ÿA
7ÿBC!!::ÿD7Eÿ,BD7E-778E"(E"3FÿA%%#ÿ'&Gÿ)ÿ'*+ÿ,A%%('&G-7":("H3
IÿJ!!ÿ":!ÿ,J!!(":!-E%9":(E"3FÿJ"&ÿ'9!
,J"&('9!-E%9":(E"3FÿJ"7ÿD7Eÿ,J"7(D7E-778E"(E"3Fÿ'!#
B"%ÿ+ÿ)ÿ'*+ÿ,'!(B"%-./0(1/23Fÿ'&::#ÿ0GEÿ.ÿ)ÿ'*+
,'&::(0GE-./0(1/23FÿK!%#ÿ.H7ÿBÿ)ÿ'*+ÿ,K!%(.H7-./0(1/23
42 L45ÿBM@ÿ;=+AB=>=?ÿ)ÿNÿ/7ÿOPQ?PRSPÿTÿPQ?PRP>
ÿ
+!ÿ9H"C!:8ÿ8ÿ!9"!!ÿ:"Gÿÿÿ:C(
ÿ
ÿ
$%&ÿ!"ÿUÿÿ'V%8ÿ7ÿ*:%&ÿW!9E%"
X('(ÿ.9%%ÿ"Vÿ0"ÿ)ÿ'*+
B"::ÿ6:7ÿ/VVE
;<><ÿW797EÿB"7
B"::#ÿ/ÿYQ<>;
A&@ÿQR?)<YR)<;?<
6Z@ÿQR?)?Y<)>?>Q


[\]^_`abcdef_b`^fce`gd_ff]h^_g^_`f]`h]h^b`ij^abc^f\]^k]cgb`^bc^]`f_fj^fb^l\_m\^_f^_g^ehhc]gg]h^e`h^dej
mb`fe_`^mb`a_h]`f_ei^e`hnbc^kc_o_i]p]h^def]c_eiq^r`j^c]o_]ls^c]fce`gd_gg_b`s^h_gg]d_`ef_b`^bc^bf\]c
tg]^bas^bc^feu_`p^ba^e`j^emf_b`^_`^c]i_e`m]^tkb`s^f\_g^_`abcdef_b`^vj^k]cgb`g^bc^]`f_f_]g^bf\]c^f\e`^f\]
_`f]`h]h^c]m_k_]`f^_g^kcb\_v_f]hq^wbf_aj^g]`h]c^_a^f\_g^]de_i^leg^c]m]_o]h^_`^]ccbcq
ÿ
ÿBC!!::ÿD7Eÿ,BD7E-778E"(E"3ÿ
445ÿ678#ÿ+9:ÿ;<#ÿ=>=?ÿ;@<;ÿA

Appellate Case: 25-1349          Page: 1362         Date Filed: 04/07/2025 Entry ID: 5503844
012ÿ456789 ÿ8ÿÿÿ4ÿ456789 8ÿ65ÿ5 ÿÿ4
655 !"#$
%&2ÿ'8998ÿ4 "89ÿ'89984 "895(86)56*")(ÿ'ÿ*8569
'*85695(86)56*")(ÿ'6!5ÿ+!5,5)7ÿ'6!5+!5,5)7!88!-))(ÿ((9
.,86ÿÿÿ4ÿ((9.,86ÿ866""ÿ5 68)8ÿÿÿ4
866""5 68)8ÿ/89ÿ5$!ÿ.ÿÿ4ÿ/895$!
01234&52ÿ.67ÿ89.9:9;ÿÿ<ÿ6!86ÿ=>?;>@A>ÿBÿ>?;>@>:
ÿ
 CDEFGHIJÿFLMNÿOPQMRÿSTMUMVQWOXÿYTSPÿSZWNMXOÿSYÿWLOÿ[O\QTWPOVWÿSYÿ]Q^ST_
 [SÿVSWÿ̀RM̀aÿbNORO`WcÿRMVaNÿSTÿS\OVÿQWWQ`LPOVWNÿZVRONNÿdSZÿTO`SUVMeOÿWLO
 NOVXOTÿQVXÿaVSfÿWLOÿ̀SVWOVWÿMNÿNQYO_ÿgO\STWÿNZN\M̀MSZNÿOPQMRNÿWLTSZULÿWLO
 hgO\STWÿiLMNLMVUhÿ^ZWWSVÿSVÿdSZTÿOPQMRÿWSSR^QT_
ÿ
jkllmÿopqÿorpsktmuq
vÿrwÿxlryÿzm{ÿpkt|muykyÿ}mÿwzÿkwr~ltqÿvÿrtÿkx~uu~uxÿ}mÿmuykpÿ~ÿzm{ÿkpkÿ{t}ÿ~xump~ux
wkqÿvÿkwr~lkyÿzm{ÿmuÿ|p~lÿÿÿÿoÿrts~uxÿmpÿzm{pÿrtt~t}rukÿ{}ÿzm{ÿukkp
pk}{pukyÿwzÿkwr~lqÿÿkuÿvÿrllkyÿzm{ÿmuÿ|p~lÿ}ÿruyÿtku}ÿzm{ÿrÿ}k}ÿwkttrxkÿmuÿ|p~l
ÿÿr}ÿqÿÿtÿmÿ}~tÿkwr~lÿzm{ÿrku}ÿpkt|muykyÿ}mÿwzÿ|pk~m{tÿkwr~ltÿ|muk
rlltÿmpÿ}k}ÿwkttrxktqÿÿlkrtkÿpmwÿumÿmuÿ~ul{ykÿmuÿmpyruÿruyÿwztklÿ~uÿruz
ojÿmww{u~r}~mutÿpkxrpy~uxÿm{pÿt~}kÿruyÿvÿ~llÿwrskÿt{pkÿm{pÿ}krwÿymktÿ}kÿtrwkq
~tÿrzÿkÿrpkÿrllÿmuÿ}kÿtrwkÿ|rxkq
vÿr|mlmx~kÿmpÿ}kÿyklrztÿ~uÿwzÿpkt|mutktÿ{}ÿvÿrkÿwruzÿm}kpÿy{}~ktÿ}r}ÿskk|ÿwkÿrrz
pmwÿwzÿmw|{}kpÿruyÿvÿymÿum}ÿu}mpwrllzÿpkt|muyÿm{}t~ykÿmÿwzÿmps~uxÿm{ptqÿÿvÿy~yÿum}
pkt|muyÿ}mÿzm{pÿkwr~lÿmuÿ|p~lÿ ÿkr{tkÿvÿ{uykpt}mmyÿ}~tÿ}mÿkÿrÿpk{kt}ÿmpÿ{tÿ}m
pk}{puÿ}mÿ}kÿw~ukÿt~}kÿruyÿ|kpmpwÿrÿpktrw|lkÿum}ÿrtÿruÿkwr~lÿpk{~p~uxÿrÿp~}}ku
pkt|mutkqÿÿvÿy~yÿpk}{puÿ}mÿ}kÿw~ukÿt~}kÿ}~tÿ|rt}ÿkyuktyrzÿruyÿvÿrtÿ|pk|rpkyÿ}mÿmuy{}
rÿpktrw|lkÿ~ÿmukÿrtÿrppru}kyqÿÿm{pÿrllÿmuÿ|p~lÿ}ÿruyÿ}kÿmllm~uxÿ}k}ÿwkttrxk
rtÿpkk~kyÿ~lkÿvÿrtÿmuÿ}kÿ|mukÿ~}ÿojÿwrurxkwku}ÿvÿy~yÿpk}{puÿzm{pÿrll
~wwky~r}klzÿmllm~uxÿwzÿ|mukÿrllÿmkkpÿzm{ÿy~yÿum}ÿrutkpÿruyÿumÿm~kwr~lÿkkp
|~skyÿ{|ÿ}kpkmpkÿvÿrtÿ{urlkÿ}mÿlkrkÿrÿwkttrxkqÿÿmÿum}ÿrtt{wkÿ}r}ÿkr{tkÿvÿru}
pkt|muyÿmuÿzm{pÿtky{lkÿ}r}ÿvÿrwÿ~xump~uxÿzm{q
rs~uxÿopqÿpr}}tÿry~kÿmuÿruzÿ{}{pkÿojÿ~ut|k}~muÿlmtkm{}ÿmpyruÿruyÿmpÿwztkl
~llÿkÿmuÿrÿmukpkukÿrllÿ}mÿxmÿmkpÿruzÿ~}r}~mutmpykptq
vÿ}~usÿ}r}ÿ}~tÿm{lyÿkÿrÿxmmyÿ~ykrqÿÿv}ÿrtÿy~t{ttkyÿruyÿmkpkyÿmpÿ}kÿlmtkm{}ÿ}~t
|rt}ÿkyuktyrzq
vÿrwÿrts~uxÿmpÿzm{ÿ}mÿpk{kt}ÿpmwÿopqÿ~wwtÿ}mÿrr}kÿ}~tÿyÿmpykpÿmuÿ}kÿrt~t
l~t}kyÿklmÿruyÿk}kuyÿ}kÿ}kpw~ur}~muÿyr}kÿr}ÿlkrt}ÿrum}kpÿm{|lkÿkkstÿ~lkÿkÿrk
}kÿwrtstÿykl~kpkyÿ}kt}kyÿ}kÿx{ztÿ{tkÿ}kwÿruyÿ}kÿr~pÿ{rl~}zÿyk~ktÿtkp~kyÿruy
pk}{pukyq
qÿkÿkpkÿryypktt~uxÿ}kÿrÿ~}r}~muÿÿ{|yr}ktÿ|zt~rlÿ{|yr}ktÿukÿÿk}
qÿ¡ukÿkÿryÿ}kÿmppk}ÿ~umpwr}~muÿrtÿ}mÿjÿkÿryÿ}mÿmpykpÿukÿk{~|wku}ÿ}r}ÿ}k
mw|ruzÿrtu¢}ÿ{tkyÿ~uÿmkpÿrÿykrykÿkÿy~yÿmpykpÿ}kÿÿtzt}kwtÿ}kÿkpzÿtrwkÿyrzq
qÿ¡{pÿuklzÿ~pkyÿrk}zÿ|k~rl~t}ÿ~tÿlkrpu~uxÿzÿ~pkÿmtkÿpkxrpy~uxÿ}kÿt|k~~tÿm
ojq

Appellate Case: 25-1349       Page: 1363      Date Filed: 04/07/2025 Entry ID: 5503844
01ÿ345567ÿ3657869ÿ71ÿ6 749ÿ3191ÿ1 1ÿ3191ÿ71ÿ  349ÿ4ÿ449491ÿ45
4ÿ6ÿ11ÿ41ÿ65ÿ 15ÿ1ÿ369ÿ17ÿ71ÿ14 ÿ651ÿ71ÿ481ÿ1775ÿ651ÿÿ1ÿ69
  41ÿ 61ÿ1ÿ369ÿ681ÿ67ÿ71ÿ1749ÿ45ÿ41ÿ4ÿ967ÿ6ÿ4 91
 1ÿ41ÿ61ÿ7ÿ71ÿÿ7ÿ914855ÿ71ÿ0 !ÿ45ÿ4ÿÿ41ÿ41ÿ5186ÿ71
71ÿ"#ÿ6157ÿ 133499ÿ7471ÿ71ÿ$ÿÿ81%81ÿ!6ÿ56ÿ8745ÿ 15ÿ1ÿ181ÿ47
71ÿ71ÿ947ÿ71ÿ1ÿ181ÿ6481ÿ7ÿ765ÿ45ÿ765ÿ6ÿ4 18ÿ9ÿ6ÿ56ÿ1 1ÿ
18ÿ18ÿ51ÿ76ÿ71ÿ6 765ÿ$ÿ97791ÿ19ÿ68ÿÿ61651ÿ69ÿ41ÿ81181531ÿ71ÿ&'(
3487ÿ148918ÿ68ÿ445ÿÿ1ÿ 61ÿ7 ÿ499ÿ369ÿ41ÿ41ÿ4ÿ967ÿ6ÿ4 91
&6ÿ747ÿ1 1ÿ56 ÿ 47ÿ)ÿ45ÿ1% 157ÿ511ÿ76ÿ1ÿ 471ÿ5ÿ71ÿÿ7ÿ 15
914855ÿ467ÿ7ÿ45ÿ 91ÿ55ÿ71ÿ 133ÿ41ÿ619ÿ173ÿ7ÿ69ÿ567ÿ41ÿ151
76ÿ3451ÿ71ÿ63157ÿ7ÿ865ÿ5684765ÿ$45ÿ1ÿ181ÿ685ÿ7648
481 5ÿ71ÿ 1ÿÿ'69ÿ*ÿ4ÿ+ÿ 51 ÿ4ÿ457ÿ156 ÿ71ÿ76ÿ17ÿ7
36 91719ÿ651ÿ7ÿ1ÿ181ÿ481 5ÿ7ÿ$45ÿÿ1ÿ 61ÿ369ÿ41ÿ41ÿ4ÿ967ÿ6
  4 91ÿ181
$ ÿ68ÿ71ÿ9457ÿ618ÿ568754719ÿ45ÿ71ÿ457154531ÿ1865ÿ81485ÿ9635ÿ67
71ÿ95ÿ618ÿ767ÿ 3 5ÿ7ÿ7ÿ71ÿ1865ÿ5ÿ3481ÿ6ÿ71ÿ6 184765ÿ7181
6 5ÿ4ÿ4ÿ 741ÿ$ ÿ6ÿ345ÿ7199ÿÿ71ÿ81 651ÿ6ÿ71ÿ,457154531ÿ45,ÿ6ÿ 61
7ÿ71ÿ181ÿ659ÿ36531851ÿ81485ÿ718ÿ651ÿ487ÿ6ÿ71ÿ15781ÿ6 184765ÿ 1
457154531ÿ45ÿ6157ÿ56ÿ499ÿ6ÿ71ÿ6 184765ÿ633885ÿ45ÿ71ÿ3651%1531ÿ6
 3
ÿ
$7ÿ71ÿ71ÿ6 5ÿ4ÿ567ÿ65ÿ71ÿ 51ÿ86 187ÿÿÿÿ 3 ÿ71ÿ 1ÿ7ÿ6ÿ.4455
1 1ÿ/691 ÿ45ÿ71ÿ457154531ÿ45ÿ0ÿ4 69611ÿ68ÿ56ÿ565ÿ ÿ541ÿ7ÿ1ÿ
51ÿ531ÿÿ365371ÿ71ÿ4 952ÿÿÿ4ÿ518ÿ71ÿ 81 65ÿ747ÿÿ4ÿ7495ÿ7
71ÿ1 5471ÿ1865ÿ5ÿ3481ÿ 15ÿÿ4ÿ7495ÿ7ÿ/8ÿ.4455ÿ45ÿ/8ÿ/691
 91ÿ6 5ÿ4ÿ6ÿ71ÿÿ5ÿ71ÿ781ÿÿ99ÿ4ÿ71ÿ4 86 8471ÿ%1765ÿ76ÿ1581ÿ747ÿ
4ÿ7495ÿ7ÿ71ÿ1865ÿ5ÿ3481ÿ47ÿ71ÿ 51
 181ÿ481ÿ618ÿ353765ÿ61ÿ747ÿ345ÿ 7ÿ6ÿ 133ÿ1% 157ÿ ÿÿ ÿ1ÿ481
45ÿ68ÿ45ÿ/( $ÿ81ÿ76ÿ6ÿ43ÿ76ÿ71ÿ/ 99ÿ45ÿ,3961ÿ74,ÿ71ÿ1% 157ÿ353765ÿ61
68ÿ71ÿ 133ÿ1% 157ÿ71ÿ71ÿ 99ÿ 133499ÿ45468ÿ71ÿ918168ÿ)718ÿ6ÿ761
0'ÿ)")(ÿ6ÿ1% 157ÿÿ 47ÿ8631ÿ,71ÿ7,ÿ45ÿ767ÿ761ÿ76ÿ 131ÿ6
1% 157ÿ1ÿ345ÿ567ÿ8631ÿ471849
 ÿ4ÿ115ÿ481 1ÿ7ÿ1 1ÿ45ÿ6 5ÿÿ$88451157ÿ41ÿ115ÿ41ÿ76ÿ74ÿ67
71ÿ 133ÿ 131ÿ6ÿ1% 157
11885ÿ76ÿ68ÿ7471157ÿ5ÿ45ÿ149ÿ157ÿ76ÿ1 1ÿ,56789:ÿ6;ÿ<=9ÿ>8<=?@A>ABÿ6@?9@:,
7 ÿÿ34 5ÿ4ÿ967ÿ6ÿ365 65Cÿ68ÿ7471157ÿ6ÿ,78449,ÿÿ56ÿ4ÿ68ÿ1 9611
65185ÿÿ71ÿ481ÿ, 7ÿ76ÿ4ÿ68ÿ/ 518ÿ91ÿÿ4ÿ0 78449ÿ'818,ÿ41ÿDEÿ6ÿ71
F1ÿ76ÿ/ 518Gÿ 7ÿ45ÿ1 65 971
077 H444891 464(I &#'4 5188 74/ 518 72
ÿ799ÿ41ÿ 1ÿ7ÿ71ÿ6818ÿ15ÿ 1ÿ7ÿÿ71ÿ6818ÿDJK02ÿ4ÿ0 L$0$M
6818N
ÿ
$5ÿ6818ÿ 1ÿ518ÿDJK02ÿ6ÿ71ÿ#11849ÿ/ 51ÿ(417ÿ45ÿ1497ÿ$37ÿ6ÿDO**ÿÿ4
78449ÿ6818ÿ45ÿ7ÿ61ÿ561ÿ71ÿP 7ÿ76ÿ4ÿ68ÿ/ 518ÿ91ÿÿ4ÿ0 78449
'818Q

Appellate Case: 25-1349    Page: 1364    Date Filed: 04/07/2025 Entry ID: 5503844
01ÿ345ÿ647ÿ83ÿ89ÿÿ7896 7 ÿ4 ÿ9ÿ7ÿÿ398ÿ 47ÿ43ÿ94ÿ74ÿ8ÿ96ÿ85ÿ
96 9ÿ83ÿÿ496ÿ39845ÿ38ÿ496ÿ43ÿ79ÿ4ÿ435ÿ43ÿ96
7896 7 ÿ4ÿ14ÿ96ÿ119ÿ43
ÿ
6ÿ !"ÿ4 ÿ83ÿ94ÿ96ÿ ÿ41ÿ96ÿ8ÿ8 8ÿ ÿ96ÿ 9ÿ39ÿ4 8
 988983#ÿÿ683ÿ7 3ÿ8333ÿ7896ÿ$338ÿ%438ÿ ÿ&4ÿ'  ÿ ÿ89ÿ7 3ÿ 8ÿ94
96ÿ96 9ÿ96ÿ4 ÿ468893ÿ ÿ9889ÿ8ÿ96ÿ8ÿ8 8ÿ7896ÿ96ÿ984ÿ41ÿ4 8
49ÿ4 9ÿ96 9ÿ6 3ÿ  ÿÿ #ÿÿ6ÿ4 ÿ83ÿ94ÿÿ 5ÿ49ÿ94ÿ3818
43#ÿÿ(ÿ41ÿ96ÿ443ÿ43ÿ74ÿ8ÿ ÿ 3ÿ41ÿ96ÿ8ÿ4ÿ96ÿ ÿ6
7 3ÿ3ÿ ÿ96 9ÿ83ÿ96ÿ ÿ94ÿ7686ÿ96ÿ4 ÿ41ÿ7896 7 ÿ83#ÿÿ0ÿ ÿ
984ÿ14ÿ96ÿ4 49ÿ41ÿ  ÿ ÿ4 9ÿ 3ÿ4ÿ96ÿ 9ÿ ÿÿ% #
'  ÿ96 9ÿ9683ÿ43ÿ49ÿ4 ÿ39ÿ ÿ96 9ÿ96ÿ7 3ÿ4ÿ388189ÿ39ÿ8 ÿ4
96ÿ ÿ4 9ÿ14ÿ96ÿ83ÿ94ÿÿ43ÿ94#ÿÿ)8ÿÿ833384ÿ7896ÿ% #
'  ÿ0ÿ34ÿÿ96 9ÿ395ÿ 98*5ÿ 3ÿ4 ÿÿ  ÿ7 ÿ7896
3996ÿ7 ÿ14ÿ3688ÿ3ÿ9683ÿ74 ÿ49ÿ43ÿ96ÿ83ÿ94ÿ39ÿ7896ÿ96ÿ39ÿ41ÿ96
 9ÿ49ÿ4 98#
683ÿ83ÿ76ÿ0ÿ968ÿ96ÿ41384ÿ35ÿ8ÿ411ÿ96ÿ47ÿ94ÿ896ÿ41ÿ96ÿ974ÿ83ÿ41
89ÿ45ÿ9 8ÿ96ÿ89984ÿ98 984ÿ 95ÿ748ÿ7896ÿ$338ÿ ÿ3
3818 ÿ4ÿ96ÿ89ÿ74 ÿ6 ÿ34ÿÿ4998 ÿ8ÿ 89ÿ6 * ÿ98ÿ96
   8839 98ÿ4943ÿ7ÿ4 9#ÿ& ÿ49ÿÿÿ94ÿ833ÿÿ !"#
ÿ
6ÿ364 ÿÿ4ÿ41384#ÿÿ+6ÿ0ÿ19ÿ96ÿ 95ÿ89ÿ7 3ÿ ÿ3995ÿ ÿ$338ÿ
&4ÿ399ÿ96 9ÿ96ÿ 3944 5ÿ96 9ÿ96ÿ !"ÿ4 3ÿ46889ÿ ÿ9889ÿ8ÿ96ÿ8
8 8ÿ7896ÿ96ÿ984ÿ41ÿ4 49ÿ41ÿ  ÿ ÿ4 9ÿ ÿ74ÿ4ÿ96
  836 ÿ ÿ41ÿ96ÿ39ÿ4 943ÿ4938!843ÿ ÿ37ÿ443"#ÿÿ% #ÿ'  
 ÿÿ19ÿ0ÿ19ÿ96ÿ8ÿ389ÿ ÿ3ÿ81ÿ96ÿ39ÿ ÿ 98*ÿ 3ÿ4 ÿ
7 ÿ14ÿ36895ÿ ÿ0ÿÿ96 9ÿ4 ÿÿ4ÿ  #ÿÿ,9ÿÿ399ÿ96 9ÿ4
4ÿ98ÿ94ÿÿ19ÿ -ÿ
ÿ
6ÿ !"ÿ4 3ÿ8335ÿ7896 7ÿ ÿ83ÿ14ÿ96ÿ8ÿ8 8ÿ14ÿ ÿ9889835ÿ7896
96ÿ984ÿ41-
    ./ÿ038ÿ96ÿ14819!3"ÿ94ÿ4 ÿ  ÿ ÿ4 9ÿ494ÿ394ÿ93#
     1#ÿÿÿ%  ÿ7 8ÿ  ÿ39ÿ ÿ ÿ4 9ÿ7896ÿ3996ÿ7 ÿ14
     3688#
     2#ÿÿÿ+48ÿ4ÿ96ÿ836 ÿ ÿ41ÿ96ÿ39ÿ4 943ÿ!37ÿ443ÿ ÿ843"
     4938ÿ 5
      #ÿÿÿ+48ÿ8ÿ96ÿ364ÿ996ÿ94ÿ96ÿ8ÿ8 8#
ÿ
6 9ÿ83ÿ895ÿ4ÿ496ÿ9889ÿ83ÿ899ÿ98ÿ96ÿ4 3ÿ ÿ4 818#ÿÿ0ÿ6 ÿ996
4 8189843ÿ94ÿ96ÿ4 3ÿ94ÿ 81ÿ96ÿ3 ÿ3119#
0ÿÿ49ÿ38ÿ8ÿ96ÿ45&ÿ76ÿÿ !"ÿ83ÿÿ7896 7 ÿ4 #ÿ0ÿÿ3ÿ7ÿÿ !"5
 !"5ÿ ÿÿ6!"ÿ(&)7&8ÿ ÿ7896 7 ÿ4 3ÿ99ÿ649ÿÿ !"#ÿ93ÿÿ !"ÿ4 
  99ÿÿÿ9 5ÿ:39ÿ8ÿ39ÿ4ÿ3 ÿ; ÿ112ÿ768ÿ7ÿ7ÿ 338
96ÿ !"ÿ89984#
4 ÿ4ÿ489ÿ3ÿ94ÿ76ÿ8ÿ96ÿ45&ÿ3993ÿÿ !"ÿ83ÿÿ7896 7 ÿ4 
ÿ
09ÿ83ÿ49ÿ8ÿ96ÿ45&5ÿ89ÿ83ÿ8ÿ8984ÿ !"ÿ41ÿ96ÿ5 ÿ%8ÿ8 19ÿ ÿ< 96ÿ39ÿ41
=66ÿ7686ÿ83ÿ8 ÿ4ÿ4ÿ7389ÿ777#36 #4#ÿ
45&ÿ #1ÿ9 99ÿ898ÿ3993-
>?@ABÿDEFFGHIÿJHKFGHKEA

Appellate Case: 25-1349      Page: 1365     Date Filed: 04/07/2025 Entry ID: 5503844
012ÿ45ÿ67895ÿ 7ÿ78 ÿ78ÿ4ÿ66ÿ77ÿ57ÿ 68 7ÿ8 ÿ8 7 5ÿ
8 ÿ66799ÿ7 9ÿÿ79ÿ5ÿ7577ÿÿ8 ÿ79ÿ775ÿ57ÿ8557ÿ
685 9ÿ578ÿ49ÿ77ÿ5ÿ7 5ÿ79ÿ5ÿ8ÿ8557ÿÿ
685 9ÿ66ÿ 67
  0!2ÿ"585 9ÿÿÿ685 9#
  0$2ÿ%79ÿ 7ÿ975 ÿ&'()*+ÿÿ57ÿ7ÿ4 5ÿÿ 5ÿ8*85,ÿÿ685 9#
  0-2ÿ"585 9ÿ8 ÿ5886ÿ79ÿ 7ÿ975 ÿ&'()+ÿÿ57ÿ7ÿ4 5
  7965,ÿÿ57ÿ7ÿ7859ÿ 88 58*67ÿ867ÿ5ÿ 6#
  0.2ÿ/0012324ÿ612738ÿ98638:ÿ;2638ÿ:3<4192ÿ!=>012ÿ9?ÿ4@3ÿA123ÿB<4C
  0D2ÿ%79ÿ 7ÿ975 ÿ&'(),+ÿÿ57ÿ7ÿ4 5ÿ7E,ÿ5886ÿÿ79
   ÿ87ÿ 5ÿ777ÿ58,ÿ8 ÿ ÿ4ÿ76879ÿ5ÿ*7ÿ8ÿ8F8ÿ5
  5797679ÿ8 ÿ579#
  0G2ÿH 77 5ÿ78979ÿ57ÿ58 ÿ975 ÿ&'()7+ÿÿ57ÿ7ÿ4 5ÿ585ÿ87
  *77 ÿ867ÿ85ÿ57ÿ7#
  0>2ÿ%57ÿ85 ÿ585ÿ7 958579ÿ8ÿ979ÿ9875ÿÿ7865
  8 8,77 5ÿ*67ÿ85ÿ57ÿ7ÿ9 ÿ89ÿ8 7 5ÿÿ8 ÿ66799ÿ7 9#
  8
  0I2ÿ5,85,ÿ958 79
0J2ÿ4ÿ66ÿ 95ÿ57ÿ97ÿ8557ÿ578ÿ ÿ59ÿK7*ÿ957

LMNOPNÿRNPSTUVÿWXYZÿ[T\RÿXUYNUYÿT]ÿYZNÿRN^\NPYNVÿXYN_P`
abÿcN^\NPYÿYTÿdOeOYNÿYZNÿafghijÿOUVÿNkYNUVÿYZNÿafghOjÿYNR_XUOYXTUÿVOYNbÿÿcN^\NPYÿVNUXNVl
YZNÿafghOjÿeXYOYXTUPÿZOdNÿiNNUÿRNSMOeNVÿWXYZÿafghijÿTRVNRPÿmnompqmÿOUVÿmnompmfbÿÿrZNRNÿXP
UTÿNkYNUPXTUÿUNNVNVÿOPÿTRVNRPÿVTÿUTYÿZOdNÿOÿYNR_XUOYXTUÿV\NÿVOYNÿTRÿYX_Nb
sbÿtPÿYZNÿafghijÿOÿWXYZVROWOMÿTRVNRuÿt]ÿPTlÿZTWÿeOUÿWNÿTSNROYNÿ\UVNRÿOÿWXYZVROWOMÿTRVNRÿXU
YZNÿ_XMMuÿÿrZNÿafghijÿTRVNRPÿORNÿWXYZVROWOMÿTRVNRPÿOUVÿ[T\ÿeOUUTYÿTSNROYNÿYZNÿ_XMMÿWXYZ
TRVNRPÿTUÿXYb
obÿvwMTPNÿYOxyPSNeX]Xeÿ_OeZXUNPÿROYZNRÿYZOUÿYZNÿNUYXRNÿi\XMVXUxÿ]TRÿPO]NY[ÿS\RSTPNPÿT]
MXxZYXUxbÿÿzPÿPYOYNVÿOiTdNlÿORROUxN_NUYPÿZOdNÿiNNUÿ_OVNÿYTÿVTÿYZXPÿOPÿPTTUÿOPÿSROeYXeOMb
gbÿ{ZNRNÿXUÿYZNÿw|cÿVTNPÿXYÿPYOYNÿYZNÿafghijÿXPÿOÿWXYZVROWOMÿTRVNRlÿXUÿRNxORVPÿYTÿvcXxZYÿYT
LO[ÿ]TRÿ}XUNRPÿtVMNVbbyPTÿWNÿOMMÿWXMMÿ~UTWbÿÿzPÿOiTdNlÿOÿafghijÿTRVNRÿXPÿOÿWXYZVROWOMÿTRVNR
OPÿVN]XUNVÿXUÿNeYXTUÿafghijÿT]ÿYZNÿ|NVNROMÿ}XUNÿO]NY[ÿOUVÿNOMYZÿzeYÿT]ÿamppÿhrZNÿzwrjbÿ
rZNÿRN]NRNUeNÿ]TRÿYZNÿcXxZYÿYTÿLO[ÿ]TRÿ}XUNRPÿtVMNVÿXPÿXUÿNeYXTUÿaaaÿT]ÿrZNÿzwrb
rZOU~ÿ[T\b

 ÿ
ÿ
ÿ

Appellate Case: 25-1349      Page: 1366      Date Filed: 04/07/2025 Entry ID: 5503844
012345678349 451
ÿ

31ÿÿÿÿÿ !ÿ"#$%&'%()ÿ
*27+ÿ,-.ÿ!/0ÿ12ÿ3435ÿ11627ÿ!
8ÿ8900ÿ:-;<ÿ"8:-;<#--.<<=)>ÿ?ÿ@ÿÿ !ÿ"?@#-0AB)
C5ÿDÿ0ÿ"D0#=</0<=)>ÿDÿ/
"D/#=</0<=)>ÿD-ÿ:-;<ÿ"D-:-;<#--.<<=)>ÿ==
8;ÿ!ÿÿ !ÿ"==8;#$%&'%()>ÿ00ÿ&@<ÿ$ÿÿ !
"00&@<#$%&'%()>ÿEÿ$B-ÿ8ÿÿ !ÿ"E$B-#$%&'%()
*FGH25+ÿ8I6ÿ13!?83435ÿÿJÿ%-ÿKL75LMNLÿOÿL75LML4
ÿ
ÿ:-;<
ÿ
?0ÿÿ=.ÿ/ÿÿ.9ÿP9ÿ;0@ÿÿ;09
ÿ
ÿ
ÿÿQÿÿR.ÿ-ÿ0ÿS/<
Tÿ$/=ÿRÿ&;ÿÿ !
800ÿ,0-ÿ%RR<
1242ÿS-/-<ÿ8-
800ÿ%ÿU7241
?6ÿ7M52UM2152
,V6ÿ7M55U24547


WXYZ[\]^_`ab[^\Zb_a\c`[bbYdZ[cZ[\bY\dYdZ^\efZ]^_ZbXYZgY_c^\Z^_ZY\b[bfZb^ZhX[iXZ[bZ[cZadd_YccYdZa\dZ̀af
i^\ba[\Zi^\][dY\b[aeZa\dj^_Zg_[k[eYlYdZ̀abY_[aemZn\fZ_Yk[YhoZ_Yb_a\c`[cc[^\oZd[ccY`[\ab[^\Z^_Z^bXY_
pcYZ^]oZ^_Zbaq[\lZ^]Za\fZaib[^\Z[\Z_Ye[a\iYZpg^\oZbX[cZ[\]^_`ab[^\ZrfZgY_c^\cZ^_ZY\b[b[YcZ^bXY_ZbXa\ZbXY
[\bY\dYdZ_Yi[g[Y\bZ[cZg_^X[r[bYdmZs^b[]fZcY\dY_Z[]ZbX[cZY`a[eZhacZ_YiY[kYdZ[\ZY__^_m
ÿ
31ÿ8900ÿ:-;<ÿ"8:-;<#--.<<=)ÿ
*27+ÿ:9-.ÿ!/0ÿ15ÿ3435ÿU644ÿ?
8ÿ?ÿ@ÿÿ !ÿ"?@#-0AB)
C5ÿDÿ0ÿ"D0#=</0<=)>ÿDÿ/
"D/#=</0<=)>ÿD-ÿ:-;<ÿ"D-:-;<#--.<<=)>ÿ

Appellate Case: 25-1349          Page: 1367         Date Filed: 04/07/2025 Entry ID: 5503844
01234ÿ67ÿ8ÿ96 ÿ9 17012347ÿ62ÿ13ÿÿ8ÿ96
 627137ÿ6412ÿ 1!1ÿÿ8ÿ96 ÿ64127 1!17ÿ"13
 #2$ÿÿ8ÿ96 ÿ"137 #2$7ÿ%4ÿ6&1ÿ%476&1 12!32&27!ÿ%121
912ÿ%1217912 12!32&27!ÿ'1ÿ(2$!ÿ(2$!$11$)!7!
*+,-./01ÿ23ÿ45 65758ÿ8ÿ9ÿ$1ÿ:;<8;=>;ÿ?ÿ;<8;=;7
@ABCD0EF/.1ÿ2G4
ÿ
 HIJKLMNOÿKQRSÿTUVRWÿXYRZR[V\T]ÿ^YXUÿX_\SR]TÿX^ÿ\QTÿ̀TaVY\UT[\ÿX^ÿbVcXYd
 `Xÿ[X\ÿeWRefÿgSTWTe\hÿWR[fSÿXYÿXaT[ÿV\\VeQUT[\Sÿ_[WTSSÿiX_ÿYTeXZ[RjTÿ\QT
 ST[]TYÿV[]ÿf[Xkÿ\QTÿeX[\T[\ÿRSÿSV^TdÿlTaXY\ÿS_SaReRX_SÿTUVRWSÿ\QYX_ZQÿ\QT
 mlTaXY\ÿnQRSQR[Zmÿc_\\X[ÿX[ÿiX_YÿTUVRWÿ\XXWcVYd
ÿ
opqrsÿuvwxyz
opwzz{wÿ|q}wz{
~{ÿ|yÿyx
rxsÿq ÿqyÿrwÿwx{}wÿywzvqszwÿÿq v}wÿ wz{qszÿqwÿvÿ{rÿr{z
ÿqÿq ÿrxwÿxÿqvÿqÿr{zÿuÿÿw{sÿywwywswÿÿzqÿv}wxzwÿzwsÿxÿv
qvÿÿq }ÿywx}ÿxvvyw{xwÿ{
ÿ
"1ÿ!3ÿ&#2$1ÿ)'ÿÿ!&)ÿ$'1ÿ3ÿ!&)2G43ÿ4 1#1ÿ1ÿ2ÿ#21ÿÿ)'ÿ1#21 ÿ3
 )ÿ96 ÿ232!3ÿ2!1ÿÿ331$ÿ2ÿ341ÿ3$$ÿ87<¡7<77<¢£ÿÿÿ!&)ÿ!ÿ1
321$ÿÿ341ÿ12!ÿ¤ 32ÿ63$$ÿ¥323'31ÿ¢¤6¥£ÿ3ÿ27G7
sÿywxyzÿqÿrwÿrvz¦§§q§s{qzr§sv§sv¨©r}ÿz{wÿr{zÿrw}vzÿxwÿrw
x{yÿzxv}wÿywz}zÿws{qswÿ{sÿrwÿ{x{qsÿswyzxsx}wÿª{rÿr{zÿwÿqywywÿq yÿ«|
¨¨¬ÿqwyqyÿxwq swÿ­zÿwsÿ«|ÿ~®ÿu«ÿ{}wyzÿxsÿqÿrxywyzÿ

ÿ̄°w{rÿq}ÿwÿr{zÿqys{sÿrxÿrwÿxwÿxÿqvÿxsÿ{zzzwÿr{zÿ{rÿpqyxs±ÿq
zywÿrxÿr{zÿ{zÿ{sÿywwywswÿqÿxsÿpqyxsÿqwzs²ÿw{rwyÿ}wxzwÿw}xqyxwÿ{ÿq ÿq }
ÿvy{swÿqvÿqÿrwÿ³u~ÿqwsÿq ÿywwywswÿxqwÿxzÿ{wsÿqÿpqyxsÿ y{s
q yÿ{z{ÿxsÿÿw´v}x{swÿrwÿ{wywsÿywzv{yxqyÿyw {ywwszÿxzwÿqsÿw´vqzywÿÿr{z
xzÿ y{sÿq yÿqswyzx{qsÿxq ÿrwÿ{zvqzx}wÿywzv{yxqyzÿ{sÿzwÿxÿrwÿ{swÿzÿrx}
xzÿywzv{yx{qszÿ{rÿywv}xwx}wÿxyy{wz
­wwyy{sÿqÿrwÿ̄}qzwÿxz±ÿÿswyzxsÿrwÿw {vwsÿrxÿwswyxwzÿ̄rwÿ z±ÿ 
zr {sÿrwÿvqwyÿqÿqÿrwÿws{ywÿ{}}ÿxsÿrwsÿw}}{sÿrwÿ{swyzÿrwÿxsÿqyÿ{sÿrw
{}}ÿqÿ}qxÿyzÿx{swsxswÿwÿ{rq ÿ}{rzÿrxÿµzÿqwzs²ÿxwÿzwszwÿÿxzw
wzwyxÿqÿrxwÿxsÿ|u~ÿywvÿqwÿxÿq ÿsxÿrwÿw {vwsÿrxÿqwzs²ÿwswyxw
¯rwÿ z±ÿzqÿq yÿ zÿq }ÿqyÿ¬yqÿrxÿÿswyzxsÿr{zÿ{s²ÿrxvvwsÿxsÿw
q }s²ÿµzÿrxwÿ zÿz{{sÿxyq sÿsqÿw{sÿx}wÿqÿqyÿzqÿwÿrxÿqÿzwsÿrwÿrqw
rwzwÿx{qszÿxywÿsqÿqs}ÿrxy{sÿr{zÿqvxsÿ{sxs{x}}ÿ ÿ{ÿ{zÿrxy{sÿq y
wv}qwwzÿ{sxs{x}}ÿxzÿw}}
ÿ

Appellate Case: 25-1349      Page: 1368      Date Filed: 04/07/2025 Entry ID: 5503844
0123ÿ35ÿ6789 ÿ519ÿ2383 32ÿ85ÿ3 ÿ  92ÿ 9ÿ53ÿ357ÿ383ÿ3 ÿ68ÿ959
8386ÿÿ ÿ 9ÿ357ÿ383ÿ3 ÿ599ÿÿ53ÿ93ÿ3 ÿ95ÿ758ÿ513ÿ95163
383ÿ8ÿ8798 ÿ ÿ868ÿÿ 9ÿ82ÿ5ÿ261225ÿ989ÿ73ÿ3ÿ2ÿ1ÿ35ÿ3
  92ÿ8ÿ  ÿ598359ÿ35ÿ39  ÿ83ÿ73ÿ517ÿÿ919ÿ35ÿ959ÿ32
382ÿ28 7ÿÿÿ83587ÿ73ÿ2ÿ919ÿ35ÿ959ÿ32ÿ382ÿ59387ÿ73ÿ6517ÿ
12ÿ59ÿ 8732ÿ5ÿ3 ÿ59732ÿ6517ÿÿ8ÿ52273ÿÿÿ3 ÿ8ÿ383ÿ3 ÿ5992ÿ 9
 221ÿ3 9ÿ82ÿ73ÿ5ÿ8 3ÿ73ÿ65 ÿÿ95ÿ3 ÿ52ÿ35ÿ86622ÿ3 ÿ95163
2359ÿ8951ÿ3 ÿ8ÿ86 ÿ8ÿ3 ÿ89512ÿ898ÿÿ3 ÿ98955ÿ
839ÿ3 ÿ732ÿ 9ÿ319 ÿ5 
ÿ5ÿ53ÿ2 ÿ ÿ3 ÿ763963ÿ35ÿ3 ÿ39ÿ17ÿ82ÿ213ÿ5 ÿ8ÿ6752ÿ38ÿ ÿ31
 77ÿ 2ÿ ÿ179 9ÿ 2ÿ!13ÿ3 ÿ732ÿ36"ÿ352ÿ8ÿ53ÿ35ÿ5ÿ3ÿ3 ÿ123
ÿ
 ÿ9825ÿ383ÿ3 ÿ8ÿ9892ÿ 9ÿ38ÿ513ÿ82ÿ552ÿ35ÿ57ÿ38ÿ513ÿ3
 187ÿ9892ÿ82ÿ6812ÿ3 ÿ  ÿÿ53ÿ8ÿ3 ÿ 62289ÿ756513ÿ62ÿ35ÿ756
513ÿ3 ÿ187ÿ696132ÿÿÿ82ÿ3 ÿ  92ÿ6ÿ671ÿ519ÿ8386ÿ8ÿ5
35ÿ756ÿ513ÿ3 ÿ951635ÿ1 3ÿÿ82ÿ357ÿ383ÿ3 ÿ35ÿ8ÿ9892ÿ82ÿ5ÿ35ÿ5
383ÿÿÿ3 ÿ82ÿ3 ÿ35ÿ319ÿ5 ÿ3 ÿ9123ÿ9892ÿ25ÿ383ÿÿ6517ÿ83386ÿ ÿ382ÿ
 ÿ35ÿ8ÿ9892ÿ 9ÿ83ÿ82ÿ319 ÿ5 ÿ8ÿ38ÿÿ$ÿ261225ÿ82ÿ 7ÿ3
 519ÿ951635ÿ219259ÿ8ÿ519ÿ8386ÿ8ÿ989ÿ5 9ÿ35ÿ3 ÿ 77ÿ25ÿÿ
82ÿ357ÿ383ÿ3 ÿ6517ÿ59ÿ513ÿ5ÿ3 ÿ25ÿ869522ÿ3 ÿ239 3ÿ59ÿ8 3ÿ3 ÿ 
5 9ÿ59ÿ8ÿ6517ÿ91ÿ8ÿ%325ÿ659ÿ95ÿ3 ÿ5 6ÿ59ÿ8 3ÿ72ÿ3 ÿ ÿ
3 ÿ 77ÿ25
& ÿ3 ÿ 77ÿ2ÿ53ÿ91ÿ3 9ÿ2ÿ5ÿ889ÿ923ÿÿ19238ÿ65737ÿ3
1952ÿ5ÿ53ÿ8775ÿ3 ÿ 77ÿ223ÿ35ÿ91ÿ82ÿ3ÿ69832ÿ8ÿ53387ÿ889ÿ13ÿÿ3
 187ÿ1 3ÿ2ÿ6752ÿ38ÿ3 ÿ3 9ÿ2ÿ5ÿ889ÿ ÿ598352ÿ38ÿ68
9257ÿ3 ÿ8 23983ÿ2212ÿ3ÿ3 ÿ'((ÿ8ÿ3 ÿ8386ÿ38ÿ68ÿ5ÿ83ÿ3
 9ÿ9ÿ35ÿ5
ÿ8ÿ82ÿ5ÿÿ8ÿ78ÿ3ÿ51ÿ35ÿ96529ÿ3 ÿ6752ÿ382ÿ221ÿ8ÿ25 5
65 ÿ5ÿ8ÿ73ÿ12ÿ137 ÿ763963ÿ8ÿ3 ÿ2232ÿ383ÿ5)3ÿ179 ÿ59ÿ6912ÿ3
83987ÿÿ& ÿ8ÿ2 32ÿ ÿ35ÿÿ758ÿ5ÿ39162ÿ8ÿ35ÿÿ28 ÿ ÿ ÿ732
 ÿ3 ÿ 77ÿ35ÿ5ÿ25
3ÿ2ÿ89ÿ51ÿ35ÿ3ÿ57ÿ35ÿ59ÿ3 2ÿ82ÿ8ÿ8ÿ35ÿ377ÿ3 ÿ35ÿ5ÿ5 ÿ59ÿ53
65 ÿÿ1ÿ35ÿ8ÿ*+,$ÿ599"ÿ)77ÿÿ2192ÿÿ8 ÿ5ÿ3 ÿ 77ÿ82256832ÿ236ÿ8951
75ÿ51ÿ59ÿ12ÿ35ÿ9257ÿ32ÿ8ÿ3ÿ3 ÿ86ÿ35ÿ59
ÿ7 ÿ32ÿ57ÿ221ÿ82ÿ ÿ95227ÿ75ÿ513ÿ5ÿ955935ÿ& ÿ3 ÿ63835ÿ82
 221ÿ ÿ2383ÿ8922ÿ3 ÿ2212ÿ-ÿ3ÿ82ÿ216ÿ82ÿ693687ÿ221ÿ ÿ82ÿ3
39 835ÿ83ÿ13ÿ.ÿ82ÿ513/ÿ(712ÿ ÿ82ÿ3 ÿ599ÿ6877ÿ59ÿ ÿ ÿ 9ÿ59
35892ÿ257ÿ3 ÿ221
ÿ
 ÿ39 835ÿ82ÿ23ÿ513ÿ.082ÿ839ÿ261225ÿ3ÿ022 ÿ*572ÿ8ÿ05ÿ+892ÿ35
39  ÿ8ÿ982587ÿ883 3ÿ3 ÿ35ÿ3ÿ23893ÿÿ3ÿ82ÿ39  ÿ383ÿ722ÿ38ÿ.0
82ÿ517ÿ53ÿÿ982587ÿ59ÿ51ÿ35ÿ183ÿ3 ÿ  )2ÿ'((ÿ8ÿ877ÿ8 63ÿ  92
 6877ÿ87183ÿ35ÿÿ87ÿ35ÿ 89ÿ8ÿ9298359ÿ599ÿ8ÿ538ÿ3 ÿ919
92983592ÿ8ÿ35ÿ3ÿ3 ÿ3ÿ323ÿÿ ÿ39 835ÿ1ÿ3 ÿ82ÿ23ÿ182ÿ2383ÿÿ3
638352ÿ3 2722ÿ35ÿ8775ÿ8ÿ982587ÿ8513ÿ5ÿ3 ÿ35ÿ6573ÿ3 2ÿ3822ÿÿ022
8ÿ05ÿ 9ÿ8725ÿ357ÿ383ÿÿ3 2ÿ3822ÿ 9ÿ6573ÿ3 ÿ638352ÿ517ÿÿ%3
35ÿ8775ÿ3 ÿ35ÿ23893ÿ59ÿ5ÿ3 ÿ123ÿ6539572ÿ83ÿ3 ÿ783ÿÿ ÿ5992ÿ 9ÿ221
6812ÿ5 ÿ5ÿ3 ÿ3822ÿ723ÿ85ÿ8ÿ ÿ6573ÿ 59ÿ3 ÿ39 835ÿ1ÿ83
8ÿ3 ÿÿ& ÿÿ899ÿ83ÿ3 ÿ  ÿ5ÿ&  28ÿ3 ÿ'((ÿ8ÿ53ÿ ÿ183ÿ5
5ÿ3 ÿ8 63ÿ  92ÿ13ÿ%635ÿ5ÿ3 ÿ35ÿ383ÿ8798 ÿ8ÿ ÿ87183ÿ83ÿ3 ÿ3

Appellate Case: 25-1349    Page: 1369     Date Filed: 04/07/2025 Entry ID: 5503844
01ÿ3456789 ÿ4 ÿ9ÿ58477ÿ474ÿ90ÿ4660ÿ368403ÿ4 ÿ9ÿ0ÿ0
0489ÿ49 ÿ90ÿ4 880947ÿ5893ÿ4 ÿ9ÿ18ÿ3ÿÿ 9ÿ90ÿ46649ÿ110ÿ43ÿ9
54 ÿ0ÿ44ÿÿ09 8809ÿÿ03ÿ10ÿ1487ÿ0ÿ44ÿÿ833
30ÿ83ÿ477ÿ83ÿÿÿ13489 ÿÿ5833ÿ0ÿ09ÿ !ÿ0ÿ01ÿ60 809ÿ0 4"
ÿ
$ÿ700!ÿ104ÿ0ÿ0ÿ36093ÿÿ%4ÿ4ÿ00 ÿ98 
ÿ
ÿ
ÿ
&'(()**ÿ,-./0/12
34546756ÿ389:8;
ÿ



<=)>-1/?,>-@A*-B1A=
ÿ
ÿ
ÿ
ÿ
ÿ
C>A=DÿE;4FFGÿHI4J5ÿKÿ3HLMÿNE;4FFOHI4J5PQRSO6RTUÿ
V)?WDÿXIY;ZQ4[GÿM\;7Sÿ]^Gÿ_`_^ÿ]abcÿE3
,ADÿdYZZ8SSÿX7Q4:4efÿNdX7Q4:4efPQ88Q[eROeR9U
g1Dÿh8ZZ78ÿ3RS8Z7ÿNh8ZZ78O3RS8Z7P498;7e45F;7\RS7OeR9UiÿhRI5ÿH\84;Z
NhRI5OH\84;ZP498;7e45F;7\RS7OeR9UiÿhR;Q45ÿX7Q4:4efÿNhR;Q45OX7Q4:4efPQ88Q[eROeR9Uiÿ34;f8ZR5G
j87FIÿHOÿKÿ3HLMÿN34;f8ZR5Oj87FIPklmOnloUiÿH799ZGÿdR:8;FÿMÿKÿ3HLM
NH799ZOdR:8;FPklmOnloUiÿHI8;;7SSGÿm4J;85e8ÿkÿKÿ3HLMÿNHI8;;7SSOm4J;85e8PklmOnloUiÿp8ZFG
k4T7QÿdÿKÿ3HLMÿNp8ZFOk4T7QPklmOnloU
V'0q)1WDÿdraÿ]_MEd_`_^ÿKÿsÿl;Q8;ÿtub^uvwuÿxÿub^uvu`
ÿ
yÿzÿ{4ÿ877ÿ89105ÿ3ÿ01ÿÿ91059ÿ489 ÿÿ34567ÿ6033ÿ49 ÿ{|{}
~8593
ÿ
{743ÿ3ÿÿÿ4933ÿ0ÿÿ0ÿ~38093ÿ70
ÿ
yÿzÿ{4ÿ07ÿ89105ÿ3ÿ ÿ89ÿÿ}ÿ83ÿ343ÿ{|{}3ÿ4ÿ4ÿ~859ÿ3ÿ4
 ÿ909y{|{}ÿ543!
ÿÿÿÿÿÿÿ
ÿ¢ÿ£¤¥¦££ÿ£§¥¨©£ÿÿª«¤¢©ÿ«¬­£ÿ®«¤¬«¨ÿ̈ª« ÿ­£ÿ̄¬¨¢«

Appellate Case: 25-1349      Page: 1370      Date Filed: 04/07/2025 Entry ID: 5503844
01ÿ340156748ÿ69ÿ 4 4 5 ÿ3ÿ 0505 8ÿ4 07ÿ69ÿ401ÿ4 5705 8ÿÿ69
575 ÿ5ÿ  0504ÿ05ÿ4 48ÿ44ÿ04 48ÿ4 5445ÿ 7
40141ÿ04ÿÿ644 ÿ4 47 4ÿÿ4 ÿ441109ÿ69ÿ4ÿ04ÿ3ÿ
5 74ÿ3ÿ40 748ÿ574ÿ41067515ÿ 71ÿÿ015 07ÿ4 9ÿ5
001ÿ01 441ÿÿ43ÿ054 0 4ÿ
5 41505 8ÿ4 79441ÿ09ÿÿ3ÿ401 0674ÿ451ÿ3ÿ54ÿ5
 4 05 1ÿ3ÿ056 4ÿ 050 1ÿ4445ÿ45115674ÿ74 471ÿ53ÿ49ÿ04
   44ÿ69ÿ0  504ÿ41 509ÿ 454ÿ454 ÿ4 4 4
  41 509ÿ 454ÿ454 ÿ51ÿ14ÿ0ÿ 0ÿ3ÿ14745 8ÿ054 0 48
0558ÿ3558ÿ1 4 515 8ÿ740 58ÿ0 ÿ14ÿ1077ÿ44ÿ4ÿ3775ÿ55
  4544 1
!"#ÿ$41 501ÿ0  4ÿ69ÿ%&'(ÿ 4ÿ)*ÿ+,$ÿ0ÿ-)ÿ5ÿ04ÿ0 750674
0 ÿ150674ÿ3ÿ4ÿ 14ÿ54 4ÿ1077ÿ64ÿ3 514ÿ0 ÿ541ÿ1077ÿ14ÿ4
   454ÿ454 ÿ5ÿ00 4ÿ5ÿ055ÿ0 ÿ515 
!.#ÿ/ÿ41 50ÿ 0ÿ 1514 ÿ5ÿ4ÿ4544 1ÿ3ÿ/%(&ÿ0--*123438
  67514ÿ69ÿ4ÿ/450 ÿ%05 07ÿ(0 01ÿ&154ÿ0 ÿ4 574ÿ5/450
%05 07ÿ(0 01ÿ60541ÿ3ÿ$41 509ÿ645 ÿ/%(&ÿ0--*1
234387ÿ0  4ÿ/1ÿ228ÿ23438ÿ5ÿ51ÿ4469ÿ5 04ÿ69ÿ4344 4ÿ0 
04ÿ0ÿ0ÿ443ÿ851ÿ67505 ÿ09ÿ64ÿ6054ÿ3ÿ4ÿ/450
%05 07ÿ(0 01ÿ&1548ÿ&8ÿ*9ÿÿ):ÿ(448ÿ)ÿ,78ÿ%4ÿ;8ÿ%;
2<<:4=ÿ >>0 1578ÿÿ09ÿ64ÿ4054ÿ5ÿ0 9ÿ?407ÿ0 ÿ% 407
?54ÿ(0349ÿ0 ÿ407ÿ@515ÿ'3354ÿ3ÿ4ÿ?54ÿ(0349ÿ0 ÿ407
/55105 
!A#ÿ4 ÿ41 509ÿ 45 ÿ51ÿ14ÿ5ÿ01 441ÿ5450479ÿ037ÿ
75348ÿ4ÿ 414 4ÿ3ÿ0ÿ7401ÿ 4ÿ4ÿ41 ÿ5ÿ60 ÿ454 ÿ0 ÿ414
0 065759ÿ1077ÿ64ÿ454ÿ5ÿ4ÿ4 4 ÿ3ÿ30574ÿ3ÿ4ÿ41 509ÿ454 
BCCDEFGGHHHIJKJILMNGOPMEBGODLGODLKQRSTIBCUV
ÿ
XYPCBÿCMVKÿUYÿCBPEÿUMZOPOLÿCB[CÿBYÿL[NYÿ[ÿJMD\ÿ[OKÿKPEJ]EEYKÿCBPEÿHPCBÿ^MZK[OI
ÿ
_àbcÿefcÿghiiÿajaklmlnÿopqrqÿpscÿefcÿqpocÿtùespej̀aÿspeàvwÿxxyxz{wÿpqÿpÿlmlnÿfjj|
q}qecowÿbpaÿ~cÿqcÿefcÿghiiÿopqrqÿejÿsaÿefcÿopbfàcs}ÿtjsÿÿfjsqÿejÿvceÿefcÿscqpouc
gjwÿqccÿpjcy
ÿ
ÿ
kÿ syÿlspeeÿ~ju|ÿ̀atjsoÿqÿ~fcscÿ̀aÿefcÿscvupej̀aqÿjsÿll wÿ̀aÿsctcscabcÿejÿmsùavejaw
~fcscÿ̀eÿqepecqÿefcÿsjbcqqÿ~cÿfpcÿejÿcstjsoÿctjscÿ _mÿ~ùuÿcstjsoÿpaÿps̀ÿscqpoucy
]ÿECÿL[EÿUPECÿ[ÿOKÿ]UYÿE]ZNY\ÿE       
                                                                    
                                                    ÿEB[VVÿYÿJMOK]JCYKÿ[EÿZY]YOCV\ÿ[EÿOYJYEE[Z\ÿCMÿKYCYZUPOYÿCBY
[KY][J\ÿMÿJMOCZMVÿUY[E]ZYEI
 tÿqjwÿ¡cÿ~ùuÿacc|ÿpaÿ _mÿscÿejÿscojcÿefcÿ¢£¤£ÿepvqÿqjÿ~cÿbpaÿsaÿefcÿoùuÿtjsÿefcÿ
fjsqwÿjqq`u}ÿ_pes|p}wÿefcÿupecqeÿ ja|p}ÿefcÿhzefy
¥ctjscÿefcÿhi¦§¨ÿjs|csÿbpaÿcÿoj|t̀c̀|ÿjsÿefcÿ©ªujqc|«ÿepvqÿbpaÿcÿscojc|¬ÿefcÿoàc­q
ncqs̀pejs}ÿlsjecbej̀aÿlsjvspoÿoqeÿcÿ|pec|ÿejÿocceÿefcÿsc®s̀cocaeqÿjtÿmg_ÿ̄y°k
hx±xÿ§²cqqÿ̀ jucqÿ̀pa|ÿ²jfaÿ_cpsqÿpscÿp~pscÿjtÿ~fpeÿefcÿ|ctb̀c̀abc̀qÿpsc¨wÿpuuÿpttcbec|

Appellate Case: 25-1349                Page: 1371           Date Filed: 04/07/2025 Entry ID: 5503844
012345ÿ0758ÿ93ÿ031 ÿ3 7 83ÿ8ÿ93ÿ93ÿ8ÿ34ÿÿ4351484ÿ83ÿ1ÿ551835ÿ0758
93ÿ413ÿ18ÿ2ÿ343ÿ1474112ÿ4351484ÿÿ18ÿÿ131132
 4817 83ÿ1834ÿ4ÿ2ÿ571314ÿ4351484ÿ3483ÿ12ÿÿ2812775ÿ0 3ÿ2
345ÿ57 ÿ93ÿ413ÿ18ÿÿ 0 5ÿ4351484ÿ18ÿ8ÿ358ÿ!"#ÿ18345ÿ334ÿ3
  2ÿ281273ÿ8ÿ753ÿ83ÿ15593ÿ!"#ÿ43514845ÿ8ÿ83ÿ0123ÿ413ÿ83ÿ43ÿ18ÿ83583
334ÿ8103ÿ83ÿ43ÿ223ÿ12ÿ 4 23ÿ18ÿ83ÿ 53ÿ125348ÿ1258478125ÿ2 ÿ!$ÿ%&&'(
)"*"ÿ2 ÿ ÿ383ÿ012345ÿ0758ÿ93ÿ18ÿ83583ÿ8ÿ325743ÿ83ÿ31 ÿÿ83ÿ43514845'
+,-ÿ/0123-45ÿ6783ÿ9:11ÿ6,-;ÿ<-ÿ=->2?-4ÿ7;4ÿ6,-ÿ@ABC<Dÿ2=4-=3ÿ>24:E:-4ÿ62ÿ71129ÿ6,-ÿ>:;-
2F-=762=ÿ6:>-ÿ62ÿF-=E2=>ÿ=-F7:=3ÿ62ÿ6,-ÿ4G36ÿH2;6=21ÿ3I36->3ÿ:;ÿ6,-ÿF17;6Jÿÿ+,-3-ÿ=-F7:=3
3,2G14ÿ:;H1G4-ÿF76H,:;8ÿ2Eÿ6,-ÿ,21-3ÿ:;ÿ6,-ÿ4G36ÿH211-H6:2;ÿF:F-3Kÿ=-F17H:;8ÿ4-E-H6:?-
<783LE:16-=3ÿ:;ÿ6,-ÿ4G36ÿH211-H62=3Kÿ=-F7:=:;8L=-F17H:;8ÿ6,-ÿ7:=12HM3ÿ2;ÿ6,-ÿ4G36ÿH211-H62=
4:3H,7=8-3Kÿ7;4ÿ=-F7:=3ÿ62ÿ6,-ÿ7G62>76-4ÿ<788:;8ÿ3I36->ÿ:;ÿ6,-ÿF17;6JÿÿNE6-=ÿ=-F7:=3ÿ,7?-ÿ<--;
>74-Kÿ7;4ÿ6,-ÿ=-F7:=3ÿH2;E:=>-4ÿ<Iÿ7;ÿNG6,2=:O-4ÿP-F=-3-;676:?-Kÿ6,-ÿ@ABC<Dÿ2=4-=3ÿ9:11ÿ6,-;
<-ÿ>24:E:-4ÿ62ÿ71129ÿ6,-ÿF17;6ÿ62ÿ=G;ÿE2=ÿI2Gÿ62ÿF-=E2=>ÿ37>F1:;8JÿÿN44:6:2;71ÿ7H6:2;3ÿ9:11ÿ<-
<73-4ÿ2;ÿ6,-ÿ=-3G163ÿ2Eÿ6,76ÿ37>F1:;8J
Qÿ832ÿ3ÿ233ÿ8ÿ 18ÿ7281ÿ83ÿ503ÿ8358ÿ435785ÿ03ÿ9 ÿ40ÿ83ÿ9Q
R4438ÿ23ÿ83ÿ503ÿ8358ÿ435785ÿ03ÿ9 ÿ40ÿ83ÿ9ÿ853ÿ435785ÿ1ÿ38340123
3834ÿ2ÿSÿ43503ÿ15ÿ 44283ÿ4ÿ1ÿ 1812 ÿ321233412ÿ2845ÿ233ÿ8ÿ93
78ÿ128ÿ 3ÿ8ÿ74834ÿ4373ÿ83ÿ01234T5ÿ3U5743'
Qÿ832ÿÿ3ÿ233ÿ8ÿ 18ÿ12ÿ7281ÿ2ÿSÿ125384ÿ035ÿ2 ÿ35ÿ2834
43503ÿ4ÿ 2ÿ3ÿ472ÿ4 7812ÿ23ÿ83ÿ1458ÿ503ÿ8358ÿ435785ÿ03ÿ12V
W15ÿ1ÿ93ÿ38340123ÿ9 53ÿ2ÿ83ÿ503ÿ435785ÿÿ0 11 812ÿ8ÿ83ÿ)XY9ÿ4345
7 ÿ93ÿ43Z7143ÿ8ÿ472ÿ4 7812'
ÿ
[\]^_ÿab]cc
d[efÿg_hijkclbÿ[mijbnohlbp
qr[rÿsji]bctj_cÿluÿv]wlbÿxÿd[fy
zl{{]ÿ|oj{}ÿ~uuokj
ÿg_}jij_}j_kjÿzl]}
zl{{]ÿd~ÿ
a\ÿxx
|]ÿxx

ÿ
ÿ
ÿPG33-11ÿ+:47<7HMÿP+:47<7HM4--4IH2JH2>ÿ
ÿ-4;-347IKÿNF=:1ÿ@KÿAÿAÿ

Appellate Case: 25-1349       Page: 1372       Date Filed: 04/07/2025 Entry ID: 5503844
012ÿ456778ÿ96 ÿÿ9ÿ4567796 
2ÿÿÿ6 5!675"! #ÿ ÿ9"65
 9"656 5!675"! #ÿ56ÿ$6%6!&ÿ56$6%6!&'!! #ÿ()
$6%6!&ÿ($6%6!&'!! 
*+,-./2ÿ(01ÿ234(3435ÿÿ6ÿ755ÿ89:59;<9ÿ=ÿ9:59;94
>?@1A/BC.2ÿ
ÿ
 DEFGHIJKÿGMNOÿPQRNSÿTUNVNWRXPYÿZUTQÿT[XONYPÿTZÿXMPÿ\P]RUXQPWXÿTZÿ^R_TU`
 \TÿWTXÿaSNabÿcOPSPaXdÿSNWbOÿTUÿT]PWÿRXXRaMQPWXOÿ[WSPOOÿeT[ÿUPaTVWNfPÿXMP
 OPWYPUÿRWYÿbWTgÿXMPÿaTWXPWXÿNOÿORZPÿ̀hP]TUXÿO[O]NaNT[OÿPQRNSOÿXMUT[VMÿXMP
 ihP]TUXÿjMNOMNWViÿ_[XXTWÿTWÿeT[UÿPQRNSÿXTTS_RU`
ÿ
kÿmnoÿpqrrstÿuvwxyvz
{ÿmnoÿmy|}sqtÿ~}ssq}
}||yÿmnoÿnwwo
xvÿzyÿynÿwqvÿrzÿ||o
}n}ÿqsÿwx}ÿn}rqv}nÿÿr}vwqyv}ÿÿy|ÿ}rq|ÿzyo
kÿmnoÿnwwÿq||ÿqvynrÿsÿyÿwx}ÿ}vyn}r}vwÿÿqvÿun|qvwyvtÿmnoÿ}v}ÿtÿn}nqvÿwx}
n}sr|}ÿny}ssÿvÿuÿn}qn}r}vwsÿ
kÿmnoÿnwwÿy|ÿqvynrÿsÿx}n}ÿqvÿwx}ÿÿqsÿsww}sÿusÿn}ÿÿn}qn}r}vwÿsÿ
ÿvyvkuÿrso
kÿmnoÿnwwÿy|ÿqvynrÿsÿx}n}ÿqvÿwx}ÿn}|wqyvsÿynÿmtÿqvÿn}}n}v}ÿwyÿun|qvwyvt
x}n}ÿqwÿsww}sÿwx}ÿny}ssÿ}ÿx}ÿwyÿ}nynrÿ}yn}ÿmpuÿq||ÿ}nynrÿvÿqnÿn}sr|}o
u|sytÿswÿsyÿÿrÿ|}nÿyvÿxwÿqsÿv}}}
s}ÿyvÿynÿxyv}ÿyv}nswqyvtÿ}ÿx}ÿyvww}ÿr|yz}nsÿ}|wxÿÿp}wztÿ ÿqv
~y|qvoÿynÿ¡¢ttÿx}zÿ}nynrÿwx}ÿqnÿsr|}so
pqv}ÿwx}ÿÿvyvkuÿrssÿn}ÿwx}ÿsr}ÿq|wnwqyvÿnwqvtÿo£¤tÿsÿÿuÿxyy
szsw}rtÿvÿ}ÿs}ÿwx}ÿÿrssÿwyÿnvÿwx}ÿrxqv}nzÿynÿ¥ÿxynsÿwyÿ}wÿwx}ÿn}sr|}
xqsÿztÿ}ÿyv¦wÿx}ÿwyÿnxs}ÿ¡¢tÿynwxÿyÿuÿxyyÿszsw}rÿ}qr}vwÿwxw
}ÿq||ÿryswÿ|q}|zÿv}}nÿs}o
§}ÿx}ÿq}ÿm¨ÿÿrssÿ}qvÿ}|q}n}ÿyvÿnqzoÿvÿnqztÿ}ÿvÿyÿwx}ÿqwÿw}swo
ÿsytÿ§}ÿq||ÿv}}ÿvÿmpuÿn}ÿwyÿn}ry}ÿwx}ÿÿwsÿsyÿ}ÿvÿnvÿwx}ÿrq||ÿynÿwx}ÿ¥
xynstÿyssq|zÿpwnztÿwx}ÿ|w}swÿmyvzÿwx}ÿ£wxoÿ
ÿwx}vÿ}ÿv}}ÿwyÿqwÿvwq|ÿwx}ÿsr|}ÿw}swÿn}s|wsÿyr}ÿÿnyrÿwx}ÿ|
ÿwx}vÿyÿ}ÿv}}ÿwyÿqwÿqvÿvwq|ÿvÿmpuÿqvs}wynÿyr}sÿvÿy}sÿvywx}n
n}sr|}tÿynÿvÿ}ÿnvÿnywqyvÿyv}ÿwx}ÿqnswÿsr|}ÿw}swÿn}s|wsÿyr}ÿqv
sÿwxqsÿwx}ÿny}ss

Appellate Case: 25-1349     Page: 1373      Date Filed: 04/07/2025 Entry ID: 5503844
012342ÿ3678429
ÿ
     ÿ
ÿ
ÿ



!"#$#%&'&"
ÿ
ÿ
ÿ
(#&")ÿ*++,ÿ-./ÿ0ÿ-12ÿ3*++4-./5678479:ÿ
;$<)ÿ=6>6?,ÿ2@8ÿAB,ÿBCBDÿDEFGÿ*
&)ÿHI>>88ÿJ6KLÿ3HJ6KL566?K74K7:
M)ÿ->,ÿH7+ÿ2ÿ0ÿ-12ÿ3->4H7+5NOP4QOR:SÿT76ÿJ6KL
3T764J6KL566?K74K7:SÿHI>>88ÿJ6KLÿ3HJ6KL566?K74K7:SÿT7.ÿ-@>
3T7.4-@>5K+@784K7:
;U<)ÿHEÿAB2*HBCBDÿ0ÿVÿO6ÿWGXDGYZGÿ[ÿGXDGYGC
ÿ
 ÿJ6KL
ÿ
TI>+ÿ>6ÿ?7Iÿÿ8ÿ+.+ÿ\ÿK886ÿ6ÿ8]+ÿÿ>>ÿ7ÿ?7Iÿ@.74ÿ^7IÿKÿK88ÿÿKLÿ7ÿ/
Kÿ+8Lÿ+77 7/4
ÿ
J.Lÿ?7I,ÿ-./ÿ*++
ÿ
ÿ
ÿ
Q+ÿOI+877Lÿ]7ÿO-
(#&")ÿHI>>88ÿJ6KLÿ3HJ6KL566?K74K7:
;$<)ÿ=6>6?,ÿ2@8ÿAB,ÿBCBDÿDEAFEA_ÿ*
&)ÿ*++,ÿ-./ÿ0ÿ-12ÿ3*++4-./5678479:
M)ÿ->,ÿH7+ÿ2ÿ0ÿ-12ÿ3->4H7+5NOP4QOR:SÿT76ÿJ6KL
3T764J6KL566?K74K7:SÿHI>>88ÿJ6KLÿ3HJ6KL566?K74K7:SÿT7.ÿ-@>
3T7.4-@>5K+@784K7:
;U<)ÿAB2*HBCBDÿ0ÿVÿO6ÿWGXDGYZGÿ[ÿGXDGYGC
ÿ
 `abcdefgÿcijkÿlmnjoÿpqjrjsntluÿvqpmÿpwtkjulÿpvÿtilÿxlynqtmlstÿpvÿzn{pq|
 xpÿsptÿ}oj}~ÿklol}tÿojs~kÿpqÿpylsÿnttn}imlstkÿwsolkkÿpwÿql}prsjlÿtil
Appellate Case: 25-1349         Page: 1374       Date Filed: 04/07/2025 Entry ID: 5503844
 012314ÿ623ÿ7289ÿ 1ÿ8212ÿ0ÿ061ÿ184ÿ00 80ÿ160ÿ 48ÿ 1
 184ÿ 0 2ÿ 82ÿ82ÿ84ÿ16ÿ8864
ÿ
ÿ !"ÿ#!$%%&
'ÿ(%ÿ%)ÿ*++$,+ÿ)-%.ÿ/0!ÿ((-1ÿ%2$/&ÿ$32ÿ3ÿ*/ÿ$+%ÿ1$&ÿ'ÿ)$+ÿ2-!1%2ÿ4/ÿ/0!ÿ((-1
%ÿ1$ÿ !"ÿ5-**+"ÿ'ÿ1$2ÿ !"ÿ5-**+&ÿ$32ÿ.ÿ+%$%2ÿ%.$%ÿ'ÿ322ÿ%ÿ4ÿ%$6-3,ÿ$32ÿ)!6
)-%.ÿ/0ÿ$32ÿ%.ÿ-3+71%!"
'ÿ$+ÿ(%ÿ$ÿ8-1ÿ*++$,ÿ$32ÿ$ÿ%9%ÿ*++$,ÿ)-%.ÿ !"ÿ:-%.ÿ $!6+3ÿ-3ÿ!,$!2+ÿ%ÿ%2$/;+
-++0$31ÿ(ÿ<ÿ!2!+ÿ=>?@>AB>ÿ$32ÿ>?@>A>Cÿ$32ÿ.$8ÿ43ÿ-3(!*2ÿ4/ÿ1*7$3/
7!+33&ÿ
DEFGÿHIJKÿLMGINGMÿOPÿOFGÿHJQQÿFIRÿLGGKÿMGSÿOITTGSUÿIKSÿJRÿKPOÿOPÿLGÿMGHPVGSWÿXYÿJOÿJRUÿOFGKÿOFGMGÿJRÿI
RZLROIKOJIQÿYJKGÿOFIOÿ[JQQÿ\FIMTGÿL]ÿOFGÿHJKZOGWÿEFGMGÿJRÿKPÿ^P[GMÿOPÿOFGÿHJQQWÿ_Gÿ\IKUÿFP[GVGMÿQPIS
\ZMMGKOQ]ÿ^MPSZ\GSÿ^MPSZ\OÿPKOPÿOMZ\NRÿ̀[Gÿ\IKÿ[PMNÿPKQ]ÿJKÿOFGÿHIJKOGKIK\GÿRFP^UÿIKSÿOFGÿPZORJSG
YJQOMIOJPKÿR]ROGHRÿ̀[Gÿ\IKKPOÿP^GMIOGÿIK]OFJKTÿOFIOÿ^MPSZ\GRÿSZROUÿZKOJQÿ[GÿFIVGÿGVGM]PKGÿHGSJ\IQQ]
GVIQZIOGSÿYPMÿMGR^JMIOPMÿR]ROGHRUÿFIVGÿPLOIJKGSÿI^^MPVGSÿMGR^JMIOPMÿR]ROGHUÿYJOÿOGROGSÿRIJS
JKSJVJSZIQRÿYPMÿMGR^JMIOPMÿR]ROGHRUÿIKSÿFIVGÿIKÿabcdÿMG^ÿ\PKYJMHÿIQQÿPYÿOFJRWÿEFGMGÿ[IRÿIQRPÿHGKOJPK
OFIOÿabcdÿHI]ÿKPOÿLGÿJKÿIÿFZMM]ÿOPÿ\PKYJMHÿIK]ÿPYÿOFJRÿRJK\GÿOFGMGÿJRÿ\QGIMÿGVJSGK\GÿOFIOÿ[Gÿ[GMG
KPOÿJKÿIÿFZMM]ÿOPÿI\OÿPKÿIK]ÿPYÿOFGÿ\JOIOJPKRWD
ÿ
ÿ
ÿ
e.3ÿ1-%$%-3+ÿf>?@>ABg&ÿ>?@>ABA&ÿ>?@>ABBhÿ)!ÿ-++02ÿ3ÿ@i@CijCj@ÿ$%ÿklkC&ÿ)
!8-)2ÿ%.*&ÿ2-+10++2ÿ%.*&ÿ$32ÿ+%$!%2ÿ!+8-3,ÿ%.ÿ-++0+"ÿ
k"ÿeÿ.$8ÿ$22!++2ÿ%.ÿ3,-3!-3,ÿ13%!+ÿ)ÿ.$8ÿ-3ÿ7$1&ÿ$+ÿ!1**322ÿ-3ÿ%.
mno"ÿ
j"ÿeÿ!p0+%2ÿ8-$ÿ*$-ÿ%ÿ !"ÿ $!6+3ÿ$3ÿ$-!ÿp0$-%/ÿ!+$*7ÿ$ÿ()ÿ2$/+ÿ$%!"
@"ÿeÿ!2!2ÿ$32ÿ2-8!2ÿ*!ÿ$77!82ÿ##q"
ÿ
l"ÿeÿ$!ÿ,%%-3,ÿ0!ÿ*7/+ÿ%.ÿ.$%.ÿ7./+-1$+ÿf.$(ÿ(ÿ%.*ÿ)!ÿ+1.202ÿ$32ÿ$%
%.ÿr!+ÿ((-1ÿ.$8-3,ÿ%.-+ÿ23ÿ%.-+ÿ*!3-3,h
s32ÿ?"ÿ)ÿ$!ÿ$22!++-3,ÿ%.ÿ072$%-3,ÿ(ÿ0!ÿo##ÿf3)ÿ+$(%/ÿ*$3$,!&ÿ3)ÿ##q
*$30($1%0!!+&ÿ%1"h
eÿ$!ÿ*$6-3,ÿ((!%+ÿ%ÿ4ÿ1*7-$3%ÿ)-%.ÿ%.ÿmno"
ÿ
t2$/&ÿ$+ÿ'ÿ*3%-32ÿ%ÿ/0ÿ%.-+ÿ*!3-3,ÿ8!ÿ%.ÿ7.3&ÿ/0ÿ.$2ÿ%!!-4ÿ!17%-3&ÿ+ÿ'
23;%ÿ63)ÿ-(ÿ/0ÿ)!ÿ$4ÿ%ÿ.$!ÿ8!/%.-3,uÿ !"ÿ $!6+3ÿ-++02ÿ$3ÿ!2!ÿ$,$-3+%ÿ$
1-%$%-3ÿ%.$%ÿ)ÿ.$8ÿ!p0+%2ÿ$ÿ%-*ÿ9%3+-3ÿ3ÿ$32ÿ$3ÿ$-!ÿ!+$*7"ÿ
    !"ÿ $6+3ÿ+.0%ÿ2)3ÿ0!ÿ7!$%-3+&ÿ).-1.ÿ'ÿ2ÿ3%ÿ%.-36ÿ-+ÿ$77!7!-$%ÿ!ÿ1$2ÿ(!
+-31ÿ)ÿ$!ÿ)!6-3,ÿ3ÿ%.ÿ$2*-3-+%!$%-8ÿ7!1+++ÿ%ÿ!+8ÿ%.ÿ1-%$%-3+"
q8!/ÿ.0!ÿ)ÿ$!ÿ+.0%ÿ2)3ÿ1+%+ÿ0+ÿ8$0$4ÿ%-*ÿ$32ÿ!830v,3!$%-3,ÿ77!%03-%-+"
eÿ.$2ÿ%ÿ+32ÿ0!ÿ*7/+ÿ.*ÿ%2$/ÿ20ÿ%ÿ%.-+"ÿt.-+ÿ+*+ÿ%ÿ4ÿ$ÿ!110!!-3,

Appellate Case: 25-1349          Page: 1375        Date Filed: 04/07/2025 Entry ID: 5503844
01223456ÿ85ÿ9 ÿ085856ÿ ÿ 34230085ÿ12ÿ482ÿ15ÿ183ÿ12 482ÿ8ÿ33ÿ
84323ÿ2 5ÿ143ÿ185ÿ4ÿ390 33ÿ2ÿ314ÿ 4ÿÿ33343ÿ 4ÿ390 9352
343ÿÿ8ÿ5 2ÿ85 3
ÿ19ÿ03185ÿ82ÿ ÿ2ÿ!!ÿ"ÿ#ÿÿ3ÿ15ÿ32ÿ28ÿ433ÿ15ÿ5 2ÿ32ÿ28ÿ8534
8$3ÿ82ÿ8ÿ12ÿ2893ÿ 4ÿ24330ÿ33$
%3032
%3ÿ811$
934815ÿ480 8
&'())**+'*ÿ,3-




Appellate Case: 25-1349    Page: 1376     Date Filed: 04/07/2025 Entry ID: 5503844
                                                               Exhibit P-7, Page 001
Appellate Case: 25-1349   Page: 1377   Date Filed: 04/07/2025 Entry ID: 5503844
                                                               Exhibit P-8, Page 001
Appellate Case: 25-1349   Page: 1378   Date Filed: 04/07/2025 Entry ID: 5503844
                                                               Exhibit P-9, Page 001
Appellate Case: 25-1349   Page: 1379   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                     Payroll Details
                   Hours and Earnings                                      Taxes                             Deductions                                        Employer
   Description         Hours         Rate        Amount            Tax               Amount            Deduction          Amount   Net Pay              Liability         Amount
Pay Frequency: Biweekly
Employee: Baumann, Robert                                     SSN: xxx-xx-6385
Regular                 1,601.50    20.0000       32,030.00   FED FIT                   3,373.70                                      26,577.90    FED SOCSEC-ER           2,077.69
Overtime                    3.00    30.0000           90.00   FED SOCSEC                2,077.69                                                   FED MEDCARE-ER            485.95
Personal                   37.56    20.0000          751.20   FED                         485.91                                                   FED FUTA                   84.00
Holiday                    32.00    20.0000          640.00   MEDCARE                                                                              MO SUI-ER                 229.42
                        1,674.06                  33,511.20   MO SIT                     996.00                                                                            2,877.06
                                                                                        6,933.30
Check Date: 07/01/2022 / Direct Deposit / Checking / Account No: XXXXX7728 $886.83
Check Date: 07/15/2022 / Direct Deposit / Checking / Account No: XXXXX7728 $1,239.47
Check Date: 07/29/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,111.88
Check Date: 08/12/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $969.22
Check Date: 08/26/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,428.78
Check Date: 09/09/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,232.44
Check Date: 09/23/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,104.85
Check Date: 10/07/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,172.16
Check Date: 10/21/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,262.58
Check Date: 11/04/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,180.19
Check Date: 11/18/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,262.58
Check Date: 12/02/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,239.48
Check Date: 12/16/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,202.30
Check Date: 12/30/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,262.58
Check Date: 01/13/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,272.29
Check Date: 01/27/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,235.11
Check Date: 02/10/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,220.05
Check Date: 02/24/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,272.29
Check Date: 03/10/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,227.08
Check Date: 03/24/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,257.22
Check Date: 04/07/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,257.22
Check Date: 04/21/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,281.30
Pay Frequency Totals: Biweekly
Regular                 1,601.50                 $32,030.00   FED FIT                  $3,373.70                                     $26,577.90    FED SOCSEC-ER          $2,077.69
Overtime                    3.00                     $90.00   FED SOCSEC               $2,077.69                                                   FED MEDCARE-ER           $485.95
Personal                   37.56                   $751.20    FED                        $485.91                                                   FED FUTA                  $84.00
Holiday                    32.00                   $640.00    MEDCARE                                                                              MO SUI-ER                $229.42
                        1,674.06                 $33,511.20   MO SIT                    $996.00                                                                           $2,877.06
                                                                                       $6,933.30



Company: Mosenecamanufacturer Limited Liabil                                                  1 of 2                                              Date Printed: 10/12/2023 11:34
Check dates from: 7/1/2022 - Payroll 1 to: 4/21/2023 - Payroll 1                                                                                            26967355 - KY/NMC
Pay Period from: 06/12/2022 to: 04/15/2023
                                                                                                                                                             Exhibit P-4, Page 001
                          Appellate Case: 25-1349                        Page: 1380                Date Filed: 04/07/2025 Entry ID: 5503844
                                                                         Payroll Details
                   Hours and Earnings                            Taxes                           Deductions                                        Employer
   Description         Hours      Rate   Amount           Tax            Amount            Deduction          Amount   Net Pay              Liability         Amount
Total Employees - Biweekly: 1
Company Totals:
Regular                1,601.50          $32,030.00   FED FIT             $3,373.70                                      $26,577.90    FED SOCSEC-ER          $2,077.69
Overtime                   3.00              $90.00   FED SOCSEC          $2,077.69                                                    FED MEDCARE-ER           $485.95
Personal                  37.56            $751.20    FED                   $485.91                                                    FED FUTA                  $84.00
Holiday                   32.00            $640.00    MEDCARE                                                                          MO SUI-ER                $229.42
                       1,674.06          $33,511.20   MO SIT               $996.00                                                                            $2,877.06
                                                                          $6,933.30
Total Employees - Company: 1




Company: Mosenecamanufacturer Limited Liabil                                      2 of 2                                              Date Printed: 10/12/2023 11:34
Check dates from: 7/1/2022 - Payroll 1 to: 4/21/2023 - Payroll 1                                                                                26967355 - KY/NMC
Pay Period from: 06/12/2022 to: 04/15/2023
                                                                                                                                                 Exhibit P-4, Page 002
                          Appellate Case: 25-1349               Page: 1381            Date Filed: 04/07/2025 Entry ID: 5503844
                      UNITED STATES OF AMERICA
          FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                 OFFICE OF ADMINISTRATIVE LAW JUDGES

JULIE A. SU, Acting Secretary of Labor,       )    DISCRIMINATION &
United States Department of Labor, and        )    INTERFERENCE PROCEEDING
ROBERT BAUMANN                                )    DOCKET
                     Complainants,            )
                                              )
              v.                              )    Docket No. CENT 2023-0251-DM
                                              )
MOSENECAMANUFACTURER LIMITED                  )
LIABILITY COMPANY d/b/a AMERICAN              )    Mine: MOSenecaMfr LLC dba
TRIPOLI,                                      )    American Tr
                                              )    Mine Id No. 23-00504
                                              )
                     Respondent.              )

  RESPONDENT RESPONSE TO ACTING SECRETARY OF LABOR’S FOURTH
           REQUESTS FOR PRODUCTION OF DOCUMENTS




                                          1

Appellate Case: 25-1349      Page: 1382       Date Filed: 04/07/2025 Entry ID: 5503844
                    REQUESTS FOR PRODUCTION OF DOCUMENTS

       1.      Produce the document, attached hereto as Exhibit A, which was produced by
Respondent in docket CENT 2023-0196 in response to discovery, for the time period of January
1, 2022 through August 1, 2023. As the time period of November 3, 2022 through March 31,
2023 has already been produced in Exhibit A, to the extent it is easier to exclude these time
periods from this production, that is acceptable.
       RESPONSE: Attached is the document, labeled “Daily Production JAN 2022 - NOV 3
       2022 AND APR 2023 - AUG 2023.xlsx” with the time periods as requested, January 1,
       2022 – November 3, 2022, and April 1, 2023 – August 1, 2023.




                                                    2

 Appellate Case: 25-1349         Page: 1383             Date Filed: 04/07/2025 Entry ID: 5503844
From:             Russell Tidaback
To:               Boyd, Randall L. - MSHA
Subject:          Re: COVID 19 Default Order CENT 2023-0098
Date:             Monday, November 13, 2023 11:01:39 AM
Attachments:      image001.png


Ok, thanks for letting me know.

Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android

From: Boyd, Randall L. - MSHA <Boyd.Randall@DOL.GOV>
Sent: Monday, November 13, 2023 10:54:49 AM
To: Russell Tidaback <RTidaback@deedyco.com>
Subject: RE: COVID 19 Default Order CENT 2023-0098

Noone was listed when checked this morning.

Randall L. Boyd
Supervisory Special Investigations
Supervisory Conference & Litigation
Madisonville, Ky. District
270-245-3728
boyd.randall@dol.gov

From: Russell Tidaback <RTidaback@deedyco.com>
Sent: Monday, November 13, 2023 10:45 AM
To: Boyd, Randall L. - MSHA <Boyd.Randall@DOL.GOV>
Subject: RE: COVID 19 Default Order CENT 2023-0098


 CAUTION: This email originated from outside of the Department of Labor.
 Do not click (select) links or open attachments unless you recognize the
 sender and know the content is safe. Report suspicious emails through the
 "Report Phishing" button on your email toolbar.

Thanks for the quick response. Is there anyone listed as a miners rep? As I am aware there
aren’t.


Russell Tidaback
Managing Member




Appellate Case: 25-1349              Page: 1384               Date Filed: 04/07/2025 Entry ID: 5503844
AmericanTripoli.com




From: Boyd, Randall L. - MSHA <Boyd.Randall@DOL.GOV>
Sent: Monday, November 13, 2023 10:32 AM
To: Russell Tidaback <RTidaback@deedyco.com>
Subject: RE: COVID 19 Default Order CENT 2023-0098

When checked this morning, it appears these gentlemen are no longer listed as miners reps.
To answer your 2nd question, persons who ask for miners representation have the right to be
confidential from the company they work. Hope this helps!

Best Regards,
Randy

Randall L. Boyd
Supervisory Special Investigations
Supervisory Conference & Litigation
Madisonville, Ky. District
270-245-3728
boyd.randall@dol.gov

From: Russell Tidaback <RTidaback@deedyco.com>
Sent: Sunday, November 12, 2023 1:38 PM
To: Boyd, Randall L. - MSHA <Boyd.Randall@DOL.GOV>
Cc: Russell Tidaback <RTidaback@deedyco.com>; Jordan Tidaback <Jordan.Tidaback@deedyco.com>
Subject: RE: COVID 19 Default Order CENT 2023-0098


 CAUTION: This email originated from outside of the Department of Labor.
 Do not click (select) links or open attachments unless you recognize the
 sender and know the content is safe. Report suspicious emails through the
 "Report Phishing" button on your email toolbar.

Hi Mr. Boyd,

Did Mr. Drake, Randy or Max, contact you? They were advised, I am just following up.




Appellate Case: 25-1349       Page: 1385       Date Filed: 04/07/2025 Entry ID: 5503844
also, what did you mean by “confidential represented miners”?

Russell


From: Boyd, Randall L. - MSHA <Boyd.Randall@DOL.GOV>
Sent: Friday, June 2, 2023 6:53 AM
To: Russell Tidaback <RTidaback@deedyco.com>
Cc: Simms, Robert A - MSHA <Simms.Robert@DOL.GOV>; Barnwell, William L - MSHA
<Barnwell.William@DOL.GOV>; West, David R - MSHA <West.David@DOL.GOV>
Subject: RE: COVID 19 Default Order CENT 2023-0098

He can reach me at 270-245-3728.

Thank you sir,
Randy

Randall L. Boyd
Supervisory Special Investigations
Supervisory Conference & Litigation
Madisonville, Ky. District
270-245-3728
boyd.randall@dol.gov

From: Russell Tidaback <RTidaback@deedyco.com>
Sent: Wednesday, May 31, 2023 12:08 PM
To: Boyd, Randall L. - MSHA <Boyd.Randall@DOL.GOV>
Cc: Barnwell, William L - MSHA <Barnwell.William@DOL.GOV>; Jordan Tidaback
<Jordan.Tidaback@deedyco.com>; Russell Tidaback <RTidaback@deedyco.com>
Subject: RE: COVID 19 Default Order CENT 2023-0098


 CAUTION: This email originated from outside of the Department of Labor.
 Do not click (select) links or open attachments unless you recognize the
 sender and know the content is safe. Report suspicious emails through the
 "Report Phishing" button on your email toolbar.

Mr. Boyd, Attachment received. Thank you.

With Max Drake, since he doesn’t use a computer, how do you want us to advise him to
contact you regarding being taken off as a miners rep?

Current American Tripoli Employee Roster

John Spears – Operations Manager
Max Drake – Contractor/Heavy equipment operator
Brian Schmidt – Heavy equipment operator



Appellate Case: 25-1349       Page: 1386       Date Filed: 04/07/2025 Entry ID: 5503844
Jessie Molesi – Safety and Environmental tech
Ryan Closser – Maintenance
Jeremy Talbert – Maintenance
Jim Hoover – Machine Operator
Patrick Lewis - Machine Operator
RJ Williams - Machine Operator


Russell Tidaback
Managing Member




AmericanTripoli.com




From: Boyd, Randall L. - MSHA <Boyd.Randall@DOL.GOV>
Sent: Wednesday, May 31, 2023 11:37 AM
To: Russell Tidaback <RTidaback@deedyco.com>
Cc: Barnwell, William L - MSHA <Barnwell.William@DOL.GOV>
Subject: RE: COVID 19 Default Order CENT 2023-0098

Mr. Tidaback, please see the answers to your questions in red below. I have attached the
petition which has the citation in question you asked about.

Randall L. Boyd
Supervisory Special Investigations
Supervisory Conference & Litigation
Madisonville, Ky. District
270-245-3728
boyd.randall@dol.gov

From: Russell Tidaback <RTidaback@deedyco.com>
Sent: Wednesday, May 24, 2023 12:35 PM
To: Boyd, Randall L. - MSHA <Boyd.Randall@DOL.GOV>
Cc: Sparks, Doyle - MSHA <Sparks.Doyle@DOL.GOV>; Zeman, Norman J - MSHA
<Zeman.Norman@DOL.GOV>; Russell Tidaback <RTidaback@deedyco.com>; Jordan Tidaback
<Jordan.Tidaback@deedyco.com>
Subject: RE: COVID 19 Default Order CENT 2023-0098



Appellate Case: 25-1349        Page: 1387       Date Filed: 04/07/2025 Entry ID: 5503844
Importance: High


 CAUTION: This email originated from outside of the Department of Labor.
 Do not click (select) links or open attachments unless you recognize the
 sender and know the content is safe. Report suspicious emails through the
 "Report Phishing" button on your email toolbar.

Hello Mr. Boyd.

Sorry to bother you. I asked Mr. Zeman; he tried but didn't have access to find out and
referred me to you.


Can you send us the citation/order for CENT 2023-0098 (attached)?

Also, can you guide me on how to :

1. lookup on the MSHA website, for example, the attached. I don't know what
citation/order(s) this is for. If I could find it online, I wouldn't have to bother you guys.

You will not find any information concerning decisions issued by a judge on the MSHA
website. You might start with Marcus Hughes at the Federal Mine Safety & Health Review
Commission, 1331 Pennsylvania Ave., NW, Suite 520N, in Washington, DC 20004-1710, (p)
202.233.4011

2. Remove Max Drake and Randy Drake from our records. These gentlemen are listed as
Miner's representatives on the attached but retired decades ago and have asked to be
removed.

Max and Randy Drake are responsible for informing the District manager when they are
unable to comply with the requirements of Part 40.3. At that point, MSHA will remove
them from their designation. They do not have to be an employee to still be a miners rep.
However, if you will send me your current employee roster, I will check our records to see if
the confidential represented miners are still in fact employed. If they turn out to no longer
work for American Tripoli, I will gladly handle working on your request for you.


I appreciate your help.


Russell Tidaback
Managing Member




AmericanTripoli.com




Appellate Case: 25-1349         Page: 1388        Date Filed: 04/07/2025 Entry ID: 5503844
From: Russell Tidaback <RTidaback@deedyco.com>
Sent: Monday, May 22, 2023 11:33 AM
To: Sparks.Doyle@dol.gov
Cc: Russell Tidaback <RTidaback@deedyco.com>
Subject: RE: COVID 19 Default Order CENT 2023-0098
Importance: High

Hello Mr. Sparks,

Please remind me, what citation/order(s) is this for?

Russell Tidaback
Managing Member




AmericanTripoli.com




From: Marcus Hughes <mhughes@fmshrc.gov>
Sent: Tuesday, May 16, 2023 9:46 AM
To: Sparks.Doyle@dol.gov; Russell Tidaback <RTidaback@deedyco.com>
Subject: COVID 19 Default Order CENT 2023-0098

Hello,

Please see attached COV19 Default Order. Thank you.

At this time, most case issuances of the Federal Mine Safety and Health Review Commission
(FMSHRC), including inter alia notices, decision, and orders, will be sent only through electronic
mail.
Further, FMSHRC will not be monitoring incoming physical mail or facsimile describer in 29 CFR
2700.5(c) (2). If possible, all filings should be e-filed as described in 29 CFR 2700.5(c)(1).


Marcus Hughes
Federal Mine Safety & Health Review Commission
1331 Pennsylvania Ave., NW, Suite 520N



Appellate Case: 25-1349          Page: 1389        Date Filed: 04/07/2025 Entry ID: 5503844
Washington, DC 20004-1710
(p) 202.233.4011




Appellate Case: 25-1349     Page: 1390   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-2, Page 001
                        Appellate Case: 25-1349   Page: 1391   Date Filed: 04/07/2025 Entry ID: 5503844
                                                              Exhibit P-10, Page 001
Appellate Case: 25-1349   Page: 1392   Date Filed: 04/07/2025 Entry ID: 5503844
    Name          Inspection Date    Time                              Examine the breakroom, note any safety issues.                                               Examine the Production Floor east storage area. Note any safety issues.                      Examine the loading dock. Note any safety issues.
Bonnie Bainter      6/21/2022         8:00     Floor 1 could use some attention around the tube mill, along with floor 2 around bagger west side.                                                      Yes
Bonnie Bainter      6/22/2022       8:30 am                              Area around tube mill needs to be cleaned up                                                                                   Yes
Bonnie Bainter      6/23/2022         8:00                                                   Better                                                                                                     Yes
Bonnie Bainter      6/24/2022       8:30 am                             Mill is down for housekeeping and maintenance                                                                              Mill is down
Bonnie Bainter      6/27/2022         8:00     1st floor needs attention around the tube mill. 2nd floor needs attention around the west stairway.                                                     Yes
 Bonnie Bainter     6/28/2022          8:00                                                       Okay                                                                                                      Yes
 Bonnie Bainter     6/29/2022          8:00                                 Around Tube mill a little attention please                                                                                      Yes
 Bonnie Bainter     6/30/2022         08:00                               1-3 & 4th look good 2 could use some help.                                                                                        Yes
 Bonnie Bainter     7/5/2022           8:00                                                       okay                                                                                                 Mill is down
 Bonnie Bainter     7/4/2022           8:00                                                    HOLIDAY                                                                                                   HOLIDAY
 Bonnie Bainter     7/1/2022           8:00                                          Working on it, mill is down                                                                                           Good
 Bonnie Bainter     7/6/2022           8:00                                                       Okay                                                                                                     Good
 Bonnie Bainter     7/7/2022           8:00                                       1st floor needs a little attention                                                                                       Good
 Bonnie Bainter     7/8/2022           8:00                                                       Okay                                                                                                     Good
 Bonnie Bainter     7/8/2022           8:00                               2nd floor around the bagger please address                                                                                       Good
 Bonnie Bainter     7/11/2022         08:00                             Mill is down so housekeeping is priority today                                                                                      yes
 Bonnie Bainter     7/12/2022          8:00                                                   Looks good                                                                                                    Yes
 Bonnie Bainter     7/13/2022          8:00                                                Looks really good                                                                                                Yes
 Bonnie Bainter     7/14/2022          8:00                                                   Looks good                                                                                                    Yes
 Bonnie Bainter     7/15/2022          8:00                                                   Looks good                                                                                                    Yes
 Bonnie Bainter     7/18/2022          8:00                                   Mill is down, although mill looks good                                                                                   Mill is down
 Bonnie Bainter     7/19/2022          7:30                  Could use a little attention around the tube mill. The rest looks good.                                                                        Yes
 Bonnie Bainter     7/20/2022          8:00                                                       Okay                                                                                                 Mill is down
 Bonnie Bainter     7/21/2022          8:00                                                       Okay                                                                                                     Okay
 Bonnie Bainter     7/23/2022         10:30                                                   Looks Good                                                                                                   Good
 Bonnie Bainter     7/25/2022         08:00                                                   Looks Good                                                                                                   Good
 Bonnie Bainter     7/26/2022          8:00                                                   Looks Good                                                                                                   Good
 Bonnie Bainter     7/27/2022          8:00                                    2nd floor could use a little attention                                                                                      Good
 Bonnie Bainter     7/28/2022          8:00                                                   Mill is down                                                                                             Mill is down
 Bonnie Bainter     7/29/2022        8:30 am                                                  Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/1/2022           9:00                                                       Okay                                                                                       Mill is down for maintenance
 Bonnie Bainter     8/4/2022          08:30                                                   Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/3/2022         8:30 am                                                  Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/2/2022         8:30 am                                                  Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/5/2022           8:00                                                   Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/8/2022         8:30 am                                                  Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/9/2022         8:30 am                                                      Good                                                                                                     Good
 Bonnie Bainter     8/10/2022        8:30 am                                                      Good                                                                                                     Good
 Bonnie Bainter     8/11/2022        8:30 am                                                      Good                                                                                                     Good
 Bonnie Bainter     8/12/2022          8:00                                          Could use a little attention                                                                                          Good
 Bonnie Bainter     8/15/2022          8:00                              Some attention needed around the east door                                                                                        Good
 Bonnie Bainter     8/16/2022         08:00                                                       Good                                                                                                     Good
 Bonnie Bainter     8/17/2022         07:30                                  A little attention on the 1st floor please                                                                                    Good
 Bonnie Bainter     8/18/2022        8:30 am                                          In the process of cleaning                                                                                           Good
 Bonnie Bainter     8/19/2022         07:00                                   Need a little attention by the cyclones                                                                                      Good
 Bonnie Bainter     8/22/2022        8:30 am                                                      Good                                                                                                     Good
 Bonnie Bainter     8/23/2022          8:00                                     Needs some attention on 1st floor                                                                                          Good
 Bonnie Bainter     8/26/2022          8:00                                                       Good                                                                                                     Good
 Bonnie Bainter     8/22/2022          8:00                                                       Good                                                                                                     Good
 Bonnie Bainter     8/23/2022          8:00                                 Under cyclone could use some attention                                                                                         Good
 Bonnie Bainter     8/24/2022          8:00                                      Both 1st and 2nd floor need help                                                                                          Good
Jordan Tidaback     8/26/2022        1:30pm                                                        test                                                                                                     test
 Bonnie Bainter     8/29/2022         07:00                                                       Good                                                                           Put guard back on tube mill motor before starting it.
 Bonnie Bainter     8/30/2022          7:00                                                       Good                                                                                                 Mill is down
  John Spears       11/7/2022         09:45              Splashed product needs swept up. Crew working on that. First and third floor                          Flange bearing on outside scroll needs cover reinstalled. Maintenance crew advised.
  John Spears       11/8/2022         09:30              Material around crusher elevator. Crew placed excess back into holding tank.                                               Fabricating a couple of new guards for MSHA.
  John Spears      11/18/2022       10:32 am                                 In process of gathering useful material.                                                                                  All in place.
 Rob Baumann       11/21/2022       10:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       11/22/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       11/23/2022        8:00 AM                                                  Satisfacory                                                                                              All in place
 Rob Baumann       11/28/2022        8:00 AM                                                  Satisfactory                                                                                               In place
 Rob Baumann       11/29/2022        8:00 AM                                                  Satisfactory                                                                                               In place
 Rob Baumann       11/30/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/1/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/2/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/5/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/6/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/7/2022        8:30AM                                                   Satisfactory                                                                                             All in place
 Rob Baumann        12/8/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/9/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/12/2022        8:15 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/12/2022        8:00 am                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/13/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/14/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/15/2022        7:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/16/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/19/2022        8;00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/20/2022        7:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/21/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/22/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/26/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/27/2022        8:00 AM                                                  Satisfactoy                                                                                              All in place
 Rob Baumann       12/28/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/30/2022          8:00                                                   satisfactory                                                                                             All in place
 Rob Baumann        1/2/2023         8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann         1/3/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann         1/4/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/16/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/17/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/18/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/19/2023        8:00 AM                                                  satisfactory                                                                                             All in place
 Rob Baumann        1/23/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/24/2023        8:00 AM                                                  satisfactory                                                                                             all in place
 Rob Baumann         2/7/2023        8:00 AM                                                  Satisfactory                                                                 Covers off breaker boxes open electrical panels maint contcted
 Rob Baumann         2/8/2023        8:00 AM                                                  Satisfactory                                                                         Gaurds in place covers need put on breaker box
 Rob Baumann         2/9/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        2/10/2023        8:00 AM                                                  Satisfactory                                                                 All in place but have an open electrical panel that needs fixed
 Rob Baumann        2/13/2023        8:00 AM                                                 Sastisfactory                                                                                             All in place
Ronnell Fondren      3/3/2023          0940                                       No Safety hazard in breakroom                                                                     Hole in floor 3/4 steel plate on top of the hole                                             No safety hazards
   Jim Hoover        3/3/2023       10:27am                                                   no issues JH                                                                                              no issue jh                                                                  no issue jh
   RJ Williams       3/7/2023          8:45                                                     All Good                                                                                                 All Good                                                                     All Good
Ronnell Fondren      3/6/2023          0915                                                       Good                                                                                      Hole in the floor by break room                                      Concrete has cracks could be a potential trip hazard
   RJ Williams       3/7/2023        8:08 AM                                                    All Good                                                                                                 All Good                                                                     All Good
Ronnell Fondren      3/7/2023          0832                                                  Fair condition                                                                        Crack in the floor and hole with plate covering it                                            Crack in the floor
  Patrick Lewis      3/7/2023        8:35 AM                                  Shifty walls. Other than that in order.                                As usual only out of the norm is the concrete foundation deterioration and the hole under the steel plate    Separation/ deterioration of concrete foundation
Ronnell Fondren      3/8/2023          0831                                                  Fair condition                                                                                           Fair condition                                                               Fair condition
   RJ Williams       3/8/2023          9:00                                                       Good                                                                                                     Good                                                                         Good
  Patrick Lewis      3/8/2023       10:10 AM                                             Walls need repaired                                                                                  Concrete foundation issues                                                        Concrete separation
Ronnell Fondren      3/9/2023          0804                                                       Clean                                                                                               Fair condition                                                               Fair condition
   RJ Williams       3/9/2023          8:45                                                       Good                                                                                                     Good                                                                         Good
  Patrick Lewis      3/9/2023        8:57 AM                                   Same as aforementioned previously                                                                         Same as the previous days inspection                                            Same as previous days inspection
   Jim Hoover        3/9/2023        8:00Am                                                       Good                                                                                                     Good                                                                         Good
   RJ Williams      3/10/2023          8:15                                                       Good                                                                                                     Good                                                                         Good
Ronnell Fondren     3/10/2023          0818                                                       Clean                                                                                               Fair condition                                                               Fair condition
  Patrick Lewis     3/10/2023        8:49 AM                                                 No concerns.                                                                                        As previously stated.                                                         Concrete deterioration
   Jim Hoover       3/10/2023        8:00Am                                                      Good                                                                                                      Good                                                                         Good
   RJ Williams      3/13/2023          8:37                                                       Good                                                                                                     Good                                                                         Good
Ronnell Fondren     3/13/2023          0841                                                       Clean                                                                                               Fair condition                                                               Fair condition
Ronnell Fondren     3/14/2023          0801                                                       Clean                                                                                               Fair condition                                                               Fair condition
Ronnell Fondren     3/15/2023          0752                                                       Clean                                                                                               Fair condition                                                               Fair condition
   RJ Williams      3/15/2023          8:54                                                       Good                                                                                                     Good                                                                         Good
  Patrick Lewis     3/15/2023        2:33 PM                                              No issues to report                                                                                    No concerns to report                                                         Concrete deteriorating
  Patrick Lewis     3/16/2023        8:10 AM                                                  No concerns                                                                                              No concerns                                                                   No concern
Ronnell Fondren     3/17/2023          0802                                                       Clean                                                                                                     Fair                                                                         Fair
   RJ Williams      3/21/2023          8:21                                                       Good                                                                                                     Good                                                                         Good
   Jim Hoover       3/21/2023        8:30Am                                                       Good                                                                                                     Good                                                                         Good
Ronnell Fondren     3/22/2023          0807                                                       Clean                                                                                                     Fair                                                                         Fair
   RJ Williams      3/22/2023          8:19                                                       Good                                                                                                     Good                                                                         Good
  Patrick Lewis     3/22/2023        8:20 AM                                                  No concerns                                                                                              No concerns                                                                  No concerns
  Patrick Lewis     3/23/2023        5:05 PM                                                  No concerns                                                                                             No concerns                                                                   No concerns
   Jim Hoover       3/23/2023        8:30 AM                                                      Good                                                                                                     Good                                                                         Good
   Jim Hoover       3/22/2023        8:30Am                                                       Good                                                                                                     Good                                                                         Good
Ronnell Fondren     3/24/2023          0828                                                       Clean                                                                                                     Fair                                                                         Fair
   RJ Williams      3/27/2023          8:00                                                       Good                                                                                                     Good                                                                         Good
Ronnell Fondren     3/28/2023          0745                                                       Clean                                                                                                     Fair                                                                         Fair
Ronnell Fondren     3/30/2023          0808                                                       Clean                                                                                                     Fair                                                                         Fair
   RJ Williams      3/30/2023          8:50                                                       Good                                                                                                     Good                                                                         Good
Ronnell Fondren     3/31/2023          0742                                                       Clean                                                                                                     Fair                                                                         Fair
Ronnell Fondren     3/31/2023          0822                                                      Clean                                                                                                      Fair                                                                         Fair
   RJ Williams      3/31/2023          8:22                                Watched videos for severe weather safety                                                                                        Good                                                                         Good
  Patrick Lewis     3/31/2023        8:31 AM                                                  No concerns                                                                                              No concerns                                                                  No concerns
   RJ Williams       4/4/2023          8:07                                                       Good                                                                                                     Good                                                                         Good
   RJ Williams       4/5/2023          8:55                                                       Good                                                                                                     Good                                                                         Good
Ronnell Fondren      4/6/2023          0800                                                       Dirty                                                                                                     Fair                                                                         Fair
   RJ Williams       4/6/2023          8:30                                                      Good                                                                                                      Good                                                                         Good
  Patrick Lewis      4/6/2023        9:54 AM                                                  No concerns                                                                                              No concerns                                                                  No concerns
   RJ Williams       4/7/2023          8:40                                                      Good                                                                                                      Good                                                                         Good
  Patrick Lewis     4/10/2023        8:38 AM                                                  No concerns                                                                                              No concerns                                                                  No concerns
   RJ Williams      4/11/2023          8:11                                                       Good                                                                                                     Good                                                                         Good


                                                                                                                                                                                                 Exhibit P-14, Page 001
                  Appellate Case: 25-1349                                                                   Page: 1393                                   Date Filed: 04/07/2025 Entry ID: 5503844
  Examine the Rail Ramp area. Note any safety issues.   Examine the Production Floor main area. Note any safety issues.   Examine the bathroom. Note any safety issues.   Examine the Production Floor West storage area. Note any safety issues.




                      No hazard                                                    No hazard                                               Needs cleaned                                                No hazards
                      no issue jh                                                 no issue jh                                                no issue jh                                               no issues jh
                       All Good                                                     All Good                                                  All Good                                                   All Good
                          Ok                                                           Fair                                        Fair condition needs cleaned                                       Fair condition
                       All Good                                                       Good                                                    All Good                                                     Good
                    Fair condition                                               Fair condition                                                 Dirty                                                 Fair condition
             Nothing to report safety wise                             Concrete foundation deterioration                                  Needs cleaned.                                      Nothing to report in this area.
                    Fair condition                                               Fair condition                                            Fair condition                                             Fair condition
                         Good                                                         Good                                                      Good                                                       Good
                 Nothing of concern                                           Nothing of concern                                        Nothing of concern                                             No concerns
                    Fair condition                                               Fair condition                                                 Clean                                                 Fair condition
                         Good                                                         Good                                                      Good                                                       Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                 Caution tape around bagger area do to maintenance                                Good                                                     Goodgood
                         Good                                                         Good                                                      Good                                                       Good
                    Fair condition                                               Fair condition                                                Clean                                                  Fair condition
                     No concerns                                                 No concerns.                                               No concerns                                               No concerns.
                         Good                                                         Good                                                      Good                                                       Good
                         Good                                                         Good                                                      Good                                                       Good
                    Fair condition                                               Fair condition                                            Fair condition                                             Fair condition
                    Fair condition                                               Fair condition                                                Clean                                                  Fair condition
                    Fair condition                                               Fair condition                                                Clean                                                  Fair condition
                         Good                                                         Good                                                      Good                                                       Good
               No no issues or concerns                                      No issues or concerns                                     No issues or concerns                                      No issues or concerns
                     No concerns                                                  No concerns                                               No concern                                                 No concerns
                          Fair                                                         Fair                                                     Clean                                                       Fair
                         Good                                                         Good                                                      Good                                                       Good
                        Good                                                          Good                                                      Good                                                       Good
                          Fair                                                         Fair                                                     Clean                                                       Fair
                         Good                                                         Good                                                      Good                                                       Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                                         Good                                                      Good                                                       Good
                         Good                                                         Good                                                      Good                                                       Good
                          Fair                                                         Fair                                                    Clean                                                        Fair
                         Good                                                         Good                                                      Good                                                       Good
                          Fair                                                         Fair                                                    Clean                                                        Fair
                          Fair                                                         Fair                                                    Clean                                                        Fair
                         Good                                                         Good                                                      Good                                                       Good
                          Fair                                                         Fair                                                    Clean                                                        Fair
                          Fair                                                         Fair                                                    Clean                                                        Fair
                         Good                                                         Good                                                      Good                                                       Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                                         Good                                                     Good                                                        Good
                         Good                                                         Good                                                     Good                                                        Good
                          Fair                                                         Fair                                                    Clean                                                        Fair
                         Good                                                         Good                                                     Good                                                        Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                                         Good                                                     Good                                                        Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                                         Good                                                     Good                                                        Good


                                                                                                                                                              Exhibit P-14, Page 002
Appellate Case: 25-1349                                                       Page: 1394                                  Date Filed: 04/07/2025 Entry ID: 5503844
                                                         Examine the Dumpster platform area. Note any safety issues.




                                                                                   Platform is good
                                                                                      no issues jh
                                                                                       All Clear
                                                                                    Fair condition
                                                                                         Good
                                                                                    Fair condition
                     Railings are kind of unstable and flimsy. Bolts that have backed out over time and damage to the wood beams can cause tripping hazards
                                                                                    Fair condition
                                                                                         Good
                                                           Split wood beans and nails and bolts that have been backed out
                                                                                    Fair condition
                                                                                         Good
                                                                            Same as previously mentioned
                                                                                         Good
                                                                                         Good
                                                                                    Fair condition
                                                                           Bent bolts and damaged beams.
                                                                                         Good
                                                                                         Good
                                                                                    Fair condition
                                                                                    Fair condition
                                                                                    Fair condition
                                                                                         Good
                                                                                No issues or concerns
                                                                              Same as previously stated
                                                                                          Fair
                                                                                         Good
                                                                                         Good
                                                                                          Fair
                                                                                         Good
                                                                                     No concerns
                                                                                     No concerns
                                                                                         Good
                                                                                         Good
                                                                                          Fair
                                                                                         Good
                                                                                          Fair
                                                                                          Fair
                                                                                         Good
                                                                                          Fair
                                                                                          Fair
                                                                                         Good
                                                                                     No concerns
                                                                                         Good
                                                                                         Good
                                                                                          Fair
                                                                                         Good
                                                                                     No concerns
                                                                                         Good
                                                                                     No concerns
                                                                                         Good


                                                                                                                                 Exhibit P-14, Page 003
Appellate Case: 25-1349             Page: 1395                                            Date Filed: 04/07/2025 Entry ID: 5503844
                                     Turn of the Production
                                                               Examine the Breakroom. Note any
   Start time         Name          Floor Lighting. Note any
                                                                        safety issues.
                                          safety issues.
 3/3/23 9:54:01    Rob Baumann        All in working order               Satisfactory

 3/6/23 8:16:40    Rob Baumann               Good                           Good


 3/7/23 8:10:55    Rob Baumann               Good                           Good

 3/8/23 8:35:37    Rob Baumann               Good                           Good
 3/8/23 9:59:35     RJ Williams              Good                           Good
 3/9/23 8:12:08    Rob Baumann               Good                           Good
3/10/23 8:16:16     RJ Williams              Good                           Good
3/10/23 8:15:39    Rob Baumann               Good                           Good

3/13/23 9:12:34    Rob Baumann               Good                           Good
3/15/23 8:55:46     RJ Williams            Good                             Good
                                    Good ,watched lockout
3/15/23 9:01:30    Rob Baumann                                              Good
                                         msha video
3/16/23 8:31:39    Rob Baumann               Good                           Good
3/17/23 8:46:39    Rob Baumann               Good                           Good
3/20/23 7:52:07    Rob Baumann               Good                           Good
3/21/23 8:15:46    Rob Baumann               Good                           Good

3/23/23 9:02:40    Rob Baumann               Good                           Good
3/23/23 17:04:01    John Spears         None observed.                 None observed.
 3/24/23 8:33:17    RJ Williams             Good                           Good
 3/27/23 8:01:58    RJ Williams             Good                           Good
3/27/23 11:51:29    John Spears         None observed.                 None observed.
3/28/23 13:41:42   Rob Baumann              Good                           Good
3/30/23 11:21:56   Rob Baumann               Ok                             Ok
 3/31/23 8:54:00   Rob Baumann               Ok                             Ok
 4/3/23 10:07:09   Rob Baumann               Ok                             Ok
 4/4/23 10:50:33    John Spears         None observed                  None observed
 4/6/23 7:28:05    Rob Baumann               Ok                             Ok
 4/7/23 15:13:58   Rob Baumann               Ok                             Ok




                                                               Exhibit P-14, Page 004
 Appellate Case: 25-1349          Page: 1396        Date Filed: 04/07/2025 Entry ID: 5503844
Examine the Control Room. Note   Examine the East Warehouse        Examine the Palletizer area. Note any
      any safety issues.         area. Note any safety issues.                safety issues.
            Good                         Satisfactory                           Not in use

            Good                            Good                              Not in use good


            Good                            Good                              Good not in use

            Good                            Good                                Not in use
            Good                            Good                                   Good
            Good                            Good                                Not in use
            Good                            Good                                   Good
            Good                            Good                                Not in use

            Good                            Good                              Good not in use
            Good                            Good                                   Good
            Good                            Good                              Good not in use
                                                                    Bare electrical wires exposed out of
            Good                            Good
                                                                            floor area closed off
            Good                            Good                                    Good
            Good                            Good                                    Good
            Good                            Good                                   Good

            Good                            Good                                   Good
       None observed.                  None observed.                    Out of commission. LOTO
           Good                            Good                                   Good
           Good                            Good                                   Good
       None observed.                  None observed.                        None observed.
           Good                            Good                                   Good
            Ok                              Ok                                     Ok
            Ok                              Ok                                     Ok
            Ok                              Ok                                     Ok
       None observed                   None observed                          None observed
            Ok                              Ok                                     Ok
            Ok                              Ok                                     Ok




                                                                 Exhibit P-14, Page 005
      Appellate Case: 25-1349    Page: 1397        Date Filed: 04/07/2025 Entry ID: 5503844
  Examine the Bagger area. Note any          Examine the Production hold     Examine the Bathroom. Note any
            safety issues.                   area. Note any safety issues.            safety issues.
               Not in use                            Satisfactory                     Satisfactory

            Not in use good                       Not running good                       Good


 Locked out roped off for maintanence                   Good                             Good

      Being worked on roped off                         Good                             Good
                   Good                                 Good                             Good
Bulk bagger good 100 pound bagger area
                                                        Good                             Good
           roped off for repairs
                   Good                                 Good                          Good & clean
 Bulk bag area good packer taped off for
                                                        Good                             Good
                   repair
  Good on bulk roped off on 100 pound
                                                        Good                             Good
             packer for repairs
                   Good                                 Good                             Good
 100 pound packer roped off for repairs
                                                        Good                             Good
            bulk feeder is good
                 Good                                   Good                             Good
                 Good                                   Good                             Good
                 Good                                   Good                             Good
                 Good                                   Good                             Good

                 Good                                   Good                             Good
            None observed.                         None observed.                    None observed.
                Good                                   Good                              Good
                Good                                   Good                              Good
            None observed.                         None observed.                    None observed.
                Good                                   Good                              Good
                 Ok                                     Ok                                Ok
                 Ok                                     Ok                                Ok
                 Ok                                     Ok                                Ok
            None observed                          None observed                     None observed
                 Ok                                     Ok                                Ok
                 Ok                                     Ok                                Ok




                                                                        Exhibit P-14, Page 006
          Appellate Case: 25-1349          Page: 1398      Date Filed: 04/07/2025 Entry ID: 5503844
Examine the West Warehouse        Examine the Dumpster platform     Examine the First floor Classifier
 area. Note any safety issues.      area. Note any safety issues.     area. Note any safety issues.
         Satisfactory                    Dumpster area ok                      Satisfactory
                                                                      Product piled up at bottom of
            Good                              Good                  elevator but being worked on and
                                                                                not in use
                                                                    Flour elevator being worked on it
            Good                              Good
                                                                              is locked out
                                                                      Good but finish flour elevator
            Good                              Good
                                                                       locked out being worked on
            Good                              Good                                 Good
            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good

            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good

            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good

            Good                              Good                                Good
       None observed.                     None observed.                    None observed.
           Good                               Good                              Good
           Good                               Good                              Good
       None observed.                     None observed.                    None observed.
           Good                               Good                              Good
            Ok                                 Ok                                Ok
            Ok                                 Ok                                Ok
            Ok                                 Ok                                Ok
       None observed                      None observed                     None observed
            Ok                                 Ok                                Ok
            Ok                                 Ok                                Ok




                                                            Exhibit P-14, Page 007
     Appellate Case: 25-1349     Page: 1399     Date Filed: 04/07/2025 Entry ID: 5503844
Examine the Oil room area. Note any   Examine the Air Compressor        Examine the Tube Mill area. Note any
           safety issues.             area. Note any safety issues.                safety issues.
              Good                       Panel shut good to go                      Satisfactory

              Good                               Good                                  Good


              Good                               Good                                  Good

              Good                               Good                                  Good
              Good                               Good                                  Good
              Good                               Good                                  Good
              Good                               Good                                  Good
              Good                               Good                                  Good

              Good                               Good                                  Good
              Good                               Good                                  Good
              Good                               Good                                  Good

              Good                               Good                                  Good
              Good                               Good                                  Good
              Good                               Good                                  Good
              Good                               Good                                  Good

              Good                               Good                                  Good
          None observed.                    None observed.                        None observed.
              Good                              Good                                  Good
              Good                              Good                                  Good
          None observed.                    None observed.                        None observed.
              Good                              Good                                  Good
               Ok                                Ok                                     Ok
               Ok                                Ok                             Product in pathway
               Ok                                Ok                                     Ok
          None observed                     None observed                         None observed
               Ok                                Ok                                     Ok
               Ok                                Ok                                     Ok




                                                                      Exhibit P-14, Page 008
        Appellate Case: 25-1349       Page: 1400      Date Filed: 04/07/2025 Entry ID: 5503844
                                                                           Examine the Crusher Ramp and
Examine the Elevator area. Note any      Examine the Crusher Room
                                                                            Hopper area. Note any safety
          safety issues.                area. Note any safety issues.
                                                                                      issues.
           Satisfactory                        Good not in use                      Gate closed

              Good                             Good not in use                         Good


            Not in use                              Good                               Good

            Not in use                              Good                               Good
              Good                                  Good                               Good
            Not in use                              Good                               Good
              Good                                  Good                               Good
          Out of service                            Good                               Good

            Not in use                              Good                               Good
              Good                                  Good                               Good
            Not in use                              Good                               Good

            Not in use                              Good                               Good
            Not in use                              Good                               Good
            Not in use                              Good                               Good
                                      Not in use today will need cleaned
            Not in use                                                                 Good
                                             before crushing rock
                                                                           Ramp gate left open creating a
            Not in use                              Good
                                                                           danger, closed and locked gate
          None observed.                       None observed.                     None observed.
              Good                                 Good                                 Good
              Good                                 Good                                 Good
          None observed.                       None observed.                     None observed.
            Not in use                             Good                                 Good
            Not in use                              Ok                                   Ok
            Not in use                              Ok                                   Ok
            Not in use                              Ok                                   Ok
          None observed                        None observed                      None observed
            Not in use                              Ok                                   Ok
            Not in use                              Ok                                   Ok




                                                                    Exhibit P-14, Page 009
      Appellate Case: 25-1349         Page: 1401       Date Filed: 04/07/2025 Entry ID: 5503844
Examine the Dust Collector System    Examine the Loading dock area. Note Examine the Warehouse A. Note
   area. Note any safety issues.              any safety issues.               any safety issues.
         Swept and ready                        Satisfactory                        Good
Working to replace conduit outside
                                                   Good                             Good
         not being used

              Good                                 Good                             Good

              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good

              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good

              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good

              Good                                 Good                             Good
         None observed.                       None observed.                    None observed.
             Good                                 Good                              Good
             Good                                 Good                              Good
         None observed.                       None observed.                    None observed.
             Good                                 Good                              Good
             Good                                  Ok                                Ok
             Good                                  Ok                                Ok
             Good                                  Ok                                Ok
             Good                             None observed                     None observed
             Good                                  Ok                                Ok
 Broken conduit outside by lil mac                 Ok                                Ok




                                                                 Exhibit P-14, Page 010
      Appellate Case: 25-1349         Page: 1402      Date Filed: 04/07/2025 Entry ID: 5503844
Examine the Warehouse B. Note    Examine the Longterm storage        Examine the Rail ramp area. Note
      any safety issues.        warehouse. Note any safety issues.          any safety issues.
            Good                              Good                                Good

            Good                              Good                                Good


            Good                              Good                                Good

            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                            Good & secure
            Good                              Good                                Good

            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good

            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good

            Good                              Good                                Good
       None observed.                    None observed.                      None observed.
           Good                              Good                                Good
           Good                              Good                                Good
       None observed.                    None observed.                      None observed.
           Good                              Good                                Good
            Ok                                Ok                                  Ok
            Ok                                Ok                                  Ok
            Ok                                Ok                                  Ok
       None observed                     None observed                       None observed
            Ok                                Ok                                  Ok
            Ok                                Ok                                  Ok




                                                                Exhibit P-14, Page 011
      Appellate Case: 25-1349     Page: 1403         Date Filed: 04/07/2025 Entry ID: 5503844
                                                              Exhibit P-11, Page 001
Appellate Case: 25-1349   Page: 1404   Date Filed: 04/07/2025 Entry ID: 5503844
                                                              Exhibit P-11, Page 002
Appellate Case: 25-1349   Page: 1405   Date Filed: 04/07/2025 Entry ID: 5503844
                                                              Exhibit P-11, Page 003
Appellate Case: 25-1349   Page: 1406   Date Filed: 04/07/2025 Entry ID: 5503844
                                                              Exhibit P-11, Page 004
Appellate Case: 25-1349   Page: 1407   Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,              )       DISCRIMINATION &
 United States Department of Labor, and               )       INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                       )       DOCKET
                      Complainants,                   )
                                                      )
                 v.                                   )       Docket No. CENT 2023-0251-DM
                                                      )
 MOSENECAMANUFACTURER LIMITED                         )
 LIABILITY COMPANY d/b/a AMERICAN                     )       Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                             )       American Tr
                                                      )       Mine Id No. 23-00504
                                                      )
                           Respondent.                )

  RESPONDENT’S THIRD INTERROGATORIES ANSWERS AND RESPONSE FOR
                   PRODUCTION OF DOCUMENTS



                                FIRST DISCOVERY REQUESTS
                                         INTERROGATORIES
      INTERROGATORY NO. 4: If Respondent claims that a defense or affirmative defense is
applicable to the claims at issue in this case, please identify each such defense and state with
particularity the material facts supporting such defense.
                                ANSWER: In response to Interrogatory No. 4, we acknowledge
the importance of providing clarity regarding our defenses in this matter. While we understand
the need for transparency and adherence to legal processes, we firmly contend that requiring the
immediate identification of defenses with particularity may not be suitable for the complex and
evolving nature of this case. It is essential to uphold the principles of fairness, due process, and
the right to develop a comprehensive defense.


      Our defense in this case revolves around the following key points, each supported by
specific material facts:



                                                  1

                                                                                   Exhibit P-12, Page 001
   Appellate Case: 25-1349          Page: 1408            Date Filed: 04/07/2025 Entry ID: 5503844
      1. Compliance with Regulations: Throughout the course of our operations, we have
consistently prioritized compliance with all relevant regulations and guidelines, particularly
those set forth by the Mine Safety and Health Administration (MSHA). We have diligently
enforced safety protocols and measures in line with MSHA standards to ensure the safety of our
workforce.


      2. Safety Measures and Training: We have invested significant resources in training and
educating our employees, emphasizing safety procedures and the importance of adhering to
MSHA regulations. Our commitment to safety extends to providing comprehensive training
programs and resources, which we have made available to all our employees, including Mr.
Robert Baumann.


      3. Mitigation of Citations: It is important to note that the mining industry can be
inherently challenging in terms of regulatory compliance. Despite our best efforts, occasional
citations may occur. Our defense involves demonstrating that we have taken prompt corrective
actions in response to any citations received, including addressing safety concerns and
implementing necessary changes to prevent recurrence.


      4. Employee Responsibilities: Employees, including Mr. Baumann, have individual
responsibilities under MSHA regulations to ensure their safety and that of their colleagues. These
responsibilities include reporting unsafe conditions and practices, complying with safety
guidelines, and actively participating in safety training. Our defense highlights the expectations
placed on all employees, including Mr. Baumann, in fulfilling these responsibilities.


In conclusion, our defense in this case is built upon our unwavering commitment to safety,
compliance, and the well-being of our workforce. The material facts supporting this defense
include our rigorous safety measures, training programs, and our proactive approach to



                                                 2

                                                                                 Exhibit P-12, Page 002
   Appellate Case: 25-1349         Page: 1409        Date Filed: 04/07/2025 Entry ID: 5503844
addressing any citations received. We remain steadfast in our dedication to transparency,
cooperation, and upholding the highest standards of safety within our operations. We have also
included a November 13, 2023 email chain from Mr. Randall Boyd, Supervisory Special
Investigations, Supervisory Conference & Litigations, Madisonville district office, stating there
is not anyone recorded as a representative of miners at our location as Mr. Baumann has claimed
he is/was one.




      INTERROGATORY NO. 5: Set forth the reasons Robert Baumann was terminated, who
participated in the decision to terminate Robert Baumann, and the date such decision was made.
      ANSWER: A comprehensive response to your request regarding the reasons for the
termination of Mr. Robert Baumann, the individuals involved in the decision, and the date when
this decision was made. We understand the importance of clarity in this regard and aim to
address your concerns.


      Reasons for Termination:
      The decision to terminate Mr. Robert Baumann was based on a combination of factors that
collectively led to this outcome. It is important to emphasize that termination of employment is
never taken lightly, and the welfare of our employees and the overall safety and efficiency of our
operations remain paramount. The following factors contributed to Mr. Baumann's termination:


      Poor Performance: Mr. Baumann's performance as a shift lead consistently fell below the
acceptable standards established for his role. His inability to meet the performance expectations
and responsibilities associated with his position was a primary concern.


      Lack of Leadership Skills: As a shift lead, strong leadership skills are essential for
success. Mr. Baumann's performance was hindered by his lack of effective leadership, which was
a crucial aspect of his role.



                                                 3

                                                                                Exhibit P-12, Page 003
   Appellate Case: 25-1349         Page: 1410        Date Filed: 04/07/2025 Entry ID: 5503844
      Failure to Follow Procedures and Guidance: Despite several attempts to address these
issues through coaching, feedback sessions, and open communication channels, Mr. Baumann
did not demonstrate any substantial improvement in his performance or attitude. This failure to
adapt to guidance and correct his behavior raised significant concerns.


      Safety Concerns: Safety is a paramount concern in our operations. Mr. Baumann's
disregard for safety guidelines, failure to take safety matters seriously, and his actions that
created an unsafe work environment for himself and his colleagues were alarming.


      Compliance with Employment-At-Will Doctrine: It is essential to note that Missouri
follows the Employment-At-Will doctrine, allowing both the employer and employee to
terminate the employment relationship at any time and for any non-discriminatory reason. This
doctrine serves as the legal basis for Mr. Baumann's termination.


      Participants in the Decision:
      The decision to terminate Mr. Baumann was a collective one, involving key members of
our management team. While we initially referred to "management personnel" in our previous
response, we want to provide you with specific names and titles of the individuals who
participated in this decision:


      Russell Tidaback: As the final decision maker for the company, Mr. Russell Tidaback
played a crucial role in the deliberation and final decision-making process.


      Jordan Tidaback: As a decision maker for the company, Ms. Jordan Tidaback played a
crucial role in the deliberation and decision-making process.




                                                  4

                                                                                 Exhibit P-12, Page 004
  Appellate Case: 25-1349          Page: 1411         Date Filed: 04/07/2025 Entry ID: 5503844
      John Spears: As a member of our management team, Mr. John Spears was also involved
in the decision-making process.


      Date of the Decision:
      The decision to terminate Mr. Baumann was reached during the evening of April 16, 2023.
We recognize the importance of providing an exact date, and we sincerely apologize for any
previous lack of specificity on this matter.


In conclusion, we hope this elaboration provides the clarity and detail you seek regarding Mr.
Baumann's termination. We remain committed to cooperation and transparency throughout this
process and appreciate your diligence in seeking this information.




                                                5

                                                                              Exhibit P-12, Page 005
   Appellate Case: 25-1349         Page: 1412       Date Filed: 04/07/2025 Entry ID: 5503844
                                    DECLARATION

          I, RUSSELL TIDABACK state that I am authorized to
   answer the foregoing interrogatories on behalf of
   MoSenecaManufacturer Limited Liability Company d/b/a American
   Tripoli. I have read the foregoing interrogatories and answers thereto and
   know the content thereof. Pursuant to 28 U.S.C. § 1746, I declare
   under penalty of perjury that the foregoing answers to the
   interrogatories are true and correct.



                                         By: _______________

                                         Name: RUSSELL TIDABACK

                                         Title: MANAGING MEMBER

                                         Dated: 20NOV2023




                                            6

                                                                   Exhibit P-12, Page 006
Appellate Case: 25-1349    Page: 1413     Date Filed: 04/07/2025 Entry ID: 5503844
                       FIRST DISCOVERY REQUESTS

            REQUESTS FOR PRODUCTION OF DOCUMENTS



11.    Produce the documents reflecting any discipline of Robert Baumann.
RESPONSE: In response to your request, we want to clarify the company's disciplinary
process as outlined in our employee handbook. Our progressive discipline process is
designed to provide associates with opportunities to address and correct behavior when
possible. The handbook explicitly outlines the three steps of increasing severity in this
process: verbal warning, formal meeting with a supervisor and written reprimand, and
termination. It's important to note that managers have discretion in applying this process
and may skip or repeat steps as necessary.


Considering this framework, we must emphasize that Robert Baumann's employment
with American Tripoli was "at-will," as is the case with all our employees in the U.S.
This means that either the employee or the company may terminate the employment
relationship at any time and for any non-discriminatory reason. The termination of Mr.
Baumann falls under the category of "for cause termination" as outlined in our handbook.


Regarding your specific request for discipline records for Mr. Baumann, we do not
possess traditional documents reflecting discipline actions, such as written reprimands, in
this case. The decision to terminate Mr. Baumann was the culmination of ongoing
discussions, evaluations, and attempts to address performance issues and safety concerns,
which are consistent with our progressive discipline process.


While we do not have written records of discipline actions in this case, we want to assure
you that Mr. Baumann's termination was thoroughly assessed and justified based on well-
established principles of employment and operational policies. Our commitment to acting
fairly and lawfully is unwavering.


                                          7

                                                                             Exhibit P-12, Page 007
Appellate Case: 25-1349        Page: 1414        Date Filed: 04/07/2025 Entry ID: 5503844
24.      Produce the documents reflecting any communications, including Microsoft
Teams chats, text message, emails, to employees of Respondent at the MoSenecaMfr
LLC dba American Tr mine regarding MSHA inspections and/or any MSHA inspectors.


In addition, we ask that you also look for inspectors’ names which would include either
the first and last name together or just the first name or just the last name:
•        Keith and Markeson
•        Bryan and Licklider
•        Randall or Randy and Hill
•        Michael and/or Mike and Van Dorn and/or VanDorn
•        David and/or Dave and Prewett
•        Michael and/or Doc and Dillingham
•        Shawn and Pratt
•        Adam and Larkins
•        Also inspector would be another relevant search term.


RESPONSE: In response to Request No. 24, we acknowledge the importance of
providing relevant communications pertaining to MSHA inspections and inspectors.
However, it is important to note that local communications at our mine, particularly
below the level of the operations manager, often occur face-to-face or through other
forms of verbal communication rather than electronic messages. As such, while we have
made a diligent effort to retrieve electronic communications, we may not have specific
messages that directly address MSHA inspections or inspectors. Below are what was
found using the terms requested above, please let us know if you need further details
surrounding any specific date & time message:
Keith:




                                           8

                                                                                 Exhibit P-12, Page 008
Appellate Case: 25-1349        Page: 1415        Date Filed: 04/07/2025 Entry ID: 5503844
                                9

                                                              Exhibit P-12, Page 009
Appellate Case: 25-1349   Page: 1416   Date Filed: 04/07/2025 Entry ID: 5503844
                                 10

                                                              Exhibit P-12, Page 010
Appellate Case: 25-1349   Page: 1417   Date Filed: 04/07/2025 Entry ID: 5503844
Markeson:




Bryan: We couldn't find any results for 'Bryan'.




                                        11

                                                                          Exhibit P-12, Page 011
   Appellate Case: 25-1349        Page: 1418       Date Filed: 04/07/2025 Entry ID: 5503844
Licklider:




Randall: We couldn't find any results for 'Randall'.


Randy:




Hill:




Michael:




                                        12

                                                                              Exhibit P-12, Page 012
   Appellate Case: 25-1349        Page: 1419           Date Filed: 04/07/2025 Entry ID: 5503844
Mike:




Van Dorn:




                                13

                                                                Exhibit P-12, Page 013
  Appellate Case: 25-1349   Page: 1420   Date Filed: 04/07/2025 Entry ID: 5503844
Vandorn:




David: We couldn't find any results for 'David'.


Dave: We couldn't find any results for 'Dave'.


Prewett:




Doc: We couldn't find any results for 'Doc'.


Dillingham: We couldn't find any results for 'Dillingham'.


Shawn:




                                        14

                                                                          Exhibit P-12, Page 014
   Appellate Case: 25-1349        Page: 1421       Date Filed: 04/07/2025 Entry ID: 5503844
Pratt:




                                 15

                                                                 Exhibit P-12, Page 015
   Appellate Case: 25-1349   Page: 1422   Date Filed: 04/07/2025 Entry ID: 5503844
Adam: We couldn't find any results for 'Adam'.


Larkins: We couldn't find any results for 'Larkins'.


Inspector:




                                        16

                                                                        Exhibit P-12, Page 016
Appellate Case: 25-1349        Page: 1423        Date Filed: 04/07/2025 Entry ID: 5503844
                                17

                                                              Exhibit P-12, Page 017
Appellate Case: 25-1349   Page: 1424   Date Filed: 04/07/2025 Entry ID: 5503844
                                18

                                                              Exhibit P-12, Page 018
Appellate Case: 25-1349   Page: 1425   Date Filed: 04/07/2025 Entry ID: 5503844
                                19

                                                              Exhibit P-12, Page 019
Appellate Case: 25-1349   Page: 1426   Date Filed: 04/07/2025 Entry ID: 5503844
                                20

                                                              Exhibit P-12, Page 020
Appellate Case: 25-1349   Page: 1427   Date Filed: 04/07/2025 Entry ID: 5503844
                                21

                                                              Exhibit P-12, Page 021
Appellate Case: 25-1349   Page: 1428   Date Filed: 04/07/2025 Entry ID: 5503844
                                22

                                                              Exhibit P-12, Page 022
Appellate Case: 25-1349   Page: 1429   Date Filed: 04/07/2025 Entry ID: 5503844
                                23

                                                              Exhibit P-12, Page 023
Appellate Case: 25-1349   Page: 1430   Date Filed: 04/07/2025 Entry ID: 5503844
                                                            Annual Employment Production
Year   Mine ID   Subunit                                     Coal Production          Annual Hrs.   Avg. Annual Emp.*
2022   2300504   03      STRIP, QUARY, OPEN PIT                                       3,922         2
2022   2300504   30      MILL OPERATION/PREPARATION PLANT                             13,587        9
2022   2300504   99      OFFICE WORKERS AT MINE SITE                                  5,792         3
2022   2300504   Total                                                                23,301        14
2021   2300504   03      STRIP, QUARY, OPEN PIT                                       2,206         2
2021   2300504   30      MILL OPERATION/PREPARATION PLANT                             5,961         5
2021   2300504   99      OFFICE WORKERS AT MINE SITE                                  3,917         3
2021   2300504   Total                                                                12,084        10
2020   2300504   03      STRIP, QUARY, OPEN PIT                                       2,727         2
2020   2300504   30      MILL OPERATION/PREPARATION PLANT                             8,351         6
2020   2300504   99      OFFICE WORKERS AT MINE SITE                                  6,240         3
2020   2300504   Total                                                                17,318        11
2019   2300504   03      STRIP, QUARY, OPEN PIT                                       2,668         2
2019   2300504   30      MILL OPERATION/PREPARATION PLANT                             9,577         6
2019   2300504   99      OFFICE WORKERS AT MINE SITE                                  6,400         3
2019   2300504   Total                                                                18,645        11
                                                                         1/1
                                                                                                    Exhibit P-19, Page001
            Appellate Case: 25-1349           Page: 1431    Date Filed: 04/07/2025 Entry ID: 5503844
Dec 15, 2023                                                                                                                                                                                      Page 1 of 5
                                                                                  MINE SAFETY AND HEALTH ADMINISTRATION
                                                                                        DIRECTORATE OF ASSESSMENTS

                                                                                         ASSESSED VIOLATION HISTORY REPORT



REQUESTOR:                                  ASMT
CONTROLLER NAME:                            Omphalos LLC                                                                                  CONTROLLER ID:                    0163081
                                                                                                                                          CONTROLLER-OPERATOR
OPERATOR NAME:                              American Tripoli                                                                                                                06/09/2021-12/31/9999
                                                                                                                                          ASSOCIATION DATES:
MINE NAME:                                  MOSenecaMfr LLC dba American Tr                                                               OPERATOR ID:                      0177333
OWNERSHIP PERIOD:                           06/09/2021 - 12/31/9999                                                                       MINE ID:                          2300504


ID OPTION:                                  MINE_ID (2300504)
DATE TYPE OPTION:                           Occurrence Date
DATE RANGE OPTION:                          05/15/2022 - 08/14/2023
S&S OPTION:                                 All Violations
STANDARD VIOLATED RANGE:                     -
                                            Controller ID, Violator ID, Mine ID, Standard Violated, Violation
SORTED BY:
                                            Date
PAYMENT FILTER:                             All Violations
STATUS:                                     Any


ASSESSMENT(S)
                                                                                                         MINE
                                                                                                                                                        CURR
MINE      CASE          C I T A T I O NO C C U R        TYPE OF                          ASSMT           ACT/                 FORD             PROPOSED               LAST                  AMT      EXCESS
                                                                                                                                         S&S            ASSMT
ID        NO            NO             DATE             ACTION                           TYPE            STAND                Date             ASSMT                  STATUS                PAID     HISTORY
                                                                                                                                                        AMT
                                                                                                         VIOL
2 3 0 0 5 0 40005771699 5 7 2 1 4 4   0 1 / 0 6 / 2 0 2 31 0 4 ( a ) C                   Regular         -/41.12                         N     $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005850979 5 7 9 6 8 8   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                   Regular         -/47.44(b)           10/21/2023 N     $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005699809 5 7 2 6 1 9   1 1 / 0 7 / 2 0 2 21 0 4 ( d ) ( 1 ) O             Regular         -/48.25(a)           10/23/2023 Y     $2,853.00   $2,282.00Final Order Date     $ 3 8 0 . 3 4N
2 3 0 0 5 0 40005726289 5 7 2 1 3 7   0 1 / 0 4 / 2 0 2 31 0 4 ( g ) ( 1 ) O             Special - Other -/48.25(a)           10/23/2023 Y     $2,400.00   $1,920.00Final Order Date     $ 3 2 0 . 0 1N
2 3 0 0 5 0 40005771699 5 3 9 7 5 8   0 2 / 2 8 / 2 0 2 31 0 4 ( a ) C                   Regular         -/48.29(a)                      N     $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005808599 5 3 6 7 6 2   0 8 / 1 5 / 2 0 2 21 0 4 ( a ) C                   Regular         -/50.20(a)                      N     $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 6 7 4 3   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.4011                       N     $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 2 6 9 7 9 3   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular         -/56.4102            09/19/2023 N     $563.00     $148.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 4 2   0 2 / 1 3 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.4102                       N     $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005908209 5 7 9 8 4 5   0 8 / 0 8 / 2 0 2 31 0 4 ( d ) ( 2 ) O             Regular         -/56.4102                       N     $5,703.00   $5,703.00Proposed             $0.00 N
2 3 0 0 5 0 40005682789 5 7 2 6 0 3   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular         -/56.4104(b)                    N     $133.00     $0.00    ReverseAsmtVacate $0.00 N
2 3 0 0 5 0 40005682789 5 7 2 6 0 2   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular         -/56.4200(a)(1)                 N     $133.00     $0.00    ReverseAsmtVacate $0.00 N
2 3 0 0 5 0 40005682789 5 7 2 6 1 7   1 1 / 0 7 / 2 0 2 21 0 4 ( a ) C                   Regular         -/56.4201(a)                    N     $133.00     $0.00    ReverseAsmtVacate $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 5 0   0 2 / 1 4 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.4201(a)(2)                 N     $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005771699 5 3 9 7 8 6   0 3 / 2 1 / 2 0 2 31 0 4 ( a ) C / 1 0 4 ( b ) O   Regular         -/56.5001(a)/56.5005            Y     $2,238.00   $2,238.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 9 7 8 7   0 3 / 3 0 / 2 0 2 31 0 4 ( a ) C / 1 0 4 ( b ) O   Regular         -/56.5001(a)/56.5005            Y     $1,501.00   $1,501.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 9 7 8 8   0 3 / 3 0 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.5002                       Y     $1,246.00   $1,246.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 7 2 6 1 6   1 1 / 0 3 / 2 0 2 21 0 4 ( d ) ( 1 ) O             Regular         -/56.9301                       Y     $2,853.00   $2,853.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 5 7 2 6 0 1   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular         -/56.9306                       Y     $378.00     $0.00    ReverseAsmtVacate $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 4 5   0 2 / 1 3 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.11001                      N     $143.00     $143.00 Hearing Case Filed $0.00 N

                                                                                                                                                           Exhibit P-22, Page 001
                                                Appellate Case: 25-1349                           Page: 1432        Date Filed: 04/07/2025 Entry ID: 5503844
Dec 15, 2023                                                                                                                                                                                Page 2 of 5
                                                                                                       MINE
                                                                                                                                                  CURR
MINE      CASE          C I T A T I O NO C C U R        TYPE OF                          ASSMT         ACT/              FORD            PROPOSED               LAST                  AMT      EXCESS
                                                                                                                                   S&S            ASSMT
ID        NO            NO             DATE             ACTION                           TYPE          STAND             Date            ASSMT                  STATUS                PAID     HISTORY
                                                                                                                                                  AMT
                                                                                                       VIOL
2 3 0 0 5 0 40005908209 5 7 9 6 7 9   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.11001                   N    $143.00     $143.00 Proposed              $0.00 N
2 3 0 0 5 0 40005808599 5 3 9 7 4 2   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.11002                   Y    $407.00     $407.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 5 2   0 2 / 2 7 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.11002                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 8 5 4   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.11003        10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 7 7 4 4 0   0 2 / 1 3 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.11008                   N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005682789 5 7 2 6 1 4   1 1 / 0 3 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.11012        09/19/2023 N    $133.00     $133.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005808599 5 3 9 7 5 1   0 2 / 2 7 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.11012                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 5 7 2 6 0 7   1 1 / 0 3 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.12002        09/19/2023 N    $133.00     $133.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005808599 5 3 6 7 4 7   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12002                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 6 7 6 1   0 2 / 2 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12002                   N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005850979 5 7 9 8 5 2   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12002        10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 2 6 9 7 9 6   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.12004        09/19/2023 N    $133.00     $133.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005682789 2 6 9 7 8 8   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.12004                   Y    $378.00     $0.00    ReverseAsmtVacate $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 4 7   0 2 / 1 3 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004                   N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005808599 5 3 9 7 4 5   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 6 7 5 1   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 6 7 4 8   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C / 1 0 4 ( b ) O   Regular       -/56.12004                   N    $159.00     $159.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 6 7 5 3   0 2 / 2 4 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 6 7 5 6   0 2 / 2 7 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 5 4   0 2 / 2 7 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 5 7   0 2 / 2 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 6 7 5 9   0 2 / 2 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004                   N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005893289 5 7 9 8 1 0   0 7 / 0 6 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004        12/21/2023 N    $143.00     $143.00 Proposed              $0.00 N
2 3 0 0 5 0 40005850979 5 7 9 6 8 6   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004        10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 6 8 5   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12004        10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 2 6 9 7 9 1   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.12005                   N    $133.00     $0.00    ReverseAsmtVacate $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 5 4   0 2 / 1 4 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12006                   N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005682789 2 6 9 7 9 9   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.12012        09/19/2023 N    $133.00     $133.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005682789 2 6 9 7 9 4   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.12012        09/19/2023 Y    $378.00     $378.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005850979 5 7 9 6 8 3   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12013        10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 6 7 6 0   0 2 / 2 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12019                   N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 4 8   0 2 / 1 3 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12028                   Y    $407.00     $407.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005771699 5 3 9 7 4 8   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12028                   N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005908209 5 7 9 6 8 1   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12028                   N    $143.00     $143.00 Proposed              $0.00 N
2 3 0 0 5 0 40005850979 5 7 9 6 8 4   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12028        10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 6 8 2   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12028        10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 2 6 9 7 9 0   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.12030        10/29/2023 Y    $1,253.00   $1,002.00Final Order Date     $ 8 0 0 . 0 0N
2 3 0 0 5 0 40005682789 2 6 9 7 9 5   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C / 1 0 4 ( b ) O   Regular       -/56.12030        09/19/2023 Y    $420.00     $188.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005682789 5 7 2 6 1 0   1 1 / 0 3 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.12030                   N    $133.00     $0.00    ReverseAsmtVacate $0.00 N
2 3 0 0 5 0 40005771699 5 3 6 7 4 0   0 2 / 1 4 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12030                   N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005850979 5 7 9 8 4 9   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12030        10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 5 7 2 6 0 8   1 1 / 0 3 / 2 0 2 21 0 4 ( a ) C                   Regular       -/56.12032        09/19/2023 N    $133.00     $133.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 4 3   0 2 / 1 3 / 2 0 2 31 0 4 ( d ) ( 2 ) O             Regular       -/56.12032                   Y    $5,703.00   $5,703.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 7 7 4 5 3   0 2 / 1 4 / 2 0 2 31 0 4 ( d ) ( 2 ) O             Regular       -/56.12032                   N    $5,703.00   $5,703.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 6 7 4 1   0 2 / 1 4 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12032                   N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005808599 5 3 9 7 4 4   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12032                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 6 7 4 6   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12032                   Y    $182.00     $182.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 6 7 4 9   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular       -/56.12032                   N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
                                                                                                                                                     Exhibit P-22, Page 002
                                               Appellate Case: 25-1349                             Page: 1433       Date Filed: 04/07/2025 Entry ID: 5503844
Dec 15, 2023                                                                                                                                                                                                 Page 3 of 5
                                                                                                              MINE
                                                                                                                                                                   CURR
MINE      CASE          C I T A T I O NO C C U R       TYPE OF                         ASSMT                  ACT/                        FORD            PROPOSED               LAST                  AMT      EXCESS
                                                                                                                                                    S&S            ASSMT
ID        NO            NO             DATE            ACTION                          TYPE                   STAND                       Date            ASSMT                  STATUS                PAID     HISTORY
                                                                                                                                                                   AMT
                                                                                                              VIOL
2 3 0 0 5 0 40005808599 5 3 6 7 5 2   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.12032                    N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 6 7 5 0   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.12032                    N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 6 7 4 4   0 2 / 2 2 / 2 0 2 31 0 4 ( d ) ( 2 ) O                 Regular                   -/56.12032                    N    $5,703.00   $5,703.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 5 9   0 3 / 0 1 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.12032                    Y    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 8 4 2   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.12032         10/21/2023 Y    $1,350.00   $1,350.001stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 8 4 4   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.12032         10/21/2023 Y    $407.00     $407.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 8 4 1   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.12032         10/21/2023 Y    $1,350.00   $1,350.001stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 8 5 5   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.12032         10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 4 1   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.12034                    Y    $407.00     $407.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 5 7 2 6 0 5   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                       Regular                   -/56.14100(b)                 N    $133.00     $0.00    ReverseAsmtVacate $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 5 2   0 2 / 1 4 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14100(b)                 Y    $182.00     $182.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005808599 5 3 9 7 3 5   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14100(b)                 N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 9 7 3 4   0 2 / 2 2 / 2 0 2 31 0 4 ( d ) ( 2 ) O                 Regular                   -/56.14100(d)                 N    $5,703.00   $5,703.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 3 3   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14100(c)                 N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 6 7 5 7   0 2 / 2 7 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14100(b)                 N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 5 3   0 2 / 2 7 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14100(b)                 N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 6 8 9   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14100(b)      10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 5 7 2 6 0 9   1 1 / 0 3 / 2 0 2 21 0 4 ( a ) C                       Regular                   -/56.14107(a)      09/19/2023 Y    $169.00     $169.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 3 8   0 2 / 1 3 / 2 0 2 31 0 4 ( d ) ( 2 ) O                 Regular                   -/56.14107(a)                 Y    $5,703.00   $5,703.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 7 7 4 3 9   0 2 / 1 3 / 2 0 2 31 0 4 ( d ) ( 2 ) O                 Regular                   -/56.14107(a)                 Y    $5,703.00   $5,703.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 4 3   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14107(a)                 N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 3 8   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14107(a)                 N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005808599 5 3 9 7 4 0   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14107(a)                 N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 9 7 4 9   0 2 / 2 4 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14107(a)                 N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005808599 5 3 9 7 5 5   0 2 / 2 8 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14107(a)                 Y    $182.00     $182.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 8 4 6   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14107(a)      10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 8 4 8   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14107(a)      10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005850979 5 7 9 8 5 1   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14107(a)      10/21/2023 Y    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 2 6 9 7 9 8   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                       Regular                   -/56.14112(b)      09/19/2023 N    $563.00     $200.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005682789 2 6 9 7 8 9   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                       Regular                   -/56.14112(b)      09/19/2023 N    $563.00     $200.00 Paid                  $ 2 0 0 . 0 0N
2 3 0 0 5 0 40005682789 2 6 9 7 9 2   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                       Regular                   -/56.14112(b)      09/19/2023 N    $563.00     $200.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005682789 5 7 2 6 1 2   1 1 / 0 3 / 2 0 2 21 0 4 ( d ) ( 1 ) C / 1 0 4 ( b ) O R e g u l a r             -/56.14112(b)      10/29/2023 Y    $2,648.00   $2,118.00Final Order Date     $0.00 N
2 3 0 0 5 0 40005771699 5 7 2 6 1 3   1 1 / 0 3 / 2 0 2 21 0 4 ( d ) ( 1 ) O                 Regular                   -/56.14112(b)                 Y    $2,853.00   $2,853.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005730679 5 7 7 4 3 7   0 2 / 1 3 / 2 0 2 31 0 4 ( d ) ( 2 ) O                 U n w a r r a n t a b l e -/56.14112(b)                 Y    $6,333.00   $6,333.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 7 7 4 4 9   0 2 / 1 3 / 2 0 2 31 0 4 ( d ) ( 2 ) O                 Regular                   -/56.14112(b)                 Y    $5,703.00   $5,703.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 7 7 4 4 6   0 2 / 1 3 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14112(b)                 N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 4 1   0 2 / 1 3 / 2 0 2 31 0 4 ( d ) ( 2 ) O                 Regular                   -/56.14112(b)                 Y    $5,703.00   $5,703.00Hearing Case Filed $ 0 . 0 0 N
2 3 0 0 5 0 40005771699 5 3 9 7 3 9   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14112(a)(1)              Y    $182.00     $182.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005771699 5 3 6 7 5 4   0 2 / 2 4 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14112(b)                 Y    $182.00     $182.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005908209 5 7 9 6 7 7   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14112(b)                 N    $143.00     $143.00 Proposed              $0.00 N
2 3 0 0 5 0 40005682789 5 7 2 6 0 6   1 1 / 0 3 / 2 0 2 21 0 4 ( a ) C                       Regular                   -/56.14115(b)      09/19/2023 Y    $169.00     $169.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 5 5   0 2 / 1 4 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14115(b)                 Y    $182.00     $182.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005808599 5 3 9 7 5 6   0 2 / 2 8 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.14207                    N    $143.00     $143.00 Referred to Solicitor $ 0 . 0 0 N
2 3 0 0 5 0 40005682789 5 7 2 6 1 5   1 1 / 0 3 / 2 0 2 21 0 4 ( a ) C                       Regular                   -/56.15004                    Y    $169.00     $0.00    ReverseAsmtVacate $0.00 N
2 3 0 0 5 0 40005682789 5 7 2 6 1 1   1 1 / 0 3 / 2 0 2 21 0 4 ( a ) C                       Regular                   -/56.15005         09/19/2023 Y    $1,253.00   $420.00 Final Order Date      $0.00 N
2 3 0 0 5 0 40005771699 5 7 2 1 3 6   0 1 / 0 3 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.16005                    N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005771699 5 7 7 4 5 1   0 2 / 1 4 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.16005                    N    $143.00     $143.00 Hearing Case Filed $0.00 N
2 3 0 0 5 0 40005850979 5 7 9 6 8 7   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                       Regular                   -/56.16005         10/21/2023 N    $143.00     $143.00 1stDemandPrinted $ 0 . 0 0 N
                                                                                                                                                                      Exhibit P-22, Page 003
                                              Appellate Case: 25-1349                                Page: 1434                    Date Filed: 04/07/2025 Entry ID: 5503844
Dec 15, 2023                                                                                                                                                                                    Page 4 of 5
                                                                                                         MINE
                                                                                                                                                      CURR
MINE      CASE          C I T A T I O NO C C U R        TYPE OF                          ASSMT           ACT/              FORD              PROPOSED               LAST                  AMT       EXCESS
                                                                                                                                     S&S              ASSMT
ID        NO            NO             DATE             ACTION                           TYPE            STAND             Date              ASSMT                  STATUS                PAID      HISTORY
                                                                                                                                                      AMT
                                                                                                         VIOL
2 3 0 0 5 0 40005808599 5 3 9 7 3 6   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C / 1 0 4 ( b ) O   Regular         -/56.17001                   N      $159.00      $159.00 Referred to Solicitor $ 0 . 0 0   N
2 3 0 0 5 0 40005771699 5 7 2 6 1 8   1 1 / 0 7 / 2 0 2 21 0 4 ( d ) ( 1 ) O             Regular         -/56.18002(a)                Y      $2,853.00    $2,853.00Hearing Case Filed $ 0 . 0 0     N
2 3 0 0 5 0 40005771699 5 3 9 7 6 0   0 3 / 0 1 / 2 0 2 31 0 4 ( d ) ( 2 ) O             Regular         -/56.18002(a)                Y      $5,703.00    $5,703.00Hearing Case Filed $ 0 . 0 0     N
2 3 0 0 5 0 40005682789 2 6 9 7 9 7   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C / 1 0 4 ( b ) O   Regular         -/56.20003(a)     09/19/2023 N      $420.00      $150.00 Final Order Date      $0.00       N
2 3 0 0 5 0 40005682789 5 7 2 6 0 4   1 1 / 0 2 / 2 0 2 21 0 4 ( a ) C                   Regular         -/56.20003(a)                Y      $563.00      $0.00    ReverseAsmtVacate $0.00          N
2 3 0 0 5 0 40005771699 5 7 7 4 4 4   0 2 / 1 3 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.20003(a)                N      $143.00      $143.00 Hearing Case Filed $0.00          N
2 3 0 0 5 0 40005808599 5 3 9 7 3 7   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.20003(a)                N      $143.00      $143.00 Referred to Solicitor $ 0 . 0 0   N
2 3 0 0 5 0 40005908209 5 7 9 8 4 3   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.20003(a)                Y      $407.00      $407.00 Proposed              $0.00       N
2 3 0 0 5 0 40005908209 5 7 9 6 7 8   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.20003(a)                N      $143.00      $143.00 Proposed              $0.00       N
2 3 0 0 5 0 40005850979 5 7 9 8 4 7   0 8 / 0 8 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.20003(a)     10/21/2023 N      $143.00      $143.00 1stDemandPrinted $ 0 . 0 0        N
2 3 0 0 5 0 40005850979 5 7 9 8 5 0   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                   Regular         -/56.20013        10/21/2023 N      $143.00      $143.00 1stDemandPrinted $ 0 . 0 0        N
2 3 0 0 5 0 40005850979 5 7 9 8 5 3   0 8 / 0 9 / 2 0 2 31 0 4 ( a ) C                   Regular         -/57.4601         10/21/2023 N      $143.00      $143.00 1stDemandPrinted $ 0 . 0 0        N
2 3 0 0 5 0 40005808599 5 3 9 7 4 6   0 2 / 2 2 / 2 0 2 31 0 4 ( a ) C                   Regular         -/57.12008                   N      $143.00      $143.00 Referred to Solicitor $ 0 . 0 0   N


MINE TOTALS
                                                                                                                       TOTAL                    TOTAL
                                                  NUMBER                                    NUMBER                                                                       TOTAL                    NUMBER
                                                                                                                   PROPOSED                  CURRENT
                                                       OF                                    OF PAID                                                                    AMOUNT                     OF S&S
                                                                                                                 ASSESSMENT               ASSESSMENT
                                               VIOLATIONS                                VIOLATIONS                                                                       PAID                 VIOLATIONS
                                                                                                                     AMOUNT                   AMOUNT
                TOTALS                                           129                                11             $109,942.00              $102,985.00                 $1,700.35                       41
       SINGLE PENALTY                                              0                                 0                   $0.00                    $0.00                     $0.00                        0
             REGULAR                                             127                                11             $101,209.00               $94,732.00                 $1,380.34                       39
               SPECIAL                                             2                                 0               $8,733.00                $8,253.00                   $320.01                        2



VIOLATOR TOTALS
                                                                                                                       TOTAL                    TOTAL
                                                  NUMBER                                    NUMBER                                                                       TOTAL                    NUMBER
                                                                                                                   PROPOSED                  CURRENT
                                                       OF                                    OF PAID                                                                    AMOUNT                     OF S&S
                                                                                                                 ASSESSMENT               ASSESSMENT
                                               VIOLATIONS                                VIOLATIONS                                                                       PAID                 VIOLATIONS
                                                                                                                     AMOUNT                   AMOUNT
                TOTALS                                           129                                11             $109,942.00              $102,985.00                 $1,700.35                       41
       SINGLE PENALTY                                              0                                 0                   $0.00                    $0.00                     $0.00                        0
             REGULAR                                             127                                11             $101,209.00               $94,732.00                 $1,380.34                       39
               SPECIAL                                             2                                 0               $8,733.00                $8,253.00                   $320.01                        2




                                                                                                                                                          Exhibit P-22, Page 004
                                                Appellate Case: 25-1349                            Page: 1435        Date Filed: 04/07/2025 Entry ID: 5503844
Dec 15, 2023                                                                                                                     Page 5 of 5


CONTROLLER TOTALS
                                                                   TOTAL              TOTAL
                         NUMBER            NUMBER                                                            TOTAL                NUMBER
                                                               PROPOSED            CURRENT
                              OF            OF PAID                                                         AMOUNT                 OF S&S
                                                             ASSESSMENT         ASSESSMENT
                      VIOLATIONS        VIOLATIONS                                                            PAID             VIOLATIONS
                                                                 AMOUNT             AMOUNT
             TOTALS          129                 11            $109,942.00        $102,985.00               $1,700.35                     41
    SINGLE PENALTY             0                  0                  $0.00              $0.00                   $0.00                      0
          REGULAR            127                 11            $101,209.00         $94,732.00               $1,380.34                     39
            SPECIAL            2                  0              $8,733.00          $8,253.00                 $320.01                      2




                                                                               CERTIFICATION
                                                                               I hereby certify that this is a printout of the Office of
                                                                               Assessments (OA) data contained in the MSHA database, that it
                                                                               is a regular practice of the OA to make data compilations
                                                                               of this nature; and that I am a custodian of such data and
                                                                               authorized to retrieve any data contained in the OA computer
                                                                               files.

                                                                               Carolyn D. Settles       12/15/2023
                                                                               AUTHORIZED BY            DATE




                                                                                                Exhibit P-22, Page 005
                      Appellate Case: 25-1349   Page: 1436      Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                      Page 1 of 16
                                                       MINE SAFETY AND HEALTH ADMINISTRATION
                                                              DIRECTORATE OF ASSESSMENTS

                                                    Violation, Inspection and Quarterly Information Report


Controller Information
Controller ID:       0163081
Controller Name:     Omphalos LLC
Ownership Period:    06/09/2021 -
                     2701 E. Grauwyler Rd, Bldg 1,
Street Address:
                     Dept # 38020
                                                              State    Zip
City:                           Irving                              TX              75061
                                                              :        Code:
Controller
Hours/Tonnage:
2020                            0
2021                            5299
2022                            17509
2023                            7092




Violator Information
O w n e r s h i p P e r i o d : 06/09/2021 -
Violator ID: 0177333

Mine Information
M i n e N a m e : MOSenecaMfr LLC dba American Tr
Mine ID: 2300504
D i s t r i c t : C1000 (Madisonville District)
I n d u s t r y C l a s s : Tripoli
Type of Operation: Surface
S t r e e t A d d r e s s : 222 Oneida Street
City: Seneca                                  State: MO            County: Newton           Zip Code: 64865



                                                                                                              Exhibit P-23, Page001
                                         Appellate Case: 25-1349   Page: 1437   Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                                            Page 2 of 16


Assessment Order Mailing Address
V i o l a t o r N a m e : American Tripoli
A t t e n t i o n L i n e : Russell Tidaback (Mng Partner)
S t r e e t A d d r e s s : 2701 E Grauwyler Rd Blg 1 Dept1008
C i t y : IRVING                               State: T X                Zip Code: 750613414




Assessed Violations Per Month

Calendar Year        January     February      March      April    May    June   July   August    September     October     November     December      Year Total
2020                 0           0             0          0        0      0      0      0         0             0           0            0                           0
2021                 0           0             0          0        0      0      0      0         0             0           4            1                           5
2022                 0           0             0          4        0      0      0      0         0             0           0            0                           4
2023                 0           0             0          0        0      0      0      0         0             0           0            0                           0
                                                                                                                                                    Grand Total: 9

Number of Inspection Days Per Month

Calendar Year        January     February      March      April    May    June   July   August    September     October     November     December      Year Total
2020                 0           0             0          0        0      0      0      0         0             0           0            0                           0
2021                 0           0             0          0        0      0      0      0         0             0           7            0                           7
2022                 2           0             0          4        0      0      1      0         4             0           7            0                          1 8
2023                 3           15            7          4        1      2      2      0         0             0           0            0                          3 4
                                                                                                                                                  Grand Total: 5 9
Quarterly Mine Tonnage or Hours Worked

Calendar Year          1st Quarter          2nd Quarter           3rd Quarter       4th Quarter      Daily / Empl.        Annual Hrs. / Tonnage           Intmit
2020                   0                    0                     0                 0                0                    0                                         No
2021                   0                    0                     2770              2529             3                    5299                                      No
2022                   2485                 4340                  6223              4461             10                   17509                                     No
2023                   3211                 3881                  0                 0                4                    7092                                      No




                                                                                                                      Exhibit P-23, Page002
                                   Appellate Case: 25-1349             Page: 1438       Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                      Page 3 of 16
                                                          MINE SAFETY AND HEALTH ADMINISTRATION
                                                               DIRECTORATE OF ASSESSMENTS

                                                     Violation, Inspection and Quarterly Information Report


Controller Information
Controller ID:       0129321
Controller Name:     Bruce L Anderson
Ownership Period:    09/30/2016 -
Street Address:      489
                                                               State    Zip
City:                         Seneca                                 MO            64865
                                                               :        Code:
Controller
Hours/Tonnage:
2020                          11078
2021                          2868
2022                          0
2023                          0




Violator Information
O w n e r s h i p P e r i o d : 01/01/1987 - 06/08/2021
Violator ID: L09632

Mine Information
M i n e N a m e : AMERICAN TRIPOLI INC
Mine ID: 2300504
D i s t r i c t : C1000 (Madisonville District)
I n d u s t r y C l a s s : Tripoli
Type of Operation: Surface
S t r e e t A d d r e s s : 222 Oneida Street
City: Seneca                                  State: MO           County: Newton           Zip Code: 64865




                                                                                                              Exhibit P-23, Page003
                                     Appellate Case: 25-1349       Page: 1439    Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                                              Page 4 of 16
Assessment Order Mailing Address
V i o l a t o r N a m e : American Tripoli Inc
A t t e n t i o n L i n e : Bruce Anderson (Pres/CEO)
S t r e e t A d d r e s s : P.O. BOX 489
C i t y : SENECA                               State: MO                  Zip Code: 648650489




Assessed Violations Per Month

Calendar Year        January     February      March       April    May    June   July   August    September     October     November     December       Year Total
2016                 0           0             0           0        0      0      0      0         0             1           0            0                           1
2017                 0           0             0           0        2      0      0      0         0             2           0            0                           4
2018                 0           0             0           0        2      0      0      0         0             0           0            6                           8
2019                 0           0             0           0        0      0      2      0         0             1           0            0                           3
2020                 0           0             0           0        1      0      0      0         0             1           0            0                           2
2021                 0           0             0           2        0      0      0      0         0             0           0            0                           2
                                                                                                                                                   Grand Total: 1 6 8

Number of Inspection Days Per Month

Calendar Year        January     February      March       April    May    June   July   August    September     October     November     December       Year Total
2020                 0           0             0           0        2      0      0      0         0             1           0            0                           3
2021                 0           0             0           2        0      0      0      0         0             0           0            0                           2
2022                 0           0             0           0        0      0      0      0         0             0           0            0                           0
2023                 0           0             0           0        0      0      0      0         0             0           0            0                           0
                                                                                                                                                     Grand Total: 5
Quarterly Mine Tonnage or Hours Worked

Calendar Year          1st Quarter          2nd Quarter            3rd Quarter       4th Quarter      Daily / Empl.        Annual Hrs. / Tonnage            Intmit
2020                   2755                 2185                   2571              3567             7                    11078                                      No
2021                   2868                 0                      0                 0                2                    2868                                       No
2022                   0                    0                      0                 0                0                    0                                          No
2023                   0                    0                      0                 0                0                    0                                          No




                                                                                                                       Exhibit P-23, Page004
                                   Appellate Case: 25-1349              Page: 1440       Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                      Page 5 of 16
                                                          MINE SAFETY AND HEALTH ADMINISTRATION
                                                               DIRECTORATE OF ASSESSMENTS

                                                     Violation, Inspection and Quarterly Information Report


Controller Information
Controller ID:       M02730
Controller Name:     Fording Inc
Ownership Period:    01/01/1987 - 09/29/2016
                     205 - 9th Avenue S.E., Suite
Street Address:
                     1000
                                                               State    Zip
City:                         Calgary
                                                               :        Code:
Controller
Hours/Tonnage:
2020                          14836
2021                          8655
2022                          8792
2023                          1262




Violator Information
O w n e r s h i p P e r i o d : 01/01/1987 - 06/08/2021
Violator ID: L09632

Mine Information
M i n e N a m e : AMERICAN TRIPOLI INC
Mine ID: 2300504
D i s t r i c t : C1000 (Madisonville District)
I n d u s t r y C l a s s : Tripoli
Type of Operation: Surface
S t r e e t A d d r e s s : 222 Oneida Street
City: Seneca                                  State: MO           County: Newton           Zip Code: 64865



                                                                                                              Exhibit P-23, Page005
                                     Appellate Case: 25-1349       Page: 1441    Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                                         Page 6 of 16


Assessment Order Mailing Address
V i o l a t o r N a m e : Amer i can T ri pol i I nc
A t t e n t i o n L i n e : Br uce A nd er son (Pr es /C E O )
S t r e e t A d d r e s s : P.O . B OX 4 89
C i t y : S EN ECA                                  State: MO                  Zip Code: 648650489




Assessed Violations Per Month

Calendar Year          January      February        March        April   May    June   July   August   September   October   November    December   Year Total
1993                   0            0               0            0       0      0      0      0        0           0         0           1                        1
1995                   1            0               0            0       0      1      0      0        0           1         0           0                        3
1996                   0            0               0            0       0      8      1      0        0           3         0           0                       1 2
1997                   0            0               0            0       0      0      6      0        0           10        0           0                       1 6
1998                   0            0               0            0       0      1      0      0        0           0         0           0                        1
1999                   0            0               0            0       0      9      0      1        0           0         2           0                       1 2
2000                   0            0               0            0       10     0      0      0        0           0         0           0                       1 0
2001                   0            12              0            0       4      0      0      0        0           0         0           0                       1 6
2002                   1            0               0            9       0      0      0      0        0           0         0           0                       1 0
2003                   0            3               2            0       0      0      0      0        0           0         0           0                        5
2004                   7            0               0            0       0      0      0      4        0           0         3           0                       1 4
2005                   1            0               0            0       0      0      10     0        0           0         0           5                       1 6
2006                   1            0               0            0       2      0      0      0        0           0         0           0                        3
2007                   0            3               0            0       0      0      0      0        3           0         0           0                        6
2008                   7            1               0            0       0      0      0      0        0           0         0           0                        8
2009                   0            5               0            0       0      0      0      6        1           1         0           0                       1 3
2010                   0            0               3            1       0      0      0      0        0           0         0           0                        4
2011                   2            0               0            0       0      1      0      0        0           0         0           0                        3
2012                   2            0               0            0       0      0      0      0        1           0         0           1                        4
2013                   0            0               0            2       0      0      0      0        0           1         0           0                        3
2014                   0            0               0            0       0      0      0      0        2           0         0           0                        2
2015                   0            0               3            0       0      0      1      1        0           0         0           0                        5
2016                   0            0               0            0       0      0      0      0        1           0         0           0                        1
2018                   0            0               0            0       0      0      0      0        0           0         0           0                        0
2019                   0            0               0            0       0      0      0      0        0           0         0           0                        0
2020                   0            0               0            0       0      0      0      0        0           0         0           0                        0
2021                   0            0               0            0       0      0      0      0        0           0         0           0                        0
                                                                                                                                              Grand Total: 1 6 8

Number of Inspection Days Per Month

                                                                                                                         Exhibit P-23, Page006
                                      Appellate Case: 25-1349              Page: 1442         Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                                    Page 7 of 16

Calendar Year   January   February      March      April    May   June   July   August    September     October     November     December      Year Total
2013            0         0             0          0        0     0      0      0         0             0           0            0                          0
2014            0         0             0          0        0     0      0      0         0             0           0            0                          0
2015            0         0             0          0        0     0      0      0         0             0           0            0                          0
2016            0         1             0          0        0     0      0      0         2             2           0            0                          5
                                                                                                                                            Grand Total: 5
Quarterly Mine Tonnage or Hours Worked

Calendar Year    1st Quarter         2nd Quarter           3rd Quarter      4th Quarter      Daily / Empl.        Annual Hrs. / Tonnage           Intmit
2013             3520                3649                  3567             3589             8                    14325                                     No
2014             3422                3524                  3283             3731             9                    13960                                     No
2015             3350                3683                  3123             2948             8                    13104                                     No
2016             3123                2987                  2563             2554             9                    11227                                     No




                                                                                                              Exhibit P-23, Page007
                           Appellate Case: 25-1349             Page: 1443       Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                      Page 8 of 16
                                                          MINE SAFETY AND HEALTH ADMINISTRATION
                                                               DIRECTORATE OF ASSESSMENTS

                                                     Violation, Inspection and Quarterly Information Report


Controller Information
Controller ID:       M04706
                     E M Warburg Pincus &
Controller Name:
                     Company Inc
Ownership Period:    04/30/1982 - 12/31/1986
Street Address:
                                                               State    Zip
City:
                                                               :        Code:
Controller
Hours/Tonnage:
2020                          0
2021                          0
2022                          0
2023                          0




Violator Information
O w n e r s h i p P e r i o d : 04/30/1982 - 12/31/1986
Violator ID: L05848

Mine Information
M i n e N a m e : American Tripoli Company
Mine ID: 2300504
D i s t r i c t : C1000 (Madisonville District)
I n d u s t r y C l a s s : Tripoli
Type of Operation: Surface
S t r e e t A d d r e s s : 222 Oneida Street
City: Seneca                                  State: MO           County: Newton           Zip Code: 64865



                                                                                                              Exhibit P-23, Page008
                                     Appellate Case: 25-1349       Page: 1444    Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                                            Page 9 of 16


Assessment Order Mailing Address
V i o l a t o r N a m e : American Tripoli Company
A t t e n t i o n L i n e : Alan K Bates (VP)
S t r e e t A d d r e s s : 222 Oneida
C i t y : SENECA                              State: MO                  Zip Code: 64865




Assessed Violations Per Month

Calendar Year       January     February      March       April    May    June   July   August    September     October     November     December      Year Total
1983                0           0             0           0        0      0      0      0         0             0           0            0                          0
1984                0           0             0           0        0      0      0      0         0             0           0            0                          0
1985                0           0             0           0        0      0      0      0         0             0           0            0                          0
1986                0           0             0           0        0      0      0      0         0             0           0            0                          0
                                                                                                                                                    Grand Total: 0

Number of Inspection Days Per Month

Calendar Year       January     February      March       April    May    June   July   August    September     October     November     December      Year Total
1983                0           0             0           0        0      0      0      0         0             0           0            0                          0
1984                0           0             0           0        0      0      0      0         0             0           0            0                          0
1985                0           0             0           0        0      0      0      0         0             0           0            0                          0
1986                0           0             0           0        0      0      0      0         0             0           0            0                          0
                                                                                                                                                     Grand Total:
Quarterly Mine Tonnage or Hours Worked

Calendar Year          1st Quarter         2nd Quarter            3rd Quarter       4th Quarter      Daily / Empl.        Annual Hrs. / Tonnage           Intmit
1983                   0                   0                      0                 0                0                    0                                         No
1984                   0                   0                      0                 0                0                    0                                         No
1985                   0                   0                      0                 0                0                    0                                         No
1986                   0                   0                      0                 0                0                    0                                         No




                                                                                                                      Exhibit P-23, Page009
                                  Appellate Case: 25-1349              Page: 1445       Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                     Page 10 of 16
                                                          MINE SAFETY AND HEALTH ADMINISTRATION
                                                               DIRECTORATE OF ASSESSMENTS

                                                     Violation, Inspection and Quarterly Information Report


Controller Information
Controller ID:       M01206
                     British Petroleum Company
Controller Name:
                     PLC
Ownership Period:    06/04/1981 - 04/29/1982
                     Midland Building 161
Street Address:
                     Prospect Avenue
                                                               State    Zip
City:                         Cleveland                              OH            44115
                                                               :        Code:
Controller
Hours/Tonnage:
2020                          0
2021                          0
2022                          0
2023                          0




Violator Information
O w n e r s h i p P e r i o d : 06/04/1981 - 04/29/1982
Violator ID: L05821

Mine Information
M i n e N a m e : Tripoli Mill
Mine ID: 2300504
D i s t r i c t : C1000 (Madisonville District)
I n d u s t r y C l a s s : Tripoli
Type of Operation: Surface
S t r e e t A d d r e s s : 222 Oneida Street
City: Seneca                                  State: MO           County: Newton           Zip Code: 64865


                                                                                                              Exhibit P-23, Page010
                                     Appellate Case: 25-1349       Page: 1446    Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                                              Page 11 of 16



Assessment Order Mailing Address
V i o l a t o r N a m e : Carborundum Company
A t t e n t i o n L i n e : Alan Bates (Plt Mgr)
S t r e e t A d d r e s s : P.O. BOX 489
C i t y : SENECA                                 State: MO                  Zip Code: 64865




Assessed Violations Per Month

Calendar Year         January     February      March        April    May    June   July   August    September     October     November     December      Year Total
1979                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1980                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1981                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1982                  0           0             0            0        0      0      0      0         0             0           0            0                          0
                                                                                                                                                       Grand Total: 0

Number of Inspection Days Per Month

Calendar Year         January     February      March        April    May    June   July   August    September     October     November     December      Year Total
1979                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1980                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1981                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1982                  0           0             0            0        0      0      0      0         0             0           0            0                          0
                                                                                                                                                        Grand Total:
Quarterly Mine Tonnage or Hours Worked

Calendar Year           1st Quarter          2nd Quarter             3rd Quarter       4th Quarter      Daily / Empl.        Annual Hrs. / Tonnage           Intmit
1979                    0                    0                       0                 0                0                    0                                         No
1980                    0                    0                       0                 0                0                    0                                         No
1981                    0                    0                       0                 0                0                    0                                         No
1982                    0                    0                       0                 0                0                    0                                         No




                                                                                                                         Exhibit P-23, Page011
                                    Appellate Case: 25-1349               Page: 1447       Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                     Page 12 of 16
                                                          MINE SAFETY AND HEALTH ADMINISTRATION
                                                               DIRECTORATE OF ASSESSMENTS

                                                     Violation, Inspection and Quarterly Information Report


Controller Information
Controller ID:       M00434
Controller Name:     Kennecott Copper Corp
Ownership Period:    01/01/1950 - 06/03/1981
Street Address:
                                                               State    Zip
City:
                                                               :        Code:
Controller
Hours/Tonnage:
2020                          0
2021                          0
2022                          0
2023                          0




Violator Information
O w n e r s h i p P e r i o d : 01/01/1950 - 06/03/1981
Violator ID: L01557

Mine Information
M i n e N a m e : Tripoli Mill
Mine ID: 2300504
D i s t r i c t : C1000 (Madisonville District)
I n d u s t r y C l a s s : Tripoli
Type of Operation: Surface
S t r e e t A d d r e s s : 222 Oneida Street
City: Seneca                                  State: MO           County: Newton           Zip Code: 64865




                                                                                                              Exhibit P-23, Page012
                                     Appellate Case: 25-1349       Page: 1448    Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                                              Page 13 of 16
Assessment Order Mailing Address
V i o l a t o r N a m e : Carborundum Company
A t t e n t i o n L i n e : Alan Bates (Plt Mgr)
S t r e e t A d d r e s s : P.O. BOX 489
C i t y : SENECA                                 State: MO                  Zip Code: 64865




Assessed Violations Per Month

Calendar Year         January     February      March        April    May    June   July   August    September     October     November     December      Year Total
1978                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1979                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1980                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1981                  0           0             0            0        0      0      0      0         0             0           0            0                          0
                                                                                                                                                       Grand Total: 0

Number of Inspection Days Per Month

Calendar Year         January     February      March        April    May    June   July   August    September     October     November     December      Year Total
1978                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1979                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1980                  0           0             0            0        0      0      0      0         0             0           0            0                          0
1981                  0           0             0            0        0      0      0      0         0             0           0            0                          0
                                                                                                                                                        Grand Total:
Quarterly Mine Tonnage or Hours Worked

Calendar Year           1st Quarter          2nd Quarter             3rd Quarter       4th Quarter      Daily / Empl.        Annual Hrs. / Tonnage           Intmit
1978                    0                    0                       0                 0                0                    0                                         No
1979                    0                    0                       0                 0                0                    0                                         No
1980                    0                    0                       0                 0                0                    0                                         No
1981                    0                    0                       0                 0                0                    0                                         No




                                                                                                                         Exhibit P-23, Page013
                                    Appellate Case: 25-1349               Page: 1449       Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                      Page 14 of 16
                                             MINE SAFETY AND HEALTH ADMINISTRATION
                                                      DIRECTORATE OF ASSESSMENTS

                                      Violation, Inspection and Quarterly Information Report




Mine Total Assessed Violations Per Month

Calendar Year   January   February   March    April    May   June   July   August   September   October   November    December   Year Total
1978            0         0          0        0        0     0      0      0        0           0         0           0                        0
1979            0         0          0        0        0     0      0      0        0           0         0           0                        0
1980            0         0          0        0        0     0      0      0        0           0         0           0                        0
1981            0         0          0        0        0     0      0      0        0           0         0           0                        0
1982            0         0          0        0        0     0      0      0        0           0         0           0                        0
1983            0         0          0        0        0     0      0      0        0           0         0           0                        0
1984            0         0          0        0        0     0      0      0        0           0         0           0                        0
1985            0         0          0        0        0     0      0      0        0           0         0           0                        0
1986            0         0          0        0        0     0      0      0        0           0         0           0                        0
1993            0         0          0        0        0     0      0      0        0           0         0           1                        1
1995            1         0          0        0        0     1      0      0        0           1         0           0                        3
1996            0         0          0        0        0     8      1      0        0           3         0           0                       1 2
1997            0         0          0        0        0     0      6      0        0           10        0           0                       1 6
1998            0         0          0        0        0     1      0      0        0           0         0           0                        1
1999            0         0          0        0        0     9      0      1        0           0         2           0                       1 2
2000            0         0          0        0        10    0      0      0        0           0         0           0                       1 0
2001            0         12         0        0        4     0      0      0        0           0         0           0                       1 6
2002            1         0          0        9        0     0      0      0        0           0         0           0                       1 0
2003            0         3          2        0        0     0      0      0        0           0         0           0                        5
2004            7         0          0        0        0     0      0      4        0           0         3           0                       1 4
2005            1         0          0        0        0     0      10     0        0           0         0           5                       1 6
2006            1         0          0        0        2     0      0      0        0           0         0           0                        3
2007            0         3          0        0        0     0      0      0        3           0         0           0                        6
2008            7         1          0        0        0     0      0      0        0           0         0           0                        8
2009            0         5          0        0        0     0      0      6        1           1         0           0                       1 3
2010            0         0          3        1        0     0      0      0        0           0         0           0                        4
2011            2         0          0        0        0     1      0      0        0           0         0           0                        3
2012            2         0          0        0        0     0      0      0        1           0         0           1                        4
2013            0         0          0        2        0     0      0      0        0           1         0           0                        3
2014            0         0          0        0        0     0      0      0        2           0         0           0                        2
2015            0         0          3        0        0     0      1      1        0           0         0           0                        5
2016            0         0          0        0        0     0      0      0        1           1         0           0                        2
2017            0         0          0        0        2     0      0      0        0           2         0           0                        4
2018            0         0          0        0        2     0      0      0        0           0         0           6                        8
2019            0         0          0        0        0     0      2      0        0           1         0           0                        3

                                                                                                      Exhibit P-23, Page014
                          Appellate Case: 25-1349        Page: 1450        Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                      Page 15 of 16
Calendar Year   January   February   March   April   May    June   July   August   September   October     November   December   Year Total
2020            0         0          0       0       1      0      0      0        0           1           0          0                       2
2021            0         0          0       2       0      0      0      0        0           0           4          1                       7
2022            0         0          0       4       0      0      0      0        0           0           0          0                       4
2023            0         0          0       0       0      0      0      0        0           0           0          0                       0
                                                                                                                           Grand Total: 1 2 4




                                                                                                         Exhibit P-23, Page015
                            Appellate Case: 25-1349        Page: 1451      Date Filed: 04/07/2025 Entry ID: 5503844
Aug 9, 2023                                                                                                                    Page 16 of 16
Mine Total Number of Inspection Days Per Month

Calendar Year   January   February   March   April   May   June   July   August   September   October   November    December   Year Total
1978            0         0          0       0       0     0      0      0        0           0         0           0                        0
1979            0         0          0       0       0     0      0      0        0           0         0           0                        0
1980            0         0          0       0       0     0      0      0        0           0         0           0                        0
1981            0         0          0       0       0     0      0      0        0           0         0           0                        0
1982            0         0          0       0       0     0      0      0        0           0         0           0                        0
1983            0         0          0       0       0     0      0      0        0           0         0           0                        0
1984            0         0          0       0       0     0      0      0        0           0         0           0                        0
1985            0         0          0       0       0     0      0      0        0           0         0           0                        0
1986            0         0          0       0       0     0      0      0        0           0         0           0                        0
2013            0         0          0       0       0     0      0      0        0           0         0           0                        0
2014            0         0          0       0       0     0      0      0        0           0         0           0                        0
2015            0         0          0       0       0     0      0      0        0           0         0           0                        0
2016            0         1          0       0       0     0      0      0        2           2         0           0                        5
2020            0         0          0       0       2     0      0      0        0           1         0           0                        3
2021            0         0          0       2       0     0      0      0        0           0         7           0                        9
2022            2         0          0       4       0     0      1      0        4           0         7           0                       1 8
2023            3         15         7       4       1     2      2      0        0           0         0           0                       3 4
                                                                                                                           Grand Total: 6 9




                                                                                                    Exhibit P-23, Page016
                           Appellate Case: 25-1349     Page: 1452        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
   Per the Secretary’s 30NOV2023 email request:

   •   Search for all teams chats with the words Baumann or Rob from June 1, 2022 through April 30, 2023-please
       make this additional search.




                                                                                       Exhibit P-13, Page 001
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1453       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 002
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1454   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 003
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1455   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 004
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1456   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 005
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1457   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 006
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1458   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 007
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1459   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 008
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1460   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 009
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1461   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 010
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1462   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 011
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1463   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 012
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1464   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 013
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1465   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 014
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1466   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 015
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1467   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 016
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1468   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 017
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1469   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 018
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1470   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 019
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1471   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 020
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1472   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 021
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1473   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 022
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1474   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 023
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1475   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 024
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1476   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 025
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1477   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 026
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1478   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 027
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1479   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 028
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1480   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 029
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1481   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 030
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1482   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 031
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1483   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 032
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1484   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 033
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1485   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 034
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1486   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 035
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1487   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 036
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1488   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 037
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1489   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 038
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1490   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 039
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1491   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 040
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1492   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 041
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1493   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 042
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1494   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 043
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1495   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 044
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1496   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 045
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1497   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 046
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1498   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 047
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1499   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 048
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1500   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 049
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1501   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 050
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1502   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 051
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1503   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 052
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1504   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 053
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1505   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 054
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1506   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 055
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1507   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 056
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1508   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 057
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1509   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 058
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1510   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 059
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1511   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 060
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1512   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 061
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1513   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 062
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1514   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 063
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1515   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 064
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1516   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 065
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1517   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 066
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1518   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 067
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1519   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 068
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1520   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 069
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1521   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 070
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1522   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 071
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1523   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 072
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1524   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 073
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1525   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 074
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1526   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 075
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1527   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 076
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1528   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 077
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1529   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 078
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1530   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 079
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1531   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 080
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1532   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 081
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1533   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 082
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1534   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 083
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1535   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 084
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1536   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 085
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1537   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 086
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1538   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 087
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1539   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 088
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1540   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 089
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1541   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 090
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1542   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 091
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1543   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 092
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1544   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 093
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1545   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 094
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1546   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 095
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1547   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 096
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1548   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 097
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1549   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 098
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1550   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 099
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1551   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 100
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1552   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 101
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1553   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 102
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1554   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 103
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1555   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 104
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1556   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 105
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1557   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 106
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1558   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 107
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1559   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 108
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1560   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 109
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1561   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 110
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1562   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 111
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1563   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 112
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1564   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 113
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1565   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 114
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1566   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 115
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1567   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 116
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1568   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 117
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1569   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 118
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1570   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 119
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1571   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 120
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1572   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 121
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1573   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 122
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1574   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 123
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1575   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 124
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1576   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 125
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1577   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 126
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1578   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 127
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1579   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 128
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1580   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 129
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1581   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 130
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1582   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 131
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1583   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 132
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1584   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 133
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1585   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 134
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1586   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 135
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1587   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 136
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1588   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 137
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1589   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 138
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1590   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 139
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1591   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 140
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1592   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 141
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1593   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 142
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1594   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 143
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1595   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 144
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1596   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 145
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1597   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 146
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1598   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 147
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1599   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 148
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1600   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 149
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1601   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 150
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1602   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 151
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1603   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 152
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1604   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 153
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1605   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 154
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1606   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 155
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1607   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 156
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1608   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 157
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1609   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 158
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1610   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 159
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1611   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 160
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1612   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 161
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1613   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 162
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1614   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 163
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1615   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 164
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1616   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 165
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1617   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 166
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1618   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 167
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1619   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 168
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1620   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 169
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1621   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 170
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1622   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 171
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1623   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 172
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1624   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 173
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1625   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 174
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1626   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 175
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1627   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 176
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1628   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 177
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1629   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 178
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1630   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 179
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1631   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 180
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1632   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 181
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1633   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 182
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1634   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 183
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1635   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 184
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1636   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 185
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1637   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 186
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1638   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 187
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1639   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 188
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1640   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 189
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1641   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 190
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1642   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 191
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1643   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 192
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1644   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 193
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1645   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 194
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1646   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
   •
       Produce all teams chats that Baumann participated in from February 1, 2023 through April 17, 2023—please
       send us a legible copy of the document you previously sent and confirm that is the only document you have in
       response to this. If not, send the remaining documents from this time frame.




                                                                                        Exhibit P-13, Page 195
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1647        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 196
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1648   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 197
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1649   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 198
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1650   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 199
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1651   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 200
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1652   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 201
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1653   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 202
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1654   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 203
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1655   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 204
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1656   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 205
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1657   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 206
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1658   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 207
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1659   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 208
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1660   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 209
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1661   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 210
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1662   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 211
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1663   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 212
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1664   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 213
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1665   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 214
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1666   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 215
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1667   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 216
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1668   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 217
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1669   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 218
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1670   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 219
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1671   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 220
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1672   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 221
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1673   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 222
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1674   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 223
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1675   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 224
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1676   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 225
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1677   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 226
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1678   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 227
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1679   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 228
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1680   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 229
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1681   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 230
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1682   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 231
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1683   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 232
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1684   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 233
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1685   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 234
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1686   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 235
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1687   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 236
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1688   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 237
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1689   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 238
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1690   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 239
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1691   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 240
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1692   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 241
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1693   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 242
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1694   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 243
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1695   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 244
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1696   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 245
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1697   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 246
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1698   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 247
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1699   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 248
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1700   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 249
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1701   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 250
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1702   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 251
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1703   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 252
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1704   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 253
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1705   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 254
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1706   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 255
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1707   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 256
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1708   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 257
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1709   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 258
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1710   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 259
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1711   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 260
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1712   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 261
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1713   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 262
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1714   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 263
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1715   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 264
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1716   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 265
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1717   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 266
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1718   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 267
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1719   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 268
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1720   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 269
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1721   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 270
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1722   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 271
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1723   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 272
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1724   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 273
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1725   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 274
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1726   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 275
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1727   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 276
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1728   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 277
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1729   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 278
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1730   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 279
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1731   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 280
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1732   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 281
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1733   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 282
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1734   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 283
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1735   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 284
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1736   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 285
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1737   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 286
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1738   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 287
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1739   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 288
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1740   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 289
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1741   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 290
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1742   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 291
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1743   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 292
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1744   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 293
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1745   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 294
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1746   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 295
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1747   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 296
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1748   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 297
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1749   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 298
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1750   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 299
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1751   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 300
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1752   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 301
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1753   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 302
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1754   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 303
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1755   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 304
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1756   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 305
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1757   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 306
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1758   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 307
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1759   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 308
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1760   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 309
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1761   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 310
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1762   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 311
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1763   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 312
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1764   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 313
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1765   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 314
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1766   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 315
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1767   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 316
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1768   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 317
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1769   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 318
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1770   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 319
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1771   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 320
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1772   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 321
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1773   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 322
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1774   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 323
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1775   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 324
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1776   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 325
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1777   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 326
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1778   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 327
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1779   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 328
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1780   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 329
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1781   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 330
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1782   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 331
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1783   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 332
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1784   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 333
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1785   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 334
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1786   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 335
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1787   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 336
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1788   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 337
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1789   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 338
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1790   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 339
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1791   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 340
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1792   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 341
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1793   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 342
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1794   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 343
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1795   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 344
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1796   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 345
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1797   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 346
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1798   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 347
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1799   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 348
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1800   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 349
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1801   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 350
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1802   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 351
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1803   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 352
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1804   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 353
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1805   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 354
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1806   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 355
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1807   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 356
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1808   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 357
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1809   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 358
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1810   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 359
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1811   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 360
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1812   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 361
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1813   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 362
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1814   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 363
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1815   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 364
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1816   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 365
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1817   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 366
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1818   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 367
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1819   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 368
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1820   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 369
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1821   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 370
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1822   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 371
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1823   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 372
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1824   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 373
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1825   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 374
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1826   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 375
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1827   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 376
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1828   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 377
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1829   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 378
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1830   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 379
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1831   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 380
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1832   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 381
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1833   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 382
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1834   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 383
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1835   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 384
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1836   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 385
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1837   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 386
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1838   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 387
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1839   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 388
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1840   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 389
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1841   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 390
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1842   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 391
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1843   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 392
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1844   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 393
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1845   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 394
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1846   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 395
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1847   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 396
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1848   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 397
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1849   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 398
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1850   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 399
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1851   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 400
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1852   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 401
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1853   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 402
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1854   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 403
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1855   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 404
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1856   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 405
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1857   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 406
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1858   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 407
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1859   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 408
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1860   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 409
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1861   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 410
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1862   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 411
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1863   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 412
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1864   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 413
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1865   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 414
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1866   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 415
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1867   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 416
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1868   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 417
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1869   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 418
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1870   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 419
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1871   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 420
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1872   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 421
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1873   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 422
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1874   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 423
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1875   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 424
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1876   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 425
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1877   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 426
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1878   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 427
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1879   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 428
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1880   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 429
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1881   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 430
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1882   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 431
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1883   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 432
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1884   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 433
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1885   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                                                                          Exhibit P-13, Page 434
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1886   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                          Seneca, MO 64865
                                                                                           Office (239) 829-5457

__________________________________________________________________________________________________


   •
       Produce all Teams chats from the following dates containing the following topics:



           o   July 26, 2022: Rob, Baumann, Jeff, Miguel, bolts, shut down, early, ripped, screen




                                                                                           Exhibit P-13, Page 435
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1887        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                          Seneca, MO 64865
                                                                                           Office (239) 829-5457

__________________________________________________________________________________________________




           o   July 27, 2022: Rob, Baumann, Christine, bypassing, break, early or earlier, rotating or rotated, dust
               exposure or dust, bulk bags




                                                                                           Exhibit P-13, Page 436
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1888         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 1, 2022: Rob, Baumann, replace, Christine




                                                                                 Exhibit P-13, Page 437
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1889       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                   Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                  5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                  Seneca, MO 64865
                                                                                   Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 5, 2022: Rob, Baumann, Jessie, help




                                                                                   Exhibit P-13, Page 438
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1890         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 8, 2022: Christine, Rob, Baumann, first shift, oversee, nights




                                                                                       Exhibit P-13, Page 439
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1891         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 9, 2022: Christine, Rob, Baumann, night shift, train, replace




                                                                                      Exhibit P-13, Page 440
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1892         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 16, 2022: Rob, Baumann, Christine, counsel, shutting down, letting go, earlier or early




                                                                                          Exhibit P-13, Page 441
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1893        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 25, 2022: Rob, Baumann, counsel or counseling, BOL, shipper, complaint or complain




                                                                                      Exhibit P-13, Page 442
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1894       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
          o August 31, 2022: Rob, Baumann, daily production, numbers, pounds, spreadsheet, log in




                                                                          Exhibit P-13, Page 443
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1895   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________


           o   September 3, 2022: Rob, Baumann, daily production, numbers, pounds, spreadsheet




                                                                                    Exhibit P-13, Page 444
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1896       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________


           o   September 28, 2022: Rob, Baumann, CILAS, reports




                                                                                Exhibit P-13, Page 445
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1897       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 8, 2022: Jessie, Carson, Rob, Baumann, wait or waiting, late




                                                                                      Exhibit P-13, Page 446
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1898        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 12, 2022: Rob, Baumann, Carson, maintenance, issue, mad, hard to work with, angry,
               combative




                                                                                      Exhibit P-13, Page 447
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1899        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 13, 2022: Baumann, Rob, production schedule, producing, schedule, computer, phone,
               computer work




                                                                                     Exhibit P-13, Page 448
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1900       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 17, 2022: Rob, Baumann, flow, system, operating documents, maintenance team, files




                                                                                     Exhibit P-13, Page 449
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1901       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 26, 2022: Rob, Baumann, MAC, vacuum system, spewing, dust, exhaust, shut down, DEQ




                                                                                    Exhibit P-13, Page 450
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1902      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________


           o   November 2, 2022: John, Rob, Baumann, poor attitude




                                                                                Exhibit P-13, Page 451
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1903       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________

           o   November 5, 2022: Rob, Baumann, shift, hours, scratch paper, update shifts, computer, phone




                                                                                       Exhibit P-13, Page 452
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1904       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   November 8, 2022: Rob, Baumann, shutting down, early, shut down, end of shift




                                                                                      Exhibit P-13, Page 453
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1905        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________


           o   December 1, 2022: Rob, Baumann, attentiveness, checklists, inspections, breakroom, mess or disaster or
               disgusting, production floor, circuit breaker




                                                                                       Exhibit P-13, Page 454
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1906        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                   Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                  5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                  Seneca, MO 64865
                                                                                   Office (239) 829-5457

__________________________________________________________________________________________________


           o   December 16, 2022: Rob, Baumann, production team, inform, production or produce, team members




                                                                                   Exhibit P-13, Page 455
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349       Page: 1907       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   December 26, 2022: Rob, Baumann, daily production goals, goals, daily goals, team members, complain
               or complaining, leader, tasking board




                                                                                      Exhibit P-13, Page 456
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1908        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________


           o   January 20, 2023: Rob, Baumann, Kensley, dust, blowing, DNR, sheriff, daily production, worksheet




                                                                                        Exhibit P-13, Page 457
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1909        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________


           o   January 25, 2023: Rob, Baumann, bag, inventory, John or Spears, attitude




                                                                                          Exhibit P-13, Page 458
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1910        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________


           o   February 28, 2023: Rob, Baumann, task board, paid, working, not working




                                                                                         Exhibit P-13, Page 459
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1911       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________


           o   March 20, 2023: Rob, Baumann, Snodgrass, Alex




                                                                                Exhibit P-13, Page 460
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349        Page: 1912       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________


           o   March 24, 2023: John, Spears, Rob, Baumann, stack, stacking, bags, attitude, infectious, Alex, Snodgrass,
               performance, issues




                                                                                          Exhibit P-13, Page 461
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1913        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________


           o   March 30, 2023: ATMO, safety discussion, Rob, Baumann, Jessie, tasks, enforce or enforced




                                                                                       Exhibit P-13, Page 462
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1914        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________


           o   April 5, 2023: Alex, Snodgrass, Rob, Baumann, John, Spears




                                                                                  Exhibit P-13, Page 463
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1915        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                          Seneca, MO 64865
                                                                                           Office (239) 829-5457

__________________________________________________________________________________________________

           o   April 7, 2023: Rob, Baumann, John, Spears, Jordan, Tidaback, fire, terminate, let go, letting go




                                                                                           Exhibit P-13, Page 464
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1916         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
          o April 12, 2023: Rob, Baumann, daily quotas, manage




                                                                          Exhibit P-13, Page 465
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349     Page: 1917   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   April 14, 2023: Rob, Bauman, MSHA, complaint, John, Spears, termination, production, performance,
               guidance, safety, termination letter




                                                                                      Exhibit P-13, Page 466
                                CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349         Page: 1918       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________


           o   April 16, 2023: Rob, Baumann, Keith, termination, letter, withdrawal, order




                                                                                         Exhibit P-13, Page 467
                                 CustomerService@AmericanTripoli.com
         Appellate Case: 25-1349          Page: 1919        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
                                      Home » Employe e Ha ndbook
                                  Employee 's Ha nd book Ta ble of Conte nts

   1. We lcome
   2. Ge t t ing To Know The Comp a ny
   3. Emp loyme nt Ba s ics
           1. Emp loyme nt Cont ra ct Typ e s
           2. Eq ua l Op p ort unit y Emp loyme nt
           3. Re cruit me nt a nd Se le ct ion Proce s s
                    1. Ba ckground che cks
                    2. Re fe rra ls
           4. At t e nd a nce Policy
   4. Workp la ce Policie s
           1. Confid e nt ia lit y a nd Da t a Prot e ct ion
           2. Ha ra s s me nt a nd Viole nce
                    1. Workp la ce ha ra s sme nt
                    2. Workp la ce viole nce
           3. Workp la ce Sa fe t y a nd He a lt h
                    1. Pre ve nt a t ive a ct ion
                    2. Eme rge ncy ma na ge me nt
                    3. Smoking
                    4. Drug- fre e workp la ce
           4. Exp e ns e Ap p rova l a nd Re p ort ing Policy
                    1. Purp os e of Policy
                    2. Scop e of Policy
                    3. Proce d ure
   5. As s ocia t e Cod e of Cond uct
           1. Dre s s Cod e
           2. Cyb e r Se curit y a nd Digit a l De vice s
                    1. Int e rne t us a ge
                    2. Ce ll p hone

                                                            Page 1 of 46

                                      CustomerService@AmericanTripoli.com
                                                                             Exhibit P-16, Page 001
      Appellate Case: 25-1349                Page: 1920            Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
                3. Corp ora t e e ma il
                     4. Socia l me d ia
            3. Conflict Of Int e re s t
            4. As s ocia t e Re la t ions hip s
                     1. Fra t e rniza t ion
                     2. Gift s
                     3. Emp loyme nt of re la t ive s
            5. Workp la ce Vis it ors
            6. Solicit a t ion a nd Dis t rib ut ion
   6. Comp e ns a t ion & De ve lop me nt
            1. Comp e ns a t ion St a t us
   7. De p a rt ma nt of La b or & Ind us t ria l Re la t ion.
            1. Ove rt ime
            2. Pa yroll
            3. Pe rforma nce Ma na ge me nt
                     1. How we e xpe ct ma na ge rs t o le a d a s s ocia t e s
            4. As s ocia t e Tra ining a nd De ve lop me nt
   8. Re q uire d Tra ining for ce rt a in role s :
   9. Be ne fit s And Pe rks
            1. Re t ire me nt
            2. As s ocia t e He a lt h
            3. Worke rs ’ Compe ns a t ion
            4. Work From Home
                     1. Re mot e working
            5. As s ocia t e Expe ns e s
            6. Comp a ny Ca r
            7. Pa rking
            8. Comp a ny- Is s ue d Eq uip me nt
   10. Pos it ion- Re la t e d Clot hing Allowa nce
   11. Time
            1. Working Hours
                                                           Page 2 of 46

                                     CustomerService@AmericanTripoli.com
                                                                                  Exhibit P-16, Page 002
      Appellate Case: 25-1349                     Page: 1921       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
   12. Time Clock for Hourly Emp loye e s
           1. Pa id Time Off (PTO)
           2. Holid a ys
           3. Be re a ve me nt Le a ve
           4. Jury Dut y a nd Vot in g
   13. Mis s ouri Juror Info: ht t ps :/ / www.court s.mo.gov/ p a ge .js p ?id =103118
           1. Pa re nt a l Le a ve
                    1. Pa t e rnit y a nd ma t e rnit y le a ve
   14. Le a ving The Comp a ny
           1. Progre s s ive Discip line
           2. Re s igna t ion
                    1. Tuit ion or re loca t ion re imb urse me nt
                    2. Force d re s igna t ion
           3. Te rmina t ion
           4. Re fe re nce s
                    1. Re s ource s
   15. Policy Re vis ion




                                                           Page 3 of 46

                                     CustomerService@AmericanTripoli.com
                                                                              Exhibit P-16, Page 003
     Appellate Case: 25-1349                Page: 1922            Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                             Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                            5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                            Seneca, MO 64865
                                                                             Office (239) 829-5457

__________________________________________________________________________________________________
Welcome

Hello and welcome! Thank you for joining the American Tripoli team, where we strive to emphasize
product quality, consistency, and excellent customer service. We can’t wait to see what you will
achieve with us.

This associate handbook defines who we are and how we work together. We will do everything
possible to create a fair and productive workplace, but we need your help. We’ve created this
handbook to guide you.

This handbook isn’t a contract or a guarantee of employment. It’s a collection of the expectations,
commitments, and responsibilities. Please read this associate handbook carefully and consult it
whenever you need to.



Getting To Know The Company

American Tripoli has been in business since 1869. It has been sold and changed ownership
numerous times throughout its history. The underlining purpose of the company has not changed
through all of this. The company surrounds itself in the basic concept of open-pit mining, processing,
manufacturing, advertising, selling, and distributing the product(s).

Make sure you utilize the company website to learn about the product(s) we manufacture and sell.

We are a growing company that will be using all available resources to make this company grow and
multiple in not only in gross revenue but also global market share.



Employment Basics

In this section, we explain the associate contract types and define the basic employment policies.


Employment Contract Types

Full-time associates work at least 30 hours per week or 120 hours per month on average.

Independent Contractor - common situations may arise when we need for projects of short or specific

                                              Page 4 of 46

                                CustomerService@AmericanTripoli.com
                                                                 Exhibit P-16, Page 004
      Appellate Case: 25-1349        Page: 1923      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________
duration where specialize knowledge or expertise is required or exigent circumstances such as
meeting the operational needs when an associate goes on an extended leave of absence. Part-time
associates are those who work fewer than 30 hours per week.

Full-time and part-time associates can have either temporary or indefinite duration employment
contracts. Full-time associates under an indefinite duration contract are entitled to the company’s
medical and dental benefits package after their first 90-day employment period.

We remind you that, in the U.S., employment is “at-will”. This means that you or the company may
terminate the employment relationship at any time and for any non-discriminatory reason(s).


Equal Opportunity Employment

American Tripoli is an equal opportunity employer. We don’t tolerate discrimination against protected
characteristics (gender, age, sexual orientation, race, nationality, ethnicity, religion, disability, veteran
status). We want all associates to treat others with respect and professionalism. In practice, this
means that we:
              Hire and promote people based on skills, experience or potential and try to reduce bias
               in every process (e.g. through structured interviews.)


              Make accommodations to help people with disabilities move about safely on the
               premises and use the products, services, and equipment.


              Use inclusive, diversity-sensitive language in all official documents, signs and job ads.


              Conduct diversity and communication training.

Apart from those actions, we commit to penalizing every discriminatory, offensive, or inappropriate
behavior. To do this properly, we ask you to report any discriminatory action against yourself or your
colleagues to your manager. If it is your manager, report it to their manager. The company will not
retaliate against you if you file a complaint or discrimination lawsuit. Any associate who retaliates or
discriminates will face disciplinary action.


Recruitment and Selection Process
The hiring steps might vary across roles, but we always aim for a process that is fair and effective in
hiring great people. As a Department Manager, If you are hiring for an open role, you will likely go
through these steps:
                                              Page 5 of 46

                                CustomerService@AmericanTripoli.com
                                                                     Exhibit P-16, Page 005
       Appellate Case: 25-1349         Page: 1924       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________



          I.   Identify the need for a new job opening.



         II.   Decide whether to hire externally or internally.



        III.   Review job descriptions and write a job ad.



        IV.    Get approval from Senior Management for your job ad.



         V.    Select appropriate sources (external or internal) to post your job opening.



        VI.    Decide on hiring stages and possible timeframes.



       VII.    Review resumes in the company database.



      VIII.    Source passive candidates.



        IX.    Shortlist applicants.



         X.    Screen and interview candidates.



        XI.    Run background checks and check references.



       XII.    Select the most suitable candidate.
                                                Page 6 of 46

                                CustomerService@AmericanTripoli.com
                                                                  Exhibit P-16, Page 006
      Appellate Case: 25-1349          Page: 1925      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________



      XIII.       Make an official offer.

Steps may overlap, so skip steps when appropriate. Each member of a hiring team might have
different responsibilities (e.g. recruiters source and hiring managers interview candidates.)

Throughout this process, we aim to keep candidates informed, communicate well with each other,
and give everyone an equal opportunity to work with us. Ask the recruiters for help whenever you
need to enhance candidate experience or write an inclusive job description.


Background checks


If you want to run background checks on candidates, ask the Operations Manager for guidance. This
process is sensitive, and we must always abide by laws and ensure candidates understand the
intentions. As a rule, commission a background check for finalists only. Use the contracted provider
and ensure you have your candidates’ permission.


Referrals


If you know someone who you think would be a good fit for a position at the company, feel free to
refer them. If we end up hiring your referred candidate, you are eligible for $600 referral bonus. The
associate referral rewards may be higher if we hire your referred candidate in a hard-to fill role. For
example, if we hire your referral for the position of Manager, you may receive $1200.

Additional rules for rewards:

                 Reward payout schedule is 1/3 within a month of the date we hired a referred
                  candidate. Second 1/3 at the completion of the referred candidates first 180 days of
                  employment. If Candidate quits, resigns, or is terminated for any reason before the
                  completing first 180 days of employment the second ½ reward is provided. Final 1/3 at
                  the completion of the referred candidates first 360 days of employment. If Candidate
                  quits, resigns, or is terminated for any reason before the completing first 360 days of
                  employment the second and or final 1/3 reward is provided




                                                   Page 7 of 46

                                  CustomerService@AmericanTripoli.com
                                                                      Exhibit P-16, Page 007
       Appellate Case: 25-1349              Page: 1926     Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________
              There is no cap on the number of referrals an associate can make.
              If two or more associates refer the same candidate, only the first referrer will receive
               the referral incentives.
              Candidates can only be referred once; all referrals are recorded.
              Referrers are still eligible for rewards even if a candidate is hired later for same
               position. It is the referrers responsibility to keep a record of who they refer and when.
               Any discrepancy, results go to the company.

Who can be referred?

We have two conditions for candidates who can qualify you for the rewards. They should:
              Have not applied to the company before
              Be hired as permanent full- or part-time associates (not as temporary associates or
               contractors


The company may use an online form or a platform where associates may refer candidates. You can
also reach out directly to your Manager with referrals. Generally, we encourage you to check the
open positions and consider your social networks and external networks as potential resources for
referred candidates. Keep in mind that rewards may be subject to taxation. Please contact your
Manager for more information.



Attendance Policy

Team Members’ absence/ tardiness will be assessed using a points system. This points system starts
after the first 90 days of employment. The occurrence of point 1 is forgiven, the occurrence of point 2 is a
verbal warning, the occurrence of point 3 is a “written” warning, and the occurrence of point 4 results in
termination. This point system resets every year, for example, if a Team Member started work on March
1st, their 90-day mark would be May 30th and they would begin the points system. Any points accrued
between May 30th and May 29th of the following year would drop off, and the Team Member would restart
with 0 points on May 30th that next year.
Absences count as points when they are non-approved and non-PTO. Unexpected absences still count as
points, even if the Team Member notifies their manager prior to the start of the shift. Missed work without
notification is a serious offense. More than 2 days in a row missed without giving notification will result in
immediate termination.
Tardiness over 15 minutes will be counted as 0.5 points. Leaving work early or for some time during the
day is also generally 0.5 points, but will be counted as 1 full point, if more than 2 hours of work are
                                                  Page 8 of 46

                                CustomerService@AmericanTripoli.com
                                                                     Exhibit P-16, Page 008
       Appellate Case: 25-1349            Page: 1927     Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
missed. Excessive tardiness where less than 15 minutes of work is missed can still be grounds for
termination.
If an emergency occurs, Team Members are allotted 2 emergency days per year. These are days missed
for good reason that will not count as points. The year for emergency days works the same as the year for
points, starting at the 90th day of employment.
Overtime, not to exceed 50 hours per week, may be required. If overtime is required, Team Members will
be given at least 2-day notice. Required overtime is considered working hours, and the points system will
still apply. Volunteers may be taken for overtime work that comes up without a 2-day notification.
Absences within the first 90 days of employment are more serious. More than one absence within the first
90 days may be grounds for termination, depending on the situation.



Workplace Policies

This section describes policies that apply to everyone at the company: associates, contractors,
volunteers, vendors, and stakeholders alike. These policies help us build a productive, lawful, and
pleasant workplace.


Confidentiality and Data Protection

We want to ensure that private information about clients, associates, partners, and the company is
well-protected. Examples of confidential information are:
              Associate records
              Unpublished financial information
              Data of customers/partners/vendors
              Customer lists (existing and prospective)
              Unpublished goals, forecasts and initiatives marked or unmarked


As part of the hiring process, we will ask you to sign non-compete and non-disclosure agreements
(NDAs.) We are also committed to:
              Restrict and monitor access to sensitive data.
              Develop transparent data collection procedures.
              Train associates in online privacy and security measures.
              Build secure networks to protect online data from cyberattacks.
              Unpublished goals, forecasts and initiatives marked or unmarked


                                               Page 9 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 009
      Appellate Case: 25-1349        Page: 1928       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________
We also expect you to act responsibly when handling any company internal information and treat it
all as confidential information.

You must:

              Lock or secure company information at all times.
              Make sure you view confidential information on secure devices only.
              Only disclose information to other associates when it’s necessary and authorized.
              Keep confidential documents inside the company’s premises unless it’s necessary to
               move them.
              There should be NO or absolute minimal printing of anything. Printing is ONLY allowed
               for customer shipping documents or for MSHA documentation (since they like to have a
               hard copy on each inspection).
              If you acquire a receipt from a purchase, delivery, mail, etc., scan the document into
               the system. The easiest method to do this is by using your cellphone’s camera to take a
               picture, then upload the picture straight into the respective folder in Teams or by using
               the scanner in the admin building. Once you have verified the receipt is scanned and
               stored online, throw the paper copy away.
              We do not want paper copies of anything. We want a digital copy of every document.
               We want the administration of the business to be as lean as we possibly can. We want
               all documentation stored online. 100% no paper office is the goal. This is very
               important, and we cannot stress this enough. We want the assurance that if something
               such as a flood, a fire, a tornado, or we build a new mill building we will not be lost or
               struggling to quickly break from the Seneca location.
              It is your responsibility to preserve, scan, verify and store the documentation in the
               approved file storage provided.


You must not:


              Use confidential information for your personal benefit or profit.
              Disclose confidential information to anyone outside of the company.
              Replicate confidential documents and files and store them on insecure devices.


This policy is important for the company’s legality and reputation. We will terminate any associate
who breaches the confidentiality guidelines for personal profit and seek legal recourse. We may also

                                                 Page 10 of 46

                                CustomerService@AmericanTripoli.com
                                                                     Exhibit P-16, Page 010
       Appellate Case: 25-1349         Page: 1929         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
discipline any unintentional breach of this policy depending on its frequency and seriousness. We will
terminate associates who repeatedly disregard this policy, even when they do so unintentionally.


Harassment and Violence

To build a happy and productive workplace, we need everyone to treat others well and help them feel
safe. Each of us should do the part to prevent harassment and workplace violence.


Workplace harassment


Harassment is a broad term and may include seemingly harmless actions, like gossip. We can’t
create an exhaustive list, but here are some instances that we consider harassment:
              Sabotaging someone’s work on purpose.
              Commenting derogatorily on a person’s ethnic heritage, religious beliefs, or sexual
               preference.
              Train associates in online privacy and security measures.
              Starting or spreading rumors about a person’s personal life.
              Ridiculing someone in front of others or singling them out to perform tasks unrelated to
               their job (e.g. bringing coffee) against their will.


Sexual harassment is illegal, and we will seriously investigate relevant reports. If an associate is
found guilty of sexual harassment, they will be terminated immediately.
If you’re being harassed, whether by a colleague, customer, or vendor, you can choose to talk to any
of these people:

              Offenders. If you suspect that an offender doesn’t realize they are guilty of harassment,
               you could talk to them directly to resolve the harassment. This tactic is appropriate for
               cases of minor harassment (e.g., inappropriate jokes between colleagues. It may not
               seem inappropriate to those in the conversation where it is being said but can be
               inappropriate to those overhearing the conversation).




              Your manager. If customers, vendors, or team members are involved in your claim, you
               may reach out to your manager. Your manager will assess your situation


                                               Page 11 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 011
       Appellate Case: 25-1349        Page: 1930       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________




              Senior Management. Feel free to reach out to Senior Management in any case of
               harassment no matter how minor it may seem. For your safety, Senior and may his/her
               manager if appropriate.
              Starting or spreading rumors about a person’s personal life.
              Ridiculing someone in front of others or singling them out to perform tasks unrelated to
               their job (e.g. bringing coffee) against their will.


Management as soon as possible in cases of serious harassment (e.g., sexual advances) or if your
manager is involved in your claim. Anything you disclose will remain confidential.


Workplace violence


Violence in the workplace is a serious form of harassment. It includes physical and sexual assault,
destruction of property, threats to harm a person or property and verbal and psychological abuse. We
want to avoid those incidents altogether, but we also want to be ready to respond if needed.

For this reason, we ask you to:




              Report to Senior Management if you suspect or know that someone is being violent.
               Your report will be confidential, and we will investigate the situation with discretion
              Call 911 if you witness incidents of severe physical violence (e.g., ones that involve a
               lethal weapon.) For your safety, avoid getting involved.

We will treat associates who verbally threaten others as high risk and they will receive an appropriate
penalty. If Senior Management finds that an associate commits an act of violence, we will terminate
that associate and seek to press criminal charges. Associates who damage property deliberately will
be solely responsible for paying for it.

Supporting victims:




                                                 Page 12 of 46

                                CustomerService@AmericanTripoli.com
                                                                      Exhibit P-16, Page 012
       Appellate Case: 25-1349          Page: 1931        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
To support victims of workplace violence, we may, provide victims with the lawyer’s services to help
them file lawsuits.


Get help early on :


Seek help from others early on to mitigate conflicts. For example:




              If you experience conflicts with a colleague, ask your manager for advice before
               tensions escalate. If these conflicts persist, ask Senior Management whether you could
               attend conflict resolution seminars with your colleague.




              If you are experiencing personal or work troubles, ask for help from a mental health
               professional. Check with your insurance provider to determine whether cover any
            mental health services. Your discussions will remain confidential.
The workplace is founded on mutual respect, and we won’t allow anyone to compromise this
foundation.

Workplace Safety and Health
The company is committed to creating a hazard-free workplace. To this end, we will ensure
workplace safety through preventative action and emergency management.



Preventative action
Preventative actions are any actions we take to avoid injuries or illnesses related to the workplace.
We will periodically conduct risk assessments and job hazard analyses through a workplace safety
committee to uncover health risks to associates. And we will establish preventative measures to
address risks accordingly
At a minimum, we will:



              Hold associate training sessions on safety standards and procedures



                                               Page 13 of 46

                                CustomerService@AmericanTripoli.com
                                                                  Exhibit P-16, Page 013
      Appellate Case: 25-1349        Page: 1932        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
           Make sure associates who work in dangerous locations are safe.




              Provide protective gear like gloves, protective uniforms and goggles.



              Direct inspectors and quality control associates to evaluate equipment and
               infrastructure regularly.


We also expect you to take safety seriously. Always use protective equipment and follow standards
whenever necessary. If you deliberately disregard the guidelines, we may terminate you for your own
and others’ safety.

Emergency management
Emergency management refers to the plan to deal with sudden catastrophes like fire, floods,
earthquakes, or explosions. The emergency management provisions include:
              Functional smoke alarms and sprinklers that are regularly inspected.



              Technicians (external or internal) available to repair leakages, damages, and blackouts
               quickly.



              Fire extinguishers and other fire protection equipment that are easily accessible. An
               evacuation plan posted on each floor and online.



              Fire escapes and safety exits that are clearly indicated.


Smoking
American Tripoli is a smoke-free workplace. You can smoke in designated smoking areas and outer
premises, like sidewalks. Any other area in the workplace (like restrooms, lobby, offices, staircases,
warehouses) is strictly smoke-free to protect non-smokers.

Emergency management
Emergency management refers to the plan to deal with sudden catastrophes like fire, floods,
earthquakes, or explosions. The emergency management provisions include:



                                               Page 14 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 014
       Appellate Case: 25-1349        Page: 1933       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
We also advise you to:



              Extinguish your cigarettes and discard them appropriately.



              Avoid smoking when you have scheduled meetings.



            Avoid smoking near flammable objects and areas.
Setting off fire alarms and causing fires by smoking are serious offenses. If you are found
responsible, you may face disciplinary action up to and including termination.

Drug-free workplace
American Tripoli is a drug-free workplace. Whether you are an associate, contractor, or visitor, you
must not bring, use, give away or sell any drugs on company premises. If you are caught with illegal
drugs or show that you are under the influence of substances, you will face disciplinary action up to
and including termination.
A list of prohibited drugs and substances includes, but isn’t limited to, in any form:


              Heroin .



              Cocaine



              Methamphetamine
Alcohol:
We prohibit associates from consuming alcohol during working hours, but they may consume
alcoholic drinks in moderation at company events.

Prescription drugs:
If you feel that a prescription drug (e.g. an anxiety mediation) unexpectedly affects your senses,
thinking or movement, ask for the rest of your day off. If your manager suspects substance abuse,
you may face disciplinary action.

You MUST NOT use medical marijuana in the workplace. We have the right to terminate you if your
off duty use of medical marijuana makes you unable to complete your job duties correctly.

                                               Page 15 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 015
      Appellate Case: 25-1349        Page: 1934        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
We expect associates who hold safety-sensitive jobs (e.g., machine operators or drivers) to be fully
alert and capable of always performing their duties. We may terminate you if we conclude your
prescription drug use creates severe safety risks. If you need to use prescription drugs for a limited
time and you think they may impair your abilities, use your PTO.

If your job includes secondary tasks that are safety-sensitive and your prescribed drugs affect your
ability to perform these tasks, we can make reasonable accommodations to ensure you and your
colleagues’ safety. If your job includes secondary tasks that are safety-sensitive and your prescribed
drugs affect your ability to perform these tasks, we can make reasonable accommodations to ensure
you and your colleagues’ safety.

Dealing with addiction :
Being sober is a prerequisite to thriving at the company and we want to help you as much as
possible.

We won’t tolerate substance addiction that results in violent, offensive, or inappropriate behavior.

Expense Approval and Reporting Policy
Purpose of Policy
This policy outlined applies to all employees who spend money on work-related activities. It is used
to standardize the procedure for getting pre-approval, making payments, and submitting
documentation for work-related expenses.

Scope of Policy
This policy applies to the following expense types:



              Immediate expenses necessary for daily operations.



              Procurement for non-immediate needs



              Service providers and other specific expenses



              Expenses needing reimbursement


Procedure

                                              Page 16 of 46

                                CustomerService@AmericanTripoli.com
                                                                 Exhibit P-16, Page 016
      Appellate Case: 25-1349        Page: 1935       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                            Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                           5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                           Seneca, MO 64865
                                                                            Office (239) 829-5457

__________________________________________________________________________________________________
The approval process for immediate expenses necessary for daily operations:



              Expenses under $50 may be purchased without pre-approval.



              Expenses over $50 should be submitted to the Operations Manager via Teams direct
               message for approval BEFORE purchase.



              The Operations Manager will then submit the expense request to a Managing Member.



              The Managing Member will communicate the approval or denial of the request to the
               Operations Manager, who will share it with the team member who requested the
               expense.


The approval process for non-immediate procurement needs:



              Expenses of this type require a quote from THREE DIFFERENT VENDORS.



              All vendor quotes and the selected vendor should be submitted to the Operations
               Manager via Teams..



              The Operations Manager will communicate with the Manager Member for approval of
               these expenses.



              The Operations Manager will share the approval or denial of the expense with the
               requesting team member. The Managing Member may also be a part of this
               communication..




                                             Page 17 of 46

                                CustomerService@AmericanTripoli.com
                                                                Exhibit P-16, Page 017
      Appellate Case: 25-1349        Page: 1936      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
Documentation process for all expenses once approved:



              The requestor should communicate the approved requests to the Front Desk Team
               Member who will create a PO.



              Receipts for expenses purchased via credit card, including those under $50, should be
               signed and submitted to the Front Desk Team Member within 24 hours.



              Receipts or invoices with PO numbers will be scanned or saved by the Front Desk
               Team Member and added to Teams in the appropriate folder.


Service providers and other specific expenses:



              Service providers that require payment at the time of service should be approved
               BEFORE BOOKING to ensure payment is available at that time.



              Using service providers for non-immediate needs should follow the same process as
               the other non-immediate expenses. Therefore, three quotes are needed..



              Immediate need service providers charging via invoice will be documented by the Front
               Desk Team Member.



              Non-immediate expenses of goods that cannot be purchased from more than one
               location still need approval and to follow the same process, but only one quote is
               required.


Expenses needing reimbursement:




                                              Page 18 of 46

                                CustomerService@AmericanTripoli.com
                                                                  Exhibit P-16, Page 018
       Appellate Case: 25-1349       Page: 1937       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
           Expenses needing reimbursement may include expenses purchased before receiving a
             company-issued credit card or mileage reimbursement, among other things.



              All vendor quotes and the selected vendor should be submitted to the Operations
               Manager via Teams..



              Expenses of this kind require PRE-APPROVAL, following the same approval process
               as other expenses.



              Documentation of these expenses, which must have receipts, should be documented by
               the team member responsible for the charges and submitted to the Front Desk Team
               Member for reimbursement via check once per month.


Associate Code of Conduct
As an associate, all company policies mentioned above apply to you. We have some additional
expectations about your behavior at work, which we outline here. We can’t cover every single case of
conduct, but we trust you to always use your best judgement. Reach out to your manager if you face
any issues or have any questions.

Dress Code
The company’s official dress code is casual. This includes shoulder covered t-shirts, shorts no
shorter than mid-thigh and open toed shoes (admin staff only). However, an associate’s manager
may also inform how they should dress. If you frequently meet with clients or prospects, conform to a
more formal dress code. If you work in the Mill/Plant or the Quarry you are required to wear
appropriate clothing with safety first in mind and as directed by your manager. We expect you to be
clean when coming to work and avoid wearing clothes that are unprofessional (e.g., workout clothes,
holes in clothing, tank tops, revealing or dirty, smelly clothing.) Dress code is ultimately the
responsibility of the department manager.

Cyber Security and Digital Devices
This section deals with all things digital at work. We want to set some guidelines for using computers,
phones, the internet connection, and social media to ensure security and protect the assets.

Internet usage
The corporate internet connection is primarily for business. But you can occasionally use the
connection for personal purposes as long as they don’t interfere with your job responsibilities. Also,
we expect you to temporarily halt personal activities that slow down the internet connection (e.g.,
uploading photos) if you’re asked to.
                                              Page 19 of 46

                                CustomerService@AmericanTripoli.com
                                                                 Exhibit P-16, Page 019
      Appellate Case: 25-1349        Page: 1938      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________



You MUST NOT use the internet connection to:



              Stream music or videos.



              Make or receive personal video calls.



              Send confidential information to unauthorized recipients.



              Invade another person’s privacy and gain access to sensitive information.



              Download or upload pirated movies, music, material, or software.



              Visit potentially dangerous websites that can compromise the network and computers’
               safety.



              Perform unauthorized or illegal actions, like hacking, fraud or buying/selling illegal
               goods.


Cell phone
We allow use of cell phones at work. But we also want to ensure that your devices won’t distract you
from your work or disrupt the workplace. We ask you to follow a few simple rules:
              Use your cell phone in a manner that benefits your work (business calls, productivity
               apps, calendars).



              Keep personal calls brief and use an empty meeting room or common area so as not to
               disturb your colleagues.

                                                Page 20 of 46

                                CustomerService@AmericanTripoli.com
                                                                    Exhibit P-16, Page 020
       Appellate Case: 25-1349        Page: 1939        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________



              Avoid playing games on your phone or texting excessively.



              Avoid using your phone for any reason while driving a company vehicle.



              Don’t use your phone to record confidential information.


Also, you must not use your phone in areas where cell phone use is explicitly prohibited (e.g.
laboratories, meetings, driving company vehicles, or operating company equipment.)

Corporate email
Email is essential to the work. You should use your company email primarily for work, but we allow
some uses of your company email for personal reasons.

              Work-related use. You can use your corporate email for work-related purposes without
               limitations. For example, you can sign up for newsletters and online pservices that will
               help you in your job or professional growth.




              Personal use. You can use your email for personal reasons if you keep it safe and
               avoid spamming and disclosing confidential information. For example, you can send
               emails to friends and family and download eBooks, guides, and other safe content for
             your personal use.
The general expectations
No matter how you use your corporate email, we expect you to avoid:
              Signing up for illegal, unreliable, disreputable, or suspect websites and services.



              Sending unauthorized marketing content or emails.



              Registering for a competitor’s services, unless authorized.


                                               Page 21 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 021
      Appellate Case: 25-1349         Page: 1940       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           Sending insulting or discriminatory messages and content.




           Intentionally spamming other people’s emails, including your coworkers.
In general, use strong passwords and be vigilant in catching emails that carry malware or phishing
attempts. If you are not sure that an email you received is safe, ask the IT support team.

Social media
We want to provide practical advice to prevent careless use of social media in the workplace.
We address two types of social media uses: using personal social media at work and representing
the company through social media.
Using personal social media at work
You are permitted to access your personal accounts at work. But we expect you to act responsibly,
according to the policies and ensure that you stay productive. Specifically, we ask you to:
              Discipline yourself. Avoid getting sidetracked by your social platforms.



              Ensure others know that your personal account or statements don’t represent the
               company. For example, use a disclaimer such as “opinions are my own.”



              Avoid sharing intellectual property (e.g. trademarks) or confidential information. Ask
               your manager first before you share company news that’s not officially .



              Avoid any defamatory, offensive, or derogatory content. You may violate the company’s
               anti-harassment policy if you direct such content towards colleagues, clients, or
               partners.


Representing the company through social media
If you handle the social media accounts or speak on the company’s behalf, we expect you to protect
the company’s image and reputation. Specifically, you should:



              Be respectful, polite, and patient.



              Avoid speaking on matters outside your field of expertise when possible.”
                                                Page 22 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 022
       Appellate Case: 25-1349         Page: 1941       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________



              Follow the confidentiality and data protection policies and observe laws governing
               copyrights, trademarks, plagiarism, and fair use.



              Coordinate with the Marketing department when you’re about to share any major-
               impact content.



              Avoid deleting or ignoring comments for no reason.



              Correct or remove any misleading or false content as quickly as possible
Conflict Of Interest
When you are experiencing a conflict of interest, your personal goals are no longer aligned with your
responsibilities towards us. For example, accepting a bribe may benefit you financially, but it is illegal
and against the business code of ethics. If we become aware of such behavior, you will lose your job
and may face legal trouble.

For this reason, conflicts of interest are a serious issue for all of us. We expect you to be vigilant to
spot circumstances that create conflicts of interest, either to yourself or for your direct reports. Follow
the policies and always act in the company’s best interests. Whenever possible, do not let personal
or financial interests get in the way of your job. If you are experiencing an ethical dilemma, talk to
your manager and we will try to help you resolve it.

Associate Relationships
We want to ensure that relationships between associates are appropriate and harmonious. We
outline the guidelines, and we ask you to always behave professionally.

Fraternization
Fraternization refers to dating or being friends with your colleagues. In this policy, “dating” equals
consensual romantic relationships and sexual relations. Non-consensual relationships constitute
sexual violence, and we prohibit them explicitly.
Dating colleagues
If you start dating a colleague, we expect you to maintain professionalism and keep personal
discussions outside of the workplace.

You are also obliged to respect your colleagues who date each other. We won’t tolerate sexual jokes,


                                               Page 23 of 46

                                CustomerService@AmericanTripoli.com
                                                                    Exhibit P-16, Page 023
       Appellate Case: 25-1349        Page: 1942       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
malicious gossip, and improper comments. If you witness this kind of behavior, please report it your
Manager or Senior Management.
Dating managers
To avoid accusations of favoritism, abuse of authority and sexual harassment, supervisors must not
date their direct reports. This restriction extends to every manager above an associate.

Also, if you act as a hiring manager, you aren’t allowed to hire your partner to your team. You can
refer them for employment to other teams or departments where you don’t have any managerial or
hiring authority.
Friendships at work
Associates who work together may naturally form friendships either in or outside of the workplace.
We encourage this relationship between peers, as it can help you communicate and collaborate. But
we expect you to focus on your work and keep personal disputes outside of the workplace.
Gifts
Nothing valued at more than $25 from a customer, vendor, or other third party can be accepted by an
associate. Gifts are allowed but “significantly expensive ones, greater than $25” must be reported to
HR. Guidelines say no gifts can be solicited, and only gifts of minimal value can be accepted.

Employment of relatives
Everyone in the company should be hired, recognized, or promoted because of their skills, character,
and work ethic. We would not like to see phenomena of nepotism, favoritism, or conflicts of interest,
so we place some restrictions on hiring associates’ relatives.
To the company, a “relative” is related by blood or marriage within the third degree to an associate.
This includes parents, grandparents, in-laws, spouses or domestic partners, children, grandchildren,
siblings, uncles, aunts, nieces, nephews, stepparents, stepchildren and adopted children.
As an associate, you can refer your relatives to work with the company. Here are the only
restrictions:



              You must not be involved in a supervisory/reporting relationship with a relative.



              You cannot be transferred, promoted, or hired inside a reporting relationship with a
               relative.



              You cannot be part of a hiring committee, when your relative is interviewed for that
               position.


                                               Page 24 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 024
       Appellate Case: 25-1349        Page: 1943       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
If you become related to a manager or direct report after you both become employed by the
company, we may have to transfer one of you or transfer report responsibility.

Workplace Visitors
If you want to invite a visitor to the offices, please ask for permission from your manager first. Your
manager will need to notify the Operations Manager. Also, inform the front office/reception area of
your visitor’s arrival. Visitors are required to sign in and show identification. You will be asked to
return your visitors to front office and have them sign out once their visit is complete.
When you have office visitors, you also have responsibilities. You will be responsible for:


              Always tend to your visitors, especially when they are underage, Never leave a visitor
               unattended, anywhere on company property, inside or outside the building




              Keep your visitors away from areas where there are dangerous machines, chemicals,
               confidential records, or sensitive equipment.




              Prevent your visitors from proselytizing your colleagues, gathering donations, or
               requesting participation in non-company related activities while on the premises.


Anyone who delivers orders, mail or packages for associates should remain at the admin building’s
reception area. If you are expecting a delivery, the front office will notify you so you may collect it.

Solicitation and Distribution
Solicitation is any form of requesting money, support or participation for products, groups,
organizations or causes which are unrelated to the company (e.g. religious proselytism, asking for
petition signatures.) Distribution means disseminating literature or material for commercial or political
purposes.
We don’t allow solicitation and distribution by non-associates in the workplace. As an associate, you
may solicit from your colleagues only when you want to:



              Ask colleagues to help organize events for another associate (e.g., adoption/birth of a
               child, promotion, retiring).

                                               Page 25 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 025
      Appellate Case: 25-1349        Page: 1944        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________



               Seek support for a cause, charity or fundraising event sponsored, funded, organized, or
                authorized by the company.



              Invite colleagues to associate activities for an authorized non-business purpose (e.g.,
               recreation, volunteering.)
In all cases, we ask that you do not disturb or distract colleagues from their work.

Compensation & Development
In this section, we outline the guidelines for compensating associates according to their employment
status. We also describe the performance management and associate development policies.

Compensation Status
De pa rt ma n t of La bor & Indus t ria l Re la t ion.
General for further details.


There are two types of associates under FLSA guidelines:




               Non-exempt associates, who are covered by the FLSA’s minimum wage and overtime
                provisions.




               Exempt associates, who aren’t covered by the FLSA because they meet three
                exemption criteria: (a) they are paid at least $23,600 per year ($455 per week), (b) they
                are paid on a salary basis, and (c) they perform exempt job duties ("executive,"
                "professional" and "administrative.") Most associates must meet all three criteria to be
                exempt.


If you are unsure as to whether you should be exempt or not, please ask your manager to clarify your
status.
The FLSA excludes some types of jobs (e.g. railroad workers, truck drivers) because they are
covered by other federal laws. Some other workers, like outside salespeople, are excluded. Feel free
to ask your manager for clarifications any time.
                                                         Page 26 of 46

                                   CustomerService@AmericanTripoli.com
                                                                           Exhibit P-16, Page 026
       Appellate Case: 25-1349              Page: 1945           Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
Overtime
Occasionally, we may need you to work more than your regular working hours. The US Fair Labor
Standards Act (FLSA) states unless exempt, employees must receive overtime (OT) pay for hours
worked over 40 in a workweek at a rate not less than time and one-half their regular rates of pay.

It is a supervisory responsibility to justify and reduce costs everywhere possible. Therefore, it is at
the supervisor’s discretion to offer the opportunity for an associate to work for overtime pay. The
supervisor should be managing the workload across the team members to avoid burnout.

No overtime is automatically authorized. Any requested overtime is required to get written prior
approval with both the requesting department manager and senior management signatures. Any
department manager submitting a timesheet with OT on it will need to provide the admin office team
with the signed authorized OT letter.

If you are an exempt associate, you are not entitled to overtime pay by federal law. If an exempt
associate must work overtime, we will set a cap for overtime hours at 10 hours per week to prevent
overworking and burnout.

If you are a non-exempt associate, you are entitled to overtime pay of one and a half times your
wage. Please record your overtime hours accurately, so we can calculate your pay correctly. We also
ask you to work overtime only after its authorized by your supervisor to make the record-keeping
easier.

Am I an exempt employee? In summary, to be an exempt employee must (a) be paid at least
$23,600 per year, and (b) be paid on a salary basis, and also (c) perform exempt job duties. These
requirements are outlined in the FLSA Regulations (promulgated by the U.S. Department of Labor).

Payroll
For hourly and salary associates, wages are paid biweekly by direct deposit. Please notify your
manager if your banking information has changed.

Performance Management
We have built the performance management practices to:



              Ensure you understand your job responsibilities and have specific goals to meet.



              Provide you with actionable and timely feedback on your work.



                                               Page 27 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 027
       Appellate Case: 25-1349        Page: 1946       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
           Invest in development opportunities that help you grow professionally.




              Recognize and reward your work in financial or non-financial ways (e.g. associate
               awards.)


To meet these objectives, we have:




              Established quarterly performance reviews. During these reviews, your manager will fill
               out your performance report and arrange a one-on-one meeting with you to discuss it.
               Through these discussions, managers aim to recognize associates who are good at
               their jobs, identify areas of improvement and talk about career moves. Pay increases or
               bonuses are not guaranteed. But we encourage managers to recommend rewards for
               their team members when they deserve them. There won’t be any forced ranking or
               other comparison between associates, as the goal is to help all associates improve and
               develop their careers.




              All managers have been instructed to meet with their team members once per month to
               provide feedback and talk about their work and motivations. These usually are informal
               and unscheduled. This way, you can receive feedback in a timely manner and avoid
               surprises during your quarterly performance preview. If an associate feels that they
               need feedback they should ask their manager for additional feedback.


How we expect managers to lead associates
If you manage a team, you are responsible for your team members’ performance. To conduct
effective regular meetings and performance evaluations, we expect you to:




              Set clear objectives. Your team members should know what you expect of them.
               When you first hire someone to your team, ensure they understand their job duties. Set
                                              Page 28 of 46

                                CustomerService@AmericanTripoli.com
                                                                  Exhibit P-16, Page 028
       Appellate Case: 25-1349          Page: 1947    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                             Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                            5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                            Seneca, MO 64865
                                                                             Office (239) 829-5457

__________________________________________________________________________________________________
               specific goals for each team member (and team-wide if applicable.) Revisit those goals
               during quarterly performance reviews.




              Provide useful feedback. During scheduled meetings with your team members, give
               them both guidance and praise, as appropriate. Be fair and specific to help them
               understand and implement your feedback.




              Keep your team members involved. There should be two-way communication
               between you and your team. Make your expectations clear, but always take your team
               members’ motivations and aspirations into account. Discuss training and development
               opportunities that may interest your team members.




              Keep detailed online notes with important incidents about each one of your team
               members. These notes help you evaluate your team, but may also prove useful when
               rewarding, promoting, or terminating your team members.


Associate Training and Development
We owe the success to the associate’s. To show the gratitude, we want to invest in the associate’s
professional development. We want associates to feel confident about improving their efficiency and
productivity. We also want to help the associates achieve personal growth and success.

We will match up to $500 annually for each associate to spend on educational activities or material.
Talk with your manager about this as the educational activity or material must be beneficial to your
position and/or development plan. E.g., if you are a quarry associate it would not be beneficial for
your position to be requesting history or art classes.
Apart from online courses, we offer these training opportunities:



              Formal training sessions


                                              Page 29 of 46

                                CustomerService@AmericanTripoli.com
                                                                 Exhibit P-16, Page 029
      Appellate Case: 25-1349        Page: 1948        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________



               Associate coaching and mentoring.



               Seats at industry conferences.



               On-the-job training



               Job shadowing



               Job rotation


Development is a collective process. Team members and managers should regularly discuss
learning needs and opportunities. And it is your managers responsibility to facilitate any development
activities and processes.

Required Training for certain roles:
MSHA CFR 30 Pa rt 48 (b ) Tra ining a nd Re t ra ining o f Mine rs

Benefits And Perks
In this section, we describe what we offer to the associates. We provide information on the health
insurance plans and benefits like work from home options and company issued equipment.

Retirement
The company wants to help you invest in your future as you grow with the company. You can join the
American Tripoli 401(k) plan once you work 90 days during a 12 month period with the company.
Additionally, the company offers employer matching on your 401(k) contributions up to 5%. The
company will make a matching contribution in an amount equal to a percentage of your salary
deferrals, the specified matching percentage for the corresponding level of your salary deferrals as
shown in the following table. However, any salary deferrals that are "catch-up contributions" will not
be matched. Please speak with your manager about enrolling in the 401(k) plan or scheduling time
with our plan administrator to discuss how much to contribute or how to invest.




                                                      Page 30 of 46

                                   CustomerService@AmericanTripoli.com
                                                                         Exhibit P-16, Page 030
       Appellate Case: 25-1349             Page: 1949          Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________


                                    Salary Deferral Tier                                                              Match




                                           First 4




                                           Next 2



Associate Health
American Tripoli offers medical and dental insurance. Eligible employees may participate in either
plan or both plans subject to all terms and conditions of the agreement between American Tripoli and
the insurance carrier. A change in employment classification that would result in loss of eligibility to
participate in the plan(s) may qualify an employee for benefits continuation under the Consolidated
Omnibus Budget Reconciliation Act (COBRA).
De nt a l Pla n – Mut ua l o f Oma ha


Me d ica l Pla n – Ant he m


American Tripoli currently offers the following insurance premium coverage. This is for the total
premiums, not for each insurance premium. For additional questions about the insurance package,
talk with your manager.


                                        Contribution                                               Single Coverage




                              Employer Premium Contribution                                              83%




                                    Employee Premium                                                     17%


You must submit your insurance enrollment form(s) for before your 90th day of employment with
American Tripoli to join the insurance plans. Once you have reached your 90th day, your insurance
should become effective on that date, unless notified otherwise. Failure to submit the appropriate

                                                           Page 31 of 46

                                    CustomerService@AmericanTripoli.com
                                                                              Exhibit P-16, Page 031
         Appellate Case: 25-1349               Page: 1950           Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
forms before your 90th day will require you to wait until the open enrollment period to enroll on the
insurance plans.
If you need health insurance before your 90th day or need it before the open enrollment period,
please contact Natalie Miller, Natalie.Miller@HealthMarkets.com, (816) 868-6350. She will be able to
discuss individual plan options available to you.
American Tripoli will annually review employee/employer contributions against the Kaiser Family
Foundation Employer Health Benefits Report 1 for the physical year to provide employees the best
benefits.

Workers’ Compensation
We strive to keep the workplace safe, but accidents may happen occasionally. Associates who are
injured at work can receive wage replacement, medical care, and rehabilitation benefits according to
workers’ compensation laws, when appropriate. Please inform your manager of your injury as soon
as possible. Ask your manager for forms that you need to file a claim or contact your state agency for
workers’ compensation.

The company has a workers’ compensation policy according to guidelines of the state of Missouri.

Work From Home
If your position doesn’t require you to be present at the premises, you can occasionally work from
home (WFH). We normally allow one day per week, with manager approval. If you need to
telecommute for more days per week, talk to your manager.

Please inform your manager that you want to work from home at least one week in advance. You can
also set a recurring WFH day per week. If there’s a rare emergency, you may work from home
without having received prior approval but call or email your manager as soon as possible.

When you are working from home, please use an internet connection and devices that are fast and
secure. Choose a place without loud noises or distractions. And check in with your manager
frequently to make collaboration easier.

If there is inclement weather (e.g., a blizzard) please check your Teams account to see if the office is
officially closed. If you judge that your commute during inclement weather is dangerous, let your
manager know. We will not force you to come to work if your safety is at stake or if there is an official
travel warning.

Remote working
Remote working refers to working from a non-office location on a temporary or permanent basis.

If you’re an office-based associate, you may work remotely for a maximum of two consecutive weeks
per year. You may arrange this if you are a new parent or suffer from a short-term disability. If you
have another reason, talk to your manager. Submit your remote working requests through your
                                             Page 32 of 46

                                CustomerService@AmericanTripoli.com
                                                                  Exhibit P-16, Page 032
       Appellate Case: 25-1349       Page: 1951       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                                        Seneca, MO 64865
                                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
manager at least one week in advance.

If you’re an office-based associate, you may work remotely for a maximum of two consecutive weeks
per year. You may arrange this if you are a new parent or suffer from a short-term disability. If you
have another reason, talk to your manager. Submit your remote working requests through your
manager at least one week in advance.

If you work remotely permanently, we ask that you adhere to the security, confidentiality, and equal
opportunity policies just like your office-based colleagues.

Associate Expenses
There are some expenses that we will pay directly on your behalf (e.g., hotel rooms for work-related
travel.) But we ask you to keep track and report on those reimbursable expenses that you pay
yourself. We reimburse associate expenses that are related to:



                 Business travel



                 Relocation



                 Education and training



                 Upon approval, outings with business partners or colleagues



                 We use the General Services Administration (GSA) per diem rates, excluding
                  incidentals.


To re vie w ra t e s : ht t p s :/ / www.gs a .gov/ t ra ve l/ p la n- b oo k/ p e r- d ie m- ra t e s



Not all travel expenses are reimbursable. For example, we will pay for your transportation to an
airport for work-related travel, but not to a museum for a personal visit. Before traveling for business,
ask your manager to clarify which expenses are reimbursable within your trip.


                                                             Page 33 of 46

                                       CustomerService@AmericanTripoli.com
                                                                                       Exhibit P-16, Page 033
        Appellate Case: 25-1349                  Page: 1952            Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________
Please keep an online copy of receipts for all reimbursable expenses. You can submit them to your
manager within 5 business days after the date of each expense. If your manager approves your
expenses, you will receive your reimbursement within two pay periods by check.
Remote working refers to working from a non-office location on a temporary or permanent basis.

If you’re an office-based associate, you may work remotely for a maximum of two consecutive weeks
per year. You may arrange this if you are a new parent or suffer from a short-term disability. If you
have another reason, talk to your manager. Submit your remote working requests through your
manager at least one week in advance.

If you work remotely permanently, we ask that you adhere to the security, confidentiality, and equal
opportunity policies just like your office-based colleagues.

Company Car
You may drive a company car if you:



              Need it as an indispensable part of your job (e.g., truck drivers and delivery drivers).



              Receive it as a benefit attached to your position.


Either way, your car belongs to the company. You may use your company vehicle for personal
reasons as the policy permits. You will get reimbursed only for approved, business-related expenses.

To get a company car, you should have a valid driver’s license and a clean driving record for at least
two years. Drive safe and sober and respect traffic laws and fellow motorists. You should also check
your car regularly to ensure gas, tire pressure and all car fluids are at appropriate levels.

We expect you to avoid:



              Smoking in a company vehicle.



              Leasing, selling or lending a company car.




                                               Page 34 of 46

                                CustomerService@AmericanTripoli.com
                                                                    Exhibit P-16, Page 034
       Appellate Case: 25-1349        Page: 1953       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
           Using a company car to teach someone how to drive.




              Leaving your company car unlocked, unattended or parked in dangerous areas.



              Allowing unauthorized people to drive a company car unless an emergency mandates
               it.


On the part, we will ensure that the cars are safe and in good condition, as well as appropriately
insured.

Accidents

If you are involved in an accident with a company car, contact your manager immediately, so we can
get in touch with the insurance provider. You shouldn’t accept responsibility or guarantee payment to
another person.

Follow this policy’s guidelines to avoid disciplinary action. For minor offenses, like allowing
unauthorized people to drive a company car, we will reprimand you or reclaim your car. But for more
serious offenses, like causing an accident while intoxicated, we may terminate you.

Parking
We will prioritize parking spaces on a first-come, first-served basis. If you want to receive a reserved
parking spot, file your request with your manager to start the approval process.

We expect you to keep the parking lot clean and not park in assigned spaces. Please behave
responsibly to avoid causing damage, injury, or loss of property.

We will not assume any liability for theft, vandalism, fire, or damage regarding an associate’s vehicle
in the parking lot.

Company-Issued Equipment
As an associate, you may receive a company cell phone, a laptop, or other device. Unless otherwise
mentioned in your contract, any equipment we offer belongs to the company and you may not sell it
or give it away. You are also responsible for keeping the equipment safe and in as good condition as
possible. If your equipment breaks or malfunctions, let your manager know so they can arrange to
get it repaired.

If you are part of the corporate cell phone plan, please use your phone within the plan’s restraints.
You may have to pay any extra charges yourself.
                                              Page 35 of 46

                                CustomerService@AmericanTripoli.com
                                                                  Exhibit P-16, Page 035
      Appellate Case: 25-1349        Page: 1954       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________

Theft and damage of company equipment

The equipment is insured for theft and damage. We ask you to inform us within 24 hours if your
equipment is stolen or damaged. We might be able to trace stolen laptops and cell phones. Please
also file a theft statement (affidavit) with the police and submit a copy to us.



Security of company issued devices

We advise you to keep your company-issued computer, tablet, and cell phone secure. You can do
this if you:



              Keep all devices password protected.



              Ensure you do not leave your devices unattended.



              Install security updates for browsers and other systems as soon as updates are
               available.



              Log into company accounts and systems through secure and private networks only.



              Follow all instructions for disk encryption, anti-malware protection and password
               management that you received along with your equipment.


Position-Related Clothing Allowance
If an associate is a quarry or mill associate, they are required to wear steel toe boots while working.
We want to ensure they have the appropriate high quality protective footwear for their position. Per
OSHA rule 1917.96 - Payment for protective equipment, An employer is not required to pay for non-
specialty safety-toe protective footwear (including steel-toe shoes or steel-toe boots) and non-
specialty prescription safety eyewear, provided that the employer permits such items to be worn off
the job-site.


                                              Page 36 of 46

                                CustomerService@AmericanTripoli.com
                                                                 Exhibit P-16, Page 036
     Appellate Case: 25-1349         Page: 1955       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                             Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                            5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                            Seneca, MO 64865
                                                                             Office (239) 829-5457

__________________________________________________________________________________________________
With this regulation noted, the company will reimburse the associate for one pair of boots up to
$200.00 annually. The only brand of reimbursed steel-toe boots is Red Wings, no exceptions unless
prescribed by a doctor and get this prescription gets preapproved by their manager.

Once the associate signs the steel-toe boot reimbursement agreement they will be required to not
wear these boots home or leave the worksite with them. If the associate decides to wear the boots
home, they are forfeiting the reimbursement agreement and will not be allowed to participate in the
reimbursement program at any future date. This is an annual agreement. The agreement states the
associate is responsible for the care and security of his/her work boots. Lockable storage lockers are
provided in the Mill and the Maintenance shop; the associate will need to provide the lock.

After your 90-day probationary period, you will receive a digital voucher to present at the Red Wing
store. If the associate resigns or is terminated prior to the annual agreement completion date the
reimbursement will be prorated over the 12 month period and the remaining balance will be withheld
from the associates last paycheck. If you need to purchase boots before your 90th day and wish to
be reimbursed, submit your Red Wing boot purchase receipt to the Safety Manager. After your 90th
day, the Safety Manager will submit your receipt to the finance department for reimbursement on
your following paycheck for up to the reimbursable limit.

Time
Working Hours
The company operates between 8:00 a.m to 4:30 p.m on Monday through Friday. We try our best to
not work evenings or weekends.
Some departments may work after hours(e.g., customer support, shipping, marketing). If you work in
these departments, you will follow a shift schedule as needed.

Time Clock for Hourly Employees
Hourly employee are required to clock in and clock out for their shifts and lunch break. Here are the
instructions listed in the picture below.




                                             Page 37 of 46

                                CustomerService@AmericanTripoli.com
                                                                Exhibit P-16, Page 037
      Appellate Case: 25-1349        Page: 1956      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




Paid Time Off (PTO)
                                            Page 38 of 46

                                CustomerService@AmericanTripoli.com
                                                             Exhibit P-16, Page 038
     Appellate Case: 25-1349         Page: 1957    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________
PTO means just that, paid/personal time off. PTO accrual begins on your 90th day of employment,
after the probationary period. Your PTO will increase on your work anniversary based on the
corresponding years described below.


                             Years of Service                             0-3 *              4-10               11-20




                    Hours Accumulated Per Pay Period                       3.08              4.62               6.15




                         Maximum Hours Allowed                             80                 120               160




                         Maximum Days Allowed                              10                 15                 20


*PTO accrual begins on 90th day of employment, after probationary period.
We highly encourage every associate to use earned PTO as they see fit throughout the year. PTO is
accrued per pay period. Associates and their manager are responsible to ensure they successfully
utilize the associates' PTO throughout the year and not all at once or all at the end of the year.
Associates cannot transfer any remaining PTO to the next year. There is no cash out of unused PTO.
It is a use-or-lose policy.

If an associate leaves the company, any unused accrued PTO will be pro-rated and the company
may compensate accrued PTO to associates who were not terminated for cause. Missouri state law
does not require payment of earned PTO time at the time of termination. It is at the company's
discretion to provide vacation pay, holiday pay, or severance pay benefits.

We advise every associate to properly utilize their earned PTO. Everyone will abide by the Handbook
PTO allotment.
To request time off, please submit a request to your manager via the Shifts app in your Microsoft
Teams mobile or desktop app. Click he re fo r t he ins t ruct io ns


Working Remotely vs PTO
Some positions have the capability to work remotely. Remote work is approved at the senior
managers' discretion.

                                                  Page 39 of 46

                                 CustomerService@AmericanTripoli.com
                                                                      Exhibit P-16, Page 039
        Appellate Case: 25-1349            Page: 1958       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                          Seneca, MO 64865
                                                                           Office (239) 829-5457

__________________________________________________________________________________________________

A couple of questions the senior manager will need to be answered first would be:
When and how many business days are you planning on being away from the office?
What is the Operations/Mill/Quarry department schedule for that timeframe?
Are all issues and processes foreseeably covered?
Are you going to be “remote working” or taking PTO?

Holidays
The company observes the following holidays:



              New Year’s Day



              Memorial Day



              Independence Day



              Labor Day



              Veterans Day



              Thanksgiving Day



              Day before or Day after Thanksgiving depending on where the long weekend falls



              Christmas Eve



              Christmas Day
                                             Page 40 of 46

                                CustomerService@AmericanTripoli.com
                                                              Exhibit P-16, Page 040
     Appellate Case: 25-1349         Page: 1959     Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________


If you want to observe a religious holiday that isn’t included in the list, we may allow you to take
unpaid time off for that day. Or you may use your PTO. Coordinate the approval through your
manager.

Holiday pay



              Exempt associates are entitled to their normal compensation without any deductions.



              Permanent, non-exempt associates may receive their regular hour rate for their normal
               workday hours as a benefit after they have worked with us for more than 90 days.


Working on a holiday

These holidays are considered “off-days” for most associates. [Managers] If you need a team
member to work on a holiday, inform them at least three days in advance.

Holiday pay rate is 1.5 times regular hour rate for hourly associates. We will not count hours you
worked on a holiday to decide whether you are entitled to overtime pay.

Bereavement Leave
Losing a loved one is traumatizing. If this happens to you while you work with us, we want to support
you and give you time to cope and mourn.

For this reason, we offer three days of paid bereavement leave. You may take your
bereavement leave on consecutive days to:



              Arrange a funeral or memorial service.



              Attend a funeral or memorial service.



              Resolve matters of inheritance.


                                                 Page 41 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 041
      Appellate Case: 25-1349        Page: 1960          Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________
           Fulfill other family obligations.




               Mourn


If you must travel long-distance for a funeral or service, you can take two additional unpaid days off.
If you require more time, please use your PTO.

Jury Duty and Voting
As an exempt associate, if you are called for Jury Duty, you can take one day off without deduction
from your salary. Anything beyond one day should be through PTO or unpaid leave.

As an hourly associate, at the discretion of your manager, if you are called for Jury Duty, if Jury duty
is less than 4 hours and you were able to put in 4 hours of work that day, you will be paid for the full
8-hour day. If you are not able to put in 4 hours of work that day, due to Jury duty and all full days
missed should be considered unpaid leave or at managers discretion, use of PTO.

To keep good records, all associates need to provide the company a copy of your summons for jury
duty and a document that proves you served.

One election day, Managers will try to schedule the workload for the day to end one hour early so
everyone has the opportunity to vote. If you need to travel a distance greater than one hour to vote,
request to use your PTO.



Mis s ouri Juror Info: ht t p s :/ / www.court s .mo .gov/ p a ge .js p ?id =10 3118
Parental Leave
Paternity and maternity leave
The company does not offer paid maternity and paternity leave. We ask you to be proactive in your
use of PTO. If timing of end of year PTO carry over becomes an issue, please discuss with your
manager.

If you are about to be a new mother or father (either through childbirth or adoption), talk with your
manager to arrange your leave. Please give at least three months’ notice before your leave begins.

If you suffer complications during childbirth or have other issues, you can ask for an unpaid leave
extension of up to two months. Contact your manager as soon as possible to arrange this.

Leaving The Company

                                                      Page 42 of 46

                                  CustomerService@AmericanTripoli.com
                                                                            Exhibit P-16, Page 042
      Appellate Case: 25-1349             Page: 1961          Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
In this section, we describe the procedures regarding resignation and termination of the associates.
We also refer to the progressive discipline process that may sometimes result in termination.

We remind you that in the U.S. employment is “at-will.” This means that you or the company may
terminate the employment relationship at any time and for any non-discriminatory reason.

Progressive Discipline
The progressive discipline process has three steps of increasing severity. These steps are:

Here we outline steps we will take to address associate misconduct. We want to give associates a
chance to correct their behavior when possible and assist them in doing so. We also want to ensure
that we thoroughly investigate and handle serious offenses.



          i.   Verbal warning



         ii.   Formal meeting with supervisor and written reprimand



        iii.   Termination


If you manage associates, inform them when you launch a progressive discipline process. Be direct
that you are giving them a verbal warning reprimand. Pointing out a performance issue is not
necessarily a verbal warning and may be part of your regular feedback. If you judge that progressive
discipline is appropriate, let your team member know and ask your manager to help you explain the
full procedure.

Managers may skip or repeat steps at their discretion. The company may treat circumstances
differently from that described in this policy. But we are always obliged to act fairly and lawfully and
document every stage of the progressive discipline process.

Keep in mind that the company isn’t obliged to follow the steps of the progressive discipline process.
As you are employed “at-will” in the U.S, we may terminate you directly without launching a
progressive discipline process. For serious offenses (e.g., sexual harassment), we may terminate
you without warning.

Resignation
You resign when you voluntarily inform your manager that you will stop working for the company. We
also consider you resigned if you don’t come to work for two consecutive days without notice.

                                               Page 43 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 043
      Appellate Case: 25-1349        Page: 1962        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________

You are not obliged to give us advance notice before resigning. But, for efficiency’s sake, and to
make sure the workplace runs smoothly, we ask that you give at least two weeks’ notice, if possible.
If you hold a highly specialized or managerial position, we ask that you give us at least a month’s
notice, when possible.

We accept verbal resignations, but we prefer that you submit a written and signed notice of
resignation for the HR records. We will reply with an acceptance of resignation letter within two days.
Whether you want to announce your resignation to your team is up to you, but we encourage you to
be open. Doing so helps squelch the rumor mill.

Tuition or relocation reimbursement
If you have relocated or studied at the company’s expense, you are bound by your contract to remain
with us for at least two years or year for year of expense. If you resign before that period, you may
have to reimburse us for all these expenses.

Forced resignation
You can resign anytime at your own free will and nobody should force you into resignation. Forcing
someone into resigning (directly or indirectly) is constructive dismissal and we won’t tolerate it.
Specifically, we prohibit associates from:



              Creating a hostile or unpleasant environment.



              Demanding or coaxing an associate to resign.



              Victimizing, harassing, or retaliating against an associate.



              Forcing an associate to resign by taking unofficial adverse actions (e.g. demotions,
               increased workload).


Termination
Terminating an associate is always unpleasant but sometimes necessary. If that happens, we want to
ensure we act lawfully and respectfully.


We may terminate an associate either for cause or without cause
                                               Page 44 of 46

                                CustomerService@AmericanTripoli.com
                                                                   Exhibit P-16, Page 044
       Appellate Case: 25-1349        Page: 1963       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                                       Seneca, MO 64865
                                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________




                 For cause termination is justified when an associate breach their contract, engages in
                  illegal activities (e.g., embezzlement), disrupts the workplace (e.g. harasses
                  colleagues), performs below acceptable standards or causes damage or financial loss
                  to the company.




                 Without cause termination refers to redundancies or layoffs that may be necessary if we
                  cease some of the operations or re-assign job duties within teams. We will follow
                  applicable laws regarding notice and payouts.


We will offer severance pay to eligible associates. We may also help associates who were terminated
without cause to find work elsewhere, if possible.

We may also compensate accrued vacation and sick leave upon termination, depending on local law.
Whenever local law doesn’t have relevant stipulations, we will pay accrued leave only to those who
weren’t terminated for cause.

If you manage team members, avoid wrongful dismissal. When you terminate an associate for cause,
we expect you to be certain you made the right choice and keep accurate performance and/or
disciplinary records to support your decision.

References
When we terminate associates, we may provide references for those who leave in good standing.
This means that associates shouldn’t have been terminated for cause. If you are laid off, you may
receive references. Please ask your manager.

If you resign, you may ask for references and your manager have a right to oblige or refuse.

Resources
Managing your 401(k): ht t p s :/ / www.fin ra .o rg/ inve s t o rs / le a rn- t o - inve s t / t yp e s -
inve s t me nt s / re t ire me nt / 40 1k- inve s t ing/ ma na ging- yo ur- 40 1k


Dept. of Labor – Mine Safety & Health Administration: ht t p s :/ / www.ms ha .go v/


Missouri Labor Laws: ht t p s :/ / la b o r.mo .go v/

                                                             Page 45 of 46

                                       CustomerService@AmericanTripoli.com
                                                                                        Exhibit P-16, Page 045
        Appellate Case: 25-1349                  Page: 1964             Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                                      Seneca, MO 64865
                                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________
IRS W4 info: ht t p s :/ / www.irs .go v/ fo rms - p ub s / a b o ut - fo rm- w- 4

US Healthcare.gov: ht t p s :/ / www.he a lt hca re .go v/


1Kaiser Family Foundation 2021 Employer Health Benefits Survey, ht t p s :/ / www.kff.o rg/ he a lt h-
co s t s / re p o rt / 20 21- e mp lo ye r- he a lt h- b e ne fit s - s urve y/


Policy Revision
We will always strive for fairness and equal opportunity and penalize offensive and illegal behaviors.
But, as laws and the environment change, we may revise and modify some of the policies.

We have established an annual revision of the handbook to bring it up to date with legislation and
employment trends. We also ask you to notify your manager if you recognize any inconsistencies or
mistakes. And, if you have any ideas about how to improve the workplace, we are happy to hear
them. Please relay these ideas through your manager.




                                                                     Page 46 of 46

                                            CustomerService@AmericanTripoli.com
                                                                                            Exhibit P-16, Page 046
        Appellate Case: 25-1349                       Page: 1965                  Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-17, Page001
                        Appellate Case: 25-1349   Page: 1966   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-17, Page002
                        Appellate Case: 25-1349   Page: 1967   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-17, Page003
                        Appellate Case: 25-1349   Page: 1968   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-17, Page004
                        Appellate Case: 25-1349   Page: 1969   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-17, Page005
                        Appellate Case: 25-1349   Page: 1970   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-17, Page006
                        Appellate Case: 25-1349   Page: 1971   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-17, Page007
                        Appellate Case: 25-1349   Page: 1972   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Citations, Orders and Safeguards
Year   Mine      Operator            103(k)   104(a)   104(b)   104(d)(1)    104(d)(2)    104(g)(1)     107(a)   103(j)   314(b)   Proposed    Current     Amount
       ID                                                                                                                          Penalties   Penalties   Paid to
                                                                                                                                   ($)         ($)         Date ($)

2023   2300504   American Tripoli    0        95       5        0            21           2             1        0        0        87,816      87,336      320

2022   2300504   American Tripoli    0        20       3        5            0            0             0        0        0        21,571      17,380      1,912

2021   2300504   American Tripoli    0        7        0        0            0            0             0        0        0        1,082       1,082       1,082

2020   2300504   American Tripoli    0        2        0        0            0            0             0        0        0        246         246         246

2019   2300504   American Tripoli    0        3        0        0            0            0             0        0        0        363         363         363

2018   2300504   American Tripoli    0        8        0        0            0            0             0        0        0        962         962         962

2017   2300504   American Tripoli    0        4        0        0            0            0             0        0        0        464         464         464

2016   2300504   American Tripoli    0        2        0        0            0            0             0        0        0        228         228         228

2015   2300504   American Tripoli    0        5        0        0            0            0             0        0        0        685         685         685

2014   2300504   American Tripoli    0        2        0        0            0            0             0        0        0        200         200         200

2013   2300504   American Tripoli    0        3        0        0            0            0             0        0        0        327         327         327

2012   2300504   American Tripoli    0        4        0        0            0            0             0        0        0        400         400         400

2011   2300504   American Tripoli    0        3        0        0            0            0             0        0        0        300         300         300

2010   2300504   American Tripoli    0        4        0        0            0            0             0        0        0        1,411       1,411       1,411

2009   2300504   American Tripoli    0        13       0        0            0            0             0        0        0        1,300       1,300       1,300

2008   2300504   American Tripoli    0        8        0        0            0            0             0        0        0        800         800         800

2007   2300504   American Tripoli    0        6        0        0            0            0             0        0        0        480         480         480

                                                                                   1/1
                                                                                                                                   Exhibit P-20, Page001
                                    Appellate Case: 25-1349         Page: 1973       Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                 Inspections
Event     Mine      Inspection Activity Code                        Inspection   Inspection End Date   Citations    Orders   Safeguards
No.       ID                                                        Begin
                                                                    Date

7101816   2300504   Compliance Follow-up Inspection                 12/15/23     12/18/23              0            0        0

7101629   2300504   Compliance Follow-up Inspection                 12/04/23     12/08/23              0            0        0

6486571   2300504   Spot Inspection                                 11/07/23     11/07/23              0            0        0

6486570   2300504   Spot Inspection                                 11/02/23     11/02/23              0            0        0

6486569   2300504   Spot Inspection                                 10/30/23     10/30/23              0            0        0

7101513   2300504   Verbal Hazard Complaint Inspections             10/10/23     10/19/23              0            2        0

7101514   2300504   Spot Inspection                                 10/10/23     10/19/23              0            2        0

7101423   2300504   Verbal Hazard Complaint Inspections             09/18/23     09/21/23              1            0        0

7042327   2300504   Verbal Hazard Complaint Inspections             08/08/23     09/22/23              0            0        0

7101503   2300504   Regular Safety and Health Inspection            08/07/23     09/25/23              32           5        0

7027998   2300504   Compliance Follow-up Inspection                 07/20/23     07/24/23              0            0        0

7027994   2300504   Compliance Follow-up Inspection                 07/05/23     07/10/23              1            0        0

7101602   2300504   Compliance Follow-up Inspection                 06/21/23     06/22/23              0            0        0

7101601   2300504   Verbal Hazard Complaint Inspections             06/20/23     06/22/23              0            0        0

7027980   2300504   Compliance Follow-up Inspection                 05/12/23     05/12/23              0            0        0

7042304   2300504   Verbal Hazard Complaint Inspections             05/11/23     05/15/23              0            0        0

7027977   2300504   Compliance Follow-up Inspection                 04/11/23     04/28/23              0            2        0

7027975   2300504   103 (g) Written Notification Hazard Complaint   03/28/23     04/10/23              0            0        0
                    Inspectio

7029430   2300504   Verbal Hazard Complaint Inspections             02/13/23     04/10/23              58           16       0

7028973   2300504   Verbal Hazard Complaint Inspections             01/04/23     01/06/23              0            1        0

7028971   2300504   Compliance Follow-up Inspection                 01/03/23     01/06/23              2            0        0

7027590   2300504   Regular Safety and Health Inspection            10/31/22     12/09/22              17           7        0

7027583   2300504   Verbal Hazard Complaint Inspections             09/19/22     09/30/22              0            0        0

7027571   2300504   Spot Inspection                                 07/14/22     07/18/22              0            0        0

7027560   2300504   Regular Safety and Health Inspection            04/12/22     04/20/22              4            0        0

7027546   2300504   Compliance Follow-up Inspection                 01/10/22     01/13/22              0            0        0

7027536   2300504   Accident Reduction Program                      11/17/21     11/19/21              0            0        0

7027535   2300504   Regular Safety and Health Inspection            11/09/21     12/14/21              5            0        0

6488833   2300504   Regular Safety and Health Inspection            04/27/21     04/28/21              2            0        0

6486660   2300504   Regular Safety and Health Inspection            10/05/20     10/07/20              1            0        0

6486630   2300504   Regular Safety and Health Inspection            05/18/20     05/20/20              1            0        0

6809156   2300504   Regular Safety and Health Inspection            10/22/19     10/23/19              1            0        0

6807446   2300504   Regular Safety and Health Inspection            07/02/19     07/02/19              2            0        0

6807417   2300504   Compliance Follow-up Inspection                 01/03/19     01/03/19              0            0        0

                                                                                     1/1
                                                                                                                   Exhibit P-21, Page001
                    Appellate Case: 25-1349           Page: 1974       Date Filed: 04/07/2025 Entry ID: 5503844
                        Event No. 7027977_020


Exhibit P-25, Page001
                                                Appellate Case: 25-1349   Page: 1975   Date Filed: 04/07/2025 Entry ID: 5503844
                        Event No. 7027977_024


Exhibit P-25, Page002
                                                Appellate Case: 25-1349   Page: 1976   Date Filed: 04/07/2025 Entry ID: 5503844
                        Event No. 7027977_026


Exhibit P-25, Page003
                                                Appellate Case: 25-1349   Page: 1977   Date Filed: 04/07/2025 Entry ID: 5503844
                        Event No. 7027977_049


Exhibit P-25, Page004
                                                Appellate Case: 25-1349   Page: 1978   Date Filed: 04/07/2025 Entry ID: 5503844
                                           DAILY COVER SHEET

DATE       -z./u.._/cc,z.3 O?:S~                         EVENT NO.      7b2.9"30
ARRIVED AT THE MINE                    00::        DEPARTED FROM THE MINE                 IS• lr,-
LIST ~CORD BOOKS CHECKED




ACCOMPANIED BY:                       &.6 °6au1M4¥tc~ Tuel
                                  coMPANY REP.

  511tl)e: Jl'\lt~UC/, ::f;i\41,d Sf>"°' v,S - 0 p<,rc, 6 rM-S !AfAuu9;4-
                                 MINERS REP.




AREAS OF INSPECTION ACTIVITY:

    ->~s it1L oO t'.\f,I\ '6u,\d, ~.




                                                                   W@                  @W@@J
PAGE NO._ _,_/_ _ INSP INITIAL                     "-??ftuA.   S   ERVISQR           v.r...,......,.,.......,~ -
MSHA Fonn 1000-1,011, Jun ■ DJ lrevln:dl                           *         APR 1 6
                                                                       U,8. ODYEAl,MEKTf'AlfmNa ornc e IHI -109-1


                                                                            Shawn T. Pratt




                                                                                                                              Exhibit P-26, Page002
                   Appellate Case: 25-1349                               Page: 1979                                Date Filed: 04/07/2025 Entry ID: 5503844
                                                                       EVENT No    70Z.,9i./-$.Q
                                         GENERAL FIELD NOTES


          AreaCsl/Equipment            '2.,~ -OOS"Dt--/                Comments




                                                                            Page_J_of      J__

1HSA Form 4000-49H, Aug 93 (rev1sedJ


                                                           APR 1 6 2023
                                                          Shawn T. Pratt
                                          G:.().· U.S. GOVERNMENT PRINTING OFFICE : 2014-540-421




                                                                                                              Exhibit P-26, Page003
                        Appellate Case: 25-1349                       Page: 1980                   Date Filed: 04/07/2025 Entry ID: 5503844
                         I
                                           DAILY COVER SHEET .

DATE     3 /u) zo z.3                                  EVENT No. 7o z/1 L.£ ..'!>o

ARRIVED AT THE MINE                        0-Z?S- DEPARTED FR01;1 THE MINE 1tp:1S
LIST RECORD BOOKS CHECKED




ACCOMPANIED BY,                   COMPANY REP.             Rot.. °"3aJJrM Cc,14Y)
     ~~rt             Spec.J'S
                                 MINERS       REP.



 l\llEAB OF INSPECTION ACTIVITY:


  -t.:::                  ~l~~<c.!,k clus0
     'De H\/:L




PAGE NO._ _/ ~ -

MSHA Form 1000-1,011, Jun• 93 lre:'ilndl



                                                                                                      Shawn T. Pratt




                                               . ··-   . ~. - - , - - ~. - ·   . -   . · - · ... . r .•···• • · - - - . ·- , • · . - -- -   · ·- ·




                                                                                                                                                     Exhibit P-26, Page004
                   Appellate Case: 25-1349                                                Page: 1981                               Date Filed: 04/07/2025 Entry ID: 5503844
                                           DAILY GOVER SHEET .
                                                         EVENT NO.   7az94.:So
ARRIVED AT THE MINE                    Q1i l/ Q     DEPARTED FROM THE MINE   J(:,;'3S
                               ' '
LIST ¥ECORD BOOKS CHECKED




AccoMPANrno BY:          .je::n,. e Ho l es ,. - ·
                                     coMPANY REP.

   €1-/46 Sp~b.\i6~ :::IoYl\d $9tMN1i- op. l f \ A ~
           .            .            MINERS REP.     'iZ,b 6;.\AMCc.lM1             .


1\llEAS OF INSPECTION ACTIVITY:




PAGE NO_ _/ ~ - INSP .INITIAL'-1~
               .... .
MSHA Form 7000-1.011, Jun ■ Dl tn.'ihtdl
                                                                     "··"""'"A'P'R"'T"ti""lO'J '.1 .......
                                                                          Shawn T. Pratt




                                                                                                                        Exhibit P-26, Page005
                        Appellate Case: 25-1349                          Page: 1982                          Date Filed: 04/07/2025 Entry ID: 5503844
                                                                         EVENT No. 70z,_~q:!)(')
                                            GENERAL FIELD NOTES

         Area(sl/Eguipment                                               Comments


   c:\.w-\.;°"' :oc,e.-i I9,5~9zqK -GffaMJ 6b ovi -od--
                         l     ccr,-d s. . ::::Vr.lc:... o e:ao


    ~'s~                         I oisk    I de.&::,'ie . Wlales, e llt11.e.c1c,c.,1A T tipaL; ,t;qv.,f
    '2t,,j:CM1u/                          • 1 DwJ- .SciMfli""; ¢ a.11tc.4', s;5:




                                              - M,cl,'cr.J G'u:.lcJGbl4 5




                                                                             Page_Lof_.z._



HA Form 4000-49H, Aug. 93 (revised)

                                                              A R 1 6 2023
                                                             Shawn T. Pratt
                                                                                  * U.S. GPO: 1996-709-540




                                                                                                              Exhibit P-26, Page006
                       Appellate Case: 25-1349                          Page: 1983                 Date Filed: 04/07/2025 Entry ID: 5503844
                                                                  )                                                      \__
                                                     ERAL FIELD NOTES                EVENT NO.    LeJ~ 9 •t?a
          Area ( s )/ Eguipment                                                      Comments



    ~                                      I         ,
       [)~-J ~ w [;?                 ~,.,1,r     t.,1 .,   Yh




p.-J   &j          e:::: ~""";rr-'
       f<JJt,,-,',u/ 2 ' ~
                            f ZZ! ~                                      or7 kk
                                                            ,{},ta,-} ,::;_, ~
                                                                                                          1
                                                                                                t>&.:3Y: ';-~ f;;~
                                                                                          • plj4,:,        ,,-.4..d'/_
  -1,-£._,, /./2       ia N        "<k     r.;  1'         wl .,,._ /1?.,, S'/1<-&    .£ra>'u    )..   d ;..P,, 'c




                                                                fM@wfl@w@@J
                                                                  APR 1 6 2023
   MSHA Form 4000-49F, Aug. 93 (revised)


                                                                                 Exhibit P-26, Page009
        Appellate Case: 25-1349                Page: 1984          Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                       Pallets                Slip
Data don’t                                  Completed                                               Size (in    Bags               Bags                    # Pallets             Slip Sheet
              Date        Order #   Shift               Start Time   End Time   Customer   Grade                        Lbs Made             Pallet Type               Broken                 Sheets   Major Downtime Events                      NOTES
delete                                      Order                                                   lbs)        Made               Ripped                  Used                  type
                                                                                                                                                                       trashed                Used
Yes                                                                                                                     0
                                                                                                                                                                                                                                                  Ran DGR to start because that was the
                                                                                                                                             40x48                               Large                                                            last grade we ran. Switched to OGR
No            11/3/2022   Stock     1ST     Yes         12:00 PM     4:00 PM    ATMO       DGR      100         80      8000                               5                                  5
                                                                                                                                             40x48                               Large
              11/3/2022   SO-268    1ST     No          4:00 PM      4:30 PM    Maverick   OGR      100         20      2000                               1                                  1                                                   the finished product elevator is slow
1ST           11/3/2022   Stock     1ST     Yes         11:30 AM     12:00 PM   ATMO       OGR      2000        1       2000                 40x48         1                     Bulk         1                                                   First finished product
                                                                                                                                                                                                       System still backing up product cyclone
                                                                                                                                             40x48                               Large
2ND           11/3/2022   SO-268    2ND     No          4:30 PM      12:00 AM   Maverick   OGR      100         192     19200                              10                                 10       backking up
              11/3/2022   Stock     2ND     Yes         5:30 PM      12:00 AM   ATMO       OGR      2000        1       2000                 40x48         1                     Bulk         1
OGR                                                                                                                     0
DGR           11/8/2022   stock     1ST     Yes         8:00 AM      4:00 PM    ATMO       OGR      2000        1       2000                 40x48         1                     Bulk         1
                                                                                                                                                                                                       Repaired flour elevator,long scroll,
                                                                                                                                             40x48                               Large                 waited for electriction to repair
AFR           11/8/2022   SO-268    1ST     No          8:00 AM      4:00 PM    Maverick   OGR      100         140     14000                              7                                  7        direction of new scroll
PR            11/8/2022   SO-268    2ND     Yes         4:30 PM      12:00 AM   Maverick   OGR      100         48      4800                 40x48         1                     Large        1
R-10          11/8/2022   SO-268    2ND     Yes         4:30 PM      12:00 AM   Maverick   OGR      100         80      8000                 40x48         4                     Large        4

                                                                                                                                             40x48                               Large                 Stayed running 100 ogr per John will
R-15          11/8/2022   Stock     2ND     Yes         4:30 PM      12:00 AM   ATMO       OGR      100         244     24400                              13                                 13       properly allocate orders tommorow
                                                                                                                #REF!
R-30          11/9/2022   Stock     1ST     Yes         8:00 AM      4:30 PM    ATMO       OGR      100         80      8000                 40x48         4                     Large        4
R-45          11/9/2022   SO-384    1ST     No                                  KOYO       AFR      100         20      2000                 HT Large      1                     Large        6        Flour elevator repairs
                                                                                                                                                                                                       Flour elevator making noise ,losing
                                                                                                                                             HT Large                            Large
Trfl-R        11/9/2022   SO-384    2ND     No          4:30 PM      11:00 PM   KOYO       AFR      100         189     18900                              10                                 60       product
OGC                                                                                                                     0
DGC           11/10/2022 SO-384     1ST     Yes         1:00 PM      3:15 PM    KOYO       AFR      100         21      2100                 HT Large      1                     Large        6        20+189+21=230
                                                                                                                                             HT Large                            Large
AFC           11/10/2022 Stock      1ST                 1:00 PM      3:15 PM    ATMO       AFR      100         48      4800                             3                                    3        Finally got the flour elevator lined out
PC            11/10/2022 SO-483     1ST     Yes         3:15 PM      3:45 PM    Fed_Mog    AFR      50          50      2500                 #2 Standard 2                       Small        12       Covered in slip sheets
C-10          11/10/2022 Stock      1ST                 3:15 PM      3:45 PM    ATMO       AFR      50          8       400                  #2 Standard 1                       Small        1
C-15          11/10/2022 SO-386     1ST     Yes         3:45 AM      4:30 PM    Reptec     Trfl-R   100         20      2000                 40x48       1                       Large        6        Covered in slip sheets
                                                                                                                                                                                                       Wrapped and tagged 6-ways day shift
                                                                                                                                             #2 Standard                         Large
C-30          11/10/2022 SO-409     2ND     Yes         6:00 PM      7:00 PM    B-P        OGR      100         20      2000                               1                                  6        ran til 6 switched to ogr

                                                                                                                                             40x48                               Large                 Changed fluid bed dryer belt til 9:30
C-45          11/10/2022 SO-403-A   2ND     No          7:00 PM      7:00 PM    Shanghai   OGR      100         22      2200                               1                                  1        start up hindered by overload switch
Trfl-C                                                                                                                  0
                                                                                                                        0
50                                                                                                                      0
60                                                                                                                      0
75                                                                                                                      0
90                                                                                                                      0
100                                                                                                                     0
900                                                                                                                     0
2000                                                                                                                    0
                                                                                                                        0
                                                                                                                        0
#2 Standard                                                                                                             0
40x48                                                                                                                   0
HT Small                                                                                                                0
HT Large                                                                                                                0
                                                                                                                        0
                                                                                                                        0
Small                                                                                                                   0
Large                                                                                                                   0
Bulk                                                                                                                    0
                                                                                                                        0
                                                                                                                        0
12:00 AM                                                                                                                0
11:59 PM                                                                                                                0




                                                                                                                                                                                                       Exhibit P-27, Page001
                                                        Appellate Case: 25-1349                                Page: 1985                   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                  Pallets                Slip
Data don’t                                   Completed                                                 Size (in   Bags              Bags     Pallet   # Pallets             Slip Sheet
             Date         Order #    Shift                 Start Time   End Time   Customer    Grade                     Lbs Made                                 Broken                 Sheets   Major Downtime Events                   NOTES
delete                                       Order                                                     lbs)       Made              Ripped   Type     Used                  type
                                                                                                                                                                  trashed                Used
                                                                                                                                                                                                  Start up adjusted belt,flinish flour
                                                                                                                                                                                                  elevator electrical prob ,eary
                                                                                                                                             40x48                          Bulk
                                                                                                                                                                                                  shutdown to time fluid bed dryer
Yes          12/14/2022   SO-286-A   1ST     Yes           8:00 AM      1:30 PM    Bright Ab   OGR     2000       7      14000                        7                                  7
No           12/14/2022   SO-286-B   1ST     Yes           1:30 PM      3:15 PM    Bright Ab   OGR     2000       6      12000               40x48    6                     Bulk         6        Re-timed the bed dryer.
                                                                                                                                                                                                  Start up, problems with scroll, flour
                                                                                                                                             40x48                          Bulk                  elevator, flour elevator bearing
             12/15/2022   SO-286-B   1ST     Yes           8:00 AM      2:30 PM    Bright Ab   OGR     2000       13     26000                        13                                 13       housing broke
                                                                                                                                                                                                  Start up, had to finish put the flour
                                                                                                                                             40x48                          Bulk                  elevator back together on bottom
1ST          12/19/2022   SO-286-b   1ST     Yes           8:00 AM      10:00 AM   Bright Ab   OGR     2000       1      2000                         1                                  1
                                                                                                                                                                                                  Worked on the packer. Would not
                                                                                                                                             40x48                          Bulk                  fill paper sacks. Figured out the      Should be able to pack 100# sacks on
2ND          12/19/2022   SO-287-B   1ST     Yes           10:00 AM     4:00 PM    Bright Ab   OGR     2000       10     20000                        10                                 10       packer problem.                        12/20/22
                                                                                                                                                                                                  Start up, bagger started having
                                                                                                                                                                                                  issues. Restarted twice, ran a few
                                                                                                                                             40x48                          Large                 more bags and then it totally quit. So
                                                                                                                                                                                                  switched to bulk product.
             12/20/2022   SO-292     1st     Yes           8:00 AM      11:30 AM   Reptec      DGR     100        60     6000                         3                                  3
OGR          12/20/2022   SO-287-B   1ST     Yes           11:30 AM     4:00 PM    Bright Ab   OGR     2000       9      18000               40x48    9                     Bulk         9
                                                                                                                                                                                                  Switched to DGR, manually filling
                                                                                                                                                                                                  100 Pound bags. Donaldson backing
                                                                                                                                                                                                  up due to loss of air pressure,
                                                                                                                                             40x48                          Large
                                                                                                                                                                                                  causing us to have to empty vacuum
                                                                                                                                                                                                  tube multiple times.
DGR          12/21/2022   SO-292     1ST     Yes           12:30 PM     4:00 PM    Reptec      DGR     100        47     4700                         3                                  3
                                                                                                                                                                                                  Start up, on bulk while working on
                                                                                                                                             40x48                          Bulk
AFR          12/21/2022   SO-287- B 1ST      Yes           8:00 AM      12:00 PM   Bright Ab   OGR     2000       1      2000                         1                                  1        the bagger.
PR           12/21/2022   Stock     1ST      Yes           8:00 AM      12:00 PM   ATMO        OGR     2000       4      8000                40x48    4                     Bulk         4
                                                                                                                                                                                                  Slow to warm up due to the falling
                                                                                                                                             40x48                          Large                 tempatures Actual date 12/22/2022
R-10         12/22/2022   SO-292     1ST     Yes           8:00 AM      12:00 PM   RepTec      DGR     100        73     7300                         4                                  4
                                                                                                                                                                                                  At 3 above zero outside machine
                                                                                                                                             40x48                          Bulk                  parts started to freeze. Finished
R-15         12/22/2022   Stock      1ST     Yes           12:00 PM     1:00 PM    ATMO        DGR     2000       1      2000                         1                                  1        with a bulk bag                       Actual date 12/22/2022
                                                                                                                                                                                                  Start up, problem with big
                                                                                                                                             40x48                          Large                 compressor, cold temps, so it took
R-30         12/26/2022   SO-292     1st     Yes           8:00 AM      11:00 AM   Reptec      DGR     100        20     2000                         4                                  4        awhile to move product.
R-45         12/26/2022   Stock      1st     Yes           8:00 AM      11:00 AM   ATMO        DGR     2000       1      2000                40x48    1                     Bulk         1        Stock
                                                                                                                                                                                                  Product stopped running into 100th
                                                                                                                                             40x48                          Large                 bags and clean out, working on
Trfl-R       12/26/2022   SO-298     1st     no            11:00 AM     4:00 PM    Reptec      DGR     100        37     3700                         3                                  3        bagger
                                                                                                                                                                                                  Switched to OGR, started having
                                                                                                                                                                                                  issues with the burner at 2:30,
                                                                                                                                                                                                  burner may be having some pressure
                                                                                                                                             40x48                          Bulk
                                                                                                                                                                                                  issues, finished out the day and
                                                                                                                                                                                                  going to see how the burner is in the
OGC          12/28/2022   SO-287-A   1ST     Yes           8:00 AM      4:00 PM    Bright Ab   OGR     2000       17     34000                        17                                          morning
                                                                                                                                                                                                  Finished SO-287-A Replaced burner
                                                                                                                                             40x48                          Bulk                  sensors. Re-fired at 3:30 pm
DGC          12/30/2022   SO-287-A   1ST     Yes           8:30 AM      10:00 AM   Bright Ab   OGR     2000       3      6000                         3
                                                                                                                                                                                                  Jim and John's late day run after
                                                                                                                                             40x48                          Bulk
AFC          12/30/2022   SO-287-B   1ST     No            3:30 PM      5:15 PM    Bright Ab   OGR     2000       3      6000                         3                                           fixing dryer burner.
PC                                                                                                                       0
C-10                                                                                                                     0
C-15                                                                                                                     0
C-30                                                                                                                     0
C-45                                                                                                                     0
Trfl-C                                                                                                                   0
                                                                                                                         0
50                                                                                                                       0
60                                                                                                                       0
75                                                                                                                       0
90                                                                                                                       0




                                                                                                                                                                                              Exhibit P-27, Page002
                                                         Appellate Case: 25-1349                             Page: 1986              Date Filed: 04/07/2025 Entry ID: 5503844
100                                              0
900                                              0
2000                                             0
                                                 0
                                                 0
#2 Standard                                      0
40x48                                            0
HT Small                                         0
HT Large                                         0
                                                 0
                                                 0
Small                                            0
Large                                            0
Bulk                                             0
                                                 0
                                                 0
12:00 AM                                         0
11:59 PM                                         0




                                                                                Exhibit P-27, Page003
              Appellate Case: 25-1349   Page: 1987   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                                           Pallets                Slip
                                                   Complete the                                            Material   Bag Size (in # of Bags   # of Lbs   # of Bags   Pallet   # Pallets             Slip Sheet
Data don’t delete   Date        Order #    Shift                     Start Time   End Time    Customer                                                                                     Broken                 Sheets   Major Downtime Events                  NOTES
                                                   Order?                                                  Grade      lbs)         Made        Made       Ripped      Type     Used                  type
                                                                                                                                                                                           trashed                Used

                                                                                                                                                                                                                                                               Gage and Patrick realigned Bulk bag
                                                                                                                                                                                                                           The Lovejoy on the bulk bag scroll lovejoy. Had to borrow a pulley puller
      Yes           1/2/2023    SO-289-A           Yes, but later date 11:30 AM   4:00 PM     Bright Abr   OGR        2000         10          20000                  40x48    10                    Laminated    10
                                                                                                                                                                                                                           pushed apart.                      from O'reily's. We also made sure the
                                                                                                                                                                                                                                                              burner was going to be fully functional.
                                                                                                                                                                                                                                                                  RT - Questions about inventory and order
      No            1/3/2023    SO-289-A           Yes               8:00 AM      4:00 PM     Bright Abr   OGR        2000         7           14000                  40x48    7                     Large        7        Repaired feed scroll down for 2hrs
                                                                                                                                                                                                                                                                  calls for 40 bags.
Yes, but later date 1/3/2023    SO-289-B           Yes, but later date 1:00 PM    4:00 PM     Bright Abr   OGR        2000         5           10000                  40x48    5                     Large        5                                               Second part for 289 need 15 more
                                                                                                                                                                                                                           Got shut down early by DNR,
                    1/4/2023    SO-289-B           Yes, but later date 8:00 AM    3:30 PM     Bright Abr   OGR        2000         10          20000                  40x48    10                    Large        10                                          Need 5 more bags
                                                                                                                                                                                                                           MSHA, Seneca Police
                                                                                                                                                                                                                           Spent most of the day hooking up
     OGR            1/5/2023    SO-289-B           Yes, but later date 3:30 PM    5:45 PM     Bright Abr   OGR        2000         3           6000                   40x48    3                     Large        3        the sprinkler and dust bag for the Need 2 more bags
                                                                                                                                                                                                                           Donaldson

                                                                                                                                                                                                                           The furnace took a while to warm
     DGR            1/6/2023    SO-289-B           Yes               10:00 AM     11:30 AM    Bright Abr   OGR        2000         2           4000                   40x48    2                     Large        2        up. The gas regulators my be a
                                                                                                                                                                                                                           little sensitive to the cold.
                                                                                                                                                                                                                           3:30 to 4:30 - cleared the system
      AFR           1/6/2023    SO-290             Yes               11:30 AM     3:30 PM     Bright Abr   OGR        2000         7           14000                  40x48    7                     Large        7
                                                                                                                                                                                                                           and did clean up.
                                                                                                                                                                                                                                                              Need 13 more bags
                                                                                                                                                                                                                           Warmed up and rolling by 9:30am.
    Trifil-R        1/9/2023    SO-0290            Yes               9:30 AM      2:30 PM     Bright Abr   OGR        2000         13          26000                  40x48    13                    Large        13
                                                                                                                                                                                                                           charged the tube mill
                                                                                                                                                                                                                           Filled one and started another for
       PR           1/9/2023    SO-431             Yes, but later date 2:30 PM    3:15 PM    Osborn OH     DGR        2000         1           2000                   40x48    1                     Large        1        clearing the system. Met with DNR Need 20 more bags to complete order
                                                                                                                                                                                                                           Ms. Graves
                                                                                                                                                                                                                           Stopped feeding product at 1:40 to
     R-45           1/10/2023   SO-431             Yes, but later date 8:00 AM    3:00 PM    Osborn OH     DGR        2000         9           18000                  40x48    9                     Large        9        change out the little mac filters
                                                                                                                                                                                                                           due to dusting.

                                                                                                                                                                                                                           Down for maintenance. WHY: bad
     R-30           1/11/2023                                        8:00 AM      4:30 PM      ATMO                                0           0
                                                                                                                                                                                                                           dusting from dust collection


                                                                                                                                                                                                                           Feeder scroll would not activate
                                                                                                                                                                                                                           found wiring issue and resumed
                                                                                                                                                                                                                           production.Stopped feeding
                                                                                                                                                                                                                           product multiple times to try to
                                                                                                                                                                                                                           resolve dusting issues from lil
     R-15           1/12/2023   S0-431             Yes, but later date 8:00 AM    1:30 PM    Osborn OH     DGR        2000         3           6000                   40x48    3                     Large        3
                                                                                                                                                                                                                           mac,tried beating product off then
                                                                                                                                                                                                                           restarting didnt resolve issues then
                                                                                                                                                                                                                           at started having burner temp
                                                                                                                                                                                                                           issues again going to clean til
                                                                                                                                                                                                                           shutdown

     R-10           1/13/2023   SO-446             Yes               8:00 AM      10:30 AM   AL BAQURAH    DGR        2000         1           2000                   HT Large 1                     Large        1

                                                                                                                                                                                                                           Lovejoy came apart on the feeder
      R-6           1/16/2023   SO-431             Yes               8:00 AM      3:00 PM    Osborn OH     DGR        2000         8           16000                  40x48    8                     Large        8        scroll again and early clean out to
                                                                                                                                                                                                                           sweep the green monster out.

     OGC            1/16/2023   SO-446             Yes               3:00 PM      3:30 PM    AL BAQURAH    DGR        2000         1           2000                   HT Large 1                     Large        1
                                                                                                                                                                                                                           Maintenance: Replace bearing at
                    1/17/2023   Maint                                                                                                          0                                                                           bottom end of dryerbed/tube mill
                                                                                                                                                                                                                           feed scroll

                                                                                                                                                                                                                           Apparently there was a miss count
                                                                                                                                                                                                                           for this order and the first 5 bags
     DGC            1/18/2023   SO-287-A           No                9:00 AM      12:00 PM    Bright Abr   OGR        2000         5           10000                  40x48    5                     Large
                                                                                                                                                                                                                           produced went to finish the order
                                                                                                                                                                                                                           for shipment today.

      AFC           1/18/2023   ATMO                                 12:00 PM     3:45 PM      ATMO        OGR        2000         5           10000                  40x48    5                     Large

                                                                                                                                                                                                                           Stopped production due to dusting
                                                                                                                                                                                                                           out of little mac, chain coming off
    Trifil-C        1/19/2023   ATMO                                 8:00 AM      4:00 PM      ATMO        OGR        2000         5           10000                  40x48    5                     Large                 pick belt, rock exhaust not
                                                                                                                                                                                                                           reaching temperature, and
                                                                                                                                                                                                                           stopped producing at 1:00 PM




                                                                                                                                                                                                             Exhibit P-27, Page004
                                                         Appellate Case: 25-1349                                 Page: 1988                        Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                       Outside air tempature did not
                                                                                                                                       allow for production. Spent the
                                                                                                                                       afternoon working on the Little
    PC        1/20/2023   Maint                                                             0   0                                      MAC filter unit. Blowing a
                                                                                                                                       continuous cloud of dust. Going to
                                                                                                                                       construct a bag collector to slip
                                                                                                                                       over the top of the exhaust port.

  C-30        1/23/2023   maint                                                                 0                                      Worked on lil mac
                                                                                                                                                                             Need to assign the 10 bags from atmo to
                                                                                                                                       Worked on bagger,waited on
  C-15        1/24/2023   SO-290   No       8:00 AM   4:30 PM   Bright Abr   OGR     2000   7   14000       40x48   7      Large
                                                                                                                                       temp,
                                                                                                                                                                             so-290 so we need 4 more to finish for 21
                                                                                                                                                                             bags
  C-10        1/25/2023   Maint                                                                 0
                                                                                                                                       worked on flour auger,replacing
   C-5        1/26/2023   Maint                                                                 0
                                                                                                                                       tube mill rock

                                                                                                                                       Flour elevator still down repairing
              1/27/2023   Maint                                                                 0
                                                                                                                                       tube mill,fixing air leaks

                                                                                                                                       Down due to flour elevator,Tube
                                                                                                                                       mill completed added a half a bag
    50        1/30/2023   Maint                                                                 0                                      to tube mill,cleaning up under
                                                                                                                                       tube mill working on auger for
                                                                                                                                       flour mill scroll

                                                                                                                                       Flour elevator still down repairing
    60        1/31/2023   Maint                                                                 0
                                                                                                                                       and digging material out of scrolls
    75                                                                                          0
    90                                                                                          0
   100                                                                                          0
   900                                                                                          0
   2000                                                                                         0
                                                                                                0
                                                                                                0
#2 Standard                                                                                     0
   40x48                                                                                        0
 HT Small                                                                                       0
 HT Large                                                                                       0
                                                                                                0
                                                                                                0
  Small                                                                                         0
  Large                                                                                         0
Laminated                                                                                       0
                                                                                                0
                                                                                                0
 12:00 AM                                                                                       0
 11:59 PM                                                                                       0




                                                                                                                                   Exhibit P-27, Page005
                                        Appellate Case: 25-1349                    Page: 1989       Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                                                  Pallets                Slip
                                                                                                                  Material   Bag Size (in # of Bags   # of Lbs   # of Bags   Pallet   # Pallets             Slip Sheet
Data don’t delete     Date        Order #   Shift   Complete the Order?        Start Time   End Time   Customer                                                                                   Broken                 Sheets   Major Downtime Events                      NOTES
                                                                                                                  Grade      lbs)         Made        Made       Ripped      Type     Used                  type
                                                                                                                                                                                                  trashed                Used
                                                                                                                                                                                                                                                                             Finished the order plus one to replace
No                    2/7/2023    SO-290            YES                        8:00 AM      10:00 AM   Bright     OGR        2000        4            8000                   40x48    4                     Large        4
                                                                                                                                                                                                                                                                             the missing from their last order.

YES                   2/7/2023    SO-411            YES, but at a later date   10:00 AM     4:00 PM    Osborn     OGR        2000        15           30000                  40x48    15                    Large        15                                                  Need six more to finish.

                                                                                                                                                                                                                                  Bulb was out in control room,made sure This order is complete wont let bme put
YES, but at a later da2/8/2023    SO-411            YES                        8:00 AM      12:00 PM   Osborn     OGR        2000        6            12000                  40x48    6                     Large        6
                                                                                                                                                                                                                                  og screen was actually working         yes in column

OGR                   2/8/2023    SO-438            YES, but at a later date   12:00 PM     4:30 PM    Osborn     OGR        2000        9            18000                  40x48    9                     Large        9
DGR                   2/9/2023    SO-438            YES                        8:00 AM      11:45 AM   Osborn     OGR        2000        6            12000                  40x48    6                     Large        6                                                   Order complete 15 bags of ogr
AFR                   2/9/2023    SO-435            No                         11:45 AM     4:00 PM    Osborn     DGR        2000        10           20000                  40x48    10                    Large        10                                                  Need 11 more

                                                                                                                                                                                                                                  Worked on low bin light ,Gage worked
Trifil-R              2/10/2023   SO-298            No                         8:00 AM      10:00 AM   Reptec     DGR        100         13           1300                   40x48    1                     Large        1        on bagger never got it working correctly
                                                                                                                                                                                                                                  went to switched back to bulk bags
                                                                                                                                                                                                                                  Stopped feeding a few minnutes early
PR                    2/10/2023   SO-435            YES                        8:00 AM      4:00 PM    Osborn     DGR        2000        11           22000                  40x48    11                    Large        11       to patch the bottom of the scroll on 4th
                                                                                                                                                                                                                                  floor
R-45                  2/10/2023   Stock             No                         2:00 PM      4:00 PM    ATMO       DGR        2000        3            6000                   40x48    3                     Large        3
R-30                  2/13/2023   SO-447            No                         8:00 AM      3:00 PM    Osborn     DGR        2000        12           24000                  40x48    12                    Large        12       Got shut down early by MSHA
R-15                  2/28/2023   SO-447            YES                        9:00 AM      3:00 PM    Osborn     DGR        2000        9            18000                  40x48    9                     Large        9
R-10
R-6
OGC
DGC
AFC
Trifil-C
PC
C-45
C-30
C-15
C-10
C-5

50
60
75
90
100
900
2000


#2 Standard
40x48
HT Small
HT Large


Small
Large
Laminated


12:00 AM
11:59 PM




                                                                                                                                                                                                                    Exhibit P-27, Page006
                                                           Appellate Case: 25-1349                                  Page: 1990                        Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                                  Pallets                Slip
Data don’t                                  Complete the                                          Material   Bag Size (in # of Bags   # of Lbs   # of Bags   Pallet   # Pallets             Slip Sheet
              Date       Order #    Shift                Start Time   End Time   Customer                                                                                         Broken                 Sheets   Major Downtime Events                           NOTES
delete                                      Order?                                                Grade      lbs)         Made        Made       Ripped      Type     Used                  type
                                                                                                                                                                                  trashed                Used
Yes           3/1/2023   SO-449             Yes          9:00 AM      2:00 PM    Osborn OH        DGR        2000         7           14000                  40x48    7                     Large        7        Finish elevator broke
                                                                                                                                                                                                                  Finish elevator completed,worked on
No            3/9/2023   SO-298             No           8:00 AM      2:30 PM    Reptec           DGR        100          60          6000                   40x48    3                     Large        3        packer could not get it going ran bulk bags
                                                                                                                                                                                                                  also
              3/9/2023 SO-449               Yes          8:00 AM      4:00 PM    Osborn OH        DGR        2000         9           18000                  40x48    9                     Large        9
              3/10/2023 SO-449              Yes          8:00 AM      11:30 AM   Osborn OH        DGR        2000         5           10000                  40x48    5                     Large        5        Issues with burner valve still sticking
OGR           3/10/2023 SO-290-B            Yes          11:30 AM     4:00 PM    Bright Abr       OGR        2000         17          34000                  40x48    17                    Large        17       3 more to finish
DGR           3/13/2023 SO-290-B            Yes          8:00 AM      10:30 AM   Bright Abr       OGR        2000         3           6000                   40x48    3                     Large        3

                                                                                                                                                                                                                  Early shutdown to attend to green stack
AFR           3/13/2023 SO-377-A            No           10:30 AM     3:30 PM    Bright Abr       OGR        2000         10          20000                  40x48    10                    Large        10
                                                                                                                                                                                                                  issues,shut down for pulveriser breaking

Trifil-R      3/14/2023 Maint/day                                                                                                     0

PR            3/15/2023 SO-377-A            No           1:30 PM      2:00 PM    Bright Abr       OGR        2000         3           6000                   40x48    3                     Large        3        Finish elevator broke,started at 1:30 pm

R-45          3/15/2023 SO-298              No           1:30 PM      4:00 PM    Reptec           DGR        100          35          3500                   40x48    2                     Large        2

                                                                                                                                                                                                                  Worked on burner til noon finished up
                                                                                                                                                                                                                  filling partial bulk bags to switch to double
R-30          3/20/2023 SO-377-A            No           12:00 PM     1:00 PM    Bright Abr       OGR        2000         3           6000                   40x48    3                     Large        3
                                                                                                                                                                                                                  ground . packer working but a lil slower
                                                                                                                                                                                                                  and did not kick off a few times

R-15          3/20/2023 SO-576              Yes          1:00 PM      4:00 PM    Treatments Ltd   OGR        2000         2           4000                   40x48    2                     Large        2        Add by Russ
R-10          3/20/2023 SO-298              No           1:00 PM      4:00 PM    Reptec           DGR        100          135         13500                  40x48    7                     Large        5
R-6           3/21/2023 SO-298              Yes          8:00 AM      11:30 AM   Reptec           DGR        100          130         13000                  40x48    6                     Large        6
OGC           3/21/2023 SO-304              No           11:30 AM     4:00 PM    Reptec           OGR        100          180         18000                  40x48    9                     Large        9
DGC           3/22/2023 SO-304              Yes          9:00 AM      10:30 PM   Reptec           OGR        100          20          2000                   40x48    1                     Large        1
                                                                                                                                                                                                                  Switched to DGR. Product was running
AFC           3/22/2023 ATMO                Yes          10:30 AM     11:15 AM   Stock            OGR        2000         1           2000                   40x48    1                     Large        1        slow. Later discovered that the 4th floor
                                                                                                                                                                                                                  shaker was clogged.
                                                                                                                                                                                                                  Shaker drain pipe was clogged and backed
Trifil-C      3/22/2023 SO-304              Yes          11:15 AM     12:30 PM   Reptec           DGR        100          48          4800                   40x48    3                     Large        3        up the system. Spent the rest of the
                                                                                                                                                                                                                  afternoon clearing.

                                                                                                                                                                                                                  Slow running. Had to unclog the Finished
                                                                                                                                                                                                                                                                  NEED 20 MORE BAGS TO COMPLETE THE
PC            3/23/2023 SO-304              Yes          9:00 AM      3:00 PM    Reptec           DGR        100          152         15200                  40x48    7                     Large        7        product tube because the vacuum was
                                                                                                                                                                                                                                                                  ORDER!!!!
                                                                                                                                                                                                                  weak at times. Also adjusted the shaker.
                                                                                                                                                                                                                  Donaldson filer change,instaled bolts on
C-45          3/24/2023 SO-304              Yes          9:30 AM      11:00 AM   Reptec           DGR        100          20          2000                   40x48    1                     Large        1
                                                                                                                                                                                                                  vibrator
C-30          3/24/2023 SO-316-A            No           11:00 AM     4:00 PM    PRIOR            DGR        100          171         17100                  HT Large 5                     Large        5
                                                                                                                                                                                                                  The shaker seemed to function a little
C-15          3/27/2023 SO-316A             No           11:00 AM     3:45 PM    PRIOR            DGR        100          114         11400                  HT Large 5                     Large        5
                                                                                                                                                                                                                  better.
C-10          3/28/2023 SO-316-A            No           8:00 AM      4:00 PM    PRIOR            DGR        100          259         25900                  HT Large 13                    Large        13                                                       Need 24 more bags to complete
C-5           3/29/2023 SO-316-A            Yes          8:00 AM      10:00 AM   PRIOR            DGR        100          24          2400                   HT Large 1                     Large        1        Start up
              3/29/2023 SO-316-B            No           8:00 AM      4:00 PM    PRIOR            OGR        100          260         26000                  HT Large 13                    Large        13
                                                                                                                                                                                                                  Charged tube mill got lil mac going helping
50            3/30/2023 SO-316-B            No           9:30 AM      4:00 PM    PRIOR            OGR        100          100         10000                  HT Large 5                     Large        5
                                                                                                                                                                                                                  to produce better
60            3/30/2023 SO-316-B            No           9:30 AM      4:00 PM    PRIOR            OGR        100          127         12700                  HT Large 6                     Large        6

                                                                                                                                                                                                                                                                  Getting more confident at feeding product at
75            3/31/2023 SO-316              No           8:45 AM      4:00 PM    PRIOR            OGR        100          293         29300                  HT Large 15                    Large        15       Ran pretty good today                           closer intervals. Need to keep material hot.
                                                                                                                                                                                                                                                                  Finished product flows easy up the packer cyclone.
2000


#2 Standard
40x48
HT Small
HT Large


Small
Large
Laminated




                                                                                                                                                                                                                  Exhibit P-27, Page007
                                                           Appellate Case: 25-1349                                  Page: 1991                        Date Filed: 04/07/2025 Entry ID: 5503844
                                       12:00 AM
                                       11:59 PM




                                                                        Exhibit P-27, Page008
Appellate Case: 25-1349   Page: 1992         Date Filed: 04/07/2025 Entry ID: 5503844
            .ER1cq              AIVIEKICAIN 1 KIYULI
                               P.O. BOX 489 - SENECA, MISSOURI 64865
                                       TEL.NO.+1.417.776.2216
                                    EMAIL: Info@AmericanTripoli.com


To: Jena Turner
From: Russell Tidaback
Date: April 26, 2022
Re: Letter of Reprimand

This letter is a formal reprimand for the performance you have exhibited on the job. Your work, despite
encouragement and guidance given, is not improving. In the employee hand book it outlines the 3-step
progressive discipline process.

We have expressed on numerous occasions that we are a collaborative and team work based company. As
part of this collaborative and team work based environment it is the management teams responsibility to
provide tasking/responsibility direction and assistance and then to hold employees accountable for the
tasks/responsibilities given. We strive to create a healthy, positive environment and do everything we can to
help you succeed.

When your manager, or one of the company owners, specifically task you with something you need to ensure
the task(s) are completed efficiently and effectively in a timely manner. We will address a few instances where
this type of incident has come up.

- The natural gas contract. You were tasked to reach out to vendors and when asked the status you stated you
hadn't heard anything and would follow up. This occurred numerous times. We eventually had to resolve this
tasking at the management level.

 Having Teams on your phone for couaborat.icn.This has been an ongoing issue since October. The last
response from you when inquired is that you just didn't want to as it caused you to check it all the time.
Having Teams on your phone and being collaborative is part of the job responsibilities and team work.

 Preparing the smaller retail bags for inventory. This was asked of you for more than a month. We had to do
this at the management level to get it done.

- Taking the provided company laptop home with you each evening. We have been discussing the purpose of
taking the company laptop home each evening since June 2021. Now that the company has provided a laptop,
when asked why you are not taking the laptop home each night, the response from you was that you just
didn't want to.

All of these incidents are taken as either not understanding the company hierarchy, tasks and responsibilities,
what being a team player is, or blatant disrespect.

You have approximately thirty days, although if we don't see early progress, you will not get the full thirty
days, to demonstratethat you can perform this job, effectively complete the tasks given, and participate as a
company team player. If you don't demonstrate immediate progress, we will terminate your employment.

We will place a copy of this formal, written reprimand in your personnel file in Human Resources.


                                                   Page 1 of 2


                                                                      Exhibit P-35, Page 001
   Appellate Case: 25-1349            Page: 1993          Date Filed: 04/07/2025 Entry ID: 5503844
             .ER1cq               AIVIERICAIN 1 KIYULI
                                P.O. BOX 489 - SENECA,MISSOURI 64865
                                        TEL.NO.+1.417.776.2216
                                     EMAIL: Info@AmericanTripoli.com


Please take this advice seri   sl as our p     r nce is always to see employees succeed.

Signatu e:

Supervisor Name: Russell Tidaback (Owner)

Date: 26APR2022



Acknowledgment of Receipt

I acknowledge that I have received this written reprimand. My acknowledgment
                                                                                  does not mean that I agree
with its contents. I understand that you will place a copy of this reprimand in my official
                                                                                            personnel file. I also
acknowledge that I have the right to prepare a written response that you will attach to the original
                                                                                                       letter of
reprimand.

Signature:


Employee Name: Jena Turner

Date:




                                                     Page 2 of 2


                                                                         Exhibit P-35, Page 002
     Appellate Case: 25-1349             Page: 1994         Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-35, Page 003
Appellate Case: 25-1349   Page: 1995   Date Filed: 04/07/2025 Entry ID: 5503844
                               AMERICAN TRIPOLI
                                P.O. BOX 489 – SENECA, MISSOURI 64865
                                        TEL.NO.+1.417.776.2216
                                     EMAIL: Info@Am ericanTripoli.com




Camrin Bindle
Mill Associate
201 N. Vine St.
Commerce, OK 74339

Date: 6/7/2022

Dear Camrin Bindel,

This is regarding your resignation notice on 6/7/2022 wherein you requested to be relived of your services
immediately. We want to inform you that your resignation is accepted, and you're relieved from your position
as Mill Associate with American Tripoli with the effective date 6/7/2022.

We sincerely appreciate your contributions to American Tripoli for the following time period 3/28/2022 –
6/7/2022. To receive a professional recommendation will require a more personal relationship with someone
within the company.

Respectfully,


Christine Schreiber
Operations Manager




                                                 Page 1 of 1

                                                                    Exhibit P-35, Page 004
     Appellate Case: 25-1349          Page: 1996        Date Filed: 04/07/2025 Entry ID: 5503844
                                   AMERICAN TRIPOLI
                                                 SENECA STANDARD



To: Carson Allman

From: John Spears

Date: 13OCT2022

RE: Letter of Reprimand

This letter is to inform you that your performance is not meeting the expected requirements for your position as a
maintenance technician. We’re concerned and want to see you succeed.

You are officially failing to perform for the following reason(s):
   - Understand the priority of maintenance needs for production
   - Complying with responding to maintenance calls
   - Demonstrating lack of sense of urgency
   - Demonstrating lack of maintenance experience as represented on resume

Based on position description, role discussions, verbal, and written communications, you are failing to meet the
performance measurements for your role. These performance requirements affect not only the success of American
Tripoli’s operations but also the success of our customer which rely on our products to be produced and delivered so
they can support their employees and customers.

As a result, If we do not see improvements immediately, additional disciplinary action will occur up to and including
termination of employment. This letter will be added to your personnel file.

What can we do to support you in your role? Comment below.


_______________________________
John Spears - Operations Manager


______________________________
Carson Allman - Maintenance Technician

Comments:

__________________________________________________________________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

                                                       Page 1 of 1

                                                                             Exhibit P-35, Page 005
     Appellate Case: 25-1349              Page: 1997          Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-35, Page 006
Appellate Case: 25-1349   Page: 1998   Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-35, Page 007
Appellate Case: 25-1349   Page: 1999   Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-35, Page 008
Appellate Case: 25-1349   Page: 2000   Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-35, Page 009
Appellate Case: 25-1349   Page: 2001   Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-35, Page 010
Appellate Case: 25-1349   Page: 2002   Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,            )   DISCRIMINATION &
 United States Department of Labor, and             )   INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                     )   DOCKET
                      Complainants,                 )
                                                    )
                v.                                  )   Docket No. CENT 2023-0251-DM
                                                    )
 MOSENECAMANUFACTURER LIMITED                       )
 LIABILITY COMPANY d/b/a AMERICAN                   )   Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                           )   American Tr
                                                    )   Mine Id No. 23-00504
                                                    )
                        Respondent.                 )

 RESPONDENT’S SECOND INTERROGATORIES ANSWERS AND RESPONSE FOR
                   PRODUCTION OF DOCUMENTS



                                      INTERROGATORIES
       INTERROGATORY NO. 1: Identify the name of any miner allegedly hired by
Respondent to replace Robert Baumann and indicate when any such job posting was made to
replace Robert Baumann and when any job offers were made to prospective employees who
were hired to allegedly replace Robert Baumann.
       ANSWER:
In response to INTERROGATORY NO. 1, the mine operator acknowledges the job postings that
were made to replace Robert Baumann, as detailed in the attachments provided. These job
postings were publicly posted on Indeed.com with the aim of filling the vacant positions
resulting from Robert Baumann's departure. The specific job postings, along with their
respective posting dates, are as follows:


"Production Controller, Seneca, MO" - Posted on August 1, 2022 Job Details _ Indeed.com.pdf




                                                1


                                                               Exhibit P-34, Page 001
   Appellate Case: 25-1349         Page: 2003       Date Filed: 04/07/2025 Entry ID: 5503844
"Production Control Manager, Seneca, MO" - Posted on August 1, 2022 Job Details _
Indeed.com.pdf


"Production Foreman, Seneca, MO" - Posted on August 1, 2022 Job Details _ Indeed.com.pdf


"Production Lead, Seneca, MO" - Posted on April 17, 2023 Job Details _ Indeed.com.pdf


Additionally, the mine operator utilized various online platforms, including Facebook
community and job posting groups, to reach a broader audience for job postings and employment
opportunities. These platforms were chosen to maximize the visibility of the job openings and
attract potential candidates.


While the mine operator did post these job openings to replace Robert Baumann, it's important to
note that records of job offers made to the numerous prospective employees who were not
accepted with the intent to replace Robert Baumann were not retained by the mine operator.
However, the mine operator can provide the names of the individuals who received job offers
and subsequently accepted employment with the company:


Aaron Duke
Alex Snodgrass
David Dagle
Richard McClelland
Will Shallenburger


These individuals were extended job offers and accepted positions with the mine operator. Any
additional details or documents related to these job offers or the hiring process can be provided
upon further request.




                                                 2


                                                                Exhibit P-34, Page 002
   Appellate Case: 25-1349         Page: 2004        Date Filed: 04/07/2025 Entry ID: 5503844
         INTERROGATORY NO. 2: To the extent you are making a financial hardship claim in
this case, describe how the proposed penalties in this docket would affect Respondent’s ability to
remain in business, including a description of the current business climate as it relates to your
business and how that has changed in the past two years. Such description should include any
sales increases or decreases, opening/closing of different mines, and any unexpected expenses or
loans.
         ANSWER: In response to the interrogatory and regarding the financial impact of the
                       proposed penalties, it is imperative to highlight the severe adverse effects
                       that these penalties would have on American Tripoli's ability to remain in
                       business. The current business climate has presented numerous challenges,
                       and the imposition of substantial penalties would exacerbate the
                       company's precarious financial situation.


                    Over the past two years, American Tripoli has faced several significant
                       challenges that have strained its financial stability. These challenges
                       include:
                    Employee High Turnover and Quiet Quitting: American Tripoli has
                       experienced a high turnover rate among employees, with over 30
                       employees leaving the company since June 2021. This level of turnover is
                       exceptionally high for a small company that typically employs 12-15
                       workers. The phenomenon of "quiet quitting," where employees disengage
                       and become less productive, has also been a significant concern.


                    Impact of COVID-19: The aftermath of the COVID-19 pandemic has had a
                       lasting impact on the business. The pandemic disrupted the labor market
                       and created uncertainty in the workforce, making it challenging to attract
                       and retain skilled workers.




                                                  3


                                                                   Exhibit P-34, Page 003
   Appellate Case: 25-1349         Page: 2005         Date Filed: 04/07/2025 Entry ID: 5503844
     Supply Chain Disruptions: The global supply chain disruptions in 2022
       further compounded the challenges faced by American Tripoli. The costs
       of building a new mill, which might have allowed for expansion and
       increased revenue, were estimated to be prohibitively high, hindering any
       expansion plans.


     Operational Shutdowns: The company has experienced prolonged
       operational shutdowns due to ongoing MSHA inspections and
       enforcement actions. These interruptions have cumulatively resulted in
       approximately 12 weeks of downtime, during which the company missed
       out on an estimated $3,000,000 in revenue-generating operations. The
       company has asked the district numerous times for assisted visits to help
       us but to no avail.


     Accumulated Debt: American Tripoli is currently burdened with a debt of
       approximately $900,000, not including the $2,000,000 balance on notes
       acquired to purchase the business.


     Given the aforementioned challenges and the delicate financial state of the
       company, the proposed penalties in this docket would have a devastating
       impact on American Tripoli's ability to remain in business. These penalties
       would further exacerbate the company's debt burden, potentially pushing it
       towards bankruptcy.


     The imposition of substantial fines by MSHA would strain the already
       limited financial resources, making it increasingly difficult for American
       Tripoli to meet its financial obligations, retain employees, and continue its
       operations. The company urges a thorough consideration of these



                                 4


                                                           Exhibit P-34, Page 004
Appellate Case: 25-1349      Page: 2006        Date Filed: 04/07/2025 Entry ID: 5503844
                   extenuating circumstances and the potential dire consequences of
                   imposing such penalties.




                                              5


                                                      Exhibit P-34, Page 005
Appellate Case: 25-1349   Page: 2007      Date Filed: 04/07/2025 Entry ID: 5503844
                                     DECLARATION

           I, RUSSELL TIDABACK state that I am authorized to
    answer the foregoing interrogatories on behalf of
    MoSenecaManufacturer Limited Liability Company d/b/a American
    Tripoli. I have read the foregoing interrogatories and answers thereto and
    know the content thereof. Pursuant to 28 U.S.C. § 1746, I declare
    under penalty of perjury that the foregoing answers to the
    interrogatories are true and correct.



                                          By: _______________

                                          Name: RUSSELL TIDABACK

                                          Title: MANAGING MEMBER

                                          Dated:




                                             6


                                                     Exhibit P-34, Page 006
Appellate Case: 25-1349    Page: 2008     Date Filed: 04/07/2025 Entry ID: 5503844
                   REQUESTS FOR PRODUCTION OF DOCUMENTS

       1.      Produce all documents identified or referred to in your answers to the
interrogatories above.
       RESPONSE: The inquiry and request for information regarding Interrogatory No. 1. To
       assist you in obtaining the necessary details related to this matter, we kindly direct your
       attention to the uploaded documents contained in our case file. These documents are
       organized into folders labeled "Interrogatory 1" and "Interrogatory 2."


       For your convenience and to facilitate your review, we have included the relevant
       documents in the respective folders as follows:


       Interrogatory 1 Folder:
       June 13, 2022 - Robert Baumann Application - Candidates _ Indeed.com.pdf
       August 1, 2022 - Production Controller, Seneca, MO - Job Details _ Indeed.com.pdf
       August 1, 2022 - Production Control Manager, Seneca, MO - Job Details _
       Indeed.com.pdf
       August 1, 2022 - Production Supervisor, Seneca, MO - Job Details _ Indeed.com.pdf
       April 17, 2023 - Production Lead, Seneca, MO - Job Details _ Indeed.com.pdf
       Aaron Duke_American Tripoli_Offer Letter_25APR23 - signed.pdf
       Alex Snodgrass Resume.pdf
       David Daigle Employment Offer Letter.pdf
       Richard McClelland_American Tripoli Position Offer Letter.pdf
       Will Shallenburger - American Tripoli Position Offer Letter.pdf
       Interrogatory 2 Folder:


       MOSENECAMANUFACTURER LLC - 2021 Balance Sheet.pdf
       MOSENECAMANUFACTURER LLC - 2021 Income Statement.pdf
       MOSENECAMANUFACTURER LLC - 2021 Tax Returns.pdf


                                                 7


                                                                Exhibit P-34, Page 007
  Appellate Case: 25-1349        Page: 2009          Date Filed: 04/07/2025 Entry ID: 5503844
       MOSENECAMANUFACTURER LLC - 2022 Balance Sheet.pdf
       MOSENECAMANUFACTURER LLC - 2022 Income Statement.pdf
       MOSENECAMANUFACTURER LLC - 2022 Tax Returns.pdf
       MOSENECAMANUFACTURER LLC - 2023 Balance Sheet.pdf
       MOSENECAMANUFACTURER LLC - 2023 Income Statement.pdf
       These documents contain relevant information pertaining to the job postings, hiring
       process, and financial records as outlined in Interrogatory No. 1 and Interrogatory No. 2.


       We encourage you to refer to these documents to access the specific details requested.


       Should you require any further clarification or additional information, please do not
       hesitate to reach out to us. We are committed to providing a comprehensive and accurate
       response to your inquiries.


       2.     Produce documents reflecting the final paycheck provided to Robert Baumann,
including any associated pay stub.
       RESPONSE: We have reviewed our records and have identified that the requested
       document labeled "Robert Baumann Payroll Detail 07.01.22 - 04.21.23 (1).pdf" was
       already included in our initial response within the "First Interrogatories Responses"
       submission. This document was attached for your reference in that submission.


       3.     Produce records of hours worked by Baumann on a weekly or bi-weekly basis,
including any pay stubs showing hours worked for each pay period.
       RESPONSE: We have reviewed our records and have identified that the requested
       document labeled "Robert Baumann Payroll Detail 07.01.22 - 04.21.23 (1).pdf" was
       already included in our initial response within the "First Interrogatories Responses"
       submission. This document was attached for your reference in that submission.




                                                  8


                                                                Exhibit P-34, Page 008
   Appellate Case: 25-1349           Page: 2010       Date Filed: 04/07/2025 Entry ID: 5503844
       4.     Produce each pay stub related to each payment made by Respondent to Robert
Baumann.
       RESPONSE: Upon reviewing your request, we have noted that Request Number 4, which
       seeks "each pay stub related to each payment made by Respondent to Robert Baumann,"
       appears to be a duplicate of Request Number 2, where we have already provided the
       requested document labeled "Robert Baumann Payroll Detail 07.01.22 - 04.21.23
       (1).pdf."


       To avoid redundancy and to streamline the document retrieval process, we kindly refer
       you to our response for Request Number 2, where you will find the document you are
       seeking. This document includes the necessary information related to Robert Baumann's
       pay stubs during the specified period.


       5.     Produce Respondent’s No Gossip Policy or any similar policy and/or procedure
regarding gossiping, including any documents regarding when this policy was implemented.
       RESPONSE: The request for the production of documents, specifically regarding
       Respondent's No Gossip Policy or any similar policy and/or procedure related to
       gossiping.


       We would like to inform you that the No Gossip Policy, which you have requested, was
       discussed and implemented at our organization with due consideration for guidelines set
       forth by the National Labor Relations Board (NLRB). Our intention in crafting this policy
       was to ensure a productive and respectful work environment, in compliance with the law
       and the protection of our employees' rights.


       The No Gossip Policy was introduced during an employee meeting on 9th August 2022.
       This policy aligns with the NLRB's rulings and adheres to their guidelines, which we take
       very seriously. We recognize the importance of allowing employees to discuss work-



                                                9


                                                                Exhibit P-34, Page 009
   Appellate Case: 25-1349        Page: 2011          Date Filed: 04/07/2025 Entry ID: 5503844
       related matters, including wages, benefits, and terms and conditions of employment,
       without interference or discouragement.


       To maintain clarity and transparency, our policy clearly is not intended to discourage
       concerted activity or the discussion of working conditions. It provides specific examples
       of prohibited conduct, such as abusive and profane language towards another individual
       not present or in a negative light, to ensure that our employees understand the boundaries
       of respectful communication.


       Additionally, the policy avoids overly broad or ambiguous language, as we understand
       that ambiguous rules can be construed against the employer. We have taken care to
       define permissible conduct clearly to encourage a safe and open workplace environment
       where employees feel comfortable discussing protected activities.
       Please see the file labeled “No gossip letter.pdf”.


       6.     Produce the original documents, including the Word documents, Excel
spreadsheets, Microsoft Teams Notes from which such PDF’s originated, with all metadata intact
for the following documents you produced in response to the Acting Secretary’s First Requests
for Production of Documents: Carson Allman – 4NOV2022 -Termination Letter; Terry Newborn
– 4NOV22 Termination Letter; Christine Schreiber Russell Notes; Jim Hoover Russell Notes;
Daily Workplace Inspections 1JUNE2022 – 17APR2023; American Tripoli Employee
Handbook; Robert Baumann_American Tripoli Position Offer Letter; and 13OCT2022- Carson
Allman – Letter of Reprimand.
       RESPONSE: We appreciate your follow-up request regarding the production of original
       documents, including Word documents, Excel spreadsheets, and Microsoft Teams Notes,
       along with all metadata intact, for the documents previously provided in response to the
       Acting Secretary's First Requests for Production of Documents.




                                                 10


                                                                Exhibit P-34, Page 010
   Appellate Case: 25-1349         Page: 2012         Date Filed: 04/07/2025 Entry ID: 5503844
       As you are aware, we take your requests seriously and have been diligently working to
       ensure full compliance with your inquiry. It's important to clarify that the documents you
       have listed, including termination letters, notes, workplace inspections, our Employee
       Handbook, position offer letters, and letters of reprimand, were provided in PDF format
       as part of our initial responses.


       Regrettably, the documents you requested were initially produced as PDFs, and they were
       not originally created as Word documents or Excel spreadsheets. Additionally, the
       information contained in our Microsoft Teams Notes is not stored in a format that allows
       for direct extraction as Word or Excel documents.


       Given the nature of these documents and the format in which they were originally
       created, we trust that the provided PDFs accurately represent the content and intent of the
       materials requested. However, if you require any specific information or additional
       details related to these documents, we are more than willing to assist you in any way
       possible to address your needs.




       7.      Produce the training documents you allege were used to provide New Miner
Training to Robert Baumann on July 5, 2022.
       RESPONSE: In response to your request for the production of training documents related
       to the New Miner Training provided to Robert Baumann on July 5, 2022.


       The New Miner Training for Robert Baumann on July 5, 2022, was documented by
       Bonnie Bainter, our Safety and Environmental Specialist at the time. Mrs. Bainter
       followed the established training protocols and utilized a variety of training materials and
       documents to ensure that Mr. Baumann received comprehensive training in compliance
       with the required subjects.



                                                  11


                                                                 Exhibit P-34, Page 011
   Appellate Case: 25-1349           Page: 2013        Date Filed: 04/07/2025 Entry ID: 5503844
It is important to note that during the New Miner Training sessions, trainers like Mrs.
Bainter often employ a range of training aids, presentations, and reference materials to
cover the necessary topics thoroughly. These training aids and documents may include,
but are not limited to, written materials, presentations, handouts, safety guidelines, and
other instructional resources. All the training files the company maintains were submitted
in the first response files.


Given the dynamic nature of the training process and the need to adapt to participants'
questions and specific needs, it is challenging to identify and isolate specific training
documents that were utilized during a particular training session. Each instructor may use
their own resources that fits best for their class and attendees. Furthermore, our training
records encompass a wide array of subjects, which are part of the standard curriculum for
New Miner Training, the specific subjects required by MSHA.


While we maintain records of training sessions, including signed forms such as the
MSHA 5000-23, we do have a specific set of documents that represents the materials that
could have be used during Mr. Baumann's training session on July 5, 2022. The training
process is dynamic and customized to address the unique circumstances and questions
that may arise during each training session. We would not have a record of the specific
questions Mr. Baumann may have asked during the training that may have directed Mrs.
Bainter to utilize different training resources.


However, we would like to highlight that Mr. Baumann verified his completion of the
documented training by signing the MSHA 5000-23 form, which attests to his
acknowledgment of having received the training and his understanding of the subject
matter covered during the session on 07/05/2022. This form is a standard practice in our




                                          12


                                                              Exhibit P-34, Page 012
Appellate Case: 25-1349         Page: 2014         Date Filed: 04/07/2025 Entry ID: 5503844
       training procedures, ensuring that employees acknowledge their training and affirm their
       commitment to safety.


       We want to assure you that our commitment to safety and training is unwavering, and we
       take all necessary steps to ensure that our training programs comply with MSHA
       regulations and provide our employees with the knowledge and skills required for their
       roles.


       8.       Produce documents reflecting the Paid Time Off or vacation leave Baumann had
accrued as of April 17, 2023, and any documents reflecting any payments to Baumann for any
such accrued Paid Time Off or vacation leave.
       RESPONSE: Upon reviewing your request, we have noted that Request Number 8, which
       seeks " reflecting the Paid Time Off or vacation leave Baumann had accrued as of April
       17, 2023”, please see document labeled "Robert Baumann Payroll Detail 07.01.22 -
       04.21.23 (1).pdf."


       9.       To the extent you are making a financial hardship claim in this case, produce the
following financial records for Respondent:
                a.     Respondent’s state and federal tax returns for the past three years.
                b.     Any Tax Form K-1 for American Tripoli from the past three years.
                c.     The balance sheets for Respondent, including year-end assets and
                       liabilities of Respondent from the past three years.
                d.     Income Statements, showing all revenue and expense items for
                       Respondent from the last three years.
                e.     Respondent’s most recent auditor’s report and footnotes, including details
                       about the methods used to compile the accounting data.
                f.     Any bankruptcy petition(s) filed by Respondent.




                                                 13


                                                                 Exhibit P-34, Page 013
   Appellate Case: 25-1349         Page: 2015         Date Filed: 04/07/2025 Entry ID: 5503844
         g.     Chart of the accounts, disbursements ledgers, journal entries, and general
                ledge, and accounting work papers for Respondent since June 2021.
         h.     Documents showing any loans made to owners or managers of the
                company from Respondent from the past three years.
         i.     Transfers of funds from Respondent to related companies or owners from
                the past three years.
         j.     Transfers of funds from Respondent to any entity owned by any owner of
                Respondent from the past three years.
RESPONSE: In response to Request for Production No. 14 and in accordance with the
financial hardship claim made in this case, please note that while American Tripoli is
committed to providing the requested financial records, some records may not be
immediately available, and the production timeline may vary depending on the
complexity and availability of the documents. American Tripoli will make a good-faith
effort to produce the requested financial records in a timely manner. If you have any
further specific requests or need additional information, please feel free to contact us to
facilitate the process.
a. See attached submitted tax returns, labeled “MOSENECAMANUFACTURER LLC -
2021 tax returns.pdf, MOSENECAMANUFACTURER LLC - 2022 tax returns.pdf”
b. N/A
c. See attached, labeled “MOSENECAMANUFACTURER LLC - 2021 Balance
Sheet.pdf, MOSENECAMANUFACTURER LLC - 2022 Balance Sheet.pdf, and
MOSENECAMANUFACTURER LLC - 2023 Balance Sheet.pdf”
d. See attached, labeled “MOSENECAMANUFACTURER LLC - 2021 Income
Statement.pdf, MOSENECAMANUFACTURER LLC - 2022 Income Statement.pdf,
MOSENECAMANUFACTURER LLC - 2023 Income Statement.pdf”
e. N/A
f. N/A
g. See attached, labeled “9.g. Chart of Accounts.xlsx”



                                         14


                                                             Exhibit P-34, Page 014
Appellate Case: 25-1349        Page: 2016        Date Filed: 04/07/2025 Entry ID: 5503844
      h. N/A
      i. N/A
      j. N/A


      10.      Produce an unredacted, complete copy of Russell Tidaback’s Microsoft Teams’
communications with Jim Hoover from April 17, 2023 through May 7, 2023.
      RESPONSE: Please see the following chat:




                                             15


                                                            Exhibit P-34, Page 015
 Appellate Case: 25-1349        Page: 2017        Date Filed: 04/07/2025 Entry ID: 5503844
                                        16


                                                 Exhibit P-34, Page 016
Appellate Case: 25-1349   Page: 2018   Date Filed: 04/07/2025 Entry ID: 5503844
                                  17


                                                 Exhibit P-34, Page 017
Appellate Case: 25-1349   Page: 2019   Date Filed: 04/07/2025 Entry ID: 5503844
                                   18


                                                  Exhibit P-34, Page 018
Appellate Case: 25-1349   Page: 2020    Date Filed: 04/07/2025 Entry ID: 5503844
                                 19


                                                 Exhibit P-34, Page 019
Appellate Case: 25-1349   Page: 2021   Date Filed: 04/07/2025 Entry ID: 5503844
                                   20


                                                  Exhibit P-34, Page 020
Appellate Case: 25-1349   Page: 2022    Date Filed: 04/07/2025 Entry ID: 5503844
                                   21


                                                  Exhibit P-34, Page 021
Appellate Case: 25-1349   Page: 2023    Date Filed: 04/07/2025 Entry ID: 5503844
                                  22


                                                 Exhibit P-34, Page 022
Appellate Case: 25-1349   Page: 2024   Date Filed: 04/07/2025 Entry ID: 5503844
                                  23


                                                 Exhibit P-34, Page 023
Appellate Case: 25-1349   Page: 2025   Date Filed: 04/07/2025 Entry ID: 5503844
                                  24


                                                 Exhibit P-34, Page 024
Appellate Case: 25-1349   Page: 2026   Date Filed: 04/07/2025 Entry ID: 5503844
                                       25


                                                      Exhibit P-34, Page 025
Appellate Case: 25-1349   Page: 2027        Date Filed: 04/07/2025 Entry ID: 5503844
                                               26


                                                    Exhibit P-34, Page 026
Appellate Case: 25-1349   Page: 2028   Date Filed: 04/07/2025 Entry ID: 5503844
                                  27


                                                 Exhibit P-34, Page 027
Appellate Case: 25-1349   Page: 2029   Date Filed: 04/07/2025 Entry ID: 5503844
                                   28


                                                  Exhibit P-34, Page 028
Appellate Case: 25-1349   Page: 2030    Date Filed: 04/07/2025 Entry ID: 5503844
                                   29


                                                  Exhibit P-34, Page 029
Appellate Case: 25-1349   Page: 2031    Date Filed: 04/07/2025 Entry ID: 5503844
                                   30


                                                  Exhibit P-34, Page 030
Appellate Case: 25-1349   Page: 2032    Date Filed: 04/07/2025 Entry ID: 5503844
                                   31


                                                  Exhibit P-34, Page 031
Appellate Case: 25-1349   Page: 2033    Date Filed: 04/07/2025 Entry ID: 5503844
                                   32


                                                  Exhibit P-34, Page 032
Appellate Case: 25-1349   Page: 2034    Date Filed: 04/07/2025 Entry ID: 5503844
                                   33


                                                  Exhibit P-34, Page 033
Appellate Case: 25-1349   Page: 2035    Date Filed: 04/07/2025 Entry ID: 5503844
                                       34


                                                      Exhibit P-34, Page 034
Appellate Case: 25-1349   Page: 2036        Date Filed: 04/07/2025 Entry ID: 5503844
                                   35


                                                  Exhibit P-34, Page 035
Appellate Case: 25-1349   Page: 2037    Date Filed: 04/07/2025 Entry ID: 5503844
                                   36


                                                  Exhibit P-34, Page 036
Appellate Case: 25-1349   Page: 2038    Date Filed: 04/07/2025 Entry ID: 5503844
                                   37


                                                  Exhibit P-34, Page 037
Appellate Case: 25-1349   Page: 2039    Date Filed: 04/07/2025 Entry ID: 5503844
                                   38


                                                  Exhibit P-34, Page 038
Appellate Case: 25-1349   Page: 2040    Date Filed: 04/07/2025 Entry ID: 5503844
                                   39


                                                  Exhibit P-34, Page 039
Appellate Case: 25-1349   Page: 2041    Date Filed: 04/07/2025 Entry ID: 5503844
                                   40


                                                  Exhibit P-34, Page 040
Appellate Case: 25-1349   Page: 2042    Date Filed: 04/07/2025 Entry ID: 5503844
                                   41


                                                  Exhibit P-34, Page 041
Appellate Case: 25-1349   Page: 2043    Date Filed: 04/07/2025 Entry ID: 5503844
                                   42


                                                  Exhibit P-34, Page 042
Appellate Case: 25-1349   Page: 2044    Date Filed: 04/07/2025 Entry ID: 5503844
                                       43


                                                      Exhibit P-34, Page 043
Appellate Case: 25-1349   Page: 2045        Date Filed: 04/07/2025 Entry ID: 5503844
                                   44


                                                  Exhibit P-34, Page 044
Appellate Case: 25-1349   Page: 2046    Date Filed: 04/07/2025 Entry ID: 5503844
                                   45


                                                  Exhibit P-34, Page 045
Appellate Case: 25-1349   Page: 2047    Date Filed: 04/07/2025 Entry ID: 5503844
                                   46


                                                  Exhibit P-34, Page 046
Appellate Case: 25-1349   Page: 2048    Date Filed: 04/07/2025 Entry ID: 5503844
                                   47


                                                  Exhibit P-34, Page 047
Appellate Case: 25-1349   Page: 2049    Date Filed: 04/07/2025 Entry ID: 5503844
                                   48


                                                  Exhibit P-34, Page 048
Appellate Case: 25-1349   Page: 2050    Date Filed: 04/07/2025 Entry ID: 5503844
                                   49


                                                  Exhibit P-34, Page 049
Appellate Case: 25-1349   Page: 2051    Date Filed: 04/07/2025 Entry ID: 5503844
                                  50


                                                 Exhibit P-34, Page 050
Appellate Case: 25-1349   Page: 2052   Date Filed: 04/07/2025 Entry ID: 5503844
       11.    Produce an unredacted, complete copy the Mill Group Chat, Microsoft Teams
chat, from June 26, 2023.
RESPONSE: Please see the chat on June 26, 2023:




                                            51


                                                         Exhibit P-34, Page 051
 Appellate Case: 25-1349      Page: 2053      Date Filed: 04/07/2025 Entry ID: 5503844
                                52


                                                 Exhibit P-34, Page 052
Appellate Case: 25-1349   Page: 2054   Date Filed: 04/07/2025 Entry ID: 5503844
       12.    Produce documents related to the fatality referred to in John Spears’ Mill Group
Chat message on June 26, 2023, produced by Respondent in the document titled ALL
Communications regarding MSHA.
       RESPONSE: In response to your request for the production of documents related to the
       fatality referred to in John Spears' Mill Group Chat message on June 26, 2023. We
       appreciate your inquiry and the opportunity to clarify the information requested.


       In the Mill Group Chat conversation on June 26, 2023, the mine operator posted a link to
       the June 8, 2023, fatality alert notice issued by the Mine Safety and Health
       Administration (MSHA). The referenced fatality is the same incident that is detailed in
       the MSHA's official alert notice.


       As the requested documents are directly related to the MSHA fatality alert notice, we
       would like to clarify that the details and information regarding this fatality are available
       in the official MSHA documentation, including the alert notice itself. We do not possess
       any additional internal documents or materials related to this specific incident beyond
       what has already been publicly communicated by MSHA.


       To provide you with the most accurate and complete information regarding this fatality,
       we recommend referring directly to the official MSHA fatality alert notice dated June 8,
       2023. This notice contains all relevant details and findings related to the incident, as
       compiled and reported by the regulatory authority responsible for investigating and
       documenting such events.


       Should you require access to the official MSHA fatality alert notice or have any further
       questions related to this incident or other matters, please do not hesitate to let us know.




                                                 53


                                                                 Exhibit P-34, Page 053
  Appellate Case: 25-1349         Page: 2055          Date Filed: 04/07/2025 Entry ID: 5503844
       13.     Produce the Microsoft Teams chats regarding the following incidents/entries into
the document titled Rob Baumann-Notes from Russell Tidaback employee journal:
        a.       26JUL2022 - Jeff states the shaker screen ripped because Rob didn’t put bolts
back in and just ran it like that. Rob told Miguel that he didn’t care and that Miguel needed to get
down. Rob shut things down sent everyone home early.
        b.      27JUL2022 - Christine states Rob is having the guys run straight 8 hours and
bypassing the given break so they can go home earlier. I explained the break should be rotated so
we can continue to produce for the 8.5 hours. The breaks are precautionary for employees dust
exposure too. MO doesn’t require breaks to be given. Plus they are only running bulk bags and
that can be done with two people.
        c.      1AUG202 - Christine states If Rob cannot get it done, we just need to replace
him.
        d.      5AUG2022 - Jessie states there is no emphasis for the guys to help him. When he
brings it to Rob, he shruggs his shoulders and walks away.
        e.      8AUG2022 - Christine wants to bring Rob to first shift as she doesn’t believe Rob
is doing what he is suppose to be doing without someone overseeing him. We cannot put Jim on
nights due to being a single father and a young child at home.
        f.      9AUG2022 - Christine thinks we should train someone to replace Rob on the
night shift.
        g.      16AUG2022 - Advised Christine to counsel Rob regarding shutting down and
letting people go earlier than scheduled.
        h.      25AUG2022 - Rob needs counseling on filling out the BOL correctly. A shipper
complained that he did it wrong and wasted their time.
        i.       31AUG2022 - Had discussion with Rob on the importance of inputting the daily
production information in the spreadsheet. He said he would log in and get it done.
        j.       3SEP2022 - Had discussion with Rob regarding the daily production numbers
and updating the spreadsheet accurately. I don’t know if he is incompetent or just lazy.
        k.      28SEPT2022 - Rob not doing the CILAS reports as required for orders produced.
        l.      8OCT2022 - Jessie and Carson were waiting for Rob to get there. Rob was late
getting there.
        m.      12OCT2022 - Had discussion with Rob regarding notifying and working with
Carson to address the maintenance issues. Carson said Rob gets mad at everything and is hard to
work with. I explained that getting angry and combative with others is not going to solve the
issue any quicker.
        n.      13OCT2022 - Had to counsel Rob on following the production schedule as it is
presented. He was not producing what was on the schedule. Rob said he didn’t like having to
check the computer or phone to do his job. I explained that the computer work was part of the
role.
        o.       17OCT2022 - Had to explain Rob about the flow of the system and asked him
why he wasn’t reviewing the operating documents in the maintenance team files. His excuse was
he didn’t like to read on a computer.
        p.      26OCT2022 - Had to explain to Rob why the MAC vacuum system was spewing
dust from the exhaust and that we had to shut the system down so DEQ doesn’t get called. Jim
states Rob doesn’t know what he is doing.
        q.      2NOV2022 - John mentioned Rob showing his poor attitude again.


                                                 54


                                                                 Exhibit P-34, Page 054
   Appellate Case: 25-1349         Page: 2056         Date Filed: 04/07/2025 Entry ID: 5503844
         r.       5NOV2022 - Had to get onto Rob about not properly keeping team shift hours
correct in Shifts. He was writing them down on scratch paper and forgetting to update shifts. I
don’t know if he is just lazy or what. I explained that he can do this any time from the computer
or his phone.
         s.      8NOV2022 - Had to inquire with Rob if he was shutting down early letting people
go home early. The systems were showing shut down before the end of the shift.
         t.       1DEC2022 - While at AT had a discussion with Rob regarding his lack of
attentiveness regarding ensuring the proper things were done with his team. The checklists
werent being completed. The inspections werent being completed. The breakroom was a disaster.
The fridge was disgusting. The trash wasn’t taken out the day before, some of the windows were
still open. The production floor was a mess. The back roll up door was off track. The bathroom
was disgusting. The circuit breakers in Warehouse A was blocked by slip sheets.
         u.      16DEC2022 - Discussion regarding keeping the production team informed of
what is expected to produce that day. Rob is lacking in managerial purpose for his team
members.
         v.      26DEC2022 - Discussion with Rob regarding not meeting the daily production
goals, team members complaining that he doesn’t know what he is doing and that he just gets
angry and stomps around like a child. He isnt a leader and allows his team to push him around.
His response was just nodding his head. I stressed filling out the tasking board everyday and
making sure the things get done. If he has problems with someone, take it to John and john will
get it resolved. Jim blames Rob.
         w.      20JAN2023 - Kensley posted in the Ops chat group a pic of dust blowing out the
back of the bldg. Again, had to stress to Rob that he needs to watch for any dust blowing out of
the building. We cant have the Sheriff or DNR receiving complaints about us. We had to
reiterate in the group that is was Robs responsibility to be inputting in the daily production
worksheet what was produced each day before he leaves for the day. This wasn’t been done.
         x.      25JAN2023 - Had to get onto Rob regarding keeping the completed bag inventory
up to date. John and I discussed Robs attitude.
         y.      28FEB2023 - discussed with Rob about the task board. Starting to think we need
to let Rob go. His attitude is one that he doesn’t care about getting things done. He jokingly
mentioned he liked being paid for not working.
         z.      20MAR2022 - Alex Snodgrass hired to eventually replace Rob.
         aa.     24MAR2023 - Discussion with John regarding Robs push back on stacking the
bags today. I believe Robs attitude is infectious. We need Alex to take over for Rob and just let
Rob go for performance issues.
         bb.     30MAR2023 - ATMO Safety discussion with Jessie about ensuring that Rob gets
the tasks done. The tasks are established, just not getting enforced by Rob.
         cc.     5APR2023 - Alex informed us regarding accepting a neurology position at a
hospital in Little Rock. Neurology is his degree is in. John and I discussed just letting Rob go.
         dd.     7APR2023 - John, Jordan and I discussed letting Rob go.
         ee.     12APR2023 - Time to let Rob go. He is afraid to make the system work and cant
meet the simple daily quotas. If Jim can get it done why cant Rob. Need to look at the mill
structure again. Jim can run the Mill, we just need to get a manager of people to manage the
team. Hopefully, Brian Edwards can do it. He can manage the people, QC, inventory and the
reporting. Jim can run the mill. Brian will need to learn how to as a back up to Jim.




                                               55


                                                               Exhibit P-34, Page 055
   Appellate Case: 25-1349        Page: 2057        Date Filed: 04/07/2025 Entry ID: 5503844
         ff.     14APR2023 - Warned John about an MSHA complaint when we let Rob go. Robs
termination will be based on production performance, not following guidance given by
management, not ensuring the safety of the mill associated by utilizing the proper controls, etc.
Send John the termination letter.
         gg.     16APR2023 - Ask Keith about miner pay and withdrawl order. Robs termination
letter sent to John.
         RESPONSE: These notes were from Mr. Tidabacks personal daily notes journal which is
       done on a Rocketbook wipeable notebook. These were not input into a Microsoft Teams
       Chat.


       14.     Produce all Microsoft Teams chats between Robert Baumann and any owner,
supervisor or manager of Respondent.
       RESPONSE: In your request for the production of all Microsoft Teams chats between
       Robert Baumann and any owner, supervisor, or manager of Respondent. We appreciate
       your patience as we work diligently to fulfill this highly technical request.


       Due to the specialized nature of retrieving Microsoft Teams chats, we are currently in the
       process of coaching our managers and supervisors on the necessary steps to access and
       compile the requested information. This process involves ensuring that all relevant chats
       are securely retrieved and properly documented to meet your requirements.


       We understand the importance of providing a comprehensive and accurate response to
       your request and are committed to delivering the requested Microsoft Teams chats as
       soon as they are available. Our team is actively working on this matter, and we anticipate
       completing the retrieval process within a reasonable timeframe.


       Please be assured that we take your request seriously and are making every effort to
       facilitate the retrieval of the requested chats efficiently and effectively. We will notify
       you as soon as the information is ready for submission.




                                                 56


                                                                  Exhibit P-34, Page 056
   Appellate Case: 25-1349         Page: 2058         Date Filed: 04/07/2025 Entry ID: 5503844
                                  Customer           Order #   Requested Type bag Grade             Quantity Produced
       Date        Start   End                                                                                          Remarks
       24-Jan-22                  Klang              14388     330       50#       AFC    Pallets   330
                                  JLEA               14412               100#      DGR              80                  Color change
       26-Jan-22                  JLEA                         200       50#       OGR              200
       27-Jan-22                  JLEA                                   50#       DGR              720
                                  JLEA                         22        2000#     DGR              440
       28-Jan-22                  JLEA                         2         2000#     DGR              40
                                  Federal                      400       100#      DGR              ?
       22-Feb-22                  Bright Abrasives   14421-A   400       100#      OGR              96
       25-Feb-22                  Bright Abrasives   14421-A   400       100#      OGR              20
       28-Feb-22                  Bright Abrasives   14421-A   400       100#      OGR              284
       1-Mar-22                   Formax             14415     400       100#      DGR              100
                                  JLEA               14427     13        Bulk Bags DGR              13

       2-Mar-22                   Formax             14415     300       100#     DGR               300                 Completed
                                  Federal_Mogal      14381,    50x3      50#      AFR               300
                                                     14419,                                                             Completed, 50
       3-Mar                                         14448                                                              extra
                                  JLEA               14427     840       50#      OGR               240                 In progress
       4-Mar-22                   JLEA               14427     600       50#      OGR     7-4W      600                 Completed
                                  Reptec             14425     840       50#      OGR     09-4W     360                 In progress
                                  Reptec             14425     480       50#      OGR     03-4W     120                 In progress DC
                                                                                                                        exhaust
                                                                                                                        failure=shutdo
                                                                                                                        wn and
       7-Mar-22                                                                                                         1300hrs
       8-Mar-22                   Reptec             14425     360       50#      OGR     9-4W      360                 Completed
                                                               44        100#     OGR     01-4W     44                  Completed
                                                     14429     21        2000#    DGR     03-4W     3                   For JLEA
       9-Mar-22                   Zephyr             14430     400       100#     DGR     20-4W     40                  In progress
       10-Mar-22                  Zephyr             14430     360       100#     DGR     18-4w     360                 Completed
       14-Mar-22   0930    1600   JLEA               14429     18        2000#    DGR     21-4W     18                  Completed
       15-Mar-22   1000    1400   JLEA               14439     12        2000#    DGR     21-4W     14                  In progress
                                  JLEA               14439     9         2000#    DGR     21-4W     7
                                                                                                                        Completed.
                                                                                                                        replaced pick
       16-Mar-22   1200    1400                                                                                         belt motor.
                                  JLEA               14440     21        2000#    DGR     21-4W     15
                                  Bright Abrasives   14421-B   20        2000#    OGR     20-4W     16
                                                                                                                        2ea DGR BB to
                                                                                                                        flush. Use for
                                                                                                                        14440 order.
                                                                                                                        loaded 1ea
                                                                                                                        bag of rock in
       17-Mar-22   1000                                                                                                 tube mill.
                                  JLEA               14440     2         2000#    DGR               2
                                  Shezen Sunshine    14359     400       100#     OGR     20-Heat
                                                                                          Treated
                                                                                          Lg
       21-Mar-22                  Bright Abrasives   14442     20        2000#    OGR     18-4W     20                  Completed
                                  JLEA               14417     18        2000#    DGR     20-4W     18                  Completed
                                  Shanghai Jiarong   14411     20        2000#    DGC     20-Heat   20
                                                                                          Treated
       22-Mar-22                                                                          Lg                            Completed
                                  Ceramic            14418     30        900#     DGC     20-4W                         Completed
                                  Warner Chemical    14453     20        100#     OGC     5-4W      20                  Completed
                                  JLEA               14417     2         2000#    DGC     2-4W      2                   Completed
                                  Blue Ribbon        14459     168       100#     DGC     7-4W      148                 will finish last
                                                                                                                        pallet
                                                                                                                        tomorrow
       23-Mar-22                  Blue Ribbon        14459               100#     DGC     1-4W      20
                                  For Stock          N/A       N/A       100#     DGC               32
                                                                                                                        For stock.
                                                                                                                        wrote DGC
                                                                                                                        with a sharpie
                                                                                                                        on log side of
                                                                                                                        bags
                                  BPI                14432     27        100#     PC      1-4W      36                  8 extra into
                                                                                                                        stock




                                                                                                                            Exhibit P-28, Page 001
Appellate Case: 25-1349            Page: 2059                   Date Filed: 04/07/2025 Entry ID: 5503844
Date        Start    End        Customer              Order #   Requested Type bag   Grade           Quantity Produced Remarks
1-Mar-22                        Formax                14415     400        100#      DGR             100
                                JLEA                  14427     13         Bulk Bags DGR             13
2-Mar-22                        Formax                14415     300        100#      DGR             300              Completed
                                                      14381,
                                                                                                                      Completed, 50
3-Mar                           Federal_Mogal         14419,    50x3       50#       AFR             300
                                                                                                                      extra
                                                      14448
                                JLEA                  14427     840        50#       OGR             240              In progress
4-Mar-22                        JLEA                  14427     600        50#       OGR     7-4W    600              Completed
                                Reptec                14425     840        50#       OGR     09-4W   360              In progress
                                                                                                                      In progress DC
                                                                                                                      exhaust
7-Mar-22                        Reptec                14425     480        50#       OGR     03-4W   120              failure=shutdo
                                                                                                                      wn and
                                                                                                                      1300hrs
8-Mar-22                        Reptec                14425     360        50#       OGR     9-4W    360              Completed
                                                                44         100#      OGR     01-4W   44               Completed
                                                      14429     21         2000#     DGR     03-4W   3                For JLEA
9-Mar-22                        Zephyr                14430     400        100#      DGR     20-4W   40               In progress
10-Mar-22                       Zephyr                14430     360        100#      DGR     18-4w   360              Completed
14-Mar-22   0930     1600       JLEA                  14429     18         2000#     DGR     21-4W   18               Completed
15-Mar-22   1000     1400       JLEA                  14439     12         2000#     DGR     21-4W   14               In progress
                                                                                                                      Completed.
16-Mar-22   1200     1400       JLEA                  14439     9          2000#     DGR     21-4W   7                replaced pick
                                                                                                                      belt motor.
                                JLEA                  14440     21         2000#     DGR     21-4W   15
                                                                                                                      2ea DGR BB to
                                                                                                                      flush. Use for
                                                                                                                      14440 order.
17-Mar-22   1000                Bright Abrasives      14421-B   20         2000#     OGR     20-4W   16
                                                                                                                      loaded 1ea
                                                                                                                      bag of rock in
                                                                                                                      tube mill.

                                JLEA                  14440     2          2000#     DGR             2



                                                                                              Exhibit P-28, Page 002
                    Appellate Case: 25-1349        Page: 2060       Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                  20-Heat
                        Shezen Sunshine       14359     400      100#    OGR
                                                                                  Treated Lg
21-Mar-22               Bright Abrasives      14442     20       2000#   OGR      18-4W        20    Completed
                        JLEA                  14417     18       2000#   DGR      20-4W        18    Completed
                                                                                  20-Heat
22-Mar-22               Shanghai Jiarong      14411     20       2000#   DGC                 20      Completed
                                                                                  Treated Lg
                        Ceramic               14418     30       900#    DGC      20-4W              Completed
                        Warner Chemical       14453     20       100#    OGC      5-4W         20    Completed
                        JLEA                  14417     2        2000#   DGC      2-4W         2     Completed
                                                                                                     will finish last
                        Blue Ribbon           14459     168      100#    DGC      7-4W         148   pallet
                                                                                                     tomorrow
23-Mar-22               Blue Ribbon           14459              100#    DGC      1-4W         20
                                                                                                     For stock.
                                                                                                     wrote DGC
                        For Stock             N/A       N/A      100#    DGC                   32    with a sharpie
                                                                                                     on log side of
                                                                                                     bags

                                                                                                     8 extra into
                        BPI                   14432     27       100#    PC       1-4W         36
                                                                                                     stock




                                                                                   Exhibit P-28, Page 003
            Appellate Case: 25-1349        Page: 2061    Date Filed: 04/07/2025 Entry ID: 5503844
Date       Order # Start Time   End Time    Customer   Grade   Size (in lbs)    Bags Made    Lbs Made    Major Downtime Events/ Notes
  1/1/2022 EXAMPLE      9:00 AM     1:00 PM Prior      OGR                 100           108       10800 elevator not keeping up
                                                                                                         bulk filler motor hit- system backed up with cold
  4/7/2022    14461       8:00 AM    4:30 PM Jlea      DGR                2000             4        8000 product; some bags made by combining half bags
                                                                                                         NO PRODUCTION- Dryer burner would not start-
  4/8/2022                                                                                               getting parts to replace contacts
                                                                                                         NO PRODUCTION- burner part replaced and dryer
 4/11/2022                                                                                               started late afternoon; training done
 4/12/2022    14446       8:00 AM   11:45 AM Ceramic   DGC                 900            30       27000
                                                                                                         burner went out once; ground screens issues; early
 4/12/2022    14471      11:45 AM    3:00 PM Ceramic   DGC                 900            16       14400 clean up
                                                                                                         NO PRODUCTION- burner would not start; trouble
 4/13/2022                                                                                               shooting; replacing more parts
                                                                                                         NO PRODUCTION- burner would not start; filters
 4/14/2022                                                                                               replaced while down
                                                                                                         NO PRODUCTION- burner would not start; tried
                                                                                                         part to fix it with no luck; cleaning outside and
 4/15/2022                                                                                               arranging inventory while down
                                                                                                         NO PRODUCTION- burner would not start; lights
 4/18/2022                                                                                               replaced and pit cleaned while down
                                                                                                         Installed burner part and ran some before filter
                                                                                                         intake motor went out; working on lights and
 4/19/2022    14471      12:15 PM    2:00 PM Ceramic   DGC                 900             1         900 guards while down
 4/20/2022    14471                          Ceramic   DGC                 900            14       12600
 4/20/2022    14447                          IMCD      DGC                   50           80        4000 Short staffed
                                                                                                         Stayed late in an attempt to finish the order, still
 4/20/2022    14333                          Prior     OGR                 100           216       21600 need 4 more pallets
 4/21/2022                                                                                               No PRODUCTION- SCROLL
 4/22/2022    14333     8:00 AM     12:00 PM Prior     OGR                 100           144       14400 Palletizer issues
 4/22/2022    14414 12:00PM          4:00 PM SEB                           100           240       24000
                                                                                                         on this order had dgr and ogr. started at eleven
 4/27/2022 14333-C        11:27 PM 3:00PM    Prior     OGR                 100           108       10800 charging tube mill
 4/27/2022 14333-c    11:27PM      3:00PM    Prior     DGR                 100            80        8000
 4/27/2022 14333-D    1:00PM       3:00PM    Prior     OGR                 100           252       25200 order had dgr and ogr
 4/27/2022 14333-D    3:00PM       5:00PM    Prior     DGR                 100           116       11600
 4/27/2022 14333-E    5:00PM       5:15PM    Prior     DGR                 100           108       10800
 4/27/2022 STOCK      10:30AM      11:00AM   ATMO      DGR                2000             2        4000
 4/28/2022 14333-E    7:45AM                 Prior     DGR                 100           252       25200
 4/28/2022 STOCK         11:00 AM 5:45PM     ATMO      OGR                2000            12       24000


                                                                                                              Exhibit P-28, Page 004
                         Appellate Case: 25-1349       Page: 2062        Date Filed: 04/07/2025 Entry ID: 5503844
4/28/2022 STOCK       11:00 AM 5:45PM       ATMO       DGR          2000        10     20000 69200 TOTAL FOR TODAY
4/29/2022 STOCK    7:45AM                   ATMO       DGR          2000         9     18000
4/29/2022 14333-E 8:15AM        9:30AM      Prior      DGR           100        36      3600
4/29/2022    14458      3:30 PM     4:30 PM Abrasive   DGR           100       100     10000




                                                                                                Exhibit P-28, Page 005
                       Appellate Case: 25-1349         Page: 2063    Date Filed: 04/07/2025 Entry ID: 5503844
                                                                 Exhibit P-28, Page 006
Appellate Case: 25-1349   Page: 2064   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                             Major Downtime
                                                                                                                                Total Tons Made
Date       Order #   Start Time    End Time    Customer    Grade   Size (in lbs)    Bags Made    Lbs Made    Events
  5/2/2022 STOCK           9:00 AM     9:30 AM ATMO        DGR                2000             2        4000                         209.3
  5/2/2022 STOCK           9:30 AM     9:40 AM ATMO        OGR                2000             1        2000
  5/2/2022 14458           9:45 AM     3:00 PM M. ABRASIVE OGR                  100          300       30000
  5/2/2022 14443           3:00 PM     3:30 PM B. ABBRASI OGR                 2000             6       12000
  5/3/2022 14467           8:45 AM             TRT PROD    OGR                  100          160       16000
  5/3/2022 14387         11:30 AM     12:00 PM KINGS B     OGR                  100           44        4400
  5/3/2022 14431         12:15 PM              KOYO        OGR                   50          390       19500
  5/3/2022 14464           3:30 PM     4:00 PM REPTEC      OGR                   50           40        2000
  5/3/2022 STOCK           3:30 AM     4:00 PM ATMO        OGR                2000             4        8000
  5/4/2022 STOCK           8:30 AM     9:00 AM ATMO        OGR                2000             2        4000
  5/4/2022 14464           9:00 AM    10:00 AM REPTEC      OGR                   50          200       10000

  5/4/2022 14411        10:00 AM     4:00 PM SHANGAI     DGR               2000            21        42000 ROCK IS REALLY WET
  5/5/2022 STOCK        10:45 AM    11:15 AM ATMO        DGR               2000             3         6000
  5/5/2022 14464        11:15 AM    11:45 AM REPTIC      DGR                 50           240        12000
  5/5/2022 14431        12:00 PM     4:00 PM KOYO        AFR                 50           250        12500
  5/5/2022 STOCK         3:00 PM     3:30 PM ATMO        AFR                 50            40         2000
  5/6/2022 STOCK         8:30 AM     8:45 AM ATMO        DGR               2000             2         4000
  5/6/2022 14464        10:00 AM     4:30 PM REPTIC      DGR                 50
  5/9/2022 SO-245        9:30 AM                         DGR               2000            15        30000
  5/9/2022 SO-245        9:30 AM             JACKSON LEE DGR                 50           200        10000
 5/10/2022 SO-245       10:00 AM    10:30 AM JACKSON LEE DGR                 50            80         4000
    10-May STOCK        10:00 AM             ATMO        DSG               2000             2         4000
 5/10/2022 14431         3:30 AM     4:00 PM KOYO        DGR                 50           280        14000
 5/11/2022 14466        10:00 AM    11:00 AM DIVINE      DGR                 50            80         4500
 5/11/2022 14469        11:30 AM     1:00 PM STUTZ       DGR                100            20         2000
 5/11/2022 14515         1:30 PM     3:30 PM NITEO       DGR                100             4          400
 5/11/2022 14459         3:30 PM     4:00 PM BLUE        DGR                100            26         2600
 5/12/2022 14387        11:30 PM 1:00PM      BLUE        C-15                75            20         1500
 5/12/2022 14422         1:00 PM     3:00 PM CRESCENT    C-15                75            32         2400
 5/13/2022 14422         9:00 AM     3:30 PM CRESCENT    C-15                75            56         4200
 5/16/2022                                                                   75           139        10425
 5/17/2022                                   MAINT. BULK FEED SCROLL
 5/18/2022           MAINT.                  LINE TUBE MILL ROCK
 5/19/2022           MAINT.                  LINE TUBE MILL ROCK
 5/23/2022                       STOCK                    DGR              2000             3         6000
 5/24/2022 14463        12:30 PM     3:30 PM JACKSON LEE OGR               2000            10        20000
 5/24/2022 14463        12:30 PM     3:30 PM JACKSON LEE OGR                 50           150         7500


                                                                                                              Exhibit P-28, Page 007
                        Appellate Case: 25-1349           Page: 2065        Date Filed: 04/07/2025 Entry ID: 5503844
5/25/2022 14463    10:30 AM   3:30 PM JACKSON LEE OGR              50        210     10500
5/25/2022 STOCK    10:30 AM   3:30 PM AMTO        DGR            2000          3      6000
5/26/2022 14387    10:30 AM   3:30 PM KINGS B     DGR             100        178     17800
5/26/2022 14387    10:30 AM   3:30 PM KINGS B     AFR             100        121     12100
5/26/2022 STOCK    10:30 AM   3:30 PM ATMO        OGR            2000          5     10000
5/27/2022 STOCK    10:30 AM   3:30 AM ATMO        DGR             100         32      3200
5/27/2022 STOCK    10:30 AM   3:30 PM ATMO        OGR            2000          5     10000
5/31/2022 14473     9:00 AM   3:30 PM sAINT GO    AFC              50        253     12650
5/31/2022 STOCK     9:00 AM   6:00 PM ATMO        DGR            2000          2      4000
5/31/2022 14481     9:00 AM   6:00 PM MERCURY     AFC              50        370     18500




                                                                                   Exhibit P-28, Page 008
          Appellate Case: 25-1349    Page: 2066         Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                         Major
                                                              Size (in   Bags            Downtime
Date        Order #    Start Time End Time   Customer Grade   lbs)       Made   Lbs Made Events     Column1 Column2
6/1/2022    14481      9:00 AM 6:00 PM       MERARY AFC       50         232    11600
6/1/2022    14481      9:00 AM 6:00 PM       MERARY OGR       50         230    11500
6/1/2022    STOCK      9:00 AM 6:00 PM       ATMO       OGC   2000       2      4000
6/1/2022    STOCK      9:00 AM 6:00 PM       ATMO       OGR   2000       10     20000
6/1/2022    14459      9:00 AM 6:00PM        BLUE R     OGR   100        100    10000               57100
6/2/2022    14493-A    9:00 AM 6:00 PM       BRIG. AB OGR     2000       6      12000
6/2/2022    14485      9:00 AM 6:00 PM       THE LAB Z OGR    100        26     2600                                              Goal 62K # per 8hr shift
6/2/2022    14459      9:00 AM 6:00 PM       BLUE R     OGR   100        72     7200                                              Only 4 days of June did we meet this goal
6/2/2022    14540      9:00 AM 6:00 PM       N. Labs    OGR   100        11     1100                                              Only produced 19 of 22 working days of June
6/2/2022    14405-A    9:00 AM 6:00 PM       M RICH     OGR   100        200    20000               42900                         850,500 TOTAL #s produced in June
6/3/2022    14405-A    9:00 AM 4:30 PM       M RICH     OGR   100        200    20000               20000
6/6/2022    STOCK      9:00 AM 4:30 PM       ATMO       OGR   2000       5      10000               10000
6/7/2022    STOCK      9:00 AM 4:30 PM       ATMO       OGR   2000       1      2000                2000
6/8/2022    14405-B    9:00 AM 4:30 PM       M RICH     OGR   100        40     4000                4000
6/8/2022    STOCK      9:00 AM 1:30 PM       ATMO       OGR   2000              0
6/9/2022    STOCK      9:00 AM 4:30 PM       ATMO       OGR   2000       4      8000
6/9/2022    14405-B    9:00 AM 4:30 PM       M RICH     OGR   100        360    36000               44000
6/13/2022   14460      11:45 AM 3:30 PM      Jackson l OGR    2000       10     20000
6/13/2022   14460      11:45 AM 3:30 PM      Jackson l OGR    50         280    14000               34000
6/14/2022   14465      9:00 AM 4:30 PM       Reptec     OGR   100        200    20000
6/14/2022   14493-B    9:00 AM 4:30 PM       BRIG. AB OGR     2000       15     30000
6/14/2022   STOCK      9:00 AM 4:30 PM       ATMO       OGR   2000       5      10000
6/14/2022   14465      9:00 AM 4:30 PM       REPTEC     DGR   100        40     4000                64000
6/15/2022   14465      9:00 AM 4:30 PM       Reptec     DGR   100        160    16000
6/15/2022   14484      9:00 AM 4:30 PM       Zephyr     DGR   100        300    30000
6/15/2022   STOCK      9:00 AM 4:30 PM       ATMO       DGR   2000       2      4000                50000
6/16/2022   14484      9:00 AM 4:30 PM       Zephyr     DGR   100        100    10000
6/16/2022   14423      9:00AM     4:30 PM    EAST BES DGR     100        160    16000
6/16/2022   14423      9:00 AM 4:30 PM       EAST BES OGR     100        240    24000
6/16/2022   STOCK      9:00 AM 4:30 PM       ATMO       DGR   2000       3      6000
6/16/2022   14424      9:00 AM 4:30 PM       EAST BES OGR     100        40     4000                60000
6/18/2022   14494 -A   8:30 AM 3:30 PM       BRIG. AB OGR     2000       20     40000               40000
6/20/2022   14424      9:00 AM 12:45 PM      EAST BES OGR     100        360    36000
6/20/2022   14494-B    8:30 AM 9:00 AM       BRIG. AB OGR     2000       5      10000
6/20/2022   14494-B    12:45 PM 3:15 PM      BRIG. AB OGR     2000       15     30000
6/20/2022   STOCK      3:15 PM 4:30 PM       ATMO       DGR   2000       10     20000
6/20/2022   14525      3:30 PM 3:40 PM       FORMAX DGR       100        20     2000                98000
6/21/2022   STOCK      9:00 AM 9:20 AM       ATMO       DGR   2000       15     30000
6/21/2022   14525      9:20 AM 3:00 PM       FORMAX DGR       100        400    40000
6/21/2022   14539      3:300 PM 4:00 PM      BPI        DGR   100        120    12000
6/21/2022   STOCK      3:30 AM 4:00 PM       ATMO       DGR   2000       1      2000                84000
6/22/2022   14538      9:30 AM 10:00 AM      BPI        DGR   100        60     6000
6/22/2022   STOCK      10:00 AM 10:30 AM     ATMO       DGR   2000       2      4000
6/22/2022   14489      10:30 AM 10:45 AM     Fed. mogul AFR   50         50     2500
6/22/2022   14490      10:45 AM 11:00 AM     fed.m ky AFR     50         100    5000
6/22/2022   14492      9:00 AM 9:30 AM       fed.m ky AFR     50         50     2500
6/22/2022   STOCK      3:00 PM 4:00 PM       ATMO       DGR   2000       8      16000
6/22/2022   14474      2:00 PM 3:00 PM       MAV. AB DGR      100        100    10000



                                                                                                                        Exhibit P-28, Page 009
                                  Appellate Case: 25-1349                  Page: 2067         Date Filed: 04/07/2025 Entry ID: 5503844
 6/22/2022   STOCK     2:00 PM    3:00 PM     ATMO        AFR   100    48    4800          50,800
 6/23/2022   14488     12:00 PM   4:00 AM     Jackson l   OGR   2000   17    34000
 6/23/2022   14474     9:30 AM    11:00 AM    MAV. AB     OGR   100    300   30000
 6/23/2022   STOCK     8:45 AM    9:00 AM     STOCK       DGR   2000   2     4000
 6/23/2022   14492     3:30 PM    4:00 PM     fED.m ky    AFR   50     50    2500          70,500
 6/27/2022   STOCK     10:45 AM   11:15 AM    ATMO        OGR   2000   3     6000
 6/27/2022   14386-A   11:15 AM   2:30 PM     PRIOR       OGR   100    368   36800
 6/27/2022   14386-B   3:00 PM    3:30 PM     PRIOR       OGR   100    72    7200          50,000
 6/29/2022   STOCK     8:15 AM    8:45 AM     ATMO        OGR   2000   6     12000
 6/29/2022   14386-B   8:45 AM    11:30 AM    PRIOR       OGR   100    208   20800
 6/29/2022   14386-C   11:30 AM   3:45 PM     PRIOR       OGR   100    288   28800         61,600
 6/30/2022   14836-D   3:45 PM    4:00 PM     PRIOR       OGR   100    36    3600
 6/30/2022   STOCK     8:30 AM    9:00 AM     ATMO        OGR   2000   2     4000          7,600    850,500




                                                                                           Exhibit P-28, Page 010
Appellate Case: 25-1349                      Page: 2068          Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                           Pounds made     Total Pounds
Date      Order #   SHIFT   Start Time   End Time   Customer               Grade   Size (in lbs) Bags Made (auto sums)     for the shift  Pallets broke Bags Ripped Major Downtime Events
7/1/2022 14386-D    1st     9:00 AM      10:15 AM   PRIOR                  OGR              100 148                 14,800
7/1/2022 14386-B    1st     10:15 AM     11:30 AM   PRIOR                  DGR              100 80                   8,000
7/1/2022 14386-C    1st     11:30 AM     12:30 PM   PRIOR                  DGR              100 80                   8,000
7/1/2022 14386-D    1st     12:30 PM     2:00 PM    PRIOR                  DGR              100 184                 18,400
7/1/2022 STOCK      1st     8:30 AM      2:00 AM    ATMO                   OGR            2,000 3                    6,000         55,200
7/4/2022                                                                                                                                                            4th of July Holiday
7/5/2022 14386-D    1st     11:00 AM     4:00 PM    PRIOR                  DGR              100 72                   7,200
7/5/2022 STOCK      1st     1:00 PM      4:00 PM    ATMO                   DGR            2,000 5                   10,000         17,200
7/6/2022 STOCK      1st     9:00 AM      9:40 AM    ATMO                   DGR            2,000 6                   12,000
7/6/2022 14386-E    1st     9:45 AM      3:00pm     PRIOR                  DGR              100 368                 36,800
7/6/2022 14386-D    1st     11:30 AM     12:30 PM   PRIOR                  DGR              100 144                 14,400
7/6/2022 14455      1st     12:30 PM     3:30 PM    SEB                    OGR              100 70                   7,000         70,200
7/7/2022 14455      1st     9:15 AM      3:30 AM    SEB                    OGR              100 210                 21,000                                          cyclone hard to get going
7/7/2022 STOCK      1st     10:30 AM     12:00 PM   ATMO                   OGR            2,000 4                    8,000         29,000
7/8/2022 stock      1st     8:00 AM      9:35 AM    ATMO                   OGR            2,000 1                    2,000                                          cyclone hard to get going
7/8/2022 14455      1st     9:35 AM      10:50 AM   SEB                    OGR              100 120                 12,000
7/8/2022 14456      1st     10:50 AM     1:35 PM    SEB                    OGR              100 200                 20,000
7/8/2022 14457      1st     1:35 AM      3:45 AM    SEB                    OGR              100 140                 14,000         36,000
7/11/2022                                                                                                                                                           Maintenance Day
7/12/2022 14457     1st     12:00 PM     1:30 PM    SEB                    OGR              100 200                 20,000                                          Big Mac Broke
7/12/2022 14457     1st     1:30 PM      3:20 PM    SEB                    DGR              100 80                   8,000
7/12/2022 14456     1st     2:30 PM      4:00 PM    SEB                    DGR              100 80                   8,000
7/12/2022 STOCK     1st     9:30 AM      11:00 AM   ATMO                   OGR            2,000 5                   10,000         46,000

7/13/2022 stock     1st     8:00 AM      8:40 AM    AATMO                  DGR          2,000 3                      6,000                                           Palletizer issues; early cleaning
7/13/2022 14456     1st     8:45 AM      10:15 AM   JEB                    DGR            100 120                   12,000
7/13/2022 14532     1st     10:20 AM     3:15 PM    VAN ID                 OGR            100 260                   26,000         44,000

                                                    7/7 to 7/13: 4/5
                                                    working days (1
                                                    maint day); 0 days
                                                    met goal; 155,000
                                                    lbs/248,000 lbs made

7/14/2022 14509     1st     8:00 AM      4:30 PM    Kings Bright           C-15            75 28                     2,100          2,100                            Not getting output; not sure why
7/15/2022 STOCK     1st     8:00 AM      9:10 AM    ATMO                   OGR          2,000 1                      2,000
7/15/2022 14532     1st     9:10 AM      12:10 PM   VAN ID                 OGR            100 160                   16,000                                           Air valve off,clogged cyclone
                                                                                                                                                                     Only having one fork truck
                                                                                                                                                                     slowing process due to loading
7/15/2022 14495-A   1st     12:10PM      3:50 PM    BRTABR                 OGR          2,000 13                    26,000         44,000                            truck
7/18/2022                                                                                                                                               1            Maintenance Day on first shift
7/18/2022 STOCK     2nd     4:00 PM      4:30 PM    ATMO                                2,000 2                      4,000                                           Down for carrier bearing
                                                                                                                                                                     Down for carrier bearing/ bearing
7/19/2022                                                                                                                                                            in classifier
                                                                                                                                                                     Down for bearing in classifier-
7/20/2022                                                                                                                                                            getting old off




                                                                                                                                            Exhibit P-28, Page 011
                              Appellate Case: 25-1349                      Page: 2069         Date Filed: 04/07/2025 Entry ID: 5503844
                                               7/14 to 7/20: 2/5
                                               working days; 0 days
                                               met goal; 46,100 lbs
                                               made
7/21/2022                 8:00 AM   2:00 PM                                                                                         Getting new bearing on
7/21/2022 14536    1st    2:00 PM   4:30 AM    Prisca                   DGR           100 50          5,000    5,000                Wet rock
7/21/2022 14527    2nd    4:00 PM   9:00 PM    JLea OH                  DGR         2,000 18         36,000
7/21/2022 14495- B 2nd    9:00 PM   11:30 PM   BRTABR                   OGR         2,000 9          18,000   54,000
                                                                                                                                    Motor starter on cream delivery
7/22/2022 14513-A   2nd   4:30 PM   9:50 PM    SHJR                     DGC         2,000 20         40,000                         tank kicking off
7/22/2022 14513-B   2nd   9:50 PM   11:40 PM   SHJR                     DGC         2,000 8          16,000   56,000
7/22/2022 14509     1st   9:00 AM   3:00 PM    kings Brite              C-15           75 96          7,200
7/22/2022 STOCK     1st   3:00 PM   4:00 PM    ATMO                     DGC         2,000 1           2,000    9,200
7/23/2022 14509     1st   9:00 AM   4:00 PM    kings Brite              C-15           75 102         7,650    7,650


                                                                                                                                    System switch to OGR/worked on
                                                                                                                                    screen vibrator / slow getting
          clean out                                                                                                                 product back in system /little mac
7/25/2022 bag       2nd   4:30 PM   6:30 PM    ATMO                     C-15/OGR    2,000 1           2,000                         control panel switch off???
7/25/2022 14495-B 2nd     6:30 PM   9:30 PM    BRTABR                   OGR         2,000 11         22,000
7/25/2022 14496-A 2nd     9:30 AM   11:10 AM   BRTABR                   OGR         2,000 6          12,000   36,000
7/26/2022                                                                                                                           Down for screens repair
7/27/2022 14509     1st   8:45 AM   1:00 PM    kings Brite              C-15           75 56          4,200
7/27/2022 STOCK     1ST   1:00 PM   4:00 PM    ATMO                     BULK BAGS   2,000 6          12,000   16,200

                                               7/21 to 7/27: 4/6
                                               working days; 0 days
                                               goal met; 184,050
                                               lbs made; day shift
                                               repairs and night
                                               shift running close to
                                               goal when rock is
                                               available
                                                                                                                                    Start up worked on tube mill
                                                                                                                                    oiler/got bags and pallets/ ran out
7/28/2022 14513-B   2nd   4:30 PM   7:30 PM    SHJR                     DGC         2,000 6          12,000                         on cream
                                                                                                                                    Switched to rose, some issues
                                                                                                                                    with the product falling in rose
7/28/2022 14496-A   2nd   7:30 PM   11:20 PM   BRTABR                   OGR         2,000 11         22,000   34,000                tank




                                                                                                                       Exhibit P-28, Page 012
                             Appellate Case: 25-1349                    Page: 2070       Date Filed: 04/07/2025 Entry ID: 5503844
Date        Order #    Shift   Start Time   End Time   Customer   Grade   Size (in lbs)   Bags Made   Lbs Made    Bags Ripped   Pallets Broken   Major Downtime Events                        NOTES   Column2
8/26/2022   SO-371-C   1ST     2:15 PM      4:30 PM    KOYO-SHA   AFR     100             100              10,000

                                                                                                                                                 They had 22 bags bust, had bearing go
                                                                                                                                                 out causing a backup, which had the
                                                                                                                                                 flour elevater chain and sprocket
8/29/2022   SO-371-C   1ST     8:00 AM      1:00 PM    KOYO-SHA   AFR     100             126                12,600
                                                                                                                                                 turning, but not the shaft. The palletizer
                                                                                                                                                 went down at 11:00 AM and still is
                                                                                                                                                 down. Ben was out till noon.
8/29/2022   SO-371-B   1ST     8:00 AM      1:00 PM    KOYO-SHA   OGC     100             52                  5,200
8/30/2022   SO-371-B   1ST     3:30 PM      4:30 PM    KOYO-SHA   OGC     100             68          6800




                                                                                                                                                            Exhibit P-28, Page 013
                                   Appellate Case: 25-1349                       Page: 2071                  Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                          Bags    Pallets
  Date      Order #      Shift   Start Time   End Time    Customer    Grade   Size (in lbs)         Bags Made Lbs Made                      Major Downtime Events                      NOTES                        Column2
                                                                                                                         Ripped   Broken
                                                                                                                                            First thing was we fixed the hammer
                                                                                                                                            mill, fired up at 10:30 AM. Hammer
                                                                                                                                            mill went down at 11:30 AM, fired
                                                                                                                                            back up at 3:40 PM. The tension pulley
9/1/2022    SO-331       1ST     10:30 AM     11:30 PM     BRITER     OGC                     100      100
                                                                                                                                            broke completely off the first time,
                                                                                                                                            second time pulley bent, the belt
                                                                                                                                            came out the side, and clogged up the
                                                                                                                                            hammer mill.
9/1/2022    SO-331       1ST      3:40 PM     4:30 PM      BRITER     OGC                  100         50
9/1/2022    STOCK        2ND      5:00PM      6:30PM       ATMO       OGC                 2000          2                                   Changed over to DGC
                                                                                                                                            Doing an long clean out then pulling
9/1/2022    SO-356-B     2ND      6:30PM      12:00AM      SHANG-J    DGC                 2000         12                                   donaldson filters to blow them out
                                                                                                                                            again .
9/2/2022    SO-325       1ST      2:00 PM     4:30 PM      VANA       OGC                  100         160       2000                       Maintenance until 2 PM
9/2/2022    STOCK        1ST      2:00 PM     4:30 PM      STOCK      OGC                 2000          1        40000
                                                                                                                                            Crushed cream,did total clean out on
9/2/2022                 2ND      5;00PM      9;00PM                                                              6000
                                                                                                                                            hooper and pit started back uo at 9:30
9/2/2022    SO-393       2ND      9:30PM      11:10 PM    Ceramic-C   DGC                     900       8        10000
9/5/2022     down        2ND                                                                                     40000                      worked on lil mac cleaned bagger
                                                                                                                                            Start up cyclone plugged up,tube mill
9/8/2022    SO-393       2ND      5:00 PM     11:30 PM    Ceramic-C   DGC                     900      20         6000                      lid leaking twice pulled lid replaced
                                                                                                                                            insulation
9/9/2022    SO-325       1ST      9:00 AM     4:30 PM       VANA      OGC                  100         40        34000                      Everything ran smooth.
9/9/2022    SO-393       1ST      9:00 AM     4:30 PM     Ceramic-C   DGC                  900          2        22000
9/9/2022    STOCK        1ST      9:00 AM     4:30 PM      STOCK      DGC                 2000          1        34000
9/9/2022    STOCK        1ST      9:00 AM     4:30 PM      STOCK      OGC                  100         32        22000
                                                                                                                                                                                       Moving from STOCK to Order
9/9/2022     STOCK       1ST      9:00 AM     4:30 PM      STOCK      OGC                      50      40        18000
                                                                                                                                                                                       SO-354 (40 bags)
9/9/2022    SO-334       1ST      9:00 AM     4:30 PM        LEA      DGC                     50       300       20000
                                                                                                                                            Moved orders to shp, started back at
9/9/2022    SO-394       2ND      9:30 PM     11:30 PM    Ceramic-C   DGC                     900       2        20000
                                                                                                                                            9:00
9/9/2022    SO-394       2ND      9:30 PM     11:30 PM    Ceramic-C   DGC                     900      11        26000
9/10/2022   SO-334       1ST      9:00 AM      4:30 PM       LEA      DGC                      50      540       27000
                                                                                                                                            Down for repair on lil mac filter system
                         1ST                                          DGC
9/12/2022 SO-350                   8:00 AM 10:30 AM      IMCD                                 50             80 4000                        at 10:30 AM.
9/12/2022 SO-294         1ST       8:00 AM 10:30 AM      JLEA         DGC                     50            160 8000
9/12/2022 SO-365         1ST       8:00 AM 10:30 AM      IMCD         DGC                     50             40 2000

9/12/2022 down         2ND                                                                                                                  Down for repair on lil mac filter system
                                                                                                                                            Worked on Little Mac and Big Mac,
                         1ST                                                                                                                getting the filters blown out and put
9/13/2022 DOWN                                                                                                                              back in.
                                                                                                                                            Worked on big mac cleaned and
                                                                                                                                            replaced filters,wrapped and labeled
9/13/2022 DOWN         2ND                                                                                                                  orders

                                                                                                                                            Got it running at noon, shut down at       Customer cancelled order
                         1ST                  3:30 PM                 DGC
                                                                                                                                            3:30 PM to let it clean out. It started    10/26/22 - moved bags into
9/14/2022 SO-335                  12:00 PM               OSBORN                               100            28 2800                        dusting more than it had been.             inventory. RwT



                                                                                                                                                             Exhibit P-28, Page 014
                                    Appellate Case: 25-1349                     Page: 2072                       Date Filed: 04/07/2025 Entry ID: 5503844
9/14/2022 SO-395    1ST   12:00 PM    3:30 PM   RBH           DGC    100    10 1000
9/14/2022 SO-429    1ST   12:00 PM    3:30 PM   EASY WOOD     DGC    100     5 500
9/14/2022 SO-368    1ST   12:00 PM    3:30 PM   TOA KASEI     DGC    100   120 12000
9/14/2022 SO-407 2ND       4:00 PM 11:00 PM     Ceramic-C     DGC    900     3 2700
9/14/2022 SO-394 2ND       5:00 PM 11:00 PM     Ceramic-C     DGC    900    17 15300




                                                                                                Jesse and Carson fixed the curve
                                                                                                conveyer, one of the belts for the
                                                                                                palletizer, and are currently working
                                                                                                the vacuum system. We cleaned the
                                                                                                palletizer from top to bottom, fixed
                                                                                                the leak on the green compressor,
                                     4:30 PM                                                    troubleshooted all the air lines, so we
                                                                                                know which ones need fixed, cleaned
                                                                                                up all around the tube mill, currently
                                                                                                cleaning the tube mill motor up,
                                                                                                cleaned out backside of the crusher,
                                                                                                troubleshooted the green dust
                                                                                                collector air blast as well as the little
                                                                                                mac, inspected the gas leaks/there is
                                                                                                one that should be taken serious, and
9/15/2022           1ST   8:00 AM               Maintenance                                     fixed the window by the little mac.
9/15/2022        2ND      4:00 PM 10:30 PM      Maintenance

                                                                                                Finished cleaning the pit from top to
                                                                                                bottom,inventory on all production
                                                                                                related products/still in process,
                                     4:30 PM                                                    donaldson cleaned out/ filters blown
                                                                                                out, cleaning/organizing whse-b,
                                                                                                organized orders/ staged them,
                                                                                                working on green monsters sock
9/19/2022           1ST   8:00 AM               Maintenance                                     filters.
                                                                                                Crushed cream,did total clean out on
                                                                                                hooper and pit again,cleaned crusher
                                                                                                room,finished blowing filters out
                                                                                                ,started cleaning under tube mill ,putt
9/19/2022        2ND                                                                            all rock skids inside

                                                                                                Cleaned all out from backside of tube
                                                                                                mill, worked on filters for green
                                     4:30 PM                                                    monster, welded crack in bottom of
                                                                                                dryer, greased the crusher, cleaned by
                                                                                                bagger, repaired leaks on the little
9/20/2022           1ST   8:00 AM               Maintenance                                     mac ductwork.
9/20/2022        2ND                            Maintenance                                     Cleaned filters for big green




                                                                                              Exhibit P-28, Page 015
             Appellate Case: 25-1349                  Page: 2073    Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                          Fixed flat tire on forklift, crushed,
                                                                                          pulled more filters out of the green
                                                                                          monster, finished cleaning WHSE-B,
                                 4:30 PM
                                                                                          fixed more leaks, leveled out big
                                                                                          dumpster which is ready for pick up,
                                                                                          working on dock plate, Josh, Ben, and
9/21/2022        1ST   8:00 AM             Maintenance                                    Patrick all left at noon.
9/21/2022     2ND                          Maintenance                                    Cleaned filters for big green
                                                                                          Fixing air leaks, fixed dock plate,
                                                                                          worked on air tank on 4th floor, pulled
                                                                                          more filters out of green monster,
                                 4:30 PM
                                                                                          worked on c-15 filters, and
                                                                                          consolidated all rework bulk bags out
9/22/2022        1ST   8:00 AM             Maintenance                                    of the way.
                                                                                          Cleaned filters for big green,got dock
                                                                                          plate down and put at nw
                                                                                          door,finished loading trash off 2nd
9/22/2022     2ND                          Maintenance                                    floor
                                                                                          Pulled 200 filters, installed 400 filters,
                                                                                          fixed air leaks on the vacuum system,
                                 4:30 PM
                                                                                          Jim, Josh were both out, and Landry
9/23/2022        1ST   8:00 AM             Maintenance                                    left at noon.

                                                                                          Installed the rest of the undamaged
                                                                                          filters and tightened them down.
                                 4:30 PM
                                                                                          Worked on the quincy and aircel
                                                                                          dryer. Worked on the big mac
9/26/2022        1ST   8:00 AM             Maintenance                                    intelligent board error.

                                                                                          Cleaned outside under macs ,got area
9/26/2022     2ND                          Maintenance                                    cleaned for instulation of scroll
                                                                                          Patched vacuum leaks, worked on
                                 4:30 PM                                                  tube mill door, messed with finding
9/27/2022        1ST   8:00 AM             Maintenance                                    gas leaks
                                                                                          Cleaned top of bagger,sorted filters for
                                                                                          big green, patched mutiple leaks on
9/27/2022     2ND                          Maintenance                                    flour elevater

                                                                                          Fixed vacuum leaks, fixed garage door,
                                 4:30 PM                                                  gas leaks again, put the donaldson
                                                                                          back together, worked on 4th floor
9/28/2022        1ST   8:00 AM             Maintenance                                    compressor for the vibrator
                                                                                          Worked on vibrator compressor and
                                                                                          got it put back together, patched
                                                                                          vacuum leaks, painted weak spots on
                                 4:30 PM
                                                                                          floor, pulled more duct down to
                                                                                          unclog, Pat and Landry were both out
9/29/2022        1ST   8:00 AM             Maintenance                                    all day.

                                                                                          Cleand 4th floor crusher elevator,flour
9/28/2022     2ND                          Maintenance                                    elevator, patched more leaks




                                                                                        Exhibit P-28, Page 016
            Appellate Case: 25-1349              Page: 2074   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                          Sorting out bent cages on
                                                                                          filters,cleaning
9/29/2022     2ND                          Maintenance                                    office,breakroom,production floor

                                                                                          Trained Ben and Jim on Cilas, worked
                                                                                          on tube mill door, worked on geni,
                                                                                          finished moving skids out the whse
                                                                                          between A&B. Cleaned on donaldson
                                 4:30 PM
                                                                                          some more, loaded 3 trucks, working
                                                                                          on relabeling the control room and
                                                                                          tagging equipment/with their breaker.
                                                                                          Pat and Landry were both out all day,
9/30/2022        1ST   8:00 AM             Maintenance                                    Ben left at 1.
9/30/2022     2nd                          Maintenance                                    Worked on green monster




                                                                                        Exhibit P-28, Page 017
            Appellate Case: 25-1349              Page: 2075   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                   Pallets
                                Completed                                                                                       Bags                  # Pallets              Slip Sheet Slip Sheets
  Date       Order #    Shift               Start Time   End Time    Customer     Grade   Size (in lbs) Bags Made   Lbs Made            Pallet Type               Broken                                     Major Downtime Events                                NOTES
                                  Order                                                                                        Ripped                   Used                    type       Used
                                                                                                                                                                  trashed
10/3/2022               2ND                                         Maintenance                                        0                                                                                          Maintenance

                                                                                                                                                                                                       Painted all grease points, worked on
                                                                                                                                                                                                         tube mill door, loaded container,
                                                         4:30 PM                                                                                                                                       pulled and staged orders for Sunday
                                                                                                                                                                                                      off of production schedule, worked on
                                                                                                                                                                                                           the little mac diaphragms and
10/3/2022               1ST                  8:00 AM                Maintenance                                        0                                                                                              solenoids.
10/4/2022               2ND                                         Maintenance                                        0                                                                                       worked on yale breaks
10/4/2022               2ND                                         Maintenance                                        0                                                                                             Maintenance
10/5/2022               1ST                                         Maintenance                                        0                                                                                             Maintenance
10/5/2022               2ND                                         Maintenance                                        0                                                                                             Maintenance
10/6/2022               1ST                                         Maintenance                                        0                                                                                             Maintenance
10/6/2022               2ND                                         Maintenance                                        0                                                                                             Maintenance
10/7/2022               1ST                                         Maintenance                                        0                                                                                             Maintenance
10/7/2022               2ND                                         Maintenance                                        0                                                                                             Maintenance
                                                                                                       #VALUE!
10/10/2022    Stock     1ST        Yes      8:30 AM      9:00 AM      ATMO        DGC        2000         3           6000                40x48           3                     Bulk        3
10/10/2022   SO-368     1ST        Yes      12:00 AM     12:00 AM    Toa-Kasei    DGC         100        130         13000               HT Large         6                    Large        30
10/10/2022   SO-437     1ST                 10:40 AM     11:00 AM    OMYA NZ      OGC        100          20                             HT Large         1                    Large         5                                                  These 20 should have come out of inventory?
                                   Yes                                                                                2000
10/10/2022    SO-410    1ST        Yes      11:10 AM     11:40 AM    TRU-SQR       PC        100          20          2000                40x48           1                    Large         1
10/10/2022    SO-423    1ST        Yes      12:00 AM     12:30 PM   North Labs     PC        100          20          2000                40x48           1                    Large
10/10/2022    SO-378    1ST        Yes       1:15 PM      2:00 PM    Granitize     AFC       100          30          3000                40x48           1                    Large         1
10/10/2022   SO-392*    1ST        Yes       2:15 PM      4:20 PM   St Gobain      AFC       50           97          4850               HT Small         1                    Small         5                                                           Packed 97/200 10/10/22
                                                                                  DGC                                                     40x48                                Bulk
10/10/2022    SO-407    2ND        Yes       4:30 PM     12:00 AM     Ceramic                 900          27        24300                               30                                 30        Ran DGC ,weighing pallets for an order
10/11/2022   SO-392*    1ST        Yes      11:30 AM      1:45 PM    St Gobain    AFC         50          103         5150               HT Small         0                    Small        0                                                                finished SO-392
10/11/2022    SO-450    1ST        Yes       1:45 PM      4:00 PM    St Gobain    AFC         50           75         3750                 40x48          2                    Small        2                                                                Finished SO-450
10/11/2022     Stock    1ST        Yes      4:00 AM       4:30 PM      ATMO       AFC         50           20         1000              #2 Standard       1                    Small        1                    Cleared Packer
10/11/2022   SO-285-B   2ND        Yes       4:30 PM     12:00 AM      Brt abr    OGR        2000          7         14000                 40x48         20                     Bulk        20                Problems with burner                   See Note on 10/12/2022 SO-285B
                                                                                                                                                                                                      Had trouble with the classifier and the
                                                                                                                                         HT Large                              Large
10/12/2022   SO-428     1ST        Yes       3:25 PM     4:35 PM       RBH         AFC       100          20          2000                                1                                  1                dryer burner shut off.

                                                                                                                                          40x48                                Bulk                   System start up and clean out , cracked Taking 7 from 10/11/22 & 7 from 10/12/22 and
10/12/2022   SO-285-B   2ND        Yes       6:00 PM     10:45 PM     Brt abr     OGR        2000          7         14000                                0                                  0                   fitting on burner              6 from on-hand/stock to complete SO-285B
10/13/2022    SO-336    1ST        Yes       8:00 AM     4:30 PM      Reptec      C-15        75           2          150                 40x48           1                    Large         1                      Fixed burner
                                                                                                                                                                                                                                                 Finished SO-285-B, Labeled and wrapped
                                                                                                                                          40x48                                Large                                                           pallets , had some weight issues ,moving SO-
10/13/2022   SO-336     2ND        Yes       4:30 PM     9:30 PM      Reptec      C-15        75          26          1950                                0                                  0                                                                 285-B to garage
                                                                                                                                          40x48                                Large
10/13/2022    Stock     2ND        Yes       9:30 PM     11:30 PM     ATMO        C-15       75           7           525                                 1                                  1        Compressor kicked off a couple times
10/14/2022   SO-428     1ST        Yes       8:00 AM      4:30 PM      RBH        AFC        100          80          8000               HT Large         4                    Large         4
10/14/2022   SO-428     2ND        Yes       4:00 PM     12:00 AM      RBH        AFC        100         115         11500               HT Large         6                    Large         6
                                                                                                       #VALUE!
10/17/2022   SO-428     1ST        Yes      10:30 AM      4:15 PM      RBH         AFC       100         209         20900               HT Large        13                    Large        13                                                       Finished RBH Added 24 to stock
10/17/2022    Stock     1ST        Yes      9:15 AM      10:30 AM     ATMO         AFC       900          1           900                 40x48           1                     Bulk        1                                                                    To stock

                                                                                                                                          40x48                                Bulk                   Switch to OGR Bag was half cream and @Rob Please explain this. Did this go to stock
10/17/2022   Rework     2ND                  4:30 PM     5:30 PM      ATMO        DGC        2000          1          2000                                1                                  1                        half rose              or reworked back into different bags?
10/17/2022    Stock     2ND        Yes       5:30 PM     6:00 PM      ATMO        OGR        2000          1          2000                40x48                                Bulk          1                                                              To stock
                                                                                                                                                                                                        Product still seems to run through
                                                                                                                                          40x48                                Large                   system a little slow, weighingrichard
10/17/2022    SO-269    2ND        Yes      6:00 PM      12:00 AM    Maverick     OGR         100         223        22300                               12                                 12                      baker order
10/18/2022    SO-269    1ST        Yes      12:00 PM      4:30 PM    Maverick     OGR         100          77         7700                40x48           3                    Large        3                                                         Completed SO-269
10/18/2022     Stock    1ST        Yes      12:00 PM      4:30 PM     ATMO        OGR         100          3          300                 40x48           3                    Large        1
10/18/2022   SO-284-A   1ST        Yes      12:00 PM      4:30 PM     Brt abr     OGR        2000          2          4000                40x48           2                     Bulk        1
10/18/2022    SO-268    2ND        No       4:00 PM       9:00 PM    Maverick     OGR         100         112        11200                40x48           6                    Large        6                 Burner wont stay lit
                                                                                                                                                                                                       1ST/2ND/Shifts together . Repaired
                                                                                                                                                                               Large                     burner,product keeps recycling
10/19/2022    SO-268    2ND        No        8:00 AM     10:00 PM    Maverick     OGR         100         108        10800                                                                                      through system
10/19/2022   SO-284-A   2ND        Yes       4:30 PM     9:30 PM      Brt abr     OGR        2000          3          6000                40x48           3                    Bulk          3
                                                                                                                                                                                                                                                 Need 5 more produced to complete. Pull 9
10/20/2022   SO-284-A   2ND        Yes      9:30 PM      12:00 AM     Brt abr     OGR        2000          1          2000                40x48           1                     Bulk         1                                                               from inventory
10/20/2022    SO-379    2ND        Yes      10:30 PM     12:00 AM      JLEA       DGR        2000          7         14000                40x48           7                     Bulk         7
10/21/2022    SO-268    1ST        No       7:50 AM      9:30 AM     Maverick     OGR         100         120        12000                40x48           6                    Large         6                                                     Still need 60 bags to complete SO-268
10/21/2022    SO-379    1ST        Yes      7:50 AM      8:00 AM       JLEA       DGR        2000          2          4000                40x48           2                     Bulk         2
                                                                                                                                                                                                                                                  (sent wrong grade. Having wrong grade
                                                                                                                                          40x48                                Large
10/21/2022   SO-416     2ND        Yes       4:00 PM     9:00 PM      Mark V      DGR        100           10         1000                                1                                  1                                                       returned and will send right one)
10/21/2022   SO-357     2ND        Yes       9:00 PM     11:00 PM     Galvono     DGR        100          111        11100               HT Large         3                    Large         3                                                              Completed SO-357




                                                                                                                                                                                                            Exhibit P-28, Page 018
                                            Appellate Case: 25-1349                                   Page: 2076                        Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                   40x48         Bulk          Product still seems to run through    See 10/20,21,21 - completed 13. Pull 8 from
10/21/2022   SO-379     2ND   Yes                           JLEA      DGR   2000    4     8000               4           4    system a little slow, afew back ups                     inventory
                                                                                           0
                                                                                                                                                                     See 10/18,19,20 and pull 9 from inventory to
                                                                                                                 Bulk
10/24/2022   SO-284-A   1ST   Yes    8:00 AM   4:00 PM     Brt Abr    OGR   2000    5     10000    40x48     5           5                                                         complete order
                                                                                                                             Issues with product backing up,bagger
                                                                                                   40x48         Bulk
10/24/2022   SO-286-A   1ST   No     8:00 AM   4:30 PM     Brt Abr    OGR   2000    2     4000               2           2                 chain broke

                                                                                                                             Issues with product backing up,bagger
                                                                                                   40x48         Bulk
                                                                                                                                    chain broken, extra long
10/24/2022   SO-286-A   2ND   No     4:30 PM   11:00 PM    Brt abr    OGR   2000    6     12000              6           6      cleanout,crushing 2 loads of rose
                                                                                                                             Conveyor chain belt was completed at
                                                                                                   40x48         Bulk
10/25/2022   SO-286-A   1ST   No    10:30 AM   4:15 PM      ATMO      OGR   2000    9     18000              9           9                  6;30 pm                     2nd shift will pack 100# sacks of OGR
10/25/2022   SO-286-A   2ND   No     4:30 PM   7:00 PM      ATMO      OGR   2000    1      2000    40x48     1   Bulk    1
                                                                                                                                 Finished helping repair packer
                                                                                                  HT Large       Large       chain,cyclone backed up, packer chain
10/25/2022   SO-329-A   2ND   Yes    7:00 PM   1:30 AM    HSIN FENG   OGR   100     160   16000              8           8              shaft came apart
10/26/2022   SO-329-B   1ST   No     8:00 AM   4:30 PM    HSIN FENG   DGR   100     180   18000   HT Large   9   Large   9
                                                                                                                                Replaced and cleaned filters for
                                                                                                                               upstairs cyclone unable to restart
10/26/2022    Maint     2ND          4:30 PM   11:00 PM                                     0                                     ,cyclone feeder wont reset
10/27/2022   SO-329-B   1ST   No     8:00 AM   4:30 PM    HSIN FENG   DGR   100     138   13800   HT Large   7   Large   7           LIL MAC Shaft broken
                                                                                                                              Removed lil mac shaft,relabling and
10/27/2022    Maint     2ND                                                                0                                      restacking order SO-329-B
                                                                                           0




                                                                                                                                   Exhibit P-28, Page 019
                                    Appellate Case: 25-1349                        Page: 2077     Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                              Pallets
                              Completed                                                                                    Bags                  # Pallets              Slip Sheet   Slip Sheets
  Date      Order #   Shift               Start Time   End Time   Customer   Grade   Size (in lbs) Bags Made   Lbs Made            Pallet Type               Broken                                           Major Downtime Events                                             NOTES
                                Order                                                                                     Ripped                   Used                    type         Used
                                                                                                                                                             trashed
                                                                                                                   0
11/3/2022    Stock    1ST        Yes      12:00 PM      4:00 PM    ATMO      DGR         100          80         8000                40x48           5                    Large           5                                                           Ran DGR to start because that was the last grade we ran.
11/3/2022   SO-268    1ST        No        4:00 PM      4:30 PM   Maverick   OGR         100          20         2000                40x48           1                    Large           1                                                           the finished product elevator is slow
11/3/2022    Stock    1ST        Yes      11:30 AM     12:00 PM    ATMO      OGR        2000           1         2000                40x48           1                     Bulk           1                                                           First finished product
11/3/2022   SO-268    2ND        No        4:30 PM     12:00 AM   Maverick   OGR         100         192        19200                40x48          10                    Large          10        System still backing up product cyclone backking
11/3/2022    Stock    2ND        Yes       5:30 PM     12:00 AM    ATMO      OGR        2000           1         2000                40x48           1                     Bulk           1




                                                                                                                                                                                                                 Exhibit P-28, Page 020
                                          Appellate Case: 25-1349                                    Page: 2078                         Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                     Pallets
                       Complete the                                        Material   Bag Size (in # of Bags                   # of Bags                 # Pallets             Slip Sheet   Slip Sheets
Date        Order #                 Start Time   End Time   Customer                                           # of Lbs Made               Pallet Type               Broken                             Major Downtime Events                           NOTES
                       Order?                                              Grade      lbs)         Made                        Ripped                    Used                  type         Used
                                                                                                                                                                     trashed
4/3/2023    SO-316     Yes          8:05 PM      4:00 PM    PRIOR          OGR        100         320          32000                       HT Large      16                    Large        32

4/4/2023    SO-316     Yes          8:00 AM      12:00 PM   PRIOR          OGR        100         172          17200                       HT Large      9                     Large        9          Finished The order of 1272 - 100# bags
                                                                                                                                                                                                       Keeping the material hot I believe to be the
                                                                                                                                                                                                       key to proper flow through the machinery.
4/4/2023    SO-323-A   Yes          12:00 PM     4:00 PM    Dr. Badawi     OGR        100         160          16000                       HT Large      8                     Large        8
                                                                                                                                                                                                       The material is lighter and fluffier and flows
                                                                                                                                                                                                       smoothly.
4/5/2023    SO-323-A   Yes          12:30 PM     4:00 PM    Dr. Badawi     OGR        100         131          13100                       HT Large      6                     Large        6          Did scheduled Maintenance this morning.          Numbers corrected to 131 bags produced

4/6/2023    SO-323-A   Yes          8:00 AM      10:00 AM   Dr. Badawi     OGR        100         109          10900                       HT Large      5                     Large        5
4/6/2023    SO-323-B   Yes          8:00 AM      4:00 PM    Dr. Badawi     OGR        100         269          26900                       HT Large      7                     Large        10
                                                                                                                                                                                                       Gas line was hit by workers (not involved with
                                                                                                                                                                                                       the facility) took an hour to get mill back up
4/7/2023    SO-323-B   Yes          8:00 AM      4:00 PM    Dr. Badawi     OGR        100         131          13100                       HT Large      7                     Large        7
                                                                                                                                                                                                       and running. Bagging issues due to the System
                                                                                                                                                                                                       was clogged
                                                                                                                                                                                                       Extra Airvalves shut off causing packer issues,
                                                                                                                                                                                                       clogged system. Bearing replacement on
                                                                                                                                                                                                                                                       Had to break away for an hour to unload the pallet
4/10/2023   SO-325     Yes          8:00 AM      3:30 PM    VANA           OGR        100         160          16000                       HT Large      8                     Large        12         packer drive screw. Excess material around
                                                                                                                                                                                                                                                       delivery.
                                                                                                                                                                                                       bagger. Need 40 more bags to complete. 3:30-
                                                                                                                                                                                                       4:30 cleanup

                                                                                                                                                                                                       Had to fill a bulk bag to clear the packer
4/10/2023   Stock      Yes          12:15 PM     12:30 PM   ATMO           OGR        2000        1            2000                        #2 Standard 1                       Large        1
                                                                                                                                                                                                       hopper in order to repair impeller bearing.

4/11/2023   SO-325     Yes          8:00 AM      10:00 AM   VANA           OGR        100         40           4000                        HT Large      2                     Large        3
4/11/2023   SO-558     Yes          10:00 AM     3:30 PM    Maverick       OGR        100         187          18700                       40x48         10                    Large        10
                                                                                                                                                                                                       Burner finally quit acting up and ran good the
4/28/2023   SO-326     Yes          9:00 AM      1:45 PM    Shanghi EB     OGR        100         400          40000                       HT Large      20                    Large        20
                                                                                                                                                                                                       rest of the day
                                                                                                                                                                                                       Stop feeding to work on a couple of areas and We'll finish SO-558 on Monday 5/1 if all goes well
4/28/2023   SO-328     Yes          1:45 PM      2:45 PM    Osborn Shang   OGR        100         120          12000                       HT Large      6                     Large        6
                                                                                                                                                                                                       do the Friday clean up.                        then get back on SO-328
                                                                                                               0




                                                                                                                                                                                                                  Exhibit P-28, Page 021
                                              Appellate Case: 25-1349                                          Page: 2079                       Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                               Pallets
                      Complete the                                        Material   Bag Size (in # of Bags   # of Lbs   # of Bags                 # Pallets             Slip Sheet   Slip Sheets
Date        Order #                Start Time   End Time   Customer                                                                  Pallet Type               Broken                             Major Downtime Events             NOTES
                      Order?                                              Grade      lbs)         Made        Made       Ripped                    Used                  type         Used
                                                                                                                                                               trashed

                                                                                                                                                                                                 Door left off of tube mill from
5/1/2023    SO-558    Yes          10:00 AM     3:15 PM    Maverick       OGR        100         400          40000      2           40x48         20                    Large        20
                                                                                                                                                                                                 the weekend.
                                                                                                                                                                                                                                Labeled, wrapped and weighed the
                                                                                                                                                                                                 Green box return scroll needed rest of SO-323 so we could stack and
5/2/2023    SO-326    Yes          10:00 AM     3:30 PM    Osborn Shang   OGR        100         240          24000      2           HT Large      12                    Large        12
                                                                                                                                                                                                 two new hanger bearings        make room for next order. Air
                                                                                                                                                                                                                                sampled today.
                                                                                                                                                                                                                                Packer hopper got full so Jim filled
                                                                                                                                                                                                 Ran out of bags. Old bags were
                                                                                                                                                                                                                                two bulk bags. Tried to get out on
5/2/2023    STOCK     Yes          3:30 PM      3:45 PM    ATMO           OGR        2000        2            4000                   40x48         2                     Large        2          buried by the new bags. Had to
                                                                                                                                                                                                                                the rail ramp for fresh air. Hopefully
                                                                                                                                                                                                 dig out.
                                                                                                                                                                                                                                our air samples will be good.
                                                                                                                                                                                                                                    Run product then labeled bags, run
                                                                                                                                                                                                 Finshed the Tube mill. Packing
5/4/2023    SO-559    Yes          9:00 AM      4:00 PM    Maverick       OGR        100         400          40000      3           40x48         20                    Large        20                                            product then labeled bags. Did
                                                                                                                                                                                                 product at 9am.
                                                                                                                                                                                                                                    shipping prep as a rest break.
                                                                                                                                                                                                 Spent the rest of the day
5/5/2023    SO-560    Yes          8:00 AM      1:00 PM    Maverick       OGR        100         180          18000      2           40x48         9                     Large        35
                                                                                                                                                                                                 preparing ordewrs for shipment
                                                                                                                                                                                                 Finished the OGR portion of SO-
5/8/2023    SO-560    Yes          8:00 AM      2:00 PM    Maverick       OGR        100         140          14000      3           40x48         7                     Large        35
                                                                                                                                                                                                 560
                                                                                                                                                                                                                                 four of the blades on the blower fan
                                                                                                                                                                                                 Need two more pallets {40 bags}
5/8/2023    SO-560    Yes          2:00 PM      3:00 PM    Maverick       DGR        100         40           4000       1           40x48         2                     Large        10                                         of the Big MAC broke off and we had
                                                                                                                                                                                                 to finish SO-560
                                                                                                                                                                                                                                 to shut down.
5/9/2023    SO-560    Yes          9:30 AM      11:30 AM   Maverick       DGR        100         40           4000       1           40x48         2                     Large        10          finished SO-560
                                                                                                                                                                                                 Did not want to over feed the
                                                                                                                                                                                                                                 Hammer mill did not dust as
5/9/2023    SO-328    No           11:30 AM     4:00 PM    Osborn Shang   OGR        100         160          16000      4           HT Large      8                     Large        8          hammer mill due to the Big Mac
                                                                                                                                                                                                                                 expected. Will run heavier loads.
                                                                                                                                                                                                 out of service
                                                                                                                                                                                                 Had toruble with the Little MAC
                                                                                                                                                                                                 blowing extra dust. Donaldson
5/10/2023   SO-328    No           1:30 PM      4:30 PM    Osborn Shang   OGR        100         20           2000       2           HT Large      1                     Large        1
                                                                                                                                                                                                 hes three blown filters and the
                                                                                                                                                                                                 air flow gage was reading 10.1

                                                                                                                                                                                                 MSHA stopped by. Gave a good
                                                                                                                                                                                                                                 One man short today. The raw
                                                                                                                                                                                                 safety talk to the crew. Little
5/11/2023   SO-328    No           8:00 AM      4:00 PM    Osborn Shang   OGR        100         320          32000      8           HT Large      16                    Large        15                                         product does not seem to be very
                                                                                                                                                                                                 MAC fan was making a vibrating
                                                                                                                                                                                                                                 dusty.
                                                                                                                                                                                                 noise. Loose damper gate.
                                                                                                                                                                                                 Donaldson filter shut down.
                                                                                                                                                                                                 Had to clean out and reset. Too Thought the clogging problem may
                                                                                                                                                                                                 much rework product clogged have been classifier related. Spent
5/12/2023   SO-328    No           8:00 AM      3:00 PM    Osborn Shang   OGR        100         180          18000      11          HT Large      9                     Large        9          the finished product pipe, twice. time examining that piece of
                                                                                                                                                                                                 Spent an hour each time beating machinery as well. Greased while we
                                                                                                                                                                                                 on pipes to get the material      were there. 1320 more to go.
                                                                                                                                                                                                 through.
                                                                                                                                                                                                 The Donaldson filter kept
                                                                                                                                                                                                 switching to clean mode. The
                                                                                                                                                                                                                                   The finished product vacuum hopper
5/15/2023   SO-328    No           8:00 AM      10:30 AM   Osborn Shang   OGR        100         40           4000       0           HT Large      2                     Large        2          suction fan shut off and would
                                                                                                                                                                                                                                   would not operate properly.
                                                                                                                                                                                                 not pull the overflow from the
                                                                                                                                                                                                 packer nozzle.
                                                                                                                                                                                                 Got the Donaldson running very New hires worked out real good. I
5/19/2023   SO-328    No           1:00 PM      6:00 PM    Osborn Shang   OGR        100         220          22000      3           HT Large      11                    Large        11
                                                                                                                                                                                                 well.                             hope they stay with us.
                                                                                                                                                                                                 Machinery ran good today. SO-
5/20/2023   SO-328    Yes          8:00 AM      4:00 PM    Osborn Shang   OGR        100         420          42000      2           HT Large      21                    Large        21
                                                                                                                                                                                                 328-C&D are complete.
                                                                                                                                                                                                 Machinery ran good today as
                                                                                                                                                                                                 well. The lovejoy on the packer
5/22/2023   SO-328    Yes          8:00 AM      5:00 PM    Osborn Shang   OGR        100         440          44000      4           HT Large      22                    Large        22
                                                                                                                                                                                                 conveyor busted a tooth right as
                                                                                                                                                                                                 we were ending.

5/23/2023   SO-328A   Yes          8:00 AM      10:00 AM   Osborn Shang   DGR        100         60           6000                   HT Large      3                     Large        3          SO-328




                                                                                                                                                                                           Exhibit P-28, Page 022
                                        Appellate Case: 25-1349                                Page: 2080                     Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                               Replaced the belt on the dryer
                                                                                                                                                                 Stayed late to pack product and try to
5/24/2023   SO-328A    Yes   2:00 PM    5:15 PM    Osborn Shang   DGR   100    140   14000      HT Large   7    Large   7      feed conveyor. Repaired the
                                                                                                                                                                 salvage the day.
                                                                                                                               packer conveyor lovejoy.

5/25/2023   SO-328A    Yes   8:00 AM    11:30 AM   Osborn Shang   DGR   100    200   20000      HT Large   10   Large   10
                                                                                                                               Had a good day. 100 more bags
5/25/2023   SO-328B    Yes   11:30 AM   4:30 PM    Osborn Shang   DGR   100    300   30000      HT Large   15   Large   15
                                                                                                                               will finish SO-328B
                                                                                                                               Clogged up the hammer mill and
                                                                                                                               at the same time tore the pick
5/26/2023   SO-328B    Yes   8:00 AM    11:00 AM   Osborn Shang   DGR   100    100   10000      HT Large   5    Large   5
                                                                                                                               belt feeder to the hammer mill.
                                                                                                                               down two hours.

5/26/2023   SO-329     Yes   1:00 PM    4:00 PM    Hsin-Feng      DGR   100    160   16000      HT Large   8    Large   8      Ran pretty good.
5/30/2023   SO-329     Yes   8:00 AM    12:00 PM   Hsin-Feng      DGR   100    160   16000      HT Large   8    Large   8      Ran pretty good.
5/30/2023   SO-329     Yes   12:00 PM   1:30 PM    Hsin-Feng      OGR   100    80    8000       HT Large   4    Large   4
                                                                                                                               Hammer mill plugged up and
                                                                                                                               pushed the screens too low and
5/30/2023   SO-331*B   Yes   1:30 PM    2:30 PM    Briter Eng     OGR   100    60    6000       HT Large   3    Large   3
                                                                                                                               had to rebuild the screen
                                                                                                                               carriage.
                                                                                                                               Got the hammer mill put back
                                                                                                                               together at 9am. Began feeding
                                                                                                                               and sack first bag at 9:30am.
5/31/2023   SO-331B    Yes   9:30 AM    4:30 PM    Briter Eng     OGR   100    140   14000      HT Large   7    Large   7      fed too hard and plugged
                                                                                                                               hammer mill twice. By 1pm the
                                                                                                                               crew had solved the clogging
                                                                                                                               problem.
                                                                                     0




                                                                                                                            Exhibit P-28, Page 023
                                Appellate Case: 25-1349                       Page: 2081     Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                Pallets
                        Complete the                                       Material   Bag Size (in # of Bags   # of Lbs   # of Bags                 # Pallets             Slip Sheet   Slip Sheets
Date        Order #                  Start Time   End Time   Customer                                                                 Pallet Type               Broken                             Major Downtime Events                       NOTES
                        Order?                                             Grade      lbs)         Made        Made       Ripped                    Used                  type         Used
                                                                                                                                                                trashed


6/1/2023    SO-331 OGR Yes           8:15 AM      4:30 PM    Briter Eng    OGR        100         390          39000      4           HT Large      20                    Large        20         Loaded four outgoing containers

                                                                                                                                                                                                  Took a while for the burner and feed rate
6/2/2023    SO-331OGC   Yes          10:30 AM     4:30 PM    Briter Eng    OGC        100         270          27000      18          HT Large      13                    Large        13         to adjust to the cream. The high number
                                                                                                                                                                                                  of scrap bags was from doing clean up.
6/2/2023    SO-591      Yes          9:00 AM      10:00 AM   Nrthn Labs    DGC        100         29           2900                   40x48         1                     Large        6
6/2/2023    SO-445      Yes          10:00 AM     10:30 AM   CE Bradley    DGC        100         20           2000                   40x48         1                     Large        1
6/5/2023    SO-336OGR   Yes          9:00 AM      2:00 PM    REPTEC        OGR        100         220          22000      5           40x48         11                    Large        11         Cleared the OGC out first
6/5/2023    SO-336DGR   Yes          2:00 PM      4:15 PM    REPTEC        DGR        100         120          12000                  40x48         6                     Large        6
6/5/2023    Stock       Yes          8:00 AM      9:00 AM    ATMO          OGC        100         12           1200                   40x48         1                     Large        1          Clear the system
6/5/2023    Stock       Yes          8:00 AM      9:00 AM    ATMO          OGR        100         28           2800                   40x48         1                     Large        1          Clear the system
                                                                                                                                                                                                  Got the bearings installed on the burner
6/7/2023    SO-336DGR   yes          1:00 PM      2:30 PM    REPTEC        DGR        100         60           6000       7           40x48         3                     Large        3
                                                                                                                                                                                                  fan shaft and fired up.
6/7/2023    SO-337DGR   Yes          2:30 PM      4:15 PM    REPTEC        DGR        100         140          14000      2           40x48         7                     Large        7          Stayed on DGR
6/8/2023    SO-337DGR   Yes          8:00 AM      11:00 AM   REPTEC        DGR        100         60           6000       8           40x48         3                     Large        3          Reworked several busted bags
                                                                                                                                                                                                  Finished SO-337. Reworked more torn
6/8/2023    SO-337OGR   Yes          11:00 AM     2:30 PM    REPTEC        OGR        100         220          22000      6           40x48         11                    Large        11
                                                                                                                                                                                                  bags. Switched to 50# bags
                                                                                                                                                                                                  We'll finish the OGR portion on 6/9/2023.
                                                                                                                                                                                                  Clogged up the finished product pipe and
6/8/2023    SO-360OGR   Yes          2:30 PM      4:00 PM    Osborn OH     OGR        50          135          6750                   40x48         3                     Large        3
                                                                                                                                                                                                  had to beat on it for an hour. 5 pattern -
                                                                                                                                                                                                  9 high

                                                                                                                                                                                                  The sheave pulley came off of the burner
6/9/2023    SO-360OGR   Yes          8:00 AM      3:00 PM    Osborn OH     OGR        50          225          11250                  40x48         5                     Large        5          fan drive shaft. Maintenance took 3 hours
                                                                                                                                                                                                  to re-install. 5 pattern - 9 high

6/9/2023    SO-360DGR   Yes          3:00 PM      4:15 PM    Osborn OH     DGR        50          150          7500                   40x48         3                     Large        3          5 pattern - 10 high
6/12/2023   SO-360DGR   Yes          8:00 AM      10:30 AM   Osborn OH     DGR        50          250          12500                  40x48         5                     Large        5

                                                                                                                                                                                                  Had to shut down to examine the Little
6/12/2023   SO-339      Yes          10:30 AM     4:00 PM    Jackson Lea OH DGR       50          280          14000                  40x48         7                     Large        7          MAC to find out why excessive dusting
                                                                                                                                                                                                  occured 2.5 hours. DNR lady came by.
                                                                                                                                                                                                  Little MAC began excessive dusting. Took
6/13/2023
                                                                                                                                                                                                  it apart three times.
6/14/2023   SO-339      Yes          8:45 AM      11:45 AM   Jackson Lea OH DGR       50          280          14000                  40x48         7                     Large        7

                                                                                                                                                                                                  Running good then the Little MAC began
                                                                                                                                                                                                                                            Called the DNR to let them know we're
6/14/2023   SO-346      Yes          11:45 AM     2:30 PM    Osborn OH     DGR        50          160          8000                   40x48         4                     Large        4          heavily dusting. Police came. Had to shut
                                                                                                                                                                                                                                            working on the dust problem.
                                                                                                                                                                                                  down and try to find the problem again.
                                                                                                                                                                                                  Drive chain busted on the main flour
6/15/2023   SO-346      Yes          8:00 AM      1:15 PM    Osborn OH     DGR        50          400          20000                  40x48         10                    Large        10
                                                                                                                                                                                                  elevator. Down 45 min.
            SO-361DGR -
                                                                                                                                                                                                  Little MAC lasted the day. hopefully it will
6/15/2023   Moved to a Yes           1:15 PM      4:30 PM    moved to stock DGR       100         200          20000                  40x48         10                    Large        10                                                      Finished the DGR portion of this order.
                                                                                                                                                                                                  continue.
            later date
6/16/2023   SO-355      Yes          8:00 AM      4:30 PM    Zephyr        DGR        100         300          30000                  40x48         15                    Large        15

                                                                                                                                                                                                  3 people short. Finished product cyclone Little MAC belched a cloud every now
6/16/2023   SO-625DGR   Yes          8:00 AM      4:30 PM    BAF Ind       DGR        100         14           1400                   40x48         1                     Large        1
                                                                                                                                                                                                  tube clogged up. down about 45 minutes. and then. No one complained.
6/19/2023   SO-355      Yes          8:00 AM      10:00 AM   Zephyr        DGR        100         100          10000                  40x48         5                     Large        5          Ready to ship.
                                                                                                                                                                                                  Finished product cyclone brgan blowing
            SO-361OGR -
                                                                                                                                                                                                  excessive amounts of product from the
6/19/2023   Moved to a Yes           10:00 AM     2:00 PM    moved to stock OGR       100         160          16000                  40x48         8                     Large        8
                                                                                                                                                                                                  exhaust port. Maintenance is adjusting
            later date
                                                                                                                                                                                                  and refitting filter socks.
            SO-361OGR -
                                                                                                                                                                                                  SO-361 OGR & DGR is complete and
6/20/2023   Moved to a Yes           8:00 AM      9:30 AM    moved to stock OGR       100         60           6000                   40x48         3                     Large        3
                                                                                                                                                                                                  ready to ship
            later date
            SO-362OGR -
6/20/2023   moved to a Yes           9:00 AM      2:30 PM    moved to stock OGR       100         340          34000                  40x48         11                    Large        11         OGR portion of SO-362 Complete
            later date
            SO-362DGR -
6/20/2023   moved to a Yes           2:30 PM      4:30 PM    moved to stock DGR       100         100          10000                  40x48         5                     Large        5          DGR portion of SO-362
            later date




                                                                                                                                                                                                  Exhibit P-28, Page 024
                                          Appellate Case: 25-1349                                   Page: 2082                        Date Filed: 04/07/2025 Entry ID: 5503844
            SO-362DGR -
                                                                                                                          Slow start after doing PM today. SO-362
6/21/2023   moved to a Yes    2:00 PM    4:30 PM    moved to stock DGR   100   100   10000   40x48      5    Large   5
                                                                                                                          OGR & DGR is complete.
            later date
            SO-364DGR -
6/22/2023   moved to a Yes    8:00 AM    12:30 PM   moved to stock DGR   100   200   20000   40x48      10   Large   10   Completed DGR portion of SO-364
            later date
            SO-363DGR -                                                                                                   Bolts came out of the lower shaft coupling
6/22/2023   moved to a Yes    12:30 PM   4:30 PM    moved to stock DGR   100   120   12000   40x48      6    Large   6    of the classifier return G40. Down about
            later date                                                                                                    45 minutes.
            SO-363DGR -
6/23/2023   moved to a Yes    8:00 AM    1:45 PM    moved to stock DGR   100   300   30000   40x48      15   Large   15   Completed
            later date
                                                                                                                          These pallets are being weighed. Mill ran
6/23/2023   SO-367      Yes   1:45 PM    4:00 PM    Sumadjaja     DGR    100   120   12000   HT Large   6    Large   6
                                                                                                                          pretty good.
                                                                                                                          Complete. Weighed Tanks are down to
6/24/2023   SO-367      Yes   7:00 AM    12:00 PM   Sumadjaja     DGR    100   280   28000   HT Large   14   Large   14
                                                                                                                          their cones.

                                                                                                                          Flex duct from burner to bed dryer blew
                                                                                                                          out and most of the hot air was escaping
6/26/2023   SO-368DGR   Yes   8:00 AM    9:30 AM    Toa Kasi      DGR    100   40    4000    HT Large   2    Large   10
                                                                                                                          and not able to dry the material. Have
                                                                                                                          made arrangements to repair.
6/27/2023                                                                            0                                    Burner/dryer joint repair
                                                                                                                          Completed the burner/dryer joint repair.
6/28/2023   SO-368DGR   Yes   2:00 PM    4:30 PM    Toa Kasi      DGR    100   20    2000    HT Large   1    Large   5    Ran one pallet after testing. Plugged up
                                                                                                                          the hammer mill.

                                                                                                                          Hammer mill plugged up because the plate
                                                                                                                          adjustment chains broke. Had to dig out
6/29/2023   SO-368DGR   Yes   9:45 AM    10:30 AM   Toa Kasi      DGR    100   42    4200    HT Large   2    Large   10                                            Two extra bags for previous order.
                                                                                                                          material and replace/repair chain.
                                                                                                                          Switched to OGR
            SO-364OGR -
6/29/2023   mved to     Yes   10:30 AM   4:00 PM    moved to stock OGR   100   220   22000   40x48      11   Large   11
            later date
6/29/2023   SO-368OGR Yes     4:00 PM    4:15 PM    Toa Kasi      OGR    100   20    2000    HT Large   1    Large   5
                                                                                                                          The screen plate adjustment chain busted
6/30/2023   SO-368OGR   Yes   8:00 AM    12:00 PM   Toa Kasi      OGR    100   160   16000   HT Large   8    Large   40   again. Took all afternoon to dig out and
                                                                                                                          repair.




                                                                                                                          Exhibit P-28, Page 025
                                 Appellate Case: 25-1349                       Page: 2083    Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                                           Pallets              Slip
Data don’t                                             Complete                                         Material   Bag Size   # of Bags   # of Lbs   # of Bags                 # Pallets             Slip Sheet          Major Downtime
                  Date       Order #           Shift                Start Time   End Time   Customer                                                             Pallet Type               Broken               Sheets                  NOTES
delete                                                 the Order?                                       Grade      (in lbs)   Made        Made       Ripped                    Used                  type                Events
                                                                                                                                                                                           trashed              Used
                                                                                                                                                                                                                         Shaker screen
                             SO-373 - Moved            Yes, At a                            Moved to                                                                                                                     breaker tripped.
Yes               7/3/2023
                             to a later date           later date
                                                                    7:00 AM      1:45 PM
                                                                                            STOCK
                                                                                                        OGR        100        320         32000      2           40x48         16          0         Large     16
                                                                                                                                                                                                                         Reset breaker.
                                                                                                                                                                                                                         Overloaded
                                                       Yes, At a                            Bright
No                7/3/2023   SO-377-A
                                                       later date
                                                                    1:45 PM      4:00 PM
                                                                                            Abrasives
                                                                                                        OGR        2000       4           8000                   40x48         4           0         Large     4
                                                                                                                                                                                                                         Maintenance
Yes, At a later              SO-373 - Moved                                                 Moved to
                  7/5/2023                             Yes          9:00 AM      10:30 AM               OGR        100        100         10000      1           40x48         5           0         Large     5         repaired the
date                         to a later date                                                STOCK
                                                                                                                                                                                                                         packer conveyor
                                                                                                                                                                                                                                            Let the system
                                                                                                                                                                                                                         Switching to DGR
                                                                                                                                                                                                                                            clear out a little
                             SO-372 -moved             Yes, At a                            Moved to                                                                                                                     backed up the
                  7/5/2023                                          10:30 AM     4:15 PM                DGR        100        240         24000      5           40x48         12          0         Large     12                           longer for the
                             to a later date           later date                           STOCK                                                                                                                        classifier for a
                                                                                                                                                                                                                                            switch to DGC
                                                                                                                                                                                                                         couple of minutes.
                                                                                                                                                                                                                                            on 7/6.


                                                                                                                                                                                                                         After MSHA left
                                                                                                                                                                                                                         and maintenance
                                                                                                                                                                                                                         repaired a
                                                                                                                                                                                                                         junction box on
                                                                                                                                                                                                                         the west end of
                             SO-372 -moved             Yes, At a                            Moved to
OGR               7/6/2023
                             to a later date           later date
                                                                    1:00 PM      4:30 PM
                                                                                            STOCK
                                                                                                        DGR        100        80          8000       2           40x48         4           0         Large     4         the packer. We
                                                                                                                                                                                                                         finally got going.
                                                                                                                                                                                                                         Short one
                                                                                                                                                                                                                         maintenance man
                                                                                                                                                                                                                         and one mill
                                                                                                                                                                                                                         assoc.



                                                                                                                                                                                                                         The G-40 green
                                                                                                                                                                                                                         box return scroll
                                                                                                                                                                                                                         had a busted
                                                                                                                                                                                                                                           Using 80 of an
                                                                                                                                                                                                                         coupling shaft
                                                                                                                                                                                                                                           old Toa Kasei
                                                                                                                                                                                                                         which resulted in
                                                                                                                                                                                                                                           order of DGC
                                                                                                                                                                                                                         the green box
DGR               7/7/2023   SO_368DGC                 Yes          2:15 PM      4:00 PM    Toa Kasei   DGC        100        50          5000                   HT Large      2           0         Large     10
                                                                                                                                                                                                                         filling up with
                                                                                                                                                                                                                                           from October
                                                                                                                                                                                                                                           2022 to
                                                                                                                                                                                                                         product. Repaired
                                                                                                                                                                                                                                           complete the
                                                                                                                                                                                                                         the shaft and dug
                                                                                                                                                                                                                                           order.
                                                                                                                                                                                                                         out the breen box
                                                                                                                                                                                                                         and fired up at
                                                                                                                                                                                                                         1pm.


                             SO-372 -moved             Yes, At a                            Moved to
AFR               7/7/2023
                             to a later date           later date
                                                                    1:00 PM      2:15 PM
                                                                                            STOCK
                                                                                                        DGR        100        40          4000       2           40x48         2           0         Large     2         cleared the system

Trifil-R          7/7/2023   Stock                     Yes          4:00 PM      4:15 PM    ATMO        DGC        100        20          2000       0           HT Large      1           0         Large     1




                                                                                                                                                                                    Exhibit P-28, Page 026
                                        Appellate Case: 25-1349                             Page: 2084                    Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                             The push button
                                                                                                                                                             switch fell out of
                                                                                                                                                             the Main rose tank
                                                                                                                                                             switch box in the
                                                                                                                                                             control room. In
                                                                                                                                                             the process of
                                                                                                                                                             repairing, a wire
                                                                                                                                                             lead touched
                       SO-372 -moved                                        Moved to
PR         7/10/2023
                       to a later date
                                         Yes          9:45 AM    2:15 PM
                                                                            STOCK
                                                                                          DGR   100      60    6000       40x48      3          Large   3    ground and
                                                                                                                                                             shorted out
                                                                                                                                                             blowing a fuse and
                                                                                                                                                             breaker. Still not
                                                                                                                                                             able to run the
                                                                                                                                                             feed belt for the
                                                                                                                                                             main rose tank.
                                                                                                                                                             fed the belt by
                                                                                                                                                             hand.



                                                                                                                                                             Jim got confused
                                                                                                                                                             and continued
R-45       7/10/2023   SO-368DGC         Yes          8:15 AM    9:45 AM    Toa Kasei     DGC   100      40    4000       HT Large   2          Large   10   DGC for 2 pallets.
                                                                                                                                                             Then switched to
                                                                                                                                                             DGR.

R-30       7/10/2023   SO-417            Yes          2:15 PM    2:45 PM    Stutz         DGR   100      20    2000       40x48      1          Large   1

                                                                                                                                                             Found the fuse
                                         Yes, At a                          Bright
R-15       7/11/2023   SO-377-A
                                         later date
                                                      10:45 AM   11:30 AM
                                                                            Abrasives
                                                                                          OGR   2000     1     2000       40x48      1          Large   1    box with the burnt
                                                                                                                                                             fuses at 10;00am

                                                                                                                                                             Pick-belt and
                       SO-385 - Moved    Yes, At a                          Moved to
R-10       7/11/2023
                       to a later date   later date
                                                      11:30 AM   4:00 PM
                                                                            STOCK
                                                                                          OGR   100      200   20000      40x48      10         Large   50   feeders are now
                                                                                                                                                             functioning
                                                                                                                                                             Began running
                       SO-385 - Moved    Yes, At a                          Moved to
R-6        7/12/2023
                       to a later date   later date
                                                      12:00 PM   5:00 PM
                                                                            STOCK
                                                                                          OGR   100      160   16000      40x48      8          Large   40   after
                                                                                                                                                             maintenance.
                       SO-385 - Moved                                       Moved to
OGC        7/13/2023
                       to a later date
                                         Yes          8:00 AM    10:30 AM
                                                                            STOCK
                                                                                          OGR   100      80    8000       40x48      4          Large   20   Complete

DGC        7/13/2023   SO-401            Yes          10:30 AM   12:30 PM   Phoenix       OGR   100      100   10000      40x48      5          Large   5    Complete


                                                                                                                                                             Packer impeller
                                                                                                                                                             began to leak. Jim
                                                                                                                                                             went to check on
                                         Yes, At a
AFC        7/13/2023   SO-403A
                                         later date
                                                      12:30 PM   2:30 PM    East Best     OGR   100      40    4000       HT Large   2          Large   10   sock filter on the
                                                                                                                                                             4th floor. Got hot
                                                                                                                                                             and the crew left
                                                                                                                                                             at 3:30


                                                                                                                                                             NO PRODUCTION
Trifil-C   7/14/2023   NA                             8:00 AM    4:30 PM    NA                                 0                                             DUE TO JIM
                                                                                                                                                             REMOVING ALL

                                                                                                                                                             From 8am to 9am
                                                                                                                                                             maintenance and
                                         Yes, At a
           7/17/2023   SO-403-A                       9:00 AM    3:00 PM    East Best     OGR   100      220   22000      HT Large   11         Large   55   Jim finished the
                                         later date
                                                                                                                                                             cyclone on 4th
                                                                                                                                                             floor

C-45       7/17/2023   SO-607            Yes          3:00 PM    3:30 PM    Unv. Photon   OGR   100      20    2000       40x48      1          Large   5




                                                                                                                                          Exhibit P-28, Page 027
                                   Appellate Case: 25-1349                  Page: 2085                 Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                            Unload the packer
                                           Yes, At a                          Bright                                                                        hopper and
C-30          7/17/2023   So-377A
                                           later date
                                                        3:30 PM    3:45 PM
                                                                              Abrasives
                                                                                            OGR   2000     1     2000       40x48   1          Large   1
                                                                                                                                                            started rework for
                                                                                                                                                            SO-486

                                                                                                                                                            Did rework for one John don’t
                                                                                                                                                            hour while the     forget to add
C-15          7/18/2023   Stock            Yes          9:00 AM    11:45 AM   ATMO          DGR   100      120   12000      40x48   1          Large   1
                                                                                                                                                            burner was getting these to the "To
                                                                                                                                                            hot.               From Stock tab"

                                                                                                                                                            Maintenance day.
                                           Yes, At a
C-10          7/19/2023   SO-419
                                           later date
                                                        12:45 PM   4:15 PM    Osborn Mex    DGR   100      120   12000      40x48   6          Large   6    Fired up and
                                                                                                                                                            packing at 12:45

C-5           7/20/2023   SO-419           Yes          8:30 AM    1:00 PM    Osborn Mex    DGR   100      145   14000      40x48   7          Large   7
                                                                              Bright
50            7/20/2023   SO-377-A         Yes          11:00 AM   11:05 AM                 DGR   2000     1     2000       40x48   1          Large   1
                                                                              Abrasives
60            7/20/2023   SO-420           Yes          1:15 PM    4:10 PM    Osborn Mex    OGR   100      140   14000      40x48   7          Large   1

                                                                                                                                                            Comingled a pallet
75            7/21/2023   SO-422           Yes          8:00 AM    10:45 AM   Osborn Mex    OGR   100      135   13500      40x48   7          Large   7    of 15 OGR with 5
                                                                                                                                                            DGR

                                                                                                                                                            Power got
                                                                                                                                                            knocked out at
90            7/21/2023   SO-421           No           11:15 AM   4:00 PM    Osborn Mex    DGR   100      145   14500      40x48   7          Large   7
                                                                                                                                                            3pm. Set us back
                                                                                                                                                            about 45 minutes.

                                                                                                                                                            Did not change
100           7/21/2023   Stock            Yes          10:45 AM   11:15 AM   ATMO          OGR   100      20    2000       40x48   1          Large   1    classifier in time
                                                                                                                                                            over to DGR.

                                                                                                                                                            Breaker tripped on
900           7/24/2023   SO-448           Yes          8:00 AM    8:45 AM    Osborn OH     OGR   2000     2     4000       40x48   2          Large   2    the packer. down
                                                                                                                                                            for a bit.


                                                                                                                                                            Little MAC filter
                                           Yes, At a                                                                                                        unit blew out a
2000          7/24/2023   SO-536                        8:45 AM    4:00 PM    Osborn-Bulk   OGR   2000     17    34000      40x48   17         Large   17
                                           later date                                                                                                       filter. Shut down
                                                                                                                                                            for approx 45 min.

                                                                                                                                                            Completed.
                                                                                                                                                            Impeller for the
                                                                                                                                                            packer nozzle
              7/25/2023   SO-536           Yes          6:15 AM    8:00 AM    Osborn-Bulk   OGR   2000     4     8000       40x48   4          Large   4    locked up.
                                                                                                                                                            Continued with
                                                                                                                                                            bulk bags for SO-
                                                                                                                                                            377-A

                                                                                                                                                            Burner shut off at
                                                                                                                                                            1:30 PM..Air flow
                                           Yes, At a                                                                                                                           unloaded HT
              7/25/2023   SO-377-A                      8:15 AM    1:45 PM    Bright Abrv   OGR   2000     6     12000      40x48   6          Large   6    switch fault,
                                           later date                                                                                                                          pallets..1 Hour
                                                                                                                                                            unable to remedy
                                                                                                                                                            as of yet.


                                                                                                                                                            Maintenance day.
                                                                                                                                                            Started at 6am.
                                                                                                                                                            Ryan & Jim fixed
#2 Standard   7/26/2023   SO-377-A         Yes          10:15 AM   2:00 PM    Bright Abrv   OGR   2000     7     14000      40x48   7          Large   7
                                                                                                                                                            the burner issues.
                                                                                                                                                            Jeremy repaired
                                                                                                                                                            the packer.

40x48         7/27/2023   SO-490           Yes          11:15 AM   11:30 AM   Northern      OGR   100      20    2000       40x48   1          Large   5    Complete.




                                                                                                                                         Exhibit P-28, Page 028
                                     Appellate Case: 25-1349                  Page: 2086                 Date Filed: 04/07/2025 Entry ID: 5503844
                                                                            Shang East                                                                      A finish up order
HT Large    7/27/2023   SO-403A          Yes          6:15 AM    11:15 AM                OGR   100      140   14000      HT Large   7          Large   5
                                                                            Best                                                                            from yesterday
            7/27/2023   SO-441           Yes          11:30 AM   2:00 PM    Koyo- Sha    OGR   100      90    9000       HT Large   5          Large   35   Finished


                                                                                                                                                            Dryer/burner duct
                                                                                                                                                            got hot and
                                                                                                                                                            shutdown for 45
                                                                                                                                                            minutes. Product
                                                                                                                                                            began spilling
                                                                                                                                                            from impeller
                                         Yes, At a                          Bright
            7/27/2023   SO-377-B                      2:00 PM    2:30 PM                 OGR   2000     2     4000       40x48      2          Large   2    shaft bearing.
                                         later date                         Abrasives
                                                                                                                                                            Down 30 min.
                                                                                                                                                            Took longer break
                                                                                                                                                            when temp
                                                                                                                                                            exceeded 95
                                                                                                                                                            outside. About
                                                                                                                                                            11:30 am.




                                                                                                                                                                              Truck for
                                                                                                                                                            Crew members      SO_637 was
                                                                                                                                                            were selected for late. Took driver
                                                                                                                                                            air test. Old     30 minutes to
                                         Yes, At a                          Bright                                                                          testing equipment get backed up to
Small       7/28/2023   SO-377-B                      6:30 AM    2:15 PM                 OGR   2000     16    32000      40x48      16         Large   16
                                         later date                         Abrasives                                                                       malfunctioned.    the dock. Ron C.
                                                                                                                                                            Material moved    and John stayed
                                                                                                                                                            slow coming from late to load and
                                                                                                                                                            holding tanks.    finish rework of
                                                                                                                                                                              SO-533 & 534


                                                                            Bright                                                                          Rough start from
Large       7/31/2023   SO-377-B         Yes          6:30 AM    8:00 AM                 OGR   2000     2     4000       40x48      2          Large   2
                                                                            Abrasives                                                                       an all night rain.


                                                                                                                                                            Shut down an
                                                                                                                                                            hour early
                                                                                                                                                            because of heavy
                                         Yes, At a                                                                                                          dust from Little
Laminated   7/31/2023   SO-404                        7:30 AM    1:40 PM    EAst Best    OGR   100      260   26000      HT Large   13         Large   5
                                         later date                                                                                                         MAC.
                                                                                                                                                            Maintenance
                                                                                                                                                            cleaned filters
                                                                                                                                                            then reinstalled.




12:00 AM
11:59 PM




                                                                                                                                         Exhibit P-28, Page 029
                                   Appellate Case: 25-1349                  Page: 2087                Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                                                                                                                 Pallets
Data don’t                                   Complete                                       Material   Bag Size (in # of Bags   # of Lbs   # of Bags                 # Pallets             Slip Sheet   Slip Sheets Major Downtime
           Date          Order #   Shift                Start Time End Time     Customer                                                               Pallet Type               Broken                                            NOTES
delete                                       the Order?                                     Grade      lbs)         Made        Made       Ripped                    Used                  type         Used        Events
                                                                                                                                                                                 trashed
Yes           8/1/2023   SO-404              Yes          9:00 AM     2:00 PM   East Best   OGR        100         140          14000                  HT Large      7                     Large        42
                                                                                                                                                                                                                  Control room
                                                                                                                                                                                                                  operator was
                                                                                                                                                                                                                  absent. Start-up
                                                                                                                                                                                                                  instructions were
                                                                                                                                                                                                                  missing a
No            8/1/2023   SO-403B             Yes, at a late 2:00 PM   2:30 PM   East Best   OGR        100         20           2000                   HT Large      1                     Large        5
                                                                                                                                                                                                                  procedure for
                                                                                                                                                                                                                  starting the
                                                                                                                                                                                                                  classifier.
                                                                                                                                                                                                                  Remedied the
                                                                                                                                                                                                                  instructions.
90
100
900
2000


#2 Standard
40x48
HT Large


Small
Large
Laminated


12:00 AM
11:59 PM




                                                                                                                                                                                  Exhibit P-28, Page 030
                                           Appellate Case: 25-1349                          Page: 2088                     Date Filed: 04/07/2025 Entry ID: 5503844
                      UNITED STATES OF AMERICA
          FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                 OFFICE OF ADMINISTRATIVE LAW JUDGES

JULIE A. SU, Acting Secretary of Labor,        )    DISCRIMINATION &
United States Department of Labor, and         )    INTERFERENCE PROCEEDING
ROBERT BAUMANN                                 )    DOCKET
                     Complainants,             )
                                               )
              v.                               )    Docket No. CENT 2023-0251-DM
                                               )
MOSENECAMANUFACTURER LIMITED                   )
LIABILITY COMPANY d/b/a AMERICAN               )    Mine: MOSenecaMfr LLC dba
TRIPOLI,                                       )    American Tr
                                               )    Mine Id No. 23-00504
                                               )
                     Respondent.               )

  RESPONDENT RESPONSE TO ACTING SECRETARY OF LABOR’S FOURTH
           REQUESTS FOR PRODUCTION OF DOCUMENTS




                                          1


                                                        Exhibit P-29, Page 001
Appellate Case: 25-1349      Page: 2089       Date Filed: 04/07/2025 Entry ID: 5503844
                    REQUESTS FOR PRODUCTION OF DOCUMENTS

       1.      Produce the document, attached hereto as Exhibit A, which was produced by
Respondent in docket CENT 2023-0196 in response to discovery, for the time period of January
1, 2022 through August 1, 2023. As the time period of November 3, 2022 through March 31,
2023 has already been produced in Exhibit A, to the extent it is easier to exclude these time
periods from this production, that is acceptable.
       RESPONSE: Attached is the document, labeled “Daily Production JAN 2022 - NOV 3
       2022 AND APR 2023 - AUG 2023.xlsx” with the time periods as requested, January 1,
       2022 – November 3, 2022, and April 1, 2023 – August 1, 2023.




                                                    2


                                                                  Exhibit P-29, Page 002
  Appellate Case: 25-1349         Page: 2090            Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-31, Page 001
Appellate Case: 25-1349   Page: 2091   Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-32, Page 001
Appellate Case: 25-1349   Page: 2092   Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-32, Page 002
Appellate Case: 25-1349   Page: 2093   Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-32, Page 003
Appellate Case: 25-1349   Page: 2094   Date Filed: 04/07/2025 Entry ID: 5503844
                                   AMERICAN TRIPOLI
                                   Mailing Address: 2701 East Grauwyler Road, Bldg 1,
                                   Dept# 1008, Irving, TX 75061-3414
                                   Shipping/Receiving Address: 5 Oneida Street, Seneca,
                                   MO 64865

April17, 2023, 9:00 AM

Dear Robert Baumann,

I regret to inform you that your employment with American Tripoli will be terminated effective immediately due to poor
performance, lack of leadership skills, and for failure to follow procedures and guidance given by your supervisor.

We have made several attempts to address these issues with you through coaching, feedback sessions and open
communication channels, but unfortunately, we have not seen any improvement in your performance and the data
reflects this.

Please note that you will receive your final paycheck, as scheduled, on the upcoming pay date, which will include any
accrued benefits owed to you.

I am very disappointed that this opportunity did not work out as I had high hopes for you.

If you have any questions or concerns about this decision, please do not hesitate to contact me.


Sincerely,


Russell Tidaback
Managing Member
American Tripoli

Ccd:
John Spears
Operations Manager
American Tripoli




                                                       Page 1 of 1

                                  CustomerService@AmericanTripoli.com
                                                                            Exhibit P-38, Page 001
       Appellate Case: 25-1349            Page: 2095          Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________

2OCT2023

U.S. Department of Labor
Office of the Solicitor
2300 Main Street, Suite 10100
Kansas City, MO 64108
Attorneys for the Secretary
Laura Oreilly
oreilly.laura.m@dol.gov
Elaine Smith
smith.elaine.m@dol.gov


Dear Ms. Laura Orielly,

Responding to the interrogatories, requests for production of documents, and requests for admission on behalf of
Respondent American Tripoli:



                                              INTERROGATORIES

        INTERROGATORY NO. 1: State the facts you contend support your claim that you did not violate
Section 105(c) of the of the Mine Act, 30 U.S.C. § 815(c), by terminating Robert Baumann.

        ANSWER: The termination of Mr. Robert Baumann was not related to his engagement in protected
activities under the Mine Act, but rather due to his consistently poor performance and the necessity for an
appropriate timing of a new hire to replace him.

    1. Performance Issues: Throughout Mr. Baumann's employment at American Tripoli, there were ongoing
        documented performance issues that were discussed for months prior to his termination. These issues
        included concerns about his competence, work ethic, and ability to fulfill his role as a shift lead.
        The decision to terminate Mr. Baumann's employment was primarily based on his performance during
        his tenure at American Tripoli. Numerous personal notes and discussions over the months prior to his
        termination demonstrate that his job performance was consistently unsatisfactory. These records attest to
        his inability to perform his duties satisfactorily as a shift lead, including failing to ensure proper work
        was completed within his specified work group, missing deadlines, and displaying an inability to accept
                                 CustomerService@AmericanTripoli.com
                                                                         Exhibit P-39, Page 0001
        Appellate Case: 25-1349            Page: 2096         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       and provide feedback to his team members.
       Mr. Baumann consistently demonstrated incompetence and a poor work ethic, as evidenced by the
       excessive number of citations received for his area of responsibility during his relatively short
       employment with American Tripoli.


   2. Replacements and Competency: American Tripoli made multiple efforts to find a suitable replacement
       for Mr. Baumann. The hiring of Mr. David Daigle in April 2022 was part of these efforts. Unfortunately,
       Mr. Daigle resigned a week later. Subsequent hires in August 2022 (Mr. Will Shallenburger), November
       2022 (Mr. Richard McClelland), and March 2023 (Mr. Alex Snodgrass) were also made in an attempt to
       replace Mr. Baumann, each candidate demonstrating greater competency and leadership skills than Mr.
       Baumann. It is important to note that it was Mr. Alex Snodgrass's hiring in March 2023 that seemed to
       signal to Mr. Baumann that his tenure was being challenged, leading to a further decline in his attitude.


   3. Proactive Safety Measures: American Tripoli is committed to maintaining a safe and compliant work
       environment. We have established policies and procedures that encourage open communication and
       reporting of safety concerns by all employees, including Mr. Baumann. Active communication channels
       were in place for all miners to express their concerns regarding safety and compliance. During his
       tenure, Mr. Baumann and other miners were encouraged to bring forward safety issues, and the mine
       operator consistently took swift action to address these concerns.


   4. Absence of Official Engagement in Protected Activities: It is imperative to emphasize that Mr.
       Baumann did not serve as a designated representative of miners, nor did he submit any relevant
       information to the MSHA District Manager or to the mine operator, as required by 30 CFR Part 40.
       Every miner possesses the right to engage and accompany an MSHA inspector during an inspection, as
       stipulated by the Miner's Act. However, it's important to clarify that mere participation in such activities
       does not automatically confer upon a miner the designation of a miners' representative. In his claim, he
       states that he served as a representative of miners in an official capacity. However, the mine operator
       had no prior knowledge of any such intent or stated performance. If the mine operator had been

                                CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0002
        Appellate Case: 25-1349          Page: 2097         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________
       informed of Mr. Baumann's desire to act as a miners' representative, they would have readily provided
       support and assistance to facilitate their involvement. This support would have included a more
       comprehensive briefing on the operations, ensuring that the designated person had the necessary insights
       to effectively address any inquiries from an inspector. This, another example of Mr. Baumanns lack of
       communication and leadership skills or experience. Regrettably, the mine operator was only made aware
       of Mr. Baumann's claim or supposed intention to serve as a representative of miners when the complaint
       was received by the commission. These points clarify the timeline and the lack of awareness regarding
       Mr. Baumann's purported role as a representative of miners and that his termination was entirely
       unrelated to protected activities under the Mine Act.


   5. Inconsistent Claims: Mr. Baumann's current assertions about unaddressed safety concerns are
       inconsistent with the documented history of safety communication and resolution during his tenure. It is
       crucial to consider the inconsistency between his current claims and the historical record of safety
       communication and resolution within the company.


   6. Questioning the Timing: We urge you to consider the timing of Mr. Baumann's claims about any
       unresolved safety issues. The mine operator offers numerous communication channels to express or
       bring forward and safety concerns. If Mr. Baumann had concerns, he did not utilize any of the available
       opportunities. Notably, he has only made any claims such claims after his termination. This timing raises
       questions about his motives and the credibility of his assertions.


   7. Notice of Termination: Mr. Baumann received his notice of termination on April 17, 2023. It is notable
       that, as evidenced by the Kansas Department of Labor's rules and Unemployment Benefits Form 2023,
       Mr. Baumann applied for unemployment insurance benefits on April 16, 2023, potentially indicating his
       intention to quit the next day. Therefore, his termination was not related to his protected activities, but
       rather based on his poor performance.




                                CustomerService@AmericanTripoli.com
                                                                        Exhibit P-39, Page 0003
        Appellate Case: 25-1349           Page: 2098         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________
   8. Legal and Ethical Obligations: The mine operator has a legal and ethical obligation to ensure a safe
         work environment for all employees. We remain committed to supporting employees' rights to report
         safety issues without fear of retaliation.

In conclusion, American Tripoli vehemently denies that Mr. Baumann's termination was in violation of Section
105(c) of the Mine Act. The decision to terminate Mr. Baumann was a result of his consistent poor
performance, inability to fulfill his responsibilities, and the company's efforts to maintain the safety and
efficiency of its operations, and not because of any protected activities he may have engaged in under the Mine
Act. The proposed civil penalty is excessive and unwarranted, considering the specific circumstances of the
case.



INTERROGATORY NO. 2: State the facts you contend support your claim that you did not violate Section
105(c) of the Mine Act, 30 U.S.C. § 815(c) by interfering with miners’ rights at the MoSenecaMfr LLC dba
American Tr mine, as outlined in Count II of the Complaint filed in this docket.
        ANSWER: In response to Count II of the Complaint, which alleges interference with miners' rights under
Section 105(c)(1) of the Mine Act, the Respondent vehemently denies the allegations and submits the following
arguments and facts to refute the claim of interference.


        1. INTENT OF COMMUNICATION:
        The primary argument against the interference complaint centers around the intent behind Mr. John Spears'
message to Mr. Gage Wheeler during the MSHA inspection on 14FEB2023. The message was not intended to
interfere with miners' rights but rather to facilitate communication and ensure accurate information transfer to the
MSHA inspector. We want to clarify that the communication on February 14, 2023, was directed to a specific
miner, Gage Wheeler, and was not a message sent to all miners. Mr. Gage Wheeler, who had a history of being
confrontational during past MSHA inspections. Therefore, it was crucial to address potential issues in
communication. This communication has been included in the "ALL Communications regarding MSHA.pdf,
14FEB2023 - John message to Gage about MSHA inspector.png, 14FEB2023 - John message to Gage about


                                   CustomerService@AmericanTripoli.com
                                                                        Exhibit P-39, Page 0004
         Appellate Case: 25-1349            Page: 2099       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
MSHA inspector 2nd part.png, 14FEB2023 - Russell message to John about not telling Gage to speak with MSHA
inspectors.png" document for your reference. See folder “Request for Documents 20”. Therefore, it was crucial
to address potential issues in communication. This is a testament to the mine operator's commitment to ensuring
smooth inspection processes.


      2. RESPECT FOR MINER RIGHTS:
      The Respondent reaffirms its unwavering commitment to respecting miners' rights to report safety or health
issues to MSHA and to participate in inspections without interference. The mine operator has always upheld these
rights and encouraged employees to express their concerns regarding safety and compliance without fear of
retaliation. This commitment to miner rights was consistently maintained throughout Mr. Baumann's tenure, as
well as during the MSHA inspection in question. There were no actions taken to undermine miners' rights to
engage with MSHA inspectors.


      3. DISMISSAL OF INTERFERENCE CLAIM:
      The allegations in the interference complaint, as detailed in Count II, are not substantiated by concrete
evidence or facts. While the complaint alleges that Respondent interfered with miners' statutory rights, there is
no proof that Mr. Baumann was told not to speak with MSHA inspectors or that his rights were compromised in
any way. Furthermore, the Respondent addressed any potential misunderstandings with miners, such as Mr. Gage
Wheeler, to clarify that they were free to speak with MSHA inspectors. Mr. Gage Wheeler, having undergone
MSHA training on miners' rights, confirmed that he did not feel that Respondent's message interfered with his
rights.


      In conclusion, the interference allegations in Count II of the Complaint lack substantial evidence and should
be dismissed. The Respondent's actions have consistently been aimed at ensuring safety and compliance while
respecting miners' rights. The complaint does not establish any violation of Section 105(c)(1) of the Mine Act.
The proposed civil penalty is unwarranted in this case, as there is no basis for the interference claim, and the
Respondent remains committed to maintaining a safe and healthy work environment.

                                CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0005
          Appellate Case: 25-1349        Page: 2100         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________




      INTERROGATORY NO. 3: Set forth the job duties, title and responsibilities of Robert Baumann while
he was employed by Respondent, including the dates of his employment in each role.
       ANSWER: Mr. Robert Baumann served as a Shift Lead at our facility from June 16, 2022, to April 17,
2023. As a Shift Lead, Mr. Baumann had specific responsibilities to ensure the efficient and safe operation of
our mill facility. His duties and responsibilities included but were not limited to the following:

       Shift Lead Duties:

       Oversee Mill Associates: While Mr. Baumann was not a supervisor, he provided guidance and support
to Mill Associates, ensuring they carried out their tasks efficiently and complied with safety and operational
guidelines.

       Daily Assignment of Start-Up and Shut-Down Tasks: On a daily basis, Mr. Baumann was tasked to
assign and ensured the completion of start-up and shut-down tasks on the boards located in the breakroom,
contributing to the mill's daily operations efficiencies.

       Rotation Schedule and Task Assignments: Daily, Mr. Baumann was tasked to assign roles, follow
rotation schedules, and delegate specific tasks to Mill Associates to ensure the smooth functioning of the mill.

       Time Tracking: Mr. Baumann was tasked to maintain records of worked hours, paid time off (PTO), or
unpaid leave for Mill Associates, which was crucial for time management and payroll purposes.

       Enforcement of Safety Procedures: He was responsible for reminding Mill Associates to wear
appropriate personal protective equipment (PPE) and collaborated with the Environmental and Safety Specialist
to ensure compliance with MSHA and company safety regulations. Which he lacked tremendously and the
citations received during his tenure exemplify this.

       Utilization of MS Teams for Collaboration: Mr. Baumann was tasked to actively use Microsoft Teams to
foster collaboration and communication among team members, contributing to a cohesive and efficient work
environment for which he failed at.
                                 CustomerService@AmericanTripoli.com
                                                                        Exhibit P-39, Page 0006
        Appellate Case: 25-1349            Page: 2101        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
       Control Room Backup: He was tasked as the backup for the control room, which entailed operating the
control room in the absence of the more experience Mill Associate.

       Control Room Operation: In the absence of the more senior Mill Associate due to leave or other
circumstances, Mr. Baumann was tasked for operating the control room, which is a mission-critical aspect of
mill operations.

       Startup and Shutdown Procedures: Mr. Baumann was tasked with the startup and shutdown procedures
of the mill, ensuring they were executed according to established protocols.

       Collaboration with Quarry Associate/Operations Manager: He was tasked to collaborate with the Quarry
Associate and Operations Manager, specifically regarding material deliveries, crushing operations, and any
material-related requirements for mill production.

       Mill Product and Production Supply Inventory: Mr. Baumann was tasked to conduct monthly inventory
counts for various supplies and materials, including bags, pallets, stretch wrap rolls, slip sheets, and oil,
ensuring accurate records for operational purposes for which he failed at miserably.

       Shipping/Receiving Paperwork: He was tasked in the preparation and verification of shipping and
receiving paperwork, ensuring all relevant documents were complete and accurate. He also assisted truck
drivers with paperwork-related inquiries and processing for which he struggled with the entire time.

       Mailing/Preparing Easy-to-Handle Bags: Mr. Baumann was tasked with preparation of easy-to-handle
retail bags, contributing to our efficient order fulfillment process for which his performance was so lacking that
we were never able to get him to do this tasking.

       Quality Control/CILAS Reports: He was tasked to run CILAS (Coupled Ion Chromatography and Light
Scattering) reports after each grade of product was produced, maintaining quality control records. Again his
performance was so lacking that we were never able to get him to do this tasking.

       Preventive Maintenance Schedule: Mr. Baumann was tasked to collaborate with the maintenance team
to update the preventive maintenance schedule as tasks were completed or needed to be added, ensuring the


                                 CustomerService@AmericanTripoli.com
                                                                         Exhibit P-39, Page 0007
       Appellate Case: 25-1349            Page: 2102         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
equipment's reliability and longevity. Again, his performance was so lacking that we were never able to get him
to do this tasking.

        Mill Parts/Supplies Requests: He was tasked to work closely with the maintenance team to identify and
request necessary parts and supplies, including online searches and submission of quotes to the Operations
Manager for approval and purchasing. Again, his performance was so lacking that we were never able to get
him to do this tasking.

        Additional Tasks: Mr. Baumann struggled with effectively completing the above tasks and
responsibilities as requested by different departments, showcasing his flexibility and dedication to the smooth
operation of the facility that he was not respected by his peers.

        Professional Development Counseling: He was tasked to work with the Operations Manager to conduct
professional development counseling sessions, focusing on the growth and development of Mill Associates.
These, due to his poor performance, never happened.

        While Mr. Baumann was a shift lead, not a supervisor, this role is instrumental in various aspects of mill
operations. This detailed overview of his job duties during his employment at our facility accurately represents
the nature of his role at American Tripoli.




      INTERROGATORY NO. 4: If Respondent claims that a defense or affirmative defense is applicable to
the claims at issue in this case, please identify each such defense and state with particularity the material facts
supporting such defense.
                               ANSWER: While we understand the need for transparency and adherence to legal
processes, we firmly contend that requiring the immediate identification of defenses with particularity may not
be suitable for the complex and evolving nature of this case. It is essential to uphold the principles of fairness,
due process, and the right to develop a comprehensive defense. We propose that the Respondent be allowed to
identify defenses as the case unfolds, ensuring that both parties have an equal opportunity to present their positions



                                 CustomerService@AmericanTripoli.com
                                                                         Exhibit P-39, Page 0008
        Appellate Case: 25-1349           Page: 2103         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
effectively. This approach will safeguard the integrity of the legal process while preserving the rights of all parties
involved.




      INTERROGATORY NO. 5: Set forth the reasons Robert Baumann was terminated, who participated in
the decision to terminate Robert Baumann, and the date such decision was made.
                                 ANSWER: The termination of Mr. Robert Baumann was based on well-
established principles of employment and operational policies. The decision to terminate an employee is never
taken lightly and is made in consideration of multiple factors, including the overall safety and efficiency of our
operations. Below, we provide a general outline of the principles that guided Mr. Baumann's termination and the
individuals involved in the decision.


      Principles for Termination:
      Mr. Baumann's termination was the result of several factors, including but not limited to:


            •   Poor Performance: Mr. Baumann's performance as a shift lead consistently fell below acceptable
                standards, demonstrating an inability to fulfill his role effectively.

            •   Lack of Leadership Skills: Mr. Baumann's performance was hindered by a lack of leadership skills,
                which were essential for his position.

            •   Failure to Follow Procedures and Guidance: Despite several attempts to address these issues through
                coaching, feedback sessions, and open communication channels, Mr. Baumann did not exhibit any
                signs of improvement in his performance or attitude.

            •   Safety Concerns: Safety is a paramount concern in our operations. Mr. Baumann's disregard for
                safety guidelines, and failure to take safety matters seriously, created an unsafe work environment
                for himself and his colleagues.

            •   Also following the Missouri Department of Labor Discharged Employees and Final Wages,
                Missouri follows the Employment-At-Will doctrine. This means that both the employer and

                                   CustomerService@AmericanTripoli.com
                                                                           Exhibit P-39, Page 0009
        Appellate Case: 25-1349              Page: 2104         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
             employee can terminate the employment relationship at any time and for any reason, as long as there
             is no employment contract to the contrary, there is no discrimination under civil rights laws (based
             on race, color, age, national origin, religion, ancestry, sex, or physical/mental disability), no merit
             laws    apply,    or   the   state’s   limited    public   policy   exception    does    not   apply.(
             https://labor.mo.gov/dls/general/termination-final-wages)


      Participants in the Decision:
      The decision to terminate Mr. Baumann was made collectively by management personnel within our
organization. It is important to emphasize that the decision was based on a thorough assessment of Mr. Baumann's
performance, through different managers’ feedback, in alignment with established company policies.


      Date of the Decision:
      The decision to terminate Mr. Baumann was made in accordance with company protocols and procedures,
and it was communicated to Mr. Baumann on April 17, 2023. It is important to note that termination is not an
abrupt action but a culmination of ongoing discussions, evaluations, and attempts to improve an employee's
performance over time.


      In conclusion, the decision to terminate Mr. Baumann was based on general principles of employment and
operational policies to ensure the safety and efficiency of our operations. We remain committed to safeguarding
both individual rights and operational integrity while adhering to legal and ethical standards.




      INTERROGATORY NO. 6: Identify by name, job title, job duties, dates of employment, phone number,
email address, and home address, each individual employed by Respondent at the MoSenecaMfr LLC dba
American Tr mine from June 1, 2022 through April 17, 2023.
                               ANSWER: Respondent provides the following information regarding individuals
employed at American Tripoli from June 1, 2022, through April 17, 2023:

                                CustomerService@AmericanTripoli.com
                                                                        Exhibit P-39, Page 0010
       Appellate Case: 25-1349            Page: 2105          Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________


   1. Frank Duran
           a. Job Title: Asst Manager
           b. Dates of Employment: September 27, 2021, through March 24, 2022
           c. Home Address: 8624 Cedar Dr. Joplin, MO 64804


   2. Camrin Bindel
           a. Job Title: Mill Associate
           b. Dates of Employment: March 28, 2022, through June 7, 2022
           c. Home Address: 201 N. Vine St Commerce, OK 74339


   3. Jeffrey Willis
           a. Job Title: Maintenance Lead
           b. Dates of Employment: March 21, 2022, through July 29, 2022
           c. Home Address: 1910 Pineville, Neosho, MO 64850


   4. Roger Chester
           a. Job Title: Quarry Manager
           b. Dates of Employment: June 4, 1983, through August 9, 2022
           c. Home Address: 69101 East 94th Rd, Wyandotte, OK 74370


   5. Juan Trujillo
           a. Job Title: Maintenance Associate
           b. Dates of Employment: June 15, 2022, through August 15, 2022
           c. Home Address: 2137 Elenor St, Springdale, AR 72764


   6. Christine Schreiber

                                CustomerService@AmericanTripoli.com
                                                                Exhibit P-39, Page 0011
      Appellate Case: 25-1349           Page: 2106    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           a. Job Title: Operations Manager
           b. Dates of Employment: April 4, 2022, through August 17, 2022
           c. Home Address: 2302 E. 10th St., Joplin, MO 64801


   7. Jubil Clark
           a. Job Title: Mill Associate
           b. Dates of Employment: April 27, 2022, through November 11, 2022
           c. Home Address: 11701 S 510 Rd, Miami, OK 74354


   8. Cheri Blount
           a. Job Title: Administrative Assistant
           b. Dates of Employment: May 16, 2022, through August 26, 2022
           c. Home Address: PO Box 732 Miami, OK 74355


   9. Bonnie Bainter
           a. Job Title: EHS Manager
           b. Dates of Employment: January 17, 2022, through August 30, 2022
           c. Home Address: 122 W. Pearl St, Goodman, MO, 64843


   10. Angela Schafer
           a. Job Title: Production Shipping Coordinator
           b. Dates of Employment: August 18, 2022, through September 13, 2022
           c. Home Address: 9002 W. Hwy 20, Jay, OK 74346


   11. Joshua Bird
           a. Job Title: Mill Associate
           b. Dates of Employment: May 26, 2022, through September 27, 2022

                                CustomerService@AmericanTripoli.com
                                                                 Exhibit P-39, Page 0012
      Appellate Case: 25-1349          Page: 2107      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           c. Home Address: 118 N. Main St. Fairland, OK 74343


   12. William Shallenburger
           a. Job Title: Production Manager
           b. Dates of Employment: August 24, 2022, through October 5, 2022
           c. Home Address: 66117 E. 160 Rd, Wyandotte, OK 74370


   13. Jessie Hodge
           a. Job Title: Maintenance Lead
           b. Dates of Employment: August 1, 2022, through October 31, 2022
           c. Home Address: 9002 W. Hwy 20, Jay, OK 74346


   14. Carson Allman
           a. Job Title: Maintenance Associate
           b. Dates of Employment: September 15, 2022, through November 4, 2022
           c. Home Address: 1738 Salt Rd, Noel, MO 64854


   15. Terry Newburn
           a. Job Title: Safety Manager
           b. Dates of Employment: September 26, 2022, through November 4, 2022
           c. Home Address: 405 Gratz St, Noel, MO 64854


   16. Landry Barnes
           a. Job Title: Mill Associate
           b. Dates of Employment: April 27, 2022, through November 11, 2022
           c. Home Address: 11701 S 510 Rd, Miami, OK 74354



                                CustomerService@AmericanTripoli.com
                                                                 Exhibit P-39, Page 0013
      Appellate Case: 25-1349         Page: 2108     Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________
   17. Terry Barlow
           a. Job Title: Maintenance Technician
           b. Dates of Employment: November 8, 2022, through November 13, 2022
           c. Home Address: 12624 Elder Rd, Diamond, MO 64840


   18. Richard McClelland
           a. Job Title: Production Supervisor
           b. Dates of Employment: November 14, 2022, through November 16, 2022
           c. Home Address: 105 N. Delaware St., Grove, OK 74344


   19. Blake Leaf
           a. Job Title: Mill Associate
           b. Dates of Employment: October 12, 2022, through November 30, 2022
           c. Home Address: 65300 E. 248 Ln Lot 60, Grove, OK 74344


   20. Justin Campbell
           a. Job Title: Mill Associate
           b. Dates of Employment: October 12, 2022, through December 29, 2022
           c. Home Address: 112 N. Elm St, Wyandotte, OK 74370


   21. Sarah Giberti
           a. Job Title: Administrative Assistant
           b. Dates of Employment: August 29, 2022, through December 30, 2022
           c. Home Address: 535 Dove Rd, Goodman, MO 64843


   22. Bryceton Williams
           a. Job Title: Maintenance Technician

                                CustomerService@AmericanTripoli.com
                                                               Exhibit P-39, Page 0014
      Appellate Case: 25-1349         Page: 2109     Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________
           b. Dates of Employment: November 21, 2022, through January 2, 2023
           c. Home Address: 4824 Empire Lane, Joplin, MO 64804


   23. Benjamin Waters
           a. Job Title: Mill Associate
           b. Dates of Employment: June 6, 2022, through January 4, 2023
           c. Home Address: 4161 Detroit Dr, Joplin, MO 64804


   24. Dakota Fellers
           a. Job Title: Mill Associate
           b. Dates of Employment: January 11, 2023, through January 17, 2023
           c. Home Address: 300 W. Washington, Marionville, MO 65705


   25. Kensley Brewer
           a. Job Title: Production Coordinator
           b. Dates of Employment: December 19, 2022, through January 24, 2023
           c. Home Address: 2415 Alabama Ave., Joplin, MO 64804


   26. Andrew Wasson
           a. Job Title: Heavy Equipment Operator
           b. Dates of Employment: December 12, 2022, through February 25, 2023
           c. Home Address: 408 W. Spring St., Neosho, MO 64850


   27. Gage Wheeler
           a. Job Title: Maintenance Technician
           b. Dates of Employment: December 26, 2022, through February 28, 2023
           c. Home Address: 618 Valley View Dr., Carl Junction, MO 64834

                                CustomerService@AmericanTripoli.com
                                                                Exhibit P-39, Page 0015
      Appellate Case: 25-1349         Page: 2110      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________


   28. Alex Snodgrass
           a. Job Title: Production Coordinator
           b. Dates of Employment: March 20, 2023, through April 14, 2023
           c. Home Address: 3812 South Indiana Ave., Joplin, MO 64804


   29. Robert Baumann
           a. Job Title: Production Supervisor
           b. Dates of Employment: June 16, 2022, through April 17, 2023
           c. Home Address: 939 South Park Dr, Columbus, KS 66725


   30. Ronnell Fondren
           a. Job Title: Mill Associate
           b. Dates of Employment: February 8, 2023, through April 20, 2023
           c. Home Address: 2640 E. 34th St Apt F76, Joplin, MO 64804


   31. Jessie Molesi
           a. Job Title: EHS Specialist
           b. Dates of Employment: March 20, 2023, through August 10, 2023
           c. Home Address: 175 Judd St., Granby, MO 64844


   32. Jeremy Talbert
           a. Job Title: Maintenance Technician
           b. Dates of Employment: March 20, 2023, through August 11, 2023
           c. Home Address: 2640 E. 34th St Apt F76, Joplin, MO 64804


   33. Patrick Lewis

                                CustomerService@AmericanTripoli.com
                                                                Exhibit P-39, Page 0016
      Appellate Case: 25-1349         Page: 2111      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           a. Job Title: Mill Associate
           b. Dates of Employment: March 7, 2022, through August 25, 2023
           c. Home Address: 13305 Iris Rd #4 Neosho, MO 64850


   34. Ryan Closser
           a. Job Title: Maintenance Technician
           b. Dates of Employment: March 27, 2023, through September 1, 2023
           c. Home Address: 624 Tatterson, Puenweg, MO 64841


   35. Jimmy Hoover
           a. Job Title: Mill Associate
           b. Dates of Employment: November 14, 2018, through September 14, 2023
           c. Home Address: PO Box 111, Seneca, MO 64865


   36. Raneldon Williams
           a. Job Title: Mill Associate
           b. Dates of Employment: June 20, 2022 - Present
           c. Home Address: 3812 South Indiana Ave., Joplin, MO 64804


   37. John Spears
           a. Job Title: Operations Manager
           b. Dates of Employment: August 17, 2022 - Present
           c. Home Address: 10396 Reindeer Dr., Granby, MO 64844


In addition, see attachment Employee Roster Info 1June2022 -17APR2023.pdf




                                CustomerService@AmericanTripoli.com
                                                               Exhibit P-39, Page 0017
      Appellate Case: 25-1349         Page: 2112      Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________
      INTERROGATORY NO. 7: Identify each instance, since June 2021, in which an employee was
terminated by Respondent at the MoSenecaMfr LLC dba American Tr mine, including the reason for the
termination, the date of the termination, and the name and job title of the employee terminated.
                               ANSWER:
Regarding the request to identify instances of employee terminations at American Tripoli since June 2021, please
find the information below:


      Frank Duran
      Job Title: Assistant Manager
      Date of Termination: March 24, 2022
      Reason for Termination: Insubordination


      Camrin Bindel
      Job Title: Mill Associate
      Date of Termination: June 7, 2022
      Reason for Termination: Behavior issues


      Jessie Hodge
      Job Title: Maintenance
      Date of Termination: October 30, 2022
      Reason for Termination: Performance issues


      Carson Allman
      Job Title: Maintenance
      Date of Termination: November 4, 2022
      Reason for Termination: Performance issues



                                  CustomerService@AmericanTripoli.com
                                                                      Exhibit P-39, Page 0018
       Appellate Case: 25-1349            Page: 2113       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________
      Terry Newborn
      Job Title: Safety
      Date of Termination: November 4, 2022
      Reason for Termination: Performance and insubordination issues


      Robert Baumann
      Job Title: Shift Lead
      Date of Termination: April 17, 2023
      Reason for Termination: Performance issues


      Ryan Closser
      Job Title: Maintenance
      Date of Termination: August 30, 2023
      Reason for Termination: Performance and attendance issues


      Jim Hoover
      Job Title: Mill Associate
      Date of Termination: September 14, 2023
      Reason for Termination: Performance and attendance issues


Please note that these terminations were conducted based on our internal policies and procedures, considering
various factors related to each employee's performance, conduct, or behavior. We remain committed to ensuring
a safe and productive work environment for all employees at our mine.




                                  CustomerService@AmericanTripoli.com
                                                                   Exhibit P-39, Page 0019
       Appellate Case: 25-1349          Page: 2114       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________



                                          DECLARATION
         I, Russell Tidaback state that I am authorized to answer the foregoing
  interrogatories on behalf of MoSenecaManufacturer Limited Liability Company d/b/a
  American Tripoli. I have read the foregoing interrogatories and answers thereto and
  know the content thereof. Pursuant to 28 U.S.C. § 1746, I declare under penalty of
  perjury that the foregoing answers to the interrogatories are true and correct.


                                              By: _______________
                                              Name: Russell Tidaback
                                              Title: Managing Member
                                              Dated: 16OCT2023




                                CustomerService@AmericanTripoli.com
                                                           Exhibit P-39, Page 0020
      Appellate Case: 25-1349        Page: 2115   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
                             REQUESTS FOR PRODUCTION OF DOCUMENTS

        1.      Produce all documents identified or referred to in your answers to the interrogatories above.
        RESPONSE: In response to your request for production of documents, we have provided attachments
        that include all documents identified or referred to in our answers to the interrogatories. Please find
        these documents attached to this response in the respective labeled folder. If you have any specific
        questions or require further clarification regarding any of these documents, please do not hesitate to
        reach out, and we will be happy to assist further.




        2.      Produce the documents related to the terminations identified in response to Interrogatory No. 7.
        RESPONSE: In accordance with your request to produce documents related to the terminations
        identified in response to Interrogatory No. 7, You will find these letters in the attached document labeled
        ' Individial name - date - Termination Letter' in folder labeled “Request for Documents 2”. If you require
        any further information or have additional questions, please feel free to contact us for clarification or
        any other assistance needed.




        3.      Produce all documents which you contend support any claims or defenses you have or may raise
to the claims at issue in this docket.
        RESPONSE: In response to your request to produce documents that support any claims or defenses we
        have or may raise in this docket, we acknowledge the importance of transparency and cooperation in the
        legal process. While we understand your desire for particularity, it's crucial to note the complex and
        evolving nature of this case. Requiring the immediate identification of defenses may not align with the
        principles of fairness, due process, and the right to develop a comprehensive defense.

        We propose an approach that allows both parties to identify defenses as the case unfolds, ensuring a
        balanced opportunity to present positions effectively. This approach will safeguard the integrity of the
        legal process while respecting the rights of all parties involved.

                                  CustomerService@AmericanTripoli.com
                                                                         Exhibit P-39, Page 0021
        Appellate Case: 25-1349           Page: 2116         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       We are fully committed to complying with our legal obligations and cooperating in the discovery
       process. As such, we are providing all relevant documents and will promptly provide any additional
       relevant documents as they become available and maintain open communication with your team. If you
       require specific documents or have further inquiries related to this request, please do not hesitate to
       reach out to us for clarification and assistance.




       4.      Produce the documents pertaining to any of Respondent’s denials that it did not commit the
alleged 105(c) violations set forth in the Complaint in this docket.
       RESPONSE: In response to your request to produce documents related to any of our denials concerning
       the alleged 105(c) violations set forth in the Complaint in this docket, we understand the significance of
       transparency and adherence to the legal process. We are fully committed to cooperating and complying
       with our legal obligations.

       We have provided the Operator’s Answer, Document No. CENT 2023-0251 – Operator’s Answer.pdf,
       to the complaint, located in folder “Request for Documents 4”, and will continue to promptly provide
       documents related to any denials as they become available in the course of this legal proceeding. This
       approach ensures that both parties have equal opportunities to present their positions effectively and
       maintains the integrity of the legal process.

       If you require specific documents or have further inquiries concerning this request, please feel free to
       contact us for clarification and assistance. We are dedicated to upholding the principles of due process
       and a fair legal process, and we look forward to working cooperatively with your team throughout the
       discovery process.




       5.      Produce Robert Baumann’s personnel file.
       RESPONSE: In response to your request for Robert Baumann's personnel file, please find attached the
       requested personnel file for Robert Baumann labelled “Request for Documents 5”. This file contains all

                                 CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0022
       Appellate Case: 25-1349            Page: 2117        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
       relevant information regarding his employment, performance, and any related matters during his tenure
       with our organization.

       We are committed to providing the necessary documents and information as part of our cooperation in
       this legal process. If you have any further requests, require additional information, or have any specific
       questions regarding the personnel file, please do not hesitate to contact us. We are dedicated to ensuring
       a transparent and fair process throughout the course of this legal proceeding.




       6.      Produce the documents showing all training provided to Robert Baumann while he was
employed by Respondent.
       RESPONSE: We acknowledge your request for all training records related to Robert Baumann during
       his employment with our company. Please be advised that Robert Baumann received mandatory training
       required by the Mine Safety and Health Administration (MSHA) during his tenure with our
       organization. This training includes but is not limited to new miner training and other MSHA-required
       safety and health courses.

       It's important to note that our company primarily provides MSHA-mandated training, and any additional
       training is often self-driven or related to specific tasks and equipment operation.

       We will provide all records related to the MSHA-required training received by Robert Baumann as part
       of this response. However, please understand that there may be limited records for additional training
       beyond MSHA requirements as most of his responsibilities were covered by the mandatory safety
       training. All presented and available 24/7 employee training, see the documents in the attached folder
       labeled “Request for Documents 6”.

       If you have specific questions or require further clarification regarding the provided training records,
       please do not hesitate to contact us. We are dedicated to ensuring transparency and compliance with all
       aspects of this legal proceeding.



                                CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0023
       Appellate Case: 25-1349             Page: 2118       Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________
       7.      Produce the documents showing all payments and compensation made to Robert Baumann by
Respondent.
       RESPONSE: We acknowledge your request for documents showing all payments and compensation
       made to Robert Baumann by our company. Please find attached the document 'Robert Baumann Payroll
       Detail 07.01.22-04.21.23.pdf,'in folder “Request for Documents 7”, which contains the relevant payroll
       information for Mr. Baumann during his employment with us.

       The attached document includes detailed payroll records, payment history, and compensation
       breakdowns, and it should address your request adequately.

       We are committed to providing any additional information or clarifications you may require during the
       discovery process. If you have any further questions or need additional documents, please don't hesitate
       to reach out.




       8.      Produce the documents showing all benefits provided to Robert Baumann by Respondent,
including insurance benefits, retirement benefits, and paid leave.
       RESPONSE: We provided Robert Baumann with the opportunity to enroll in medical and dental
       insurance benefits; however, he chose not to apply for these benefits during his employment with us.
       Additionally, Mr. Baumann was offered a Red Wing boot voucher but did not utilize it.

       For a comprehensive overview of Mr. Baumann's benefits, including insurance benefits, retirement
       benefits, and paid leave, please refer to the attached document labeled "American Tripoli Employee
       Handbook.pdf." This document outlines the summary of benefits made available to him during his
       employment with Respondent.

       In addition, for Mr. Baumann's accrued paid time off, consult the attached document titled "Paid Time
       Off Accruals for Mr. Baumann.pdf." This document provides details about his paid time off accruals.
       Both of the above-mentioned documents are in folder labelled “Request for Documents 8”.



                                CustomerService@AmericanTripoli.com
                                                                     Exhibit P-39, Page 0024
       Appellate Case: 25-1349           Page: 2119        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       9.      Produce the documents showing the hours worked by Robert Baumann while he was employed
by Respondent.
       RESPONSE: Please find attached the document labeled "Robert Baumann Payroll Detail 07.01.22-
       04.21.23.pdf." located in folder labelled “Request for Documents 9”. This document provides a detailed
       record of the hours worked by Robert Baumann during his employment with Respondent, covering the
       period from July 1, 2022, through April 21, 2023. The hours worked are accurately recorded in this
       document.




       10.     Produce your employee handbook and/or any other documents which set forth the conditions
and/or terms of employment for employees at the MoSenecaMfr LLC dba American Tr mine in effect at any
time from June 1, 2022 through April 17, 2023.
       RESPONSE: See attachments Robert Baumann_American Tripoli Position Offer Letter.pdf and the
       American Tripoli Employee Handbook.pdf in folder labelled “Request for Documents 10”.




       11.     Produce the documents reflecting any discipline of Robert Baumann.
       RESPONSE: We acknowledge that there were instances where disciplinary actions were taken
       concerning Mr. Robert Baumann; however, it is important to note that the company's disciplinary
       process, as outlined in the employee handbook, allows for flexibility in addressing employment issues.
       While the handbook provides for a progressive discipline process, it also clarifies that the company is
       not bound by a specific sequence and reserves the right to address matters promptly, in accordance with
       the "at-will" employment relationship. We are committed to providing any available records reflecting
       the disciplinary actions taken. Please note that while the "written" part of the progressive discipline
       process was not consistently documented, appropriate actions were taken to address the concerns and
       maintain compliance with company policies.




                                CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0025
       Appellate Case: 25-1349           Page: 2120        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________
       12.     Produce the documents reflecting any safety complaints made or safety concerns raised by
Robert Baumann to any of Respondent’s managers, owners or supervisors.
       RESPONSE: While we take safety concerns seriously and maintain a robust system for addressing
       them, we do not have specific documentation of safety complaints or concerns raised by Mr. Robert
       Baumann. Our safety protocols encourage open communication, and our managers, owners, and
       supervisors are committed to promptly addressing any safety-related matters. While we have not found
       records of such complaints or concerns pertaining to Mr. Baumann, we emphasize that we actively
       encourage employees to report any safety issues, and we remain vigilant in ensuring a safe working
       environment. If any specific concerns emerge during the course of this case, we will promptly provide
       relevant documentation.




       13.     Produce the documents reflecting Robert Baumann’s designation as a representative of the
miners at the MoSenecaMfr LLC dba American Tr mine.
       RESPONSE: Mr. Robert Baumann never provided any documents designating himself as a
       representative of the miners at the MoSenecaMfr LLC dba American Tr mine. The first indication of
       such a designation came to our attention when the complaint was received by MSHA. We have not
       found any records or documents related to Mr. Baumann's official designation as a miner representative.




       14.     Produce the native document, in its native format with all metadata, of the PDF document
Respondent produced to MSHA during the investigation of this case titled “Rob Baumann-Notes”.
       RESPONSE: The PDF document titled "Rob Baumann-Notes" produced to MSHA during the
       investigation of this case is the native document in its original format. Mr. Tidaback's personal notes
       regarding personnel matters are periodically transcribed from a Rocketbook wipeable notebook he
       carries with him. The PDF provided accurately represents the content and format of the original notes.




                                 CustomerService@AmericanTripoli.com
                                                                      Exhibit P-39, Page 0026
       Appellate Case: 25-1349          Page: 2121         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                   Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                  5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                  Seneca, MO 64865
                                                                                   Office (239) 829-5457

__________________________________________________________________________________________________
       15.     Produce Robert Baumann’s “employee journal” or any other document where you kept notes
and/or information about Robert Baumann and his job performance.
       RESPONSE: The document titled "Rob Baumann Russell Notes.pdf" produced to MSHA during the
       investigation of this case is the employee journal or document where notes and information about Robert
       Baumann and his job performance were kept. Please refer to this document for the requested
       information.




       16.     Produce the “employee journal” or any other documents where you kept notes and/or
information about employees employed by Respondent at the MoSenecaMfr LLC dba American Tr mine at any
time from June 1, 2022 through April 17, 2023.
       RESPONSE: The attached documents titled "Rob Baumann Russell Notes.pdf," "Christine Schreiber
       Russell Notes.pdf," and "Jim Hoover Russell Notes.pdf", see folder labelled “Request for Documents
       16”, are the employee journals or documents where notes and information about employees employed
       by Respondent at the MoSenecaMfr LLC dba American Tr mine from June 1, 2022, through April 17,
       2023, were kept. Please refer to these documents for the requested information.




       17.     Produce the workplace examinations and/or workplace inspections from the MoSenecaMfr LLC
dba American Tr mine from June 1, 2022 through April 17, 2023.
       RESPONSE: The workplace examinations and workplace inspections conducted at the MoSenecaMfr
       LLC dba American Tr mine from June 1, 2022, through April 17, 2023, are contained in the attached
       document titled "Daily Workplace Inspections 1JUNE2022 - 17APR2023.pdf.", see folder labelled
       “Request for Documents 17”. Please refer to this document for the requested workplace examination and
       inspection information.




                                 CustomerService@AmericanTripoli.com
                                                                     Exhibit P-39, Page 0027
       Appellate Case: 25-1349          Page: 2122        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       18.     Produce the Microsoft Teams chats or messages involving any employee of Respondent,
including owners, managers, supervisors, maintenance personnel, etc., regarding Robert Baumann’s
discrimination complaint, Robert Baumann’s termination, Robert Baumann’s job performance, safety related
concerns or complaints raised by Robert Baumann, complaints about Robert Baumann, and/or Robert
Baumann’s workplace examinations.
       RESPONSE: Producing the entire Microsoft Teams chats or messages involving any employee of
       Respondent, as specified in your request, is overly broad and would entail disclosing vast amounts of
       irrelevant information. Unfortunately, we do not have the capacity to retrieve messages from employees'
       accounts, as they are maintained on their individual devices. Also unless Mr. Baumann’s name is
       specifically in the messages there is no way to search for generics. To maintain the integrity of the
       discovery process, we propose a more targeted approach.

       Given that the only employees still employed by Respondent since the termination of Mr. Baumann are
       Mr. Williams, and Mr. Spears, we can provide group messages involving these individuals for the
       specified purposes. If you could kindly specify the date ranges, topics, or any other relevant details for
       these chats and messages, we will make a good faith effort to assist in obtaining any relevant messages.
       In the folder labeled “Request for Documents 18”, there is a document titled "Communication between
       Jim are Russ regard Rob post 17APR2023.pdf”, this running conversation points out Mr. Jim Hoover’s
       opinions, distrust, aggravation and hassle when dealing with Mr. Baumann. Mr. Hoover was the most
       senior employee with over four years of experience at the mine site.




       19.     Produce the documents reflecting any “counseling and guidance” provided to Robert Baumann
while he was employed by Respondent.
       RESPONSE: While we acknowledge that counseling and guidance were provided to Robert Baumann
       during his employment, these interactions were primarily conducted verbally, and no formal written
       records were maintained. Any guidance or counseling discussions were aimed at improving his job
       performance, ensuring compliance with safety protocols, and fostering a better work environment. We

                                CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0028
       Appellate Case: 25-1349           Page: 2123         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________
       remain committed to maintaining open lines of communication and providing support to our employees
       as needed.




       20.     Produce the text messages, emails, Microsoft Teams chat, and/or any other communication from
John Spears to any employees regarding MSHA inspections, including the February 14, 2023 message to
miners regarding MSHA’s inspection.
       RESPONSE: All communications related to MSHA inspections and interactions with MSHA inspectors
       have been consolidated into a comprehensive document labeled "ALL Communications regarding
       MSHA.pdf." This document contains a thorough record of all communications, including Microsoft
       Teams chats, text messages, and emails exchanged between employees of Respondent at the
       MoSenecaMfr LLC dba American Tr mine concerning MSHA inspections and interactions with MSHA
       inspectors.

       By consolidating these communications into a single document, we aim to provide a complete and
       organized account of our interactions with MSHA and MSHA inspectors. This approach is intended to
       streamline the document production process and ensure clarity in our responses.

       If you have any specific questions or need further information regarding these communications, please
       do not hesitate to contact us. We are committed to transparency and open communication throughout
       this process.




       21.     Produce the text messages, emails, Microsoft Teams chat, and/or any other communication from
and/or between Robert Baumann, Respondent, John Spears, Russell Tidaback, and/or Jordan Tidaback
regarding the MSHA 104(b) Order issued on April 12, 2023 or payment during the withdrawal order.
       RESPONSE: Please find attached the requested communications regarding the MSHA 104(b) Order
       issued on April 12, 2023, and payment during the withdrawal order, “Request for Documents 21”. We
       wish to emphasize that, in full compliance with MSHA regulations and with a commitment to the well-

                                CustomerService@AmericanTripoli.com
                                                                    Exhibit P-39, Page 0029
       Appellate Case: 25-1349         Page: 2124        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
       being of our miners, Respondent promptly paid the miners as required by the 104(b) Order, without any
       delay.

       1. Chat messages between Robert Baumann to John Spears and John Spears to Ms. Tidaback and Mr.
             Tidaback (labeled as "14APR2022 – Chat messages showing Robs misunderstanding regarding a
             104(b) order and pay.pdf").
       2. Email chain involving Mr. Markeson, Respondent, John Spears, and Russell Tidaback (labeled as
             "Email Chain w Markeson regarding miner compensation - RE_ 12APR2023 - B Order #9539789 &
             9539790.pdf").
       3. Text messages between Robert Baumann and John Spears (labeled as "12APR2023 - Text message
             between Mr. Baumann and Mr. Spears regarding work and being paid.png”).

These documents encompass the pertinent communications and discussions surrounding the MSHA 104(b)
Order and issues related to payment during the withdrawal order. We would like to reiterate that all miners were
paid appropriately and without delay in accordance with MSHA regulations. Should you require any further
specific information or have additional inquiries, please do not hesitate to reach out.




       22.      Produce Respondent’s disciplinary policy in effect at the MoSenecaMfr LLC dba American Tr
mine at any time from June 1, 2022 through April 17, 2023.
       RESPONSE: Our disciplinary policy in effect at the MoSenecaMfr LLC dba American Tr mine during
       the specified period can be found in the attached document titled "American Tripoli Employee
       Handbook.pdf.", see folder labeled “Request for Documents 22”. The relevant information regarding our
       Progressive Discipline policy can be located in the handbook, specifically in the paragraph that
       addresses Progressive Discipline.




       23.      Produce the documents reflecting any discipline given to employees of Respondent at the
MoSenecaMfr LLC dba American Tr mine at any time from June 1, 2021 through April 17, 2023.

                                 CustomerService@AmericanTripoli.com
                                                                        Exhibit P-39, Page 0030
       Appellate Case: 25-1349             Page: 2125        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________
       RESPONSE: Please find the attached documents in labelled folder “Request for Documents 23”, which
       reflect instances of discipline given to employees of Respondent at the MoSenecaMfr LLC dba
       American Tr mine during the specified timeframe from June 1, 2021, through April 17, 2023. These
       documents provide details of the written disciplinary actions, including warnings, reprimands,
       counseling, and terminations, that were administered and recorded in accordance with company policies
       and procedures.

       Attached documents:


       26APR2022 Jena Turner Reprimand.pdf

       7JUNE2022_Camrin Bindle Relieving Letter.pdf

       7JUNE2022_Camrin Bindle - Termination Letter.pdf

       13OCT2022 - Carson Allman - Letter or Reprimand.pdf

       12MAY2023_RJ_Williams_Reprimand.pdf

       12MAY2023_Patrick_Lewis_LOR_for performance and attendance.pdf

       17JUL2023_Jim_Hoover_Counseling_SIGNED (1).pdf

       19JUL2023_RJ_Williams_Counseling_Letter.pdf

       20JUL2023_Patrick_Lewis_Written_Counseling.pdf




       These documents demonstrate the company's commitment to maintaining discipline, safety, and
       compliance within the workplace. Should you require any additional information or have specific
       inquiries about any of these disciplinary actions, please feel free to communicate them to us. We are
       committed to ensuring transparency and cooperation throughout this process.



                                CustomerService@AmericanTripoli.com
                                                                     Exhibit P-39, Page 0031
       Appellate Case: 25-1349          Page: 2126        Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       24.     Produce the documents reflecting any communications, including Microsoft Teams chats, text
message, emails, to employees of Respondent at the MoSenecaMfr LLC dba American Tr mine regarding
MSHA inspections and/or any MSHA inspectors.
       RESPONSE: All communications related to MSHA inspections and interactions with MSHA inspectors
       have been consolidated into a comprehensive document labeled "ALL Communications regarding
       MSHA.pdf.", in folder labeled “Request for Documents 24”. This document contains a thorough record
       of all communications, including Microsoft Teams chats, text messages, and emails exchanged between
       employees of Respondent at the MoSenecaMfr LLC dba American Tr mine concerning MSHA
       inspections and interactions with MSHA inspectors.

       By consolidating these communications into a single document, we aim to provide a complete and
       organized account of our interactions with MSHA and MSHA inspectors. This approach is intended to
       streamline the document production process and ensure clarity in our responses.

       If you have any specific questions or need further information regarding these communications, please
       do not hesitate to contact us. We are committed to transparency and open communication throughout
       this process.

       If you have any additional requests or require further documents related to this matter, please feel free to
       specify your needs, and we will do our best to accommodate them. Your understanding and cooperation
       in this matter are greatly appreciated.




       25.     Produce the documents discussing Robert Baumann’s termination.
       RESPONSE: We appreciate your request. We want to clarify that discussions related to Mr. Baumann's
       termination primarily took place in person or during video calls, which may not have generated
       electronic records.




                                CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0032
       Appellate Case: 25-1349           Page: 2127         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       Should you need further clarification or additional information, please feel free to contact us, and we
       will do our best to assist.




       26.     Produce the documents you intend to use at the hearing in this matter.
       RESPONSE: We are fully committed to complying with our legal obligations and cooperating in the
       discovery process. As such, we are providing all relevant documents and will promptly provide any
       additional relevant documents as they become available and maintain open communication with your
       team. If you require specific documents or have further inquiries related to this request, please do not
       hesitate to reach out to us for clarification and assistance.




                                        REQUESTS FOR ADMISSION

       1.      Admit that the MOSenecaMfr LLC dba American Tr mine is a mine as defined in Section 3(h) of
the Federal Mine Safety and Health Act of 1977, 30 U.S.C. § 802(h).
       ANSWER: Admit. The operator acknowledges that the MOSenecaMfr LLC dba American Tr mine falls
       within the definition of a mine as provided in the Mine Act. This acknowledgment is consistent with the
       operator's understanding of its activities and operations. However, this admission should not be
       construed as an admission of liability or wrongdoing with respect to the allegations in this case. The
       operator maintains that its operations have consistently aimed to comply with the Mine Act and relevant
       regulations, ensuring the safety and well-being of its workforce.




                                 CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0033
       Appellate Case: 25-1349            Page: 2128         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       2.      Admit that the products of the MOSenecaMfr LLC dba American Tr mine enter commerce or the
operations or products thereof affect commerce within the meaning and scope of the Federal Mine Safety and
Health Act of 1977.
       ANSWER: Admit. The operator acknowledges that, in the ordinary course of its mining operations, its
       products may be intended for commercial use or distribution, and as such, they have the potential to
       enter or affect commerce. However, this acknowledgment should not be construed as an admission of
       liability or wrongdoing with respect to the allegations in this case. The operator maintains that its
       operations have consistently aimed to comply with the Mine Act and relevant regulations, ensuring the
       safety and well-being of its workforce and the quality of its products.




       3.      Admit that MOSenecaManufacturer Limited Liability Company d/b/a American Tripoli is the
operator of the MOSenecaMfr LLC dba American Tr mine and was the operator of the mine from at least June
1, 2022 through April 17, 2023.


       ANSWER: Admit. MOSenecaManufacturer Limited Liability Company d/b/a American Tripoli, herein
       referred to as 'the operator,' is the entity responsible for the operation of the MOSenecaMfr LLC dba
       American Tr mine. The operator acknowledges that it assumed the role of the mine operator at the
       specified mine location, and this responsibility was held from at least June 1, 2022, through April 17,
       2023.

       While the operator admits to its role as the mine operator during the specified time frame, it is important
       to clarify that this acknowledgment does not constitute an admission of liability or wrongdoing with
       respect to the allegations contained within the case. The operator is committed to maintaining a safe and
       compliant workplace for its employees and remains steadfast in its position that the actions taken during
       this period were in accordance with applicable regulations and without any intent to discriminate or
       infringe upon the rights of miners.



                                  CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0034
       Appellate Case: 25-1349           Page: 2129         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       4.      Admit that while Robert Baumann was employed by Respondent at the MOSenecaMfr LLC dba
American Tr mine he was a “miner” as defined in Section 3(g) of the Mine Act, 30 U.S.C. § 802(g).


       ANSWER: Admit. While Robert Baumann was employed by Respondent at the MOSenecaMfr LLC
       dba American Tr mine, he met the criteria to be considered a 'miner' under the definition provided in
       Section 3(g) of the Mine Act, 30 U.S.C. § 802(g). The operator acknowledges that Mr. Baumann was an
       employee involved in mining operations at the specified mine location during the relevant timeframe.

       It is essential to clarify that the acknowledgment of Mr. Baumann's status as a 'miner' does not alter the
       operator's position that the actions taken regarding his employment were based on performance issues
       and not related to any form of discrimination or interference with miner's rights. The operator remains
       committed to providing a safe and compliant workplace for all its employees, including those meeting
       the definition of a 'miner' under the Mine Act.




       5.      Admit that Robert Baumann served as a representative of miners at the MOSenecaMfr LLC dba
American Tr mine from March 21, 2023 through April 17, 2023.


       ANSWER: Deny. The mine operator was not made aware of Robert Baumann serving as a
       representative of miners at the MOSenecaMfr LLC dba American Tr mine from March 21, 2023,
       through April 17, 2023. To the best of our knowledge and records, no formal notification or
       communication regarding Mr. Baumann's representation of miners was received by the mine operator
       during the specified period.

       The mine operator is committed to adhering to all relevant regulations and compliance requirements
       under the Mine Act, including those pertaining to miner's representatives. In the absence of formal
       notice or awareness of Mr. Baumann's role as a representative of miners, the operator was unable to
       address any concerns or considerations related to his representation.


                                CustomerService@AmericanTripoli.com
                                                                      Exhibit P-39, Page 0035
       Appellate Case: 25-1349          Page: 2130         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
       It is crucial to clarify that the mine operator is dedicated to maintaining a safe working environment and
       complying with all applicable legal obligations. We welcome a comprehensive review of the facts and
       evidence related to Mr. Baumann's representation during the specified timeframe to ensure a just and
       equitable resolution.




       6.      Admit that the Federal Mine Safety and Health Review Commission has jurisdiction over this
case under Section 105(c)(2) and 113 of the Mine Act, 30 U.S.C. §§ 815(c)(2), 823.


       ANSWER: Deny. The mine operator contests the assertion that the Federal Mine Safety and Health
       Review Commission (FMSHRC) has jurisdiction over this case under Section 105(c)(2) and 113 of the
       Mine Act, 30 U.S.C. §§ 815(c)(2), 823. The mine operator believes that the actions taken, including the
       dismissal of the miner, were solely based on performance issues and not discriminatory in nature. As
       such, it is our position that the circumstances of this case do not fall within the purview of the
       aforementioned statutory provisions.

       The mine operator strongly maintains that the miner's dismissal was a result of legitimate performance-
       related concerns in accordance with the established company policies, the state of Missouri guidelines
       and not a violation of any miner's rights under the Mine Act. Therefore, we contend that the jurisdiction
       of the FMSHRC does not apply in this case. However, we are open to a thorough examination of the
       facts and circumstances surrounding this matter to arrive at a just resolution.




                                                      Russell Tidaback
                                                      Managing Member
                                                      American Tripoli
                                                      Russell.Tidaback@americantripoli.com




                                CustomerService@AmericanTripoli.com
                                                                       Exhibit P-39, Page 0036
       Appellate Case: 25-1349           Page: 2131         Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Exhibit P-40, Page 001
Appellate Case: 25-1349   Page: 2132   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 001
                         Appellate Case: 25-1349   Page: 2133   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 002
                         Appellate Case: 25-1349   Page: 2134   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 003
                         Appellate Case: 25-1349   Page: 2135   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 004
                         Appellate Case: 25-1349   Page: 2136   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 005
                         Appellate Case: 25-1349   Page: 2137   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 006
                         Appellate Case: 25-1349   Page: 2138   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 007
                         Appellate Case: 25-1349   Page: 2139   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 008
                         Appellate Case: 25-1349   Page: 2140   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 009
                         Appellate Case: 25-1349   Page: 2141   Date Filed: 04/07/2025 Entry ID: 5503844
Exhibit P-41, Page 010
                         Appellate Case: 25-1349   Page: 2142   Date Filed: 04/07/2025 Entry ID: 5503844
MEMORANDUM FOR EVERT H. VAN WIJK
               Associate Regional Solicitor


FROM:                    For THOMAS W. CHARBONEAU
                         Director, Office of Assessments

SUBJECT:                 Assessments Information for Section 105(c)
                         Secretary of Labor obo Robert Baumann v. American Tripoli
                         MO Seneca Mfr LLC dba American Tripoli Mill, Mine ID 23-00504
                         Case Number: MADI-CD-2023-03

This office has reviewed your request for proposed civil penalties on the subject case. Based on the
criteria outlined in 30 C.F.R § 100.3 and the information available to the Office of Assessments, we
recommend civil penalties for American Tripoli of $15,000 (retaliation) and $17,500 (interference).

In arriving at the recommended penalty amounts, the following information was considered:

                                                                   Points Under
Size of Mine                 Hours/Tonnage 2022             30 C.F.R § 100.3(b) and (c)

Mine                             17,509                                2

Controller                       17,509                                0

Violation History             Previous 15 Months

Number of violations                  9

Number of inspection days            37

Violations per inspection          0.24                                 0

10 Year 105(c) Violation History      Mine                         Controller

Total number of Section 105(c)         0                                0
Violations

Please contact Venkatrao Thummala at (202) 693-9625 if you have any questions.

cc:    Elaine Smith, SOL
       Laura O’Reilly, SOL
       Charles W. Gordon, Counsel for Safety and Health



                                                                   Exhibit P-42, Page001
 Appellate Case: 25-1349         Page: 2143      Date Filed: 04/07/2025 Entry ID: 5503844
                          Transcript of the Testimony of



                           RUSSELL TIDABACK
                                 January 22, 2024


                    MSHA vs MoSenecaManufacturer, LLC
                                 CENT 2023-0251




                                                          Exhibit P-43, Page 1
Appellate Case: 25-1349   Page: 2144   Date Filed: 04/07/2025 Entry ID: 5503844
                                               Russell Tidaback
     MSHA vs MoSenecaManufacturer, LLC                                                    1/22/2024

                                                                                         Page 1
·1· · · · · · · · · UNITED STATES OF AMERICA
· · · · FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
·2· · · · · · ·OFFICE OF ADMINISTRATIVE LAW JUDGES

·3
· · ·ACTING SECRETARY OF LABOR,· · JUDGE MORAN
·4· ·MINE SAFETY AND HEALTH
· · ·ADMINISTRATION (MSHA)
·5· ·and ROBERT BAUMANN,· · · · · ·DISCRIMINATION PROCEEDING

·6· · · · Petitioners,

·7· ·vs.· · · · · · · · · · · · · ·DOCKET NO. CENT 2023-0251
· · · · · · · · · · · · · · · · · ·MSHA No. MADI-CK-2023-03
·8
· · ·MOSENECAMANUFACTURER
·9· ·LIMITED LIABILITY COMPANY· · ·Mine: MOSenecMFR LLC dba
· · ·d/b/a AMERICAN TRIPOLI,· · · ·American Tripoli
10· · · · Respondent.· · · · · · · Mine ID: 23-00504
· · ·______________________________________
11

12

13· ·DEPOSITION OF MR. RUSSELL TIDABACK,

14· ·produced, sworn, and examined on Monday, January 22,

15· ·2024, at 9:03 a.m. of that day, via remote

16· ·videoconference, before MARY S. McCARTY, CCR, in the

17· ·above-captioned cause; taken on behalf of the

18· ·Petitioners.

19

20

21

22

23

24· · · · · · · · · ·ALPHA REPORTING & VIDEO
· · · · · · · · ·1911 South National, Suite 405
25· · · · · · · · ·Springfield, Missouri 65804
· · · · · · · · · · · · ·(417) 887-4110


                                           Alpha Reporting & Video
     417-887-4110                        www.alphareportingservice.com                 417-887-4110   YVer1f




                                                                         Exhibit P-43, Page 2
       Appellate Case: 25-1349      Page: 2145        Date Filed: 04/07/2025 Entry ID: 5503844
                                                     Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                                    1/22/2024

                                                       Page 2                                                          Page 4
·1· · · · · · · · · · A P P E A R A N C E S                     ·1· ·Ex. 30· · Employment offer letter to· · · · · · ·147
·2                                                              · · · · · · · ·Baumann
· · ·For Petitioners:· · MS. LAURA M. O'REILLY
                                                                ·2
·3· · · · · · · · · · · ·MS. ELAINE SMITH
· · · · · · · · · · · · ·MR. QUINLAN B. MOLL                    · · ·Ex. 31· · Reset Form· · · · · · · · · · · · · · ·196
·4· · · · · · · · · · · ·U.S. Department of Labor               ·3
· · · · · · · · · · · · ·Office of the Solicitor
                                                                ·4
·5· · · · · · · · · · · ·2300 Main Street, Suite 10100
· · · · · · · · · · · · ·Kansas City, Missouri 64108            ·5· · ·(Exhibits attached; scans to Ms. O'Reilly.)
·6· · · · · · · · · · · ·(816) 285-7260                         ·6
· · · · · · · · · · · · ·OReilly.Laura.M@dol.gov                ·7
·7· · · · · · · · · · · ·Smith.Elaine.M@dol.gov
·8                                                              ·8
·9· · · · · · · · · · · · · I N D E X                           ·9
10· ·TESTIMONY OF                                               10
· · ·MR. RUSSELL TIDABACK
                                                                11
11· · · · · · · · · · · · · · · · · · · · · · · · · PAGE
12· ·Examination by Ms. O'Reilly· · · · · · · · · · · ·4        12
13· ·REPORTER'S CERTIFICATE· · · · · · · · · · · · · 217        13
14· ·Phonetic spellings are signified by:· [ph.]
                                                                14
15· ·Exactly as stated:· [sic]
16                                                              15
17· · · · · · · · · · · ·E X H I B I T S                        16
18· ·NO.· · · ·DESCRIPTION· · · · · · · · · · · · · ·PAGE       17
19· ·Ex. 1· · ·Respondent's Response to Acting· · · · ·58
                                                                18
· · · · · · · ·Secretary of Labor's Third
20· · · · · · ·Requests for Production of                       19
· · · · · · · ·Documents                                        20
21
                                                                21
· · ·Ex. 2· · ·Production report· · · · · · · · · · · ·61
22                                                              22
· · ·Ex. 3· · ·Group chats with "Baumann" and· · · · · 70       23
23· · · · · · ·"Rob" search terms                               24
24· ·Ex. 4· · ·Mill group chat 2-1-23 - 4-17-23· · · · 85
                                                                25
25· ·Ex. 5· · ·Group chat 2-14· · · · · · · · · · · · ·88


                                                       Page 3                                                        Page 5
·1· ·Ex. 6· · ·Group chat 2-14· · · · · · · · · · · · ·90       ·1· ·Whereupon,
·2· ·Ex. 7· · ·Group chat 2-14· · · · · · · · · · · · ·92
·3· ·Ex. 8· · ·Group chat 4-14· · · · · · · · · · · · ·92       ·2· · · · · · · · · · MR. RUSSELL TIDABACK,
·4· ·Ex. 9· · ·Group chat 9-25 search term "MSHA"· · · 95       ·3· ·being produced, sworn, and examined, testified as
· · · · · · · ·results
·5
                                                                ·4· ·follows:
· · ·Ex. 10· · Group chat 4-17 - 5-7· · · · · · · · · ·97       ·5· · · · · · · · · · · · ·EXAMINATION
·6                                                              ·6· · · · BY MS. O'REILLY:
· · ·Ex. 11· · Respondent's Second Interrogatories· · 100
·7· · · · · · ·and Response for Production of                   ·7· ·Q.· ·Okay.· Good morning.· Could you please state your
· · · · · · · ·Documents                                        ·8· · · · full name for the record?
·8
                                                                ·9· ·A.· ·Russell Tidaback.· Russell Wayne Tidaback I guess
· · ·Ex. 12· · Respondent's Third Interrogatories· · ·101
·9· · · · · · ·and Response for Production of                   10· · · · would be the full name.
· · · · · · · ·Documents                                        11· ·Q.· ·My name's Laura O'Reilly.· I'm an attorney with he
10
· · ·Ex. 13· · Mill group chat 4-3 - 4-26· · · · · · ·103       12· · · · Department of Labor, Office of the Solicitor, and
11                                                              13· · · · Elaine Smith is also here with me.· She's also an
· · ·Ex. 14· · No Gossip Policy· · · · · · · · · · · ·105
                                                                14· · · · attorney with the Department of Labor Office of
12
· · ·Ex. 15· · Employee's Handbook· · · · · · · · · · 108       15· · · · Solicitor.· We are here conducting your deposition
13                                                              16· · · · in the case of Secretary and Robert Baumann vs.
· · ·Ex. 16· · Certificate of Training· · · · · · · · 109
14· · · · · · ·for R. Baumann
                                                                17· · · · MOSenecaManufacturer Limited Liability Company
15· ·Ex. 17· · Daily workplace exam report· · · · · · 111       18· · · · doing business as American Tripoli in docket S --
16· ·Ex. 18· · Email from Tidaback to Bishop 9-19-23· 208
                                                                19· · · · CENT, C-E-N-T, 2023-0251 pending with the Federal
17· ·Ex. 19· · Production Lead Duties· · · · · · · · ·116
18· ·Ex. 20· · Interrogatories· · · · · · · · · · · · 121       20· · · · Mine Safety and Health Commission.
19· ·Ex. 23· · Emails from Tidaback to Dillingham· · ·161       21· · · · · · ·It is my understanding that you do not have
20· ·Ex. 24· · Baumann termination letter· · · · · · ·162
21· ·Ex. 25· · Termination letters· · · · · · · · · · 187
                                                                22· · · · an attorney with regard to this case in Docket
22· ·Ex. 26· · Reprimands· · · · · · · · · · · · · · ·191       23· · · · 2023-0251, correct?
23· ·Ex. 27· · Earnings statement for Baumann· · · · ·142
                                                                24· ·A.· ·That is correct.
24· ·Ex. 28· · Payroll details· · · · · · · · · · · · 144
25· ·Ex. 29· · PTO hours· · · · · · · · · · · · · · · 146       25· ·Q.· ·And it's also correct that you don't have an


                                               Alpha Reporting & Video
417-887-4110                                 www.alphareportingservice.com                                     417-887-4110      YVer1f




                                                                                   Exhibit P-43, Page 3
    Appellate Case: 25-1349                Page: 2146           Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                     Page 6                                                         Page 8
·1· · · · attorney with regard to this deposition,             ·1· · · · paper--you can do that--but you shouldn't have any
·2· · · · personally or otherwise?                             ·2· · · · documents open on your computer or other
·3· ·A.· ·I do not have an attorney --                         ·3· · · · applications or any other physical documents in
·4· ·Q.· ·Representing you with regard to this deposition in   ·4· · · · front of you.
·5· · · · this case.                                           ·5· ·A.· ·Not even my notes that I've already made about
·6· ·A.· ·No, I do not.                                        ·6· · · · this?· I can't refer to those notes?
·7· ·Q.· ·I'm going to kind of go over some of the ground      ·7· ·Q.· ·No.· Not unless you're, like, actively writing.
·8· · · · rules for deposition just briefly.                   ·8· · · · Like something that you're writing right now, like
·9· · · · · · ·If you do not understand a question, please     ·9· · · · if you just wrote, She told me not to write notes,
10· · · · tell me and I will attempt to rephrase it.           10· · · · or, She told me that I could take notes.· Like
11· · · · · · ·If you answer a question, it's going to be      11· · · · that's different than -- but if you brought in
12· · · · assumed that you understood and meant to give the    12· · · · notes from outside, you shouldn't be looking at
13· · · · answer that you gave.                                13· · · · those.
14· · · · · · ·Do you agree to let me know when you do not     14· ·A.· ·But they were notes about this complaint.· So I
15· · · · understand a question?                               15· · · · can't use the notes I've already created about
16· ·A.· ·Yes.· Yeah.· I'll ask -- you should know that.       16· · · · this complaint?
17· · · · Thank you.                                           17· ·Q.· ·Correct.
18· ·Q.· ·Also, at any time please let me know if you want     18· ·A.· ·So I can't use my notes.· Okay.· That doesn't make
19· · · · to take a break.· The only thing I will ask is       19· · · · any sense.· But I can still use my computer to
20· · · · that you finish answering whatever pending           20· · · · take notes during this deposition.
21· · · · question there is and then we can take a break       21· ·Q.· ·Correct.· To take notes, yeah.
22· · · · after that.                                          22· ·A.· ·Okay.
23· ·A.· ·Okay.                                                23· ·Q.· ·So do you agree to not look at other documents or
24· ·Q.· ·As a general rule, we need to be careful not to      24· · · · applications during this deposition?
25· · · · talk over one another since the court reporter is    25· ·A.· ·Yes.

                                                     Page 7                                                         Page 9
·1· · · · taking this down.· So I'll ask my question and       ·1· ·Q.· ·Okay.
·2· · · · then I'll give you a chance to answer the question   ·2· ·A.· ·I'm closing it clean so. . . .
·3· · · · before speaking over you.                            ·3· ·Q.· ·Okay.· And where are you located right now --
·4· · · · · · ·And all answers need to be given verbally so    ·4· ·A.· ·Today we're in --
·5· · · · the court reporter can take it down.                 ·5· ·Q.· ·-- for this deposition?
·6· · · · · · ·Do you understand that you are under oath?      ·6· ·A.· ·-- southwest Florida.
·7· ·A.· ·Yes.                                                 ·7· ·Q.· ·And are you in, like, your office or is that --
·8· ·Q.· ·And is there any reason today why you cannot give    ·8· ·A.· ·Yes, we're in an office.· An office.
·9· · · · full and truthful answers?                           ·9· ·Q.· ·And is anyone there with you?
10· ·A.· ·No.                                                  10· ·A.· ·Like, Jordan Tidaback.· She can be in and out
11· ·Q.· ·And you are not under the influence of any           11· · · · throughout the day.
12· · · · substance or suffering from any condition or         12· ·Q.· ·And I would just ask that you not speak with her
13· · · · illness that would impair your ability to give       13· · · · during the deposition or have her tell you answers
14· · · · full and truthful answers to my questions today?     14· · · · or give you advice during the deposition.
15· ·A.· ·No.                                                  15· ·A.· ·Yes.
16· ·Q.· ·And this is a remote deposition, so during this      16· ·Q.· ·Okay.· Did you do anything to prepare for today's
17· · · · statement I would ask that you not look at any       17· · · · statement?
18· · · · documents or have any other documents or             18· ·A.· ·Yes.· Made notes, reviewed the complaint.
19· · · · applications open on your computer.· Can you agree   19· ·Q.· ·Did you do anything else?
20· · · · to that?                                             20· ·A.· ·No.
21· ·A.· ·Oh, you don't want me to have the complaint or       21· ·Q.· ·Did you speak with anyone about this deposition to
22· · · · anything in front of me so I can read it?            22· · · · prepare for the deposition?
23· ·Q.· ·No.· You shouldn't have any documents.· If we need   23· ·A.· ·No.
24· · · · documents, I'll share my screen.· Other than,        24· ·Q.· ·And could you give me your education history after
25· · · · like, notes that you may want to take on             25· · · · high school?


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                  Exhibit P-43, Page 4
    Appellate Case: 25-1349              Page: 2147            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 10                                                         Page 12
·1· ·A.· ·Dealing with -- dealing with what, should I say,     ·1· ·A.· ·Consulting, research, advisory, acquisitions.
·2· · · · because there's a lot.                               ·2· ·Q.· ·And what fields are you doing consulting work in?
·3· ·Q.· ·Like, any degrees you have.                          ·3· ·A.· ·Acquisitions.
·4· ·A.· ·Okay.· So I have a -- let's see here, an undergrad   ·4· ·Q.· ·And what fields are you doing research and
·5· · · · in computer science, a master's degree in            ·5· · · · advisory?
·6· · · · business, a pilot's license, helicopter commercial   ·6· ·A.· ·Different industries.· We're industry agnostic.
·7· · · · pilot's license.· Is that what you want, just        ·7· ·Q.· ·And is that through a company?
·8· · · · my -- education-wise?                                ·8· ·A.· ·Omphalos.
·9· ·Q.· ·Yeah.· Yeah.· That's fine.                           ·9· ·Q.· ·So Omphalos does consulting work, too?
10· · · · · · ·Okay.· And your master's in business, is that   10· ·A.· ·Yes.
11· · · · an MBA?                                              11· ·Q.· ·Does Omphalos do any other work other than
12· ·A.· ·Yes, it is an MBA.· Mm-hmm.                          12· · · · consulting and research and advisory and
13· ·Q.· ·And are you currently employed?                      13· · · · acquisitions?
14· ·A.· ·No.                                                  14· ·A.· ·No.· It's for our own entity structure.
15· ·Q.· ·Okay.· And so what would you consider your role      15· ·Q.· ·And who are all the members of Omphalos?
16· · · · with American Tripoli to be?                         16· ·A.· ·Jordan Tidaback and myself.
17· ·A.· ·I'm a managing member of an entity that owns         17· ·Q.· ·Is there anyone else in management of Omphalos?
18· · · · MOSenecaManufacturer.                                18· ·A.· ·No.
19· ·Q.· ·And what is that entity?                             19· ·Q.· ·Does Omphalos have any direct employees?
20· ·A.· ·Omphalos Limited Liability Corporation.              20· ·A.· ·No.
21· ·Q.· ·And where is that company registered, Omphalos?      21· ·Q.· ·When did you -- when did Omphalos first acquire
22· ·A.· ·Wyoming, if I'm not mistaken.· Yeah.                 22· · · · American Tripoli?
23· ·Q.· ·And do you have a job title or any title other       23· ·A.· ·Without my notes, I -- I'd be guessing.· I would
24· · · · than managing member with American Tripoli?          24· · · · have to say it was either 2020 or 2019.
25· ·A.· ·No.                                                  25· ·Q.· ·Okay.· And were you a member of Omphalos when that

                                                     Page 11                                                        Page 13
·1· ·Q.· ·And do you work for any other companies other than   ·1· · · · happened?
·2· · · · American Tripoli?                                    ·2· ·A.· ·Yes.
·3· ·A.· ·I don't work for American Tripoli.                   ·3· ·Q.· ·When it acquired American Tripoli?
·4· ·Q.· ·Okay.· Do you have an ownership interest in other    ·4· ·A.· ·Yeah, we're founders.
·5· · · · companies that you do work on?                       ·5· ·Q.· ·And I'll just pause and note Quinlan Moll has
·6· ·A.· ·Yes.                                                 ·6· · · · joined.· He's an attorney with the U.S. Department
·7· ·Q.· ·And what are those?                                  ·7· · · · of Labor as well.· I just wanted to note that for
·8· ·A.· ·Omphalos, LLC.                                       ·8· · · · the record.
·9· ·Q.· ·Any other companies?                                 ·9· · · · · · ·And then how was American Tripoli originally
10· ·A.· ·No.                                                  10· · · · financed?
11· ·Q.· ·So Omphalos, LLC and American Tripoli are the only   11· ·A.· ·Debt.· Debt and equity.
12· · · · two companies that you have ownership interest in?   12· ·Q.· ·And how is it currently funded?· Is it the same
13· ·A.· ·No.· MosenecaManufacturing is owned by Omphalos,     13· · · · way?
14· · · · LLC.                                                 14· ·A.· ·Yeah.· Mm-hmm.
15· ·Q.· ·So the only company you have an ownership interest   15· ·Q.· ·Okay.· While Omphalos owned American Tripoli, did
16· · · · in is Omphalos, LLC?                                 16· · · · American Tripoli get any PPP funds?
17· ·A.· ·Yes.                                                 17· ·A.· ·Omphalos doesn't own American Tripoli.· American
18· ·Q.· ·And does Omphalos, LLC own any other companies?      18· · · · Tripoli is -- does business as
19· ·A.· ·No.                                                  19· · · · MOSenecaManufacturer and Omphalos owns
20· ·Q.· ·And how much of your time in any given week is       20· · · · MosenecaManufacturing, and, no, we didn't get any
21· · · · spent working on American Tripoli matters?           21· · · · PPP funds.
22· ·A.· ·Maybe a couple hours.                                22· ·Q.· ·Did MOSeneca get any PPP funds?
23· ·Q.· ·Do you do any other work?                            23· ·A.· ·No.· No.· We've never taken any government
24· ·A.· ·Yes.                                                 24· · · · funding.
25· ·Q.· ·What other work do you do?                           25· ·Q.· ·Okay.· Who would you consider to be in management


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                  Exhibit P-43, Page 5
    Appellate Case: 25-1349              Page: 2148            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                     Page 14                                                        Page 16
·1· · · · of American Tripoli?                                 ·1· ·Q.· ·And during what time period were you -- was your
·2· ·A.· ·John -- Mr. John Spears is the operations manager.   ·2· · · · job focused on, like, OSHA safety?
·3· ·Q.· ·Is anyone else in management?                        ·3· ·A.· ·Two thousand -- specifically OSHA titles?· The
·4· ·A.· ·At this time, Mr. Don Hale is the assistant          ·4· · · · civil service technician was 2005 to 2009, '10.
·5· · · · manager.                                             ·5· ·Q.· ·Okay.
·6· ·Q.· ·Anyone else?                                         ·6· ·A.· ·Because I went in aviation, which dealt with
·7· ·A.· ·No.                                                  ·7· · · · aviation safety and OSHA, and that went on until
·8· ·Q.· ·Would you consider yourself in management of the     ·8· · · · 2017.· So, I mean, there's a lot.
·9· · · · company?                                             ·9· ·Q.· ·Did you have my special --
10· ·A.· ·Only like, as we talked before, the managing         10· ·A.· ·Go ahead.· Sorry.
11· · · · member.· Yeah.                                       11· ·Q.· ·Did you have any, like, special area of focus when
12· ·Q.· ·Is Jordan Tidaback also a managing member?           12· · · · you did the OSHA work for the military?
13· ·A.· ·She's a member, yes.                                 13· ·A.· ·Yes.· Aviation training, safety, SOPs, the
14· ·Q.· ·Not a managing member?                               14· · · · management side, budget side, and then up to OSHA
15· ·A.· ·Not a managing member.                               15· · · · 30 training.
16· ·Q.· ·Okay.· And who would you consider to have been in    16· ·Q.· ·Okay.
17· · · · management in April of 2023 at American Tripoli?     17· ·A.· ·Motorcycle safety, heavy vehicle safety, heavy
18· ·A.· ·Only John Spears.                                    18· · · · equipment safety.
19· ·Q.· ·Was Robert Baumann considered to be in management?   19· ·Q.· ·And when you said you used to give OSHA training,
20· ·A.· ·No.                                                  20· · · · what was that in context of?
21· ·Q.· ·Prior to your work with American Tripoli, did you    21· ·A.· ·Training classes, whether it be a new hire, from
22· · · · have any experience in mining?                       22· · · · two people up to 300, maybe a little larger, for
23· ·A.· ·Not specifically mining, no.                         23· · · · safety stand-downs and safety seminars.
24· ·Q.· ·What sort of training have you had in mining since   24· ·Q.· ·And what sort of OSHA standards would you be going
25· · · · working for American Tripoli, or even before, if     25· · · · over in that -- those type of classes?

                                                    Page 15                                                        Page 17
·1· · · · there was any before?                                ·1· ·A.· ·Can you repeat that question?
·2· ·A.· ·As far as -- I mean, there's so much to mining,      ·2· ·Q.· ·Yeah.· What sort of OSHA standards would you be
·3· · · · depends on what you're talking about.· Are you       ·3· · · · going over when you were giving that kind of
·4· · · · talking about safety training?                       ·4· · · · training?
·5· ·Q.· ·Sure, safety training.                               ·5· ·A.· ·Up to OSHA 30 standards.
·6· ·A.· ·Yeah, just MSHA-provided training.                   ·6· ·Q.· ·So would it be, like, general OSHA or, like,
·7· ·Q.· ·Had you received any miner's training?               ·7· · · · construction stuff?· Was there any -- like, all of
·8· ·A.· ·You said safety training.· Sorry.· You said          ·8· · · · that?
·9· · · · safety?                                              ·9· ·A.· ·Yes.· It depended on the audience whether it be
10· ·Q.· ·Yeah.                                                10· · · · building safety, heavy equipment safety,
11· ·A.· ·Safety is totally different thing because I'm        11· · · · operational safety, aviation safety, combat arms
12· · · · OSHA-certified.· I was OSHA instructor for the       12· · · · safety, personal safety.· That kind of stuff,
13· · · · Department of Defense, the Oklahoma Army National    13· · · · yeah.
14· · · · Guard, the Oklahoma Military Department.· There's,   14· ·Q.· ·Okay.· Are you familiar with OSHA's manufacturing
15· · · · let's see, 13 years of experience in safety on the   15· · · · safety standards?
16· · · · OSHA side.                                           16· ·A.· ·Yes and no.· Not as far as on the civilian side,
17· ·Q.· ·Okay.· So let's talk about that.· When did you do    17· · · · depending on the contract that we had.· We'd have
18· · · · that OSHA safety work?                               18· · · · to go in there and look at their safety.
19· ·A.· ·That started in 2000, if I remember correctly, and   19· ·Q.· ·Had you ever dealt with OSHA's, like,
20· · · · when I left the Oklahoma Army National Guard, that   20· · · · lockout/tagout standards?
21· · · · was in 2013, and then my military service started    21· ·A.· ·Yes.
22· · · · in 1997 and it ended -- if I remember correctly,     22· ·Q.· ·How familiar were you with those?
23· · · · it was in 2018.· So all the military safety          23· ·A.· ·Familiar enough to train it.
24· · · · training and OSHA training that they provided, I     24· ·Q.· ·Okay.· So you did training on lockout/tagout --
25· · · · was an instructor for them as well.                  25· ·A.· ·Yes.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                  Exhibit P-43, Page 6
    Appellate Case: 25-1349              Page: 2149            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                     Page 18                                                       Page 20
·1· ·Q.· ·-- for OSHA?                                         ·1· ·A.· ·Correct.
·2· ·A.· ·Mm-hmm.                                              ·2· ·Q.· ·Okay.· Did you have any experience with MSHA or
·3· ·Q.· ·And did you do machine guarding training for OSHA?   ·3· · · · MSHA standards prior to starting working with
·4· ·A.· ·Yes.                                                 ·4· · · · American Tripoli?
·5· ·Q.· ·Do you have any experience in geology, either work   ·5· ·A.· ·(Shakes head.)
·6· · · · or education?                                        ·6· ·Q.· ·Sorry.· What was that?· I think you cut out a
·7· ·A.· ·I studied it a couple of years, but no -- no         ·7· · · · little bit.
·8· · · · additional -- no official, like, degree or           ·8· ·A.· ·No.
·9· · · · certification or anything, no.                       ·9· ·Q.· ·Okay.· And did Jordan Tidaback have any mining
10· ·Q.· ·And when you say studied it, was that at a           10· · · · experience or experience with MSHA prior to
11· · · · university?                                          11· · · · working with American Tripoli?
12· ·A.· ·Yes, the University of Texas of El Paso and the      12· ·A.· ·No.
13· · · · University of Oklahoma.· I don't remember the        13· ·Q.· ·And you live in Florida, correct?
14· · · · professor's name--I could find it for you--that I    14· ·A.· ·I have a residence in Florida.· I don't
15· · · · spoke with and communicated and. . . .               15· · · · necessarily consider myself -- as my home of
16· ·Q.· ·Were you enrolled in any geology classes?            16· · · · record and stuff like this.
17· ·A.· ·No.                                                  17· ·Q.· ·And do you do work for American Tripoli while
18· ·Q.· ·So this is -- this is just your personal research?   18· · · · you're in Florida?
19· ·A.· ·Yeah.                                                19· ·A.· ·Like I said, it just depends on what's needed from
20· ·Q.· ·And when did you do this?                            20· · · · John.· Normal operations, yeah.· Like I said, it's
21· ·A.· ·It started probably 2008, 2009, when we were being   21· · · · a few minutes here there, here there, whatever's
22· · · · deployed back to Iraq as aviation unit, part of      22· · · · needed.
23· · · · the safety to figure out what's going on in the      23· ·Q.· ·And how often do you come to the mine location in
24· · · · dust and stuff like that.                            24· · · · Seneca?
25· ·Q.· ·Okay.· Prior to working with American Tripoli, did   25· ·A.· ·That is as needed.· You know, it could be a couple

                                                     Page 19                                                        Page 21
·1· · · · you have any experience in manufacturing?            ·1· · · · days at a time.· Not very often.· That's not how
·2· ·A.· ·As far as owning it?· No.                            ·2· · · · we do business.
·3· ·Q.· ·Working in --                                        ·3· ·Q.· ·Okay.· How often would you say you come, I guess,
·4· ·A.· ·Yes.                                                 ·4· · · · per month?
·5· ·Q.· ·-- manufacturing?                                    ·5· ·A.· ·Zero per month.· It's maybe once -- well, like
·6· ·A.· ·Yeah.· I worked at Frito-Lay before joining the      ·6· · · · John was gone for a week this year for his
·7· · · · Army in their Orlando manufacturing plant.           ·7· · · · vacation, so we came in, since there was no
·8· ·Q.· ·And when was that?                                   ·8· · · · manager to back him up, before we hired Mr. Hale.
·9· ·A.· ·That would have been '92.                            ·9· · · · Actually, I think he was there but he was fairly
10· ·Q.· ·And what was your role there?                        10· · · · new.
11· ·A.· ·I don't really remember the position title.· My      11· ·Q.· ·Okay.
12· · · · mother worked there, got a job there, and then the   12· ·A.· ·So five days this year, I do believe.
13· · · · management staff had a management program, like      13· ·Q.· ·You were there five days?
14· · · · shadowing new managers coming down, and that's --    14· ·A.· ·I do believe.
15· · · · that's what I got sucked into, their program for     15· ·Q.· ·In 2023?
16· · · · leadership and management.                           16· ·A.· ·I think so, yes.
17· ·Q.· ·Okay.· Were you working in the manufacturing plant   17· ·Q.· ·Were you there at any other time in 2023?
18· · · · for Frito-Lay --                                     18· ·A.· ·Not that I can recall.· I'd have to look back
19· ·A.· ·Yes.· Mm-hmm.                                        19· · · · through the notes.
20· ·Q.· ·-- or any manufacturing areas?· Okay.                20· ·Q.· ·Do you know about how many days you would have
21· · · · · · ·And did you deal with safety in that role.      21· · · · been there in 2022?
22· ·A.· ·Yes, attended safety meetings and briefings and      22· ·A.· ·No, but I know it was -- I think it was more.
23· · · · stuff like that, daily.                              23· · · · Yeah.· More than that.· I would say probably 10
24· ·Q.· ·And those dealt with, like, OSHA manufacturing       24· · · · days.· I'm not sure.
25· · · · standards, like lockout/tagout, machine guarding?    25· ·Q.· ·Okay.· Did you ever meet Robert Baumann in person?


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                  Exhibit P-43, Page 7
    Appellate Case: 25-1349              Page: 2150            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 22                                                         Page 24
·1· ·A.· ·Yes.· Yes.                                           ·1· · · · all sides bay, if you want to call it that, and
·2· ·Q.· ·How many times?                                      ·2· · · · it's dried for 9 to 12 months.
·3· ·A.· ·I couldn't tell you.· I mean, every time that I      ·3· · · · · · ·And then, based on sales demand and needs, we
·4· · · · was there, logically we met.· We discussed things,   ·4· · · · load it back into a dump truck, take it to the
·5· · · · how things were going, operations, counsel him,      ·5· · · · mill, which is approximately two -- I think it's
·6· · · · mentor him.· I don't think I interviewed him. I      ·6· · · · two, two and a half miles away, where it then gets
·7· · · · may have interviewed him, depending on the timing.   ·7· · · · processed.· So that's -- that's really the
·8· · · · I'd have to look back in my notes.· Because we       ·8· · · · difference between -- oh, and the plant is in
·9· · · · went -- 2022 -- 2021, 2022 we went -- even 2023 we   ·9· · · · Newton County, Missouri.· You walk out our front
10· · · · went through a high turnover.· Employee turnover     10· · · · of our admin building and you take two steps in
11· · · · was really high.· So I'd have to look back at the    11· · · · the road, you're in Oklahoma.· The border's that
12· · · · details to see who was the operations manager at     12· · · · close.· So we're in Oklahoma and Missouri.· It's
13· · · · that time when Mr. Baumann was hired to see if I     13· · · · right on the border.
14· · · · would have done the interviews or not.               14· ·Q.· ·And is -- the mill is located in Missouri; is that
15· ·Q.· ·Okay.· And if you would have done interviews,        15· · · · right?
16· · · · would that have been in person?                      16· ·A.· ·Yes.· The mill and the admin building, the garage
17· ·A.· ·We did some in person and then we did some over --   17· · · · and the warehouse is all in Seneca, Missouri.
18· · · · just like this call here, video call, conference     18· · · · Yeah.
19· · · · call.· Phones calls, too.                            19· ·Q.· ·And do you have, like, a specific set of employees
20· ·Q.· ·And when you -- oh.· Go ahead.· Sorry.               20· · · · that work in the -- on the Oklahoma side versus
21· · · · · · ·And when you're at the mine, are you usually    21· · · · the Missouri side, or does everyone kind of do
22· · · · there -- like when you come to Seneca, are you       22· · · · everything?
23· · · · usually there -- at the mine the whole day or what   23· ·A.· ·I -- so the progression plan established before us
24· · · · are you doing when you're there?                     24· · · · was that the mill associates start at the entry.
25· ·A.· ·Yes.· When we're there, we're there for the whole    25· · · · They're right off the street.· They don't really

                                                    Page 23                                                        Page 25
·1· · · · day, and then depending on the period, if it's       ·1· ·have a lot of experience needed for the position.
·2· · · · just a couple days or if it's a week, you know,      ·2· ·They get trained at MSHA training and safety
·3· · · · we're at the mine every day.· In the mill every      ·3· ·training, and then the machine operator training,
·4· · · · day, you know.                                       ·4· ·which is a position that they're in.
·5· ·Q.· ·Have you ever personally -- did you ever             ·5· · · · And then as they progress and learn that
·6· · · · personally observe Robert Baumann, like, actively    ·6· ·position, there's different things in that
·7· · · · working, doing his job?                              ·7· ·position as well, such as being a bagger and then
·8· ·A.· ·Oh, yes.· Yes.· I mentored him.                      ·8· ·being a forklift operator, being a warehouse
·9· ·Q.· ·And the mine is located in both Oklahoma and         ·9· ·operator, and then also being a crusher operator.
10· · · · Missouri; is that correct?                           10· · · · And then after you learn all those tasks, you
11· ·A.· ·Yes.· So American Tripoli started in 18 -- it was    11· ·move out to the quarry position, which is in
12· · · · founded in 1869, and at one time they owned 36,000   12· ·Oklahoma, the open pit, where you learn --
13· · · · acres in the area, and over time the companies       13· ·eventually these guys would learn to operate the
14· · · · have sold it off and it's got down to the 1200       14· ·heavy equipment.
15· · · · acres that is left in Ottawa County, Oklahoma.       15· · · · And then from that, now that you learned the
16· · · · It's an open pit mine.· There is no underground      16· ·heavy equipment side, how to identify tripoli, how
17· · · · work at all.· They excavate the Tripoli by using a   17· ·to excavate the material, how to get your CDL so
18· · · · bulldozer removing the overbrush and front-end       18· ·that you can drive the dump trucks on the public
19· · · · loader it into a dump truck.                         19· ·roads, taking it to the drying shed and taking it
20· · · · · · ·That dump truck takes it -- I do believe it's   20· ·to the mill, that's how they progress.
21· · · · eight -- it's either eight or ten miles to Seneca    21· · · · And then after they progress from the quarry,
22· · · · at our drying sheds, which is a separate location    22· ·they come back to the mill and then their next
23· · · · from our plant, which we call the company            23· ·progression steps would be trainer positions,
24· · · · stockyard, where it is placed underneath drying      24· ·safety positions, and then hopefully into a
25· · · · sheds, which is just a cover, like a -- open on      25· ·management-type position.· That's the whole entire


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                  Exhibit P-43, Page 8
    Appellate Case: 25-1349              Page: 2151            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                     Page 26                                                       Page 28
·1· · · · plan.                                                ·1· ·A.· ·Sometimes -- because sometimes --
·2· ·Q.· ·And who runs the mill on a daily basis?              ·2· ·Q.· ·Oh.
·3· ·A.· ·We have Don -- Mr. Don Hale is the assistant         ·3· ·A.· ·Because sometimes Teams just doesn't work.· So
·4· · · · manager now that runs the mill.                      ·4· · · · sometimes the phone's better.
·5· ·Q.· ·And what is what's John Spears' role?                ·5· ·Q.· ·So Teams is kind of the first line of
·6· ·A.· ·John Spears is the operations manager, the           ·6· · · · communication --
·7· · · · administrative operations manager.                   ·7· ·A.· ·Mm-hmm.
·8· ·Q.· ·And are you aware -- like, are you generally kept    ·8· ·Q.· ·-- with the mine?
·9· · · · involved in what's going on at the mine on a daily   ·9· ·A.· ·Correct.
10· · · · basis?                                               10· ·Q.· ·And how often would you say you talk on the phone
11· ·A.· ·Yes.· We use Microsoft Teams for that                11· · · · to anyone at the mine?
12· · · · collaboration normally, and as they're asked and     12· ·A.· ·Again, that depends on need.
13· · · · tasked you put everything in Teams so that           13· ·Q.· ·Would you say you're on the phone with someone
14· · · · everybody knows.· The mill associates have the       14· · · · from the mine daily?
15· · · · same access to that mill -- group mill chat group,   15· ·A.· ·No, not daily.· Not even --
16· · · · I think it's called.· That way all the               16· ·Q.· ·Weekly?
17· · · · communications is flowing through there so that      17· ·A.· ·I wouldn't even say weekly.· Yeah, I would say
18· · · · everybody is kept informed of what's going on.       18· · · · maybe every couple weeks somebody may make a phone
19· ·Q.· ·And when you say all communications are in there,    19· · · · call.
20· · · · what do you mean by that?                            20· ·Q.· ·And who would that be?
21· ·A.· ·For the mill associates.· That way if something's    21· ·A.· ·Any of them.· Anybody.· Any of the -- any
22· · · · going on in the mill, everybody knows what's going   22· · · · employee.· They have direct access to call me.
23· · · · on.· They put it in there, whether it be             23· ·Q.· ·Okay.· Do you use email at the mine to
24· · · · themselves or Mr. Baumann or Mr. Hale or             24· · · · communicate?
25· · · · Mr. Spears or Jordan or myself, asking questions,    25· ·A.· ·No, we don't.· It's -- we use email for external

                                                     Page 27                                                       Page 29
·1· · · · what's going on, what shipments are coming out,      ·1· · · · purposes and chat and Teams for internal.
·2· · · · hey, I need new bags -- or more bags, I need more    ·2· ·Q.· ·Okay.· And what about text messaging?· Is that
·3· · · · pallets, that kind of stuff.· That's what that       ·3· · · · ever used to communicate with employees at the
·4· · · · group's for.                                         ·4· · · · mine?
·5· ·Q.· ·Okay.· And so if something's going on at the mine    ·5· ·A.· ·Yes.· Some employees like to use that because
·6· · · · that needs, like, management attention, you would    ·6· · · · that's what they're used to.· So I -- you know, we
·7· · · · expect that to be in the Teams chats?                ·7· · · · try to push them all towards Teams and eventually
·8· ·A.· ·Well, we hired Mr. Spears to do his role, so we      ·8· · · · they get on Teams and stuff like that.
·9· · · · expect him to do his role.· If something is needed   ·9· ·Q.· ·How often are you text messaging with someone at
10· · · · that he can't do or has questions on, logically,     10· · · · the mine?
11· · · · then he asks.· Yeah.                                 11· ·A.· ·Again, that's -- same thing with the phone calls.
12· ·Q.· ·So he -- John Spears and Don Hale kind of run the    12· · · · That's very sporadic, just like -- we're trying to
13· · · · mine on a daily basis, and if they need to elevate   13· · · · push everybody to Teams so that it's one
14· · · · something to you, they will, but they don't tell     14· · · · communication channel.
15· · · · you everything that's going on --                    15· ·Q.· ·So maybe every couple of weeks there's text
16· ·A.· ·No.                                                  16· · · · messages?
17· ·Q.· ·-- throughout the day.                               17· ·A.· ·Yeah.· It's usually when they first start, you'll
18· ·A.· ·That's correct.· Yeah.                               18· · · · get a few text messages as the group, and then
19· ·Q.· ·And is Teams your primary means of communication     19· · · · once they get accustomed to Teams, they all use
20· · · · to know what's going on at the mine?                 20· · · · Teams.
21· ·A.· ·Mm-hmm.                                              21· ·Q.· ·Okay.· And how many times does -- has Jordan come
22· ·Q.· ·Are you ever talking on the phone to anyone at the   22· · · · to the mine?· Does she come with you whenever you
23· · · · mine?                                                23· · · · go?
24· ·A.· ·Yeah.· It just depends on what's going on.           24· ·A.· ·Yes.· Yeah.· Any time that we travel there, we're
25· ·Q.· ·Do you talk on the phone with --                     25· · · · together.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                  Exhibit P-43, Page 9
    Appellate Case: 25-1349              Page: 2152            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 30                                                         Page 32
·1· ·Q.· ·Has she ever gone without you?                       ·1· · · · company?
·2· ·A.· ·No.                                                  ·2· ·A.· ·Same.· It's outsourced or we're handling it
·3· ·Q.· ·Okay.· And what activities do you perform            ·3· · · · internally, mm-hmm.
·4· · · · specifically for American Tripoli?· Is there any     ·4· ·Q.· ·And what is -- how is sales outsourced?
·5· · · · roles or jobs that have to get done that only you    ·5· ·A.· ·Through contractors?· Is that what you mean?· Yes.
·6· · · · do?                                                  ·6· ·Q.· ·Like sales managers or sales --
·7· ·A.· ·Oh, that only I do?                                  ·7· ·A.· ·Yeah.
·8· ·Q.· ·Or that you have a hand in, I guess.                 ·8· ·Q.· ·-- members?
·9· ·A.· ·I'm sorry.· Say again.                               ·9· ·A.· ·Yeah.
10· ·Q.· ·That you have a hand in.                             10· ·Q.· ·And does Jordan do anything different from those
11· ·A.· ·Well, I have a hand in everything.                   11· · · · activities that you just described?
12· ·Q.· ·Okay.· What type of things do you -- what type of    12· ·A.· ·Different in -- what do you mean by "different"?
13· · · · activities do you perform for American Tripoli?      13· ·Q.· ·You listed some things you do like financials and
14· ·A.· ·Only -- only what's needed.                          14· · · · administrative.
15· ·Q.· ·Okay.· Do you participate in hiring employees?       15· ·A.· ·Mm-hmm.
16· ·A.· ·Do I participate in it?· Yes.· Yeah.· We assist      16· ·Q.· ·Is there anything that she's also doing for
17· · · · John where he needs assistance.· For example, if     17· · · · American Tripoli that you're not doing that you
18· · · · he -- if we are hiring a maintenance guy and         18· · · · didn't already describe?
19· · · · there's no maintenance guy on staff, then we're      19· ·A.· ·I wouldn't think so.· I think we both do the same.
20· · · · looking through the Indeed applicants and stuff      20· · · · One focuses more on the other, back each other up,
21· · · · like that, establishing the initial contact,         21· · · · stuff like that.· I think we're both doing
22· · · · giving them John's information so they can contact   22· · · · acquisition research.
23· · · · John and set up the phone interviews, stuff like     23· ·Q.· ·Is that acquisition research for MOSeneca?
24· · · · that.                                                24· ·A.· ·No, to try to -- acquiring new businesses.
25· · · · · · ·All the financials.· Those are done internal    25· ·Q.· ·For Omphalos?

                                                    Page 31                                                        Page 33
·1· · · · to the bookkeepers and us.· You know, the            ·1· ·A.· ·Yes.
·2· · · · administrative side.· This past year, since John's   ·2· ·Q.· ·Who has the ultimate hiring employee -- hiring
·3· · · · been there, short on staff, so a lot of the          ·3· · · · authority when you're hiring employees?
·4· · · · administrative stuff is passed off to us.            ·4· ·A.· ·You -- for American Tripoli?
·5· ·Q.· ·And when you say "us," you mean you and Jordan?      ·5· ·Q.· ·Yeah.
·6· ·A.· ·Yes.· Sorry.· Yeah.· Jordan and I.                   ·6· ·A.· ·Yeah.· So John -- John would be there locally so
·7· ·Q.· ·What sort of administrative stuff are you talking    ·7· · · · he's doing the interviews with them so he's -- he
·8· · · · about?                                               ·8· · · · really has the last say.· Of course, if, you know,
·9· ·A.· ·SOPs, you know, quotes for parts and stuff like      ·9· · · · something was blatantly wrong, I guess he would
10· · · · that.· John will get them; we'll put them into       10· · · · say I don't really know, and then I could make
11· · · · business central so that they get processed.         11· · · · that decision, but he has the decision.
12· · · · Receipts, we process all the receipts.· Just the     12· · · · · · ·The pay rates and stuff, I would say that
13· · · · administrative stuff.                                13· · · · that would be us based on the market research and
14· ·Q.· ·Okay.                                                14· · · · everything that we're doing since we're dealing
15· ·A.· ·Dealing with the bookkeepers and sales, quotes,      15· · · · with the budgets and stuff.
16· · · · stuff like that.                                     16· · · · · · ·But the person individually--to answer your
17· ·Q.· ·And do you have bookkeepers for American Tripoli?    17· · · · question--he would -- he kind of has the say since
18· ·A.· ·Yes.                                                 18· · · · he's there locally, hands-on.
19· ·Q.· ·Do they work at American Tripoli?                    19· ·Q.· ·Does he have to run hiring decisions by you?
20· ·A.· ·No.· They are -- they're remote.                     20· ·A.· ·As far as -- what do you mean?· That's a loaded
21· ·Q.· ·And are they direct employees of the company or is   21· · · · question.
22· · · · that something, like, you've outsourced to a third   22· ·Q.· ·Let's say he's interviewed someone; he thinks that
23· · · · party?                                               23· · · · they're great; he wants to hire them.· Does he
24· ·A.· ·Outsourced.· Contractors, yeah.                      24· · · · have to run that by you before he makes a job
25· ·Q.· ·And what about sales?· Who handles sales for the     25· · · · offer?


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 10
    Appellate Case: 25-1349              Page: 2153            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 34                                                         Page 36
·1· ·A.· ·Oh, no.· No.· Yeah.· That kind of thing we talk      ·1· · · · based off our training plan, which MSHA approves,
·2· · · · about so it's not like -- I don't consider running   ·2· · · · and any additional training for that is more of
·3· · · · by me; it's just like, This is who I'm going to      ·3· · · · safety rather than a mining environment because,
·4· · · · hire.                                                ·4· · · · like I said, we don't -- it's not really a mine as
·5· · · · · · ·Okay.                                           ·5· · · · in coal mining; it's a manufacturing plant.
·6· · · · · · ·This is what we're going to hire him for.       ·6· · · · · · ·But I understand what the Mine Act states,
·7· · · · · · ·And we may discuss with that individual his     ·7· · · · so -- so yes.
·8· · · · pay rate or what other benefits he's looking for     ·8· ·Q.· ·Do you have any formal, like, new employee
·9· · · · and stuff like that.                                 ·9· · · · orientation or new employee training?
10· ·Q.· ·So you'd expect him to run that by you but that      10· ·A.· ·Yes.· Yes.
11· · · · just sort of happens naturally as well, about who    11· ·Q.· ·And what is that?
12· · · · he's going to hire?                                  12· ·A.· ·Yeah.· Even during the interview process, John
13· ·A.· ·Yeah, I don't -- yeah.· I respect John's decision    13· · · · walks the -- John or Mr. Townsend, Joshua
14· · · · on that.· Yeah.                                      14· · · · Townsend, the safety environmental health
15· ·Q.· ·Do you typically hire employees that have mining     15· · · · specialist, they will walk them through the mill
16· · · · experience?                                          16· · · · showing them the process and explaining how the
17· ·A.· ·We would prefer to, yes.· That's part of our         17· · · · mill completely works.
18· · · · search criteria.· There's just not very many         18· · · · · · ·And then, like myself, if -- I've been there
19· · · · people in that area that have mining experience      19· · · · a couple times with new hires -- I'll even take
20· · · · that want to work, if you want to call it that.      20· · · · them to the quarry so they have an understanding
21· · · · Or apply to work.                                    21· · · · of where the material's coming from in its raw
22· ·Q.· ·Have you ever hired an employee that had mining      22· · · · state, coming to the drying sheds and going
23· · · · experience prior to working for American Tripoli?    23· · · · through the whole entire process so that they
24· ·A.· ·I do believe so.· I'm not sure.· I'd have to go      24· · · · understand, you know, where it comes from out of
25· · · · back and look at the records but I do believe so.    25· · · · the ground into a bag.· That's basically what we

                                                    Page 35                                                        Page 37
·1· · · · Because it's part of our --                          ·1· · · · do.
·2· ·Q.· ·Do you --                                            ·2· · · · · · ·So, yes, they get a -- they get a
·3· ·A.· ·Say again?                                           ·3· · · · walk-through first, and then during their
·4· ·Q.· ·Can you think of anyone specifically?                ·4· · · · training, they get all the MSHA-required training,
·5· ·A.· ·Yeah, I can't think of anybody specifically.· Not    ·5· · · · and then they get specialized training specific to
·6· · · · off the top of my head, no.                          ·6· · · · our plant for safety purposes.
·7· ·Q.· ·So would you say --                                  ·7· ·Q.· ·And how long has that sort of program been in
·8· ·A.· ·Like I said, there's a lot --                        ·8· · · · place?
·9· ·Q.· ·Would you say most employees do not have mining      ·9· ·A.· ·How long has it been in place?· Oh.· Well, as far
10· · · · experience when they start working for American      10· · · · as I know, the existence of MSHA, because it
11· · · · Tripoli?                                             11· · · · was --
12· ·A.· ·Unfortunately, yes.                                  12· ·Q.· ·No, your specific -- your specific program that
13· ·Q.· ·Given that lack of mining experience, do you do      13· · · · you provide to new employees that you were just
14· · · · anything to familiarize employees with mining when   14· · · · describing.
15· · · · they start?                                          15· ·A.· ·Yeah.· That was given to us and we just expanded
16· ·A.· ·Oh, yes.· Yeah.· So it's just like -- I don't        16· · · · on it.· When we acquired the business in 2021,
17· · · · consider our mill plant a mine because of the        17· · · · that was already established.
18· · · · general terms of mining is we're mining something    18· ·Q.· ·So you just kept their kind of program for new
19· · · · out of the ground, okay, because we're bringing in   19· · · · employees?
20· · · · the material, then we're pulverizing it,             20· ·A.· ·Yes.· Yeah.· What was the basis of it all, we just
21· · · · basically, and then we're manufacturing it.· We're   21· · · · critiqued it and made it better based on feedback
22· · · · putting it in bags.· We don't really do anything     22· · · · from the employees that were there.
23· · · · with the material or in a mining sense, such as      23· ·Q.· ·And whose job is it to communicate to employees
24· · · · coal mining.                                         24· · · · what their job duties are?
25· · · · · · ·So the training that the individuals get is     25· ·A.· ·John Spears.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 11
    Appellate Case: 25-1349              Page: 2154            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 38                                                        Page 40
·1· ·Q.· ·And how is that done?                                ·1· · · · at least?
·2· ·A.· ·How is that done?· Well, I mean, he's doing the      ·2· ·A.· ·I know it's more than a year but I'm not sure.
·3· · · · interviewing process so it's explained to them in    ·3· · · · It's not two years.
·4· · · · that process, and then, like Mr. Baumann, since      ·4· ·Q.· ·And did you personally hire him?
·5· · · · the mill associates -- since he was a shift lead,    ·5· ·A.· ·Yes.· Shared -- that was shared with -- that
·6· · · · he would help show them their OJT on how to do       ·6· · · · decision was shared with Jordan, of course, just
·7· · · · their job and the safety aspects behind it, and      ·7· · · · for clarity.
·8· · · · the safety person would help them with their         ·8· ·Q.· ·And why did you hire him for the job?
·9· · · · safety side and the forklift training side, the      ·9· ·A.· ·I -- the experience that Mr. Spears has, he was a
10· · · · guarding side -- trying to think of all the other    10· · · · U.S. postal master, postmaster, and he also had
11· · · · stuff that each individual person does, but that's   11· · · · experience in shop class dealing with the young --
12· · · · how they get their training, the specialized         12· · · · younger generation, and the experience that he had
13· · · · individual training.                                 13· · · · managing operations and budgeting and his
14· · · · · · ·Mr. Jim Hoover was our senior employee and he   14· · · · background experience, stuff like that, was one of
15· · · · had been with American Tripoli before we bought      15· · · · our major factors of hiring him.
16· · · · the company.· He was the most experienced person,    16· · · · · · ·The operations manager that we had prior to
17· · · · even more than John, and he would be the person      17· · · · Mr. Spears, Christine Schreiber, if I remember
18· · · · that any new hire would go to to ask about, you      18· · · · correctly her name, she was hired as a operations
19· · · · know, what is this and how does this work and Jim,   19· · · · person because she had operations background but
20· · · · or Mr. Hoover, would show them:· This is how you     20· · · · she didn't have manufacturing background, or, as
21· · · · slide a bag on; this is where you pick up a bag;     21· · · · she stated, managing a team of men.· That's
22· · · · this is where you get pallets from, stuff like       22· · · · basically what she said.
23· · · · that.                                                23· · · · · · ·So one of the reasons that we hired John was
24· ·Q.· ·And is there any sort of document that shows an      24· · · · learning from the mistakes with Christine to make
25· · · · employee what all of their job duties are, like      25· · · · sure that we covered what she lacked so that we

                                                     Page 39                                                       Page 41
·1· · · · what they're expected to do in a day or a week or    ·1· · · · could move forward, make the company more
·2· · · · a month?                                             ·2· · · · successful.
·3· ·A.· ·Yes.· They get the position description when         ·3· · · · · · ·So Mr. Spears is experienced in managing
·4· · · · they're hired and then that's available -- if I'm    ·4· · · · people, dealing with
·5· · · · not mistaken, that's available in Teams as well so   ·5· · · · high-school-graduate-educated-level personnel, and
·6· · · · they can see it 24/7.                                ·6· · · · his experience in senior management of a large
·7· ·Q.· ·And how long has that been the case?                 ·7· · · · corporation is the reason we hired John.
·8· ·A.· ·Oh, yeah, since day one.· Yeah.· Since January of    ·8· ·Q.· ·And does he have any mining experience?
·9· · · · 2021 -- or, excuse me --                             ·9· ·A.· ·Did he have any mining experience?· No, his was
10· ·Q.· ·Are the employs at -- go ahead.                      10· · · · based off operations.
11· ·A.· ·Sorry.                                               11· ·Q.· ·And did he have any manufacturing experience?
12· ·Q.· ·Are the employees at American Tripoli part of a      12· ·A.· ·I would have to look back at the resume.· I don't
13· · · · union?                                               13· · · · remember that.
14· ·A.· ·No.                                                  14· ·Q.· ·And what are John Spears' job duties?
15· ·Q.· ·And when did John Spears start working for           15· ·A.· ·Without looking at the position description, I'd
16· · · · American Tripoli?                                    16· · · · have to -- it's basically operations.
17· ·A.· ·Yeah, without looking at notes, I wouldn't -- I      17· ·Q.· ·What do you expect him to do on a given day or
18· · · · don't recall.                                        18· · · · week?
19· ·Q.· ·Has he been there since Omphalos has owned the       19· ·A.· ·So in a production environment, we have a
20· · · · company?                                             20· · · · production line and we have a production schedule.
21· ·A.· ·Yes.· Oh, what do you mean?· Omphalos was            21· · · · I expect John to manage the people there that
22· · · · established before we purchased American Tripoli.    22· · · · fulfill all the duties of that production line,
23· ·Q.· ·Right.· Did you hire John Spears?                    23· · · · which includes safety, quarry operations,
24· ·A.· ·Yes.· There was a operations manager before him.     24· · · · shipping, and the production line itself.· Yeah.
25· ·Q.· ·And has he been there for a couple of years now,     25· ·Q.· ·So is he in charge of production, generally?


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 12
    Appellate Case: 25-1349              Page: 2155            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 42                                                        Page 44
·1· ·A.· ·Yes.· Yeah.· The production schedule is driven off   ·1· · · · somebody and the counseling.· Mr. Hale now is
·2· · · · of sales, which is driven off of customer demand,    ·2· · · · required to do the written counseling, verbal
·3· · · · and the -- it's what John uses as his guide for      ·3· · · · counseling, stuff like that.
·4· · · · what's going on that day.                            ·4· ·Q.· ·And then these job duties that --
·5· ·Q.· ·Is it his job to ensure production is, like,         ·5· ·A.· ·Sorry.· I didn't mean to interrupt.· I just wanted
·6· · · · running smoothly and continuing to go forward        ·6· · · · to add to that.· We assist as they need help.· So
·7· · · · according to that schedule?                          ·7· · · · if there's a counseling statement that Mr. Hale
·8· ·A.· ·Well, with the assistance of the shift lead.· The    ·8· · · · needs, it gets communicated and we type up the
·9· · · · shift lead is really the one that actually makes     ·9· · · · document and then present it in Teams and then
10· · · · sure that things are getting done in the mill.       10· · · · they issue it from there.
11· · · · Because John's not really in the mill every day      11· ·Q.· ·And these job duties that you've been describing
12· · · · unless it's needed because we're shorthanded.        12· · · · for John Spears, have those always been his job
13· · · · · · ·The shift lead is the one that makes sure the   13· · · · duties?· Have they changed during his employment?
14· · · · mill associates show up on time, you know, they go   14· ·A.· ·I don't think anything's changed.· I'd have to
15· · · · to their breaks, they -- you know, they come back    15· · · · look back at documents, of course.
16· · · · from lunch.· They make sure all the bags, pallets,   16· ·Q.· ·Is John Spears the supervisor of any employees
17· · · · slip sheets, all the stuff is there.· The shift      17· · · · currently?
18· · · · lead is it the one that is monitoring the            18· ·A.· ·Yes.· Direct reports?· Is that what you mean?
19· · · · production schedule.· The shift lead is the one      19· ·Q.· ·Who would those direct reports be?
20· · · · that's doing the quality control to make sure what   20· ·A.· ·Max Drake, Joshua Townsend, Mr. Hale.· Yeah.
21· · · · gets loaded in the truck to be shipped is accurate   21· ·Q.· ·So is he the supervisor over all the employees at
22· · · · and stuff like that.                                 22· · · · American Tripoli?
23· · · · · · ·So he -- John is the backup for the shift       23· ·A.· ·Yes.· Yeah.· He's the operations manager.· Mm-hmm.
24· · · · lead.· So if the shift lead, you know, needs to      24· ·Q.· ·Does Don Hale supervise any employees directly?
25· · · · take vacation, John would step in his place and      25· ·A.· ·Yes, the mill associates.

                                                     Page 43                                                        Page 45
·1· · · · run the operations for that shift lead.· That's      ·1· ·Q.· ·And who are those?
·2· · · · the dynamics between those two types of positions.   ·2· ·A.· ·Oh, let's see here.· I know -- I know -- I don't
·3· ·Q.· ·Who is the current shift lead?                       ·3· · · · know their -- I think it's Lance.· I'd have to
·4· ·A.· ·Current shift lead is Mr. Don Hale.                  ·4· · · · look back in documents for the last name.· Brian
·5· ·Q.· ·And I believe you had said he was like an            ·5· · · · and Ron.· I think that's it.· I'd have to look
·6· · · · assistant operations manager, or does he have two    ·6· · · · back at the documentation.
·7· · · · titles?                                              ·7· ·Q.· ·So Don Hale supervises different employees than
·8· ·A.· ·That -- no.· He is the assistant manager.· We --     ·8· · · · John Spears supervises.
·9· · · · learning from Mr. Baumann, termination and           ·9· ·A.· ·Yes.· Yeah.· So it goes mill associates, the shift
10· · · · experience there, we needed to hire somebody that    10· · · · lead or the assistant manager, and then John
11· · · · would be in a -- an assistant manager role so that   11· · · · Spears.· That's the chain.
12· · · · the mill associates would have a manager over        12· ·Q.· ·Okay.· Who was Rob Baumann's direct supervisor?
13· · · · them.                                                13· ·A.· ·John Spears, the operations manager.
14· ·Q.· ·So previously the shift lead was not in a            14· ·Q.· ·And Baumann did not -- okay.· And Baumann did not
15· · · · management position.                                 15· · · · supervise any employees --
16· ·A.· ·No, that is correct.                                 16· ·A.· ·No.
17· ·Q.· ·And did not supervise employees?                     17· ·Q.· ·-- directly, correct?
18· ·A.· ·No, he did not.· He did not counsel; he did not,     18· ·A.· ·He did not do any type of counseling or anything
19· · · · you know, do write-ups, you know, did any hiring     19· · · · like that.
20· · · · or firing.· That was all related to Mr. Spears,      20· ·Q.· ·And he didn't have any responsibilities to
21· · · · the operations manager.                              21· · · · supervise employees, correct?
22· ·Q.· ·So those were not part of the shift lead's role      22· ·A.· ·He did not have -- he did -- he was not tasked, if
23· · · · until now with Don Hale.                             23· · · · that's what you're asking me.· He did have
24· ·A.· ·No.· The only thing that has been added to that is   24· · · · responsibilities such as training people, making
25· · · · the feedback for hiring somebody or firing           25· · · · sure they're safe, making sure they show up,


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 13
    Appellate Case: 25-1349              Page: 2156            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 46                                                        Page 48
·1· · · · reporting to John who's there, who's not there,      ·1· · · · high school shop class teacher, but I'd have to
·2· · · · why they weren't there, stuff like that.             ·2· · · · look back at his résumé to give you those details.
·3· ·Q.· ·But Baumann was not directly tasked with             ·3· ·Q.· ·And did John Spears have a role with regard to
·4· · · · supervising employees, correct?                      ·4· · · · compliance with MSHA regulations and maintenance
·5· ·A.· ·Okay.· So give me your definition of "supervising    ·5· · · · during Baumann's employment as well?
·6· · · · employees."· I guess that would be a better          ·6· ·A.· ·Yes, just like everybody there did.
·7· · · · question.                                            ·7· ·Q.· ·And where does John Spears spend most of his day?
·8· ·Q.· ·While Rob Baumann was employed, did any -- was any   ·8· · · · Is he in an office?· Is he walking around?· Do you
·9· · · · employee at American Tripoli -- was Rob Baumann      ·9· · · · know?
10· · · · any employee's supervisor while he was employed?     10· ·A.· ·Yeah.· Again, that depends on the amount of
11· ·A.· ·As far as counseling and progression of growth and   11· · · · personnel that we have that day, and that day --
12· · · · pay, I'm not -- because there's so much that -- to   12· · · · and its operations that are happening that day.
13· · · · me, that's a wide open question because              13· · · · You know, Mr. Baumann -- or Mr. Spears may spend,
14· · · · Mr. Baumann was not, as far as pay and counseling    14· · · · you know, most of his day in the admin building,
15· · · · and mentoring -- well, even -- that's a great        15· · · · which is a separate building from the mill plant,
16· · · · example, even mentoring.                             16· · · · but if, for example, something breaks and if we
17· · · · · · ·Mr. Baumann was tasked to mentor his -- the     17· · · · needed, let's just say, a new motor replaced and
18· · · · people that worked with him to make sure things      18· · · · we don't have a maintenance guy, Mr. Spears may be
19· · · · were getting done.· So is that a manager role?       19· · · · the one that's replacing that motor.
20· · · · Yes.· Mr. Baumann did not have management            20· ·Q.· ·Does he have an office?
21· · · · experience and this tasking or training was to       21· ·A.· ·Yes, he does.
22· · · · make him a better manager so eventually he could     22· ·Q.· ·And where is that located?
23· · · · progress and become a operations manager.· That      23· ·A.· ·It's in the admin building.
24· · · · was the whole intent of hiring Mr. Baumann.          24· ·Q.· ·And is the admin building, is that connected to
25· ·Q.· ·So would you agree that every employee at American   25· · · · the mill?

                                                     Page 47                                                        Page 49
·1· · · · Tripoli has a supervisor?                            ·1· ·A.· ·No, it's probably a hundred feet, two hundred feet
·2· ·A.· ·Yes, a direct report supervisor.                     ·2· · · · from the mill.
·3· ·Q.· ·Was Rob Baumann a direct report supervisor for any   ·3· ·Q.· ·In a totally separate building?
·4· · · · employee at American Tripoli?                        ·4· ·A.· ·Yes.· It's separate, yeah.· Detached and -- yeah.
·5· ·A.· ·No.· No.                                             ·5· ·Q.· ·How much product does the mine produce in a
·6· ·Q.· ·Is one of John Spears' duties to ensure compliance   ·6· · · · typical week, would you say?
·7· · · · with MSHA regulations?                               ·7· ·A.· ·Forecasted or capability or actual?· I don't --
·8· ·A.· ·Yes.                                                 ·8· · · · because it's three different things.
·9· ·Q.· ·And does he have any duties with regard to           ·9· ·Q.· ·Actual.
10· · · · maintenance?                                         10· ·A.· ·That would -- without looking at the records, we'd
11· ·A.· ·Yes.                                                 11· · · · have to see.· I don't have that information here.
12· ·Q.· ·What would those be?                                 12· ·Q.· ·You can't -- you don't have any idea what the
13· ·A.· ·Being in the operations, we have to make sure that   13· · · · general average production is for the mine?
14· · · · it's running, and if he doesn't have a maintenance   14· ·A.· ·No, because there is --
15· · · · person there, he takes on the tasks, you know,       15· ·Q.· ·Is it --
16· · · · making sure that we get maintenance done.            16· ·A.· ·-- no average.· It varies --
17· ·Q.· ·Does he have any maintenance experience?             17· ·Q.· ·There's no average?
18· ·A.· ·Yes.                                                 18· ·A.· ·It really varies.· Yeah.· I can tell you
19· ·Q.· ·Prior to working at American Tripoli?                19· · · · forecasted, if you'd like.
20· ·A.· ·Yes.· Yeah.· He's also a --                          20· ·Q.· ·Sure.· What's the forecasted?
21· ·Q.· ·And what is that?                                    21· ·A.· ·Okay.· So we the machinery is capable of producing
22· ·A.· ·He's also a farmer.                                  22· · · · up to 100,000 pounds per day, which is 50 tons,
23· ·Q.· ·So his prior farming experience is his prior         23· · · · and we forecast for 40,000 pounds per day.
24· · · · maintenance experience?                              24· ·Q.· ·And when you say "per day," is that 24 hours or --
25· ·A.· ·I'd have to look back at -- well, he's got the       25· ·A.· ·No, that's an eight-hour shift.· Yeah.· And you


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 14
    Appellate Case: 25-1349              Page: 2157            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 50                                                        Page 52
·1· · · · got to take into consideration, even in that         ·1· · · · quarry operators or even the operations manager.
·2· · · · eight-hour shift, we give them an hour in the        ·2· · · · So that's where we get our guidance from is the
·3· · · · morning for startup and hour in the evening for      ·3· · · · experience that they've had before us.
·4· · · · shutdown.· So it's six hours of production.· And     ·4· ·Q.· ·And who are those people?
·5· · · · we --                                                ·5· ·A.· ·Randy Drake, and the other gentleman I have to
·6· ·Q.· ·How many shifts run?                                 ·6· · · · look at the documents and so I got to see who we
·7· ·A.· ·One.· And we schedule six hours of production per    ·7· · · · talk to, but Randy Drake is the main person that
·8· · · · day.· So six times six is 36,000, rounded up to      ·8· · · · we usually call when we're having issues.· He was
·9· · · · 40,000 is what we schedule for customers.            ·9· · · · a maintenance person; he was the mill manager at
10· ·Q.· ·And is that given ideal conditions that could be     10· · · · the time; he was -- he -- from what I understand,
11· · · · done?                                                11· · · · he retired from the place after being there for
12· ·A.· ·Yes, that would be -- yeah.· That would be what we   12· · · · 40-something years.· So. . . .
13· · · · are told from history with the experienced people    13· ·Q.· ·So he never worked for the company while you've
14· · · · there, experienced miners as it's called here,       14· · · · been involved in the company.
15· · · · that 6,000 pounds an hour is pretty normal.· With    15· ·A.· ·No.· No.· He retired in 2018, if I remember
16· · · · lack of experience that we had in 2022 with the      16· · · · correctly.
17· · · · high turnover employees, that is significantly       17· ·Q.· ·Is he the person that told you about the machine's
18· · · · less.· And all these other MSHA issues.              18· · · · capability?
19· ·Q.· ·Have you ever met the goal of 6,000 pounds per       19· ·A.· ·Yes.· Yes.
20· · · · hour?                                                20· ·Q.· ·And did you get any documents?
21· ·A.· ·Oh, yes.· Yeah.                                      21· ·A.· ·No.· They were terrible about any type of
22· ·Q.· ·How often?                                           22· · · · documentation.· Any type of documentation that we
23· ·A.· ·Again, that fluctuates based on temperature, based   23· · · · have provided in Teams now is either documents we
24· · · · on humidity, based on the team that's actually       24· · · · found or documents that we have generated based on
25· · · · working there and the people that are there, too.    25· · · · the information that we receive.

                                                     Page 51                                                       Page 53
·1· ·Q.· ·Does that happen over 50 percent of the time --      ·1· ·Q.· ·So this 36,000 pounds per shift is just kind of
·2· ·A.· ·Oh, yeah.                                            ·2· · · · word of mouth from former employees?
·3· ·Q.· ·-- that you reach that 6,000 goal?                   ·3· ·A.· ·No.· Mr. Drake, Randy Drake, stated that the
·4· ·A.· ·Yes.· Yeah depends on product, because we offer 13   ·4· · · · machines are -- or were capable of doing 100,000
·5· · · · different grades of product.· So -- actually 26      ·5· · · · pounds per day, that that's what they used to do
·6· · · · grades of product.· So it just depends on the        ·6· · · · previously.· So. . . .
·7· · · · product that's running, the people that are there,   ·7· ·Q.· ·And does he have any documents to prove that?
·8· · · · air temperature, density, and the temperature of     ·8· ·A.· ·I would assume that there are production schedules
·9· · · · the material, which they --                          ·9· · · · and stuff like that way back.· His company was
10· ·Q.· ·Are those things --                                  10· · · · terrible about documenting processes and I don't
11· ·A.· ·I'm sorry.· Go ahead.                                11· · · · have those, no.
12· ·Q.· ·Are those things factored into the goals that you    12· ·Q.· ·And you never saw them?
13· · · · set?                                                 13· ·A.· ·No.· No.
14· ·A.· ·Yes.                                                 14· ·Q.· ·So you're just basing that 100K off of what you
15· ·Q.· ·So the goal wouldn't always be 36,000 per shift      15· · · · were told from Mr. Drake?
16· · · · because the temperature might be different, the      16· ·A.· ·Yes.· That's correct.· And the last mill manager,
17· · · · product might be different; is that correct?         17· · · · Doug Kohler.· These were a lot of his notes when
18· ·A.· ·Yes.· The biggest thing -- the biggest hurdle that   18· · · · we were -- freshly after acquiring the business,
19· · · · we've had other than MSHA in 2023 is experience,     19· · · · getting all the information, pulling it out of his
20· · · · because we have employees -- or retired employees    20· · · · head before he retired.
21· · · · from American Tripoli that assist us as we need      21· ·Q.· ·And then have you ever experienced these
22· · · · it.· We'd call them and they would tell us           22· · · · production levels, like, of 100K per day --
23· · · · different things and that's where we're getting      23· ·A.· ·Oh, no.
24· · · · our guidelines from is based on those gentlemen      24· ·Q.· ·-- while you've been with the company?
25· · · · that have been maintenance or mill operators or      25· ·A.· ·No.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 15
    Appellate Case: 25-1349              Page: 2158            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 54                                                         Page 56
·1· ·Q.· ·And what's the most you've ever seen produced with   ·1· · · · is, and we weren't getting anybody that was
·2· · · · the --                                               ·2· · · · qualified at all.· We actually went to an
·3· ·A.· ·If I remember correctly, our largest amount per      ·3· · · · employment agency.· They gave us the -- I can't
·4· · · · day is 62,000 pounds.· So we know the machines are   ·4· · · · remember his name.· Joe was the last maintenance
·5· · · · capable of doing it; it just has to do with          ·5· · · · person that we had.· And, yeah, maintenance has
·6· · · · people, timing, weather, humidity.                   ·6· · · · been the Achille's heel so far.
·7· ·Q.· ·And was that on an eight-hour-shift day or was       ·7· ·Q.· ·So you really need, like, a good qualified
·8· · · · that a day you were running more than one shift?     ·8· · · · maintenance person --
·9· ·A.· ·No, that was a -- if I remember right, it was just   ·9· ·A.· ·Oh, yes.
10· · · · a normal six-hour -- eight-hour shift but six-hour   10· ·Q.· ·-- to get your production goals met, too?
11· · · · production.· Mm-hmm.                                 11· ·A.· ·Yes.· Yeah.
12· ·Q.· ·And so it sounds like there's a lot of factors       12· ·Q.· ·And have you ever had a really good maintenance
13· · · · kind of outside of your control--like the weather,   13· · · · person in the time you've owned -- since you've
14· · · · the humidity--that can affect production even if     14· · · · owned the company?
15· · · · everything else is going perfectly, correct?         15· ·A.· ·No.· No.· It's something in the area, as far as we
16· ·A.· ·That is correct.· Just like last week with the       16· · · · understand, because we're not --
17· · · · temperatures dropping below 35 degrees in air        17· ·Q.· ·If the mine is --
18· · · · temperature, we had to shut down.· We can't          18· ·A.· ·Sorry.
19· · · · produce when the temperature drops below 35          19· ·Q.· ·Go ahead.
20· · · · degrees.                                             20· · · · · · ·If the mine's down for a day for maintenance
21· · · · · · ·We also have to monitor the air humidity        21· · · · or some other reason, how much money does that
22· · · · because on heavy humidity days we have to apply      22· · · · cost the mine, like, for a day of missed
23· · · · more heat to dry the material.                       23· · · · production?
24· · · · · · ·So, yes, there are a lot of factors that we     24· ·A.· ·So, on average, if I'm not mistaken, I do believe
25· · · · can't control that affect the production.            25· · · · that the daily -- or the monthly operations

                                                    Page 55                                                        Page 57
·1· ·Q.· ·Is there, like, a heat that you can't -- like, you   ·1· · · · expenses are 140,000 -- thousand.· I'd have to
·2· · · · know, if it's a 100-degree day, does that affect     ·2· · · · look back.· Somewhere between 120-, and $140,000.
·3· · · · it, or no?                                           ·3· · · · So any time -- if you basically divide that by 20,
·4· ·A.· ·No.· The heat days are actually -- spring, summer,   ·4· · · · that'll tell you how much our operations daily
·5· · · · early fall is really our best manufacturing days.    ·5· · · · cost because we have, you know, fuel, insurance,
·6· ·Q.· ·And when you say what you forecast, do you have      ·6· · · · all the stuff that's normal in a manufacturing
·7· · · · any -- is that different from any sort of, like,     ·7· · · · plant.
·8· · · · goal that you have set for production?· Do you       ·8· ·Q.· ·Do you -- is having enough raw material ever an
·9· · · · have any sort of goals, or is that what you mean     ·9· · · · issue in production?
10· · · · by forecasting?                                      10· ·A.· ·No.· Mr. Drake -- Randy -- excuse me, Max Drake
11· ·A.· ·Right.· So it is based on demand.· We forecast       11· · · · operates the heavy equipment out in the quarry and
12· · · · 40,000 pounds per day.· That way -- that way we      12· · · · he worked for American Tripoli 20, 30 years before
13· · · · can give our customers a production schedule of      13· · · · he came back and worked for us as a contractor.
14· · · · when it's supposed to happen, but we do share with   14· · · · So he manages that whole department and need
15· · · · them that if something breaks, the production        15· · · · without any problems.
16· · · · schedule gets pushed back and so does their order.   16· ·Q.· ·So raw material isn't the holdup ever on
17· ·Q.· ·So production can be affected by, like,              17· · · · production issues?
18· · · · maintenance issues, too.                             18· ·A.· ·No.· No, ma'am.
19· ·A.· ·Oh, yes.· Yes.· Which maintenance --                 19· ·Q.· ·Okay.
20· ·Q.· ·How often do those occur?                            20· ·A.· ·Our holdup is always experience and maintenance.
21· ·A.· ·Yeah, maintenance issues is our biggest problem,     21· · · · · · ·MS. O'REILLY:· Okay.· I'm going to share
22· · · · probably going where your question is, and getting   22· · · · my screen with you to show you an exhibit
23· · · · experienced maintenance personnel is very            23· · · · that I've pre-marked as Exhibit 1.
24· · · · difficult.· We've had a maintenance position open    24· · · · · · ·I'm going to do that right now.· Let me
25· · · · for the last four and a half months, I think it      25· · · · pull that up.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 16
    Appellate Case: 25-1349              Page: 2159            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 58                                                        Page 60
·1· · · · · · ·(Exhibit No. 1 marked for identification.)      ·1· · · · was not IT-savvy so we really had to struggle with
·2· ·Q.· ·(By Ms. O'Reilly)· And I'm going to let you have     ·2· · · · him to get the data in there.· Even Mr. Hoover was
·3· · · · control over this so you can scroll through it if    ·3· · · · not and is not computer-savvy.· So it was probably
·4· · · · you want.· Let me see if I can do that.· So if you   ·4· · · · a mistake, because it's probably 80 -- like on
·5· · · · want to scroll through that, you can, but I've       ·5· · · · 28 January, 80,000, we know that's not true.· It's
·6· · · · marked this document as Exhibit 1, and once you've   ·6· · · · probably 8,000.· I don't know where 800 -- 80,000
·7· · · · had a chance to look through it, just let me know.   ·7· · · · came from.
·8· ·A.· ·Is this the response?· Yeah.· Okay.                  ·8· ·Q.· ·Okay.
·9· ·Q.· ·Okay.· So do you know what this document is?         ·9· ·A.· ·And then on March 1st, it was probably 10,000 and
10· ·A.· ·Yeah.· It's the answer for productions of            10· · · · then something broke, like during the production
11· · · · documents.                                           11· · · · time something broke and they had to replace a
12· ·Q.· ·Okay.· And who prepared this document?               12· · · · motor or a bearing or something, and then after
13· ·A.· ·Myself.                                              13· · · · they got it fixed, they started a new line showing
14· ·Q.· ·And, starting on page 4, if you can go to page 4     14· · · · that they started more after that.· Yeah.
15· · · · of the PDF, it's -- it lists, like, a date in one    15· ·Q.· ·So would that be, like, March 1st would that --
16· · · · column and then pounds produced in another column.   16· ·A.· ·36,000 --
17· ·A.· ·Yes, ma'am.                                          17· ·Q.· ·-- you're adding those numbers together?
18· ·Q.· ·Do you see that?                                     18· ·A.· ·Yes, ma'am.· Yeah.
19· ·A.· ·Mm-hmm.· Yes, ma'am.                                 19· ·Q.· ·Okay.· And so would you agree that this document
20· ·Q.· ·Did you compile this data?                           20· · · · is a true and accurate copy of the document that
21· ·A.· ·What do you mean by "compiled"?                      21· · · · you prepared containing these production records
22· ·Q.· ·Well, you put -- somebody put this data into this    22· · · · for January 1st of 2022 through January 1st of
23· · · · document, correct?                                   23· · · · 2023?
24· ·A.· ·Yeah.· Okay.· So these -- we have a daily            24· ·A.· ·Can you repeat that question?
25· · · · production spreadsheet, and that -- that's where     25· ·Q.· ·Yeah.· Would you agree that this is a true and

                                                     Page 59                                                        Page 61
·1· · · · this information came from.                          ·1· · · · accurate copy of the document you prepared
·2· ·Q.· ·So you took information from the daily production    ·2· · · · containing --
·3· · · · spreadsheet and put it into this document.           ·3· ·A.· ·Oh.
·4· ·A.· ·Yes.· The --                                         ·4· ·Q.· ·-- the production records from January 1, 2022,
·5· ·Q.· ·Okay.                                                ·5· · · · through January 1, 2023?
·6· ·A.· ·-- shift lead is the one that puts the information   ·6· ·A.· ·Yes, with --
·7· · · · in the spreadsheet.                                  ·7· ·Q.· ·Okay.
·8· ·Q.· ·Okay.· But you took the information from the         ·8· ·A.· ·-- obviously some mistakes noted in there, but,
·9· · · · spreadsheet to this document to respond to the       ·9· · · · yes.· Yeah, it's just the exact -- whatever they
10· · · · discovery, correct?                                  10· · · · had.· Yeah.
11· ·A.· ·Yes.· Mm-hmm.                                        11· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop
12· ·Q.· ·Okay.· And what does "pounds produced" mean?         12· · · · sharing this document.
13· ·A.· ·That's how much they produced in that -- on that     13· · · · · · ·Okay.· And I'm going to show you another
14· · · · day.· So, for example, in January 24th, 2022, they   14· · · · document which I'm going to -- which I've marked
15· · · · produced 16,500 pounds.                              15· · · · as Exhibit 2.
16· ·Q.· ·Okay.                                                16· · · · · · ·(Exhibit No. 2 marked for identification.)
17· ·A.· ·Yeah.                                                17· ·Q.· ·(By Ms. O'Reilly)· I'm going to give you control
18· ·Q.· ·And then on, like, January 27th, you see that        18· · · · over this document, too, if you want to look at
19· · · · there's two numbers?· What would that mean?          19· · · · it.
20· ·A.· ·I don't know.· I'd have to -- let's see here.        20· · · · · · ·And do you -- do you know what that document
21· ·Q.· ·And again you can see that on March 1st.             21· · · · is?
22· ·A.· ·March 1st.· It may have been where they stopped      22· ·A.· ·Yeah.· That's the production report.· Looks like
23· · · · production.· Well, first answer, 27 January,         23· · · · it.
24· · · · that's probably a typo.· Again, depending on who     24· ·Q.· ·Is this the date -- go ahead.
25· · · · was inputting the data -- for example, Mr. Baumann   25· ·A.· ·Looks like it's the production report from


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 17
    Appellate Case: 25-1349              Page: 2160            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 62                                                         Page 64
·1· · · · 2022/11/1 through 2023/3/31.                         ·1· ·their production schedule, they're instructed to
·2· ·Q.· ·And is this the daily production spreadsheet you     ·2· ·fill this out so that, you know, the operations
·3· · · · were talking about when we were talking about        ·3· ·side will know what's going on, and then how they
·4· · · · Exhibit 1?                                           ·4· ·can explain to the customers why their order got
·5· ·A.· ·Yeah, I would assume.                                ·5· ·delayed, and then I assume that is Column T on the
·6· ·Q.· ·Okay.· Is this -- what is this document used for?    ·6· ·far right.· Those are for any notes that are
·7· ·A.· ·This is where the shift lead inputs the data for     ·7· ·added.
·8· · · · what is going on that day.                           ·8· · · · So during the normal production, if something
·9· ·Q.· ·And is this maintained, like, on American            ·9· ·was to break, just like we talked about earlier,
10· · · · Tripoli's computer system and the employees go       10· ·they would add a second line.· So if they ran from
11· · · · into that and input the data in here?                11· ·9:00 a.m. to noon and then something broke at
12· ·A.· ·They can access it.· If they've got Teams on their   12· ·noon, they shut down for an hour, two
13· · · · phone or -- you know, they can access it from        13· ·hours--60 minutes is always the guideline that
14· · · · anywhere.· Yeah.                                     14· ·they have--they would start a new line on the same
15· ·Q.· ·Okay.                                                15· ·day and then continue on.
16· ·A.· ·It's in Teams.                                       16· · · · As you can see here on 11/3, they went
17· ·Q.· ·So they can input data in here via Teams?            17· ·through -- "from stock" means that they were
18· ·A.· ·Yes.                                                 18· ·putting it into inventory, the 100-pound bags,
19· ·Q.· ·Okay.                                                19· ·then they started working on SO-268 from that
20· ·A.· ·Yeah.· There were numerous times where we had        20· ·time.· Yeah.
21· · · · to -- I had to work with Mr. Baumann to get data     21· · · · Let's see here.· Since it's the same,
22· · · · input in this because he couldn't figure out how     22· ·without -- oh.· Okay.· Back in those -- back in
23· · · · to do it while he was --                             23· ·11/3 of 2022 there was actually two shifts.· We
24· ·Q.· ·And did he have -- go ahead.                         24· ·tried to do that as well.· That didn't work out.
25· ·A.· ·Sorry.                                               25· ·So the first shift did the first three lines and

                                                    Page 63                                                         Page 65
·1· ·Q.· ·Did he have a computer to input data on?             ·1· · · · the second shift did the bottom two lines.
·2· ·A.· ·Yes.· Mm-hmm.· Yeah, there's a computer in the       ·2· ·Q.· ·Okay.· So there was a time period when you were
·3· · · · control room.                                        ·3· · · · doing two shifts.
·4· ·Q.· ·And what is the expectation for filling in this      ·4· ·A.· ·Yeah, we tried that.· Yeah.· Couldn't get people
·5· · · · data?· Is this, like, something that's filled in     ·5· · · · to work.
·6· · · · daily --                                             ·6· ·Q.· ·And what were those shift times?
·7· ·A.· ·Yes.                                                 ·7· ·A.· ·If I remember correctly, it was 8:00 to 4:30 and
·8· ·Q.· ·-- during the same day that it occurred?             ·8· · · · then 4:00 to midnight or -- I think it was --
·9· ·A.· ·Yes.· Part of the normal procedures is they start    ·9· · · · whatever that next shift was.
10· · · · their production; date; orders that they're          10· ·Q.· ·Okay.
11· · · · working on based off the production calendar;        11· ·A.· ·Yeah.
12· · · · logically, if they've finished the production or     12· ·Q.· ·Okay.
13· · · · not; start time; end time; customer name based off   13· ·A.· ·It was two eight-hour shifts.
14· · · · the production schedule; material that they're       14· ·Q.· ·Okay.· And did you pull this document from
15· · · · producing; bags -- size that they're using off the   15· · · · American Tripoli, what -- I guess it would have
16· · · · production schedule; the number of bags that were    16· · · · come from the Teams database?· Is that where that
17· · · · made; the number of pounds that were made per that   17· · · · came from?
18· · · · one order; and if there were any number of bags      18· ·A.· ·Yes.· Yes.
19· · · · ripped; the pallet type, since we do export, they    19· ·Q.· ·Okay.· And would you agree, is this a true and
20· · · · have different types; any types of pallets that      20· · · · accurate copy of the production report for
21· · · · were broken or trashed to keep accountability; the   21· · · · November 1 of 2022 through March 31 of 2023?
22· · · · slip sheet that was used; and then the number of     22· ·A.· ·Yeah.· That's what they put in there, yes.
23· · · · slip sheets.                                         23· ·Q.· ·Okay.· Do you have any sort of regularly scheduled
24· · · · · · ·And then Column S is the major down time        24· · · · meetings or phone calls with any of the employees
25· · · · events.· So if there's anything that breaks during   25· · · · at American Tripoli?


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 18
    Appellate Case: 25-1349              Page: 2161            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                     Page 66                                                       Page 68
·1· ·A.· ·Mr. Spears, we have a end-of-week closeout           ·1· · · · Microsoft.
·2· · · · meeting.· That's every Friday.· I think it           ·2· ·Q.· ·But they can't continue to -- they can't continue
·3· · · · actually used to be Monday but it's every Friday     ·3· · · · to, like, participate in the mill group chat.
·4· · · · now.                                                 ·4· ·A.· ·No, no, no.· No.
·5· ·Q.· ·And what does that entail?                           ·5· ·Q.· ·Like you remove them from that.
·6· ·A.· ·It's a closeout of the week.· Basically the          ·6· ·A.· ·Right.
·7· · · · production schedule -- I don't have my notes here.   ·7· ·Q.· ·Okay.· So it's safe to say that the Teams messages
·8· · · · I normally have that documented down.· Basically     ·8· · · · that we've received are all messages by and among
·9· · · · just what's happening during the week; is there      ·9· · · · employees, contractors or owners of American
10· · · · any issues that we need to be -- you know,           10· · · · Tripoli about American Tripoli and the work
11· · · · address, brought forward, discussed; any, you        11· · · · they're doing there.
12· · · · know -- yeah.· That's really it, just operations.    12· ·A.· ·Yes.· Yes.
13· ·Q.· ·And who attends that meeting?                        13· ·Q.· ·Okay.
14· ·A.· ·Jordan, John and myself, and sometimes the           14· ·A.· ·Now, we do have a chat group that's public -- not
15· · · · bookkeeper, just depends on what's being             15· · · · public.· It's -- I think we call it -- I don't
16· · · · discussed.                                           16· · · · even know what they call it.· No one really uses
17· ·Q.· ·And how long have you been having those meetings?    17· · · · it, but certain people have over time.· It's just
18· ·A.· ·I would assume that right after we acquired the      18· · · · a open chat that's not business related.· They can
19· · · · business, so -- that's been once a week.             19· · · · really talk about anything.· I think Mr. Spears
20· ·Q.· ·Has anyone else ever been involved in those          20· · · · talks about barbecuing and fishing and just
21· · · · meetings?                                            21· · · · generic stuff that's not business related, but
22· ·A.· ·As far as the operations meeting, the weekly         22· · · · it's still controlled by --
23· · · · operations meeting?· Is that what you mean?          23· ·Q.· ·And what's --
24· ·Q.· ·This closeout meeting that you're talking about.     24· ·A.· ·I'm sorry.
25· ·A.· ·No.· No.· It's just the operations manager and us.   25· ·Q.· ·And what's that chat called?

                                                    Page 67                                                         Page 69
·1· · · · Like I said, occasionally, depending on what's       ·1· ·A.· ·I'd have to look at it, to be honest with you.· We
·2· · · · needed, the bookkeeper might be.· That's about it.   ·2· · · · don't use it so it's -- you know, it's for them to
·3· ·Q.· ·Oh, right.· Yeah.· Are there any other sort of       ·3· · · · chat in there, you know.
·4· · · · regularly scheduled calls or meetings with the       ·4· ·Q.· ·Okay.· So it's an employee chat that you don't
·5· · · · employees at American Tripoli?                       ·5· · · · participate in.
·6· ·A.· ·Not scheduled calls, no.                             ·6· ·A.· ·Yeah.· I mean, it's -- I see it but I -- it's not,
·7· ·Q.· ·In this case, you've produced various Teams chats.   ·7· · · · you know -- if there's something that comes across
·8· · · · And would those all be Teams chats among American    ·8· · · · like, oh, for MSHA -- MSHA -- what do they call
·9· · · · Tripoli employees and then, you know, Jordan and     ·9· · · · those newsletters?· Fatal reports, or whatever.
10· · · · yourself as owners?                                  10· · · · If we get those, we'll share that.· Hey, guys, be
11· ·A.· ·Yes.                                                 11· · · · safe, whatever, this happened, just so they know.
12· ·Q.· ·No one but employees would have access to that?      12· ·Q.· ·Okay.
13· ·A.· ·The contractors would.                               13· ·A.· ·Just -- that's the type of thing.
14· ·Q.· ·Okay.· So people who work for American Tripoli,      14· ·Q.· ·Okay.· But you're not sure what the name of that
15· · · · either as a contractor or employee or an owner, I    15· · · · chat is?
16· · · · guess --                                             16· ·A.· ·Say that one more time.
17· ·A.· ·Yes.                                                 17· ·Q.· ·But you're not sure what the name of that chat is,
18· ·Q.· ·-- have access to those?                             18· · · · that group?
19· ·A.· ·Yes.                                                 19· ·A.· ·No.· I'd have to look at it again.
20· ·Q.· ·And if somebody's no longer an employee, they        20· · · · · · ·MS. O'REILLY:· Okay.· We've been going
21· · · · wouldn't still have access to those Teams chats?     21· · · · for about an hour and a half so I'm going to
22· ·A.· ·As far as I understand, the Teams that they have     22· · · · say let's take, like, a 15-minute break.· Is
23· · · · when they -- their license gets terminated or        23· · · · that okay with everybody?· And then we can
24· · · · whatever, they have access to those Teams chats,     24· · · · get back on in about 15 minutes?· So 10:40
25· · · · as far as I know.· That's what I was told by         25· · · · Central time?· I don't know if you're in


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 19
    Appellate Case: 25-1349              Page: 2162            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 70                                                         Page 72
·1· · · · Eastern time.· So 11:40 Eastern?· Is that            ·1· ·A.· ·Okay.
·2· · · · okay?                                                ·2· ·Q.· ·You agree with that?
·3· · · · · · ·THE WITNESS:· Yeah.                             ·3· ·A.· ·Yes.
·4· · · · · · ·MS. O'REILLY:· We'll go off the record          ·4· ·Q.· ·Okay.· And how did you create this document?
·5· · · · and we'll come back in 15 minutes, then.             ·5· ·A.· ·Searching for the words "Baumann" or "Rob" in
·6· · · · · · ·THE WITNESS:· Okay.· Thank you.                 ·6· · · · Teams, setting the parameters June 1st, 2022,
·7· · · · · · ·MS. O'REILLY:· Thank you.                       ·7· · · · through April 30th, and then if there was anything
·8· · · · · · ·MS. SMITH:· And then I would suggest            ·8· · · · that came up like it shows here, I highlighted,
·9· · · · don't leave the Zoom.· You can just mute and         ·9· · · · copied/paste, copied/paste, all 467 pages, Laura.
10· · · · stop sharing your video.· That will just keep        10· · · · Yeah.· It's crazy.
11· · · · the -- it'll be easier to reconnect, I think.        11· ·Q.· ·So you copied and paste that from Microsoft Teams?
12· · · · · · ·THE WITNESS:· Okay.                             12· ·A.· ·Yes, ma'am.
13· · · · · · ·(A recess was taken from 10:24 a.m. until       13· ·Q.· ·Okay.· So all of these things that show up as
14· · · · 10:40 a.m.)                                          14· · · · these kind of chat boxes, those came directly from
15· · · · · · ·MS. O'REILLY:· I'm going to pull up             15· · · · Microsoft Teams?
16· · · · another exhibit that I've marked as Exhibit          16· ·A.· ·Correct.
17· · · · Number 3.                                            17· ·Q.· ·Okay.· And it looks like this first part is a
18· · · · · · ·(Exhibit No. 3 marked for identification.)      18· · · · request for Teams chat with the words "Baumann" or
19· ·BY MS. O'REILLY:                                          19· · · · "Rob" from June 1st, 2022, through April 30, 2023.
20· ·Q.· ·I'm going to let you have control over this          20· · · · Would you agree that you conducted that search and
21· · · · document, too, if you want to take a look at it.     21· · · · provided all such documents in response to that?
22· ·A.· ·Okay.                                                22· ·A.· ·Well, what do you mean by "all documents"?
23· ·Q.· ·Okay.· Do you know what this document is?            23· ·Q.· ·Yeah.· That's the wrong word.· Would you agree
24· ·A.· ·Looks like you'd requested 30 November '20 email     24· · · · that you provided all the Teams chats that hit
25· · · · request, or should I say search for all terms for    25· · · · with the words "Baumann" or "Rob" from June 1 --

                                                     Page 71                                                        Page 73
·1· · · · Baumann or Rob from June 1.· Yeah, just what it      ·1· ·A.· ·Yeah.
·2· · · · states.                                              ·2· ·Q.· ·-- 2022 through April 30th, 2023?
·3· ·Q.· ·Okay.· Have you seen this document before?           ·3· ·A.· ·Yes.
·4· ·A.· ·I don't remember it but I'm sure I have.             ·4· ·Q.· ·Okay.· And then I believe, if we scroll down, you
·5· ·Q.· ·Would you have provided this document, created it?   ·5· · · · know, there were several messages with those hits,
·6· ·A.· ·If you requested it, yes, I would have.· I'll go     ·6· · · · and then there was a separate request in here for
·7· · · · ahead and say that.· But I don't remember it, is     ·7· · · · Teams chats with specific topics from specific
·8· · · · what I'm saying.                                     ·8· · · · days.
·9· ·Q.· ·And if you see, it's more than just this page.· If   ·9· ·A.· ·Mm-hmm.
10· · · · you want to scroll it, feel free.· It's like 467     10· ·Q.· ·Do you see that on page 435 here?
11· · · · pages, I believe --                                  11· ·A.· ·Yes.
12· ·A.· ·Oh.· Oh.                                             12· ·Q.· ·And then I'll just go, like, 436, there's a
13· ·Q.· ·-- of different chats.                               13· · · · separate one.· Do you recall kind of this process
14· ·A.· ·Okay.· Okay.· Yeah.                                  14· · · · and doing this?
15· ·Q.· ·So do you recall this document?                      15· ·A.· ·Yeah.· I remember searching for what you asked
16· ·A.· ·I remember sending you a large document but I        16· · · · for, yes.
17· · · · don't remember the document itself.· Yes.            17· ·Q.· ·Okay.· And so is it fair to say that anything --
18· ·Q.· ·Okay.· Does this appear to be that document?         18· · · · any Teams chat that had a hit with any of these
19· ·A.· ·This one page could be part of that document, yes.   19· · · · words, for example, on page 436 from July 27,
20· ·Q.· ·Okay.· Well, feel free to scroll through them all    20· · · · 2022, you put in here, and it looks like that --
21· · · · because I'd like an answer to that question.         21· · · · in this instance there were none, correct?
22· ·A.· ·Yeah.· Like I said, I -- if it's a document that     22· ·A.· ·Yes, and this one right here, as the results
23· · · · came from me, then, yes, I'm the one that put it     23· · · · showed, we couldn't find any results for the key
24· · · · together and sent it to you, yes.                    24· · · · words that you were looking for.
25· ·Q.· ·As part of discovery in this case?                   25· ·Q.· ·Okay.· And you did -- and you personally did these


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 20
    Appellate Case: 25-1349              Page: 2163            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                     Page 74                                                       Page 76
·1· · · · searches, correct?                                   ·1· · · · copy of those Teams chats that you pulled and
·2· ·A.· ·I did.                                               ·2· · · · created to respond to these discovery requests?
·3· ·Q.· ·Okay.· And could there be other Teams messages       ·3· ·A.· ·Can you put that in non-lawyer terms?· Does
·4· · · · between and among American Tripoli employees that    ·4· · · · this --
·5· · · · would have had these words on this date, or are      ·5· ·Q.· ·Is this an accurate copy of the -- of the Teams
·6· · · · you able -- or were you able to search through all   ·6· · · · chats that you pulled --
·7· · · · the Teams messages, I guess?                         ·7· ·A.· ·Yes.
·8· ·A.· ·Again, Teams that I belong to, they should show up   ·8· ·Q.· ·-- and the document you created to respond to
·9· · · · here, yes.                                           ·9· · · · these discovery questions?
10· ·Q.· ·And would it also show any, like, direct messages    10· ·A.· ·Yes.· Yeah.
11· · · · you have?· Like, I know there's Teams Groups, but,   11· ·Q.· ·Okay.· And I think we've already kind of discussed
12· · · · like, if one employee just messaged you outside of   12· · · · this, but using Teams was a regular part of the
13· · · · a group, would that have been captured in the        13· · · · business at American Tripoli, correct?
14· · · · search?                                              14· ·A.· ·Is it a regular part of business?· Yes.· Can't
15· ·A.· ·As far as I understand in the search, yes.           15· · · · force them to use it but we try training them to
16· · · · Because it picks up the key words that you put in    16· · · · use it.
17· · · · the search box.                                      17· ·Q.· ·And you use Teams to kind of keep in regular and
18· ·Q.· ·Okay.                                                18· · · · frequent kind of communication with employees; is
19· ·A.· ·Yeah.                                                19· · · · that correct?
20· ·Q.· ·And so you were part -- if you were a part of a      20· ·A.· ·It's more for internal communications amongst
21· · · · message or a group and it had these words, it        21· · · · themselves to collaborate and communicate so that
22· · · · would have shown up.                                 22· · · · part of their progression path, like we talked
23· ·A.· ·Correct.                                             23· · · · about, they can communicate with the quarry, or if
24· ·Q.· ·Okay.                                                24· · · · somebody's going to do a parts run, they can
25· ·A.· ·Goes back to that question that you had asked        25· · · · always be communicating without having a separate

                                                    Page 75                                                         Page 77
·1· · · · about giving you access to -- or somebody else's     ·1· · · · tool, is the purpose.· Yes.
·2· · · · Team chat or whatever, Microsoft support states      ·2· ·Q.· ·And these messages are usually sent kind of in
·3· · · · that we can't do that.· I don't I don't have         ·3· · · · real time.· If somebody has a problem, they're
·4· · · · access to those.· So I couldn't --                   ·4· · · · going to send a message, you know, about that as
·5· ·Q.· ·So if --                                             ·5· · · · that kind of is going on; is that true?
·6· ·A.· ·I couldn't go in --                                  ·6· ·A.· ·That's not necessarily a hundred percent accurate
·7· ·Q.· ·If there was a message --                            ·7· · · · because there are times where Microsoft Teams is
·8· ·A.· ·-- chat, yeah.                                       ·8· · · · down, you know, and it may -- may be minutes, it
·9· ·Q.· ·So if there was a message between, like, Rob and     ·9· · · · may be hours.· That has happened, yes.· So it's
10· · · · another employee, just those two, you wouldn't       10· · · · not instant always.
11· · · · have access to that.                                 11· ·Q.· ·Okay.· But other than, like --
12· ·A.· ·I would not.                                         12· ·A.· ·Yeah, I wouldn't use it as an emergency tool --
13· ·Q.· ·Okay.· You would have to have been involved.         13· ·Q.· ·Right.
14· ·A.· ·Yeah.· According to Microsoft, I would not have      14· ·A.· ·-- and that is part of our thing.· If there's an
15· · · · access.                                              15· · · · emergency, don't rely on Teams.· Call that person.
16· ·Q.· ·And that's your understanding from the searches      16· ·Q.· ·Right.
17· · · · you did, too, correct?                               17· ·A.· ·That's -- we have to share knowledge, yes.
18· ·A.· ·That is correct.                                     18· ·Q.· ·And you keep track of these messages.· It's like a
19· ·Q.· ·Okay.                                                19· · · · regular practice to keep -- just keep these
20· ·A.· ·Because I tried to do what you asked and I had to    20· · · · records.· These records are maintained on the --
21· · · · get Microsoft support to help with that and they     21· · · · whatever, Microsoft Teams database?
22· · · · said I can't do that.· And that was the message      22· ·A.· ·I don't -- no, we don't keep track of them.
23· · · · I -- back to you.                                    23· ·Q.· ·They're maintained.· Like, you were able to search
24· ·Q.· ·Okay.· And is this document here in Exhibit 3, you   24· · · · back to August of 2022.· You keep those records.
25· · · · know, all the pages as well, a true and accurate     25· ·A.· ·I don't know what the -- not the -- whatever --


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 21
    Appellate Case: 25-1349              Page: 2164            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 78                                                        Page 80
·1· · · · retention.· I don't know what the retention date     ·1· ·Q.· ·Okay.
·2· · · · is, or recycle or whatever.                          ·2· ·A.· ·Josh Townsend, being the safety person, he would
·3· ·Q.· ·Okay.                                                ·3· · · · be in there.
·4· ·A.· ·It might be a year.· I don't -- I don't know.        ·4· ·Q.· ·And would John be in that one, too?
·5· ·Q.· ·Okay.· I'm going to -- I just have a couple          ·5· ·A.· ·Yes.
·6· · · · questions about some of these groups so I'm going    ·6· ·Q.· ·And it looks like Baumann was in that one when he
·7· · · · to go to page 15 of this Exhibit 3.· If you see      ·7· · · · was --
·8· · · · here at the top, it says AT MO dash mill             ·8· ·A.· ·Yes.
·9· · · · management.· Do you see that?                        ·9· ·Q.· ·-- employed because I see a message from him?
10· ·A.· ·Yes.                                                 10· · · · Okay.· Okay.
11· ·Q.· ·Who was in that group?· It says you -- and then      11· · · · · · ·And let me see.· Who's Brian?· I see a Brian
12· · · · "you" would be you, Russell Tidaback, correct?       12· · · · in here.
13· ·A.· ·Yeah.· Yep, because I did the search.· Don, John.    13· ·A.· ·Brian is one of our mill associates.
14· · · · Let's see here.· Currently it would probably be,     14· ·Q.· ·Okay.· And he's still an employee?
15· · · · let's see, Don, John, mill management, Jordan.       15· ·A.· ·Yes.· Yeah.
16· · · · Oh, and Josh Townsend.· That's who that shows.       16· ·Q.· ·Okay.
17· ·Q.· ·And it looks like it says 3/30 but it doesn't have   17· ·A.· ·As far as I know.
18· · · · a year.· Would that be 3/30/23 because you did the   18· ·Q.· ·I'm going to go to page 17 and just ask about
19· · · · search in 2023?                                      19· · · · another group.· I see an AT MO maintenance group.
20· ·A.· ·Yeah, I'd have to go back look at the search         20· · · · Do you know who is in that?· It says you, Don,
21· · · · criteria.· Can -- do you want me to scroll up?       21· · · · Joe, plus three.· So you again is you, Russell
22· ·Q.· ·Yeah.· It's page 1.                                  22· · · · Tidaback.· Don I imagine is Don Hale?
23· ·A.· ·Yeah.· So that would be the dates that these         23· ·A.· ·Joe is the maintenance guy, the contractor we had
24· · · · search criteria was, yes.                            24· · · · from the employment agency.· I don't -- I haven't
25· ·Q.· ·Got it.· Okay.· That makes sense.· So when it        25· · · · looked at the name.· And then most likely John,

                                                    Page 79                                                        Page 81
·1· · · · doesn't have the year here, like 4/9 it would be     ·1· · · · Don -- or Joshua and Jordan.
·2· · · · 4/9/23 because that was the only April included in   ·2· ·Q.· ·Okay.· And at this time it looks like maybe
·3· · · · that --                                              ·3· · · · Baumann and Jessie Molesi were in that?
·4· ·A.· ·Yes.                                                 ·4· ·A.· ·Yes, Jessie Molesi was our safety and health
·5· ·Q.· ·-- criteria.                                         ·5· · · · person at one time, and then Rob being the shift
·6· · · · · · ·Got it.· Okay.                                  ·6· · · · lead.
·7· · · · · · ·I guess here on page 5, there's another chat    ·7· ·Q.· ·So he would have been in the maintenance group,
·8· · · · that says "mill group chat."                         ·8· · · · then, too --
·9· ·A.· ·Yes.                                                 ·9· ·A.· ·Yes.
10· ·Q.· ·Who would --                                         10· ·Q.· ·-- at this time?
11· ·A.· ·That would be -- that would be everybody in the      11· ·A.· ·Yeah.· Because he would have communicated with the
12· · · · mill.· So that would be --                           12· · · · maintenance team about, hey, this is not working
13· ·Q.· ·Okay.                                                13· · · · right, we need to come look at this, or this needs
14· ·A.· ·Actually that would be everybody that's -- that      14· · · · to be replaced, or whatever.
15· · · · wouldn't be Max because he's out in the quarry.      15· ·Q.· ·So Baumann didn't do the actual maintenance work,
16· · · · That wouldn't be the -- you know, the bookkeeper.    16· · · · but if he noticed an issue, he was supposed to
17· · · · That's just strictly for the mill operations.        17· · · · communicate that to maintenance people?
18· ·Q.· ·Okay.· So that would be, like, the mill              18· ·A.· ·Yes, because maintenance is on another floor.
19· · · · associates, and then you would be in it, and would   19· · · · They're on the first floor.· Baumann or the
20· · · · Jordan also be in that one?                          20· · · · production floor is on the second floor.
21· ·A.· ·Yes.· Well, there are certain groups that she        21· ·Q.· ·Okay.· And a Jessie Molesi, was he considered to
22· · · · doesn't belong to.                                   22· · · · be in management --
23· ·Q.· ·Okay.                                                23· ·A.· ·No.
24· ·A.· ·She volunteers, backs out, whatever, and then        24· ·Q.· ·-- at the company when he was employed?
25· · · · Josh --                                              25· ·A.· ·He's safety, environmental health.· He is what


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 22
    Appellate Case: 25-1349              Page: 2165            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 82                                                        Page 84
·1· · · · Joshua Townsend is today.                            ·1· · · · and then two others.· Do you know who the two
·2· ·Q.· ·And what were Jessie's job duties?                   ·2· · · · others would be?
·3· ·A.· ·Safety.                                              ·3· ·A.· ·I assume it would be Andrew Wasson, which was the
·4· ·Q.· ·Okay.                                                ·4· · · · quarry operator at the time.
·5· ·A.· ·Yeah, everything related to safety and MSHA, EPA,    ·5· ·Q.· ·Okay.
·6· · · · Department of Natural Resources.                     ·6· ·A.· ·And I think Rob Baumann.· I don't know.· Or, no,
·7· ·Q.· ·Okay.· And does he have any prior experience with    ·7· · · · it would be -- no, I don't know.· Let's see here.
·8· · · · MSHA compliance?                                     ·8· · · · Me, Gwen, John, Jordan, and Andrew I guess.· Yes.
·9· ·A.· ·I don't think MSHA.· He was OSHA certified.          ·9· · · · That would be the people that are showing there,
10· ·Q.· ·Okay.· And did he have a role with regard to         10· · · · plus two.
11· · · · maintenance?                                         11· ·Q.· ·Okay.· Well, and I guess maybe since Andrew
12· ·A.· ·As far as doing the maintenance?· No, he was not     12· · · · Wasson's saying Rob Baumann, should I bring
13· · · · mechanically inclined.· He's safety.                 13· · · · another load?· Was maybe Rob in that group maybe?
14· ·Q.· ·Okay.· Why was he in the maintenance group?          14· ·A.· ·Yeah.· That's what I said --
15· ·A.· ·To make sure that they were doing things safely.     15· ·Q.· ·Okay.
16· · · · So if they were tasked to change a motor or          16· ·A.· ·-- yeah, Andrew Wasson was part of the last two
17· · · · anything like that, he would know where they were    17· · · · there.
18· · · · going and go check on them.                          18· ·Q.· ·Okay.
19· ·Q.· ·Okay.· I'm going to go to page 65, and in here I     19· ·A.· ·And it shows that Rob was communicating with
20· · · · see a AT MO operations group.· Do you know who       20· · · · Andrew to bring another load of material from the
21· · · · that would be?                                       21· · · · drying sheds.
22· ·A.· ·That would be John, myself, Jordan, Don.· Lynn was   22· ·Q.· ·Okay.
23· · · · a salesperson at the time.· Yeah.· It's just the     23· ·A.· ·That's what that is.
24· · · · people that would be dealing with the overall        24· ·Q.· ·Then I'm going to go to page 179 and there's a AT
25· · · · operations of everything.                            25· · · · MO safety.· It looks like you, Don, John, Jessie,

                                                    Page 83                                                        Page 85
·1· ·Q.· ·Would Baumann have been a part of that group when    ·1· · · · and then do you know who the other person -- one
·2· · · · he was employed?                                     ·2· · · · other person would have been?
·3· ·A.· ·I don't know.· That would be a good question         ·3· ·A.· ·So Jordan.· Most likely Jordan.
·4· · · · because as we're -- as we're growing and making      ·4· ·Q.· ·Okay.· And would Rob have been in that group?
·5· · · · operations smoother, people would get added to       ·5· ·A.· ·I don't think so.· I don't think so.
·6· · · · different groups and stuff like that.· So he may     ·6· ·Q.· ·Okay.
·7· · · · have been added but not at that time.                ·7· ·A.· ·Again, it was one of those things that -- Rob did
·8· ·Q.· ·Actually, I think -- if we look down, it looks       ·8· · · · ask to be removed from a lot of groups and we had
·9· · · · like he might have been.· If you go down here, do    ·9· · · · to explain, You really want to know what's going
10· · · · you see this?                                        10· · · · on in all this so that you know part of that
11· ·A.· ·Yeah.                                                11· · · · mentoring and leadering so you can become a good
12· ·Q.· ·So that would mean that he was in that group?        12· · · · leader.· So some of this stuff -- some of these
13· ·A.· ·Correct.                                             13· · · · groups I know he belonged into and then was
14· ·Q.· ·Okay.                                                14· · · · removed and then we need to add him back.· So it
15· ·A.· ·And that --                                          15· · · · was back and forth.· So. . . .
16· ·Q.· ·And then I see -- oh.· Go ahead.                     16· ·Q.· ·Okay.
17· ·A.· ·I think he actually asked me to take him out of      17· ·A.· ·Some of these will be tagged differently.· That's
18· · · · that group because he didn't want to know all the    18· · · · why they show different.
19· · · · operations stuff, just the basic stuff.· So that's   19· ·Q.· ·Okay.· I'm going to shop sharing this document and
20· · · · fine.                                                20· · · · I'm going to pull up another document which I'm
21· ·Q.· ·Okay.· And then I see quarry operations here --      21· · · · going to label -- which has been labeled as
22· ·A.· ·Yeah.                                                22· · · · Exhibit 4.
23· ·Q.· ·-- on page 65.· What's that?                         23· · · · · · ·(Exhibit No. 4 marked for identification.)
24· ·A.· ·That's that pit that's in Oklahoma.                  24· ·Q.· ·(By Ms. O'Reilly)· Let me share this.· I'll give
25· ·Q.· ·Okay.· And it looks like it says you, Gwen, John,    25· · · · you control to move through this document if you


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 23
    Appellate Case: 25-1349              Page: 2166            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 86                                                        Page 88
·1· · · · want to.                                             ·1· ·A.· ·Anybody can create a chat group, just like an
·2· · · · · · ·And this document, do you know what this        ·2· · · · individual.· So. . . .
·3· · · · document is?                                         ·3· ·Q.· ·Okay.
·4· ·A.· ·Not off the top of my head, no.                      ·4· ·A.· ·But the original ones, yes, I was the one that
·5· ·Q.· ·Okay.                                                ·5· · · · created it.
·6· ·A.· ·Looks like --                                        ·6· ·Q.· ·Okay.
·7· ·Q.· ·Looks like --                                        ·7· ·A.· ·I had to get the --
·8· ·A.· ·Yeah.· It looks like a chat response to a request.   ·8· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop
·9· · · · It's just different formatting.                      ·9· · · · sharing this document.
10· ·Q.· ·Okay.                                                10· · · · · · ·I am going to pull up another document marked
11· ·A.· ·I don't have access --                               11· · · · as Exhibit 5.
12· ·Q.· ·So looks like --                                     12· · · · · · ·(Exhibit No. 5 marked for identification.)
13· ·A.· ·I can't control.                                     13· ·BY MS. O'REILLY:
14· ·Q.· ·Oh, you can't?· Here.· Let me let go of my mouse.    14· ·Q.· ·I'm going to share this one and I can give you
15· · · · Can you scroll now?                                  15· · · · control over it as well, if you want to scroll
16· ·A.· ·No.                                                  16· · · · through it.· I don't think there's anything to
17· ·Q.· ·Hmm.                                                 17· · · · scroll, actually, in this one.
18· ·A.· ·Oh.· Maybe I had to click on it.                     18· ·A.· ·Okay.
19· ·Q.· ·Oh, there you go.· Yeah.· Just go ahead and scroll   19· ·Q.· ·And then this one is kind of in a different
20· · · · through that.                                        20· · · · format.· It was a -- like a JPEG.· It's not a PDF
21· ·A.· ·Yeah, I think it's the same chat search that you     21· · · · but it looks like it's some more Teams messages;
22· · · · were looking for, it's just a different              22· · · · is that correct?
23· · · · formatting.                                          23· ·A.· ·Yes.· Looks like Teams messages, yeah.
24· ·Q.· ·Okay.· So do you recall -- would you have been the   24· ·Q.· ·Okay.· And do you know why this one is in, like, a
25· · · · person that put this document together?              25· · · · JPEG format versus Teams?· Is it just the way that

                                                    Page 87                                                        Page 89
·1· ·A.· ·Yes.                                                 ·1· · · · you captured it?
·2· ·Q.· ·Okay.· And this is just kind of the same process?    ·2· ·A.· ·Probably.
·3· · · · You would have been looking for messages and then    ·3· ·Q.· ·Okay.· And do you know what this document is?
·4· · · · kind of pulled them into this document; is that      ·4· ·A.· ·Do I know what the document is?
·5· · · · correct?                                             ·5· ·Q.· ·Yeah.· Did you -- have you seen this before?
·6· ·A.· ·If I remember correctly, it was the -- I just did    ·6· ·A.· ·Yeah.· It looks like chat messages.
·7· · · · the Control A, shift, print, and that was it. I      ·7· ·Q.· ·Okay.· And did you pull this from the Teams
·8· · · · think I was under a time line.                       ·8· · · · platform?
·9· ·Q.· ·Okay.                                                ·9· ·A.· ·Yeah.· Mm-hmm.
10· ·A.· ·I think I was under a deadline to get this to you.   10· ·Q.· ·And it lists, let's see, John Spears here, and
11· ·Q.· ·And so is this a true and accurate copy of the       11· · · · then it has, like, purple.· Who is -- do you know
12· · · · Teams chats you pulled from the mill group chat?     12· · · · what the purple is?· Is that you?
13· ·A.· ·Yes.                                                 13· ·A.· ·Yeah, the purple would be me, and John Spears
14· ·Q.· ·Okay.· And I think we maybe had talked about this,   14· · · · would be the grays.· The unknown user I'm assuming
15· · · · but the mill group chat, that's the one where,       15· · · · is Gage, Gage Wheeler.
16· · · · like, all the employees that work in the mill        16· ·Q.· ·Okay.
17· · · · would be on?                                         17· ·A.· ·Yeah, Gage Wheeler?· Yeah.
18· ·A.· ·Yes.                                                 18· ·Q.· ·Okay.· And it says "unknown user," and is that
19· ·Q.· ·Okay.                                                19· · · · because he wasn't employed anymore when you pulled
20· ·A.· ·Quarry guys wouldn't be there.· The bookkeeper       20· · · · this?
21· · · · wouldn't be there.                                   21· ·A.· ·Yeah, I don't know why Teams does that. I
22· ·Q.· ·Okay.                                                22· · · · don't -- it --
23· ·A.· ·Everybody else would be.                             23· ·Q.· ·Okay.
24· ·Q.· ·And who, like, creates these chat groups?· Is that   24· ·A.· ·He was just no longer in the database or something
25· · · · you?                                                 25· · · · and it just shows unknown.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 24
    Appellate Case: 25-1349              Page: 2167            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 90                                                        Page 92
·1· ·Q.· ·Okay.· Okay.· So is this a true and accurate copy    ·1· · · · · · ·And then I'm going to share what I've marked
·2· · · · of the Teams chat with John Spears, and then Gage    ·2· · · · as Exhibit 7.
·3· · · · Wheeler is unknown user, and you from                ·3· · · · · · ·(Exhibit No. 7 marked for identification.)
·4· · · · February 14th?                                       ·4· ·Q.· ·(By Ms. O'Reilly)· Okay.· I'll give you control as
·5· ·A.· ·Yes.· Yeah.                                          ·5· · · · well.· Oops.· Maybe not.· Okay.· Now I'm giving
·6· · · · · · ·MS. O'REILLY:· I'm going to stop sharing        ·6· · · · you control, too, if you want to look at it.· This
·7· · · · this document and then I'm going to share            ·7· · · · is another one of those JPEG ones.· Do you know
·8· · · · another document which I have marked as              ·8· · · · the difference between how you got these -- these
·9· · · · Exhibit 6.                                           ·9· · · · ones kind of were produced as JPEGs versus doing
10· · · · · · ·(Exhibit No. 6 marked for identification.)      10· · · · it as a PDF?
11· · · · · · ·THE WITNESS:· You don't want any                11· ·A.· ·Yeah.· It was probably learning how to do the
12· · · · explanation on Exhibit 5?· There's a lot more        12· · · · search and stuff that you were asking for.· That's
13· · · · to that one.· I know that's why we're here.          13· · · · all.
14· · · · · · ·MS. O'REILLY:· Oh.· Nope.· That's okay.         14· ·Q.· ·Okay.· And again here, would you be the purple?
15· ·Q.· ·(By Ms. O'Reilly)· Okay.· I've marked this next      15· ·A.· ·Yes.
16· · · · document as Exhibit 6.· I'm also going to give you   16· ·Q.· ·Okay.· And then is this a true and accurate copy
17· · · · control, but I believe it's just this one page.      17· · · · of looks like messages from February 14th between
18· · · · It's another JPEG of a Teams chat.· Do you -- have   18· · · · you and John Spears?
19· · · · you seen this document before?                       19· ·A.· ·Yeah, I would assume that it's a follow-on to that
20· ·A.· ·Can you bring up -- and then last one was 2 14,      20· · · · same messaging.
21· · · · 11 49.· Can you bring up Exhibit 5 again?            21· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop
22· ·Q.· ·I'm going to stick with this document right now.     22· · · · sharing that one, and then I'm going to show
23· ·A.· ·I'm talking about the -- so the time line, so we     23· · · · you another document here marked as
24· · · · can see the time line?· You know what I'm saying?    24· · · · Exhibit 8.
25· ·Q.· ·I'm not worried about that right now.· This is a     25· · · · · · ·(Exhibit No. 8 marked for identification.)

                                                     Page 91                                                        Page 93
·1· · · · document that was produced to us.                    ·1· ·Q.· ·(By Ms. O'Reilly)· And do you know what this
·2· · · · · · ·Do you know what this document is?              ·2· · · · document is?· I'll give you control because this
·3· ·A.· ·John message to Gage?· Yeah.· I'm assuming it's --   ·3· · · · one has a couple pages.
·4· ·Q.· ·And again --                                         ·4· ·A.· ·Yeah.· So I can't read the title.· I don't -- I'm
·5· ·A.· ·Yeah.· Since the title states "John's message to     ·5· · · · not sure what it is, but --
·6· · · · Gage about MSHA inspection second part," I would     ·6· ·Q.· ·I'm not sure if I can -- well, are these Teams
·7· · · · assume that it's the follow-on to the other --       ·7· · · · chat messages?
·8· · · · Exhibit 5.· That's all.                              ·8· ·A.· ·They appear to be, yes.
·9· ·Q.· ·And this would have been something you captured      ·9· ·Q.· ·And would you have been the one to have pulled
10· · · · from Teams to produce; is that correct?              10· · · · these?
11· ·A.· ·Yes.                                                 11· ·A.· ·Yes.· If I sent them to you, yes, it's me.
12· ·Q.· ·And, again, would the "unknown user" be Gage         12· ·Q.· ·Okay.· And these -- this purple again, that would
13· · · · Wheeler here?                                        13· · · · be what you're communicating?
14· ·A.· ·I have to assume yes.                                14· ·A.· ·Yes.
15· ·Q.· ·And the purple would be you?                         15· ·Q.· ·Okay.· And would this be a true and accurate copy
16· ·A.· ·Me.· Mm-hmm.                                         16· · · · of it looks like chats between John Spears and
17· ·Q.· ·Yourself?                                            17· · · · yourself on April 14th?
18· ·A.· ·Yes.                                                 18· ·A.· ·It appears, yes.
19· ·Q.· ·Okay.· And is this a true and accurate copy of       19· ·Q.· ·Okay.· And do you know what year this would have
20· · · · these Teams messages between Gage Wheeler,           20· · · · been?
21· · · · yourself, and then it looks like Jordan Tidaback     21· ·A.· ·I assume by the title it -- since it says
22· · · · at the bottom?                                       22· · · · Exhibit 8 dash 14 April 2022, that it's 2022.
23· ·A.· ·Yes.                                                 23· ·Q.· ·And it looks like, you know, there's a discussion
24· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop         24· · · · with Rob.· I don't -- I don't believe Rob was
25· · · · sharing that.                                        25· · · · employed in April of 2022, correct?


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 25
    Appellate Case: 25-1349              Page: 2168            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 94                                                         Page 96
·1· ·A.· ·It could have been the group that Rob had. I         ·1· · · · titles, too, so I wouldn't necessarily rely on the
·2· · · · don't know.· Because they can add -- you know what   ·2· · · · title because I added the exhibit number as well
·3· · · · I'm saying?· They can add me to the group later on   ·3· · · · so I had to shorten them, so -- but, just
·4· · · · if they had a chat group, or if all three had a      ·4· · · · generally, are these more Teams chats?
·5· · · · chat group with Rob.· You know what I mean?          ·5· ·A.· ·Yeah.· So this one looks like you asked for the
·6· ·Q.· ·And it looks like -- in this first discussion, it    ·6· · · · term "MSHA" because "MSHA" is highlighted here.
·7· · · · says it looks -- it's from Rob:· Looks like we're    ·7· · · · Let's see here.
·8· · · · entitled to a week's pay because nothing was done    ·8· ·Q.· ·Okay.
·9· · · · about the safety situation until we were under the   ·9· ·A.· ·It's going to highlight the key words from the
10· · · · withdrawal, but legally they have to pay us for 12   10· · · · search.
11· · · · hours, and it kind of goes on.                       11· ·Q.· ·Got it.
12· · · · · · ·Does that kind of give you context?· Because    12· ·A.· ·So I probably just did a, you know, copy/paste and
13· · · · it sounds like this might be 2023, is I guess what   13· · · · put it in a Word document.
14· · · · I'm trying to understand.                            14· ·Q.· ·Okay.· So that's what this highlighted -- the
15· ·A.· ·Yeah.· Let's see here.· Looks like we're --          15· · · · highlighting means that you must have done a
16· · · · · · ·I'm assuming that's from Rob, and it looks      16· · · · search for "MSHA" and this is what the hits were?
17· · · · like we're -- we are entitled up to a week's pay     17· ·A.· ·Yes, ma'am.
18· · · · because nothing was done about the safety            18· ·Q.· ·And you would have done the search and compiling
19· · · · situation until we were under withdrawal, but        19· · · · this document, correct?
20· · · · legally they have to pay us up to the 12 hours.      20· ·A.· ·Correct.· That's correct.
21· · · · Yeah.· I think I remember something about Rob        21· ·Q.· ·Okay.· So would you say this is a true and
22· · · · asking about that, and I said we'd have to find      22· · · · accurate document of the Teams chats -- of Teams
23· · · · out.                                                 23· · · · chats between and among American Tripoli employees
24· ·Q.· ·So does this look like it would have been April of   24· · · · where "MSHA" was a hit word?
25· · · · 2023, then?                                          25· ·A.· ·Yes.

                                                    Page 95                                                        Page 97
·1· ·A.· ·I don't -- I don't -- off the top of my head, I      ·1· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop
·2· · · · don't even know when Rob was terminated, so I        ·2· · · · sharing this one.
·3· · · · don't know.· I would assume.· I would assume. I      ·3· · · · · · ·(Exhibit No. 10 marked for identification.)
·4· · · · can assume.                                          ·4· ·Q.· ·(By Ms. O'Reilly)· All right.· I'm going to pull
·5· ·Q.· ·Okay.· Okay.· I'm going to stop sharing this         ·5· · · · up a document that is labeled as Exhibit 10, and I
·6· · · · document.                                            ·6· · · · will give you control to kind of scroll through
·7· ·A.· ·Only reason I say 2022 is because that's the way     ·7· · · · this one again.
·8· · · · that the date across the top.                        ·8· · · · · · ·Does this look like some more Teams chats?
·9· ·Q.· ·Yeah.· Yeah.· That's why I was kind of asking        ·9· ·A.· ·Yeah.· This appears to be the chat group -- or the
10· · · · because I think that's incorrect because I don't     10· · · · chat Jim Hoover started with me.
11· · · · believe Rob was employed at that time.               11· ·Q.· ·Okay.
12· ·A.· ·Okay.                                                12· ·A.· ·I don't know if anybody else is --
13· ·Q.· ·I think he wasn't employed until June of '22.        13· ·Q.· ·Okay.· So in the purple again, that would be you?
14· ·A.· ·I'd have to look.                                    14· ·A.· ·That is correct.
15· · · · · · ·MS. O'REILLY:· And then I'm going to            15· ·Q.· ·Okay.· And it looks like this was in April of
16· · · · stop sharing this one, and then I'm going to         16· · · · 2023; is that correct?
17· · · · pull up another document, Exhibit 9.                 17· ·A.· ·It's -- yes, based on the title.
18· · · · · · ·(Exhibit No. 9 marked for identification.)      18· ·Q.· ·Okay.· Well, and I see, like, on this page 6, it
19· ·Q.· ·(By Ms. O'Reilly)· And then I'm going to let you     19· · · · looks like --
20· · · · have control over this as well if you'd like to      20· ·A.· ·I'm sorry.
21· · · · look through it.                                     21· ·Q.· ·If you go to page 6.· That's okay.· Like it
22· · · · · · ·Do you know what this document is?              22· · · · says -- like you would copy Jim Hoover and it says
23· ·A.· ·Not without the -- I can't see the title, so --      23· · · · 4/19/2023.
24· · · · just says --                                         24· ·A.· ·Yeah.
25· ·Q.· ·And I will say I may have changed some of these      25· ·Q.· ·Okay.· So would this be a true and accurate copy


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 26
    Appellate Case: 25-1349              Page: 2169            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                    Page 98                                                       Page 100
·1· · · · of Teams chats that you had with Jim Hoover          ·1· · · · this document.· I'm going to show you what's
·2· · · · from --                                              ·2· · · · been marked as Exhibit 11.
·3· ·A.· ·Yeah.                                                ·3· · · · · · ·(Exhibit No. 11 marked for identification.)
·4· ·Q.· ·-- April of 2023?                                    ·4· ·Q.· ·(By Ms. O'Reilly)· I'm going to share this.· And
·5· ·A.· ·Yes.                                                 ·5· · · · I'll give you the ability to scroll through this
·6· ·Q.· ·And what was Jim Hoover's job title at this time?    ·6· · · · if you want to.
·7· ·A.· ·Yeah.· So Jim Hoover was hired as a mill             ·7· · · · · · ·Do you know what this document is?
·8· · · · associate.· Like I said, he worked for American      ·8· ·A.· ·The interrogatories that you requested.
·9· · · · Tripoli before we bought the company, and then he    ·9· ·Q.· ·Okay.· So would this have been prepared by you --
10· · · · was a mill associate.· We tried to promote him       10· ·A.· ·Yes.
11· · · · into the -- a shift lead position because he has     11· ·Q.· ·-- this document?
12· · · · the most experience there.· So we put him into       12· ·A.· ·Mm-hmm.
13· · · · that position, and over time Christine Schreiber     13· ·Q.· ·Okay.· And then if you scroll down, let me see, a
14· · · · was the operations manager at the time, tried        14· · · · little further, it looks like there's some Teams
15· · · · mentoring him and guide him along, and he            15· · · · chats pasted into here.· I think it's towards the
16· · · · basically admitted that he does not have the         16· · · · bottom, but go ahead and take your time.
17· · · · management aptitude or desire.· He wants the pay     17· · · · · · ·Okay.· So starting on page 16, do you see
18· · · · but not the work.                                    18· · · · some Teams chats?· At the top it says April 17th?
19· · · · · · ·So we hired Rob to replace Jim and Rob went     19· ·A.· ·Yes.
20· · · · to the night shift, which is one of the reasons      20· ·Q.· ·And this kind of looks like it's another copy of
21· · · · that we thought we could run two shifts because      21· · · · those chats between Jim Hoover and yourself; is
22· · · · Rob wanted to manage the night shift, and since      22· · · · that correct?
23· · · · Jim didn't work out during the day shift, we had     23· ·A.· ·Yes.· I don't know who else would be in the group
24· · · · to close the night shift due to people not showing   24· · · · at that time.· It doesn't mean specifically it's
25· · · · up and work, and then Rob took Jim's place.· So      25· · · · just me and Jim.· It could be just us inputting

                                                     Page 99                                                      Page 101
·1· · · · Rob was the shift lead and Jim went back to being    ·1· · · · conversations in that group.· You know what I
·2· · · · a mill associate.                                    ·2· · · · mean?
·3· ·Q.· ·So during this time period, he would have been a     ·3· ·Q.· ·Got it.· Okay.· So this could have come from a
·4· · · · mill associate; is that correct?                     ·4· · · · group chat but you two appear, at least on page
·5· ·A.· ·When is this here?· April?                           ·5· · · · 16, to be the only ones communicating at the time.
·6· ·Q.· ·Looks like April.                                    ·6· ·A.· ·Yeah, during that time, yeah.
·7· ·A.· ·I'd have -- yeah, I'd have to look back at the       ·7· ·Q.· ·Okay.· That makes sense.
·8· · · · dates --                                             ·8· · · · · · ·And then would you say that this is a true
·9· ·Q.· ·Okay.                                                ·9· · · · and accurate copy of these Teams messages between
10· ·A.· ·-- but I'd assume that, yes, Jim --                  10· · · · you and Jim Hoover?
11· ·Q.· ·Okay.                                                11· ·A.· ·Yes.· Yeah.· If that's the only two people in it,
12· ·A.· ·-- reported to -- yeah.· He was not the -- if Rob    12· · · · yes.
13· · · · was there during the day, then Jim was not the       13· ·Q.· ·Okay.· If you want to keep scrolling, you can;
14· · · · shift lead.                                          14· · · · otherwise, I'm going to move on to another
15· ·Q.· ·Okay.· And then I'm going to direct you to           15· · · · document.· It's up to you.
16· · · · page 11, and I see -- let me see.· Kind of like      16· ·A.· ·Yeah, I'm just -- I was just browsing.
17· · · · towards the bottom it says that he's made a          17· · · · · · ·MS. O'REILLY:· Okay.· No problem.
18· · · · friend, it's in highlighting, at MSHA, Keith.· Who   18· · · · · · ·All right.· I'm going top stop sharing this
19· · · · would "Keith" be when you're referring to Keith      19· · · · document and I'm going to move to a document
20· · · · there?                                               20· · · · marked as Exhibit 12.
21· ·A.· ·That's a long discussion.                            21· · · · · · ·(Exhibit No. 12 marked for identification.)
22· ·Q.· ·Just the name.· Who -- is that -- are you            22· ·Q.· ·(By Ms. O'Reilly)· And I'll share my screen here.
23· · · · referring to Keith Markeson?                         23· · · · And I'll also give you access to kind of scroll
24· ·A.· ·Yes.                                                 24· · · · through this.
25· · · · · · ·MS. O'REILLY:· I'm going to shop sharing        25· · · · · · ·And do you know what this document is?


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 27
    Appellate Case: 25-1349              Page: 2170            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 102                                                       Page 104
·1· ·A.· ·Yes.· Your first discovery requests.                 ·1· · · · Do you know what this one -- were you the one who
·2· ·Q.· ·Okay.· And would you have been the person who        ·2· · · · prepared this document?
·3· · · · prepared this document?                              ·3· ·A.· ·Yes.
·4· ·A.· ·Yes.                                                 ·4· ·Q.· ·Okay.· And this one just looks a little bit
·5· ·Q.· ·Okay.· And I think if you could scroll down a        ·5· · · · different, so is it just a different way of kind
·6· · · · little bit towards page 8, there's some more Teams   ·6· · · · of --
·7· · · · chats in there.                                      ·7· ·A.· ·It could have.
·8· ·A.· ·Mm-hmm.                                              ·8· ·Q.· ·-- compiling them?
·9· ·Q.· ·And, actually, I see -- if look at page 8, it        ·9· ·A.· ·Could have been from a different computer.
10· · · · starts -- sorry.· Kind of made it -- I'm confused.   10· ·Q.· ·Okay.
11· · · · Okay.· And if you kind of scroll up a little bit     11· ·A.· ·Tablet.· Yeah.
12· · · · there, it says -- do you see request number 24       12· ·Q.· ·Okay.· And it looks like it says "mill group chat"
13· · · · where it says:· Produce the documents reflecting     13· · · · at the top.· Do you see that --
14· · · · any communications, including Teams chats,           14· ·A.· ·Yes.
15· · · · regarding MSHA inspections and any MSHA              15· ·Q.· ·-- on page 1?
16· · · · inspectors, and then it looks like there was an      16· ·A.· ·Mm-hmm.
17· · · · additional, like, clarification to do a search for   17· ·Q.· ·So would these all be mill group chats, or I guess
18· · · · these specifics names of inspectors.· Do you see     18· · · · maybe it would just depend on what it says at the
19· · · · that?                                                19· · · · top of any of the chats?· I guess you can scroll
20· ·A.· ·Yes.                                                 20· · · · through and see --
21· ·Q.· ·Okay.· And so, starting on page 9, is that -- are    21· ·A.· ·Yeah.
22· · · · those the Teams chats that you pulled that had       22· ·Q.· ·-- maybe they're not all mill group chats.
23· · · · those hits?                                          23· ·A.· ·Yeah.· These look like a normal mill chat group.
24· ·A.· ·Yeah.· So you see on the bottom of page 8 where it   24· ·Q.· ·Okay.
25· · · · says "Keith," then it shows the highlighted          25· ·A.· ·Yeah.

                                                   Page 103                                                       Page 105
·1· · · · keyword?                                             ·1· ·Q.· ·And that's the group, again, that's kind of all
·2· ·Q.· ·Okay.· So it's got -- you organized it by the        ·2· · · · the employees that work in the mill, right?
·3· · · · search and then the hit, it looks like?              ·3· ·A.· ·Mm-hmm.· Mm-hmm.
·4· ·A.· ·Mm-hmm.· Yeah.                                       ·4· ·Q.· ·Okay.· And you're also part of that.· That's why
·5· ·Q.· ·Okay.· So, yeah, that's -- the first one is          ·5· · · · you were able to pull this?
·6· · · · "Keith," then we go to "Markeson" and then there's   ·6· ·A.· ·Yes.
·7· · · · some with Markeson, and then "Brian."· Okay.         ·7· ·Q.· ·Okay.· And is this a true and accurate copy of
·8· · · · · · ·And did you compile all of those Teams          ·8· · · · these mill group Teams chats?
·9· · · · messages?                                            ·9· ·A.· ·Correct.
10· ·A.· ·What do you mean "compile"?                          10· · · · · · ·MS. O'REILLY:· Okay.· Okay.· I'm going
11· ·Q.· ·Did you do the search and then pull them over and    11· · · · to stop sharing this one and show you another
12· · · · put them in this document?                           12· · · · document which I have marked as Exhibit 14.
13· ·A.· ·Yeah, copy/paste.· Yeah.                             13· · · · · · ·(Exhibit No. 14 marked for identification.)
14· ·Q.· ·So would these Teams chats be a true and accurate    14· ·Q.· ·(By Ms. O'Reilly)· And I'll let you have control
15· · · · copy of the Teams chats that you pulled from         15· · · · over this one, too, if you want to look at it.
16· · · · Microsoft Teams that had these hits?                 16· · · · · · ·And are you familiar with this document in
17· ·A.· ·Yes.                                                 17· · · · Exhibit 14?
18· · · · · · ·MS. O'REILLY:· Okay.· And then I'm going        18· ·A.· ·Yes.
19· · · · to stop sharing this one and I'm going to            19· ·Q.· ·Okay.· And is this -- what is it?
20· · · · show you another document.                           20· ·A.· ·It's a no-gossip policy.· They were having
21· · · · · · ·(Exhibit No. 13 marked for identification.)     21· · · · issues -- what day was this?· In 2022, July and
22· ·Q.· ·This next document I have marked as Exhibit 13.      22· · · · August of 2022, they were having a lot of
23· · · · I'll share my screen and I'll give you control       23· · · · gossiping issues amongst themselves and creating
24· · · · over this one as well.                               24· · · · hostility between themselves, the mill associates
25· · · · · · ·And this looks like some more Teams chats.      25· · · · and the quarry manager at the time, so we brought


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 28
    Appellate Case: 25-1349              Page: 2171            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 106                                                       Page 108
·1· · · · this forward just to calm everybody down, stop,      ·1· · · · · · ·(Exhibit No. 15 marked for identification.)
·2· · · · you know, the bickering and people wanting to        ·2· ·Q.· ·(By Ms. O'Reilly)· I'll share my screen and I will
·3· · · · fight each other and want to quit and this and       ·3· · · · give you remote access to this as well.· Let me
·4· · · · that.· So that's what this was:· Guys, just calm     ·4· · · · see if I can -- okay.· You should have remote
·5· · · · down.· So. . . .                                     ·5· · · · access now.
·6· ·Q.· ·Okay.                                                ·6· · · · · · ·Do you know what this document is?
·7· ·A.· ·That's what this was for.· This is not for --        ·7· ·A.· ·Yes.· It's a Word version of our website employee
·8· ·Q.· ·And did you --                                       ·8· · · · handbook.
·9· ·A.· ·Sorry.                                               ·9· ·Q.· ·Okay.· And was this employee handbook the one that
10· ·Q.· ·It's not for what?                                   10· · · · was in effect when Rob Baumann was an employee of
11· ·A.· ·Yeah, I said it wasn't for everybody.· I mean, we    11· · · · American Tripoli?
12· · · · haven't used it again.· It was just at that time     12· ·A.· ·Yes.
13· · · · to calm everybody down.· I don't know if anybody     13· ·Q.· ·Okay.· And who created this document?
14· · · · signed it ever after this time.                      14· ·A.· ·I believe Jordan and I did back in 2021.
15· ·Q.· ·Okay.· So is this a current policy at American       15· ·Q.· ·And then if you go to page 43, is this the
16· · · · Tripoli?                                             16· · · · company -- it says progressive discipline.· Is
17· ·A.· ·It's a policy but we -- we don't have anybody sign   17· · · · this the company's disciplinary policy?
18· · · · it because there's not the issue that's -- that's    18· ·A.· ·Yes, ma'am.
19· · · · there.                                               19· ·Q.· ·Okay.· And was this in effect during Baumann's
20· ·Q.· ·Okay.                                                20· · · · employment?
21· ·A.· ·So yes and no.                                       21· ·A.· ·Yes, ma'am.
22· ·Q.· ·And who created this policy?                         22· ·Q.· ·Okay.· And is this a true and accurate copy of the
23· ·A.· ·I -- yeah, I assume I did.· Yeah.                    23· · · · company's employee handbook?
24· ·Q.· ·Do you know if you ever disciplined anyone as a      24· ·A.· ·Yes, ma'am.
25· · · · result of --                                         25· ·Q.· ·Okay.· I will shop sharing that.

                                                   Page 107                                                       Page 109
·1· ·A.· ·No.                                                  ·1· ·A.· ·There have been changes since the printing of that
·2· ·Q.· ·-- not following this policy?                        ·2· · · · document, but --
·3· ·A.· ·No.· Even at this date when we had a meeting         ·3· ·Q.· ·Okay.
·4· · · · about, you know, the issues that the people were     ·4· ·A.· ·Because they view it live online.· It's on the
·5· · · · having and this and that and everything else,        ·5· · · · website, the employee handbook.
·6· · · · Mr. Hoover didn't want to sign it.· Mr. -- I can't   ·6· ·Q.· ·Okay.· When would changes have been made, do you
·7· · · · remember his name, Roger Chester, he didn't want     ·7· · · · know?
·8· · · · to sign it, this and that and everything else, but   ·8· ·A.· ·I think it was December 31st or January 1st of
·9· · · · it's okay.· Guys, we got our point across.· It's,    ·9· · · · this year.
10· · · · you know --                                          10· ·Q.· ·Of 2024?
11· ·Q.· ·Mm-hmm.                                              11· ·A.· ·Yes, ma'am.
12· ·A.· ·-- trying to make sure everybody's not so mad at     12· ·Q.· ·Okay.· And so there was some recent changes to
13· · · · each other for nothing.· So that's what this was     13· · · · this.· Prior to that?
14· · · · for.· But no, no other workers -- yeah.              14· ·A.· ·No.· It should have been the same since 2021.
15· ·Q.· ·Okay.                                                15· · · · · · ·MS. O'REILLY:· Okay.· Thank you.
16· ·A.· ·Yeah.                                                16· · · · · · ·And I'm going to show you a document which
17· ·Q.· ·And so is this a true and accurate copy of the       17· · · · I've labeled as Exhibit 16.
18· · · · no-gossip policy for American Tripoli?               18· · · · · · ·(Exhibit No. 16 marked for identification.)
19· · · · · · ·I'm sorry.· Did you respond to that?· I might   19· ·Q.· ·(By Ms. O'Reilly)· I'll share my screen and I'll
20· · · · have missed it?                                      20· · · · let you have --
21· ·A.· ·I'm sorry.· Yes.· Yes.· It is.                       21· ·A.· ·Okay.
22· · · · · · ·MS. O'REILLY:· Sorry.                           22· ·Q.· ·-- control over the document if you want to look
23· · · · · · ·Okay.· I'm going to stop sharing that           23· · · · at it.
24· · · · document.· I'm going to pull up another document     24· · · · · · ·Do you know what this document is?
25· · · · which I've marked as Exhibit 15.                     25· ·A.· ·Yeah, 5000-23.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 29
    Appellate Case: 25-1349              Page: 2172            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 110                                                       Page 112
·1· ·Q.· ·And what is that?                                    ·1· · · · didn't put anything.
·2· ·A.· ·Certificate of training for Mr. Baumann, his new     ·2· ·Q.· ·And so are they inputting the information directly
·3· · · · miner's training, it appears.                        ·3· · · · into this document or -- it sort of sounds like --
·4· ·Q.· ·Okay.· And it says, like, on Part 6 there's          ·4· · · · is there another form that this pulls from?
·5· · · · someone that signed that.· Do you know whose         ·5· ·A.· ·Yes.· There's a form that -- a front-facing form
·6· · · · signature that is?                                   ·6· · · · that they put data in that fills the database and
·7· ·A.· ·Bonnie Bainter.                                      ·7· · · · this is the report from that database.
·8· ·Q.· ·And who is she?                                      ·8· ·Q.· ·Okay.
·9· ·A.· ·She was the safety and health and -- specialist at   ·9· ·A.· ·Yeah, this looks like --
10· · · · the time.                                            10· ·Q.· ·So it's like an app -- like is it -- go ahead.
11· ·Q.· ·Okay.· And so would she have provided Baumann with   11· ·A.· ·No, this is a Microsoft form that --
12· · · · this training that's listed on here?                 12· ·Q.· ·Okay.
13· ·A.· ·Yes.· Yeah.· She was the training -- I don't know    13· ·A.· ·I'm assuming it's a SharePoint database. I
14· · · · if it was Roger Chester or if it was Bonnie that     14· · · · don't -- I don't know where it comes from, but we
15· · · · did the training, but Roger was the certified        15· · · · just run the report off the form.· That's all it
16· · · · trainer.                                             16· · · · is.
17· ·Q.· ·Okay.                                                17· ·Q.· ·And then do you keep copies of the actual form?
18· ·A.· ·Bonnie was just responsible for the training to      18· ·A.· ·The actual form is a front end so that they can
19· · · · happen.                                              19· · · · access it through Teams.· Yeah.· And then --
20· ·Q.· ·Okay.· And is this a true and accurate copy of       20· ·Q.· ·So it's more like an application.
21· · · · Baumann's, I guess, certificate of training?         21· ·A.· ·Yes.· Yeah.
22· ·A.· ·Yeah, his new miner training?· Yes.                  22· ·Q.· ·Okay.
23· · · · · · ·MS. O'REILLY:· Okay.· And then I'm going        23· ·A.· ·It's a -- I think it's called an application.
24· · · · to pull up a document which I've marked as           24· ·Q.· ·Okay.· So that doesn't really generate a document;
25· · · · Exhibit 18.· Oh.· No.· 17.· Sorry.                   25· · · · it just pushes it into this.· But they're looking

                                                   Page 111                                                       Page 113
·1· · · · · · ·(Exhibit No. 17 marked for identification.)     ·1· · · · at something a little bit different --
·2· ·Q.· ·(By Ms. O'Reilly)· I'll give you access.             ·2· ·A.· ·Yeah.
·3· · · · · · ·And do you know what this document is?          ·3· ·Q.· ·-- when they're filling the data in?
·4· ·A.· ·This -- it appears to be the report from a daily     ·4· ·A.· ·Yeah.· Correct.· Yeah, they don't see --
·5· · · · workplace exam.· Let's see here.· Yeah.              ·5· ·Q.· ·Okay.
·6· ·Q.· ·Okay.· And where is this document maintained?        ·6· ·A.· ·It's just a question.· They don't even show that
·7· ·A.· ·Well, the report is pulled from Teams.· When they    ·7· · · · they log in.· It automatically does that by --
·8· · · · do their daily workplace exams, it's on a form so    ·8· · · · their name, date, and time is automatic.· It's
·9· · · · that they can use their cell phones or tablets       ·9· · · · recorded automatically.
10· · · · while they're walking around doing the exams.· So    10· ·Q.· ·Okay.
11· · · · this one here --                                     11· ·A.· ·The questions are the only thing that they see and
12· ·Q.· ·So --                                                12· · · · it's just a question and a block that they can
13· ·A.· ·So this one here shows that Bonnie Bainter signed    13· · · · input data.
14· · · · in on the form on this -- on the inspection date     14· ·Q.· ·Okay.· And when it says here "name" and then,
15· · · · at 8:00 a.m. and the exam in the break room, and     15· · · · like, you know, for these first few ones, it's
16· · · · note any safety issues is the question.· So the --   16· · · · Bonnie Bainter, does that mean that's the person
17· · · · her response would have been:· Floor 1 could use     17· · · · who did the workplace exam?
18· · · · some attention around the tube mill, along with      18· ·A.· ·Yes.· Yeah.
19· · · · floor 2 around bagger west side.· That would be      19· ·Q.· ·Okay.· And it looks like, if you scroll down a
20· · · · question number one.                                 20· · · · little bit, Rob Baumann did workplace exams for a
21· · · · · · ·Question number two would be:· Examine the      21· · · · period of time; is that correct?
22· · · · floor -- or production floor east storage area.      22· ·A.· ·Yes.· It appears that way, yes.
23· · · · Note any safety issues.· And she wrote "yes."        23· ·Q.· ·Okay.
24· · · · · · ·Question three would have been:· Examine the    24· ·A.· ·It was part of their task -- yeah, I think the
25· · · · loading dock.· Note any safety issues.· And she      25· · · · shift lead is supposed to do the overall daily


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 30
    Appellate Case: 25-1349              Page: 2173            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 114                                                       Page 116
·1· · · · workplace inspection, making sure all the            ·1· ·Q.· ·-- to the categories above; it's just because of
·2· · · · equipment is safe and the guarding is on and         ·2· · · · the way it printed.
·3· · · · there's nothing going to hurt the mill associate,    ·3· ·A.· ·Yeah, I don't -- I don't know why it --
·4· · · · and then the mill associate gets told, hey, you're   ·4· · · · · · ·MS. O'REILLY:· Okay.· Okay.· That's
·5· · · · going to be working bagger or you're going to be     ·5· · · · helpful to know.· Thank you.· I'm going to
·6· · · · working stacker or you're going to be working the    ·6· · · · stop sharing this document.
·7· · · · forklift.· Okay.· Well, that person then is          ·7· · · · · · ·Okay.· I'm going to show you another
·8· · · · supposed to do a workplace exam as well.· And        ·8· · · · document.· I'm going to go to Exhibit Number 19.
·9· · · · Mr. Baumann is supposed to check behind -- or        ·9· · · · I know I'm skipping 18, just -- I don't know that
10· · · · shift lead is supposed to check behind that person   10· · · · I'm going to use the one that I had previously
11· · · · to make sure that they're doing their inspections    11· · · · marked as 18.· I'm going to share my screen with
12· · · · as well.                                             12· · · · that.
13· ·Q.· ·Okay.                                                13· · · · · · ·(Exhibit No. 19 marked for identification.)
14· ·A.· ·Yeah.· That's why sometimes you'll see Ronnell       14· ·Q.· ·(By Ms. O'Reilly)· So this is Exhibit 19.· I'm
15· · · · Fondren and Jim Hoover, R.J. Williams.· Those are    15· · · · going to share my screen with that, and I'll let
16· · · · just mill associates but follow behind Rob           16· · · · you have control over this document.
17· · · · Baumann.· And it's one of those things I think in    17· ·A.· ·Yeah.
18· · · · the conversation from the text, if I remember        18· ·Q.· ·Do you know what this document is?
19· · · · correctly, they were talking about that Jim and      19· ·A.· ·Yeah.· This looks like the document that you were
20· · · · them didn't have to do an inspection if Rob did an   20· · · · asking about earlier for production lead duties.
21· · · · inspection, which is true per the regulations,       21· ·Q.· ·Okay.
22· · · · just someone needs to do one.· But, like we          22· ·A.· ·I said I'd have to go look.
23· · · · explained, they should be doing it themselves to     23· ·Q.· ·Okay.· And when we were talking about production
24· · · · make sure that there's nothing that got overlooked   24· · · · lead, we've been using the word "shift lead," too.
25· · · · or something that's going to hurt them.· So that's   25· · · · Is that the same thing?

                                                   Page 115                                                       Page 117
·1· · · · why --                                               ·1· ·A.· ·Correct.· Yes.· Yeah.
·2· ·Q.· ·Okay.· And so you pulled this document from, I       ·2· ·Q.· ·Okay.· And who created this document?
·3· · · · guess, where it's maintained in Teams?· Is that      ·3· ·A.· ·Yeah, I -- I think it was actually before us.· We
·4· · · · correct?                                             ·4· · · · just edited it to fit our documents.· I don't
·5· ·A.· ·I don't think it's stored in Teams.· I think it's    ·5· · · · think we created it.
·6· · · · stored in the Microsoft cloud.· I'm not sure.        ·6· ·Q.· ·Okay.· And is this the job title that Baumann
·7· ·Q.· ·Okay.                                                ·7· · · · would have had, would have been production lead,
·8· ·A.· ·Just in the form it has a report button.· We         ·8· · · · or shift lead?
·9· · · · generate a report based on the date and that's       ·9· ·A.· ·Yeah, shift lead.
10· · · · what it was --                                       10· ·Q.· ·Okay.· And is this something -- I think you had
11· ·Q.· ·Okay.· So this -- is this a true and accurate copy   11· · · · mentioned -- is this something maintained
12· · · · of the workplace exam records from, it looks like,   12· · · · somewhere that employees can access?
13· · · · June 21st of '22 through --                          13· ·A.· ·Yeah, this should be available to them in Teams in
14· ·A.· ·Yes.· Yeah, it appears --                            14· · · · their -- I think it's the safety folders that has
15· ·Q.· ·-- April 11th, 2023?                                 15· · · · all the --
16· ·A.· ·Yeah.· I guess the second page here at the bottom    16· ·Q.· ·Okay.
17· · · · is the next questions that they didn't finish.       17· ·A.· ·-- and SOPs and everything for them.· But, yes,
18· ·Q.· ·Okay.                                                18· · · · this would have been --
19· ·A.· ·Yeah.                                                19· ·Q.· ·And -- okay.· And is this the production lead
20· ·Q.· ·Okay.· I see that.                                   20· · · · duties document that would have been in place
21· ·A.· ·I guess it wraps around.                             21· · · · during Rob Baumann's employment?
22· ·Q.· ·Page 2.· Okay.· So some of them you can see stuff.   22· ·A.· ·Yes.
23· ·A.· ·Yeah.                                                23· ·Q.· ·And do you know if he was -- if Rob was ever
24· ·Q.· ·And that would correlate --                          24· · · · provided with this -- a copy of this document?
25· ·A.· ·Yes.                                                 25· ·A.· ·We don't print, so "provided a copy" would be


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 31
    Appellate Case: 25-1349              Page: 2174            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 118                                                       Page 120
·1· · · · misleading.· Access to the documents, yes.           ·1· ·Q.· ·I'll give you access.
·2· · · · Explained where the documents were, yes.· Because    ·2· ·A.· ·Yeah.
·3· · · · we've actually had conversations, him and I, about   ·3· ·Q.· ·Sorry.
·4· · · · going in there and reading the documents.· Not       ·4· ·A.· ·No, that's fine.· Yeah.
·5· · · · necessarily this specific document but all the       ·5· ·Q.· ·Okay.
·6· · · · documents in there so that he can relate to his      ·6· ·A.· ·Yeah.· Yeah, I can say that this would be an
·7· · · · people about how do we request time off?· How do     ·7· · · · accurate one.
·8· · · · we do this?· How do we do that?· That kind of        ·8· ·Q.· ·Okay.· And is this -- does this document capture
·9· · · · stuff.                                               ·9· · · · all of the job duties that Rob Baumann had while
10· ·Q.· ·So do you know if anyone ever specifically told      10· · · · he was employed with American Tripoli?
11· · · · him to look at this document?                        11· ·A.· ·This document is stored online so it is a live
12· ·A.· ·Specifically?· I -- well, really, I would have to    12· · · · document that they can edit and add things to.
13· · · · say that I -- me and Rob probably went over this     13· · · · That was part of the things that we talked about
14· · · · document so that he would know what he was           14· · · · so that we can review this when we go to their
15· · · · supposed to do.· I can't tell you when, a date,      15· · · · quarterly performance reviews and annual
16· · · · but I'm -- based on our conversations, I would say   16· · · · performance reviews so that they can detail all
17· · · · that we did go over this document one on one.        17· · · · the things that they do so that we have more, as I
18· ·Q.· ·And would that have been in person?                  18· · · · call it, ammunition so they can get promoted or a
19· ·A.· ·I would -- I -- matter of fact, I think it was. I    19· · · · bigger pay raise.
20· · · · think it was in the control room when we put the     20· · · · · · ·So this would have been edited by them as
21· · · · new computer in there for him and we went over       21· · · · well.· So I have to say yes, he has access to it.
22· · · · this.· I think we actually went over this with       22· · · · Is this everything that he does?· I would have to
23· · · · both him and Jim Hoover.· For some reason that       23· · · · assume, but again, they add and put more details
24· · · · rings a bell.                                        24· · · · to it.· So. . . .
25· ·Q.· ·At the same time?                                    25· · · · · · ·I would hope that they put more details in it

                                                   Page 119                                                       Page 121
·1· ·A.· ·We -- I do believe that I -- I do believe it was     ·1· · · · but I'm not sure because, like I said, him and
·2· · · · at the same time because Mr. Hoover added a lot of   ·2· · · · Mr. Hoover worked on this as well, or at least we
·3· · · · stuff to this as well, added a lot of smaller        ·3· · · · all discussed it.
·4· · · · details.                                             ·4· ·Q.· ·So since this is a live document, can you be sure
·5· ·Q.· ·And when would that have been?· Would that have      ·5· · · · that this is in the form that it would have been
·6· · · · been towards the beginning of Baumann's              ·6· · · · when Baumann was employed?
·7· · · · employment?· Towards the end?· Somewhere in the      ·7· ·A.· ·Yeah, that's a good question.· I can't say that
·8· · · · middle?                                              ·8· · · · it's not.· I would assume that it would be.
·9· ·A.· ·Yeah, I would assume that that would have been       ·9· ·Q.· ·Okay.
10· · · · more when Rob was at nights and Jim was during the   10· ·A.· ·You know, I don't know why anybody would take --
11· · · · day, that transition period of timing.               11· · · · take anything out of it.· I mean, we just add to
12· ·Q.· ·And do you know approximately when that was?         12· · · · it.
13· ·A.· ·Not without looking at documents.                    13· ·Q.· ·So -- but job duties could have been added since
14· ·Q.· ·Would that have been towards the end of Baumann's    14· · · · Baumann was employed?
15· · · · employment --                                        15· ·A.· ·Let's see.· Who's there now?· Don Hale?· No.· No.
16· ·A.· ·No.                                                  16· · · · He's still -- he's still learning his job.
17· ·Q.· ·-- or would that --                                  17· · · · He's -- he hasn't added anything.
18· ·A.· ·No.· The begin -- that was the very beginning.       18· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop
19· ·Q.· ·Okay.· Is this a true and accurate copy of the       19· · · · sharing this document and move to the next
20· · · · production lead duties documents that American       20· · · · one.
21· · · · Tripoli has?                                         21· · · · · · ·So I'm going to share with you a document
22· ·A.· ·I -- yeah, I'm -- safe to say yes.· I can't scroll   22· · · · marked as Exhibit 20.
23· · · · up or down, but yes.                                 23· · · · · · ·(Exhibit No. 20 marked for identification.)
24· ·Q.· ·Oh.                                                  24· ·Q.· ·(By Ms. O'Reilly)· And I'm going to let you have
25· ·A.· ·It's okay.· It looks --                              25· · · · control over this, too.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 32
    Appellate Case: 25-1349              Page: 2175            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 122                                                       Page 124
·1· ·A.· ·Mm-hmm.                                              ·1· · · · maintenance team, supply requests, yes.
·2· ·Q.· ·And do you know what this document is?               ·2· · · · Additional tasks, yeah.· Professional development
·3· ·A.· ·It appears to be the interrogatories you             ·3· · · · counseling, yes.· Work with John.· Again, working
·4· · · · requested.                                           ·4· · · · with Mr. Baumann trying to give him experience and
·5· ·Q.· ·And would you have prepared this document?           ·5· · · · a little help with being a manager, he just --
·6· ·A.· ·Yes, ma'am.                                          ·6· · · · he's just not an experienced manager.· That's all
·7· ·Q.· ·Okay.· And then if you go down to interrogatory      ·7· · · · it was.· Shift lead not a supervisor.· Yep.· Yeah.
·8· · · · number 3 --                                          ·8· · · · I agree.· Yeah.
·9· ·A.· ·Mm-hmm.                                              ·9· ·Q.· ·Okay.· And these are -- so I'm just going to kind
10· ·Q.· ·-- I think that's just a bullet point from one of    10· · · · of go through a few of these just to get some more
11· · · · your answers.· If you go down a little further.      11· · · · information.
12· · · · Oh, no.· I think that's still a bullet point.        12· · · · · · ·First, how many hours a week did Baumann
13· · · · Here, I can scroll down.· Oh.· Yeah, so              13· · · · work?· Did he do all these duties within, like, a
14· · · · interrogatory number 2 is on page 5 and then --      14· · · · 40-hour work week?
15· · · · okay.· Interrogatory number 3 on page 6.             15· ·A.· ·Mm-hmm.
16· ·A.· ·Mm-hmm.                                              16· ·Q.· ·Was he expected to work more?
17· ·Q.· ·It says:· Set forth the job duties, title, and       17· ·A.· ·No.· We didn't request any overtime or work at
18· · · · responsibilities of Robert Baumann while he was      18· · · · nights or weekends.· You know, just their shift is
19· · · · employed by Respondent, including the dates of his   19· · · · all they did.
20· · · · employment in each role, and then here it looks      20· ·Q.· ·And do you know what his shift was?
21· · · · like you listed his dates -- Baumann's dates of      21· ·A.· ·At the end was 8:00 to 4:30, 30 minutes --
22· · · · employment, and then the shift lead duties.          22· ·Q.· ·Is there a lunch break in there?
23· ·A.· ·Mm-hmm.                                              23· ·A.· ·Yes, a 30-minute lunch.
24· ·Q.· ·And so would these duties be -- capture all the      24· ·Q.· ·Okay.· So on here -- let's see.· Under time
25· · · · duties, maybe from that other document or not,       25· · · · tracking it said that Baumann was tasked to

                                                   Page 123                                                       Page 125
·1· · · · that Baumann had during his employment?· Did you     ·1· · · · maintain records of hours worked.
·2· · · · list all those here?                                 ·2· ·A.· ·Mm-hmm.
·3· ·A.· ·I -- yeah, I don't know if I referred back to that   ·3· ·Q.· ·How was he supposed to keep track of the hours
·4· · · · document.· I just thought about the duties that he   ·4· · · · worked by employees?
·5· · · · did.· Let's see here.                                ·5· ·A.· ·In Microsoft Teams, there is a time tracker. I
·6· ·Q.· ·Okay.                                                ·6· · · · don't know what it's called but it's -- I think
·7· ·A.· ·Mm-hmm.· Duties, startup, yeah; time tracking,       ·7· · · · it's called time tracker.· I think it's what it's
·8· · · · yeah; safety, yes, yep; control room backup.         ·8· · · · called.· But it's an app within Microsoft Teams.
·9· · · · Let's see here.· Control room backup?· What did I    ·9· · · · So he has access to it.
10· · · · mean by that?· He was tasked as the backup -- oh.    10· ·Q.· ·And is that something that employees would clock
11· · · · Okay.· So at that time, since there was the          11· · · · in or clock out from, or was he supposed to be
12· · · · control room backup, Jim would have been the more    12· · · · watching, like, the moment that somebody arrived?
13· · · · experienced person in the control room so Rob        13· ·A.· ·Right.· So the way that the mill is laid out,
14· · · · would have been the backup.· Yeah.· Makes sense.     14· · · · everybody in the mill, mill associates, to get to
15· · · · Probably got that from the notes.                    15· · · · the break room, which is where their lockers were
16· · · · · · ·Let's see here.                                 16· · · · initially during Mr. Baumann's time, they walked
17· ·Q.· ·Okay.                                                17· · · · by what is considered the control room.· So they
18· ·A.· ·Control room operation, yes.· Yeah, the senior       18· · · · would have to see Baumann as they walked in.
19· · · · mill associate would have been Jim Hoover.· Okay.    19· ·Q.· ·So the employees didn't clock in but Baumann would
20· · · · Startup/shutdown procedures, yes; collaboration,     20· · · · just -- was supposed to see them --
21· · · · yes; mill production, yes; shipping/receiving.       21· ·A.· ·Correct.
22· · · · Mailing/preparing handles -- oh, the filling the     22· ·Q.· ·-- come in and know when they came in?
23· · · · small bags, yes.· CILAS reports, yes.· I don't       23· ·A.· ·Yep.· Yeah.· So --
24· · · · think he ever did those, but yes.· Preventive        24· ·Q.· ·Is that --
25· · · · maintenance schedules, yes.· Yeah.· Cooperate with   25· ·A.· ·-- the normal process -- I'm assuming that's where


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 33
    Appellate Case: 25-1349              Page: 2176            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 126                                                       Page 128
·1· ·you're leading with the next question, normal             ·1· · · · complete this duty?
·2· ·process, is at 8 o'clock everybody shows up in the        ·2· ·A.· ·As far as what?
·3· ·break room, which is next to the control room.            ·3· ·Q.· ·Well, looks like he was tasked to collaborate with
·4· ·That way there's a board on the wall that he              ·4· · · · the safety specialist about MSHA compliance.· What
·5· ·assigns the tasks out that day.· So if he wanted          ·5· · · · sort of training did you provide him on that?
·6· ·Jim to be the bagger and Ronnel be the forklift           ·6· ·A.· ·The MSHA training itself is what provides that
·7· ·driver, whatever, he would task that out by               ·7· · · · training.· The communication between the
·8· ·writing it on a white wipe-off board.· That way           ·8· · · · environmental safety specialist and the shift lead
·9· ·the guys didn't have to keep hounding him about           ·9· · · · is just communications.· That's a relationship
10· ·what do you want me to do?· What do you want me to        10· · · · that they -- they're taught to have with each
11· ·do?· It would be on that board so that they can be        11· · · · other.
12· ·easily tasked out.                                        12· · · · · · ·Because a safety specialist, you got to
13· · · · And then the same thing -- there was a board         13· · · · take -- he comes in and out of the mill all day
14· ·in the break room that showed the guys which              14· · · · long.· It's part of his job duties.
15· ·orders we were working on, which Mr. Baumann got          15· ·Q.· ·And did Baumann receive any different or more
16· ·from the production schedule before he put it in          16· · · · training on MSHA --
17· ·the production schedule spreadsheet, or form.             17· ·A.· ·Yes.· Yeah.
18· ·Okay?· So that's a normal startup procedure.              18· ·Q.· ·-- standards than, like, a regular mill associate?
19· · · · And then as he's tasked them out, whether            19· ·A.· ·Yes.· The mill associates are not in a position
20· ·they be in greasing or they're going to get               20· · · · for a leadership or a management role so they
21· ·pallets or bags or whatever, that's that                  21· · · · wouldn't receive the additional counseling and
22· ·first-hour startup, they're supposed to do their          22· · · · mentoring and private conversations to make sure
23· ·workplace inspections, the forklift inspection,           23· · · · that production works.· So, yes, Mr. Baumann did
24· ·and then go get the supplies for the run.                 24· · · · receive additional training.
25· · · · And then, once everybody comes back after            25· ·Q.· ·And was that additional training specific to MSHA

                                                   Page 127                                                       Page 129
·1· · · · finishing their specific task, then they start       ·1· · · · standards?
·2· · · · production.                                          ·2· ·A.· ·Specific to MSHA standards?· Mr. Baumann was
·3· · · · · · ·And then, at the end of the day, 3:30, an       ·3· · · · explained -- even during the training, I know I
·4· · · · hour before going home, is the shutdown              ·4· · · · personally went through the MSHA little book that
·5· · · · procedures.· Well, Mr. Baumann, the shift lead,      ·5· · · · they gave us at the -- I can't think of what the
·6· · · · lets the equipment run so that it cleans itself      ·6· · · · little book's called, the regulations, showing him
·7· · · · out, but the mill associates may be tasked with      ·7· · · · how to read through those and go through them so
·8· · · · cleaning the bathrooms, cleaning the break room,     ·8· · · · that he could find different things as he has
·9· · · · taking back the supplies that weren't finished for   ·9· · · · questions and stuff like that.
10· · · · that order that day, assisting maintenance, you      10· · · · · · ·So, yes, he was -- he was shown how to read
11· · · · know, assisting Mr. Baumann, whatever he may need,   11· · · · the MSHA regulations.· I even showed him how to
12· · · · or the shift lead, whatever they may need.           12· · · · research online, which is quicker than reading the
13· · · · · · ·So that's the whole process, but it is          13· · · · book.· So, yes, Mr. Baumann was shown how to
14· · · · written down by the shift lead in the control --     14· · · · ensure compliance with MSHA.
15· · · · or the break room so that the mill associates know   15· · · · · · ·The -- there's a guarding book that we have
16· · · · what's going on throughout their entire shift,       16· · · · that was sent to Mr. Baumann.· I asked him to read
17· · · · startup and shutdown.· Does that help?               17· · · · it and let's discuss it in the chat group so that
18· ·Q.· ·Sure.                                                18· · · · the mill associates would have a better
19· · · · · · ·And then another one, it says that -- let me    19· · · · understanding of guarding, too.· And I think that
20· · · · see where it says this -- under enforcement of       20· · · · link is out there.
21· · · · safety procedures, that he was supposed to           21· ·Q.· ·When did you send him -- when did you guys discuss
22· · · · collaborate with the environmental and safety        22· · · · that guarding book?
23· · · · specialist to ensure MSHA -- compliance with MSHA.   23· ·A.· ·Yeah, I'd have to -- it was in one of his
24· ·A.· ·Correct.                                             24· · · · counseling calls.· I don't know what date.· I'd
25· ·Q.· ·Did you provide Baumann with any training to         25· · · · have to look back at the date on the file that


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 34
    Appellate Case: 25-1349              Page: 2177            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 130                                                       Page 132
·1· · · · that was put there.· I put it there for that         ·1· · · · was -- that was about it.
·2· · · · specific reason for Mr. Baumann to read over it.     ·2· ·Q.· ·And would you be calling his personal phone on
·3· · · · So whatever the date stamp on that file is.          ·3· · · · that time or did you have a work --
·4· ·Q.· ·And did you read that book?                          ·4· ·A.· ·No, that would have been either through Teams or
·5· ·A.· ·Yes.                                                 ·5· · · · to my cell phone.· Yeah.· Because they all had --
·6· ·Q.· ·And then you just mentioned during one of the        ·6· · · · they all had my cell phone number at the time.
·7· · · · counseling calls.· What are you referring to?· Did   ·7· ·Q.· ·And if you were talking to him on the phone, he
·8· · · · you have regularly scheduled counseling calls        ·8· · · · would be on his personal phone or would he be on,
·9· · · · with --                                              ·9· · · · like, an American Tripoli phone?
10· ·A.· ·Not scheduled calls.· Mr. Baumann, you know, like    10· ·A.· ·I -- yeah, I don't -- I don't remember if he had a
11· · · · he would miss inputting the data into the daily      11· · · · company phone or not at that time.· I don't -- I
12· · · · production, so of course we'd have to reach back     12· · · · don't know.· Don't remember.
13· · · · out to him because our reports aren't being          13· ·Q.· ·Okay.· And then I think you had brought up, I
14· · · · generated properly and he would explain, Oh, I       14· · · · think at the top of page 7, control room operation
15· · · · forgot.· You have to explain to him that you can     15· · · · and it mentioned when there was -- in the absence
16· · · · fill this out at home.· You can fill this out at     16· · · · of a more senior mill associate.· When -- was that
17· · · · the park, at your mom's house, at a library.· You    17· · · · if somebody was on vacation or what was that?
18· · · · don't have to be in the control room, you know,      18· ·A.· ·No.· So Mr. Hoover is notoriously -- missed a lot
19· · · · part of that helping him understanding that it's     19· · · · of work, late, you know, disappears.· So, in a
20· · · · internet-based, not computer-in-the-office-based.    20· · · · production environment, you just can't walk away
21· · · · · · ·And then those -- those were random.· You       21· · · · from the equipment because you're putting other
22· · · · know, there was no set thing.· You know, there       22· · · · people in danger, so Mr. Baumann had to, you know,
23· · · · were times that, you know, times he called me, you   23· · · · step up and say, hey, you know, where's Jim? or,
24· · · · know, at the very beginning and would just ask       24· · · · you know, why is Mr. Hoover not here today?· You
25· · · · questions about this and about that and, you know,   25· · · · know, and he would come in and do that kind of

                                                   Page 131                                                       Page 133
·1· · · · everything was provided online so we just had to     ·1· · · · stuff.· So that's what that meant.
·2· · · · refer him to where it's at and how to get there.     ·2· ·Q.· ·And how would he know how to operate the control
·3· · · · Like I said, he's just not computer savvy.           ·3· · · · room?
·4· · · · So. . . .                                            ·4· ·A.· ·He was shown by Mr. Hoover and through Mr. Randy
·5· ·Q.· ·And how many counseling phone calls would you say    ·5· · · · Drake and through John Spears.· I don't know if
·6· · · · you had with Mr. Baumann while he was employed?      ·6· · · · Rob worked with -- yeah, the maint- -- the mill
·7· ·A.· ·Oh, I don't -- I don't -- it would be a guess. I     ·7· · · · manager before John, if you want to call it that,
·8· · · · didn't keep track of the phone calls and stuff       ·8· · · · what we called him at the time, I don't know if he
·9· · · · like that.                                           ·9· · · · worked with Rob, but he's the one that started
10· ·Q.· ·Would it be more than five?                          10· · · · documenting a lot of startup procedures and stuff
11· ·A.· ·I would say so, yes.· Over the time that he --       11· · · · like that.· So. . . .
12· ·Q.· ·More than -- yeah.                                   12· ·Q.· ·Okay.
13· ·A.· ·I would say --                                       13· ·A.· ·Rob would have been given hands-on instructions as
14· ·Q.· ·Would it be more --                                  14· · · · well as the document that we have that shows the
15· ·A.· ·Maybe five to ten, yeah.                             15· · · · startup and shutdown procedures and how to operate
16· ·Q.· ·Between five and ten?                                16· · · · and run the control room.
17· ·A.· ·Yeah.                                                17· ·Q.· ·Okay.· And then it talks about mill product and
18· ·Q.· ·Okay.· And what would be, like, the length of        18· · · · production supply inventory.· What sort of
19· · · · those phone calls, usually?                          19· · · · training did he receive to do this task?
20· ·A.· ·I have no idea.· I don't think they were very        20· ·A.· ·Hands-on training.· I mean, it's to go over there
21· · · · long, if anything, because I think a lot of times    21· · · · and count.· You know, we're giving you the
22· · · · he was just looking for questions.· Just like        22· · · · spreadsheet that has the items and you just have
23· · · · Mr. Hoover, just looking for questions:· What        23· · · · to count the items.
24· · · · about this?· What about that?· Ask him, Did you      24· ·Q.· ·And was he solely in charge of this or did
25· · · · talk with John, or Christine at the time?· That      25· · · · somebody else also have a role with regard to


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 35
    Appellate Case: 25-1349              Page: 2178            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 134                                                       Page 136
·1· · · · keeping track of inventory?                          ·1· ·A.· ·I know Mr. Hoover did; I know Mr. Ronnell Fondren
·2· ·A.· ·Mr. -- well, Mr. Baumann would have either done it   ·2· · · · did.· I can't think of the other guy's name.· Oh,
·3· · · · himself or he would have tasked it to one of the     ·3· · · · lives right down the street.· I can see his face;
·4· · · · mill associates so that they could do it, but it     ·4· · · · can't think of his name.· R.J. Williams.· R.J.
·5· · · · would have been Mr. Baumann -- you know,             ·5· · · · Williams is another one that was very voiceful
·6· · · · logically, the chain of command, it would have       ·6· · · · about Rob.· Christine Schreiber.· She was the
·7· · · · been Mr. Spears, Mr. Baumann, making sure that it    ·7· · · · operations manager there.· She had mentioned
·8· · · · gets done, and then it could have been -- even       ·8· · · · numerous times about, you know, she's thinking
·9· · · · Mr. Spears has done it.· So any of them could have   ·9· · · · about -- we probably just need to replace Rob.· We
10· · · · done it.· So. . . .                                  10· · · · need to get rid of him.· He's not being
11· ·Q.· ·So some of these duties Baumann could have tasked    11· · · · productive.· He's got an attitude.· Yeah.· So
12· · · · to another --                                        12· · · · that's the kind of feedback I'm getting from them
13· ·A.· ·Oh, yeah.                                            13· · · · concerning Rob.
14· ·Q.· ·-- employee to do?                                   14· ·Q.· ·Did anyone else make those type of complaints to
15· ·A.· ·Yes.· Yeah.· He was advised to do that.              15· · · · you?
16· ·Q.· ·Do you know if he did that?                          16· ·A.· ·Well, those are the ones that come off the top of
17· ·A.· ·He was advised to do that.                           17· · · · my head.· I think I made notes on those.· Those
18· ·Q.· ·Do you know which of these duties he tasked to       18· · · · should be in the notes that you have.
19· · · · other employees?                                     19· ·Q.· ·I'm just asking now.· Do you recall anyone else?
20· ·A.· ·Well, and part of the mill associate's progression   20· ·A.· ·No, not off the -- I don't recall any right now,
21· · · · is the learn the control room; it is to learn        21· · · · not without looking at my notes.· We tried.· We
22· · · · safety; it is to learn, you know, the inventory,     22· · · · tried.· It just. . . .
23· · · · forklifts, and everything else.· So as               23· ·Q.· ·And then it talks about shipping and receiving
24· · · · Mr. Baumann, you know, shared his experience and     24· · · · paperwork.
25· · · · knowledge, he should have been, you know, hey,       25· ·A.· ·Yes.

                                                   Page 135                                                       Page 137
·1· · · · guys, this is how you do it.· You know, you're       ·1· ·Q.· ·You say he struggled with this the entire time.
·2· · · · coming up on your 90th day, you know, you should     ·2· · · · What was the issue there?
·3· · · · know X-Y-Z by now and you're kind of lacking on      ·3· ·A.· ·Yeah.· So -- okay.· The production goes into a
·4· · · · this so here's a little bit of the training so       ·4· · · · pallet.· A pallet has to have certain -- you know,
·5· · · · that you understand better.· Work with John.· Work   ·5· · · · the customer order needs to be a certain amount of
·6· · · · with maintenance.· Work with the special -- the      ·6· · · · bags, certain bag size, certain material.· Okay.
·7· · · · safety specialist about being more proficient in     ·7· · · · If you're the one that's controlling the control
·8· · · · your job.                                            ·8· · · · room, you're the ones that are putting the
·9· · · · · · ·So he could have tasked all those things out,   ·9· · · · material in the bag, you know.· You know what
10· · · · and he was -- he was told or mentored to do that     10· · · · you're crushing.· You know what you're doing.· If
11· · · · because that's part of showing that you're a         11· · · · you -- if you -- you are the one that gets the
12· · · · leader and not just a doer.· So. . . .               12· · · · labels for those bags from the operations office,
13· ·Q.· ·And do you know if he actually did task out any of   13· · · · you put the labels on the bags, you wrap the bags,
14· · · · these duties to anyone?                              14· · · · you put the shipping documents on the bags, and
15· ·A.· ·Honestly, I don't think so because some of the       15· · · · then the customer receives it overseas 60 days
16· · · · complaints that we had from the mill associates      16· · · · later and it's not -- the bag -- it's not the
17· · · · that Rob didn't know what he was doing, he was in    17· · · · product or the count of what the paperwork says,
18· · · · over his head, he would get mad and stomp off, he    18· · · · something's wrong.
19· · · · had an attitude.· You know, those are the comments   19· · · · · · ·So that happened numerous times.· I mean,
20· · · · that, especially when you're there in person, they   20· · · · even simplest things, because this is why we had
21· · · · want to tell you everything, and then it -- that's   21· · · · to get them to start taking pictures of the orders
22· · · · what just kind of led up to, you know, him not       22· · · · when they're being loaded in the truck and when
23· · · · being a successful production shift lead, not able   23· · · · the truck is finished, they were shipping product,
24· · · · to get things done.                                  24· · · · finished product -- you know, it's wrapped, it's
25· ·Q.· ·Who made those complaints?                           25· · · · stretch wrapped, it's got the labels on it and it


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 36
    Appellate Case: 25-1349              Page: 2179            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 138                                                       Page 140
·1· ·sits in the warehouse.· Well, if they don't close         ·1· ·Q.· ·Okay.· I think here it talks about how Mr. Baumann
·2· ·all the windows and the doors when they go home at        ·2· · · · was employed from June 16th of 2022 to April 17th
·3· ·night, the pigeons fly into the building to stay          ·3· · · · of 2023.· Would you agree that those were his
·4· ·warm over the evening and they defecate all over          ·4· · · · employment dates?
·5· ·the -- drops down to the production floor and             ·5· ·A.· ·Without looking at the time tracker or his
·6· ·these guys would load the material -- the trucks          ·6· · · · paperwork, yes, I think that's right.
·7· ·without cleaning all the bird droppings off of it.        ·7· ·Q.· ·Okay.· That sounds about right?· Okay.
·8· · · · Well, as it goes through customs overseas,           ·8· · · · · · ·With regard to preventive maintenance
·9· ·now they're looking at bird flu and everything            ·9· · · · schedule, what was Baumann's role with regard --
10· ·else.· So Mr. Baumann was tasked to look at the           10· · · · what was the expected role with that? I
11· ·order, make sure it's correct, because you're the         11· · · · understand that that would probably be something
12· ·last control of that.· That's that position.· You         12· · · · the maintenance team did.· What did Baumann
13· ·know, that -- it goes right by your door.· You're         13· · · · specifically have to do with regard to that?
14· ·not even taking two steps out the door to make            14· ·A.· ·So as part of the progression growth for the mill
15· ·sure this works.                                          15· · · · associates, they need to understand how the
16· · · · So in this, he was told to make sure the             16· · · · machines work so that they can operate the
17· ·paperwork is correct, make sure that the order is         17· · · · machines efficiently.
18· ·correct, make sure it's accurate, because you're          18· · · · · · ·So the shift lead's role is to collaborate
19· ·the last person to touch that before the customer         19· · · · with the maintenance team and update the
20· ·does.· And he struggled.· And we had -- we had            20· · · · preventive maintenance schedule as tasks are
21· ·numerous issues with this.· I mean -- okay.· In           21· · · · completed.· So if we go down for maintenance, for
22· ·another example, if the order -- if the shift lead        22· · · · example, we only have -- preferably we'd have two
23· ·states that the order is completed, the shipping          23· · · · but we only had one most of the time -- the mill
24· ·department gets that notification and then they           24· · · · associates are now tasked -- Mr. Baumann or the
25· ·call the customer and the customer coordinates the        25· · · · shift lead would task that mill associate, hey,

                                                   Page 139                                                       Page 141
·1· · · · truckers to show up.· Okay.                          ·1· · · · I'm -- you know, since we're not producing, we're
·2· · · · · · ·If the truckers show up, that means that they   ·2· · · · down, I need you to go help the maintenance guy,
·3· · · · need to receive that product.· So if there's 20      ·3· · · · you know, do with -- whatever he tells you to do
·4· · · · pallets that are supposed to go on a truck,          ·4· · · · to fix the machine so that we can get back up and
·5· · · · there's supposed to be 20 pallets getting loaded     ·5· · · · running.
·6· · · · on the truck.                                        ·6· · · · · · ·So that maintenance person may be, you know,
·7· · · · · · ·There were times when Mr. Baumann had stated    ·7· · · · a tool person.· Go get this tool.· Go get that
·8· · · · that the order is ready.· The shipping department    ·8· · · · tool.· You know, bring the forklift over here.
·9· · · · does their part, the truck shows up, and the         ·9· · · · You know, hold this.· You know, whatever the
10· · · · order's not ready.· Now we get a dry run, and a      10· · · · maintenance guy is directing him.· And that's
11· · · · dry run means that the truck leaves from the         11· · · · why -- and he has to collaborate with the
12· · · · shipping yard to our location and it returns to      12· · · · maintenance team as far as any type of preventive
13· · · · the shipping yard empty because the order's not      13· · · · maintenance that would be scheduled or if there's
14· · · · full.· And the drivers won't take half orders        14· · · · any immediate breakdowns.· So that way --
15· · · · unless the BOL, the basic order -- bill of lading,   15· ·Q.· ·Okay.
16· · · · states it because it can look like they stole it.    16· ·A.· ·-- Mr. Baumann is planning his workload with the
17· · · · · · ·So we -- we've got charged numerous times for   17· · · · maintenance -- preventive maintenance.· Because we
18· · · · these dry runs because of Mr. Baumann not checking   18· · · · do preventive maintenance on Wednesdays from
19· · · · that.· So --                                         19· · · · 8:00 a.m. till noon, then we produce in the
20· ·Q.· ·Okay.                                                20· · · · afternoon, and then every other Friday, if we can,
21· ·A.· ·Explained --                                         21· · · · is a full day of preventive maintenance.
22· ·Q.· ·Okay.                                                22· ·Q.· ·Okay.
23· ·A.· ·-- you know, get the nod, I understand, I            23· ·A.· ·Okay.
24· · · · understand, and it just happened again and again.    24· ·Q.· ·I'm going to stop sharing this document and --
25· · · · And it just -- it was very expensive.                25· · · · · · ·I think we previously talked about the 40


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 37
    Appellate Case: 25-1349              Page: 2180            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 142                                                       Page 144
·1· · · · hours a week.· Do you know if Baumann ever worked    ·1· ·A.· ·It's -- it's standard.· We call it --
·2· · · · more than 40 hours per week?                         ·2· ·Q.· ·And everyone gets paid at the same time?
·3· ·A.· ·Not without looking at the schedule.· We didn't      ·3· ·A.· ·Yes.· Yeah.· We followed the same pay schedule
·4· · · · run overtime or anything like that very often, so    ·4· · · · that they had before.· We didn't change anything.
·5· · · · I would say it was very minuscule if any at all.     ·5· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop
·6· ·Q.· ·Okay.                                                ·6· · · · sharing this document, and then I'm going to
·7· ·A.· ·We used to offer it.· We used to offer Saturdays     ·7· · · · show you another document which I've marked
·8· · · · and they -- nobody took advantage of it.             ·8· · · · as Exhibit 28.
·9· ·Q.· ·Okay.· I'm going to show you -- I'm kind of          ·9· · · · · · ·(Exhibit No. 28 marked for identification.)
10· · · · bouncing around numbers here, but I'm going to       10· ·Q.· ·(By Ms. O'Reilly)· I'll share my screen and I'll
11· · · · show you what I've marked as Exhibit Number 27.      11· · · · give you access to this one, too.
12· · · · · · ·(Exhibit No. 27 marked for identification.)     12· · · · · · ·And do you know what this document is in
13· ·Q.· ·(By Ms. O'Reilly)· And it looks like this is Rob     13· · · · Exhibit 28?
14· · · · Baumann's pay stubs.· I can let you have control     14· ·A.· ·I've never seen it, so I'm assuming that it's just
15· · · · over it if you want to take a look through it.· Is   15· · · · payroll dates from 7/1 to 4/23.
16· · · · that correct?· Is that what this is?                 16· ·Q.· ·Okay.· It says "payroll details."· Is this just
17· ·A.· ·Yes.· I don't normally look at their pay stubs,      17· · · · kind of an accumulation of all of his pay dates?
18· · · · but. . . .                                           18· ·A.· ·Yeah, mm-hmm.· I have to assume so, yes.
19· ·Q.· ·Okay.· And it's showing -- where it says             19· ·Q.· ·And would this have been something you gathered
20· · · · "regular," the rate -- that his rate was $20 an      20· · · · from ADP to respond to discovery?
21· · · · hour; is that correct?                               21· ·A.· ·Yes.· Jordan or the bookkeeper would have gotten
22· ·A.· ·Yes.                                                 22· · · · with them.
23· ·Q.· ·And was that his rate throughout his employment,     23· ·Q.· ·And so is this a true and accurate copy of the
24· · · · do you know?                                         24· · · · payroll details for Robert Baumann?
25· ·A.· ·I do believe so.· I don't think -- I'd have to       25· ·A.· ·Yes.

                                                   Page 143                                                       Page 145
·1· · · · look back at his initial hiring paperwork. I         ·1· ·Q.· ·And then in here, just in a small area, I see
·2· · · · don't think he was -- I think he was hired at $20.   ·2· · · · overtime and then 3.· Do you see that up at the
·3· ·Q.· ·Okay.· And did you pull these pay stubs, I guess,    ·3· · · · top?
·4· · · · is what I'll call them?                              ·4· ·A.· ·Mm-hmm.· Yeah.
·5· ·A.· ·I didn't pull them specifically.· It would have      ·5· ·Q.· ·And what does that mean?
·6· · · · been either Jordan or the bookkeeper that pulled     ·6· ·A.· ·Yeah.· So if he would have stayed late one hour,
·7· · · · them.                                                ·7· · · · one day, you know, or three days during that pay
·8· ·Q.· ·Okay.· So these would have came from your --         ·8· · · · period, you know.
·9· · · · whatever your bookkeeper system is?                  ·9· ·Q.· ·Okay.
10· ·A.· ·It's ADP.· ADP.                                      10· ·A.· ·Yeah.· They -- so in Teams they put on their
11· ·Q.· ·Okay.                                                11· · · · tracker -- time tracker, whatever it's called,
12· ·A.· ·Yeah.                                                12· · · · they -- you know, the shift lead will put that he
13· ·Q.· ·So you asked them to pull these documents for us     13· · · · started at 8:00 and he left at 4 -- 5:30, let's
14· · · · in response to discovery?                            14· · · · just say, and that would show that there would be
15· ·A.· ·Mm-hmm.                                              15· · · · one hour of overtime.
16· ·Q.· ·Okay.· And so is this a true and accurate copy of    16· ·Q.· ·Mm-hmm.· Okay.
17· · · · Baumann's pay stubs?                                 17· ·A.· ·That's what that is.
18· ·A.· ·Yes.                                                 18· ·Q.· ·So it looks like this is kind of a cumulative
19· ·Q.· ·Okay.· And how often was Baumann paid?· Are your     19· · · · document, so does that show that he only worked
20· · · · employees paid, like, every week?· Every other       20· · · · three hours of overtime during his employment?
21· · · · week?· On certain days?                              21· ·A.· ·Yeah.· I have to -- the way it looks, yes.
22· ·A.· ·I think it's every two weeks.· I know that -- it's   22· ·Q.· ·Okay.· Does that seem right to you, that that's
23· · · · either every other week or every two weeks.· I'm     23· · · · about the --
24· · · · not sure the --                                      24· ·A.· ·Yeah.
25· ·Q.· ·Okay.                                                25· ·Q.· ·-- amount of overtime he did?


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 38
    Appellate Case: 25-1349              Page: 2181            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 146                                                       Page 148
·1· ·A.· ·Yeah, that's probably pretty accurate.               ·1· · · · hired him.· It was more -- I -- if I remember
·2· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop         ·2· · · · correctly, Christine interviewed him and she liked
·3· · · · sharing this document.                               ·3· · · · him.· You know, she liked the way that he talked
·4· · · · · · ·I'm going to show you what I have marked as     ·4· · · · and --
·5· · · · Exhibit 29.                                          ·5· ·Q.· ·And do you know if you would have been involved in
·6· · · · · · ·(Exhibit No. 29 marked for identification.)     ·6· · · · his employment decision, the employment decision
·7· ·Q.· ·(By Ms. O'Reilly)· I'll let you have control over    ·7· · · · to hire Baumann?
·8· · · · it if you want to take a look at this.               ·8· ·A.· ·I -- no, I took her word for it.· She was the
·9· · · · · · ·And do you know what this document is?          ·9· · · · operations manager.
10· ·A.· ·Doesn't look familiar.                               10· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop
11· ·Q.· ·Okay.                                                11· · · · sharing this document, and I think this might
12· ·A.· ·I mean, it could be --                               12· · · · be a good time to take a break.· Do we want
13· ·Q.· ·Looks like it's --                                   13· · · · to take, like, a 30-minute break so everyone
14· ·A.· ·Yeah, it could have been something that the          14· · · · can grab lunch and meet back?
15· · · · bookkeeper put together showing their hours.         15· · · · · · ·THE WITNESS:· Yeah.
16· ·Q.· ·It looks like it's, like, showing PTO hours.         16· · · · · · ·MS. O'REILLY:· Does that work?· Okay.
17· · · · Would that be the paid time off hours?               17· · · · So maybe come back at 12:45 p.m. Central?
18· ·A.· ·Yes.· Yeah.· It's part of their benefits.            18· · · · · · ·THE WITNESS:· Okay.
19· ·Q.· ·Okay.· So is this just, like, some sort of           19· · · · · · ·MS. O'REILLY:· Does that work for
20· · · · cumulative document showing the paid time off he     20· · · · everyone?· Okay.· We can go off the record
21· · · · used and received?                                   21· · · · and we can be back then.· Thank you.
22· ·A.· ·Yeah.                                                22· · · · · · ·(A recess was taken from 12:12 p.m.
23· ·Q.· ·And do you know if he had any paid time off left     23· · · · until 12:48 p.m.)
24· · · · over when he was terminated?· Does that document     24· ·Q.· ·(By Ms. O'Reilly)· I want to go back to something
25· · · · show that at all?                                    25· · · · I think you mentioned earlier.· You mentioned you

                                                   Page 147                                                       Page 149
·1· ·A.· ·He was paid out, if he was.                          ·1· · · · did quarterly or annual performance reviews.· Do
·2· ·Q.· ·Okay.· Okay.                                         ·2· · · · you recall that?
·3· ·A.· ·Yeah.                                                ·3· ·A.· ·That is our plan, yes.· How we got there, no.
·4· ·Q.· ·All right.· I'm going to stop sharing this           ·4· ·Q.· ·Did you do any quarterly or annual performance
·5· · · · document.                                            ·5· · · · reviews with Baumann?
·6· ·A.· ·You know how it is.· They're not required to pay     ·6· ·A.· ·Yes.
·7· · · · it out but we -- we always pay it out.               ·7· ·Q.· ·And when did you do those?
·8· · · · · · ·MS. O'REILLY:· Okay.· I'm going to show         ·8· ·A.· ·They were verbal so they wouldn't have been
·9· · · · you a document I have marked as Exhibit, let         ·9· · · · documented.
10· · · · me see, 30.· I'll share that with you.               10· ·Q.· ·Do you know when those were?
11· · · · · · ·(Exhibit No. 30 marked for identification.)     11· ·A.· ·Not off the top of my head, no.
12· ·Q.· ·(By Ms. O'Reilly)· And this document -- do you       12· ·Q.· ·Did you do more than one?
13· · · · know what this document is?                          13· ·A.· ·Yes.· He was counseled numerous times.
14· ·A.· ·Yeah, looks like an initial employment offer         14· ·Q.· ·As part of the formal performance review, how many
15· · · · letter.                                              15· · · · of those did you do?
16· ·Q.· ·Okay.· And do you know --                            16· ·A.· ·Part of his formal performance reviews?· Not
17· ·A.· ·Yeah.                                                17· · · · without looking back through my notes.· You have
18· ·Q.· ·Would you have prepared this document?               18· · · · those notes.
19· ·A.· ·Yes.                                                 19· ·Q.· ·Do you know if you did any formal performance
20· ·Q.· ·And was this document given to Baumann?              20· · · · reviews like you were talking about, like a
21· ·A.· ·I don't know if it was emailed to him or if it was   21· · · · quarterly one or an annual one?
22· · · · handed to him when he first started.                 22· ·A.· ·No.· The turnover was too high.
23· ·Q.· ·And do you recall why Mr. Baumann was hired?         23· ·Q.· ·So you didn't do any of those with Baumann, then.
24· ·A.· ·Why he was hired?· I think he was -- I'd have to     24· ·A.· ·No, the written, formal performance reviews, as
25· · · · look back at his resume and see the reasons why we   25· · · · you're asking, they were not written.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 39
    Appellate Case: 25-1349              Page: 2182            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 150                                                       Page 152
·1· ·Q.· ·Did you do any sort of, like, a verbal performance   ·1· · · · MSHA, we needed to fix the problem and Mr. Baumann
·2· · · · review going over --                                 ·2· · · · just happened to be part of that problem.
·3· ·A.· ·Yes.                                                 ·3· ·Q.· ·So the MSHA citations played a part in his
·4· ·Q.· ·-- his entire performance?                           ·4· · · · termination?
·5· ·A.· ·Mm-hmm.                                              ·5· ·A.· ·The not instructing the guys as far as the proper
·6· ·Q.· ·Okay.                                                ·6· · · · guarding of the machines, because we didn't know
·7· ·A.· ·I did -- I don't remember the last time that I was   ·7· · · · if he was doing the workplace exams, you know,
·8· · · · actually there when Mr. Baumann was there, but       ·8· · · · fitting them, just pencil whipping them, or if he
·9· · · · that was one of them because it was done in          ·9· · · · was actually doing them because how could he -- if
10· · · · control -- that was done in the control room, in     10· · · · you're reporting that everything is good and all
11· · · · his office area, I guess you could say, workplace    11· · · · the guards are on and everything else and then the
12· · · · area.· I don't know what date that was, to be        12· · · · inspector comes in a little bit later and we get
13· · · · honest with you.                                     13· · · · citations, how is that?· Something's not working
14· ·Q.· ·And what would you have gone over at that review?    14· · · · right.
15· ·A.· ·I know we talked about getting production done       15· · · · · · ·So -- and trying to find out, you know, then
16· · · · because he wasn't getting it done, accurately        16· · · · catching an attitude with, you know, the
17· · · · recording what was in the production spreadsheet,    17· · · · management side when he gets questioned about
18· · · · having his people growing and learning because       18· · · · those citations just makes it that much -- that
19· · · · that was one of the complaints that Mr. Williams     19· · · · much more harder.· So not necessarily --
20· · · · had was that he was -- he didn't feel that           20· ·Q.· ·At that time --
21· · · · Mr. Baumann was helpful at all in his progression.   21· ·A.· ·-- citations were the problem, you know, it was
22· · · · And then you've seen the chats from Mr. Hoover       22· · · · just an overall everything.
23· · · · about Mr. Baumann's attitude, so the attitude        23· ·Q.· ·And at that time I believe you had mentioned there
24· · · · would have been talked about.                        24· · · · was a safety person who was in charge of MSHA
25· · · · · · ·That's -- I mean, it wasn't, like, a            25· · · · complaints; is that right?

                                                   Page 151                                                       Page 153
·1· · · · documented time line or an outline of what we        ·1· ·A.· ·I'd have to look back because I know Jessie Molesi
·2· · · · talked about.· It was really just about, Come on,    ·2· · · · I think was there at the same time that
·3· · · · man, you've been here long enough to know what       ·3· · · · Mr. Baumann was.· So they would have -- they would
·4· · · · you're doing.· You really should be starting to      ·4· · · · have been collaborating as far as -- or at least
·5· · · · help people learn the control room.                  ·5· · · · Mr. Baumann should have been collaborating with
·6· · · · · · ·And I think he started after that               ·6· · · · the safety person as far as what, where and how to
·7· · · · conversation of having the mill associates come in   ·7· · · · resolve them and where the training needs to be
·8· · · · the control room and started learning it, but I'm    ·8· · · · done, stuff like that.
·9· · · · not sure 100 percent on that.                        ·9· ·Q.· ·And was Molesi terminated for the MSHA
10· · · · · · ·So that conversation that him and I did have,   10· · · · citations --
11· · · · that -- what I consider counseling with him did      11· ·A.· ·No.
12· · · · change his demeanor and -- for a short period of     12· ·Q.· ·-- and the safety --
13· · · · time, at least, and he tried to take what was said   13· ·A.· ·Molesi -- Molesi wasn't terminated.· He quit.· He
14· · · · to him and do something with it, I guess.            14· · · · moved.
15· ·Q.· ·And now I want to talk about Mr. Baumann's           15· ·Q.· ·Was he disciplined for the MSHA citations?
16· · · · termination.                                         16· ·A.· ·Was he disciplined?· He was counseled.· He wasn't
17· ·A.· ·Mm-hmm.                                              17· · · · there very long.
18· ·Q.· ·First I just want to know, who are the people that   18· ·Q.· ·I'm just trying to get -- you said, you know,
19· · · · participated in the decision to terminate Baumann?   19· · · · Baumann, some of issues were, you know, being out
20· ·A.· ·That would have been Jordan and myself.· In the      20· · · · of compliance, but there was also someone above
21· · · · conversations we had with John, I mean, it -- you    21· · · · him that was in charge of safety.· So did anything
22· · · · know, it could have been -- led up to whatever,      22· · · · happen to Jessie Molesi as a result of those
23· · · · but looking at the actual data and the reporting     23· · · · issues?
24· · · · and then the counseling that we were doing with      24· ·A.· ·Yes.· Yeah.· Molesi was counseled just like
25· · · · him and the citations that we were receiving from    25· · · · Mr. Baumann was.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 40
    Appellate Case: 25-1349              Page: 2183            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 154                                                       Page 156
·1· ·Q.· ·Do you know when was the day that you decided to     ·1· · · · us able to pay employees.· Now, if they're doing
·2· · · · terminate Baumann?                                   ·2· · · · their job completely, working with the other
·3· ·A.· ·It was probably a day or so before he was            ·3· · · · teammates, working with operations, working with
·4· · · · terminated because it's something that we had been   ·4· · · · safety, we wouldn't be having these MSHA issues
·5· · · · talking about for well over -- months, because       ·5· · · · either.
·6· · · · Christine -- if I remember correctly, Christine      ·6· · · · · · ·So -- and from what I understand, a lot of
·7· · · · was the one that originally brought that thought     ·7· · · · these MSHA inspections were based off anonymous
·8· · · · process that Mr. Baumann wasn't a very good          ·8· · · · phone calls.· Well, are those anonymous phone
·9· · · · choice.· And I think that's mentioned in one of my   ·9· · · · calls from Mr. Hoover complaining to MSHA because
10· · · · notes.                                               10· · · · of Baumann?· I don't know but that's what we just
11· ·Q.· ·And when you say "months," about how many months     11· · · · have to assume because Mr. Baumann -- or
12· · · · had you been considering terminating him?            12· · · · Mr. Hoover is -- was very expressive about his
13· ·A.· ·Again, the notes that I've taken would have that     13· · · · discomplaint with Mr. Mr. Baumann.
14· · · · initial date wherein she said that he probably       14· · · · · · ·The same with Mr. Ronnell Fondren.· He was
15· · · · needs to be let go.· So from that point forward.     15· · · · very expressive about his dislike for Mr. Baumann.
16· · · · · · ·But, yeah, I think we went through operations   16· · · · · · ·So, you know, we have to take in
17· · · · managers and safety people and mill associates. I    17· · · · consideration of, you know, people -- multiple
18· · · · mean, we went through a lot of mill associates.      18· · · · people telling us the same story, not just one
19· · · · So --                                                19· · · · person.· So it was accumulation over time and
20· ·Q.· ·Okay.                                                20· · · · actions by Mr. Baumann that led up to his
21· ·A.· ·And it correlates to -- if you think about the       21· · · · termination, not one thing specific.· His
22· · · · messaging that I've shared with you about Jim        22· · · · performance is really what caused it.· So. . . .
23· · · · Hoover's, Jim was a senior guy so his -- his input   23· ·Q.· ·You mentioned some anonymous phone calls.· Was
24· · · · affected a lot about what was going on with          24· · · · there concerns that Baumann was causing other
25· · · · Mr. Baumann.                                         25· · · · miners to make MSHA complaints?

                                                   Page 155                                                       Page 157
·1· · · · · · ·So, you know, if Jim -- Mr. Hoover's telling    ·1· ·A.· ·Was that a complaint of mine?· Is that what
·2· · · · me that, you know, Mr. Baumann doesn't know what     ·2· · · · you're --
·3· · · · he's doing and he's not doing things right, Jim      ·3· ·Q.· ·Was that a concern of yours?
·4· · · · being the senior guy there, I really got to look     ·4· ·A.· ·No.· No.· I just -- I come from an OSHA
·5· · · · to Jim to say, Okay.· Well, this guy knows more      ·5· · · · background, like we talked about earlier.· So, to
·6· · · · about it than the operations.· Operations just has   ·6· · · · me, MSHA is supposed to be there to help us make
·7· · · · the authority to terminate someone where, you        ·7· · · · sure that everybody is doing things safely.· So
·8· · · · know, we have to take into consideration the         ·8· · · · I've always preached to our guys at the very
·9· · · · person that has longevity.· So even though           ·9· · · · beginning who are dealing with certain MSHA
10· · · · Mr. Hoover was not in the management position.       10· · · · inspectors that MSHA's here to help us.· You can
11· · · · So. . . .                                            11· · · · see it all in my chats.· They're here to help us.
12· ·Q.· ·I believe you had previously discussed that          12· · · · So there was never any concern that MSHA's back
13· · · · Baumann was terminated on April 17th of 2023.        13· · · · again.· No.· MSHA's doing their job.
14· · · · What was the -- what was the impetus to do it        14· · · · · · ·So to have people complain about one of our
15· · · · then?· Why, after all these months, why then?        15· · · · employees is the concern.· The operations, not
16· ·A.· ·It was good -- it was -- like I said before, if we   16· · · · getting product done, getting product out the door
17· · · · look back on the number of citations and the --      17· · · · wrong, so forth, we've got to fix the problem, and
18· · · · and the production schedule that we were getting     18· · · · that's -- he was the problem.
19· · · · done, Mr. Baumann wasn't able to get things done     19· ·Q.· ·And were there any new issues with production in
20· · · · and we needed to fix the problem; otherwise, we're   20· · · · April of 2023 that kind of led to you deciding to
21· · · · going to keep running into these same issues with    21· · · · fix the problem at that time?
22· · · · MSHA, but also the company's going to fail because   22· ·A.· ·Well, like I said, it was accumulation.· It's not
23· · · · we're not getting any production done.               23· · · · just a one-time event.
24· · · · · · ·So it was always about production because       24· ·Q.· ·I guess I'm just trying to understand -- you know,
25· · · · production's what makes money which is what makes    25· · · · it seems like there was accumulation in March, and


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 41
    Appellate Case: 25-1349              Page: 2184            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 158                                                       Page 160
·1· · · · maybe there would have been accumulation from what   ·1· · · · to review those notes, I can't tell you what's
·2· · · · you're saying in January.· So what was different     ·2· · · · missing from the document.
·3· · · · about the accumulation in April versus any other     ·3· ·Q.· ·Well, I'm asking what notes would you -- are you
·4· · · · time?                                                ·4· · · · talking about?
·5· ·A.· ·Yeah, I mean, it's just timing.· Everything built    ·5· ·A.· ·Well, all the chats, all the notes that I've taken
·6· · · · up.· Like I said, I don't have anything against,     ·6· · · · off that -- my note pad, just everything that's
·7· · · · you know, Mr. Baumann or Mr. Hoover or anybody       ·7· · · · dealing with Mr. Baumann.
·8· · · · personally; it's just we've got to make sure that    ·8· ·Q.· ·So there are reasons other than the reasons that
·9· · · · operations is done.· We've got to get product out    ·9· · · · you listed here in this interrogatory that Baumann
10· · · · the door.· The business had to make money, and if    10· · · · was terminated?· Is that what you're saying?
11· · · · you're not assisting in that, doing your job that    11· ·A.· ·Yeah.· Just like it states, the principles for
12· · · · you were hired to do, we've got to terminate you.    12· · · · termination.· Mr. Baumann's termination was the
13· · · · It had nothing to do with MSHA.· That's why I        13· · · · result of several factors, including but not
14· · · · don't understand the whole complaint of              14· · · · limited to.· So we added the documentation that we
15· · · · discrimination, which we haven't really talked       15· · · · have here.· If we're looking for more than what's
16· · · · about yet.                                           16· · · · here, I would need to know the notes and to be
17· ·Q.· ·I'm going to pull up a document, Exhibit 20, which   17· · · · able to read through those and decipher the time
18· · · · we -- oh.· Exhibit 20, which we've looked at         18· · · · lines, the events, everything.
19· · · · before.· Share that with you and I'll let you have   19· ·Q.· ·Okay.· And I guess what I'm asking is when you're
20· · · · control over it, too, if you want to.                20· · · · saying "notes," what are you referring to?· Like a
21· · · · · · ·And I was going to ask specifically about       21· · · · specific document or are you referring to --
22· · · · interrogatory number 5.· I can scroll to that.       22· ·A.· ·No.· No, I'm not stating a specific document.· I'm
23· · · · Okay.· Interrogatory number 5 here says:· Set        23· · · · stating everything that deals with Mr. Baumann.
24· · · · forth the reasons Robert Baumann was terminated,     24· ·Q.· ·Okay.· So today you can't -- you can't give me any
25· · · · who participated in the decision to terminate        25· · · · more information about the reasons Baumann was

                                                   Page 159                                                       Page 161
·1· · · · Robert Baumann, and the date such decision was       ·1· · · · terminated other than what's listed in here?
·2· · · · made.· Do you see that?                              ·2· ·A.· ·Only reason is because you said I couldn't read my
·3· ·A.· ·Yes.                                                 ·3· · · · notes.· If I had everything, I could go into more
·4· ·Q.· ·Okay.· And you listed here some information, and     ·4· · · · details but I don't have those details.
·5· · · · then said principles for termination, and then had   ·5· ·Q.· ·Okay.· So sitting right here, without any other
·6· · · · some bullet points.· Do you see that?                ·6· · · · documents, you can't give me any other reasons why
·7· ·A.· ·Mm-hmm.                                              ·7· · · · Baumann was terminated than the ones listed here?
·8· ·Q.· ·And then some more detail, looks like, as well.      ·8· ·A.· ·Yes.· There were several factors, including but
·9· ·A.· ·Yes.                                                 ·9· · · · not limited to what's listed in the document.
10· ·Q.· ·Looking through this, does this include all of the   10· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop
11· · · · reasons that Baumann was terminated?                 11· · · · sharing.
12· ·A.· ·No.                                                  12· · · · · · ·I'm going to pull up another document which
13· ·Q.· ·Okay.· Could you let me know what's missing from     13· · · · I've marked as Exhibit 23.
14· · · · here as a reason of why Mr. Baumann was              14· · · · · · ·(Exhibit No. 23 marked for identification.)
15· · · · terminated?                                          15· ·Q.· ·(By Ms. O'Reilly)· And then I will let you look at
16· ·A.· ·Without having -- I'm sorry.· I didn't mean to       16· · · · this.· Well, do you know what these documents are?
17· · · · interrupt you, but without having all the            17· ·A.· ·Looks like an email from me to Mr. Dillingham.
18· · · · documentation behind it, I can't answer that         18· ·Q.· ·And just to confirm for the record, your email
19· · · · question.                                            19· · · · address is RTidaback@deedyco.com?
20· ·Q.· ·And what do you mean by that?                        20· ·A.· ·Yes.· That's one of the many mailboxes I manage.
21· ·A.· ·All of my notes, everything.                         21· ·Q.· ·And so if these emails -- if it's from that email
22· ·Q.· ·What of your notes would help you answer the         22· · · · address, they're coming from you; is that correct?
23· · · · question of what are the other reasons that          23· ·A.· ·Yes.
24· · · · Baumann was terminated?                              24· ·Q.· ·Okay.· And what is Deedyco?
25· ·A.· ·Again, without having those notes and being able     25· ·A.· ·Deedyco is another entity that we own.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 42
    Appellate Case: 25-1349              Page: 2185            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 162                                                       Page 164
·1· ·Q.· ·Okay.                                                ·1· · · · Is that common practice?
·2· ·A.· ·A professional employment organization.              ·2· ·A.· ·Yeah.· You know, we try to, because that way if
·3· ·Q.· ·I think earlier I'd asked some other companies       ·3· · · · they have questions or anything, they can ask.
·4· · · · that you owned and you didn't list this one.· So     ·4· · · · And they have -- they've all got my phone number
·5· · · · are there any others other than Deedyco and          ·5· · · · so they can contact me directly, but we try to
·6· · · · Omphalos?                                            ·6· · · · provide it so that it's open that they can
·7· ·A.· ·Deedyco has nothing to do with Omphalos.             ·7· · · · communicate, talk to us, whatever the issues are.
·8· ·Q.· ·You, as a person, what other companies do you own?   ·8· · · · But obviously, if they're going to be terminated,
·9· · · · You own Deedyco and Omphalos.· Are there others?     ·9· · · · it's not -- it's because they've been talked to
10· ·A.· ·Deedyco is really just a shell organization that     10· · · · before over and over and over and over.· So. . . .
11· · · · we have our IT -- Microsoft 365 domain in.· That's   11· ·Q.· ·Okay.· I'm going to stop sharing this document.
12· · · · why they manage our mail.                            12· · · · · · ·How many employees does American Tripoli
13· ·Q.· ·Do you own any other companies?                      13· · · · usually have?
14· ·A.· ·No.                                                  14· ·A.· ·So typically we'll have operations, safety, then
15· ·Q.· ·And then are these true and accurate copies of       15· · · · we have the shift lead, then we'll have either
16· · · · emails that you've sent to either Michael            16· · · · three or four mill associates, so let's just say
17· · · · Dillingham or whoever the person was that was        17· · · · four, and then one quarry person.· So what's that,
18· · · · listed in the "to" column?                           18· · · · eight people?· That's pretty much average.· Eight?
19· ·A.· ·Yes, that appears to be correct.                     19· ·Q.· ·Okay.
20· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop         20· ·A.· ·Sorry.
21· · · · sharing this document.· I'm going to pull up         21· ·Q.· ·And I think that you had mentioned earlier that
22· · · · a document which I've marked as Exhibit              22· · · · you've had some issues with employee retention; is
23· · · · Number 24.· I'll share my screen and give you        23· · · · that correct?
24· · · · control as well.                                     24· ·A.· ·That is correct.
25· · · · · · ·(Exhibit No. 24 marked for identification.)     25· ·Q.· ·And what are those issues?

                                                   Page 163                                                       Page 165
·1· ·Q.· ·(By Ms. O'Reilly)· Do you know what this document    ·1· ·A.· ·Well, the rest of the United States is having the
·2· · · · is?                                                  ·2· · · · employment issues as well.· One, finding qualified
·3· ·A.· ·Yeah.· It appears to be Mr. Baumann's termination    ·3· · · · people that have any type of experience; two,
·4· · · · letter.                                              ·4· · · · people that are not job-hoppers that have held
·5· ·Q.· ·And who drafted this document?                       ·5· · · · employment more than 30 days or 60 days, 90 days;
·6· ·A.· ·It's -- me.                                          ·6· · · · and then based on experience.· That's not even
·7· ·Q.· ·And when was this written?                           ·7· · · · including any type of MSHA experience.· Nobody --
·8· ·A.· ·It appears the 17th at 9:00 a.m.· April 17th,        ·8· · · · I don't think I've -- I think there was maybe one
·9· · · · 2023, 9:00 a.m.                                      ·9· · · · person that had MSHA experience that we've either
10· ·Q.· ·So 9:00 a.m. would be the time that this was         10· · · · hired or interviewed.· I'm not sure.
11· · · · drafted?· Is that what your understanding of why     11· ·Q.· ·And you mentioned about eight employees.· Is that
12· · · · the time is in there?                                12· · · · what you would consider being fully staffed?
13· ·A.· ·Yeah, I would assume so.                             13· ·A.· ·Yes.· If we had the eight people, then we would be
14· ·Q.· ·And do you know if this letter was provided to       14· · · · fully staffed.
15· · · · Mr. Baumann?                                         15· ·Q.· ·And how often do you have the eight employees?
16· ·A.· ·Yes.· Mr. Spears, if I'm not mistaken, handed it     16· ·A.· ·I don't think we've had eight -- I don't think
17· · · · to Mr. Baumann.                                      17· · · · we've had eight people more than 30 days.
18· ·Q.· ·And did you instruct Mr. Spears to do that?          18· ·Q.· ·In a row?
19· ·A.· ·Yes.· That's normally how we do things.· To assist   19· ·A.· ·In a row.
20· · · · Mr. Spears, I will type it up, send it to him, and   20· ·Q.· ·Is that what you mean?
21· · · · then have him hand it to the person that's been      21· ·A.· ·Correct, in a row.
22· · · · terminated.                                          22· ·Q.· ·And does that affect things like production, like
23· ·Q.· ·And then why did you create this letter?             23· · · · the ability to produce at the rates you want to
24· ·A.· ·We were looking to terminate Mr. Baumann.            24· · · · produce at?
25· ·Q.· ·I guess, do you always do a termination letter?      25· ·A.· ·Well, it just depends on the position, because if


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 43
    Appellate Case: 25-1349              Page: 2186            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 166                                                       Page 168
·1· · · · the safety person's not there, that means John's     ·1· · · · reason that you had to go through 37 employees
·2· · · · got to pick up their tasking.· If maintenance        ·2· · · · during his employment?
·3· · · · isn't there, John's got to take on that tasking.     ·3· ·A.· ·Some of them, yes.
·4· · · · · · ·You know, the mill associates we've been        ·4· ·Q.· ·Which ones?
·5· · · · fairly lucky with at -- which is one of the          ·5· ·A.· ·Well, I have -- for example, I know Camrin Bindel.
·6· · · · reasons why we don't understand not being able to    ·6· · · · He didn't -- he did not talk highly of
·7· · · · get production out if we're able to run because if   ·7· · · · Mr. Baumann.
·8· · · · there's the three people there and the shift lead,   ·8· · · · · · ·Jeff?· If I remember right, Jeff and Rob had
·9· · · · that's four people to run the operations.· And in    ·9· · · · issues.· I think they actually got into a argument
10· · · · the mill, you really only need two mill associates   10· · · · match.
11· · · · and the shift lead.· So, yeah, that's -- that's      11· · · · · · ·Juan Trujillo I don't remember.
12· · · · been the problem.                                    12· · · · · · ·Christine obviously told us that she thought
13· · · · · · ·The third -- the third -- we consider the       13· · · · Rob needed to go a long time ago.
14· · · · mill associates three minimum because two can do     14· · · · · · ·Hold on.· Let me back up.· Maybe I'm
15· · · · the job and one is the backup just in case takes     15· · · · mistaken.· Camrin.· Camrin?· Was it Camrin?· Okay.
16· · · · lunch or, you know, is out sick or whatever.· The    16· · · · So Jubil -- I might be mistaking Jubil and Camrin,
17· · · · fourth is just an extra backup backup that can       17· · · · but one of them -- I don't remember too much about
18· · · · assist maintenance.· So that's the whole thing.      18· · · · Jubil, but he would have complained about Rob.
19· ·Q.· ·Okay.· I'm going to show you Exhibit 20 again.       19· · · · · · ·Bonnie?· Bonnie Bainter, she complained about
20· · · · I'll share my screen and I'll let you have           20· · · · Rob.· She had leadership experience.· She had
21· · · · control.                                             21· · · · management experience in safety in Dallas, and
22· · · · · · ·I'm going to go specifically to page 10 of      22· · · · she -- if I remember correctly, she even counseled
23· · · · Exhibit 20, and this interrogatory number 6 says:    23· · · · Rob verbally, you know, trying to help him out.
24· · · · Identify by name, job title, job duties, dates of    24· · · · I'm trying to help him.· And he just -- it didn't
25· · · · employment, phone number, email address and home     25· · · · take.

                                                   Page 167                                                       Page 169
·1· · · · address each individual employed by Respondent at    ·1· · · · · · ·Let's see here.· I don't remember Josh Bird.
·2· · · · MOSenecaManufacturer LLC, d/b/a American Tripoli     ·2· · · · Let me see here.· Carson?· No, I don't remember
·3· · · · Mine from June 1, 2022, through April 17th, 2023,    ·3· · · · Carson.
·4· · · · and then you provided a list of employees.· I'm      ·4· · · · · · ·Landry was another one.· He was a tall --
·5· · · · just kind of scrolling through them now just --      ·5· · · · very tall guy.· He didn't really care for
·6· · · · and it looks like there would have been --           ·6· · · · Mr. Baumann either.· Didn't say good things about
·7· ·A.· ·Crazy.                                               ·7· · · · him, should I say.
·8· ·Q.· ·-- 37 employees in that time period?· Does that      ·8· ·Q.· ·I guess what I'm asking is, you said maybe Baumann
·9· · · · sound right?                                         ·9· · · · was the reason that you went through so many
10· ·A.· ·Pretty close, yeah.                                  10· · · · employees.· So are you trying to say that any of
11· ·Q.· ·Okay.· Is that pretty common to go through that      11· · · · these employees who complained about him might
12· · · · many employees in that time period?                  12· · · · have --
13· ·A.· ·Lord, I hope not.                                    13· ·A.· ·Yes.
14· ·Q.· ·Has it been your experience -- has that been         14· ·Q.· ·-- quit or been terminated because of Baumann?
15· · · · common with American Tripoli?                        15· ·A.· ·Yes.
16· ·A.· ·No, not actually.                                    16· ·Q.· ·Okay.· And what is the basis for that?
17· ·Q.· ·Okay.                                                17· ·A.· ·Based on their conversations, because we didn't --
18· ·A.· ·That's -- that's kind of why we relate it back to,   18· ·Q.· ·Did any of these people tell you they quit because
19· · · · Is it some of Rob?· Some of -- is this turnover      19· · · · of Baumann?
20· · · · because of Mr. Baumann?· You know, that's --         20· ·A.· ·Did they say that they quit because of Baumann?
21· · · · that's part of the troubleshooting and trying to     21· · · · Not -- not directly, no.
22· · · · figure out.· Got to fix the problem and I think we   22· · · · · · ·Let's see here.· Because there's -- there's
23· · · · have fixed the problem by terminating Mr. Baumann.   23· · · · other guys in here that talked to me specifically
24· · · · One of the problems.                                 24· · · · about -- Gage Wheeler's another one.· You know, he
25· ·Q.· ·So your concern that Baumann may have been the       25· · · · did not -- he did not like Baumann.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 44
    Appellate Case: 25-1349              Page: 2187            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 170                                                       Page 172
·1· ·Q.· ·What was Wheeler's problem with Baumann?             ·1· · · · Neosho, which was the town he was from if I
·2· ·A.· ·He was a maintenance guy and he said that Baumann    ·2· · · · remember.· Yeah.· Neosho.
·3· · · · was lazy.· He would not help with maintenance.       ·3· · · · · · ·Roger Chester --
·4· · · · · · ·Ron -- Ronnell Fondren.· If I'm not mistaken,   ·4· ·Q.· ·Sorry.· I was going to have a question.
·5· · · · Ronnell Fondren said that Rob was racist because     ·5· ·A.· ·Yeah.
·6· · · · of what he was tasking Ronnell to do instead of      ·6· ·Q.· ·Did you have any issues with Jeff Willis while he
·7· · · · sharing the workload with all the other mill         ·7· · · · was employed?
·8· · · · associates.· So Ronnell -- if you want to talk       ·8· ·A.· ·Did I have any issues with Mr. Willis.· I don't
·9· · · · with someone that would -- probably going to talk    ·9· · · · say we had any issues.· You know, he had a
10· · · · bad about Rob, it would probably be Ronnell.         10· · · · different opinion on things and nothing -- nothing
11· · · · · · ·Yeah, I don't remember any of those guys.       11· · · · negative.· I would hire him back if that was ever
12· · · · Yeah.                                                12· · · · the case, yeah.
13· ·Q.· ·I'm going to kind of back up a little bit and go     13· ·Q.· ·So you didn't have any major concerns about his
14· · · · back through some of these just to get some -- a     14· · · · work performance?
15· · · · little more information about these.                 15· ·A.· ·No.
16· · · · · · ·So starting with Frank Duran, it looks like     16· ·Q.· ·Okay.
17· · · · he was actually terminated or quit before Baumann    17· ·A.· ·No.· I mean, there were certain things, I mean,
18· · · · started; is that correct?                            18· · · · but nothing -- yeah.
19· ·A.· ·Mm-hmm.                                              19· ·Q.· ·Okay.· Roger Chester.· Do you know why he left?
20· ·Q.· ·Okay.· And why did he leave, do you know?            20· ·A.· ·Yep.· He had 30-plus years there and he was
21· ·A.· ·It was actually a conflict of him telling the mill   21· · · · looking to retire and he went and found another
22· · · · associates that he was going to do it his way        22· · · · job.
23· · · · rather than the company's way, and of course we      23· ·Q.· ·Okay.· And did you have any issues with his work
24· · · · can't have that.· We've got to be safe in what       24· · · · performance while he was there?
25· · · · we're doing.                                         25· ·A.· ·No.· No.· I think Roger was just -- I mean, he'd

                                                   Page 171                                                       Page 173
·1· ·Q.· ·So did you terminate him?                            ·1· · · · been there so long and set in his ways.· You know,
·2· ·A.· ·Oh, yes.                                             ·2· · · · he didn't like getting approvals for purchases and
·3· ·Q.· ·Okay.· And then Camrin Bindel.· Why did Camrin       ·3· · · · stuff like that.· That would be the only thing he
·4· · · · leave?                                               ·4· · · · ever complained to me about.· Yeah, he did his
·5· ·A.· ·Yeah, I don't -- I don't remember.· I'd have to go   ·5· · · · job.· I wish he was still there but. . . .
·6· · · · back and look because I'm trying -- I'm getting --   ·6· ·Q.· ·Who approves purchases at American Tripoli?
·7· · · · I think I'm getting Camrin and Jubil Clark mixed     ·7· ·A.· ·That would be the operations manager, and based
·8· · · · together.· Oh, no, no, no.· Hold on.· Camrin, if I   ·8· · · · on -- dependent on the amount.· They have -- John
·9· · · · remember correctly -- if I remember correctly,       ·9· · · · has a credit card.· I think -- I don't think Josh
10· · · · Camrin stabbed Jubil in the leg with a needle --     10· · · · has one, but John's got a credit card to purchase
11· · · · pair of needle nose pliers in the bathroom, if I     11· · · · things.
12· · · · remember that correctly.                             12· ·Q.· ·Up to what level can John purchase things?
13· ·Q.· ·Okay.                                                13· ·A.· ·I don't know.· I'd have to check on the limit that
14· ·A.· ·Now, I don't remember if it broke skin or not        14· · · · he has.
15· · · · because Bonnie -- Bonnie was there and Bonnie        15· ·Q.· ·Is there a certain amount that you would expect
16· · · · handled all that.· So I don't really remember --     16· · · · him to consult with you first?
17· · · · Bonnie and Christine.                                17· ·A.· ·No.· I mean, we talk about everything anyhow so
18· ·Q.· ·Okay.                                                18· · · · it's not -- it's not a certain amount, no.
19· ·A.· ·And so that's -- if I remember that correctly,       19· ·Q.· ·And then Juan Trujillo.· Do you know why he left?
20· · · · Camrin was terminated because he attacked another    20· ·A.· ·I think, if I remember correctly, he found other
21· · · · employee.                                            21· · · · employment because he was looking for something
22· ·Q.· ·Yeah.· Okay.                                         22· · · · during the day and at the time we had him at
23· ·A.· ·Yeah.· So -- Jeff.                                   23· · · · night.
24· ·Q.· ·And then Jeff -- yeah.                               24· ·Q.· ·Okay.
25· ·A.· ·Jeff Willis, he quit.· He found another job in       25· ·A.· ·If I --


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 45
    Appellate Case: 25-1349              Page: 2188            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 174                                                       Page 176
·1· ·Q.· ·Did you have any concerns about -- did you have      ·1· · · · that job and you train someone that can replace
·2· · · · any concerns with his work performance?              ·2· · · · you, then we can move you to be a quarry manager.
·3· ·A.· ·No.                                                  ·3· · · · But right now, we need you to do your job.· So
·4· ·Q.· ·And then Christine Schreiber.· Why did she leave?    ·4· · · · that was the reason why she quit.· She got mad
·5· ·A.· ·If I remember right, she was going through           ·5· · · · because we wouldn't move her to the quarry
·6· · · · relationship issues and moving closer to her         ·6· · · · manager.
·7· · · · family in Arkansas, if I remember correctly.         ·7· ·Q.· ·Did you have concerns with her work performance in
·8· ·Q.· ·And did you have any concerns with her work          ·8· · · · the role she had?
·9· · · · performance while she was there?                     ·9· ·A.· ·No, I think she was a good employee.· I think
10· ·A.· ·Yes and no.· You know, she didn't have -- just       10· · · · her -- just got to her.
11· · · · like we talked about before, she didn't have         11· ·Q.· ·And then Angela Shafer?
12· · · · manufacturing experience and leading a team of       12· ·A.· ·Yes.· She had --
13· · · · men, as she said.· I remember her saying that, but   13· ·Q.· ·Looks like production.
14· · · · yeah.· She was just moving on.· Wasn't               14· ·A.· ·Yes, ma'am.· She was our shipping coordinator.
15· · · · anything. . . .                                      15· · · · She had personnel issues.· She was -- her and
16· ·Q.· ·And then I think we talked at Jubil Clark.· Do you   16· · · · Jessie Hodge, if I remember correctly, they were
17· · · · recall why Jubil left the company?                   17· · · · married but I don't think they changed names.· But
18· ·A.· ·Yeah, I don't -- I don't remember Jubil Clark.       18· · · · anyhow, they were taking care of an elderly
19· ·Q.· ·And then Cheri Blount.· It looks like                19· · · · neighbor and that elderly neighbor was needing
20· · · · administrative assistant.· Would she have been       20· · · · home care and Angela was just in that -- you know,
21· · · · a -- is that a direct employee of American           21· · · · the -- what's it called?· The probationary period.
22· · · · Tripoli, an administrative assistant?                22· · · · And we needed her to come in to learn the system
23· ·A.· ·Yeah.· We don't have that role anymore.· She found   23· · · · and she couldn't.
24· · · · a job closer to her home so she wanted to stay       24· · · · · · ·So she basically, I can't come in.· You know,
25· · · · home.· Yeah.· She quit, basically.                   25· · · · You're going to have to let me work from home.

                                                   Page 175                                                       Page 177
·1· ·Q.· ·And what -- you don't have that role anymore.        ·1· · · · · · ·Well, we need you here for the training part.
·2· · · · Does somebody else do those kind of job duties of    ·2· · · · We need you to hear to understand all the
·3· · · · an administrative assistant?· What's the reason      ·3· · · · questions and how to do things and see what's
·4· · · · for not having that?                                 ·4· · · · right before we just let you work from home.· So
·5· ·A.· ·Yeah, if John needed an assistant--we've offered     ·5· · · · she basically said, Well, if I can't work from
·6· · · · that before--and he said it's -- not yet.· John's    ·6· · · · home, I'm going to have to quit.· So it was kind a
·7· · · · very -- to me, John's very smart as far as           ·7· · · · mutual thing.
·8· · · · operation's concerned and trying to keep             ·8· ·Q.· ·And do you currently have the role of a production
·9· · · · production moving and costs down.· He's a very --    ·9· · · · shipping coordinator?
10· · · · very intelligent guy.                                10· ·A.· ·We have a contractor do that, yes.· It's
11· ·Q.· ·Okay.· And then Bonnie Bainter.                      11· · · · outsourced.
12· ·A.· ·Yeah.                                                12· ·Q.· ·Okay.· And then Joshua Bird.· Do you know why he
13· ·Q.· ·Why did she leave?                                   13· · · · left?
14· ·A.· ·Bonnie Bainter.· That's a great story.· Bonnie,      14· ·A.· ·I don't really remember Joshua Bird.
15· · · · she quit because she wanted to be the quarry         15· ·Q.· ·Okay.· William Shallenburger.· Do you recall why
16· · · · manager.· Basically she wanted to replace Roger      16· · · · he left?
17· · · · Chester.· But, again, as we explained to her, we     17· ·A.· ·No, I don't remember Shallenburger.
18· · · · hired her and we need her in the safety role         18· ·Q.· ·And Jessie Hodge.· Do you recall why he left?
19· · · · rather than being a quarry manager because she's     19· ·A.· ·He was maintenance.· He -- yeah.· He was Angela's
20· · · · never worked in a quarry.· She doesn't know how to   20· · · · husband and he was spending more time dealing with
21· · · · operate heavy equipment.· She had taken the CDL      21· · · · that neighbor than he was coming to work.
22· · · · test and she failed it, which we paid for, but       22· ·Q.· ·So was he terminated?
23· · · · that was -- that was her thing.                      23· ·A.· ·I don't know if he was terminated or if he quit.
24· · · · · · ·We kept telling her:· Just stay in the job      24· · · · I'd have to look back at the documents.· I know he
25· · · · that we hired you to do, and then as you learn       25· · · · had issues with Carson and Terry Newburn, too.· So


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 46
    Appellate Case: 25-1349              Page: 2189            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 178                                                       Page 180
·1· · · · I think it was kind of a mutual thing.· I don't      ·1· · · · little bit about what's going on with these people
·2· · · · know if he was terminated or not.                    ·2· · · · and their job performance.· Is that usually based
·3· ·Q.· ·Did you have concerns with his work performance      ·3· · · · on what other people are telling you, or just
·4· · · · other than, like, not being around as much as he     ·4· · · · generally how do you know?
·5· · · · should be?                                           ·5· ·A.· ·Yeah, it would be through either the chat groups
·6· ·A.· ·I mean, he portrayed that he knew more than what     ·6· · · · or through their direct messaging or them calling
·7· · · · he knew being a safety -- or being a maintenance     ·7· · · · me directly.
·8· · · · lead, but he was just slow as far as maintenance.    ·8· ·Q.· ·Okay.
·9· · · · I think he was used to shadetree mechanic            ·9· ·A.· ·That's what I mean.· It's over time; it's not just
10· · · · maintenance rather than a production line            10· · · · all at once.
11· · · · maintenance, easiest way to say it.                  11· ·Q.· ·And then Landry Barnes.· Do you recall why he
12· ·Q.· ·And then Carson Allman.· Do you recall why he        12· · · · left?
13· · · · left?                                                13· ·A.· ·Yeah.· He got a job on the oil rigs, if I remember
14· ·A.· ·Carson and Terry Newburn are -- Carson is Terry's    14· · · · correctly, but I know he was moving south.· That's
15· · · · sister, if I remember correctly, husband.· So        15· · · · all I know.· No issues with him.
16· · · · Carson was Terry's sister's husband.· They were      16· ·Q.· ·And Terry Barlow.· Do you know why he left?
17· · · · both let go because they were doing things wrong,    17· ·A.· ·I don't really remember Terry Barlow.· Yeah, like
18· · · · for example, taking off machine parts and this and   18· · · · I said, he's --
19· · · · that during production and then leaving without      19· ·Q.· ·Looks like he was only there five days, so --
20· · · · telling anybody.· And they did it numerous times     20· · · · okay.
21· · · · and, you know, can't -- can't do that in a           21· · · · · · ·Richard McClelland.· Do you remember why he
22· · · · production world.                                    22· · · · left?
23· · · · · · ·They were verbally and not necessarily          23· ·A.· ·He stopped showing up.· He attended the MSHA
24· · · · physically -- I don't think either one of them       24· · · · training and then -- yeah, if you look at it,
25· · · · were that big of guys -- but verbally abusive and    25· · · · November 14th --

                                                   Page 179                                                       Page 181
·1· · · · disrespectful to John, probably also Mr. Baumann,    ·1· ·Q.· ·I see that.
·2· · · · if I remember correctly.· I think Terry and          ·2· ·A.· ·-- basically two days.· He didn't show up.· Yeah.
·3· · · · Mr. Baumann got in a argument, from what I           ·3· ·Q.· ·And then Blake Leaf.· Do you remember why he left?
·4· · · · understand, but they were both terminated.· Same     ·4· ·A.· ·No, I don't remember Blake Leaf.
·5· · · · date, same argument.                                 ·5· ·Q.· ·Justin Campbell?
·6· ·Q.· ·How did you know about the issues with them?· Is     ·6· ·A.· ·Yeah, doesn't ring a bell either.
·7· · · · that something someone's reporting back to you?      ·7· ·Q.· ·Okay.· Sarah Giberti.· Do you remember why she
·8· ·A.· ·That could have been through a phone call. I         ·8· · · · left?
·9· · · · don't really remember how I got the information      ·9· ·A.· ·Yep.· Yep.· She was a -- what is it called?· An
10· · · · but. . .                                             10· · · · attorney has a person that works for them? A
11· ·Q.· ·Is a lot of your information about employees' work   11· · · · research --
12· · · · performance coming from John Spears or is it         12· ·Q.· ·Paralegal?
13· · · · coming from anyone in particular?                    13· ·A.· ·Paralegal.· Thank you.· Yeah.· That's what she was
14· ·A.· ·Well, some of it would have been through             14· · · · doing, she wanted to do.· She was going to school
15· · · · Christine, some through John Spears, some through    15· · · · for it, she finished schooling, and then she got a
16· · · · Jim Hoover, some through Mr. Baumann, some           16· · · · job as a paralegal.
17· · · · directly from -- like R.J. Williams.· You know, he   17· ·Q.· ·And then Bryceton Williams?
18· · · · talked to me a few times.· Especially when I was     18· ·A.· ·Bryceton Williams.· Yeah, I don't --
19· · · · there.· Landry Barnes is another one.· He talked     19· ·Q.· ·What about Benjamin Waters?· Do you recall why he
20· · · · to me.· You know, Jessie Hodge was another one       20· · · · left?
21· · · · that talked to me.· You know, that's -- just         21· ·A.· ·Yeah.· Benjamin.· Yes.· Okay.· So Ben is one that
22· · · · different guys just talking openly, especially       22· · · · I counseled individually about promotion because
23· · · · when I was there.                                    23· · · · he wanted to get promoted.· He wanted to become a
24· ·Q.· ·Mm-hmm.· So when -- since you aren't there every     24· · · · safety or maintenance person, I don't remember
25· · · · day, you seem to have -- you know, know what -- a    25· · · · which one it was, but he needed more money.· That


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 47
    Appellate Case: 25-1349              Page: 2190            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 182                                                       Page 184
·1· · · · was basically it.· And, you know, he -- we talked    ·1· · · · they get the product in-house to make sure what we
·2· · · · to him about, you know, this is how you're going     ·2· · · · say we're giving them is what they're getting.
·3· · · · to get promoted.· This is what you got to do.· And   ·3· · · · · · ·So we've had that issue where CILAS reports
·4· · · · he just wasn't wanting to do it, so he said he was   ·4· · · · weren't being done per the production, and then
·5· · · · just going to find another job.· I think -- I        ·5· · · · the quality control behind that to make sure what
·6· · · · thought I provided you guys with his last message    ·6· · · · is in the bag is what the CILAS report says and
·7· · · · to us.· Yeah --                                      ·7· · · · what is on the shipping documents is what is in
·8· ·Q.· ·I may have that.                                     ·8· · · · the pallet and this, that and everything else.
·9· · · · · · ·Okay.· Dakota Fellers.· Do you remember --      ·9· · · · That's why we were struggling with Rob, so we had
10· · · · doesn't look like --                                 10· · · · to hire Kensley.· Okay, let's see if we can fix
11· ·A.· ·No.                                                  11· · · · this to where we're taking some of that off of Rob
12· ·Q.· ·-- that person was there very long.                  12· · · · because he's not doing very well.
13· ·A.· ·Another person that showed up for the MSHA           13· · · · · · ·That's what I'm saying.· We were trying
14· · · · training to get paid and never showed up.            14· · · · everything we could to help him understand,
15· ·Q.· ·Kensley Brewer.· Do you recall why she left?         15· · · · there's not -- you're -- there's more to being a
16· ·A.· ·She was only there a short period of time and I      16· · · · leader rather than just showing up.· That's an
17· · · · think she lived in -- yeah, she lived in Joplin      17· · · · employee, just showing up and doing what you're
18· · · · and I think that was too far for her and she         18· · · · told.· That's not a leader.· So that's why that
19· · · · didn't like her hours.                               19· · · · position was hired.
20· ·Q.· ·Okay.· Did you have any concerns with her work       20· · · · · · ·And Rob --
21· · · · performance?                                         21· ·Q.· ·Have you had that position at other times?
22· ·A.· ·Not that I know of.                                  22· ·A.· ·Yes.· John is actually doing that now.· So he's
23· ·Q.· ·And what's production coordinator?· What sort        23· · · · picking up on all those other things.· Yeah.
24· · · · of -- what is that job title?                        24· ·Q.· ·And do you know why Andrew Wasson left?
25· ·A.· ·So back to the whole thing of making sure that the   25· ·A.· ·Andrew Wasson was arrested for stealing diesel

                                                   Page 183                                                       Page 185
·1· ·production is done correctly.· So when they do            ·1· · · · fuel from us.· He broke into the gas tank at the
·2· ·production, okay, they -- the shift lead looks at         ·2· · · · quarry and broke into our garage across the street
·3· ·the production schedule, puts it on the board,            ·3· · · · from the admin building and stole diesel and DEF
·4· ·lets everybody know what they're doing.                   ·4· · · · fluid and gas tanks and all kinds of stuff.
·5· · · · They go get all the pallets, all the slip            ·5· ·Q.· ·And then do you know why Gage Wheeler left?
·6· ·sheets, all the bags, the stretch wrap that's             ·6· ·A.· ·Gage Wheeler.· If I remember correctly, Gage
·7· ·going to be done.· Then, when the order's done,           ·7· · · · Wheeler had gotten other employment back in
·8· ·the shift lead asks the operations to bring over          ·8· · · · Arkansas where he was originally from.
·9· ·the labels and the shipping documents so that it          ·9· ·Q.· ·Did you have any concerns with his work
10· ·can get, you know, labeled and get wrapped.· Each         10· · · · performance while he was there?
11· ·bag gets a label so the customer, when they               11· ·A.· ·I didn't personally, the few times that I talked
12· ·receive it, they know what's in that.                     12· · · · to him, but the guys there did.· For example,
13· · · · During that process, we run what's called a          13· · · · Mr. Hoover said he was lazy.· He sits in the
14· ·particulate analysis report.· It's a CILAS report.        14· · · · maintenance room rather than trying to be
15· ·The shift lead, part of that job description, they        15· · · · proactive and keep the system flowing, stuff like
16· ·have to go into the maintenance room where the            16· · · · that.
17· ·CILAS machine is and run a CILAS report.· The             17· · · · · · ·Alex --
18· ·CILAS machine analyzes all the minerals and               18· ·Q.· ·Why did --
19· ·everything that's in that product, and then we            19· ·A.· ·-- Snodgrass?
20· ·generate a report and give it to the customer.            20· ·Q.· ·Yes.
21· · · · So Rob, struggling at his role, we needed to         21· ·A.· ·Alex Snodgrass, he got a job in a hospital.· He
22· ·make sure that the customer got the appropriate           22· · · · was a X-ray technician, if I remember correctly,
23· ·CILAS report, not just some report that they made         23· · · · and he was looking for a job, was going to move to
24· ·up, because certain customers, like 3M, for               24· · · · Joplin, from what I understand, got an Arkansas
25· ·example, they will run their CILAS report when            25· · · · job at a hospital.· He moved back to Arkansas.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 48
    Appellate Case: 25-1349              Page: 2191            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 186                                                       Page 188
·1· ·Q.· ·Why did Ronnell Fondren leave the company?           ·1· · · · represent that I combined the termination letters
·2· ·A.· ·If I remember correctly, Mr. Fondren, I believe he   ·2· · · · you sent me into just this one document for
·3· · · · was terminated.· I don't remember why, but I think   ·3· · · · purposes of this exhibit just to make it easier,
·4· · · · that he was terminated.                              ·4· · · · but if you want to run through that and make sure
·5· ·Q.· ·Okay.                                                ·5· · · · that that looks accurate.
·6· ·A.· ·Yeah.· And Mr. Molesi, he moved.                     ·6· ·A.· ·That's fine.· I understand.
·7· · · · · · ·And then Mr. Talbert, he was terminated for     ·7· ·Q.· ·Okay.· And so do you know what these documents
·8· · · · performance and attendance.                          ·8· · · · are?
·9· ·Q.· ·And then, I guess, back up to Fondren.               ·9· ·A.· ·Just like you said, the termination letters for
10· ·A.· ·Yeah.                                                10· · · · individuals.
11· ·Q.· ·You had mentioned that you believe that he was       11· ·Q.· ·And, in response to discovery, you compiled -- you
12· · · · terminated.· It looks like he was terminated a       12· · · · gathered the terminations letters and provided
13· · · · couple days after Baumann.· Was that at all          13· · · · those to us; is that correct?
14· · · · related to Baumann's termination?                    14· ·A.· ·Gathered them and sent them to you.
15· ·A.· ·I don't think so.· Had nothing to do -- I don't      15· ·Q.· ·Okay.
16· · · · think they were related at all.· Yeah.               16· ·A.· ·Yes.
17· ·Q.· ·Okay.· And then Patrick Lewis.· Do you recall why    17· ·Q.· ·And if you want to scroll through them just to
18· · · · he left the company?                                 18· · · · make sure you've seen them all, and after you've
19· ·A.· ·He -- I do believe he got another job.· I'm not      19· · · · done that, if you could let me know if these are
20· · · · sure where.                                          20· · · · true and accurate copies of the termination
21· ·Q.· ·Okay.                                                21· · · · letters that you provided during discovery.
22· ·A.· ·Yeah.· But he turned in his termination letter, I    22· ·A.· ·Yep.· They appear to be so, yes.
23· · · · think.                                               23· ·Q.· ·Okay.· And when you went in to gather termination
24· ·Q.· ·And then Ryan Closser.· Do you recall why he left    24· · · · letters, is that something that you keep in, like,
25· · · · the company?                                         25· · · · an employee's personnel file or where do you kind

                                                   Page 187                                                       Page 189
·1· ·A.· ·Yes.· Mr. Closser had personal issues.· He -- his    ·1· · · · of keep these?
·2· · · · wife, I do believe, would not let him use the car    ·2· ·A.· ·Yeah, we have a HR channel, I guess you could say,
·3· · · · to get to work.                                      ·3· · · · in Teams that holds private files on each
·4· ·Q.· ·And then Raneldon Williams.· Is he still an          ·4· · · · individual.
·5· · · · employee of American Tripoli?                        ·5· ·Q.· ·Okay.
·6· ·A.· ·No.· Yeah, he -- he got another job.· I'm not sure   ·6· ·A.· ·The only person that has access to them is myself,
·7· · · · where but he got another job.· Yeah, he turned in    ·7· · · · Jordan and John.
·8· · · · a termination, too.                                  ·8· ·Q.· ·Okay.· And do these -- what's kind of the purpose
·9· ·Q.· ·Maybe not that long ago because it looks like this   ·9· · · · of these termination letters, I guess?
10· · · · time is to present.· Was it not that long ago?       10· ·A.· ·Well, one, so that the individual knows that
11· ·A.· ·Yeah, I'd have to look at the notes.· Yeah.· It      11· · · · they're being terminated, but if they have any
12· · · · was after that --                                    12· · · · questions that they can ask.· Just a notice.
13· ·Q.· ·And then I presume John Spears is still employed,    13· ·Q.· ·And does it list out -- does it always list out
14· · · · correct?                                             14· · · · the reasons, the specific reasons, why the
15· ·A.· ·Correct.· Mm-hmm.                                    15· · · · employee was terminated?
16· · · · · · ·MS. O'REILLY:· Okay.· I'm going to stop         16· ·A.· ·Not necessarily they have to, and dealing with
17· · · · sharing this document.                               17· · · · Missouri Department of Labor, we don't have to.
18· · · · · · ·I'm going to share with you a document that     18· · · · It's a right to work state so we don't have to
19· · · · I've marked as Exhibit 25.                           19· · · · give a reason, according to the Missouri
20· · · · · · ·(Exhibit No. 25 marked for identification.)     20· · · · Department of Labor.· We try to.· We try to.
21· ·BY MS. O'REILLY:                                          21· ·Q.· ·Okay.· And then I'm just going to kind of scroll
22· ·Q.· ·I'll put that up.· Okay.· And I'm going to -- let    22· · · · down to -- let me see.· So on page 2 there's a
23· · · · me -- if it lets me.· Here we go.· I'm going to      23· · · · letter to Carson Allman.
24· · · · let you see this document.· And this is the          24· ·A.· ·Yes.
25· · · · document I've marked as Exhibit 25, and I'll         25· ·Q.· ·And then on page 3 there's one to Jessie Hodge;


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 49
    Appellate Case: 25-1349              Page: 2192            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 190                                                       Page 192
·1· · · · and then page 4 there's one to Terry Newburn;        ·1· ·A.· ·Yes, I recognize it.
·2· · · · page 5, there's one to Ryan Closser; and on 6        ·2· ·Q.· ·Okay.· And are you the one who compiled the
·3· · · · there's one to Jim Hoover.· These all kind of look   ·3· · · · documents of disciplinary records in response to
·4· · · · similar.· They all list the one, two, three.· They   ·4· · · · discovery?
·5· · · · seem to list the same things.· Is this kind of       ·5· ·A.· ·Yes.
·6· · · · like a form that you use for these termination       ·6· ·Q.· ·And do those come from the same personnel files
·7· · · · letters?                                             ·7· · · · that we were just talking about?
·8· ·A.· ·Not necessarily.· It's not one that's saved or       ·8· ·A.· ·Yes.
·9· · · · anything.                                            ·9· ·Q.· ·And would you say that these are a true and
10· ·Q.· ·So you tailor these to the --                        10· · · · accurate copy of the disciplinary records you
11· ·A.· ·Try to.                                              11· · · · provided to us in response to discovery?
12· ·Q.· ·-- employee that you're terminating?                 12· ·A.· ·I can only see this one page, so --
13· ·A.· ·Yeah.· We try to.                                    13· ·Q.· ·Oh, did I not give you control?· I'll give you
14· ·Q.· ·And who prepares these?                              14· · · · control.· I'm sorry.
15· ·A.· ·It would either be John or myself.· Like I said, I   15· · · · · · ·Here we go.· I'll give you control so you can
16· · · · try to provide backup to John when he's busy on      16· · · · scroll through it.· I apologize.
17· · · · something.                                           17· ·A.· ·Yeah.· Just so you have a better understanding,
18· ·Q.· ·Okay.· And it lists, like, I guess -- you're on      18· · · · like we were continuing on in the conversation
19· · · · page 6 right now.· It lists John Spears.· Does       19· · · · about the who -- who does what.· Just like on this
20· · · · that mean that he's the one that prepared the        20· · · · one here for -- is this R.J. Williams?· Yeah, you
21· · · · letter, on the signature block?                      21· · · · can see that John just -- John was probably in a
22· ·A.· ·Yes and no.· I put -- I wouldn't say that for sure   22· · · · hurry, took this page, printed it, and then filled
23· · · · because if it's typed up it's and sitting in, you    23· · · · in with ink for the rest.· So that would be
24· · · · know, in the folder and then he goes back into it    24· · · · specifically for John.
25· · · · and edits it and changes the name on top.            25· ·Q.· ·Okay.

                                                   Page 191                                                       Page 193
·1· ·Q.· ·Okay.· So just because John Spears' name might be    ·1· ·A.· ·Yeah.· So, yes, I agree that these are all the --
·2· · · · in the signature block doesn't necessarily mean      ·2· ·Q.· ·Okay.· And with regard to these written
·3· · · · he's the one that wrote the letter?                  ·3· · · · disciplinary records, if -- like, let me see.· For
·4· ·A.· ·Not necessarily, no.                                 ·4· · · · example, on I guess page 3 where it says it was
·5· ·Q.· ·Okay.· All right.                                    ·5· · · · signed by Christine Schreiber, does that mean that
·6· ·A.· ·Because the termination letter template is -- you    ·6· · · · she was the one who would have disciplined the
·7· · · · know, the letterhead is sitting in that folder.      ·7· · · · employee?
·8· · · · So if he was to type in, for example, like you       ·8· ·A.· ·She is the operations manager, so yes.
·9· · · · said, page 6 for Mr. Hoover, he would save it as     ·9· ·Q.· ·Okay.· And when, like, a written discipline is
10· · · · Mr. Hoover, type in the information he needed and    10· · · · given to an employee, is that something that they
11· · · · go from there.                                       11· · · · would need to go through you to do, or could they
12· · · · · · ·MS. O'REILLY:· Okay.· Okay.· I'm going          12· · · · do that without consulting you?
13· · · · to stop sharing this.                                13· ·A.· ·Yeah, they did that on their own.
14· · · · · · ·I'm going to show you what I've marked as       14· ·Q.· ·Okay.
15· · · · Exhibit 26.                                          15· ·A.· ·Yeah.
16· · · · · · ·(Exhibit No. 26 marked for identification.)     16· ·Q.· ·Okay.
17· ·Q.· ·(By Ms. O'Reilly)· I'll let you have control over    17· ·A.· ·Normally we were trying to --
18· · · · this.· And I'll say Exhibit 26, I kind of did the    18· ·Q.· ·Okay.
19· · · · same thing as I did with Exhibit 25.· You gave us    19· ·A.· ·-- in and assist with them, both Christine and
20· · · · some disciplinary records, some kind of individual   20· · · · same with John.· Even John -- John's got years of
21· · · · file that I kind of just put them all together in    21· · · · experience of managing people but we still
22· · · · this exhibit just to make it a little easier to go   22· · · · provide, you know, the assistance, the wording or
23· · · · through them.· But if you want to take a look and    23· · · · the formatting or whatever they may need.
24· · · · let me know if you kind of recognize this document   24· ·Q.· ·Okay.· And then, for example, on page 5 it looks
25· · · · and know what this is.                               25· · · · like there's one to Carson Allman, and it's not


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 50
    Appellate Case: 25-1349              Page: 2193            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 194                                                       Page 196
·1· · · · signed by John and it's not signed by Carson.· Do    ·1· · · · representative.
·2· · · · you know if this one was actually given to him?      ·2· ·Q.· ·And how did you know that those two individuals
·3· ·A.· ·I -- yeah, normally if I tell them and if they       ·3· · · · you just said were miners representatives?
·4· · · · refuse to sign, just like the one above, they        ·4· ·A.· ·Right.· So on the notices that we get, it -- I --
·5· · · · refused to sign.                                     ·5· · · · if I remember correctly, it states that they are
·6· ·Q.· ·Okay.                                                ·6· · · · the miners representative, and Mr. Drake, Max
·7· ·A.· ·Why this one wasn't, I -- I don't know.· It could    ·7· · · · Drake, would bring in a copy of the one that he
·8· · · · have been because they were busy.                    ·8· · · · received in the mail and he would say, you know,
·9· ·Q.· ·Okay.· I'm going to stop sharing this document.      ·9· · · · Here you go, and give it to John, and John would
10· · · · · · ·Were you aware that Rob Baumann was named a     10· · · · scan it in.· So that's how we knew.
11· · · · miners representative at the mine in March of        11· · · · · · ·MS. O'REILLY:· Okay.· I'm going to show
12· · · · 2023?                                                12· · · · you a document which I've marked as
13· ·A.· ·No.· First I heard of anything about Mr. Baumann     13· · · · Exhibit 31.· I'll share that with you.
14· · · · even remotely being involved was the receipt of      14· · · · · · ·(Exhibit No. 31 marked for identification.)
15· · · · the complaint.                                       15· ·Q.· ·(By Ms. O'Reilly)· Have you ever seen this
16· ·Q.· ·And do you know what a miners representative is?     16· · · · document before?
17· ·A.· ·Yes.                                                 17· ·A.· ·No.
18· ·Q.· ·And what's your understanding of what that is?       18· ·Q.· ·Okay.· Do you know if John Spears ever saw this
19· ·A.· ·It's a individual that is elected or appointed to    19· · · · document?
20· · · · a position to be the representative for the miners   20· ·A.· ·Not that I know of, no.
21· · · · at that mine site.                                   21· ·Q.· ·Did you ever ask John Spears about Baumann's role
22· ·Q.· ·And has American Tripoli, to your knowledge, ever    22· · · · as a miners representative?
23· · · · had one of those?                                    23· ·A.· ·After receiving the complaint, and I don't
24· ·A.· ·Yes.· Yeah.                                          24· · · · remember his response now.· But I don't -- we
25· ·Q.· ·Who?                                                 25· · · · never -- like I said, we never had any response or

                                                   Page 195                                                       Page 197
·1· ·A.· ·When we bought the company and up until this year,   ·1· · · · any indication from Mr. Baumann, you know, if --
·2· · · · or 2023 -- and I think that was like October         ·2· · · · if he would have told us, things would have been
·3· · · · 2023 -- it was Randy Drake and Max Drake are the     ·3· · · · different, but, you know, he didn't tell us and he
·4· · · · two miners representatives that the company has      ·4· · · · didn't -- I even asked the other guys if they knew
·5· · · · had for many, many years.                            ·5· · · · and they didn't know.· So nobody knew but Rob, it
·6· ·Q.· ·And were they ever representatives of the miners     ·6· · · · appears.· So. . . .
·7· · · · while Omphalos has owned the mine?                   ·7· ·Q.· ·I'm going to stop sharing that document.
·8· ·A.· ·Yes.· Yes.                                           ·8· · · · · · ·Do you know if John Spears was ever informed
·9· ·Q.· ·Except for Randy Drake never -- I thought you said   ·9· · · · about Baumann's status as a miners representative
10· · · · he quit in 2018.                                     10· · · · from MSHA?
11· ·A.· ·Randy --                                             11· ·A.· ·Not that I know of.· Not that I'm aware of.
12· ·Q.· ·Before you guys --                                   12· ·Q.· ·Do you know if Baumann made -- oh.· Go ahead.
13· ·A.· ·-- retired in 2018 but he was still a miners         13· ·A.· ·Because normally if there's any type of paperwork
14· · · · representative.                                      14· · · · or anything that comes in the mail or -- just like
15· ·Q.· ·Okay.                                                15· · · · the citations and stuff, we scan them and they go
16· ·A.· ·Up until I think October of 2023.                    16· · · · into the Teams folders.· So everything is scanned
17· ·Q.· ·Okay.                                                17· · · · and stored online.
18· ·A.· ·I'd have to check back on that exact date.           18· ·Q.· ·And do you know if Baumann ever made any safety
19· ·Q.· ·Okay.                                                19· · · · complaints to MSHA?
20· ·A.· ·But those are the only two miners                    20· ·A.· ·Made any safety complaints to MSHA?· No.· Not
21· · · · representatives -- and I think I provided the        21· · · · specifically.
22· · · · emails to you when we inquired MSHA for a list of    22· ·Q.· ·Do you know if he ever pointed out safety issues
23· · · · those miners representatives that they were aware    23· · · · or problems to MSHA during inspections?
24· · · · of, and Mr. Baumann was never recognized or          24· ·A.· ·Well, I wouldn't know what he said during an
25· · · · acknowledged or even reported as being a miners      25· · · · inspection.· No, I wouldn't know that.


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 51
    Appellate Case: 25-1349              Page: 2194            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 198                                                       Page 200
·1· ·Q.· ·Do you know if Baumann participated in any MSHA      ·1· · · · was.
·2· · · · inspections while he was employed?                   ·2· · · · · · ·Because they stack -- they used to stack bags
·3· ·A.· ·Yeah, we don't limit anybody from not                ·3· · · · ten layers high and then they would put them on a
·4· · · · participating.                                       ·4· · · · wrapper and that wrapper would spin around and we
·5· ·Q.· ·Do you know specifically that -- if Baumann          ·5· · · · didn't -- we didn't like the way that they looked
·6· · · · participated in any MSHA inspections while he was    ·6· · · · so we were always looking to get another wrapper,
·7· · · · employed?                                            ·7· · · · but that was a piece of machinery that was before
·8· ·A.· ·Oh, I'm sure he did, yeah.                           ·8· · · · us.· So we bought another wrapper and so that it's
·9· ·Q.· ·During Baumann's employment, were you ever           ·9· · · · not that high.
10· · · · physically at the mine during an MSHA inspection?    10· · · · · · ·And then we also limited the stacking of
11· ·A.· ·I believe so, yes.                                   11· · · · pallets to five highs rather than ten highs so we
12· ·Q.· ·Do you know when?                                    12· · · · don't have that issue anymore.· Yeah, we fix those
13· ·A.· ·No.· Because I remember seeing Mr. -- he's retired   13· · · · problems as they bring them forward.
14· · · · now.· Oh, I can't think of his name.· VanDorn.       14· ·Q.· ·Do you ever recall him -- Baumann raising any
15· · · · VanDorn.· Mr. VanDorn.· I've seen him in the mill,   15· · · · safety concerns that you didn't fix?
16· · · · passing.· They were doing inspection and air         16· ·A.· ·No.· Yeah, I mean, you got to think, it's -- if it
17· · · · samples.                                             17· · · · was a, you know, life-threatening situation, we
18· · · · · · ·I don't recall ever seeing -- there was         18· · · · were, by all means, going to address it, you know.
19· · · · another MSHA inspector, I think, between             19· · · · But dust, I mean, that's what we produce so we've
20· · · · Mr. Van Dorn -- no, there wasn't another inspector   20· · · · got -- you know, wear your appropriate PPE, wear
21· · · · between Mr. VanDorn and Mr. Markeson and             21· · · · your masks, you know, limit the control of it,
22· · · · Mr. Licklider and stuff like that, but I have been   22· · · · stuff like that.· But nothing that we don't fix.
23· · · · there during inspections since this year,            23· · · · Got to think, we're always down maintenance, so
24· · · · January -- or January of last year.                  24· · · · maintenance is always an issue we have to take
25· ·Q.· ·Did Baumann ever make any safety complaints to you   25· · · · into consideration, too.· So. . . .

                                                   Page 199                                                       Page 201
·1· · · · or anyone else in management during his              ·1· ·Q.· ·Does American Tripoli have any rules or procedures
·2· · · · employment?                                          ·2· · · · on what to do during MSHA inspections?
·3· ·A.· ·Oh, I'm sure he did.· We fix things.· I mean, the    ·3· ·A.· ·No.
·4· · · · mill's a hundred and something years old.· It's      ·4· ·Q.· ·Is there anything specific that employees or John
·5· · · · 150 years old.· There's always going to be           ·5· · · · or anyone in management is supposed to do if an
·6· · · · something, but nothing that we wouldn't fix.         ·6· · · · MSHA inspection starts?
·7· ·Q.· ·Do you recall any specific concerns that Baumann     ·7· ·A.· ·No.· Normal -- normal operations.
·8· · · · raised while he was employed?                        ·8· ·Q.· ·Is there any, like, expectation that they're going
·9· ·A.· ·No.                                                  ·9· · · · to contact you if there's an MSHA inspection?
10· ·Q.· ·Do you know if he ever raised any concerns about     10· ·A.· ·If they're going to -- say that one more time.
11· · · · dust?                                                11· ·Q.· ·Do you expect someone to contact you if there's an
12· ·A.· ·Well, yeah.· I mean, that's -- that's what we        12· · · · MSHA inspection?
13· · · · produce, so dust is always an issue.                 13· ·A.· ·Oh.· No.· I mean, eventually they're going to tell
14· ·Q.· ·Do you remember Baumann specifically making --       14· · · · us that, hey, the inspector's here.· They're doing
15· ·A.· ·No.                                                  15· · · · an inspection.
16· ·Q.· ·-- safety complaints about dust?                     16· · · · · · ·Oh, okay.· That's good to know.
17· · · · · · ·Do you know if Baumann ever raised any safety   17· ·Q.· ·Have you ever expressed concerns to miners about
18· · · · concerns about stacking bags?                        18· · · · making complaints to MSHA?
19· ·A.· ·Statin bags?· What's a statin bag?                   19· ·A.· ·Have I expressed concerns?· Like, what do you
20· ·Q.· ·Stacking.· Like stacking bags on top of each         20· · · · mean?· Can you give me an example?· What do you
21· · · · other.                                               21· · · · mean?
22· ·A.· ·Yeah, there was a conversation about stacking bags   22· ·Q.· ·Have you ever told miners that you're concerned
23· · · · and he was stating that MSHA said something about    23· · · · with people making complaints to MSHA?
24· · · · height or whatever.· And there was a conversation    24· ·A.· ·Not that I recall, no.
25· · · · about that but I don't -- I don't remember what it   25· ·Q.· ·Have you ever told miners not to talk to MSHA?


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 52
    Appellate Case: 25-1349              Page: 2195            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 202                                                       Page 204
·1· ·A.· ·No.                                                  ·1· ·railroad on the back ramp and Mr. Pratt leaned
·2· ·Q.· ·Have you ever cautioned employees about trusting     ·2· ·over to Mr. Markeson and told him, hey, you know,
·3· · · · MSHA?                                                ·3· ·we need to hurry up and get out of here.· We've
·4· ·A.· ·Certain inspectors, yes.                             ·4· ·been here too long.· And Mr. Markeson, you know,
·5· ·Q.· ·Could you elaborate on that?                         ·5· ·rared back and barked at his supervisor,
·6· ·A.· ·Yeah.· So in January of -- I do believe it was       ·6· ·Mr. Pratt, and told him, If you want me to do my
·7· · · · January.· I'd have to check my dates because I       ·7· ·job, something something -- I'd have to look back
·8· · · · don't have my notes.· In January of 2023 we were     ·8· ·in my notes -- we're going to be here a while, or
·9· · · · visited by -- or performed an inspection by          ·9· ·whatever.
10· · · · Inspector Licklider and Mr. Markenson.               10· · · · And you could tell that that reaction
11· · · · · · ·Mr. Licklider threatened our employees with     11· ·embarrassed Mr. Pratt because Mr. Pratt leaned
12· · · · having their butts, for a better lack of words,      12· ·back and looked over at Jordan and I and we were
13· · · · hauled off to jail, which you got to take into       13· ·like, oh, sheez, what's going on here?· And this
14· · · · consideration, these guys are barely getting by,     14· ·is -- this is not good.
15· · · · from what we understand.· Certain ones had a         15· · · · And Mr. Pratt had a, you know, disgusted look
16· · · · warrant out for their arrest and quit basically      16· ·on his face and he looked down and shook his head
17· · · · because of that, and, you know, we can't have        17· ·and he just kind of walked off.· And Jordan and I
18· · · · that.                                                18· ·looked at each other and raised our eyes like,
19· · · · · · ·And it shouldn't be that way.· To me, you       19· ·whoa, what is going on?· You know, because all
20· · · · know, it -- just like I explained to John, if that   20· ·we've heard is Mr. Markeson and Mr. Licklider
21· · · · was the situation, we should have said, Hold on,     21· ·threatened our employees and this, that and
22· · · · now.· Let's just take a step back and come back      22· ·everything else and now we're here and we're
23· · · · when everybody's level-headed and not threatening    23· ·finding all these thing that are wrong and the
24· · · · people.· But for an MSHA inspector to threaten the   24· ·person that is doing wrong is now yelling at his
25· · · · livelihood of our employees and stuff like that,     25· ·boss in front of us.

                                                   Page 203                                                       Page 205
·1· ·that was uncalled for.                                    ·1· · · · · · ·So ever since then, we've just had problems
·2· · · · And then Mr. Markeson, after that point, in          ·2· · · · with Markeson.· I mean, ridiculous problems with
·3· ·our opinion, has been very vindictive as far as           ·3· · · · Inspector Markeson.· So --
·4· ·his inspections.· And it is -- you can note it in         ·4· ·Q.· ·I guess my question was actually a little
·5· ·the wording of the citations and his actions.             ·5· · · · different than that.· It was:· Have you ever
·6· · · · I was there because I actually got the               ·6· · · · talked to other employees about being careful
·7· ·district manager involved in that confrontation at        ·7· · · · around MSHA inspectors?
·8· ·that time and asked Mr. Sims -- I don't remember          ·8· ·A.· ·Yeah.· ·So that leads back into my story where
·9· ·his first -- Anthony Sims, the district manager at        ·9· · · · Mr. Markeson was actually being very vindictive
10· ·the time, to come on site and visit, and he did           10· · · · and the employees, they could feel that and --
11· ·with the field supervisor, which is Mr. Pratt,            11· · · · coming off of that, and even Mr. Hoover, I think
12· ·Shawn Pratt, and we started going through the             12· · · · in the notes that we talked about, or that I
13· ·inspections that Mr. Licklider and Mr. Keith              13· · · · shared with you guys about the conversation
14· ·Markeson were finding that were shutting us down.         14· · · · between him and I about, you know, his demeanor
15· · · · And even Mr. Sims had said, You can contest          15· · · · and everything -- Mr. Markeson's demeanor towards
16· ·that one.· And I'm like, Well, why are we shut            16· · · · the employees, you know, how they felt threatened
17· ·down and why are we contesting things if you're           17· · · · about their jobs and how every time that they come
18· ·even seeing that the inspector made a mistake?            18· · · · in, they're scared for their jobs.· And it
19· · · · So during that day, it was numerous citations        19· · · · shouldn't be that way.· It's just an inspection.
20· ·that Mr. Sims agreed that, yeah, you can go ahead         20· · · · It shouldn't be that way.
21· ·and contest that one, too.· That -- you could tell        21· · · · · · ·So talking with them, not only Mr. Hoover,
22· ·that Mr. Markeson was very agitated and very upset        22· · · · Mr. -- Mr. Williams was one.· The maintenance guy,
23· ·about us questioning his authority and his                23· · · · I can't remember his name, Gage Wheeler, he got
24· ·findings.· To the point so much that Jordan and           24· · · · very, very angry about MSHA, and I can't remember
25· ·myself were standing in the door going out by the         25· · · · if it was Licklider or if it was Mr. Markeson, but


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 53
    Appellate Case: 25-1349              Page: 2196            Date Filed: 04/07/2025 Entry ID: 5503844
                                                  Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                              1/22/2024

                                                   Page 206                                                      Page 208
·1· ·Gage was one that was very upset with the MSHA           ·1· · · · · · ·MS. O'REILLY:· I'm going to show you a
·2· ·inspectors and the way that they were acting             ·2· · · · document I've marked as Exhibit Number 18.
·3· ·towards him and towards John, and that -- that           ·3· · · · · · ·(Exhibit No. 18 marked for identification.)
·4· ·goes back to that whole thing of the conversation        ·4· ·Q.· ·(By Ms. O'Reilly)· And down below -- there's
·5· ·about John telling Gage, hey, don't get in a             ·5· · · · redactions, appears.· I'm not asking you about
·6· ·confrontation with him.· Let me talk with the            ·6· · · · that part of the document but I am asking about
·7· ·inspectors.                                              ·7· · · · this email, and it looks like it's from
·8· · · · Gage was a brand-new maintenance guy.· You          ·8· · · · RTidaback@deedy.com to Maryjo, and is this an
·9· ·got to think, if we don't have a maintenance guy,        ·9· · · · email that you sent?
10· ·that falls back on John's plate.· John plate's           10· ·A.· ·It appears to be.
11· ·already full.· So if John's -- if we don't have a        11· ·Q.· ·I can give you control, too.· I'm sorry.· Once it
12· ·maintenance guy, which we just hired -- and John         12· · · · lets me.· Here you go.
13· ·liked Gage and he wanted to keep him.· So he             13· · · · · · ·And do you know, is this a true and accurate
14· ·stepped in and said, Gage, let me -- bring the           14· · · · copy of this email that you sent to Maryjo Bishop
15· ·MSHA guy to me.· Let me help.· Don't pour gas on         15· · · · on September 19th?
16· ·this fire because you're a hothead -- Gage was a         16· ·A.· ·It appears to be, yes.
17· ·very hot head.· You know, we don't want that.· We        17· ·Q.· ·And I'm going to stop sharing that one and move on
18· ·want the maintenance guy here to help make               18· · · · to --
19· ·operations run.· We've got to -- we've got to fix        19· ·A.· ·Is there a question?
20· ·these problems.                                          20· · · · · · ·MS. O'REILLY:· No.· I just wanted to
21· · · · So that's -- that -- all those conversations        21· · · · make sure I understood what that document
22· ·tied together all circle around this whole thing         22· · · · was.
23· ·going on with Mr. Pratt -- Mr. Licklider and             23· · · · · · ·Okay.· I am going to -- I need a little
24· ·Mr. Markeson.                                            24· · · · break.· So I'm going to take, like, a 15-minute
25· · · · So all these guys that -- you know, if you          25· · · · break and then maybe we can get back together at

                                                   Page 207                                                      Page 209
·1· ·were to talk to all these miners and they were to        ·1· · · · 2:20?
·2· ·be open and honest with you, I mean, they're             ·2· · · · · · ·(A recess was taken from 2:05 p.m. until
·3· ·scared of MSHA.· I mean, even our guys today,            ·3· · · · 2:22 p.m.)
·4· ·they're threatened every time MSHA comes in that         ·4· ·Q.· ·(By Ms. O'Reilly)· I just have a couple more
·5· ·they're not going to be able to work.· They're           ·5· · · · wrap-up questions and then we'll be done here
·6· ·going to have to go find another job.· Jobs are          ·6· · · · today.
·7· ·not easy to find in Seneca.· I mean, it's just           ·7· · · · · · ·One thing I just wanted to clarify, I think
·8· ·not.                                                     ·8· · · · you mentioned previously that Omphalos is owned by
·9· · · · So, to answer your question, it is very             ·9· · · · yourself and Jordan Tidaback; is that correct?
10· ·difficult, you know, to have these conversations         10· ·A.· ·Correct.
11· ·with these miners about these MSHA inspectors and        11· ·Q.· ·And what is the percentage ownership in there?
12· ·how they come in and do what they do because             12· ·A.· ·60/40, myself with 60 and Jordan 40.
13· ·it's -- it is perceived that they are not there to       13· ·Q.· ·And is -- okay.· And then I'm going to go back to
14· ·help and train or educate or take care of us; they       14· · · · Exhibit 11.· I'm going to pull that up and share
15· ·are there to verbally abuse us and try to shut the       15· · · · my screen.· And I'll go to the top here.· This was
16· ·organization down, and 2023 proved that when             16· · · · the interrogatories, and then a little bit further
17· ·you've got vindictive MSHA inspectors, that's what       17· · · · down were chat messages in here.
18· ·happens.· We were shut down a lot because of MSHA        18· · · · · · ·So I'm going to go down here to page 28 of
19· ·for no reason.                                           19· · · · Exhibit 11, and in here we had previously
20· · · · And I think you -- be honest with you, I            20· · · · discussed how this purple communication was your
21· ·think you can really see this and a lot of things        21· · · · communications, and towards the bottom of page 28
22· ·that's been going on with the district.· And this        22· · · · there's a purple box that says:· We need you to
23· ·all has to come to a head and had to end because         23· · · · make that place rock and roll.· I need the
24· ·this is ridiculous.                                      24· · · · justification since Rob's complaint to MSHA about
25· · · · Sorry.· Got long-winded.                            25· · · · being let go, dot dot dot, just need you to put


                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                               Exhibit P-43, Page 54
    Appellate Case: 25-1349             Page: 2197            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                               1/22/2024

                                                   Page 210                                                       Page 212
·1· · · · the cherry on the cake.· That's all.                 ·1· ·the date we received the complaint but it was
·2· · · · · · ·Do you see that?                                ·2· ·probably on my mind, hey, we need the
·3· ·A.· ·Mm-hmm.                                              ·3· ·justification.· Make it rock and roll since we're
·4· ·Q.· ·And what did you mean by that statement?             ·4· ·all complaining to MSHA about being let go.· Okay?
·5· ·A.· ·Jim's a heavy guy, so he likes food.· That's the     ·5· ·Rob's being let go had nothing to do with
·6· · · · reference to the cherry on the cake.· He likes       ·6· ·discrimination and it had to do with his
·7· · · · cake.                                                ·7· ·performance, like we've discussed.· So that's what
·8· · · · · · ·Let's see here.· Rock and roll.· Jim gets       ·8· ·this communication here is all for.
·9· · · · real excited.· He's the individual that got us to    ·9· · · · And so, as you can see in his response to
10· · · · 60,000 pounds the one day that we were able to       10· ·that same message:· All right.· I'll do my best
11· · · · produce the 60,000 pounds, and every time that we    11· ·when we're rocking.· I haven't shut the feed off
12· · · · would produce over -- even over 35,000 pounds, he    12· ·yet and the socks are still down, so I'm guessing
13· · · · would always, you know, celebrate and, you know,     13· ·that's good.· Okay.
14· · · · hooray, high fives, give a call, everything else,    14· · · · So Rob had issues with the feed.· We'd
15· · · · send memes.· That was just Jim's way of              15· ·always -- you know, Jim's complaints to us was
16· · · · celebrating that he got it.· He was excited about    16· ·he's not feeding properly.· He's not getting the
17· · · · being back in this place -- can I have control of    17· ·material and he's not doing his job.· So, you
18· · · · the mouse?                                           18· ·know, part of managing the material feed and
19· ·Q.· ·Oh, yep.· Let me -- okay.                            19· ·managing the socks is part of that person's job.
20· ·A.· ·Because I think there's more to that conversation    20· ·And it's been told.· I mean, that's why that
21· · · · than just that one sentence.                         21· ·person's in the control room.· You just can't walk
22· ·Q.· ·Well, I guess here I'm trying to ask what this       22· ·away from it.
23· · · · question -- this --                                  23· · · · So that one sentence is not anything
24· ·A.· ·Yeah.                                                24· ·negative.· It's about, Jim, here's your time
25· ·Q.· ·-- one specifically.· So --                          25· ·again.· You got to show that -- you got to show us

                                                   Page 211                                                       Page 213
·1· ·A.· ·So he --                                             ·1· · · · that you're doing what you're supposed to since
·2· ·Q.· ·Go ahead.                                            ·2· · · · Rob complained that we let him go.· You know, it
·3· ·A.· ·Yeah, to answer your question, he was promoting      ·3· · · · had nothing to with MSHA and it had to do with his
·4· · · · that, hey, we're rolling at 8:49 in the a.m.         ·4· · · · performance.· So that answers your question,
·5· · · · because, you got to remember, we give them an hour   ·5· · · · hopefully.
·6· · · · to start up.· So with communications with Jim        ·6· ·Q.· ·And why did you say you need the justification?
·7· · · · about, you know, let's make sure we're running by    ·7· ·A.· ·Because --
·8· · · · 9:00 and let's shut down by 3:30.· So if he was      ·8· ·Q.· ·Because you didn't have justification?
·9· · · · starting ten -- ten minutes before 9:00, he's        ·9· ·A.· ·No.· Putting -- putting Jim back in that position.
10· · · · excited about it.· Okay?                             10· · · · Not -- it had nothing to do with Rob.· It was
11· · · · · · ·So you can see -- was that the same day?· No.   11· · · · putting -- we need justification to put you back
12· · · · So that's the same thing.· He's promoting to me      12· · · · in this position, Jim.· We need to train you to
13· · · · that, hey, we're rolling early, Boss.· We're going   13· · · · get you to be the manager that you don't think you
14· · · · to get going.· Great.· Hey, brother, let's do some   14· · · · are.· That was about him being a good manager,
15· · · · thing good things, okay?· Have a good day.· And      15· · · · making sure things were getting done because the
16· · · · he's saying no dust either, okay?· Well, what the    16· · · · guys, the other mill associates, are looking to
17· · · · "no dust" means is that they actually properly       17· · · · Jim, since he's in that position, to be their
18· · · · shut down the night before, and then he says, we     18· · · · leader.
19· · · · will, and I got you boss, and I need to make that    19· · · · · · ·So we need that justification.· Since Rob's
20· · · · place rock and roll like you normally do, Jim.       20· · · · not there, comma -- you know, I guess I could have
21· · · · · · ·You know, Jim is the one that was able to,      21· · · · put a comma behind it, Rob complaining to MSHA,
22· · · · you know, make it run.· He was training Rob.· He's   22· · · · you know.· Rob's not there anymore.· Jim, you're
23· · · · training John.· He's getting a lot of information    23· · · · the man.· We've got to make this place rock and
24· · · · from Mr. Randy Drake, you know.                      24· · · · roll.· We need justification for you being in that
25· · · · · · ·So -- let's see.· I'd have to look back at      25· · · · role because if the mill guys don't see that


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                    417-887-4110      YVer1f




                                                                                Exhibit P-43, Page 55
    Appellate Case: 25-1349              Page: 2198            Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                                                  1/22/2024

                                                   Page 214                                                        Page 216
·1· · · · you're a leader, they're going to complain about     ·1· · · · · · · · · DEPONENT'S SIGNATURE PAGE
                                                               ·2
·2· · · · you.
                                                               ·3
·3· · · · · · ·We don't want that.· We want those guys to      ·4· ·In Re:· · ACTING SECRETARY OF LABOR, MSHA And BAUMANN
·4· · · · look to Jim, to learn from Jim, you know, to grow    · · · · · · · ·v. MOSENECAMANURFACTURER LLC dba AMERICAN
·5· · · · so that they can eventually be the control room or   ·5· · · · · · ·TRIPOLI
·6· · · · the shift lead soon, you know.· That's part of       · · · · · · · ·MSHA COMMISSION, OFFICE OF ADMINISTRATIVE LAW
·7· · · · their progression.· So that's -- that's what that    ·6· · · · · · ·JUDGE,CENT 2023-0251
                                                               ·7· ·Taken:· · January 22, 2024
·8· · · · whole thing means.
                                                               ·8
·9· ·Q.· ·Okay.· And then why does it also say "since Rob
                                                               ·9· · · · · · · · · · · · · - - - - -
10· · · · complained to MSHA about being let go"?· It makes    10
11· · · · it seem like justification is related to his         11
12· · · · complaint to MSHA.                                   12· · · · · · · · · · · ·_______________________________
13· ·A.· ·No.                                                  · · · · · · · · · · · · ·RUSSELL TIDABACK
                                                               13
14· ·Q.· ·So why is the complaint to MSHA in there?
                                                               14· ·Subscribed and sworn to before me this _____ day of
15· ·A.· ·We need the justification to put Jim back in that
                                                               15· ·_____________, 20___.
16· · · · position.· We -- like I said, I'd have to look at    16
17· · · · this to see what else is all in the conversation.    17· · · · · · · · · · · ·______________________________
18· · · · Did I just get the notification that Rob             · · · · · · · · · · · · ·Notary Public
19· · · · complained that morning?· I don't know, not based    18

20· · · · off this setting right now.                          19
                                                               20· ·My commission expires:
21· · · · · · ·So, like I said, putting Jim in that
                                                               21· ·______________________________
22· · · · position, we need the justification behind it        22
23· · · · since Rob has been let go.· In correlation of        23
24· · · · letting Rob go, Rob complained to MSHA about us      24
25· · · · letting him go.· That was really not really          25


                                                   Page 215                                                        Page 217
·1· ·related, but that's -- need justification to put          ·1· · · · · · · · · ·REPORTER'S CERTIFICATE
                                                               ·2· ·STATE OF MISSOURI· ·)
·2· ·Jim in that position so the other guys can grow           · · · · · · · · · · · · ·)ss
·3· ·and do their job because that's part of their             ·3· ·COUNTY OF GREENE· · )
                                                               ·4· · · · · · · · · I, MARY S. McCARTY, Certified Court
·4· ·progression chain, you know.· We want the mill            · · · · · Reporter, do hereby certify that the witness
·5· ·associates to grow, to get paid more, to be able          ·5· · · · was duly sworn by me; that the facts stated
                                                               · · · · · by me in the caption hereof are true; that
·6· ·to do all the things so we're not just relying on         ·6· · · · the said witness did make the above and
·7· ·one person.· Again, that was the reason we hired          · · · · · foregoing answers in response to questions
                                                               ·7· · · · propounded as shown; that I did, in
·8· ·Rob.                                                      · · · · · stenotype, report said proceedings; and that
·9· · · · MS. O'REILLY:· Okay.· I'm going to stop              ·8· · · · the above and foregoing typewritten pages
                                                               · · · · · contain a full, true, and correct
10· ·sharing this document and then I'm just going             ·9· · · · transcription of my shorthand notes taken on
11· ·to look through my notes real quick, but I                · · · · · such occasion.
                                                               10
12· ·think I'm done with this and that's all the               · · · · · · · · · · I further certify that I am neither
13· ·questions that I have.· Just give me a                    11· · · · attorney for, nor counsel for, nor related
                                                               · · · · · to, nor employed by any of the parties to the
14· ·moment.                                                   12· · · · action in which this deposition was taken;
15· · · · THE WITNESS:· Can I ask a question?                  · · · · · and, further, that I am not a relative or
                                                               13· · · · employee of any attorney or counsel employed
16· · · · MS. O'REILLY:· No, I'm not answering
                                                               · · · · · by the parties hereto, or financially
17· ·questions.· This is not my deposition.                    14· · · · interested in the action.
18· · · · THE WITNESS:· All right.                             15
                                                               16· · · · · · · · · · · · · · ____________________________
19· · · · MS. O'REILLY:· All right.· I'm complete.             · · · · · · · · · · · · · · · MARY S. McCARTY, CCR
20· ·That's all the questions that I had so we can             17· · · · · · · · · · · · · · CCR No. 1491
                                                               18
21· ·go off the record.                                        19
22· · · · (The deposition concluded at 2:35 p.m.)              20
                                                               21
23                                                             22
24                                                             23
                                                               24
25                                                             25


                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                       417-887-4110
                                                                                Exhibit P-43, Page 56
    Appellate Case: 25-1349              Page: 2199            Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                     1/22/2024Index: $140,000..3

                             Exhibit 27 3:23 142:11,      13 15:15 51:4 103:21,22      2019 12:24
          Exhibits            12
                                                          14 90:20 93:22 105:12,13,    2020 12:24
                             Exhibit 28 3:24 144:8,9,      17
 Exhibit 01 2:19 57:23                                                                 2021 22:9 37:16 39:9
                              13
  58:1,6 62:4                                             140,000 57:1                   108:14 109:14
                             Exhibit 29 3:25 146:5,6
 Exhibit 02 2:21 61:15,16                                 14th 90:4 92:17 93:17        2022 21:21 22:9 50:16
                             Exhibit 30 4:1 147:11         180:25                        59:14 60:22 61:4 64:23
 Exhibit 03 2:22 70:16,17,                                                               65:21 72:6,19 73:2,20
  18 75:24 78:7              Exhibit 31 4:2 196:13,14     15 69:24 70:5 78:7 107:25
                                                                                         77:24 93:22,25 95:7
                                                           108:1
 Exhibit 04 2:24 85:22,23                                                                105:21,22 140:2 167:3
                                           $              15-minute 69:22 208:24
 Exhibit 05 2:25 88:11,12                                                              2022/11/1 62:1
  90:12,21 91:8                                           150 199:5
                             $140,000 57:2                                             2023 14:17 21:15,17 22:9
 Exhibit 06 3:1 90:9,10,16                                16 100:17 101:5 109:17,18      51:19 60:23 61:5 65:21
                             $20 142:20 143:2                                            72:19 73:2 78:19 94:13,25
 Exhibit 07 3:2 92:2,3                                    16,500 59:15                   97:16 98:4 115:15 140:3
 Exhibit 08 3:3 92:24,25                   1              16th 140:2                     155:13 157:20 163:9
  93:22                                                                                  167:3 194:12 195:2,3,16
                                                          17 80:18 110:25 111:1          202:8 207:16
 Exhibit 09 3:4 95:17,18     1 57:23 58:1,6 61:4,5 62:4
                              65:21 71:1 72:25 78:22      179 84:24                    2023-0251 5:19,23
 Exhibit 10 3:5 97:3,5        104:15 111:17 167:3         17th 100:18 140:2 155:13     2023/3/31 62:1
 Exhibit 11 3:6 100:2,3      10 16:4 21:23 97:3,5          163:8 167:3
  209:14,19                                                                            2024 109:10
                              166:22                      18 23:11 110:25 116:9,11
 Exhibit 12 3:8 101:20,21                                  208:2,3                     21st 115:13
                             10,000 60:9
 Exhibit 13 3:10 103:21,                                  1869 23:12                   22 95:13 115:13
                             100 151:9
  22                                                      19 116:8,13,14               23 161:13,14
                             100,000 49:22 53:4
 Exhibit 14 3:11 105:12,                                  1997 15:22                   24 49:24 102:12 162:23,25
  13,17                      100-degree 55:2
                                                          19th 208:15                  24/7 39:6
 Exhibit 15 3:12 107:25      100-pound 64:18
  108:1                                                   1st 59:21,22 60:9,15,22      24th 59:14
                             100K 53:14,22
                                                           72:6,19 109:8
 Exhibit 16 3:13 109:17,                                                               25 187:19,20,25 191:19
                             10:24 70:13
  18                                                                                   26 51:5 191:15,16,18
                             10:40 69:24 70:14                         2
 Exhibit 17 3:15 111:1                                                                 27 59:23 73:19 142:11,12
                             11 90:21 99:16 100:2,3
 Exhibit 18 3:16 110:25       209:14,19                   2 61:15,16 90:20 111:19      27th 59:18
  208:2,3                                                  115:22 122:14 189:22
                             11/3 64:16,23                                             28 60:5 144:8,9,13 209:18,
 Exhibit 19 3:17 116:8,13,                                20 57:3,12 70:24 121:22,       21
  14                         11:40 70:1                    23 139:3,5 158:17,18
                                                           166:19,23                   29 146:5,6
 Exhibit 20 3:18 121:22,     11th 115:15
  23 158:17,18 166:19,23                                  2000 15:19                   2:05 209:2
                             12 24:2 94:10,20 101:20,
 Exhibit 23 3:19 161:13,      21                          2005 16:4                    2:20 209:1
  14                         120- 57:2                                                 2:22 209:3
                                                          2008 18:21
 Exhibit 24 3:20 162:22,     1200 23:14                                                2:35 215:22
  23,25
                                                          2009 16:4 18:21
                             12:12 148:22                 2013 15:21
 Exhibit 25 3:21 187:19,                                                                             3
  20,25 191:19               12:45 148:17                 2017 16:8
 Exhibit 26 3:22 191:15,     12:48 148:23                 2018 15:23 52:15 195:10,     3 70:17,18 75:24 78:7
  16,18                                                    13                            122:8,15 145:2 189:25



                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                               417-887-4110
                                                                           Exhibit P-43, Page 57
    Appellate Case: 25-1349            Page: 2200         Date Filed: 04/07/2025 Entry ID: 5503844
                                                Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                    1/22/2024Index: 3/30..agnostic

  193:4                      4:00 65:8                                                  acquiring 32:24 53:18
                                                                      9
 3/30 78:17                  4:30 65:7 124:21                                           acquisition 32:22,23
 3/30/23 78:18                                           9 24:2 95:17,18 102:21         acquisitions 12:1,3,13
                                           5
 30 16:15 17:5 57:12 70:24                               90 165:5                       acres 23:13,15
  72:19 124:21 147:10,11
                             5 79:7 88:11,12 90:12,21    90th 135:2                     Act 36:6
  165:5,17
                              91:8 122:14 158:22,23                                     acting 206:2
 30-minute 124:23 148:13                                 92 19:9
                              190:2 193:24
                                                         9:00 64:11 163:8,9,10          actions 156:20 203:5
 30-plus 172:20              50 49:22 51:1
                                                           211:8,9                      actively 8:7 23:6
 300 16:22                   5000-23 109:25
                                                                                        activities 30:3,13 32:11
 30th 72:7 73:2              5:30 145:13                              A
                                                                                        actual 49:7,9 81:15
 31 65:21 196:13,14
                                                         a.m. 64:11 70:13,14              112:17,18 151:23
 31st 109:8                                6
                                                           111:15 141:19 163:8,9,10     add 44:6 64:10 85:14
 35 54:17,19                                               211:4                          94:2,3 120:12,23 121:11
                             6 90:9,10,16 97:18,21
 35,000 210:12                110:4 122:15 166:23        ability 7:13 100:5 165:23      added 43:24 64:7 83:5,7
                              190:2,19 191:9                                              96:2 119:2,3 121:13,17
 36,000 23:12 50:8 51:15                                 absence 132:15
                             6,000 50:15,19 51:3                                          160:14
  53:1 60:16                                             abuse 207:15
                             60 137:15 165:5 209:12                                     adding 60:17
 365 162:11                                              abusive 178:25
                             60,000 210:10,11                                           additional 18:8 36:2
 37 167:8 168:1                                          access 26:15 28:22               102:17 124:2 128:21,24,
 3:30 127:3 211:8            60/40 209:12                  62:12,13 67:12,18,21,24        25
                                                           75:1,4,11,15 86:11 101:23
 3M 183:24                   62,000 54:4                                                address 66:11 161:19,22
                                                           108:3,5 111:2 112:19
                                                                                          166:25 167:1 200:18
                             65 82:19 83:23                117:12 118:1 120:1,21
               4                                           125:9 144:11 189:6           admin 24:10,16 48:14,23,
                                                         accountability 63:21             24 185:3
                                           7
 4 58:14 85:22,23 145:13                                                                administrative 26:7
  190:1                                                  accumulation 144:17
                             7 92:2,3 132:14               156:19 157:22,25 158:1,3       31:2,4,7,13 32:14 174:20,
 4/19/2023 97:23                                                                          22 175:3
                             7/1 144:15                  accurate 42:21 60:20
 4/23 144:15                                               61:1 65:20 75:25 76:5        admitted 98:16
                                           8               77:6 87:11 90:1 91:19        ADP 143:10 144:20
 4/9 79:1
                                                           92:16 93:15 96:22 97:25
 4/9/23 79:2                                               101:9 103:14 105:7           advantage 142:8
                             8 92:24,25 93:22 102:6,9,
                                                           107:17 108:22 110:20         advice 9:14
 40 141:25 142:2 209:12       24 126:2
                                                           115:11 119:19 120:7
 40,000 49:23 50:9 55:12     8,000 60:6                    138:18 143:16 144:23         advised 134:15,17
                                                           146:1 162:15 188:5,20        advisory 12:1,5,12
 40-hour 124:14              80 60:4                       192:10 208:13
 40-something 52:12          80,000 60:5,6                                              affect 54:14,25 55:2
                                                         accurately 150:16                165:22
 43 108:15                   800 60:6                    accustomed 29:19               affected 55:17 154:24
 435 73:10                   8:00 65:7 111:15 124:21
                                                         Achille's 56:6                 afternoon 141:20
                              141:19 145:13
 436 73:12,19
                                                         acknowledged 195:25            agency 56:3 80:24
                             8:49 211:4
 467 71:10 72:9
                                                         acquire 12:21                  agitated 203:22
 49 90:21
                                                         acquired 13:3 37:16            agnostic 12:6
                                                           66:18



                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                               417-887-4110
                                                                          Exhibit P-43, Page 58
    Appellate Case: 25-1349             Page: 2201       Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                     1/22/2024Index: agree..Bainter

 agree 6:14 7:19 8:23          anymore 89:19 174:23         assistance 30:17 42:8         automatic 113:8
  46:25 60:19,25 65:19          175:1 200:12 213:22          193:22
                                                                                          automatically 113:7,9
  72:2,20,23 124:8 140:3
                               anything's 44:14             assistant 14:4 26:3 43:6,
  193:1                                                                                   average 49:13,16,17
                                                             8,11 45:10 174:20,22
                               apologize 192:16                                            56:24 164:18
 agreed 203:20                                               175:3
                               app 112:10 125:8                                           aviation 16:6,7,13 17:11
 ahead 16:10 22:20 39:10                                    assistant--we've 175:5
                                                                                           18:22
  51:11 56:19 61:24 62:24      appears 93:18 97:9 110:3
                                                            assisting 127:10,11
  71:7 83:16 86:19 100:16       111:4 113:22 115:14                                       aware 26:8 194:10 195:23
                                                             158:11
  112:10 197:12 203:20          122:3 162:19 163:3,8                                       197:11
  211:2                         197:6 208:5,10,16           associate 98:8,10 99:2,4
                                                             114:3,4 123:19 128:18
 air 51:8 54:17,21 198:16      applicants 30:20                                                        B
                                                             132:16 140:25
 Alex 185:17,21                application 112:20,23
                                                            associate's 134:20            back 18:22 21:8,18 22:8,
 Allman 178:12 189:23          applications 7:19 8:3,24                                    11 24:4 25:22 32:20 34:25
                                                            associates 24:24 26:14,
  193:25                                                                                   41:12 42:15 44:15 45:4,6
                               apply 34:21 54:22             21 38:5 42:14 43:12 44:25
 American 5:18 10:16,24                                      45:9 79:19 80:13 105:24       47:25 48:2 53:9 55:16
  11:2,3,11,21 12:22 13:3,9,
                               appointed 194:19              114:16 125:14 127:7,15        57:2,13 64:22 69:24 70:5
  15,16,17 14:1,17,21,25       approvals 173:2               128:19 129:18 134:4           74:25 75:23 77:24 78:20
  18:25 20:4,11,17 23:11                                     135:16 140:15,24 151:7        85:14,15 99:1,7 108:14
  30:4,13 31:17,19 32:17       approves 36:1 173:6           154:17,18 164:16 166:4,       123:3 126:25 127:9
  33:4 34:23 35:10 38:15                                     10,14 170:8,22 213:16         129:25 130:12 141:4
                               approximately 24:5
  39:12,16,22 44:22 46:9,25                                  215:5                         143:1 147:25 148:14,17,
                                119:12
  47:4,19 51:21 57:12 62:9                                                                 21,24 149:17 153:1
                               April 14:17 72:7,19 73:2     assume 53:8 62:5 64:5          155:17 157:12 167:18
  65:15,25 67:5,8,14 68:9,
                                79:2 93:17,22,25 94:24       66:18 84:3 91:7,14 92:19      168:14 170:13,14 171:6
  10 74:4 76:13 96:23 98:8
                                97:15 98:4 99:5,6 100:18     93:21 95:3,4 99:10 106:23     172:11 177:24 179:7
  106:15 107:18 108:11
                                115:15 140:2 155:13          119:9 120:23 121:8            182:25 185:7,25 186:9
  119:20 120:10 132:9
                                157:20 158:3 163:8 167:3     144:18 156:11 163:13          190:24 195:18 202:22
  164:12 167:2,15 173:6
  174:21 187:5 194:22                                       assumed 6:12                   204:1,5,7,12 205:8 206:4,
                               aptitude 98:17
  201:1                                                                                    10 208:25 209:13 210:17
                               area 16:11 23:13 34:19       assuming 89:14 91:3            211:25 213:9,11 214:15
 ammunition 120:18              56:15 111:22 145:1           94:16 112:13 125:25
                                                             144:14                       background 40:14,19,20
 amount 48:10 54:3 137:5        150:11,12
                                                                                           157:5
  145:25 173:8,15,18           areas 19:20                  attacked 171:20
                                                                                          backs 79:24
 analysis 183:14               argument 168:9 179:3,5       attempt 6:10
                                                                                          backup 42:23 123:8,9,10,
 analyzes 183:18               Arkansas 174:7 185:8,        attendance 186:8               12,14 166:15,17 190:16
 Andrew 84:3,8,11,16,20         24,25                       attended 19:22 180:23         bad 170:10
  184:24,25                    arms 17:11                   attends 66:13                 bag 36:25 38:21 137:6,9,
 Angela 176:11,20              Army 15:13,20 19:7                                          16 183:11 184:6 199:19
                                                            attention 27:6 111:18
 Angela's 177:19               arrest 202:16                                              bagger 25:7 111:19 114:5
                                                            attitude 135:19 136:11
 angry 205:24                                                150:23 152:16                 126:6
                               arrested 184:25
 annual 120:15 149:1,4,21                                   attorney 5:11,14,22 6:1,3     bags 27:2 35:22 42:16
                               arrived 125:12
                                                             13:6 181:10                   63:15,16,18 64:18 123:23
 anonymous 156:7,8,23          asks 27:11 183:8                                            126:21 137:6,12,13,14
                                                            audience 17:9                  183:6 199:18,19,20,22
 answering 6:20 215:16         aspects 38:7                                                200:2
                                                            August 77:24 105:22
 answers 7:4,9,14 9:13         assigns 126:5                                              Bainter 110:7 111:13
  122:11 213:4                                              authority 33:3 155:7
                               assist 30:16 44:6 51:21                                     113:16 168:19 175:11,14
                                                             203:23
 Anthony 203:9                  163:19 166:18 193:19



                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                                 417-887-4110
                                                                             Exhibit P-43, Page 59
    Appellate Case: 25-1349              Page: 2202         Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                             1/22/2024Index: barbecuing..Campbell

 barbecuing 68:20              195:24 197:1,12,18 198:1,    Bonnie 110:7,14,18           brought 8:11 66:11
                               5,25 199:7,14,17 200:14       111:13 113:16 168:19         105:25 132:13 154:7
 barely 202:14
                                                             171:15,17 175:11,14
                              Baumann's 45:12 48:5                                       browsing 101:16
 barked 204:5
                               108:19 110:21 117:21         book 129:4,13,15,22
                                                                                         Bryceton 181:17,18
 Barlow 180:16,17              119:6,14 122:21 125:16        130:4
                               140:9 142:14 143:17                                       budget 16:14
 Barnes 179:19 180:11                                       book's 129:6
                               150:23 151:15 160:12
                                                                                         budgeting 40:13
 based 24:3 33:13 36:1         163:3 186:14 196:21          bookkeeper 66:15 67:2
  37:21 41:10 50:23,24         197:9 198:9                   79:16 87:20 143:6,9         budgets 33:15
  51:24 52:24 55:11 63:11,                                   144:21 146:15
                              bay 24:1                                                   building 17:10 24:10,16
  13 97:17 115:9 118:16
                                                            bookkeepers 31:1,15,17        48:14,15,23,24 49:3 138:3
  156:7 165:6 169:17 173:7    bearing 60:12
                                                                                          185:3
  180:2 214:19                                              border 24:13
                              before--and 175:6
                                                                                         built 158:5
 basic 83:19 139:15                                         border's 24:11
                              begin 119:18
                                                                                         bulldozer 23:18
 basically 35:21 36:25                                      boss 204:25 211:13,19
                              beginning 119:6,18
  40:22 41:16 57:3 66:6,8                                                                bullet 122:10,12 159:6
                               130:24 157:9                 bottom 65:1 91:22 99:17
  98:16 174:25 175:16
                                                             100:16 102:24 115:16        business 5:18 10:6,10
  176:24 177:5 181:2 182:1    bell 118:24 181:6
                                                             209:21                       13:18 21:2 31:11 37:16
  202:16
                              belong 74:8 79:22                                           53:18 66:19 68:18,21
                                                            bought 38:15 98:9 195:1
 basing 53:14                                                                             76:13,14 158:10
                              belonged 85:13                 200:8
 basis 26:2,10 27:13 37:20                                                               businesses 32:24
                              Ben 181:21                    bouncing 142:10
  169:16
                                                                                         busy 190:16 194:8
                              benefits 34:8 146:18          box 74:17 209:22
 bathroom 171:11
                                                                                         button 115:8
                              Benjamin 181:19,21            boxes 72:14
 bathrooms 127:8
                                                                                         butts 202:12
                              bickering 106:2               brand-new 206:8
 Baumann 5:16 14:19
  21:25 22:13 23:6 26:24      big 178:25                    break 6:19,21 64:9 69:22
                                                                                                       C
  38:4 43:9 45:14 46:3,8,9,                                  111:15 124:22 125:15
  14,17,20,24 47:3 48:13
                              bigger 120:19
                                                             126:3,14 127:8,15 148:12,
  59:25 62:21 71:1 72:5,18,   biggest 51:18 55:21            13 208:24,25                C-E-N-T 5:19
  25 80:6 81:3,15,19 83:1                                                                cake 210:1,6,7
  84:6,12 108:10 110:2,11     bill 139:15                   breakdowns 141:14
  113:20 114:9,17 117:6       Bindel 168:5 171:3            breaks 42:15 48:16 55:15     calendar 63:11
  120:9 121:6,14 122:18                                      63:25                       call 22:18,19 23:23 24:1
  123:1 124:4,12,25 125:18,   bird 138:7,9 169:1
                               177:12,14                    Brewer 182:15                 28:19,22 34:20 51:22 52:8
  19 126:15 127:5,11,25                                                                   68:15,16 69:8 77:15
  128:15,23 129:2,13,16       Bishop 208:14                 Brian 45:4 80:11,13 103:7     120:18 133:7 138:25
  130:2,10 131:6 132:22                                                                   143:4 144:1 179:8 210:14
  134:2,5,7,11,24 138:10      bit 20:7 102:6,11 104:4       briefings 19:22
  139:7,18 140:1,12,24         113:1,20 135:4 152:12                                     called 26:16 50:14 68:25
                                                            briefly 6:8
  141:16 142:1 143:19          170:13 180:1 209:16                                        112:23 125:6,7,8 129:6
  144:24 147:20,23 148:7                                    bring 84:12,20 90:20,21       130:23 133:8 145:11
                              Blake 181:3,4
  149:5,23 150:8,21 151:19                                   141:8 183:8 196:7 200:13     176:21 181:9 183:13
  152:1 153:3,5,19,25         blatantly 33:9                 206:14
                                                                                         calling 132:2 180:6
  154:2,8,25 155:2,13,19      block 113:12 190:21           bringing 35:19
  156:10,11,13,15,20,24        191:2                                                     calls 22:19 29:11 65:24
  158:7,24 159:1,11,14,24                                   broke 60:10,11 64:11          67:4,6 129:24 130:7,8,10
  160:7,9,23,25 161:7         Blount 174:19                  171:14 185:1,2               131:5,8,19 156:8,9,23
  163:15,17,24 167:20,23,     board 126:4,8,11,13           broken 63:21                 calm 106:1,4,13
  25 168:7 169:6,8,14,19,      183:3
  20,25 170:1,2,17 179:1,3,                                 brother 211:14               Campbell 181:5
  16 186:13 194:10,13         BOL 139:15



                                              Alpha Reporting & Video
417-887-4110                                www.alphareportingservice.com                              417-887-4110
                                                                             Exhibit P-43, Page 60
    Appellate Case: 25-1349              Page: 2203         Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                              1/22/2024Index: Camrin..concerned

 Camrin 168:5,15,16          charged 139:17               cleans 127:6                 companies 11:1,5,9,12,
  171:3,7,8,10,20                                                                       18 23:13 162:3,8,13
                             chat 26:15 29:1 68:3,14,     click 86:18
 capability 49:7 52:18        18,25 69:3,4,15,17 72:14,                                company 5:17 10:21
                                                          clock 125:10,11,19
                              18 73:18 75:2,8 79:7,8                                    11:15 12:7 14:9 23:23
 capable 49:21 53:4 54:5
                              86:8,21 87:12,15,24 88:1    close 24:12 98:24 138:1       31:21 32:1 38:16 39:20
 capture 120:8 122:24         89:6 90:2,18 93:7 94:4,5     167:10                       41:1 52:13,14 53:9,24
                              97:9,10 101:4 104:12,23                                   56:14 81:24 98:9 108:16
 captured 74:13 89:1 91:9                                 closeout 66:1,6,24
                              129:17 180:5 209:17                                       132:11 174:17 186:1,18,
 car 187:2                                                closer 174:6,24               25 195:1,4
                             chats 27:7 67:7,8,21,24
 card 173:9,10                71:13 72:24 73:7 76:1,6     closing 9:2                  company's 108:17,23
                              87:12 93:16 96:4,22,23                                    155:22 170:23
 care 169:5 176:18,20         97:8 98:1 100:15,18,21      Closser 186:24 187:1
  207:14                                                   190:2                       compile 58:20 103:8,10
                              102:7,14,22 103:14,15,25
 careful 6:24 205:6           104:17,19,22 105:8          cloud 115:6                  compiled 58:21 188:11
                              150:22 157:11 160:5                                       192:2
 Carson 169:2,3 177:25                                    coal 35:24 36:5
  178:12,14,16 189:23        check 82:18 114:9,10                                      compiling 96:18 104:8
                              173:13 195:18 202:7         collaborate 76:21 127:22
  193:25 194:1
                                                           128:3 140:18 141:11         complain 157:14 214:1
 case 5:16,22 6:5 39:7       checking 139:18
                                                          collaborating 153:4,5        complained 168:18,19
  67:7 71:25 166:15 172:12   Cheri 174:19                                               169:11 173:4 213:2
                                                          collaboration 26:12           214:10,19,24
 catching 152:16             cherry 210:1,6                123:20
 categories 116:1                                                                      complaining 156:9
                             Chester 107:7 110:14         column 58:16 63:24 64:5       212:4 213:21
 caused 156:22                172:3,19 175:17              162:18
                                                                                       complaint 7:21 8:14,16
 causing 156:24              choice 154:9                 combat 17:11                  9:18 157:1 158:14 194:15
 cautioned 202:2             Christine 40:17,24 98:13     combined 188:1                196:23 209:24 212:1
                              131:25 136:6 148:2 154:6                                  214:12,14
 CDL 25:17 175:21             168:12 171:17 174:4         comma 213:20,21
                                                                                       complaints 135:16,25
 celebrate 210:13             179:15 193:5,19             command 134:6                 136:14 150:19 152:25
 celebrating 210:16          CILAS 123:23 183:14,17,      comments 135:19               156:25 197:19,20 198:25
                              18,23,25 184:3,6                                          199:16 201:18,23 212:15
 cell 111:9 132:5,6                                       commercial 10:6
                             circle 206:22                                             complete 128:1 215:19
 CENT 5:19                                                Commission 5:20
                             citations 151:25 152:3,                                   completed 138:23
 central 31:11 69:25          13,18,21 153:10,15          common 164:1 167:11,          140:21
  148:17                      155:17 197:15 203:5,19       15
                                                                                       completely 36:17 156:2
 certificate 110:2,21        civil 16:4                   communicate 28:24
                                                           29:3 37:23 76:21,23 81:17   compliance 47:6 48:4
 certification 18:9          civilian 17:16                                             82:8 127:23 128:4 129:14
                                                           164:7
 certified 82:9 110:15                                                                  153:20
                             clarification 102:17         communicated 18:15
 chain 45:11 134:6 215:4                                   44:8 81:11                  computer 7:19 8:2,19
                             clarify 209:7
                                                                                        10:5 62:10 63:1,2 104:9
 chance 7:2 58:7             clarity 40:7                 communicating 76:25           118:21 131:3
                                                           84:19 93:13 101:5
 change 82:16 144:4          Clark 171:7 174:16,18                                     computer-in-the-office-
  151:12                                                  communication 27:19          based 130:20
                             class 40:11 48:1              28:6 29:14 76:18 128:7
 changed 44:13,14 95:25                                    209:20 212:8                computer-savvy 60:3
  176:17                     classes 16:21,25 18:16
                                                          communications 26:17,        concern 157:3,12,15
 channel 29:14 189:2         clean 9:2
                                                           19 76:20 102:14 128:9        167:25
 charge 41:25 133:24         cleaning 127:8 138:7          209:21 211:6
                                                                                       concerned 175:8 201:22
  152:24 153:21


                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                             417-887-4110
                                                                           Exhibit P-43, Page 61
    Appellate Case: 25-1349           Page: 2204          Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                    1/22/2024Index: concerns..day

 concerns 156:24 172:13       116:16 118:20 121:25         117:1 125:21 127:24          critiqued 37:21
  174:1,2,8 176:7 178:3       123:8,9,12,13,18 125:17      138:11,17,18 142:16,21
                                                                                        crusher 25:9
  182:20 185:9 199:7,10,18    126:3 127:14 130:18          161:22 162:19 164:23,24
  200:15 201:17,19            132:14 133:2,16 134:21       165:21 170:18 187:14,15      crushing 137:10
                              137:7 138:12 142:14          188:13 209:9,10
 concluded 215:22                                                                       cumulative 145:18
                              146:7 150:10 151:5,8
                                                          correctly 15:19,22 40:18        146:20
 condition 7:12               158:20 162:24 166:21
                                                           52:16 54:3 65:7 87:6
                              184:5 191:17 192:13,14,                                   current 43:3,4 106:15
 conditions 50:10             15 200:21 208:11 210:17
                                                           114:19 148:2 154:6
                                                           168:22 171:9,12,19           customer 42:2 63:13
 conducted 72:20              212:21 214:5
                                                           173:20 174:7 176:16            137:5,15 138:19,25
 conducting 5:15             control--like 54:13           178:15 179:2 180:14            183:11,20,22
                                                           183:1 185:6,22 186:2
 conference 22:18            controlled 68:22                                           customers 50:9 55:13
                                                           196:5
                                                                                          64:4 183:24
 confirm 161:18              controlling 137:7
                                                          correlate 115:24
                                                                                        customs 138:8
 conflict 170:21             conversation 114:18
                                                          correlates 154:21
                              151:7,10 192:18 199:22,                                   cut 20:6
 confrontation 203:7          24 205:13 206:4 210:20      correlation 214:23
  206:6                       214:17
                                                          cost 56:22 57:5                             D
 confused 102:10             conversations 101:1
                                                          costs 175:9
 connected 48:24              118:3,16 128:22 151:21                                    d/b/a 167:2
                              169:17 206:21 207:10        counsel 22:5 43:18
 consideration 50:1                                                                     daily 19:23 26:2,9 27:13
  155:8 156:17 200:25        Cooperate 123:25             counseled 149:13                28:14,15 56:25 57:4 58:24
  202:14                                                   153:16,24 168:22 181:22        59:2 62:2 63:6 111:4,8
                             coordinates 138:25
 considered 14:19 81:21                                   counseling 44:1,2,3,7           113:25 130:11
                             coordinator 176:14
  125:17                                                   45:18 46:11,14 124:3         Dakota 182:9
                              177:9 182:23
                                                           128:21 129:24 130:7,8
 construction 17:7           copied 72:11                  131:5 151:11,24              Dallas 168:21
 consult 173:16              copied/paste 72:9            count 133:21,23 137:17        danger 132:22
 consulting 12:1,2,9,12      copies 112:17 162:15         County 23:15 24:9             dash 78:8 93:22
  193:12                      188:20
                                                          couple 11:22 18:7 20:25       data 58:20,22 59:25 60:2
 contact 30:21,22 164:5      copy 60:20 61:1 65:20         23:2 28:18 29:15 36:19         62:7,11,17,21 63:1,5
  201:9,11                    76:1,5 87:11 90:1 91:19      39:25 78:5 93:3 186:13         112:6 113:3,13 130:11
 contest 203:15,21            92:16 93:15 97:22,25         209:4                          151:23
                              100:20 101:9 103:15                                       database 65:16 77:21
 contesting 203:17                                        court 6:25 7:5
                              105:7 107:17 108:22                                         89:24 112:6,7,13
 context 16:20 94:12          110:20 115:11 117:24,25     cover 23:25
                              119:19 143:16 144:23                                      date 58:15 61:24 63:10
 continue 64:15 68:2          192:10 196:7 208:14
                                                          covered 40:25                   74:5 78:1 95:8 107:3
 continuing 42:6 192:18                                   crazy 72:10 167:7               111:14 113:8 115:9
                             copy/paste 96:12 103:13                                      118:15 129:24,25 130:3
 contract 17:17              corporation 10:20 41:7       create 72:4 88:1 163:23         150:12 154:14 159:1
                                                          created 8:15 71:5 76:2,8        179:5 195:18 212:1
 contractor 57:13 67:15      correct 5:23,24,25 8:17,
  80:23 177:10                                             88:5 106:22 108:13 117:2,    dates 78:23 99:8 122:19,
                              21 20:1,13 23:10 27:18
                                                           5                              21 140:4 144:15,17
 contractors 31:24 32:5       28:9 43:16 45:17,21 46:4
                              51:17 53:16 54:15,16        creates 87:24                   166:24 202:7
  67:13 68:9
                              58:23 59:10 72:16 73:21                                   day 9:11 22:23 23:1,3,4
 control 42:20 54:25 58:3     74:1,23 75:17,18 76:13,19   creating 105:23
                                                                                          27:17 39:1,8 41:17 42:4,
  61:17 63:3 70:20 85:25      78:12 83:13 87:5 88:22      credit 173:9,10                 11 48:7,11,12,14 49:22,
  86:13 87:7 88:15 90:17      91:10 93:25 96:19,20
                                                          criteria 34:18 78:21,24         23,24 50:8 53:5,22 54:4,7,
  92:4,6 93:2 95:20 97:6      97:14,16 99:4 100:22
                                                           79:5                           8 55:2,12 56:20,22 59:14
  103:23 105:14 109:22        105:9 113:4,21 115:4


                                          Alpha Reporting & Video
417-887-4110                            www.alphareportingservice.com                                   417-887-4110
                                                                           Exhibit P-43, Page 62
    Appellate Case: 25-1349            Page: 2205         Date Filed: 04/07/2025 Entry ID: 5503844
                                                  Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                         1/22/2024Index: days..drying

  62:8 63:8 64:15 98:23        138:24 139:8 189:17,20       disciplined 106:24               19 197:7 208:2,6,21
  99:13 105:21 119:11                                        153:15,16 193:6                 215:10
                              depend 104:18
  126:5 127:3,10 128:13
                                                            discomplaint 156:13             documentation 45:6
  135:2 141:21 145:7 154:1,   depended 17:9
                                                                                             52:22 159:18 160:14
  3 173:22 179:25 203:19                                    discovery 59:10 71:25
                              dependent 173:8
  210:10 211:11,15                                           76:2,9 102:1 143:14            documented 66:8 149:9
 days 21:1,12,13,20,24        depending 17:17 22:7           144:20 188:11,21 192:4,         151:1
                               23:1 59:24 67:1               11
  23:2 54:22 55:4,5 73:8                                                                    documenting 53:10
  137:15 143:21 145:7         depends 15:3 20:19            discrimination 158:15            133:10
  165:5,17 180:19 181:2        27:24 28:12 48:10 51:4,6      212:6
  186:13
                                                                                            documents 7:18,23,24
                               66:15 165:25
                                                            discuss 34:7 129:17,21           8:2,3,23 44:15 45:4 52:6,
 deadline 87:10               deployed 18:22                                                 20,23,24 53:7 58:11
                                                            discussed 22:4 66:11,16
                                                                                             72:21,22 102:13 117:4
 deal 19:21                   deposition 5:15 6:1,4,8        76:11 121:3 155:12
                                                                                             118:1,2,4,6 119:13,20
                               7:16 8:20,24 9:5,13,14,21,    209:20 212:7
 dealing 10:1 31:15 33:14                                                                    137:14 143:13 161:6,16
                               22 215:17,22
  40:11 41:4 82:24 157:9                                    discussion 93:23 94:6            177:24 183:9 184:7 188:7
  160:7 177:20 189:16         describe 32:18                 99:21                           192:3
 deals 160:23                 describing 37:14 44:11        disgusted 204:15                doer 135:12
 dealt 16:6 17:19 19:24       description 39:3 41:15        dislike 156:15                  domain 162:11
                               183:15
 Debt 13:11                                                 disrespectful 179:1             Don 14:4 26:3 27:12 43:4,
                              desire 98:17                                                   23 44:24 45:7 78:13,15
 December 109:8                                             district 203:7,9 207:22          80:20,22 81:1 82:22 84:25
 decided 154:1                Detached 49:4                                                  121:15
                                                            divide 57:3
                              detail 120:16 159:8                                           door 138:13,14 157:16
 deciding 157:20                                            dock 111:25
                              details 22:12 48:2 119:4                                       158:10 203:25
 decipher 160:17                                            docket 5:18,22
                               120:23,25 144:16,24                                          doors 138:2
 decision 33:11 34:13          161:4                        document 38:24 44:9
  40:6 148:6 151:19 158:25                                   58:6,9,12,23 59:3,9 60:19,     Dorn 198:20
                              development 124:2
  159:1                                                      20 61:1,12,14,18,20 62:6
                                                                                            dot 209:25
 decisions 33:19              diesel 184:25 185:3            65:14 70:21,23 71:3,5,15,
                                                             16,17,18,19,22 72:4 75:24      Doug 53:17
                              difference 24:8 92:8
 Deedyco 161:24,25                                           76:8 85:19,20,25 86:2,3,
                                                                                            drafted 163:5,11
  162:5,7,9,10                differently 85:17              25 87:4 88:9,10 89:3,4
                                                             90:7,8,16,19,22 91:1,2         Drake 44:20 52:5,7 53:3,
 DEF 185:3                    difficult 55:24 207:10         92:23 93:2 95:6,17,22           15 57:10 133:5 195:3,9
 defecate 138:4               Dillingham 161:17              96:13,19,22 97:5 100:1,7,       196:6,7 211:24
                               162:17                        11 101:15,19,25 102:3
 Defense 15:13                                                                              dried 24:2
                                                             103:12,20,22 104:2
 definition 46:5              direct 12:19 28:22 31:21       105:12,16 107:24 108:6,        drive 25:18
                               44:18,19 45:12 47:2,3         13 109:2,16,22,24 110:24
 degree 10:5 18:8              74:10 99:15 174:21 180:6      111:3,6 112:3,24 115:2
                                                                                            driven 42:1,2
 degrees 10:3 54:17,20        directing 141:10               116:6,8,16,18,19 117:2,        driver 126:7
                                                             20,24 118:5,11,14,17
 delayed 64:5                 directly 44:24 45:17 46:3      120:8,11,12 121:4,19,21        drivers 139:14
                               72:14 112:2 164:5 169:21      122:2,5,25 123:4 133:14
 demand 24:3 42:2 55:11                                                                     dropping 54:17
                               179:17 180:7                  141:24 144:6,7,12 145:19
 demeanor 151:12                                             146:3,9,20,24 147:5,9,12,      droppings 138:7
                              disappears 132:19
  205:14,15                                                  13,18,20 148:11 158:17         drops 54:19 138:5
                              disciplinary 108:17            160:2,21,22 161:9,12
 density 51:8
                               191:20 192:3,10 193:3         162:21,22 163:1,5 164:11       dry 54:23 139:10,11,18
 department 5:12,14 13:6                                     187:17,18,24,25 188:2
                              discipline 108:16 193:9                                       drying 23:22,24 25:19
  15:13,14 57:14 82:6                                        191:24 194:9 196:12,16,         36:22 84:21



                                           Alpha Reporting & Video
417-887-4110                             www.alphareportingservice.com                                     417-887-4110
                                                                             Exhibit P-43, Page 63
    Appellate Case: 25-1349             Page: 2206          Date Filed: 04/07/2025 Entry ID: 5503844
                                                  Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                  1/22/2024Index: due..experience

 due 98:24                    elaborate 202:5               56:3 80:24 108:20 117:21    exact 61:9 195:18
                                                            119:7,15 122:20,22 123:1
 dump 23:19,20 24:4           Elaine 5:13                                               exam 111:5,15 113:17
                                                            140:4 142:23 145:20
  25:18                                                                                   114:8 115:12
                              elderly 176:18,19             147:14 148:6 162:2 165:2,
 Duran 170:16                                               5 166:25 168:2 173:21       EXAMINATION 5:5
                              elected 194:19
                                                            185:7 198:9 199:2
 dust 18:24 199:11,13,16                                                                Examine 111:21,24
                              elevate 27:13                employs 39:10
  200:19 211:16,17
                                                                                        examined 5:3
                              else's 75:1
 duties 37:24 38:25 41:14,                                 empty 139:13
                                                                                        exams 111:8,10 113:20
  22 44:4,11,13 47:6,9 82:2   email 28:23,25 70:24         end 63:13 112:18 119:7,        152:7
  116:20 117:20 119:20         161:17,18,21 166:25
                                                            14 124:21 127:3 207:23
  120:9 121:13 122:17,22,      208:7,9,14                                               excavate 23:17 25:17
  24,25 123:4,7 124:13                                     end-of-week 66:1
  128:14 134:11,18 135:14
                              emailed 147:21                                            excited 210:9,16 211:10
                                                           ended 15:22
  166:24 175:2                emails 161:21 162:16                                      excuse 39:9 57:10
                               195:22                      enforcement 127:20
 duty 128:1                                                                             exhibit 57:22,23 58:1,6
                              embarrassed 204:11           enrolled 18:16                 61:15,16 62:4 70:16,18
 dynamics 43:2
                                                                                          75:24 78:7 85:22,23
                              emergency 77:12,15           ensure 42:5 47:6 127:23
                                                                                          88:11,12 90:9,10,12,16,21
                                                            129:14
               E              employed 10:13 46:8,10                                      91:8 92:2,3,24,25 93:22
                               80:9 81:24 83:2 89:19       entail 66:5                    95:17,18 96:2 97:3,5
 earlier 64:9 116:20           93:25 95:11,13 120:10                                      100:2,3 101:20,21 103:21,
                                                           entire 25:25 36:23 127:16
  148:25 157:5 162:3           121:6,14 122:19 131:6                                      22 105:12,13,17 107:25
                                                            137:1 150:4
  164:21                       140:2 167:1 172:7 187:13                                   108:1 109:17,18 110:25
                               198:2,7 199:8               entitled 94:8,17               111:1 116:8,13,14 121:22,
 early 55:5 211:13                                                                        23 142:11,12 144:8,9,13
                              employee 22:10 28:22         entity 10:17,19 12:14          146:5,6 147:9,11 158:17,
 easier 70:11 188:3            33:2 34:22 36:8,9 38:14,     161:25
  191:22                                                                                  18 161:13,14 162:22,25
                               25 46:9,25 47:4 67:15,20
                                                           entry 24:24                    166:19,23 187:19,20,25
 easiest 178:11                69:4 74:12 75:10 80:14
                                                                                          188:3 191:15,16,18,19,22
                               108:7,9,10,23 109:5         environment 36:3 41:19         196:13,14 208:2,3 209:14,
 easily 126:12                 134:14 164:22 171:21         132:20                        19
 east 111:22                   174:21 176:9 184:17
                               187:5 189:15 190:12
                                                           environmental 36:14          existence 37:10
 Eastern 70:1                                               81:25 127:22 128:8
                               193:7,10
                                                                                        expanded 37:15
 easy 207:7                   employee's 46:10             EPA 82:5
                                                                                        expect 27:7,9 34:10
 edit 120:12                   188:25                      equipment 16:18 17:10          41:17,21 173:15 201:11
                                                            25:14,16 57:11 114:2
 edited 117:4 120:20          employees 12:19 24:19
                                                            127:6 132:21 175:21         expectation 63:4 201:8
                               29:3,5 30:15 31:21 33:3
 edits 190:25                  34:15 35:9,14 37:13,19,     equity 13:11                 expected 39:1 124:16
 educate 207:14                22,23 39:12 43:17 44:16,                                   140:10
                               21,24 45:7,15,21 46:4,6     established 24:23 37:17
 education 9:24 18:6                                        39:22                       expenses 57:1
                               50:17 51:20 53:2 62:10
 education-wise 10:8           65:24 67:5,9,12 68:9 74:4   establishing 30:21           expensive 139:25
                               76:18 87:16 96:23 105:2
 effect 108:10,19              117:12 125:4,10,19          evening 50:3 138:4           experience 14:22 15:15
                                                                                          18:5 19:1 20:2,10 25:1
                               134:19 143:20 156:1         event 157:23
 efficiently 140:17                                                                       34:16,19,23 35:10,13
                               157:15 164:12 165:11,15
 eight-hour 49:25 50:2                                     events 63:25 160:18            40:9,11,12,14 41:6,8,9,11
                               167:4,8,12 168:1 169:10,
  54:10 65:13                                                                             43:10 46:21 47:17,23,24
                               11 201:4 202:2,11,25        eventually 25:13 29:7          50:16 51:19 52:3 57:20
                               204:21 205:6,10,16           46:22 201:13 214:5
 eight-hour-shift 54:7                                                                    82:7 98:12 124:4 134:24
                              employees' 179:11            everybody's 107:12             165:3,6,7,9 167:14
 El 18:12
                                                            202:23                        168:20,21 174:12 193:21
                              employment 44:13 48:5


                                           Alpha Reporting & Video
417-887-4110                             www.alphareportingservice.com                                417-887-4110
                                                                            Exhibit P-43, Page 64
    Appellate Case: 25-1349             Page: 2207         Date Filed: 04/07/2025 Entry ID: 5503844
                                                  Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                1/22/2024Index: experienced..gave

 experienced 38:16 41:3      feed 212:11,14,18             fitting 152:8                formatting 86:9,23
  50:13,14 53:21 55:23                                                                    193:23
                             feedback 37:21 43:25          fives 210:14
  123:13 124:6
                              136:12                                                    forward 41:1 42:6 66:11
                                                           fix 141:4 152:1 155:20
 explain 64:4 85:9 130:14,                                                                106:1 154:15 200:13
                             feeding 212:16                 157:17,21 167:22 184:10
  15
                                                            199:3,6 200:12,15,22        found 52:24 171:25
                             feel 71:10,20 150:20
 explained 38:3 114:23                                      206:19                        172:21 173:20 174:23
                              205:10
  118:2 129:3 139:21
                                                           fixed 60:13 167:23           founded 23:12
  175:17 202:20              feet 49:1
                                                           floor 81:18,19,20 111:17,    founders 13:4
 explaining 36:16            Fellers 182:9
                                                            19,22 138:5
                                                                                        fourth 166:17
 explanation 90:12           felt 205:16
                                                           Florida 9:6 20:13,14,18
                                                                                        Frank 170:16
 export 63:19                field 203:11
                                                           flowing 26:17 185:15
                                                                                        free 71:10,20
 expressed 201:17,19         fields 12:2,4
                                                           flu 138:9
                                                                                        frequent 76:18
 expressive 156:12,15        fight 106:3
                                                           fluctuates 50:23
                                                                                        freshly 53:18
 external 28:25              figure 18:23 62:22 167:22
                                                           fluid 185:4
                                                                                        Friday 66:2,3 141:20
 extra 166:17                file 129:25 130:3 188:25
                                                           fly 138:3
                              191:21                                                    friend 99:18
 eyes 204:18
                                                           focus 16:11
                             files 189:3 192:6                                          Frito-lay 19:6,18
                                                           focused 16:2
                F            fill 64:2 130:16                                           front 7:22 8:4 24:9 112:18
                                                           focuses 32:20                  204:25
                             filled 63:5 192:22
 face 136:3 204:16                                         folder 190:24 191:7          front-end 23:18
                             filling 63:4 113:3 123:22
 fact 118:19                                               folders 117:14 197:16        front-facing 112:5
                             fills 112:6
 factored 51:12                                            follow 114:16                fuel 57:5 185:1
                             financed 13:10
 factors 40:15 54:12,24                                    follow-on 91:7 92:19         fulfill 41:22
  160:13 161:8               financials 30:25 32:13
                                                           Fondren 114:15 136:1         full 5:8,10 7:9,14 139:14
 fail 155:22                 find 18:14 73:23 94:22
                                                            156:14 170:4,5 186:1,2,9      141:21 206:11
                              129:8 152:15 182:5 207:6,
 failed 175:22                7                            food 210:5                   fully 165:12,14
 fair 73:17                  finding 165:2 203:14          force 76:15                  funded 13:12
 fairly 21:9 166:5            204:23
                                                           forecast 49:23 55:6,11       funding 13:24
 fall 55:5                   findings 203:24
                                                           forecasted 49:7,19,20        funds 13:16,21,22
 falls 206:10                fine 10:9 83:20 120:4
                                                           forecasting 55:10
                              188:6
 familiar 17:14,22,23                                                                                   G
                                                           forgot 130:15
  105:16 146:10              finish 6:20 115:17
                                                           forklift 25:8 38:9 114:7     Gage 89:15,17 90:2 91:3,
 familiarize 35:14           finished 63:12 127:9
                                                            126:6,23 141:8                6,12,20 169:24 185:5,6
                              137:23,24 181:15
 family 174:7                                              forklifts 134:23               205:23 206:1,5,8,13,14,16
                             finishing 127:1
 farmer 47:22                                              form 111:8,14 112:4,5,11,    garage 24:16 185:2
                             fire 206:16
 farming 47:23                                              15,17,18 115:8 121:5        gas 185:1,4 206:15
                             firing 43:20,25                126:17 190:6
 Fatal 69:9                                                                             gather 188:23
                             first-hour 126:22             formal 36:8 149:14,16,19,
 February 90:4 92:17                                        24                          gathered 144:19 188:12,
                             fishing 68:20                                                14
 Federal 5:19                                              format 88:20,25
                             fit 117:4                                                  gave 6:13 56:3 129:5



                                             Alpha Reporting & Video
417-887-4110                               www.alphareportingservice.com                                417-887-4110
                                                                           Exhibit P-43, Page 65
    Appellate Case: 25-1349              Page: 2208       Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                   1/22/2024Index: general..Hodge

  191:19                       211:14                       178:25 179:22 182:6          heel 56:6
                                                            185:12 195:12 197:4
 general 6:24 17:6 35:18      ground 6:7 35:19 36:25                                     height 199:24
                                                            202:14 205:13 206:25
  49:13
                              group 26:15 29:18 68:3,       207:3 213:16,25 214:3        held 165:4
 generally 26:8 41:25          14 69:18 74:13,21 78:11      215:2
                                                                                         helicopter 10:6
  96:4 180:4                   79:8 80:19 81:7 82:14,20
                                                           Gwen 83:25 84:8
                               83:1,12,18 84:13 85:4                                     helpful 116:5 150:21
 generate 112:24 115:9
                               87:12,15 88:1 94:1,3,4,5
  183:20
                                                                        H                helping 130:19
                               97:9 100:23 101:1,4
 generated 52:24 130:14        104:12,17,22,23 105:1,8                                   hey 27:2 69:10 81:12
                               129:17                      Hale 14:4 21:8 26:3,24         114:4 132:23 134:25
 generation 40:12
                                                            27:12 43:4,23 44:1,7,20,      140:25 201:14 204:2
                              group's 27:4
 generic 68:21                                              24 45:7 80:22 121:15          206:5 211:4,13,14 212:2
                              groups 74:11 78:6 79:21
 gentleman 52:5                83:6 85:8,13 87:24 180:5    half 24:6 55:25 69:21         high 9:25 22:10,11 48:1
                                                            139:14                        50:17 149:22 200:3,9
 gentlemen 51:24              grow 214:4 215:2,5                                          210:14
 geology 18:5,16                                           hand 30:8,10,11 163:21
                              growing 83:4 150:18                                        high-school-graduate-
 get all 37:4 183:5                                        handbook 108:8,9,23           educated-level 41:5
                              growth 46:11 140:14           109:5
 Giberti 181:7                Guard 15:14,20                                             highlight 96:9
                                                           handed 147:22 163:16
 give 6:12 7:2,8,13 9:14,24   guarding 18:3 19:25                                        highlighted 72:8 96:6,14
  16:19 46:5 48:2 50:2                                     handled 171:16                 102:25
                               38:10 114:2 129:15,19,22
  55:13 61:17 85:24 88:14                                  handles 31:25 123:22
                               152:6                                                     highlighting 96:15 99:18
  90:16 92:4 93:2 94:12
  97:6 100:5 101:23 103:23    guards 152:11                handling 32:2                 highly 168:6
  108:3 111:2 120:1 124:4                                  hands-on 33:18 133:13,
                              guess 5:9 21:3 30:8 33:9                                   highs 200:11
  144:11 160:24 161:6                                       20
                               46:6 65:15 67:16 74:7
  162:23 183:20 189:19                                                                   hire 16:21 33:23 34:4,6,
                               79:7 84:8,11 94:13          happen 51:1 55:14
  192:13,15 196:9 201:20                                                                  12,15 38:18 39:23 40:4,8
                               104:17,19 110:21 115:3,      110:19 153:22
  208:11 210:14 211:5                                                                     43:10 148:7 172:11
                               16,21 131:7 143:3 150:11
  215:13                                                   happened 13:1 69:11            184:10
                               151:14 157:24 160:19
 giving 17:3 30:22 75:1        163:25 169:8 186:9 189:2,    77:9 137:19 139:24 152:2
                                                                                         hired 21:8 22:13 27:8
  92:5 133:21 184:2            9 190:18 193:4 205:4        happening 48:12 66:9           34:22 39:4 40:18,23 41:7
                               210:22 213:20                                              98:7,19 143:2 147:23,24
 goal 50:19 51:3,15 55:8                                   harder 152:19
                              guessing 12:23 212:12                                       148:1 158:12 165:10
 goals 51:12 55:9 56:10                                    hauled 202:13                  175:18,25 184:19 206:12
                              guidance 52:2                                               215:7
 good 5:7 56:7,12 83:3                                     have--they 64:14
  85:11 121:7 148:12          guide 42:3 98:15                                           hires 36:19
  152:10 154:8 155:16                                      head 20:5 35:6 53:20 86:4
                              guideline 64:13               95:1 135:18 136:17           hiring 30:15,18 33:2,3,19
  169:6 176:9 201:16
  204:14 211:15 212:13        guidelines 51:24              149:11 204:16 206:17          40:15 43:19,25 46:24
  213:14                                                    207:23                        143:1
                              guy 30:18,19 48:18 80:23
 gossiping 105:23              141:2,10 154:23 155:4,5     health 5:20 36:14 81:4,25     history 9:24 50:13
                               169:5 170:2 175:10           110:9                        hit 72:24 73:18 96:24
 government 13:23
                               205:22 206:8,9,12,15,18     hear 177:2                     103:3
 grab 148:14                   210:5
                                                           heard 194:13 204:20           hits 73:5 96:16 102:23
 grades 51:5,6                guy's 136:2                                                 103:16
                                                           heat 54:23 55:1,4
 grays 89:14                  guys 25:13 69:10 87:20                                     Hmm 86:17
                               106:4 107:9 126:9,14        heavy 16:17 17:10 25:14,
 greasing 126:20               129:21 135:1 138:6 152:5     16 54:22 57:11 175:21        Hodge 176:16 177:18
                               157:8 169:23 170:11          210:5                         179:20 189:25
 great 33:23 46:15 175:14



                                           Alpha Reporting & Video
417-887-4110                             www.alphareportingservice.com                                 417-887-4110
                                                                            Exhibit P-43, Page 66
    Appellate Case: 25-1349             Page: 2209         Date Filed: 04/07/2025 Entry ID: 5503844
                                                  Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                       1/22/2024Index: hold..Jeff

 hold 141:9 168:14 171:8      hurry 192:22 204:3           information 30:22 49:11      internal 29:1 30:25 76:20
  202:21                                                    52:25 53:19 59:1,2,6,8
                              hurt 114:3,25                                             internally 32:3
                                                            112:2 124:11 159:4
 holds 189:3
                              husband 177:20 178:15,        160:25 170:15 179:9,11      internet-based 130:20
 holdup 57:16,20               16                           191:10 211:23
                                                                                        interrogatories 100:8
 home 20:15 127:4 130:16                                   informed 26:18 197:8          122:3 209:16
  138:2 166:25 174:24,25                    I
                                                           initial 30:21 143:1 147:14   interrogatory 122:7,14,
  176:20,25 177:4,6
                                                            154:14                       15 158:22,23 160:9
 honest 69:1 150:13           idea 49:12 131:20                                          166:23
                                                           initially 125:16
  207:2,20                    ideal 50:10                                               interrupt 44:5 159:17
                                                           ink 192:23
 Honestly 135:15              identification 58:1 61:16                                 interview 36:12
                               70:18 85:23 88:12 90:10     input 62:11,17,22 63:1
 hooray 210:14
                               92:3,25 95:18 97:3 100:3     113:13 154:23               interviewed 22:6,7 33:22
 Hoover 38:14,20 60:2          101:21 103:21 105:13                                      148:2 165:10
                                                           inputs 62:7
  97:10,22 98:1,7 100:21       108:1 109:18 111:1                                       interviewing 38:3
  101:10 107:6 114:15          116:13 121:23 142:12        inputting 59:25 100:25
  118:23 119:2 121:2           144:9 146:6 147:11           112:2 130:11                interviews 22:14,15
  123:19 131:23 132:18,24      161:14 162:25 187:20                                      30:23 33:7
                                                           inquired 195:22
  133:4 136:1 150:22           191:16 196:14 208:3                                      inventory 64:18 133:18
  155:10 156:9,12 158:7                                    inspection 91:6 111:14
                              identify 25:16 166:24                                      134:1,22
  179:16 185:13 190:3                                       114:1,20,21 126:23
  191:9,10 205:11,21          illness 7:13                  197:25 198:10,16 201:6,9,   involved 26:9 52:14
                                                            12,15 202:9 205:19           66:20 75:13 148:5 194:14
 Hoover's 98:6 154:23         imagine 80:22                                              203:7
  155:1                                                    inspections 102:15
                              impair 7:13                   114:11 126:23 156:7         Iraq 18:22
 hope 120:25 167:13
                              impetus 155:14                197:23 198:2,6,23 201:2
 hospital 185:21,25                                         203:4,13
                                                                                        issue 44:10 57:9 81:16
                              in-house 184:1                                             106:18 137:2 184:3
 hostility 105:24                                          inspector 152:12 198:19,      199:13 200:12,24
                              inclined 82:13                20 202:10,24 203:18
 hot 206:17                                                                             issues 50:18 52:8 55:18,
                              include 159:10                205:3
                                                                                         21 57:17 66:10 105:21,23
 hothead 206:16
                              included 79:2                inspector's 201:14            107:4 111:16,23,25
 hounding 126:9                                                                          138:21 153:19,23 155:21
                              includes 41:23               inspectors 102:16,18
                                                                                         156:4 157:19 164:7,22,25
 hour 50:2,3,15,20 64:12                                    157:10 202:4 205:7 206:2,
                              including 102:14 122:19                                    165:2 168:9 172:6,8,9,23
  69:21 127:4 142:21 145:6,                                 7 207:11,17
                               160:13 161:8 165:7                                        174:6 176:15 177:25
  15 211:5
                                                           instance 73:21                179:6 180:15 187:1
 hours 11:22 49:24 50:4,7     incorrect 95:10                                            197:22 212:14
                                                           instant 77:10
  77:9 94:11,20 124:12        indication 197:1                                          IT-SAVVY 60:1
  125:1,3 142:1,2 145:20                                   instruct 163:18
  146:15,16,17 182:19         individual 34:7 38:11,13                                  items 133:22,23
                               88:2 167:1 189:4,10         instructed 64:1
 hours--60 64:13               191:20 194:19 210:9         instructing 152:5
                                                                                                      J
 house 130:17                 individually 181:22          instructions 133:13
 HR 189:2                     individually--to 33:16                                    jail 202:13
                                                           instructor 15:12,25
 humidity 50:24 54:6,21,      individuals 35:25 188:10                                  January 39:8 59:14,18,23
                                                           insurance 57:5
  22                           196:2                                                     60:5,22 61:4,5 109:8
                                                           intelligent 175:10            158:2 198:24 202:6,7,8
 humidity--that 54:14         industries 12:6
                                                           intent 46:24                 Jeff 168:8 171:23,24,25
 hundred 49:1 77:6 199:4      industry 12:6
                                                           interest 11:4,12,15           172:6
 hurdle 51:18                 influence 7:11



                                           Alpha Reporting & Video
417-887-4110                             www.alphareportingservice.com                                417-887-4110
                                                                            Exhibit P-43, Page 67
       Appellate Case: 25-1349         Page: 2210          Date Filed: 04/07/2025 Entry ID: 5503844
                                                  Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                       1/22/2024Index: Jessie..letters

 Jessie 81:3,4,21 84:25        175:6,7 193:20 206:10,11     105:1 118:8 124:9 132:25         128:8 135:23 138:22
  153:1,22 176:16 177:18                                    135:3,22 136:12 142:9            140:25 145:12 164:15
                              joined 13:6
  179:20 189:25                                             144:17 145:18 157:20             166:8,11 178:8 183:2,8,15
                              joining 19:6                  167:5,18 170:13 175:2            214:6
 Jessie's 82:2
                                                            177:6 178:1 188:25 189:8,
                              Joplin 182:17 185:24                                         lead's 43:22 140:18
 Jim 38:14,19 97:10,22                                      21 190:3,5 191:18,20,21,
  98:1,6,7,19,23 99:1,10,13   Jordan 9:10 12:16 14:12       24 204:17                      leader 85:12 135:12
  100:21,25 101:10 114:15,     20:9 26:25 29:21 31:5,6                                       184:16,18 213:18 214:1
                                                           kinds 185:4
  19 118:23 119:10 123:12,     32:10 40:6 66:14 67:9
                                                                                           leadering 85:11
  19 126:6 132:23 154:22,      78:15 79:20 81:1 82:22      knew 178:6,7 196:10
  23 155:1,3,5 179:16 190:3    84:8 85:3 91:21 108:14       197:4,5                        leadership 19:16 128:20
  210:8 211:6,20,21 212:24     143:6 144:21 151:20                                           168:20
                                                           knowledge 77:17 134:25
  213:9,12,17,22 214:4,15,     189:7 203:24 204:12,17
  21 215:2
                                                            194:22                         leading 126:1 174:12
                               209:9,12
                                                           Kohler 53:17                    leads 205:8
 Jim's 98:25 210:5,15         Josh 78:16 79:25 80:2
  212:15                       169:1 173:9                                                 Leaf 181:3,4
                                                                         L
 job 10:23 16:2 19:12 23:7    Joshua 36:13 44:20 81:1                                      leaned 204:1,11
  33:24 37:23,24 38:7,25       82:1 177:12,14
  40:8 41:14 42:5 44:4,11,                                 label 85:21 183:11              learn 25:5,10,12,13
  12 82:2 98:6 117:6 120:9
                              JPEG 88:20,25 90:18                                            134:21,22 151:5 175:25
                               92:7                        labeled 85:21 97:5                176:22 214:4
  121:13,16 122:17 128:14                                   109:17 183:10
  135:8 156:2 157:13          JPEGS 92:9                                                   learned 25:15
  158:11 166:15,24 171:25                                  labels 137:12,13,25 183:9
  172:22 173:5 174:24         Juan 168:11 173:19                                           learning 40:24 43:9
                                                           Labor 5:12,14 13:7                92:11 121:16 150:18
  175:2,24 176:1,3 180:2,13   Jubil 168:16,18 171:7,10      189:17,20
  181:16 182:5,24 183:15                                                                     151:8
                               174:16,17,18
  185:21,23,25 186:19                                      lack 35:13 50:16 202:12         leave 70:9 170:20 171:4
  187:6,7 204:7 207:6         July 73:19 105:21
                                                           lacked 40:25                      174:4 175:13 186:1
  212:17,19 215:3             June 71:1 72:6,19,25
                                                           lacking 135:3                   leaves 139:11
 job-hoppers 165:4             95:13 115:13 140:2 167:3
                                                           lading 139:15                   leaving 178:19
 jobs 30:5 205:17,18 207:6    justification 209:24
                               212:3 213:6,8,11,19,24      laid 125:13                     led 135:22 151:22 156:20
 Joe 56:4 80:21,23             214:11,15,22 215:1                                            157:20
                                                           Lance 45:3
 John 14:2,18 20:20 21:6      Justin 181:5                                                 left 15:20 23:15 145:13
  26:5,6 27:12 30:17,23                                    Landry 169:4 179:19               146:23 172:19 173:19
  31:10 33:6 36:12,13 37:25                                 180:11                           174:17 177:13,16,18
  38:17 39:15,23 40:23                      K
                                                           large 41:6 71:16                  178:13 180:12,16,22
  41:7,14,21 42:3,23,25                                                                      181:3,8,20 182:15 184:24
  44:12,16 45:8,10,13 46:1    keeping 134:1                larger 16:22                      185:5 186:18,24
  47:6 48:3,7 66:14 78:13,
                              Keith 99:18,19,23 102:25     largest 54:3                    leg 171:10
  15 80:4,25 82:22 83:25
                               103:6 203:13
  84:8,25 89:10,13 90:2                                    late 132:19 145:6               legally 94:10,20
  91:3 92:18 93:16 124:3      Kensley 182:15 184:10
                                                           Laura 5:11 72:9                 length 131:18
  131:25 133:5,7 135:5
                              key 73:23 74:16 96:9
  151:21 173:8,12 175:5                                    layers 200:3                    lets 127:6 183:4 187:23
  179:1,12,15 184:22          keyword 103:1                                                  208:12
  187:13 189:7 190:15,16,
                                                           lazy 170:3 185:13
                              kind 6:7 17:3,12 24:21                                       letter 147:15 163:4,14,23,
  19 191:1 192:21,24                                       lead 38:5 42:8,9,13,18,19,
                               27:3,12 28:5 33:17 34:1                                       25 186:22 189:23 190:21
  193:20 194:1 196:9,18,21                                  24 43:1,3,4,14 45:10 59:6
                               37:18 53:1 54:13 72:14                                        191:3,6
  197:8 201:4 202:20 206:3,                                 62:7 81:6 98:11 99:1,14
                               73:13 76:11,17,18 77:2,5
  5,10,12 211:23                                            113:25 114:10 116:20,24        letterhead 191:7
                               87:2,4 88:19 92:9 94:11,
                                                            117:7,8,9,19 119:20
 John's 30:22 31:2 34:13       12 95:9 97:6 99:16 100:20                                   letters 188:1,9,12,21,24
                                                            122:22 124:7 127:5,12,14
  42:11 91:5 166:1,3 173:10    101:23 102:10,11 104:5


                                           Alpha Reporting & Video
417-887-4110                             www.alphareportingservice.com                                    417-887-4110
                                                                            Exhibit P-43, Page 68
    Appellate Case: 25-1349            Page: 2211          Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                    1/22/2024Index: letting..master

  189:9 190:7                  48:22                       203:18                         168:21 199:1 201:5
 letting 214:24,25            location 20:23 23:22        mail 162:12 196:8 197:14       management-type
                               139:12                                                     25:25
 level 173:12                                             mailboxes 161:20
                              lockers 125:15                                             manager 14:2,5 21:8
 level-headed 202:23                                      Mailing/preparing
                                                                                          22:12 26:4,6,7 39:24
                              lockout/tagout 17:20,24      123:22
 levels 53:22                                                                             40:16 43:6,8,11,12,21
                               19:25
                                                          main 52:7                       44:23 45:10,13 46:19,22,
 Lewis 186:17
                              log 113:7                                                   23 52:1,9 53:16 66:25
                                                          maint- 133:6                    98:14 105:25 124:5,6
 Liability 5:17 10:20
                              logically 22:4 27:10
                                                          maintain 125:1                  133:7 136:7 148:9 173:7
 library 130:17                63:12 134:6
                                                                                          175:16,19 176:2,6 193:8
                                                          maintained 62:9 77:20,          203:7,9 213:13,14
 license 10:6,7 67:23         long 37:7,9 39:7 66:17
                                                           23 111:6 115:3 117:11
                               99:21 128:14 131:21
 Licklider 198:22 202:10,                                                                managers 19:14 32:6
                               151:3 153:17 168:13        maintenance 30:18,19            154:17
  11 203:13 204:20 205:25
                               173:1 182:12 187:9,10       47:10,14,16,17,24 48:4,18
  206:23                                                                                 manages 57:14
                               204:4                       51:25 52:9 55:18,19,21,
 life-threatening 200:17      long-winded 207:25
                                                           23,24 56:4,5,8,12,20
                                                                                         managing 10:17,24
                                                           57:20 80:19,23 81:7,12,
 likes 210:5,6                                                                            14:10,12,14,15 40:13,21
                              longer 67:20 89:24           15,17,18 82:11,12,14
                                                                                          41:3 193:21 212:18,19
 limit 173:13 198:3 200:21                                 123:25 124:1 127:10
                              longevity 155:9                                            manufacturing 17:14
                                                           135:6 140:8,12,19,20,21
 limited 5:17 10:20 160:14    looked 80:25 158:18          141:2,6,10,12,13,17,18,21      19:1,5,7,17,20,24 35:21
  161:9 200:10                                             166:2,18 170:2,3 177:19        36:5 40:20 41:11 55:5
                               200:5 204:12,16,18
 lines 64:25 65:1 160:18                                   178:7,8,10,11 181:24           57:6 174:12
                              Lord 167:13                  183:16 185:14 200:23,24
 link 129:20                                                                             March 59:21,22 60:9,15
                              lot 10:2 16:8 25:1 31:3      205:22 206:8,9,12,18
                                                                                          65:21 157:25 194:11
 list 123:2 162:4 167:4        35:8 53:17 54:12,24 85:8
                                                          major 40:15 63:24 172:13
  189:13 190:4,5 195:22        90:12 105:22 119:2,3                                      marked 58:1,6 61:14,16
                               131:21 132:18 133:10       make 8:18 28:18 33:10           70:16,18 85:23 88:10,12
 listed 32:13 110:12           154:18,24 156:6 179:11      40:24 41:1 42:16,20            90:8,10,15 92:1,3,23,25
  122:21 159:4 160:9 161:1,    207:18,21 211:23            46:18,22 47:13 82:15           95:18 97:3 100:2,3
  7,9 162:18                                               107:12 114:11,24 128:22        101:20,21 103:21,22
                              lucky 166:5                  136:14 138:11,14,16,17,        105:12,13 107:25 108:1
 lists 58:15 89:10 190:18,
  19                          lunch 42:16 124:22,23        18 156:25 157:6 158:8,10       109:18 110:24 111:1
                               148:14 166:16               183:22 184:1,5 188:3,4,18      116:11,13 121:22,23
 live 20:13 109:4 120:11                                   191:22 198:25 206:18           142:11,12 144:7,9 146:4,6
  121:4                       Lynn 82:22                   208:21 209:23 211:7,19,        147:9,11 161:13,14
 lived 182:17                                              22 212:3 213:23                162:22,25 187:19,20,25
                                           M                                              191:14,16 196:12,14
 livelihood 202:25                                        makes 33:24 42:9,13             208:2,3
                                                           78:25 101:7 123:14
 lives 136:3                  machine 18:3 19:25 25:3      152:18 155:25 214:10          Markenson 202:10
                               141:4 178:18 183:17,18
 LLC 11:8,11,14,16,18                                     making 45:24,25 47:16          Markeson 99:23 103:6,7
  167:2                       machine's 52:17              83:4 114:1 134:7 182:25        198:21 203:2,14,22 204:2,
 load 24:4 84:13,20 138:6                                  199:14 201:18,23 213:15        4,20 205:2,3,9,25 206:24
                              machinery 49:21 200:7
 loaded 33:20 42:21           machines 53:4 54:4          man 151:3 213:23               Markeson's 205:15
  137:22 139:5                 140:16,17 152:6            manage 41:21 98:22             market 33:13
 loader 23:19                 mad 107:12 135:18 176:4      161:20 162:12
                                                                                         married 176:17
 loading 111:25               made 8:5 9:18 37:21         management 12:17
                                                                                         Maryjo 208:8,14
                               63:17 99:17 102:10 109:6    13:25 14:3,8,17,19 16:14
 locally 33:6,18                                           19:13,16 27:6 41:6 43:15      masks 200:21
                               135:25 136:17 159:2
 located 9:3 23:9 24:14        183:23 197:12,18,20         46:20 78:9,15 81:22 98:17
                                                                                         master 40:10
                                                           128:20 152:17 155:10


                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                               417-887-4110
                                                                           Exhibit P-43, Page 69
       Appellate Case: 25-1349          Page: 2212        Date Filed: 04/07/2025 Entry ID: 5503844
                                                Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                 1/22/2024Index: master's..MSHA

 master's 10:5,10            messages 29:16,18 68:7,       minerals 183:18              Monday 66:3
                              8 73:5 74:3,7,10 77:2,18
 match 168:10                                              miners 50:14 156:25          money 56:21 155:25
                              87:3 88:21,23 89:6 91:20
                                                            194:11,16,20 195:4,6,13,     158:10 181:25
 material 25:17 35:20,23      92:17 93:7 101:9 103:9
                                                            20,23,25 196:3,6,22 197:9
  51:9 54:23 57:8,16 63:14    209:17                                                    monitor 54:21
                                                            201:17,22,25 207:1,11
  84:20 137:6,9 138:6
                             messaging 29:2,9 92:20                                     monitoring 42:18
  212:17,18                                                minimum 166:14
                              154:22 180:6
                                                                                        month 21:4,5 39:2
 material's 36:21                                          mining 14:22,23,24 15:2
                             met 22:4 50:19 56:10
                                                            20:9 34:15,19,22 35:9,13,   monthly 56:25
 matter 118:19
                             Michael 162:16                 14,18,23,24 36:3,5 41:8,9
                                                                                        months 24:2 55:25 154:5,
 matters 11:21
                             Microsoft 26:11 68:1          minuscule 142:5               11 155:15
 Max 44:20 57:10 79:15        72:11,15 75:2,14,21 77:7,
                                                           minutes 20:21 64:13          morning 5:7 50:3 214:19
  195:3 196:6                 21 103:16 112:11 115:6
                                                            69:24 70:5 77:8 124:21
                              125:5,8 162:11                                            MOSENECA 13:22 32:23
 MBA 10:11,12                                               211:9
                             middle 119:8                                               MOSENECAMANUFAC
 Mcclelland 180:21                                         misleading 118:1
                             midnight 65:8                                              TURER 5:17 10:18 13:19
 means 27:19 64:17 96:15                                   missed 56:22 107:20           167:2
  139:2,11 166:1 200:18      miles 23:21 24:6               132:18
  211:17 214:8                                                                          Mosenecamanufacturi
                             military 15:14,21,23          missing 159:13 160:2         ng 11:13 13:20
 meant 6:12 133:1             16:12
                                                           Missouri 23:10 24:9,12,      mother 19:12
 mechanic 178:9              mill 23:3 24:5,14,16,24        14,17,21 189:17,19
                              25:20,22 26:2,4,14,15,21,                                 motor 48:17,19 60:12
 mechanically 82:13                                        mistake 60:4 203:18           82:16
                              22 35:17 36:15,17 38:5
 meet 21:25 148:14            42:10,11,14 43:12 44:25      mistaken 10:22 39:5          Motorcycle 16:17
                              45:9 48:15,25 49:2 51:25      56:24 163:16 168:15
 meeting 66:2,13,22,23,24     52:9 53:16 68:3 78:8,15       170:4                       mouse 86:14 210:18
  107:3                       79:8,12,17,18 80:13
                                                           mistakes 40:24 61:8          mouth 53:2
 meetings 19:22 65:24         87:12,15,16 98:7,10 99:2,
  66:17,21 67:4               4 104:12,17,22,23 105:2,     mistaking 168:16             move 25:11 41:1 85:25
                              8,24 111:18 114:3,4,16                                     101:14,19 121:19 176:2,5
 member 10:17,24 12:25        123:19,21 125:13,14          mixed 171:7                   185:23 208:17
  14:11,12,13,14,15           127:7,15 128:13,18,19        mm-hmm 10:12 13:14           moved 153:14 185:25
 members 12:15 32:8           129:18 132:16 133:6,17        18:2 19:19 27:21 28:7        186:6
                              134:4,20 135:16 140:14,       32:3,15 44:23 54:11 58:19
 memes 210:15                 23,25 151:7 154:17,18         59:11 63:2 73:9 89:9        moving 174:6,14 175:9
 men 40:21 174:13             164:16 166:4,10,14 170:7,     91:16 100:12 102:8 103:4     180:14
                              21 198:15 213:16,25           104:16 105:3 107:11
 mentioned 117:11 130:6                                                                 MSHA 20:2,3,10 25:2
                              215:4                         122:1,9,16,23 123:7
  132:15 136:7 148:25                                                                    36:1 37:10 47:7 48:4
                             mill's 199:4                   124:15 125:2 143:15          50:18 51:19 69:8 82:5,8,9
  152:23 154:9 156:23                                       144:18 145:4,16 150:5
  164:21 165:11 186:11                                                                   91:6 96:6,16,24 99:18
                             mind 212:2                     151:17 159:7 170:19          102:15 127:23 128:4,6,16,
  209:8                                                     179:24 187:15 210:3
                             mine 5:20 20:23 22:21,23                                    25 129:2,4,11,14 152:1,3,
 mentor 22:6 46:17            23:3,9,16 26:9 27:5,13,20,   MO 78:8 80:19 82:20           24 153:9,15 155:22 156:4,
 mentored 23:8 135:10         23 28:8,11,14,23 29:4,10,     84:25                        7,9,25 157:6,9 158:13
                              22 35:17 36:4,6 49:5,13                                    165:7,9 180:23 182:13
 mentoring 46:15,16           56:17,22 157:1 167:3         Molesi 81:3,4,21 153:1,9,     195:22 197:10,19,20,23
  85:11 98:15 128:22          194:11,21 195:7 198:10        13,22,24 186:6               198:1,6,10,19 199:23
                                                           Moll 13:5                     201:2,6,9,12,18,23,25
 message 74:21 75:7,9,22     mine's 56:20                                                202:3,24 205:7,24 206:1,
  77:4 80:9 91:3,5 182:6                                   mom's 130:17
                             miner 110:22                                                15 207:3,4,11,17,18
  212:10
                                                           moment 125:12 215:14          209:24 212:4 213:3,21
 messaged 74:12              miner's 15:7 110:3                                          214:10,12,14,24



                                          Alpha Reporting & Video
417-887-4110                            www.alphareportingservice.com                                417-887-4110
                                                                            Exhibit P-43, Page 70
    Appellate Case: 25-1349           Page: 2213           Date Filed: 04/07/2025 Entry ID: 5503844
                                                Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                1/22/2024Index: Msha's..overtime

 MSHA's 157:10,12,13         normal 20:20 50:15 54:10      147:8,12 148:10,16,19,24     22:5,12 26:6,7 39:24
                              57:6 63:9 64:8 104:23        161:10,15 162:20 163:1       40:13,16,18,19 41:10,16,
 MSHA-PROVIDED 15:6
                              125:25 126:1,18 201:7        187:16,21 191:12,17          23 43:1,6,21 44:23 45:13
 MSHA-REQUIRED 37:4                                        196:11,15 208:1,4,20         46:23 47:13 48:12 52:1
                             nose 171:11
                                                           209:4 215:9,16,19            56:25 57:4 64:2 66:12,22,
 multiple 156:17
                             note 13:5,7 111:16,23,25                                   23,25 79:17 82:20,25
                                                          oath 7:6
 mute 70:9                    160:6 203:4                                               83:5,19,21 98:14 136:7
                                                          observe 23:6                  137:12 148:9 154:16
 mutual 177:7 178:1          noted 61:8                                                 155:6 156:3 157:15 158:9
                                                          occasionally 67:1             164:14 166:9 173:7 183:8
                             notes 7:25 8:5,6,9,10,12,
              N               14,15,18,20,21 9:18 12:23   occur 55:20                   193:8 201:7 206:19
                              21:19 22:8 39:17 53:17
                                                          occurred 63:8                operator 25:3,8,9 84:4
 name's 5:11                  64:6 66:7 123:15 136:17,
                              18,21 149:17,18 154:10,     October 195:2,16             operators 51:25 52:1
 name--i 18:14                13 159:21,22,25 160:1,3,
                                                          offer 33:25 51:4 142:7       opinion 172:10 203:3
 named 194:10                 5,16,20 161:3 187:11
                                                           147:14
                              202:8 204:8 205:12                                       order 55:16 63:18 64:4
 names 102:18 176:17          215:11                      offered 175:5                 127:10 137:5 138:11,17,
 National 15:13,20                                                                      22,23 139:8,15
                             notice 189:12                office 5:12,14 9:7,8 48:8,
 Natural 82:6                                              20 137:12 150:11            order's 139:10,13 183:7
                             noticed 81:16
 naturally 34:11                                          official 18:8                orders 63:10 126:15
                             notices 196:4
                                                                                        137:21 139:14
 necessarily 20:15 77:6      notification 138:24          oil 180:13
  96:1 118:5 152:19 178:23                                                             organization 162:2,10
                              214:18                      OJT 38:6
  189:16 190:8 191:2,4                                                                  207:16
                             notoriously 132:18           Oklahoma 15:13,14,20
 needed 20:19,22,25 25:1                                                               organized 103:2
                                                           18:13 23:9,15 24:11,12,20
  27:9 30:14 42:12 43:10     November 65:21 70:24
                                                           25:12 83:24                 orientation 36:9
  48:17 67:2 152:1 155:20     180:25
  168:13 175:5 176:22                                     Omphalos 10:20,21            original 88:4
                             number 63:16,17,18,22
  181:25 183:21 191:10                                     11:8,11,13,16,18 12:8,9,
                              70:17 96:2 102:12 111:20,                                originally 13:9 154:7
                                                           11,15,17,19,21,25 13:15,
 needing 176:19               21 116:8 122:8,14,15                                      185:8
                                                           17,19 32:25 39:19,21
                              132:6 142:11 155:17
 needle 171:10,11                                          162:6,7,9 195:7 209:8       Orlando 19:7
                              158:22,23 162:23 164:4
 negative 172:11 212:24       166:23,25 208:2             one-time 157:23              OSHA 15:12,16,18,24
                                                                                        16:2,3,7,12,14,19,24 17:2,
 neighbor 176:19 177:21      numbers 59:19 60:17          online 109:4 120:11           5,6 18:1,3 19:24 82:9
                              142:10                       129:12 131:1 197:17
 Neosho 172:1,2                                                                         157:4
                             numerous 62:20 136:8         Oops 92:5
 Newburn 177:25 178:14                                                                 OSHA's 17:14,19
                              137:19 138:21 139:17
  190:1                       149:13 178:20 203:19        open 7:19 8:2 23:16,25       OSHA-CERTIFIED
                                                           25:12 46:13 55:24 68:18
 newsletters 69:9                                                                       15:12
                                                           164:6 207:2
                                          O                                            Ottawa 23:15
 Newton 24:9                                              openly 179:22
 night 98:20,22,24 138:3                                                               outline 151:1
                             O'REILLY 5:6,11 57:21        operate 25:13 133:2,15
  173:23 211:18               58:2 61:11,17 69:20 70:4,    140:16 175:21               outsourced 31:22,24
 nights 119:10 124:18         7,15,19 85:24 88:8,13                                     32:2,4 177:11
                                                          operates 57:11
                              90:6,14,15 91:24 92:4,21                                 overbrush 23:18
 no-gossip 105:20 107:18      93:1 95:15,19 97:1,4        operation 123:18 132:14
 nod 139:23                   99:25 100:4 101:17,22                                    overlooked 114:24
                                                          operation's 175:8
                              103:18 105:10,14 107:22
 non-lawyer 76:3                                                                       overseas 137:15 138:8
                              108:2 109:15,19 110:23      operational 17:11
 noon 64:11,12 141:19         111:2 116:4,14 121:18,24                                 overtime 124:17 142:4
                                                          operations 14:2 20:20
                              142:13 144:5,10 146:2,7                                   145:2,15,20,25



                                          Alpha Reporting & Video
417-887-4110                            www.alphareportingservice.com                               417-887-4110
                                                                           Exhibit P-43, Page 71
    Appellate Case: 25-1349            Page: 2214         Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                       1/22/2024Index: owned..Pratt

 owned 11:13 13:15 23:12      participated 151:19           150:1,4 156:22 172:14,24      pilot's 10:6,7
  39:19 56:13,14 162:4         158:25 198:1,6               174:2,9 176:7 178:3
                                                                                          pit 23:16 25:12 83:24
  195:7 209:8                                               179:12 180:2 182:21
                              participating 198:4
                                                            185:10 186:8 212:7 213:4      place 37:8,9 42:25 52:11
 owner 67:15
                              particulate 183:14                                           98:25 117:20 209:23
                                                           performed 202:9
 owners 67:10 68:9                                                                         210:17 211:20 213:23
                              parts 31:9 76:24 178:18
                                                           period 16:1 23:1 65:2
 ownership 11:4,12,15                                                                     plan 24:23 26:1 36:1
                              party 31:23                   99:3 113:21 119:11 145:8
  209:11                                                                                   149:3
                                                            151:12 167:8,12 176:21
                              Paso 18:12
 owning 19:2                                                182:16                        planning 141:16
                              passed 31:4
 owns 10:17 13:19                                          person 21:25 22:16,17          plant 19:7,17 23:23 24:8
                              passing 198:16                33:16 38:8,11,16,17 40:19      35:17 36:5 37:6 48:15
                                                            47:15 52:7,9,17 56:5,8,13      57:7
               P              past 31:2                     77:15 80:2 81:5 85:1,2
                                                                                          plate 206:10
                              paste 72:11                   86:25 102:2 113:16 114:7,
 p.m. 148:17,22,23 209:2,3                                  10 118:18 123:13 135:20       plate's 206:10
  215:22                      pasted 100:15                 138:19 141:6,7 152:24
                                                            153:6 155:9 156:19 162:8,     platform 89:8
 pad 160:6                    path 76:22
                                                            17 163:21 164:17 165:9        played 152:3
 pages 71:11 72:9 75:25       Patrick 186:17                181:10,24 182:12,13
  93:3                                                      189:6 204:24 215:7            pliers 171:11
                              pause 13:5
 paid 143:19,20 144:2                                      person's 166:1 212:19,         point 107:9 122:10,12
                              pay 33:12 34:8 46:12,14                                      154:15 203:2,24
  146:17,20,23 147:1           94:8,10,17,20 98:17          21
  175:22 182:14 215:5          120:19 142:14,17 143:3,                                    pointed 197:22
                                                           personal 17:12 18:18
 pair 171:11                   17 144:3,17 145:7 147:6,7    132:2,8 187:1                 points 159:6
                               156:1
 pallet 63:19 137:4 184:8                                  personally 6:2 23:5,6          policy 105:20 106:15,17,
                              payroll 144:15,16,24          40:4 73:25 129:4 158:8
 pallets 27:3 38:22 42:16                                                                  22 107:2,18 108:17
  63:20 126:21 139:4,5        PDF 58:15 88:20 92:10         185:11
                                                                                          portrayed 178:6
  183:5 200:11                pencil 152:8                 personnel 41:5 48:11
                                                            55:23 176:15 188:25           position 19:11 25:1,4,6,
 paper--you 8:1               pending 5:19 6:20                                            7,11,25 39:3 41:15 43:15
                                                            192:6
 paperwork 136:24                                                                          55:24 98:11,13 128:19
                              people 16:22 34:19 41:4,     phone 27:22,25 28:10,13,        138:12 155:10 165:25
  137:17 138:17 140:6          21 45:24 46:18 50:13,25
  143:1 197:13                                              18 29:11 30:23 62:13           184:19,21 194:20 213:9,
                               51:7 52:4 54:6 65:4 67:14    65:24 131:5,8,19 132:2,5,      12,17 214:16,22 215:2
 paralegal 181:12,13,16        68:17 81:17 82:24 83:5       6,7,8,9,11 156:8,23 164:4
                               84:9 98:24 101:11 106:2      166:25 179:8                  positions 25:23,24 43:2
 parameters 72:6               107:4 118:7 132:22
                                                           phone's 28:4                   postal 40:10
 park 130:17                   150:18 151:5,18 154:17
                               156:17,18 157:14 164:18     phones 22:19 111:9             postmaster 40:10
 part 18:22 34:17 35:1         165:3,4,13,17 166:8,9
  39:12 43:22 63:9 71:19,25                                physical 8:3                   pounds 49:22,23 50:15,
                               169:18 180:1,3 193:21
  72:17 74:20 76:12,14,22                                                                  19 53:1,5 54:4 55:12
                               201:23 202:24               physically 178:24 198:10
  77:14 83:1 84:16 85:10                                                                   58:16 59:12,15 63:17
  91:6 105:4 110:4 113:24     perceived 207:13             pick 38:21 166:2                210:10,11,12
  120:13 128:14 130:19        percent 51:1 77:6 151:9                                     pour 206:15
  134:20 135:11 139:9                                      picking 184:23
  140:14 146:18 149:14,16     percentage 209:11            picks 74:16                    PPE 200:20
  152:2,3 167:21 177:1        perfectly 54:15                                             PPP 13:16,21,22
  183:15 208:6 212:18,19                                   pictures 137:21
  214:6 215:3                 perform 30:3,13              piece 200:7                    practice 77:19 164:1
 participate 30:15,16 68:3    performance 120:15,16        pigeons 138:3                  Pratt 203:11,12 204:1,6,
  69:5                         149:1,4,14,16,19,24                                         11,15 206:23



                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                                  417-887-4110
                                                                            Exhibit P-43, Page 72
    Appellate Case: 25-1349            Page: 2215          Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                1/22/2024Index: pre-marked..quick

 pre-marked 57:23              154:8 183:13                 215:4                       push 29:7,13
 preached 157:8               processed 24:7 31:11         progressive 108:16           pushed 55:16
 prefer 34:17                 processes 53:10              promote 98:10                pushes 112:25
 preferably 140:22            produce 49:5 54:19           promoted 120:18 181:23       put 26:13,23 31:10 58:22
                               91:10 102:13 141:19          182:3                        59:3 65:22 71:23 73:20
 prepare 9:16,22
                               165:23,24 199:13 200:19                                   74:16 76:3 86:25 96:13
                                                           promoting 211:3,12
 prepared 58:12 60:21          210:11,12                                                 98:12 103:12 112:1,6
  61:1 100:9 102:3 104:2                                   promotion 181:22              118:20 120:23,25 126:16
                              produced 5:3 54:1 58:16
  122:5 147:18 190:20                                                                    130:1 137:13,14 145:10,
                               59:12,13,15 67:7 91:1       proper 152:5
                                                                                         12 146:15 187:22 190:22
 prepares 190:14               92:9
                                                                                         191:21 200:3 209:25
                                                           properly 130:14 211:17
 present 44:9 187:10          producing 49:21 63:15         212:16                       213:11,21 214:15 215:1
                               141:1
 presume 187:13                                            prove 53:7                   puts 59:6 183:3
                              product 49:5 51:4,5,6,7,
 pretty 50:15 146:1 164:18                                 proved 207:16                putting 35:22 64:18
                               17 133:17 137:17,23,24
  167:10,11                                                                              132:21 137:8 213:9,11
                               139:3 157:16 158:9          provide 37:13 127:25          214:21
 preventive 123:24 140:8,      183:19 184:1                 128:5 164:6 190:16
  20 141:12,17,18,21                                        193:22
                              production 41:19,20,22,
                                                                                                    Q
 previously 43:14 53:6         24,25 42:1,5,19 49:13       provided 15:24 52:23
  116:10 141:25 155:12         50:4,7 53:8,22 54:11,14,     71:5 72:21,24 110:11
  209:8,19                     25 55:8,13,15,17 56:10,23    117:24,25 131:1 163:14      qualified 56:2,7 165:2
                               57:9,17 58:25 59:2,23        167:4 182:6 188:12,21       quality 42:20 184:5
 primary 27:19                 60:10,21 61:4,22,25 62:2     192:11 195:21
 principles 159:5 160:11       63:10,11,12,14,16 64:1,8                                 quarry 25:11,21 36:20
                               65:20 66:7 81:20 111:22     PTO 146:16                    41:23 52:1 57:11 76:23
 print 87:7 117:25             116:20,23 117:7,19                                        79:15 83:21 84:4 87:20
                                                           public 25:18 68:14,15
                               119:20 123:21 126:16,17                                   105:25 164:17 175:15,19,
 printed 116:2 192:22
                               127:2 128:23 130:12         pull 57:25 65:14 70:15        20 176:2,5 185:2
 printing 109:1                132:20 133:18 135:23         85:20 88:10 89:7 95:17
                                                            97:4 103:11 105:5 107:24    quarterly 120:15 149:1,4,
 prior 14:21 18:25 20:3,10     137:3 138:5 150:15,17                                     21
                               155:18,23,24 157:19          110:24 143:3,5,13 158:17
  34:23 40:16 47:19,23 82:7
                               165:22 166:7 175:9           161:12 162:21 209:14        question 6:9,11,15,21
  109:13
                               176:13 177:8 178:10,19,     pulled 76:1,6 87:4,12         7:1,2 17:1 33:21 46:7,13
 private 128:22 189:3          22 182:23 183:1,2,3 184:4    89:19 93:9 102:22 103:15     55:22 60:24 71:21 74:25
                                                            111:7 115:2 143:6            83:3 111:16,20,21,24
 proactive 185:15             production's 155:25                                        113:6,12 121:7 126:1
 probationary 176:21          productions 58:10            pulling 53:19                 159:19,23 172:4 205:4
                                                                                         207:9 208:19 210:23
 problem 55:21 77:3           productive 136:11            pulls 112:4
                                                                                         211:3 213:4 215:15
  101:17 152:1,2,21 155:20
                              professional 124:2           pulverizing 35:20
  157:17,18,21 166:12                                                                   question--he 33:17
  167:22,23 170:1              162:2                       purchase 173:10,12
                                                                                        questioned 152:17
 problems 57:15 167:24        professor's 18:14            purchased 39:22
                                                                                        questioning 203:23
  197:23 200:13 205:1,2       proficient 135:7             purchases 173:2,6
  206:20                                                                                questions 7:14 26:25
                              program 19:13,15 37:7,       purple 89:11,12,13 91:15      27:10 76:9 78:6 113:11
 procedure 126:18              12,18                        92:14 93:12 97:13 209:20,    115:17 129:9 130:25
 procedures 63:9 123:20       progress 25:5,20,21           22                           131:22,23 164:3 177:3
  127:5,21 133:10,15 201:1     46:23                                                     189:12 209:5 215:13,17,
                                                           purpose 77:1 189:8
                                                                                         20
 process 31:12 36:12,16,      progression 24:23 25:23      purposes 29:1 37:6
  23 38:3,4 73:13 87:2         46:11 76:22 134:20                                       quick 215:11
                                                            188:3
  125:25 126:2 127:13          140:14 150:21 214:7



                                           Alpha Reporting & Video
417-887-4110                             www.alphareportingservice.com                               417-887-4110
                                                                            Exhibit P-43, Page 73
    Appellate Case: 25-1349            Page: 2216          Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                             1/22/2024Index: quicker..responsible

 quicker 129:12               160:8,25 161:6 166:6        refused 194:5                replacing 48:19
                              189:14
 Quinlan 13:5                                             regard 5:22 6:1,4 47:9       report 47:2,3 61:22,25
                             recall 21:18 39:18 71:15      48:3 82:10 133:25 140:8,      65:20 111:4,7 112:7,15
 quit 106:3 153:13 169:14,
                              73:13 86:24 136:19,20        9,13 193:2                    115:8,9 183:14,17,20,23,
  18,20 170:17 171:25
                              147:23 149:2 174:17                                        25 184:6
  174:25 175:15 176:4                                     registered 10:21
                              177:15,18 178:12 180:11
  177:6,23 195:10 202:16                                                               reported 99:12 195:25
                              181:19 182:15 186:17,24     regular 76:12,14,17
 quotes 31:9,15               198:18 199:7 200:14          77:19 128:18 142:20         reporter 6:25 7:5
                              201:24
                                                          regularly 65:23 67:4         reporting 46:1 151:23
               R             receipt 194:14                130:8                         152:10 179:7
                             receipts 31:12               regulations 47:7 48:4        reports 44:18,19 69:9
 R.J. 114:15 136:4 179:17                                  114:21 129:6,11               123:23 130:13 184:3
  192:20                     receive 52:25 128:15,21,
                              24 133:19 139:3 183:12      relate 118:6 167:18          represent 188:1
 racist 170:5
                             received 15:7 68:8           related 43:20 68:18,21       representative 194:11,
 railroad 204:1               146:21 196:8 212:1           82:5 186:14,16 214:11         16,20 195:14 196:1,6,22
 raise 120:19                                              215:1                         197:9
                             receives 137:15
 raised 199:8,10,17                                       relationship 128:9 174:6     representatives 195:4,
                             receiving 136:23 151:25
  204:18                                                                                 6,21,23 196:3
                              196:23                      rely 77:15 96:1
 raising 200:14                                                                        Representing 6:4
                             recent 109:12                relying 215:6
 ramp 204:1                                                                            request 70:25 72:18 73:6
                             recess 70:13 148:22          remember 15:19,22
                                                                                         86:8 102:12 118:7 124:17
 ran 64:10                    209:2                        18:13 19:11 40:17 41:13
                                                           52:15 54:3,9 56:4 65:7      requested 70:24 71:6
 random 130:21               recognize 191:24 192:1
                                                           71:4,7,16,17 73:15 87:6       100:8 122:4
 Randy 52:5,7 53:3 57:10     recognized 195:24             94:21 107:7 114:18
                                                                                       requests 76:2 102:1
  133:4 195:3,9,11 211:24                                  132:10,12 148:1 150:7
                             reconnect 70:11                                             124:1
                                                           154:6 168:8,11,17,22
 Raneldon 187:4              record 5:8 13:8 20:16         169:1,2 170:11 171:5,9,     required 44:2 147:6
 rared 204:5                  70:4 148:20 161:18           12,14,16,19 172:2 173:20
                                                           174:5,7,13,18 176:16
                                                                                       research 12:1,4,12 18:18
                              215:21
 rate 34:8 142:20,23                                                                     32:22,23 33:13 129:12
                                                           177:14,17 178:15 179:2,9
                             recorded 113:9                180:13,17,21 181:3,4,7,24
                                                                                         181:11
 rates 33:12 165:23
                             recording 150:17              182:9 185:6,22 186:2,3      residence 20:14
 raw 36:21 57:8,16                                         196:5,24 198:13 199:14,
                             records 34:25 49:10           25 203:8 205:23,24 211:5    resolve 153:7
 reach 51:3 130:12            60:21 61:4 77:20,24
                                                          remote 7:16 31:20 108:3,     Resources 82:6
 reaction 204:10              115:12 125:1 191:20
                              192:3,10 193:3               4                           respect 34:13
 read 7:22 93:4 129:7,10,
  16 130:2,4 160:17 161:2    recycle 78:2                 remotely 194:14              respond 59:9 76:2,8
                                                          remove 68:5                    107:19 144:20
 reading 118:4 129:12        redactions 208:5
                                                          removed 85:8,14              Respondent 122:19
 ready 139:8,10              refer 8:6 131:2
                                                                                         167:1
 real 77:3 210:9 215:11      reference 210:6              removing 23:18
                                                                                       response 58:8 72:21
 reason 7:8 41:7 56:21       referred 123:3               repeat 17:1 60:24              86:8 111:17 143:14
  95:7 118:23 130:2 159:14                                                               188:11 192:3,11 196:24,
                             referring 99:19,23 130:7     rephrase 6:10
  161:2 168:1 169:9 175:3                                                                25 212:9
                              160:20,21
  176:4 189:19 207:19                                     replace 60:11 98:19
                                                           136:9 175:16 176:1
                                                                                       responsibilities 45:20,
  215:7                      reflecting 102:13
                                                                                         24 122:18
 reasons 40:23 98:20         refuse 194:4                 replaced 48:17 81:14
                                                                                       responsible 110:18
  147:25 158:24 159:11,23


                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                                417-887-4110
                                                                          Exhibit P-43, Page 74
    Appellate Case: 25-1349            Page: 2217        Date Filed: 04/07/2025 Entry ID: 5503844
                                                  Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                           1/22/2024Index: rest..set

 rest 165:1 192:23             rock 209:23 210:8 211:20    runs 26:2,4 139:18             schedules 53:8 123:25
                                212:3 213:23
 result 106:25 153:22                                      Russell 5:2,9 78:12 80:21      school 9:25 48:1 181:14
  160:13                       rocking 212:11
                                                           Ryan 186:24 190:2              schooling 181:15
 results 73:22,23              Roger 107:7 110:14,15
                                                           résumé 48:2                    Schreiber 40:17 98:13
                                172:3,19,25 175:16
 resume 41:12 147:25                                                                       136:6 174:4 193:5
                               role 10:15 19:10,21 26:5
 retention 78:1 164:22                                                  S                 science 10:5
                                27:8,9 43:11,22 46:19
 retire 172:21                  48:3 82:10 122:20 128:20                                  screen 7:24 57:22 101:22
                                133:25 140:9,10,18         safe 45:25 68:7 69:11           103:23 108:2 109:19
 retired 51:20 52:11,15                                      114:2 119:22 170:24
                                174:23 175:1,18 176:8                                      116:11,15 144:10 162:23
  53:20 195:13 198:13
                                177:8 183:21 196:21        safely 82:15 157:7              166:20 209:15
 returns 139:12                 213:25
                                                           safety 5:20 15:4,5,8,9,11,     scroll 58:3,5 71:10,20
 review 120:14 149:14          roles 30:5                    15,18,23 16:2,7,13,17,18,     73:4 78:21 86:15,19
  150:2,14 160:1                                             23 17:10,11,12,15,18          88:15,17 97:6 100:5,13
                               roll 209:23 210:8 211:20
                                                             18:23 19:21,22 25:2,24        101:23 102:5,11 104:19
 reviewed 9:18                  212:3 213:24
                                                             36:3,14 37:6 38:7,8,9         113:19 119:22 122:13
 reviews 120:15,16 149:1,      rolling 211:4,13              41:23 80:2 81:4,25 82:3,5,    158:22 188:17 189:21
  5,16,20,24                                                 13 84:25 94:9,18 110:9        192:16
                               Ron 45:5 170:4
 Richard 180:21                                              111:16,23,25 117:14          scrolling 101:13 167:5
                               Ronnel 126:6                  123:8 127:21,22 128:4,8,
 rid 136:10                                                  12 134:22 135:7 152:24       search 34:18 70:25 72:20
                               Ronnell 114:14 136:1
                                                             153:6,12,21 154:17 156:4      74:6,14,15,17 77:23
 ridiculous 205:2 207:24        156:14 170:4,5,6,8,10
                                                             164:14 166:1 168:21           78:13,19,20,24 86:21
                                186:1
 rigs 180:13                                                 175:18 178:7 181:24           92:12 96:10,16,18 102:17
                               room 63:3 111:15 118:20       197:18,20,22 198:25           103:3,11
 ring 181:6                     123:8,9,12,13,18 125:15,     199:16,17 200:15             searches 74:1 75:16
 rings 118:24                   17 126:3,14 127:8,15
                                130:18 132:14 133:3,16     sales 24:3 31:15,25 32:4,      searching 72:5 73:15
 ripped 63:19                   134:21 137:8 150:10          6 42:2
                                                                                          Secretary 5:16
 road 24:11                     151:5,8 183:16 185:14      salesperson 82:23
                                212:21 214:5                                              seminars 16:23
 roads 25:19                                               samples 198:17
                               rounded 50:8                                               send 77:4 129:21 163:20
 Rob 45:12 46:8,9 47:3                                     Sarah 181:7                     210:15
  71:1 72:5,19,25 75:9 81:5    row 165:18,19,21
                                                           Saturdays 142:7                sending 71:16
  84:6,12,13,19 85:4,7         RTIDABACK@DEEDY.
  93:24 94:1,5,7,16,21 95:2,
                               COM 208:8                   save 191:9                     Seneca 20:24 22:22
  11 98:19,22,25 99:1,12                                                                   23:21 24:17 207:7
  108:10 113:20 114:16,20      RTIDABACK@                  saved 190:8
  117:21,23 118:13 119:10      DEEDYCO.COM 161:19          savvy 131:3                    senior 38:14 41:6 123:18
  120:9 123:13 133:6,9,13                                                                  132:16 154:23 155:4
                               rule 6:24                   scan 196:10 197:15
  135:17 136:6,9,13 142:13
                                                                                          sense 8:19 35:23 78:25
  167:19 168:8,13,18,20,23     rules 6:8 201:1             scanned 197:16                  101:7 123:14
  170:5,10 183:21 184:9,11,
  20 194:10 197:5 211:22       run 27:12 33:19,24 34:10    scared 205:18 207:3            sentence 210:21 212:23
                                43:1 50:6 76:24 98:21
  212:14 213:2,10,21 214:9,                                schedule 41:20 42:1,7,19
                                112:15 126:24 127:6                                       separate 23:22 48:15
  18,23,24 215:8                                             50:7,9 55:13,16 63:14,16
                                133:16 139:10,11 142:4                                     49:3,4 73:6,13 76:25
 Rob's 209:24 212:5                                          64:1 66:7 126:16,17
                                166:7,9 183:13,17,25                                      September 208:15
  213:19,22                                                  140:9,20 142:3 144:3
                                188:4 206:19 211:22
                                                             155:18 183:3                 service 15:21 16:4
 Robert 5:16 14:19 21:25       running 34:2 42:6 47:14
  23:6 122:18 144:24            51:7 54:8 141:5 155:21
                                                           scheduled 65:23 67:4,6         set 24:19 30:23 51:13
  158:24 159:1                                               130:8,10 141:13               55:8 122:17 130:22
                                211:7
                                                                                           158:23 173:1



                                              Alpha Reporting & Video
417-887-4110                                www.alphareportingservice.com                              417-887-4110
                                                                            Exhibit P-43, Page 75
    Appellate Case: 25-1349                Page: 2218      Date Filed: 04/07/2025 Entry ID: 5503844
                                                   Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                 1/22/2024Index: setting..specifically

 setting 72:6 214:20            135:23 138:22 140:18,25     shutting 203:14                socks 212:12,19
                                145:12 164:15 166:8,11
 shadetree 178:9                                            sick 166:16                    sold 23:14
                                183:2,8,15 214:6
 shadowing 19:14                                            side 15:16 16:14 17:16         solely 133:24
                               shifts 50:6 64:23 65:3,13
                                                             24:20,21 25:16 31:2 38:9,
 Shafer 176:11                  98:21                                                      Solicitor 5:12,15
                                                             10 64:3 111:19 152:17
 shakes 20:5                   shipments 27:1                                              somebody's 67:20 76:24
                                                            sides 24:1
 Shallenburger 177:15,         shipped 42:21                                               someone's 179:7
                                                            sign 106:17 107:6,8
  17
                               shipping 41:24 136:23         194:4,5                       something's 26:21 27:5
 share 7:24 55:14 57:21         137:14,23 138:23 139:8,                                     137:18 152:13
                                                            signature 110:6 190:21
  69:10 77:17 85:24 88:14       12,13 176:14 177:9 183:9
                                184:7
                                                             191:2                         SOPS 16:13 31:9 117:17
  90:7 92:1 100:4 101:22
  103:23 108:2 109:19                                       signed 106:14 110:5            sort 14:24 16:24 17:2
                               shipping/receiving
  116:11,15 121:21 144:10                                    111:13 193:5 194:1             31:7 34:11 37:7 38:24
                                123:21
  147:10 158:19 162:23                                                                      55:7,9 65:23 67:3 112:3
                                                            significantly 50:17
  166:20 187:18 196:13         shook 204:16                                                 128:5 133:18 146:19
  209:14                                                    similar 190:4                   150:1 182:23
                               shop 40:11 48:1 85:19
 shared 40:5,6 134:24           99:25 108:25                simplest 137:20                sound 167:9
  154:22 205:13
                               short 31:3 151:12 182:16     Sims 203:8,9,15,20             sounds 54:12 94:13
 Sharepoint 112:13                                                                          112:3 140:7
                               shorten 96:3                 sister 178:15
 sharing 61:12 70:10                                                                       south 180:14
                               shorthanded 42:12            sister's 178:16
  85:19 88:9 90:6 91:25
                                                                                           southwest 9:6
  92:22 95:5,16 97:2 99:25     show 38:6,20 42:14 45:25     site 194:21 203:10
  101:18 103:19 105:11          57:22 61:13 72:13 74:8,10                                  speak 9:12,21
  107:23 108:25 116:6           85:18 92:22 100:1 103:20
                                                            sits 138:1 185:13
  121:19 141:24 144:6           105:11 109:16 113:6
                                                                                           speaking 7:3
                                                            sitting 161:5 190:23
  146:3 147:4 148:11            116:7 139:1,2 142:9,11       191:7                         Spears 14:2,18 26:6,25
  161:11 162:21 164:11          144:7 145:14,19 146:4,25                                    27:8,12 37:25 39:15,23
  170:7 187:17 191:13           147:8 166:19 181:2          situation 94:9,19 200:17
                                                                                            40:9,17 41:3 43:20 44:12,
  194:9 197:7 208:17            191:14 196:11 208:1          202:21
                                                                                            16 45:8,11,13 48:3,7,13,
  215:10                        212:25                      six-hour 54:10                  18 66:1 68:19 89:10,13
 Shawn 203:12                                                                               90:2 92:18 93:16 133:5
                               showed 73:23 126:14          size 63:15 137:6                134:7,9 163:16,18,20
                                129:11 182:13,14
 shed 25:19                                                 skin 171:14                     179:12,15 187:13 190:19
                               showing 36:16 60:13                                          196:18,21 197:8
 sheds 23:22,25 36:22                                       skipping 116:9
                                84:9 98:24 129:6 135:11
  84:21                                                                                    Spears' 26:5 41:14 47:6
                                142:19 146:15,16,20         slide 38:21                     191:1
 sheet 63:22                    180:23 184:16,17
                                                            slip 42:17 63:22,23 183:5      special 16:9,11 135:6
 sheets 42:17 63:23 183:6      shown 74:22 129:10,13
                                133:4                       slow 178:8                     specialist 36:15 110:9
 sheez 204:13
                                                            small 123:23 145:1              127:23 128:4,8,12 135:7
                               shows 38:24 72:8 78:16
 shell 162:10
                                84:19 89:25 102:25          smaller 119:3                  specialized 37:5 38:12
 shift 38:5 42:8,9,13,17,19,    111:13 126:2 133:14
  23,24 43:1,3,4,14,22 45:9     139:9                       smart 175:7                    specific 24:19 37:5,12
                                                                                            73:7 118:5 127:1 128:25
  49:25 50:2 51:15 53:1                                     Smith 5:13 70:8
                               shut 54:18 64:12 203:16                                      129:2 130:2 156:21
  54:8,10 59:6 62:7 64:25
                                207:15,18 211:8,18          smoother 83:5                   160:21,22 189:14 199:7
  65:1,6,9 81:5 87:7 98:11,
                                212:11                                                      201:4
  20,22,23,24 99:1,14                                       smoothly 42:6
  113:25 114:10 116:24         shutdown 50:4 127:4,17                                      specifically 14:23 16:3
  117:8,9 122:22 124:7,18,      133:15                      Snodgrass 185:19,21             30:4 35:4,5 100:24
  20 127:5,12,14,16 128:8                                   SO-268 64:19                    118:10,12 140:13 143:5



                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                                   417-887-4110
                                                                             Exhibit P-43, Page 76
    Appellate Case: 25-1349              Page: 2219         Date Filed: 04/07/2025 Entry ID: 5503844
                                               Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                1/22/2024Index: specifics..tasks

  158:21 166:22 169:23        15                         strictly 79:17
  192:24 197:21 198:5                                                                                T
                             Startup/shutdown            structure 12:14
  199:14 210:25
                              123:20
                                                         struggle 60:1                Tablet 104:11
 specifics 102:18
                             state 5:7 36:22 189:18
                                                         struggled 137:1 138:20       tablets 111:9
 spend 48:7,13
                             stated 40:21 53:3 139:7
                                                         struggling 183:21 184:9      tagged 85:17
 spending 177:20
                             statement 7:17 9:17 44:7
                                                         stubs 142:14,17 143:3,17     tailor 190:10
 spent 11:21                  210:4
                                                         studied 18:7,10              takes 23:20 47:15 166:15
 spin 200:4                  states 36:6 71:2 75:2
                              91:5 138:23 139:16         stuff 17:7,12 18:24 19:23    taking 7:1 25:19 127:9
 spoke 18:15
                              160:11 165:1 196:5          20:16 27:3 29:8 30:20,23     137:21 138:14 176:18
 sporadic 29:12                                           31:4,7,9,13,16 32:21         178:18 184:11
                             statin 199:19
                                                          33:12,15 34:9 38:11,22
 spreadsheet 58:25 59:3,                                                              Talbert 186:7
                             stating 160:22,23 199:23     40:14 42:17,22 44:3 46:2
  7,9 62:2 126:17 133:22
                                                          53:9 57:6 68:21 83:6,19     talk 6:25 15:17 27:25
  150:17                     status 197:9
                                                          85:12 92:12 115:22 118:9     28:10 34:1 52:7 68:19
 spring 55:4                 stay 138:3 174:24 175:24     119:3 129:9 131:8 133:1,     131:25 151:15 164:7
                                                          10 153:8 173:3 185:4,15      168:6 170:8,9 173:17
 stabbed 171:10              stayed 145:6                 197:15 198:22 200:22         201:25 206:6 207:1
 stack 200:2                 stealing 184:25              202:25
                                                                                      talked 14:10 64:9 76:22
 stacker 114:6               step 42:25 132:23 202:22    substance 7:12                87:14 120:13 141:25
 stacking 199:18,20,22       stepped 206:14              successful 41:2 135:23        148:3 150:15,24 151:2
  200:10                                                                               157:5 158:15 164:9
                             steps 24:10 25:23 138:14    sucked 19:15                  169:23 174:11,16 179:18,
 staff 19:13 30:19 31:3                                  suffering 7:12                19,21 182:1 185:11 205:6,
                             stick 90:22
                                                                                       12
 staffed 165:12,14                                       suggest 70:8
                             stock 64:17
 stamp 130:3                                                                          talking 15:3,4 27:22 31:7
                             stockyard 23:24             summer 55:4                   62:3 66:24 90:23 114:19
 stand-downs 16:23                                       supervise 43:17 44:24         116:23 132:7 149:20
                             stole 139:16 185:3
                                                          45:15,21                     154:5 160:4 179:22 192:7
 standard 144:1
                             stomp 135:18                                              205:21
 standards 16:24 17:2,5,                                 supervises 45:7,8
                             stop 61:11 70:10 88:8                                    talks 68:20 133:17 136:23
  15,20 19:25 20:3 128:18
                              90:6 91:24 92:21 95:5,16   supervising 46:4,5            140:1
  129:1,2
                              97:1 101:18 103:19
                                                         supervisor 44:16,21          tall 169:4,5
 standing 203:25              105:11 106:1 107:23
                                                          45:12 46:10 47:1,2,3
                              116:6 121:18 141:24
                                                          124:7 203:11 204:5          tank 185:1
 start 24:24 29:17 35:10,
                              144:5 146:2 147:4 148:10
  15 39:15 63:9,13 64:14
                                                         supplies 126:24 127:9        tanks 185:4
                              161:10 162:20 164:11
  127:1 137:21 211:6
                              187:16 191:13 194:9                                     task 113:24 126:7 127:1
                                                         supply 124:1 133:18
 started 15:19,21 18:21       197:7 208:17 215:9                                       133:19 135:13 140:25
  23:11 60:13,14 64:19                                   support 75:2,21
                             stopped 59:22 180:23                                     tasked 26:13 45:22 46:3,
  97:10 133:9 145:13
                                                         supposed 55:14 81:16          17 82:16 123:10 124:25
  147:22 151:6,8 170:18      storage 111:22
                                                          113:25 114:8,9,10 118:15     126:12,19 127:7 128:3
  203:12
                             stored 115:5,6 120:11        125:3,11,20 126:22           134:3,11,18 135:9 138:10
 starting 20:3 58:14          197:17                      127:21 139:4,5 157:6         140:24
  100:17 102:21 151:4                                     201:5 213:1
                             story 156:18 175:14                                      tasking 46:21 166:2,3
  170:16 211:9
                              205:8                      sworn 5:3                     170:6
 starts 102:10 201:6
                             street 24:25 136:3 185:2    system 62:10 143:9           tasks 25:10 47:15 124:2
 startup 50:3 123:7                                       176:22 185:15                126:5 140:20
                             stretch 137:25 183:6
  126:18,22 127:17 133:10,



                                          Alpha Reporting & Video
417-887-4110                            www.alphareportingservice.com                                417-887-4110
                                                                          Exhibit P-43, Page 77
    Appellate Case: 25-1349            Page: 2220        Date Filed: 04/07/2025 Entry ID: 5503844
                                                  Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                       1/22/2024Index: taught..tripoli

 taught 128:10                 152:4 156:21 159:5          Tidaback 5:2,9 9:10             tons 49:22
                               160:12 163:3,25 186:14,      12:16 14:12 20:9 78:12
 teacher 48:1                                                                              tool 77:1,12 141:7,8
                               22 187:8 188:1,9,20,23       80:22 91:21 209:9
 team 40:21 50:24 75:2         189:9 190:6 191:6                                           top 35:6 78:8 86:4 95:1,8
                                                           tied 206:22
  81:12 124:1 140:12,19                                                                     100:18 101:18 104:13,19
                              terminations 188:12
  141:12 174:12                                            till 141:19                      132:14 136:16 145:3
                              terms 35:18 70:25 76:3                                        149:11 190:25 199:20
 teammates 156:3                                           time 6:18 11:20 14:4 16:1
                                                                                            209:15
                              terrible 52:21 53:10          21:1,17 22:3,13 23:12,13
 Teams 26:11,13 27:7,19
                                                            29:24 42:14 51:1 52:10         topics 73:7
  28:3,5 29:1,7,8,13,19,20    Terry 177:25 178:14
                                                            56:13 57:3 60:11 63:13,24
  39:5 44:9 52:23 62:12,16,    179:2 180:16,17 190:1                                       totally 15:11 49:3
                                                            64:20 65:2 68:17 69:16,25
  17 65:16 67:7,8,21,22,24
                              Terry's 178:14,16             70:1 77:3 81:2,5,10 82:23      touch 138:19
  68:7 72:6,11,15,18,24
                                                            83:7 84:4 87:8 90:23,24
  73:7,18 74:3,7,8,11 76:1,   test 175:22                   95:11 98:6,13,14 99:3
                                                                                           town 172:1
  5,12,17 77:7,15,21 87:12
                              testified 5:3                 100:16,24 101:5,6 105:25       Townsend 36:13,14
  88:21,23,25 89:7,21 90:2,
                                                            106:12,14 110:10 113:8,         44:20 78:16 80:2 82:1
  18 91:10,20 93:6 96:4,22    Texas 18:12                   21 118:7,25 119:2 123:7,
  97:8 98:1 100:14,18 101:9                                                                track 77:18,22 125:3
                              text 29:2,9,15,18 114:18      11 124:24 125:5,7,16
  102:6,14,22 103:8,14,15,                                                                  131:8 134:1
                                                            131:11,25 132:3,6,11
  16,25 105:8 111:7 112:19    that'll 57:4                  133:8 137:1 140:5,23           tracker 125:5,7 140:5
  115:3,5 117:13 125:5,8
                              that--but 8:1                 144:2 145:11 146:17,20,         145:11
  132:4 145:10 189:3
                                                            23 148:12 150:7 151:1,13
  197:16                      thing 6:19 15:11 29:11                                       tracking 123:7 124:25
                                                            152:20,23 153:2 156:19
 technician 16:4 185:22        34:1 43:24 51:18 69:13       157:21 158:4 160:17            train 17:23 176:1 207:14
                               77:14 113:11 116:25          163:10,12 167:8,12
 telling 155:1 156:18                                                                       213:12
                               126:13 130:22 156:21         168:13 173:22 177:20
  170:21 175:24 178:20         166:18 173:3 175:23                                         trained 25:2
                                                            180:9 182:16 187:10
  180:3 206:5                  177:7 178:1 182:25           201:10 203:8,10 205:17         trainer 25:23 110:16
 tells 141:3                   191:19 204:23 206:4,22       207:4 210:11 212:24
                               209:7 211:12,15 214:8                                       training 14:24 15:4,5,6,7,
 temperature 50:23 51:8,                                   times 22:2 29:21 36:19           8,24 16:13,15,19,21 17:4,
  16 54:18,19                 things 22:4,5 25:6 30:12      50:8 62:20 65:6 77:7            24 18:3 25:2,3 35:25 36:1,
                               32:13 42:10 46:18 49:8       130:23 131:21 136:8
 temperatures 54:17                                                                         2,9 37:4,5 38:9,12,13
                               51:10,12,23 72:13 82:15      137:19 139:7,17 149:13          45:24 46:21 76:15 110:2,
                               85:7 114:17 120:12,13,17     178:20 179:18 184:21
 template 191:6                                                                             3,12,13,15,18,21,22
                               129:8 135:9,24 137:20        185:11                          127:25 128:5,6,7,16,24,25
 ten 23:21 131:15,16           155:3,19 157:7 163:19
                                                           timing 22:7 54:6 119:11          129:3 133:19,20 135:4
  200:3,11 211:9               165:22 169:6 172:10,17
                                                            158:5                           153:7 177:1 180:24
                               173:11,12 177:3 178:17
 term 96:6                                                                                  182:14 211:22,23
                               184:23 190:5 197:2 199:3    title 10:23 19:11 91:5
 terminate 151:19 154:2        203:17 207:21 211:15         93:4,21 95:23 96:2 97:17       transition 119:11
  155:7 158:12,25 163:24       213:15 215:6                 98:6 117:6 122:17 166:24
  171:1
                                                                                           trashed 63:21
                              thinking 136:8                182:24
 terminated 67:23 95:2                                                                     travel 29:24
                              thinks 33:22                 titles 16:3 43:7 96:1
  146:24 153:9,13 154:4                                                                    tripoli 5:18 10:16,24 11:2,
  155:13 158:24 159:11,15,    thought 98:21 123:4          today 7:8,14 9:4 82:1            3,11,21 12:22 13:3,9,15,
  24 160:10 161:1,7 163:22     154:7 168:12 182:6 195:9     132:24 160:24 207:3             16,17,18 14:1,17,21,25
  164:8 169:14 170:17                                       209:6                           18:25 20:4,11,17 23:11,17
  171:20 177:22,23 178:2
                              thousand 16:3 57:1
                                                           today's 9:16                     25:16 30:4,13 31:17,19
  179:4 186:3,4,7,12          threaten 202:24                                               32:17 33:4 34:23 35:11
  189:11,15                                                told 8:9,10 50:13 52:17          38:15 39:12,16,22 44:22
                              threatened 202:11             53:15 67:25 114:4 118:10        46:9 47:1,4,19 51:21
 terminating 154:12            204:21 205:16 207:4          135:10 138:16 168:12            57:12 65:15,25 67:5,9,14
  167:23 190:12                                             184:18 197:2 201:22,25
                              threatening 202:23                                            68:10 74:4 76:13 96:23
 termination 43:9 151:16                                    204:2,6 212:20                  98:9 106:16 107:18



                                           Alpha Reporting & Video
417-887-4110                             www.alphareportingservice.com                                    417-887-4110
                                                                            Exhibit P-43, Page 78
    Appellate Case: 25-1349             Page: 2221         Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                                  1/22/2024Index: Tripoli's..workers

  108:11 119:21 120:10       underneath 23:24             visited 202:9                  weeks 28:18 29:15
  132:9 164:12 167:2,15                                                                    143:22,23
                             understand 6:9,15 7:6        voiceful 136:5
  173:6 174:22 187:5
                              36:6,24 52:10 56:16 67:22                                  west 111:19
  194:22 201:1                                            volunteers 79:24
                              74:15 94:14 135:5 139:23,
                                                                                         whatever's 20:21
 Tripoli's 62:10              24 140:11,15 156:6
                              157:24 158:14 166:6                      W                 Wheeler 89:15,17 90:3
 troubleshooting 167:21
                              177:2 179:4 184:14                                           91:13,20 185:5,6,7 205:23
 truck 23:19,20 24:4 42:21    185:24 188:6 202:15         walk 24:9 36:15 132:20         Wheeler's 169:24 170:1
  137:22,23 139:4,6,9,11                                   212:21
                             understanding 5:21
                                                                                         whipping 152:8
 truckers 139:1,2             36:20 75:16 129:19          walk-through 37:3
                              130:19 163:11 192:17                                       white 126:8
 trucks 25:18 138:6           194:18                      walked 125:16,18 204:17
                                                                                         whoa 204:19
 true 60:5,20,25 65:19       understood 6:12 208:21       walking 48:8 111:10
  75:25 77:5 87:11 90:1                                                                  wide 46:13
  91:19 92:16 93:15 96:21    union 39:13                  walks 36:13
                                                                                         wife 187:2
  97:25 101:8 103:14 105:7                                wall 126:4
                             unit 18:22
  107:17 108:22 110:20                                                                   William 177:15
  114:21 115:11 119:19       United 165:1                 wanted 13:7 44:5 98:22
  143:16 144:23 162:15                                     126:5 174:24 175:15,16        Williams 114:15 136:4,5
                             university 18:11,12,13        181:14,23 206:13 208:20         150:19 179:17 181:17,18
  188:20 192:9 208:13
                                                           209:7                           187:4 192:20 205:22
                             unknown 89:14,18,25
 Trujillo 168:11 173:19
                              90:3 91:12                  wanting 106:2 182:4            Willis 171:25 172:6,8
 trusting 202:2
                             update 140:19                warehouse 24:17 25:8           windows 138:2
 truthful 7:9,14                                           138:1
                             upset 203:22 206:1                                          wipe-off 126:8
 tube 111:18                                              warm 138:4
                             user 89:14,18 90:3 91:12                                    withdrawal 94:10,19
 turned 186:22 187:7                                      warrant 202:16                 word 53:2 72:23 96:13,24
 turnover 22:10 50:17                       V             Wasson 84:3,16 184:24,           108:7 116:24 148:8
  149:22 167:19                                            25                            wording 193:22 203:5
 type 16:25 30:12 44:8       vacation 21:7 42:25
                              132:17
                                                          Wasson's 84:12                 words 72:5,18,25 73:19,
  45:18 52:21,22 63:19
  69:13 136:14 141:12                                     watching 125:12                  24 74:5,16,21 96:9 202:12
                             Van 198:20
  163:20 165:3,7 191:8,10                                 Waters 181:19                  work 11:1,3,5,23,25 12:2,
  197:13                     Vandorn 198:14,15,21                                          9,11 14:21 15:18 16:12
                             varies 49:16,18              Wayne 5:9                        18:5 20:17 23:17 24:20
 typed 190:23
                                                          ways 173:1                       28:3 31:19 34:20,21 38:19
 types 43:2 63:20            vehicle 16:17                                                 62:21 64:24 65:5 67:14
                             verbal 44:2 149:8 150:1      wear 200:20                      68:10 81:15 87:16 98:18,
 typical 49:6
                                                          weather 54:6,13                  23,25 105:2 124:3,13,14,
 typically 34:15 164:14      verbally 7:4 168:23                                           16,17 132:3,19 135:5,6
                              178:23,25 207:15            website 108:7 109:5              140:16 148:16,19 172:14,
 typo 59:24
                             version 108:7                Wednesdays 141:18                23 174:2,8 176:7,25
                                                                                           177:4,5,21 178:3 179:11
              U              versus 24:20 88:25 92:9      week 11:20 21:6 23:2             182:20 185:9 187:3
                              158:3                        39:1 41:18 49:6 54:16           189:18 207:5
 U.S. 13:6 40:10                                           66:6,9,19 124:12,14
                             video 22:18 70:10                                           worked 19:6,12 46:18
                                                           142:1,2 143:20,21,23
 ultimate 33:2               view 109:4                                                    52:13 57:12,13 98:8 121:2
                                                          week's 94:8,17                   125:1,4 133:6,9 142:1
 uncalled 203:1              vindictive 203:3 205:9                                        145:19 175:20
                              207:17
                                                          weekends 124:18
 undergrad 10:4                                                                          workers 107:14
                                                          weekly 28:16,17 66:22
                             visit 203:10
 underground 23:16



                                            Alpha Reporting & Video
417-887-4110                              www.alphareportingservice.com                                417-887-4110
                                                                           Exhibit P-43, Page 79
    Appellate Case: 25-1349            Page: 2222         Date Filed: 04/07/2025 Entry ID: 5503844
                                               Russell Tidaback
MSHA vs MoSenecaManufacturer, LLC                                        1/22/2024Index: working..Zoom

 working 11:21 14:25          193:20 195:5 199:4,5
  18:25 19:3,17 20:3,11
                             yelling 204:24
  23:7 34:23 35:10 39:15
  47:19 50:25 63:11 64:19    you--that 18:14
  81:12 114:5,6 124:3
                             young 40:11
  126:15 152:13 156:2,3
 workload 141:16 170:7       younger 40:12

 workplace 111:5,8
                                         Z
  113:17,20 114:1,8 115:12
  126:23 150:11 152:7
                             Zoom 70:9
 works 36:17 128:23
  138:15 181:10
 world 178:22
 worried 90:25
 wrap 137:13 183:6
 wrap-up 209:5
 wrapped 137:24,25
  183:10
 wrapper 200:4,6,8
 wraps 115:21
 write 8:9
 write-ups 43:19
 writing 8:7,8 126:8
 written 44:2 127:14
  149:24,25 163:7 193:2,9
 wrong 33:9 72:23 137:18
  157:17 178:17 204:23,24
 wrote 8:9 111:23 191:3
 Wyoming 10:22

             X

 X-RAY 185:22
 X-Y-Z 135:3

             Y

 yard 139:12,13
 year 21:6,12 31:2 40:2
  78:4,18 79:1 93:19 109:9
  195:1 198:23,24
 years 15:15 18:7 39:25
  40:3 52:12 57:12 172:20



                                         Alpha Reporting & Video
417-887-4110                           www.alphareportingservice.com                     417-887-4110
                                                                        Exhibit P-43, Page 80
    Appellate Case: 25-1349           Page: 2223       Date Filed: 04/07/2025 Entry ID: 5503844
                      UNITED STATES OF AMERICA
          FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                 OFFICE OF ADMINISTRATIVE LAW JUDGES

JULIE A. SU, Acting Secretary of Labor,       )   DISCRIMINATION &
United States Department of Labor, and        )   INTERFERENCE PROCEEDING
ROBERT BAUMANN                                )   DOCKET
                     Complainants,            )
                                              )
              v.                              )   Docket No. CENT 2023-0251-DM
                                              )
MOSENECAMANUFACTURER LIMITED                  )
LIABILITY COMPANY d/b/a AMERICAN              )   Mine: MOSenecaMfr LLC dba
TRIPOLI,                                      )   American Tr
                                              )   Mine Id No. 23-00504
                                              )
                     Respondent.              )

   RESPONDENTS RESPONSE TO ACTING SECRETARY OF LABOR’S THIRD
            REQUESTS FOR PRODUCTION OF DOCUMENTS




                                          1
                                                                       EXHIBIT 1
                                                           Exhibit P-43, Page 81
Appellate Case: 25-1349      Page: 2224   Date Filed: 04/07/2025 Entry ID: 5503844
                     ANSWERS FOR PRODUCTION OF DOCUMENTS

       1.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a daily basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.


       2.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a weekly basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.


       3.     Produce documents reflecting the amounts (including the pounds) produced at the
MOSenecaMfr LLC dba American Tr mine on a monthly basis from January 1, 2022 through
January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly summaries, covering the entire period in question. We
       believe this report should fulfill your requirement for production data during the specified
       time frame.




                                                2
                                                                                    EXHIBIT 1
                                                                     Exhibit P-43, Page 82
   Appellate Case: 25-1349        Page: 2225        Date Filed: 04/07/2025 Entry ID: 5503844
       4.     Produce the documents reflecting production at the MOSenecaMfr LLC dba
American Tr mine from January 1, 2022 through January 1, 2023.
       RESPONSE: Please find attached the comprehensive production report that includes the
       requested information. This report provides a detailed breakdown of daily production, as
       well as weekly and monthly, covering the entire period in question. We believe this
       report should fulfill your requirement for production data during the specified time frame.




                                                     Respectfully submitted,

                                                    Russell Tidaback
                                                    American Tripoli




                                                3
                                                                                    EXHIBIT 1

                                                                     Exhibit P-43, Page 83
  Appellate Case: 25-1349         Page: 2226        Date Filed: 04/07/2025 Entry ID: 5503844
Date             Lbs produced
       24-Jan-22         16500
       25-Jan-22          8000
       26-Jan-22         10000
       27-Jan-22         36000
                        880000
       28-Jan-22         80000

   22-Feb-22             9600
   25-Feb-22             2000
   28-Feb-22            28400
    1-Mar-22            10000
                        26000
       2-Mar-22         30000
          3-Mar         15000
                        12000
       4-Mar-22         30000
                        18000
       7-Mar-22          6000
       8-Mar-22         18000
                         4400
                         6000
    9-Mar-22             4000
   10-Mar-22            36000
   14-Mar-22            36000
   15-Mar-22            28000
   16-Mar-22            14000
                        30000
   17-Mar-22            32000
                         4000


                            0
   21-Mar-22            40000
                        36000


   22-Mar-22            40000
                            0
                         2000
                         4000
                        14800
   23-Mar-22             2000
                         3200
                         3600




                                                                           EXHIBIT 1
                                                               Exhibit P-43, Page 84
   Appellate Case: 25-1349       Page: 2227   Date Filed: 04/07/2025 Entry ID: 5503844
Date       Lbs Made
  1/1/2022       10800

  4/7/2022       8000

  4/8/2022

 4/11/2022
 4/12/2022      27000

 4/12/2022      14400

 4/13/2022

 4/14/2022


 4/15/2022

 4/18/2022


 4/19/2022        900
 4/20/2022      12600
 4/20/2022       4000

 4/20/2022      21600
 4/21/2022
 4/22/2022      14400
 4/22/2022      24000

 4/27/2022      10800
 4/27/2022       8000
 4/27/2022      25200
 4/27/2022      11600
 4/27/2022      10800
 4/27/2022       4000
 4/28/2022      25200
 4/28/2022      24000
 4/28/2022      20000
 4/29/2022      18000
 4/29/2022       3600
 4/29/2022      10000




                                                                        EXHIBIT 1
                                                           Exhibit P-43, Page 85
   Appellate Case: 25-1349   Page: 2228   Date Filed: 04/07/2025 Entry ID: 5503844
Date       Lbs Made
  5/2/2022        4000
  5/2/2022        2000
  5/2/2022       30000
  5/2/2022       12000
  5/3/2022       16000
  5/3/2022        4400
  5/3/2022       19500
  5/3/2022        2000
  5/3/2022        8000
  5/4/2022        4000
  5/4/2022       10000
  5/4/2022       42000
  5/5/2022        6000
  5/5/2022       12000
  5/5/2022       12500
  5/5/2022        2000
  5/6/2022        4000
  5/6/2022
  5/9/2022       30000
  5/9/2022       10000
 5/10/2022        4000
    10-May        4000
 5/10/2022       14000
 5/11/2022        4500
 5/11/2022        2000
 5/11/2022         400
 5/11/2022        2600
 5/12/2022        1500
 5/12/2022        2400
 5/13/2022        4200
 5/16/2022       10425
 5/17/2022
 5/18/2022
 5/19/2022
 5/23/2022        6000
 5/24/2022       20000
 5/24/2022        7500
 5/25/2022       10500
 5/25/2022        6000
 5/26/2022       17800
 5/26/2022       12100
 5/26/2022       10000
 5/27/2022        3200
 5/27/2022       10000
 5/31/2022       12650
 5/31/2022        4000


                                                                        EXHIBIT 1
                                                           Exhibit P-43, Page 86
   Appellate Case: 25-1349   Page: 2229   Date Filed: 04/07/2025 Entry ID: 5503844
Date       Lbs Made
  6/1/2022     11600
  6/1/2022     11500
  6/1/2022      4000
  6/1/2022     20000
  6/1/2022     10000
  6/2/2022     12000
  6/2/2022      2600
  6/2/2022      7200
  6/2/2022      1100
  6/2/2022     20000
  6/3/2022     20000
  6/6/2022     10000
  6/7/2022      2000
  6/8/2022      4000
  6/8/2022         0
  6/9/2022      8000
  6/9/2022     36000
 6/13/2022     20000
 6/13/2022     14000
 6/14/2022     20000
 6/14/2022     30000
 6/14/2022     10000
 6/14/2022      4000
 6/15/2022     16000
 6/15/2022     30000
 6/15/2022      4000
 6/16/2022     10000
 6/16/2022     16000
 6/16/2022     24000
 6/16/2022      6000
 6/16/2022      4000
 6/18/2022     40000
 6/20/2022     36000
 6/20/2022     10000
 6/20/2022     30000
 6/20/2022     20000
 6/20/2022      2000
 6/21/2022     30000
 6/21/2022     40000
 6/21/2022     12000
 6/21/2022      2000
 6/22/2022      6000
 6/22/2022      4000
 6/22/2022      2500
 6/22/2022      5000
 6/22/2022      2500


                                                                        EXHIBIT 1
                                                           Exhibit P-43, Page 87
   Appellate Case: 25-1349   Page: 2230   Date Filed: 04/07/2025 Entry ID: 5503844
   DateTotal Pounds for the shift
 7/1/2022
 7/1/2022
 7/1/2022
 7/1/2022
 7/1/2022          55,200
 7/4/2022
 7/5/2022
 7/5/2022         17,200
 7/6/2022
 7/6/2022
 7/6/2022
 7/6/2022         70,200
 7/7/2022
 7/7/2022         29,000
 7/8/2022
 7/8/2022
 7/8/2022
 7/8/2022         36,000
7/11/2022
7/12/2022
7/12/2022
7/12/2022
7/12/2022         46,000
7/13/2022
7/13/2022
7/13/2022         44,000

7/14/2022            2,100
7/15/2022
7/15/2022
7/15/2022          44,000
7/18/2022
7/18/2022
7/19/2022
7/20/2022

7/21/2022
7/21/2022            5,000
7/21/2022
7/21/2022          54,000
7/22/2022
7/22/2022          56,000
7/22/2022
7/22/2022            9,200
7/23/2022            7,650
7/25/2022


                                                                               EXHIBIT 1
                                                                  Exhibit P-43, Page 88
  Appellate Case: 25-1349           Page: 2231   Date Filed: 04/07/2025 Entry ID: 5503844
   Date     Lbs Made
8/1/2022
8/2/2022
8/3/2022
8/4/2022
8/8/2022        2,000
8/8/2022       40,000
8/8/2022        6,000
8/8/2022       10,000
8/8/2022       40,000
8/8/2022        6,000
8/9/2022       34,000
8/9/2022       22,000
8/9/2022       34,000
8/9/2022       22,000
8/10/2022      18,000
8/10/2022      20,000
8/10/2022      20,000
8/10/2022      26,000
8/10/2022
8/10/2022      20,000
8/10/2022       8,000
8/10/2022       8,000
8/11/2022       4,000
8/11/2022       8,000
8/11/2022         900
8/11/2022      20,000
8/11/2022      10,000
8/11/2022       4,000
8/11/2022       8,000
8/12/2022      14,000
8/12/2022       8,000
8/12/2022       4,000
8/12/2022       4,000
8/12/2022      14,000
8/12/2022       6,000
8/13/2022      20,000
8/15/2022      24,000
8/15/2022       2,000
8/15/2022      18,000
8/15/2022      34,000
8/16/2022      14,000
8/16/2022      27,000
8/16/2022         800


                                                                      EXHIBIT 1
                                                         Exhibit P-43, Page 89
 Appellate Case: 25-1349   Page: 2232   Date Filed: 04/07/2025 Entry ID: 5503844
   Date    Lbs Made
 9/1/2022
 9/1/2022
 9/1/2022
 9/1/2022
 9/2/2022     2000
 9/2/2022    40000
 9/2/2022     6000
 9/2/2022    10000
 9/5/2022    40000
 9/8/2022     6000
 9/9/2022    34000
 9/9/2022    22000
 9/9/2022    34000
 9/9/2022    22000
 9/9/2022    18000
 9/9/2022    20000
 9/9/2022    20000
 9/9/2022    26000
9/10/2022    27000
 9/12/2022 4000
 9/12/2022 8000
 9/12/2022 2000
 9/12/2022
 9/13/2022
 9/13/2022
 9/14/2022 2800
 9/14/2022 1000
 9/14/2022 500
 9/14/2022 12000
 9/14/2022 2700
 9/14/2022 15300
 9/15/2022
 9/15/2022
 9/19/2022
 9/19/2022
 9/20/2022
 9/20/2022
 9/21/2022
 9/21/2022
 9/22/2022
 9/22/2022
 9/23/2022
 9/26/2022
 9/26/2022
 9/27/2022
 9/27/2022


                                                                       EXHIBIT 1
                                                          Exhibit P-43, Page 90
  Appellate Case: 25-1349   Page: 2233   Date Filed: 04/07/2025 Entry ID: 5503844
  Date       Lbs Made

10/3/2022       0
10/3/2022       0
10/4/2022       0
10/4/2022       0
10/5/2022       0
10/5/2022       0
10/6/2022       0
10/6/2022       0
10/7/2022       0
10/7/2022       0

10/10/2022    6000
10/10/2022    13000
10/10/2022    2000
10/10/2022    2000
10/10/2022    2000
10/10/2022    3000
10/10/2022    4850
10/10/2022    24300
10/11/2022    5150
10/11/2022    3750
10/11/2022    1000
10/11/2022    14000
10/12/2022    2000
10/12/2022    14000
10/13/2022     150
10/13/2022    1950
10/13/2022     525
10/14/2022    8000
10/14/2022    11500



                                                                                                        EXHIBIT 1
                                                                                             Exhibit P-43, Page 91
                    Appellate Case: 25-1349   Page: 2234   Date Filed: 04/07/2025 Entry ID: 5503844
  Date       Lbs Made

                0
11/3/2022     8000
11/3/2022     2000
11/3/2022     2000
11/3/2022     19200
11/3/2022     2000
                0
11/8/2022     2000
11/8/2022     14000
11/8/2022     4800
11/8/2022     8000
11/8/2022     24400

11/9/2022     8000
11/9/2022     2000
11/9/2022     18900
                0
11/10/2022    2100
11/10/2022    4800
11/10/2022    2500
11/10/2022     400
11/10/2022    2000
11/10/2022    2000
11/10/2022    2200




                                                                      EXHIBIT 1
                                                         Exhibit P-43, Page 92
 Appellate Case: 25-1349   Page: 2235   Date Filed: 04/07/2025 Entry ID: 5503844
  Date       Lbs Made



12/14/2022    14000
12/14/2022    12000
12/15/2022    26000
12/19/2022     2000
12/19/2022    20000
12/20/2022     6000
12/20/2022    18000
12/21/2022     4700
12/21/2022     2000
12/21/2022     8000
12/22/2022     7300
12/22/2022     2000
12/26/2022     2000
12/26/2022     2000
12/26/2022     3700
12/28/2022    34000
12/30/2022     6000
12/30/2022     6000




                                                                      EXHIBIT 1
                                                         Exhibit P-43, Page 93
 Appellate Case: 25-1349   Page: 2236   Date Filed: 04/07/2025 Entry ID: 5503844
            # of Lbs
  Date
             Made


1/2/2023    20000


1/3/2023    14000

1/3/2023    10000

1/4/2023    20000


1/5/2023     6000



1/6/2023     4000


1/6/2023    14000

1/9/2023    26000


1/9/2023     2000


1/10/2023   18000


1/11/2023      0




                                                                                                       EXHIBIT 1
                                                                                            Exhibit P-43, Page 94
                   Appellate Case: 25-1349   Page: 2237   Date Filed: 04/07/2025 Entry ID: 5503844
1/12/2023   6000




1/13/2023   2000


1/16/2023   16000


1/16/2023   2000

1/17/2023     0




1/18/2023   10000



1/18/2023   10000



1/19/2023   10000




                                                                                                      EXHIBIT 1
                                                                                           Exhibit P-43, Page 95
                  Appellate Case: 25-1349   Page: 2238   Date Filed: 04/07/2025 Entry ID: 5503844
1/20/2023     0




1/23/2023     0

1/24/2023   14000

1/25/2023     0

1/26/2023     0


1/27/2023     0




1/30/2023     0




1/31/2023     0




                                                                                                      EXHIBIT 1
                                                                                           Exhibit P-43, Page 96
                  Appellate Case: 25-1349   Page: 2239   Date Filed: 04/07/2025 Entry ID: 5503844
                        Complete the                                            Material
  Date       Order #                   Start Time   End Time     Customer
                          Order?                                                 Grade


 3/1/2023    SO-449         Yes         9:00 AM     2:00 PM     Osborn OH         DGR

 3/9/2023    SO-298         No          8:00 AM      2:30 PM     Reptec           DGR
 3/9/2023    SO-449         Yes         8:00 AM      4:00 PM    Osborn OH         DGR
3/10/2023    SO-449         Yes         8:00 AM     11:30 AM    Osborn OH         DGR
3/10/2023   SO-290-B        Yes        11:30 AM      4:00 PM    Bright Abr        OGR
3/13/2023   SO-290-B        Yes         8:00 AM     10:30 AM     Bright Abr       OGR

3/13/2023   SO-377-A        No         10:30 AM     3:30 PM      Bright Abr       OGR

3/14/2023   Maint/day
3/15/2023   SO-377-A        No          1:30 PM     2:00 PM      Bright Abr       OGR
3/15/2023    SO-298         No          1:30 PM     4:00 PM       Reptec          DGR

3/20/2023   SO-377-A        No         12:00 PM     1:00 PM      Bright Abr       OGR

3/20/2023    SO-576         Yes         1:00 PM      4:00 PM   Treatments Ltd     OGR
3/20/2023    SO-298         No          1:00 PM      4:00 PM       Reptec         DGR
3/21/2023    SO-298         Yes         8:00 AM     11:30 AM       Reptec         DGR
3/21/2023    SO-304         No         11:30 AM     4:00 PM       Reptec          OGR
3/22/2023    SO-304         Yes         9:00 AM     10:30 PM      Reptec          OGR

3/22/2023     ATMO          Yes        10:30 AM     11:15 AM       Stock          OGR

3/22/2023    SO-304         Yes        11:15 AM     12:30 PM      Reptec          DGR

3/23/2023    SO-304         Yes         9:00 AM     3:00 PM       Reptec          DGR

3/24/2023    SO-304         Yes         9:30 AM     11:00 AM      Reptec          DGR
3/24/2023   SO-316-A        No         11:00 AM     4:00 PM        PRIOR          DGR
3/27/2023    SO-316A        No         11:00 AM     3:45 PM        PRIOR          DGR
3/28/2023   SO-316-A        No          8:00 AM     4:00 PM        PRIOR          DGR
3/29/2023   SO-316-A        Yes         8:00 AM     10:00 AM       PRIOR          DGR
3/29/2023   SO-316-B        No          8:00 AM      4:00 PM       PRIOR          OGR
3/30/2023   SO-316-B        No          9:30 AM      4:00 PM       PRIOR          OGR
3/30/2023   SO-316-B        No          9:30 AM      4:00 PM       PRIOR          OGR
3/31/2023    SO-316         No          8:45 AM      4:00 PM       PRIOR          OGR




                                                            Exhibit P-43, Page 97
Appellate Case: 25-1349    Page: 2240      Date Filed: 04/07/2025 Entry ID: 5503844
                                                        Exhibit P-43, Page 98
Appellate Case: 25-1349   Page: 2241   Date Filed: 04/07/2025 Entry ID: 5503844
                                                        Exhibit P-43, Page 99
Appellate Case: 25-1349   Page: 2242   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 100
Appellate Case: 25-1349   Page: 2243   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 101
Appellate Case: 25-1349   Page: 2244   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 102
Appellate Case: 25-1349   Page: 2245   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                            Pallets
Bag Size (in # of Bags   # of Lbs    # of Bags                 # Pallets              Slip Sheet
                                                 Pallet Type               Broken
   lbs)        Made       Made        Ripped                     Used                    type
                                                                           trashed


   2000          7       14000                     40x48          7                     Large

    100         60       6000                      40x48           3                    Large
   2000          9       18000                     40x48           9                    Large
   2000          5       10000                     40x48           5                    Large
   2000         17       34000                     40x48          17                    Large
   2000          3        6000                     40x48          3                     Large

   2000         10       20000                     40x48          10                    Large

                            0
   2000          3        6000                     40x48          3                     Large
   100          35        3500                     40x48          2                     Large

   2000          3        6000                     40x48          3                     Large

   2000         2        4000                      40x48          2                     Large
    100        135       13500                     40x48          7                     Large
    100        130       13000                     40x48          6                     Large
   100         180       18000                     40x48          9                     Large
   100          20        2000                     40x48          1                     Large

   2000          1        2000                     40x48          1                     Large

   100          48        4800                     40x48          3                     Large

   100         152       15200                     40x48          7                     Large

   100          20        2000                     40x48          1                     Large
   100         171       17100                    HT Large        5                     Large
   100         114       11400                    HT Large        5                     Large
   100         259       25900                    HT Large        13                    Large
   100         24        2400                     HT Large         1                    Large
   100         260       26000                    HT Large        13                    Large
   100         100       10000                    HT Large         5                    Large
   100         127       12700                    HT Large         6                    Large
   100         293       29300                    HT Large        15                    Large
                           0
                           0
                           0
                           0

                                                                 Exhibit P-43, Page 103
 Appellate Case: 25-1349         Page: 2246      Date Filed: 04/07/2025 Entry ID: 5503844
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0

                                                       Exhibit P-43, Page 104
Appellate Case: 25-1349   Page: 2247   Date Filed: 04/07/2025 Entry ID: 5503844
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0

                                                       Exhibit P-43, Page 105
Appellate Case: 25-1349   Page: 2248   Date Filed: 04/07/2025 Entry ID: 5503844
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0

                                                       Exhibit P-43, Page 106
Appellate Case: 25-1349   Page: 2249   Date Filed: 04/07/2025 Entry ID: 5503844
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0


                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0

                                                       Exhibit P-43, Page 107
Appellate Case: 25-1349   Page: 2250   Date Filed: 04/07/2025 Entry ID: 5503844
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0
                      0




                                                       Exhibit P-43, Page 108
Appellate Case: 25-1349   Page: 2251   Date Filed: 04/07/2025 Entry ID: 5503844
Slip Sheets
                                              Major Downtime Events
   Used


    7                                           Finish elevator broke

     3          Finish elevator completed,worked on packer could not get it going ran bulk bags also
     9
     5                                  Issues with burner valve still sticking
    17                                            3 more to finish
    3

    10            Early shutdown to attend to green stack issues,shut down for pulveriser breaking


    3                                 Finish elevator broke,started at 1:30 pm
    2

              Worked on burner til noon finished up filling partial bulk bags to switch to double ground
    3
                         . packer working but a lil slower and did not kick off a few times

    2                                                Add by Russ
    5
    6
    9
    1
               Switched to DGR. Product was running slow. Later discovered that the 4th floor shaker
    1
                                                    was clogged.
              Shaker drain pipe was clogged and backed up the system. Spent the rest of the afternoon
    3
                                                      clearing.
              Slow running. Had to unclog the Finished product tube because the vacuum was weak at
    7
                                          times. Also adjusted the shaker.
    1                             Donaldson filer change,instaled bolts on vibrator
    5
    5                               The shaker seemed to function a little better.
    13
     1                                                 Start up
    13
     5                      Charged tube mill got lil mac going helping to produce better
     6
    15                                         Ran pretty good today




                                                                     Exhibit P-43, Page 109
Appellate Case: 25-1349            Page: 2252        Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 110
Appellate Case: 25-1349   Page: 2253   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 111
Appellate Case: 25-1349   Page: 2254   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 112
Appellate Case: 25-1349   Page: 2255   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 113
Appellate Case: 25-1349   Page: 2256   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 114
Appellate Case: 25-1349   Page: 2257   Date Filed: 04/07/2025 Entry ID: 5503844
NOTES




NEED 20 MORE BAGS TO COMPLETE THE ORDER!!!!




                                       Need 24 more bags to complete




  Getting more confident at feeding product at closer intervals. Need to keep material hot. Finished product




                                                                        Exhibit P-43, Page 115
     Appellate Case: 25-1349          Page: 2258        Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 116
Appellate Case: 25-1349   Page: 2259   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 117
Appellate Case: 25-1349   Page: 2260   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 118
Appellate Case: 25-1349   Page: 2261   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 119
Appellate Case: 25-1349   Page: 2262   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 120
Appellate Case: 25-1349   Page: 2263   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
   Per the Secretary’s 30NOV2023 email request:

   •   Search for all teams chats with the words Baumann or Rob from June 1, 2022 through April 30, 2023-please
       make this additional search.




                           CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                             Exhibit P-43, Page 121
       Appellate Case: 25-1349 Page: 2264    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 122
      Appellate Case: 25-1349 Page: 2265    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 123
      Appellate Case: 25-1349 Page: 2266    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 124
      Appellate Case: 25-1349 Page: 2267    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 125
      Appellate Case: 25-1349 Page: 2268    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 126
      Appellate Case: 25-1349 Page: 2269    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 127
      Appellate Case: 25-1349 Page: 2270    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 128
      Appellate Case: 25-1349 Page: 2271    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 129
      Appellate Case: 25-1349 Page: 2272    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 130
      Appellate Case: 25-1349 Page: 2273    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 131
      Appellate Case: 25-1349 Page: 2274    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 132
      Appellate Case: 25-1349 Page: 2275    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 133
      Appellate Case: 25-1349 Page: 2276    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 134
      Appellate Case: 25-1349 Page: 2277    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 135
      Appellate Case: 25-1349 Page: 2278    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 136
      Appellate Case: 25-1349 Page: 2279    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 137
      Appellate Case: 25-1349 Page: 2280    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 138
      Appellate Case: 25-1349 Page: 2281    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 139
      Appellate Case: 25-1349 Page: 2282    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 140
      Appellate Case: 25-1349 Page: 2283    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 141
      Appellate Case: 25-1349 Page: 2284    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 142
      Appellate Case: 25-1349 Page: 2285    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 143
      Appellate Case: 25-1349 Page: 2286    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 144
      Appellate Case: 25-1349 Page: 2287    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 145
      Appellate Case: 25-1349 Page: 2288    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 146
      Appellate Case: 25-1349 Page: 2289    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 147
      Appellate Case: 25-1349 Page: 2290    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 148
      Appellate Case: 25-1349 Page: 2291    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 149
      Appellate Case: 25-1349 Page: 2292    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 150
      Appellate Case: 25-1349 Page: 2293    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 151
      Appellate Case: 25-1349 Page: 2294    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 152
      Appellate Case: 25-1349 Page: 2295    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 153
      Appellate Case: 25-1349 Page: 2296    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 154
      Appellate Case: 25-1349 Page: 2297    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 155
      Appellate Case: 25-1349 Page: 2298    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 156
      Appellate Case: 25-1349 Page: 2299    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 157
      Appellate Case: 25-1349 Page: 2300    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 158
      Appellate Case: 25-1349 Page: 2301    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 159
      Appellate Case: 25-1349 Page: 2302    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 160
      Appellate Case: 25-1349 Page: 2303    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 161
      Appellate Case: 25-1349 Page: 2304    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 162
      Appellate Case: 25-1349 Page: 2305    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 163
      Appellate Case: 25-1349 Page: 2306    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 164
      Appellate Case: 25-1349 Page: 2307    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 165
      Appellate Case: 25-1349 Page: 2308    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 166
      Appellate Case: 25-1349 Page: 2309    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 167
      Appellate Case: 25-1349 Page: 2310    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 168
      Appellate Case: 25-1349 Page: 2311    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 169
      Appellate Case: 25-1349 Page: 2312    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 170
      Appellate Case: 25-1349 Page: 2313    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 171
      Appellate Case: 25-1349 Page: 2314    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 172
      Appellate Case: 25-1349 Page: 2315    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 173
      Appellate Case: 25-1349 Page: 2316    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 174
      Appellate Case: 25-1349 Page: 2317    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 175
      Appellate Case: 25-1349 Page: 2318    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 176
      Appellate Case: 25-1349 Page: 2319    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 177
      Appellate Case: 25-1349 Page: 2320    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 178
      Appellate Case: 25-1349 Page: 2321    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 179
      Appellate Case: 25-1349 Page: 2322    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 180
      Appellate Case: 25-1349 Page: 2323    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 181
      Appellate Case: 25-1349 Page: 2324    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 182
      Appellate Case: 25-1349 Page: 2325    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 183
      Appellate Case: 25-1349 Page: 2326    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 184
      Appellate Case: 25-1349 Page: 2327    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 185
      Appellate Case: 25-1349 Page: 2328    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 186
      Appellate Case: 25-1349 Page: 2329    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 187
      Appellate Case: 25-1349 Page: 2330    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 188
      Appellate Case: 25-1349 Page: 2331    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 189
      Appellate Case: 25-1349 Page: 2332    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 190
      Appellate Case: 25-1349 Page: 2333    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 191
      Appellate Case: 25-1349 Page: 2334    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 192
      Appellate Case: 25-1349 Page: 2335    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 193
      Appellate Case: 25-1349 Page: 2336    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 194
      Appellate Case: 25-1349 Page: 2337    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 195
      Appellate Case: 25-1349 Page: 2338    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 196
      Appellate Case: 25-1349 Page: 2339    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 197
      Appellate Case: 25-1349 Page: 2340    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 198
      Appellate Case: 25-1349 Page: 2341    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 199
      Appellate Case: 25-1349 Page: 2342    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 200
      Appellate Case: 25-1349 Page: 2343    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 201
      Appellate Case: 25-1349 Page: 2344    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 202
      Appellate Case: 25-1349 Page: 2345    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 203
      Appellate Case: 25-1349 Page: 2346    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 204
      Appellate Case: 25-1349 Page: 2347    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 205
      Appellate Case: 25-1349 Page: 2348    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 206
      Appellate Case: 25-1349 Page: 2349    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 207
      Appellate Case: 25-1349 Page: 2350    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 208
      Appellate Case: 25-1349 Page: 2351    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 209
      Appellate Case: 25-1349 Page: 2352    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 210
      Appellate Case: 25-1349 Page: 2353    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 211
      Appellate Case: 25-1349 Page: 2354    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 212
      Appellate Case: 25-1349 Page: 2355    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 213
      Appellate Case: 25-1349 Page: 2356    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 214
      Appellate Case: 25-1349 Page: 2357    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 215
      Appellate Case: 25-1349 Page: 2358    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 216
      Appellate Case: 25-1349 Page: 2359    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 217
      Appellate Case: 25-1349 Page: 2360    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 218
      Appellate Case: 25-1349 Page: 2361    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 219
      Appellate Case: 25-1349 Page: 2362    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 220
      Appellate Case: 25-1349 Page: 2363    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 221
      Appellate Case: 25-1349 Page: 2364    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 222
      Appellate Case: 25-1349 Page: 2365    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 223
      Appellate Case: 25-1349 Page: 2366    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 224
      Appellate Case: 25-1349 Page: 2367    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 225
      Appellate Case: 25-1349 Page: 2368    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 226
      Appellate Case: 25-1349 Page: 2369    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 227
      Appellate Case: 25-1349 Page: 2370    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 228
      Appellate Case: 25-1349 Page: 2371    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 229
      Appellate Case: 25-1349 Page: 2372    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 230
      Appellate Case: 25-1349 Page: 2373    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 231
      Appellate Case: 25-1349 Page: 2374    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 232
      Appellate Case: 25-1349 Page: 2375    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 233
      Appellate Case: 25-1349 Page: 2376    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 234
      Appellate Case: 25-1349 Page: 2377    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 235
      Appellate Case: 25-1349 Page: 2378    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 236
      Appellate Case: 25-1349 Page: 2379    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 237
      Appellate Case: 25-1349 Page: 2380    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 238
      Appellate Case: 25-1349 Page: 2381    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 239
      Appellate Case: 25-1349 Page: 2382    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 240
      Appellate Case: 25-1349 Page: 2383    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 241
      Appellate Case: 25-1349 Page: 2384    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 242
      Appellate Case: 25-1349 Page: 2385    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 243
      Appellate Case: 25-1349 Page: 2386    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 244
      Appellate Case: 25-1349 Page: 2387    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 245
      Appellate Case: 25-1349 Page: 2388    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 246
      Appellate Case: 25-1349 Page: 2389    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 247
      Appellate Case: 25-1349 Page: 2390    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 248
      Appellate Case: 25-1349 Page: 2391    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 249
      Appellate Case: 25-1349 Page: 2392    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 250
      Appellate Case: 25-1349 Page: 2393    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 251
      Appellate Case: 25-1349 Page: 2394    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 252
      Appellate Case: 25-1349 Page: 2395    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 253
      Appellate Case: 25-1349 Page: 2396    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 254
      Appellate Case: 25-1349 Page: 2397    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 255
      Appellate Case: 25-1349 Page: 2398    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 256
      Appellate Case: 25-1349 Page: 2399    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 257
      Appellate Case: 25-1349 Page: 2400    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 258
      Appellate Case: 25-1349 Page: 2401    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 259
      Appellate Case: 25-1349 Page: 2402    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 260
      Appellate Case: 25-1349 Page: 2403    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 261
      Appellate Case: 25-1349 Page: 2404    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 262
      Appellate Case: 25-1349 Page: 2405    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 263
      Appellate Case: 25-1349 Page: 2406    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 264
      Appellate Case: 25-1349 Page: 2407    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 265
      Appellate Case: 25-1349 Page: 2408    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 266
      Appellate Case: 25-1349 Page: 2409    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 267
      Appellate Case: 25-1349 Page: 2410    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 268
      Appellate Case: 25-1349 Page: 2411    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 269
      Appellate Case: 25-1349 Page: 2412    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 270
      Appellate Case: 25-1349 Page: 2413    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 271
      Appellate Case: 25-1349 Page: 2414    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 272
      Appellate Case: 25-1349 Page: 2415    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 273
      Appellate Case: 25-1349 Page: 2416    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 274
      Appellate Case: 25-1349 Page: 2417    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 275
      Appellate Case: 25-1349 Page: 2418    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 276
      Appellate Case: 25-1349 Page: 2419    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 277
      Appellate Case: 25-1349 Page: 2420    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 278
      Appellate Case: 25-1349 Page: 2421    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 279
      Appellate Case: 25-1349 Page: 2422    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 280
      Appellate Case: 25-1349 Page: 2423    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 281
      Appellate Case: 25-1349 Page: 2424    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 282
      Appellate Case: 25-1349 Page: 2425    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 283
      Appellate Case: 25-1349 Page: 2426    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 284
      Appellate Case: 25-1349 Page: 2427    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 285
      Appellate Case: 25-1349 Page: 2428    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 286
      Appellate Case: 25-1349 Page: 2429    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 287
      Appellate Case: 25-1349 Page: 2430    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 288
      Appellate Case: 25-1349 Page: 2431    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 289
      Appellate Case: 25-1349 Page: 2432    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 290
      Appellate Case: 25-1349 Page: 2433    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 291
      Appellate Case: 25-1349 Page: 2434    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 292
      Appellate Case: 25-1349 Page: 2435    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 293
      Appellate Case: 25-1349 Page: 2436    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 294
      Appellate Case: 25-1349 Page: 2437    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 295
      Appellate Case: 25-1349 Page: 2438    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 296
      Appellate Case: 25-1349 Page: 2439    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 297
      Appellate Case: 25-1349 Page: 2440    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 298
      Appellate Case: 25-1349 Page: 2441    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 299
      Appellate Case: 25-1349 Page: 2442    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 300
      Appellate Case: 25-1349 Page: 2443    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 301
      Appellate Case: 25-1349 Page: 2444    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 302
      Appellate Case: 25-1349 Page: 2445    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 303
      Appellate Case: 25-1349 Page: 2446    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 304
      Appellate Case: 25-1349 Page: 2447    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 305
      Appellate Case: 25-1349 Page: 2448    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 306
      Appellate Case: 25-1349 Page: 2449    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 307
      Appellate Case: 25-1349 Page: 2450    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 308
      Appellate Case: 25-1349 Page: 2451    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 309
      Appellate Case: 25-1349 Page: 2452    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 310
      Appellate Case: 25-1349 Page: 2453    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 311
      Appellate Case: 25-1349 Page: 2454    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 312
      Appellate Case: 25-1349 Page: 2455    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 313
      Appellate Case: 25-1349 Page: 2456    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 314
      Appellate Case: 25-1349 Page: 2457    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
   •
       Produce all teams chats that Baumann participated in from February 1, 2023 through April 17, 2023—please
       send us a legible copy of the document you previously sent and confirm that is the only document you have in
       response to this. If not, send the remaining documents from this time frame.




                           CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                             Exhibit P-43, Page 315
       Appellate Case: 25-1349 Page: 2458    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 316
      Appellate Case: 25-1349 Page: 2459    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 317
      Appellate Case: 25-1349 Page: 2460    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 318
      Appellate Case: 25-1349 Page: 2461    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 319
      Appellate Case: 25-1349 Page: 2462    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 320
      Appellate Case: 25-1349 Page: 2463    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 321
      Appellate Case: 25-1349 Page: 2464    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 322
      Appellate Case: 25-1349 Page: 2465    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 323
      Appellate Case: 25-1349 Page: 2466    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 324
      Appellate Case: 25-1349 Page: 2467    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 325
      Appellate Case: 25-1349 Page: 2468    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 326
      Appellate Case: 25-1349 Page: 2469    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 327
      Appellate Case: 25-1349 Page: 2470    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 328
      Appellate Case: 25-1349 Page: 2471    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 329
      Appellate Case: 25-1349 Page: 2472    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 330
      Appellate Case: 25-1349 Page: 2473    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 331
      Appellate Case: 25-1349 Page: 2474    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 332
      Appellate Case: 25-1349 Page: 2475    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 333
      Appellate Case: 25-1349 Page: 2476    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 334
      Appellate Case: 25-1349 Page: 2477    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 335
      Appellate Case: 25-1349 Page: 2478    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 336
      Appellate Case: 25-1349 Page: 2479    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 337
      Appellate Case: 25-1349 Page: 2480    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 338
      Appellate Case: 25-1349 Page: 2481    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 339
      Appellate Case: 25-1349 Page: 2482    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 340
      Appellate Case: 25-1349 Page: 2483    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 341
      Appellate Case: 25-1349 Page: 2484    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 342
      Appellate Case: 25-1349 Page: 2485    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 343
      Appellate Case: 25-1349 Page: 2486    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 344
      Appellate Case: 25-1349 Page: 2487    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 345
      Appellate Case: 25-1349 Page: 2488    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 346
      Appellate Case: 25-1349 Page: 2489    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 347
      Appellate Case: 25-1349 Page: 2490    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 348
      Appellate Case: 25-1349 Page: 2491    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 349
      Appellate Case: 25-1349 Page: 2492    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 350
      Appellate Case: 25-1349 Page: 2493    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 351
      Appellate Case: 25-1349 Page: 2494    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 352
      Appellate Case: 25-1349 Page: 2495    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 353
      Appellate Case: 25-1349 Page: 2496    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 354
      Appellate Case: 25-1349 Page: 2497    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 355
      Appellate Case: 25-1349 Page: 2498    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 356
      Appellate Case: 25-1349 Page: 2499    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 357
      Appellate Case: 25-1349 Page: 2500    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 358
      Appellate Case: 25-1349 Page: 2501    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 359
      Appellate Case: 25-1349 Page: 2502    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 360
      Appellate Case: 25-1349 Page: 2503    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 361
      Appellate Case: 25-1349 Page: 2504    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 362
      Appellate Case: 25-1349 Page: 2505    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 363
      Appellate Case: 25-1349 Page: 2506    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 364
      Appellate Case: 25-1349 Page: 2507    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 365
      Appellate Case: 25-1349 Page: 2508    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 366
      Appellate Case: 25-1349 Page: 2509    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 367
      Appellate Case: 25-1349 Page: 2510    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 368
      Appellate Case: 25-1349 Page: 2511    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 369
      Appellate Case: 25-1349 Page: 2512    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 370
      Appellate Case: 25-1349 Page: 2513    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 371
      Appellate Case: 25-1349 Page: 2514    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 372
      Appellate Case: 25-1349 Page: 2515    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 373
      Appellate Case: 25-1349 Page: 2516    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 374
      Appellate Case: 25-1349 Page: 2517    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 375
      Appellate Case: 25-1349 Page: 2518    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 376
      Appellate Case: 25-1349 Page: 2519    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 377
      Appellate Case: 25-1349 Page: 2520    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 378
      Appellate Case: 25-1349 Page: 2521    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 379
      Appellate Case: 25-1349 Page: 2522    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 380
      Appellate Case: 25-1349 Page: 2523    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 381
      Appellate Case: 25-1349 Page: 2524    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 382
      Appellate Case: 25-1349 Page: 2525    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 383
      Appellate Case: 25-1349 Page: 2526    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 384
      Appellate Case: 25-1349 Page: 2527    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 385
      Appellate Case: 25-1349 Page: 2528    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 386
      Appellate Case: 25-1349 Page: 2529    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 387
      Appellate Case: 25-1349 Page: 2530    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 388
      Appellate Case: 25-1349 Page: 2531    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 389
      Appellate Case: 25-1349 Page: 2532    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 390
      Appellate Case: 25-1349 Page: 2533    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 391
      Appellate Case: 25-1349 Page: 2534    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 392
      Appellate Case: 25-1349 Page: 2535    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 393
      Appellate Case: 25-1349 Page: 2536    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 394
      Appellate Case: 25-1349 Page: 2537    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 395
      Appellate Case: 25-1349 Page: 2538    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 396
      Appellate Case: 25-1349 Page: 2539    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 397
      Appellate Case: 25-1349 Page: 2540    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 398
      Appellate Case: 25-1349 Page: 2541    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 399
      Appellate Case: 25-1349 Page: 2542    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 400
      Appellate Case: 25-1349 Page: 2543    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 401
      Appellate Case: 25-1349 Page: 2544    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 402
      Appellate Case: 25-1349 Page: 2545    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 403
      Appellate Case: 25-1349 Page: 2546    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 404
      Appellate Case: 25-1349 Page: 2547    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 405
      Appellate Case: 25-1349 Page: 2548    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 406
      Appellate Case: 25-1349 Page: 2549    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 407
      Appellate Case: 25-1349 Page: 2550    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 408
      Appellate Case: 25-1349 Page: 2551    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 409
      Appellate Case: 25-1349 Page: 2552    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 410
      Appellate Case: 25-1349 Page: 2553    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 411
      Appellate Case: 25-1349 Page: 2554    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 412
      Appellate Case: 25-1349 Page: 2555    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 413
      Appellate Case: 25-1349 Page: 2556    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 414
      Appellate Case: 25-1349 Page: 2557    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 415
      Appellate Case: 25-1349 Page: 2558    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 416
      Appellate Case: 25-1349 Page: 2559    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 417
      Appellate Case: 25-1349 Page: 2560    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 418
      Appellate Case: 25-1349 Page: 2561    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 419
      Appellate Case: 25-1349 Page: 2562    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 420
      Appellate Case: 25-1349 Page: 2563    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 421
      Appellate Case: 25-1349 Page: 2564    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 422
      Appellate Case: 25-1349 Page: 2565    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 423
      Appellate Case: 25-1349 Page: 2566    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 424
      Appellate Case: 25-1349 Page: 2567    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 425
      Appellate Case: 25-1349 Page: 2568    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 426
      Appellate Case: 25-1349 Page: 2569    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 427
      Appellate Case: 25-1349 Page: 2570    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 428
      Appellate Case: 25-1349 Page: 2571    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 429
      Appellate Case: 25-1349 Page: 2572    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 430
      Appellate Case: 25-1349 Page: 2573    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 431
      Appellate Case: 25-1349 Page: 2574    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 432
      Appellate Case: 25-1349 Page: 2575    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 433
      Appellate Case: 25-1349 Page: 2576    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 434
      Appellate Case: 25-1349 Page: 2577    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 435
      Appellate Case: 25-1349 Page: 2578    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 436
      Appellate Case: 25-1349 Page: 2579    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 437
      Appellate Case: 25-1349 Page: 2580    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 438
      Appellate Case: 25-1349 Page: 2581    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 439
      Appellate Case: 25-1349 Page: 2582    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 440
      Appellate Case: 25-1349 Page: 2583    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 441
      Appellate Case: 25-1349 Page: 2584    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 442
      Appellate Case: 25-1349 Page: 2585    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 443
      Appellate Case: 25-1349 Page: 2586    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 444
      Appellate Case: 25-1349 Page: 2587    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 445
      Appellate Case: 25-1349 Page: 2588    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 446
      Appellate Case: 25-1349 Page: 2589    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 447
      Appellate Case: 25-1349 Page: 2590    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 448
      Appellate Case: 25-1349 Page: 2591    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 449
      Appellate Case: 25-1349 Page: 2592    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 450
      Appellate Case: 25-1349 Page: 2593    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 451
      Appellate Case: 25-1349 Page: 2594    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 452
      Appellate Case: 25-1349 Page: 2595    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 453
      Appellate Case: 25-1349 Page: 2596    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 454
      Appellate Case: 25-1349 Page: 2597    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 455
      Appellate Case: 25-1349 Page: 2598    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 456
      Appellate Case: 25-1349 Page: 2599    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 457
      Appellate Case: 25-1349 Page: 2600    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 458
      Appellate Case: 25-1349 Page: 2601    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 459
      Appellate Case: 25-1349 Page: 2602    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 460
      Appellate Case: 25-1349 Page: 2603    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 461
      Appellate Case: 25-1349 Page: 2604    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 462
      Appellate Case: 25-1349 Page: 2605    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 463
      Appellate Case: 25-1349 Page: 2606    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 464
      Appellate Case: 25-1349 Page: 2607    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 465
      Appellate Case: 25-1349 Page: 2608    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 466
      Appellate Case: 25-1349 Page: 2609    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 467
      Appellate Case: 25-1349 Page: 2610    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 468
      Appellate Case: 25-1349 Page: 2611    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 469
      Appellate Case: 25-1349 Page: 2612    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 470
      Appellate Case: 25-1349 Page: 2613    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 471
      Appellate Case: 25-1349 Page: 2614    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 472
      Appellate Case: 25-1349 Page: 2615    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 473
      Appellate Case: 25-1349 Page: 2616    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 474
      Appellate Case: 25-1349 Page: 2617    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 475
      Appellate Case: 25-1349 Page: 2618    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 476
      Appellate Case: 25-1349 Page: 2619    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 477
      Appellate Case: 25-1349 Page: 2620    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 478
      Appellate Case: 25-1349 Page: 2621    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 479
      Appellate Case: 25-1349 Page: 2622    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 480
      Appellate Case: 25-1349 Page: 2623    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 481
      Appellate Case: 25-1349 Page: 2624    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 482
      Appellate Case: 25-1349 Page: 2625    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 483
      Appellate Case: 25-1349 Page: 2626    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 484
      Appellate Case: 25-1349 Page: 2627    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 485
      Appellate Case: 25-1349 Page: 2628    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 486
      Appellate Case: 25-1349 Page: 2629    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 487
      Appellate Case: 25-1349 Page: 2630    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 488
      Appellate Case: 25-1349 Page: 2631    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 489
      Appellate Case: 25-1349 Page: 2632    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 490
      Appellate Case: 25-1349 Page: 2633    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 491
      Appellate Case: 25-1349 Page: 2634    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 492
      Appellate Case: 25-1349 Page: 2635    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 493
      Appellate Case: 25-1349 Page: 2636    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 494
      Appellate Case: 25-1349 Page: 2637    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 495
      Appellate Case: 25-1349 Page: 2638    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 496
      Appellate Case: 25-1349 Page: 2639    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 497
      Appellate Case: 25-1349 Page: 2640    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 498
      Appellate Case: 25-1349 Page: 2641    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 499
      Appellate Case: 25-1349 Page: 2642    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 500
      Appellate Case: 25-1349 Page: 2643    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 501
      Appellate Case: 25-1349 Page: 2644    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 502
      Appellate Case: 25-1349 Page: 2645    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 503
      Appellate Case: 25-1349 Page: 2646    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 504
      Appellate Case: 25-1349 Page: 2647    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 505
      Appellate Case: 25-1349 Page: 2648    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 506
      Appellate Case: 25-1349 Page: 2649    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 507
      Appellate Case: 25-1349 Page: 2650    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 508
      Appellate Case: 25-1349 Page: 2651    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 509
      Appellate Case: 25-1349 Page: 2652    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 510
      Appellate Case: 25-1349 Page: 2653    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 511
      Appellate Case: 25-1349 Page: 2654    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 512
      Appellate Case: 25-1349 Page: 2655    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 513
      Appellate Case: 25-1349 Page: 2656    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 514
      Appellate Case: 25-1349 Page: 2657    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 515
      Appellate Case: 25-1349 Page: 2658    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 516
      Appellate Case: 25-1349 Page: 2659    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 517
      Appellate Case: 25-1349 Page: 2660    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 518
      Appellate Case: 25-1349 Page: 2661    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 519
      Appellate Case: 25-1349 Page: 2662    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 520
      Appellate Case: 25-1349 Page: 2663    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 521
      Appellate Case: 25-1349 Page: 2664    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 522
      Appellate Case: 25-1349 Page: 2665    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 523
      Appellate Case: 25-1349 Page: 2666    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 524
      Appellate Case: 25-1349 Page: 2667    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 525
      Appellate Case: 25-1349 Page: 2668    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 526
      Appellate Case: 25-1349 Page: 2669    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 527
      Appellate Case: 25-1349 Page: 2670    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 528
      Appellate Case: 25-1349 Page: 2671    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 529
      Appellate Case: 25-1349 Page: 2672    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 530
      Appellate Case: 25-1349 Page: 2673    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 531
      Appellate Case: 25-1349 Page: 2674    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 532
      Appellate Case: 25-1349 Page: 2675    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 533
      Appellate Case: 25-1349 Page: 2676    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 534
      Appellate Case: 25-1349 Page: 2677    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 535
      Appellate Case: 25-1349 Page: 2678    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 536
      Appellate Case: 25-1349 Page: 2679    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 537
      Appellate Case: 25-1349 Page: 2680    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 538
      Appellate Case: 25-1349 Page: 2681    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 539
      Appellate Case: 25-1349 Page: 2682    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 540
      Appellate Case: 25-1349 Page: 2683    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 541
      Appellate Case: 25-1349 Page: 2684    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 542
      Appellate Case: 25-1349 Page: 2685    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 543
      Appellate Case: 25-1349 Page: 2686    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 544
      Appellate Case: 25-1349 Page: 2687    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 545
      Appellate Case: 25-1349 Page: 2688    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 546
      Appellate Case: 25-1349 Page: 2689    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 547
      Appellate Case: 25-1349 Page: 2690    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 548
      Appellate Case: 25-1349 Page: 2691    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 549
      Appellate Case: 25-1349 Page: 2692    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 550
      Appellate Case: 25-1349 Page: 2693    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 551
      Appellate Case: 25-1349 Page: 2694    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 552
      Appellate Case: 25-1349 Page: 2695    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 553
      Appellate Case: 25-1349 Page: 2696    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 554
      Appellate Case: 25-1349 Page: 2697    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                          Seneca, MO 64865
                                                                                           Office (239) 829-5457

__________________________________________________________________________________________________


   •
       Produce all Teams chats from the following dates containing the following topics:



           o   July 26, 2022: Rob, Baumann, Jeff, Miguel, bolts, shut down, early, ripped, screen




                           CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                             Exhibit P-43, Page 555
       Appellate Case: 25-1349 Page: 2698    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                          Seneca, MO 64865
                                                                                           Office (239) 829-5457

__________________________________________________________________________________________________




           o   July 27, 2022: Rob, Baumann, Christine, bypassing, break, early or earlier, rotating or rotated, dust
               exposure or dust, bulk bags




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 556
      Appellate Case: 25-1349 Page: 2699    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 1, 2022: Rob, Baumann, replace, Christine




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 557
      Appellate Case: 25-1349 Page: 2700    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 5, 2022: Rob, Baumann, Jessie, help




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 558
      Appellate Case: 25-1349 Page: 2701    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 8, 2022: Christine, Rob, Baumann, first shift, oversee, nights




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 559
      Appellate Case: 25-1349 Page: 2702    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 9, 2022: Christine, Rob, Baumann, night shift, train, replace




                           CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                             Exhibit P-43, Page 560
       Appellate Case: 25-1349 Page: 2703    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 16, 2022: Rob, Baumann, Christine, counsel, shutting down, letting go, earlier or early




                           CustomerService@AmericanTripoli.com         EXHIBIT 3
                                                             Exhibit P-43, Page 561
        Appellate Case: 25-1349 Page: 2704   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________




           o   August 25, 2022: Rob, Baumann, counsel or counseling, BOL, shipper, complaint or complain




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 562
      Appellate Case: 25-1349 Page: 2705    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
          o August 31, 2022: Rob, Baumann, daily production, numbers, pounds, spreadsheet, log in




                           CustomerService@AmericanTripoli.com         EXHIBIT 3
                                                             Exhibit P-43, Page 563
       Appellate Case: 25-1349 Page: 2706    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________


           o   September 3, 2022: Rob, Baumann, daily production, numbers, pounds, spreadsheet




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 564
      Appellate Case: 25-1349 Page: 2707    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________


           o   September 28, 2022: Rob, Baumann, CILAS, reports




                           CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                             Exhibit P-43, Page 565
       Appellate Case: 25-1349 Page: 2708    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 8, 2022: Jessie, Carson, Rob, Baumann, wait or waiting, late




                           CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                             Exhibit P-43, Page 566
       Appellate Case: 25-1349 Page: 2709    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 12, 2022: Rob, Baumann, Carson, maintenance, issue, mad, hard to work with, angry,
               combative




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 567
      Appellate Case: 25-1349 Page: 2710    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 13, 2022: Baumann, Rob, production schedule, producing, schedule, computer, phone,
               computer work




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 568
      Appellate Case: 25-1349 Page: 2711    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 17, 2022: Rob, Baumann, flow, system, operating documents, maintenance team, files




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 569
      Appellate Case: 25-1349 Page: 2712    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________


           o   October 26, 2022: Rob, Baumann, MAC, vacuum system, spewing, dust, exhaust, shut down, DEQ




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 570
      Appellate Case: 25-1349 Page: 2713    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________


           o   November 2, 2022: John, Rob, Baumann, poor attitude




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 571
      Appellate Case: 25-1349 Page: 2714    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________

           o   November 5, 2022: Rob, Baumann, shift, hours, scratch paper, update shifts, computer, phone




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 572
      Appellate Case: 25-1349 Page: 2715    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   November 8, 2022: Rob, Baumann, shutting down, early, shut down, end of shift




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 573
      Appellate Case: 25-1349 Page: 2716    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________


           o   December 1, 2022: Rob, Baumann, attentiveness, checklists, inspections, breakroom, mess or disaster or
               disgusting, production floor, circuit breaker




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 574
      Appellate Case: 25-1349 Page: 2717    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                   Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                  5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                  Seneca, MO 64865
                                                                                   Office (239) 829-5457

__________________________________________________________________________________________________


           o   December 16, 2022: Rob, Baumann, production team, inform, production or produce, team members




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 575
      Appellate Case: 25-1349 Page: 2718    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   December 26, 2022: Rob, Baumann, daily production goals, goals, daily goals, team members, complain
               or complaining, leader, tasking board




                           CustomerService@AmericanTripoli.com         EXHIBIT 3
                                                             Exhibit P-43, Page 576
        Appellate Case: 25-1349 Page: 2719   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________


           o   January 20, 2023: Rob, Baumann, Kensley, dust, blowing, DNR, sheriff, daily production, worksheet




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 577
      Appellate Case: 25-1349 Page: 2720    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________


           o   January 25, 2023: Rob, Baumann, bag, inventory, John or Spears, attitude




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 578
      Appellate Case: 25-1349 Page: 2721    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________


           o   February 28, 2023: Rob, Baumann, task board, paid, working, not working




                           CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                             Exhibit P-43, Page 579
       Appellate Case: 25-1349 Page: 2722    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________


           o   March 20, 2023: Rob, Baumann, Snodgrass, Alex




                           CustomerService@AmericanTripoli.com         EXHIBIT 3
                                                             Exhibit P-43, Page 580
       Appellate Case: 25-1349 Page: 2723    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________


           o   March 24, 2023: John, Spears, Rob, Baumann, stack, stacking, bags, attitude, infectious, Alex, Snodgrass,
               performance, issues




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 581
      Appellate Case: 25-1349 Page: 2724    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________


           o   March 30, 2023: ATMO, safety discussion, Rob, Baumann, Jessie, tasks, enforce or enforced




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 582
      Appellate Case: 25-1349 Page: 2725    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                            Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                           5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                           Seneca, MO 64865
                                                                            Office (239) 829-5457

__________________________________________________________________________________________________


           o   April 5, 2023: Alex, Snodgrass, Rob, Baumann, John, Spears




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 583
      Appellate Case: 25-1349 Page: 2726    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                          Seneca, MO 64865
                                                                                           Office (239) 829-5457

__________________________________________________________________________________________________

           o   April 7, 2023: Rob, Baumann, John, Spears, Jordan, Tidaback, fire, terminate, let go, letting go




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 584
      Appellate Case: 25-1349 Page: 2727    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
          o April 12, 2023: Rob, Baumann, daily quotas, manage




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 585
      Appellate Case: 25-1349 Page: 2728    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________


           o   April 14, 2023: Rob, Bauman, MSHA, complaint, John, Spears, termination, production, performance,
               guidance, safety, termination letter




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 586
      Appellate Case: 25-1349 Page: 2729    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________


           o   April 16, 2023: Rob, Baumann, Keith, termination, letter, withdrawal, order




                          CustomerService@AmericanTripoli.com          EXHIBIT 3
                                                            Exhibit P-43, Page 587
      Appellate Case: 25-1349 Page: 2730    Date Filed: 04/07/2025 Entry ID: 5503844
Mill Group Chat
                                               February 1
John SpearsI uploaded the new BOL for S... by Julie Ann Cureg
Julie Ann Cureg
2/1 9:58 AM


John

Spears
 I uploaded the new BOL for SO-540 to its folder.
Begin Reference, John Spears I uploaded the... by John Spears
John Spears
2/1 10:03 AM


Julie Ann Cureg2/1/2023, 9:58 AM
John Spears I uploaded the new BOL for SO-540 to its folder.
Thank you. Waiting for the new one to load.Still seeing the one from 6 days ago.I'll do the F5 refresh.

1 Like reaction.
1
Let me know if you need help by Julie Ann Cureg
Julie Ann Cureg
2/1 10:14 AM


Let me know if you need help
Thank you. by John Spears
John Spears
2/1 10:15 AM


Thank you.

1 Heart reaction.
1
John SpearsI just uploaded shipping lab... by Julie Ann Cureg
Julie Ann Cureg
2/1 11:15 AM


John

Spears
I just uploaded shipping labels and a new BOL for SO-546 to its folder.




                                                                                              Exhibit 4
                                                                     Exhibit P-43, Page 588
Appellate Case: 25-1349           Page: 2731         Date Filed: 04/07/2025 Entry ID: 5503844
 Ok. by John Spears
 John Spears
 2/1 11:20 AM


 Ok.

 1 Like reaction.
 1
                                              February 2
 SO-546 by John Spears
 John Spears
 2/2 2:54 PM




 SO-546

 1 Like reaction.
 1

 Begin Reference, 📷📷📷📷📷SO-546, John Spe... by Unknown User
 Unknown User
 2/2 3:05 PM


 John Spears2/2/2023, 2:54 PM
 📷📷📷📷📷SO-546
 Julie Ann Cureg

 1 Like reaction.
 1
                                               February 3
 Robert Baumann John Spearscan I hav... by Julie Ann Cureg
 Julie Ann Cureg
 2/3 9:44 AM




                                                                                 Exhibit 4
                                                                  Exhibit P-43, Page 589
Appellate Case: 25-1349         Page: 2732        Date Filed: 04/07/2025 Entry ID: 5503844
Robert

Baumann

John

Spears
 can I have the scanned signed BOL for SO-546? Thank you!
Sure thing. by John Spears
John Spears
2/3 12:00 PM


Sure thing.

3 Like reactions.
3
Selected photo Selected photo Selected phot... by Unknown User
Unknown User
2/3 1:40 PM




SO-540
Julie Ann Cureg

1 Like reaction.
1
                                             February 6
Robert Baumann John Spears Per the ... by Russell Tidaback
2/6 7:49 AM
Russell Tidaback
Robert

Baumann

John




                                                                                Exhibit 4
                                                                 Exhibit P-43, Page 590
Appellate Case: 25-1349        Page: 2733        Date Filed: 04/07/2025 Entry ID: 5503844
Spears

Per the Schedule




1 Heart reaction.
1
Good Morning Gentlemen. The goal today woul... by Russell Tidaback
2/6 7:50 AM
Russell Tidaback
Good Morning Gentlemen. The goal today would be to complete this order and start on the next one.




Russell Tidaback Trying to get the comp... by John Spears
John Spears
2/6 9:00 AM


Russell

Tidaback
Trying to get the compressor to fire up.Gage is working.
Selected photo Selected photo Selected phot... by Unknown User
Unknown User
2/6 12:42 PM




                                                                                        Exhibit 4
                                                                    Exhibit P-43, Page 591
Appellate Case: 25-1349           Page: 2734        Date Filed: 04/07/2025 Entry ID: 5503844
SO-520 SO-527
Julie Ann Cureg

1 Like reaction.
1
                                            February 9
SO-411 Julie Ann Cureg by John Spears
John Spears
2/9 1:42 PM




SO-411
Julie Ann Cureg

1 Like reaction.
1
SO-554 Julie Ann Cureg by John Spears
John Spears



                                                                              Exhibit 4
                                                               Exhibit P-43, Page 592
Appellate Case: 25-1349        Page: 2735      Date Filed: 04/07/2025 Entry ID: 5503844
 2/9 1:54 PM




 SO-554
 Julie Ann Cureg

 1 Like reaction.
 1
                                         February 10
 Julie Ann Cureg SO-438 by John Spears
 John Spears
 2/10 8:57 AM




                                                                            Exhibit 4
                                                             Exhibit P-43, Page 593
Appellate Case: 25-1349        Page: 2736    Date Filed: 04/07/2025 Entry ID: 5503844
Julie Ann Cureg
 SO-438

1 Like reaction.
1
Still having issues with bagger so we are c... by Unknown User
Unknown User
2/10 9:21 AM


Still having issues with bagger so we are currently running bulk bags
Selected photo We will continue to run bu... by Unknown User
Unknown User
2/10 11:06 AM




We will continue to run bulk bags while
Gage Wheeler
works on the bagger we are losing to much product trying to bag 100 pounders not very feasible

1 Like reaction.
1
                                               February 14
Selected photo Selected photo Selected phot... by Unknown User
Unknown User
2/14 1:12 PM
Edited




                                                                                        Exhibit 4
                                                                   Exhibit P-43, Page 594
Appellate Case: 25-1349         Page: 2737         Date Filed: 04/07/2025 Entry ID: 5503844
21 bags of ogr SO-290-A
Julie Ann Cureg

2 Like reactions.
2
Selected photo Selected photo Selected phot... by Unknown User
Unknown User
2/14 4:07 PM
Edited




SO-555
Julie Ann Cureg

1 Like reaction.
1
                                                February 15
Guys, don't sweat the MSHA inspection... as... by Russell Tidaback
2/15 2:24 PM
Russell Tidaback
Guys, don't sweat the MSHA inspection... as we have always stated they are just doing their job.
Legit citations will be fixed for the guidance we have to follow.




                                                                                            Exhibit 4
                                                                   Exhibit P-43, Page 595
Appellate Case: 25-1349          Page: 2738        Date Filed: 04/07/2025 Entry ID: 5503844
The biggest thing to remember is be safe. Guarding must be in place for everyone's safety.

The other stuff we will deal with one by one. Just keep doing your best to make things happen.

This is just another hurdle that we will get through.

Once the inspection is completed and we have a list of what we need to address, let's knock it out so we
can get back to producing.

Don't let this inspection get you down.

As you know, this isn't the first cluster f#ck we have had to address from the previous ownership lack of.
But guys... this is why MSHA has to do what... by Russell Tidaback
2/15 4:25 PM
Russell Tidaback
But guys... this is why MSHA has to do what they do...PLEASE BE CAREFUL WHEN WORKING!

MINE FATALITY – On January 30, 2023, a miner died while troubleshooting a belt conveyor when he fell
through a 37-inch-long by 34-inch-wide hole created by the removal of a section of grating.The miner
fell approximately 35 feet from the catwalk to the ground below.




https://www.msha.gov/data-reports/fatality-reports/2023/january-30-2023-fatality/fatality-alert
                                           February 16
Probably another reason why this MSHA inspe... by Russell Tidaback
2/16 11:12 AM
Russell Tidaback
Probably another reason why this MSHA inspector is here...




                                          February 20
Captured photo Captured photo Captured phot... by Unknown User
Unknown User
2/20 3:04 PM
Edited




                                                                                             Exhibit 4
                                                                        Exhibit P-43, Page 596
  Appellate Case: 25-1349            Page: 2739         Date Filed: 04/07/2025 Entry ID: 5503844
SO-435
Julie Ann Cureg
21 bags of dgr

2 Like reactions.
2
                                                February 28
Whoever does the daily forklift inspection,... by Russell Tidaback
2/28 7:56 AM
Russell Tidaback
Whoever does the daily forklift inspection, please note that the electric forklift was not plugged in last
night.
Yes sir by Unknown User
Unknown User
2/28 8:38 AM


Yes sir
Robert Baumann can you get someone who has ... by Russell Tidaback
2/28 9:55 AM
Russell Tidaback
Robert Baumann can you get someone who has been up on the catwalk on the outside elevator and
remove the guarding so it can be repaired?

They will need a harness.
                                                 March 1
#28 - East Maint. Elec. Box Change Truck... by John Spears
John Spears
3/1 9:14 AM


#28 - East Maint. Elec. Box

Change Truck #61 to #62

Change Truck #60 to Extinguisher #30

Change "Old Truck garage " to "Warehouse A"
Just making notes and didn't want to lose t... by John Spears
John Spears
3/1 9:14 AM
Just making notes and didn't want to lose them.
The mill is firing up. The outside flour e... by John Spears
John Spears
3/1 10:40 AM




                                                                                               Exhibit 4
                                                                       Exhibit P-43, Page 597
 Appellate Case: 25-1349            Page: 2740         Date Filed: 04/07/2025 Entry ID: 5503844
The mill is firing up. The outside flour elevator bangs and clanks but is operational.
We have 28 -40by48 pallets left John Spear... by Unknown User
Unknown User
3/1 11:35 AM


We have 28 -40by48 pallets left
John Spears

Russell Tidaback
Begin Reference, We have 28 -40by48 pallets... by John Spears
John Spears
3/1 11:37 AM


Unknown User3/1/2023, 11:35 AM
We have 28 -40by48 pallets left John Spears Russell Tidaback
Ok. Thanks.
                                                March 2
Julie Ann Cureg SO-447 for Osborn is compl... by Jordan Tidaback
Jordan Tidaback
3/2 8:50 AM


Julie Ann Cureg
 SO-447 for Osborn is complete.

1 Like reaction.
1

Begin Reference, 📷 📷 ... by Julie Ann Cureg
Julie Ann Cureg
3/2 10:50 AM


Unknown User2/14/2023, 4:07 PM
📷 📷 📷 SO-555 Julie Ann Cureg
Hi
Robert

Baumann
 Do you have any other pic for SO-555 which proves that we shipped the exact number of orders? as per
Collinite Corp., they only revceived 15 Bags out of 28 bags (750 lbs) But the BOL signed by the carrier,
we shipped 1958 lbs.
We shipped what we had to collinite. Correc... by Russell Tidaback
3/2 11:09 AM
Russell Tidaback
We shipped what we had to collinite. Correct, does the invoice match the BOL?
Begin Reference, We shipped what we had to ... by Julie Ann Cureg
Julie Ann Cureg
3/2 12:48 PM




                                                                                           Exhibit 4
                                                                        Exhibit P-43, Page 598
  Appellate Case: 25-1349            Page: 2741         Date Filed: 04/07/2025 Entry ID: 5503844
Russell Tidaback3/2/2023, 11:09 AM
We shipped what we had to collinite. Correct, does the invoice match the BOL?
Yes
Russell Tidaback we are all in the break r... by Unknown User
Unknown User
3/2 12:48 PM


Russell Tidaback
 we are all in the break room if you have time now
Robert Baumann John Spearsjust to c... by Julie Ann Cureg
Julie Ann Cureg
3/2 1:38 PM


Robert

Baumann

John

Spears
just to confirm, will the 2 bags for air shipment be on pallet?
Begin Reference, Robert Baumann John Spears... by Unknown User
Unknown User
3/2 1:54 PM


Julie Ann Cureg3/2/2023, 1:38 PM
Robert Baumann John Spears just to confirm, will the 2 bags for air shipment be on pallet?
Yes ma'am they are
Thanks! by Julie Ann Cureg
Julie Ann Cureg
3/2 1:54 PM


Thanks!
Julie Ann Cureg SO-466 has the same Cilas ... by Jordan Tidaback
Jordan Tidaback
3/2 2:38 PM


Julie Ann Cureg
 SO-466 has the same Cilas Report as the last Osborn order, as the production was the same day.

1 Like reaction.
1
Jordan Tidaback added Unknown User to the chat and shared all chat history.
Jordan Tidaback




                                                                                             Exhibit 4
                                                                  Exhibit P-43, Page 599
Appellate Case: 25-1349         Page: 2742        Date Filed: 04/07/2025 Entry ID: 5503844
 added
Unknown User
 to the chat and shared all chat history.
Hello Ronnell Fondren by John Spears
John Spears
3/2 2:40 PM


Hello
Ronnell Fondren
Begin Reference, Julie Ann Cureg SO-466 has... by Julie Ann Cureg
Julie Ann Cureg
3/2 2:44 PM
Edited


Jordan Tidaback3/2/2023, 2:38 PM
Julie Ann Cureg SO-466 has the same Cilas Report as the last Osborn order, as the production was the
same day.
Jordan

Tidaback
 SO-466 or SO-446?
Ronnell Fondren are you still here? by John Spears
John Spears
3/2 4:09 PM


Ronnell Fondren are you still here?
Ronnell Fondrenget the Genie key fromRo... by John Spears
John Spears
3/2 4:17 PM


Ronnell Fondrenget the Genie key from Robert Baumann and go get the come-along down. Please.
Media by Russell Tidaback
3/2 4:20 PM
Russell Tidaback


John Spears were you referring to the one u... by Russell Tidaback
3/2 4:20 PM
Russell Tidaback
John Spears were you referring to the one used here today?
Yes. by John Spears
John Spears
3/2 4:21 PM


Yes.
The come along that was in the genie basket... by Unknown User
Unknown User



                                                                                          Exhibit 4
                                                                     Exhibit P-43, Page 600
Appellate Case: 25-1349             Page: 2743       Date Filed: 04/07/2025 Entry ID: 5503844
 3/2 4:21 PM


 The come along that was in the genie basket has been put Away
 Begin Reference, The come along that was in... by John Spears
 John Spears
 3/2 4:22 PM


 Unknown User3/2/2023, 4:21 PM
 The come along that was in the genie basket has been put Away
 Fantastic! Thanks. I didn't realize that it had been retrieved.
 Yeah I'd just put it away. That's my bad. by Unknown User
 Unknown User
 3/2 4:23 PM


 Yeah I'd just put it away. That's my bad.
                                                  March 3
 Work place exam training in the conference ... by Unknown User
 Unknown User
 3/3 7:40 AM


 Work place exam training in the conference room at 8 am
 Jim Hoover

 Patrick Lewis

 RJ Williams

 Ronnell Fondren
 Sorry it's in the Mill breakroom by Russell Tidaback
 3/3 8:08 AM
 Russell Tidaback
 Sorry it's in the Mill breakroom
 Robert Baumann John Spears this looks t... by Unknown User
 Unknown User
 3/3 9:07 AM




 Robert Baumann

 John Spears
  this looks to be the issue

 1 Like reaction.
 1




                                                                                  Exhibit 4
                                                                   Exhibit P-43, Page 601
Appellate Case: 25-1349           Page: 2744       Date Filed: 04/07/2025 Entry ID: 5503844
Captured photo Can we get another one of ... by Unknown User
Unknown User
3/3 9:33 AM




Can we get another one of these ordered and clear packing tape and a couple rolls of ductape for the mill
plz

1 Like reaction.
1
Russell Tidaback Jordan Tidaback John S... by Unknown User
Unknown User
3/3 10:19 AM


Russell Tidaback

Jordan Tidaback

John Spears


Horton supply company in Springfield (417) 864-8584

Give them a call they keep parts in stock
Begin Reference, 📷Robert Baumann John Spea... by John Spears
John Spears
3/3 11:06 AM


Unknown User3/3/2023, 9:07 AM
📷Robert Baumann John Spears this looks to be the issue
Where is this?
Ronnell Fondrenyou noted on the forklift ... by John Spears
John Spears
3/3 11:37 AM


Ronnell Fondrenyou noted on the forklift exam for the Toyota that the mast needed lubricant.Did you inf
orm Robert Baumann that it needed to be lubed? Then we can amend the exam after the lubricant is
applied. Thanks

1 Like reaction.
1
Captured photo Captured photo Captured phot... by Unknown User
Unknown User
3/3 12:01 PM




                                                                                            Exhibit 4
                                                                       Exhibit P-43, Page 602
  Appellate Case: 25-1349           Page: 2745         Date Filed: 04/07/2025 Entry ID: 5503844
Julie Ann Cureg
 SO-447 21bulk bags dgr

1 Like reaction.
1
                                                 March 6
Good morning everyone. A few things for t... by Russell Tidaback
3/6 8:01 AM
Russell Tidaback
Good morning everyone.
A few things for today we need to make happen.

First thing, each person needs to do their workplace exam.

Next, Patrick Lewisand Ronnell Fondren- harness up and were going to be removing the cover and loose
ning the bearing caps on the classifier elevator in prep for the crane tomorrow. John Spearsplease be the
ir ground safety and parts chaser.

Jim Hoover - I will help you work on Conduit replacement by the green monster.

RJ Williams - please collect all the power tools and electrical cords as you'll be doing continuity testing. J
ohn Spears please show RJ how to do a continuity test and has the white tape to show its been tested.

Robert Baumann please make sure the power is LOTO for the elevator scroll and green monster scroll
for Jim.
Please also make sure these guys take their lunches on time and come back on time, but are also staying
gainfully employed.

Once the classifier elevator is ready for tomorrow, Pat and Ron will need to go the maintenance room to
learn how to do a continuity test and assist RJ. Once Jim is done, he will also go to maintenance room to
assist with continuity testing. (Anything that has a 3 pronged plug all has to have a continuity test)




                                                                                                 Exhibit 4

                                                                         Exhibit P-43, Page 603
   Appellate Case: 25-1349            Page: 2746         Date Filed: 04/07/2025 Entry ID: 5503844
Once the continuity testing is all done, then we need to focus on cleaning out the vacuum system. And I
will be working on the bagger.
I've laid out this plan but plans may change. The weather should be nice so let's take advantage of it and
get things done today. If you find yourself without something to, ask Rob, John or me and we'll task you.
There is a lot that needs to be done.

1 Like reaction.
1
We'll get on it. by John Spears
John Spears
3/6 8:04 AM


We'll get on it.
Robert BaumannJohn Spears Russell Tidab... by Unknown User
Unknown User
3/6 9:19 AM


Robert Baumann John Spears Russell Tidaback Jordan Tidaback

I am on the ground to provide safety to Pat while he is up on the Cat Walk for the Elevator
Robert Baumann please come to the green mon... by Russell Tidaback
3/6 9:38 AM
Russell Tidaback
Robert Baumann please come to the green monster with the LOTO key.
Need key by Jim Hoover
Jim Hoover
3/6 9:38 AM


Need key
John Spears Robert Baumann Russell ... by Jordan Tidaback
Jordan Tidaback
3/6 10:52 AM


John

Spears

Robert

Baumann

Russell

Tidaback
I ordered 250 (48x40 Grade-B (same as last time)) Pallets from Triple R Recycling; they are to be
delivered tomorrow.




                                                                                              Exhibit 4
                                                                       Exhibit P-43, Page 604
  Appellate Case: 25-1349           Page: 2747         Date Filed: 04/07/2025 Entry ID: 5503844
Begin Reference, John Spears Robert Baumann... by John Spears
John Spears
3/6 10:52 AM


Jordan Tidaback3/6/2023, 10:52 AM
John Spears Robert Baumann Russell Tidaback I ordered 250 (48x40 Grade-B (same as last time))
Pallets from Triple R Recycling; they are to be delivered tomorrow.
Thank you.
Russell TidabackJohn Spears Robert Baum... by Unknown User
Unknown User
3/6 1:26 PM


Russell Tidaback John Spears Robert Baumann Patrick Lewis RJ Williams Jim Hoover can we get a snake
to clean the vacuum/air system please and thank you
Little Mac vacuum system by Unknown User
Unknown User
3/6 2:59 PM




Little Mac vacuum system
Media Media Media by Unknown User
Unknown User
3/6 2:59 PM




                                                March 7
Good morning guys. Today Jim and I will w... by Russell Tidaback
3/7 7:12 AM
Russell Tidaback
Good morning guys.
Today Jim and I will work on the bagger.
RJ and Rob please continue to work on cleaning out the vacuum system.
John and Ron, Pat as ground safety, work on classifoer scroll bearings.

Crane should be there at 8am.

Rain doesn't, hopefully, show up until after 4pm today.

Let's getter' done! 😀
Early bird gets the worm. by John Spears
John Spears




                                                                                       Exhibit 4
                                                                      Exhibit P-43, Page 605
  Appellate Case: 25-1349           Page: 2748        Date Filed: 04/07/2025 Entry ID: 5503844
 3/7 7:29 AM


 Early bird gets the worm.
 I still want biscuits and gravy John I don'... by Unknown User
 Unknown User
 3/7 7:42 AM


 I still want biscuits and gravy John I don't eat worms LOL

 1 Laugh reaction.
 1
 That will do TIM that will do by Jim Hoover
 Jim Hoover
 3/7 7:48 AM


 That will do TIM that will do
                                            March 8
 Media Media Media Media Media Media by Unknown User
 Unknown User
 3/8 6:23 AM




 John Spears there is the pictures u asked f... by Unknown User
 Unknown User
 3/8 6:23 AM
 John Spears there is the pictures u asked for yesterday
 You are aware that it's only 6:25 lol by Unknown User
 Unknown User
 3/8 6:24 AM




                                                                                    Exhibit 4
                                                                     Exhibit P-43, Page 606
Appellate Case: 25-1349           Page: 2749         Date Filed: 04/07/2025 Entry ID: 5503844
You are aware that it's only 6:25 lol

2 Laugh reactions.
2
Yup...Sleep is for the birds lol wake up ti... by Unknown User
Unknown User
3/8 6:25 AM


Yup...Sleep is for the birds lol wake up time is 0500
I've been up sir since like 5 lol. Who are ... by Unknown User
Unknown User
3/8 6:29 AM


I've been up sir since like 5 lol. Who are you telling .
Lol by Unknown User
Unknown User
3/8 6:50 AM


Lol
We'll finalize cleaning out the filter duct... by John Spears
John Spears
3/8 8:07 AM


We'll finalize cleaning out the filter duct the best we can today. The sprockets for the outside flour
elevator should be here by noon today and we'll get those installed. We'll continue on the green packer
as well.

1 Like reaction.
1
Begin Reference, John Spears there is the p... by John Spears
John Spears
3/8 8:08 AM
Unknown User3/8/2023, 6:23 AM
John Spears there is the pictures u asked for yesterday
Ronnell

Fondren
 Thank you.
Begin Reference, We'll finalize cleaning ou... by Russell Tidaback
3/8 8:24 AM
Russell Tidaback
John Spears3/8/2023, 8:07 AM
We'll finalize cleaning out the filter duct the best we can today. The sprockets for the outside flour
elevator should be here by noon today and we'll get those installed. We'll continue on the green packer…
John Spears Robert BaumannLet's not forget about the packer. It needs to be cleaned this morning.




                                                                                           Exhibit 4
                                                                           Exhibit P-43, Page 607
  Appellate Case: 25-1349               Page: 2750         Date Filed: 04/07/2025 Entry ID: 5503844
O'Jim will be back to assist in troubleshooting around 10am. I'd like Jim Hoover to assist O'Jim.

So let try and get the bagger cleaned before 10am as we talked yesterday.

The microswitch should be delivered between 8-12 today as well.

We will replace the microswitch, remove the air switch and remove the other on-off switch gage put on
and see it that's it.

Fingers crossed.
Begin Reference, John Spears Robert Baumann... by John Spears
John Spears
3/8 8:26 AM


Russell Tidaback3/8/2023, 8:24 AM
John Spears Robert Baumann Let's not forget about the packer. It needs to be cleaned this morning.
O'Jim will be back to assist in troubleshooting around 10am. I'd like Jim Hoover to assist O'Jim. So let try
and get the bagger cleaned before 10am as we talked yesterday. The microswitch s…
Will do.
Thanks by Russell Tidaback
3/8 8:26 AM
Russell Tidaback
Thanks
John SpearsI added the new BOL for SO-4... by Julie Ann Cureg
Julie Ann Cureg
3/8 8:30 AM


John

Spears
 I added the new BOL for SO-488 to its folder (8 bags).
Begin Reference, John Spears I added the ne... by John Spears
John Spears
3/8 8:38 AM


Julie Ann Cureg3/8/2023, 8:30 AM
John Spears I added the new BOL for SO-488 to its folder (8 bags).
Thank you.We'll get it ready.

1 Like reaction.
1
Begin Reference, John Spears I added the ne... by John Spears
John Spears
3/8 8:59 AM


Julie Ann Cureg3/8/2023, 8:30 AM
John Spears I added the new BOL for SO-488 to its folder (8 bags).




                                                                                               Exhibit 4
                                                                        Exhibit P-43, Page 608
  Appellate Case: 25-1349            Page: 2751         Date Filed: 04/07/2025 Entry ID: 5503844
Is there an ETA for the SO-488 air freight pickup?
Not yet but I messaged them already. I'll g... by Julie Ann Cureg
Julie Ann Cureg
3/8 9:37 AM


Not yet but I messaged them already. I'll get back to you when they reply.
Begin Reference, Not yet but I messaged the... by John Spears
John Spears
3/8 9:39 AM


Julie Ann Cureg3/8/2023, 9:37 AM
Not yet but I messaged them already. I'll get back to you when they reply.
Fantastic.
Russell TidabackJohn Spears Jordan Tida... by Unknown User
Unknown User
3/8 9:45 AM


Russell Tidaback John Spears Jordan Tidaback Robert Baumann
We need another 100ft of air hose please and thank you
Can we get another 100ft of air hose please... by Unknown User
Unknown User
3/8 9:47 AM
Can we get another 100ft of air hose please and thank you
Begin Reference, Russell Tidaback John Spea... by Unknown User
Unknown User
3/8 9:48 AM


Unknown User3/8/2023, 9:45 AM
Russell Tidaback John Spears Jordan Tidaback Robert Baumann We need another 100ft of air hose
please and thank you
We have other air hoses I will find you one
Ok by Unknown User
Unknown User
3/8 10:59 AM


Ok
HiJohn Spears , I added a new BOL, Ship... by Julie Ann Cureg
Julie Ann Cureg
3/8 2:10 PM


Hi
John

Spears




                                                                                      Exhibit 4
                                                                      Exhibit P-43, Page 609
Appellate Case: 25-1349           Page: 2752          Date Filed: 04/07/2025 Entry ID: 5503844
, I added a new BOL, Shipping Label, and Pick-up order PDF to SO-488 (2 Bags Partial Order) Folder. As
per the driver, please give a copy of BOL and Pick-up order to the driver. I'll just confirm the ETA and get
back to you.
03/09 (tomorrow) is the pick-up date for th... by Julie Ann Cureg
Julie Ann Cureg
3/8 2:39 PM


03/09 (tomorrow) is the pick-up date for these 2 Bags. They should send ETA tomorrow before they
pick it up as per the shipper.
Robert Baumann SO-446 can be dismantled an... by Russell Tidaback
3/8 3:29 PM
Russell Tidaback
Robert Baumann
 SO-446 can be dismantled and put in inventory. Buyer not responding to pickup request.
Begin Reference, Robert Baumann SO-446 can ... by John Spears
John Spears
3/8 4:19 PM


Russell Tidaback3/8/2023, 3:29 PM
Robert Baumann SO-446 can be dismantled and put in inventory. Buyer not responding to pickup
request.
Will do.
Thanks for all the work today guys! Big h... by Russell Tidaback
3/8 4:59 PM
Russell Tidaback
Thanks for all the work today guys!

Big hoorah out to Patrick Lewis... at the this moment, him and John Spears are still finishing up on the cla
ssifier elevator bearing replacement project. Making the final touches so we can produce tomorrow. TH
ANKS Patrick Lewis AND John Spears!!!

The bagger is working again, we are still troubleshooting it to be 100% correct so the caution tape will
still be up.

2 Like reactions.
2
Awesome job guys next will be the palletize... by Jim Hoover
Jim Hoover
3/8 6:40 PM


Awesome job guys next will be the palletizer and incline belt hopefully very soon in near future. RJ
thanks for your help on the vacuum system and getting that hooked up today and for Lunch, I
appreciated it, also Pat I already told you but I cleaned your office👌 not as well as I could do lack of
time I will work on it tmrw brother thanks for staying and helping John John this evening your awesome
!!! John, you shouldn't write your graphite marks on the wall by the curve we know your the leader of
the pack and we hear you roar and know your name boss but thank you for putting your me there where
we won't forget it, thank you for knowledge and hard work in the Maintenance Department we would be
in a bad spot if it wasn't for you. I will talk to the big cheese and try and get you a raise.. Russ thanks for



                                                                                                 Exhibit 4
                                                                          Exhibit P-43, Page 610
  Appellate Case: 25-1349             Page: 2753          Date Filed: 04/07/2025 Entry ID: 5503844
getting the packer going where we can hopefully run tmrw and getting a lot of the air leaks for the
moment , temporarily until we can fix them like they need to be that helped a bunch also for getting the
Donaldson back to where it is firing every four seconds like it should and for your knowledge on the
electrical outside on conduit it was a learning experience have good evening everyone ✌️.

2 Like reactions.
2
"EVERYONE" did a good job today by Unknown User
Unknown User
3/8 6:55 PM


"EVERYONE" did a good job today

1 Like reaction.
1
Remember... There is no I in team, and l... by Russell Tidaback
3/8 7:04 PM
Edited
Russell Tidaback
Remember... There is no I in team, and leadership isn't a position. It's an ethical decision.

Do what is right, even when no one is watching.




2 Like reactions.
2
Exactly by Unknown User
Unknown User
3/8 7:05 PM


Exactly
Well damn I seem to be a contradiction LOL ... by Unknown User
Unknown User
3/8 7:07 PM


Well damn I seem to be a contradiction LOL or more so and oxymoron LMAO
Hows that Pat? I see you doing good. by Russell Tidaback
3/8 7:09 PM
Russell Tidaback
Hows that Pat? I see you doing good.

1 Like reaction.
1




                                                                                                Exhibit 4
                                                                        Exhibit P-43, Page 611
 Appellate Case: 25-1349             Page: 2754         Date Filed: 04/07/2025 Entry ID: 5503844
I was hypothetically speaking as in I'm tha... by Unknown User
Unknown User
3/8 7:14 PM


I was hypothetically speaking as in I'm that guy that " would safely base jump without a parachute" lol. I
was mainly just making a funny.

1 Like reaction.
1
                                                 March 9
What is the plan for today by Unknown User
Unknown User
3/9 6:32 AM


What is the plan for today
I believe it's to run product for sir by Unknown User
Unknown User
3/9 7:03 AM


I believe it's to run product for sir
Good sir by Unknown User
Unknown User
3/9 7:03 AM
Good sir
Awesome by Unknown User
Unknown User
3/9 7:05 AM


Awesome
Indeed my good man indeed by Jim Hoover
Jim Hoover
3/9 7:08 AM


Indeed my good man indeed
We're going to do our best to run product t... by John Spears
John Spears
3/9 7:09 AM


We're going to do our best to run product today. Let's be sure we have everything greased.

1 Like reaction.
1
Oh Ronnell you're gonna want to grease your... by Unknown User
Unknown User




                                                                                             Exhibit 4
                                                                        Exhibit P-43, Page 612
  Appellate Case: 25-1349               Page: 2755      Date Filed: 04/07/2025 Entry ID: 5503844
3/9 7:12 AM


Oh Ronnell you're gonna want to grease your joints as well lol. This here mill is gonna put you through
some things. Which is why we all love her and respect her.

1 Like reaction.
1

🤣 by Unknown User
Unknown User
3/9 7:12 AM




🤣
Laugh now my friend lol by Unknown User
Unknown User
3/9 7:13 AM


Laugh now my friend lol
I am not that old... by Unknown User
Unknown User
3/9 7:13 AM


I am not that old...
Maintenance Team you all there already grea... by Jim Hoover
Jim Hoover
3/9 7:13 AM


Maintenance Team you all there already great job guys they are the ghost team

1 Surprised reaction.
1
Patrick Lewis by the end of the day I won't... by Unknown User
Unknown User
3/9 7:15 AM


Patrick Lewis by the end of the day I won't even feel it
It ain't got to deal with age lol. Ask rj ... by Unknown User
Unknown User
3/9 7:27 AM


It ain't got to deal with age lol. Ask rj he'll tell you all about it lol




                                                                                            Exhibit 4
                                                                             Exhibit P-43, Page 613
 Appellate Case: 25-1349                Page: 2756           Date Filed: 04/07/2025 Entry ID: 5503844
That's some funny shit right there by Jim Hoover
Jim Hoover
3/9 7:36 AM


That's some funny shit right there
Everyone be sure to complete your forklift ... by John Spears
John Spears
3/9 8:35 AM


Everyone be sure to complete your forklift and work area exams please.I'll do the maintenance exam.

1 Like reaction.
1
Someone, other than John, please examine th... by Russell Tidaback
3/9 8:37 AM
Russell Tidaback
Someone, other than John, please examine the Classifier elevator bearings. Make sure these are greased,
and relay what you see and do up there to John.
Jim

Hoover

Patrick

Lewis

Ronnell

Fondren

Robert

Baumann
Patrick and I greased the classifier elevat... by John Spears
John Spears
3/9 8:40 AM


Patrick and I greased the classifier elevator top bearings before we came down.Patrick turned the power
back on as well.In our haste yesterday we forgot to grease the scroll while we were up there.

1 Like reaction.
1
That part of the exam takes the longest to ... by Russell Tidaback
3/9 8:40 AM
Russell Tidaback
That part of the exam takes the longest to do.It would help make the inspection and startup faster.
okay, so just to verify everything is tidy ... by Russell Tidaback




                                                                                            Exhibit 4
                                                                         Exhibit P-43, Page 614
  Appellate Case: 25-1349             Page: 2757         Date Filed: 04/07/2025 Entry ID: 5503844
3/9 8:42 AM
Russell Tidaback
okay, so just to verify everything is tidy and secure... and the scroll is greased, lets have
Patrick

Lewis
 get that part done.
Begin Reference, okay, so just to verify ev... by John Spears
John Spears
3/9 8:43 AM


Russell Tidaback3/9/2023, 8:42 AM
okay, so just to verify everything is tidy and secure... and the scroll is greased, lets have Patrick Lewis get
that part done.
You bet.Greased lightening!
Begin Reference, okay, so just to verify ev... by Unknown User
Unknown User
3/9 8:44 AM


Russell Tidaback3/9/2023, 8:42 AM
okay, so just to verify everything is tidy and secure... and the scroll is greased, lets have Patrick Lewis get
that part done.
Fixing to try the elevator now everything looks good

1 Like reaction.
1
Did we get the bottom door installed? by John Spears
John Spears
3/9 8:45 AM


Did we get the bottom door installed?
Begin Reference, Did we get the bottom door... by Unknown User
Unknown User
3/9 8:50 AM


John Spears3/9/2023, 8:45 AM
Did we get the bottom door installed?
We wanted to leave it open for trial run had it caution tape off everything looks and sounds ok we are
"rolling that beautiful bean footage" as
John Spears
 would say

2 Laugh reactions.
2
Fantastic!! by John Spears
John Spears




                                                                                                 Exhibit 4
                                                                          Exhibit P-43, Page 615
  Appellate Case: 25-1349             Page: 2758          Date Filed: 04/07/2025 Entry ID: 5503844
3/9 8:51 AM


Fantastic!!
Hi John Spears Robert BaumannNNR T... by Julie Ann Cureg
Julie Ann Cureg
3/9 2:55 PM


Hi
John

Spears

Robert

Baumann
NNR Truck is on their way to pick up the 2 Bulk Bags for air shipment.

1 Like reaction.
1
Begin Reference, Hi John Spears Robert Baum... by Unknown User
Unknown User
3/9 3:44 PM
Edited


Julie Ann Cureg3/9/2023, 2:55 PM
Hi John Spears Robert Baumann NNR Truck is on their way to pick up the 2 Bulk Bags for air shipment.
Can I get the address they are going to in the USA please
Russell Tidaback

Jordan Tidaback

Julie Ann Cureg
Russell Tidaback Jordan Tidaback We n... by Unknown User, has an attachment.
Unknown User
3/9 3:44 PM


Russell Tidaback

Jordan Tidaback


We need to replace this because it will eventually eat that belt up
20230309_153558.jpg
John Spears Robert Baumann We need to... by Unknown User, has an attachment.
Unknown User
3/9 3:45 PM
John Spears




                                                                                         Exhibit 4
                                                                     Exhibit P-43, Page 616
 Appellate Case: 25-1349           Page: 2759        Date Filed: 04/07/2025 Entry ID: 5503844
Robert Baumann


We need to replace this because it will eventually eat that belt up
20230309_153558 1.jpg
Selected photo by Unknown User
Unknown User
3/9 3:46 PM


We need to get this replaced, or it will ev... by Unknown User
Unknown User
3/9 3:47 PM
We need to get this replaced, or it will eventually eat that belt up.
Begin Reference, Can I get the address they... by Julie Ann Cureg
Julie Ann Cureg
3/9 3:50 PM


Unknown User3/9/2023, 3:44 PM
Can I get the address they are going to in the USA please Russell Tidaback Jordan Tidaback Julie Ann
Cureg
NNR GLOBAL LOGISTICS USA INC.1701 NICHOLAS BLVDELK GROVE VILLAGE, IL 60007US
It is in the pick up order file. Please pri... by Julie Ann Cureg
Julie Ann Cureg
3/9 3:51 PM
It is in the pick up order file. Please print that file together with the New BOL and give it to the driver
Robert Baumann . Here's the link to the f... by Julie Ann Cureg
Julie Ann Cureg
3/9 3:51 PM
Robert

Baumann
. Here's the link to the folder
https://deedyco.sharepoint.com/:f:/r/sites/American_Tripoli_Seneca_MO-
CustomersDistributorsSales/Shared%20Documents/Customers,%20Distributors,%20Sales/Paperwork
%20for%20Upcoming%20Orders/SO-488%20INABATA%20AMERICA%20CORPORATION%20-
%202%20Partial%20Order?csf=1&web=1&e=YiREaZ
Robert Baumann I'm headed back to the offic... by John Spears
John Spears
3/9 3:55 PM


Robert Baumann I'm headed back to the office to print the new BOL. It got past 3:30 and I didn't think
they were coming and I kinda forgot. Hold on.
Got it handled John Spears by Unknown User
Unknown User
3/9 3:57 PM


Got it handled




                                                                                                 Exhibit 4
                                                                         Exhibit P-43, Page 617
 Appellate Case: 25-1349             Page: 2760          Date Filed: 04/07/2025 Entry ID: 5503844
 John Spears
 Captured photo Captured photo Captured phot... by Unknown User
 Unknown User
 3/9 4:00 PM




 Julie Ann Cureg
  SO-488 partial for air shipping 2 bulk bags

 1 Like reaction.
 1
 Begin Reference, Got it handled John Spears... by John Spears
 John Spears
 3/9 4:01 PM


 Unknown User3/9/2023, 3:57 PM
 Got it handled John Spears
 Good deal. Thanks. I'll go back to Mr. Ulmer.
 Did we use the BOL they needed? I didn't th... by Jordan Tidaback
 Jordan Tidaback
 3/9 4:07 PM


 Did we use the BOL they needed? I didn't think Rob had access to that folder?
 Begin Reference, Did we use the BOL they ne... by Unknown User
 Unknown User
 3/9 4:09 PM


 Jordan Tidaback3/9/2023, 4:07 PM
 Did we use the BOL they needed? I didn't think Rob had access to that folder?
 Driver got all the correct info on his copy he said he needed
 Was it their BOL or ours? They'll charge us... by Jordan Tidaback
 Jordan Tidaback
 3/9 4:10 PM


 Was it their BOL or ours? They'll charge us if we used ours instead of theirs.
 Not trying to be a pain, but it was like $7... by Jordan Tidaback
 Jordan Tidaback
 3/9 4:12 PM
 Not trying to be a pain, but it was like $75 last time we used ours instead of theirs.
 Captured photo The other one just like th... by Unknown User




                                                                                          Exhibit 4
                                                                      Exhibit P-43, Page 618
Appellate Case: 25-1349           Page: 2761          Date Filed: 04/07/2025 Entry ID: 5503844
Unknown User
3/9 4:13 PM




The other one just like this but corrected shipping addresses
dang it. Yeah we'll likely get charged on t... by Jordan Tidaback
Jordan Tidaback
3/9 4:13 PM


dang it. Yeah we'll likely get charged on this one. It doesn't have a lot of the info theirs does.
image by Jordan Tidaback
Jordan Tidaback
3/9 4:14 PM




Julie Ann Cureg this is where you need to o... by Russell Tidaback
3/9 4:15 PM
Russell Tidaback
Julie Ann Cureg this is where you need to only create the BOL that is needed. Having the duplicate BOLs
is confusing the guys at the location to print.
With shipper specific BOLs, it's tough to t... by Russell Tidaback
3/9 4:15 PM
Russell Tidaback
With shipper specific BOLs, it's tough to to change last minute.
Not a big deal but let's tighten up on the ... by Russell Tidaback
3/9 4:16 PM
Russell Tidaback
Not a big deal but let's tighten up on the details.
They usually send one last minute, but I th... by Jordan Tidaback
Jordan Tidaback
3/9 4:16 PM


They usually send one last minute, but I think we can get better at asking if they have a bol they want us
to use or should we use our own, when we reach out to schedule shipping. That way we know ahead of
time.
Begin Reference, Julie Ann Cureg this is wh... by Julie Ann Cureg
Julie Ann Cureg
3/9 4:16 PM


Russell Tidaback3/9/2023, 4:15 PM
Julie Ann Cureg this is where you need to only create the BOL that is needed. Having the duplicate BOLs
is confusing the guys at the location to print.
Sorry for this. They have provided number maybe they can get back for the BOL?
Julie Ann Cureg see if you can email the sh... by Russell Tidaback




                                                                                                     Exhibit 4
                                                                          Exhibit P-43, Page 619
  Appellate Case: 25-1349             Page: 2762          Date Filed: 04/07/2025 Entry ID: 5503844
3/9 4:16 PM
Russell Tidaback
Julie Ann Cureg see if you can email the shipper and let them know the wrong BOL was used. And send
them theirs
Begin Reference, Julie Ann Cureg see if you... by Julie Ann Cureg
Julie Ann Cureg
3/9 4:17 PM


Russell Tidaback3/9/2023, 4:16 PM
Julie Ann Cureg see if you can email the shipper and let them know the wrong BOL was used. And send
them theirs
I mean the driver
Us reaching out to them acknowledging the m... by Russell Tidaback
3/9 4:17 PM
Edited
Russell Tidaback
Us reaching out to them acknowledging the mistake, they may quickly make the change
The driver is gone from the location so tha... by Russell Tidaback
3/9 4:18 PM
Russell Tidaback
The driver is gone from the location so that won't work.
You'll have to email the shipper contact yo... by Russell Tidaback
3/9 4:18 PM
Russell Tidaback
You'll have to email the shipper contact you made
Contact with to pick up the order by Russell Tidaback
3/9 4:18 PM
Russell Tidaback
Contact with to pick up the order
John Spears Make sure you verify the BOL wh... by Russell Tidaback
3/9 4:20 PM
Russell Tidaback
John Spears Make sure you verify the BOL when printing.If you don't see a BOL in the folder, ask Julie An
n Cureg to create one as there may be a shipper specific one needed.

Don't assume all BOLs are the same.
Julie Ann Cureg make sure we don't create t... by Russell Tidaback
3/9 4:22 PM
Russell Tidaback
Julie Ann Cureg make sure we don't create two BOLs... okay 😉
Doing so confuses the guys we they go to print the document.

1 Like reaction.
1
Begin Reference, Julie Ann Cureg make sure ... by Julie Ann Cureg
Julie Ann Cureg
3/9 4:23 PM


Russell Tidaback3/9/2023, 4:22 PM




                                                                                            Exhibit 4
                                                                      Exhibit P-43, Page 620
 Appellate Case: 25-1349           Page: 2763         Date Filed: 04/07/2025 Entry ID: 5503844
Julie Ann Cureg make sure we don't create two BOLs... okay 😉 Doing so confuses the guys we they go to
print the document.
Ok. Sorry.

1 Like reaction.
1
Guys, remember the BOLs are very important ... by Russell Tidaback
3/9 4:26 PM
Russell Tidaback
Guys, remember the BOLs are very important in shipping. It's the official transfer of ownership and liabil
ity for the product.
When It comes to BOLs make sure these are correct!

And remember Rob won't know if it's our BOL or shipper specific. He is only tasked to make sure "a" BO
L is signed and pics are taken.
We have to give him the right paperwork.

John Spears before printing...make sure to verify with Julie Ann Cureg.
I sure will. I have wondered about the use... by John Spears
John Spears
3/9 4:31 PM


I sure will. I have wondered about the use of another company's BOL.

1 Like reaction.
1
yep. No ones fault specifically but now we ... by Russell Tidaback
3/9 4:33 PM
Russell Tidaback
yep. No ones fault specifically but now we all have a glimpse at why the Production Assistant role of QC
is important.

1 Like reaction.
1
Begin Reference, yep. No ones fault specifi... by John Spears
John Spears
3/9 4:33 PM


Russell Tidaback3/9/2023, 4:33 PM
yep. No ones fault specifically but now we all have a glimpse at why the Production Assistant role of QC
is important.
Yes sir.

1 Like reaction.
1
Begin Reference, yep. No ones fault specifi... by Unknown User




                                                                                            Exhibit 4
                                                                        Exhibit P-43, Page 621
  Appellate Case: 25-1349            Page: 2764         Date Filed: 04/07/2025 Entry ID: 5503844
Unknown User
3/9 4:39 PM


Russell Tidaback3/9/2023, 4:33 PM
yep. No ones fault specifically but now we all have a glimpse at why the Production Assistant role of QC
is important.
Sorry I didn't know
Nope, you are good. Robert Baumann T... by Russell Tidaback
3/9 4:41 PM
Russell Tidaback
Nope, you are good.
Robert

Baumann


The shipper specific BOLs are a pain to deal with.

Julie

Ann

Cureg
will make sure the right one is used moving forward.

1 Like reaction.
1
there's a lot of moving pieces to shipping,... by Russell Tidaback
3/9 4:41 PM
Russell Tidaback
there's a lot of moving pieces to shipping, especially exports.
Begin Reference, Sorry I didn't know, Rober... by Julie Ann Cureg
Julie Ann Cureg
3/9 4:41 PM


Unknown User3/9/2023, 4:39 PM
Sorry I didn't know
Are you still at the mill? If so, I need the BOL signed by the driver so I can email it to the customer.
Do you mean, is the driver still at the mil... by Russell Tidaback
3/9 4:42 PM
Edited
Russell Tidaback
Do you mean, is the driver still at the mill?
Julie

Ann

Cureg
No. I mean the scanned signed BOL by Julie Ann Cureg




                                                                                                 Exhibit 4
                                                                         Exhibit P-43, Page 622
 Appellate Case: 25-1349             Page: 2765          Date Filed: 04/07/2025 Entry ID: 5503844
Julie Ann Cureg
3/9 4:42 PM


No. I mean the scanned signed BOL
Which is they usually do by Julie Ann Cureg
Julie Ann Cureg
3/9 4:42 PM
Which is they usually do
ah... yes. Robert Baumann can you get... by Russell Tidaback
3/9 4:43 PM
Russell Tidaback
ah... yes.

Robert

Baumann
can you get the paperwork to John so he can get it scanned to
Julie

Ann

Cureg

1 Like reaction.
1
Yes by Unknown User
Unknown User
3/9 4:43 PM


Yes

1 Like reaction.
1
                                               March 10
Good morning Mill Crew.We'll continue wit... by John Spears
John Spears
3/10 7:14 AM


Good morning Mill Crew.We'll continue with DGR bulk bags.Robert Baumann task out the grease guns
please. Dryer bed, outside bearings, scrolls. Etc.

1 Like reaction.
1
Good morning John Spears . Can I have th... by Julie Ann Cureg
Julie Ann Cureg
3/10 8:40 AM




                                                                                      Exhibit 4
                                                                     Exhibit P-43, Page 623
 Appellate Case: 25-1349           Page: 2766        Date Filed: 04/07/2025 Entry ID: 5503844
Good morning
John

Spears
. Can I have the scanned signed BOL for SO-447, please? Thank you!
He is in an interview. It may be a little b... by Russell Tidaback
3/10 9:07 AM
Edited
Russell Tidaback
He is in an interview. It may be a little bit before he can get you this.

1 Like reaction.
1
Begin Reference, Good morning John Spears. ... by Unknown User
Unknown User
3/10 9:22 AM


Julie Ann Cureg3/10/2023, 8:40 AM
Good morning John Spears. Can I have the scanned signed BOL for SO-447, please? Thank you!
Also
John Spears
 did we get the new bol for the other part of SO 488 reprinted for 8 bulk bags
Ronnell Fondren where you at by Unknown User
Unknown User
3/10 10:41 AM


Ronnell Fondren
where you at
By the forklift by Unknown User
Unknown User
3/10 10:43 AM


By the forklift
Rob we're am I at? Lol by Unknown User
Unknown User
3/10 12:19 PM


Rob we're am I at? Lol
I brought beef stew for lunch. by John Spears
John Spears
3/10 12:26 PM


I brought beef stew for lunch.




                                                                                       Exhibit 4
                                                                      Exhibit P-43, Page 624
Appellate Case: 25-1349            Page: 2767         Date Filed: 04/07/2025 Entry ID: 5503844
1 Surprised reaction.
1

1 Heart reaction.
1
Begin Reference, Also John Spears did we ge... by John Spears
John Spears
3/10 1:36 PM


Unknown User3/10/2023, 9:22 AM
Also John Spears did we get the new bol for the other part of SO 488 reprinted for 8 bulk bags
I'll get that done. Thanks
                                                March 13
The electrician will be back Wednesday. We... by John Spears
John Spears
3/13 7:13 AM


The electrician will be back Wednesday. We'll continue with bulk bags today. Be sure to get a grease gun
on all high speed parts. I'll work on the upstairs.
Message by Unknown User
Unknown User
3/13 9:29 AM


Selected photo by Unknown User
Unknown User
3/13 9:29 AM


They filters are dry rott. They need replac... by Unknown User
Unknown User
3/13 9:29 AM
They filters are dry rott. They need replaced..asap

1 Like reaction.
1
We are grandfathered to allow so much... de... by Russell Tidaback
3/13 9:31 AM
Russell Tidaback
We are grandfathered to allow so much... depending on weather, wind, etc. The biggest factor is that it
dissipates before falling to the ground
Yes, we are replacing the filters. by Russell Tidaback
3/13 9:31 AM
Russell Tidaback
Yes, we are replacing the filters.
Jim Hoover you mentioned changing the one o... by Russell Tidaback
3/13 9:32 AM




                                                                                            Exhibit 4
                                                                       Exhibit P-43, Page 625
  Appellate Case: 25-1349           Page: 2768         Date Filed: 04/07/2025 Entry ID: 5503844
Russell Tidaback
Jim Hoover you mentioned changing the one or two puffing air... probably need to do this late the
afternoon if possible.
Its leaving our property I could not even ... by Jim Hoover
Jim Hoover
3/13 10:47 AM


Its leaving our property I could not even see thru it coming out green stack
Got another truck here it’s a container by RJ Williams
RJ Williams
3/13 11:50 AM


Got another truck here it’s a container
Here to pick up SO 488 by RJ Williams
RJ Williams
3/13 11:51 AM
Here to pick up SO 488
Russell TidabackJordan Tidaback John Sp... by Unknown User
Unknown User
3/13 11:53 AM


Russell Tidaback
Jordan Tidaback
John Spears

I have a guy that is needing work I've known him for 4 yrs and he is a very hard worker and always on
time, he is a good fit maintenance and other tasks as well his name is Jeremy and he just put a resume on
indeed and talked to John Spears this morning

1 Like reaction.
1
The blower motor outside, by the roll up do... by Russell Tidaback
3/13 12:14 PM
Russell Tidaback
The blower motor outside, by the roll up door by the ramp.

I'm thinking the is giving us the excess dust.

Ever since Jeff repaired that motor we've been dealing with excess dust.

Robert Baumann turn that blower motor off and let's see if this solves any excess dust issue.

1 Like reaction.
1
From what I remember, Doug had that motor d... by Russell Tidaback
3/13 12:15 PM
Russell Tidaback




                                                                                            Exhibit 4
                                                                       Exhibit P-43, Page 626
  Appellate Case: 25-1349            Page: 2769        Date Filed: 04/07/2025 Entry ID: 5503844
From what I remember, Doug had that motor disconnected.
Jeff just hooked the motor back up and ever... by Russell Tidaback
3/13 12:16 PM
Russell Tidaback
Jeff just hooked the motor back up and ever since we have been worrying about the excess dust.

It might be that motor is pushing too much air volume through the system.
Ronnell Fondren meet Max at quarry garage ... by John Spears
John Spears
3/13 12:49 PM


Ronnell Fondren meet Max at quarry garage across the street to be task trained on the Dressert loader.
Please.
K by Unknown User
Unknown User
3/13 12:53 PM


K
Captured photo Captured photo Captured phot... by Unknown User
Unknown User
3/13 12:55 PM




SO-449
Julie Ann Cureg

1 Like reaction.
1
Remember spray that container before it's l... by Unknown User
Unknown User
3/13 12:56 PM




                                                                                          Exhibit 4
                                                                     Exhibit P-43, Page 627
 Appellate Case: 25-1349           Page: 2770        Date Filed: 04/07/2025 Entry ID: 5503844
Remember spray that container before it's loaded please and thank you

1 Like reaction.
1
Begin Reference, Jeff just hooked the motor... by Unknown User
Unknown User
3/13 1:25 PM


Russell Tidaback3/13/2023, 12:16 PM
Jeff just hooked the motor back up and ever since we have been worrying about the excess dust. It might
be that motor is pushing too much air volume through the system.
It didn't help just going to shut down a lil early to go up and sweep the product that is built up causing
the problem
Media by Unknown User
Unknown User
3/13 1:28 PM


John Spears something broke inside the pul... by Unknown User
Unknown User
3/13 1:29 PM
John Spears
 something broke inside the pulverizer
Media by Unknown User
Unknown User
3/13 1:29 PM


Begin Reference, John Spears something brok... by John Spears
John Spears
3/13 1:30 PM


Unknown User3/13/2023, 1:29 PM
John Spears something broke inside the pulverizer
Ok. We'll dig into it.
Captured photo Captured photo Captured phot... by Unknown User
Unknown User
3/13 1:41 PM




                                                                                             Exhibit 4
                                                                       Exhibit P-43, Page 628
   Appellate Case: 25-1349           Page: 2771        Date Filed: 04/07/2025 Entry ID: 5503844
SO488
Julie Ann Cureg

2 Like reactions.
2
                                              March 14
Good morning crew. We'll get the hammer mi... by John Spears
John Spears
3/14 7:59 AM


Good morning crew. We'll get the hammer mill put back while the burner is warming up. We'll need to
clean off the dryer feeder belt of the big chunks. We'll then continue with bulk bags.
The Toyota forklift is repaired and is good... by Unknown User
Unknown User
3/14 8:00 AM


The Toyota forklift is repaired and is good to use

2 Like reactions.
2
Robert Baumannis this in reference to t... by Jordan Tidaback
Jordan Tidaback
3/14 8:04 AM


Robert

Baumann
 is this in reference to the horn? If so, I'll email the MSHA guys and get that citation terminated.
Begin Reference, Robert Baumann is this in ... by John Spears
John Spears
3/14 8:06 AM


Jordan Tidaback3/14/2023, 8:04 AM




                                                                                                Exhibit 4
                                                                        Exhibit P-43, Page 629
  Appellate Case: 25-1349            Page: 2772         Date Filed: 04/07/2025 Entry ID: 5503844
Robert Baumann is this in reference to the horn? If so, I'll email the MSHA guys and get that citation
terminated.
Yes. The forklift is ready for use.

1 Like reaction.
1
Begin Reference, Robert Baumann is this in ... by Unknown User
Unknown User
3/14 8:11 AM


Jordan Tidaback3/14/2023, 8:04 AM
Robert Baumann is this in reference to the horn? If so, I'll email the MSHA guys and get that citation
terminated.
Yes you can let them know it's fixed

1 Like reaction.
1
Robert Baumann John Spears Please c... by Russell Tidaback
3/14 10:39 AM
Russell Tidaback
Robert

Baumann

John

Spears

Please confirm these are available and not assigned to any SO-###.




Got it. by John Spears
John Spears
3/14 10:40 AM


Got it.
We'll check. by John Spears
John Spears
3/14 10:40 AM
We'll check.
Begin Reference, Robert Baumann John Spears... by Unknown User
Unknown User
3/14 10:53 AM


Russell Tidaback3/14/2023, 10:39 AM




                                                                                              Exhibit 4
                                                                     Exhibit P-43, Page 630
Appellate Case: 25-1349           Page: 2773         Date Filed: 04/07/2025 Entry ID: 5503844
Robert Baumann John SpearsPlease confirm these are available and not assigned to any SO-###.📷
We have 5 dgr and 0 ogr that are not assigned to orders we pulled the 10 bags for a order awhile back

1 Like reaction.
1
SO-572 is taking 4 of the DGR bags. lets ge... by Russell Tidaback
3/14 12:57 PM
Russell Tidaback
SO-572 is taking 4 of the DGR bags. lets get those ready for shipment.
                                                   March 15
Upon starting up the key has worked out of ... by Unknown User
Unknown User
3/15 8:32 AM


Upon starting up the key has worked out of the driveshaft of the feed elevator
Patrick is in a harness and headed up the l... by John Spears
John Spears
3/15 9:10 AM


Patrick is in a harness and headed up the ladder.
Captured photo Captured photo Captured phot... by Unknown User
Unknown User
3/15 9:51 AM




John Spears
 snapped this collar

1 Surprised reaction.
1
What in the world??? Is that from the Class... by Russell Tidaback
3/15 9:53 AM
Russell Tidaback
What in the world??? Is that from the Classifier Elevator?

1 Like reaction.
1

Begin Reference, 📷📷📷John Spears snapped ... by John Spears




                                                                                           Exhibit 4
                                                                      Exhibit P-43, Page 631
 Appellate Case: 25-1349           Page: 2774         Date Filed: 04/07/2025 Entry ID: 5503844
John Spears
3/15 9:55 AM


Unknown User3/15/2023, 9:51 AM
📷📷📷John Spears snapped this collar
Just like the old one.

1 Surprised reaction.
1
Still operating on the classification eleva... by Unknown User
Unknown User
3/15 10:50 AM


Still operating on the classification elevator and the guys are here trying to get the packer figured out
but ol Jim is not here
Jim is loading rock today. Jim said if yall... by Unknown User
Unknown User
3/15 11:03 AM


Jim is loading rock today. Jim said if yall need him there to let him know
Begin Reference, Jim is loading rock today.... by John Spears
John Spears
3/15 11:04 AM


Unknown User3/15/2023, 11:03 AM
Jim is loading rock today. Jim said if yall need him there to let him know
We could use him.
Ok I'll get ahold of him now by Unknown User
Unknown User
3/15 11:04 AM


Ok I'll get ahold of him now
Begin Reference, Ok I'll get ahold of him n... by John Spears
John Spears
3/15 11:04 AM


Unknown User3/15/2023, 11:04 AM
Ok I'll get ahold of him now
Thanks
Begin Reference, Still operating on the cla... by Jordan Tidaback
Jordan Tidaback
3/15 11:31 AM




                                                                                               Exhibit 4
                                                                       Exhibit P-43, Page 632
Appellate Case: 25-1349             Page: 2775         Date Filed: 04/07/2025 Entry ID: 5503844
Unknown User3/15/2023, 10:50 AM
Still operating on the classification elevator and the guys are here trying to get the packer figured out
but ol Jim is not here
Robert

Baumann
- I'm sure you've already taken care of it, but please just remember to loto the classifier elevator.

1 Like reaction.
1
Media by Unknown User
Unknown User
3/15 11:32 AM




2 Like reactions.
2
Fantastic! by John Spears
John Spears
3/15 11:33 AM


Fantastic!
Captured photo Captured photo Captured phot... by Unknown User
Unknown User
3/15 3:03 PM




SO-527
Julie Ann Cureg

2 Like reactions.
2
Captured photo Captured photo Sweeping up... by Unknown User
Unknown User
3/15 4:07 PM




                                                                                               Exhibit 4
                                                                       Exhibit P-43, Page 633
Appellate Case: 25-1349             Page: 2776         Date Filed: 04/07/2025 Entry ID: 5503844
Sweeping up by palletizer and we have live wires coming thru the floor sparked thru the broom shutting
this area off
Media by Unknown User
Unknown User
3/15 4:07 PM


I'll be darn! by John Spears
John Spears
3/15 4:27 PM


I'll be darn!
Begin Reference, 📷📷Sweeping up by palleti... by John Spears
John Spears
3/15 4:28 PM
Unknown User3/15/2023, 4:07 PM
📷📷Sweeping up by palletizer and we have live wires coming thru the floor sparked thru the broom
shutting this area off
We'll have to find out where they're coming from.
Begin Reference, 📷 📷 Swee... by John Spears
John Spears
3/15 4:29 PM
Unknown User3/15/2023, 4:07 PM
📷 📷 Sweeping up by palletizer and we have live wires coming thru the floor sparked thru the broom
shutting this area off
I wonder how long it'sbeen like that?
Ask Jim if he knows if a machine was at tha... by Russell Tidaback
3/15 4:33 PM
Russell Tidaback
Ask Jim if he knows if a machine was at that location during his employment.

Is this area on your right as you are walking from the bagger stand to the control room?

What would be on the first floor in that area? The tube mill gear box?
but yes, we need to find the breaker that c... by Russell Tidaback
3/15 4:35 PM
Russell Tidaback
but yes, we need to find the breaker that controls those wires and if not used for anything else, lock it
out until we can get the wires removed.In the meantime, do we have any rubberized dip like you dip
your tool handle in to pour over the wires to protect from shocking anyone?
Begin Reference, I wonder how long it's bee... by Unknown User
Unknown User




                                                                                               Exhibit 4

                                                                        Exhibit P-43, Page 634
   Appellate Case: 25-1349            Page: 2777        Date Filed: 04/07/2025 Entry ID: 5503844
3/15 4:35 PM


John Spears3/15/2023, 4:29 PM
I wonder how long it's been like that?
I will cut power to the whole building in the morning and solve the issue I'm just thankful no one
stepped on it
stepping on it with boots on wouldnt shock ... by Russell Tidaback
3/15 4:36 PM
Russell Tidaback
stepping on it with boots on wouldnt shock you... walking across barefoot... yes then it would.
go ahead and tape the area off to keep peop... by Russell Tidaback
3/15 4:37 PM
Russell Tidaback
go ahead and tape the area off to keep people from walking near it until we can find what circuit breaker
its on.
That's what we'll do.I thought I'd seen a... by John Spears
John Spears
3/15 4:41 PM


That's what we'll do.I thought I'd seen all ofthe oddities here at the mill.We'll get it traced down.Glad it
was discovered.
lol... that place is crazy! by Russell Tidaback
3/15 4:42 PM
Russell Tidaback
lol... that place is crazy!
Yep, glad it was discovered and no one got ... by Russell Tidaback
3/15 4:47 PM
Russell Tidaback
Yep, glad it was discovered and no one got hurt by it.

find where the wires are, trace the wire run back to the breaker box, make sure the power is turned off,
remove the wires and conduit. Not a big deal but still something someone should have done back when
they cut the wires at the floor when they removed whatever machine was there.

If thats where I think the pics are... that was back when they installed the palletizer... in the late 1980s-
early 1990s. ridiculous...

1 Like reaction.
1
I have a maintenance guy that wants to work... by Unknown User
Unknown User
3/15 7:48 PM


I have a maintenance guy that wants to work as soon as possible, his name is Jeremy
We have spoken with Jeremy. by Russell Tidaback
3/15 8:55 PM
Russell Tidaback




                                                                                                 Exhibit 4
                                                                          Exhibit P-43, Page 635
  Appellate Case: 25-1349             Page: 2778          Date Filed: 04/07/2025 Entry ID: 5503844
We have spoken with Jeremy.
Begin Reference, We have spoken with Jeremy... by Unknown User
Unknown User
3/15 9:09 PM


Russell Tidaback3/15/2023, 8:55 PM
We have spoken with Jeremy.
Ok
                                                 March 16
Begin Reference, I will cut power to the wh... by Russell Tidaback
3/16 5:24 AM
Russell Tidaback
Unknown User3/15/2023, 4:35 PM
I will cut power to the whole building in the morning and solve the issue I'm just thankful no one
stepped on it
Robert BaumannWe don't need to shut the building down.Tape off the area so no one can step on it or ne
ar it.

We need to run production.

John will troubleshoot where the wires are and deal with it.

Those wires have obviously been there like that for approximately 30+ years.

Ridiculous, I know but now we are aware of the issue it will be addressed. Just keep it taped off, throw so
me Tripoli back over the exposed wires to create a barrier as a precaution so nothing will fall across the
wires and start a fire. Nothing crazy but a couple handfuls should be enough.

I still can't believe someone, probably the palletizer installers, cut the wires at the floor but didn't think t
o follow up on the other side of the floor.That's just unprofessional and dangerous.

John Spears please troubleshoot this today. At a minimum find out where the wires run to and see if that
circuit is powering anything else. If nothing, turn that breaker off and loto it. Then let's discuss the wire
run removal.
Russell Tidaback I'll find the wire for sur... by John Spears
John Spears
3/16 6:34 AM


Russell Tidaback I'll find the wire for sure. Jim said it is a rubber flex conduit.
Oh nice. Thanks john. by Russell Tidaback
3/16 6:47 AM
Russell Tidaback
Oh nice. Thanks john.
Packer still not operational so going back ... by Unknown User
Unknown User
3/16 8:30 AM


Packer still not operational so going back to producing bulk bags
Begin Reference, Packer still not operation... by John Spears



                                                                                                  Exhibit 4
                                                                           Exhibit P-43, Page 636
  Appellate Case: 25-1349              Page: 2779          Date Filed: 04/07/2025 Entry ID: 5503844
John Spears
3/16 8:33 AM


Unknown User3/16/2023, 8:30 AM
Packer still not operational so going back to producing bulk bags
Mr. Ulmer is coming back this morning.
John Spears the burner issues have gotten ... by Unknown User
Unknown User
3/16 9:23 AM


John Spears
 the burner issues have gotten to the point of not staying lit every time I reset it and get the control
motor to work it keeps kicking it off
Begin Reference, John Spears the burner iss... by John Spears
John Spears
3/16 9:25 AM


Unknown User3/16/2023, 9:23 AM
John Spears the burner issues have gotten to the point of not staying lit every time I reset it and get the
control motor to work it keeps kicking it off
Ok. I'll look at it.
Captured photo Captured photo Captured phot... by Unknown User
Unknown User
3/16 11:30 AM




The plate than ran across the front of the hammer mill caught and tore up so the hammer mill is down
Pretty sure I can fix. by John Spears
John Spears
3/16 12:13 PM


Pretty sure I can fix.

1 Like reaction.
1




                                                                                                Exhibit 4
                                                                        Exhibit P-43, Page 637
 Appellate Case: 25-1349             Page: 2780         Date Filed: 04/07/2025 Entry ID: 5503844
Then why is it not done yet sir? by Unknown User
Unknown User
3/16 12:15 PM


Then why is it not done yet sir?
Lol by Unknown User
Unknown User
3/16 12:15 PM
Lol
Patrick Lewis I loaded a whole pallet of 1... by John Spears
John Spears
3/16 12:29 PM


Patrick Lewis I loaded a whole pallet of 100 pounders all by myself. Those electrician guys worked me
like a rented mule.

2 Laugh reactions.
2
Whoa big fellow, it surprisibgly gets easi... by Unknown User
Unknown User
3/16 12:31 PM


Whoa big fellow, it surprisibgly gets easier the more you stack lol
Alright! Let's get this hammer mill back t... by John Spears
John Spears
3/16 2:48 PM


Alright! Let's get this hammer mill back together.
                                                  March 17
While the burner is warming up let's get th... by John Spears
John Spears
3/17 7:12 AM


While the burner is warming up let's get the grease guns and get scroll bearings, classifier on the catwalk
bearings, packer bearings. We're going to pack 100 pounders today. We need pallets and slip sheets.
John Spears been trying to get the burner ... by Unknown User
Unknown User
3/17 7:43 AM


John Spears
 been trying to get the burner to light for awhile now keeps throwing a low fire alarm
Captured photo I've reset and powered off... by Unknown User
Unknown User
3/17 8:12 AM




                                                                                             Exhibit 4
                                                                         Exhibit P-43, Page 638
  Appellate Case: 25-1349            Page: 2781          Date Filed: 04/07/2025 Entry ID: 5503844
I've reset and powered off everything multiple times
John Spears
I figured as much with a cold morning. We'... by John Spears
John Spears
3/17 8:13 AM


I figured as much with a cold morning. We'll keep trying.

1 Like reaction.
1
John Spears May need to remove the flam... by Russell Tidaback
3/17 8:29 AM
Russell Tidaback
John

Spears
May need to remove the flame rod, Jim will know, and clean it off with an emery cloth.It may have
carbon build up on it, just enough to block the air flow sensed telling the sensor of "low fire".
Since the air temp is 42 degrees, just like... by Russell Tidaback
3/17 8:30 AM
Russell Tidaback
Since the air temp is 42 degrees, just like a mechanical choke on an old car, the choke plates/vanes are
probably closed.
Begin Reference, John Spears May need to re... by John Spears
John Spears
3/17 8:37 AM


Russell Tidaback3/17/2023, 8:29 AM
John Spears May need to remove the flame rod, Jim will know, and clean it off with an emery cloth. It
may have carbon build up on it, just enough to block the air flow sensed telling the sensor of "low…
Is the flame rod different from the 5 volt sensor rods?
                                                 March 20
Goooooooood Morning too Everyone! This is W... by Unknown User
Unknown User
3/20 4:58 AM


Goooooooood Morning too Everyone! This is WIll BE a great week

1 Like reaction.
1

1 Heart reaction.




                                                                                             Exhibit 4

                                                                      Exhibit P-43, Page 639
  Appellate Case: 25-1349           Page: 2782        Date Filed: 04/07/2025 Entry ID: 5503844
1

It will be a great week! 👍 ThanksRonnell... by Russell Tidaback
3/20 5:05 AM
Russell Tidaback
It will be a great week! 👍 Thanks Ronnell Fondren
Begin Reference, It will be a great week! �... by Unknown User
Unknown User
3/20 5:06 AM


Russell Tidaback3/20/2023, 5:05 AM
It will be a great week! 👍 Thanks Ronnell Fondren
Yw
What's this the cheer squad? Lol. It's 5 in... by Unknown User
Unknown User
3/20 5:40 AM


What's this the cheer squad? Lol. It's 5 in the morning boys Th is really going on ronnell?
Lol by Unknown User
Unknown User
3/20 5:41 AM
Lol
Begin Reference, What's this the cheer squa... by Unknown User
Unknown User
3/20 6:17 AM


Unknown User3/20/2023, 5:40 AM
What's this the cheer squad? Lol. It's 5 in the morning boys Th is really going on ronnell?
Lol..
Well technically I could have said that at ... by Unknown User
Unknown User
3/20 6:20 AM
Well technically I could have said that at 0400, but I figured I'd let yal get more time in with your pillows
Begin Reference, Goooooooood Morning too Ev... by John Spears
John Spears
3/20 6:49 AM


Unknown User3/20/2023, 4:58 AM
Goooooooood Morning too Everyone! This is WIll BE a great week
Good morning to y'all as well. I'm encouraged to have a good week as well. Mr. Longan will be here at
8am and get the burner/furnace working properly. We'll get paper sacks, slip sheets and pallets ready so
we can pack 100 pounders. We're on boarding three new team members today. Be careful driving in
today.
Begin Reference, Good morning to y'all as w... by Unknown User
Unknown User
3/20 6:53 AM




                                                                                               Exhibit 4
                                                                         Exhibit P-43, Page 640
    Appellate Case: 25-1349           Page: 2783         Date Filed: 04/07/2025 Entry ID: 5503844
John Spears3/20/2023, 6:49 AM
Good morning to y'all as well. I'm encouraged to have a good week as well. Mr. Longan will be here at
8am and get the burner/furnace working properly. We'll get paper sacks, slip sheets and pallets ready…
John is bringing donuts this morning lol
Hey now we don't play about donuts now lol.... by Unknown User
Unknown User
3/20 7:05 AM


Hey now we don't play about donuts now lol.
Begin Reference, Hey now we don't play abou... by John Spears
John Spears
3/20 7:08 AM


Unknown User3/20/2023, 7:05 AM
Hey now we don't play about donuts now lol.
Really?!?!
🤣 by Unknown User
Unknown User
3/20 7:12 AM




🤣
Captured photo Captured photo Captured phot... by Unknown User
Unknown User
3/20 9:42 AM




SO-290B
Julie Ann Cureg
 20 bags OGR

1 Like reaction.
1




                                                                                          Exhibit 4
                                                                     Exhibit P-43, Page 641
   Appellate Case: 25-1349         Page: 2784        Date Filed: 04/07/2025 Entry ID: 5503844
                                                   March 21
 If it takes 4 men to dig a hole, how many m... by Unknown User
 Unknown User
 3/21 7:24 AM


 If it takes 4 men to dig a hole, how many men will it take to dig half a hole?
 The same 4 dudes digging thehole by Unknown User
 Unknown User
 3/21 7:28 AM


 The same 4 dudes digging thehole
 No wrong answer by Unknown User
 Unknown User
 3/21 7:28 AM


 No wrong answer
 Reckon I'll stay home and study then. Darn... by Unknown User
 Unknown User
 3/21 7:31 AM


 Reckon I'll stay home and study then. Darn the luck

 1 Laugh reaction.
 1
 Begin Reference, Reckon I'll stay home and ... by Unknown User
 Unknown User
 3/21 7:31 AM


 Unknown User3/21/2023, 7:31 AM
 Reckon I'll stay home and study then. Darn the luck
 Lol
 Jim Hoover Patrick Lewis RJ Williams w... by Unknown User
 Unknown User
 3/21 7:34 AM


 Jim Hoover

 Patrick Lewis

 RJ Williams
 we need to meet up in administration building at 8 am sharp
 Begin Reference, Lol, Ronnell Fondren, 3/21... by Unknown User
 Unknown User
 3/21 7:38 AM




                                                                                     Exhibit 4
                                                                      Exhibit P-43, Page 642
Appellate Case: 25-1349           Page: 2785          Date Filed: 04/07/2025 Entry ID: 5503844
Unknown User3/21/2023, 7:31 AM
Lol
Did I say something funny?or are you laughing at me? Because I don't remember clowning.
Begin Reference, Jim Hoover Patrick Lewis R... by Unknown User
Unknown User
3/21 7:38 AM
Unknown User3/21/2023, 7:34 AM
Jim Hoover Patrick Lewis RJ Williams we need to meet up in administration building at 8 am sharp
Yes sir
Begin Reference, Did I say something funny?... by Unknown User
Unknown User
3/21 7:39 AM


Unknown User3/21/2023, 7:38 AM
Did I say something funny?or are you laughing at me? Because I don't remember clowning.
I would never laugh at u
Ok good cuz I don't remember being serious ... by Unknown User
Unknown User
3/21 7:40 AM


Ok good cuz I don't remember being serious either
John Spears Russell Tidaback Jim Hoover... by Unknown User
Unknown User
3/21 10:41 AM


John Spears

Russell Tidaback

Jim Hoover

Patrick Lewis

Jordan Tidaback

RJ
 . Ok so msha seen the 10 stacking and said absolutely no so we will move to next order continuing 5
high unless
Russell Tidaback
 has a better option they stated without a platform nothing over waist high
Ok. by John Spears
John Spears
3/21 10:42 AM


Ok.
Which order are we working on? I thought Re... by Jordan Tidaback




                                                                                           Exhibit 4
                                                                    Exhibit P-43, Page 643
 Appellate Case: 25-1349          Page: 2786        Date Filed: 04/07/2025 Entry ID: 5503844
 Jordan Tidaback
 3/21 10:43 AM


 Which order are we working on? I thought RepTec was a 5-high?
 The SO-304 list as a 10 layer. by John Spears
 John Spears
 3/21 10:44 AM


 The SO-304 list as a 10 layer.
 They're both 5 highs image by Jordan Tidaback
 Jordan Tidaback
 3/21 10:46 AM


 They're both 5 highs



 Ok. That "10" confused Rob and I. Thank y... by John Spears
 John Spears
 3/21 10:48 AM


 Ok. That "10" confused Rob and I. Thank you.

 1 Surprised reaction.
 1
 The DGR part of SO-304 is also 5-highs. i... by Russell Tidaback
 3/21 11:02 AM
 Russell Tidaback
 The DGR part of SO-304 is also 5-highs.




 Begin Reference, The DGR part of SO-304 is ... by Unknown User
 Unknown User
 3/21 11:07 AM


 Russell Tidaback3/21/2023, 11:02 AM
 The DGR part of SO-304 is also 5-highs.📷
 Totally looked at it wrong our bad.
 Also, ask the MSHA inspector for the MSHA r... by Russell Tidaback
 3/21 11:07 AM
 Edited
 Russell Tidaback




                                                                                    Exhibit 4
                                                                     Exhibit P-43, Page 644
Appellate Case: 25-1349           Page: 2787         Date Filed: 04/07/2025 Entry ID: 5503844
Also, ask the MSHA inspector for the MSHA reference as to how high a pallet can be stacked.We are not
finding the reference.
OSHA reg is 8 feet... and a 100# "10-high" ... by Russell Tidaback
3/21 11:18 AM
Edited
Russell Tidaback
OSHA reg is 8 feet... and a 100# "10-high" is 61.5" tall and a 50# "10-high" is 60" tall
Robert BaumannMake sure the guys are us... by Russell Tidaback, has an attachment.
3/21 11:36 AM
Russell Tidaback
Robert

Baumann
Make sure the guys are using the proper resources to not injure themselves. Use the forklift to lower the
pallet stack to the mid-height.




Ergonomics Improvement at Surface Mines 2018-117 from the CDC.pdf
Ergonomics Improvement at Surface Mines 2018-117 from the
CDC.pdfAmerican_Tripoli_Seneca_MO > Safety and Environmental
And since we packing 100# bags, these shoul... by Russell Tidaback
3/21 11:43 AM
Russell Tidaback
And since we packing 100# bags, these should be a shared lift between two people and rotating every
few bags.Last time Jordan and I helped with hand stacking 100#s we rotated every 4 bags. One person
load the bag, two people stacking. Rotate one stacking to loading the bag, etc.

I'm sure this is what you guys are doing... just want to make sure the guys are being safe.


Begin Reference, And since we packing 100# ... by John Spears
John Spears
3/21 12:33 PM


Russell Tidaback3/21/2023, 11:43 AM
And since we packing 100# bags, these should be a shared lift between two people and rotating every
few bags. Last time Jordan and I helped with hand stacking 100#s we rotated every 4 bags. One person…
Yep. I've been helping as well.

1 Like reaction.
1
Begin Reference, And since we packing 100# ... by Unknown User
Unknown User
3/21 2:32 PM


Russell Tidaback3/21/2023, 11:43 AM




                                                                                              Exhibit 4
                                                                        Exhibit P-43, Page 645
  Appellate Case: 25-1349            Page: 2788         Date Filed: 04/07/2025 Entry ID: 5503844
And since we packing 100# bags, these should be a shared lift between two people and rotating every
few bags. Last time Jordan and I helped with hand stacking 100#s we rotated every 4 bags. One person…
Problem is we don't really have the people to do that we are running half throttle now
? Jim, Patrick, and RJ. by Russell Tidaback
3/21 2:33 PM
Russell Tidaback
? Jim, Patrick, and RJ.
I understand. 330pm still gives us an hour... by John Spears
John Spears
3/21 2:34 PM


I understand. 330pm still gives us an hour to clear the machinery.
Yep, if we follow the guidance given, 1hr s... by Russell Tidaback
3/21 2:35 PM
Russell Tidaback
Yep, if we follow the guidance given, 1hr startup, 6 hours of producing, 1hr shutdown. Thats 8 hrs a day.
The problem that I have seen is, during the... by Russell Tidaback
3/21 2:38 PM
Edited
Russell Tidaback
The problem that I have seen is, during the startup and shutdown, many think this is goof off time
instead of getting things ready for production today (startup) or getting things closed out for the day
(shutdown).

Its the mgmt teams responsibility to ensure everything gets done. Task out, verify when complete.
Begin Reference, Problem is we don't really... by Russell Tidaback
3/21 2:38 PM
Russell Tidaback
Unknown User3/21/2023, 2:32 PM
Problem is we don't really have the people to do that we are running half throttle now
How many people do you think are needed?
Robert

Baumann
If we do 1 bag per minute, switching out ev... by Russell Tidaback
3/21 2:39 PM
Russell Tidaback
If we do 1 bag per minute, switching out every 5 minutes...
I would think we were slow due to the machi... by Russell Tidaback
3/21 2:39 PM
Russell Tidaback
I would think we were slow due to the machinery, not due to the people.
at least what I see when Im there, always w... by Russell Tidaback
3/21 2:40 PM
Russell Tidaback
at least what I see when Im there, always waiting on the bin light being on.
Hey everyone we have product blowing out fi... by Jim Hoover
Jim Hoover
3/21 2:59 PM




                                                                                            Exhibit 4
                                                                        Exhibit P-43, Page 646
  Appellate Case: 25-1349            Page: 2789         Date Filed: 04/07/2025 Entry ID: 5503844
Hey everyone we have product blowing out finish good classifier
Wonder why? Plus can see back room from the... by Jim Hoover
Jim Hoover
3/21 3:04 PM
Wonder why? Plus can see back room from the palletizer wonder why? Anyone know why? Just
wondering
Probably low vacuum pressure. tube clogged ... by Russell Tidaback
3/21 3:05 PM
Russell Tidaback
Probably low vacuum pressure. tube clogged or loose filter.
Begin Reference, Probably low vacuum pressu... by John Spears
John Spears
3/21 3:07 PM


Russell Tidaback3/21/2023, 3:05 PM
Probably low vacuum pressure. tube clogged or loose filter.
Actually it is coming out of the Donaldson exhaust. May have a compromised filter.

1 Like reaction.
1
We definitely need at least one or 2 more m... by RJ Williams
RJ Williams
3/21 3:29 PM


We definitely need at least one or 2 more mill associates, between bagging and getting the pallets put to
the side to start another is very challenging rn and me and pat are burnt out

1 Like reaction.
1
Coming out of both and the vacuum system ... by Unknown User
Unknown User
3/21 3:31 PM




                                                  0:19

Coming out of both and the vacuum system upstairs is making an odd noise
John Spears

1 Like reaction.
1
Thanks by John Spears
John Spears
3/21 3:31 PM




                                                                                            Exhibit 4
                                                                       Exhibit P-43, Page 647
  Appellate Case: 25-1349           Page: 2790         Date Filed: 04/07/2025 Entry ID: 5503844
Thanks
                                                March 22
Bearing on G40 return very end on north si... by Jim Hoover
Jim Hoover
3/22 11:19 PM


Bearing on G40 return very end on north side has been out for awhile the hanger bearing right by that
needs TLC in morning the dust problem on the fourth floor needs addressed asap one of the issues is one
or more of the 30 socks has a hole or the cage is crushed letting material flow thru, the screens need
looked at and the scroll going thru flour elevator needs worked on so the material doesn't flow so far to
the east where we are getting the over flow of material .the bulk feed scroll needs patched up and the air
flow of the little mac needs looked at as well again, Quincy psi 84 to 87 all day today nothing firing and
dusty as heck inside the mill .as we all are well aware have great night and to all a good night
Uhhhhhh by Unknown User
Unknown User
3/22 11:26 PM


Uhhhhhh
What huuuhhuhuhuuhuhhu beavis by Unknown User
Unknown User
3/22 11:26 PM
What huuuhhuhuhuuhuhhu beavis

1 Laugh reaction.
1
                                                 March 23
That should be a cuePatrick Lewis that t... by Russell Tidaback
3/23 6:37 AM
Edited
Russell Tidaback
That should be a cue Patrick Lewis that there is so much more to learn about the mill.

The issues Jim brought up

1. G40 scroll bearing.
2. Dust on the 4th floor
3. Sock filters
4. Screens
5. 4th floor horizontal scroll
6. Bulk feed scroll
7. Little Mac air flow
8. Air compressor Air pressure
9. Dusty in mill

All of these items mentioned need to be prioritized and addressed accordingly.

The filter issue first. Jim, you know these filters, take a look. It's probably due to being backed up from




                                                                                                Exhibit 4
                                                                         Exhibit P-43, Page 648
   Appellate Case: 25-1349            Page: 2791         Date Filed: 04/07/2025 Entry ID: 5503844
the debris that was in the system.

The air compressor. John will take a look at it and see what's up with it.

We have to remember systems require all parts to work properly together. If one part backs up... it
should be expected for the other parts to not function correctly.

Yesterday, you cleaned out the system... now we need to get all the subsystems reset back to "zero" so
they can start to function together as a whole system.

We can't run around like chickens with their heads cut off and expect everything to magically happen all
at once.

Organizational skills, knowledge, patience and timing is how things happen efficiently.

Standing around complaining/pointing fingers won't fix anything.

As a team of people, we all need to work together to address the issues within the mill.

It's great that Jim pointed these issues out. It helps the mgmt team coordinate what needs to be
addressed.

As Patrick pointed out in a joking manner, there is a lot to learn about how the mill works...which is the
first promotion step for all mill associates.

John and Rob will devise a plan, task appropriately and together we will make today a successful day.
I'm trying to figure out the air pressure i... by Unknown User
Unknown User
3/23 7:43 AM


I'm trying to figure out the air pressure issues now
RJ Williams

Jim Hoover
 replace the g-40 bearing and we will repair the screen tomorrow evening so it can dry all weekend and
look into finished product filters.
Patrick Lewis
 please lubricate first thing while system is heating up

1 Like reaction.
1
Awesome, Rob, thanks. FYI all, we have th... by Russell Tidaback
3/23 7:57 AM
Russell Tidaback
Awesome, Rob, thanks.

FYI all, we have three new team members joining us today. Jeremy - Maintenance, Jessie - Safety, and Ale
x - Production coordinator.

It will take some time this morning to get these guys set up, but you will start seeing them today.




                                                                                              Exhibit 4
                                                                        Exhibit P-43, Page 649
  Appellate Case: 25-1349            Page: 2792         Date Filed: 04/07/2025 Entry ID: 5503844
We need to finish SO-304 from yesterday and start on SO-316.

316 is a large order. These are 10-highs... Hopefully, one of the last greater than 5 highs we have to do.

We don't advertise more than 5-highs anymore. Not to say that a customer won't order a 7-
high, for example, but...it should be seen less often.

The palletizer motor we are addressing. Hopefully, I will have that motor back to repair the palletizer he
re soon. We don't like you guys' hand stacking bags anymore than you like stacking them. Well, except fo
r Patrick Lewis, since we know he likes hand stacking bags. 😉 lol.

Talking about dust in the Mill. If we follow the instructions given, all mill windows and doors should be
open at the beginning of the shift and closed at the end of the shift. This is to help blow out any dust.

This is not only for your comfort but also as a safety precaution for dust levels. Rob, make sure this is
done. Especially on days when MSHA is there doing an air sample test... kind of makes sense right.

Make sure we are doing the daily workplace inspections, equipment inspections, etc.

Make sure we are lubricating the classifier elevator bearings and blower bearings outside... let's not
forget about these...

It will take time for these new guys to catch on... let's accept them into the team, help them learn. Keep
any negative to yourself, let them become part of the team, and let's get things done.

The weather should help with production. Let's keep an eye on the dust output and have a good day
today.
Jordan Tidaback removed Unknown User from the chat.
Jordan Tidaback
 removed
Unknown User
 from the chat.
Jordan Tidaback added Unknown User and 2 others to the chat and shared chat history from the past 7
days.
Jordan Tidaback
 added
Unknown User
 and 2 others to the chat and shared chat history from the past 7 days.
Captured photo Captured photo Captured phot... by Unknown User
Unknown User
3/23 8:50 AM




                                                                                               Exhibit 4
                                                                        Exhibit P-43, Page 650
 Appellate Case: 25-1349             Page: 2793         Date Filed: 04/07/2025 Entry ID: 5503844
Got these leaks slowed down and gained 4 psi but the whole top of the regulator on fourth floor was
blown out we desperately need one it's pouring out air way worse than it was Pat and I got the top back
on but it's leaking really bad

1 Like reaction.
1
John Spearscan we take the one off th... by Russell Tidaback
3/23 8:59 AM
Edited
Russell Tidaback

John

Spears
 can we take the one off the #2 bagger and replace this one on the fourth floor?
I believe the regulator on the unused bagge... by Russell Tidaback
3/23 9:00 AM
Russell Tidaback
I believe the regulator on the unused bagger and the one on the 4th floor vacuum pressure compressor
are the same blade regulator.
Robert BaumannThanks and yep, everywher... by Russell Tidaback
3/23 9:03 AM
Russell Tidaback
Robert

Baumann
 Thanks and yep, everywhere we hear air leaking is money being wasted. Just like a dripping water
faucet.We need to address the leaks.

If I remember correctly, Jim was tasked to create a list of everywhere he found an air leak. Did this ever
get completed?
Begin Reference, "whole top of the regulato... by John Spears
John Spears
3/23 9:04 AM


Russell Tidaback3/23/2023, 8:59 AM
"whole top of the regulator on fourth floor was blown out we desperately need one"... pic? And John
Spears can we take the one off the #2 bagger and replace this one on the fourth floor?
Jeremy and I will get those switched.

2 Like reactions.
2
perfect! by Russell Tidaback
3/23 9:05 AM
Russell Tidaback




                                                                                              Exhibit 4
                                                                       Exhibit P-43, Page 651
  Appellate Case: 25-1349           Page: 2794         Date Filed: 04/07/2025 Entry ID: 5503844
perfect!
Captured photo Just as much my fault but ... by Unknown User
Unknown User
3/23 9:10 AM




Just as much my fault but we need to keep the gate shut when we get done dumping or cleaning the pit
area
Ronnell Fondren
Begin Reference, 📷Just as much my fault bu... by Unknown User
Unknown User
3/23 9:14 AM


Unknown User3/23/2023, 9:10 AM
📷Just as much my fault but we need to keep the gate shut when we get done dumping or cleaning the
pit area Ronnell Fondren
It's open because we was going to dump another load, if you got around to crushing the rock. But I'll let
Max know..mmk
Even in-between dumping we should keep it s... by Unknown User
Unknown User
3/23 9:16 AM


Even in-between dumping we should keep it shut for liability purposes I will help keep an eye on it it's
my responsibility to make sure it's locked and shut at start up and shut down

1 Like reaction.
1
Especially from an OSHA/MSHA perspective.... by Russell Tidaback
3/23 9:27 AM
Russell Tidaback
Especially from an OSHA/MSHA perspective.Thanks guys!
Media Media by Unknown User
Unknown User
3/23 9:36 AM




Both "spares" on the packer system are set ... by Unknown User
Unknown User
3/23 9:37 AM
Both "spares" on the packer system are set up different and have different specs
John SpearsJeremy Talbert I think I noti... by Russell Tidaback



                                                                                             Exhibit 4
                                                                       Exhibit P-43, Page 652
 Appellate Case: 25-1349            Page: 2795         Date Filed: 04/07/2025 Entry ID: 5503844
 3/23 9:39 AM
 Russell Tidaback
 John Spears Jeremy Talbert I think I noticed one the last time I was there on the shelving in the
 maintenance area. Good or bad... no idea, just an fyi.
 Begin Reference, John Spears Jeremy Talbert... by John Spears
 John Spears
 3/23 9:40 AM


 Russell Tidaback3/23/2023, 9:39 AM
 John Spears Jeremy Talbert I think I noticed one the last time I was there on the shelving in the
 maintenance area. Good or bad... no idea, just an fyi.
 We'll look for it.

 1 Like reaction.
 1
 Alex Snodgrass check pallets. by John Spears
 John Spears
 3/23 10:54 AM


 Alex Snodgrass
 check pallets.
 Robert Baumann can we get someone to crush ... by Unknown User
 Unknown User
 3/23 12:06 PM


 Robert Baumann can we get someone to crush the Rock?
 Begin Reference, Robert Baumann can we get ... by Unknown User
 Unknown User
 3/23 12:18 PM


 Unknown User3/23/2023, 12:06 PM
 Robert Baumann can we get someone to crush the Rock?
 We are hand stacking so we are utilizing all mill associate's we could actually use your muscles
 Begin Reference, We are hand stacking so we... by Unknown User
 Unknown User
 3/23 12:20 PM


 Unknown User3/23/2023, 12:18 PM
 We are hand stacking so we are utilizing all mill associate's we could actually use your muscles
 You're standing outside, the primary tank isn't full..
 It's actually the quarry departments respon... by Jim Hoover
 Jim Hoover
 3/23 12:22 PM


 It's actually the quarry departments responsibility to take care of the crushing .



                                                                                               Exhibit 4
                                                                     Exhibit P-43, Page 653
Appellate Case: 25-1349           Page: 2796         Date Filed: 04/07/2025 Entry ID: 5503844
Begin Reference, It's actually the quarry d... by Unknown User
Unknown User
3/23 12:22 PM


Jim Hoover3/23/2023, 12:22 PM
It's actually the quarry departments responsibility to take care of the crushing .
Team effort but ok
                                                March 24
Captured photo Captured photo SO-576 2 bu... by Unknown User
Unknown User
3/24 11:25 AM




SO-576 2 bulk bags
Julie Ann Cureg

1 Like reaction.
1
Good deal. by John Spears
John Spears
3/24 11:25 AM


Good deal.
John Spears WHERE ARE YOU @ because I was b... by Unknown User
Unknown User
3/24 11:38 AM


John Spears WHERE ARE YOU @ because I was bagging and stacking pallets and then Rob come over
and said he would do it for me to go down and clean up what's been sitting for days and he just stood
there and didn't even do anything.
Selected photo Selected photo by Unknown User
Unknown User
3/24 11:44 AM




Seen it myself. by John Spears
John Spears




                                                                                           Exhibit 4
                                                                      Exhibit P-43, Page 654
Appellate Case: 25-1349            Page: 2797         Date Filed: 04/07/2025 Entry ID: 5503844
3/24 11:45 AM


Seen it myself.
If this has been sitting here for a few day... by Unknown User
Unknown User
3/24 11:45 AM


If this has been sitting here for a few days don't you think you should have more then one person on it?
THIS IS A TEAM EFFORT RIGHT OR IS THERE A "I" IN TEAM.
Hi John Spearscan I have the signed BO... by Julie Ann Cureg
Julie Ann Cureg
3/24 11:59 AM


Hi
John

Spears
 can I have the signed BOL for SO-576 if you already have it? Thanks!
Begin Reference, Hi John Spears can I have ... by John Spears
John Spears
3/24 12:02 PM


Julie Ann Cureg3/24/2023, 11:59 AM
Hi John Spears can I have the signed BOL for SO-576 if you already have it? Thanks!
Will do. I'm on a parts run so it'll be about 40 minutes.

1 Like reaction.
1
Alex Snodgrassmay be able to help. We b... by Jordan Tidaback
Jordan Tidaback
3/24 12:08 PM


Alex

Snodgrass
may be able to help. We briefly went over it yesterday. Alex, send me a message in the Operations chat if
you need help and we can walk through it together.

2 Like reactions.
2
Robert Baumann can you unlock gat to dump l... by Unknown User
Unknown User
3/24 1:51 PM




                                                                                            Exhibit 4
                                                                        Exhibit P-43, Page 655
  Appellate Case: 25-1349            Page: 2798         Date Filed: 04/07/2025 Entry ID: 5503844
Robert Baumann can you unlock gat to dump load of rock
Captured photo Captured photo So the doub... by Unknown User
Unknown User
3/24 4:19 PM




So the double ground screens are beyond patching got one set left and prepared for installation first
thing Monday

1 Like reaction.
1
Captured photo Isolated a major air probl... by Unknown User
Unknown User
3/24 4:20 PM



Isolated a major air problem on bottom left air solenoids on lil Mac
What do you mean by isolated? by Russell Tidaback
3/24 4:26 PM
Russell Tidaback
What do you mean by isolated?
Well air is just pouring past the valves st... by Unknown User
Unknown User
3/24 4:27 PM


Well air is just pouring past the valves straight out the stack
Okay. Do you mean you fixed the leak or tur... by Russell Tidaback
3/24 4:29 PM
Russell Tidaback
Okay. Do you mean you fixed the leak or turned off the valve to the machine, so now no air is getting to
the machine.

I'm not sure what isolated means in your message.
No we didn't fix it was going to ask John's... by Unknown User
Unknown User
3/24 4:31 PM


No we didn't fix it was going to ask John's opinion on how to deal with the issue
Ah, okay. Now that makes sense. Thanks Rob. by Russell Tidaback
3/24 4:32 PM
Russell Tidaback
Ah, okay. Now that makes sense. Thanks Rob.




                                                                                             Exhibit 4
                                                                      Exhibit P-43, Page 656
 Appellate Case: 25-1349           Page: 2799         Date Filed: 04/07/2025 Entry ID: 5503844
                                                 March 28
How are we stacking the pallets that are 10... by Unknown User
Unknown User
3/28 7:46 AM


How are we stacking the pallets that are 10 high?
Begin Reference, How are we stacking the pa... by John Spears
John Spears
3/28 8:29 AM


Unknown User3/28/2023, 7:46 AM
How are we stacking the pallets that are 10 high?
We'll be able to stack seven high then move to an elevated transfer location.
Begin Reference, We'll be able to stack sev... by Unknown User
Unknown User
3/28 8:31 AM


John Spears3/28/2023, 8:29 AM
We'll be able to stack seven high then move to an elevated transfer location.
Does this elevated platform have 3 points of contact? And even if so you still can't safely carry 100lbs up
the platform without having 3 points of comtact
Message by John Spears
John Spears
3/28 8:43 AM




1 Like reaction.
1
GOOD NEWS!!! NO 10-HIGH STACKING. WOO HOO!... by John Spears
John Spears
3/28 9:05 AM


GOOD NEWS!!! NO 10-HIGH STACKING. WOO HOO!!!
Good job today fellas. We'll continue with... by John Spears
John Spears
3/28 4:40 PM


Good job today fellas. We'll continue with SO-316. We need to weigh each pallet and write the pounds on
each pallet and a piece of paper.

1 Like reaction.
1




                                                                                              Exhibit 4
                                                                        Exhibit P-43, Page 657
  Appellate Case: 25-1349            Page: 2800         Date Filed: 04/07/2025 Entry ID: 5503844
                                                March 29
John Spears can we see about getting a new... by Unknown User
Unknown User
3/29 8:34 AM



John Spears
 can we see about getting a new bearing for the scroll on the bottom of the green monster this one is
almost to the point of not functioning and tearing up other things than the bearing
Media Media by Unknown User
Unknown User
3/29 8:35 AM




Russell TidabackJordan Tidaback leaking... by Unknown User, has attachments.
Unknown User
3/29 9:20 AM


Russell Tidaback Jordan Tidaback leaking from joints was leaking yesterday when I was down there the
1 hr
20230329_085038.jpg
20230329_085052.jpg
Needs fixed and double checked to make sure... by Unknown User
Unknown User
3/29 9:21 AM
Needs fixed and double checked to make sure no lines or joints are leaking down there thank you
Ronnell FondrenIt would be best for you... by Russell Tidaback
3/29 9:26 AM
Russell Tidaback
Ronnell

Fondren
It would be best for you to tag your direct supervisor
Robert

Baumann
, or the maintenance person
Jeremy

Talbert
, or even
John

Spears
regarding issues like this.




                                                                                            Exhibit 4
                                                                         Exhibit P-43, Page 658
  Appellate Case: 25-1349           Page: 2801           Date Filed: 04/07/2025 Entry ID: 5503844
Media by Unknown User
Unknown User
3/29 9:26 AM




Maintenance guy said it was leaking at this... by Unknown User
Unknown User
3/29 9:26 AM
Maintenance guy said it was leaking at this joint to

1 Like reaction.
1
Jeremy and I are working together on the ga... by John Spears
John Spears
3/29 9:27 AM


Jeremy and I are working together on the gas line.
Thanks John Spears by Russell Tidaback
3/29 9:30 AM
Russell Tidaback
Thanks
John

Spears
Begin Reference, Thanks John Spears, Russel... by John Spears
John Spears
3/29 9:31 AM


Russell Tidaback3/29/2023, 9:30 AM
Thanks John Spears
Yes sir. 10 pounds of gas pressure will rear its ugly head.

1 Like reaction.
1
Robert BaumannRonnell Fondren Jim Hoove... by John Spears
John Spears
3/29 3:59 PM


Robert Baumann Ronnell Fondren Jim Hoover Patrick Lewis RJ Williams Jeremy Talbert Alex Snodgrass
Jessie Molesi Jessie and Alex were really nice and got me a cake for my birthday so I got some ice cream
to go with it. Ice cream and cake in the break room.

1 Heart reaction.
1




                                                                                           Exhibit 4
                                                                        Exhibit P-43, Page 659
  Appellate Case: 25-1349            Page: 2802         Date Filed: 04/07/2025 Entry ID: 5503844
Celebrate Happy Birthday GIF by Dyanapyehch... by Jordan Tidaback
Jordan Tidaback
3/29 4:57 PM




Happy birthday 🎂. Reminder guys we are cha... by Unknown User
Unknown User
3/29 5:02 PM


Happy birthday 🎂. Reminder guys we are charging the tube Mill and sealing up the elevator first thing
in the morning. Thank you guys for all the hard work even you
Patrick Lewis

Jim Hoover




                                                                                         Exhibit 4
                                                                     Exhibit P-43, Page 660
 Appellate Case: 25-1349          Page: 2803         Date Filed: 04/07/2025 Entry ID: 5503844
                                                                      Exhibit 4
                                                       Exhibit P-43, Page 661
Appellate Case: 25-1349   Page: 2804   Date Filed: 04/07/2025 Entry ID: 5503844
Robert Baumann thank you very much. by John Spears
John Spears
3/29 5:03 PM


Robert Baumann thank you very much.
Happy Birthday John 🎂 by RJ Williams
RJ Williams
3/29 5:04 PM


Happy Birthday John 🎂
Thanks man! I appreciate ya! by John Spears
John Spears
3/29 5:04 PM


Thanks man! I appreciate ya!
Rob before you start anything in am can you... by Unknown User
Unknown User
3/29 5:07 PM


Rob before you start anything in am can you do a smell check for gas just to double check i didnt snell
anything why i left
Happy birthday John Spears Happy Birthda... by Gwen Magayanes Jalosjos
Gwen Magayanes Jalosjos
3/29 5:08 PM


Happy birthday
John Spears




                                                                                             Exhibit 4
                                                                      Exhibit P-43, Page 662
Appellate Case: 25-1349            Page: 2805         Date Filed: 04/07/2025 Entry ID: 5503844
Begin Reference, Rob before you start anyth... by Unknown User
Unknown User
3/29 5:09 PM


Unknown User3/29/2023, 5:07 PM
Rob before you start anything in am can you do a smell check for gas just to double check i didnt snell
anything why i left
For sure I appreciate you getting that fixed
Begin Reference, Happy birthday John Spears... by John Spears
John Spears
3/29 5:14 PM


Gwen Magayanes Jalosjos3/29/2023, 5:08 PM
Happy birthday John Spears 📷
Thank you very much.

1 Heart reaction.
1
                                                March 30




                                                                                             Exhibit 4
                                                                      Exhibit P-43, Page 663
Appellate Case: 25-1349            Page: 2806         Date Filed: 04/07/2025 Entry ID: 5503844
 Unknown User left the chat.
 Unknown User
  left the chat.
 Russell Tidaback added Unknown User to the chat and shared chat history from the past 3 days.
 Russell Tidaback
  added
 Unknown User
  to the chat and shared chat history from the past 3 days.
 Jessie and I are headed to the quarry and d... by John Spears
 John Spears
 3/30 11:49 AM


 Jessie and I are headed to the quarry and drying sheds for fire Extinguisher checks.
 Captured photo Captured photo Fixing to s... by Unknown User
 Unknown User
 3/30 11:51 AM




 Fixing to shut down and check the screens. System is backing up
 Ok.The trash drain tube may be clogged ag... by John Spears
 John Spears
 3/30 11:58 AM


 Ok.The trash drain tube may be clogged again.
 I cleaned it already by Unknown User
 Unknown User
 3/30 11:59 AM


 I cleaned it already
 Yes pipes are clear no exhaust pulling from... by Unknown User
 Unknown User
 3/30 12:04 PM


 Yes pipes are clear no exhaust pulling from lil Mac
 Captured photo Probably not the best fix ... by Unknown User
 Unknown User
 3/30 12:54 PM




                                                                                          Exhibit 4
                                                                    Exhibit P-43, Page 664
Appellate Case: 25-1349          Page: 2807         Date Filed: 04/07/2025 Entry ID: 5503844
Probably not the best fix but lil Mac is functioning now and must have been completely full thankfully
the wind is cooperating and trying to get it cleared out but now it's pulling the dust from the shaker now.
Thank you
Jim Hoover
 and a .60 cent bolt
Very good. by John Spears
John Spears
3/30 1:09 PM


Very good.
Russell Tidaback added Unknown User to the chat and shared chat history from the past day.
Russell Tidaback
added
Unknown User
to the chat and shared chat history from the past day.
Thank you to everybody for staying current ... by Unknown User
Unknown User
3/30 1:57 PM


Thank you to everybody for staying current with our forklift inspections and workplace exams.

2 Like reactions.
2
Link https://arlweb.msha.gov/safetypro_in_a... by Unknown User
Unknown User
3/30 3:56 PM


https://arlweb.msha.gov/safetypro_in_a_box/IG%2043%20OJT%20training%20modules%20surface%
20MNM/Module%2016%20Manual%20handling%20of%20materials.PDF Everybody Make sure to
read over this document it has good information on how to manually handle materials.

2 Like reactions.
2
Ryan Closser did you get this? by John Spears
John Spears
3/30 4:01 PM


Ryan Closser did you get this?
Before start up we all need to do stretchin... by Unknown User
Unknown User
3/30 4:13 PM


Before start up we all need to do stretching exercises for 15 minutes. It's a good practice




                                                                                              Exhibit 4
                                                                        Exhibit P-43, Page 665
  Appellate Case: 25-1349            Page: 2808         Date Filed: 04/07/2025 Entry ID: 5503844
1 Like reaction.
1
Thank you that is a great idea will help wi... by Unknown User
Unknown User
3/30 4:15 PM


Thank you that is a great idea will help with stretching some unused muscles preventing injuries.
I agree. Everyone should show up 15-20-30 m... by Russell Tidaback
3/30 4:15 PM
Russell Tidaback
I agree. Everyone should show up 15-20-30 minutes before 8am to do their stretching and get ready for
the day.
Begin Reference, Thank you that is a great ... by Unknown User
Unknown User
3/30 4:16 PM


Unknown User3/30/2023, 4:15 PM
Thank you that is a great idea will help with stretching some unused muscles preventing injuries.
Yes sir, I remember doing pt @ 4am when I was in rotc

1 Like reaction.
1
yep, the body is a machine. You dont take c... by Russell Tidaback
3/30 4:17 PM
Russell Tidaback
yep, the body is a machine. You dont take care if it and it will break down quicker than it should.
preventive maintenance prevents breakdowns.... by Russell Tidaback
3/30 4:20 PM
Russell Tidaback
preventive maintenance prevents breakdowns.It goes the same with the body.

Same principle when it comes to start up and shut down procedures... if not followed, things get missed
and over looked.

Make sure you guys perform stretching exercises every morning and evening.

As the temperatures start to change, so does what our body requires. Drink plenty of water, stretch the
muscles you know you are using, especially your legs, back, arms, and neck.

We need each and everyone of you.
                                                March 31
Happy Birthday Patrick Lewis 21 Years old t... by Jim Hoover
Jim Hoover
3/31 5:51 AM


Happy Birthday Patrick Lewis 21 Years old today or something.like that .
Happy Birthday Pat 🎂🥳 by Julie Ann Cureg




                                                                                              Exhibit 4
                                                                        Exhibit P-43, Page 666
  Appellate Case: 25-1349            Page: 2809         Date Filed: 04/07/2025 Entry ID: 5503844
 Julie Ann Cureg
 3/31 5:52 AM


 Happy Birthday Pat 🎂🥳
 Well thanks Jim. And thank you Julie as we... by Unknown User
 Unknown User
 3/31 6:15 AM


 Well thanks Jim. And thank you Julie as well
 Everyone come to the break room for a quick... by John Spears
 John Spears
 3/31 7:58 AM


 Everyone come to the break room for a quick safety meeting. Please
 Everyone Please come to the break room for ... by John Spears
 John Spears
 3/31 8:06 AM


 Everyone Please come to the break room for a quick safety meeting.
 Safety meeting in the break room. Please r... by John Spears
 John Spears
 3/31 8:12 AM


 Safety meeting in the break room. Please respond.
 Be there shortly by Unknown User
 Unknown User
 3/31 8:12 AM



 Be there shortly

 Come to the break room now please. Let's g... by John Spears

 John Spears

 3/31 8:15 AM




 Come to the break room now please. Let's get this started.

 Hi Alex SnodgrassI added the new BOL a... by Julie Ann Cureg

 Julie Ann Cureg

 3/31 8:25 AM




                                                                                    Exhibit 4
                                                                     Exhibit P-43, Page 667
Appellate Case: 25-1349          Page: 2810          Date Filed: 04/07/2025 Entry ID: 5503844
Hi

Alex



Snodgrass

I added the new BOL and Label for SO-580 to its SO folder. They will pick it up today. Thanks!



1 Like reaction.

1

What is it we have nothing picked or ready by Unknown User

Unknown User

3/31 8:28 AM




What is it we have nothing picked or ready

image by Jordan Tidaback

Jordan Tidaback

3/31 8:30 AM




Media by John Spears

John Spears

3/31 8:33 AM




                                                                                             Exhibit 4

                                                                    Exhibit P-43, Page 668
Appellate Case: 25-1349           Page: 2811        Date Filed: 04/07/2025 Entry ID: 5503844
1 Like reaction.

1

Everyone. This is an MSHA Citation. Pleas... by John Spears

John Spears

3/31 8:35 AM

Everyone. This is an MSHA Citation. Please re-hang all air hoses when finished using them. Everyone
please respond.



1 Like reaction.

1

Okay by Unknown User

Unknown User

3/31 8:41 AM




Okay

Robert Baumann Can you come to the main of... by Unknown User

Unknown User

3/31 8:46 AM




Robert Baumann

Can you come to the main office break room?



1 Like reaction.

1

Media by John Spears

John Spears

3/31 8:48 AM




                                                                                           Exhibit 4
                                                                     Exhibit P-43, Page 669
Appellate Case: 25-1349           Page: 2812         Date Filed: 04/07/2025 Entry ID: 5503844
Incase you all need a frame of reference. by John Spears

John Spears

3/31 8:48 AM

Incase you all need a frame of reference.

Captured photo Captured photo Conduit nee... by Unknown User

Unknown User

3/31 9:03 AM




Conduit needing to be repaired and a rag shoved in a moving bearing/ shaft



1 Surprised reaction.

1

Julie Ann Cureg sorry for the late confirm... by Unknown User

Unknown User

3/31 9:03 AM




Julie Ann Cureg

sorry for the late confirmation, SO-580 is ready to go



1 Like reaction.




                                                                                   Exhibit 4

                                                                     Exhibit P-43, Page 670
Appellate Case: 25-1349           Page: 2813         Date Filed: 04/07/2025 Entry ID: 5503844
1

Hmm by Russell Tidaback

3/31 9:06 AM

Russell Tidaback

Hmm

Begin Reference,          Conduit needing to be ... by Russell Tidaback

3/31 9:09 AM

Edited

Russell Tidaback

Unknown User3/31/2023, 9:03 AM

         Conduit needing to be repaired and a rag shoved in a moving bearing/ shaft

Put some yellow caution tape up around the Conduit until it can be repaired.So no one steps on it or
around it.Thanks guysRyan Closser Jeremy Talbert

Do we have any more safety mask, the one I ... by Unknown User

Unknown User

3/31 9:26 AM




Do we have any more safety mask, the one I have is no good..

Yes by John Spears

John Spears

3/31 9:27 AM




Yes



1 Like reaction.

1

Everyone make sure to have all the doors an... by Unknown User

Unknown User




                                                                                           Exhibit 4
                                                                      Exhibit P-43, Page 671
Appellate Case: 25-1349             Page: 2814        Date Filed: 04/07/2025 Entry ID: 5503844
3/31 11:52 AM




Everyone make sure to have all the doors and windows open anytime the mill is operating AND have all
the exhaust fans on.




Ronnell FondrenI have an N95 mask i can... by Unknown User

Unknown User

3/31 11:53 AM

Ronnell



Fondren

I have an N95 mask i can bring to you

Did they recheck air since we have gotten a... by Unknown User

Unknown User

3/31 11:53 AM




Did they recheck air since we have gotten air system running better

Its not near as dusty as was a week ago by Unknown User

Unknown User

3/31 11:54 AM

Its not near as dusty as was a week ago

No the air has not been rechecked yetby Unknown User

Unknown User

3/31 11:54 AM




No the air has not been rechecked yet

Might be a thought before having to buy the... by Unknown User



                                                                                         Exhibit 4
                                                                     Exhibit P-43, Page 672
 Appellate Case: 25-1349           Page: 2815        Date Filed: 04/07/2025 Entry ID: 5503844
Unknown User

3/31 11:55 AM




Might be a thought before having to buy these expensive respirators just to see if improved any



1 Like reaction.

1

Ronnell Fondren please see Rob. Crushing is... by John Spears

John Spears

3/31 12:40 PM

Edited




Ronnell Fondren please see Rob. Crushing is not needed at this moment. Thanks.

I understand. You need to communicate your intentions with Rob before moving to another task/job
area. He may have a different assignment for you.



1 Like reaction.

1

Cake and ice cream in the break room for Pa... by John Spears

John Spears

3/31 4:00 PM




Cake and ice cream in the break room for Patrick's birthday.

Happy Birthday Smile GIF by Travis Foster... by Jordan Tidaback

Jordan Tidaback

3/31 4:01 PM




                                                                                           Exhibit 4
                                                                    Exhibit P-43, Page 673
Appellate Case: 25-1349           Page: 2816        Date Filed: 04/07/2025 Entry ID: 5503844
April 3

Good morning Crew! Let's continue with SO-... by John Spears

John Spears

4/3 7:03 AM




Good morning Crew! Let's continue with SO-316. We're about to finish the OGR for this order. Be sure to
check in with your Safety exams.



3 Like reactions.

3




                                                                                          Exhibit 4
                                                                     Exhibit P-43, Page 674
    Appellate Case: 25-1349        Page: 2817        Date Filed: 04/07/2025 Entry ID: 5503844
I'm in the mill. by John Spears

John Spears

4/3 8:05 AM




I'm in the mill.

Everyone be weather wise tomorrow... ... by Russell Tidaback

4/3 10:49 PM

Russell Tidaback

Everyone be weather wise tomorrow...




1 Like reaction.

1

April 4

Everyone done very well yesterday. Let's k... by John Spears

John Spears

4/4 7:15 AM




Everyone done very well yesterday. Let's keep this going. Keep an eye out for hazards. Let's keep up with
the safety exams.



1 Like reaction.

1

Taking Ronnell to quarry. by John Spears

John Spears

4/4 8:10 AM




                                                                                            Exhibit 4
                                                                      Exhibit P-43, Page 675
    Appellate Case: 25-1349         Page: 2818        Date Filed: 04/07/2025 Entry ID: 5503844
Taking Ronnell to quarry.

Good job today everyone. I realize we were... by John Spears

John Spears

4/4 5:10 PM




Good job today everyone. I realize we were a man short but y'all stepped up and we had a good day.
We'll continue with OGR for our next order. Then we have a couple of cream orders. I drove everyone of
the forklifts today. Did an exam on each. Hope you all are doing the same. If you see a potential problem,
let Rob know and he'll contact a maintenance man. Thanks again.



1 Like reaction.

1

April 5

2 loads of rock is being brought down from ... by Unknown User

Unknown User

4/5 7:10 AM




2 loads of rock is being brought down from the dry sheds

That's nice lol thanks sir by Unknown User

Unknown User

4/5 7:31 AM




That's nice lol thanks sir

Good morning Alex Snodgrass John Spe... by Julie Ann Cureg

Julie Ann Cureg

4/5 9:14 AM




Good morning




                                                                                            Exhibit 4
                                                                      Exhibit P-43, Page 676
    Appellate Case: 25-1349         Page: 2819        Date Filed: 04/07/2025 Entry ID: 5503844
Alex



Snodgrass



John



Spears

 just a heads up. SO-594 will be picked up today. They didn't give a specific pick-up time but per carrier, it
should be noon. Just waiting for the BOL from the carrier to send it back to us they are just doing a quick
revision.



1 Like reaction.

1

Julie Ann CuregWho is the trucking co... by Russell Tidaback

4/5 9:23 AM

Russell Tidaback

Julie



Ann



Cureg

Who is the trucking company, so we know who to look for?

It's Primo. I added it to the Prod Calendar by Julie Ann Cureg

Julie Ann Cureg

4/5 9:26 AM




It's Primo. I added it to the Prod Calendar



1 Like reaction.




                                                                                                Exhibit 4
                                                                        Exhibit P-43, Page 677
    Appellate Case: 25-1349          Page: 2820         Date Filed: 04/07/2025 Entry ID: 5503844
1

Alex Snodgrass John SpearsI just ad... by Julie Ann Cureg

Julie Ann Cureg

4/5 9:29 AM

Alex



Snodgrass



John



Spears

I just added the Bag Label and BOL. Ready for printing.

Julie Ann Cureg we're using Primo's BOL on... by John Spears

John Spears

4/5 9:40 AM




Julie Ann Cureg we're using Primo's BOL only and not one of ours. Correct?

Yes. I deleted ours by Julie Ann Cureg

Julie Ann Cureg

4/5 9:41 AM




Yes. I deleted ours

Very good. Thank you. by John Spears

John Spears

4/5 9:41 AM




Very good. Thank you.




                                                                                   Exhibit 4
                                                                     Exhibit P-43, Page 678
Appellate Case: 25-1349            Page: 2821        Date Filed: 04/07/2025 Entry ID: 5503844
1 Heart reaction.

1

We'll have it ready in 30 minutes. by John Spears

John Spears

4/5 9:41 AM

We'll have it ready in 30 minutes.



1 Heart reaction.

1

April 6

Robert Baumann someone needs to check and m... by Unknown User

Unknown User

4/6 12:00 PM




Robert Baumann someone needs to check and make sure the primary tank isn't low, and if it is then,
rock will need to be sent up. Please n thank u

The primary rose tank is a little below hal... by John Spears

John Spears

4/6 12:02 PM




The primary rose tank is a little below half when I checked at 1030am today. Auxiliary tank is full.

Yep I am planning on Jim crushing this AF by Unknown User

Unknown User

4/6 12:04 PM




Yep I am planning on Jim crushing this AF




                                                                                               Exhibit 4
                                                                      Exhibit P-43, Page 679
Appellate Case: 25-1349              Page: 2822       Date Filed: 04/07/2025 Entry ID: 5503844
Very good. by John Spears

John Spears

4/6 12:04 PM




Very good.

Begin Reference, Yep I am planning on Jim c... by Unknown User

Unknown User

4/6 12:05 PM




Unknown User4/6/2023, 12:04 PM

Yep I am planning on Jim crushing this AF

Gotcha, well I already started it when everyone took break

Ronnell Fondren thank you but you need ... by John Spears

John Spears

4/6 12:07 PM




Ronnell



Fondren

thank you but you need to communicate with

Robert



Baumann

before you move to anotherarea.

Ronnell Fondren I discussed speaking with ... by Unknown User

Unknown User

4/6 12:08 PM




                                                                                  Exhibit 4
                                                                    Exhibit P-43, Page 680
Appellate Case: 25-1349           Page: 2823        Date Filed: 04/07/2025 Entry ID: 5503844
Ronnell Fondren

I discussed speaking with

John Spears

or I about tasking assignments

Very good. by John Spears

John Spears

4/6 12:08 PM




Very good.

Mmmmmk by Unknown User

Unknown User

4/6 12:09 PM




Mmmmmk

Begin Reference, Ronnell Fondren I discusse... by Unknown User

Unknown User

4/6 12:11 PM

Unknown User4/6/2023, 12:08 PM

Ronnell Fondren I discussed speaking with John Spears or I about tasking assignments

Why is it that when I take initiative there's always this and that, when no one else has been on top of it
but "ME".. but it's whatev..

Since we're trying to establish a culture o... by John Spears

John Spears

4/6 12:12 PM




                                                                                              Exhibit 4

                                                                       Exhibit P-43, Page 681
 Appellate Case: 25-1349            Page: 2824         Date Filed: 04/07/2025 Entry ID: 5503844
Since we're trying to establish a culture of safety, we need to know were everyone is incase someone
needs help.Personal initiative is great but we need to communicate with the chain of command for
safety first.

Ronnell Fondren everything is still runnin... by Unknown User

Unknown User

4/6 12:13 PM




Ronnell Fondren

everything is still running we can't just walk off of especially this "crushing"

Begin Reference, Ronnell Fondren everything... by Unknown User

Unknown User

4/6 12:16 PM




Unknown User4/6/2023, 12:13 PM

Ronnell Fondren everything is still running we can't just walk off of especially this "crushing"

I didn't just walk off, I was told it was break and that the tank light was on n it needed to fill up n that
whoever was feeding stopped. So when every disbursed I started the crusher up. So no I just don't walk
off

Image Image Image Image Image by RJ Williams

RJ Williams

4/6 3:51 PM




                                                                                                Exhibit 4
                                                                        Exhibit P-43, Page 682
 Appellate Case: 25-1349             Page: 2825         Date Filed: 04/07/2025 Entry ID: 5503844
2 Like reactions.

2

SO-594 has been shipped by RJ Williams

RJ Williams

4/6 3:51 PM

SO-594 has been shipped

April 7

Good morning Crew!We'll continue with the... by John Spears

John Spears

4/7 6:49 AM




Good morning Crew!We'll continue with the OGR and finish SO-
323.The next order is OGR as well.Jeremy Talbert and I will look at the packer nozzle and try to figure out
why the "fill assist" air will not shut off. I'll move the bulk bags of Rose over to the quarry garage.Ronnell
Fondren will be at the quarry today. Let's have a good Friday on Good Friday.



1 Like reaction.

1

Power surge everything kicked out DANG it w... by Unknown User

Unknown User

4/7 9:09 AM




Power surge everything kicked out DANG it we are trying to reset everything




                                                                                                Exhibit 4
                                                                        Exhibit P-43, Page 683
    Appellate Case: 25-1349          Page: 2826         Date Filed: 04/07/2025 Entry ID: 5503844
1 Like reaction.

1

Captured photo Someone hit some lines dow... by Unknown User

Unknown User

4/7 9:25 AM




Someone hit some lines down the street we are shut down for a awhile



2 Surprised reactions.

2



1 Like reaction.

1

Got the thumbs up now going to try to fire ... by Unknown User

Unknown User

4/7 10:03 AM




Got the thumbs up now going to try to fire back up and get everything unclogged

Good deal. by John Spears

John Spears

4/7 10:08 AM




Good deal.

We're getting 250 HT Large this coming Mond... by John Spears




                                                                                  Exhibit 4
                                                                   Exhibit P-43, Page 684
Appellate Case: 25-1349          Page: 2827        Date Filed: 04/07/2025 Entry ID: 5503844
John Spears

4/7 10:11 AM

We're getting 250 HT Large this coming Monday.



1 Like reaction.

1

Jeremy Talbert please come to bagger by Unknown User

Unknown User

4/7 12:21 PM




Jeremy Talbert

please come to bagger

▓ Somehow this plastic bag made its way ... by John Spears

John Spears

4/7 1:50 PM




▓
Somehow this plastic bag made its way up to flour elevator to the 4th floor and plugged up the
shaker/vibrator. We need to police up the trash and dispose properly. Thanks.



1 Like reaction.

1

Message by John Spears

John Spears

4/7 1:50 PM




Good point of reference to really watch whi... by Unknown User

Unknown User




                                                                                           Exhibit 4
                                                                   Exhibit P-43, Page 685
Appellate Case: 25-1349          Page: 2828        Date Filed: 04/07/2025 Entry ID: 5503844
4/7 1:56 PM




Good point of reference to really watch while crushing

by John Spears

John Spears

4/7 2:29 PM




                                                                                  Exhibit 4
                                                                    Exhibit P-43, Page 686
Appellate Case: 25-1349           Page: 2829        Date Filed: 04/07/2025 Entry ID: 5503844
Here are a few examples. Before we go home... by John Spears

John Spears

4/7 2:32 PM

Here are a few examples. Before we go home today everyone needs to scour the mill and pick up the
trash please. I appreciate y'all's hard work and I enjoy providing soda every now and then but we gotta
keep the trash picked up. Thanks.



1 Like reaction.

1

Message by John Spears

John Spears

4/7 3:09 PM




I picked these off of the pick belt before ... by John Spears

John Spears

4/7 3:14 PM

I picked these off of the pick belt before they went into the pulverizer. Whoever is tasked to operate the
crusher please keep an eye out for big flint rocks. As you can see from the size of these they originally
came from a bigger piece before it went through the crusher. Flint rocks this size can really reek havoc on
the pulverizer. Thanks.

Everyone make sure to shave over the weeken... by Unknown User

Unknown User

4/7 3:45 PM




Everyone make sure to shave over the weekend so i can do a fit test Monday morning. Rob will send you
over one at a time so not to interfere with production.




                                                                                             Exhibit 4

                                                                         Exhibit P-43, Page 687
    Appellate Case: 25-1349           Page: 2830         Date Filed: 04/07/2025 Entry ID: 5503844
1 Like reaction.

1

Mustaches are fineby Unknown User

Unknown User

4/7 3:46 PM

Mustaches are fine

Unless you have a mask that can properly fi... by Unknown User

Unknown User

4/7 3:47 PM

Unless you have a mask that can properly fit to your face with facial hair

April 10

Good morning crew. We'll continue with OGR... by John Spears

John Spears

4/10 7:04 AM




Good morning crew. We'll continue with OGR. It's a pretty big order. Be sure to do your forklift and work
area safety exams. Ronnell is out sick today. He'll be in the quarry the rest of the week. Jeremy is out
today so Ryan will be the only maintenance person. Jessie will try to get everyone fit tested for masks
today. Let's have a good Monday.



1 Like reaction.

1

Begin Reference, Here are a few examples. ... by Russell Tidaback

4/10 7:10 AM

Russell Tidaback

John Spears4/7/2023, 2:32 PM

Here are a few examples. Before we go home today everyone needs to scour the mill and pick up the
trash please. I appreciate y'all's hard work and I enjoy providing soda every now and then but we gotta
keep the trash picked up. Thanks.




                                                                                            Exhibit 4
                                                                       Exhibit P-43, Page 688
    Appellate Case: 25-1349         Page: 2831         Date Filed: 04/07/2025 Entry ID: 5503844
This should be common sense, but even MSHA makes it a requirement:




Begin Reference, Good morning crew. We'll c... by Unknown User

Unknown User

4/10 7:41 AM




John Spears4/10/2023, 7:04 AM

Good morning crew. We'll continue with OGR. It's a pretty big order. Be sure to do your forklift and work
area safety exams. Ronnell is out sick today. He'll be in the quarry the rest of the week. Jeremy…

Jim is off today and not here also

John Spears

we may have to reschedule the fit tests for tomorrow



1 Like reaction.

1

Begin Reference, Jim is off today and not h... by John Spears

John Spears

4/10 7:43 AM




Unknown User4/10/2023, 7:41 AM

Jim is off today and not here also John Spears we may have to reschedule the fit tests for tomorrow

Sounds good

Copy that by Unknown User

Unknown User

4/10 7:44 AM




                                                                                            Exhibit 4
                                                                      Exhibit P-43, Page 689
    Appellate Case: 25-1349          Page: 2832       Date Filed: 04/07/2025 Entry ID: 5503844
Copy that

So only me & pat stacking today by RJ Williams

RJ Williams

4/10 7:44 AM




So only me & pat stacking today

Hell yeah. I'm on my way ladies don't trip... by Unknown User

Unknown User

4/10 7:48 AM




Hell yeah. I'm on my way ladies don't trip lol

Begin Reference, So only me & pat stacking ... by John Spears

John Spears

4/10 8:01 AM




RJ Williams4/10/2023, 7:44 AM

So only me & pat stacking today

I'll help you.



1 Laugh reaction.

1

Got this big john by Unknown User

Unknown User

4/10 8:02 AM




                                                                                  Exhibit 4

                                                                    Exhibit P-43, Page 690
 Appellate Case: 25-1349           Page: 2833       Date Filed: 04/07/2025 Entry ID: 5503844
Got this big john



1 Eyes reaction.

1

We gone see by RJ Williams

RJ Williams

4/10 8:03 AM




We gone see

Damn all I'm hearing is some whining sound ... by Unknown User

Unknown User

4/10 8:27 AM




Damn all I'm hearing is some whining sound like a bunch of I won't mention in here. Your get the gist

Bet by RJ Williams

RJ Williams

4/10 8:31 AM




Bet

Do you guys miss me just know i would rathe... by Unknown User

Unknown User

4/10 9:13 AM




Do you guys miss me just know i would rather be there than with yall than having to going to dr

Begin Reference, Do you guys miss me just k... by John Spears

John Spears

4/10 9:19 AM




                                                                                            Exhibit 4
                                                                    Exhibit P-43, Page 691
Appellate Case: 25-1349           Page: 2834        Date Filed: 04/07/2025 Entry ID: 5503844
Unknown User4/10/2023, 9:13 AM

Do you guys miss me just know i would rather be there than with yall than having to going to dr

You take care.

Begin Reference, Do you guys miss me just k... by Unknown User

Unknown User

4/10 9:22 AM




Unknown User4/10/2023, 9:13 AM

Do you guys miss me just know i would rather be there than with yall than having to going to dr

What's up with this packer did it start messing up late Friday it's over filling not shutting off

Rob I found a valve closed coming right off... by Unknown User

Unknown User

4/10 9:28 AM




Rob I found a valve closed coming right off of the air dryer should be good to go now

Begin Reference, Rob I found a valve closed... by Unknown User

Unknown User

4/10 9:34 AM




Unknown User4/10/2023, 9:28 AM

Rob I found a valve closed coming right off of the air dryer should be good to go now

Thank you VERY IMPORTANT if we shut a valve off that normally doesn't get closed PLEASE let everyone
know

Not sure what valve hes talking about only ... by Unknown User

Unknown User

4/10 9:38 AM




                                                                                                    Exhibit 4

                                                                         Exhibit P-43, Page 692
  Appellate Case: 25-1349            Page: 2835          Date Filed: 04/07/2025 Entry ID: 5503844
Not sure what valve hes talking about only valve on packer that we are shutting off is on air supply the
one i installed thursday

Captured photo Also bearing in the filler... by Unknown User

Unknown User

4/10 9:49 AM




Also bearing in the filler screw will need replaced very soon losing a lot of product while filling and even
pouring out while not turning

Begin Reference,     Also bearing in the fill... by John Spears

John Spears

4/10 9:50 AM




Unknown User4/10/2023, 9:49 AM

   Also bearing in the filler screw will need replaced very soon losing a lot of product while filling and
even pouring out while not turning

Thank you.

I noticed this friday i was gonna see about... by Unknown User

Unknown User

4/10 9:57 AM




I noticed this friday i was gonna see about doing it Saturday when i make up today if johb was okay with
that i think the bearingbis in the maintenance shop

The valve that was shut off was the 4" main... by Unknown User

Unknown User

4/10 10:02 AM




                                                                                               Exhibit 4

                                                                        Exhibit P-43, Page 693
  Appellate Case: 25-1349            Page: 2836         Date Filed: 04/07/2025 Entry ID: 5503844
The valve that was shut off was the 4" main directly above the air dryer... Downstairs. It's a 4" ball valve
and feeds the entire system. NOT the little 1/2" Gate valve on the second floor next to the packer.

Yeah i know which one your talking about wh... by Unknown User

Unknown User

4/10 10:04 AM




Yeah i know which one your talking about what about the others where they all opened i drain the air
tanks everyday theres never any moisture

The valve on the end of the air tank closes... by Unknown User

Unknown User

4/10 10:53 AM




The valve on the end of the air tank closest to the second floor steps or right outside the shop door it
was closed as well. It seemed as if somebody closed it in an effort to try to lock air in the system for the
weekend. If we're trying to do that we're inviting problems.



1 Like reaction.

1

It's just my personal opinion by Unknown User

Unknown User

4/10 10:54 AM

It's just my personal opinion

Robert Baumann don't feed. We're working ... by John Spears

John Spears

4/10 12:19 PM




Robert Baumann don't feed. We're working on the impeller bearing.




                                                                                                Exhibit 4

                                                                       Exhibit P-43, Page 694
    Appellate Case: 25-1349         Page: 2837         Date Filed: 04/07/2025 Entry ID: 5503844
1 Like reaction.

1

April 11

Good morning Crew! We'll finish SO-325 th... by John Spears

John Spears

4/11 7:08 AM




Good morning Crew! We'll finish SO-325 this morning. Everyone did very well yesterday with pallets,
impeller bearing and staging product. Thank you.

I've have to see Lehar's diesel this morning. They open at 8am. I'll be on to the mill directly afterwards.

Alex Snodgrass can we get the labels for t... by Unknown User

Unknown User

4/11 10:45 AM




Alex Snodgrass

can we get the labels for the maverick order please

On it by Unknown User

Unknown User

4/11 10:45 AM




On it

Jim Hoover , Patrick Lewis , Ronnell ... by Unknown User

Unknown User

4/11 10:53 AM




Jim




                                                                                               Exhibit 4
                                                                       Exhibit P-43, Page 695
    Appellate Case: 25-1349         Page: 2838         Date Filed: 04/07/2025 Entry ID: 5503844
Hoover

,

Patrick



Lewis

,

Ronnell



Fondren

, and

RJ



Williams

 I have you guys scheduled for both an audiogram and Pulmonary function tests (PFT) for Wednesday
(4/12/2023) at 0900 am at Express Wellness/ 2518 N Main St, Miami, OK 74354. I have forms that you
have to bring with you to the appointment that I will bring to you. Ronnell when you get a chance could
you stop by the office to grab the form before you leave for the day.



1 Like reaction.

1



1 Surprised reaction.

1

Please acknowledge when you read this messa... by Unknown User

Unknown User

4/11 10:53 AM

Please acknowledge when you read this message

Okay by Jim Hoover

Jim Hoover



                                                                                           Exhibit 4
                                                                     Exhibit P-43, Page 696
    Appellate Case: 25-1349        Page: 2839        Date Filed: 04/07/2025 Entry ID: 5503844
4/11 11:46 AM




Okay

Be sure to bring your paper for the breathi... by John Spears

John Spears

4/11 4:04 PM




Be sure to bring your paper for the breathing and hearing test tomorrow. I will drive y'all.

Ronnell Fondren RJ Williams Jim Hoover ... by Unknown User

Unknown User

4/11 4:49 PM




Ronnell Fondren



RJ Williams



Jim Hoover



Patrick Lewis


Hey everybody make sure to fill out the top portion of the sheet I gave you with your information that I
left blank. Also can each one of you private message me with your birthdate and phone number so I can
send it to express wellness. Please acknowledge when you get this

April 12

Jim HooverRonnell Fondren Patrick Lewis... by John Spears

John Spears

4/12 6:52 AM




                                                                                               Exhibit 4
                                                                       Exhibit P-43, Page 697
  Appellate Case: 25-1349           Page: 2840         Date Filed: 04/07/2025 Entry ID: 5503844
Jim Hoover Ronnell Fondren Patrick Lewis RJ Williams be sure to bring back your paper for the lung test
today. Don't be late. I'm driving you over there.

We get ice cream too right? by Unknown User

Unknown User

4/12 6:55 AM




We get ice cream too right?

We're headed to Miami, OK for health test a... by John Spears

John Spears

4/12 8:13 AM




We're headed to Miami, OK for health test at Xpress Wellness

We have arrived. by John Spears

John Spears

4/12 8:53 AM




We have arrived.

Begin Reference, We have arrived., John Spe... by Unknown User

Unknown User

4/12 9:08 AM




John Spears4/12/2023, 8:53 AM

We have arrived.

Call me asap

ASAP by Unknown User

Unknown User

4/12 9:09 AM




                                                                                           Exhibit 4
                                                                     Exhibit P-43, Page 698
 Appellate Case: 25-1349           Page: 2841        Date Filed: 04/07/2025 Entry ID: 5503844
ASAP

April 14

Hi Guys. From what we are learning in d... by Russell Tidaback

4/14 8:04 AM

IMPORTANT

Russell Tidaback

Hi Guys.



From what we are learning in dealing with MSHA, and the recent air quality test results...those
individuals who were tested as overexposed will need to wear a Powered Air Purifying Respirator (PAPR)
until we can get the air readings back down to under the limits.



We have ordered these PAPR masks. These should be in Mon-Wed of next week.



We dont want you guys missing that many days of no pay so John and I are going to discuss later today
about how we can keep you guys working mon-when ever the masks come in. I do apologize for
yesterday and today.



The plan is as soon as the masks come in, to have Jessie put them together, and notify MSHA so they can
modify the Citation/Order on the mill so we can run product. Then he will notify you guys to come in and
get fit tested for these new masks (yes, its required to fit test you with each new style/manufacture
mask).



As soon as every affected associate is fit tested and we can operate, we need to. Whether this is Tuesday,
Wednesday, or Thursday. What ever day it is. We need to get back to pumping out product. Payroll and
bills still need to get paid!



This should be a learning lesson for all... the opening of all doors, windows each morning and closing of
all doors, windows each afternoon AND turning on all exhaust fans is CRITICAL each and every day.



This simple tasking is on the board in the breakroom... this should not be overlooked!




                                                                                             Exhibit 4

                                                                       Exhibit P-43, Page 699
  Appellate Case: 25-1349           Page: 2842         Date Filed: 04/07/2025 Entry ID: 5503844
Any questions on this post, please collaborate or ask Rob/John/Jessie directly.

April 16

Russell Tidaback removed Unknown User from the chat.

Russell Tidaback

removed

Unknown User

from the chat.

No work tomorrow. We should be getting the... by John Spears

John Spears

4/16 8:47 PM




No work tomorrow. We should be getting the power back on in the morning.

So Tuesday then by Unknown User

Unknown User

4/16 8:52 PM




So Tuesday then

Hopefully. by John Spears

John Spears

4/16 8:53 PM




Hopefully.

Ok by Unknown User

Unknown User

4/16 8:54 PM




                                                                                   Exhibit 4
                                                                     Exhibit P-43, Page 700
Appellate Case: 25-1349           Page: 2843         Date Filed: 04/07/2025 Entry ID: 5503844
Ok

April 17

Russell Tidaback removed Unknown User from the chat.

Russell Tidaback

removed

Unknown User

from the chat.

Good Morning Everyone. MSHA inspector, Mr... by Russell Tidaback

4/17 11:16 AM

Russell Tidaback

Good Morning Everyone.



MSHA inspector, Mr. Markeson, is suppose to be there in the morning to address the "close tag" issue in
the mill. He has also been asked to clarify what "tasks" we can do in the mill while under the Order.



The PAPR masks are scheduled to arrive Tomorrow, so Jessie will get these assembled and you'll need to
be fit tested.



Then hopefully by Wednesday, we can get back to operations. Those tested and overexposed will be
required to wear the PAPR masks until we get an air quality resample thats under the limits.

Not a big deal, just make sure you are wearing your masks. Work with Jessie to make sure it is
comfortable and seals like it should.



Jessie is working on getting the "gilibrator 2" serviced and recalibrated for use. The gilibrator is an air
sampling device. This will allow us to do air sample tests as needed to ensure we are staying under the
prescribed limits by NIOSH standards.



Even when we are under and are operating, we should be wearing all the PPE provided.



As you can all now see how important it is to open all the doors, windows and turn on the exhaust fans
in the Mill. These engineering controls are designed to dilute the air with fresh air and keep the air




                                                                                                Exhibit 4
                                                                        Exhibit P-43, Page 701
  Appellate Case: 25-1349            Page: 2844         Date Filed: 04/07/2025 Entry ID: 5503844
moving. The PPE is an administrative control designed to add the extra protection that an engineering
control may not.



It is imperative for each of you to make sure these controls are being used. They are for your protection.



1 Like reaction.

1




                                                                                             Exhibit 4
                                                                      Exhibit P-43, Page 702
    Appellate Case: 25-1349         Page: 2845        Date Filed: 04/07/2025 Entry ID: 5503844
                                           Exhibit P-43, Page 703
Appellate Case: 25-1349   Page: 2846   Date Filed: 04/07/2025 Entry ID: 5503844
                                           Exhibit P-43, Page 704
Appellate Case: 25-1349   Page: 2847   Date Filed: 04/07/2025 Entry ID: 5503844
                                          Exhibit P-43, Page 705
Appellate Case: 25-1349   Page: 2848   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                    Exhibit 8
                                                       Exhibit P-43, Page 706
Appellate Case: 25-1349   Page: 2849   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 8
                                                       Exhibit P-43, Page 707
Appellate Case: 25-1349   Page: 2850   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                    Exhibit 8
                                                       Exhibit P-43, Page 708
Appellate Case: 25-1349   Page: 2851   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 709
Appellate Case: 25-1349   Page: 2852   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 710
Appellate Case: 25-1349   Page: 2853   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 711
Appellate Case: 25-1349   Page: 2854   Date Filed: 04/07/2025 Entry ID: 5503844
                                                       Exhibit P-43, Page 712
Appellate Case: 25-1349   Page: 2855   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 713
Appellate Case: 25-1349   Page: 2856   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 714
Appellate Case: 25-1349   Page: 2857   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 715
Appellate Case: 25-1349   Page: 2858   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 716
Appellate Case: 25-1349   Page: 2859   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 717
Appellate Case: 25-1349   Page: 2860   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 718
Appellate Case: 25-1349   Page: 2861   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 719
Appellate Case: 25-1349   Page: 2862   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 720
Appellate Case: 25-1349   Page: 2863   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 721
Appellate Case: 25-1349   Page: 2864   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 722
Appellate Case: 25-1349   Page: 2865   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 723
Appellate Case: 25-1349   Page: 2866   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 724
Appellate Case: 25-1349   Page: 2867   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit 10
                                                       Exhibit P-43, Page 725
Appellate Case: 25-1349   Page: 2868   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                  Exhibit 10
                                                       Exhibit P-43, Page 726
Appellate Case: 25-1349   Page: 2869   Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,            )   DISCRIMINATION &
 United States Department of Labor, and             )   INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                     )   DOCKET
                      Complainants,                 )
                                                    )
                v.                                  )   Docket No. CENT 2023-0251-DM
                                                    )
 MOSENECAMANUFACTURER LIMITED                       )
 LIABILITY COMPANY d/b/a AMERICAN                   )   Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                           )   American Tr
                                                    )   Mine Id No. 23-00504
                                                    )
                        Respondent.                 )

 RESPONDENT’S SECOND INTERROGATORIES ANSWERS AND RESPONSE FOR
                   PRODUCTION OF DOCUMENTS



                                      INTERROGATORIES
       INTERROGATORY NO. 1: Identify the name of any miner allegedly hired by
Respondent to replace Robert Baumann and indicate when any such job posting was made to
replace Robert Baumann and when any job offers were made to prospective employees who
were hired to allegedly replace Robert Baumann.
       ANSWER:
In response to INTERROGATORY NO. 1, the mine operator acknowledges the job postings that
were made to replace Robert Baumann, as detailed in the attachments provided. These job
postings were publicly posted on Indeed.com with the aim of filling the vacant positions
resulting from Robert Baumann's departure. The specific job postings, along with their
respective posting dates, are as follows:


"Production Controller, Seneca, MO" - Posted on August 1, 2022 Job Details _ Indeed.com.pdf




                                                1
                                                                                   Exhibit 11
                                                                    Exhibit P-43, Page 727
   Appellate Case: 25-1349         Page: 2870       Date Filed: 04/07/2025 Entry ID: 5503844
"Production Control Manager, Seneca, MO" - Posted on August 1, 2022 Job Details _
Indeed.com.pdf


"Production Foreman, Seneca, MO" - Posted on August 1, 2022 Job Details _ Indeed.com.pdf


"Production Lead, Seneca, MO" - Posted on April 17, 2023 Job Details _ Indeed.com.pdf


Additionally, the mine operator utilized various online platforms, including Facebook
community and job posting groups, to reach a broader audience for job postings and employment
opportunities. These platforms were chosen to maximize the visibility of the job openings and
attract potential candidates.


While the mine operator did post these job openings to replace Robert Baumann, it's important to
note that records of job offers made to the numerous prospective employees who were not
accepted with the intent to replace Robert Baumann were not retained by the mine operator.
However, the mine operator can provide the names of the individuals who received job offers
and subsequently accepted employment with the company:


Aaron Duke
Alex Snodgrass
David Dagle
Richard McClelland
Will Shallenburger


These individuals were extended job offers and accepted positions with the mine operator. Any
additional details or documents related to these job offers or the hiring process can be provided
upon further request.




                                                 2
                                                                                     Exhibit 11
                                                                     Exhibit P-43, Page 728
   Appellate Case: 25-1349         Page: 2871        Date Filed: 04/07/2025 Entry ID: 5503844
         INTERROGATORY NO. 2: To the extent you are making a financial hardship claim in
this case, describe how the proposed penalties in this docket would affect Respondent’s ability to
remain in business, including a description of the current business climate as it relates to your
business and how that has changed in the past two years. Such description should include any
sales increases or decreases, opening/closing of different mines, and any unexpected expenses or
loans.
         ANSWER: In response to the interrogatory and regarding the financial impact of the
                       proposed penalties, it is imperative to highlight the severe adverse effects
                       that these penalties would have on American Tripoli's ability to remain in
                       business. The current business climate has presented numerous challenges,
                       and the imposition of substantial penalties would exacerbate the
                       company's precarious financial situation.


                    Over the past two years, American Tripoli has faced several significant
                       challenges that have strained its financial stability. These challenges
                       include:
                    Employee High Turnover and Quiet Quitting: American Tripoli has
                       experienced a high turnover rate among employees, with over 30
                       employees leaving the company since June 2021. This level of turnover is
                       exceptionally high for a small company that typically employs 12-15
                       workers. The phenomenon of "quiet quitting," where employees disengage
                       and become less productive, has also been a significant concern.


                    Impact of COVID-19: The aftermath of the COVID-19 pandemic has had a
                       lasting impact on the business. The pandemic disrupted the labor market
                       and created uncertainty in the workforce, making it challenging to attract
                       and retain skilled workers.




                                                  3
                                                                                      Exhibit 11
                                                                      Exhibit P-43, Page 729
   Appellate Case: 25-1349         Page: 2872         Date Filed: 04/07/2025 Entry ID: 5503844
     Supply Chain Disruptions: The global supply chain disruptions in 2022
       further compounded the challenges faced by American Tripoli. The costs
       of building a new mill, which might have allowed for expansion and
       increased revenue, were estimated to be prohibitively high, hindering any
       expansion plans.


     Operational Shutdowns: The company has experienced prolonged
       operational shutdowns due to ongoing MSHA inspections and
       enforcement actions. These interruptions have cumulatively resulted in
       approximately 12 weeks of downtime, during which the company missed
       out on an estimated $3,000,000 in revenue-generating operations. The
       company has asked the district numerous times for assisted visits to help
       us but to no avail.


     Accumulated Debt: American Tripoli is currently burdened with a debt of
       approximately $900,000, not including the $2,000,000 balance on notes
       acquired to purchase the business.


     Given the aforementioned challenges and the delicate financial state of the
       company, the proposed penalties in this docket would have a devastating
       impact on American Tripoli's ability to remain in business. These penalties
       would further exacerbate the company's debt burden, potentially pushing it
       towards bankruptcy.


     The imposition of substantial fines by MSHA would strain the already
       limited financial resources, making it increasingly difficult for American
       Tripoli to meet its financial obligations, retain employees, and continue its
       operations. The company urges a thorough consideration of these



                                 4
                                                                      Exhibit 11
                                                               Exhibit P-43, Page 730
Appellate Case: 25-1349      Page: 2873        Date Filed: 04/07/2025 Entry ID: 5503844
                  extenuating circumstances and the potential dire consequences of
                  imposing such penalties.




                                             5
                                                                             Exhibit 11
                                                             Exhibit P-43, Page 731
Appellate Case: 25-1349   Page: 2874         Date Filed: 04/07/2025 Entry ID: 5503844
                                  DECLARATION

        I, RUSSELL TIDABACK state that I am authorized to
 answer the foregoing interrogatories on behalf of
 MoSenecaManufacturer Limited Liability Company d/b/a American
 Tripoli. I have read the foregoing interrogatories and answers thereto and
 know the content thereof. Pursuant to 28 U.S.C. § 1746, I declare
 under penalty of perjury that the foregoing answers to the
 interrogatories are true and correct.



                                        By: _______________

                                        Name: RUSSELL TIDABACK

                                        Title: MANAGING MEMBER

                                        Dated:




                                          6
                                                                          Exhibit 11
                                                          Exhibit P-43, Page 732
Appellate Case: 25-1349    Page: 2875     Date Filed: 04/07/2025 Entry ID: 5503844
                   REQUESTS FOR PRODUCTION OF DOCUMENTS

       1.      Produce all documents identified or referred to in your answers to the
interrogatories above.
       RESPONSE: The inquiry and request for information regarding Interrogatory No. 1. To
       assist you in obtaining the necessary details related to this matter, we kindly direct your
       attention to the uploaded documents contained in our case file. These documents are
       organized into folders labeled "Interrogatory 1" and "Interrogatory 2."


       For your convenience and to facilitate your review, we have included the relevant
       documents in the respective folders as follows:


       Interrogatory 1 Folder:
       June 13, 2022 - Robert Baumann Application - Candidates _ Indeed.com.pdf
       August 1, 2022 - Production Controller, Seneca, MO - Job Details _ Indeed.com.pdf
       August 1, 2022 - Production Control Manager, Seneca, MO - Job Details _
       Indeed.com.pdf
       August 1, 2022 - Production Supervisor, Seneca, MO - Job Details _ Indeed.com.pdf
       April 17, 2023 - Production Lead, Seneca, MO - Job Details _ Indeed.com.pdf
       Aaron Duke_American Tripoli_Offer Letter_25APR23 - signed.pdf
       Alex Snodgrass Resume.pdf
       David Daigle Employment Offer Letter.pdf
       Richard McClelland_American Tripoli Position Offer Letter.pdf
       Will Shallenburger - American Tripoli Position Offer Letter.pdf
       Interrogatory 2 Folder:


       MOSENECAMANUFACTURER LLC - 2021 Balance Sheet.pdf
       MOSENECAMANUFACTURER LLC - 2021 Income Statement.pdf
       MOSENECAMANUFACTURER LLC - 2021 Tax Returns.pdf


                                                 7
                                                                                      Exhibit 11
                                                                     Exhibit P-43, Page 733
  Appellate Case: 25-1349        Page: 2876          Date Filed: 04/07/2025 Entry ID: 5503844
       MOSENECAMANUFACTURER LLC - 2022 Balance Sheet.pdf
       MOSENECAMANUFACTURER LLC - 2022 Income Statement.pdf
       MOSENECAMANUFACTURER LLC - 2022 Tax Returns.pdf
       MOSENECAMANUFACTURER LLC - 2023 Balance Sheet.pdf
       MOSENECAMANUFACTURER LLC - 2023 Income Statement.pdf
       These documents contain relevant information pertaining to the job postings, hiring
       process, and financial records as outlined in Interrogatory No. 1 and Interrogatory No. 2.


       We encourage you to refer to these documents to access the specific details requested.


       Should you require any further clarification or additional information, please do not
       hesitate to reach out to us. We are committed to providing a comprehensive and accurate
       response to your inquiries.


       2.     Produce documents reflecting the final paycheck provided to Robert Baumann,
including any associated pay stub.
       RESPONSE: We have reviewed our records and have identified that the requested
       document labeled "Robert Baumann Payroll Detail 07.01.22 - 04.21.23 (1).pdf" was
       already included in our initial response within the "First Interrogatories Responses"
       submission. This document was attached for your reference in that submission.


       3.     Produce records of hours worked by Baumann on a weekly or bi-weekly basis,
including any pay stubs showing hours worked for each pay period.
       RESPONSE: We have reviewed our records and have identified that the requested
       document labeled "Robert Baumann Payroll Detail 07.01.22 - 04.21.23 (1).pdf" was
       already included in our initial response within the "First Interrogatories Responses"
       submission. This document was attached for your reference in that submission.




                                                8
                                                                                    Exhibit 11
                                                                    Exhibit P-43, Page 734
  Appellate Case: 25-1349        Page: 2877         Date Filed: 04/07/2025 Entry ID: 5503844
       4.     Produce each pay stub related to each payment made by Respondent to Robert
Baumann.
       RESPONSE: Upon reviewing your request, we have noted that Request Number 4, which
       seeks "each pay stub related to each payment made by Respondent to Robert Baumann,"
       appears to be a duplicate of Request Number 2, where we have already provided the
       requested document labeled "Robert Baumann Payroll Detail 07.01.22 - 04.21.23
       (1).pdf."


       To avoid redundancy and to streamline the document retrieval process, we kindly refer
       you to our response for Request Number 2, where you will find the document you are
       seeking. This document includes the necessary information related to Robert Baumann's
       pay stubs during the specified period.


       5.     Produce Respondent’s No Gossip Policy or any similar policy and/or procedure
regarding gossiping, including any documents regarding when this policy was implemented.
       RESPONSE: The request for the production of documents, specifically regarding
       Respondent's No Gossip Policy or any similar policy and/or procedure related to
       gossiping.


       We would like to inform you that the No Gossip Policy, which you have requested, was
       discussed and implemented at our organization with due consideration for guidelines set
       forth by the National Labor Relations Board (NLRB). Our intention in crafting this policy
       was to ensure a productive and respectful work environment, in compliance with the law
       and the protection of our employees' rights.


       The No Gossip Policy was introduced during an employee meeting on 9th August 2022.
       This policy aligns with the NLRB's rulings and adheres to their guidelines, which we take
       very seriously. We recognize the importance of allowing employees to discuss work-



                                                9
                                                                                  Exhibit 11
                                                                      Exhibit P-43, Page 735
   Appellate Case: 25-1349        Page: 2878          Date Filed: 04/07/2025 Entry ID: 5503844
       related matters, including wages, benefits, and terms and conditions of employment,
       without interference or discouragement.


       To maintain clarity and transparency, our policy clearly is not intended to discourage
       concerted activity or the discussion of working conditions. It provides specific examples
       of prohibited conduct, such as abusive and profane language towards another individual
       not present or in a negative light, to ensure that our employees understand the boundaries
       of respectful communication.


       Additionally, the policy avoids overly broad or ambiguous language, as we understand
       that ambiguous rules can be construed against the employer. We have taken care to
       define permissible conduct clearly to encourage a safe and open workplace environment
       where employees feel comfortable discussing protected activities.
       Please see the file labeled “No gossip letter.pdf”.


       6.     Produce the original documents, including the Word documents, Excel
spreadsheets, Microsoft Teams Notes from which such PDF’s originated, with all metadata intact
for the following documents you produced in response to the Acting Secretary’s First Requests
for Production of Documents: Carson Allman – 4NOV2022 -Termination Letter; Terry Newborn
– 4NOV22 Termination Letter; Christine Schreiber Russell Notes; Jim Hoover Russell Notes;
Daily Workplace Inspections 1JUNE2022 – 17APR2023; American Tripoli Employee
Handbook; Robert Baumann_American Tripoli Position Offer Letter; and 13OCT2022- Carson
Allman – Letter of Reprimand.
       RESPONSE: We appreciate your follow-up request regarding the production of original
       documents, including Word documents, Excel spreadsheets, and Microsoft Teams Notes,
       along with all metadata intact, for the documents previously provided in response to the
       Acting Secretary's First Requests for Production of Documents.




                                                 10
                                                                                    Exhibit 11
                                                                      Exhibit P-43, Page 736
   Appellate Case: 25-1349         Page: 2879         Date Filed: 04/07/2025 Entry ID: 5503844
       As you are aware, we take your requests seriously and have been diligently working to
       ensure full compliance with your inquiry. It's important to clarify that the documents you
       have listed, including termination letters, notes, workplace inspections, our Employee
       Handbook, position offer letters, and letters of reprimand, were provided in PDF format
       as part of our initial responses.


       Regrettably, the documents you requested were initially produced as PDFs, and they were
       not originally created as Word documents or Excel spreadsheets. Additionally, the
       information contained in our Microsoft Teams Notes is not stored in a format that allows
       for direct extraction as Word or Excel documents.


       Given the nature of these documents and the format in which they were originally
       created, we trust that the provided PDFs accurately represent the content and intent of the
       materials requested. However, if you require any specific information or additional
       details related to these documents, we are more than willing to assist you in any way
       possible to address your needs.




       7.      Produce the training documents you allege were used to provide New Miner
Training to Robert Baumann on July 5, 2022.
       RESPONSE: In response to your request for the production of training documents related
       to the New Miner Training provided to Robert Baumann on July 5, 2022.


       The New Miner Training for Robert Baumann on July 5, 2022, was documented by
       Bonnie Bainter, our Safety and Environmental Specialist at the time. Mrs. Bainter
       followed the established training protocols and utilized a variety of training materials and
       documents to ensure that Mr. Baumann received comprehensive training in compliance
       with the required subjects.



                                                  11
                                                                                     Exhibit 11
                                                                       Exhibit P-43, Page 737
   Appellate Case: 25-1349           Page: 2880        Date Filed: 04/07/2025 Entry ID: 5503844
It is important to note that during the New Miner Training sessions, trainers like Mrs.
Bainter often employ a range of training aids, presentations, and reference materials to
cover the necessary topics thoroughly. These training aids and documents may include,
but are not limited to, written materials, presentations, handouts, safety guidelines, and
other instructional resources. All the training files the company maintains were submitted
in the first response files.


Given the dynamic nature of the training process and the need to adapt to participants'
questions and specific needs, it is challenging to identify and isolate specific training
documents that were utilized during a particular training session. Each instructor may use
their own resources that fits best for their class and attendees. Furthermore, our training
records encompass a wide array of subjects, which are part of the standard curriculum for
New Miner Training, the specific subjects required by MSHA.


While we maintain records of training sessions, including signed forms such as the
MSHA 5000-23, we do have a specific set of documents that represents the materials that
could have be used during Mr. Baumann's training session on July 5, 2022. The training
process is dynamic and customized to address the unique circumstances and questions
that may arise during each training session. We would not have a record of the specific
questions Mr. Baumann may have asked during the training that may have directed Mrs.
Bainter to utilize different training resources.


However, we would like to highlight that Mr. Baumann verified his completion of the
documented training by signing the MSHA 5000-23 form, which attests to his
acknowledgment of having received the training and his understanding of the subject
matter covered during the session on 07/05/2022. This form is a standard practice in our




                                          12
                                                                                Exhibit 11

                                                                   Exhibit P-43, Page 738
Appellate Case: 25-1349         Page: 2881         Date Filed: 04/07/2025 Entry ID: 5503844
       training procedures, ensuring that employees acknowledge their training and affirm their
       commitment to safety.


       We want to assure you that our commitment to safety and training is unwavering, and we
       take all necessary steps to ensure that our training programs comply with MSHA
       regulations and provide our employees with the knowledge and skills required for their
       roles.


       8.       Produce documents reflecting the Paid Time Off or vacation leave Baumann had
accrued as of April 17, 2023, and any documents reflecting any payments to Baumann for any
such accrued Paid Time Off or vacation leave.
       RESPONSE: Upon reviewing your request, we have noted that Request Number 8, which
       seeks " reflecting the Paid Time Off or vacation leave Baumann had accrued as of April
       17, 2023”, please see document labeled "Robert Baumann Payroll Detail 07.01.22 -
       04.21.23 (1).pdf."


       9.       To the extent you are making a financial hardship claim in this case, produce the
following financial records for Respondent:
                a.     Respondent’s state and federal tax returns for the past three years.
                b.     Any Tax Form K-1 for American Tripoli from the past three years.
                c.     The balance sheets for Respondent, including year-end assets and
                       liabilities of Respondent from the past three years.
                d.     Income Statements, showing all revenue and expense items for
                       Respondent from the last three years.
                e.     Respondent’s most recent auditor’s report and footnotes, including details
                       about the methods used to compile the accounting data.
                f.     Any bankruptcy petition(s) filed by Respondent.




                                                 13
                                                                                      Exhibit 11
                                                                      Exhibit P-43, Page 739
   Appellate Case: 25-1349         Page: 2882         Date Filed: 04/07/2025 Entry ID: 5503844
         g.     Chart of the accounts, disbursements ledgers, journal entries, and general
                ledge, and accounting work papers for Respondent since June 2021.
         h.     Documents showing any loans made to owners or managers of the
                company from Respondent from the past three years.
         i.     Transfers of funds from Respondent to related companies or owners from
                the past three years.
         j.     Transfers of funds from Respondent to any entity owned by any owner of
                Respondent from the past three years.
RESPONSE: In response to Request for Production No. 14 and in accordance with the
financial hardship claim made in this case, please note that while American Tripoli is
committed to providing the requested financial records, some records may not be
immediately available, and the production timeline may vary depending on the
complexity and availability of the documents. American Tripoli will make a good-faith
effort to produce the requested financial records in a timely manner. If you have any
further specific requests or need additional information, please feel free to contact us to
facilitate the process.
a. See attached submitted tax returns, labeled “MOSENECAMANUFACTURER LLC -
2021 tax returns.pdf, MOSENECAMANUFACTURER LLC - 2022 tax returns.pdf”
b. N/A
c. See attached, labeled “MOSENECAMANUFACTURER LLC - 2021 Balance
Sheet.pdf, MOSENECAMANUFACTURER LLC - 2022 Balance Sheet.pdf, and
MOSENECAMANUFACTURER LLC - 2023 Balance Sheet.pdf”
d. See attached, labeled “MOSENECAMANUFACTURER LLC - 2021 Income
Statement.pdf, MOSENECAMANUFACTURER LLC - 2022 Income Statement.pdf,
MOSENECAMANUFACTURER LLC - 2023 Income Statement.pdf”
e. N/A
f. N/A
g. See attached, labeled “9.g. Chart of Accounts.xlsx”



                                         14
                                                                               Exhibit 11
                                                                 Exhibit P-43, Page 740
Appellate Case: 25-1349        Page: 2883        Date Filed: 04/07/2025 Entry ID: 5503844
      h. N/A
      i. N/A
      j. N/A


      10.      Produce an unredacted, complete copy of Russell Tidaback’s Microsoft Teams’
communications with Jim Hoover from April 17, 2023 through May 7, 2023.
      RESPONSE: Please see the following chat:




                                             15
                                                                               Exhibit 11
                                                                  Exhibit P-43, Page 741
 Appellate Case: 25-1349        Page: 2884        Date Filed: 04/07/2025 Entry ID: 5503844
                                  16
                                                                Exhibit 11
                                                       Exhibit P-43, Page 742
Appellate Case: 25-1349   Page: 2885   Date Filed: 04/07/2025 Entry ID: 5503844
                                  17
                                                                Exhibit 11
                                                       Exhibit P-43, Page 743
Appellate Case: 25-1349   Page: 2886   Date Filed: 04/07/2025 Entry ID: 5503844
                                  18
                                                                Exhibit 11
                                                       Exhibit P-43, Page 744
Appellate Case: 25-1349   Page: 2887   Date Filed: 04/07/2025 Entry ID: 5503844
                                  19
                                                                Exhibit 11
                                                       Exhibit P-43, Page 745
Appellate Case: 25-1349   Page: 2888   Date Filed: 04/07/2025 Entry ID: 5503844
                                  20
                                                                Exhibit 11
                                                       Exhibit P-43, Page 746
Appellate Case: 25-1349   Page: 2889   Date Filed: 04/07/2025 Entry ID: 5503844
                                  21
                                                                Exhibit 11
                                                       Exhibit P-43, Page 747
Appellate Case: 25-1349   Page: 2890   Date Filed: 04/07/2025 Entry ID: 5503844
                                  22
                                                                Exhibit 11
                                                       Exhibit P-43, Page 748
Appellate Case: 25-1349   Page: 2891   Date Filed: 04/07/2025 Entry ID: 5503844
                                  23
                                                                Exhibit 11
                                                       Exhibit P-43, Page 749
Appellate Case: 25-1349   Page: 2892   Date Filed: 04/07/2025 Entry ID: 5503844
                                  24
                                                               Exhibit 11
                                                       Exhibit P-43, Page 750
Appellate Case: 25-1349   Page: 2893   Date Filed: 04/07/2025 Entry ID: 5503844
                                  25
                                                                Exhibit 11
                                                       Exhibit P-43, Page 751
Appellate Case: 25-1349   Page: 2894   Date Filed: 04/07/2025 Entry ID: 5503844
                                  26
                                                                Exhibit 11
                                                       Exhibit P-43, Page 752
Appellate Case: 25-1349   Page: 2895   Date Filed: 04/07/2025 Entry ID: 5503844
                                  27
                                                                Exhibit 11
                                                       Exhibit P-43, Page 753
Appellate Case: 25-1349   Page: 2896   Date Filed: 04/07/2025 Entry ID: 5503844
                                  28
                                                                Exhibit 11
                                                       Exhibit P-43, Page 754
Appellate Case: 25-1349   Page: 2897   Date Filed: 04/07/2025 Entry ID: 5503844
                                  29
                                                                Exhibit 11
                                                       Exhibit P-43, Page 755
Appellate Case: 25-1349   Page: 2898   Date Filed: 04/07/2025 Entry ID: 5503844
                                  30
                                                                Exhibit 11
                                                       Exhibit P-43, Page 756
Appellate Case: 25-1349   Page: 2899   Date Filed: 04/07/2025 Entry ID: 5503844
                                  31
                                                                Exhibit 11
                                                       Exhibit P-43, Page 757
Appellate Case: 25-1349   Page: 2900   Date Filed: 04/07/2025 Entry ID: 5503844
                                  32
                                                                Exhibit 11
                                                       Exhibit P-43, Page 758
Appellate Case: 25-1349   Page: 2901   Date Filed: 04/07/2025 Entry ID: 5503844
                                  33
                                                                Exhibit 11
                                                       Exhibit P-43, Page 759
Appellate Case: 25-1349   Page: 2902   Date Filed: 04/07/2025 Entry ID: 5503844
                                  34
                                                                Exhibit 11
                                                       Exhibit P-43, Page 760
Appellate Case: 25-1349   Page: 2903   Date Filed: 04/07/2025 Entry ID: 5503844
                                  35
                                                                Exhibit 11
                                                       Exhibit P-43, Page 761
Appellate Case: 25-1349   Page: 2904   Date Filed: 04/07/2025 Entry ID: 5503844
                                  36
                                                                Exhibit 11
                                                       Exhibit P-43, Page 762
Appellate Case: 25-1349   Page: 2905   Date Filed: 04/07/2025 Entry ID: 5503844
                                  37
                                                                Exhibit 11
                                                       Exhibit P-43, Page 763
Appellate Case: 25-1349   Page: 2906   Date Filed: 04/07/2025 Entry ID: 5503844
                                  38
                                                                Exhibit 11
                                                       Exhibit P-43, Page 764
Appellate Case: 25-1349   Page: 2907   Date Filed: 04/07/2025 Entry ID: 5503844
                                  39
                                                                Exhibit 11
                                                       Exhibit P-43, Page 765
Appellate Case: 25-1349   Page: 2908   Date Filed: 04/07/2025 Entry ID: 5503844
                                  40
                                                                Exhibit 11
                                                       Exhibit P-43, Page 766
Appellate Case: 25-1349   Page: 2909   Date Filed: 04/07/2025 Entry ID: 5503844
                                  41
                                                                Exhibit 11
                                                       Exhibit P-43, Page 767
Appellate Case: 25-1349   Page: 2910   Date Filed: 04/07/2025 Entry ID: 5503844
                                  42
                                                                Exhibit 11
                                                       Exhibit P-43, Page 768
Appellate Case: 25-1349   Page: 2911   Date Filed: 04/07/2025 Entry ID: 5503844
                                  43
                                                                Exhibit 11
                                                       Exhibit P-43, Page 769
Appellate Case: 25-1349   Page: 2912   Date Filed: 04/07/2025 Entry ID: 5503844
                                  44
                                                                Exhibit 11
                                                       Exhibit P-43, Page 770
Appellate Case: 25-1349   Page: 2913   Date Filed: 04/07/2025 Entry ID: 5503844
                                  45
                                                                Exhibit 11
                                                       Exhibit P-43, Page 771
Appellate Case: 25-1349   Page: 2914   Date Filed: 04/07/2025 Entry ID: 5503844
                                  46
                                                                Exhibit 11
                                                       Exhibit P-43, Page 772
Appellate Case: 25-1349   Page: 2915   Date Filed: 04/07/2025 Entry ID: 5503844
                                  47
                                                                Exhibit 11
                                                       Exhibit P-43, Page 773
Appellate Case: 25-1349   Page: 2916   Date Filed: 04/07/2025 Entry ID: 5503844
                                  48
                                                                Exhibit 11
                                                       Exhibit P-43, Page 774
Appellate Case: 25-1349   Page: 2917   Date Filed: 04/07/2025 Entry ID: 5503844
                                  49
                                                                Exhibit 11
                                                       Exhibit P-43, Page 775
Appellate Case: 25-1349   Page: 2918   Date Filed: 04/07/2025 Entry ID: 5503844
                                  50
                                                                Exhibit 11
                                                       Exhibit P-43, Page 776
Appellate Case: 25-1349   Page: 2919   Date Filed: 04/07/2025 Entry ID: 5503844
       11.    Produce an unredacted, complete copy the Mill Group Chat, Microsoft Teams
chat, from June 26, 2023.
RESPONSE: Please see the chat on June 26, 2023:




                                            51
                                                                              Exhibit 11

                                                              Exhibit P-43, Page 777
 Appellate Case: 25-1349      Page: 2920      Date Filed: 04/07/2025 Entry ID: 5503844
                                  52
                                                                Exhibit 11
                                                       Exhibit P-43, Page 778
Appellate Case: 25-1349   Page: 2921   Date Filed: 04/07/2025 Entry ID: 5503844
       12.    Produce documents related to the fatality referred to in John Spears’ Mill Group
Chat message on June 26, 2023, produced by Respondent in the document titled ALL
Communications regarding MSHA.
       RESPONSE: In response to your request for the production of documents related to the
       fatality referred to in John Spears' Mill Group Chat message on June 26, 2023. We
       appreciate your inquiry and the opportunity to clarify the information requested.


       In the Mill Group Chat conversation on June 26, 2023, the mine operator posted a link to
       the June 8, 2023, fatality alert notice issued by the Mine Safety and Health
       Administration (MSHA). The referenced fatality is the same incident that is detailed in
       the MSHA's official alert notice.


       As the requested documents are directly related to the MSHA fatality alert notice, we
       would like to clarify that the details and information regarding this fatality are available
       in the official MSHA documentation, including the alert notice itself. We do not possess
       any additional internal documents or materials related to this specific incident beyond
       what has already been publicly communicated by MSHA.


       To provide you with the most accurate and complete information regarding this fatality,
       we recommend referring directly to the official MSHA fatality alert notice dated June 8,
       2023. This notice contains all relevant details and findings related to the incident, as
       compiled and reported by the regulatory authority responsible for investigating and
       documenting such events.


       Should you require access to the official MSHA fatality alert notice or have any further
       questions related to this incident or other matters, please do not hesitate to let us know.




                                                 53
                                                                                      Exhibit 11
                                                                      Exhibit P-43, Page 779
  Appellate Case: 25-1349         Page: 2922          Date Filed: 04/07/2025 Entry ID: 5503844
       13.     Produce the Microsoft Teams chats regarding the following incidents/entries into
the document titled Rob Baumann-Notes from Russell Tidaback employee journal:
        a.       26JUL2022 - Jeff states the shaker screen ripped because Rob didn’t put bolts
back in and just ran it like that. Rob told Miguel that he didn’t care and that Miguel needed to get
down. Rob shut things down sent everyone home early.
        b.      27JUL2022 - Christine states Rob is having the guys run straight 8 hours and
bypassing the given break so they can go home earlier. I explained the break should be rotated so
we can continue to produce for the 8.5 hours. The breaks are precautionary for employees dust
exposure too. MO doesn’t require breaks to be given. Plus they are only running bulk bags and
that can be done with two people.
        c.      1AUG202 - Christine states If Rob cannot get it done, we just need to replace
him.
        d.      5AUG2022 - Jessie states there is no emphasis for the guys to help him. When he
brings it to Rob, he shruggs his shoulders and walks away.
        e.      8AUG2022 - Christine wants to bring Rob to first shift as she doesn’t believe Rob
is doing what he is suppose to be doing without someone overseeing him. We cannot put Jim on
nights due to being a single father and a young child at home.
        f.      9AUG2022 - Christine thinks we should train someone to replace Rob on the
night shift.
        g.      16AUG2022 - Advised Christine to counsel Rob regarding shutting down and
letting people go earlier than scheduled.
        h.      25AUG2022 - Rob needs counseling on filling out the BOL correctly. A shipper
complained that he did it wrong and wasted their time.
        i.       31AUG2022 - Had discussion with Rob on the importance of inputting the daily
production information in the spreadsheet. He said he would log in and get it done.
        j.       3SEP2022 - Had discussion with Rob regarding the daily production numbers
and updating the spreadsheet accurately. I don’t know if he is incompetent or just lazy.
        k.      28SEPT2022 - Rob not doing the CILAS reports as required for orders produced.
        l.      8OCT2022 - Jessie and Carson were waiting for Rob to get there. Rob was late
getting there.
        m.      12OCT2022 - Had discussion with Rob regarding notifying and working with
Carson to address the maintenance issues. Carson said Rob gets mad at everything and is hard to
work with. I explained that getting angry and combative with others is not going to solve the
issue any quicker.
        n.      13OCT2022 - Had to counsel Rob on following the production schedule as it is
presented. He was not producing what was on the schedule. Rob said he didn’t like having to
check the computer or phone to do his job. I explained that the computer work was part of the
role.
        o.       17OCT2022 - Had to explain Rob about the flow of the system and asked him
why he wasn’t reviewing the operating documents in the maintenance team files. His excuse was
he didn’t like to read on a computer.
        p.      26OCT2022 - Had to explain to Rob why the MAC vacuum system was spewing
dust from the exhaust and that we had to shut the system down so DEQ doesn’t get called. Jim
states Rob doesn’t know what he is doing.
        q.      2NOV2022 - John mentioned Rob showing his poor attitude again.


                                                 54
                                                                                      Exhibit 11
                                                                      Exhibit P-43, Page 780
   Appellate Case: 25-1349         Page: 2923         Date Filed: 04/07/2025 Entry ID: 5503844
         r.       5NOV2022 - Had to get onto Rob about not properly keeping team shift hours
correct in Shifts. He was writing them down on scratch paper and forgetting to update shifts. I
don’t know if he is just lazy or what. I explained that he can do this any time from the computer
or his phone.
         s.      8NOV2022 - Had to inquire with Rob if he was shutting down early letting people
go home early. The systems were showing shut down before the end of the shift.
         t.       1DEC2022 - While at AT had a discussion with Rob regarding his lack of
attentiveness regarding ensuring the proper things were done with his team. The checklists
werent being completed. The inspections werent being completed. The breakroom was a disaster.
The fridge was disgusting. The trash wasn’t taken out the day before, some of the windows were
still open. The production floor was a mess. The back roll up door was off track. The bathroom
was disgusting. The circuit breakers in Warehouse A was blocked by slip sheets.
         u.      16DEC2022 - Discussion regarding keeping the production team informed of
what is expected to produce that day. Rob is lacking in managerial purpose for his team
members.
         v.      26DEC2022 - Discussion with Rob regarding not meeting the daily production
goals, team members complaining that he doesn’t know what he is doing and that he just gets
angry and stomps around like a child. He isnt a leader and allows his team to push him around.
His response was just nodding his head. I stressed filling out the tasking board everyday and
making sure the things get done. If he has problems with someone, take it to John and john will
get it resolved. Jim blames Rob.
         w.      20JAN2023 - Kensley posted in the Ops chat group a pic of dust blowing out the
back of the bldg. Again, had to stress to Rob that he needs to watch for any dust blowing out of
the building. We cant have the Sheriff or DNR receiving complaints about us. We had to
reiterate in the group that is was Robs responsibility to be inputting in the daily production
worksheet what was produced each day before he leaves for the day. This wasn’t been done.
         x.      25JAN2023 - Had to get onto Rob regarding keeping the completed bag inventory
up to date. John and I discussed Robs attitude.
         y.      28FEB2023 - discussed with Rob about the task board. Starting to think we need
to let Rob go. His attitude is one that he doesn’t care about getting things done. He jokingly
mentioned he liked being paid for not working.
         z.      20MAR2022 - Alex Snodgrass hired to eventually replace Rob.
         aa.     24MAR2023 - Discussion with John regarding Robs push back on stacking the
bags today. I believe Robs attitude is infectious. We need Alex to take over for Rob and just let
Rob go for performance issues.
         bb.     30MAR2023 - ATMO Safety discussion with Jessie about ensuring that Rob gets
the tasks done. The tasks are established, just not getting enforced by Rob.
         cc.     5APR2023 - Alex informed us regarding accepting a neurology position at a
hospital in Little Rock. Neurology is his degree is in. John and I discussed just letting Rob go.
         dd.     7APR2023 - John, Jordan and I discussed letting Rob go.
         ee.     12APR2023 - Time to let Rob go. He is afraid to make the system work and cant
meet the simple daily quotas. If Jim can get it done why cant Rob. Need to look at the mill
structure again. Jim can run the Mill, we just need to get a manager of people to manage the
team. Hopefully, Brian Edwards can do it. He can manage the people, QC, inventory and the
reporting. Jim can run the mill. Brian will need to learn how to as a back up to Jim.




                                               55
                                                                                   Exhibit 11
                                                                    Exhibit P-43, Page 781
   Appellate Case: 25-1349        Page: 2924        Date Filed: 04/07/2025 Entry ID: 5503844
         ff.     14APR2023 - Warned John about an MSHA complaint when we let Rob go. Robs
termination will be based on production performance, not following guidance given by
management, not ensuring the safety of the mill associated by utilizing the proper controls, etc.
Send John the termination letter.
         gg.     16APR2023 - Ask Keith about miner pay and withdrawl order. Robs termination
letter sent to John.
         RESPONSE: These notes were from Mr. Tidabacks personal daily notes journal which is
       done on a Rocketbook wipeable notebook. These were not input into a Microsoft Teams
       Chat.


       14.     Produce all Microsoft Teams chats between Robert Baumann and any owner,
supervisor or manager of Respondent.
       RESPONSE: In your request for the production of all Microsoft Teams chats between
       Robert Baumann and any owner, supervisor, or manager of Respondent. We appreciate
       your patience as we work diligently to fulfill this highly technical request.


       Due to the specialized nature of retrieving Microsoft Teams chats, we are currently in the
       process of coaching our managers and supervisors on the necessary steps to access and
       compile the requested information. This process involves ensuring that all relevant chats
       are securely retrieved and properly documented to meet your requirements.


       We understand the importance of providing a comprehensive and accurate response to
       your request and are committed to delivering the requested Microsoft Teams chats as
       soon as they are available. Our team is actively working on this matter, and we anticipate
       completing the retrieval process within a reasonable timeframe.


       Please be assured that we take your request seriously and are making every effort to
       facilitate the retrieval of the requested chats efficiently and effectively. We will notify
       you as soon as the information is ready for submission.




                                                 56
                                                                                       Exhibit 11
                                                                      Exhibit P-43, Page 782
   Appellate Case: 25-1349         Page: 2925         Date Filed: 04/07/2025 Entry ID: 5503844
                         UNITED STATES OF AMERICA
             FEDERAL MINE SAFETY AND HEALTH REVIEW COMMISSION
                    OFFICE OF ADMINISTRATIVE LAW JUDGES

 JULIE A. SU, Acting Secretary of Labor,              )       DISCRIMINATION &
 United States Department of Labor, and               )       INTERFERENCE PROCEEDING
 ROBERT BAUMANN                                       )       DOCKET
                      Complainants,                   )
                                                      )
                 v.                                   )       Docket No. CENT 2023-0251-DM
                                                      )
 MOSENECAMANUFACTURER LIMITED                         )
 LIABILITY COMPANY d/b/a AMERICAN                     )       Mine: MOSenecaMfr LLC dba
 TRIPOLI,                                             )       American Tr
                                                      )       Mine Id No. 23-00504
                                                      )
                           Respondent.                )

  RESPONDENT’S THIRD INTERROGATORIES ANSWERS AND RESPONSE FOR
                   PRODUCTION OF DOCUMENTS



                                FIRST DISCOVERY REQUESTS
                                         INTERROGATORIES
      INTERROGATORY NO. 4: If Respondent claims that a defense or affirmative defense is
applicable to the claims at issue in this case, please identify each such defense and state with
particularity the material facts supporting such defense.
                                ANSWER: In response to Interrogatory No. 4, we acknowledge
the importance of providing clarity regarding our defenses in this matter. While we understand
the need for transparency and adherence to legal processes, we firmly contend that requiring the
immediate identification of defenses with particularity may not be suitable for the complex and
evolving nature of this case. It is essential to uphold the principles of fairness, due process, and
the right to develop a comprehensive defense.


      Our defense in this case revolves around the following key points, each supported by
specific material facts:



                                                  1
                                                                                        Exhibit 12
                                                                          Exhibit P-43, Page 783
   Appellate Case: 25-1349          Page: 2926            Date Filed: 04/07/2025 Entry ID: 5503844
      1. Compliance with Regulations: Throughout the course of our operations, we have
consistently prioritized compliance with all relevant regulations and guidelines, particularly
those set forth by the Mine Safety and Health Administration (MSHA). We have diligently
enforced safety protocols and measures in line with MSHA standards to ensure the safety of our
workforce.


      2. Safety Measures and Training: We have invested significant resources in training and
educating our employees, emphasizing safety procedures and the importance of adhering to
MSHA regulations. Our commitment to safety extends to providing comprehensive training
programs and resources, which we have made available to all our employees, including Mr.
Robert Baumann.


      3. Mitigation of Citations: It is important to note that the mining industry can be
inherently challenging in terms of regulatory compliance. Despite our best efforts, occasional
citations may occur. Our defense involves demonstrating that we have taken prompt corrective
actions in response to any citations received, including addressing safety concerns and
implementing necessary changes to prevent recurrence.


      4. Employee Responsibilities: Employees, including Mr. Baumann, have individual
responsibilities under MSHA regulations to ensure their safety and that of their colleagues. These
responsibilities include reporting unsafe conditions and practices, complying with safety
guidelines, and actively participating in safety training. Our defense highlights the expectations
placed on all employees, including Mr. Baumann, in fulfilling these responsibilities.


In conclusion, our defense in this case is built upon our unwavering commitment to safety,
compliance, and the well-being of our workforce. The material facts supporting this defense
include our rigorous safety measures, training programs, and our proactive approach to



                                                 2
                                                                                      Exhibit 12

                                                                     Exhibit P-43, Page 784
   Appellate Case: 25-1349         Page: 2927        Date Filed: 04/07/2025 Entry ID: 5503844
addressing any citations received. We remain steadfast in our dedication to transparency,
cooperation, and upholding the highest standards of safety within our operations. We have also
included a November 13, 2023 email chain from Mr. Randall Boyd, Supervisory Special
Investigations, Supervisory Conference & Litigations, Madisonville district office, stating there
is not anyone recorded as a representative of miners at our location as Mr. Baumann has claimed
he is/was one.




      INTERROGATORY NO. 5: Set forth the reasons Robert Baumann was terminated, who
participated in the decision to terminate Robert Baumann, and the date such decision was made.
      ANSWER: A comprehensive response to your request regarding the reasons for the
termination of Mr. Robert Baumann, the individuals involved in the decision, and the date when
this decision was made. We understand the importance of clarity in this regard and aim to
address your concerns.


      Reasons for Termination:
      The decision to terminate Mr. Robert Baumann was based on a combination of factors that
collectively led to this outcome. It is important to emphasize that termination of employment is
never taken lightly, and the welfare of our employees and the overall safety and efficiency of our
operations remain paramount. The following factors contributed to Mr. Baumann's termination:


      Poor Performance: Mr. Baumann's performance as a shift lead consistently fell below the
acceptable standards established for his role. His inability to meet the performance expectations
and responsibilities associated with his position was a primary concern.


      Lack of Leadership Skills: As a shift lead, strong leadership skills are essential for
success. Mr. Baumann's performance was hindered by his lack of effective leadership, which was
a crucial aspect of his role.



                                                 3
                                                                                     Exhibit 12
                                                                     Exhibit P-43, Page 785
   Appellate Case: 25-1349         Page: 2928        Date Filed: 04/07/2025 Entry ID: 5503844
      Failure to Follow Procedures and Guidance: Despite several attempts to address these
issues through coaching, feedback sessions, and open communication channels, Mr. Baumann
did not demonstrate any substantial improvement in his performance or attitude. This failure to
adapt to guidance and correct his behavior raised significant concerns.


      Safety Concerns: Safety is a paramount concern in our operations. Mr. Baumann's
disregard for safety guidelines, failure to take safety matters seriously, and his actions that
created an unsafe work environment for himself and his colleagues were alarming.


      Compliance with Employment-At-Will Doctrine: It is essential to note that Missouri
follows the Employment-At-Will doctrine, allowing both the employer and employee to
terminate the employment relationship at any time and for any non-discriminatory reason. This
doctrine serves as the legal basis for Mr. Baumann's termination.


      Participants in the Decision:
      The decision to terminate Mr. Baumann was a collective one, involving key members of
our management team. While we initially referred to "management personnel" in our previous
response, we want to provide you with specific names and titles of the individuals who
participated in this decision:


      Russell Tidaback: As the final decision maker for the company, Mr. Russell Tidaback
played a crucial role in the deliberation and final decision-making process.


      Jordan Tidaback: As a decision maker for the company, Ms. Jordan Tidaback played a
crucial role in the deliberation and decision-making process.




                                                  4
                                                                                        Exhibit 12

                                                                      Exhibit P-43, Page 786
  Appellate Case: 25-1349          Page: 2929         Date Filed: 04/07/2025 Entry ID: 5503844
      John Spears: As a member of our management team, Mr. John Spears was also involved
in the decision-making process.


      Date of the Decision:
      The decision to terminate Mr. Baumann was reached during the evening of April 16, 2023.
We recognize the importance of providing an exact date, and we sincerely apologize for any
previous lack of specificity on this matter.


In conclusion, we hope this elaboration provides the clarity and detail you seek regarding Mr.
Baumann's termination. We remain committed to cooperation and transparency throughout this
process and appreciate your diligence in seeking this information.




                                                5
                                                                                    Exhibit 12
                                                                    Exhibit P-43, Page 787
   Appellate Case: 25-1349         Page: 2930       Date Filed: 04/07/2025 Entry ID: 5503844
                                 DECLARATION

       I, RUSSELL TIDABACK state that I am authorized to
answer the foregoing interrogatories on behalf of
MoSenecaManufacturer Limited Liability Company d/b/a American
Tripoli. I have read the foregoing interrogatories and answers thereto and
know the content thereof. Pursuant to 28 U.S.C. § 1746, I declare
under penalty of perjury that the foregoing answers to the
interrogatories are true and correct.



                                      By: _______________

                                      Name: RUSSELL TIDABACK

                                      Title: MANAGING MEMBER

                                      Dated: 20NOV2023




                                         6
                                                                         Exhibit 12
                                                             Exhibit P-43, Page 788
Appellate Case: 25-1349    Page: 2931        Date Filed: 04/07/2025 Entry ID: 5503844
                       FIRST DISCOVERY REQUESTS

            REQUESTS FOR PRODUCTION OF DOCUMENTS



11.    Produce the documents reflecting any discipline of Robert Baumann.
RESPONSE: In response to your request, we want to clarify the company's disciplinary
process as outlined in our employee handbook. Our progressive discipline process is
designed to provide associates with opportunities to address and correct behavior when
possible. The handbook explicitly outlines the three steps of increasing severity in this
process: verbal warning, formal meeting with a supervisor and written reprimand, and
termination. It's important to note that managers have discretion in applying this process
and may skip or repeat steps as necessary.


Considering this framework, we must emphasize that Robert Baumann's employment
with American Tripoli was "at-will," as is the case with all our employees in the U.S.
This means that either the employee or the company may terminate the employment
relationship at any time and for any non-discriminatory reason. The termination of Mr.
Baumann falls under the category of "for cause termination" as outlined in our handbook.


Regarding your specific request for discipline records for Mr. Baumann, we do not
possess traditional documents reflecting discipline actions, such as written reprimands, in
this case. The decision to terminate Mr. Baumann was the culmination of ongoing
discussions, evaluations, and attempts to address performance issues and safety concerns,
which are consistent with our progressive discipline process.


While we do not have written records of discipline actions in this case, we want to assure
you that Mr. Baumann's termination was thoroughly assessed and justified based on well-
established principles of employment and operational policies. Our commitment to acting
fairly and lawfully is unwavering.


                                          7
                                                                              Exhibit 12
                                                                 Exhibit P-43, Page 789
Appellate Case: 25-1349        Page: 2932        Date Filed: 04/07/2025 Entry ID: 5503844
24.      Produce the documents reflecting any communications, including Microsoft
Teams chats, text message, emails, to employees of Respondent at the MoSenecaMfr
LLC dba American Tr mine regarding MSHA inspections and/or any MSHA inspectors.


In addition, we ask that you also look for inspectors’ names which would include either
the first and last name together or just the first name or just the last name:
•        Keith and Markeson
•        Bryan and Licklider
•        Randall or Randy and Hill
•        Michael and/or Mike and Van Dorn and/or VanDorn
•        David and/or Dave and Prewett
•        Michael and/or Doc and Dillingham
•        Shawn and Pratt
•        Adam and Larkins
•        Also inspector would be another relevant search term.


RESPONSE: In response to Request No. 24, we acknowledge the importance of
providing relevant communications pertaining to MSHA inspections and inspectors.
However, it is important to note that local communications at our mine, particularly
below the level of the operations manager, often occur face-to-face or through other
forms of verbal communication rather than electronic messages. As such, while we have
made a diligent effort to retrieve electronic communications, we may not have specific
messages that directly address MSHA inspections or inspectors. Below are what was
found using the terms requested above, please let us know if you need further details
surrounding any specific date & time message:
Keith:




                                           8
                                                                                 Exhibit 12
                                                                 Exhibit P-43, Page 790
Appellate Case: 25-1349        Page: 2933        Date Filed: 04/07/2025 Entry ID: 5503844
                                9
                                                             Exhibit 12
                                                       Exhibit P-43, Page 791
Appellate Case: 25-1349   Page: 2934   Date Filed: 04/07/2025 Entry ID: 5503844
                                  10
                                                                Exhibit 12
                                                       Exhibit P-43, Page 792
Appellate Case: 25-1349   Page: 2935   Date Filed: 04/07/2025 Entry ID: 5503844
Markeson:




Bryan: We couldn't find any results for 'Bryan'.




                                        11
                                                                          Exhibit 12
                                                                   Exhibit P-43, Page 793
Appellate Case: 25-1349        Page: 2936          Date Filed: 04/07/2025 Entry ID: 5503844
Licklider:




Randall: We couldn't find any results for 'Randall'.


Randy:




Hill:




Michael:




                                        12
                                                                       Exhibit 12
                                                                   Exhibit P-43, Page 794
   Appellate Case: 25-1349        Page: 2937       Date Filed: 04/07/2025 Entry ID: 5503844
Mike:




Van Dorn:




                                13
                                                             Exhibit 12
                                                         Exhibit P-43, Page 795
  Appellate Case: 25-1349   Page: 2938   Date Filed: 04/07/2025 Entry ID: 5503844
Vandorn:




David: We couldn't find any results for 'David'.


Dave: We couldn't find any results for 'Dave'.


Prewett:




Doc: We couldn't find any results for 'Doc'.


Dillingham: We couldn't find any results for 'Dillingham'.


Shawn:




                                        14
                                                                       Exhibit 12
                                                                   Exhibit P-43, Page 796
   Appellate Case: 25-1349        Page: 2939       Date Filed: 04/07/2025 Entry ID: 5503844
Pratt:




                                 15
                                                              Exhibit 12
                                                          Exhibit P-43, Page 797
   Appellate Case: 25-1349   Page: 2940   Date Filed: 04/07/2025 Entry ID: 5503844
Adam: We couldn't find any results for 'Adam'.


Larkins: We couldn't find any results for 'Larkins'.


Inspector:




                                        16
                                                                        Exhibit 12
                                                                 Exhibit P-43, Page 798
Appellate Case: 25-1349        Page: 2941        Date Filed: 04/07/2025 Entry ID: 5503844
                               17
                                                             Exhibit 12
                                                       Exhibit P-43, Page 799
Appellate Case: 25-1349   Page: 2942   Date Filed: 04/07/2025 Entry ID: 5503844
                               18
                                                             Exhibit 12
                                                       Exhibit P-43, Page 800
Appellate Case: 25-1349   Page: 2943   Date Filed: 04/07/2025 Entry ID: 5503844
                               19
                                                             Exhibit 12
                                                       Exhibit P-43, Page 801
Appellate Case: 25-1349   Page: 2944   Date Filed: 04/07/2025 Entry ID: 5503844
                               20
                                                             Exhibit 12
                                                       Exhibit P-43, Page 802
Appellate Case: 25-1349   Page: 2945   Date Filed: 04/07/2025 Entry ID: 5503844
                               21
                                                             Exhibit 12
                                                       Exhibit P-43, Page 803
Appellate Case: 25-1349   Page: 2946   Date Filed: 04/07/2025 Entry ID: 5503844
                               22
                                                             Exhibit 12
                                                       Exhibit P-43, Page 804
Appellate Case: 25-1349   Page: 2947   Date Filed: 04/07/2025 Entry ID: 5503844
                                23
                                                              Exhibit 12
                                                       Exhibit P-43, Page 805
Appellate Case: 25-1349   Page: 2948   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                 Exhibit 13
                                                       Exhibit P-43, Page 806
Appellate Case: 25-1349   Page: 2949   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 807
Appellate Case: 25-1349   Page: 2950   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                  Exhibit 13
                                                       Exhibit P-43, Page 808
Appellate Case: 25-1349   Page: 2951   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 809
Appellate Case: 25-1349   Page: 2952   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 810
Appellate Case: 25-1349   Page: 2953   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 811
Appellate Case: 25-1349   Page: 2954   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 812
Appellate Case: 25-1349   Page: 2955   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 813
Appellate Case: 25-1349   Page: 2956   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 814
Appellate Case: 25-1349   Page: 2957   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 815
Appellate Case: 25-1349   Page: 2958   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 816
Appellate Case: 25-1349   Page: 2959   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 817
Appellate Case: 25-1349   Page: 2960   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 818
Appellate Case: 25-1349   Page: 2961   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 819
Appellate Case: 25-1349   Page: 2962   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 820
Appellate Case: 25-1349   Page: 2963   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 821
Appellate Case: 25-1349   Page: 2964   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 822
Appellate Case: 25-1349   Page: 2965   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 823
Appellate Case: 25-1349   Page: 2966   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 824
Appellate Case: 25-1349   Page: 2967   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 825
Appellate Case: 25-1349   Page: 2968   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 826
Appellate Case: 25-1349   Page: 2969   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 827
Appellate Case: 25-1349   Page: 2970   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                     Exhibit 13
                                                       Exhibit P-43, Page 828
Appellate Case: 25-1349   Page: 2971   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                Exhibit 14

                                                       Exhibit P-43, Page 829
Appellate Case: 25-1349   Page: 2972   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
                                      Home » Employe e Ha ndbook
                                  Employee 's Ha nd book Ta ble of Conte nts

   1. We lcome
   2. Ge t t ing To Know The Comp a ny
   3. Emp loyme nt Ba s ics
           1. Emp loyme nt Cont ra ct Typ e s
           2. Eq ua l Op p ort unit y Emp loyme nt
           3. Re cruit me nt a nd Se le ct ion Proce s s
                    1. Ba ckground che cks
                    2. Re fe rra ls
           4. At t e nd a nce Policy
   4. Workp la ce Policie s
           1. Confid e nt ia lit y a nd Da t a Prot e ct ion
           2. Ha ra s s me nt a nd Viole nce
                    1. Workp la ce ha ra s sme nt
                    2. Workp la ce viole nce
           3. Workp la ce Sa fe t y a nd He a lt h
                    1. Pre ve nt a t ive a ct ion
                    2. Eme rge ncy ma na ge me nt
                    3. Smoking
                    4. Drug- fre e workp la ce
           4. Exp e ns e Ap p rova l a nd Re p ort ing Policy
                    1. Purp os e of Policy
                    2. Scop e of Policy
                    3. Proce d ure
   5. As s ocia t e Cod e of Cond uct
           1. Dre s s Cod e
           2. Cyb e r Se curit y a nd Digit a l De vice s
                    1. Int e rne t us a ge
                    2. Ce ll p hone

                                                            Page 1 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 830
      Appellate Case: 25-1349 Page: 2973    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________
                3. Corp ora t e e ma il
                     4. Socia l me d ia
            3. Conflict Of Int e re s t
            4. As s ocia t e Re la t ions hip s
                     1. Fra t e rniza t ion
                     2. Gift s
                     3. Emp loyme nt of re la t ive s
            5. Workp la ce Vis it ors
            6. Solicit a t ion a nd Dis t rib ut ion
   6. Comp e ns a t ion & De ve lop me nt
            1. Comp e ns a t ion St a t us
   7. De p a rt ma nt of La b or & Ind us t ria l Re la t ion.
            1. Ove rt ime
            2. Pa yroll
            3. Pe rforma nce Ma na ge me nt
                     1. How we e xpe ct ma na ge rs t o le a d a s s ocia t e s
            4. As s ocia t e Tra ining a nd De ve lop me nt
   8. Re q uire d Tra ining for ce rt a in role s :
   9. Be ne fit s And Pe rks
            1. Re t ire me nt
            2. As s ocia t e He a lt h
            3. Worke rs ’ Compe ns a t ion
            4. Work From Home
                     1. Re mot e working
            5. As s ocia t e Expe ns e s
            6. Comp a ny Ca r
            7. Pa rking
            8. Comp a ny- Is s ue d Eq uip me nt
   10. Pos it ion- Re la t e d Clot hing Allowa nce
   11. Time
            1. Working Hours
                                                           Page 2 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 831
      Appellate Case: 25-1349 Page: 2974    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
   12. Time Clock for Hourly Emp loye e s
           1. Pa id Time Off (PTO)
           2. Holid a ys
           3. Be re a ve me nt Le a ve
           4. Jury Dut y a nd Vot in g
   13. Mis s ouri Juror Info: ht t ps :/ / www.court s.mo.gov/ p a ge .js p ?id =103118
           1. Pa re nt a l Le a ve
                    1. Pa t e rnit y a nd ma t e rnit y le a ve
   14. Le a ving The Comp a ny
           1. Progre s s ive Discip line
           2. Re s igna t ion
                    1. Tuit ion or re loca t ion re imb urse me nt
                    2. Force d re s igna t ion
           3. Te rmina t ion
           4. Re fe re nce s
                    1. Re s ource s
   15. Policy Re vis ion




                                                           Page 3 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 832
      Appellate Case: 25-1349 Page: 2975    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                             Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                            5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                            Seneca, MO 64865
                                                                             Office (239) 829-5457

__________________________________________________________________________________________________
Welcome

Hello and welcome! Thank you for joining the American Tripoli team, where we strive to emphasize
product quality, consistency, and excellent customer service. We can’t wait to see what you will
achieve with us.

This associate handbook defines who we are and how we work together. We will do everything
possible to create a fair and productive workplace, but we need your help. We’ve created this
handbook to guide you.

This handbook isn’t a contract or a guarantee of employment. It’s a collection of the expectations,
commitments, and responsibilities. Please read this associate handbook carefully and consult it
whenever you need to.



Getting To Know The Company

American Tripoli has been in business since 1869. It has been sold and changed ownership
numerous times throughout its history. The underlining purpose of the company has not changed
through all of this. The company surrounds itself in the basic concept of open-pit mining, processing,
manufacturing, advertising, selling, and distributing the product(s).

Make sure you utilize the company website to learn about the product(s) we manufacture and sell.

We are a growing company that will be using all available resources to make this company grow and
multiple in not only in gross revenue but also global market share.



Employment Basics

In this section, we explain the associate contract types and define the basic employment policies.


Employment Contract Types

Full-time associates work at least 30 hours per week or 120 hours per month on average.

Independent Contractor - common situations may arise when we need for projects of short or specific

                                              Page 4 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 833
      Appellate Case: 25-1349 Page: 2976    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________
duration where specialize knowledge or expertise is required or exigent circumstances such as
meeting the operational needs when an associate goes on an extended leave of absence. Part-time
associates are those who work fewer than 30 hours per week.

Full-time and part-time associates can have either temporary or indefinite duration employment
contracts. Full-time associates under an indefinite duration contract are entitled to the company’s
medical and dental benefits package after their first 90-day employment period.

We remind you that, in the U.S., employment is “at-will”. This means that you or the company may
terminate the employment relationship at any time and for any non-discriminatory reason(s).


Equal Opportunity Employment

American Tripoli is an equal opportunity employer. We don’t tolerate discrimination against protected
characteristics (gender, age, sexual orientation, race, nationality, ethnicity, religion, disability, veteran
status). We want all associates to treat others with respect and professionalism. In practice, this
means that we:
              Hire and promote people based on skills, experience or potential and try to reduce bias
               in every process (e.g. through structured interviews.)


              Make accommodations to help people with disabilities move about safely on the
               premises and use the products, services, and equipment.


              Use inclusive, diversity-sensitive language in all official documents, signs and job ads.


              Conduct diversity and communication training.

Apart from those actions, we commit to penalizing every discriminatory, offensive, or inappropriate
behavior. To do this properly, we ask you to report any discriminatory action against yourself or your
colleagues to your manager. If it is your manager, report it to their manager. The company will not
retaliate against you if you file a complaint or discrimination lawsuit. Any associate who retaliates or
discriminates will face disciplinary action.


Recruitment and Selection Process
The hiring steps might vary across roles, but we always aim for a process that is fair and effective in
hiring great people. As a Department Manager, If you are hiring for an open role, you will likely go
through these steps:
                                              Page 5 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 834
       Appellate Case: 25-1349 Page: 2977    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________



          I.   Identify the need for a new job opening.



         II.   Decide whether to hire externally or internally.



        III.   Review job descriptions and write a job ad.



        IV.    Get approval from Senior Management for your job ad.



         V.    Select appropriate sources (external or internal) to post your job opening.



        VI.    Decide on hiring stages and possible timeframes.



       VII.    Review resumes in the company database.



      VIII.    Source passive candidates.



        IX.    Shortlist applicants.



         X.    Screen and interview candidates.



        XI.    Run background checks and check references.



       XII.    Select the most suitable candidate.
                                                Page 6 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 835
      Appellate Case: 25-1349 Page: 2978    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________



      XIII.       Make an official offer.

Steps may overlap, so skip steps when appropriate. Each member of a hiring team might have
different responsibilities (e.g. recruiters source and hiring managers interview candidates.)

Throughout this process, we aim to keep candidates informed, communicate well with each other,
and give everyone an equal opportunity to work with us. Ask the recruiters for help whenever you
need to enhance candidate experience or write an inclusive job description.


Background checks


If you want to run background checks on candidates, ask the Operations Manager for guidance. This
process is sensitive, and we must always abide by laws and ensure candidates understand the
intentions. As a rule, commission a background check for finalists only. Use the contracted provider
and ensure you have your candidates’ permission.


Referrals


If you know someone who you think would be a good fit for a position at the company, feel free to
refer them. If we end up hiring your referred candidate, you are eligible for $600 referral bonus. The
associate referral rewards may be higher if we hire your referred candidate in a hard-to fill role. For
example, if we hire your referral for the position of Manager, you may receive $1200.

Additional rules for rewards:

                 Reward payout schedule is 1/3 within a month of the date we hired a referred
                  candidate. Second 1/3 at the completion of the referred candidates first 180 days of
                  employment. If Candidate quits, resigns, or is terminated for any reason before the
                  completing first 180 days of employment the second ½ reward is provided. Final 1/3 at
                  the completion of the referred candidates first 360 days of employment. If Candidate
                  quits, resigns, or is terminated for any reason before the completing first 360 days of
                  employment the second and or final 1/3 reward is provided




                                                  Page 7 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 836
       Appellate Case: 25-1349 Page: 2979    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________
              There is no cap on the number of referrals an associate can make.
              If two or more associates refer the same candidate, only the first referrer will receive
               the referral incentives.
              Candidates can only be referred once; all referrals are recorded.
              Referrers are still eligible for rewards even if a candidate is hired later for same
               position. It is the referrers responsibility to keep a record of who they refer and when.
               Any discrepancy, results go to the company.

Who can be referred?

We have two conditions for candidates who can qualify you for the rewards. They should:
              Have not applied to the company before
              Be hired as permanent full- or part-time associates (not as temporary associates or
               contractors


The company may use an online form or a platform where associates may refer candidates. You can
also reach out directly to your Manager with referrals. Generally, we encourage you to check the
open positions and consider your social networks and external networks as potential resources for
referred candidates. Keep in mind that rewards may be subject to taxation. Please contact your
Manager for more information.



Attendance Policy

Team Members’ absence/ tardiness will be assessed using a points system. This points system starts
after the first 90 days of employment. The occurrence of point 1 is forgiven, the occurrence of point 2 is a
verbal warning, the occurrence of point 3 is a “written” warning, and the occurrence of point 4 results in
termination. This point system resets every year, for example, if a Team Member started work on March
1st, their 90-day mark would be May 30th and they would begin the points system. Any points accrued
between May 30th and May 29th of the following year would drop off, and the Team Member would restart
with 0 points on May 30th that next year.
Absences count as points when they are non-approved and non-PTO. Unexpected absences still count as
points, even if the Team Member notifies their manager prior to the start of the shift. Missed work without
notification is a serious offense. More than 2 days in a row missed without giving notification will result in
immediate termination.
Tardiness over 15 minutes will be counted as 0.5 points. Leaving work early or for some time during the
day is also generally 0.5 points, but will be counted as 1 full point, if more than 2 hours of work are
                                                  Page 8 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 837
       Appellate Case: 25-1349 Page: 2980    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
missed. Excessive tardiness where less than 15 minutes of work is missed can still be grounds for
termination.
If an emergency occurs, Team Members are allotted 2 emergency days per year. These are days missed
for good reason that will not count as points. The year for emergency days works the same as the year for
points, starting at the 90th day of employment.
Overtime, not to exceed 50 hours per week, may be required. If overtime is required, Team Members will
be given at least 2-day notice. Required overtime is considered working hours, and the points system will
still apply. Volunteers may be taken for overtime work that comes up without a 2-day notification.
Absences within the first 90 days of employment are more serious. More than one absence within the first
90 days may be grounds for termination, depending on the situation.



Workplace Policies

This section describes policies that apply to everyone at the company: associates, contractors,
volunteers, vendors, and stakeholders alike. These policies help us build a productive, lawful, and
pleasant workplace.


Confidentiality and Data Protection

We want to ensure that private information about clients, associates, partners, and the company is
well-protected. Examples of confidential information are:
              Associate records
              Unpublished financial information
              Data of customers/partners/vendors
              Customer lists (existing and prospective)
              Unpublished goals, forecasts and initiatives marked or unmarked


As part of the hiring process, we will ask you to sign non-compete and non-disclosure agreements
(NDAs.) We are also committed to:
              Restrict and monitor access to sensitive data.
              Develop transparent data collection procedures.
              Train associates in online privacy and security measures.
              Build secure networks to protect online data from cyberattacks.
              Unpublished goals, forecasts and initiatives marked or unmarked


                                               Page 9 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 838
      Appellate Case: 25-1349 Page: 2981    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________
We also expect you to act responsibly when handling any company internal information and treat it
all as confidential information.

You must:

              Lock or secure company information at all times.
              Make sure you view confidential information on secure devices only.
              Only disclose information to other associates when it’s necessary and authorized.
              Keep confidential documents inside the company’s premises unless it’s necessary to
               move them.
              There should be NO or absolute minimal printing of anything. Printing is ONLY allowed
               for customer shipping documents or for MSHA documentation (since they like to have a
               hard copy on each inspection).
              If you acquire a receipt from a purchase, delivery, mail, etc., scan the document into
               the system. The easiest method to do this is by using your cellphone’s camera to take a
               picture, then upload the picture straight into the respective folder in Teams or by using
               the scanner in the admin building. Once you have verified the receipt is scanned and
               stored online, throw the paper copy away.
              We do not want paper copies of anything. We want a digital copy of every document.
               We want the administration of the business to be as lean as we possibly can. We want
               all documentation stored online. 100% no paper office is the goal. This is very
               important, and we cannot stress this enough. We want the assurance that if something
               such as a flood, a fire, a tornado, or we build a new mill building we will not be lost or
               struggling to quickly break from the Seneca location.
              It is your responsibility to preserve, scan, verify and store the documentation in the
               approved file storage provided.


You must not:


              Use confidential information for your personal benefit or profit.
              Disclose confidential information to anyone outside of the company.
              Replicate confidential documents and files and store them on insecure devices.


This policy is important for the company’s legality and reputation. We will terminate any associate
who breaches the confidentiality guidelines for personal profit and seek legal recourse. We may also

                                                 Page 10 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 839
       Appellate Case: 25-1349 Page: 2982    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
discipline any unintentional breach of this policy depending on its frequency and seriousness. We will
terminate associates who repeatedly disregard this policy, even when they do so unintentionally.


Harassment and Violence

To build a happy and productive workplace, we need everyone to treat others well and help them feel
safe. Each of us should do the part to prevent harassment and workplace violence.


Workplace harassment


Harassment is a broad term and may include seemingly harmless actions, like gossip. We can’t
create an exhaustive list, but here are some instances that we consider harassment:
              Sabotaging someone’s work on purpose.
              Commenting derogatorily on a person’s ethnic heritage, religious beliefs, or sexual
               preference.
              Train associates in online privacy and security measures.
              Starting or spreading rumors about a person’s personal life.
              Ridiculing someone in front of others or singling them out to perform tasks unrelated to
               their job (e.g. bringing coffee) against their will.


Sexual harassment is illegal, and we will seriously investigate relevant reports. If an associate is
found guilty of sexual harassment, they will be terminated immediately.
If you’re being harassed, whether by a colleague, customer, or vendor, you can choose to talk to any
of these people:

              Offenders. If you suspect that an offender doesn’t realize they are guilty of harassment,
               you could talk to them directly to resolve the harassment. This tactic is appropriate for
               cases of minor harassment (e.g., inappropriate jokes between colleagues. It may not
               seem inappropriate to those in the conversation where it is being said but can be
               inappropriate to those overhearing the conversation).




              Your manager. If customers, vendors, or team members are involved in your claim, you
               may reach out to your manager. Your manager will assess your situation


                                               Page 11 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 840
       Appellate Case: 25-1349 Page: 2983    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________




              Senior Management. Feel free to reach out to Senior Management in any case of
               harassment no matter how minor it may seem. For your safety, Senior and may his/her
               manager if appropriate.
              Starting or spreading rumors about a person’s personal life.
              Ridiculing someone in front of others or singling them out to perform tasks unrelated to
               their job (e.g. bringing coffee) against their will.


Management as soon as possible in cases of serious harassment (e.g., sexual advances) or if your
manager is involved in your claim. Anything you disclose will remain confidential.


Workplace violence


Violence in the workplace is a serious form of harassment. It includes physical and sexual assault,
destruction of property, threats to harm a person or property and verbal and psychological abuse. We
want to avoid those incidents altogether, but we also want to be ready to respond if needed.

For this reason, we ask you to:




              Report to Senior Management if you suspect or know that someone is being violent.
               Your report will be confidential, and we will investigate the situation with discretion
              Call 911 if you witness incidents of severe physical violence (e.g., ones that involve a
               lethal weapon.) For your safety, avoid getting involved.

We will treat associates who verbally threaten others as high risk and they will receive an appropriate
penalty. If Senior Management finds that an associate commits an act of violence, we will terminate
that associate and seek to press criminal charges. Associates who damage property deliberately will
be solely responsible for paying for it.

Supporting victims:




                                                 Page 12 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 841
       Appellate Case: 25-1349 Page: 2984    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
To support victims of workplace violence, we may, provide victims with the lawyer’s services to help
them file lawsuits.


Get help early on :


Seek help from others early on to mitigate conflicts. For example:




              If you experience conflicts with a colleague, ask your manager for advice before
               tensions escalate. If these conflicts persist, ask Senior Management whether you could
               attend conflict resolution seminars with your colleague.




              If you are experiencing personal or work troubles, ask for help from a mental health
               professional. Check with your insurance provider to determine whether cover any
            mental health services. Your discussions will remain confidential.
The workplace is founded on mutual respect, and we won’t allow anyone to compromise this
foundation.

Workplace Safety and Health
The company is committed to creating a hazard-free workplace. To this end, we will ensure
workplace safety through preventative action and emergency management.



Preventative action
Preventative actions are any actions we take to avoid injuries or illnesses related to the workplace.
We will periodically conduct risk assessments and job hazard analyses through a workplace safety
committee to uncover health risks to associates. And we will establish preventative measures to
address risks accordingly
At a minimum, we will:



              Hold associate training sessions on safety standards and procedures



                                               Page 13 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 842
      Appellate Case: 25-1349 Page: 2985    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
           Make sure associates who work in dangerous locations are safe.




              Provide protective gear like gloves, protective uniforms and goggles.



              Direct inspectors and quality control associates to evaluate equipment and
               infrastructure regularly.


We also expect you to take safety seriously. Always use protective equipment and follow standards
whenever necessary. If you deliberately disregard the guidelines, we may terminate you for your own
and others’ safety.

Emergency management
Emergency management refers to the plan to deal with sudden catastrophes like fire, floods,
earthquakes, or explosions. The emergency management provisions include:
              Functional smoke alarms and sprinklers that are regularly inspected.



              Technicians (external or internal) available to repair leakages, damages, and blackouts
               quickly.



              Fire extinguishers and other fire protection equipment that are easily accessible. An
               evacuation plan posted on each floor and online.



              Fire escapes and safety exits that are clearly indicated.


Smoking
American Tripoli is a smoke-free workplace. You can smoke in designated smoking areas and outer
premises, like sidewalks. Any other area in the workplace (like restrooms, lobby, offices, staircases,
warehouses) is strictly smoke-free to protect non-smokers.

Emergency management
Emergency management refers to the plan to deal with sudden catastrophes like fire, floods,
earthquakes, or explosions. The emergency management provisions include:



                                               Page 14 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 843
       Appellate Case: 25-1349 Page: 2986    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
We also advise you to:



              Extinguish your cigarettes and discard them appropriately.



              Avoid smoking when you have scheduled meetings.



            Avoid smoking near flammable objects and areas.
Setting off fire alarms and causing fires by smoking are serious offenses. If you are found
responsible, you may face disciplinary action up to and including termination.

Drug-free workplace
American Tripoli is a drug-free workplace. Whether you are an associate, contractor, or visitor, you
must not bring, use, give away or sell any drugs on company premises. If you are caught with illegal
drugs or show that you are under the influence of substances, you will face disciplinary action up to
and including termination.
A list of prohibited drugs and substances includes, but isn’t limited to, in any form:


              Heroin .



              Cocaine



              Methamphetamine
Alcohol:
We prohibit associates from consuming alcohol during working hours, but they may consume
alcoholic drinks in moderation at company events.

Prescription drugs:
If you feel that a prescription drug (e.g. an anxiety mediation) unexpectedly affects your senses,
thinking or movement, ask for the rest of your day off. If your manager suspects substance abuse,
you may face disciplinary action.

You MUST NOT use medical marijuana in the workplace. We have the right to terminate you if your
off duty use of medical marijuana makes you unable to complete your job duties correctly.

                                               Page 15 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 844
      Appellate Case: 25-1349 Page: 2987    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
We expect associates who hold safety-sensitive jobs (e.g., machine operators or drivers) to be fully
alert and capable of always performing their duties. We may terminate you if we conclude your
prescription drug use creates severe safety risks. If you need to use prescription drugs for a limited
time and you think they may impair your abilities, use your PTO.

If your job includes secondary tasks that are safety-sensitive and your prescribed drugs affect your
ability to perform these tasks, we can make reasonable accommodations to ensure you and your
colleagues’ safety. If your job includes secondary tasks that are safety-sensitive and your prescribed
drugs affect your ability to perform these tasks, we can make reasonable accommodations to ensure
you and your colleagues’ safety.

Dealing with addiction :
Being sober is a prerequisite to thriving at the company and we want to help you as much as
possible.

We won’t tolerate substance addiction that results in violent, offensive, or inappropriate behavior.

Expense Approval and Reporting Policy
Purpose of Policy
This policy outlined applies to all employees who spend money on work-related activities. It is used
to standardize the procedure for getting pre-approval, making payments, and submitting
documentation for work-related expenses.

Scope of Policy
This policy applies to the following expense types:



              Immediate expenses necessary for daily operations.



              Procurement for non-immediate needs



              Service providers and other specific expenses



              Expenses needing reimbursement


Procedure

                                              Page 16 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 845
      Appellate Case: 25-1349 Page: 2988    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                            Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                           5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                           Seneca, MO 64865
                                                                            Office (239) 829-5457

__________________________________________________________________________________________________
The approval process for immediate expenses necessary for daily operations:



              Expenses under $50 may be purchased without pre-approval.



              Expenses over $50 should be submitted to the Operations Manager via Teams direct
               message for approval BEFORE purchase.



              The Operations Manager will then submit the expense request to a Managing Member.



              The Managing Member will communicate the approval or denial of the request to the
               Operations Manager, who will share it with the team member who requested the
               expense.


The approval process for non-immediate procurement needs:



              Expenses of this type require a quote from THREE DIFFERENT VENDORS.



              All vendor quotes and the selected vendor should be submitted to the Operations
               Manager via Teams..



              The Operations Manager will communicate with the Manager Member for approval of
               these expenses.



              The Operations Manager will share the approval or denial of the expense with the
               requesting team member. The Managing Member may also be a part of this
               communication..




                                             Page 17 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 846
      Appellate Case: 25-1349 Page: 2989    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
Documentation process for all expenses once approved:



              The requestor should communicate the approved requests to the Front Desk Team
               Member who will create a PO.



              Receipts for expenses purchased via credit card, including those under $50, should be
               signed and submitted to the Front Desk Team Member within 24 hours.



              Receipts or invoices with PO numbers will be scanned or saved by the Front Desk
               Team Member and added to Teams in the appropriate folder.


Service providers and other specific expenses:



              Service providers that require payment at the time of service should be approved
               BEFORE BOOKING to ensure payment is available at that time.



              Using service providers for non-immediate needs should follow the same process as
               the other non-immediate expenses. Therefore, three quotes are needed..



              Immediate need service providers charging via invoice will be documented by the Front
               Desk Team Member.



              Non-immediate expenses of goods that cannot be purchased from more than one
               location still need approval and to follow the same process, but only one quote is
               required.


Expenses needing reimbursement:




                                              Page 18 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 847
       Appellate Case: 25-1349 Page: 2990    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
           Expenses needing reimbursement may include expenses purchased before receiving a
             company-issued credit card or mileage reimbursement, among other things.



              All vendor quotes and the selected vendor should be submitted to the Operations
               Manager via Teams..



              Expenses of this kind require PRE-APPROVAL, following the same approval process
               as other expenses.



              Documentation of these expenses, which must have receipts, should be documented by
               the team member responsible for the charges and submitted to the Front Desk Team
               Member for reimbursement via check once per month.


Associate Code of Conduct
As an associate, all company policies mentioned above apply to you. We have some additional
expectations about your behavior at work, which we outline here. We can’t cover every single case of
conduct, but we trust you to always use your best judgement. Reach out to your manager if you face
any issues or have any questions.

Dress Code
The company’s official dress code is casual. This includes shoulder covered t-shirts, shorts no
shorter than mid-thigh and open toed shoes (admin staff only). However, an associate’s manager
may also inform how they should dress. If you frequently meet with clients or prospects, conform to a
more formal dress code. If you work in the Mill/Plant or the Quarry you are required to wear
appropriate clothing with safety first in mind and as directed by your manager. We expect you to be
clean when coming to work and avoid wearing clothes that are unprofessional (e.g., workout clothes,
holes in clothing, tank tops, revealing or dirty, smelly clothing.) Dress code is ultimately the
responsibility of the department manager.

Cyber Security and Digital Devices
This section deals with all things digital at work. We want to set some guidelines for using computers,
phones, the internet connection, and social media to ensure security and protect the assets.

Internet usage
The corporate internet connection is primarily for business. But you can occasionally use the
connection for personal purposes as long as they don’t interfere with your job responsibilities. Also,
we expect you to temporarily halt personal activities that slow down the internet connection (e.g.,
uploading photos) if you’re asked to.
                                              Page 19 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 848
      Appellate Case: 25-1349 Page: 2991    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________



You MUST NOT use the internet connection to:



              Stream music or videos.



              Make or receive personal video calls.



              Send confidential information to unauthorized recipients.



              Invade another person’s privacy and gain access to sensitive information.



              Download or upload pirated movies, music, material, or software.



              Visit potentially dangerous websites that can compromise the network and computers’
               safety.



              Perform unauthorized or illegal actions, like hacking, fraud or buying/selling illegal
               goods.


Cell phone
We allow use of cell phones at work. But we also want to ensure that your devices won’t distract you
from your work or disrupt the workplace. We ask you to follow a few simple rules:
              Use your cell phone in a manner that benefits your work (business calls, productivity
               apps, calendars).



              Keep personal calls brief and use an empty meeting room or common area so as not to
               disturb your colleagues.

                                                Page 20 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 849
       Appellate Case: 25-1349 Page: 2992    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________



              Avoid playing games on your phone or texting excessively.



              Avoid using your phone for any reason while driving a company vehicle.



              Don’t use your phone to record confidential information.


Also, you must not use your phone in areas where cell phone use is explicitly prohibited (e.g.
laboratories, meetings, driving company vehicles, or operating company equipment.)

Corporate email
Email is essential to the work. You should use your company email primarily for work, but we allow
some uses of your company email for personal reasons.

              Work-related use. You can use your corporate email for work-related purposes without
               limitations. For example, you can sign up for newsletters and online pservices that will
               help you in your job or professional growth.




              Personal use. You can use your email for personal reasons if you keep it safe and
               avoid spamming and disclosing confidential information. For example, you can send
               emails to friends and family and download eBooks, guides, and other safe content for
             your personal use.
The general expectations
No matter how you use your corporate email, we expect you to avoid:
              Signing up for illegal, unreliable, disreputable, or suspect websites and services.



              Sending unauthorized marketing content or emails.



              Registering for a competitor’s services, unless authorized.


                                               Page 21 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 850
      Appellate Case: 25-1349 Page: 2993    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           Sending insulting or discriminatory messages and content.




           Intentionally spamming other people’s emails, including your coworkers.
In general, use strong passwords and be vigilant in catching emails that carry malware or phishing
attempts. If you are not sure that an email you received is safe, ask the IT support team.

Social media
We want to provide practical advice to prevent careless use of social media in the workplace.
We address two types of social media uses: using personal social media at work and representing
the company through social media.
Using personal social media at work
You are permitted to access your personal accounts at work. But we expect you to act responsibly,
according to the policies and ensure that you stay productive. Specifically, we ask you to:
              Discipline yourself. Avoid getting sidetracked by your social platforms.



              Ensure others know that your personal account or statements don’t represent the
               company. For example, use a disclaimer such as “opinions are my own.”



              Avoid sharing intellectual property (e.g. trademarks) or confidential information. Ask
               your manager first before you share company news that’s not officially .



              Avoid any defamatory, offensive, or derogatory content. You may violate the company’s
               anti-harassment policy if you direct such content towards colleagues, clients, or
               partners.


Representing the company through social media
If you handle the social media accounts or speak on the company’s behalf, we expect you to protect
the company’s image and reputation. Specifically, you should:



              Be respectful, polite, and patient.



              Avoid speaking on matters outside your field of expertise when possible.”
                                                Page 22 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 851
       Appellate Case: 25-1349 Page: 2994    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________



              Follow the confidentiality and data protection policies and observe laws governing
               copyrights, trademarks, plagiarism, and fair use.



              Coordinate with the Marketing department when you’re about to share any major-
               impact content.



              Avoid deleting or ignoring comments for no reason.



              Correct or remove any misleading or false content as quickly as possible
Conflict Of Interest
When you are experiencing a conflict of interest, your personal goals are no longer aligned with your
responsibilities towards us. For example, accepting a bribe may benefit you financially, but it is illegal
and against the business code of ethics. If we become aware of such behavior, you will lose your job
and may face legal trouble.

For this reason, conflicts of interest are a serious issue for all of us. We expect you to be vigilant to
spot circumstances that create conflicts of interest, either to yourself or for your direct reports. Follow
the policies and always act in the company’s best interests. Whenever possible, do not let personal
or financial interests get in the way of your job. If you are experiencing an ethical dilemma, talk to
your manager and we will try to help you resolve it.

Associate Relationships
We want to ensure that relationships between associates are appropriate and harmonious. We
outline the guidelines, and we ask you to always behave professionally.

Fraternization
Fraternization refers to dating or being friends with your colleagues. In this policy, “dating” equals
consensual romantic relationships and sexual relations. Non-consensual relationships constitute
sexual violence, and we prohibit them explicitly.
Dating colleagues
If you start dating a colleague, we expect you to maintain professionalism and keep personal
discussions outside of the workplace.

You are also obliged to respect your colleagues who date each other. We won’t tolerate sexual jokes,


                                               Page 23 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 852
       Appellate Case: 25-1349 Page: 2995    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
malicious gossip, and improper comments. If you witness this kind of behavior, please report it your
Manager or Senior Management.
Dating managers
To avoid accusations of favoritism, abuse of authority and sexual harassment, supervisors must not
date their direct reports. This restriction extends to every manager above an associate.

Also, if you act as a hiring manager, you aren’t allowed to hire your partner to your team. You can
refer them for employment to other teams or departments where you don’t have any managerial or
hiring authority.
Friendships at work
Associates who work together may naturally form friendships either in or outside of the workplace.
We encourage this relationship between peers, as it can help you communicate and collaborate. But
we expect you to focus on your work and keep personal disputes outside of the workplace.
Gifts
Nothing valued at more than $25 from a customer, vendor, or other third party can be accepted by an
associate. Gifts are allowed but “significantly expensive ones, greater than $25” must be reported to
HR. Guidelines say no gifts can be solicited, and only gifts of minimal value can be accepted.

Employment of relatives
Everyone in the company should be hired, recognized, or promoted because of their skills, character,
and work ethic. We would not like to see phenomena of nepotism, favoritism, or conflicts of interest,
so we place some restrictions on hiring associates’ relatives.
To the company, a “relative” is related by blood or marriage within the third degree to an associate.
This includes parents, grandparents, in-laws, spouses or domestic partners, children, grandchildren,
siblings, uncles, aunts, nieces, nephews, stepparents, stepchildren and adopted children.
As an associate, you can refer your relatives to work with the company. Here are the only
restrictions:



              You must not be involved in a supervisory/reporting relationship with a relative.



              You cannot be transferred, promoted, or hired inside a reporting relationship with a
               relative.



              You cannot be part of a hiring committee, when your relative is interviewed for that
               position.


                                               Page 24 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 853
       Appellate Case: 25-1349 Page: 2996    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
If you become related to a manager or direct report after you both become employed by the
company, we may have to transfer one of you or transfer report responsibility.

Workplace Visitors
If you want to invite a visitor to the offices, please ask for permission from your manager first. Your
manager will need to notify the Operations Manager. Also, inform the front office/reception area of
your visitor’s arrival. Visitors are required to sign in and show identification. You will be asked to
return your visitors to front office and have them sign out once their visit is complete.
When you have office visitors, you also have responsibilities. You will be responsible for:


              Always tend to your visitors, especially when they are underage, Never leave a visitor
               unattended, anywhere on company property, inside or outside the building




              Keep your visitors away from areas where there are dangerous machines, chemicals,
               confidential records, or sensitive equipment.




              Prevent your visitors from proselytizing your colleagues, gathering donations, or
               requesting participation in non-company related activities while on the premises.


Anyone who delivers orders, mail or packages for associates should remain at the admin building’s
reception area. If you are expecting a delivery, the front office will notify you so you may collect it.

Solicitation and Distribution
Solicitation is any form of requesting money, support or participation for products, groups,
organizations or causes which are unrelated to the company (e.g. religious proselytism, asking for
petition signatures.) Distribution means disseminating literature or material for commercial or political
purposes.
We don’t allow solicitation and distribution by non-associates in the workplace. As an associate, you
may solicit from your colleagues only when you want to:



              Ask colleagues to help organize events for another associate (e.g., adoption/birth of a
               child, promotion, retiring).

                                               Page 25 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 854
      Appellate Case: 25-1349 Page: 2997    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________



               Seek support for a cause, charity or fundraising event sponsored, funded, organized, or
                authorized by the company.



              Invite colleagues to associate activities for an authorized non-business purpose (e.g.,
               recreation, volunteering.)
In all cases, we ask that you do not disturb or distract colleagues from their work.

Compensation & Development
In this section, we outline the guidelines for compensating associates according to their employment
status. We also describe the performance management and associate development policies.

Compensation Status
De pa rt ma n t of La bor & Indus t ria l Re la t ion.
General for further details.


There are two types of associates under FLSA guidelines:




               Non-exempt associates, who are covered by the FLSA’s minimum wage and overtime
                provisions.




               Exempt associates, who aren’t covered by the FLSA because they meet three
                exemption criteria: (a) they are paid at least $23,600 per year ($455 per week), (b) they
                are paid on a salary basis, and (c) they perform exempt job duties ("executive,"
                "professional" and "administrative.") Most associates must meet all three criteria to be
                exempt.


If you are unsure as to whether you should be exempt or not, please ask your manager to clarify your
status.
The FLSA excludes some types of jobs (e.g. railroad workers, truck drivers) because they are
covered by other federal laws. Some other workers, like outside salespeople, are excluded. Feel free
to ask your manager for clarifications any time.
                                                         Page 26 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 855
       Appellate Case: 25-1349 Page: 2998    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
Overtime
Occasionally, we may need you to work more than your regular working hours. The US Fair Labor
Standards Act (FLSA) states unless exempt, employees must receive overtime (OT) pay for hours
worked over 40 in a workweek at a rate not less than time and one-half their regular rates of pay.

It is a supervisory responsibility to justify and reduce costs everywhere possible. Therefore, it is at
the supervisor’s discretion to offer the opportunity for an associate to work for overtime pay. The
supervisor should be managing the workload across the team members to avoid burnout.

No overtime is automatically authorized. Any requested overtime is required to get written prior
approval with both the requesting department manager and senior management signatures. Any
department manager submitting a timesheet with OT on it will need to provide the admin office team
with the signed authorized OT letter.

If you are an exempt associate, you are not entitled to overtime pay by federal law. If an exempt
associate must work overtime, we will set a cap for overtime hours at 10 hours per week to prevent
overworking and burnout.

If you are a non-exempt associate, you are entitled to overtime pay of one and a half times your
wage. Please record your overtime hours accurately, so we can calculate your pay correctly. We also
ask you to work overtime only after its authorized by your supervisor to make the record-keeping
easier.

Am I an exempt employee? In summary, to be an exempt employee must (a) be paid at least
$23,600 per year, and (b) be paid on a salary basis, and also (c) perform exempt job duties. These
requirements are outlined in the FLSA Regulations (promulgated by the U.S. Department of Labor).

Payroll
For hourly and salary associates, wages are paid biweekly by direct deposit. Please notify your
manager if your banking information has changed.

Performance Management
We have built the performance management practices to:



              Ensure you understand your job responsibilities and have specific goals to meet.



              Provide you with actionable and timely feedback on your work.



                                               Page 27 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 856
       Appellate Case: 25-1349 Page: 2999    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
           Invest in development opportunities that help you grow professionally.




              Recognize and reward your work in financial or non-financial ways (e.g. associate
               awards.)


To meet these objectives, we have:




              Established quarterly performance reviews. During these reviews, your manager will fill
               out your performance report and arrange a one-on-one meeting with you to discuss it.
               Through these discussions, managers aim to recognize associates who are good at
               their jobs, identify areas of improvement and talk about career moves. Pay increases or
               bonuses are not guaranteed. But we encourage managers to recommend rewards for
               their team members when they deserve them. There won’t be any forced ranking or
               other comparison between associates, as the goal is to help all associates improve and
               develop their careers.




              All managers have been instructed to meet with their team members once per month to
               provide feedback and talk about their work and motivations. These usually are informal
               and unscheduled. This way, you can receive feedback in a timely manner and avoid
               surprises during your quarterly performance preview. If an associate feels that they
               need feedback they should ask their manager for additional feedback.


How we expect managers to lead associates
If you manage a team, you are responsible for your team members’ performance. To conduct
effective regular meetings and performance evaluations, we expect you to:




              Set clear objectives. Your team members should know what you expect of them.
               When you first hire someone to your team, ensure they understand their job duties. Set
                                              Page 28 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 857
       Appellate Case: 25-1349 Page: 3000    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                             Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                            5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                            Seneca, MO 64865
                                                                             Office (239) 829-5457

__________________________________________________________________________________________________
               specific goals for each team member (and team-wide if applicable.) Revisit those goals
               during quarterly performance reviews.




              Provide useful feedback. During scheduled meetings with your team members, give
               them both guidance and praise, as appropriate. Be fair and specific to help them
               understand and implement your feedback.




              Keep your team members involved. There should be two-way communication
               between you and your team. Make your expectations clear, but always take your team
               members’ motivations and aspirations into account. Discuss training and development
               opportunities that may interest your team members.




              Keep detailed online notes with important incidents about each one of your team
               members. These notes help you evaluate your team, but may also prove useful when
               rewarding, promoting, or terminating your team members.


Associate Training and Development
We owe the success to the associate’s. To show the gratitude, we want to invest in the associate’s
professional development. We want associates to feel confident about improving their efficiency and
productivity. We also want to help the associates achieve personal growth and success.

We will match up to $500 annually for each associate to spend on educational activities or material.
Talk with your manager about this as the educational activity or material must be beneficial to your
position and/or development plan. E.g., if you are a quarry associate it would not be beneficial for
your position to be requesting history or art classes.
Apart from online courses, we offer these training opportunities:



              Formal training sessions


                                              Page 29 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 858
      Appellate Case: 25-1349 Page: 3001    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                            Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                           5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                           Seneca, MO 64865
                                                                            Office (239) 829-5457

__________________________________________________________________________________________________



               Associate coaching and mentoring.



               Seats at industry conferences.



               On-the-job training



               Job shadowing



               Job rotation


Development is a collective process. Team members and managers should regularly discuss
learning needs and opportunities. And it is your managers responsibility to facilitate any development
activities and processes.

Required Training for certain roles:
MSHA CFR 30 Pa rt 48 (b ) Tra ining a nd Re t ra ining o f Mine rs

Benefits And Perks
In this section, we describe what we offer to the associates. We provide information on the health
insurance plans and benefits like work from home options and company issued equipment.

Retirement
The company wants to help you invest in your future as you grow with the company. You can join the
American Tripoli 401(k) plan once you work 90 days during a 12 month period with the company.
Additionally, the company offers employer matching on your 401(k) contributions up to 5%. The
company will make a matching contribution in an amount equal to a percentage of your salary
deferrals, the specified matching percentage for the corresponding level of your salary deferrals as
shown in the following table. However, any salary deferrals that are "catch-up contributions" will not
be matched. Please speak with your manager about enrolling in the 401(k) plan or scheduling time
with our plan administrator to discuss how much to contribute or how to invest.




                                                      Page 30 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 859
       Appellate Case: 25-1349 Page: 3002    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________


                                    Salary Deferral Tier                                                    Match




                                           First 4




                                           Next 2



Associate Health
American Tripoli offers medical and dental insurance. Eligible employees may participate in either
plan or both plans subject to all terms and conditions of the agreement between American Tripoli and
the insurance carrier. A change in employment classification that would result in loss of eligibility to
participate in the plan(s) may qualify an employee for benefits continuation under the Consolidated
Omnibus Budget Reconciliation Act (COBRA).
De nt a l Pla n – Mut ua l o f Oma ha


Me d ica l Pla n – Ant he m


American Tripoli currently offers the following insurance premium coverage. This is for the total
premiums, not for each insurance premium. For additional questions about the insurance package,
talk with your manager.


                                        Contribution                                     Single Coverage




                              Employer Premium Contribution                                    83%




                                    Employee Premium                                           17%


You must submit your insurance enrollment form(s) for before your 90th day of employment with
American Tripoli to join the insurance plans. Once you have reached your 90th day, your insurance
should become effective on that date, unless notified otherwise. Failure to submit the appropriate

                                                           Page 31 of 46

                            CustomerService@AmericanTripoli.com         Exhibit 15
                                                              Exhibit P-43, Page 860
         Appellate Case: 25-1349 Page: 3003   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
forms before your 90th day will require you to wait until the open enrollment period to enroll on the
insurance plans.
If you need health insurance before your 90th day or need it before the open enrollment period,
please contact Natalie Miller, Natalie.Miller@HealthMarkets.com, (816) 868-6350. She will be able to
discuss individual plan options available to you.
American Tripoli will annually review employee/employer contributions against the Kaiser Family
Foundation Employer Health Benefits Report 1 for the physical year to provide employees the best
benefits.

Workers’ Compensation
We strive to keep the workplace safe, but accidents may happen occasionally. Associates who are
injured at work can receive wage replacement, medical care, and rehabilitation benefits according to
workers’ compensation laws, when appropriate. Please inform your manager of your injury as soon
as possible. Ask your manager for forms that you need to file a claim or contact your state agency for
workers’ compensation.

The company has a workers’ compensation policy according to guidelines of the state of Missouri.

Work From Home
If your position doesn’t require you to be present at the premises, you can occasionally work from
home (WFH). We normally allow one day per week, with manager approval. If you need to
telecommute for more days per week, talk to your manager.

Please inform your manager that you want to work from home at least one week in advance. You can
also set a recurring WFH day per week. If there’s a rare emergency, you may work from home
without having received prior approval but call or email your manager as soon as possible.

When you are working from home, please use an internet connection and devices that are fast and
secure. Choose a place without loud noises or distractions. And check in with your manager
frequently to make collaboration easier.

If there is inclement weather (e.g., a blizzard) please check your Teams account to see if the office is
officially closed. If you judge that your commute during inclement weather is dangerous, let your
manager know. We will not force you to come to work if your safety is at stake or if there is an official
travel warning.

Remote working
Remote working refers to working from a non-office location on a temporary or permanent basis.

If you’re an office-based associate, you may work remotely for a maximum of two consecutive weeks
per year. You may arrange this if you are a new parent or suffer from a short-term disability. If you
have another reason, talk to your manager. Submit your remote working requests through your
                                             Page 32 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 861
       Appellate Case: 25-1349 Page: 3004    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                                        Seneca, MO 64865
                                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
manager at least one week in advance.

If you’re an office-based associate, you may work remotely for a maximum of two consecutive weeks
per year. You may arrange this if you are a new parent or suffer from a short-term disability. If you
have another reason, talk to your manager. Submit your remote working requests through your
manager at least one week in advance.

If you work remotely permanently, we ask that you adhere to the security, confidentiality, and equal
opportunity policies just like your office-based colleagues.

Associate Expenses
There are some expenses that we will pay directly on your behalf (e.g., hotel rooms for work-related
travel.) But we ask you to keep track and report on those reimbursable expenses that you pay
yourself. We reimburse associate expenses that are related to:



                 Business travel



                 Relocation



                 Education and training



                 Upon approval, outings with business partners or colleagues



                 We use the General Services Administration (GSA) per diem rates, excluding
                  incidentals.


To re vie w ra t e s : ht t p s :/ / www.gs a .gov/ t ra ve l/ p la n- b oo k/ p e r- d ie m- ra t e s



Not all travel expenses are reimbursable. For example, we will pay for your transportation to an
airport for work-related travel, but not to a museum for a personal visit. Before traveling for business,
ask your manager to clarify which expenses are reimbursable within your trip.


                                                             Page 33 of 46

                            CustomerService@AmericanTripoli.com          Exhibit 15
                                                              Exhibit P-43, Page 862
        Appellate Case: 25-1349 Page: 3005    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________
Please keep an online copy of receipts for all reimbursable expenses. You can submit them to your
manager within 5 business days after the date of each expense. If your manager approves your
expenses, you will receive your reimbursement within two pay periods by check.
Remote working refers to working from a non-office location on a temporary or permanent basis.

If you’re an office-based associate, you may work remotely for a maximum of two consecutive weeks
per year. You may arrange this if you are a new parent or suffer from a short-term disability. If you
have another reason, talk to your manager. Submit your remote working requests through your
manager at least one week in advance.

If you work remotely permanently, we ask that you adhere to the security, confidentiality, and equal
opportunity policies just like your office-based colleagues.

Company Car
You may drive a company car if you:



              Need it as an indispensable part of your job (e.g., truck drivers and delivery drivers).



              Receive it as a benefit attached to your position.


Either way, your car belongs to the company. You may use your company vehicle for personal
reasons as the policy permits. You will get reimbursed only for approved, business-related expenses.

To get a company car, you should have a valid driver’s license and a clean driving record for at least
two years. Drive safe and sober and respect traffic laws and fellow motorists. You should also check
your car regularly to ensure gas, tire pressure and all car fluids are at appropriate levels.

We expect you to avoid:



              Smoking in a company vehicle.



              Leasing, selling or lending a company car.




                                               Page 34 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 863
       Appellate Case: 25-1349 Page: 3006    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
           Using a company car to teach someone how to drive.




              Leaving your company car unlocked, unattended or parked in dangerous areas.



              Allowing unauthorized people to drive a company car unless an emergency mandates
               it.


On the part, we will ensure that the cars are safe and in good condition, as well as appropriately
insured.

Accidents

If you are involved in an accident with a company car, contact your manager immediately, so we can
get in touch with the insurance provider. You shouldn’t accept responsibility or guarantee payment to
another person.

Follow this policy’s guidelines to avoid disciplinary action. For minor offenses, like allowing
unauthorized people to drive a company car, we will reprimand you or reclaim your car. But for more
serious offenses, like causing an accident while intoxicated, we may terminate you.

Parking
We will prioritize parking spaces on a first-come, first-served basis. If you want to receive a reserved
parking spot, file your request with your manager to start the approval process.

We expect you to keep the parking lot clean and not park in assigned spaces. Please behave
responsibly to avoid causing damage, injury, or loss of property.

We will not assume any liability for theft, vandalism, fire, or damage regarding an associate’s vehicle
in the parking lot.

Company-Issued Equipment
As an associate, you may receive a company cell phone, a laptop, or other device. Unless otherwise
mentioned in your contract, any equipment we offer belongs to the company and you may not sell it
or give it away. You are also responsible for keeping the equipment safe and in as good condition as
possible. If your equipment breaks or malfunctions, let your manager know so they can arrange to
get it repaired.

If you are part of the corporate cell phone plan, please use your phone within the plan’s restraints.
You may have to pay any extra charges yourself.
                                              Page 35 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 864
      Appellate Case: 25-1349 Page: 3007    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________

Theft and damage of company equipment

The equipment is insured for theft and damage. We ask you to inform us within 24 hours if your
equipment is stolen or damaged. We might be able to trace stolen laptops and cell phones. Please
also file a theft statement (affidavit) with the police and submit a copy to us.



Security of company issued devices

We advise you to keep your company-issued computer, tablet, and cell phone secure. You can do
this if you:



              Keep all devices password protected.



              Ensure you do not leave your devices unattended.



              Install security updates for browsers and other systems as soon as updates are
               available.



              Log into company accounts and systems through secure and private networks only.



              Follow all instructions for disk encryption, anti-malware protection and password
               management that you received along with your equipment.


Position-Related Clothing Allowance
If an associate is a quarry or mill associate, they are required to wear steel toe boots while working.
We want to ensure they have the appropriate high quality protective footwear for their position. Per
OSHA rule 1917.96 - Payment for protective equipment, An employer is not required to pay for non-
specialty safety-toe protective footwear (including steel-toe shoes or steel-toe boots) and non-
specialty prescription safety eyewear, provided that the employer permits such items to be worn off
the job-site.


                                              Page 36 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                           Exhibit P-43, Page 865
     Appellate Case: 25-1349 Page: 3008    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                             Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                            5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                            Seneca, MO 64865
                                                                             Office (239) 829-5457

__________________________________________________________________________________________________
With this regulation noted, the company will reimburse the associate for one pair of boots up to
$200.00 annually. The only brand of reimbursed steel-toe boots is Red Wings, no exceptions unless
prescribed by a doctor and get this prescription gets preapproved by their manager.

Once the associate signs the steel-toe boot reimbursement agreement they will be required to not
wear these boots home or leave the worksite with them. If the associate decides to wear the boots
home, they are forfeiting the reimbursement agreement and will not be allowed to participate in the
reimbursement program at any future date. This is an annual agreement. The agreement states the
associate is responsible for the care and security of his/her work boots. Lockable storage lockers are
provided in the Mill and the Maintenance shop; the associate will need to provide the lock.

After your 90-day probationary period, you will receive a digital voucher to present at the Red Wing
store. If the associate resigns or is terminated prior to the annual agreement completion date the
reimbursement will be prorated over the 12 month period and the remaining balance will be withheld
from the associates last paycheck. If you need to purchase boots before your 90th day and wish to
be reimbursed, submit your Red Wing boot purchase receipt to the Safety Manager. After your 90th
day, the Safety Manager will submit your receipt to the finance department for reimbursement on
your following paycheck for up to the reimbursable limit.

Time
Working Hours
The company operates between 8:00 a.m to 4:30 p.m on Monday through Friday. We try our best to
not work evenings or weekends.
Some departments may work after hours(e.g., customer support, shipping, marketing). If you work in
these departments, you will follow a shift schedule as needed.

Time Clock for Hourly Employees
Hourly employee are required to clock in and clock out for their shifts and lunch break. Here are the
instructions listed in the picture below.




                                             Page 37 of 46

                          CustomerService@AmericanTripoli.com         Exhibit 15
                                                           Exhibit P-43, Page 866
      Appellate Case: 25-1349 Page: 3009   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________




Paid Time Off (PTO)
                                           Page 38 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                           Exhibit P-43, Page 867
     Appellate Case: 25-1349 Page: 3010    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________
PTO means just that, paid/personal time off. PTO accrual begins on your 90th day of employment,
after the probationary period. Your PTO will increase on your work anniversary based on the
corresponding years described below.


                             Years of Service                         0-3 *              4-10               11-20




                    Hours Accumulated Per Pay Period                  3.08               4.62               6.15




                         Maximum Hours Allowed                         80                 120               160




                         Maximum Days Allowed                          10                 15                 20


*PTO accrual begins on 90th day of employment, after probationary period.
We highly encourage every associate to use earned PTO as they see fit throughout the year. PTO is
accrued per pay period. Associates and their manager are responsible to ensure they successfully
utilize the associates' PTO throughout the year and not all at once or all at the end of the year.
Associates cannot transfer any remaining PTO to the next year. There is no cash out of unused PTO.
It is a use-or-lose policy.

If an associate leaves the company, any unused accrued PTO will be pro-rated and the company
may compensate accrued PTO to associates who were not terminated for cause. Missouri state law
does not require payment of earned PTO time at the time of termination. It is at the company's
discretion to provide vacation pay, holiday pay, or severance pay benefits.

We advise every associate to properly utilize their earned PTO. Everyone will abide by the Handbook
PTO allotment.
To request time off, please submit a request to your manager via the Shifts app in your Microsoft
Teams mobile or desktop app. Click he re fo r t he ins t ruct io ns


Working Remotely vs PTO
Some positions have the capability to work remotely. Remote work is approved at the senior
managers' discretion.

                                                  Page 39 of 46

                           CustomerService@AmericanTripoli.com         Exhibit 15
                                                             Exhibit P-43, Page 868
        Appellate Case: 25-1349 Page: 3011   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                           Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                          5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                          Seneca, MO 64865
                                                                           Office (239) 829-5457

__________________________________________________________________________________________________

A couple of questions the senior manager will need to be answered first would be:
When and how many business days are you planning on being away from the office?
What is the Operations/Mill/Quarry department schedule for that timeframe?
Are all issues and processes foreseeably covered?
Are you going to be “remote working” or taking PTO?

Holidays
The company observes the following holidays:



              New Year’s Day



              Memorial Day



              Independence Day



              Labor Day



              Veterans Day



              Thanksgiving Day



              Day before or Day after Thanksgiving depending on where the long weekend falls



              Christmas Eve



              Christmas Day
                                             Page 40 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                           Exhibit P-43, Page 869
     Appellate Case: 25-1349 Page: 3012    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________


If you want to observe a religious holiday that isn’t included in the list, we may allow you to take
unpaid time off for that day. Or you may use your PTO. Coordinate the approval through your
manager.

Holiday pay



              Exempt associates are entitled to their normal compensation without any deductions.



              Permanent, non-exempt associates may receive their regular hour rate for their normal
               workday hours as a benefit after they have worked with us for more than 90 days.


Working on a holiday

These holidays are considered “off-days” for most associates. [Managers] If you need a team
member to work on a holiday, inform them at least three days in advance.

Holiday pay rate is 1.5 times regular hour rate for hourly associates. We will not count hours you
worked on a holiday to decide whether you are entitled to overtime pay.

Bereavement Leave
Losing a loved one is traumatizing. If this happens to you while you work with us, we want to support
you and give you time to cope and mourn.

For this reason, we offer three days of paid bereavement leave. You may take your
bereavement leave on consecutive days to:



              Arrange a funeral or memorial service.



              Attend a funeral or memorial service.



              Resolve matters of inheritance.


                                                 Page 41 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 870
      Appellate Case: 25-1349 Page: 3013    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________
           Fulfill other family obligations.




               Mourn


If you must travel long-distance for a funeral or service, you can take two additional unpaid days off.
If you require more time, please use your PTO.

Jury Duty and Voting
As an exempt associate, if you are called for Jury Duty, you can take one day off without deduction
from your salary. Anything beyond one day should be through PTO or unpaid leave.

As an hourly associate, at the discretion of your manager, if you are called for Jury Duty, if Jury duty
is less than 4 hours and you were able to put in 4 hours of work that day, you will be paid for the full
8-hour day. If you are not able to put in 4 hours of work that day, due to Jury duty and all full days
missed should be considered unpaid leave or at managers discretion, use of PTO.

To keep good records, all associates need to provide the company a copy of your summons for jury
duty and a document that proves you served.

One election day, Managers will try to schedule the workload for the day to end one hour early so
everyone has the opportunity to vote. If you need to travel a distance greater than one hour to vote,
request to use your PTO.



Mis s ouri Juror Info: ht t p s :/ / www.court s .mo .gov/ p a ge .js p ?id =10 3118
Parental Leave
Paternity and maternity leave
The company does not offer paid maternity and paternity leave. We ask you to be proactive in your
use of PTO. If timing of end of year PTO carry over becomes an issue, please discuss with your
manager.

If you are about to be a new mother or father (either through childbirth or adoption), talk with your
manager to arrange your leave. Please give at least three months’ notice before your leave begins.

If you suffer complications during childbirth or have other issues, you can ask for an unpaid leave
extension of up to two months. Contact your manager as soon as possible to arrange this.

Leaving The Company

                                                      Page 42 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 871
      Appellate Case: 25-1349 Page: 3014    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
In this section, we describe the procedures regarding resignation and termination of the associates.
We also refer to the progressive discipline process that may sometimes result in termination.

We remind you that in the U.S. employment is “at-will.” This means that you or the company may
terminate the employment relationship at any time and for any non-discriminatory reason.

Progressive Discipline
The progressive discipline process has three steps of increasing severity. These steps are:

Here we outline steps we will take to address associate misconduct. We want to give associates a
chance to correct their behavior when possible and assist them in doing so. We also want to ensure
that we thoroughly investigate and handle serious offenses.



          i.   Verbal warning



         ii.   Formal meeting with supervisor and written reprimand



        iii.   Termination


If you manage associates, inform them when you launch a progressive discipline process. Be direct
that you are giving them a verbal warning reprimand. Pointing out a performance issue is not
necessarily a verbal warning and may be part of your regular feedback. If you judge that progressive
discipline is appropriate, let your team member know and ask your manager to help you explain the
full procedure.

Managers may skip or repeat steps at their discretion. The company may treat circumstances
differently from that described in this policy. But we are always obliged to act fairly and lawfully and
document every stage of the progressive discipline process.

Keep in mind that the company isn’t obliged to follow the steps of the progressive discipline process.
As you are employed “at-will” in the U.S, we may terminate you directly without launching a
progressive discipline process. For serious offenses (e.g., sexual harassment), we may terminate
you without warning.

Resignation
You resign when you voluntarily inform your manager that you will stop working for the company. We
also consider you resigned if you don’t come to work for two consecutive days without notice.

                                               Page 43 of 46

                          CustomerService@AmericanTripoli.com          Exhibit 15
                                                            Exhibit P-43, Page 872
      Appellate Case: 25-1349 Page: 3015    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________

You are not obliged to give us advance notice before resigning. But, for efficiency’s sake, and to
make sure the workplace runs smoothly, we ask that you give at least two weeks’ notice, if possible.
If you hold a highly specialized or managerial position, we ask that you give us at least a month’s
notice, when possible.

We accept verbal resignations, but we prefer that you submit a written and signed notice of
resignation for the HR records. We will reply with an acceptance of resignation letter within two days.
Whether you want to announce your resignation to your team is up to you, but we encourage you to
be open. Doing so helps squelch the rumor mill.

Tuition or relocation reimbursement
If you have relocated or studied at the company’s expense, you are bound by your contract to remain
with us for at least two years or year for year of expense. If you resign before that period, you may
have to reimburse us for all these expenses.

Forced resignation
You can resign anytime at your own free will and nobody should force you into resignation. Forcing
someone into resigning (directly or indirectly) is constructive dismissal and we won’t tolerate it.
Specifically, we prohibit associates from:



              Creating a hostile or unpleasant environment.



              Demanding or coaxing an associate to resign.



              Victimizing, harassing, or retaliating against an associate.



              Forcing an associate to resign by taking unofficial adverse actions (e.g. demotions,
               increased workload).


Termination
Terminating an associate is always unpleasant but sometimes necessary. If that happens, we want to
ensure we act lawfully and respectfully.


We may terminate an associate either for cause or without cause
                                               Page 44 of 46

                           CustomerService@AmericanTripoli.com          Exhibit 15
                                                             Exhibit P-43, Page 873
       Appellate Case: 25-1349 Page: 3016    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                                       Seneca, MO 64865
                                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________




                 For cause termination is justified when an associate breach their contract, engages in
                  illegal activities (e.g., embezzlement), disrupts the workplace (e.g. harasses
                  colleagues), performs below acceptable standards or causes damage or financial loss
                  to the company.




                 Without cause termination refers to redundancies or layoffs that may be necessary if we
                  cease some of the operations or re-assign job duties within teams. We will follow
                  applicable laws regarding notice and payouts.


We will offer severance pay to eligible associates. We may also help associates who were terminated
without cause to find work elsewhere, if possible.

We may also compensate accrued vacation and sick leave upon termination, depending on local law.
Whenever local law doesn’t have relevant stipulations, we will pay accrued leave only to those who
weren’t terminated for cause.

If you manage team members, avoid wrongful dismissal. When you terminate an associate for cause,
we expect you to be certain you made the right choice and keep accurate performance and/or
disciplinary records to support your decision.

References
When we terminate associates, we may provide references for those who leave in good standing.
This means that associates shouldn’t have been terminated for cause. If you are laid off, you may
receive references. Please ask your manager.

If you resign, you may ask for references and your manager have a right to oblige or refuse.

Resources
Managing your 401(k): ht t p s :/ / www.fin ra .o rg/ inve s t o rs / le a rn- t o - inve s t / t yp e s -
inve s t me nt s / re t ire me nt / 40 1k- inve s t ing/ ma na ging- yo ur- 40 1k


Dept. of Labor – Mine Safety & Health Administration: ht t p s :/ / www.ms ha .go v/


Missouri Labor Laws: ht t p s :/ / la b o r.mo .go v/

                                                             Page 45 of 46

                            CustomerService@AmericanTripoli.com          Exhibit 15
                                                              Exhibit P-43, Page 874
        Appellate Case: 25-1349 Page: 3017    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________
IRS W4 info: ht t p s :/ / www.irs .go v/ fo rms - p ub s / a b o ut - fo rm- w- 4

US Healthcare.gov: ht t p s :/ / www.he a lt hca re .go v/


1Kaiser Family Foundation 2021 Employer Health Benefits Survey, ht t p s :/ / www.kff.o rg/ he a lt h-
co s t s / re p o rt / 20 21- e mp lo ye r- he a lt h- b e ne fit s - s urve y/


Policy Revision
We will always strive for fairness and equal opportunity and penalize offensive and illegal behaviors.
But, as laws and the environment change, we may revise and modify some of the policies.

We have established an annual revision of the handbook to bring it up to date with legislation and
employment trends. We also ask you to notify your manager if you recognize any inconsistencies or
mistakes. And, if you have any ideas about how to improve the workplace, we are happy to hear
them. Please relay these ideas through your manager.




                                                                     Page 46 of 46

                             CustomerService@AmericanTripoli.com          Exhibit 15
                                                              Exhibit P-43, Page 875
        Appellate Case: 25-1349 Page: 3018    Date Filed: 04/07/2025 Entry ID: 5503844
                                                                   Exhibit P-43, Page 876
Appellate Case: 25-1349   Page: 3019   Date Filed: 04/07/2025 Entry ID: 5503844
    Name          Inspection Date    Time                              Examine the breakroom, note any safety issues.                                               Examine the Production Floor east storage area. Note any safety issues.                         Examine the loading dock. Note any safety issues.
Bonnie Bainter      6/21/2022         8:00     Floor 1 could use some attention around the tube mill, along with floor 2 around bagger west side.                                                      Yes
Bonnie Bainter      6/22/2022       8:30 am                              Area around tube mill needs to be cleaned up                                                                                   Yes
Bonnie Bainter      6/23/2022         8:00                                                   Better                                                                                                     Yes
Bonnie Bainter      6/24/2022       8:30 am                             Mill is down for housekeeping and maintenance                                                                              Mill is down
Bonnie Bainter      6/27/2022         8:00     1st floor needs attention around the tube mill. 2nd floor needs attention around the west stairway.                                                     Yes
 Bonnie Bainter     6/28/2022          8:00                                                       Okay                                                                                                      Yes
 Bonnie Bainter     6/29/2022          8:00                                 Around Tube mill a little attention please                                                                                      Yes
 Bonnie Bainter     6/30/2022         08:00                               1-3 & 4th look good 2 could use some help.                                                                                        Yes
 Bonnie Bainter     7/5/2022           8:00                                                       okay                                                                                                 Mill is down
 Bonnie Bainter     7/4/2022           8:00                                                    HOLIDAY                                                                                                   HOLIDAY
 Bonnie Bainter     7/1/2022           8:00                                          Working on it, mill is down                                                                                           Good
 Bonnie Bainter     7/6/2022           8:00                                                       Okay                                                                                                     Good
 Bonnie Bainter     7/7/2022           8:00                                       1st floor needs a little attention                                                                                       Good
 Bonnie Bainter     7/8/2022           8:00                                                       Okay                                                                                                     Good
 Bonnie Bainter     7/8/2022           8:00                               2nd floor around the bagger please address                                                                                       Good
 Bonnie Bainter     7/11/2022         08:00                             Mill is down so housekeeping is priority today                                                                                      yes
 Bonnie Bainter     7/12/2022          8:00                                                   Looks good                                                                                                    Yes
 Bonnie Bainter     7/13/2022          8:00                                                Looks really good                                                                                                Yes
 Bonnie Bainter     7/14/2022          8:00                                                   Looks good                                                                                                    Yes
 Bonnie Bainter     7/15/2022          8:00                                                   Looks good                                                                                                    Yes
 Bonnie Bainter     7/18/2022          8:00                                   Mill is down, although mill looks good                                                                                   Mill is down
 Bonnie Bainter     7/19/2022          7:30                  Could use a little attention around the tube mill. The rest looks good.                                                                        Yes
 Bonnie Bainter     7/20/2022          8:00                                                       Okay                                                                                                 Mill is down
 Bonnie Bainter     7/21/2022          8:00                                                       Okay                                                                                                     Okay
 Bonnie Bainter     7/23/2022         10:30                                                   Looks Good                                                                                                   Good
 Bonnie Bainter     7/25/2022         08:00                                                   Looks Good                                                                                                   Good
 Bonnie Bainter     7/26/2022          8:00                                                   Looks Good                                                                                                   Good
 Bonnie Bainter     7/27/2022          8:00                                    2nd floor could use a little attention                                                                                      Good
 Bonnie Bainter     7/28/2022          8:00                                                   Mill is down                                                                                             Mill is down
 Bonnie Bainter     7/29/2022        8:30 am                                                  Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/1/2022           9:00                                                       Okay                                                                                       Mill is down for maintenance
 Bonnie Bainter     8/4/2022          08:30                                                   Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/3/2022         8:30 am                                                  Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/2/2022         8:30 am                                                  Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/5/2022           8:00                                                   Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/8/2022         8:30 am                                                  Mill is down                                                                                             Mill is down
 Bonnie Bainter     8/9/2022         8:30 am                                                      Good                                                                                                     Good
 Bonnie Bainter     8/10/2022        8:30 am                                                      Good                                                                                                     Good
 Bonnie Bainter     8/11/2022        8:30 am                                                      Good                                                                                                     Good
 Bonnie Bainter     8/12/2022          8:00                                          Could use a little attention                                                                                          Good
 Bonnie Bainter     8/15/2022          8:00                              Some attention needed around the east door                                                                                        Good
 Bonnie Bainter     8/16/2022         08:00                                                       Good                                                                                                     Good
 Bonnie Bainter     8/17/2022         07:30                                  A little attention on the 1st floor please                                                                                    Good
 Bonnie Bainter     8/18/2022        8:30 am                                          In the process of cleaning                                                                                           Good
 Bonnie Bainter     8/19/2022         07:00                                   Need a little attention by the cyclones                                                                                      Good
 Bonnie Bainter     8/22/2022        8:30 am                                                      Good                                                                                                     Good
 Bonnie Bainter     8/23/2022          8:00                                     Needs some attention on 1st floor                                                                                          Good
 Bonnie Bainter     8/26/2022          8:00                                                       Good                                                                                                     Good
 Bonnie Bainter     8/22/2022          8:00                                                       Good                                                                                                     Good
 Bonnie Bainter     8/23/2022          8:00                                 Under cyclone could use some attention                                                                                         Good
 Bonnie Bainter     8/24/2022          8:00                                      Both 1st and 2nd floor need help                                                                                          Good
Jordan Tidaback     8/26/2022        1:30pm                                                        test                                                                                                     test
 Bonnie Bainter     8/29/2022         07:00                                                       Good                                                                           Put guard back on tube mill motor before starting it.
 Bonnie Bainter     8/30/2022          7:00                                                       Good                                                                                                 Mill is down
  John Spears       11/7/2022         09:45              Splashed product needs swept up. Crew working on that. First and third floor                          Flange bearing on outside scroll needs cover reinstalled. Maintenance crew advised.
  John Spears       11/8/2022         09:30              Material around crusher elevator. Crew placed excess back into holding tank.                                               Fabricating a couple of new guards for MSHA.
  John Spears      11/18/2022       10:32 am                                 In process of gathering useful material.                                                                                  All in place.
 Rob Baumann       11/21/2022       10:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       11/22/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       11/23/2022        8:00 AM                                                  Satisfacory                                                                                              All in place
 Rob Baumann       11/28/2022        8:00 AM                                                  Satisfactory                                                                                               In place
 Rob Baumann       11/29/2022        8:00 AM                                                  Satisfactory                                                                                               In place
 Rob Baumann       11/30/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/1/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/2/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/5/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/6/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/7/2022        8:30AM                                                   Satisfactory                                                                                             All in place
 Rob Baumann        12/8/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        12/9/2022        8:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/12/2022        8:15 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/12/2022        8:00 am                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/13/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/14/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/15/2022        7:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/16/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/19/2022        8;00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/20/2022        7:30 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/21/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/22/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/26/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/27/2022        8:00 AM                                                  Satisfactoy                                                                                              All in place
 Rob Baumann       12/28/2022        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann       12/30/2022          8:00                                                   satisfactory                                                                                             All in place
 Rob Baumann        1/2/2023         8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann         1/3/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann         1/4/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/16/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/17/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/18/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/19/2023        8:00 AM                                                  satisfactory                                                                                             All in place
 Rob Baumann        1/23/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        1/24/2023        8:00 AM                                                  satisfactory                                                                                             all in place
 Rob Baumann         2/7/2023        8:00 AM                                                  Satisfactory                                                                 Covers off breaker boxes open electrical panels maint contcted
 Rob Baumann         2/8/2023        8:00 AM                                                  Satisfactory                                                                         Gaurds in place covers need put on breaker box
 Rob Baumann         2/9/2023        8:00 AM                                                  Satisfactory                                                                                             All in place
 Rob Baumann        2/10/2023        8:00 AM                                                  Satisfactory                                                                 All in place but have an open electrical panel that needs fixed
 Rob Baumann        2/13/2023        8:00 AM                                                 Sastisfactory                                                                                             All in place
Ronnell Fondren      3/3/2023          0940                                       No Safety hazard in breakroom                                                                     Hole in floor 3/4 steel plate on top of the hole                                                No safety hazards
   Jim Hoover        3/3/2023       10:27am                                                   no issues JH                                                                                              no issue jh                                                                     no issue jh
   RJ Williams       3/7/2023          8:45                                                     All Good                                                                                                 All Good                                                                        All Good
Ronnell Fondren      3/6/2023          0915                                                       Good                                                                                      Hole in the floor by break room                                         Concrete has cracks could be a potential trip hazard
   RJ Williams       3/7/2023        8:08 AM                                                    All Good                                                                                                 All Good                                                                        All Good
Ronnell Fondren      3/7/2023          0832                                                  Fair condition                                                                        Crack in the floor and hole with plate covering it                                               Crack in the floor
  Patrick Lewis      3/7/2023        8:35 AM                                  Shifty walls. Other than that in order.                                As usual only out of the norm is the concrete foundation deterioration and the hole under the steel plate       Separation/ deterioration of concrete foundation
Ronnell Fondren      3/8/2023          0831                                                  Fair condition                                                                                           Fair condition                                                                  Fair condition
   RJ Williams       3/8/2023          9:00                                                       Good                                                                                                     Good                                                                            Good
  Patrick Lewis      3/8/2023       10:10 AM                                             Walls need repaired                                                                                  Concrete foundation issues                                                           Concrete separation
Ronnell Fondren      3/9/2023          0804                                                       Clean                                                                                               Fair condition                                                                  Fair condition
   RJ Williams       3/9/2023          8:45                                                       Good                                                                                                     Good                                                                            Good
  Patrick Lewis      3/9/2023        8:57 AM                                   Same as aforementioned previously                                                                         Same as the previous days inspection                                               Same as previous days inspection
   Jim Hoover        3/9/2023        8:00Am                                                       Good                                                                                                     Good                                                                            Good
   RJ Williams      3/10/2023          8:15                                                       Good                                                                                                     Good                                                                            Good
Ronnell Fondren     3/10/2023          0818                                                       Clean                                                                                               Fair condition                                                                  Fair condition
  Patrick Lewis     3/10/2023        8:49 AM                                                 No concerns.                                                                                        As previously stated.                                                            Concrete deterioration
   Jim Hoover       3/10/2023        8:00Am                                                      Good                                                                                                      Good                                                                            Good
   RJ Williams      3/13/2023          8:37                                                       Good                                                                                                     Good                                                                            Good
Ronnell Fondren     3/13/2023          0841                                                       Clean                                                                                               Fair condition                                                                  Fair condition
Ronnell Fondren     3/14/2023          0801                                                       Clean                                                                                               Fair condition                                                                  Fair condition
Ronnell Fondren     3/15/2023          0752                                                       Clean                                                                                               Fair condition                                                                  Fair condition
   RJ Williams      3/15/2023          8:54                                                       Good                                                                                                     Good                                                                            Good
  Patrick Lewis     3/15/2023        2:33 PM                                              No issues to report                                                                                    No concerns to report                                                            Concrete deteriorating
  Patrick Lewis     3/16/2023        8:10 AM                                                  No concerns                                                                                              No concerns                                                                      No concern
Ronnell Fondren     3/17/2023          0802                                                       Clean                                                                                                     Fair                                                                            Fair
   RJ Williams      3/21/2023          8:21                                                       Good                                                                                                     Good                                                                            Good
   Jim Hoover       3/21/2023        8:30Am                                                       Good                                                                                                     Good                                                                            Good
Ronnell Fondren     3/22/2023          0807                                                       Clean                                                                                                     Fair                                                                            Fair
   RJ Williams      3/22/2023          8:19                                                       Good                                                                                                     Good                                                                            Good
  Patrick Lewis     3/22/2023        8:20 AM                                                  No concerns                                                                                              No concerns                                                                     No concerns
  Patrick Lewis     3/23/2023        5:05 PM                                                  No concerns                                                                                             No concerns                                                                      No concerns
   Jim Hoover       3/23/2023        8:30 AM                                                      Good                                                                                                     Good                                                                            Good
   Jim Hoover       3/22/2023        8:30Am                                                       Good                                                                                                     Good                                                                            Good
Ronnell Fondren     3/24/2023          0828                                                       Clean                                                                                                     Fair                                                                            Fair
   RJ Williams      3/27/2023          8:00                                                       Good                                                                                                     Good                                                                            Good
Ronnell Fondren     3/28/2023          0745                                                       Clean                                                                                                     Fair                                                                            Fair
Ronnell Fondren     3/30/2023          0808                                                       Clean                                                                                                     Fair                                                                            Fair
   RJ Williams      3/30/2023          8:50                                                       Good                                                                                                     Good                                                                            Good
Ronnell Fondren     3/31/2023          0742                                                       Clean                                                                                                     Fair                                                                            Fair
Ronnell Fondren     3/31/2023          0822                                                      Clean                                                                                                      Fair                                                                            Fair
   RJ Williams      3/31/2023          8:22                                Watched videos for severe weather safety                                                                                        Good                                                                            Good
  Patrick Lewis     3/31/2023        8:31 AM                                                  No concerns                                                                                              No concerns                                                                     No concerns
   RJ Williams       4/4/2023          8:07                                                       Good                                                                                                     Good                                                                            Good
   RJ Williams       4/5/2023          8:55                                                       Good                                                                                                     Good                                                                            Good


                                                                                                                                                                                                                                                                 Exhibit 17
Ronnell Fondren      4/6/2023          0800                                                       Dirty                                                                                                     Fair                                                                            Fair
   RJ Williams       4/6/2023          8:30                                                      Good                                                                                                      Good                                                                            Good
  Patrick Lewis      4/6/2023        9:54 AM                                                  No concerns                                                                                              No concerns                                                                     No concerns
   RJ Williams       4/7/2023          8:40                                                      Good                                                                                                      Good                                                                            Good
  Patrick Lewis     4/10/2023        8:38 AM                                                  No concerns                                                                                              No concerns                                                                     No concerns
   RJ Williams      4/11/2023          8:11                                                       Good                                                                                                     Good                                                                            Good


                                                                                                                                                                         Exhibit P-43, Page 877
                  Appellate Case: 25-1349                                                                   Page: 3020                                   Date Filed: 04/07/2025 Entry ID: 5503844
  Examine the Rail Ramp area. Note any safety issues.   Examine the Production Floor main area. Note any safety issues.   Examine the bathroom. Note any safety issues.   Examine the Production Floor West storage area. Note any safety issues.




                      No hazard                                                    No hazard                                               Needs cleaned                                                No hazards
                      no issue jh                                                 no issue jh                                                no issue jh                                               no issues jh
                       All Good                                                     All Good                                                  All Good                                                   All Good
                          Ok                                                           Fair                                        Fair condition needs cleaned                                       Fair condition
                       All Good                                                       Good                                                    All Good                                                     Good
                    Fair condition                                               Fair condition                                                 Dirty                                                 Fair condition
             Nothing to report safety wise                             Concrete foundation deterioration                                  Needs cleaned.                                      Nothing to report in this area.
                    Fair condition                                               Fair condition                                            Fair condition                                             Fair condition
                         Good                                                         Good                                                      Good                                                       Good
                 Nothing of concern                                           Nothing of concern                                        Nothing of concern                                             No concerns
                    Fair condition                                               Fair condition                                                 Clean                                                 Fair condition
                         Good                                                         Good                                                      Good                                                       Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                 Caution tape around bagger area do to maintenance                                Good                                                     Goodgood
                         Good                                                         Good                                                      Good                                                       Good
                    Fair condition                                               Fair condition                                                Clean                                                  Fair condition
                     No concerns                                                 No concerns.                                               No concerns                                               No concerns.
                         Good                                                         Good                                                      Good                                                       Good
                         Good                                                         Good                                                      Good                                                       Good
                    Fair condition                                               Fair condition                                            Fair condition                                             Fair condition
                    Fair condition                                               Fair condition                                                Clean                                                  Fair condition
                    Fair condition                                               Fair condition                                                Clean                                                  Fair condition
                         Good                                                         Good                                                      Good                                                       Good
               No no issues or concerns                                      No issues or concerns                                     No issues or concerns                                      No issues or concerns
                     No concerns                                                  No concerns                                               No concern                                                 No concerns
                          Fair                                                         Fair                                                     Clean                                                       Fair
                         Good                                                         Good                                                      Good                                                       Good
                        Good                                                          Good                                                      Good                                                       Good
                          Fair                                                         Fair                                                     Clean                                                       Fair
                         Good                                                         Good                                                      Good                                                       Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                                         Good                                                      Good                                                       Good
                         Good                                                         Good                                                      Good                                                       Good
                          Fair                                                         Fair                                                    Clean                                                        Fair
                         Good                                                         Good                                                      Good                                                       Good
                          Fair                                                         Fair                                                    Clean                                                        Fair
                          Fair                                                         Fair                                                    Clean                                                        Fair
                         Good                                                         Good                                                      Good                                                       Good
                          Fair                                                         Fair                                                    Clean                                                        Fair
                          Fair                                                         Fair                                                    Clean                                                        Fair
                         Good                                                         Good                                                      Good                                                       Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                                         Good                                                     Good                                                        Good
                         Good                                                         Good                                                     Good                                                        Good


                                                                                                                                                                                                              Exhibit 17
                          Fair                                                         Fair                                                    Clean                                                        Fair
                         Good                                                         Good                                                     Good                                                        Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                                         Good                                                     Good                                                        Good
                     No concerns                                                  No concerns                                               No concerns                                                No concerns
                         Good                                                         Good                                                     Good                                                        Good


                                                                                                                                          Exhibit P-43, Page 878
Appellate Case: 25-1349                                                       Page: 3021                                  Date Filed: 04/07/2025 Entry ID: 5503844
                                                 Examine the Dumpster platform area. Note any safety issues.




                                                                           Platform is good
                                                                              no issues jh
                                                                               All Clear
                                                                            Fair condition
                                                                                 Good
                                                                            Fair condition
             Railings are kind of unstable and flimsy. Bolts that have backed out over time and damage to the wood beams can cause tripping hazards
                                                                            Fair condition
                                                                                 Good
                                                   Split wood beans and nails and bolts that have been backed out
                                                                            Fair condition
                                                                                 Good
                                                                    Same as previously mentioned
                                                                                 Good
                                                                                 Good
                                                                            Fair condition
                                                                   Bent bolts and damaged beams.
                                                                                 Good
                                                                                 Good
                                                                            Fair condition
                                                                            Fair condition
                                                                            Fair condition
                                                                                 Good
                                                                        No issues or concerns
                                                                      Same as previously stated
                                                                                  Fair
                                                                                 Good
                                                                                 Good
                                                                                  Fair
                                                                                 Good
                                                                             No concerns
                                                                             No concerns
                                                                                 Good
                                                                                 Good
                                                                                  Fair
                                                                                 Good
                                                                                  Fair
                                                                                  Fair
                                                                                 Good
                                                                                  Fair
                                                                                  Fair
                                                                                 Good
                                                                             No concerns
                                                                                 Good
                                                                                 Good


                                                                                                                                                      Exhibit 17
                                                                                  Fair
                                                                                 Good
                                                                             No concerns
                                                                                 Good
                                                                             No concerns
                                                                                 Good


                                                                                                                                   Exhibit P-43, Page 879
Appellate Case: 25-1349                                      Page: 3022                                            Date Filed: 04/07/2025 Entry ID: 5503844
                                   Turn of the Production
                                                             Examine the Breakroom. Note any
   Start time         Name        Floor Lighting. Note any
                                                                      safety issues.
                                        safety issues.
 3/3/23 9:54:01    Rob Baumann      All in working order               Satisfactory

 3/6/23 8:16:40    Rob Baumann             Good                           Good


 3/7/23 8:10:55    Rob Baumann             Good                           Good

 3/8/23 8:35:37    Rob Baumann             Good                           Good
 3/8/23 9:59:35     RJ Williams            Good                           Good
 3/9/23 8:12:08    Rob Baumann             Good                           Good
3/10/23 8:16:16     RJ Williams            Good                           Good
3/10/23 8:15:39    Rob Baumann             Good                           Good

3/13/23 9:12:34    Rob Baumann             Good                           Good
3/15/23 8:55:46     RJ Williams          Good                             Good
                                  Good ,watched lockout
3/15/23 9:01:30    Rob Baumann                                            Good
                                       msha video
3/16/23 8:31:39    Rob Baumann             Good                           Good
3/17/23 8:46:39    Rob Baumann             Good                           Good
3/20/23 7:52:07    Rob Baumann             Good                           Good
3/21/23 8:15:46    Rob Baumann             Good                           Good

3/23/23 9:02:40    Rob Baumann             Good                           Good
3/23/23 17:04:01    John Spears       None observed.                 None observed.
 3/24/23 8:33:17    RJ Williams           Good                           Good
 3/27/23 8:01:58    RJ Williams           Good                           Good
3/27/23 11:51:29    John Spears       None observed.                 None observed.
3/28/23 13:41:42   Rob Baumann            Good                           Good
3/30/23 11:21:56   Rob Baumann             Ok                             Ok
 3/31/23 8:54:00   Rob Baumann             Ok                             Ok
 4/3/23 10:07:09   Rob Baumann             Ok                             Ok
 4/4/23 10:50:33    John Spears       None observed                  None observed
 4/6/23 7:28:05    Rob Baumann             Ok                             Ok
 4/7/23 15:13:58   Rob Baumann             Ok                             Ok




                                                                                               Exhibit 17
                                                                       Exhibit P-43, Page 880
   Appellate Case: 25-1349          Page: 3023         Date Filed: 04/07/2025 Entry ID: 5503844
Examine the Control Room. Note   Examine the East Warehouse      Examine the Palletizer area. Note any
      any safety issues.         area. Note any safety issues.              safety issues.
            Good                         Satisfactory                         Not in use

            Good                            Good                            Not in use good


            Good                            Good                            Good not in use

            Good                            Good                              Not in use
            Good                            Good                                 Good
            Good                            Good                              Not in use
            Good                            Good                                 Good
            Good                            Good                              Not in use

            Good                            Good                            Good not in use
            Good                            Good                                 Good
            Good                            Good                            Good not in use
                                                                  Bare electrical wires exposed out of
            Good                            Good
                                                                          floor area closed off
            Good                            Good                                  Good
            Good                            Good                                  Good
            Good                            Good                                 Good

            Good                            Good                                 Good
       None observed.                  None observed.                  Out of commission. LOTO
           Good                            Good                                 Good
           Good                            Good                                 Good
       None observed.                  None observed.                      None observed.
           Good                            Good                                 Good
            Ok                              Ok                                   Ok
            Ok                              Ok                                   Ok
            Ok                              Ok                                   Ok
       None observed                   None observed                        None observed
            Ok                              Ok                                   Ok
            Ok                              Ok                                   Ok




                                                                                           Exhibit 17
                                                                   Exhibit P-43, Page 881
   Appellate Case: 25-1349       Page: 3024        Date Filed: 04/07/2025 Entry ID: 5503844
  Examine the Bagger area. Note any          Examine the Production hold     Examine the Bathroom. Note any
            safety issues.                   area. Note any safety issues.            safety issues.
               Not in use                            Satisfactory                     Satisfactory

            Not in use good                       Not running good                       Good


 Locked out roped off for maintanence                   Good                             Good

      Being worked on roped off                         Good                             Good
                   Good                                 Good                             Good
Bulk bagger good 100 pound bagger area
                                                        Good                             Good
           roped off for repairs
                   Good                                 Good                          Good & clean
 Bulk bag area good packer taped off for
                                                        Good                             Good
                   repair
  Good on bulk roped off on 100 pound
                                                        Good                             Good
             packer for repairs
                   Good                                 Good                             Good
 100 pound packer roped off for repairs
                                                        Good                             Good
            bulk feeder is good
                 Good                                   Good                             Good
                 Good                                   Good                             Good
                 Good                                   Good                             Good
                 Good                                   Good                             Good

                 Good                                   Good                             Good
            None observed.                         None observed.                    None observed.
                Good                                   Good                              Good
                Good                                   Good                              Good
            None observed.                         None observed.                    None observed.
                Good                                   Good                              Good
                 Ok                                     Ok                                Ok
                 Ok                                     Ok                                Ok
                 Ok                                     Ok                                Ok
            None observed                          None observed                     None observed
                 Ok                                     Ok                                Ok
                 Ok                                     Ok                                Ok




                                                                                                Exhibit 17
                                                                           Exhibit P-43, Page 882
      Appellate Case: 25-1349              Page: 3025      Date Filed: 04/07/2025 Entry ID: 5503844
Examine the West Warehouse         Examine the Dumpster platform     Examine the First floor Classifier
 area. Note any safety issues.       area. Note any safety issues.     area. Note any safety issues.
         Satisfactory                     Dumpster area ok                      Satisfactory
                                                                       Product piled up at bottom of
            Good                               Good                  elevator but being worked on and
                                                                                 not in use
                                                                     Flour elevator being worked on it
            Good                               Good
                                                                               is locked out
                                                                       Good but finish flour elevator
            Good                               Good
                                                                        locked out being worked on
            Good                               Good                                 Good
            Good                               Good                                Good
            Good                               Good                                Good
            Good                               Good                                Good

            Good                               Good                                Good
            Good                               Good                                Good
            Good                               Good                                Good

            Good                               Good                                Good
            Good                               Good                                Good
            Good                               Good                                Good
            Good                               Good                                Good

            Good                               Good                                Good
       None observed.                      None observed.                    None observed.
           Good                                Good                              Good
           Good                                Good                              Good
       None observed.                      None observed.                    None observed.
           Good                                Good                              Good
            Ok                                  Ok                                Ok
            Ok                                  Ok                                Ok
            Ok                                  Ok                                Ok
       None observed                       None observed                     None observed
            Ok                                  Ok                                Ok
            Ok                                  Ok                                Ok




                                                                                          Exhibit 17
                                                                 Exhibit P-43, Page 883
  Appellate Case: 25-1349        Page: 3026      Date Filed: 04/07/2025 Entry ID: 5503844
Examine the Oil room area. Note any    Examine the Air Compressor      Examine the Tube Mill area. Note any
           safety issues.              area. Note any safety issues.              safety issues.
              Good                        Panel shut good to go                    Satisfactory

              Good                                Good                                Good


              Good                                Good                                Good

              Good                                Good                                Good
              Good                                Good                                Good
              Good                                Good                                Good
              Good                                Good                                Good
              Good                                Good                                Good

              Good                                Good                                Good
              Good                                Good                                Good
              Good                                Good                                Good

              Good                                Good                                Good
              Good                                Good                                Good
              Good                                Good                                Good
              Good                                Good                                Good

              Good                                Good                                Good
          None observed.                     None observed.                      None observed.
              Good                               Good                                Good
              Good                               Good                                Good
          None observed.                     None observed.                      None observed.
              Good                               Good                                Good
               Ok                                 Ok                                   Ok
               Ok                                 Ok                           Product in pathway
               Ok                                 Ok                                   Ok
          None observed                      None observed                       None observed
               Ok                                 Ok                                   Ok
               Ok                                 Ok                                   Ok




                                                                                                  Exhibit 17
                                                                        Exhibit P-43, Page 884
     Appellate Case: 25-1349          Page: 3027        Date Filed: 04/07/2025 Entry ID: 5503844
                                                                           Examine the Crusher Ramp and
Examine the Elevator area. Note any      Examine the Crusher Room
                                                                            Hopper area. Note any safety
          safety issues.                area. Note any safety issues.
                                                                                      issues.
           Satisfactory                        Good not in use                      Gate closed

              Good                             Good not in use                         Good


            Not in use                              Good                               Good

            Not in use                              Good                               Good
              Good                                  Good                               Good
            Not in use                              Good                               Good
              Good                                  Good                               Good
          Out of service                            Good                               Good

            Not in use                              Good                               Good
              Good                                  Good                               Good
            Not in use                              Good                               Good

            Not in use                              Good                               Good
            Not in use                              Good                               Good
            Not in use                              Good                               Good
                                      Not in use today will need cleaned
            Not in use                                                                 Good
                                             before crushing rock
                                                                           Ramp gate left open creating a
            Not in use                              Good
                                                                           danger, closed and locked gate
          None observed.                       None observed.                     None observed.
              Good                                 Good                                 Good
              Good                                 Good                                 Good
          None observed.                       None observed.                     None observed.
            Not in use                             Good                                 Good
            Not in use                              Ok                                   Ok
            Not in use                              Ok                                   Ok
            Not in use                              Ok                                   Ok
          None observed                        None observed                      None observed
            Not in use                              Ok                                   Ok
            Not in use                              Ok                                   Ok




                                                                                                 Exhibit 17
                                                                        Exhibit P-43, Page 885
    Appellate Case: 25-1349           Page: 3028        Date Filed: 04/07/2025 Entry ID: 5503844
Examine the Dust Collector System    Examine the Loading dock area. Note Examine the Warehouse A. Note
   area. Note any safety issues.              any safety issues.               any safety issues.
         Swept and ready                        Satisfactory                        Good
Working to replace conduit outside
                                                   Good                             Good
         not being used

              Good                                 Good                             Good

              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good

              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good

              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good
              Good                                 Good                             Good

              Good                                 Good                             Good
         None observed.                       None observed.                    None observed.
             Good                                 Good                              Good
             Good                                 Good                              Good
         None observed.                       None observed.                    None observed.
             Good                                 Good                              Good
             Good                                  Ok                                Ok
             Good                                  Ok                                Ok
             Good                                  Ok                                Ok
             Good                             None observed                     None observed
             Good                                  Ok                                Ok
 Broken conduit outside by lil mac                 Ok                                Ok




                                                                                             Exhibit 17
                                                                       Exhibit P-43, Page 886
   Appellate Case: 25-1349           Page: 3029        Date Filed: 04/07/2025 Entry ID: 5503844
Examine the Warehouse B. Note    Examine the Longterm storage        Examine the Rail ramp area. Note
      any safety issues.        warehouse. Note any safety issues.          any safety issues.
            Good                              Good                                Good

            Good                              Good                                Good


            Good                              Good                                Good

            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                            Good & secure
            Good                              Good                                Good

            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good

            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good
            Good                              Good                                Good

            Good                              Good                                Good
       None observed.                    None observed.                      None observed.
           Good                              Good                                Good
           Good                              Good                                Good
       None observed.                    None observed.                      None observed.
           Good                              Good                                Good
            Ok                                Ok                                  Ok
            Ok                                Ok                                  Ok
            Ok                                Ok                                  Ok
       None observed                     None observed                       None observed
            Ok                                Ok                                  Ok
            Ok                                Ok                                  Ok




                                                                                              Exhibit 17
                                                                     Exhibit P-43, Page 887
   Appellate Case: 25-1349        Page: 3030         Date Filed: 04/07/2025 Entry ID: 5503844
From: Russell Tidaback <RTidaback@deedyco.com>
Sent: Tuesday, September 19, 2023 9:40 PM
To: Bishop, Maryjo - MSHA <Bishop.Maryjo@DOL.GOV>
Cc: Pratt, Shawn - MSHA <Pratt.Shawn@dol.gov>; Joshua Townsend
<joshua.townsend@americantripoli.com>; Don Hale <Don.Hale@americantripoli.com>; John Spears
<John.Spears@americantripoli.com>; Jordan Tidaback <Jordan.Tidaback@deedyco.com>; Russell
Tidaback <RTidaback@deedyco.com>
Subject: Request for Clarification on Recent MSHA Inspection
Importance: High


 CAUTION: This email originated from outside of the Department of Labor.
 Do not click (select) links or open attachments unless you recognize the
 sender and know the content is safe. Report suspicious emails through the
 "Report Phishing" button on your email toolbar.

Hello Maryjo,

I have included the American Tripoli team in this email, if you would reply all to include
them.

I trust this correspondence finds you in good health. I am seeking your guidance regarding
a recent inspection conducted by Mr. Pratt and Mr. Pruitt at our mining facility on
September 19, 2023, pursuant to complaint ID 2671642 (attached).

The complaint, submitted to MSHA on September 17, 2023, alleged that "miners have to
reach inside the electrical box to push the reset button" and that our "plant operator is not
task trained."

Notably, this complaint was lodged three days after the termination of a specific employee
who would be the only person to have known about any electrical box needing to be opened
to push a reset button. But that isn't the problem.


                                                                                  Exhibit 18
                                                                  Exhibit P-43, Page 888
 Appellate Case: 25-1349         Page: 3031       Date Filed: 04/07/2025 Entry ID: 5503844
The problem with this complaint is that we had an issue with a very specific circuit breaker
earlier today. We have not experienced any issues with the circuit breaker in the past. At
approximately 12:30 PM today, Mr. Spears started troubleshooting this specific circuit
breaker and the cause for the breaker to trip. The issue was solved, and the team moved on
to other issues.

Then, at approximately 2:30 PM, Mr. Pratt and Mr. Pruitt arrived on site, advising Mr.
Townsend about Complaint ID 2671642, and while here, they might as well terminate two
open citations, 9579847 and 9579095. Both citations were terminated.

Upon reviewing the complaint allegations summary. Allegation #1: if a circuit breaker has a
reset button, then yes, the "electrical box" would have to be opened to "push the reset
button." So, I immediately think this must be another nuisance complaint from an ex-
employee.

Where the entire issue becomes suspicious is upon entering the mill, Mr. Pratt and Mr.
Pruitt proceeded directly to the aforementioned circuit breaker we experienced an issue
with earlier in the day. This is not a casual walk-by or even a circuit breaker you would
know it is precisely there as it "blends in" with the rest of the electrical panel wall.

To go to this specific wall panel, this specific breaker box, and this specific breaker… you
would need to be coached just like I was when I was communicating with John regarding
which circuit breaker was "tripping" during his maintenance troubleshooting diagnosis.   


This sequence of events prompts several questions:

How was the complainant aware of a malfunction with this specific circuit breaker, which
had not exhibited any issues before today's start-up procedures?

What led the MSHA inspectors directly to this particular circuit breaker among our facility's
numerous other circuit breakers? If the allegation only states about an electrical box…Were
they coached along with specific details about what specific circuit breaker would have been
sabotaged so they would find something wrong with that specific circuit breaker?

Were we sabotaged the night prior, with the complainant knowing that MSHA would be out
to inspect this particular circuit breaker the very next day? This whole complaint inspection
looks very suspicious. From a certain point of view, it appears to be intentional harassment
and sabotage.

Furthermore, it raises concerns about potential after-hours trespassing by the recently
terminated employee, who may be causing disruptions and lodging complaints with MSHA
—all to cause even more disruption and financial burden by MSHA inspections on a small
struggling company.

As a mine operator, protecting our operations from malicious intent, whether from former
employees or others, is crucial. How do we file a complaint against someone knowingly
making false statements or representations, e.g., complaints, to MSHA? Is it through the
OIG Hotline or something internal to the district? This ex-employee is a miner, and any
false statements to MSHA would be a crime. Your team would have to follow the same
procedures and investigate this complaint against a miner, correct?


Also, is this when a Written Notice would be given? From your 14SEPT2023 email," A
Written Notice is given during a 103(g) complaint investigation when no violations are
found (negative findings)."


                                                                                  Exhibit 18
                                                                Exhibit P-43, Page 889
Appellate Case: 25-1349        Page: 3032       Date Filed: 04/07/2025 Entry ID: 5503844
Based on conversations today between approximately 2:30 and 4:20 PM, there were no
findings on allegation #2, but on allegation #1, Mr. Pruitt inferred such activity despite not
witnessing unauthorized individuals resetting the circuit breaker. Since, at this time, we do
not have any maintenance personnel, Mr. Spears is now our only authorized "competent
person." Mr. Spears is currently training Mr. Hale, as we discussed in our conference
meeting a week ago, so he can become another competent person on the team. Mr. Pratt
may have more details on this allegation result since we didn't receive any citations or
perform an inspection close out today and were told that Mr. Pruitt would be back
tomorrow. We will have to see tomorrow.


Additionally, we seek clarification on whether MSHA inspectors must sign into our visitor's
log like all other visitors. We were advised that this was not required, but we wish to ensure
compliance with all protocols.


Our commitment to maintaining a safe and compliant operation is unwavering, and we take
all allegations of safety violations seriously. However, we believe it is imperative that
inspections and subsequent conclusions are grounded in factual observations rather than
assumptions.


Your guidance on these matters would be greatly appreciated.

Best regards,

Russell Tidaback
Managing Member
American Tripoli




                                                                                  Exhibit 18
                                                                Exhibit P-43, Page 890
Appellate Case: 25-1349        Page: 3033       Date Filed: 04/07/2025 Entry ID: 5503844
                                     Production Lead Duties
•   Oversee mill associates

       •   Daily – assign and ensure completed start-up and shut-down tasks on board(s) in
           breakroom

       •   Daily – Assign roles, rotation schedule, and tasks

       •   Daily – track/add their worked hours, PTO, or unpaid leave to Shifts

       •   As needed, remind mill associates to wear appropriate PPE; collaborate with the
           Environmental and Safety Specialist to ensure all associates are following all MSHA and
           company guidelines

       •   Utilize MS Teams to collaborate with all team members

•   Control Room backup assistance (NEED TO KNOW IN 90 DAYS)

       •   Operate control room while Control Room Mill Associate is on PTO/absent

       •   Startup and Shutdown procedures

       •   Collaborate with Quarry Associate/Operations Manager regarding needing more
           material delivered, and crushed in holding tanks

•   Mill product and Production supply inventory [OPERATIONS MANAGER] (NEED TO KNOW IN 14
    DAYS)

       •   Do a daily overrun count and add to the On Hand tab in the Daily Production Report

       •   Monthly inventory count of unused paper bags for 50 lb and 100 lb individually

       •   monthly inventory of retail bags, Full and empty

       •   Monthly inventory count of unused pallets for the 48 x 40 (domestic pallets), Large Heat
           Treated pallets and Small Heat Treated pallets individually (export pallets)

       •   Monthly inventory count on full stretch wrap rolls

       •   Monthly inventory count on slip sheets

       •   Monthly measurement on oil (oil room large container)

•   Shipping / receiving paperwork [Shipping dept/OPERATIONS MANAGER] (NEED TO KNOW IN 14
    DAYS)

       •   Check daily production schedule : https://calendar.online/ShiftLead

       •   Print bag labels for orders to be produced that day (Rollo Printer)

       •   Print shipping paperwork for shipments going out each day

       •   Verify paperwork is complete and appropriate documents are included




                                                                                    Exhibit 19
                                                                    Exhibit P-43, Page 891
Appellate Case: 25-1349         Page: 3034          Date Filed: 04/07/2025 Entry ID: 5503844
            •   Assist truck driver with paperwork (where to sign) and any questions

            •   Send pictures of trailer/container empty and full, trailer #, and signed BOL in mill group
                chat tagging @Julie (shipping dept)

    •   Mailing/preparing the easy-to-handle (retail bags) (NEED TO KNOW IN 14 DAYS)

    •   Quality Control / CILAS reports [OPERATIONS MANAGER] (NEED TO KNOW IN 14 DAYS)

            •   Run a CILAS report after each grade of product is produced

    •   Preventive maintenance schedule [OPERATIONS MANAGER/MAINTENANCE TECHNICIAN] (NEED
        TO KNOW IN 60 DAYS)

            •   Work with maintenance team to update the preventative maintenance schedule when
                certain tasks are completed or need to be added to the schedule

    •   Mill Parts / Supplies requests [OPERATIONS MANAGER/MAINTENANCE TECHNICIAN] (NEED TO
        KNOW IN 30 DAYS)

            •   Work with maintenance team to search for parts/supplies online and submit the
                quote(s) to the operations manager for approval and purchasing

            •   This includes mill bathroom supplies

    •   Any additional tasks requested across the departments

    •   Collaborate with Operations Manager regarding mill associate professional development
        counseling session (if not monthly, quarterly)



The Operations Manager is your direct supervisor, the Mill Associates direct supervisor, and the Quarry
Associates direct supervisor.




                                                                                            Exhibit 19
                                                                       Exhibit P-43, Page 892
  Appellate Case: 25-1349           Page: 3035         Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________

2OCT2023

U.S. Department of Labor
Office of the Solicitor
2300 Main Street, Suite 10100
Kansas City, MO 64108
Attorneys for the Secretary
Laura Oreilly
oreilly.laura.m@dol.gov
Elaine Smith
smith.elaine.m@dol.gov


Dear Ms. Laura Orielly,

Responding to the interrogatories, requests for production of documents, and requests for admission on behalf of
Respondent American Tripoli:



                                              INTERROGATORIES

        INTERROGATORY NO. 1: State the facts you contend support your claim that you did not violate
Section 105(c) of the of the Mine Act, 30 U.S.C. § 815(c), by terminating Robert Baumann.

        ANSWER: The termination of Mr. Robert Baumann was not related to his engagement in protected
activities under the Mine Act, but rather due to his consistently poor performance and the necessity for an
appropriate timing of a new hire to replace him.

    1. Performance Issues: Throughout Mr. Baumann's employment at American Tripoli, there were ongoing
        documented performance issues that were discussed for months prior to his termination. These issues
        included concerns about his competence, work ethic, and ability to fulfill his role as a shift lead.
        The decision to terminate Mr. Baumann's employment was primarily based on his performance during
        his tenure at American Tripoli. Numerous personal notes and discussions over the months prior to his
        termination demonstrate that his job performance was consistently unsatisfactory. These records attest to
        his inability to perform his duties satisfactorily as a shift lead, including failing to ensure proper work
        was completed within his specified work group, missing deadlines, and displaying an inability to accept
                            CustomerService@AmericanTripoli.com         Exhibit 20
                                                              Exhibit P-43, Page 893
        Appellate Case: 25-1349 Page: 3036    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       and provide feedback to his team members.
       Mr. Baumann consistently demonstrated incompetence and a poor work ethic, as evidenced by the
       excessive number of citations received for his area of responsibility during his relatively short
       employment with American Tripoli.


   2. Replacements and Competency: American Tripoli made multiple efforts to find a suitable replacement
       for Mr. Baumann. The hiring of Mr. David Daigle in April 2022 was part of these efforts. Unfortunately,
       Mr. Daigle resigned a week later. Subsequent hires in August 2022 (Mr. Will Shallenburger), November
       2022 (Mr. Richard McClelland), and March 2023 (Mr. Alex Snodgrass) were also made in an attempt to
       replace Mr. Baumann, each candidate demonstrating greater competency and leadership skills than Mr.
       Baumann. It is important to note that it was Mr. Alex Snodgrass's hiring in March 2023 that seemed to
       signal to Mr. Baumann that his tenure was being challenged, leading to a further decline in his attitude.


   3. Proactive Safety Measures: American Tripoli is committed to maintaining a safe and compliant work
       environment. We have established policies and procedures that encourage open communication and
       reporting of safety concerns by all employees, including Mr. Baumann. Active communication channels
       were in place for all miners to express their concerns regarding safety and compliance. During his
       tenure, Mr. Baumann and other miners were encouraged to bring forward safety issues, and the mine
       operator consistently took swift action to address these concerns.


   4. Absence of Official Engagement in Protected Activities: It is imperative to emphasize that Mr.
       Baumann did not serve as a designated representative of miners, nor did he submit any relevant
       information to the MSHA District Manager or to the mine operator, as required by 30 CFR Part 40.
       Every miner possesses the right to engage and accompany an MSHA inspector during an inspection, as
       stipulated by the Miner's Act. However, it's important to clarify that mere participation in such activities
       does not automatically confer upon a miner the designation of a miners' representative. In his claim, he
       states that he served as a representative of miners in an official capacity. However, the mine operator
       had no prior knowledge of any such intent or stated performance. If the mine operator had been

                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 894
        Appellate Case: 25-1349 Page: 3037   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________
       informed of Mr. Baumann's desire to act as a miners' representative, they would have readily provided
       support and assistance to facilitate their involvement. This support would have included a more
       comprehensive briefing on the operations, ensuring that the designated person had the necessary insights
       to effectively address any inquiries from an inspector. This, another example of Mr. Baumanns lack of
       communication and leadership skills or experience. Regrettably, the mine operator was only made aware
       of Mr. Baumann's claim or supposed intention to serve as a representative of miners when the complaint
       was received by the commission. These points clarify the timeline and the lack of awareness regarding
       Mr. Baumann's purported role as a representative of miners and that his termination was entirely
       unrelated to protected activities under the Mine Act.


   5. Inconsistent Claims: Mr. Baumann's current assertions about unaddressed safety concerns are
       inconsistent with the documented history of safety communication and resolution during his tenure. It is
       crucial to consider the inconsistency between his current claims and the historical record of safety
       communication and resolution within the company.


   6. Questioning the Timing: We urge you to consider the timing of Mr. Baumann's claims about any
       unresolved safety issues. The mine operator offers numerous communication channels to express or
       bring forward and safety concerns. If Mr. Baumann had concerns, he did not utilize any of the available
       opportunities. Notably, he has only made any claims such claims after his termination. This timing raises
       questions about his motives and the credibility of his assertions.


   7. Notice of Termination: Mr. Baumann received his notice of termination on April 17, 2023. It is notable
       that, as evidenced by the Kansas Department of Labor's rules and Unemployment Benefits Form 2023,
       Mr. Baumann applied for unemployment insurance benefits on April 16, 2023, potentially indicating his
       intention to quit the next day. Therefore, his termination was not related to his protected activities, but
       rather based on his poor performance.




                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 895
        Appellate Case: 25-1349 Page: 3038   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________
   8. Legal and Ethical Obligations: The mine operator has a legal and ethical obligation to ensure a safe
         work environment for all employees. We remain committed to supporting employees' rights to report
         safety issues without fear of retaliation.

In conclusion, American Tripoli vehemently denies that Mr. Baumann's termination was in violation of Section
105(c) of the Mine Act. The decision to terminate Mr. Baumann was a result of his consistent poor
performance, inability to fulfill his responsibilities, and the company's efforts to maintain the safety and
efficiency of its operations, and not because of any protected activities he may have engaged in under the Mine
Act. The proposed civil penalty is excessive and unwarranted, considering the specific circumstances of the
case.



INTERROGATORY NO. 2: State the facts you contend support your claim that you did not violate Section
105(c) of the Mine Act, 30 U.S.C. § 815(c) by interfering with miners’ rights at the MoSenecaMfr LLC dba
American Tr mine, as outlined in Count II of the Complaint filed in this docket.
        ANSWER: In response to Count II of the Complaint, which alleges interference with miners' rights under
Section 105(c)(1) of the Mine Act, the Respondent vehemently denies the allegations and submits the following
arguments and facts to refute the claim of interference.


        1. INTENT OF COMMUNICATION:
        The primary argument against the interference complaint centers around the intent behind Mr. John Spears'
message to Mr. Gage Wheeler during the MSHA inspection on 14FEB2023. The message was not intended to
interfere with miners' rights but rather to facilitate communication and ensure accurate information transfer to the
MSHA inspector. We want to clarify that the communication on February 14, 2023, was directed to a specific
miner, Gage Wheeler, and was not a message sent to all miners. Mr. Gage Wheeler, who had a history of being
confrontational during past MSHA inspections. Therefore, it was crucial to address potential issues in
communication. This communication has been included in the "ALL Communications regarding MSHA.pdf,
14FEB2023 - John message to Gage about MSHA inspector.png, 14FEB2023 - John message to Gage about


                             CustomerService@AmericanTripoli.com         Exhibit 20
                                                               Exhibit P-43, Page 896
         Appellate Case: 25-1349 Page: 3039    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
MSHA inspector 2nd part.png, 14FEB2023 - Russell message to John about not telling Gage to speak with MSHA
inspectors.png" document for your reference. See folder “Request for Documents 20”. Therefore, it was crucial
to address potential issues in communication. This is a testament to the mine operator's commitment to ensuring
smooth inspection processes.


      2. RESPECT FOR MINER RIGHTS:
      The Respondent reaffirms its unwavering commitment to respecting miners' rights to report safety or health
issues to MSHA and to participate in inspections without interference. The mine operator has always upheld these
rights and encouraged employees to express their concerns regarding safety and compliance without fear of
retaliation. This commitment to miner rights was consistently maintained throughout Mr. Baumann's tenure, as
well as during the MSHA inspection in question. There were no actions taken to undermine miners' rights to
engage with MSHA inspectors.


      3. DISMISSAL OF INTERFERENCE CLAIM:
      The allegations in the interference complaint, as detailed in Count II, are not substantiated by concrete
evidence or facts. While the complaint alleges that Respondent interfered with miners' statutory rights, there is
no proof that Mr. Baumann was told not to speak with MSHA inspectors or that his rights were compromised in
any way. Furthermore, the Respondent addressed any potential misunderstandings with miners, such as Mr. Gage
Wheeler, to clarify that they were free to speak with MSHA inspectors. Mr. Gage Wheeler, having undergone
MSHA training on miners' rights, confirmed that he did not feel that Respondent's message interfered with his
rights.


      In conclusion, the interference allegations in Count II of the Complaint lack substantial evidence and should
be dismissed. The Respondent's actions have consistently been aimed at ensuring safety and compliance while
respecting miners' rights. The complaint does not establish any violation of Section 105(c)(1) of the Mine Act.
The proposed civil penalty is unwarranted in this case, as there is no basis for the interference claim, and the
Respondent remains committed to maintaining a safe and healthy work environment.

                              CustomerService@AmericanTripoli.com         Exhibit 20
                                                                Exhibit P-43, Page 897
          Appellate Case: 25-1349 Page: 3040    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                       Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                      5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                      Seneca, MO 64865
                                                                                       Office (239) 829-5457

__________________________________________________________________________________________________




      INTERROGATORY NO. 3: Set forth the job duties, title and responsibilities of Robert Baumann while
he was employed by Respondent, including the dates of his employment in each role.
       ANSWER: Mr. Robert Baumann served as a Shift Lead at our facility from June 16, 2022, to April 17,
2023. As a Shift Lead, Mr. Baumann had specific responsibilities to ensure the efficient and safe operation of
our mill facility. His duties and responsibilities included but were not limited to the following:

       Shift Lead Duties:

       Oversee Mill Associates: While Mr. Baumann was not a supervisor, he provided guidance and support
to Mill Associates, ensuring they carried out their tasks efficiently and complied with safety and operational
guidelines.

       Daily Assignment of Start-Up and Shut-Down Tasks: On a daily basis, Mr. Baumann was tasked to
assign and ensured the completion of start-up and shut-down tasks on the boards located in the breakroom,
contributing to the mill's daily operations efficiencies.

       Rotation Schedule and Task Assignments: Daily, Mr. Baumann was tasked to assign roles, follow
rotation schedules, and delegate specific tasks to Mill Associates to ensure the smooth functioning of the mill.

       Time Tracking: Mr. Baumann was tasked to maintain records of worked hours, paid time off (PTO), or
unpaid leave for Mill Associates, which was crucial for time management and payroll purposes.

       Enforcement of Safety Procedures: He was responsible for reminding Mill Associates to wear
appropriate personal protective equipment (PPE) and collaborated with the Environmental and Safety Specialist
to ensure compliance with MSHA and company safety regulations. Which he lacked tremendously and the
citations received during his tenure exemplify this.

       Utilization of MS Teams for Collaboration: Mr. Baumann was tasked to actively use Microsoft Teams to
foster collaboration and communication among team members, contributing to a cohesive and efficient work
environment for which he failed at.
                            CustomerService@AmericanTripoli.com         Exhibit 20
                                                              Exhibit P-43, Page 898
        Appellate Case: 25-1349 Page: 3041    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
       Control Room Backup: He was tasked as the backup for the control room, which entailed operating the
control room in the absence of the more experience Mill Associate.

       Control Room Operation: In the absence of the more senior Mill Associate due to leave or other
circumstances, Mr. Baumann was tasked for operating the control room, which is a mission-critical aspect of
mill operations.

       Startup and Shutdown Procedures: Mr. Baumann was tasked with the startup and shutdown procedures
of the mill, ensuring they were executed according to established protocols.

       Collaboration with Quarry Associate/Operations Manager: He was tasked to collaborate with the Quarry
Associate and Operations Manager, specifically regarding material deliveries, crushing operations, and any
material-related requirements for mill production.

       Mill Product and Production Supply Inventory: Mr. Baumann was tasked to conduct monthly inventory
counts for various supplies and materials, including bags, pallets, stretch wrap rolls, slip sheets, and oil,
ensuring accurate records for operational purposes for which he failed at miserably.

       Shipping/Receiving Paperwork: He was tasked in the preparation and verification of shipping and
receiving paperwork, ensuring all relevant documents were complete and accurate. He also assisted truck
drivers with paperwork-related inquiries and processing for which he struggled with the entire time.

       Mailing/Preparing Easy-to-Handle Bags: Mr. Baumann was tasked with preparation of easy-to-handle
retail bags, contributing to our efficient order fulfillment process for which his performance was so lacking that
we were never able to get him to do this tasking.

       Quality Control/CILAS Reports: He was tasked to run CILAS (Coupled Ion Chromatography and Light
Scattering) reports after each grade of product was produced, maintaining quality control records. Again his
performance was so lacking that we were never able to get him to do this tasking.

       Preventive Maintenance Schedule: Mr. Baumann was tasked to collaborate with the maintenance team
to update the preventive maintenance schedule as tasks were completed or needed to be added, ensuring the


                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                             Exhibit P-43, Page 899
       Appellate Case: 25-1349 Page: 3042    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
equipment's reliability and longevity. Again, his performance was so lacking that we were never able to get him
to do this tasking.

        Mill Parts/Supplies Requests: He was tasked to work closely with the maintenance team to identify and
request necessary parts and supplies, including online searches and submission of quotes to the Operations
Manager for approval and purchasing. Again, his performance was so lacking that we were never able to get
him to do this tasking.

        Additional Tasks: Mr. Baumann struggled with effectively completing the above tasks and
responsibilities as requested by different departments, showcasing his flexibility and dedication to the smooth
operation of the facility that he was not respected by his peers.

        Professional Development Counseling: He was tasked to work with the Operations Manager to conduct
professional development counseling sessions, focusing on the growth and development of Mill Associates.
These, due to his poor performance, never happened.

        While Mr. Baumann was a shift lead, not a supervisor, this role is instrumental in various aspects of mill
operations. This detailed overview of his job duties during his employment at our facility accurately represents
the nature of his role at American Tripoli.




      INTERROGATORY NO. 4: If Respondent claims that a defense or affirmative defense is applicable to
the claims at issue in this case, please identify each such defense and state with particularity the material facts
supporting such defense.
                               ANSWER: While we understand the need for transparency and adherence to legal
processes, we firmly contend that requiring the immediate identification of defenses with particularity may not
be suitable for the complex and evolving nature of this case. It is essential to uphold the principles of fairness,
due process, and the right to develop a comprehensive defense. We propose that the Respondent be allowed to
identify defenses as the case unfolds, ensuring that both parties have an equal opportunity to present their positions



                            CustomerService@AmericanTripoli.com         Exhibit 20
                                                              Exhibit P-43, Page 900
        Appellate Case: 25-1349 Page: 3043    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
effectively. This approach will safeguard the integrity of the legal process while preserving the rights of all parties
involved.




      INTERROGATORY NO. 5: Set forth the reasons Robert Baumann was terminated, who participated in
the decision to terminate Robert Baumann, and the date such decision was made.
                                 ANSWER: The termination of Mr. Robert Baumann was based on well-
established principles of employment and operational policies. The decision to terminate an employee is never
taken lightly and is made in consideration of multiple factors, including the overall safety and efficiency of our
operations. Below, we provide a general outline of the principles that guided Mr. Baumann's termination and the
individuals involved in the decision.


      Principles for Termination:
      Mr. Baumann's termination was the result of several factors, including but not limited to:


            •   Poor Performance: Mr. Baumann's performance as a shift lead consistently fell below acceptable
                standards, demonstrating an inability to fulfill his role effectively.

            •   Lack of Leadership Skills: Mr. Baumann's performance was hindered by a lack of leadership skills,
                which were essential for his position.

            •   Failure to Follow Procedures and Guidance: Despite several attempts to address these issues through
                coaching, feedback sessions, and open communication channels, Mr. Baumann did not exhibit any
                signs of improvement in his performance or attitude.

            •   Safety Concerns: Safety is a paramount concern in our operations. Mr. Baumann's disregard for
                safety guidelines, and failure to take safety matters seriously, created an unsafe work environment
                for himself and his colleagues.

            •   Also following the Missouri Department of Labor Discharged Employees and Final Wages,
                Missouri follows the Employment-At-Will doctrine. This means that both the employer and

                            CustomerService@AmericanTripoli.com         Exhibit 20
                                                              Exhibit P-43, Page 901
        Appellate Case: 25-1349 Page: 3044    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
             employee can terminate the employment relationship at any time and for any reason, as long as there
             is no employment contract to the contrary, there is no discrimination under civil rights laws (based
             on race, color, age, national origin, religion, ancestry, sex, or physical/mental disability), no merit
             laws    apply,    or   the   state’s   limited   public   policy    exception    does    not   apply.(
             https://labor.mo.gov/dls/general/termination-final-wages)


      Participants in the Decision:
      The decision to terminate Mr. Baumann was made collectively by management personnel within our
organization. It is important to emphasize that the decision was based on a thorough assessment of Mr. Baumann's
performance, through different managers’ feedback, in alignment with established company policies.


      Date of the Decision:
      The decision to terminate Mr. Baumann was made in accordance with company protocols and procedures,
and it was communicated to Mr. Baumann on April 17, 2023. It is important to note that termination is not an
abrupt action but a culmination of ongoing discussions, evaluations, and attempts to improve an employee's
performance over time.


      In conclusion, the decision to terminate Mr. Baumann was based on general principles of employment and
operational policies to ensure the safety and efficiency of our operations. We remain committed to safeguarding
both individual rights and operational integrity while adhering to legal and ethical standards.




      INTERROGATORY NO. 6: Identify by name, job title, job duties, dates of employment, phone number,
email address, and home address, each individual employed by Respondent at the MoSenecaMfr LLC dba
American Tr mine from June 1, 2022 through April 17, 2023.
                               ANSWER: Respondent provides the following information regarding individuals
employed at American Tripoli from June 1, 2022, through April 17, 2023:

                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 902
       Appellate Case: 25-1349 Page: 3045    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________


   1. Frank Duran
           a. Job Title: Asst Manager
           b. Dates of Employment: September 27, 2021, through March 24, 2022
           c. Home Address: 8624 Cedar Dr. Joplin, MO 64804


   2. Camrin Bindel
           a. Job Title: Mill Associate
           b. Dates of Employment: March 28, 2022, through June 7, 2022
           c. Home Address: 201 N. Vine St Commerce, OK 74339


   3. Jeffrey Willis
           a. Job Title: Maintenance Lead
           b. Dates of Employment: March 21, 2022, through July 29, 2022
           c. Home Address: 1910 Pineville, Neosho, MO 64850


   4. Roger Chester
           a. Job Title: Quarry Manager
           b. Dates of Employment: June 4, 1983, through August 9, 2022
           c. Home Address: 69101 East 94th Rd, Wyandotte, OK 74370


   5. Juan Trujillo
           a. Job Title: Maintenance Associate
           b. Dates of Employment: June 15, 2022, through August 15, 2022
           c. Home Address: 2137 Elenor St, Springdale, AR 72764


   6. Christine Schreiber

                          CustomerService@AmericanTripoli.com          Exhibit 20
                                                            Exhibit P-43, Page 903
      Appellate Case: 25-1349 Page: 3046    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           a. Job Title: Operations Manager
           b. Dates of Employment: April 4, 2022, through August 17, 2022
           c. Home Address: 2302 E. 10th St., Joplin, MO 64801


   7. Jubil Clark
           a. Job Title: Mill Associate
           b. Dates of Employment: April 27, 2022, through November 11, 2022
           c. Home Address: 11701 S 510 Rd, Miami, OK 74354


   8. Cheri Blount
           a. Job Title: Administrative Assistant
           b. Dates of Employment: May 16, 2022, through August 26, 2022
           c. Home Address: PO Box 732 Miami, OK 74355


   9. Bonnie Bainter
           a. Job Title: EHS Manager
           b. Dates of Employment: January 17, 2022, through August 30, 2022
           c. Home Address: 122 W. Pearl St, Goodman, MO, 64843


   10. Angela Schafer
           a. Job Title: Production Shipping Coordinator
           b. Dates of Employment: August 18, 2022, through September 13, 2022
           c. Home Address: 9002 W. Hwy 20, Jay, OK 74346


   11. Joshua Bird
           a. Job Title: Mill Associate
           b. Dates of Employment: May 26, 2022, through September 27, 2022

                          CustomerService@AmericanTripoli.com          Exhibit 20
                                                            Exhibit P-43, Page 904
      Appellate Case: 25-1349 Page: 3047    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           c. Home Address: 118 N. Main St. Fairland, OK 74343


   12. William Shallenburger
           a. Job Title: Production Manager
           b. Dates of Employment: August 24, 2022, through October 5, 2022
           c. Home Address: 66117 E. 160 Rd, Wyandotte, OK 74370


   13. Jessie Hodge
           a. Job Title: Maintenance Lead
           b. Dates of Employment: August 1, 2022, through October 31, 2022
           c. Home Address: 9002 W. Hwy 20, Jay, OK 74346


   14. Carson Allman
           a. Job Title: Maintenance Associate
           b. Dates of Employment: September 15, 2022, through November 4, 2022
           c. Home Address: 1738 Salt Rd, Noel, MO 64854


   15. Terry Newburn
           a. Job Title: Safety Manager
           b. Dates of Employment: September 26, 2022, through November 4, 2022
           c. Home Address: 405 Gratz St, Noel, MO 64854


   16. Landry Barnes
           a. Job Title: Mill Associate
           b. Dates of Employment: April 27, 2022, through November 11, 2022
           c. Home Address: 11701 S 510 Rd, Miami, OK 74354



                          CustomerService@AmericanTripoli.com          Exhibit 20
                                                            Exhibit P-43, Page 905
      Appellate Case: 25-1349 Page: 3048    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________
   17. Terry Barlow
           a. Job Title: Maintenance Technician
           b. Dates of Employment: November 8, 2022, through November 13, 2022
           c. Home Address: 12624 Elder Rd, Diamond, MO 64840


   18. Richard McClelland
           a. Job Title: Production Supervisor
           b. Dates of Employment: November 14, 2022, through November 16, 2022
           c. Home Address: 105 N. Delaware St., Grove, OK 74344


   19. Blake Leaf
           a. Job Title: Mill Associate
           b. Dates of Employment: October 12, 2022, through November 30, 2022
           c. Home Address: 65300 E. 248 Ln Lot 60, Grove, OK 74344


   20. Justin Campbell
           a. Job Title: Mill Associate
           b. Dates of Employment: October 12, 2022, through December 29, 2022
           c. Home Address: 112 N. Elm St, Wyandotte, OK 74370


   21. Sarah Giberti
           a. Job Title: Administrative Assistant
           b. Dates of Employment: August 29, 2022, through December 30, 2022
           c. Home Address: 535 Dove Rd, Goodman, MO 64843


   22. Bryceton Williams
           a. Job Title: Maintenance Technician

                          CustomerService@AmericanTripoli.com          Exhibit 20
                                                            Exhibit P-43, Page 906
      Appellate Case: 25-1349 Page: 3049    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                               5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                               Seneca, MO 64865
                                                                                Office (239) 829-5457

__________________________________________________________________________________________________
           b. Dates of Employment: November 21, 2022, through January 2, 2023
           c. Home Address: 4824 Empire Lane, Joplin, MO 64804


   23. Benjamin Waters
           a. Job Title: Mill Associate
           b. Dates of Employment: June 6, 2022, through January 4, 2023
           c. Home Address: 4161 Detroit Dr, Joplin, MO 64804


   24. Dakota Fellers
           a. Job Title: Mill Associate
           b. Dates of Employment: January 11, 2023, through January 17, 2023
           c. Home Address: 300 W. Washington, Marionville, MO 65705


   25. Kensley Brewer
           a. Job Title: Production Coordinator
           b. Dates of Employment: December 19, 2022, through January 24, 2023
           c. Home Address: 2415 Alabama Ave., Joplin, MO 64804


   26. Andrew Wasson
           a. Job Title: Heavy Equipment Operator
           b. Dates of Employment: December 12, 2022, through February 25, 2023
           c. Home Address: 408 W. Spring St., Neosho, MO 64850


   27. Gage Wheeler
           a. Job Title: Maintenance Technician
           b. Dates of Employment: December 26, 2022, through February 28, 2023
           c. Home Address: 618 Valley View Dr., Carl Junction, MO 64834

                          CustomerService@AmericanTripoli.com          Exhibit 20
                                                            Exhibit P-43, Page 907
      Appellate Case: 25-1349 Page: 3050    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                              Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                             5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                             Seneca, MO 64865
                                                                              Office (239) 829-5457

__________________________________________________________________________________________________


   28. Alex Snodgrass
           a. Job Title: Production Coordinator
           b. Dates of Employment: March 20, 2023, through April 14, 2023
           c. Home Address: 3812 South Indiana Ave., Joplin, MO 64804


   29. Robert Baumann
           a. Job Title: Production Supervisor
           b. Dates of Employment: June 16, 2022, through April 17, 2023
           c. Home Address: 939 South Park Dr, Columbus, KS 66725


   30. Ronnell Fondren
           a. Job Title: Mill Associate
           b. Dates of Employment: February 8, 2023, through April 20, 2023
           c. Home Address: 2640 E. 34th St Apt F76, Joplin, MO 64804


   31. Jessie Molesi
           a. Job Title: EHS Specialist
           b. Dates of Employment: March 20, 2023, through August 10, 2023
           c. Home Address: 175 Judd St., Granby, MO 64844


   32. Jeremy Talbert
           a. Job Title: Maintenance Technician
           b. Dates of Employment: March 20, 2023, through August 11, 2023
           c. Home Address: 2640 E. 34th St Apt F76, Joplin, MO 64804


   33. Patrick Lewis

                          CustomerService@AmericanTripoli.com          Exhibit 20
                                                            Exhibit P-43, Page 908
      Appellate Case: 25-1349 Page: 3051    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                               Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                              5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                              Seneca, MO 64865
                                                                               Office (239) 829-5457

__________________________________________________________________________________________________
           a. Job Title: Mill Associate
           b. Dates of Employment: March 7, 2022, through August 25, 2023
           c. Home Address: 13305 Iris Rd #4 Neosho, MO 64850


   34. Ryan Closser
           a. Job Title: Maintenance Technician
           b. Dates of Employment: March 27, 2023, through September 1, 2023
           c. Home Address: 624 Tatterson, Puenweg, MO 64841


   35. Jimmy Hoover
           a. Job Title: Mill Associate
           b. Dates of Employment: November 14, 2018, through September 14, 2023
           c. Home Address: PO Box 111, Seneca, MO 64865


   36. Raneldon Williams
           a. Job Title: Mill Associate
           b. Dates of Employment: June 20, 2022 - Present
           c. Home Address: 3812 South Indiana Ave., Joplin, MO 64804


   37. John Spears
           a. Job Title: Operations Manager
           b. Dates of Employment: August 17, 2022 - Present
           c. Home Address: 10396 Reindeer Dr., Granby, MO 64844


In addition, see attachment Employee Roster Info 1June2022 -17APR2023.pdf




                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                            Exhibit P-43, Page 909
      Appellate Case: 25-1349 Page: 3052    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________
      INTERROGATORY NO. 7: Identify each instance, since June 2021, in which an employee was
terminated by Respondent at the MoSenecaMfr LLC dba American Tr mine, including the reason for the
termination, the date of the termination, and the name and job title of the employee terminated.
                               ANSWER:
Regarding the request to identify instances of employee terminations at American Tripoli since June 2021, please
find the information below:


      Frank Duran
      Job Title: Assistant Manager
      Date of Termination: March 24, 2022
      Reason for Termination: Insubordination


      Camrin Bindel
      Job Title: Mill Associate
      Date of Termination: June 7, 2022
      Reason for Termination: Behavior issues


      Jessie Hodge
      Job Title: Maintenance
      Date of Termination: October 30, 2022
      Reason for Termination: Performance issues


      Carson Allman
      Job Title: Maintenance
      Date of Termination: November 4, 2022
      Reason for Termination: Performance issues



                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 910
       Appellate Case: 25-1349 Page: 3053    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                 Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                Seneca, MO 64865
                                                                                 Office (239) 829-5457

__________________________________________________________________________________________________
      Terry Newborn
      Job Title: Safety
      Date of Termination: November 4, 2022
      Reason for Termination: Performance and insubordination issues


      Robert Baumann
      Job Title: Shift Lead
      Date of Termination: April 17, 2023
      Reason for Termination: Performance issues


      Ryan Closser
      Job Title: Maintenance
      Date of Termination: August 30, 2023
      Reason for Termination: Performance and attendance issues


      Jim Hoover
      Job Title: Mill Associate
      Date of Termination: September 14, 2023
      Reason for Termination: Performance and attendance issues


Please note that these terminations were conducted based on our internal policies and procedures, considering
various factors related to each employee's performance, conduct, or behavior. We remain committed to ensuring
a safe and productive work environment for all employees at our mine.




                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 911
       Appellate Case: 25-1349 Page: 3054    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                        Seneca, MO 64865
                                                                         Office (239) 829-5457

__________________________________________________________________________________________________



                                         DECLARATION
         I, Russell Tidaback state that I am authorized to answer the foregoing
  interrogatories on behalf of MoSenecaManufacturer Limited Liability Company d/b/a
  American Tripoli. I have read the foregoing interrogatories and answers thereto and
  know the content thereof. Pursuant to 28 U.S.C. § 1746, I declare under penalty of
  perjury that the foregoing answers to the interrogatories are true and correct.


                                             By: _______________
                                             Name: Russell Tidaback
                                             Title: Managing Member
                                             Dated: 16OCT2023




                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                            Exhibit P-43, Page 912
      Appellate Case: 25-1349 Page: 3055    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
                             REQUESTS FOR PRODUCTION OF DOCUMENTS

        1.      Produce all documents identified or referred to in your answers to the interrogatories above.
        RESPONSE: In response to your request for production of documents, we have provided attachments
        that include all documents identified or referred to in our answers to the interrogatories. Please find
        these documents attached to this response in the respective labeled folder. If you have any specific
        questions or require further clarification regarding any of these documents, please do not hesitate to
        reach out, and we will be happy to assist further.




        2.      Produce the documents related to the terminations identified in response to Interrogatory No. 7.
        RESPONSE: In accordance with your request to produce documents related to the terminations
        identified in response to Interrogatory No. 7, You will find these letters in the attached document labeled
        ' Individial name - date - Termination Letter' in folder labeled “Request for Documents 2”. If you require
        any further information or have additional questions, please feel free to contact us for clarification or
        any other assistance needed.




        3.      Produce all documents which you contend support any claims or defenses you have or may raise
to the claims at issue in this docket.
        RESPONSE: In response to your request to produce documents that support any claims or defenses we
        have or may raise in this docket, we acknowledge the importance of transparency and cooperation in the
        legal process. While we understand your desire for particularity, it's crucial to note the complex and
        evolving nature of this case. Requiring the immediate identification of defenses may not align with the
        principles of fairness, due process, and the right to develop a comprehensive defense.

        We propose an approach that allows both parties to identify defenses as the case unfolds, ensuring a
        balanced opportunity to present positions effectively. This approach will safeguard the integrity of the
        legal process while respecting the rights of all parties involved.

                            CustomerService@AmericanTripoli.com         Exhibit 20
                                                              Exhibit P-43, Page 913
        Appellate Case: 25-1349 Page: 3056    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       We are fully committed to complying with our legal obligations and cooperating in the discovery
       process. As such, we are providing all relevant documents and will promptly provide any additional
       relevant documents as they become available and maintain open communication with your team. If you
       require specific documents or have further inquiries related to this request, please do not hesitate to
       reach out to us for clarification and assistance.




       4.      Produce the documents pertaining to any of Respondent’s denials that it did not commit the
alleged 105(c) violations set forth in the Complaint in this docket.
       RESPONSE: In response to your request to produce documents related to any of our denials concerning
       the alleged 105(c) violations set forth in the Complaint in this docket, we understand the significance of
       transparency and adherence to the legal process. We are fully committed to cooperating and complying
       with our legal obligations.

       We have provided the Operator’s Answer, Document No. CENT 2023-0251 – Operator’s Answer.pdf,
       to the complaint, located in folder “Request for Documents 4”, and will continue to promptly provide
       documents related to any denials as they become available in the course of this legal proceeding. This
       approach ensures that both parties have equal opportunities to present their positions effectively and
       maintains the integrity of the legal process.

       If you require specific documents or have further inquiries concerning this request, please feel free to
       contact us for clarification and assistance. We are dedicated to upholding the principles of due process
       and a fair legal process, and we look forward to working cooperatively with your team throughout the
       discovery process.




       5.      Produce Robert Baumann’s personnel file.
       RESPONSE: In response to your request for Robert Baumann's personnel file, please find attached the
       requested personnel file for Robert Baumann labelled “Request for Documents 5”. This file contains all

                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 914
       Appellate Case: 25-1349 Page: 3057    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                        Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                       5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                       Seneca, MO 64865
                                                                                        Office (239) 829-5457

__________________________________________________________________________________________________
       relevant information regarding his employment, performance, and any related matters during his tenure
       with our organization.

       We are committed to providing the necessary documents and information as part of our cooperation in
       this legal process. If you have any further requests, require additional information, or have any specific
       questions regarding the personnel file, please do not hesitate to contact us. We are dedicated to ensuring
       a transparent and fair process throughout the course of this legal proceeding.




       6.      Produce the documents showing all training provided to Robert Baumann while he was
employed by Respondent.
       RESPONSE: We acknowledge your request for all training records related to Robert Baumann during
       his employment with our company. Please be advised that Robert Baumann received mandatory training
       required by the Mine Safety and Health Administration (MSHA) during his tenure with our
       organization. This training includes but is not limited to new miner training and other MSHA-required
       safety and health courses.

       It's important to note that our company primarily provides MSHA-mandated training, and any additional
       training is often self-driven or related to specific tasks and equipment operation.

       We will provide all records related to the MSHA-required training received by Robert Baumann as part
       of this response. However, please understand that there may be limited records for additional training
       beyond MSHA requirements as most of his responsibilities were covered by the mandatory safety
       training. All presented and available 24/7 employee training, see the documents in the attached folder
       labeled “Request for Documents 6”.

       If you have specific questions or require further clarification regarding the provided training records,
       please do not hesitate to contact us. We are dedicated to ensuring transparency and compliance with all
       aspects of this legal proceeding.



                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                             Exhibit P-43, Page 915
       Appellate Case: 25-1349 Page: 3058    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________
       7.      Produce the documents showing all payments and compensation made to Robert Baumann by
Respondent.
       RESPONSE: We acknowledge your request for documents showing all payments and compensation
       made to Robert Baumann by our company. Please find attached the document 'Robert Baumann Payroll
       Detail 07.01.22-04.21.23.pdf,'in folder “Request for Documents 7”, which contains the relevant payroll
       information for Mr. Baumann during his employment with us.

       The attached document includes detailed payroll records, payment history, and compensation
       breakdowns, and it should address your request adequately.

       We are committed to providing any additional information or clarifications you may require during the
       discovery process. If you have any further questions or need additional documents, please don't hesitate
       to reach out.




       8.      Produce the documents showing all benefits provided to Robert Baumann by Respondent,
including insurance benefits, retirement benefits, and paid leave.
       RESPONSE: We provided Robert Baumann with the opportunity to enroll in medical and dental
       insurance benefits; however, he chose not to apply for these benefits during his employment with us.
       Additionally, Mr. Baumann was offered a Red Wing boot voucher but did not utilize it.

       For a comprehensive overview of Mr. Baumann's benefits, including insurance benefits, retirement
       benefits, and paid leave, please refer to the attached document labeled "American Tripoli Employee
       Handbook.pdf." This document outlines the summary of benefits made available to him during his
       employment with Respondent.

       In addition, for Mr. Baumann's accrued paid time off, consult the attached document titled "Paid Time
       Off Accruals for Mr. Baumann.pdf." This document provides details about his paid time off accruals.
       Both of the above-mentioned documents are in folder labelled “Request for Documents 8”.



                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                             Exhibit P-43, Page 916
       Appellate Case: 25-1349 Page: 3059    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       9.      Produce the documents showing the hours worked by Robert Baumann while he was employed
by Respondent.
       RESPONSE: Please find attached the document labeled "Robert Baumann Payroll Detail 07.01.22-
       04.21.23.pdf." located in folder labelled “Request for Documents 9”. This document provides a detailed
       record of the hours worked by Robert Baumann during his employment with Respondent, covering the
       period from July 1, 2022, through April 21, 2023. The hours worked are accurately recorded in this
       document.




       10.     Produce your employee handbook and/or any other documents which set forth the conditions
and/or terms of employment for employees at the MoSenecaMfr LLC dba American Tr mine in effect at any
time from June 1, 2022 through April 17, 2023.
       RESPONSE: See attachments Robert Baumann_American Tripoli Position Offer Letter.pdf and the
       American Tripoli Employee Handbook.pdf in folder labelled “Request for Documents 10”.




       11.     Produce the documents reflecting any discipline of Robert Baumann.
       RESPONSE: We acknowledge that there were instances where disciplinary actions were taken
       concerning Mr. Robert Baumann; however, it is important to note that the company's disciplinary
       process, as outlined in the employee handbook, allows for flexibility in addressing employment issues.
       While the handbook provides for a progressive discipline process, it also clarifies that the company is
       not bound by a specific sequence and reserves the right to address matters promptly, in accordance with
       the "at-will" employment relationship. We are committed to providing any available records reflecting
       the disciplinary actions taken. Please note that while the "written" part of the progressive discipline
       process was not consistently documented, appropriate actions were taken to address the concerns and
       maintain compliance with company policies.




                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                             Exhibit P-43, Page 917
       Appellate Case: 25-1349 Page: 3060    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                     Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                    5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                    Seneca, MO 64865
                                                                                     Office (239) 829-5457

__________________________________________________________________________________________________
       12.     Produce the documents reflecting any safety complaints made or safety concerns raised by
Robert Baumann to any of Respondent’s managers, owners or supervisors.
       RESPONSE: While we take safety concerns seriously and maintain a robust system for addressing
       them, we do not have specific documentation of safety complaints or concerns raised by Mr. Robert
       Baumann. Our safety protocols encourage open communication, and our managers, owners, and
       supervisors are committed to promptly addressing any safety-related matters. While we have not found
       records of such complaints or concerns pertaining to Mr. Baumann, we emphasize that we actively
       encourage employees to report any safety issues, and we remain vigilant in ensuring a safe working
       environment. If any specific concerns emerge during the course of this case, we will promptly provide
       relevant documentation.




       13.     Produce the documents reflecting Robert Baumann’s designation as a representative of the
miners at the MoSenecaMfr LLC dba American Tr mine.
       RESPONSE: Mr. Robert Baumann never provided any documents designating himself as a
       representative of the miners at the MoSenecaMfr LLC dba American Tr mine. The first indication of
       such a designation came to our attention when the complaint was received by MSHA. We have not
       found any records or documents related to Mr. Baumann's official designation as a miner representative.




       14.     Produce the native document, in its native format with all metadata, of the PDF document
Respondent produced to MSHA during the investigation of this case titled “Rob Baumann-Notes”.
       RESPONSE: The PDF document titled "Rob Baumann-Notes" produced to MSHA during the
       investigation of this case is the native document in its original format. Mr. Tidaback's personal notes
       regarding personnel matters are periodically transcribed from a Rocketbook wipeable notebook he
       carries with him. The PDF provided accurately represents the content and format of the original notes.




                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                             Exhibit P-43, Page 918
       Appellate Case: 25-1349 Page: 3061    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                   Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                  5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                  Seneca, MO 64865
                                                                                   Office (239) 829-5457

__________________________________________________________________________________________________
       15.     Produce Robert Baumann’s “employee journal” or any other document where you kept notes
and/or information about Robert Baumann and his job performance.
       RESPONSE: The document titled "Rob Baumann Russell Notes.pdf" produced to MSHA during the
       investigation of this case is the employee journal or document where notes and information about Robert
       Baumann and his job performance were kept. Please refer to this document for the requested
       information.




       16.     Produce the “employee journal” or any other documents where you kept notes and/or
information about employees employed by Respondent at the MoSenecaMfr LLC dba American Tr mine at any
time from June 1, 2022 through April 17, 2023.
       RESPONSE: The attached documents titled "Rob Baumann Russell Notes.pdf," "Christine Schreiber
       Russell Notes.pdf," and "Jim Hoover Russell Notes.pdf", see folder labelled “Request for Documents
       16”, are the employee journals or documents where notes and information about employees employed
       by Respondent at the MoSenecaMfr LLC dba American Tr mine from June 1, 2022, through April 17,
       2023, were kept. Please refer to these documents for the requested information.




       17.     Produce the workplace examinations and/or workplace inspections from the MoSenecaMfr LLC
dba American Tr mine from June 1, 2022 through April 17, 2023.
       RESPONSE: The workplace examinations and workplace inspections conducted at the MoSenecaMfr
       LLC dba American Tr mine from June 1, 2022, through April 17, 2023, are contained in the attached
       document titled "Daily Workplace Inspections 1JUNE2022 - 17APR2023.pdf.", see folder labelled
       “Request for Documents 17”. Please refer to this document for the requested workplace examination and
       inspection information.




                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 919
       Appellate Case: 25-1349 Page: 3062    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       18.     Produce the Microsoft Teams chats or messages involving any employee of Respondent,
including owners, managers, supervisors, maintenance personnel, etc., regarding Robert Baumann’s
discrimination complaint, Robert Baumann’s termination, Robert Baumann’s job performance, safety related
concerns or complaints raised by Robert Baumann, complaints about Robert Baumann, and/or Robert
Baumann’s workplace examinations.
       RESPONSE: Producing the entire Microsoft Teams chats or messages involving any employee of
       Respondent, as specified in your request, is overly broad and would entail disclosing vast amounts of
       irrelevant information. Unfortunately, we do not have the capacity to retrieve messages from employees'
       accounts, as they are maintained on their individual devices. Also unless Mr. Baumann’s name is
       specifically in the messages there is no way to search for generics. To maintain the integrity of the
       discovery process, we propose a more targeted approach.

       Given that the only employees still employed by Respondent since the termination of Mr. Baumann are
       Mr. Williams, and Mr. Spears, we can provide group messages involving these individuals for the
       specified purposes. If you could kindly specify the date ranges, topics, or any other relevant details for
       these chats and messages, we will make a good faith effort to assist in obtaining any relevant messages.
       In the folder labeled “Request for Documents 18”, there is a document titled "Communication between
       Jim are Russ regard Rob post 17APR2023.pdf”, this running conversation points out Mr. Jim Hoover’s
       opinions, distrust, aggravation and hassle when dealing with Mr. Baumann. Mr. Hoover was the most
       senior employee with over four years of experience at the mine site.




       19.     Produce the documents reflecting any “counseling and guidance” provided to Robert Baumann
while he was employed by Respondent.
       RESPONSE: While we acknowledge that counseling and guidance were provided to Robert Baumann
       during his employment, these interactions were primarily conducted verbally, and no formal written
       records were maintained. Any guidance or counseling discussions were aimed at improving his job
       performance, ensuring compliance with safety protocols, and fostering a better work environment. We

                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                             Exhibit P-43, Page 920
       Appellate Case: 25-1349 Page: 3063    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                  Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                 5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                 Seneca, MO 64865
                                                                                  Office (239) 829-5457

__________________________________________________________________________________________________
       remain committed to maintaining open lines of communication and providing support to our employees
       as needed.




       20.     Produce the text messages, emails, Microsoft Teams chat, and/or any other communication from
John Spears to any employees regarding MSHA inspections, including the February 14, 2023 message to
miners regarding MSHA’s inspection.
       RESPONSE: All communications related to MSHA inspections and interactions with MSHA inspectors
       have been consolidated into a comprehensive document labeled "ALL Communications regarding
       MSHA.pdf." This document contains a thorough record of all communications, including Microsoft
       Teams chats, text messages, and emails exchanged between employees of Respondent at the
       MoSenecaMfr LLC dba American Tr mine concerning MSHA inspections and interactions with MSHA
       inspectors.

       By consolidating these communications into a single document, we aim to provide a complete and
       organized account of our interactions with MSHA and MSHA inspectors. This approach is intended to
       streamline the document production process and ensure clarity in our responses.

       If you have any specific questions or need further information regarding these communications, please
       do not hesitate to contact us. We are committed to transparency and open communication throughout
       this process.




       21.     Produce the text messages, emails, Microsoft Teams chat, and/or any other communication from
and/or between Robert Baumann, Respondent, John Spears, Russell Tidaback, and/or Jordan Tidaback
regarding the MSHA 104(b) Order issued on April 12, 2023 or payment during the withdrawal order.
       RESPONSE: Please find attached the requested communications regarding the MSHA 104(b) Order
       issued on April 12, 2023, and payment during the withdrawal order, “Request for Documents 21”. We
       wish to emphasize that, in full compliance with MSHA regulations and with a commitment to the well-

                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 921
       Appellate Case: 25-1349 Page: 3064    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
       being of our miners, Respondent promptly paid the miners as required by the 104(b) Order, without any
       delay.

       1. Chat messages between Robert Baumann to John Spears and John Spears to Ms. Tidaback and Mr.
             Tidaback (labeled as "14APR2022 – Chat messages showing Robs misunderstanding regarding a
             104(b) order and pay.pdf").
       2. Email chain involving Mr. Markeson, Respondent, John Spears, and Russell Tidaback (labeled as
             "Email Chain w Markeson regarding miner compensation - RE_ 12APR2023 - B Order #9539789 &
             9539790.pdf").
       3. Text messages between Robert Baumann and John Spears (labeled as "12APR2023 - Text message
             between Mr. Baumann and Mr. Spears regarding work and being paid.png”).

These documents encompass the pertinent communications and discussions surrounding the MSHA 104(b)
Order and issues related to payment during the withdrawal order. We would like to reiterate that all miners were
paid appropriately and without delay in accordance with MSHA regulations. Should you require any further
specific information or have additional inquiries, please do not hesitate to reach out.




       22.      Produce Respondent’s disciplinary policy in effect at the MoSenecaMfr LLC dba American Tr
mine at any time from June 1, 2022 through April 17, 2023.
       RESPONSE: Our disciplinary policy in effect at the MoSenecaMfr LLC dba American Tr mine during
       the specified period can be found in the attached document titled "American Tripoli Employee
       Handbook.pdf.", see folder labeled “Request for Documents 22”. The relevant information regarding our
       Progressive Discipline policy can be located in the handbook, specifically in the paragraph that
       addresses Progressive Discipline.




       23.      Produce the documents reflecting any discipline given to employees of Respondent at the
MoSenecaMfr LLC dba American Tr mine at any time from June 1, 2021 through April 17, 2023.

                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 922
       Appellate Case: 25-1349 Page: 3065    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                    Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                   5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                   Seneca, MO 64865
                                                                                    Office (239) 829-5457

__________________________________________________________________________________________________
       RESPONSE: Please find the attached documents in labelled folder “Request for Documents 23”, which
       reflect instances of discipline given to employees of Respondent at the MoSenecaMfr LLC dba
       American Tr mine during the specified timeframe from June 1, 2021, through April 17, 2023. These
       documents provide details of the written disciplinary actions, including warnings, reprimands,
       counseling, and terminations, that were administered and recorded in accordance with company policies
       and procedures.

       Attached documents:


       26APR2022 Jena Turner Reprimand.pdf

       7JUNE2022_Camrin Bindle Relieving Letter.pdf

       7JUNE2022_Camrin Bindle - Termination Letter.pdf

       13OCT2022 - Carson Allman - Letter or Reprimand.pdf

       12MAY2023_RJ_Williams_Reprimand.pdf

       12MAY2023_Patrick_Lewis_LOR_for performance and attendance.pdf

       17JUL2023_Jim_Hoover_Counseling_SIGNED (1).pdf

       19JUL2023_RJ_Williams_Counseling_Letter.pdf

       20JUL2023_Patrick_Lewis_Written_Counseling.pdf




       These documents demonstrate the company's commitment to maintaining discipline, safety, and
       compliance within the workplace. Should you require any additional information or have specific
       inquiries about any of these disciplinary actions, please feel free to communicate them to us. We are
       committed to ensuring transparency and cooperation throughout this process.



                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 923
       Appellate Case: 25-1349 Page: 3066    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       24.     Produce the documents reflecting any communications, including Microsoft Teams chats, text
message, emails, to employees of Respondent at the MoSenecaMfr LLC dba American Tr mine regarding
MSHA inspections and/or any MSHA inspectors.
       RESPONSE: All communications related to MSHA inspections and interactions with MSHA inspectors
       have been consolidated into a comprehensive document labeled "ALL Communications regarding
       MSHA.pdf.", in folder labeled “Request for Documents 24”. This document contains a thorough record
       of all communications, including Microsoft Teams chats, text messages, and emails exchanged between
       employees of Respondent at the MoSenecaMfr LLC dba American Tr mine concerning MSHA
       inspections and interactions with MSHA inspectors.

       By consolidating these communications into a single document, we aim to provide a complete and
       organized account of our interactions with MSHA and MSHA inspectors. This approach is intended to
       streamline the document production process and ensure clarity in our responses.

       If you have any specific questions or need further information regarding these communications, please
       do not hesitate to contact us. We are committed to transparency and open communication throughout
       this process.

       If you have any additional requests or require further documents related to this matter, please feel free to
       specify your needs, and we will do our best to accommodate them. Your understanding and cooperation
       in this matter are greatly appreciated.




       25.     Produce the documents discussing Robert Baumann’s termination.
       RESPONSE: We appreciate your request. We want to clarify that discussions related to Mr. Baumann's
       termination primarily took place in person or during video calls, which may not have generated
       electronic records.




                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 924
       Appellate Case: 25-1349 Page: 3067    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       Should you need further clarification or additional information, please feel free to contact us, and we
       will do our best to assist.




       26.     Produce the documents you intend to use at the hearing in this matter.
       RESPONSE: We are fully committed to complying with our legal obligations and cooperating in the
       discovery process. As such, we are providing all relevant documents and will promptly provide any
       additional relevant documents as they become available and maintain open communication with your
       team. If you require specific documents or have further inquiries related to this request, please do not
       hesitate to reach out to us for clarification and assistance.




                                        REQUESTS FOR ADMISSION

       1.      Admit that the MOSenecaMfr LLC dba American Tr mine is a mine as defined in Section 3(h) of
the Federal Mine Safety and Health Act of 1977, 30 U.S.C. § 802(h).
       ANSWER: Admit. The operator acknowledges that the MOSenecaMfr LLC dba American Tr mine falls
       within the definition of a mine as provided in the Mine Act. This acknowledgment is consistent with the
       operator's understanding of its activities and operations. However, this admission should not be
       construed as an admission of liability or wrongdoing with respect to the allegations in this case. The
       operator maintains that its operations have consistently aimed to comply with the Mine Act and relevant
       regulations, ensuring the safety and well-being of its workforce.




                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 925
       Appellate Case: 25-1349 Page: 3068    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       2.      Admit that the products of the MOSenecaMfr LLC dba American Tr mine enter commerce or the
operations or products thereof affect commerce within the meaning and scope of the Federal Mine Safety and
Health Act of 1977.
       ANSWER: Admit. The operator acknowledges that, in the ordinary course of its mining operations, its
       products may be intended for commercial use or distribution, and as such, they have the potential to
       enter or affect commerce. However, this acknowledgment should not be construed as an admission of
       liability or wrongdoing with respect to the allegations in this case. The operator maintains that its
       operations have consistently aimed to comply with the Mine Act and relevant regulations, ensuring the
       safety and well-being of its workforce and the quality of its products.




       3.      Admit that MOSenecaManufacturer Limited Liability Company d/b/a American Tripoli is the
operator of the MOSenecaMfr LLC dba American Tr mine and was the operator of the mine from at least June
1, 2022 through April 17, 2023.


       ANSWER: Admit. MOSenecaManufacturer Limited Liability Company d/b/a American Tripoli, herein
       referred to as 'the operator,' is the entity responsible for the operation of the MOSenecaMfr LLC dba
       American Tr mine. The operator acknowledges that it assumed the role of the mine operator at the
       specified mine location, and this responsibility was held from at least June 1, 2022, through April 17,
       2023.

       While the operator admits to its role as the mine operator during the specified time frame, it is important
       to clarify that this acknowledgment does not constitute an admission of liability or wrongdoing with
       respect to the allegations contained within the case. The operator is committed to maintaining a safe and
       compliant workplace for its employees and remains steadfast in its position that the actions taken during
       this period were in accordance with applicable regulations and without any intent to discriminate or
       infringe upon the rights of miners.



                           CustomerService@AmericanTripoli.com         Exhibit 20
                                                             Exhibit P-43, Page 926
       Appellate Case: 25-1349 Page: 3069    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                      Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                     5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                     Seneca, MO 64865
                                                                                      Office (239) 829-5457

__________________________________________________________________________________________________
       4.      Admit that while Robert Baumann was employed by Respondent at the MOSenecaMfr LLC dba
American Tr mine he was a “miner” as defined in Section 3(g) of the Mine Act, 30 U.S.C. § 802(g).


       ANSWER: Admit. While Robert Baumann was employed by Respondent at the MOSenecaMfr LLC
       dba American Tr mine, he met the criteria to be considered a 'miner' under the definition provided in
       Section 3(g) of the Mine Act, 30 U.S.C. § 802(g). The operator acknowledges that Mr. Baumann was an
       employee involved in mining operations at the specified mine location during the relevant timeframe.

       It is essential to clarify that the acknowledgment of Mr. Baumann's status as a 'miner' does not alter the
       operator's position that the actions taken regarding his employment were based on performance issues
       and not related to any form of discrimination or interference with miner's rights. The operator remains
       committed to providing a safe and compliant workplace for all its employees, including those meeting
       the definition of a 'miner' under the Mine Act.




       5.      Admit that Robert Baumann served as a representative of miners at the MOSenecaMfr LLC dba
American Tr mine from March 21, 2023 through April 17, 2023.


       ANSWER: Deny. The mine operator was not made aware of Robert Baumann serving as a
       representative of miners at the MOSenecaMfr LLC dba American Tr mine from March 21, 2023,
       through April 17, 2023. To the best of our knowledge and records, no formal notification or
       communication regarding Mr. Baumann's representation of miners was received by the mine operator
       during the specified period.

       The mine operator is committed to adhering to all relevant regulations and compliance requirements
       under the Mine Act, including those pertaining to miner's representatives. In the absence of formal
       notice or awareness of Mr. Baumann's role as a representative of miners, the operator was unable to
       address any concerns or considerations related to his representation.


                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                             Exhibit P-43, Page 927
       Appellate Case: 25-1349 Page: 3070    Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                         Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                        5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                        Seneca, MO 64865
                                                                                         Office (239) 829-5457

__________________________________________________________________________________________________
       It is crucial to clarify that the mine operator is dedicated to maintaining a safe working environment and
       complying with all applicable legal obligations. We welcome a comprehensive review of the facts and
       evidence related to Mr. Baumann's representation during the specified timeframe to ensure a just and
       equitable resolution.




       6.      Admit that the Federal Mine Safety and Health Review Commission has jurisdiction over this
case under Section 105(c)(2) and 113 of the Mine Act, 30 U.S.C. §§ 815(c)(2), 823.


       ANSWER: Deny. The mine operator contests the assertion that the Federal Mine Safety and Health
       Review Commission (FMSHRC) has jurisdiction over this case under Section 105(c)(2) and 113 of the
       Mine Act, 30 U.S.C. §§ 815(c)(2), 823. The mine operator believes that the actions taken, including the
       dismissal of the miner, were solely based on performance issues and not discriminatory in nature. As
       such, it is our position that the circumstances of this case do not fall within the purview of the
       aforementioned statutory provisions.

       The mine operator strongly maintains that the miner's dismissal was a result of legitimate performance-
       related concerns in accordance with the established company policies, the state of Missouri guidelines
       and not a violation of any miner's rights under the Mine Act. Therefore, we contend that the jurisdiction
       of the FMSHRC does not apply in this case. However, we are open to a thorough examination of the
       facts and circumstances surrounding this matter to arrive at a just resolution.




                                                      Russell Tidaback
                                                      Managing Member
                                                      American Tripoli
                                                      Russell.Tidaback@americantripoli.com




                           CustomerService@AmericanTripoli.com          Exhibit 20
                                                             Exhibit P-43, Page 928
       Appellate Case: 25-1349 Page: 3071    Date Filed: 04/07/2025 Entry ID: 5503844
                         Exhibit 23

Exhibit P-43, Page 929
                                      Appellate Case: 25-1349   Page: 3072   Date Filed: 04/07/2025 Entry ID: 5503844
                         Exhibit 23

Exhibit P-43, Page 930
                                      Appellate Case: 25-1349   Page: 3073   Date Filed: 04/07/2025 Entry ID: 5503844
                         Exhibit 23

Exhibit P-43, Page 931
                                      Appellate Case: 25-1349   Page: 3074   Date Filed: 04/07/2025 Entry ID: 5503844
                         Exhibit 23

Exhibit P-43, Page 932
                                      Appellate Case: 25-1349   Page: 3075   Date Filed: 04/07/2025 Entry ID: 5503844
                         Exhibit 23

Exhibit P-43, Page 933
                                      Appellate Case: 25-1349   Page: 3076   Date Filed: 04/07/2025 Entry ID: 5503844
                                   AMERICAN TRIPOLI
                                   Mailing Address: 2701 East Grauwyler Road, Bldg 1,
                                   Dept# 1008, Irving, TX 75061-3414
                                   Shipping/Receiving Address: 5 Oneida Street, Seneca,
                                   MO 64865

April17, 2023, 9:00 AM

Dear Robert Baumann,

I regret to inform you that your employment with American Tripoli will be terminated effective immediately due to poor
performance, lack of leadership skills, and for failure to follow procedures and guidance given by your supervisor.

We have made several attempts to address these issues with you through coaching, feedback sessions and open
communication channels, but unfortunately, we have not seen any improvement in your performance and the data
reflects this.

Please note that you will receive your final paycheck, as scheduled, on the upcoming pay date, which will include any
accrued benefits owed to you.

I am very disappointed that this opportunity did not work out as I had high hopes for you.

If you have any questions or concerns about this decision, please do not hesitate to contact me.


Sincerely,


Russell Tidaback
Managing Member
American Tripoli

Ccd:
John Spears
Operations Manager
American Tripoli




                                                       Page 1 of 1

                           CustomerService@AmericanTripoli.com          Exhibit 24
                                                            Exhibit P-43, Page 934
       Appellate Case: 25-1349 Page: 3077   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                Exhibit 25

                                                       Exhibit P-43, Page 935
Appellate Case: 25-1349   Page: 3078   Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
Date: 11-4-2022

Dear Mr. Carson Allman,

Re: Termination of Employment

It is with deep regret that I must inform you that your employment with American Tripoli is terminated, effective
11/4/2022, in accordance with our standard employee practices and after careful consideration by the management
team.

Over the past few months, your performance has been closely monitored, and it has been observed that you have
consistently failed to meet the standards and expectations set forth by the company. We have had multiple
discussions and interventions to address various concerns related to your conduct and performance. Specifically,
we have discussed your failure to communicate your intentions effectively, particularly in relation to production
matters within the mill. These concerns encompass actions such as leaving your workstation without authorization,
leaving company property without notice, and neglecting planned maintenance tasks, among others.

It is essential to highlight that you were provided with numerous opportunities and guidance to rectify these issues,
as our standard of conduct and disciplinary process is designed to be a fair and progressive system. This process
consists of three steps:

    1. Verbal Warning: As a first step, employees are provided with a verbal warning to address any behavioral or
       performance issues. This serves as an initial opportunity to understand and rectify the concerns raised.
    2. Written Warning Letter: Following the initial verbal warning, if the issues persist, a written warning letter is
       issued to formally document the concerns and expectations. This step is intended to emphasize the
       seriousness of the situation and to provide clear guidance on the necessary improvements.
    3. Termination: Regrettably, despite the verbal and written warnings provided and the numerous opportunities
       for improvement, your actions and conduct have not met the company's expectations. As a result, we are
       left with no alternative but to proceed with your termination, effective 11/4/2022.

Please be aware that this decision is not taken lightly, and it is made in the best interest of the company and its
employees. We genuinely regret that it has come to this point and sincerely hope that you will find success in your
future endeavors.

You are required to return all company property, keys, hardhat, and any other company materials or equipment in
your possession by 11/4/2022. Your final paycheck, including any accrued but unused PTO days, will be provided to
you as per our standard payroll schedule.

If you have any questions or need clarification regarding the termination process or any related matters, please do
not hesitate to contact me.

Sincerely,


                                                John Spears
                                                Operations Manager
Note: One copy of this letter given to employee and one copy place in employee personal HR file.

                                                                                             PageExhibit
                                                                                                  1 of 1 25

                                                                              Exhibit P-43, Page 936
      Appellate Case: 25-1349             Page: 3079          Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
Date: 10-29-2022

Dear Mr. Jessie Hodge,

Re: Termination of Employment

It is with deep regret that I must inform you that your employment with American Tripoli is terminated, effective
10/30/2022, in accordance with our standard employee practices and after careful consideration by the
management team.

Over the past few months, your performance has been closely monitored, and it has been observed that you have
consistently failed to meet the standards and expectations set forth by the company. We have had multiple
discussions and interventions to address various concerns related to your conduct and performance. Specifically,
we have discussed your failure to communicate your intentions effectively, particularly in relation to production
matters within the mill. These concerns encompass actions such as leaving your workstation without authorization,
leaving company property without notice, and neglecting planned maintenance tasks, among others.

It is essential to highlight that you were provided with numerous opportunities and guidance to rectify these issues,
as our standard of conduct and disciplinary process is designed to be a fair and progressive system. This process
consists of three steps:

    1. Verbal Warning: As a first step, employees are provided with a verbal warning to address any behavioral or
       performance issues. This serves as an initial opportunity to understand and rectify the concerns raised.
    2. Written Warning Letter: Following the initial verbal warning, if the issues persist, a written warning letter is
       issued to formally document the concerns and expectations. This step is intended to emphasize the
       seriousness of the situation and to provide clear guidance on the necessary improvements.
    3. Termination: Regrettably, despite the verbal and written warnings provided and the numerous opportunities
       for improvement, your actions and conduct have not met the company's expectations. As a result, we are
       left with no alternative but to proceed with your termination, effective 10/30/2022.

Please be aware that this decision is not taken lightly, and it is made in the best interest of the company and its
employees. We genuinely regret that it has come to this point and sincerely hope that you will find success in your
future endeavors.

You are required to return all company property, keys, hardhat, and any other company materials or equipment in
your possession by 10/30/2022. Your final paycheck, including any accrued but unused PTO days, will be provided
to you as per our standard payroll schedule.

If you have any questions or need clarification regarding the termination process or any related matters, please do
not hesitate to contact me.

Sincerely,


                                                John Spears
                                                Operations Manager
Note: One copy of this letter given to employee and one copy place in employee personal HR file.

                                                                                             PageExhibit
                                                                                                  1 of 1 25

                                                                              Exhibit P-43, Page 937
      Appellate Case: 25-1349             Page: 3080          Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
Date: 11-4-2022

Dear Mr. Terry Newborn,

Re: Termination of Employment

It is with deep regret that I must inform you that your employment with American Tripoli is terminated, effective
11/4/2022, in accordance with our standard employee practices and after careful consideration by the management
team.

Over the past few months, your performance has been closely monitored, and it has been observed that you have
consistently failed to meet the standards and expectations set forth by the company. We have had multiple
discussions and interventions to address various concerns related to your conduct and performance. Specifically,
we have discussed your failure to communicate your intentions effectively, particularly in relation to production
matters within the mill. These concerns encompass actions such as leaving your workstation without authorization,
leaving company property without notice, and neglecting planned maintenance tasks, among others.

It is essential to highlight that you were provided with numerous opportunities and guidance to rectify these issues,
as our standard of conduct and disciplinary process is designed to be a fair and progressive system. This process
consists of three steps:

    1. Verbal Warning: As a first step, employees are provided with a verbal warning to address any behavioral or
       performance issues. This serves as an initial opportunity to understand and rectify the concerns raised.
    2. Written Warning Letter: Following the initial verbal warning, if the issues persist, a written warning letter is
       issued to formally document the concerns and expectations. This step is intended to emphasize the
       seriousness of the situation and to provide clear guidance on the necessary improvements.
    3. Termination: Regrettably, despite the verbal and written warnings provided and the numerous opportunities
       for improvement, your actions and conduct have not met the company's expectations. As a result, we are
       left with no alternative but to proceed with your termination, effective 11/4/2022.

Please be aware that this decision is not taken lightly, and it is made in the best interest of the company and its
employees. We genuinely regret that it has come to this point and sincerely hope that you will find success in your
future endeavors.

You are required to return all company property, keys, hardhat, and any other company materials or equipment in
your possession by 11/4/2022. Your final paycheck, including any accrued but unused PTO days, will be provided to
you as per our standard payroll schedule.

If you have any questions or need clarification regarding the termination process or any related matters, please do
not hesitate to contact me.

Sincerely,


                                                John Spears
                                                Operations Manager
Note: One copy of this letter given to employee and one copy place in employee personal HR file.

                                                                                             PageExhibit
                                                                                                  1 of 1 25

                                                                              Exhibit P-43, Page 938
      Appellate Case: 25-1349             Page: 3081          Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
Date: 8-30-2023

Dear Mr. Ryan Closser,

Re: Termination of Employment

It is with deep regret that I must inform you that your employment with American Tripoli is terminated, effective
8/30/2023, in accordance with our standard employee practices and after careful consideration by the management
team.

Over the past few months, your performance has been closely monitored, and it has been observed that you have
consistently failed to meet the standards and expectations set forth by the company. We have had multiple
discussions and interventions to address various concerns related to your conduct and performance. Specifically,
we have discussed your failure to communicate your intentions effectively, particularly in relation to production
matters within the mill. These concerns encompass actions such as leaving your workstation without authorization,
leaving company property without notice, and neglecting planned maintenance tasks, among others.

It is essential to highlight that you were provided with numerous opportunities and guidance to rectify these issues,
as our standard of conduct and disciplinary process is designed to be a fair and progressive system. This process
consists of three steps:

    1. Verbal Warning: As a first step, employees are provided with a verbal warning to address any behavioral or
       performance issues. This serves as an initial opportunity to understand and rectify the concerns raised.
    2. Written Warning Letter: Following the initial verbal warning, if the issues persist, a written warning letter is
       issued to formally document the concerns and expectations. This step is intended to emphasize the
       seriousness of the situation and to provide clear guidance on the necessary improvements.
    3. Termination: Regrettably, despite the verbal and written warnings provided and the numerous opportunities
       for improvement, your actions and conduct have not met the company's expectations. As a result, we are
       left with no alternative but to proceed with your termination, effective 8/30/2023.

Please be aware that this decision is not taken lightly, and it is made in the best interest of the company and its
employees. We genuinely regret that it has come to this point and sincerely hope that you will find success in your
future endeavors.

You are required to return all company property, keys, hardhat, and any other company materials or equipment in
your possession by 8/30/2023. Your final paycheck, including any accrued but unused PTO days, will be provided to
you as per our standard payroll schedule.

If you have any questions or need clarification regarding the termination process or any related matters, please do
not hesitate to contact me.

Sincerely,


                                                John Spears
                                                Operations Manager
Note: One copy of this letter given to employee and one copy place in employee personal HR file.

                                                                                             PageExhibit
                                                                                                  1 of 1 25

                                                                              Exhibit P-43, Page 939
      Appellate Case: 25-1349             Page: 3082          Date Filed: 04/07/2025 Entry ID: 5503844
Mailing Address:                                                                          Shipping/Receiving Address:
2701 East Grauwyler Road, Bldg 1,                                                         5 Oneida Street,
Dept# 1008, Irving, TX 75061-3414                                                         Seneca, MO 64865
                                                                                          Office (239) 829-5457

__________________________________________________________________________________________________
Date: 9-14-2023

Dear Mr. Jim Hoover,

Re: Termination of Employment

It is with deep regret that I must inform you that your employment with American Tripoli is terminated, effective
9/14/2023, in accordance with our standard employee practices and after careful consideration by the management
team.

Over the past few months, your performance has been closely monitored, and it has been observed that you have
consistently failed to meet the standards and expectations set forth by the company. We have had multiple
discussions and interventions to address various concerns related to your conduct and performance. Specifically,
we have discussed your failure to communicate your intentions effectively, particularly in relation to production
matters within the mill. These concerns encompass actions such as leaving your workstation without authorization,
leaving company property without notice, and neglecting planned maintenance tasks, among others.

It is essential to highlight that you were provided with numerous opportunities and guidance to rectify these issues,
as our standard of conduct and disciplinary process is designed to be a fair and progressive system. This process
consists of three steps:

    1. Verbal Warning: As a first step, employees are provided with a verbal warning to address any behavioral or
       performance issues. This serves as an initial opportunity to understand and rectify the concerns raised.
    2. Written Warning Letter: Following the initial verbal warning, if the issues persist, a written warning letter is
       issued to formally document the concerns and expectations. This step is intended to emphasize the
       seriousness of the situation and to provide clear guidance on the necessary improvements.
    3. Termination: Regrettably, despite the verbal and written warnings provided and the numerous opportunities
       for improvement, your actions and conduct have not met the company's expectations. As a result, we are
       left with no alternative but to proceed with your termination, effective 9/14/2023.

Please be aware that this decision is not taken lightly, and it is made in the best interest of the company and its
employees. We genuinely regret that it has come to this point and sincerely hope that you will find success in your
future endeavors.

You are required to return all company property, keys, hardhat, PAPR, half-mask, and any other company materials
or equipment in your possession by 9/14/2023. Your final paycheck, including any accrued but unused PTO days,
will be provided to you as per our standard payroll schedule.

If you have any questions or need clarification regarding the termination process or any related matters, please do
not hesitate to contact me.

Sincerely,


                                                John Spears
                                                Operations Manager
Note: One copy of this letter given to employee and one copy place in employee personal HR file.

                                                                                             PageExhibit
                                                                                                  1 of 1 25

                                                                              Exhibit P-43, Page 940
      Appellate Case: 25-1349             Page: 3083          Date Filed: 04/07/2025 Entry ID: 5503844
            .ER1cq              AIVIEKICAIN 1 KIYULI
                               P.O. BOX 489 - SENECA, MISSOURI 64865
                                       TEL.NO.+1.417.776.2216
                                    EMAIL: Info@AmericanTripoli.com


To: Jena Turner
From: Russell Tidaback
Date: April 26, 2022
Re: Letter of Reprimand

This letter is a formal reprimand for the performance you have exhibited on the job. Your work, despite
encouragement and guidance given, is not improving. In the employee hand book it outlines the 3-step
progressive discipline process.

We have expressed on numerous occasions that we are a collaborative and team work based company. As
part of this collaborative and team work based environment it is the management teams responsibility to
provide tasking/responsibility direction and assistance and then to hold employees accountable for the
tasks/responsibilities given. We strive to create a healthy, positive environment and do everything we can to
help you succeed.

When your manager, or one of the company owners, specifically task you with something you need to ensure
the task(s) are completed efficiently and effectively in a timely manner. We will address a few instances where
this type of incident has come up.

- The natural gas contract. You were tasked to reach out to vendors and when asked the status you stated you
hadn't heard anything and would follow up. This occurred numerous times. We eventually had to resolve this
tasking at the management level.

 Having Teams on your phone for couaborat.icn.This has been an ongoing issue since October. The last
response from you when inquired is that you just didn't want to as it caused you to check it all the time.
Having Teams on your phone and being collaborative is part of the job responsibilities and team work.

 Preparing the smaller retail bags for inventory. This was asked of you for more than a month. We had to do
this at the management level to get it done.

- Taking the provided company laptop home with you each evening. We have been discussing the purpose of
taking the company laptop home each evening since June 2021. Now that the company has provided a laptop,
when asked why you are not taking the laptop home each night, the response from you was that you just
didn't want to.

All of these incidents are taken as either not understanding the company hierarchy, tasks and responsibilities,
what being a team player is, or blatant disrespect.

You have approximately thirty days, although if we don't see early progress, you will not get the full thirty
days, to demonstratethat you can perform this job, effectively complete the tasks given, and participate as a
company team player. If you don't demonstrate immediate progress, we will terminate your employment.

We will place a copy of this formal, written reprimand in your personnel file in Human Resources.


                                                   Page 1 of 2                              Exhibit 26

                                                                        Exhibit P-43, Page 941
   Appellate Case: 25-1349            Page: 3084          Date Filed: 04/07/2025 Entry ID: 5503844
             .ER1cq               AIVIERICAIN 1 KIYULI
                                P.O. BOX 489 - SENECA,MISSOURI 64865
                                        TEL.NO.+1.417.776.2216
                                     EMAIL: Info@AmericanTripoli.com


Please take this advice seri   sl as our p     r nce is always to see employees succeed.

Signatu e:

Supervisor Name: Russell Tidaback (Owner)

Date: 26APR2022



Acknowledgment of Receipt

I acknowledge that I have received this written reprimand. My acknowledgment
                                                                                  does not mean that I agree
with its contents. I understand that you will place a copy of this reprimand in my official
                                                                                            personnel file. I also
acknowledge that I have the right to prepare a written response that you will attach to the original
                                                                                                       letter of
reprimand.

Signature:


Employee Name: Jena Turner

Date:




                                                     Page 2 of 2                              Exhibit 26

                                                                          Exhibit P-43, Page 942
     Appellate Case: 25-1349             Page: 3085         Date Filed: 04/07/2025 Entry ID: 5503844
                                                                Exhibit 26

                                                       Exhibit P-43, Page 943
Appellate Case: 25-1349   Page: 3086   Date Filed: 04/07/2025 Entry ID: 5503844
                               AMERICAN TRIPOLI
                                P.O. BOX 489 – SENECA, MISSOURI 64865
                                        TEL.NO.+1.417.776.2216
                                     EMAIL: Info@Am ericanTripoli.com




Camrin Bindle
Mill Associate
201 N. Vine St.
Commerce, OK 74339

Date: 6/7/2022

Dear Camrin Bindel,

This is regarding your resignation notice on 6/7/2022 wherein you requested to be relived of your services
immediately. We want to inform you that your resignation is accepted, and you're relieved from your position
as Mill Associate with American Tripoli with the effective date 6/7/2022.

We sincerely appreciate your contributions to American Tripoli for the following time period 3/28/2022 –
6/7/2022. To receive a professional recommendation will require a more personal relationship with someone
within the company.

Respectfully,


Christine Schreiber
Operations Manager




                                                 Page 1 of 1                            Exhibit 26

                                                                        Exhibit P-43, Page 944
     Appellate Case: 25-1349          Page: 3087        Date Filed: 04/07/2025 Entry ID: 5503844
                                   AMERICAN TRIPOLI
                                                 SENECA STANDARD



To: Carson Allman

From: John Spears

Date: 13OCT2022

RE: Letter of Reprimand

This letter is to inform you that your performance is not meeting the expected requirements for your position as a
maintenance technician. We’re concerned and want to see you succeed.

You are officially failing to perform for the following reason(s):
   - Understand the priority of maintenance needs for production
   - Complying with responding to maintenance calls
   - Demonstrating lack of sense of urgency
   - Demonstrating lack of maintenance experience as represented on resume

Based on position description, role discussions, verbal, and written communications, you are failing to meet the
performance measurements for your role. These performance requirements affect not only the success of American
Tripoli’s operations but also the success of our customer which rely on our products to be produced and delivered so
they can support their employees and customers.

As a result, If we do not see improvements immediately, additional disciplinary action will occur up to and including
termination of employment. This letter will be added to your personnel file.

What can we do to support you in your role? Comment below.


_______________________________
John Spears - Operations Manager


______________________________
Carson Allman - Maintenance Technician

Comments:

__________________________________________________________________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

                                                       Page 1 of 1                                 Exhibit 26

                                                                              Exhibit P-43, Page 945
     Appellate Case: 25-1349              Page: 3088          Date Filed: 04/07/2025 Entry ID: 5503844
                                                                Exhibit 26

                                                       Exhibit P-43, Page 946
Appellate Case: 25-1349   Page: 3089   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                Exhibit 26

                                                       Exhibit P-43, Page 947
Appellate Case: 25-1349   Page: 3090   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                Exhibit 26

                                                       Exhibit P-43, Page 948
Appellate Case: 25-1349   Page: 3091   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                Exhibit 26

                                                       Exhibit P-43, Page 949
Appellate Case: 25-1349   Page: 3092   Date Filed: 04/07/2025 Entry ID: 5503844
                                                                Exhibit 26

                                                       Exhibit P-43, Page 950
Appellate Case: 25-1349   Page: 3093   Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1749473 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      04/02/2023
                       Seneca, MO 64865                                                   Period Ending:        04/15/2023
                                                                                          Pay Date:             04/21/2023




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              71.00               1420.00       12160.00
Personal              20.0000               9.56                191.20         431.20             Personal
                                                                                                    - Carry Over                                                0.00
              Gross Pay                                      $1,611.20     $12,591.20               - Accrued Hours                              3.08          24.64
                                                                                                    - Taken Hours                                9.56          21.56
                                                                                                    - Balance                                                   3.08
                                                                                                  Total Hours Worked                             71.00        608.00
                   Statutory Deductions                      this period   year to date
                                                                                                  Deposits
                   Federal Income                              -160.65        1249.42             account number                         transit/ABA          amount
                   Social Security                              -99.89         780.65
                   Medicare                                     -23.36         182.57             XXXXXX1564                            XXXXXXXXX            1281.30
                   Missouri State Income                        -46.00         356.00
                                                                                                  Important Notes

                   Net Pay                                   $1,281.30                            Basis of pay: Hourly




                                                                                                 Your federal taxable wages this period are $1,611.20




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      04/21/2023




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX1564                            XXXXXXXXX              1281.30




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 951
           Appellate Case: 25-1349                           Page: 3094           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1704997 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      03/19/2023
                       Seneca, MO 64865                                                   Period Ending:        04/01/2023
                                                                                          Pay Date:             04/07/2023




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              73.00               1460.00       10740.00
Personal              20.0000               6.00                120.00         240.00             Personal
                                                                                                    - Carry Over                                                0.00
              Gross Pay                                      $1,580.00     $10,980.00               - Accrued Hours                               3.08         21.56
                                                                                                    - Taken Hours                                 6.00         12.00
                                                                                                    - Balance                                                   9.56
                                                                                                  Total Hours Worked                             73.00        537.00
                   Statutory Deductions                      this period   year to date
                                                                                                  Deposits
                   Federal Income                              -156.91        1088.77             account number                        transit/ABA           amount
                   Social Security                              -97.96         680.76
                   Medicare                                     -22.91         159.21             XXXXXX1564                            XXXXXXXXX            1257.22
                   Missouri State Income                        -45.00         310.00
                                                                                                  Important Notes

                   Net Pay                                   $1,257.22                            Basis of pay: Hourly




                                                                                                 Your federal taxable wages this period are $1,580.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      04/07/2023




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX1564                            XXXXXXXXX              1257.22




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 952
           Appellate Case: 25-1349                           Page: 3095           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1657573 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      03/05/2023
                       Seneca, MO 64865                                                   Period Ending:        03/18/2023
                                                                                          Pay Date:             03/24/2023




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              73.00               1460.00        9280.00
Personal              20.0000               6.00                120.00         120.00             Personal
                                                                                                    - Carry Over                                                0.00
              Gross Pay                                      $1,580.00     $9,400.00                - Accrued Hours                               3.08         18.48
                                                                                                    - Taken Hours                                 6.00          6.00
                                                                                                    - Balance                                                  12.48
                                                                                                  Total Hours Worked                             73.00        464.00
                   Statutory Deductions                      this period   year to date
                                                                                                  Deposits
                   Federal Income                              -156.91         931.86             account number                        transit/ABA           amount
                   Social Security                              -97.96         582.80
                   Medicare                                     -22.91         136.30             XXXXXX1564                            XXXXXXXXX            1257.22
                   Missouri State Income                        -45.00         265.00
                                                                                                  Important Notes

                   Net Pay                                   $1,257.22                            Basis of pay: Hourly




                                                                                                 Your federal taxable wages this period are $1,580.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      03/24/2023




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX1564                            XXXXXXXXX              1257.22




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 953
           Appellate Case: 25-1349                           Page: 3096           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1608984 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      02/19/2023
                       Seneca, MO 64865                                                   Period Ending:        03/04/2023
                                                                                          Pay Date:             03/10/2023




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              77.00               1540.00        7820.00
                                                                                                  Personal
              Gross Pay                                      $1,540.00     $7,820.00                - Carry Over                                                0.00
                                                                                                    - Accrued Hours                              3.08          15.40
                                                                                                    - Taken Hours                                0.00           0.00
                                                                                                    - Balance                                                  15.40
                   Statutory Deductions                      this period   year to date           Total Hours Worked                             77.00        391.00
                   Federal Income                              -152.11         774.95             Deposits
                   Social Security                              -95.48         484.84             account number                        transit/ABA           amount
                   Medicare                                     -22.33         113.39
                   Missouri State Income                        -43.00         220.00             XXXXXX1564                            XXXXXXXXX            1227.08

                                                                                                  Important Notes
                   Net Pay                                   $1,227.08
                                                                                                  Basis of pay: Hourly




                                                                                                 Your federal taxable wages this period are $1,540.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      03/10/2023




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX1564                            XXXXXXXXX              1227.08




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 954
           Appellate Case: 25-1349                           Page: 3097           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1555701 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      02/05/2023
                       Seneca, MO 64865                                                   Period Ending:        02/18/2023
                                                                                          Pay Date:             02/24/2023




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              80.00               1600.00        6280.00
                                                                                                  Personal
              Gross Pay                                      $1,600.00     $6,280.00                - Carry Over                                                0.00
                                                                                                    - Accrued Hours                              3.08          12.32
                                                                                                    - Taken Hours                                0.00           0.00
                                                                                                    - Balance                                                  12.32
                   Statutory Deductions                      this period   year to date           Total Hours Worked                             80.00        314.00
                   Federal Income                              -159.31         622.84             Deposits
                   Social Security                              -99.20         389.36             account number                        transit/ABA           amount
                   Medicare                                     -23.20          91.06
                   Missouri State Income                        -46.00         177.00             XXXXXX1564                            XXXXXXXXX            1272.29

                                                                                                  Important Notes
                   Net Pay                                   $1,272.29
                                                                                                  Basis of pay: Hourly




                                                                                                 Your federal taxable wages this period are $1,600.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      02/24/2023




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX1564                            XXXXXXXXX              1272.29




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 955
           Appellate Case: 25-1349                           Page: 3098           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1498344 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      01/22/2023
                       Seneca, MO 64865                                                   Period Ending:        02/04/2023
                                                                                          Pay Date:             02/10/2023




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              76.50               1530.00        4680.00
                                                                                                  Personal
              Gross Pay                                      $1,530.00     $4,680.00                - Carry Over                                                0.00
                                                                                                    - Accrued Hours                              3.08           9.24
                                                                                                    - Taken Hours                                0.00           0.00
                                                                                                    - Balance                                                   9.24
                   Statutory Deductions                      this period   year to date           Total Hours Worked                             76.50        234.00
                   Federal Income                              -150.91         463.53             Deposits
                   Social Security                              -94.86         290.16             account number                        transit/ABA           amount
                   Medicare                                     -22.18          67.86
                   Missouri State Income                        -42.00         131.00             XXXXXX1564                            XXXXXXXXX            1220.05

                                                                                                  Important Notes
                   Net Pay                                   $1,220.05
                                                                                                  Basis of pay: Hourly




                                                                                                 Your federal taxable wages this period are $1,530.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      02/10/2023




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX1564                            XXXXXXXXX              1220.05




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 956
           Appellate Case: 25-1349                           Page: 3099           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1459414 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      01/08/2023
                       Seneca, MO 64865                                                   Period Ending:        01/21/2023
                                                                                          Pay Date:             01/27/2023




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              77.50               1550.00        3150.00
                                                                                                  Personal
              Gross Pay                                      $1,550.00     $3,150.00                - Carry Over                                                0.00
                                                                                                    - Accrued Hours                              3.08           6.16
                                                                                                    - Taken Hours                                0.00           0.00
                                                                                                    - Balance                                                   6.16
                   Statutory Deductions                      this period   year to date           Total Hours Worked                             77.50        157.50
                   Federal Income                              -153.31         312.62             Deposits
                   Social Security                              -96.10         195.30             account number                        transit/ABA           amount
                   Medicare                                     -22.48          45.68
                   Missouri State Income                        -43.00          89.00             XXXXXX1564                            XXXXXXXXX            1235.11

                                                                                                  Important Notes
                   Net Pay                                   $1,235.11
                                                                                                  Basis of pay: Hourly




                                                                                                 Your federal taxable wages this period are $1,550.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      01/27/2023




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX1564                            XXXXXXXXX              1235.11




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 957
           Appellate Case: 25-1349                           Page: 3100           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1410057 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      12/25/2022
                       Seneca, MO 64865                                                   Period Ending:        01/07/2023
                                                                                          Pay Date:             01/13/2023




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              80.00               1600.00        1600.00
                                                                                                  Personal
              Gross Pay                                      $1,600.00     $1,600.00                - Carry Over                                                 0.00
                                                                                                    - Accrued Hours                              3.08            3.08
                                                                                                    - Taken Hours                                0.00            0.00
                                                                                                    - Balance                                                    3.08
                   Statutory Deductions                      this period   year to date           Total Hours Worked                             80.00          80.00
                   Federal Income                              -159.31         159.31             Deposits
                   Social Security                              -99.20          99.20             account number                        transit/ABA           amount
                   Medicare                                     -23.20          23.20
                   Missouri State Income                        -46.00          46.00             XXXXXX1564                            XXXXXXXXX            1272.29

                                                                                                  Important Notes
                   Net Pay                                   $1,272.29
                                                                                                  Basis of pay: Hourly




                                                                                                 Your federal taxable wages this period are $1,600.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      01/13/2023




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX1564                            XXXXXXXXX              1272.29




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 958
           Appellate Case: 25-1349                           Page: 3101           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1365056 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      12/11/2022
                       Seneca, MO 64865                                                   Period Ending:        12/24/2022
                                                                                          Pay Date:             12/30/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              80.00               1600.00       19870.00
Overtime                                                          0.00          90.00             Total Hours Worked                             80.00        996.50
Personal                                                          0.00         320.00
Holiday                                                           0.00         640.00

              Gross Pay                                      $1,600.00     $20,920.00             Deposits
                                                                                                  account number                        transit/ABA           amount
                                                                                                  XXXXXX5597                            XXXXXXXXX            1262.58
                   Statutory Deductions                      this period   year to date
                                                                                                  Important Notes
                   Federal Income                              -164.02        2124.28
                   Social Security                              -99.20        1297.04             Basis of pay: Hourly
                   Medicare                                     -23.20         303.34
                   Missouri State Income                        -51.00         640.00

                   Net Pay                                   $1,262.58




                                                                                                 Your federal taxable wages this period are $1,600.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      12/30/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1262.58




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 959
           Appellate Case: 25-1349                           Page: 3102           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1312832 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      11/27/2022
                       Seneca, MO 64865                                                   Period Ending:        12/10/2022
                                                                                          Pay Date:             12/16/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              76.00               1520.00       18270.00
Overtime                                                          0.00          90.00             Total Hours Worked                             76.00        916.50
Personal                                                          0.00         320.00
Holiday                                                           0.00         640.00

              Gross Pay                                      $1,520.00     $19,320.00             Deposits
                                                                                                  account number                        transit/ABA           amount
                                                                                                  XXXXXX5597                            XXXXXXXXX            1202.30
                   Statutory Deductions                      this period   year to date
                                                                                                  Important Notes
                   Federal Income                              -154.42        1960.26
                   Social Security                              -94.24        1197.84             Basis of pay: Hourly
                   Medicare                                     -22.04         280.14
                   Missouri State Income                        -47.00         589.00

                   Net Pay                                   $1,202.30




                                                                                                 Your federal taxable wages this period are $1,520.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      12/16/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1202.30




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 960
           Appellate Case: 25-1349                           Page: 3103           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1261052 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      11/13/2022
                       Seneca, MO 64865                                                   Period Ending:        11/26/2022
                                                                                          Pay Date:             12/02/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              54.50               1090.00       16750.00
Overtime                                                          0.00          90.00             Total Hours Worked                             54.50        840.50
Personal              20.0000               8.00                160.00         320.00
Holiday               20.0000              16.00                320.00         640.00

              Gross Pay                                      $1,570.00     $17,800.00             Deposits
                                                                                                  account number                        transit/ABA           amount
                                                                                                  XXXXXX5597                            XXXXXXXXX            1239.48
                   Statutory Deductions                      this period   year to date
                                                                                                  Important Notes
                   Federal Income                              -160.42        1805.84
                   Social Security                              -97.34        1103.60             Basis of pay: Hourly
                   Medicare                                     -22.76         258.10
                   Missouri State Income                        -50.00         542.00

                   Net Pay                                   $1,239.48




                                                                                                 Your federal taxable wages this period are $1,570.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      12/02/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1239.48




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 961
           Appellate Case: 25-1349                           Page: 3104           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1209459 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      10/30/2022
                       Seneca, MO 64865                                                   Period Ending:        11/12/2022
                                                                                          Pay Date:             11/18/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              64.00               1280.00       15660.00
Overtime                                                          0.00          90.00             Total Hours Worked                             64.00        786.00
Personal              20.0000               8.00                160.00         160.00
Holiday               20.0000               8.00                160.00         320.00

              Gross Pay                                      $1,600.00     $16,230.00             Deposits
                                                                                                  account number                        transit/ABA           amount
                                                                                                  XXXXXX5597                            XXXXXXXXX            1262.58
                   Statutory Deductions                      this period   year to date
                                                                                                  Important Notes
                   Federal Income                              -164.02        1645.42
                   Social Security                              -99.20        1006.26             Basis of pay: Hourly
                   Medicare                                     -23.20         235.34
                   Missouri State Income                        -51.00         492.00

                   Net Pay                                   $1,262.58




                                                                                                 Your federal taxable wages this period are $1,600.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      11/18/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1262.58




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 962
           Appellate Case: 25-1349                           Page: 3105           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1157976 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      10/16/2022
                       Seneca, MO 64865                                                   Period Ending:        10/29/2022
                                                                                          Pay Date:             11/04/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              74.50               1490.00       14380.00
Overtime                                                          0.00          90.00             Total Hours Worked                             74.50        722.00
Holiday                                                           0.00         160.00

              Gross Pay                                      $1,490.00     $14,630.00
                                                                                                  Deposits
                                                                                                  account number                        transit/ABA           amount

                   Statutory Deductions                      this period   year to date           XXXXXX5597                            XXXXXXXXX            1180.19

                   Federal Income                              -150.82        1481.40             Important Notes
                   Social Security                              -92.38         907.06
                   Medicare                                     -21.61         212.14             Basis of pay: Hourly
                   Missouri State Income                        -45.00         441.00

                   Net Pay                                   $1,180.19




                                                                                                 Your federal taxable wages this period are $1,490.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      11/04/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1180.19




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 963
           Appellate Case: 25-1349                           Page: 3106           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1104858 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      10/02/2022
                       Seneca, MO 64865                                                   Period Ending:        10/15/2022
                                                                                          Pay Date:             10/21/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              80.00               1600.00       12890.00
Overtime                                                          0.00          90.00             Total Hours Worked                             80.00        647.50
Holiday                                                           0.00         160.00

              Gross Pay                                      $1,600.00     $13,140.00
                                                                                                  Deposits
                                                                                                  account number                        transit/ABA           amount

                   Statutory Deductions                      this period   year to date           XXXXXX5597                            XXXXXXXXX            1262.58

                   Federal Income                              -164.02        1330.58             Important Notes
                   Social Security                              -99.20         814.68
                   Medicare                                     -23.20         190.53             Basis of pay: Hourly
                   Missouri State Income                        -51.00         396.00

                   Net Pay                                   $1,262.58




                                                                                                 Your federal taxable wages this period are $1,600.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      10/21/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1262.58




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 964
           Appellate Case: 25-1349                           Page: 3107           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1054428 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      09/18/2022
                       Seneca, MO 64865                                                   Period Ending:        10/01/2022
                                                                                          Pay Date:             10/07/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              74.00               1480.00       11290.00
Overtime                                                          0.00          90.00             Total Hours Worked                             74.00        567.50
Holiday                                                           0.00         160.00

              Gross Pay                                      $1,480.00     $11,540.00
                                                                                                  Deposits
                                                                                                  account number                        transit/ABA           amount

                   Statutory Deductions                      this period   year to date           XXXXXX5597                            XXXXXXXXX            1172.16

                   Federal Income                              -149.62        1166.56             Important Notes
                   Social Security                              -91.76         715.48
                   Medicare                                     -21.46         167.33             Basis of pay: Hourly
                   Missouri State Income                        -45.00         345.00

                   Net Pay                                   $1,172.16




                                                                                                 Your federal taxable wages this period are $1,480.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      10/07/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1172.16




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 965
           Appellate Case: 25-1349                           Page: 3108           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         1001685 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      09/04/2022
                       Seneca, MO 64865                                                   Period Ending:        09/17/2022
                                                                                          Pay Date:             09/23/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              69.50               1390.00        9810.00
Overtime                                                          0.00          90.00             Total Hours Worked                             69.50        493.50
Holiday                                                           0.00         160.00

              Gross Pay                                      $1,390.00     $10,060.00
                                                                                                  Deposits
                                                                                                  account number                        transit/ABA           amount

                   Statutory Deductions                      this period   year to date           XXXXXX5597                            XXXXXXXXX            1104.85

                   Federal Income                              -138.82        1016.94             Important Notes
                   Social Security                              -86.18         623.72
                   Medicare                                     -20.15         145.87             Basis of pay: Hourly
                   Missouri State Income                        -40.00         300.00

                   Net Pay                                   $1,104.85




                                                                                                 Your federal taxable wages this period are $1,390.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      09/23/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1104.85




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 966
           Appellate Case: 25-1349                           Page: 3109           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         949968 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      08/21/2022
                       Seneca, MO 64865                                                   Period Ending:        09/03/2022
                                                                                          Pay Date:             09/09/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              78.00               1560.00        8420.00
Overtime                                                          0.00          90.00             Total Hours Worked                             78.00        424.00
Holiday                                                           0.00         160.00

              Gross Pay                                      $1,560.00     $8,670.00
                                                                                                  Deposits
                                                                                                  account number                        transit/ABA           amount

                   Statutory Deductions                      this period   year to date           XXXXXX5597                            XXXXXXXXX            1232.44

                   Federal Income                              -159.22         878.12             Important Notes
                   Social Security                              -96.72         537.54
                   Medicare                                     -22.62         125.72             Basis of pay: Hourly
                   Missouri State Income                        -49.00         260.00

                   Net Pay                                   $1,232.44




                                                                                                 Your federal taxable wages this period are $1,560.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      09/09/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1232.44




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 967
           Appellate Case: 25-1349                           Page: 3110           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         896598 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      08/07/2022
                       Seneca, MO 64865                                                   Period Ending:        08/20/2022
                                                                                          Pay Date:             08/26/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              87.00               1740.00        6860.00
Overtime              30.0000               3.00                 90.00          90.00             Total Hours Worked                             90.00        346.00
Holiday                                                           0.00         160.00

              Gross Pay                                      $1,830.00     $7,110.00
                                                                                                  Deposits
                                                                                                  account number                        transit/ABA           amount

                   Statutory Deductions                      this period   year to date           XXXXXX5597                            XXXXXXXXX            1428.78

                   Federal Income                              -197.22         718.90             Important Notes
                   Social Security                             -113.46         440.82
                   Medicare                                     -26.54         103.10             Basis of pay: Hourly
                   Missouri State Income                        -64.00         211.00

                   Net Pay                                   $1,428.78




                                                                                                 Your federal taxable wages this period are $1,830.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      08/26/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1428.78




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 968
           Appellate Case: 25-1349                           Page: 3111           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         836357 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      07/24/2022
                       Seneca, MO 64865                                                   Period Ending:        08/06/2022
                                                                                          Pay Date:             08/12/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period     year to date
Regular               20.0000              60.50               1210.00        5120.00
Holiday                                                           0.00         160.00             Total Hours Worked                             60.50       256.00

              Gross Pay                                      $1,210.00     $5,280.00

                                                                                                  Deposits
                                                                                                  account number                        transit/ABA          amount
                   Statutory Deductions                      this period   year to date
                                                                                                  XXXXXX5597                            XXXXXXXXX            969.22
                   Federal Income                              -117.22         521.68
                   Social Security                              -75.02         327.36             Important Notes
                   Medicare                                     -17.54          76.56
                   Missouri State Income                        -31.00         147.00             Basis of pay: Hourly


                   Net Pay                                     $969.22




                                                                                                 Your federal taxable wages this period are $1,210.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      08/12/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              969.22




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 969
           Appellate Case: 25-1349                           Page: 3112           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         793523 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      07/10/2022
                       Seneca, MO 64865                                                   Period Ending:        07/23/2022
                                                                                          Pay Date:             07/29/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              70.00               1400.00        3910.00
Holiday                                                           0.00         160.00             Total Hours Worked                             70.00        195.50

              Gross Pay                                      $1,400.00     $4,070.00

                                                                                                  Deposits
                                                                                                  account number                        transit/ABA           amount
                   Statutory Deductions                      this period   year to date
                                                                                                  XXXXXX5597                            XXXXXXXXX            1111.88
                   Federal Income                              -140.02         404.46
                   Social Security                              -86.80         252.34             Important Notes
                   Medicare                                     -20.30          59.02
                   Missouri State Income                        -41.00         116.00             Basis of pay: Hourly


                   Net Pay                                   $1,111.88




                                                                                                 Your federal taxable wages this period are $1,400.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      07/29/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX5597                            XXXXXXXXX              1111.88




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 970
           Appellate Case: 25-1349                           Page: 3113           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         741133 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      06/26/2022
                       Seneca, MO 64865                                                   Period Ending:        07/09/2022
                                                                                          Pay Date:             07/15/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period      year to date
Regular               20.0000              70.50               1410.00        2510.00
Holiday               20.0000               8.00                160.00         160.00             Total Hours Worked                             70.50        125.50

              Gross Pay                                      $1,570.00     $2,670.00

                                                                                                  Deposits
                                                                                                  account number                        transit/ABA           amount
                   Statutory Deductions                      this period   year to date
                                                                                                  XXXXXX7728                            XXXXXXXXX            1239.47
                   Federal Income                              -160.42         264.44
                   Social Security                              -97.34         165.54             Important Notes
                   Medicare                                     -22.77          38.72
                   Missouri State Income                        -50.00          75.00             Basis of pay: Hourly


                   Net Pay                                   $1,239.47




                                                                                                 Your federal taxable wages this period are $1,570.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      07/15/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX7728                            XXXXXXXXX              1239.47




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 971
           Appellate Case: 25-1349                           Page: 3114           Date Filed: 04/07/2025 Entry ID: 5503844
                  Company Code
                  KY / NMC 26967355 01/
                                        Loc/Dept         Number Page
                                                         688724 1 of 1
                                                                                          Earnings Statement
                       American Tripoli
                       222 Oneida St                                                      Period Starting:      06/12/2022
                       Seneca, MO 64865                                                   Period Ending:        06/25/2022
                                                                                          Pay Date:             07/01/2022




             Taxable Marital Status:      Single
             Exemptions/Allowances:          Tax Override:                                            Robert Baumann
                  Federal: 0                    Federal:
                  State:      0                 State:                                                939 South Park Drive
                  Local:      0                 Local:                                                Columbus, KS 66725
             Social Security Number:      XXX-XX-XXXX


Earnings                   rate    hours/units               this period   year to date           Other Benefits and
                                                                                                  Information                            this period     year to date
Regular               20.0000              55.00               1100.00        1100.00
                                                                                                  Total Hours Worked                             55.00         55.00
              Gross Pay                                      $1,100.00     $1,100.00


                                                                                                  Deposits
                   Statutory Deductions                      this period   year to date           account number                        transit/ABA          amount
                   Federal Income                              -104.02         104.02             XXXXXX7728                            XXXXXXXXX            886.83
                   Social Security                              -68.20          68.20
                   Medicare                                     -15.95          15.95             Important Notes
                   Missouri State Income                        -25.00          25.00
                                                                                                  Basis of pay: Hourly

                   Net Pay                                     $886.83




                                                                                                 Your federal taxable wages this period are $1,100.00




                   American Tripoli
                   222 Oneida St
                   Seneca, MO 64865
                                                                                          Pay Date:                      07/01/2022




              Deposited to the account                                                      account number                         transit/ABA           amount
              Checking DirectDeposit                                                        XXXXXX7728                            XXXXXXXXX              886.83




                             Robert Baumann
                             939 South Park Drive
                             Columbus, KS 66725



                                                                                                                                       Exhibit 27

                                                                                                  Exhibit P-43, Page 972
           Appellate Case: 25-1349                           Page: 3115           Date Filed: 04/07/2025 Entry ID: 5503844
                                                                                     Payroll Details
                   Hours and Earnings                                      Taxes                             Deductions                                        Employer
   Description         Hours         Rate        Amount            Tax               Amount            Deduction          Amount   Net Pay              Liability         Amount
Pay Frequency: Biweekly
Employee: Baumann, Robert                                     SSN: xxx-xx-6385
Regular                 1,601.50    20.0000       32,030.00   FED FIT                   3,373.70                                      26,577.90    FED SOCSEC-ER           2,077.69
Overtime                    3.00    30.0000           90.00   FED SOCSEC                2,077.69                                                   FED MEDCARE-ER            485.95
Personal                   37.56    20.0000          751.20   FED                         485.91                                                   FED FUTA                   84.00
Holiday                    32.00    20.0000          640.00   MEDCARE                                                                              MO SUI-ER                 229.42
                        1,674.06                  33,511.20   MO SIT                     996.00                                                                            2,877.06
                                                                                        6,933.30
Check Date: 07/01/2022 / Direct Deposit / Checking / Account No: XXXXX7728 $886.83
Check Date: 07/15/2022 / Direct Deposit / Checking / Account No: XXXXX7728 $1,239.47
Check Date: 07/29/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,111.88
Check Date: 08/12/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $969.22
Check Date: 08/26/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,428.78
Check Date: 09/09/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,232.44
Check Date: 09/23/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,104.85
Check Date: 10/07/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,172.16
Check Date: 10/21/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,262.58
Check Date: 11/04/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,180.19
Check Date: 11/18/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,262.58
Check Date: 12/02/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,239.48
Check Date: 12/16/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,202.30
Check Date: 12/30/2022 / Direct Deposit / Checking / Account No: XXXXXXXX5597 $1,262.58
Check Date: 01/13/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,272.29
Check Date: 01/27/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,235.11
Check Date: 02/10/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,220.05
Check Date: 02/24/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,272.29
Check Date: 03/10/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,227.08
Check Date: 03/24/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,257.22
Check Date: 04/07/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,257.22
Check Date: 04/21/2023 / Direct Deposit / Checking / Account No: XXXXXXXX1564 $1,281.30
Pay Frequency Totals: Biweekly
Regular                 1,601.50                 $32,030.00   FED FIT                  $3,373.70                                     $26,577.90    FED SOCSEC-ER          $2,077.69
Overtime                    3.00                     $90.00   FED SOCSEC               $2,077.69                                                   FED MEDCARE-ER           $485.95
Personal                   37.56                    $751.20   FED                        $485.91                                                   FED FUTA                  $84.00
Holiday                    32.00                    $640.00   MEDCARE                                                                              MO SUI-ER                $229.42
                        1,674.06                 $33,511.20   MO SIT                    $996.00                                                                           $2,877.06
                                                                                       $6,933.30



Company: Mosenecamanufacturer Limited Liabil                                                  1 of 2                                              Date Printed: 10/12/2023 11:34
Check dates from: 7/1/2022 - Payroll 1 to: 4/21/2023 - Payroll 1                                                                                            26967355 - KY/NMC
Pay Period from: 06/12/2022 to: 04/15/2023
                                                                                                                                                                    Exhibit 28
                                                                                                                                   Exhibit P-43, Page 973
                          Appellate Case: 25-1349                        Page: 3116                Date Filed: 04/07/2025 Entry ID: 5503844
                                                                         Payroll Details
                   Hours and Earnings                            Taxes                           Deductions                                        Employer
   Description         Hours      Rate   Amount           Tax            Amount            Deduction          Amount   Net Pay              Liability         Amount
Total Employees - Biweekly: 1
Company Totals:
Regular                1,601.50          $32,030.00   FED FIT             $3,373.70                                      $26,577.90    FED SOCSEC-ER          $2,077.69
Overtime                   3.00              $90.00   FED SOCSEC          $2,077.69                                                    FED MEDCARE-ER           $485.95
Personal                  37.56            $751.20    FED                   $485.91                                                    FED FUTA                  $84.00
Holiday                   32.00            $640.00    MEDCARE                                                                          MO SUI-ER                $229.42
                       1,674.06          $33,511.20   MO SIT               $996.00                                                                            $2,877.06
                                                                          $6,933.30
Total Employees - Company: 1




Company: Mosenecamanufacturer Limited Liabil                                      2 of 2                                              Date Printed: 10/12/2023 11:34
Check dates from: 7/1/2022 - Payroll 1 to: 4/21/2023 - Payroll 1                                                                                26967355 - KY/NMC
Pay Period from: 06/12/2022 to: 04/15/2023
                                                                                                                                                        Exhibit 28
                                                                                                                      Exhibit P-43, Page 974
                        Appellate Case: 25-1349                 Page: 3117            Date Filed: 04/07/2025 Entry ID: 5503844
                                    Hours
                                             Accrued    PTO
                                   Accrued                     PTO Hours
              Start Date 90th Day              PTO     Hours
    2023                           Per Pay                     Available   12/25/22-1/7/23    1/8-1/21      1/22-2/4       2/5-2/18        2/19-3/4        3/5-3/18        3/19-4/1        4/2-4/15
                                              Hours    Used
  Employee                          Period                                    Period 1       Period 2       Period 3       Period 4        Period 5        Period 6        Period 7        Period 8
Rob Baumann    6/16/2022 9/14/2022   3.08     24.64     12       12.64          3.08           3.08           3.08           3.08            3.08            3.08            3.08            3.08




    Date      PTO Hours
     8-Mar-23     6
    27-Mar-23     6
                 12




    2022                            Hours                                     9/4 - 9/17     9/18 - 10/1   10/2 -10/15   10/16 - 10/29   10/30 - 11/12   11/13 - 11/26   11/27 - 12/10   12/11 - 12/24
                                             Accrued    PTO
                                   Accrued                     PTO Hours
              Start Date 90th Day              PTO     Hours
                                   Per Pay                     Available
                                              Hours    Used
  Employee                          Period                                   Period 19       Period 20     Period 21      Period 22       Period 23       Period 24       Period 25       Period 26
Rob Baumann    6/16/2022 9/14/2022   3.08     22.44     16       6.44          0.88            3.08          3.08           3.08            3.08            3.08            3.08            3.08


    Date      PTO Hours
    31-Oct-22     8
    14-Nov-22     5
    18-Nov-22     3
                 16




                                                                                                                                                                            Exhibit 29
                                                                                                                           Exhibit P-43, Page 975
                            Appellate Case: 25-1349               Page: 3118               Date Filed: 04/07/2025 Entry ID: 5503844
                             AMERICAN TRIPOLI
                              P.O. BOX 489 – SENECA, MISSOURI 64865
                                      TEL. NO. +1.417.776.2216
                                   EMAIL: Info@AmericanTripoli.com



 MOSenecaManufacturer LLC
 dba American Tripoli
 222 Oneida Street
 Seneca, MO 64865
 November 4, 2022


 Robert Baumann

 Columbus, KS 66725


 Dear Robert Baumann:

 American Tripoli is excited to bring you on board as a Shift Lead.

 We’re just a few formalities away from getting down to work. Please take the time to review our offer. It
 includes important details about your compensation, benefits and the terms and conditions of your
 anticipated employment with American Tripoli.

 American Tripoli is offering a full-time position for you as a Shift Lead, reporting to Christine Schreiber
 starting on June 16, 2022 at 222 Onieda Street, Seneca, MO 64865. Expected hours of work are Monday
 through Friday, 8:00 – 4:30 pm central time.

 In this position, American Tripoli is offering to start you at $20.00 per hour. You will be paid on a
 biweekly basis.

 As part of your compensation, we're also offering PTO, health insurance and 401(k) matching.
 After your 90-day probationary period, you will begin accruing 3.08 hours of PTO per pay period for the
 first 3 years. You may enroll for medical and dental insurance before your 90th day, in which it will
 become effective on your 91st day, or you may wait until the Open Enrollment Period in June. You may
 contribute immediately to the 401(k) plan, in which the company will match up to 5%. After your 90-day
 probationary period, you may request a Red Wing Boot voucher for up to $200. If you purchase Red
 Wing steel-toed boots before your 90th day, bring in your receipt and you may be reimbursed for up to
 $200 after your 90th day.



 Sincerely,


 Russell Tidaback
 Owner / Managing Member




                                                                                               Exhibit 30
                                                  Page 1 of 1

                                                                         Exhibit P-43, Page 976
Appellate Case: 25-1349             Page: 3119           Date Filed: 04/07/2025 Entry ID: 5503844
                         Exhibit 31

Exhibit P-43, Page 977
                                      Appellate Case: 25-1349   Page: 3120   Date Filed: 04/07/2025 Entry ID: 5503844
